              Case 20-02477-7               Filed 05/14/20           Entered 05/14/20 17:07:46                    Doc 1       Pg. 1 of 2164


Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF CALIFORNIA

Case number (if known)                                                      Chapter       7
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Garden Fresh Restaurants LLC

2.   All other names debtor       DBA     Souplantation
     used in the last 8 years
                                  DBA     Sweet Tomatoes
     Include any assumed          DBA     Souplantation Field Kitchen
     names, trade names and       DBA     Souplantation Express
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  15822 Bernardo Center Drive, Suite C
                                  San Diego, CA 92127
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  San Diego                                                       Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://souplantation.com/         &     https://sweettomatoes.com/


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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Debtor    Garden Fresh Restaurants LLC                                                             Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                7225

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                        Chapter 9
     A debtor who is a “small           Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                      The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                           The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12

9.   Were prior bankruptcy              No.
     cases filed by or against
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                              Case number
                                                 District                                 When                              Case number


10. Are any bankruptcy cases            No
    pending or being filed by a
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor     See Attachment                                              Relationship
                                                 District                                 When                          Case number, if known


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Debtor   Garden Fresh Restaurants LLC                                                            Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or       No
    have possession of any
    real property or personal    Yes.     Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?           See Attachment 2
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes.       Insurance agency    Willis Towers Watson
                                                        Contact name        Brian Kasch
                                                        Phone               301-692-3037


         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                    50-99                                          5001-10,000                               50,001-100,000
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




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Debtor     Garden Fresh Restaurants LLC                                                     Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF CALIFORNIA

Case number (if known)                                                   Chapter      7
                                                                                                                      Check if this an
                                                                                                                         amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     GFRC Holdings LLC                                                       Relationship to you               Debtor Affiliate
District   SD California                              When     5/14/20             Case number, if known
Debtor     GFRC Promotions LLC                                                     Relationship to you               Debtor Affiliate
District   SD California                              When     5/14/20             Case number, if known




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                   page 5
                                                                                                                            Attachment 2

Unit Code   Unit Name               Unit Address                         Suite          City          State   Postal Code   Contact Type   LL Reference                      Selected Contact        Unit Address Suite                       City           State   Postal Code Telephone

1001        001 - Mission Gorge     6171 Mission Gorge Rd.                              San Diego     CA      92120         LANDLORD       Sidney Family Limited Partnership                         220 30th St.                             Manhattan Be CA        92066
1002        002 - Point Loma        3960 West Point Loma Blvd.           Ste. P-T       San Diego     CA      92110         LANDLORD       Midway Towne Center LLC                                   3910 Chapma Ste. A                       San Diego      CA      92110        Tel: 619-223-1156
1003        003 - La Mesa (CK801) 9158 Fletcher Pkwy.                                   La Mesa       CA      91942         LANDLORD       George-Thomas Enterprises, LLCTom Herron                  14531 Delano St                          Van Nuys       CA      91411        Tel: 818-781-0255
1004        004 - Tustin            13681 Newport Ave.                   #1             Tustin        CA      92780-4689    LANDLORD       Tustin Plaza Center, LP                                   PO Box 1299                              Lake Forest    CA      92609-1299   Tel: 949-458-5861
1005        005 - Garden Grove      5939 West Chapman Ave.                              Garden Grove CA       92845         LANDLORD       SPGG Properties, Ltd.             Domain Corporation      2716 Ocean PSte. 3006                    Santa Monica CA        90405-5207   Tel: 310-396-4514
1005        005 - Garden Grove      5939 West Chapman Ave.                              Garden Grove CA       92845         LANDLORD       SPGG Properties, Ltd.                                     PO Box 967                               Palos Verdes CA        90274-0967   Tel: 310-541-3132
1006        006 - Lakewood          4720 Candlewood St.                                 Lakewood      CA      90712         LANDLORD       Macerich Lakewood LP              c/o Macerich Property 401 Wilshire BSte. 700                     Santa Monica CA        90401        Tel: 562-633-0437
                                                                                                                                                                             Management Company
1007        007 - Carlsbad          1860 Marron Rd.                                     Carlsbad      CA      92008         LANDLORD       PK I North County Plaza LP                              1621-B South Melrose Dr.                   Vista          CA      92081        Tel: 760-727-1002
1009        009 - Mira Mesa         8105 Mira Mesa Blvd.                                San Diego     CA      92126-2601    LANDLORD       Mira Mesa Shopping Center-Wes Furstien Brett              8294 Mira Mesa Blvd.                     San Diego      CA      92126        Tel: 858-271-4682
1010        010 - Torrance          21309 S. Hawthorne Blvd.             Unit 107-47    Torrance      CA      90503-5602    LANDLORD       Del Amo Associates, LLC           Eric Sahn               60 South Mark#1120                       San Jose       CA      95113        Tel: 408-271-0366
1011        011 - Arcadia           301 E. Huntington Dr.                               Arcadia       CA      91006-3747    LANDLORD       Shigenobu Kaku and Hikaru Kaku                            3605 Long Be Ste. 220                    Long Beach     CA      90807        Tel: 562-981-3277




                                                                                                                                                                                                                              Case 20-02477-7
1012        012 - Brea              555 Pointe Dr. Bldg.                 Bldg. #2       Brea          CA      92821-3672    LANDLORD       Olen Pointe Brea Corp.            Bret Van Nortwick       Three Pointe Ste. 109                    Brea           CA      92821        Tel: 714-255-1313
                                                                                                                                                                                                     Dr.
1013        013 - Rancho Cucamong8966 Foothill Blvd.                                    Rancho CucamCA        91730-3447    LANDLORD       Thomas Winery Plaza Property Oc/o KMS Properties,         23 Corporate #247                        Newport Beac CA        92660        Tel: 909-590-1143
                                                                                                                                                                         Inc
1016        016 - Alhambra          2131 W. Commonwealth Ave.                           Alhambra      CA      91803-1403    LANDLORD       The Price REIT, Inc.          c/o Kimco Realty            3333 New HydSte. 100                     New Hyde Pa NY         11042-0020   Tel: 516-869-9000
                                                                                                                                                                         Corporation
1017        017 - Beverly Connectio 100 N. La Cienega Blvd.              Unit No. E-3   Los Angeles CA        90048-4124    LANDLORD       DK Connections, LLC           Attn: Asset Manager         150 East 58th 39th Fl                    New York       NY      10155
1017        017 - Beverly Connectio 100 N. La Cienega Blvd.              Unit No. E-3   Los Angeles   CA      90048-4124    LANDLORD       DK Connections, LLC          The Beverly         1460 WestwooSte. 300                              Los Angeles    CA      90024
                                                                                                                                                                        Connection Ltd
1019        019 - Brentwood         11911 San Vicente Blvd.              Ste. 16        Los Angeles CA        90049-5086    LANDLORD       Duesenberg Investment Companyc/o Topa Management 1900 Avenue oSte. 425                             Los Angeles CA         90067-4126   Tel: 310-203-9199
                                                                                                                                                                        Company
1020        020 - Fountain Valley   11179 Talbert                                       Fountain Valle CA     92708         LANDLORD       Camden House, LLC                                1420 Miravale Ave.                                Los Altos      CA      94024        Tel: 650-938-3008
1021        021 - Palm Harbor (CK831151 US Rte. 19 North                                Palm Harbor FL        34684         LANDLORD       Lupresan 3, LLC                                           2112 16th St. North                      St. PetersburgFL       33704        Tel: 727-821-7166
1022        022 - Pleasanton        4501 Hopyard Rd.                                    Pleasanton    CA      94588-2765    LANDLORD       Burgundy Bear, Ltd.                                       5955 Coronado Ln.                        Pleasanton     CA      94588        Tel: 925-474-1006
1024        024 - Sunnyvale         1210 Kifer Rd.                                      Sunnyvale     CA      94086         LANDLORD       Costco Wholesale Corporation      Attn: Legal Dept.       999 Lake Dr.                             Issaquah       WA      98027
1026        026 - San Bernardino    228 W. Hospitality Ln.               Unit #H        San Bernardin CA      92408         LANDLORD       2230 W. Lincoln, LLC                                      PO Box 8021                              Laguna Hills   CA      92654-8021
1027        027 - Largo             13101 Seminole Blvd.                                Largo         FL      33778         LANDLORD       Weingarten Realty Investors                               PO Box 924133                            Houston        TX      77292-4133




                                                                                                                                                                                                                              Filed 05/14/20
1027        027 - Largo             13101 Seminole Blvd.                                Largo         FL      33778         LANDLORD       Weingarten Realty Investors       Attn: Cindy Clothier    2600 Citadel Plaza Dr.                   Houston        TX      77008        Tel: 713-868-6590
1028        028 - Rancho Bernardo 17210 Bernardo Center Dr.                             San Diego     CA      92128         LANDLORD       Sunflower Plantation, LLC         Park Terrace Partners 11939 RanchoSte. 200                       San Diego      CA      92128
1028        028 - Rancho Bernardo 17210 Bernardo Center Dr.                             San Diego     CA      92128         LANDLORD       Sunflower Plantation, LLC         Attn: Dave Goodrich     7772 Capilano Ct                         Castle Rock    CO      80108        Tel: 949-499-6071
1029        029 - Fremont           39370 Paseo Padre Pkwy. Gateway Pl                  Fremont       CA      94538-1629    LANDLORD       WRI West Gate South L.P.                                  PO Box 924133                            Houston        TX      77292-4133   Tel: 713-866-6000
1030        030 - Carrollwood       14703 North Dale Mabry Hwy.                         Tampa         FL      33618         LANDLORD       Cloverleaf Tampa, LLC and SWT James Wallace III    5370 Oakdale Rd.                                Smyrna         GA      30082        Tel: 404-879-1380
                                                                                                                                                                         SWT Tampa LLC
1030        030 - Carrollwood       14703 North Dale Mabry Hwy.                         Tampa         FL      33618         LANDLORD       Cloverleaf Tampa, LLC and SWT James Wallace, Jr.   5370 Oakdale Rd.                                Smyrna         GA      30082        Tel: 404-879-1380
                                                                                                                                                                         Cloverleaf Tampa LLC
1032        032 - Laguna Niguel     23870 Aliso Creek Rd.                               Laguna Niguel CA      92677         LANDLORD       Shapell Properties, Inc.      Attn: Legal Dept.    1990 S. BundySte. 500                           Los Angeles CA         90025        Tel: 949-448-0061
1033        033 - Del Mar           3804 Valley Centre Dr. Ste. 1001                    San Diego     CA      92130         LANDLORD       Carmel Valley Partners I           c/o Baldwin Company    11975 El Cam Ste. 200                    San Diego      CA      92130
                                                                                                                                                                              Attn: Commercial
1033        033 - Del Mar           3804 Valley Centre Dr. Ste. 1001                    San Diego     CA      92130         LANDLORD       Carmel Valley Partners I           Piazza Retail, LLC     18801 VenturaSte. 300                    Tarzana        CA      91356        Tel: 818-996-0700
                                                                                                                                                                              c/o Newmark Merrill
1034        034 - Fresno II         7114 North Fresno St.                               Fresno        CA      93720-2905    LANDLORD       Julio A. Martin Family Trust dated Attn: Art Martin       2657 Omaha Ave.                          Clovis         CA      93619        Tel: 559-392-6392




                                                                                                                                                                                                                              Entered 05/14/20 17:07:46
1035        035 - Scottsdale (CK8049029 E. Talking Stick Way Pad B                      Scottsdale    AZ      85250         LANDLORD       Derito Talking Stick South, LLC   Attn: Charles R. Carlise 3200 East CamSte. 175                   Phoenix        AZ      85018        Tel: 480-834-8500
1036        036 - Tempe             1410 East Southern Ave.                             Tempe         AZ      85282-5612    LANDLORD       Tempe CC HUI, LLC                 Stephanie Davidson      2122 East Hig Ste. 450                   Phoenix        AZ      85016        Tel: 602-586-2896
                                                                                                                                                                             Tempe CC HUI LLC
1037        037 - Tampa             1902 North Dale Mabry Hwy.                          Tampa         FL      33607-2522    LANDLORD       1902 N Dale Mabry LLC             Attn: Ben Mallah        10225 UlmertoSte. 12A                    Largo          FL      33771        Tel: 727-571-2395
1038        038 - Brandon           10017 Adamo Dr.                                     Tampa         FL      33619-2619    LANDLORD       Schmidt Sunshine, Inc.            Attn: Robert E.         2226 State Rd. 580                       Clearwater     FL      33763-1838   Tel: 727-449-2226
                                                                                                                                                                             Schmidt Jr
1041        041 - Tucson I - (1)    4420 North Stone                                    Tucson        AZ      85705         LANDLORD       TRS FEC III, LLC                  Attn: John Hyltin       2180 Central FSte. A7                    Orlando        FL      32837        Tel: 407-288-8949
1043        043 - Arrowhead         7565 West Bell Rd.                                  Peoria        AZ      85382-3829    LANDLORD       PLH Holdings, LLC, Series 1       Attn: Karen Hiser       PO Box 2416                              So. Portland ME        04116        Tel: 707-362-2898
1043        043 - Arrowhead         7565 West Bell Rd.                                  Peoria        AZ      85382-3829    LANDLORD       PLH Holdings, LLC, Series 1       Attn: Mike Hiser        PO Box 2416                              So. Portland ME        04116        Tel: 707-362-2898
1044        044 - Ahwatukee         4723 E. Ray Road                     Ste. 3A        Phoenix       AZ      85044         LANDLORD       DT Ahwatukee Foothills LLC      Attn: Senior Executive    3300 Enterprise Pkwy.                    Beachwood      OH      44122        Tel: 216-755-5500
                                                                                                                                                                           Vice President
1045        045 - Sarasota (CK818) 4994 South Tamiami Trl.                              Sarasota      FL      34231         LANDLORD       Ten Mile Range Properties, LLC a4994 STT, LLC             PO Box 823201                            Philadelphia   PA      19182-3201
1046        046 - Albuquerque I (CK 4901 San Mateo Blvd. NE                             Albuquerque NM        87109         LANDLORD       Amicorp Enterprises, Inc.         Hexon Self-Storage,     4801 San Mateo Blvd. NE                  Albuquerque NM         87109        Tel: 505-875-0005
                                                                                                                                                                             LLC
1046        046 - Albuquerque I (CK 4901 San Mateo Blvd. NE                             Albuquerque NM        87109         LANDLORD       Amicorp Enterprises, Inc.         Attn: Daniel V. Titcomb PO Box 609                               Hurricane      UT      84737-0609
                                                                                                                                                                                                                                                                                  Tel: 435-635-0454

1047        047 - Albuquerque II    10126 Coors Blvd. NW                                Albuquerque NM        87114         LANDLORD       The Smith 1982 Trust and The MaAttn: Joyce Pennington 425 Sanibelle #129                           Chula Vista    CA      91910        Tel: (619) 585-9683
                                                                                                                                                                          Smith
1048        048 - Tucson II         6202 E. Broadway Blvd.                              Tucson        AZ      85711         LANDLORD       JKJ Fairview, LLC              Attn: Jason Kim        2999 Bowery Ln.                              San Jose       CA      95135        Tel: 408-593-7184
1049        049 - Ft. Myers         14080 South Tamiami Trl.                            Fort Myers    FL      33912         LANDLORD       Roubin Associates, LLC            Attn: Julia Blackwell   8550 Lee HwySte. 700                     Fairfax        VA      22031        Tel: 703-573-9353
1050        050 - Altamonte Springs 474 W. State Rd. 436                                Altamonte Spr FL      32714-4147    LANDLORD       1756, Inc.                        c/o Ralph D'Souza       13826 N.W. 22nd Ct.                      Sunrise        FL      33323        Tel: 954-851-9809
1051        051 - Hollywood         2906 Oakwood Blvd.                                  Hollywood     FL      33020-7122    LANDLORD       Oakwood Plaza Limited Partnersh                           PO Box 5020                              New Hyde Pa NY         11042
1052        052 - Ft. Lauderdale    6245 N. Andrews Ave.                                Fort Lauderda FL      33309         LANDLORD       Cypress Creek Associates Limited                          PO Box 5020                              New Hyde Pa NY         11042




                                                                                                                                                                                                                              Doc 1
1055        055 - Coral Springs     1850 University Dr.                                 Coral Springs FL      33071-6031    LANDLORD       Net Lease Funding 2005, LP      c/o Vereit, Inc.          2325 East Cam9th Fl.                     Phoenix        AZ      85016        Tel: 602-778-6220
                                                                                                                                                                           Attn: Asset Manager
1056        056 - Las Vegas (CK8162080 N. Rainbow Blvd.                                 Las Vegas     NV      89108-7049    LANDLORD       Vestar Best In The West PropertyAttn: President           2425 E Came Ste. 750                     Phoenix        AZ      85016
1057        057 - Vancouver (CK81012601 SE 2nd Circle                                   Vancouver     WA      98684         LANDLORD       CNC Holdings, LLC                 Attn: Judy Cockrell     1007 NW 2nd Ave.                         Battle Ground WA       98604        Tel: 360-667-0522
1057        057 - Vancouver (CK81012601 SE 2nd Circle                                   Vancouver     WA      98684         LANDLORD       CNC Holdings, LLC                 Attn: Steven Cockrell   1007 NW 2nd Ave.                         Battle Ground WA       98604        Tel: 360-667-0522




                                                                                                                                                                                                                              Pg. 6 of 21
                                                                                                          Attachment 2
Unit Code   Unit Name                Unit Address                 Suite         City          State   Postal Code   Contact Type   LL Reference                      Selected Contact         Unit Address Suite                         City           State   Postal Code Telephone

1058        058 - Barrett            1125 Ernest Barrett Pkwy.                  Kennesaw      GA      30144         LANDLORD       DGH 1125, LLC                     Attn: Jon Gallant        6400 Powers Ste. 350                       Atlanta        GA      30339        Tel: 678-932-8236
                                                                                                                                                                     DGH 1125 LLC
1059        059 - Houston I (CK807)8775 Katy Fwy.                               Houston       TX      77024         LANDLORD       Tuccori Holdings Co. LP           Attn: Daniel Del         806 Mandana                                Oakland        CA      94610
                                                                                                                                                                     Grande                   Blvd.



1060        060 - Gwinnett           3505 Mall Blvd.                            Duluth        GA      30096-4710    LANDLORD       Gwinnett Place Associates, L.P. Attn: Chan Ho              300 Black Belt World Dr.                   Knightdale     NC      27454
                                                                                                                                                                   c/o CRD of America
1061        061 - Perimeter (CK806 6340 Peachtree-Dunwoody Rd.                  Atlanta       GA      30328         LANDLORD       Sunnykay & Company, LLC                                    PO Box 720377                              Atlanta        GA      30358
1062        062 - Beaverton          1225 N.W. Waterhouse Ave.                  Beaverton     OR      97006-5700    LANDLORD       Waterhouse Investments, LLC       Attn: Harlan Dismuke     1650 Ala Moa #2701                         Honolulu       HI      96815        Tel: 760-321-8321
1062        062 - Beaverton          1225 N.W. Waterhouse Ave.                  Beaverton     OR      97006-5700    LANDLORD       Waterhouse Investments, LLC       Attn: Judith Dismuke     1650 Ala Moa #2701                         Honolulu       HI      96815        Tel: 760-321-8321
1065        065 - Houston II         17240 Tomball Pkwy.                        Houston       TX      77064         LANDLORD       Hedmark III, LP                   Attn: David Mars         PO Box 44033                               St. Louis      MO      63144        Tel: 314-616-8515
1066        066 - Alpharetta         950 North Point Dr.                        Alpharetta    GA      30022         LANDLORD       12085 Brandford Street Project    Attn: Harold Istrin      9803 San                                   Pacoima        CA      91331        Tel: 818-897-4033
                                                                                                                                                                                              Fernando Rd.




                                                                                                                                                                                                                         Case 20-02477-7
1067        067 - Aurora, CO         14015 East Evans                           Aurora        CO      80014         LANDLORD       Hoppe Properties, LLC                                      8070 La Jolla PMB 610                      La Jolla       CA      92037        Tel: 858-401-0260
1068        068 - Henderson          375 North Stephanie St.      Ste. 111      Henderson     NV      89014         LANDLORD       Westland Financial I, LLC         Attn: David Mars         PO Box 44033                               St. Louis      MO      63144        Tel: 314-616-8515

1069        069 - Westminster (CK8 8971 Yates St.                               Westminster CO        80031         LANDLORD       Shih Properties Incorporated                               1245 East Las Tunas Dr                     San Gabriel    CA      91776
1070        070 - Clackamas          13011 SE 84th Ave.                         Clackamas     OR      97015         LANDLORD       Sunnybrook, LLC                   c/o Coffman              13014 Clackamas River Dr. Oregon City                     OR      97045
                                                                                                                                                                     Excavation
1071        071 - Littleton          7736 West Long Dr.                         Littleton     CO      80123         LANDLORD       Vestar Bowles Crossing, LLC                                8750 North CeSte. 800                      Phoenix        AZ      85016
1071        071 - Littleton          7736 West Long Dr.                         Littleton     CO      80123         LANDLORD       Vestar Bowles Crossing, LLC       Attn: Stacie Crown       2425 East CamSte. 750                      Phoenix        AZ      85016
1072        072 - Orlando I (CK817) 6877 South Kirkman Rd.                      Orlando       FL      32819         LANDLORD       Limestone Sweet, LLC              c/o Orion Investment &   200 S. Biscayn7th Fl.                      Miami          FL      33131
                                                                                                                                                                     Management
1072        072 - Orlando I (CK817) 6877 South Kirkman Rd.                      Orlando       FL      32819         LANDLORD       Limestone Sweet, LLC              Attn: Fred Chikovsky     2300 NW Cor Ste. 141                       Boca Raton     FL      33431        Tel: 561-241-9688
                                                                                                                                                                     Group Kirkman LLC
1073        073 - Kearny Mesa        7095 Clairemont Mesa Blvd.                 San Diego     CA      92111         LANDLORD       CLPF - Clairemont Mesa, L.P.      c/o Clarion Partners,    601 South Fig Ste. 3400                    Los Angeles CA         90017
                                                                                                                                                                     LLC
1074        074 - Orlando II         4678 E. Colonial Dr.                       Orlando       FL      32803         LANDLORD       Greater Orlando Aviation Authorityc/o The Sembler          5858 Central Ave.                          St. PetersburgFL       33707
                                                                                                                                                                     Company
1076        076 - Stafford           12540 Sugardale Drive                      Stafford      TX      77477-3702    LANDLORD       EMIC Properties                                            3020 BridgewaSte. 107                      Sausalito      CA      94965        Tel: 415-332-5834




                                                                                                                                                                                                                         Filed 05/14/20
1077        077 - Lone Tree          9445 Park Meadows Dr.                      Lone Tree     CO      80124         LANDLORD       Herzman Trust/HNET Investment Attn: Christine Cunning Po Box 3129                                     San Diego      CA      92163-1129   Tel: 619-798-3399
1078        078 - Pembroke Pines 15901 Pines Blvd.                              Pembroke Pin FL       33027         LANDLORD       Bear Necessity LLC                Attn: Barry Simmons      1330 Nepture Ave.                          Leucadia       CA      92024        Tel: 760-942-3437
1080        080 - Boca Raton (CK817110 Beracasa Way               Space #42-45 Boca Raton     FL      33433         LANDLORD       FR Florida, Inc.                  c/o Federal Realty       1626 East Jefferson St.                    Rockville      MD      20852
                                                                                                                                                                     Investment Trust
1081        081 - Tigard             6600 SW Cardinal Ln.                       Tigard        OR      97224         LANDLORD       Pacific Realty Associates, L.P.                            15350 S.W. S Ste. 300                      Portland       OR      97224
1083        083 - Pleasant Hill      40-A Crescent Dr.            Bldg. 14, Ste. Pleasant Hill CA     94523         LANDLORD       Pleasant Hill Crescent Drive Invesc/o Vestar Property   43440 Boscell Rd.                             Fremont        CA      94538        Tel: 925-243-7131
                                                                                                                                                                     Management
1084        084 - Temecula           26420 Ynez Road                            Temecula      CA      92592         LANDLORD       KGC Limited Partnership           Attn: Gloria Harpenau 654 La Cresta Blvd.                           El Cajon       CA      92021        Tel: 619-447-2048
1086        086 - Camarillo          375 West Ventura Blvd.                     Camarillo     CA      93010         LANDLORD       Sphear Investments, LLC           Attn: Amy K. Jones       200 East Carr Ste. 200                     Santa BarbaraCA        93101        Tel: 805-962-8989
                                                                                                                                                                     c/o Investec
1087        087 - Vista              1860 University Drive                      Vista         CA      92083-7700    LANDLORD       Valvista North, LLC                                        4470 Campus Ste. 220                       Newport Beac CA        92660        Tel: 949-253-8980
1088        088 - Woodlands          1717 Lake Woodlands Dr.                    The WoodlandTX        77380         LANDLORD       SHS Fairbanks Group LLC        Attn: Sid Savelle      3015 North OcSte. 110                           Fort Lauderda FL       33308        Tel: (954) 716-6116
                                                                                                                                                                  c/o Savelle Investment
1089        089 - San Jose (CK819)113 Bernal Rd                                 San Jose      CA      95119         LANDLORD       Facchino La Barbera Bernal Plaza                      873 Blossom Hill Rd.                            San Jose       CA      95123




                                                                                                                                                                                                                         Entered 05/14/20 17:07:46
1093        093 - City of Industry   17411 Colima Rd.                           City of IndustryCA    91748         LANDLORD       Krausz Puente, LLC                c/o Arcadia              PO Box 10                                  Scottsdale     AZ      85252        Tel: 602-955-4700
                                                                                                                                                                     Management Group
1095        095 - Phoenix - Metro Ce10046 North 26th Dr.                        Phoenix       AZ      85021         LANDLORD       Star Financial I, LLC             Attn: Jon Mars           677 Craig Rd. Suite 215                    St. Louis      MO      63141        Tel: 314-567-5338
1096        096 - Northridge         19801 Rinaldi St.                          Northridge    CA      91326         LANDLORD       PRTC, L.P.                        Shapell Properties       1990 S. BundySte. 500                      Los Angeles    CA      900025
1098        098 - Irvine             2825 Main Street                           Irvine        CA      92614         LANDLORD       Main Street Hotels, LLC                                    400 Spectrum Ste. 1200                     Irvine         CA      92618        Tel: 949-271-1100
1099        1099 - Lake Forest       Foothill Ranch Town Center   26572 Towne Lake Forest     CA      92610         LANDLORD       SHIH Properties Incorporated      Attn: Ray Sieben         1245 E. Las Tunas Dr.                      San Gabriel    CA      91776-1703   Tel: (626) 272-1672



1100        100 - Fullerton          1901 West Malvern Ave.                     Fullerton     CA      92833-2439    LANDLORD       MCD-RC CA-Amerige, LLC                                     One Independ Ste. 114                      Jacksonville   FL      32202-5019   Tel: 904-598-7000
1101        101 - Valencia           24303 Town Center Drive      Suites 140, 15 Valencia     CA      91355         LANDLORD       AKF3 Valencia, LLC                c/o Adler Kawa Real      21500 BiscaynSte. 700                      Adventura      FL      33180
                                                                                                                                                                     Estate Services, LLC




1102        102 - West Palm Beach 1900 Palm Beach Lakes Blvd                    West Palm BeFL        33409         LANDLORD       MUWA, LLC                         c/o Lumer Property       19370 Collins CU 1                        Sunny Isles BeFL        33160        Tel: 305-948-9480
                                                                                                                                                                     Management




1103        103 - Chula Vista        1810 Main Court                            Chula Vista   CA      91911         LANDLORD       Yacoel Investments, LLC           Attn: Yacoel Claude      2801 West CoSte. 380                       Newport Beac CA        92663        Tel: 949-646-2900
                                                                                                                                                                     c/o Yacoel Properties I,
                                                                                                                                                                     LLC




                                                                                                                                                                                                                         Doc 1
1104        104 - Desert Ridge       21001 North Tatum Blvd.      #93 Pad M-1 Phoenix         AZ      85050         LANDLORD       Vestar DRM-OPCO, L.L.C.                                    2425 East CamSte. 750                      Phoenix        AZ      85016
1108        108 - San Jose Downtow625 Coleman Ave.                              San Jose      CA      95110         LANDLORD       LPF San Jose Retail, Inc.         Attn: Asset Manager      333 West WacSte. 2300                      Chicago        IL      60606
1110        110 - Gilbert            4928 S. Power Rd.                          Mesa          AZ      85212         LANDLORD       Power & Ray, LLC                  c/o Vestar               2425 East CamSte. 750                      Phoenix        AZ      850016
                                                                                                                                                                     Development Co




                                                                                                                                                                                                                         Pg. 7 of 21
                                                                                                                          Attachment 2

Unit Code   Unit Name               Unit Address                       Suite        City          State   Postal Code   Contact Type   LL Reference                      Selected Contact        Unit Address Suite                        City          State   Postal Code Telephone

1111        111 - Palmdale          40026 10th St. West                             Palmdale      CA      93551         LANDLORD       A.C. Warnack and the A.C. Warn                            P.O. Box 1409                             Lancaster     CA      93584-1409
1115        115 - La Quinta         79-705 Hwy 111                                  La Quinta     CA      92253         LANDLORD       CSRA Komar Desert Center, DSTc/o Pacific Coast            41 Corporate Ste. 230                     Irvine        CA      92606
                                                                                                                                                                         Commercial Real
1116        116 - Lake Buena Vista 12561 S. Apopka-Vineland Rd.                     Orlando       FL      32836         LANDLORD       State of Florida Department of Tr c/o TCAM Core           8500 Andrew 3rd Fl.                       Charlotte     NC      28262
                                                                                                                                                                         Property Fund
1118        118 - Naples, FL        10940 Tamiami Trail North                       Naples        FL      34110         LANDLORD       Granada Shoppes Associates, LtdAttn: Management           703 WaterfordSte. 800                     Miami         FL      33126
1119        119 - Las Vegas - West 9460 W. Flamingo Rd.                Ste. 100     Las Vegas     NV      89147         LANDLORD       DFE Investments, LLC              c/o Northcap            400 S. RampaSte. 220                      Las Vegas     NV      89145
1120        120 - Bradenton         5407 University Pkwy                            Bradenton     FL      34201         LANDLORD       Walden Avenue-Blend-All Hotel DAttn: Legal Dept.          7978 Cooper CSte. 100                     University ParkFL     34201
1120        120 - Bradenton         5407 University Pkwy                            Bradenton     FL      34201         LANDLORD       Walden Avenue-Blend-All Hotel Dc/o Benderson      8441 Cooper Creek Blvd.                           University ParkFL     34201
                                                                                                                                                                      Development
1121        121 - Boynton Beach     1100 North Congress Ave.           Ste. 100     Boynton Beac FL       33426         LANDLORD       Morguard Boynton Town Center, c/o Morguard        551 S. Powerline Rd.                              Pompano BeaFL         33069
                                                                                                                                                                      Management Company
1123        123 - Escondido, CA     1260 A & B Auto Pkwy.              Space #O001 Escondido      CA      92029         LANDLORD       Frit Escondido Promenade, LLC Attn: Sharon Byrd   1626 East Jefferson St.                           Rockville     MD      20852-4041
1126        126 - Lady Lake         508 US Hwy. 27/441                              Lady Lake     FL      32159         LANDLORD       SRK Lady Lake OP5, LLC        c/o Benchmark         4053 Maple R Ste. 200                           Amherst       NY      14226        Tel: 716-833-4986
                                                                                                                                                                     Management
1128        128 - Kissimmee         3236 Rolling Oaks Blvd.                         Kissimmee     FL      34747         LANDLORD       PRII Rolling Oaks Commons FLA c/o Southeast Centers 1541 Sunset Dr                                  Coral Gables FL       33143




                                                                                                                                                                                                                           Case 20-02477-7
1133        133 - Mountain View     1040 Grant Rd.                     Suite 360    Mountain ViewCA       94040         LANDLORD       1040 Grant Road Associates III    c/o Crosspoint Realty   260 California 4th Fl.                    San Francisco CA      94111        Tel: 415-288-6888
                                                                                                                                                                         Services Inc
1134        134 - Miami Kendall     8405 Mills Dr. Ste.                Ste. 220 & 250Miami        FL      33183         LANDLORD       Weingarten Realty Investors       Gina Hurst              8268 Mills Drive                          Miami         FL      33183        Tel: (954) 938-2598
                                                                                                                                                                         Regional Property
1135        135 - Atwater Village   2921 Los Feliz Blvd                             Los Angeles CA        90039         LANDLORD       Franciscan AAH, LLC               c/o The Festival        5901 W CentuSte. 700                      Los Angeles   CA      90045
                                                                                                                                                                         Companies
1136        136 - Chino Hills       4645 Chino Hills Pkwy.                          Chino Hills   CA      91709         LANDLORD       YAH Investments, LLC              Attn: Emad Bolous       8700 Warner ASte. 265                     Fountain Valle CA     92708        Tel: 714-843-0206
9001        948 - Distribution - West 6800 Sycamore Canyon Boulevard                Riverside     CA      64886         LANDLORD       Sycamore Business Park, LLC       c/o IDS Real Estate     2915 Red Hill Ste. F200                   Costa Mesa    CA      92626        Tel: 714-435-3544
                                                                                                                                                                         Group

9002        947 - Distribution - East 1325 Chastain Rd.                Ste. 300     Kennesaw      GA      30144         LANDLORD       Liberty Property Limited PartnershAttn: Vice President    One Glenlake Ste. 700                     Atlanta       GA      30328
9802        802 - Houston           1467 Brittmore Rd.                 Ste. B       Houston       TX      77043         LANDLORD       1467 Brittmoore LLC               c/o Reeco Properties    561 Virginia Dr                           Winter Park   FL      32789
                                                                                                                                                                         LLLP
9802        802 - Houston           1467 Brittmore Rd.                 Ste. B       Houston       TX      77043         LANDLORD       1467 Brittmoore LLC               Attn: Tim Glenn         1467 Brittmoore Rd.                       Houston       TX      77043        Tel: 713-725-5113
9804        635 - Scottsdale HUB    331 South River Dr.                Ste. 10      Tempe         AZ      85281         LANDLORD       Zimmerman Properties, Inc.        c/o Cutler Commercial 2150 East Hig Ste. 207                      Phoenix       AZ      85016        Tel: 602-955-3500
9817        817 - Orlando CK HUB 120 West Compton Ave.                              Orlando       FL      32806         LANDLORD       Reeco Properties LLLP                                     PO Box 640                                Winter Park   FL      32790
9822        822 - Fullerton         1850 Raymer Ave.                                Fullerton     CA      92833         LANDLORD       Holtzman Enterprises, LLC                                 159 E. Manchester Ave                     Los Angeles CA        90003        Tel: 323-789-9924




                                                                                                                                                                                                                           Filed 05/14/20
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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Southern District of California
 In re       Garden Fresh Restaurants LLC                                                                     Case No.
                                                                                   Debtor(s)                  Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 15,000.00
             Prior to the filing of this statement I have received                                        $                 15,000.00
             Balance Due                                                                                  $                       0.00

2.     $     335.00       of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                 Debtor            Other (specify):

4.     The source of compensation to be paid to me is:

                 Debtor            Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a. [Other provisions as needed]
               a. Meet with the Company to review its assets, liabilities, income, and expenses.
               b. Analyze the Company's financial situation, and render advice to it in determining whether to file a petition in
               bankruptcy.
               c. Describe the purpose, benefits, and costs of the Chapters the Company may file, and counsel the Company
               regarding the advisability of filing either a Chapter 7, 11, or 13 case, and answer your questions.
               d. Advise you of the requirement to attend the Section 341(a) Meeting of Creditors, and instruct you as to the
               date, time, and place of the meeting.
               e. Advise the Company of the necessity of maintaining liability, collision, and comprehensive insurance on
               vehicles securing loans or leases.
               f. Timely prepare, file and serve, as required, the Company's petition, schedules, Statement of Financial Affairs,
               and any necessary amendments.
               g. Provide documents pursuant to the Trustee Guidelines and any other information requested by the Chapter 7
               Trustee or the Office of the United State Trustee.
               h. Provide an executed copy of the Rights and Responsibilities of Chapter 7 Debtors and their Attorneys to you.
               i. Appear and represent the Company at the Section 341(a) Meeting of Creditors, and any continued meeting,
               except as further set out below.
               j. Return telephone calls, answer questions and review and send correspondence relating to the Chapter 7
               bankruptcy case.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               a. Representation at any continued meeting of creditors due to the Company's failure to appear or failure to
               provide required documents or acceptable identification;
               b. Opposing Motions for Relief from Stay;
               c. Preparation and filing, or objecting to Proofs of Claims, when appropriate, and if applicable;
               d. Representation in a Motion to Dismiss or Convert debtor's case;
               e. Preparation and filing of Motions to Reinstate or Extend the Automatic Stay;
               f. Opposing a request for, or appearing at a 2004 examination;
               g. All other Motions or Applications in the case, including to Buy, Sell, or Refinance Real or other Property;
               h. Motions or other proceedings to enforce the automatic stay or discharge injunction;
               i. Filing or responding to an appeal;
               j. An audit of the debtor's case conducted by a contract auditor pursuant to 28 U.S.C. Section 586(f).


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 In re       GFRC Promotions LLC                                                                       Case No.
                                                               Debtor(s)

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
                                             (Continuation Sheet)
                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     May 14, 2020                                                                /s/ Gary B. Rudolph
     Date                                                                        Gary B. Rudolph 101921
                                                                                 Signature of Attorney
                                                                                 Sullivan Hill Rez & Engel, A Professional Law
                                                                                 Corporation
                                                                                 600 B Street
                                                                                 Suite 1700
                                                                                 San Diego, CA 92101
                                                                                 (619) 233-4100 Fax: (619) 231-4372
                                                                                 rudolph@sullivanhill.com
                                                                                 Name of law firm




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CSD 1008 (Page 2) [08/21/00]
                                                                      INSTRUCTIONS

1)          Full compliance with Special Requirements for Mailing Addresses (CSD 1007) is required.

2)          A creditors matrix with Verification is required whenever the following occurs:

            a)          A new petition is filed. Diskette required.

            b)          A case is converted on or after SEPTEMBER 1, 2000. (See paragraph 4b concerning post-petition creditors.)

            c)          An amendment to a case on or after SEPTEMBER 1, 2000, which adds, deletes or changes creditor address information on the
                        debtor's Schedule of Debts and/or Schedule of Equity Security Holders. Scannable matrix format required.

3)          The scannable matrix must be originally typed or printed. It may not be a copy.

4)          CONVERSIONS:

            a)          When converting a Chapter 13 case filed before SEPTEMBER 1, 2000, to another chapter, ALL creditors must be listed on the
                        mailing matrix at the time of filing and accompanied by a Verification. Diskette required.

            b)          For Chapter 7, 11, or 12 cases converted on or after SEPTEMBER 1, 2000, only post-petition creditors need be listed on the
                        mailing matrix. The matrix and Verification must be filed with the post-petition schedule of debts and/or schedule of equity
                        security holders. If there are no post-petition creditors, only the verification form is required. Scannable matrix format required.

5)          AMENDMENTS AND BALANCE OF SCHEDULES:

            a)          Scannable matrix format required.

            b)          The matrix with Verification is a document separate from the amended schedules and may not be used to substitute for any
                        portion of the schedules. IT MUST BE SUBMITTED WITH THE AMENDMENT/BALANCE OF SCHEDULES.

            c)          Prepare a separate page for each type of change required: ADDED, DELETED, or CORRECTED. On the REVERSE side of
                        each matrix page, indicate which category that particular page belongs in. Creditors falling in the same category should be placed
                        on the same page in alphabetical order.

6)          Please refer to CSD 1007 for additional information on how to avoid matrix-related problems.




CSD 1008
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                          1040 GRANT ROAD ASSOCIATES III
                          PO BOX 7365
                          C/O CROSSPOINT REALTY SERVICES
                          SAN FRANCISCO, CA 94120-7365



                          1040 Grant Road Associates III
                          c/o Crosspoint Realty Services, Inc. Attn: Propert
                          260 California St.
                          4th Fl.
                          San Francisco, CA 94111



                          1099 PRO INC
                          23901 CALABASAS ROAD #2080
                          CALABASAS, CA 91302



                          12085 BRANDFORD STREET PROJECT
                          9803 SAN FERNANDO ROAD
                          PACOIMA, CA 91331



                          12085 Brandford Street Project
                          Attn: Harold Istrin
                          9803 San Fernando Rd.
                          Pacoima, CA 91331



                          1467 Brittmoore LLC
                          561 Virginia Dr
                          Winter Park, FL 32789



                          1467 Brittmoore LLC
                          Attn: Tim Glenn
                          1467 Brittmoore Rd.
                          Houston, TX 77043



                          1756 INC
                          13826 NW 22ND CT
                          SUNRISE, FL 33323
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                      1756 INC
                      13826 NW 22ND CT
                      SUNRISE
                      FL, 33323



                      1756, Inc.
                      13826 N.W. 22nd Ct.
                      Sunrise, FL 33323



                      1902 N DALE MABRY LLC
                      10225 ULMERTON RD STE 12A
                      LARGO, FL 33771



                      1902 N Dale Mabry LLC
                      Attn: Ben Mallah
                      10225 Ulmerton Rd.
                      Ste. 12A
                      Largo, FL 33771



                      1ST MECHANICAL SERVICES INC
                      303 CURIE DRIVE
                      ALPHARETTA, GA 30005



                      2019 HOOD TO COAST FUNDRAISING TEAM
                      1245 HARVARD AVE
                      C/O MORGAN POWER
                      GLADSTONE
                      OR, 97027



                      2020 CLASS COUNCIL
                      101 S SECOND ST
                      ALHAMBRA, CA 91801



                      22035
                      9238 PINEY CREEK RD
                      PARKER, CO 80138
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                      2230 W LINCOLN LLC
                      PO BOX 8021
                      LAGUNA HILLS, CA 92654-8021



                      2230 W. Lincoln, LLC
                      PO Box 8021
                      Laguna Hills, CA 92654-8021



                      31111 US HIGHWAY 19 LLC
                      705 N HOWARD AVE
                      TAMPA, FL 33606



                      3M
                      PO BOX 844127
                      DALLAS, TX 75284-4127



                      3M
                      2807 PAYSHERE CIRCLE
                      CHICAGO, IL 60674



                      3M
                      File #53056
                      Los Angelos, CA 90074-3056



                      3M Gb06380
                      Po Box 844127
                      Dallas, TX 75284-4127



                      4994 STT LLC
                      PO BOX 823201
                      PHILADELPHIA, PA 19182-3201



                      4994 STT LLC
                      7978 COOPER CREEK BLVD
                      UNIVERSITY PARK, FL 34201
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                      5 STAR REFRIGERATION & AIR CONDITIONING
                      23091 CORTEZ BLVD
                      BROOKSVILLE, FL 34601



                      548 GROUP INC
                      555 NORTH EL CAMINO REAL
                      #A299
                      SAN CLEMENTE, CA 92672



                      67 LINHAVEN
                      1344 STANFORD
                      IRVINE, CA 92612



                      67 LINHAVEN
                      1344 STANFORD
                      IRVINE
                      CA, 92612



                      711 PRINT ENTERPRISES INC
                      3517 MAINSTREET STE 303
                      CHULA VISTA, CA 91911



                      95 ORRPT LLC
                      PO BOX 823201
                      PHILADELPHIA, PA 19182-3201



                      95 ORRPT LLC
                      7978 COOPER CREEK BLVD
                      UNIVERSITY PARK, FL 34201



                      A 1 STRIPING INC
                      3302 E PENNSYLVANIA
                      TUCSON, AZ 85714



                      A D MAL INC
                      16731 WESTFIELD LANE
                      HUNTINGTON BEACH, CA 92649
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                      A G S HOTEL RENOVATION CORPORATION
                      1628 W 139TH ST
                      GARDENA, CA 90249



                      A PLUS ADVENTIST CHILDRENS CENTER
                      234 N ISABEL ST
                      GLENDALE, CA 91206



                      A ZEREGAS SONS INC
                      PO BOX 36341
                      NEWARK, NJ 07188-6341



                      A&B CARPET CLEANING INC
                      6536 FULTON AVE
                      VAN NUYS, CA 91401-1305



                      A'ishah Sisson-foster
                      1575 West Warmsprings Rd.
                      Henderson, NV 89014



                      A. Zerega'S Sons, Inc.
                      Po Box 36341
                      Newark, NJ 07188-6341



                      A. Zerega'S Sons, Inc.
                      Po Box 36341
                      Newark
                      NJ, 07188-6341



                      A.C. Warnack and the A.C. Warnack Trust
                      P.O. Box 1409
                      Lancaster, CA 93584-1409



                      AAA BACKFLOW TESTING & REPAIR LLC
                      PO BOX 9344
                      SURPRISE, AZ 85374
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                      AAA CUTTING BOARD SPECIALIST OF NV
                      PO BOX 230217
                      LAS VEGAS, NV 89105



                      AAA ELECTRICAL AND COMMUNICATINS INC
                      25007 ANZA DR
                      VALENCIA, CA 91355



                      AAA FIRST AID SUPPLIES
                      3245 UNIVERSITY AVE 1 - 348
                      SAN DIEGO, CA 92104-2009



                      AAJAA LLC
                      BASTA SOLUTIONS
                      36625 US HIGHWAY 19 N
                      PALM HARBOR, FL 34684



                      Aaliyah Jones
                      749 SAN YSIDRO DRIVE
                      UPLAND, CA 91786



                      Aaliyah Mendoza
                      83452 RUBY AVE
                      INDIO, CA 92201



                      Aalyha Martinez
                      GYPSUM CREEK DR.
                      EASTVALE, CA 92880



                      Aamiya Upshaw
                      2885 WINKLER AVENUE
                      609
                      FORT MYERS, FL 33916



                      Aanand kadakia
                      1146 SYMPHONY ST
                      LOS BANOS, CA 93635
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 21 of 2164




                      Aaron Acosta Longoria
                      2455 E BROADWAY RD
                      98
                      MESA, AZ 85204



                      Aaron Becerra
                      259 KAIMU ST
                      PACHECO, CA 94553



                      Aaron Bell
                      19644 N 34TH PL
                      PHOENIX, AZ 85050



                      Aaron Cadayong
                      5525 S NEWCOMBE ST
                      LITTLETON, CO 80127



                      Aaron Chang
                      14034 Huntervale De
                      Eastvale, CA 92880



                      Aaron Chavez
                      15920 POMONA RINCON RD.
                      UNIT 6514
                      CHINO HILLS, CA 91709



                      Aaron Corn
                      3511 9TH ST N
                      TAMPA, FL 33605



                      Aaron Cotner
                      191 E EL CAMINO REAL
                      SPC 238
                      MOUNTAIN VIEW, CA 94040



                      Aaron Daniel
                      308 EAST ST
                      OREGON CITY, OR 97045
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 22 of 2164




                      Aaron Dean
                      128 W LEE ST
                      TUCSON, AZ 85705



                      AARON DEAN
                      8030 LA MESA BLVD STE 141
                      LA MESA, CA 91942



                      Aaron Del Cid
                      780 NW JOY AVE
                      #H
                      PORTLAND, OR 97229



                      Aaron Donald
                      319 NE 104TH AVE
                      #A
                      VANCOUVER, WA 98664



                      Aaron hack
                      7043 N VIA DE PAESIA
                      SCOTTSDALE, AZ 85258



                      Aaron Hedwall
                      26436 MARSALA DR.
                      VALENCIA, CA 91355



                      Aaron Hollins
                      17009 ESTORIL ST
                      CHINO HILLS, CA 91709



                      Aaron Hubbard
                      5226 SE 113TH ST
                      BELLEVIEW, FL 34420



                      Aaron Mateo
                      3559 Dalton Commons
                      Fremont, CA 94536
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 23 of 2164




                      Aaron Mendoza
                      11902 BEATY AVE
                      NORWALK, CA 90650



                      Aaron Myles
                      9761 W ELM LANE
                      MIRAMAR, FL 33027



                      Aaron Neville
                      2150 N TENAYA WAY
                      1067
                      LAS VEGAS, NV 89128



                      Aaron Puett
                      825 7 AVE
                      SAN DIEGO, CA 92101



                      Aaron Roe
                      2524 SE 166TH AVE
                      VANCOUVER, WA 98683



                      Aaron Sawyer
                      NW 9TH ST
                      1147
                      BOYNTON BEACH, FL 33426



                      Aaron Stahel
                      2628 LAKESIDE CIRCLE
                      PALM HARBOR, FL 34684



                      Aaron Urquiza
                      28188 Moulton Pkwy
                      Apt #2318
                      Laguna Niguel, CA 92677



                      Aaron Viera
                      38257 12ST EAST
                      APT. 29
                      PALMDALE, CA 93550
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 24 of 2164




                      Aaron Zuniga
                      506 E 1ST AVE
                      LA HABRA, CA 90631



                      Aaryn Bess
                      7645 ATHENOUR WAY
                      SUNOL, CA 94586



                      Abbey Ashton
                      16984 SKY VALLEY DRIVE
                      RAMONA, CA 92065



                      Abbey Colvin
                      811 E WETMORE RD
                      5206
                      TUCSON, AZ 85719



                      Abby Frazier
                      19947 SW JETTE LN
                      BEAVERTON, OR 97003



                      Abby Rogers
                      1602 Eastvale Drive
                      Spring, TX 77386



                      Abby Wright
                      17825 Nw Dogwood Ct
                      Beaverton, OR 97006



                      ABC LOCKSMITHS INC
                      9584 FOOTHILL BLVD
                      RANCHO CUCAMONGA, CA 91730



                      ABCWUA
                      PO BOX 27226
                      ALBUQUERQUE, NM 87125-7226
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 25 of 2164




                      Abdias Montoya
                      1900 W GLENOAKS AVE
                      J
                      ANAHEIM, CA 92801



                      Abdiel Cruz
                      10937 Polaris Dr.
                      San Diego, CA 92126



                      Abdoul Maiga
                      4738 N IROQUOIS
                      TUCSON, AZ 85705



                      Abdourahamane Barry
                      BARRY
                      106
                      PHOENIX, AZ 85008



                      Abduannasser Jalloud
                      10510 SIX PINES DR
                      Apt 7208
                      THE WOODLANDS, TX 77380



                      Abdul Rahman Oriakhael
                      1271 MONUMNET BLVD
                      84
                      CONCORD, CA 94520



                      Abdula Othman
                      4471 MARGERY DR
                      FREMONT, CA 94538



                      Abel Coyohua
                      7400 Bellerive Drive
                      #1706
                      Houston, TX 77036
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 26 of 2164




                      Abel Garcia
                      24481 Madeira Way
                      Laguna Niguel, CA 92677



                      Abel Garcia Cortez
                      10313 Westminster Ave
                      Garden Grove, CA 92843



                      Abel Guzman
                      60 Sw 131st Ave
                      Beaverton, OR 97005



                      Abel Lopez
                      1679 W 257 St
                      #5
                      Harbor City, CA 90710



                      Abel Marrufo
                      17793 E KEPNER DR
                      AURORA, CO 80017



                      Abelardo Paniagua
                      970 E. MISSION AVE
                      #4
                      ESCONDIDO, CA 92025



                      Abelardo Trujillo
                      PO Box 2372
                      Apt 20
                      Fullerton, CA 92837



                      Aberu Moti
                      1750 STOKES ST.
                      SAN JOSE, CA 95126



                      ABIDING HOPE PRESCHOOL
                      ERIN FISHER
                      6337 S ROBB WAY
                      LITTLETON, CO 80127
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 27 of 2164




                      Abigail Alvarenga
                      3674 Waterbury Ct
                      #14
                      San Jose, CA 95117



                      Abigail Arne
                      18441 TAMARIND STREET
                      FOUNTAIN VALLEY, CA 92708



                      Abigail Blanco
                      1221 S Evergreen Ave
                      Clearwater, FL 33765



                      Abigail Cardona
                      4218 ROMEO LN
                      105
                      FORT MYERS, FL 33916



                      Abigail Carr
                      37 MONTECILO
                      FOOTHILL RANCH, CA 92610



                      Abigail D. Cardona
                      4218 ROMEO LN
                      105
                      FORT MYERS, FL 33916



                      Abigail Franco
                      6129 36TH LN E
                      BRADENTON, FL 34203



                      Abigail Hernandez
                      1421 PICO ST
                      SAN FERNANDO, CA 91340



                      Abigail Largaespada
                      1505 NORTHPARK BLVD
                      212
                      SAN BERNARDINO, CA 92407
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 28 of 2164




                      Abigail mata
                      6110 HOWELL DR LA MESA
                      SAN DIEGO, CA 91942



                      Abigail Medina
                      26282 HOMELAND AVE.
                      HOMELAND, CA 92548



                      Abigail Oliver
                      402 E. Madison St.
                      Yates Center, KS 66783



                      Abigail Ortiz
                      30000 Hasley Canyon Road
                      #55
                      Castaic, CA 91384



                      Abigail Potain
                      951 W 3RD ST
                      AZUSA, CA 91702



                      Abigail Stillwell
                      11297 W Crestline Pl
                      Littleton, CO 80127



                      Abigail Tellers
                      164 N Avenida Cienega
                      Anaheim, CA 92807



                      Abigail Ugalde
                      4508 SHEPARD RD NE
                      A212
                      ALBUQUEQUE, NM 81107



                      Abigail Wiswall
                      11442 SW OAK CREEK DRIVE
                      PORTLAND, OR 97219
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 29 of 2164




                      Abigaile Villalvazo
                      4050 SAN BERNARDINO
                      SAN JOSE, CA 95111



                      ABINGTON TWP TREASURER
                      1176 OLD YORK ROAD
                      ABINGTON, PA 00019-0010



                      ABM EQUIPMENT COMPANY INC
                      800 NE TENNEY RD STE 110-204
                      VANCOUVER, WA 98685



                      Abner Michaud
                      4867 Nw 6th Court
                      Delray Beach, FL 33445



                      Abner Siliezar
                      29503 Timber Trail St
                      Spring, TX 77386



                      ABOUT BLIND CLEANING INC
                      PO BOX 44216
                      PHOENIX, AZ 85016-4216



                      Abraam Avalos
                      240 El Bosque St
                      San Jose, CA 95134



                      Abracadabra Carpet & Tile
                      6345 BUCKAROO AVE
                      LAS VEGAS, NV 89129



                      ABRACADABRA CARPET AND TILE CLEANING LLC
                      6345 BUCKAROO AVE
                      LAS VEGAS, NV 89129
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 30 of 2164




                      Abraham Al-Abbas
                      15430 SW EMERALD ST
                      BEAVERTON, OR 97007



                      Abraham Barrera
                      1076 E JOHNSTON AVE
                      HEMET, CA 92543



                      Abraham Cardenas
                      29136 BORTON STREET
                      CASTAIC, CA 91384



                      Abraham Duenas
                      4593 HANSEN AVENUE
                      #D
                      FREMONT, CA 94536



                      Abraham Flores
                      4611 SANTA ANITA
                      EL MONTE, CA 91731



                      Abraham Garcia
                      13401 NE 28TH ST
                      313
                      VANCOUVER, WA 98683



                      Abraham Lopez Mora
                      3005 W. CITRUS WAY
                      PHOENIX, AZ 85017



                      Abraham M. torres
                      761 ASTER ST
                      174
                      OXNARD, CA 93036



                      Abraham Mitchell
                      3314 W.LEMON ST
                      TAMPA, FL 33609
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 31 of 2164




                      Abraham Ortega
                      5069 University Avenue
                      APT 3
                      San Diego, CA 92105



                      ABRAHAM ORTEGA
                      5069 UNIVERSITY AVE APT 3
                      SAN DIEGO, CA 92105



                      Abraham Plata
                      944 S Valencia
                      #28
                      Mesa, AZ 85202



                      Abraham Ponce
                      3809 W. Saguaro Park
                      Glendale, AZ 85310



                      Abraham Rodriguez
                      3262 ROBERTA LANE
                      OCEANSIDE, CA 92054



                      Abraham torres
                      761 ASTER ST
                      174
                      OXNARD, CA 93036



                      Abraham Torres
                      250 QUINTARD ST APT 57
                      CHULA VISTA, CA 91911



                      Abraham TSEGAY BERIHANES
                      933 N ALVERNON WAY
                      111
                      TUCSON, AZ 85711



                      Abrahan Andrade
                      1761 LOYOLA DR
                      SAN JOSE, CA 95122
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 32 of 2164




                      ABRAMSON LEVIN AND GINDI LLP
                      3580 WILSHIRE BLVD STE 1260
                      LOS ANGELES, CA 90010



                      Abran Cervantes-Torres
                      55 NORTH 25TH STREET
                      55
                      SAN JOSE, CA 95116



                      Abran Garcia
                      40455 Blanchard St
                      Fremont, CA 94538



                      Abril Aquino
                      195 NORTH KING ROAD
                      B
                      SAN JOSE, CA 95116



                      Abril Retana
                      5400TH SHERIDAN BLV
                      ARVADA, CO 80002



                      Abriona Ranson
                      1023 PARK GATE PL
                      STONE MOUNTAIN, GA 30083



                      Abu Jabbie
                      12503 LIMBER PINE PL
                      HOUSTON, TX 77429



                      AC WARNACK
                      AND THE AC WARNACK TRUST
                      PO BOX 1409
                      LANCASTER, CA 93584



                      Acacia Denton
                      17363 CARRANZA DRIVE
                      SAN DIEGO, CA 92127
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 33 of 2164




                      ACADEMY AWNING INC
                      1501 BEACH ST
                      MONTEBELLO, CA 90640



                      ACADEMY LOCKSMITH INC
                      4887 EAST LA PALMA AVE #701
                      ANAHEIM, CA 92807



                      ACADEMY LOCKSMITH INC
                      4887 EAST LA PALMA AVE #701
                      ANAHEIM
                      CA, 92807



                      Academy Locksmith Inc.
                      4887 East La Palma Ave #701
                      Anaheim, CA 92807



                      ACADEMY OF THE CANYONS
                      26455 ROCKWELL CANYON
                      VALENCIA, CA 91355



                      ACC CURE5FQD6V
                      21 BELLEVUE DRIVE
                      TREASURE ISLAND, FL 33706



                      ACCELERATED ELEMENTARY AND SECONDARY SCH
                      5245 N CAMINO DE OESTE
                      TUCSON, AZ 85745



                      ACCESSIBLE SYSTEMS CONSULTING CORP
                      3011 GROTTO WALK
                      ELLICOTT CITY, MD 21042



                      ACCOUNTING SOCIETY
                      2938 SUSSEX LANE APT5
                      LOS ANGELES, CA 90023
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 34 of 2164




                      ACCOUNTING SOCIETY
                      2938 SUSSEX LANE APT5
                      LOS ANGELES
                      CA, 90023



                      ACE KLEEN WINDOW INC
                      PO BOX 91282
                      HENDERSON, NV 89009



                      ACE KLEEN WINDOW INC
                      PO BOX 91282
                      HENDERSON
                      NV, 89009



                      Ace Kleen Windows
                      PO BOX 91282
                      HENDERSON, NV 89009



                      Ace Landscaping




                      ACE MART RESTAURANT SUPPLY CO
                      PO BOX 974297
                      DALLAS, TX 75397-4297



                      Acelee Nester
                      6804 Jarvis Rd
                      Sarasota, FL 34231



                      Acesalley Robledo
                      4664 N Hughes Ave
                      Fresno, CA 93705



                      Acme United Corporation
                      Po Box 347808
                      Pittsburg, PA 15250-4808
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 35 of 2164




                      Acme United Corporation
                      Po Box 347808
                      Pittsburg
                      PA, 15250-4808



                      ACS ARCHITECTURAL CONSTRUCTION SERVICES
                      101 SHIPYARD WAY STE B
                      NEWPORT BEACH, CA 92663



                      ACS SUPPORT STOP 5050
                      PO BOX 219236
                      KANSAS CITY, MO 64121-9236



                      ACTIV KNOWLEDGE LLC
                      22431 ANTONIO PKWY
                      B160-859
                      RANCHO SANTA MARGARITA, CA 92688



                      ACU NETWORK AMERICA
                      15 S MALORY AVE
                      BATAZIA, IL 60510



                      Ada Castillo
                      468 Tulane Drive
                      Altamonte Springs, FL 32714



                      Adalid Arroyo
                      P.O. Box
                      Las Vegas, NV 89132



                      Adalid Arroyo
                      3401 N WALNUT RD71
                      LAS VEGAS, NV 89115



                      Adaline Lang
                      14499 EAST WESLEY AVENUE
                      AURORA, CO 80014
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 36 of 2164




                      ADAM AZAI
                      13545 ZINNIA HILLS PL APT 98
                      SAN DIEGO, CA 92130



                      Adam Christopher
                      6152 STANTON AVE
                      G212
                      BUENA PARK, CA 90621



                      Adam Divine
                      1350 Kelso Dunes
                      Apt 515
                      Henderson, NV 89014



                      Adam Ervin
                      3915 CAMINTO DEL MAR SURF
                      SAN DIEGO, CA 92130



                      Adam Fernandez
                      1854 CHALCEDONY ST
                      APT B
                      SAN DIEGO, CA 92109



                      Adam Fimbres
                      4084 E 25th St.
                      Tucson, AZ 85711



                      Adam Flores
                      118 DIABLO WAY
                      OXNARD, CA 93033



                      Adam Friesen
                      8394 QUAY DRIVE
                      ARVADA, CO 80003



                      ADAM GILLL
                      1426 AVOLENCIA DR
                      FULLERTON, CA 92835
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 37 of 2164




                      Adam Harper
                      1050 3rd St
                      Apt G
                      Clovis, CA 93612



                      Adam Jones
                      225 CAMELBACK ROAD
                      150
                      PLEASANT HILL, CA 94523



                      Adam Lira
                      205 WESTPARK CT
                      305
                      CAMARILLO, CA 93012



                      Adam Mercadante
                      2666 WORDEN ST.
                      UNIT 3
                      SAN DIEGO, CA 92110



                      Adam Mitchell
                      79 FAIRLANE RD
                      LAGUNA NIGUEL, CA 92677



                      Adam Munguia
                      10110 WESTVIEW DR
                      2503
                      HOUSTON, TX 77043



                      Adam Rollins
                      1823 ALBION STREET
                      LOS ANGELES, CA 90031



                      Adam Shamuilian
                      5040 GATEWAY RD
                      ALTA LOMA, CA 91701
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 38 of 2164




                      Adam Swanson
                      9208 Ne 91st
                      Vancouver, WA 98682



                      Adam Toklowicz
                      1217 OAK TRACE DRIVE
                      SARASOTA, FL 34232



                      Adam Zourigui
                      1137 QUARI ST
                      AURORA, CO 80011



                      ADAMS COUNTY TREASURER
                      PO BOX 869
                      BRIGHTON, CO 80601-0869



                      ADAN DASSOW
                      PO BOX 35032
                      ELMWOOD PARK, IL 90707



                      Adan Martinez Ochoa
                      6942 N TIPPECANOE AVE
                      SAN BERNARDINO, CA 92404



                      Adan Nogueda Jr
                      15323 SAN MORITZ
                      POWAY, CA 92064



                      Adan Ponce
                      3144 W. Anderson Dr
                      Phoenix, AZ 85053



                      Adan Rodriguez
                      4891 CLAIREMONT MESA BLVD
                      305
                      SAN DIEGO, CA 92117
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 39 of 2164




                      Adan Romero
                      3170 Thomas Paine Dr
                      Missouri City, TX 77459



                      Adan Ruiz villa
                      2124 ABBOTT AVE
                      PITTSBURG, CA 94565



                      Addison Wiese
                      95 RENAISSANCE PKWY NE
                      ATLANTA, GA 30308



                      Addyl Rivera
                      11621 BROOKHURST ST
                      GARDEN GROVE, CA 92840



                      ADEBOLA ADEBOYEJO
                      4342 NESTLE AVE CYPRESS
                      CYPRESS, CA 90630



                      ADECCO USA INC
                      DEPT LA 21403
                      PASADENA, CA 91185-1403



                      Adecco Usa, Inc
                      Dba Adecco Employment Services
                      DEPT LA 21403
                      Pasadena, CA 91185-1403



                      Adela Hernandez
                      39150 Sundale Dr
                      Apt 10
                      Fremont, CA 94538



                      Adelaine Phileus
                      230 SW 14 TH AVE
                      DEL RAY BEACH, FL 33444
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 40 of 2164




                      Adelia Moncada
                      243 S. Curtis Ave
                      Apt C
                      Alhambra, CA 91803



                      Adeline Georges
                      600 Sw 28th Dr
                      Fort Lauderdale, FL 33312



                      Adelle Phileus
                      230 SW 14TH AVE
                      DELRAY BEACH, FL 33444



                      Adia Blackmon
                      9305 LAMAR ST
                      SPRING VALLEY, CA 91977



                      Adilene Palacios
                      2414 North Tustin Ave
                      Apt 08
                      Santa Ana, CA 92705



                      Adina Vargas
                      1825 Robinhood St.
                      Sarasota, FL 34231



                      Adinson Jordonne
                      2631 NW 2ND ST
                      BOYNTON BEACH, FL 33435



                      Adjei Hathorn
                      4428 NANTUCKET COVE
                      STONE MOUNTAIN, GA 30083



                      Adjoa Aikins
                      52811 AVENIDA DIAZ
                      LA QUINTA, CA 92253
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 41 of 2164




                      ADMINISTRACION PARA EL SUSTENTO DE MENOR
                      PO BOX 71442
                      SAN JUAN, PR 00936



                      ADMINISTRACION PARA EL SUSTENTO DE MENOR
                      PO BOX 71442
                      SAN JUAN
                      PR, 936



                      ADMINISTRATR UNEMPLOYMENT COMP
                      EMPLOYMENT SECURITY DIVISION
                      PO BOX 2940
                      HARTFORD, CT 6104-2940



                      Adolfina Castillo
                      963 Walnut Woods
                      #2
                      San Jose, CA 95122



                      Adolfo Alceda
                      3432 1/2 MANITOU AVE
                      LOS ANGELES, CA 90031



                      Adolfo Flores
                      10011 HAMMERLY BLVD
                      106
                      HOUSTON, TX 77080



                      ADOLFO GARCIA RAMIREZ
                      2275 SABRINA WAY
                      TRACY, CA 95377



                      Adolfo Jimenez
                      4860 canoga st
                      Unit c
                      montclair, CA 91763
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 42 of 2164




                      Adolfo Lomeli
                      2315 MILLER AVE
                      ESCONDIDO, CA 92029



                      Adolfo Paz
                      5002 W. MCFADDEN AVE.
                      73
                      SANTA ANA, CA 92704



                      Adolfo santamaria
                      1488 LOCHNER DR SAN JOSE CA
                      SAN JOSE, CA 95127



                      Adolfo USTAREZ
                      8638 EAGLE RUN DR
                      13
                      BOCA RATON, FL 33434



                      ADOLPH AND ROSE LEVIS JCC
                      9801 DONNA KLEIN BLVD
                      BOCA RATON, FL 33428



                      Adraine Sparrow
                      1485 COLLINGWOOD DR
                      1485
                      MARIETTA, GA 30067



                      Adreana Photianos
                      6003 FALLING TREE LN
                      RANCHO CUCAMONGA, CA 91737



                      Adrian Beltran
                      54870- AVENIDA JUAREZ
                      LA QUINTA, CA 92253



                      Adrian Carreno
                      461 TILIA CT
                      CHULA VISTA, CA 91911
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 43 of 2164




                      Adrian Carrilo
                      11876 Adams St Thornton
                      Denver, CO 80233



                      Adrian Castellano Salazar
                      2115 5TH ST
                      #1
                      SARASOTA, FL 34237



                      Adrian Ceja
                      2703 Alvin Ave
                      San Jose, CA 95121



                      ADRIAN D. SALINAS
                      440 HAMILTON AVE
                      OXNARD, CA 93033



                      Adrian Fonseca
                      2976 FAIRFIELD DRIVE
                      B
                      TRACY, CA 95376



                      Adrian Gaona
                      1804 W. TERRACE AVE.
                      FRESNO, CA 93705



                      Adrian Garcia
                      10323 KLINGERMAN STREET
                      SOUTH EL MONTE, CA 91733



                      Adrian Garcia
                      6901 W HAZELWOOD STREET
                      PHOENIX, AZ 85033



                      Adrian Garcia Novoa
                      945 W CAMERON
                      207
                      WEST COVINA, CA 91790
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 44 of 2164




                      Adrian Gomez
                      7845 E. Appletree Dr
                      Tucson, AZ 85730



                      Adrian Gonzalez
                      1920 GARDENA AVE
                      15
                      GLENDALE, CA 91204



                      Adrian Hernandez
                      1859 BRADBURY AVE
                      DUARTE, CA 91010



                      Adrian hernandez
                      693 S. SECOND ST
                      SAN JOSE, CA 95112



                      Adrian Ledesma
                      1800 W GRAMERCY AVE.
                      #7
                      ANAHEIM, CA 92801



                      Adrian Lopez
                      1651 W SAINT JOHN RD
                      PHOENIX, AZ 85023



                      Adrian Maciel
                      2314 W DENNETT
                      FRESNO, CA 93728



                      Adrian Mahmutaj
                      4748 NORTHBRIDGE DR
                      202
                      ORLANDO, FL 32839



                      adrian medina
                      20807 RED SKY COURT
                      SANTA CLARITA, CA 91350
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 45 of 2164




                      Adrian Ortega
                      98 Monahan Drive
                      Ft. Walton Beach, FL 32547



                      Adrian Pena
                      634 GERANIUM PLACE
                      OXNARD, CA 93036



                      Adrian Pineda
                      78565 BOTTLEBRUSH DR.
                      LA QUINTA, CA 92253



                      Adrian Salazar
                      160 BONITA ST
                      ARCADIA, CA 91006



                      Adrian Salinas
                      440 HAMILTON AVE
                      OXNARD, CA 93033



                      Adrian Santibanez
                      4655 SOLAR ECLIPSE DRIVE
                      LAS VEGAS, NV 89115



                      Adrian Vasquez
                      5677 Almaden Rd.
                      Apt. D
                      San Jose, CA 95118



                      Adrian Vazquez
                      9952 SW 88TH ST
                      324
                      MIAMI, FL 33176



                      Adriana Arzola
                      8264 Flanders Drive
                      #3
                      San Diego, CA 92126
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 46 of 2164




                      Adriana Ascencio
                      3221NATIONAL CITY BLVD
                      SP 22
                      NATIONAL CITY, CA 91950



                      ADRIANA ASCENCIO
                      3221 NATIONAL CITY BLVD SP 22
                      NATIONAL CITY, CA 91950



                      Adriana Barba
                      4860 canoga st
                      Unit c
                      montclair, CA 91763



                      Adriana Barrantes
                      375 Palm Springs Drive
                      Apt # 1120
                      Altamonte Springs, FL 32701



                      Adriana Borquez
                      3513 W 132ND ST
                      HAWTHORNE, CA 90250



                      Adriana Cortez
                      7608 CORAL VINE LN
                      TAMPA, FL 33619



                      Adriana De Alba
                      1564 Tanglewood Lane
                      Escondido, CA 92026



                      Adriana Delgado
                      4988 LANTANA DR
                      SAN DIEGO, CA 92105



                      Adriana Di-paolo
                      6010 B N Himes Ave
                      Tampa, FL 33614
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 47 of 2164




                      Adriana Fernandez
                      11514 Westwood Blvd
                      Apt 421
                      Orlando, FL 32821



                      Adriana Flores
                      211 E. Acacia
                      Apt A
                      Brea, CA 92821



                      Adriana German
                      1142 Sepulveda Ave
                      San Bernardino, CA 92410



                      Adriana Gomez
                      21150 N TATUM BLVD
                      1081
                      PHOENIX, AZ 85050



                      Adriana Gonzalez
                      330 E. LEATRICE LN
                      #D
                      ANAHEIM, CA 92802



                      Adriana Grassa
                      512 W. LATONA RD
                      PHOENIX, AZ 85042



                      Adriana Hernandez
                      369 MONTGOMERY ST
                      CHULA VISTA, CA 91911



                      Adriana Licona
                      4344 Winchester Ave
                      Apt 15
                      Los Angeles, CA 90032
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 48 of 2164




                      Adriana Mckee
                      5782 DARTMOOR CIR
                      OCEANSIDE, CA 92057



                      Adriana Ortiz
                      20817 Nw Amber View Lane
                      Beaverton, OR 97006



                      Adriana Plascencia
                      16402 SW estuary Drive
                      #103
                      Beaverton, OR 97006



                      Adriana Reyes
                      3216 Annrae Street
                      San Diego, CA 92123



                      Adriana Robles
                      17045 Medallion Ave
                      #64
                      Tustin, CA 92780



                      Adrianna Chavez
                      1955 GILLILAN STREET
                      PLACENTIA, CA 92870



                      Adrianna Correa
                      1207 CEDAR POST LN
                      284
                      HOUSTON, TX 77055



                      Adrianna Ferran
                      15606 TIMBERLINE DR
                      TAMPA, FL 33624



                      Adrianna Iglesias
                      331 CHARLESTON ST SE
                      #A
                      ALBUQUERQUE, NM 87108
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 49 of 2164




                      Adriel Ojeda
                      26196 Crown Valley Pkwy
                      Mission Viejo, CA 92692



                      Adriel Salazar
                      611 98TH AVE NORTH
                      NAPLES, FL 34108



                      ADRIENNE WEISS CORPORATION
                      875 N MICHIGAN AVE STE 2717
                      CHICAGO, IL 60611



                      Adrihan Gomez
                      873 Walnut Drive
                      Oxnard, CA 93036



                      ADV PTSA
                      1060 KEENE RD
                      DUNEDIN, FL 34698



                      ADVANCE IMAGING SUPPLY INC
                      14560 FRIAR ST
                      VAN NUYS, CA 91411



                      ADVANCED COMMUNICATIONS SYSTEMS
                      3312 PURER ROAD
                      ESCONDIDO, CA 92029



                      ADVANCED COMMUNICATIONS SYSTEMS
                      3312 PURER ROAD
                      ESCONDIDO
                      CA, 92029



                      Advanced Document Systems
                      701 E. Gardena Blvd.
                      Gardena, CA 90248
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 50 of 2164




                      ADVANCED DOCUMENT SYSTEMS
                      701 E GARDENA BLVD
                      GARDENA, CA 90248



                      ADVANCED POWER TECHNOLOGIES
                      DEPT 751
                      PO BOX 220
                      BETTENDORF, IA 52722-0004



                      ADVANTAGE CHEMICAL LLC
                      27375 VIA INDUSTRIA
                      TEMECULA, CA 92590



                      Adyel Fonseca Amado
                      2816 CHARMONT DR.
                      APOPKA, FL 32703



                      Aereah thomas
                      6215 NOVATO DR
                      HOUSTON, TX 77053



                      Aerion Moore
                      6135 rayann court
                      riverside, CA 92504



                      Aeris Silva
                      11928 REEDY CREEK DR
                      101
                      ORLANDO, FL 32836



                      AFC Trading
                      4738 VALLEY BLVD
                      LOS ANGELES, CA 90032



                      Afc Trading & Wholesale, Inc
                      4738 Valley Blvd.
                      Los Angeles, CA 90032
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 51 of 2164




                      AFCO
                      DEPT 0809
                      PO BOX 120809
                      DALLAS, TX 75312-0809



                      AFFINITY BUILDING SOLUTIONS INC
                      2702 HILLGROVE DR
                      DACULA, GA 30018



                      AFFORDABLE SIGNAGE OF COLORADO LLC
                      3568 PEORIA ST STE 606
                      AURORA, CO 80010



                      Afnan Seyam
                      9753 HOLDER STREET
                      CYPRESS, CA 90630



                      Afolabi Oyewuwo
                      15807 IRONFORK DR
                      HOUSTON, TX 77053



                      Afrah Ali
                      3806 Fairmount Ave
                      #202
                      San Diego, CA 92105



                      Afrah Hussein
                      1605 W. El Rio Dr
                      Apt 209
                      Tucson, AZ 85745



                      AFRAM V NAHID




                      AFSP OREGON CHAPTER
                      8557 SW PINEBROOK ST
                      TIGARD, OR 97224
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 52 of 2164




                      AGAPE INTERNATIONAL MISSIONS
                      13010 PASEO LUCIDO
                      ATTN KASA MELE
                      SAN DIEGO, CA 92128



                      Agathe Charles
                      10945 WINDING CREEK WAY
                      BOCA RATON, FL 33428



                      AGAVE DOGS RESCUE
                      PO BOX 453
                      BEAVERCREEK, OR 97004



                      Ageo Palacios
                      2414 N . TUSTIN AVE
                      O-8
                      SANTA ANA, CA 92705



                      AGL RESOURCES
                      1844 FERRY ROAD
                      ATTN REMITTANCE
                      NAPERVILLE, IL 60563



                      Aglae Vazquez lopez
                      9767 HANOVER GROVE AVE.
                      LAS VEGAS, NV 89148



                      AGUA HEDIONDA LAGOON FOUNDATIO
                      1580 CANNON RD
                      CARLSBAD, CA 92008



                      Agustin Amador
                      3707 PONCIANA
                      APT. 36
                      SANTA CLARA, CA 95051



                      Agustin Carillo
                      79165 DESERT STREAM
                      LA QUINTA, CA 92253
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 53 of 2164




                      Agustin Dominguez-rivero
                      4423 W. Flower St.
                      Phoenix, AZ 85031



                      Agustin Silveyra
                      6703 SW 116 CT
                      UNIT C
                      MIAMI, FL 33173



                      Agustina-alejand Segura-bailon
                      2135 W Campbell
                      Apt #5
                      Phoenix, AZ 85015



                      Ahkeem Lenoir
                      12020 NORTH GESSNER RD
                      8101
                      HOUSTON, TX 77064



                      Ahkeen Simon
                      4495 E LOMA VISTA ST
                      GILBERT, AZ 85295



                      Ahmad Hazheer
                      4850 Lone Crt
                      Fremont, CA 94536



                      Ahmad Smith
                      150 DOMINION PARK DR
                      336
                      HOUSTON, TX 77090



                      Ahmadreza Shirian
                      680 Sylvan Ave
                      APT 19
                      Mountain View, CA 94041
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 54 of 2164




                      Ahmet Duran
                      3001 S BONITA STREET
                      SPRING VALLEY, CA 91977



                      Ahmod Jones
                      4722 E BELL ROAD
                      3134
                      PHOENIX, AZ 85032



                      AHS ASB
                      180 CAMPUS DRIVE
                      ARCADIA, CA 91007



                      AHS BPO
                      32776 CLEAR LAKE ST
                      FREMONT, CA 94555



                      AHS BPO
                      32776 CLEAR LAKE ST
                      FREMONT
                      CA, 94555



                      AHS CONSTITUTION TEAM
                      180 CAMPUS DRIVE
                      ARCADIA, CA 91007



                      AHS LINK CREW
                      180 CAMPUS DRIVE
                      LINK CREW
                      ARCADIA, CA 91007



                      AHS THEATER BOOSTERS
                      101 S 2ND ST
                      ALHAMBRA, CA 91801



                      AHWATUKEE LITTLE LEAGUE
                      PO BOX 50697
                      PHOENIX, AZ 85044
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 55 of 2164




                      AHWATUKEE SOFTBALL
                      521 E BROOKWOOD CT
                      PHOENIX, AZ 85048



                      Aida Arellano
                      11128 1/2 dodson st.
                      S. El Monte, CA 91733



                      Aida Maldonado Palacios
                      4717 Roswell Rd
                      Apt. H-6
                      Atlanta, GA 30342



                      Aidan Albano
                      17130 SW LISA ST
                      BEAVERTON, OR 97006



                      Aidan Loughnane
                      4162 FAIRLANDS DR.
                      PLEASANTON, CA 94588



                      Aidan Mariscal
                      6243 GUADALUPE AVE
                      LAS VEGAS, NV 89108



                      Aide campos lulo
                      1531 8TH ST
                      SAN FERNANDO, CA 91340



                      Aide Suarez
                      11861 Sw 206 Terra
                      Miami, FL 33177



                      Aiden Carey
                      141 CAMARILLO DRIVE
                      CAMARILLO, CA 93010
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 56 of 2164




                      Aiden Mireles
                      869 W WALNUT AVE
                      APT. L
                      MONROVIA, CA 91016



                      AIDS WALK LA
                      5555 MELROSE AVE ZUKOR BLDG
                      TEAM PARAMOUNT AIDS WALK 2018
                      LOS ANGELES, CA 90038



                      Aileen Espinoza
                      508 E. MISSION AVE
                      705
                      ESCONDIDO, CA 92025



                      AILEEN LOPEZ
                      3011 E 4TH ST APT 1
                      LONG BEACH, CA 90814



                      Aileen Morales
                      12901 S VERMONT AVE
                      APT E3
                      GARDENA, CA 90247



                      AIM INTEGRATED COMMUNICATIONS INC
                      169 DEL MAR SHORES TERRACE
                      SOLANA BEACH, CA 92075



                      Aime Cintron
                      9091 TIVOLI CHASE DR
                      ORLANDO, FL 32829



                      Aimee Rivera
                      2750 Riverside Dr
                      Apt 403
                      Los Angeles, CA 90039
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 57 of 2164




                      AIMY TRAN
                      2808 W RAMONA RD
                      #2
                      ALHAMBRA, CA 91803



                      Ain Avila-zamudio
                      5005 Sw Murray Blvd
                      Apt 413
                      Beaverton, OR 97005



                      Ain Ledesma
                      3042 JACKSON STREET
                      OXNARD, CA 93033



                      Aine Woods
                      3801 MARQUETTE PLACE
                      1B
                      SAN DIEGO, CA 92106



                      AIR AD PROMOTIONS INC
                      PO BOX 202066
                      ARLINGTON, TX 76006



                      AIR AD PROMOTIONS INC
                      PO BOX 202066
                      ARLINGTON
                      TX, 76006



                      AIRTECH HEATING & AIR CONDITIONING
                      5466 E LAMONA AVE STE 101
                      FRESNO, CA 93727



                      AIRTECH HEATING & AIR CONDITIONING
                      5466 E LAMONA AVE STE 101
                      FRESNO
                      CA, 93727
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 58 of 2164




                      AIRTIGHT INDUSTRIES INC
                      PO BOX 939
                      CHINO HILLS, CA 91709



                      Airtight Industries, Inc
                      P.O. Box 939
                      Chino Hills, CA 91709



                      Aisha Munnee
                      3826 BENTLEY AVE
                      CULVER CITY, CA 90232



                      Aisha Saucedo
                      612 E. ELM STREET
                      TUCSON, AZ 85705



                      Aiyana Lewis
                      25833 E. PARKVIEW PL.
                      AURORA, CO 80018



                      Aiza Thompson
                      9051 FREDERICK ST.
                      SPRING VALLEY, CA 91977



                      Ajala Latisha
                      520 ROYAL PALM DR.
                      NA
                      KISSIMMEE, FL 34743



                      Ajay Dalaya
                      303 SW 161ST AVE
                      PEMBROKE PINES, FL 33027



                      AJGA
                      1980 SPORTS CLUB DRIVE
                      BRASELTON, GA 30517
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 59 of 2164




                      Ajia Willis
                      611 East 13th Street
                      #209
                      Upland, CA 91786



                      AK VALENCIA HOLDINGS LLC
                      PO BOX 847134
                      ACCT #4125957084
                      LOS ANGELES, CA 90084-7134



                      AK VALENCIA HOLDINGS LLC
                      24303 TOWN CENTER DRIVE, #160
                      VALENCIA, CA 91355



                      AK VALENCIA HOLDINGS LLC
                      21500 BISCAYNE BLVD STE 700
                      AVENTURA, FL 33180



                      Akaaisha bazile
                      13223 CHAMPIONS CENTRE DR
                      HOUSTON, TX 77069



                      AKF3 Valencia, LLC
                      c/o Adler Kawa Real Estate Services, LLC
                      21500 Biscayne Blvd.
                      Ste. 700
                      Adventura, FL 33180



                      Akima parker
                      1315 QUARI STREET
                      14
                      DENVER, CO 80014



                      Akira Aichele
                      20 SIMPSON DRIVE
                      WALNUT CREEK, CA 94596
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 60 of 2164




                      Akira Sweet-Fisher
                      1175 OLD HARRIS RD
                      APT 422
                      DALLAS, GA 30157



                      Akshay Arora
                      2117 W SYCAMORE
                      ORANGE, CA 92866



                      ALABAMA DEPARTMENT OF LABOR
                      UNEMPLOYMNT COMPENSATION AGNCY
                      649 MONROE ST. ROOM 4207
                      MONTGOMERY, AL 36131-4220



                      ALABAMA DEPARTMENT OF REVENUE
                      WITHHOLDING TAX SECTION
                      P.O. BOX 327483
                      MONTGOMERY, AL 36132-7483



                      ALAMEDA COUNTY ENVIRONMENTAL
                      HEALTH DEPT
                      1131 HARBOR BAY PRKY
                      ALAMEDA, CA 94502



                      ALAMEDA COUNTY ENVIRONMENTAL
                      HEALTH DEPT
                      1131 HARBOR BAY PRKY
                      ALAMEDA
                      CA, 94502



                      ALAMEDA COUNTY RECORDER
                      1106 MADISON STREET
                      OAKLAND, CA 94607



                      ALAMEDA COUNTY WATER DISTRICT
                      PO BOX 101837
                      PASADENA, CA 91189
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 61 of 2164




                      ALAMEDA ELEMENTARY PTSA
                      10120 4TH ST NW
                      ALBUQUERQUE, NM 87114



                      Alan Angeles
                      7375 9TH ST
                      BUENA PARK, CA 90621



                      Alan Bunting
                      4202 ECHO CT
                      PLEASANTON, CA 94588



                      Alan Covarrubias
                      4632 33RD ST
                      5
                      SAN DIEGO, CA 92116



                      Alan De La Rosa
                      17841 E LEHIGH PL
                      AURORA, CO 80013



                      ALAN DOE
                      6142 W SCHOOL
                      CHICAGO, IL 60634



                      Alan Flores-Campos
                      10957 SAN BLAS CIRCLE
                      SAN DIEGO, CA 92126



                      Alan Ibarra Rivera
                      36454 FELIZ CT
                      FREMONT, CA 94536



                      Alan Kentta
                      13058 Se Powell Blvd
                      Portland, OR 97236
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 62 of 2164




                      Alan Laurie
                      5531 OLIVE AVENUE
                      SARASOTA, FL 34231



                      Alan Mascareno
                      1521 D APACHE DR
                      CHULA VISTA, CA 91910



                      Alan Peone
                      11185 Lee Way
                      San Diego, CA 92126



                      Alan Scanlan
                      4873 Clearview Way
                      La Mesa, CA 91942



                      ALAN TOBIA
                      3309 MONTELENA CT
                      MODELSTO, CA 95355



                      Alan Trinh
                      17163 NW GOLD CANYON LANE
                      BEAVERTON, OR 97006



                      ALAN WAX
                      9023 SOUTH SACRAMENTO AVE
                      EVERGREEN PARK, IL 60805



                      Alana Gross
                      28225 RANCHO GRANDE
                      LAGUNA NIGUEL, CA 92677



                      Alana Kundu
                      13023 Old Barn Drive
                      Richmond, TX 77407
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 63 of 2164




                      Alanah Mitchell
                      11411 CHELSEA OAK STREET
                      HOUSTON, TX 77065



                      Alandaniel Cosio
                      301 SHADY LANE
                      70
                      EL CAJON, CA 92021



                      Alanie Botello-hinds
                      7437 Haskell Ave
                      Apt 1
                      Van Nuys, CA 91406



                      Alasia Jackson
                      1121 DRUID RD E
                      APT 2 BUILDING 16
                      CLEARWATER, FL 33756



                      ALASKA DEPT OF LABOR & WORKFOR
                      CASHIERS
                      P.O. BOX 115506
                      JUNEAU, AK 99811-5506



                      Alaya Jackson
                      11503 DELL HOLLOW DR.
                      HOUSTON, TX 77066



                      Alaya Jackson
                      5534 WOODLAND GLADE DR.
                      HOUSTON, TX 77066



                      Alayna Sample
                      10089 PARK MEADOWS DR
                      101
                      LONE TREE, CO 80124
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 64 of 2164




                      Alayne Almazan
                      2836 N 33 Rd St
                      Phoenix, AZ 85008



                      ALBA BARRIOS
                      5305 CARLIN ST #1
                      LOS ANGELES, CA 90016



                      Alba Reyes
                      967 OAK AVENUE
                      CARLSBAD, CA 92008



                      Alba Sostenes
                      P.o. Box 571
                      Long Beach, CA 90801



                      Alba Vivanco
                      4495 Hopkins Run Dr
                      Duluth, GA 30096



                      Alban Lopez Gonzalez
                      1424 SEINE RIVER WAY
                      APT 35
                      CHULA VISTA, CA 91913



                      Albeniz Antonio Arauz
                      3401 S SENTOUS AVENUE
                      APT 236
                      West Covina, CA 91792



                      Albert azpeitia
                      3602 PONTIAC DR
                      CARLSBAD, CA 92010



                      ALBERT C BRUNELLE
                      639 VISTA BONITA
                      NEWPORT BEACH, CA 92660
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 65 of 2164




                      Albert Cocio
                      571 NORTH EDEN AVENUE
                      SUNNYVALE, CA 94085



                      Albert Cooks
                      7540 E POPLAR ST.
                      TUCSON, AZ 85730



                      Albert lamonte
                      539 W. MAPLEWOOD AVE.
                      FULLERTON, CA 92832



                      Albert Paredes
                      15003 CABIN RUN LANE
                      SUGAR LAND, TX 77498



                      Albert Romero
                      2617 W Ramona Rd
                      Alhambra, CA 91803



                      Albert Serrano
                      5592 CAMP ST.
                      CYPRESS, CA 90630



                      Albert Solis
                      7018 RITA AVE
                      312
                      HUNTINGTON PARK, CA 90255



                      Albert Soto
                      1328W CORTLAND AVE.
                      FRESNO, CA 93705



                      Alberto Carrillo
                      3025 S Cathay Cir
                      Aurora, CO 80013
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 66 of 2164




                      Alberto Castillo
                      9000 TRUMBULL AVE
                      97
                      ALBUQUERUQE, NM 87123



                      Alberto Castro
                      475 Summerland Dr
                      San Jose, CA 95134



                      Alberto Costales
                      23714 SW 110 PL
                      HOMESTEAD, FL 33032



                      Alberto Delgado
                      28188 MOULTON PKWY
                      819
                      LAGUNA NIGUEL, CA 92677



                      Alberto Garcia
                      2001 Ramrod
                      1323
                      Henderson, NV 89014



                      Alberto Garcia
                      1000 WILSONVILLE RD
                      30
                      NEWBERG, OR 97132



                      Alberto lopez
                      4517 PICKFORD ST
                      7
                      LOS ANGELES, CA 90019



                      Alberto Luis
                      350 S Willow
                      110
                      Rialto, CA 92376
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 67 of 2164




                      Alberto Manzanares
                      2617 S ROSEWOOD AVE
                      #C
                      SANTA ANA, CA 92707



                      Alberto Moreno
                      8823 WHITE SAGE LOOP
                      LAKEWOOD RANCH, FL 34202



                      Alberto Partida
                      270SINAI DRIVE
                      #0
                      PACHECO, CA 94553



                      Alberto Reynoso
                      13010 BECKLIN LN
                      HOUSTON, TX 77099



                      Alberto Rodriguez
                      638 STANLEY COURT
                      ESCONDIDO, CA 92026



                      Alberto Sanchez
                      33738 Eleven St.
                      Union City, CA 94587



                      Alberto Santos
                      1904 bookbinder dr
                      Las Vegas, NV 89108



                      Alberto Valerio
                      4479 Menlo Av
                      Apt. A
                      San Diego, CA 92115



                      ALBION SC GIULIANA BALISTRERI
                      1857 MENDOTA ST
                      SAN DIEGO, CA 92106
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 68 of 2164




                      ALCOHOLIC BEVERAGE CONTROL
                      3927 LENNANE DRIVE #100
                      SACRAMENTO, CA 95834



                      ALDEA PARENTS GROUP
                      15639 N 40TH ST
                      PHOENIX, AZ 85032



                      ALDERSGATE CHILDRENS CENTER
                      1201 IRVINE BLVD
                      TUSTIN, CA 92780



                      Aldo Infante
                      1522 ALMANOR ST
                      OXNARD, CA 93030



                      Aldo Martin
                      BOYNTON AVE
                      5
                      SAN JOSE, CA 95117



                      Aldreona Williams
                      15103 COLLINGWOOD LANE
                      15103
                      ALPHARETTA, GA 30022



                      Aldrin Arellano
                      28768 RAINTREE LN
                      SANTA CLARITA, CA 91390



                      Alea leonard
                      1018 S. MINNIE ST
                      5
                      SANTA ANA, CA 92701



                      Aleah Austin
                      275 NW LOST SPRINGS TERRACE
                      308
                      PORTLAND, OR 97229
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 69 of 2164




                      Alec Brajevich
                      3683 PATRICK CT
                      PALM HARBOR, FL 34684



                      Alec Burton
                      3664 W WHITE CANYON RD
                      QUEEN CREEK, AZ 85142



                      Alec Greer
                      13151 KELLAM CT
                      52
                      SAN DIEGO, CA 92130



                      Alec Morales
                      2310 E AVE R4
                      PALMDALE, CA 93550



                      Alec Ortiz
                      9155 N 82ND LN
                      PEORIA, AZ 85345



                      Alec Stone
                      3777 WILLOW PASS RD. TRLR 5
                      #5
                      BAY POINT, CA 94565



                      Alec Wright
                      24850 HANCOCK AVENUE
                      M209
                      MURRIETA, CA 92562



                      Alec Ybarra
                      13220 S 48TH ST.
                      1082
                      PHOENIX, AZ 85044



                      Alecxa Romo
                      9850 FEDERAL BLVD
                      DENVER, CO 80260
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 70 of 2164




                      Alecxis Barboza Del Villar
                      5424 Linden Ave
                      Apt 3
                      North Long Beach, CA 90805



                      Aleda Young
                      2102 D STREET
                      ANTIOCH, CA 94509



                      Aleena Duran
                      82786 BOSTON CT.
                      INDIO, CA 92201



                      Aleena Galvez
                      306 Bromley Cross Dr
                      San Jose, CA 95119



                      Aleena Valentine Lopez
                      108 1/2 SE 23RD STREET
                      FT LAUDERDALE, FL 33316



                      Alegacy Foodservice Products
                      12683 Corral Place
                      Santa Fe Springs, CA 90670



                      Alegacy Foodservice Products
                      12683 Corral Place
                      Santa Fe Springs
                      CA, 90670



                      Aleia Bricker
                      13660 Se 108th Ct Rd
                      Oklawaha, FL 32179



                      ALEIA BRICKER
                      13660 SE 108TH COURT RD
                      OKLAWAHA, FL 32179
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 71 of 2164




                      Aleigha Whitaker
                      10001 Coors Bypass Nw
                      #911
                      Albuquerque, NM 87114



                      ALEIGHA WHITAKER
                      10001 COORS BYPASS NW #911
                      ALBUQUERQUE, NM 87114



                      Alejandra BANUELOS
                      11022 W HONDO PKWY
                      #2
                      EL MONTE, CA 91780



                      Alejandra Berber
                      1534 East 4th St
                      Santa Ana, CA 92701



                      Alejandra Blas
                      1911 ROANWOOD DR.
                      HOUSTON, TX 77090



                      Alejandra Castrejon
                      9595 Pecos St
                      Lot#178
                      Thornton, CO 80260



                      Alejandra Cazares
                      260 N. MIDWAY DR.
                      A6
                      ESCONDIDO, CA 92027



                      Alejandra Flores
                      404 W Nevada St.
                      Ontario, CA 91762
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 72 of 2164




                      Alejandra Ledesma
                      2105 TOSCA ST 104
                      104
                      LAS VEGAS, NV 89128



                      Alejandra Lucatero
                      2464 S GARDEN AVE
                      FRESNO, CA 93725



                      Alejandra Marquez
                      3235 PHELPS AVE
                      LOS ANGELES, CA 90032



                      Alejandra Reyes
                      559 HANNAH ST.
                      SAN JOSE, CA 95126



                      Alejandra Rivera
                      4026 W MARYLAND AVE
                      PHOENIX, AZ 85019



                      Alejandra Rodriguez
                      3946 Franklin Ave
                      #7
                      Fullerton, CA 92833



                      Alejandra Serrato Tafolla
                      44334 FENHOLD ST
                      LANCASTER, CA 93535



                      Alejandra Tenango
                      3381 Sw 125th Ave
                      Beaverton, OR 97005



                      Alejandrina Rodriguez
                      3642 Mirror Lake Drive
                      Apopka, FL 32703
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 73 of 2164




                      Alejandro Altamirano
                      31970 Calle Vimianzo
                      Temecula, CA 92592



                      ALEJANDRO ANDRADE




                      Alejandro Anguiano
                      4140 37th St
                      San Diego, CA 92115



                      Alejandro Arboleda
                      560 WEKIVA COVE RD
                      LONGWOOD, FL 32779



                      Alejandro Bauza
                      228 VICTOR AVE
                      ORLANDO, FL 32801



                      Alejandro Baxcajay
                      1715 MORITZ
                      #9
                      HOUSTON, TX 77055



                      Alejandro Campos Gort
                      2608 W Henry Ave
                      Tampa, FL 33614



                      Alejandro Cardozo
                      26196 CROWN VALLEY PKWY
                      412
                      MISSION VIEJO, CA 92692



                      Alejandro Castillo
                      6413 BENECIA AVE
                      NEWARK, CA 94560
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 74 of 2164




                      Alejandro Chavez
                      2822 W BROOK ST
                      SANTA ANA, CA 92704



                      Alejandro Escalante
                      511 N. anaheim blvd
                      Anaheim, CA 92805



                      Alejandro Esteban
                      1382 Lambaren Ave
                      Livermore, CA 94551



                      Alejandro Fernandez
                      23302 ORANGE AVE APT 2
                      LAKE FOREST, CA 92630



                      Alejandro Gonzalez
                      1600 W BROADWAY
                      4A
                      ANAHEIM, CA 92802



                      Alejandro Gutierrez
                      9711 Hollyhill Dr
                      Orlando, FL 32824



                      Alejandro Guzman
                      13662 GREEN VALLEY DR.
                      TUSTIN, CA 92780



                      Alejandro Hernandez
                      7519 Brinkworth Lane
                      Houston, TX 77070



                      Alejandro Herrera Zavala
                      4323 E Lynne Lane
                      Phoenix, AZ 85042
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 75 of 2164




                      ALEJANDRO J. MARTINEZ
                      435 E 186th St
                      Carson, CA 90746



                      Alejandro Leon
                      37359 Oak St
                      Apt#1
                      Newark, CA 94560



                      Alejandro M. Cardozo
                      26196 CROWN VALLEY PKWY
                      412
                      MISSION VIEJO, CA 92692



                      Alejandro Martinez
                      435 E 186th St
                      Carson, CA 90746



                      Alejandro Martinez
                      4190 Altadena Ave
                      Apt 1
                      SAN DIEGO, CA 92105



                      Alejandro Moedano
                      5686 WEATHERSTONE CT.
                      SAN DIEGO, CA 92130



                      Alejandro Monrreal
                      5544 BALBOA ARMS DR
                      B4
                      SAN DIEGO, CA 92117



                      Alejandro Monrroy
                      3701 E PINNACLE PK RD
                      PHOENIX, AZ 85050
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 76 of 2164




                      Alejandro Moreno Torres
                      PO BOX 1954
                      A
                      ONECO, FL 34264



                      Alejandro Nunez
                      1336 WEST 7TH AVE
                      MESA, AZ 85202



                      Alejandro Paniagua
                      25801 ROANOKE RD.
                      MENIFEE, CA 92586



                      Alejandro Rivera
                      5324 MILLENIA BLVD #11203
                      ORLANDO, FL 32839



                      Alejandro Rivera
                      2729 11TH CT
                      PALM HARBOR, FL 34684



                      Alejandro Rochin
                      560 EAST H STREET
                      104
                      CHULA VISTA, CA 91910



                      Alejandro Rodriguez Jr
                      7100 WESTVIEW DR
                      1106
                      HOUSTON, TX 77055



                      Alejandro Santana
                      3635 PARK LAKE DR
                      102
                      TAMPA, FL 33618



                      Alejandro Tapia
                      1665 ENESCO AVE
                      SAN JOSE, CA 95121
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 77 of 2164




                      Alejandro Toledo
                      1085 Tasman Dr.
                      Spc#428
                      Sunnyvale, CA 94089



                      Aleksei Solomatov
                      6131 ROYAL DIAMOND CT
                      EASTVALE, CA 92880



                      Alerriz Peralta
                      11928 REEDY CREEK
                      202
                      ORLANDO, FL 32836



                      Alesea Smith
                      4501 E. 5TH STREET
                      TUCSON, AZ 85711



                      Alesiya Dushane
                      12100 PARK BLVD
                      1803
                      SEMINOLE, FL 33776



                      Alessandro Bazan
                      5544 BALBOA ARMS DR
                      F-10
                      SAN DIEGO, CA 92117



                      ALESSANDRO D. BAZAN
                      5544 BALBOA ARMS DR
                      F-10
                      SAN DIEGO, CA 92117



                      Alex Alvarado
                      8801 W. BELLEVIEW AVE
                      C.307
                      LITTLETON, CO 80123
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 78 of 2164




                      ALEX AUREA BAQUE
                      BELL DE MAR DR
                      TEMPE, AZ 85283



                      Alex Benavidez
                      317 EAST TRUSLOW AVE
                      FULLERTON, CA 92832



                      Alex Berrian
                      64 GUAVA PASS DR
                      OCKLAWAHA, FL 32179



                      Alex Bollinger
                      4925 Milano Way
                      Martinez, CA 94553



                      Alex Castaneda
                      1507 N DURANT ST
                      39
                      SANTA ANA, CA 92706



                      Alex College
                      742 SAMUEL ST.
                      DAVENPORT, FL 33897



                      Alex Diaz
                      8681 KATELLA AVE
                      SPC912
                      STANTON, CA 90680



                      Alex Eargood
                      112 Redwood Ter
                      Tampa, FL 33610



                      Alex Gallardo
                      10310 Firth Blvd
                      143
                      Los Angeles, CA 90002
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 79 of 2164




                      Alex Guevara
                      4425 Edenhurst Ave
                      Los Angeles, CA 90039



                      Alex Hayes
                      5092 HILLCREST WAY
                      PLEASANTON, CA 94588



                      Alex Herrera
                      6131 W THOMAS RD
                      1015
                      PHOENIX, AZ 85033



                      Alex Montepeque
                      213 Spalding Gates Drive
                      Sandy Springs, GA 30328



                      Alex Moreau
                      5 COASTAL OAK LANE
                      COTO DE CAZA, CA 92679



                      Alex Munoz
                      2519 W SAINT KATERI DRIVE
                      PHOENIX, AZ 85041



                      Alex Palacios
                      6587 Rancho Del Sol Way
                      #17
                      San Diego, CA 92130



                      Alex Parks
                      4701 Irving Blvd Nw
                      #207
                      Albuquerque, NM 87114



                      Alex Robles
                      3057 W COOLIDGE AVE
                      #3
                      ANAHEIM, CA 92801
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 80 of 2164




                      Alex Snyder
                      9554 W DIABLO DR
                      LAS VEGAS, NV 89148



                      Alex Steckel
                      1210 PADGETT CIR
                      LADY LAKE, FL 32159



                      Alex Terry
                      5755 SUNSET MAPLE DR
                      JOHNS CREEK, GA 30005



                      Alexa Estrada
                      16201 AVALON COURT
                      CHINO HILLS, CA 91709



                      Alexa Flores
                      18215 W Avra Valley Rd
                      Marana, AZ 85653



                      Alexa Granderson
                      10306 Tablerock Drive
                      Houston, TX 77064



                      Alexa Landacre
                      1457 DARYL DRIVE
                      SARASOTA, FL 34232



                      Alexa Perez
                      11806 SE 48TH AVE
                      11806
                      MILWAUKIE, OR 97222



                      Alexa R. Granderson
                      10306 Tablerock Drive
                      Houston, TX 77064
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 81 of 2164




                      Alexa Robinson
                      5010 E CHEYENNE DR.
                      #2076
                      PHOENIX, AZ 85044



                      Alexa Rodriguez
                      ASPEN LN 3985
                      CHINO HILLS, CA 91709



                      Alexa Soto
                      1154 MARINER CAY DR
                      HAINES CITY, FL 33844



                      Alexa Tellez
                      2374 SHADY ACRE LANE
                      LEMON GROVE, CA 92020



                      Alexa Torrez
                      38739 Glenbush Ave
                      PALMDALE, CA 93550



                      Alexander Alvarez
                      2151 WASECA LANE
                      LEESBURG, FL 34748



                      Alexander Carpenter
                      9969 ACADEMY ST NW
                      ALBUQUERQUE, NM 87114



                      Alexander Cox
                      20717 N 37TH WAY
                      PHOENIX, AZ 85050



                      Alexander Dawson
                      1074 GRAND OAKS GLEN NW
                      MAREITTA, GA 30064
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 82 of 2164




                      Alexander Deguzman
                      1406 3RD ST
                      DUARTE, CA 91010



                      Alexander Exiga
                      9290 WOODFAIR DR
                      405
                      HOUSTON, TX 77036



                      Alexander Flores
                      4431 Adragna Ct
                      San Jose, CA 95136



                      Alexander Forbes
                      18226 E 53RD DR
                      DENVER, CO 80249



                      Alexander Franklin-collier
                      9089 Mesa Woods Avn.
                      San Diego, CA 92126



                      Alexander Garcia
                      1226 NORTH WILMINGTON BLVD.
                      WILMINGTON, CA 90744



                      ALEXANDER HARRIS
                      693 GARFIELD AVE
                      EL CAJON, CA 92020



                      ALEXANDER J. MALTBY
                      40055 TEMECKY WAY
                      MURRIETA, CA 92562



                      Alexander Jimenez
                      4688 Helpert Ct
                      Pleasanton, CA 94588
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 83 of 2164




                      Alexander Jimenez-Sadorra
                      51926 CALLE EMPALME
                      COACHELLA, CA 92236



                      ALEXANDER KILIANNAN
                      385 WEYMOUTH PL
                      LAGUNA BEACH, CA 92651



                      Alexander La Rue
                      22971 BELQUEST DR.
                      LAKE FOREST, CA 92630



                      Alexander Landen
                      122 15TH ST
                      DEL MAR, CA 92014



                      Alexander Lee Thomas
                      1205 N. Formosa Ave.
                      West Hollywood, CA 90046



                      Alexander LeFlore
                      7501 142ND AVE NORTH
                      556
                      LARGO, FL 33771



                      Alexander Maltby
                      40055 TEMECKY WAY
                      MURRIETA, CA 92562



                      Alexander Martinz
                      2283 UNIVERSITY AVE
                      EAST PALO ALTO, CA 94303



                      Alexander Moller
                      30683 Carroll Ave
                      Hayward, CA 94544
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 84 of 2164




                      Alexander Norby
                      6202 W. CROSS DR.
                      LITTLETON, CO 80123



                      Alexander Ramirez
                      1331 E 31ST AVE
                      12
                      DENVER, CO 80205



                      Alexander Rocha
                      1575 Oak Dr
                      #n7
                      Vista, CA 92084



                      Alexander Rocha
                      2444 ALVARADO ST
                      P7
                      OXNARD, CA 93036



                      Alexander Santiago
                      1325 SANTA RITA E
                      APT 109
                      CHULA VISTA, CA 91913



                      Alexander Singletary
                      14800 NW CORNELL ROAD
                      24D
                      PORTLAND, OR 97229



                      Alexander Smith
                      3350 Griffith Park Blvd
                      Los Angeles, CA 90027



                      Alexander Stanford
                      20362 Mooncrest Cir
                      Huntington Beach, CA 92646
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 85 of 2164




                      Alexander Stein
                      7706 Caffey Lane
                      San Diego, CA 92126



                      Alexander Trillo
                      16705 BARNELL AVE
                      APT 5
                      MORGAN HILL, CA 95037



                      Alexander Velasquez
                      3835 W 104TH STREET
                      26
                      INGLEWOOD, CA 90301



                      Alexander Youssef
                      11405 PARKSIDE PLACE
                      LAKEWOOD RANCH, FL 34202



                      Alexandra Avilez
                      140 ALBERT STREET
                      LA PUENTE, CA 91744



                      Alexandra Barclay
                      1945 BARRETT KNOLL CIR
                      KENNESAW, GA 30152



                      Alexandra Cerasaro
                      7935 MISSION MANZANA PLACE
                      SAN DIEGO, CA 92120



                      Alexandra Davis
                      28 DEERFIELD PLACE
                      TRABUCO CANYON, CA 92679



                      Alexandra Dyl
                      12536 WEST BRANDT PLACE
                      LITTLETON, CO 80127
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 86 of 2164




                      Alexandra Heming
                      945 ESTES STREET
                      40
                      EL CAJON, CA 92020



                      Alexandra Herrera
                      7911 SE KING RD PORTLAN
                      31
                      MILWAUKIE, OR 97222



                      Alexandra Hewell
                      1898 BAYONNE CT.
                      TRACY, CA 95304



                      ALEXANDRA L. MURDOCK
                      1669 EUCLID AVE
                      CAMARILLO, CA 93010



                      Alexandra Murdock
                      1669 EUCLID AVE
                      CAMARILLO, CA 93010



                      Alexandra Poole
                      4124 E MILKY WAY
                      GILBERT, AZ 85295



                      Alexandra Quinn
                      1239 EVENING CANYON AVE
                      HENDERSON, NV 89014



                      Alexandra Razo
                      31166 CAMINO VERDE
                      TEMECULA, CA 92591



                      Alexandra Razo-cabrera
                      385 Whipporwill Dr
                      Riverside, CA 32507
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 87 of 2164




                      Alexandra Tishkina
                      3914 NE 39TH ST.
                      VANCOUVER, WA 98661



                      Alexandra Walters
                      12430 SW Ash Ave
                      #3
                      Tigard, OR 97223



                      Alexandre Claudanie
                      211 NE 25TH CT
                      POMPANO BEACH, FL 33064



                      Alexandre Gao
                      930 REGENT DRIVE
                      LOS ALTOS, CA 94024



                      Alexandre Lawson
                      9014 UTICA CT
                      WESTMINSTER, CO 80031



                      Alexandrea Iles
                      1847 W ASH AVE.
                      FULLERTON, CA 92833



                      Alexandria Cable
                      624 Obo Dr
                      Kissimmee, FL 34747



                      Alexandria Hernandez
                      29623 South Legends Bend Ln
                      Spring, TX 77386



                      Alexandria Holzmiller
                      919 Cobb Parkway N
                      Apt 104
                      Marietta, GA 30062
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 88 of 2164




                      Alexandria Jimenez
                      4110 LOMA RIVIERA LANE
                      SAN DIEGO, CA 92110



                      ALEXANDRIA ROMERO
                      289 WARREN ST S #2
                      MONMOUTH, OR 97361



                      Alexandria Woodson
                      3295 Corporal Dr
                      San Diego, CA 92124



                      Alexandro Melchor
                      2228 LYDINE STREET
                      LEMON GROVE, CA 91945



                      Alexcia Apodaca
                      2845 ALISO DR NE
                      ALBUQUERQUE, NM 87110



                      Alexi Fodden
                      1169 Lake Mcgregor Dr
                      Fort Myers, FL 33919



                      ALEXI FODDEN
                      17313 BIRCHWOOD LANE
                      FORT MYERS, FL 33908



                      Alexi Mata
                      18656 Sarasota Rd
                      Fort Myers, FL 33967



                      Alexia Dominguez
                      4358 EMILY DR.
                      JAMUL, CA 91935
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 89 of 2164




                      Alexia Hudson
                      7630 S 23RD PLACE
                      PHOENIX, AZ 85042



                      Alexia Lujan
                      17800 COLIMA RD
                      771
                      ROWLAND HEIGHTS, CA 91748



                      Alexis Albritton
                      8482 85TH CT
                      SEMINOLE, FL 33777



                      Alexis azpeitia cruz
                      2325 VIA SANTOS
                      L
                      CARLSBAD, CA 92008



                      Alexis Bailey
                      089 DAMROSCH ST
                      LARGO, FL 33071



                      Alexis brooks
                      2879 BARNARD STREET
                      SAN DIEGO, CA 92110



                      Alexis Buck
                      1651 N RIVERSIDE AVE
                      915
                      RIALTO, CA 92376



                      Alexis Castro
                      11380 COURT ST.
                      1205
                      STANTON, CA 90680



                      Alexis Clark
                      8041 E ROSEWOOD ST
                      TUCSON, AZ 85710
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 90 of 2164




                      Alexis Contreras
                      9822 ACACIA AVE
                      #1
                      GARDEN GROVE, CA 92841



                      Alexis Correa
                      12861 WEST ST. SPC 82
                      GARDEN GROVE, CA 92840



                      Alexis De Los Santos
                      1590 PALMER AVE
                      CAMARILLO, CA 93010



                      Alexis Delaney
                      4208 HARBOR LAKE DR
                      LUTZ, FL 33558



                      Alexis Domingo
                      908 W 41ST DR
                      LOS ANGELES, CA 90037



                      ALEXIS EUBANKS
                      2824 SE MALCOLM ST
                      MILWAUKE, OR 97222



                      ALEXIS EUBANKS
                      2824 SE MALCOLM ST
                      MILWAUKE
                      OR, 97222



                      Alexis Floyd
                      8381 CORAL DRIVE
                      FORT MYERS, FL 33967



                      Alexis Gimbel
                      19125 Streamside Ct
                      Boca Raton, FL 33428
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 91 of 2164




                      Alexis Green
                      5020 W PEORIA AVE
                      129
                      GLENDALE, AZ 85302



                      Alexis Guardado
                      26885 MONTSERATT CT
                      NA
                      MURRIETA, CA 92563



                      Alexis Guy
                      3316 NE 132ND AVENUE
                      VANCOUVER, WA 98682



                      Alexis Harris
                      17262 SE WEBSTER RD.
                      GLADSTONE, OR 97027



                      Alexis Hernandez
                      2836 N 33rd St
                      Phoenix, AZ 85008



                      Alexis Hughes
                      3086 OLD COACH DR
                      CAMARILLO, CA 93010



                      Alexis Johnson
                      8125 MILLS DR
                      4311
                      HOUSTON, TX 77064



                      Alexis Karaskiewicz
                      5611 FIRST AVE E
                      107
                      BRADENTON, FL 34208



                      Alexis Kilbey
                      10452 FLY FISHING ST
                      RIVERVIEW, FL 33569
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 92 of 2164




                      Alexis Lester
                      2599 CHAMBERS RD
                      MARIETTA, GA 30066



                      Alexis Lofton
                      20702 El Toro Rd. Apt 559
                      Lake Forest, CA 92630



                      Alexis Logue
                      52614 W. FLAMINGO AVE.
                      MARICOPA, AZ 85139



                      Alexis Louie
                      5266 Townsend Ave
                      Los Angeles, CA 90041



                      Alexis Luna
                      5051 DAWNE ST
                      SAN DIEGO, CA 92117



                      ALEXIS M. RAMOS
                      741 SANTA SUSANA ST
                      SUNNYVALE, CA 94085



                      Alexis Maestas
                      701 ROMA 87102
                      ALBUQUERQUE, NM 87102



                      Alexis Martinez
                      1965 ADDISON WAY
                      LOS ANGELES, CA 90041



                      Alexis Maximo Cruz
                      4027 FOND DU LAC AVE.
                      SAN DIEGO, CA 92117
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 93 of 2164




                      Alexis Milender
                      8614 Yukon st
                      C-103
                      arvada, CO 80005



                      Alexis Murillo
                      28121 Mariposa unit#215
                      LAGUNA NIGUEL, CA 92677



                      Alexis N. Schultz
                      19821 BUSHARD STREET
                      HUNTINGTON BEACH, CA 92646



                      Alexis Newson
                      4208 W LA SELLE ST
                      TAMPA, FL 33607



                      Alexis Norman
                      1522 E. SOUTHERN AVE
                      2084
                      TEMPE, AZ 85282



                      Alexis Olmos
                      27847 Lanai Ct
                      Hayward, CA 94544



                      ALEXIS ORTIZ
                      1212 LA CHARLES DR N E
                      ALBUQUERQUE, NM 87112



                      Alexis Ramirez
                      16886 CANARY STREET
                      CONROE, TX 77385



                      Alexis Ramos
                      741 SANTA SUSANA ST
                      SUNNYVALE, CA 94085
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 94 of 2164




                      Alexis Ramos
                      7994 South Estes Ct
                      Littleton, CO 80128



                      Alexis Reed
                      5777 W 117TH PL
                      WESTMINSTER, CO 80020



                      Alexis renteria
                      7890 IRVING ST
                      WESTMINSTER, CO 80030



                      Alexis Sandoval
                      1442 S PARTON
                      SANTA ANA, CA 92707



                      Alexis Schultz
                      19821 BUSHARD STREET
                      HUNTINGTON BEACH, CA 92646



                      Alexis Sepulveda
                      14692nw Cornell Rd
                      Apt106
                      Portland, OR 97229



                      Alexis Serafin
                      27580 Vollmer Ln
                      Potrero, CA 91963



                      Alexis Terwilliger
                      9574 SW 148TH AVE CIR W
                      MIAMI, FL 33196



                      ALEXIS TRIPPON
                      745 CAMELOT LANE
                      HOUSTON, TX 77024
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 95 of 2164




                      Alexis Vasquez
                      2251 S Memphis St
                      Aurora, CO 80013



                      Alexis Villalpando
                      1785 KAMMERE AVE
                      SAN JOSE, CA 95116



                      Alexis Whitehead
                      1981 NW 43RD TERRACE
                      156
                      LAUDERHILL, FL 33313



                      Alexis Whitmer
                      16594 SE 57TH PLACE
                      OCKLAWAHA, FL 32179



                      ALEXISIS BRITT
                      13151 SE 115TH AVE
                      OCKLAWAHA, FL 32179



                      ALEXISIS E. BRITT
                      13151 SE 115TH AVE
                      OCKLAWAHA, FL 32179



                      Alexsamm Lopez
                      14642 CARFAX DR
                      APT B
                      TUSTIN, CA 92780



                      Alexus Lozano
                      79762 Independence Way
                      La Quinta, CA 92253



                      Alexus Paterno
                      11815 ESTATES CLUB DR APT 1518
                      1518
                      ORLANDO, FL 32825
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 96 of 2164




                      Alexus Sharp
                      9616 NE 72nd St
                      VANCOUVER, WA 98662



                      Alexzandria Starkey
                      717 CALIENTE DR
                      BRANDON, FL 33511



                      Aleyda Nevarez
                      400 W.baseline Rd
                      #115
                      Tempe, AZ 85283



                      Alfiya Mohammed
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                      APT. 134
                      SAN JOSE, CA 95126



                      Alfonso Azagra
                      3044 GLENHURST AVENUE
                      3044
                      LOS ANGELES, CA 90039



                      Alfonso Delgado
                      650 sw 108th ave apt 108
                      Pembroke Pines, FL 33025



                      ALFONSO DUARTE
                      6616 CENTRAL AVE SW
                      ALBUQUERQUE, NM 87108



                      Alfonso Rios
                      14641 CAGNEY CT
                      MORENO VALLEY, CA 92553



                      Alfonzo Mccarthy
                      1408 E. 23rd Ave.
                      Denver, CO 80205
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 97 of 2164




                      Alford nkrumaha
                      9145 S LAS VEGAS BLVD
                      3014
                      LAS VEGAS, NV 89123



                      Alfred Cruz
                      1829 E. Workman Ave # 12
                      West Covina, CA 91791



                      ALFRED CRUZ
                      1829 E WORKMAN AVE
                      WEST COVINA, CA 91791



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                      2556 10th Street
                      Apt 206
                      Sarasota, FL 34237



                      Alfredo Bucio
                      450 S. Valencia
                      APT B7
                      Mesa, AZ 85202



                      Alfredo Caal
                      2620 E phelps rd
                      Phoenix, AZ 85032



                      Alfredo Carrillo
                      6375 SOUTHERN ROAD
                      LA MESA, CA 91942



                      Alfredo Castillo
                      10400 SE COOK COURT
                      42
                      MILWAUKIE, OR 97222
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                      Alfredo Hurtado
                      40777 MAX DR
                      2
                      FREMONT, CA 94538



                      Alfredo Marenco
                      16620 ROGUE RIVER TER
                      BEAVERTON, OR 97006



                      Alfredo Marin Contreras
                      134 E 57TH ST
                      LONG BEACH, CA 90805



                      Alfredo Martinez
                      1965 Addison Way
                      Los Angeles, CA 90041



                      Alfredo Mayorga
                      3545 Ross st
                      Riverside, CA 92503



                      Alfredo Morales Marin
                      9494 CARROLL CANYON RD
                      83
                      SAN DIEGO, CA 92126



                      Alfredo Murillo
                      37067 WALNUT ST
                      NEWARK, CA 94560



                      Alfredo Nanbo Arreola
                      5937 CECILIA STREET
                      BELL GARDENS, CA 90201



                      Alfredo Ochoa
                      14700 Strathern St. #14
                      Panorama City, CA 91402
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 99 of 2164




                      Alfredo Quinones
                      1343 LAUREL TREE LN
                      APT.206
                      CARLSBAD, CA 92011



                      Alfredo Quinones-gallegos
                      1343 Laurel Tree Ln
                      Apt 206
                      Carlsbad, CA 92011



                      Algeria Stfleur
                      4019 E GROVE STREET
                      TAMPA, FL 33610



                      ALHAMBRA HIGH SCHOOL C/O 2021
                      101 SOUTH 2ND STREET
                      ALHAMBRA, CA 91803



                      ALHAMBRA PLAZA BUILDING PARTNERSHIP
                      3015 NORTH OCEAN BLVD #110
                      C/O SAVELLE INVESTMENT DYNAMIC
                      FORT LAUDERDALE, FL 33308



                      Alhan Rascon
                      2455 NORTH DODGE BLVD
                      APT 1103
                      TUCSON, AZ 85711



                      ALHS DANCE BOOSTERS
                      8880 BASELINE RD
                      RANCHO CUCAMONGA, CA 91701



                      Ali Al-bahadl
                      13000 ROMA AVE NE
                      ALBUQUERQUE, NM 87123



                      Ali Duale
                      2621 E. 3rd Rd
                      Tucson, AZ 85716
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 100 of 2164




                      Ali Martinez
                      1255 Calavo Dr.
                      Escondido, CA 92026



                      Ali Salari
                      108 Veneto
                      Irvine, CA 92614



                      Ali Samer
                      660 S MOLLISON
                      11
                      EL CAJON, CA 92020



                      Alia Albahadl
                      ROMA 13000
                      ALBUQUERQUE, NM 87123



                      Alia Crawford
                      5583 W. SUNSET VISTA PL.
                      MARANA, AZ 85658



                      Aliah Luna
                      1652 W ALMACA CT
                      TUCSON, AZ 85746



                      Aliana Luna
                      861 LINDSEY COURT
                      NORCROSS, GA 30093



                      Alias halay-ay
                      68565 CONCEPCION ROAD
                      CATHEDRAL CITY, CA 92234



                      Aliaya Simmons
                      3571 PARKRIDGE CIRCLE
                      SARASOTA, FL 34243
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 101 of 2164




                      Alice Canales
                      10764 ROSE AVE
                      ONTARIO, CA 91762



                      Alice Garcia
                      837 POMEROY AVE
                      10
                      SANTA CLARA, CA 95051



                      Alicia Armas
                      2109 W. RANDOM DRIVE
                      ANAHEIM, CA 92804



                      ALICIA BROGON
                      3561 MOUNT CLAIRE CIRCLE
                      NORTHPORT, FL 34287



                      Alicia Cervantes
                      1036 W BREWSTER AVE.
                      D
                      ANAHEIM, CA 92801



                      Alicia Clark
                      1340 C Street
                      Hayward, CA 94541



                      Alicia Delos Santos
                      200 COUNTRY CLUB DR
                      304
                      LARGO, FL 33771



                      Alicia Diaz
                      8202 W. 10th Avenue
                      Apt 6
                      Lakewood, CO 80214



                      Alicia Garcia
                      521 ALMOND AVE
                      MONROVIA, CA 91016
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 102 of 2164




                      Alicia Gomez
                      2453 W HARVARD AVE
                      DENVER, CO 80219



                      Alicia Gonzalez
                      2235 Grovest Ap3
                      National City, CA 91950



                      Alicia Macedo Torres
                      130 S. PRITCHARD AVE
                      F
                      FULLERTON, CA 92833



                      Alicia Manzo
                      1560 Dallas Ter
                      Henderson, NV 89014



                      Alicia marshall
                      13542 CHACO CT.
                      SAN DIEGO, CA 92129



                      Alicia monzon
                      347 BURNING TREE DRIVE
                      SAN JOSE, CA 95119



                      Alicia Murray
                      7621 HORSE POND RD
                      ODESSA, FL 33556



                      Alicia Nixon
                      1443 Olive Avenue
                      Vista, CA 92083



                      Alicia Rhoades
                      1007 WOODLAWN AVENUE
                      CHULA VISTA, CA 91911
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 103 of 2164




                      Alicia Rodriguez
                      2676 FOOTHILL DR
                      VISTA, CA 92084



                      Alicia Roman
                      3342 E. Fillmore
                      Phoenix, AZ 85008



                      Alicia Salas
                      7856 W ROCK SPRINGS DR
                      PEORIA, AZ 85383



                      Alicia Samaniego
                      8666 W 86 CIRCLE
                      ARVADS, CO 80005



                      ALICIA SMITH
                      389 E HAROLD DR
                      SAN TAN VALLEY, AZ 85140



                      Alicia Thompson
                      2015 Whitestone Place
                      Alpharetta, GA 30005



                      Alicia Torres
                      3137 ROBIN DEIVE
                      KENNESAW, GA 30144



                      Alicia Underhill
                      3385 W. CENTENNIAL AVE.
                      LITTLETON, CO 80123



                      Alicia Whitfield
                      2384 21st St.
                      Sarasota, FL 34234
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 104 of 2164




                      Aliciana Roquez-Acosta
                      10125 SE Bob Schumacher Rd
                      Apt 412
                      Happy Valley, OR 97086



                      Alida Alonso Arano
                      1626 PASEO LAGUNA SECO
                      33
                      LIVERMORE, CA 94551



                      Alide Ramos
                      PELLHAM WAY
                      7502
                      KISSIMMEE, FL 34747



                      Aliena Colendres
                      1837 temple ave apt D
                      signal Hill, CA 90755



                      Alina Darii
                      13103 MULBERRY PARK DR
                      838
                      ORLANDO, FL 32821



                      Alina Lytvynenko
                      14213 WATERVILLE CIRCLE
                      TAMPA, FL 33626



                      Alina Navarrete
                      3095 MONROE ST
                      SANTA CLARA, CA 95051



                      Aline Clerveau
                      4724 Langdale Drive
                      Orlando, FL 32808



                      Alinna Rivera
                      1129 NOTTINGHAM PL
                      SAN JOSE, CA 95117
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 105 of 2164




                      Aliona Vulpe
                      12603 Lake Square Circle
                      Apt # 217
                      Orlando, FL 32821



                      Alireza Tamizkar
                      38710 10TH STREET EAST
                      #7
                      PALMDALE, CA 93550



                      Alisa Ferris
                      1912 LIRIO WAY
                      B
                      LAS VEGAS, NV 89108



                      ALISE ARATO
                      4287 CAMPBELL DR
                      LOS ANGELES, CA 90066



                      Alisha Stevens
                      16440 MOUNT ARARAT CIRCLE
                      FOUNTAIN VALLEY, CA 92708



                      Alison Erazo
                      1994 Blake Ave.
                      Los Angeles, CA 90039



                      Alison Lake
                      1922 Sandpiper Dr
                      Clearwater, FL 33764



                      ALISON SERVICE COMPANY INC
                      PO BOX 402992
                      HESPERIA, CA 92340



                      Alison Thompson
                      14573 RIOS CANYON ROAD
                      EL CAJON, CA 92021
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 106 of 2164




                      ALISSA BECKHAM
                      6557 CLEOMOORE AVE
                      WEST HILLS, CA 91307



                      Alissa Chapman
                      3044 Hidden Forest Court
                      Marietta, GA 30066



                      Alissa Hadley
                      4545 LOUETTA RD
                      2404
                      SPRING, TX 77388



                      Alissa Jensen
                      3954 W SUNNYSIDE AVE
                      PHOENIX, AZ 85029



                      Alissa Rink
                      3127 Bayberry Way
                      Pompano Beach, FL 33063



                      ALISSA RINK
                      3127 BAYBERRY WAY
                      POMPANO, FL 33063



                      Alivea Wieber
                      10327 W Bellewood Pl
                      Littleton, CO 80127



                      Alixbella Munoz
                      8288 Flanders Drive
                      Apt 56
                      San Diego, CA 92126



                      Aliya Benitez
                      8672 ENCINO AVE
                      SAN DIEGO, CA 92123
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 107 of 2164




                      Aliya Rivera
                      4407 WOODSTOCK DR
                      UNIT A
                      WEST PALM BEACH, FL 33409



                      Aliyah Howe
                      11340 E BAILS PL.
                      AURORA, CO 80012



                      Aliyah Padilla
                      7069 VIA ANACAPA
                      SAN JOSE, CA 95139



                      Aliyah Smiley
                      5335 CAMINO RIOJA
                      208
                      SAN DIEGO, CA 92130



                      Aliza Boyce
                      15378 SW 82ND PLACE
                      TIGARD, OR 97224



                      Alize Romero
                      3450 W. 13TH AVE.
                      409
                      DENVER, CO 80204



                      ALK TECHNOLOGIES INC
                      PO BOX 204769
                      DALLAS, TX 75320-4769



                      Alk Technologies, Inc
                      1 Independence Way Ste 400
                      Princeton, NJ 08540



                      ALL AMERICAN DETAIL INC
                      851 OAKWOOD DRIVE
                      TARPON SPRINGS, FL 34689
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 108 of 2164




                      ALL AMERICAN PUBLISHING LC
                      PO BOX 100
                      CALDWELL, ID 83606



                      ALL AMERICAN RESTAURANT SERVICES INC
                      7850 NW 62ND STREET
                      MIAMI, FL 33166



                      Allan Apilado
                      1155 CAmellia Dr
                      MARIETTA, GA 30062



                      ALLAN B. GRAVE
                      540 E MAUDE AVE
                      APT 21
                      SUNNYVALE, CA 94085



                      Allan C. Denolo
                      20737 ROSCOE BLVD
                      301
                      WINNETKA, CA 91306



                      Allan Cordon
                      8968 DORRINGTON AVE.
                      ARLETA, CA 91352



                      Allan Denolo
                      20737 ROSCOE BLVD
                      301
                      WINNETKA, CA 91306



                      Allan Grave
                      540 E MAUDE AVE
                      APT 21
                      SUNNYVALE, CA 94085



                      Allan Ramos
                      7002 TRAIL VALLEY WAY
                      HOUSTON, TX 77086
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 109 of 2164




                      Allan Weiler
                      1400 HOFFMAN LN.
                      CAMPBELL, CA 95008



                      Allanys Velez
                      7122 WOODMONT WAY
                      TAMARAC, FL 33321



                      ALLAYAH EVERAGE JOHNSON
                      6100 FLOR DE MAYO PL NW
                      ALBUQUERQUE, NM 87120



                      ALLBRIGHT MANAGEMENT PROFESSIONALS INC
                      7818 PROFESSIONAL PLACE
                      TAMPA, FL 33637



                      ALLEGHENY CNTRL TAX COLLECTION
                      102 RAHWAY ROAD
                      MCMURRAY, PA 00015-3170



                      ALLEGHENY SOUTHWEST TAX COLLEC
                      102 RAHWAY ROAD
                      MCMURRAY, PA 00015-3170



                      ALLEGHENY TOWNSHIP
                      ALLEGHENY TOWNSHIP MUN. BLDG.
                      3131 COLONIAL DRIVE
                      DUNCANSVILLE, PA 16635-8022



                      ALLEGIS GROUP HOLDINGS INC
                      3689 COLLECTIONS CENTER DRIVE
                      CHICAGO, IL 60693



                      Allen Alpheus
                      2307 Charteston St Bld39 4
                      Hollywood, FL 33020
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 110 of 2164




                      Allen Babikoff
                      12901 NE 28TH ST.
                      141
                      VANCOUVER, WA 98682



                      Allen D. Monroe
                      1777 E LYNWOOD DR
                      D208
                      SAN BERNARDINO, CA 92404



                      Allen Harden
                      1000 MONTREAL RD
                      47K
                      CLARKSTON, GA 30021



                      Allen Johnson
                      13014 ABALONE WAY
                      HOUSTON, TX 77044



                      Allen Medina
                      7571 N. Anna St
                      Fresno, CA 93720



                      Allen Monroe
                      1777 E LYNWOOD DR
                      D208
                      SAN BERNARDINO, CA 92404



                      Allen Stout
                      9655 SW MCKENZIE ST
                      35
                      TIGARD, OR 97223



                      Allen'S Blueberry Freezer Inc.
                      P .O. Box 536
                      Ellsworth, ME 04605-0536
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 111 of 2164




                      ALLENS BLUEBERRY FREEZER INC
                      244 MAIN STREET
                      ELLSWORTH, ME 04605-0536



                      Alleta Liwag
                      Darlington Ave
                      Los Angeles, CA 90049



                      ALLIANCE REFRIGERATION COMPANY INC
                      100 FRONTIER WAY
                      BENSENVILLE, IL 60106



                      Allie Hausman
                      11123 CORTE MAR DE CRISTAL
                      SAN DIEGO, CA 92130



                      Allie Medina
                      2575 S WILLOW AVE SPC 67
                      FRESNO, CA 93725



                      Allin Natal-Rodriguez
                      604 PARKER LN NE
                      604
                      WINTER HAVEN, FL 33881



                      Allison Aitken
                      2200 N LOOP 336 W
                      527
                      CONROE, TX 77304



                      Allison Bemrose
                      5228 SE 78TH AVE
                      PORTLAND, OR 97206



                      Allison Cohen
                      15855 AVENIDA VENUSTO
                      733
                      SAN DIEGO, CA 92127
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 112 of 2164




                      Allison espinoza
                      1715 MORITZ RD
                      9
                      HOUSTON, TX 77055



                      Allison France
                      2308 SE 189TH AVE
                      VANCOUVER, WA 98683



                      Allison Freeman
                      3824 E MORELOS ST
                      GILBERT, AZ 85295



                      Allison Pleitez
                      10037 Woodly Ave
                      North Hills, CA 91343



                      ALLISON R EMROLL
                      2047 SPRINGSIDE DR
                      NAPERVILLE, IL 60565



                      Allison Rodriguez
                      9595 Westview Dr
                      Apt#1805
                      Houston, TX 77055



                      Allison Stubbs
                      28461 SHRIKE DR
                      LAGUNA NIGUEL, CA 92677



                      Allon Reese
                      4444 West Desert Inn Rd
                      apt.C
                      LAS VEGAS, NV 89102



                      ALLSTAR ELECTRIC
                      PO BOX 2549
                      GOLDENROD, FL 32733-2549
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 113 of 2164




                      ALLSTAR ELECTRIC
                      PO BOX 2549
                      GOLDENROD
                      FL, 32733-2549



                      Allysha Demetria
                      16924 Lawnwood St.
                      La Puente, CA 91744



                      Alma Arellano-ortiz
                      5720 Odessa Drive
                      Las Vegas, NV 89142



                      Alma Arredondo Chavez
                      2250 NW 168TH PL
                      BEAVERTON, OR 97006



                      Alma Gonzalez
                      407 W Imperial Hwy
                      #123
                      Brea, CA 92821



                      Alma Gutierrez
                      256 TRADEWIND
                      #3
                      SAN JOSE, CA 95123



                      Alma Medina
                      7562 10TH STREET
                      BUENA PARK, CA 90621



                      Alma Medina
                      27W 3RD ST
                      NATIONAL CITY, CA 91950



                      ALMA MONTOYA
                      6552 ALTA DR
                      LAS VEGAS, NV 89107
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 114 of 2164




                      ALMA MORENO
                      239 E TRIDENT DR
                      PITTSBURG, CA 94565



                      Alma Samano
                      407 W. Imperial Hwy
                      #123
                      Brea, CA 92821



                      Almaneze Pierre
                      1041 ARIZONA AVE
                      FORT LAUDERDALE, FL 33312



                      Almark Foods
                      Po Box 5263
                      Gainesville, GA 30504



                      Almas Jaleel
                      1275 N GILBERT ST.
                      APT. 97
                      FULLERTON, CA 92833



                      Alona Dixson
                      13001 SE MCGILLIVRAY BLVD.
                      VANCOUVER, WA 98683



                      Alondra Diaz




                      Alondra Estrada
                      13150 Bissonnet #703
                      Houston, TX 77099



                      Alondra Ingram
                      1042 S. ZENO WAY
                      102
                      AURORA, CO 80017
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 115 of 2164




                      Alondra Laureano
                      18744 VILLA PARK ST
                      LA PUENTE, CA 91744



                      Alondra Martinez Medina
                      3665 Benton St
                      #114
                      Santa Clara, CA 95051



                      Alondra Ochoa Cordova
                      12957 ABRA DR.
                      SAN DIEGO, CA 92128



                      Alondra Sanchez
                      1825 W MALVERN AVE
                      FULLERTON, CA 92833



                      Alondra Villalpando
                      1785 KAMMERER AVE
                      SAN JOSE, CA 95116



                      Alonso Pinedo
                      12236 KLINGERMAN
                      #C
                      EL MONTE, CA 91732



                      Alonzo Lopez
                      2344 AVE COSTA DEL SOL
                      SAN DIEGO, CA 92154



                      Aloude Etienne
                      5561 Nw 50th Ave
                      Pompano Beach, FL 33073



                      Alourde Francois
                      8561 Nw 46th St
                      Lauderhill, FL 33351
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 116 of 2164




                      ALPHA EPSILON DELTA
                      14341 RIATA ST
                      WESTMINSTER, CA 92683



                      ALPHA EPSILON DELTA
                      14341 RIATA ST
                      WESTMINSTER
                      CA, 92683



                      ALPHA PHI GAMMA
                      5097 ALUMNI PL
                      SAN DIEGO, CA 92115



                      ALPHA PHI GAMMA
                      5097 ALUMNI PL
                      SAN DIEGO
                      CA, 92115



                      ALPHA PHI OMEGA LAMBDA MU
                      6043 TEMPLE CITY BLVD
                      TEMPLE CITY, CA 91780



                      ALPHA PHI OMEGA LAMBDA MU
                      6043 TEMPLE CITY BLVD
                      TEMPLE CITY
                      CA, 91780



                      ALPHA TAU DELTA OF CSULA
                      540 N18TH ST
                      MONTEBELLO, CA 90640



                      Alphonso Reliford
                      1721 SW 83RD AVE
                      MIRAMAR, FL 33025



                      ALS LOCKSMITH SERVICE INC
                      1911 W BROADWAY STE 6
                      MESA, AZ 85202
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 117 of 2164




                      ALTA DENA DAIRY
                      DEPT 2363
                      LOS ANGELES, CA 90084-2363



                      ALTA DENA DAIRY
                      PO BOX 31001-2833
                      PASADENA, CA 91110



                      ALTA MURRIETA PTA
                      39475 WHITEWOOD RD
                      MURRIETA, CA 92563



                      ALTADE A PTSO
                      14620 S DESERT FOOTHILLS PKWY
                      PHOENIX, AZ 85048



                      Altagracia Diaz
                      1440 MOWRY AVE
                      #112
                      FREMONT, CA 94538



                      ALTAMONTE SPRINGS POLICE DEP
                      225 NEWBURYPORT AVE
                      ALTAMONTE SPRINGS, FL 32701-3697



                      Alva Perdomo Hernandez
                      768 DELAND AVE
                      APT 5
                      SAN JOSE, CA 95128



                      Alvaro Aguilar
                      17800 COLIMA RD
                      615
                      ROWLAND HEIGHTS, CA 91748



                      Alvaro Quintanar
                      160 Avenida Delgado
                      Oceanside, CA 92057
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 118 of 2164




                      ALVERTIS HATTLEY
                      856 SCOTT LANE
                      MARIETTA, GA 30008



                      Alvin Bautista
                      20461 SW 119TH AVE
                      MIAMI, FL 33177



                      Alvin Begay
                      6807 S 40TH PL
                      PHOENIX, AZ 85042



                      Alvin D. Bautista
                      20461 SW 119TH AVE
                      MIAMI, FL 33177



                      Alvin Hufano
                      13668 Estero Circle
                      Tustin, CA 92780



                      Alvin Sullen
                      7005 Ottawa Rd Ne
                      Albuquerque, NM 87110



                      Alvis Parker
                      18012 FLYNN DR
                      6809
                      CANYON CANYON, CA 91387



                      Alyaa Habib
                      3576 DAY STREET
                      SAN DIEGO, CA 92105



                      Alysia Diaz
                      6008 N OLIVE AVE
                      TAMPA, FL 33614
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 119 of 2164




                      Alyson Cline
                      3001 NE 165TH AVE
                      VANCOUVER, WA 98682



                      Alyssa Amezcua
                      17403 CALIFORNIA AVENUE
                      BELLFLOWER, CA 90706



                      Alyssa Avila
                      6903 FIVE FORKS DR
                      SPRING, TX 77379



                      Alyssa Barrera
                      17421 PINE AVE
                      FONTANA, CA 92335



                      Alyssa Cardenas
                      10592 MADISON ST
                      THORNTON, CO 80233



                      Alyssa Chavez
                      247 Woodland Dr
                      Vista, CA 92083



                      Alyssa Childress
                      3925 Hickory Ln
                      Chino Hills, CA 91709



                      Alyssa Claus-Gibbs
                      1100 CENTER ST
                      622
                      HENDERSON, NV 89015



                      ALYSSA CORMIER
                      3920 GALLANT FOX CT
                      DULUTH, GA 30096
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 120 of 2164




                      Alyssa Figueroa
                      5311 SW 40TH AVE
                      FORT LAUDERDALE, FL 33314



                      Alyssa Gutierrez
                      955 WEST DEVONSHIRE AVE
                      A
                      HEMET, CA 92545



                      ALYSSA GUTIERREZ
                      955 W DEVONSHIRE AVE A
                      HEMET, CA 92545



                      Alyssa Hollins
                      5149 51ST WAY
                      WEST PALM BEACH, FL 33409



                      ALYSSA LAIRD
                      699 N VULCAN AVE # 22
                      ENCINITAS, CA 92024



                      Alyssa M Schindler
                      750 Beech St.
                      Apt. 418
                      San Diego, CA 92101



                      Alyssa Martinez
                      5712 W Atlantic Pl
                      Lakewood, CO 80227



                      Alyssa Martinez
                      6331 Duero Pl Nw
                      Albuquerque, NM 87114



                      Alyssa Nitinthorn
                      1635 W COVINA BLVD SPC 16
                      SAN DIMAS, CA 91773
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 121 of 2164




                      Alyssa Ortega
                      7607 Ne 58th St
                      Vancouver, WA 98662



                      Alyssa Pineda
                      8 Bell Vista
                      Foothill Ranch, CA 92610



                      Alyssa Rech
                      5796 ULMERTON ROAD
                      LARGO, FL 33771



                      Alyssa Vega
                      21233 E Whitaker Dr
                      Aurora, CO 80015



                      Alysse Farno
                      14874 Sw 39th Ct
                      Miramar, FL 33027



                      Alyssia Black
                      11218 Trailside Court
                      San Diego, CA 92128



                      Alyxus Mcculley
                      1129 W MESQUITE ST
                      CHANDLER, AZ 85224



                      ALZHEIMERS ASSOCIATION
                      550 W. ALLUVIAL STE 106 106
                      FRESNO, CA 93711



                      ALZHEIMERS ASSOCIATION DSW
                      1159 N CRAYCROFT RD
                      TUCSON, AZ 85712
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 122 of 2164




                      AM PM DOOR SERVICE
                      273 GLENWOOD DRIVE
                      LAKELAND, FL 33805



                      Amado Beiza
                      15101 Imperial Valley Dr
                      #1106
                      Houston, TX 77060



                      Amado Delgado
                      588 ANITA ST.
                      #7
                      CHULA VISTA, CA 91911



                      Amado Manzanares
                      2617 S ROSEWOOD APT C
                      Santa Ana, CA 92707



                      AMADOR VALLEY ATHLETIC BOOSTER
                      3810 VINEYARD AVENUE APT A
                      PLEASANTON, CA 94566



                      AMADOR VALLEY ATHLETIC BOOSTER
                      3810 VINEYARD AVENUE APT A
                      PLEASANTON
                      CA, 94566



                      Amalia Juarez
                      3131 W Oakridge Road
                      Bld 8 Apt 5
                      Orlando, FL 32809



                      Amanda Allen
                      443 FAIRLOCK LANE NW
                      ATLANTA, GA 30331



                      AMANDA ALLEN
                      443 FAIRLOCK LAND NW
                      ATLANTA, GA 30331
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 123 of 2164




                      Amanda Backes
                      9850 SW FREWING ST.
                      APT. 44
                      TIGARD, OR 97224



                      Amanda Butler
                      2625 Fair Oaks Pl
                      North Las Vegas, NV 89030



                      Amanda Castro
                      1807 Batson Ave
                      Apt #1
                      Rowland Heights, CA 91748



                      Amanda Cook
                      28629 BOUGAINVILLEA ST
                      PAISLEY, FL 32767



                      Amanda Cuozzo
                      2068 Avenida Vista DelMonte
                      Unit 2
                      Simi Valley, CA 93063



                      AMANDA CUOZZO DEWAAY
                      2068 AVENIDA VISTA DELMONTE
                      UNIT 2
                      SIMI VALLEY, CA 93063



                      Amanda Cuozzo-DeWaay
                      2068 Avenida Vista DelMonte
                      Unit 2
                      Simi Valley, CA 93063



                      Amanda De La Torre
                      22091 Broken Bow Drive
                      Lake Forest, CA 92630
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 124 of 2164




                      AMANDA DE LA TORRE
                      22091 BROKEN BOW DR
                      LAKE FOREST, CA 92630



                      Amanda Driver
                      905 BOULDER SPRINGS DR
                      101
                      LAS VEGAS, NV 89128



                      Amanda Ellingsburg
                      8060 EMERSON ST
                      DENVER, CO 80229



                      Amanda Flower
                      10252 E Javalina Ave
                      Mesa, AZ 85209



                      Amanda Goldbeck
                      641 Mckinley Ct
                      Kissimmee, FL 34758



                      Amanda Hatfield
                      34 COPPERSTONE LANE
                      MISSION VIEJO, CA 92692



                      Amanda Huber
                      8136 Claire Ann Drive
                      Apt 206
                      Orlando, FL 32825



                      AMANDA JENKINS
                      6105 S PARKER RD
                      6202
                      AURORA, CO 80016



                      Amanda L. Merritt
                      19095 NW ASTORIA DRIVE
                      PORTLAND, OR 97229
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 125 of 2164




                      Amanda Maldonado
                      5572 ARNOLD PALMER DR
                      328
                      ORLANDO, FL 32811



                      Amanda Marquez
                      19471 HIAWATHA ST.
                      PORTER RANCH, CA 91326



                      Amanda Mcintyre
                      18113 Chieftain Ct
                      San Diego, CA 92127



                      Amanda Merritt
                      19095 NW ASTORIA DRIVE
                      PORTLAND, OR 97229



                      Amanda Mong
                      1616 PALA RANCH CIRCLE
                      SAN JOSE, CA 95133



                      Amanda Monzon
                      12811 SW 146 LANE
                      MIAMI, FL 33186



                      Amanda Murdock
                      16648 SAMGERRY DR.
                      LA PUENTE, CA 91744



                      Amanda Nagel
                      14736 BROOKSTONE DRIVE
                      POWAY, CA 92064



                      Amanda Ragland
                      6650 ESTES ST
                      ARAVADA, CO 80004
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 126 of 2164




                      Amanda Raines
                      1177 CAMINITO CONNIE
                      RAMONA, CA 92065



                      Amanda Romero
                      1428 S RAMA DRIVE
                      WEST COVINA, CA 91790



                      Amanda Salazar
                      870 STURBRIDGE DR
                      LA HABRA, CA 90631



                      Amanda Sarro
                      2748 Osprey Creek Lane
                      Orlando, FL 32825



                      Amanda Schlagel
                      536 CLEMSON DR
                      ALTAMONTE SPRINGS, FL 32715



                      Amanda Silveyra
                      6703 SW 116 CT
                      APT C
                      MIAMI, FL 33173



                      Amanda Solares Romero
                      5462 ADOBE FALLS RD
                      UNIT 4
                      SAN DIEGO, CA 92120



                      Amanda Trevizo
                      4954 NAVARRO ST
                      LOS ANGELES, CA 90032



                      Amanda Yunik
                      4991 White Oak Way
                      Lenoir, NC 28645
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 127 of 2164




                      Amanuel Melaku
                      960 EAST OLIVE STREET
                      POMONA, CA 91766



                      Amaree Burrows
                      10521 TREVINO LOOP NW
                      ALBUQUERQUE, NM 87114



                      Amari Valdez
                      10705 EAST EXPOSITION AVENUE
                      APT. 118
                      AURORA, CO 80012



                      AMARIAH KESTEL
                      1616 LAKE DRIVE
                      CARDIFF BY THE SEA, CA 92007



                      Amaris Barring
                      35254 CORNISH DRIVE
                      FREMONT, CA 94536



                      Amaya Forbes
                      3511 WELLSLEY DRIVE
                      POWDER SPRINGS, GA 30127



                      Amaya Lara
                      27407 Whitfield Pl
                      Valencia, CA 91354



                      Amaya Palmer
                      16755 ELLA BLVD
                      130
                      HOUSTON, TX 77090



                      Amaya peters
                      1303 CONSTITUTION RD
                      ATLANTA, GA 30316
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 128 of 2164




                      AMAZING ODOR CONTROL OF DORAL LLC
                      7947 NW 188TH ST
                      HIALEAH, FL 33015



                      Amber Basham
                      15223 WASHINGTON AVE
                      LAKE ELSINORE, CA 92530



                      Amber Cameron
                      15740 N 83RD AVE
                      APT 2080
                      PEORIA, AZ 85382



                      Amber Cassidy
                      6614 OSCEOLA POLK LN RD
                      DAVENPORT, FL 33896



                      Amber Correa
                      1207 CEDAR POST LN
                      284
                      HOUSTON, TX 77055



                      Amber Davis
                      301 W GLADSTONE ST
                      3
                      AZUSA, CA 91702



                      Amber Eggers
                      1303 CONSTITUTION RD.
                      ATLANTA, GA 30316



                      Amber Halbert
                      2115 Palm Way Apt A
                      LARGO, FL 33771



                      Amber Jennings
                      319 E WAKEFIELD AVE
                      4
                      ANAHEIM, CA 92802
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 129 of 2164




                      Amber Kempfer
                      2132 OUTER DRIVE
                      SARASOTA, FL 34231



                      Amber Langston
                      2742 CAMBRIDGE ROAD
                      LANTANA, FL 33462



                      Amber Laure
                      3900 Middlebury St Apt #3
                      Los Angeles, CA 90004



                      Amber Li
                      14416 MOUNTAIN AVE
                      CHINO, CA 91710



                      Amber Morales
                      423 HWY 466
                      21107
                      LADY LAKE, FL 32159



                      Amber N. Garza




                      Amber Nicoll
                      2455 NORTH DODGE BLVD
                      10203
                      TUCSON, AZ 85716



                      Amber Stephens
                      1800 WEST BADILLO STREET
                      808
                      WEST COVINA, CA 91790



                      Amber Stovall
                      5718 LEWIS RIVER RD.
                      ARIEL, WA 98603
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 130 of 2164




                      Amber Vialpando
                      3017 23RD AVE. SE
                      RIO RANCHO, NM 87124



                      Amber Whitmer
                      16594 SE 57TH PL
                      OCKLAWAHA, FL 32179



                      Amberlea Cullison
                      1863 DWIGHT AVE
                      CAMARILLO, CA 93010



                      Amberlyn Aguilar
                      15602 PASADENA AVE
                      B
                      TUSTIN, CA 92780



                      AMBIUS LLC
                      PO BOX 14086
                      READING, PA 19612



                      AMBIUS LLC
                      PO BOX 14086
                      READING
                      PA, 19612



                      Ambree Smith
                      3125 W. 59TH STREET
                      #2
                      LOS ANGELES, CA 90043



                      Ambroshia Snider
                      P.O. Box 1602
                      Taylor, AZ 85939



                      Amelia Dolbee
                      35 GAUGUIN CIRCLE
                      ALISO VIEJO, CA 92656
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 131 of 2164




                      Amelia Drain
                      6200 W. Tidwell
                      Apt #105
                      Houston, TX 77092



                      AMELIA EARHART ELEMENTARY PTO
                      45250 DUNE PALMS ROAD
                      INDIO, CA 92201



                      Amelia Guesman
                      28091 Edelweiss Ct
                      Laguna Niguel, CA 92677



                      Amelia Romo
                      90 Via Gabilan
                      Camarillo, CA 93012



                      Amely Wackerbauer
                      7423 GREEN STREET
                      UNIVERSITY PARK, FL 34201



                      Amercare
                      Po Box 645300
                      Cincinnati, OH 45264



                      America'S Finest Bar Supply
                      Po Box 3494
                      San Diego, CA 92163



                      AMERICAN BANKERS INSURANCE CO
                      11222 QUAIL ROOST DRIVE
                      MIAMI, FL 33157-2244



                      AMERICAN BANKERS INSURANCE CO
                      PO BOX 731178
                      DALLAS, TX 75373-1178
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 132 of 2164




                      AMERICAN BANKERS INSURANCE CO
                      11222 QUAIL ROOST DRIVE
                      MIAMI
                      FL, 33157-2244



                      AMERICAN BEVERAGE SYSTEMS
                      PO BOX 63008
                      PHOENIX, AZ 85082-3008



                      AMERICAN CANCER ASSOCIATION
                      6165 S RAINBOW BLVD
                      LAS VEGAS, NV 89118



                      AMERICAN CANCER SOCIETY
                      4102 DAKOTA PLACE
                      PALM BEACH GARDENS, FL 33418



                      AMERICAN CANCER SOCIETY
                      2255 S ONEIDA ST
                      DENVER, CO 80224



                      AMERICAN CANCER SOCIETY
                      1255 HARBOR RIDGE DRIVE
                      POINCIANA, FL 34729



                      AMERICAN CANCER SOCIETY
                      6102 LAFAYETTE AVE
                      NEWARK, CA 94560



                      AMERICAN CANCER SOCIETY
                      2222 W. SHAW SUITE 201
                      FRESNO, CA 93711



                      AMERICAN CANCER SOCIETY
                      7800 FREESTYLE LANE
                      WINTER GARDEN, FL 34787
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 133 of 2164




                      AMERICAN CANCER SOCIETY
                      PO BOX 1171
                      YORBA LINDA, CA 92885



                      AMERICAN CANCER SOCIETY
                      4102 DAKOTA PLACE
                      PALM BEACH GARDENS
                      FL, 33418



                      AMERICAN EXPRESS
                      PO BOX 0001
                      LOS ANGELES, CA 90096-8000



                      AMERICAN HIGH SCHOOL
                      36300 FREMONT BLVD
                      C/O JEANNE BURCH
                      FREMONT, CA 94536



                      AMERICAN HOTEL SERVICES CORP
                      1044 SOARING EAGLE LANE
                      KISSIMMEE, FL 34746



                      AMERICAN LEBANESE SYRIAN ASSOCIATED
                      CHARITIES HOSPITAL
                      501 ST JUDE PLACE
                      MEMPHIS, TN 38105



                      AMERICAN LEBANESE SYRIAN ASSOCIATED CHAR
                      1501 W CLEVELAND ST STE 230
                      ATTN ESTEBAN VIDAL
                      TAMPA, FL 33606



                      AMERICAN METALCRAFT INC
                      PO BOX 6244
                      CORAL SPRINGS, IL 60197-6244



                      American Metalcraft Inc.
                      Po Box 6244
                      Coral Springs, IL 60197-6244
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 134 of 2164




                      AMERICAN RED CROSS
                      13269 COPPERWIND LANE
                      SAN DIEGO, CA 92129



                      AMERICAN RESTAURANT ASSOC INC
                      PO BOX 51482
                      SARASOTA, FL 34232-0332



                      American Roland
                      71 WEST 23RD STREET 15TH FL
                      NEW YORK, NY 10010



                      AMERICAN ROLAND FOOD CORP
                      71 WEST 23RD STREET 15TH FL
                      NEW YORK, NY 10010



                      AMERICAN SCALE
                      8590 W 14TH AVE
                      LAKEWOOD, CO 80215



                      AMERICAN SERVICE INDUSTRIES LLC
                      7016 C 2ND ST NW
                      PO BOX 10595
                      ALBUQUERQUE, NM 87107



                      AMERICAN YOUTH SOCCER ORGANIZATION
                      PO BOX 1277
                      BONITA, CA 91908



                      AMERICAS BEVERAGES MANAGEMENT GP
                      PO BOX 277237
                      ATLANTA, GA 30384-7237



                      AMERICAS FINEST BAR SUPPLY
                      PO BOX 3494
                      SAN DIEGO, CA 92163
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 135 of 2164




                      AMERIFACTORS FINANCIAL GROUP LLC
                      PO BOX 628328
                      ORLANDO, FL 32862



                      AMERIFOODS ATLANTA LLC
                      300 BLACK BELT WORLD DR
                      C/O CRD OF AMERICA
                      KNIGHTDALE, NC 27545



                      AMERIPARK
                      6081 CENTER DRIVE STE #121
                      LOS ANGELES, CA 90045



                      AMERIPRIDE SERVICES INC
                      PO BOX 1147
                      BEMIDJI, MN 56619-1147



                      AMERIPRIDE SERVICES INC
                      PO BOX 1147
                      BEMIDJI
                      MN, 56619-1147



                      AMES CHILD CARE CENTER
                      MAIL STOP 270 1 BLDNG N27
                      MOFFETT FIELD, CA 94035



                      AMES CHILD CARE CENTER
                      MAIL STOP 270 1 BLDNG N27
                      MOFFETT FIELD
                      CA, 94035



                      AMICORP ENTERPRISES INC
                      PO BOX 609
                      HURRICANE, UT 84737-0609



                      Amicorp Enterprises, Inc.
                      Attn: Daniel V. Titcomb
                      PO Box 609
                      Hurricane, UT 84737-0609
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 136 of 2164




                      Amicorp Enterprises, Inc.
                      Hexon Self-Storage, LLC
                      4801 San Mateo Blvd. NE
                      Albuquerque, NM 87109



                      Amirsam Fallah
                      2760 KELVIN AVE
                      3103
                      IRVINE, CA 92614



                      Amish Khan
                      1240 SEASONS BLVD.
                      KISSIMMEE, FL 34746



                      AMIT F. TRIVEDI
                      16864 HENRY WAY
                      YORBA LINDA, CA 92886



                      Amit Trivedi
                      16864 HENRY WAY
                      YORBA LINDA, CA 92886



                      AMMAR AL FAYOUMI
                      210 SW 65TH AVE
                      MIAMI, FL 33144



                      Amnareya Penton
                      11835 Sw 206th St
                      Miami, FL 33177



                      Amparo Arredondo
                      3083 Valle Ave
                      San Diego, CA 92113



                      AMPCO PARKING
                      11911 SAN VINCENTE BLVD
                      ATTN PARKING OFFICE LEVEL A
                      LOS ANGELES, CA 90049
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 137 of 2164




                      Amy Burns
                      8626 PENFIELD AVE
                      WINNETKA, CA 91306



                      Amy Dominguez
                      85625 54TH AVENUE
                      THERMAL, CA 92274



                      Amy Franco
                      1413 E. 108TH ST.
                      LOS ANGELES, CA 90059



                      Amy Garcia
                      11330 SW 70 TERR
                      MIAMI, FL 33173



                      Amy Howse
                      13894 PUTNEY ROAD
                      POWAY, CA 92064



                      Amy Livingston
                      4005 W MCNAB RD
                      C203
                      POMPANO BEACH, FL 33069



                      Amy Medina
                      3929 27th Pkwy
                      Sarasota, FL 34235



                      Amy Moreno
                      838 PARKBROOK ST
                      SPRING VALLEY, CA 91977



                      Amy Moton
                      11645 Montana Avenue
                      #209
                      Los Angeles, CA 90049
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 138 of 2164




                      Amy Okoro
                      13515 VENICE VILLA LANE
                      SUGAR LAND, TX 77498



                      Amy Perez-Aragon
                      960 E ARROYO TER
                      APT F
                      ALHAMBRA, CA 91801



                      AMY PONCE
                      3809 WEST SAGUARO PARK LANE
                      GLENDALE, AZ 85310



                      Amy Ricalde
                      825 Tamarack Ave
                      Apt 141
                      Brea, CA 92821



                      Amy Ru
                      14754 VELVET STREET
                      CHINO HILLS, CA 91709



                      Amy Sandoval
                      227.5 South Bushnell Ave
                      Alhambra, CA 91801



                      Amy Schrader
                      11825 GLOUCHESTER DRIVE
                      RANCHO CUCAMONGA, CA 91730



                      Amy Shelburne
                      1682 E 5th Street
                      Ontario, CA 91764



                      Amy T. Perez-Aragon
                      960 E ARROYO TER
                      APT F
                      ALHAMBRA, CA 91801
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 139 of 2164




                      Amy Tomlinson
                      4009 Boatman Ave.
                      Tampa, FL 33624



                      Amy Westfall
                      2525 S. TAMIAMI TRL.
                      133
                      SARASOTA, FL 34239



                      Amy Yan
                      11296 LAURELCREST DRIVE
                      SAN DIEGO, CA 92130



                      Amya Williams
                      433 LOS ALTOS WAY
                      101
                      ALTAMONTE SPRINGS, FL 32714



                      Ana Abeldanes
                      426 Darter Drive
                      Kennesaw, GA 30144



                      Ana Aguirre
                      4333 SAN PEDRO DR NE
                      APT. F206
                      ALBUQUERQUE, NM 87109



                      Ana barrios
                      1004 W MCLENDON ST
                      2
                      PLANT CITY, FL 33563



                      Ana Bravo
                      1806 W SALLIE LN
                      #5
                      ANAHEIM, CA 92804
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 140 of 2164




                      Ana Cabrera
                      1526 W. 12TH ST.
                      SANTA ANA, CA 92703



                      Ana Cardoza-martinez
                      12006 Runnymede St
                      Apt 3
                      North Hollywood, CA 91605



                      ANA DE LA TORRE
                      1521 S DIAMOND ST
                      SANTA ANA, CA 92704



                      Ana De-la-torre
                      1521 S Diamond St
                      Santa Ana, CA 92704



                      Ana Diaz
                      6838 ROSEMARY DR
                      Tampa, FL 33625



                      Ana Diaz
                      3444 PUNTA DEL ESTE DRIVE
                      HACIENDA HEIGHTS, CA 91745



                      Ana enciso
                      15501 PASEDENA AVE.
                      223
                      TUSTIN, CA 92780



                      Ana Escobar
                      5675 Roswell Rd
                      Apt #36-b
                      Atlanta, GA 30342



                      Ana flores
                      805 109TH AVE NORTH
                      NAPLES, FL 34108
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 141 of 2164




                      Ana Flores-jimenez
                      4704 Ne 106th Ave
                      Portland, OR 97220



                      Ana Fuentes
                      909 S BON BIEW
                      ONTARIO, CA 91761



                      Ana Garcia
                      3062 OCEAN VIEW BLVD
                      #A
                      SAN DIEGO, CA 92113



                      Ana Gomez
                      10908 S. Freeman Ave
                      Inglewood, CA 90304



                      Ana Gomez
                      2070 SAHARA WAY
                      #1
                      SANTA CLARA, CA 95050



                      Ana Gonzalez
                      765 SPENCER
                      SAN JOSE, CA 95125



                      Ana Hernandez
                      2564 Cortez St
                      Oxnard, VA 93036



                      Ana Hoil
                      767 Bunker Hills Dr
                      San Bernardino, CA 92410



                      ANA JAVIER
                      6122 CURRY FORD RD
                      ORLANDO, FL 32822
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 142 of 2164




                      Ana Jimenez
                      519 Casselman St
                      Apt. A
                      Chula Vista, CA 91910



                      Ana Juarez
                      2084 Burroughs St
                      San Diego, CA 92111



                      Ana Lauren Sandico
                      25330 Via Dona Christa St.
                      Santa Clarita, CA 91355



                      Ana Lopez
                      1280 N CITRUS AVENUE
                      25
                      VISTA, CA 92084



                      Ana Martinez
                      4990 SANTA ANITA AVE
                      F
                      TEMPLE CITY, CA 91780



                      Ana Martinez
                      1646 S. Crystal Lake Dr
                      Apt. #29
                      Orlando, FL 32806



                      Ana Montes-nava
                      25162 Charlinda Dr
                      205 M
                      Mission Viejo, CA 92691



                      Ana Munoz
                      2718 KENWOOD AVE
                      LOS ANGELES, CA 90007
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 143 of 2164




                      Ana Ochoa
                      2822 W. Brook St.
                      Santa Ana, CA 92704



                      Ana Perez
                      225 57TH ST NW
                      NA
                      ALBUQUERQUE, NM 87105



                      Ana Perez-lira
                      3031 N 69th Pl
                      Apt 3
                      Scottsdale, AZ 85251



                      Ana Renteria
                      4350 Terrace Hill Rd
                      Apt 11-102
                      Las Vegas, NV 89103



                      Ana Rubio
                      207 Otayvalley Rd
                      #c
                      Chula Vista, CA 91911



                      Ana Sanabria
                      18914 Delight St
                      Canyon Country, CA 91351



                      Ana Sanchez
                      14818 1/2 Polk St
                      Slymar, CA 91342



                      Ana Santana
                      10 Thunder Run
                      #28e
                      Irvine, CA 92614
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 144 of 2164




                      Ana Santillan
                      3724 MCKENZIE AVE.
                      LOS ANGELES, CA 90032



                      Ana Solorzano
                      6490 Cecilia Cr
                      Buena Park, CA 90620



                      Ana Trejos
                      14100 CHADRON AVE
                      APT 234
                      HAWTHORNE, CA 90250



                      Ana Velazquez Rivera
                      7500 Osceola Polk Line Road
                      Lot #41
                      Davenport, FL 33896



                      Ana Zavala
                      1850 W ORANGETHORPE
                      SPC25
                      FULLERTON, CA 92833



                      Anabelle Heras
                      14010112TH AVE
                      75
                      TIGARD, OR 97224



                      Anahi Magana
                      37475 CHERRY ST.
                      C
                      NEWARK, CA 94560



                      Anahi Sanchez Salazar
                      534 Dora Guzman Ave.
                      Apt A
                      La Puente, CA 91744
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 145 of 2164




                      Anahi Seaman
                      6060 S WILLIAMS CAMPUS LOOP
                      MESA, AZ 85212



                      Anahy Barrios
                      9219 S. Calle Azteca
                      Tempe, AZ 85283



                      Anahy Ortega
                      2054 4th St
                      Sarasota, FL 34237



                      Anais Infante
                      11852 Tina St
                      Norwalk, CA 90650



                      Anais Ochoa
                      6118 N ARMENIA AVE
                      137
                      TAMPA, FL 33604



                      Analesiya Thomas
                      5040 CHAMBLEE TUCKER ROAD
                      TUCKER, GA 30084



                      Analhi Chiunti Ramirez
                      10848 SCRIPPS RANCH BLVD
                      205
                      SAN DIEGO, CA 92131



                      Analiza Estanislao
                      18235 Via Calma
                      Apt 2
                      Rowland Heights, CA 91748



                      Anastacio Ramirez
                      24177 4th St.
                      San Bernardino, CA 92410
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 146 of 2164




                      ANASTACIO VALENCIA
                      5201 S 12TH WAY
                      PHOENIX, AZ 85040



                      ANASTASIA VELA
                      18255 BERMUDA ST
                      NORTHRIDGE, CA 91326



                      Anastasiia Mykhailenko
                      2472 Parsons Pond Circle
                      Kissimmee, FL 34743



                      Anatoly Guliyev
                      7402 E 38TH ST
                      TUCSON, AZ 85730



                      ANAVERDE HILLS SCHOOL PTSA
                      2902 GREENBRIER ST
                      PALMDALE CALIFORNIA, CA 93551



                      Anaya Brunson
                      4424 Coldwater Canyon Ave
                      Apt 3
                      Studio City, CA 91604



                      Anaya Galves
                      17059 JURASSIC PLACE
                      VICTORVILLE, CA 92394



                      Anayeli Castillo
                      3559 EASTRIDGE DR
                      SAN JOSE, CA 95148



                      Anayelli Vasquez-Gonzalez
                      4340 CLAIREMONT MESA BLVD
                      APT 32
                      SAN DIEGO, CA 92117
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 147 of 2164




                      ANDENES LANDSCAPING LLC
                      PO BOX 503045
                      SAN DIEGO, CA 92150-3045



                      Andenes Lanscaping
                      PO BOX 503045
                      SAN DIEGO, CA 92150-3045



                      Anders Erickson
                      1361 EL CAMINO REAL
                      307
                      TUSTIN, CA 94513



                      ANDERSON LOCK AND SAFE LLC
                      6146 NORTH 35TH AVE #101
                      PHOENIX, AZ 85017



                      Andie Panzera
                      4412 EAST HAMBLIN DR.
                      PHOENIX, AZ 85050



                      Andie Sanchez
                      2050 NE BARBERRY DR.
                      16
                      HILLSBORO, OR 97124



                      ANDRA & BOBBY PRICE
                      3016 POLANSKI DRIVE
                      WAKE FOREST, NC 27587



                      Andre Brewer
                      16120 SW 108TH AVE
                      48
                      TIGARD, OR 97224



                      Andre Butler
                      8571 CEDAR LANE
                      WESTMINSTER, CO 80031
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 148 of 2164




                      Andre D. Seawright
                      1515 MARKLAND AVE
                      FORT MYERS, FL 33916



                      Andre Grace
                      4501 NW 25TH ST
                      LAUDERHILL, FL 33313



                      Andre Hanna
                      4899 WILLOW RD
                      APT 407
                      PLEASANTON, CA 94588



                      Andre Johnson
                      975 DEL DIOS RD
                      327
                      ESCONDIDO, CA 92029



                      Andre Maciel
                      7860 CANYON MEADOWS CIRCLE
                      G
                      PLEASANTON, CA 94588



                      Andre Martinez
                      13800 Park Center Lane
                      Apt 510
                      Tustin, CA 92782



                      Andre R. Maciel
                      7860 CANYON MEADOWS CIRCLE
                      G
                      PLEASANTON, CA 94588



                      Andre Robinson
                      MANGO CIR
                      30034
                      DEKALB, GA 30034
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 149 of 2164




                      Andre Seawright
                      1515 MARKLAND AVE
                      FORT MYERS, FL 33916



                      Andre Stallings
                      317 E BUCKTHORN ST
                      #3
                      INGLEWOOD, CA 90301



                      Andre Valdez
                      7950 Calico St
                      San Diego, CA 92126



                      Andrea Callahan
                      3870 Greenway Dr
                      Sarasota, FL 34232



                      Andrea Carbajal
                      1719 FREMONT AVE
                      308
                      SOUTH PASADENA, CA 91030



                      Andrea Davila
                      3120 PINECONE DR
                      204
                      KISSIMMEE, FL 34741



                      Andrea Eberstein
                      4701 37TH STREET EAST
                      BRADENTON, FL 34203



                      Andrea Flores
                      1840 pericles Pl.        #C
                      Oxnard, CA 93033



                      Andrea Fraga
                      1540 Jenny Linn Dr
                      Henderson, NV 89014
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 150 of 2164




                      Andrea Garcia
                      30985 ROSE VIEW LN
                      THOUSAND PALMS, CA 92276



                      Andrea Gonzalez
                      14500 JEFFERSON ST
                      #3
                      MIAMI, FL 33176



                      Andrea Grimm
                      19940 COUNTY RD  33
                      GROVELAND, FL 34736



                      Andrea Gutierrez
                      13535 Omega Cir
                      Lone Tree, CO 80124



                      Andrea Jackson Jr
                      220 W. BELL ROAD 1014
                      1014
                      PHOENIX, AZ 85023



                      Andrea Legorreta
                      16424 N. 29TH ST.
                      15
                      PHOENIX, AZ 85032



                      Andrea M. Manners
                      2034 CALIFORNIA
                      SAN MARINO, CA 91108



                      Andrea Manners
                      2034 CALIFORNIA
                      SAN MARINO, CA 91108



                      Andrea Martinez
                      641 W. 6th Street
                      Apt. B
                      Tustin, CA 92780
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 151 of 2164




                      ANDREA MIRANDA
                      9406 CAMELIA CREST LN
                      HOUSTON, TX 77064



                      Andrea Ochoa
                      9009 CHARDONNAY CIR.
                      RANCHO CUCAMONGA, CA 91730



                      Andrea Pelkey
                      4524 CARMEN STREET
                      CHINO, CA 91710



                      Andrea Penaloza
                      8439 DEBORAH ST
                      HOUSTON, TX 77064



                      Andrea Perez
                      215 LONGVIEW AVE
                      8305
                      KISSIMMEE, FL 34747



                      Andrea Portillo
                      14903 CHADRON AVE
                      GARDENA, CA 90249



                      Andrea Quevedo
                      1526 S NEW AVE
                      #D
                      SAN GABRIEL, CA 91776



                      Andrea Romano
                      5672 S ESTES WAY
                      LITTLETON, CO 80123



                      Andrea Sauceda
                      5274 WIGHTMAN
                      SAN DIEGO, CA 92105
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 152 of 2164




                      Andrea Siavichay-dutan
                      1111 Pine St
                      Altamonte Springs, FL 32714



                      ANDREA SUAREZ
                      1029 CORAL ISLE WAY
                      LAS VEGAS, NV 89108



                      Andrea Turcios
                      1250 N June St
                      #105
                      Los Angeles, CA 90038



                      Andrei Aparicio
                      3822 W Northern Av
                      Phoenix, AZ 85051



                      Andreina Puche
                      11013 CROYDEN WAY
                      ORLANDO, FL 32837



                      Andreius Howard
                      14369 MULBERRY DR
                      WHITTIER, CA 90604



                      Andres Atayde
                      3541 Dusty Cowboy Circle
                      North Las Vegas, NV 89032



                      Andres Barnhart
                      447 E 2nd St
                      National City, CA 91950



                      Andres Bernardino
                      3707 POINCIANA DR
                      APT. 144
                      SANTA CLARA, CA 95051
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 153 of 2164




                      Andres Cales
                      4155 West Point Loma Blvd
                      Apt 215
                      San Diego, CA 92110



                      Andres Cameluaga-Rondon
                      32913 LAKE BLUESTONE ST.
                      FREMONT, CA 94555



                      Andres Chavez
                      3585 MARLBOROUGH
                      SAN DIEGO, CA 92105



                      Andres Contreras-tostado
                      215 Charles St
                      Sunnyvale, CA 94086



                      Andres De Jesus Raymundo Ramirez
                      9946 REAGAN RD.
                      SAN DIEGO, CA 92126



                      Andres Enriquez
                      13781 SORBONNE CT
                      SAN DIEGO, CA 92128



                      Andres Estrada
                      820 N CORDOVA ST.
                      ALHAMBRA, CA 91801



                      Andres Fernando
                      10210 DRUMCLIFF AVE.
                      SAN DIEGO, CA 92126



                      ANDRES G. FERNANDO
                      10210 DRUMCLIFF AVE.
                      SAN DIEGO, CA 92126
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 154 of 2164




                      Andres Lara
                      1111 Blalock Rd
                      #115
                      Houston, TX 77055



                      Andres Olguin Santana
                      213 YACON ST
                      VISTA, CA 92083



                      Andres Perez
                      8250 E. Golf Links Rd
                      290
                      Tucson, AZ 85730



                      ANDRES R. ESTRADA
                      820 N CORDOVA ST.
                      ALHAMBRA, CA 91801



                      Andres Radilla
                      9955 SW WALNUT ST
                      7
                      TIGARD, OR 97223



                      Andres Saavedra
                      1054 Joshua St
                      Escondido, CA 92026



                      Andres Sanchez
                      3319 SW 173RD TERRACE
                      MIRAMAR, FL 33029



                      Andres Santana
                      2150 Highridge
                      Apt 101
                      Corona, CA 92879
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 155 of 2164




                      Andres Santana
                      129 WEST GUINIDA LANE
                      7
                      ANAHEIM, CA 92805



                      Andres Santoyo
                      19145 BRYANT ST
                      APT 1
                      NORTHRIDGE, CA 91324



                      Andres Soler
                      608 Caddy Drive
                      Kissimmee, FL 34759



                      Andres Solis
                      10626 ROSCOE BLVD
                      SUN VALLEY, CA 91352



                      Andres Tomes
                      1018 N. Sacramento
                      Apt. #4
                      Ontario, CA 91764



                      Andres Vazquez
                      10762 CARMEL MNT. RD.
                      #D
                      SAN DIEGO, CA 92129



                      Andrew Arellano
                      466 W. WASHINGTON AVE
                      89
                      EL CAJON, CA 92020



                      Andrew Beauchemin
                      344 Placita De Lascasas
                      Rio Rancho, NM 87124
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 156 of 2164




                      ANDREW BEAUCHEMIN
                      3444 PLACITA DE LAS CASAS SE
                      RIO RANCHO, NM 87124



                      ANDREW BEAUCHEMIN
                      3444 PLACITA DE LAS CASAS SE
                      RIO RANCHO
                      NM, 87124



                      Andrew Bradshaw
                      8576 Stoneside Dr
                      Rancho Cucamonga, CA 91730



                      Andrew Buck
                      4101 Pecos St.
                      Denver, CO 80211



                      Andrew Cary
                      2751 RECHE CANYON RD
                      SPC. 87
                      COLTON, CA 92324



                      Andrew Castillo
                      3335 N. Berlin
                      Fresno, CA 93722



                      Andrew Chubbuck
                      6564 BRANCH CT
                      EASTVALE, CA 92880



                      Andrew Cronin
                      15117 Greater Groves Blvd
                      Clermont, FL 34714



                      Andrew Davidson
                      1206 N VENTURA ST
                      ANAHEIM, CA 92801
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 157 of 2164




                      Andrew Dickson
                      1207 39TH STREET
                      #A
                      ORLANDO, FL 32805



                      Andrew Dixson
                      13001 SE MCGILLIVRAY BLVD
                      VANCOUVER, WA 98683



                      Andrew Dust
                      6617 KANSAS ST
                      VANCOUVER, WA 98661



                      Andrew Enriquez
                      10216 NEVADA AVE.
                      CHATSWORTH, CA 91311



                      Andrew Espinoza
                      9921 E BILLINGS ST
                      A
                      MESA, AZ 85207



                      Andrew Figueroa
                      1019 North Park Lane
                      Apt 1019
                      Alpharetta, GA 30004



                      ANDREW FIGUEROA
                      1019 N PARK LN
                      APT 1019
                      ALPHARETTA, GA 30004



                      Andrew Filer
                      1130 1/2 GRANT STREET
                      CLEARWATER, FL 33755



                      Andrew Flores
                      15243 HILLSDALE COURT
                      SYLMAR, CA 91342
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 158 of 2164




                      Andrew Forester
                      106 POINTE DR
                      BREA, CA 92821



                      Andrew Fuller
                      151 S WESTCHESTER DR
                      11
                      ANAHEIM, CA 92804



                      Andrew Gaytan
                      2249 SHOREDALE AVE.
                      LOS ANGELES, CA 90031



                      Andrew Gomez
                      81334 Thistle Way
                      Indio, CA 92201



                      Andrew Gonzalez
                      9229 SEPULVEDA BLVD
                      418
                      NORTH HILLS, CA 91343



                      Andrew Herrera
                      1288 SPARKMAN
                      CAMARILLO, CA 93010



                      Andrew Holtz
                      6481 SOUTH OAK COURT
                      LITTLETON, CO 80127



                      Andrew Huizar
                      1453 4TH AVE
                      416
                      SAN DIEGO, CA 92101



                      Andrew Husted
                      17540 SANTA CATALINA CR
                      FOUNTAIN VALLEY, CA 92708
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 159 of 2164




                      Andrew Irino-Yee
                      10049 RIO SAN DIEGO DRIVE
                      270
                      SAN DIEGO, CA 92108



                      Andrew J. Martins
                      11007 RED ROBIN PLACE
                      SAN DIEGO, CA 92126



                      Andrew Jenkins
                      12726 102nd st.
                      largo, FL 33773



                      Andrew Kaldenberg
                      4813 MARICOPA STREET
                      TORRANCE, CA 90503



                      Andrew Liu
                      22434 SALEM AVE
                      B
                      CUPERTINO, CA 95014



                      Andrew Martins
                      11007 RED ROBIN PLACE
                      SAN DIEGO, CA 92126



                      Andrew Mcclain
                      1714 HUNTER GREEN LN
                      FRESNO, TX 77545



                      Andrew Miller
                      1643 N Markdale
                      Mesa, AZ 85201



                      Andrew Morales
                      2801 N BRISTOL
                      SANTA ANA, CA 92706
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                      Andrew Muniz
                      260 SUNSET BLVD
                      HAYWARD, CA 94504



                      Andrew Munoz
                      50077 W. Papago Rd.
                      Maricopa, AZ 85139



                      Andrew netto
                      31648 BRIARWOOD PLAACE
                      TEMECLA, CA 92592



                      ANDREW NOSLER
                      2125 FRANKLIN BLVD
                      EUGENE, OR 97403



                      Andrew Ontiveros
                      612 S. Alberta Pl.
                      Fullerton, CA 92833



                      Andrew Paulson
                      4102 NW 122ND ST
                      VANCOUVER, WA 98685



                      Andrew Portillo
                      11319 LOWER AZUSA RD.
                      EL MONTE, CA 91732



                      Andrew Ports
                      1648 NW 171ST AVENUE
                      PEMBROKE PINES, FL 33028



                      Andrew Ramirez
                      712 S. MAGNOLIA AVE.
                      MONROVIA, CA 91016
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                      Andrew Rodarte
                      472 NORTH 10 STEET
                      UNIT B
                      SAN JOSE, CA 95112



                      Andrew Roselle
                      1210 S. Turquoise Vista
                      Apt #648
                      Tucson, AZ 85710



                      Andrew Rowicki
                      11660 Vista Forest Drive
                      Alpharetta, GA 30005



                      Andrew Roybal
                      4681 S DECATUR
                      122
                      ENGLEWOOD, CO 80110



                      Andrew S. Kaldenberg
                      4813 MARICOPA STREET
                      TORRANCE, CA 90503



                      Andrew S. Muniz
                      260 SUNSET BLVD
                      HAYWARD, CA 94504



                      Andrew Sanchez
                      335 N NEW HAMPSHIRE AVE
                      212
                      LOS ANGELES, CA 90004



                      ANDREW SANTER
                      5269 FELICIA STREET
                      CAMARILLO, CA 93012
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 162 of 2164




                      Andrew Toews
                      6130 MONTEREY ROAD
                      65
                      SAN JOSE, CA 95138



                      Andrew Valadez
                      12601 PIERCE ST.
                      220
                      PACOIMA, CA 91331



                      Andrew Vanhook
                      17018 SWEET BAY COURT
                      CONROE, TX 77385



                      Andrew Vasbinder
                      8882 COVINA STREET
                      SAN DIEGO, CA 92126



                      Andrew Vega
                      12117 GLEN CANYON RD NE
                      ALBUQUERQUE, NM 87111



                      Andrew Walter
                      19911 Ranger Lane
                      Huntington Beach, CA 92646



                      Andrew Whitney
                      6701 CARTHAGE ST
                      SAN DIEGO, CA 92120



                      Andrew Wong
                      3103 JEFFREY COURT
                      PASADENA, CA 91107



                      Andrew Woodrum
                      623 Second Ave
                      Lady Lake, FL 32159
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                      ANDREWS ELECTRICAL INC
                      5617 E HILLERY DR
                      SCOTTSDALE, AZ 85254



                      ANDREWS ELECTRICAL INC
                      5617 E HILLERY DR
                      SCOTTSDALE
                      AZ, 85254



                      ANDREWS REFRIGERATION INC
                      5617 E HILLERY DR
                      SCOTTSDALE, AZ 85254-2449



                      ANDREWS REFRIGERATION INC
                      5617 E HILLERY DR
                      SCOTTSDALE
                      AZ, 85254-2449



                      ANDREWS SERVICES INC
                      5617 E HILLERY DR
                      SCOTTSDALE, AZ 85254-2449



                      ANDREWS SERVICES INC
                      5617 E HILLERY DR
                      SCOTTSDALE
                      AZ, 85254-2449



                      Andrey Bolton
                      1039 S FAIRPLAY WAY WAY
                      APT 307
                      AURORA, CO 80012



                      Andria Rodarte
                      17015 PINE AVE
                      FONTANA, CA 92335
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 164 of 2164




                      Andrian Antoci
                      7900 CUMBERLAND PARK DR
                      7108
                      ORLANDO, FL 32821



                      Andrue Pasillas
                      1324 E. Broadway
                      #2
                      Long Beach, CA 90802



                      Andrya Short
                      5101 S. Delaware Street
                      Apt. E303
                      Englewood, CO 80110



                      Andy A. Puente
                      38660 LEXINGTON ST
                      536
                      FREMONT, CA 94538



                      Andy Acevedo
                      Rosebud Dr 4726
                      Houston, TX 77053



                      Andy Escamilla
                      683 MAGNOLIA AVE
                      C
                      CARLSBAD, CA 92008



                      Andy Huynh
                      10253 Eagle rock ave
                      SAN DIEGO, CA 92126



                      Andy Ku
                      14178 HEATHERVALE DRIVE
                      CHINO HILLS, CA 91709
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 165 of 2164




                      Andy Luna
                      4900 E 5TH ST
                      1010
                      TUCSON, AZ 85711



                      Andy Pham
                      14301 KIPLING LN
                      TUSTIN, CA 92780



                      Andy Puente
                      38660 LEXINGTON ST
                      536
                      FREMONT, CA 94538



                      Andy Riley
                      8250 E. GOLF LINKS RD
                      182
                      TUCSON, AZ 85730



                      Andy Sullivan
                      4847 GOLDEN ROAD
                      PLEASANTON, CA 94566



                      Andy Teng
                      3550 RUFFIN RD
                      165
                      SAN DIEGO, CA 92123



                      Aneesa Perry
                      8895 NE 105TH PL
                      LADY LAKE, FL 32162



                      Aneli Landez
                      7025 Rosemead Blvd
                      Apt 15
                      San Gabriel, CA 91775
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                      ANFERNEE CLARK
                      2317 JAMES CT
                      LEESBURG, FL 34748



                      ANFERNEE G. CLARK
                      2317 JAMES CT
                      LEESBURG, FL 34748



                      Angee Aristizabal
                      787 Nw 151 Ave
                      Pembroke Pines, FL 33028



                      Angel Alvarez
                      7884 TAMARACK DRIVE
                      NEITHER
                      DUBLIN, CA 94568



                      Angel Antunez
                      1590 JULIANNA DR
                      LOGANVILLE, GA 30052



                      Angel Arteaga
                      328 SYCAMORE ST
                      SANTA PAULA, CA 93060



                      Angel Bonillas
                      6080 SEVERIN DR
                      LA MESA, CA 91942



                      Angel Carrillo
                      1075 SPACE PARK WAY
                      296
                      MOUNTAIN VIEW, CA 94043



                      Angel Castro
                      ELLIS PARK APT #2
                      #2
                      CONCORD, CA 94521
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 167 of 2164




                      Angel Colon
                      11474 119TH TERR
                      LARGO, FL 33778



                      Angel De Castro Rodriguez
                      14100 SE 59TH AVE
                      SUMMERFIELD, FL 34491



                      Angel Figueroa Ceja
                      1036 MOHR LANE
                      #C
                      CONCORD, CA 94510



                      Angel Freeman
                      1424 PEMBROOK DR
                      LEESBURG, FL 34748



                      Angel Frometa Urquiza
                      3053 LALANI BLVD
                      SARASOTA, FL 34232



                      Angel Galvez
                      1536 S CONCORD WAY
                      #D
                      CHULA VISTA CA 91911, CA 91911



                      Angel Garza
                      2430 GERHART AVE
                      #B
                      MONTEREY PARK, CA 91754



                      Angel Glenn
                      43428 PALM LANE
                      LANCASTER, CA 93535



                      Angel Gomez
                      443 Shorewood Ln
                      San Jose, CA 95134
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                      Angel Gonzalez
                      1910 19th Ave West
                      Bradenton, FL 34205



                      Angel Haro
                      230 OXFORD STREET
                      CHULA VISTA, CA 91911



                      Angel Hernandez
                      720 Poinsettia
                      San Marcos, CA 92078



                      ANGEL J. VIVEROS
                      1230W 105TH
                      #5
                      LOS ANGELES, CA 90044



                      Angel Landeros
                      2608 MICHELLE CRT
                      #A
                      NATIONAL CITY, CA 91950



                      Angel Landeros
                      430 NORTH PLACER PRIVADO
                      ONTARIO, CA 91764



                      Angel Leigh Schill
                      11035 LAVANDERHILL DR
                      SUIT 160 461
                      LAS VEGAS, NV 89135



                      Angel Leyva
                      7049 W. 19 ct.
                      Hialeah, FL 33014



                      Angel Malave
                      1019 North Park Lane
                      Alpharetta, GA 30004
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 169 of 2164




                      Angel Marroquin Hoffens
                      485 BARRON PARK CT
                      SAN JOSE, CA 95136



                      Angel Martinez
                      5030 3/4 Hayter Ave
                      Lakewood, CA 90712



                      Angel Morrison
                      5321 RUTLAND COURT
                      POWDER SPRINGS, GA 30127



                      Angel Ocampo
                      21717 LAKE VISTA DRIVE
                      LAKE FOREST, CA 92630



                      Angel Orphee
                      8524 NW 46TH DR
                      CORAL SPRINGS, FL 33162



                      Angel Pena
                      2422 PALM CREEK AVE
                      ORLANDO, FL 32812



                      Angel Ramirez
                      21736 Chatham
                      Mission Viejo, CA 92692



                      Angel Real
                      735 HERITAGE DR
                      APT 203
                      HOFFMAN ESTATES, IL 60169



                      Angel Rodriguez
                      635 Stremma Rd
                      LARGO, FL 33770
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 170 of 2164




                      Angel Santos
                      1905 ARPA WAY
                      B
                      LAS VEGAS, NV 89108



                      ANGEL SIERRA
                      275 ORANGE AVE
                      124
                      CHULA VISTA, CA 91911



                      Angel Thao
                      39900 BLACOW RD
                      53
                      FREMONT, CA 94538



                      Angel Torres
                      1314 ORANGE AVE
                      SANTA ANA, CA 92707



                      Angel viveros
                      1230W 105TH
                      #5
                      LOS ANGELES, CA 90044



                      Angel Zavala
                      1560 ADELAIDE ST
                      5
                      CONCORD, CA 94520



                      Angela Avalos
                      2975 MALLORY CIRCLE
                      16205
                      KISSIMMEE, FL 34747



                      Angela Bassil
                      3671 ELIZABETH ST
                      PALM SPRINGS, FL 33461
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 171 of 2164




                      Angela Bogatay
                      994 MICHELANGELO DR
                      SUNNYVALE, CA 94087



                      Angela Carrasco
                      1602 NISSON RD
                      D-2
                      TUSTIN, CA 92706



                      Angela ceja
                      1695 CRUCERO DR
                      SAN JOSE, CA 95122



                      Angela Cerritos Navarro
                      919 MOWRY AVENUE
                      1
                      FREMONT, CA 94536



                      Angela Depablos
                      5712 BROOKGREEN AVE
                      ORLANDO, FL 32839



                      Angela Freyre
                      1679 S KINGSTON WAY
                      AURORA, CO 80012



                      Angela garcia
                      4571 N KAVANAGH AVE
                      FRESNO, CA 93705



                      Angela Garcia
                      3034 N 42ND AVE
                      PHOENIX, AZ 85019



                      Angela Garcia
                      47470 VAN BUREN ST
                      INDIO, CA 92201
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 172 of 2164




                      Angela Gonzalez
                      3354 E Southern Ave
                      Lot 39
                      Phoenix, AZ 85040



                      Angela Harmer
                      4506 S. Himalaya circle
                      Aurora, CO 80015



                      Angela Hoewisch
                      980 SW 211TH AVE
                      BEAVERTON, OR 97003



                      Angela Liu
                      4644 CORTE SOL DEL DIOS
                      SAN DIEGO, CA 92130



                      ANGELA NICOLL
                      928 CURRIN PERRY ROAD
                      ZEBULON, NC 27597



                      Angela Resendiz
                      3185 Imperial Ave
                      San Diego, CA 92102



                      Angela Rodriguez
                      5132 CONROY ROAD
                      918
                      ORLANDO, FL 32811



                      Angela Sandoval
                      1178 DEL VALLE
                      LA PUENTE, CA 91744



                      Angela Shepard
                      8561 Stream St Ne
                      Albuquerque, NM 87113
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 173 of 2164




                      Angela Stanek
                      4517 NE 12TH COURT
                      VANCOUVER, WA 98663



                      Angela Torres
                      1049 W. PELTASON DRIVE
                      #E
                      IRVINE, CA 92617



                      Angela Turner
                      3227 S OLATHE WAY
                      AURORA, CO 80013



                      Angela Valderrama
                      7606 Pissarro Dr
                      Apt 306
                      Orlando, FL 32819



                      Angela Vicente
                      2140 RESERVOIR ST.
                      APT. 4
                      LOS ANGELES, CA 90026



                      Angela Wallis
                      5327 MONTGOMERY 123
                      ALBUQUERQUE, NM 87109



                      Angela Williams
                      6063 linden ave
                      Long Beach, CA 90805



                      Angela Young
                      5335 W GULF BANK RD
                      511
                      HOUSTON, TX 77088



                      Angela Zamora
                      10215 S. Hwy 337
                      Tijeras, NM 87059
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 174 of 2164




                      Angelena Cavallero
                      5634 GRACEWOOD AVE.
                      ARCADIA, CA 91007



                      ANGELES LUIS
                      633 GRAND FIR AVE #2
                      SUNNYVALE, CA 94086



                      Angeles Reynosa
                      5402 SOUTH J STREET
                      OXNARD, CA 93033



                      Angeli Delgado
                      1905 NW 173RD AV
                      1503
                      BEAVERTON, OR 97006



                      Angelica Apachito
                      4320 WASHINGTON BLVD NE
                      D-40
                      ALBUQUERQUE, NM 87109



                      Angelica Bunting
                      4202 Echo Ct
                      Pleasanton, CA 94588



                      Angelica Choate
                      551 SW 178 WAY
                      PEMBROKE PINES, FL 33029



                      Angelica Cisneros
                      30487 Carroll Ave
                      Hayward, CA 94544



                      Angelica Galvan Herrera
                      5021 E Sheridan St
                      Phoenix, AZ 85008
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 175 of 2164




                      Angelica Garcia
                      692 BALTIC AVE SE
                      RIO RANCHO, NM 87124



                      Angelica Guillen
                      230 WEST TRUSLOW AVE
                      FULLERTON, CA 92832



                      Angelica Gurov-pridyuk
                      515 Missouri Rd
                      Venice, FL 34293



                      Angelica Johnson
                      2647 SHIRLEYS WAY APT102
                      LEESBURG, FL 34748



                      Angelica Lehman
                      26551 ROBIN WAY
                      #A
                      BONITA SPRINGS, FL 34135



                      Angelica Martinez
                      508 E MISSION AVE
                      APT.702
                      ESCONDIDO, CA 92025



                      Angelica Sanchez
                      1539 ORANGE PL
                      ESCONDIDO, CA 92025



                      ANGELICA SEGOVIA
                      7524 2ND ST
                      ALBUQUERQUE, NM 87107



                      Angelica Smith
                      1263 SEA REEF DR
                      SAN DIEGO, CA 92154
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 176 of 2164




                      Angelica Soriano
                      9642 Alwood Ave
                      #2
                      Garden Grove, CA 92841



                      Angelica Trujillo
                      4510 CARLTON ST NW
                      ALBUQUERQUE, NM 87107



                      Angelica Wanke
                      17389 DELAWARE ROAD
                      FORT MYERS, FL 33967



                      Angelika Avina
                      1229 S 2ND ST
                      #E
                      ALHAMBRA, CA 91801



                      Angelina Nava
                      1265 Rosegate Blvd
                      Riviera Beach, FL 33404



                      Angelina Troncoso
                      2245 FILLMORE ST
                      5
                      HOLLYWOOD, FL 33020



                      Angeline Miller
                      1851 Lotus Ct
                      Carlsbad, CA 92011



                      Angeline Zamora
                      13100 CLOUDVIEW AVE NE
                      ALBUQUERQUE, NM 87123



                      Angelique Garcia
                      1901 LA VEGA SW
                      ALBUQUERQUE, NM 87105
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 177 of 2164




                      Angelique Lopez
                      4690 S LAKESHORE DRIVE
                      TEMPE, AZ 85282



                      Angelique Torres
                      112 BIDDLEFORD COURT
                      SAN JOSE, CA 95139



                      Angelique Valenzuela
                      4442 GIBRALTAR DR
                      FREMONT, CA 94536



                      Angelise Tuccio
                      12116 SW 110TH ST CIR S
                      MIAMI, FL 33168



                      Angelo Ducksworth
                      15245 AVENIDA RORRAS
                      SAN DIEGO, CA 92128



                      Angelo Martell
                      37608 SECOND STREET
                      FREMONT, CA 94536



                      Angelo Rodriguez
                      1673 SOMERSET PLACE
                      ANTIOCH, CA 94509



                      Angelo Rueda
                      522 W OLIVE ST
                      COLTON, CA 92324



                      Angie Bautista
                      2428 Spanish Ct
                      Las Vegas, NV 89108
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 178 of 2164




                      Angie Centeno
                      11235 E Quade Circle
                      Mesa, AZ 85212



                      Angie Contreras
                      1910 N Mobile Villa Drive
                      Lutz, FL 33549



                      Angie Gudino
                      44260 MONROE ST.
                      18
                      INDIO, CA 92201



                      Angie Jimenez
                      3086 CLAY AVENUE
                      SAN DIEGO, CA 92113



                      Angie Mahecha
                      4616 TERRY TOWN DRIVE
                      KISSIMMEE, FL 34746



                      Angie Medina
                      376 windwood oaks drive
                      apt 101
                      TAMPA, FL 33613



                      Angie Pham
                      11370 Surco Dr.
                      San Diego, CA 92126



                      Angie Ruiz
                      5555 FEDERAL BLVD LOT19
                      DENVER, CO 80221



                      Angie Wong
                      19234 CLYMER ST.
                      PORTER RANCH, CA 91326
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 179 of 2164




                      Anh Duong
                      165 BLOSSOM HILL RD #152
                      SAN JOSE, CA 95123



                      ANHS DANCE TEAM BOOSTERS
                      28845 VIA DE LUNA
                      LAGUNA NIGUEL, CA 92656



                      Anibal Hernandez
                      132 Abert ct.
                      Tracy, CA 95376



                      Anieceia Martinez
                      16231 BERMUDA DUNES DR
                      CHINO HILLS, CA 91709



                      Aniel Santos
                      5316 MILLENIA
                      APT# 10102
                      ORLANDO, FL 32839



                      ANIMIS FOUNDATION
                      8251 SW 27TH AVENUE
                      OCALA, FL 34476



                      ANIMIS FOUNDATION
                      8251 SW 27TH AVENUE
                      OCALA
                      FL, 34476



                      Anique Carter
                      21082 AVENIDA FLORESTA
                      LAKE FOREST, CA 92630



                      Anisa Jaramillo
                      8963 KENT ST
                      WESTMINSTER, CO 80031
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 180 of 2164




                      Anisia Hernandez
                      19026 E. RAVEN DR.
                      QUEEN CREEK, AZ 85142



                      Anita Adhami
                      17388 CARRANZA DRIVE
                      SAN DIEGO, CA 92127



                      Anita Kozinskiy
                      7223 Se Terrace Trails Dr
                      Portland, OR 97266



                      Anithe Geneus
                      4605 Bayshore Dr
                      Apt G2
                      East Naples, FL 34112



                      Anjali Srirama
                      11127 DAWN HARVEST DR
                      HOUSTON, TX 77064



                      ANN HARRIS BENNETT TAX ASSESSOR COLLECT
                      PO BOX 4622
                      HOUSTON, TX 77210-4622



                      Ann Holley
                      2035 Memorial Drive
                      Apartment #1005
                      Atlanta, GA 30317



                      ANN LAMBARDO
                      8131 WENLOCK CIR
                      HUNTINGTON BEACH, CA 92646



                      Ann Macam
                      16015 ne 2nd st
                      Vancouver, WA 98684
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 181 of 2164




                      ANN MARIA
                      82212 SIERRA AVE
                      INDIO, CA 92201-4167



                      ANN RUDD
                      521 SPRUCE MEADOWS LANE
                      WILLOW SPRING, NC 27592



                      Ann Sasso
                      5801 Kelsey Ln
                      Fort Lauderdale, FL 33321



                      Anna Beatriz Barros
                      15759 Vanowen St
                      Apt 8
                      Los Angeles, CA 91406



                      Anna clark
                      1320 CHATEAU PARK DRIVE
                      FORT LAUDERDALE, FL 33311



                      Anna Cuanas
                      3832 La Colusa Dr
                      San Marcos, CA 92078



                      Anna Forkner
                      4905 SE HARNEY DRIVE
                      PORTLAND, OR 97206



                      Anna Frangos
                      10834 W OAKMONT
                      SUN CITY, AZ 85351



                      Anna Gonzales
                      2012 W. 17th St.
                      Unit D
                      Santa Ana, CA 92706
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 182 of 2164




                      Anna Janson
                      1170 Buckingham Drive
                      Los Altos, CA 94024



                      Anna Kennedy
                      3218 HARMONY HILL TRCE
                      KENNESAW, GA 30144



                      Anna Lee
                      2171 CITTADIN DRIVE
                      2171
                      FULLERTON, CA 92833



                      Anna McQuiggan
                      16137 BRIDGEDALE DR
                      LITHIA, FL 33547



                      Anna Pitcher
                      13717 SE 18TH ST.
                      #3
                      VANCOUVER, WA 98683



                      Anna Sanchez
                      3231 NW GRASS VALLEY DRIVE
                      CAMAS, WA 98607



                      Anna Vichniakov
                      26430 North 42nd Way
                      Phoenix, AZ 85050



                      Annabelle Helm
                      16902 NE 19TH ST
                      VANCOUVER, WA 98684



                      Annabelle Pidek
                      11463 WEST IDA AVE.
                      LITTLETON, CO 80127
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 183 of 2164




                      Annadaya Thomas
                      14202 NE 95th Circle
                      Vancouver, WA 98682



                      Annaleah Vance
                      3812 E. Parkview Drive
                      Gilbert, AZ 85295



                      Annalisa Gonzalez
                      2234 ROYALTREE CIR
                      SAN JOSE, CA 95131



                      Annalisa Gonzalez
                      40528 N Parisi Pl
                      San Tan Valley, AZ 85140



                      Annalise Blair
                      14821 SW 54TH STREET
                      MIRAMAR, FL 33027



                      ANNE HURIA
                      2684 RAE CT
                      PALM HARBOR, FL 34684



                      Anne Luma
                      1951 Sw 36st
                      Fort Lauderdale, FL 33312



                      Anneliese Hanson
                      17119 WEST BERNARDO DRIVE
                      202
                      SAN DIEGO, CA 92127



                      Annemarie Faustin
                      131 Sw 1st Ave
                      Boynton Beach, FL 33435
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 184 of 2164




                      Annen Law
                      926 Tingley Lane
                      SAN DIEGO, CA 92106



                      Anner Salguero
                      1430 S RD WOLF
                      SUNNYVALE, CA 94087



                      Annette Cuskaden
                      270 OLD HAMILTON RD
                      MARIETTA, GA 30064



                      Annette Florez
                      11310 MELODY DRIVE
                      10-302
                      NORTHGLENN, CO 80234



                      Annette Hoffman
                      7771 GLADIOLUS DR
                      APT 19
                      FORT MYERS, FL 33908



                      ANNETTE JOHSON INC
                      46 INDIAN HILLS DRIVE
                      CIRCLE PINES, MN 55014



                      Annie Auer
                      10231 EASTHAVEN DR
                      SANTEE, CA 92071



                      Annie Nguyen
                      4644 BALBOA WAY
                      FREMONT, CA 94536



                      Annika Carlander
                      8263 SANTALUZ VILLAGE GRN N
                      SAN DIEGO, CA 92127
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 185 of 2164




                      Annmarie Cardiel
                      1811 1/2 OLYMPIC BLVD
                      MONTEBELLO, CA 90640



                      ANNUNCIATION CATHOLIC SCHOOL
                      32648 NORTH CAVE CREEK RD
                      CAVE CREEK, AZ 85331



                      Anous Dorvil
                      6445 College Park cir 304
                      Naples, FL 34113



                      Antaysia Ballard
                      552 SOUTH ALLRED DRIVE
                      TEMPE, AZ 85281



                      ANTELOPE VALLEY SYMPHONY ORCH AND MSTR C
                      45841 PICADILLY ST
                      LANCASTER, CA 93534



                      Anthony Aguayo
                      3502 E. Sharon Dr
                      Phoenix, AZ 85032



                      Anthony Archibald
                      1950 Barrett Lakes Blvd
                      #1625
                      Kennesaw, GA 30144



                      Anthony Arnold
                      2360 Joliet St
                      Aurora, CO 80010



                      Anthony Bagwell
                      115 VALLEY DR
                      STOCKBRIDGE, GA 30281
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 186 of 2164




                      Anthony Barnes
                      20635 VISTA DR
                      TORRANCE, CA 90503



                      Anthony Berard
                      192 N.W. 118th Drive
                      Coral Springs, FL 33071



                      ANTHONY BERARD
                      192 NW 118TH DRIVE
                      CORAL SPRINGS, FL 33071



                      Anthony Blotti
                      27950 Lassen Street
                      Castaic, CA 91384



                      Anthony Brown
                      1884 College Blvd
                      Oceanside, CA 92056



                      Anthony Carrillo
                      15416 Archwood St.
                      Van Nuys, CA 91406



                      Anthony Castaneda
                      1793 CIPRIAN AVE
                      CAMARILLO, CA 93010



                      Anthony Cerami
                      3600 WELLESLEY DR. NE
                      E344
                      ALBUQUERQUE, NM 87107



                      Anthony Chavez
                      566 S SAN PEDRO ST
                      301-A
                      LOS ANGELES, CA 90013
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 187 of 2164




                      Anthony Chavez Ward
                      436 AUTUMN CT.
                      SAN JOSE, CA 95110



                      ANTHONY COOK
                      2400 WINGREN RD APT 2125
                      IRVING, TX 75062



                      Anthony Coronado
                      1526 W. Hiawatha St.
                      Tampa, FL 33604



                      Anthony Coronado
                      34 WHEATHERSTONE
                      LAKE OSWEGO, OR 97035



                      Anthony Cutright
                      941 E. Gary Lane
                      Phoenix, AZ 85042



                      Anthony Davis-Foley
                      3847 MIDWAY DR
                      202
                      SAN DIEGO, CA 92110



                      Anthony De Leon
                      14311 NW 83 AVE
                      MIAMI LAKES, FL 33016



                      Anthony Delgado
                      19555 E CYPRESS ST. #N
                      APT N
                      COVINA, CA 91724



                      Anthony Eget
                      5001 W. FLORIDA
                      2
                      HEMET, CA 92545
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 188 of 2164




                      Anthony Estepp
                      2309 7TH AVE E
                      BRADENTON, FL 34208



                      Anthony Flores
                      1085 North 4th. St.
                      San Jose, CA 95122



                      Anthony Ford
                      21021 AVENIDA AMAPOLA
                      LAKE FOREST, CA 92630



                      Anthony Franqui
                      8815 Utica St.
                      Westminster, CO 80031



                      Anthony Frausto
                      5706 CHERRY RIDGE DR
                      CAMARILLO, CA 93012



                      Anthony Garrison
                      6019 BENEVA RD
                      6019
                      SARASOTA, FL 34239



                      ANTHONY GIANNESE
                      5900 N MASON AVE
                      CHICAGO, IL 60646



                      Anthony Gomez
                      7318 Sw 204th Ave
                      Beaverton, OR 97007



                      Anthony Gonzalez
                      7987 SE OVERLAND ST 97222
                      MILWAUKIE, OR 97222
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 189 of 2164




                      Anthony Goseco
                      3165 Lake Pillsbury Dr
                      Fremont, CA 94555



                      Anthony Grummett
                      35312 FREDERICK STREET
                      WILDOMAR, CA 92595



                      Anthony Harris
                      901 10TH ST NW
                      #2
                      LARGO, FL 33770



                      Anthony Hernandez
                      6817 BOUGANVILLEA CRESCENT DR
                      ORLANDO, FL 32809



                      Anthony Hernandez
                      4797 LADNER ST
                      SAN DIEGO, CA 92113



                      Anthony Jackson
                      3031 E Cade St
                      Long Beach, CA 90805



                      Anthony Jackson
                      4704 PECK RD
                      304
                      EL MONTE, CA 91732



                      Anthony Jefferies
                      1318 E DENWALL DR
                      CARSON, CA 90746



                      Anthony Jones
                      135 SAND LAKE STREET
                      HENDERSON, NV 89074
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 190 of 2164




                      Anthony Kolodziej
                      50989 Highway 27 Lot 292
                      Davenport, FL 33897



                      Anthony L. lewis london
                      16401 N 31 ST
                      8
                      PHOENIX, AZ 85032



                      Anthony Le-Aphaivong
                      4704 SHOSHONI AVE
                      SAN DIEGO, CA 92117



                      Anthony Lee
                      12300 JEFFERSON CIRCLE
                      182
                      LARGO, FL 33778



                      Anthony Legaspi
                      4662 67TH STREET
                      SAN DIEGO, CA 92115



                      Anthony lewis london
                      16401 N 31 ST
                      8
                      PHOENIX, AZ 85032



                      Anthony Lopez
                      11812 QUARTZ CIR
                      FOUNTAIN VALLEY, CA 92708



                      Anthony Lopez
                      11172 VISTA SORRENTO PKWY
                      F100
                      SAN DIEGO, CA 92130
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 191 of 2164




                      ANTHONY LOPEZ
                      4681 SABLE PINE CIRCLE
                      B2
                      WEST PALM BEACH, FL 33417



                      Anthony M. sipiczky
                      1267 HOLIDAY DR
                      TARPON SPRINGS, FL 34689



                      Anthony Martin
                      1250 7TH STREET
                      WEST PALM BEACH, FL 33401



                      Anthony Martinez
                      1332 W 225 ST
                      20
                      TORRANCE, CA 90501



                      Anthony McFadden
                      212 66TH AVENUE WEST
                      BRADENTON, FL 34207



                      Anthony Miramontes
                      7990 GARDENIA AVE
                      ALTA LOMA, CA 91701



                      Anthony Morales
                      2306 W Saint Gertrude Pl
                      Santa Ana, CA 92704



                      ANTHONY MORALES
                      244 N KENMORE AVEC
                      LOS ANGELES, CA 90004



                      Anthony Ober
                      6411 BRENTON DRIVE
                      ALBUQUERQUE, NM 87120
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 192 of 2164




                      Anthony Orozco
                      1775 Catalina Diurve
                      Pomona, CA 91766



                      Anthony Owens
                      9475 W.TOMPKINS
                      118
                      LAS VEGAS, NV 89147



                      Anthony Paden
                      9633 CALLE VEJAR
                      RANCHO CUCAMONGA, CA 91730



                      Anthony Patterson
                      7020 HUDSON RIVER DR
                      TAMPA, FL 33619



                      Anthony Pena
                      4143 W VALENCIA
                      APT 221
                      FULLERTON, CA 92833



                      Anthony Preston-Massey
                      3801 NE Royal View Ave
                      Apt C17
                      Vancouver, WA 98662



                      Anthony R. Barnes
                      20635 VISTA DR
                      TORRANCE, CA 90503



                      Anthony R. Rodriguez
                      5601 APT 5 E 23RD ST
                      LONG BEACH, CA 90815



                      Anthony Radford-Tortora
                      2420 ALLESANDRO ST
                      LOS ANGELES, CA 90039
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 193 of 2164




                      Anthony Ramirez
                      16031 Bliss Lane
                      Apt D
                      Tustin, CA 92780



                      Anthony Regalado
                      3963 Russet Plains st
                      Las Vegas, NV 89129



                      Anthony Reyes
                      4004 CAROL DR
                      FULLERTON, CA 92883



                      Anthony Rodriguez
                      5601 APT 5 E 23RD ST
                      LONG BEACH, CA 90815



                      Anthony Rojas
                      210 CEDAR RD
                      503
                      VISTA, CA 92084



                      Anthony Ruiz
                      17730 Lassen St
                      Apt 118
                      Northridge, CA 91325



                      Anthony Ruiz Reyes
                      5716 N LINCOLN AVE
                      APT D
                      TAMPA, FL 33614



                      Anthony Russo
                      2325 SILVER TREE RD
                      CLAREMONT, CA 91711



                      Anthony Saitta
                      2370 PEACH CT
                      PEMBROKE PINES, FL 33026
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 194 of 2164




                      Anthony Sajous
                      260 Ne 27 St
                      Pompano Beach, FL 33064



                      Anthony Salazar
                      2643 S HALLDALE AVE
                      #3
                      LOS ANGELES, CA 90018



                      Anthony Sanchez
                      1232 NORTH CITRON LANE
                      ANAHEIM, CA 92780



                      Anthony Santellan
                      1846 6TH AVE APT E MONROVIA
                      E
                      MONROVIA, CA 91016



                      Anthony sipiczky
                      1267 HOLIDAY DR
                      TARPON SPRINGS, FL 34689



                      Anthony Stokes
                      735 HERNDON AVE
                      ORLANDO, FL 32803



                      Anthony Telles
                      15503 East Evans Avenue
                      Aurora, CO 80013



                      Anthony Thibodeaux
                      7078 WEST RAINBOWCREEK ROAD
                      SEDALIA, CO 80135



                      Anthony Thomas
                      1680 SHERMAN ST.
                      SHELTER
                      DENVER, CO 80202
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 195 of 2164




                      Anthony Thompson
                      201 WEST REGENT STREET
                      700
                      INGLEWOOD, CA 90301



                      Anthony Townsend
                      1680 SHERMAN ST.
                      DENVER, CO 80203



                      Anthony Umanzor
                      5836 WILLOUGHBY AVE 90038
                      #5
                      LOA ANGELES, CA 90038



                      Anthony Valcarcel
                      4200 COMMUNITY DR
                      2008
                      WEST PALM BEACH, FL 33409



                      Anthony Villafuerte
                      4019 W 29TH ST
                      LOS ANGELES, CA 90018



                      Anthony Villagran
                      17326 SW 21 ST
                      MIRAMAR, FL 33029



                      Anthony Villanueva
                      1229 VILLA ST.
                      #1
                      MOUNTAIN VIEW, CA 94041



                      Anthony Villatoro
                      1515 ADAMS ST
                      MISSOURI CITY, TX 77489
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 196 of 2164




                      Anthony Walker
                      1547 W 261ST
                      #2
                      HARBOR CITY, CA 90710



                      Anthony Webster
                      5225 N HONDO DR
                      PRESCOTT VALLEY, AZ 86314



                      Anthony Ybarra
                      15126 S BUDLONG AVE
                      GARDENA, CA 90247



                      Anthony Ziade
                      1532 COPPERFIELD DRIVE
                      TUSTIN, CA 92780



                      Antoine Garcia
                      3951 N 4TH AVE
                      54
                      TUCSON, AZ 85705



                      Antoinette Carpio
                      37407 PARISH CIRCLE
                      FREMONT, CA 94536



                      Antoinette Croteau
                      20820 CANYON VIEW DR.
                      SARATOGA, CA 95070



                      Antoinette Jackson
                      305 AUTUMN BREEZE WAY
                      WINTER PARK, FL 32792



                      Antoinette Walker
                      2875 California St.
                      Apt 6
                      Berkeley, CA 94703
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 197 of 2164




                      ANTOINETTE WALKER
                      2875 CALIFORNIA ST APT 6
                      BERKELEY, CA 94703



                      Antolino Pina Silva
                      3601 W EUGIE AVE
                      PHOENIX, AZ 85029



                      Anton Morozov
                      31177 US HWY 19 N
                      1715
                      PALM HARBOR, FL 34684



                      Antonella Ortiz
                      4604 4TH AVE DR E
                      BRADENTON, FL 34208



                      Antonia Echeverria
                      4828 LOGAN AVE
                      102
                      SAN DIEGO, CA 92113



                      Antonia Gutierrez
                      2540 Peck Rd
                      Monrovia, CA 91016



                      Antonia Montoya
                      10378 W 58TH PLACE
                      8
                      ARVADA, CO 80004



                      Antonia Read
                      14300 Se 120th Place
                      Clackamas, OR 97015



                      Antonia Torres
                      4262 Central Ave
                      Apt 316
                      Fremont, CA 94536
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 198 of 2164




                      Antonio Aldaco
                      15050 MONTE VISTA AVE
                      #202
                      CHINO HILLS, CA 91709



                      Antonio Bahena
                      18517 ANDRADA DR.
                      ROWLAND HEIGHTS, CA 91748



                      Antonio Davis
                      1523 SEASONS PKWY
                      NORCROSS, GA 30093



                      Antonio Flores
                      14743 HELEN PARK LANE
                      SAN DIEGO, CA 92064



                      Antonio Garcia
                      899 S. Harbor Blvd
                      Apt 211
                      Anaheim, CA 92805



                      Antonio Gondim
                      22216 BOCA RANCHO DR.
                      #A
                      BOCA RATON, FL 33428



                      Antonio Grigou
                      455 NW 19TH STREET
                      PLANTATION, FL 33317



                      Antonio Guzman
                      22326 2ND ST
                      NEWHALL, CA 91321



                      Antonio Hayes
                      3212 NORTH MICHAEL WAY
                      LAS VEGAS, NV 89108
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 199 of 2164




                      Antonio Hernandez
                      151 E. Vandalia
                      Porterville, CA 93257



                      Antonio Hernandez Caballero
                      1010 SKIPJACK LN
                      OCEANSIDE, CA 92058



                      Antonio Locklin
                      139 RENAISSANCE PKWY NE
                      ATLANTA, GA 30308



                      Antonio Martin
                      474 OAKSIDE DR
                      ATLANTA, GA 30331



                      Antonio Medeiros
                      1217 Sangamon Av.
                      Spring Valley, CA 91977



                      Antonio Mendoza
                      1307 East Merona Pl
                      Anaheim, CA 92805



                      Antonio Morales
                      14002sw Downing St
                      Beaverton, OR 97006



                      Antonio Olea
                      3334 W. Seldon Ln
                      Phoenix, AZ 85051



                      Antonio Parker
                      51585 AVENIDA MARTINEZ
                      LA QUINTA, CA 92253
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 200 of 2164




                      Antonio R. Aldaco
                      15050 MONTE VISTA AVE
                      #202
                      CHINO HILLS, CA 91709



                      Antonio Resendiz
                      3361 Lakeview Dr
                      Spring Valley, CA 91977



                      Antonio Ruiz
                      203 MARLOWE
                      ALBUQUERQUE, NM 87113



                      Antonio Shaw
                      10300 SPRINGS LN
                      APT H
                      NORCROSS, GA 30092



                      Antonio Vega
                      324 W Ross Pl
                      #4
                      Wilmington, CA 90744



                      Antonio Velasquez
                      Escondido, CA 92025




                      Antonio Walters
                      5780 NW 191 TER
                      HIALEAH, FL 33015



                      Antonio White
                      157 EAST MADISON
                      J
                      EL CAJON, CA 92021
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 201 of 2164




                      Antonio Zamora
                      8195 s poplar way
                      apt 101
                      centennial, CO 80112



                      Antonios Basta
                      2220 E GREENHOLLOW DR
                      PALM HARBOR, FL 34683



                      Antruanazia Owens
                      10300 SPRINGS LN
                      H
                      PEACHTREE CORNERS, GA 30092



                      ANTWAN CRIST
                      903 MEDINA DR
                      ARLINGTON, TX 76017



                      Antwanae Rose
                      5826 NW 21ST STREET
                      LAUDERHILL, FL 33313



                      Antwann Miner
                      2647SHIRLYSWAY
                      102
                      LEESBURG, FL 34748



                      Antwon Millner
                      1638 ATHOL AVE
                      11
                      LAS VEGAS, NV 89011



                      Antwone Duncan
                      1311 NW 8TH PL
                      HOMESTEAD, FL 33034



                      Anushka Banerjee
                      3820 STONE POINTE WAY
                      PLEASANTON, CA 94588
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 202 of 2164




                      Anyely urbina
                      5048 MILLENIA BLVD
                      101
                      ORLANDO, FL 32839



                      Anyssa De La Cruz
                      7675 N FIRST ST 201
                      FRESNO, CA 93720



                      ANYTIME PLUMBING INC
                      4690 W POST RD #130
                      LAS VEGAS, NV 89118



                      Anytime Sign
                      1055 Bay Blvd. Suite H.
                      Chula Vista, CA 91911



                      ANYTIME SIGN
                      1055 BAY BLVD STE H
                      CHULA VISTA, CA 91911



                      AON CONSULTING INC
                      29695 NETWORK PLACE
                      CHICAGO, IL 60673



                      APE PTA
                      4819 SUMMER LAKES
                      MISSOURI CITY, TX 77459



                      APOLLO DRAIN AND ROOTER SERVICE INC
                      853 NE HARLOW RD
                      TROUTDALE, OR 97060



                      Apollo Investment Corporation
                      Cerberus Business Finance, LLC
                      875 Third Avenue
                      New York, NY 10022
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 203 of 2164




                      APOSTLES LUTHERAN SCHOOL
                      5828 SANTA TERESA BLVD
                      SAN JOSE, CA 95123



                      April Brooks
                      17212 CAMINITO CANASTO
                      SN DIEGO, CA 92127



                      April Clark
                      1818 29TH STREET
                      ORLANDO, FL 32805



                      April Lucckino
                      2480 CYPRESS POND ROAD
                      305
                      PALM HARBOR, FL 34683



                      April Martinez
                      21015 CLAREMORE ST
                      KATY, TX 77449



                      April Nicholson
                      453 N. 3RD ST.
                      SAN JOSE, CA 95112



                      April Sarrazin-Cliff
                      4465 Pedley Ave
                      Norco, CA 92860



                      April Thompson
                      19435 Turtle Ridge Lane
                      Porter Ranch, CA 91326



                      APS
                      PO BOX 60015
                      PRESCOTT, AZ 86304-6015
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 204 of 2164




                      APSGC INC
                      3525 DEL MAR HEIGHTS ROAD #922
                      SAN DIEGO, CA 92130



                      AR OFFICE OF CHILD SUPPORT ENFORCEMENT
                      PO BOX 8125
                      LITTLE ROCK, AR 72203



                      araceli aceves
                      3341 MONROE
                      #3
                      SANTA CLARA, CA 95051



                      Araceli Garcia
                      8320 W MARYLAND AVE
                      GLENDALE, AZ 85305



                      Araceli Rueda
                      2941 W LOWELL AVE
                      84
                      TRACY, CA 95377



                      Aracely Hernandez
                      600 N Pantano rd apt 618
                      Tucson, AZ 85710



                      Arai Lopez
                      11950 SW 174 ST
                      MIAMI, FL 33177



                      Aramark Uniform
                      115 North First Street
                      Burbank, CA 91502



                      ARAMARK UNIFORM SERVICES
                      1057 SOLUTIONS CENTER
                      CHICAGO, IL 60677-1000
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 205 of 2164




                      ARAMARK UNIFORM SERVICES
                      PO BOX 828441
                      PHILADELPHIA, PA 19182-8441



                      ARAMARK UNIFORM SERVICES
                      PO BOX 0903
                      CAROL STREAM, IL 60132-0903



                      ARAMARK UNIFORM SERVICES
                      CAREER APPAREL
                      PO BOX 894704
                      LOS ANGELES, CA 90189-4704



                      ARAMARK UNIFORM SERVICES
                      22512 NETWORK PLACE
                      CHICAGO, IL 60673-1225



                      ARAMARK UNIFORM SERVICES
                      22808 NETWORK PLACE
                      CHICAGO, IL 60673-1228



                      ARAMARK UNIFORM SERVICES
                      1057 SOLUTIONS CENTER
                      CHICAGO
                      IL, 60677-1000



                      Aramis Ynigo
                      11178 BATAVIA CIRCLE
                      SAN DIEGO, CA 92126



                      ARAPAHOE COUNTY TREASURER
                      5334 S PRINCE ST
                      LITTLETON, CO 80120-1136



                      Arash Jamili
                      15723 PARKHOUSE DR 95
                      FONTANA, CA 92336
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 206 of 2164




                      Arbon Equipment
                      25464 NETWORK PLACE
                      CHICAGO, IL 60673-1254



                      Arbon Equipment Corporation
                      25464 Network Place
                      Chicago, IL 60673-1254



                      ARC PROPERTIES OPERATING PARTNERSHIP LP
                      ID PT4508
                      PO BOX 840990
                      DALLAS, TX 75284-0990



                      ARC PROPERTIES OPERATING PARTNERSHIP LP
                      PO BOX 840990
                      DALLAS, TX 75284-0990



                      Arc Window Cleaning
                      1616 S MAYFLOWER AVE UNIT E
                      MONROVIA, CA 91016



                      ARCADIA COMMUNITY CHURCH PRESCHOOL
                      121 ALICE ST
                      ARCADIA, CA 91006



                      ARCADIA FALSE ALARM REDUCTION
                      PROGRAM
                      FILE 749188
                      LOS ANGELES, CA 90074-9188



                      Arcadia Garcia
                      5819 Fayette Street
                      Los Angeles, CA 90042



                      ARCADIA HIGH SCHOOL
                      180 CAMPUS DRIVE
                      ARCADIA, CA 91007
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 207 of 2164




                      ARCADIA HIGH SCHOOL
                      180 CAMPUS DR
                      ARCADIA, CA 91006



                      ARCADIA HIGH SCHOOL
                      180 CAMPUS DRIVE
                      ARCADIA
                      CA, 91007



                      ARCADIAS BEST FOUNDATION
                      403 WEST NORMAN AVE
                      ARCADIA, CA 91007



                      ARCADIAS BEST FOUNDATION
                      403 WEST NORMAN AVE
                      ARCADIA
                      CA, 91007



                      ARCHER DANIELS MIDLAND COMPANY
                      PO BOX 80002
                      CITY OF INDUSTRY, CA 91716-8002



                      ARCHIE L CLARK
                      25157 SPRINGBROOK WAY
                      MENIFEE, CA 92584



                      ARCO IRIS SCHOOL
                      6107 SW MURRAY BLVD #104
                      BEAVERTON, OR 97008



                      ARCTIC REFRIGERATION INC
                      1300 GALAXY WAY STE 7
                      CONCORD, CA 94520



                      Arda Ulug
                      6617 RANCHO DEL ACACIA WAY
                      SAN DIEGO, CA 92130
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 208 of 2164




                      Ardent Mills
                      PO BOX 419204
                      BOSTON, MA 02241-9204



                      ARDENT MILLS LLC
                      PO BOX 419204
                      BOSTON, MA 02241-9204



                      Ardent Mills, Llc
                      Po Box 419204
                      Boston, MA 02241-9204



                      ARDENWALD PTO
                      8950 SE 36TH AVE
                      MILWAUKIE, OR 97222



                      ARDENWOOD ELEMENTARY PTA
                      33955 EMILIA LANE
                      FREMONT, CA 94555



                      Areanna Navarro
                      12665 CAMINO MIRA DEL MAR
                      215
                      SAN DIEGO, CA 92130



                      Areil Beard
                      302 Gettysburg Place
                      Atlanta, GA 30350



                      Arel Buford
                      12411 OSBORNE ST.
                      83
                      PACOIMA, CA 91331



                      Areli Navarro
                      128 E Cambridge St
                      Long Beach, CA 90805
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 209 of 2164




                      ARELI NAVARRO
                      128 E CAMBRIDGE ST
                      LONG BEACH
                      CA, 90805



                      Arelit Bautista
                      2600 W La Habra Blvd
                      Apto 148
                      La Habra, CA 90631



                      Arely Miranda Orozco
                      8000 KING ST
                      WESTMINSTER, CO 80031



                      Arely Ortiz
                      9329 CEDAR ST.
                      APT. 14
                      BELLFLOWER, CA 90706



                      Arely Sapien
                      8577 Western Ave
                      Apt A
                      Buena Park, CA 90620



                      Areon Green
                      1603 34TH AVE EAST
                      805
                      ELLENTON, FL 34222



                      Ares Capital Corporation
                      Cerberus Business Finance, LLC
                      875 Third Avenue
                      New York, NY 10022



                      ARES MANAGEMENT
                      2000 AVE OF THE STARS 12TH FL
                      LOS ANGELES, CA 90067
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 210 of 2164




                      Arezo Abdolghoddos
                      14231 E IDAHO PL
                      AURORA, CO 80012



                      Argelio Tamayo
                      963 MELLER WAY
                      ORLANDO, FL 32825



                      Argenis Lopez
                      11928 REEDY CREEK DR
                      202
                      ORLANDO, FL 32836



                      Ariadna Garcia
                      4542 W.17TH ST
                      APT 8
                      LOS ANGELES, CA 90019



                      Ariadna pedro chamu
                      301 WEST VERMONT AVE
                      115
                      ESCONDIDO, CA 92025



                      Ariadnna Martinez
                      1048 S QUINCE ST
                      ESCONDIDO, CA 92025



                      Ariana Fernandez
                      105 Meadow Oaks Ln
                      Glendora, CA 91741



                      Ariana Garcia
                      43775 Wrangler Rd
                      Aguanga, CA 92536



                      Ariana Mendoza
                      11441 ASHER ST APT 25
                      EL MONTE, CA 91732
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 211 of 2164




                      Ariana Milton
                      4077 GRAMA TERRACE
                      FREMONT, CA 94536



                      Ariana Oliver
                      12265 SW HALL BLVD
                      #7
                      TIGARD, OR 97223



                      Ariana Pacheco-lopez
                      39505 Trinity Way
                      Apt#20
                      Fremont, CA 94538



                      Ariana Petrocky
                      6703 N ROME AVE
                      TAMPA, FL 33604



                      Ariana Pumpelly
                      23034 Sw Lodgepole Ave
                      Tualatin, OR 97062



                      Ariana Ramirez
                      1453 FOURTH AVE
                      1212
                      SAN DIEGO, CA 92101



                      Ariana Sanders Hernandez
                      10921 W BRITTANY DR
                      LITTLETON, CO 80127



                      Ariana Staples
                      7250 W GREENS RD
                      908
                      HOUSTON, TX 77064



                      Ariane A. Aligo
                      17634 Gladesworth Lane
                      Santa Clarita, CA 91355
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 212 of 2164




                      Ariane Aligo
                      17634 Gladesworth Lane
                      Santa Clarita, CA 91355



                      Arianna Bianchi
                      4299 Spring St.
                      Apt#38
                      La Mesa, CA 91941



                      Arianna Cardenas
                      1970 LATHAM ST
                      77
                      MOUNTAIN VIEW, CA 94040



                      Arianna Conners
                      2316 PASEO DE LAURA
                      130
                      OCEANSIDE, CA 92056



                      Arianna De La Rosa
                      1526 W 213TH ST
                      TORRANCE, CA 90501



                      Arianna Harmon
                      1261 Shnoop Ct
                      Lathrop, CA 95330



                      Arianna Hill
                      3444 N E ST.
                      APT 19
                      SAN BERNARDINO, CA 92405



                      Arianna Ribas
                      19760 TERRI DR.
                      SANTA CLARITA, CA 91351
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 213 of 2164




                      Arias Alonso
                      1657 PENTECOST WAY
                      2
                      SAN DIEGO, CA 92105



                      Ariel Garner-Reed
                      13 DOVE STREET
                      ALISO VIEJO, CA 92656



                      Ariel Gilevich
                      9305 SE HAROLD ST 97266
                      3
                      PORTLAND, OR 97266



                      Ariel Salamanca
                      2916 BEL AIR CT. NE
                      ALBUQUERQUE, NM 87110



                      Arielle Enriquez
                      11934 ACACIA AVENUE
                      3
                      HAWTHORNE, CA 90250



                      Arielle Williams
                      2340 20TH STREET
                      SARASOTA, FL 34234



                      Arieona anderson
                      17657 E LOYOLA DR
                      UNIT E
                      AURORA, CO 80014



                      Aries Dado
                      952 N. Harvard Blvd
                      Apt 205
                      Los Angeles, CA 90029
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 214 of 2164




                      Aris lambert
                      6619 N MARTY
                      FRESNO, CA 93711



                      Arita Kiana
                      45347 TESIBEN CT
                      TEMECULA, CA 92592



                      ARIZONA COLLEGE PREP ACADEMY
                      3434 EAST BROADWAY
                      TUCSON, AZ 85716



                      ARIZONA CUTLERY
                      12620 N CAVE CREEK RDSTE #4
                      PHOENIX, AZ 85022



                      ARIZONA CUTLERY
                      12620 N CAVE CREEK RDSTE #4
                      PHOENIX
                      AZ, 85022



                      ARIZONA DEPARTMENT OF REVE
                      PO BOX 29079
                      PHOENIX, AZ 85038-9079



                      ARIZONA DEPARTMENT OF REVENUE
                      PO BOX 29085
                      PHOENIX, AZ 85038-9085



                      ARIZONA DEPARTMENT OF REVENUE
                      UNCLAIMED PROPERTY
                      1600 WEST MONROE ST
                      PHOENIX, AZ 85007



                      ARIZONA DEPARTMENT OF REVENUE
                      PO BOX 29032
                      PHOENIX, AZ 85038-9032
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 215 of 2164




                      ARIZONA DEPARTMENT OF REVENUE
                      P.O. BOX 29009
                      PHOENIX, AZ 85038-9009



                      ARIZONA JOBS DAUGHTERS
                      65710 E DESERT TRAIL DR
                      TUCSON, AZ 85739



                      ARIZONA ROSE ARTS ORGANIZATON
                      8480 N FIRETHORN AVE
                      TUCSON, AZ 85742



                      Arizonora Landesign LLC
                      4529 W KEIM DRIVE
                      GLENDALE, AZ 85301



                      ARKANSAS DEPT OF WORKFORCE SVC
                      P.O. BOX 8007
                      LITTLE ROCK, AR 72203-8007



                      Arlene A. Banda
                      506 WAR ADMIRAL AVE
                      SAN JOSE, CA 95111



                      Arlene Banda
                      506 WAR ADMIRAL AVE
                      SAN JOSE, CA 95111



                      Arlene Williams
                      3842 B ELMSIDE VILLAGE LANE
                      NORCROSS, GA 30092



                      Arlenne Pena Gomez
                      2833 CENTRAL DR
                      SANFORD, FL 32773
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 216 of 2164




                      Arlette Rodriguez
                      3136 E SAGINAW WAY
                      FRESNO, CA 93726



                      Arley Barrientos
                      545 AVENIDA CUARTA
                      201
                      CLERMONT, FL 34714



                      ARLINGTON PTA
                      17800 VAN NESS AVE
                      TORRANCE, CA 90504



                      Arman Aminpour
                      3324 City Lights Dr
                      Aliso Viejo, CA 92656



                      Armanda Ramirez
                      423 N 26ST
                      APT. 1
                      SAN JOSE, CA 95116



                      Armando Cardenas
                      2516 W MONTE CARLO DR
                      SANTA ANA, CA 92706



                      Armando Castro
                      5706 Bates St
                      #10
                      San Diego, CA 92115



                      Armando Chavez
                      3710 West San Jose Ave.
                      Apt #213
                      Fresno, CA 93711
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 217 of 2164




                      Armando Estrada
                      630 S Knott
                      #78
                      Anaheim, CA 92804



                      Armando Estrada
                      655 CADMAN STREET
                      SAN DIEGO, CA 92114



                      ARMANDO ESTRADA
                      655 CADMAN ST.
                      SAN DIEGO, CA 92114



                      Armando Garcia Magana
                      2140 S.MAIN ST.
                      PH4
                      SANTA ANA, CA 92707



                      Armando Gonzalez
                      2330 Lucretia Ave
                      #4
                      San Jose, CA 95122



                      Armando Mares
                      13017 4TH STREET
                      CHINO, CA 91710



                      Armando Marino
                      4259 Marzo St.
                      San Diego, CA 92154



                      Armando Murillo
                      664 Venner Drive
                      Altamonte Springs, FL 32714



                      Armando Nava Ramirez
                      1181 PECOS WY
                      SUNNYVALE, CA 94089
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 218 of 2164




                      Armando Ochoa
                      9340 FOOTHILL BLVD
                      18
                      RANCHO CUCAMONGA, CA 91730



                      Armando Razo
                      209 E Balboa Dr
                      Tempe, AZ 85282



                      Armando Santacruz
                      13626 Westboro Dr
                      San Jose, CA 95127



                      Armando Silva-de-la-Cruz
                      4212 Altadena Ave Apt 13
                      San Diego, CA 92115



                      Armando Tejeda
                      222 E STREET
                      FRESNO, CA 93706



                      Armani Anderson
                      23230 - C Island View Drive
                      Boca Raton, FL 33433



                      Armanino Foods
                      30588 San Antonio Street
                      Hayward, CA 94544



                      ARMOR PLUMBING & BOILER CO
                      330 E CHILTON DRIVE
                      CHANDLER, AZ 85225



                      ARNOLD ELEMENTARY PTA
                      4100 W 227TH STREET
                      TORRANCE, CA 90505
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 219 of 2164




                      Arnold Engstrom
                      5043 ARROYO CHAMISA RD NE
                      ALBUQUERQUE, NM 87111



                      ARNOLD G FISCHER
                      PO BOX 126308
                      C/O TRILOGY REAL ESTATE MGMT
                      SAN DIEGO, CA 92112-6308



                      Arnulfo Almaraz
                      3950 N Santa Fe Ave apt#F
                      Fresno, CA 93704



                      Arnulfo diaz
                      27 W 3RD ST
                      NATIONAL CITY, CA 91950



                      Arnulfo Linares Pinzon
                      3500 West Commonwealth Avenue
                      Fullerton, CA 92833



                      Arnulfo Magana
                      2230 JACQUELINE DR
                      PITTSBURG, CA 94565



                      Arnulfo Rueda
                      1688 CLAYTON ROAD APT#4
                      CONCORD, CA 94520



                      Aroon Enriquez
                      6550 Clay St.
                      Apt. B
                      Denver, CO 80221



                      Arree Brillon
                      3104 S. Nastar Dr.
                      Tucson, AZ 85730
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 220 of 2164




                      ARROW SHEET METAL WORKS INC
                      2710 NORTH 36TH STREET
                      TAMPA, FL 33605



                      ARROYO DEL OSO PTA
                      6504 HARPER DR NE
                      ALBUQUERQUE, NM 87109



                      ARROYO HIGH SCHOOL
                      4921 CEDAR AVE
                      EL MONTE, CA 91732



                      ARROYO HIGH SCHOOL LEO CLUB
                      4921 CEDAR AVE
                      EL MONTE, CA 91731



                      ARROYO SECO ASB
                      27171 VISTA DEL GADO DR
                      SANTA CLARITA, CA 91354



                      ART LIEBERMAN
                      5812 N BEAVER LANE
                      RALEIGH, NC 27604



                      Artem Ponkratov
                      570 SOUTH RENGSTORFF
                      MOUNTAIN VIEW, CA 94040



                      Artemisa Vazquez Vazquez
                      1928 HEATH TERRACE
                      WEST COVINA, CA 91791



                      Artermeise Jackson
                      4201W. 5TH ST.
                      312
                      SANTA ANA, CA 92703
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 221 of 2164




                      Arthur Galindo
                      2104 S EAGLE CT
                      AURORA, CO 80014



                      Arthur Garcia
                      897 E. 34TH ST
                      TUCSON, AZ 85713



                      Arthur Johnson
                      1604 SYCAMORE
                      KENNESAW, GA 30152



                      Arthur Parga
                      503 Olympic Blvd
                      Santa Monica, CA 90401



                      Arthur Ramirez
                      973 W. HOME AVE
                      SAN BERNARDINO, CA 92411



                      Arthur Schuman West
                      Po Box 84-78190
                      Los Angeles, CA 90084-8190



                      ARTHUR SCHUMAN WEST
                      PO BOX 823243
                      PHILADELPHIA, PA 19182-3243



                      Arturo Alvarez
                      817 ETA STREET
                      206
                      NATIONAL CITY, CA 91950



                      Arturo Benitez-flores
                      2547 G Street
                      San Diego, CA 92102
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 222 of 2164




                      Arturo Buenaventura
                      6873 W Hinsdale
                      Littleton, CO 80128



                      Arturo Bustamante
                      5530 SW Lombard Ave
                      Beaverton, OR 97005



                      Arturo Cabrera
                      10942 IVYRIDGE RD
                      HOUSTON, TX 77043



                      ARTURO CANALES
                      2429 WEST INDIANAPOLIS AVE
                      FRESNO, CA 93705



                      Arturo Hernandez
                      5752 CORBETT STST
                      5752
                      LOS ANGELES, CA 90016



                      ARTURO LOPEZ GUILLEN
                      194 PREDA STREET
                      SAN LEANDRO, CA 94577



                      Arturo Melgar
                      4445 Stevenson Blvd.
                      Apt. #17
                      Fremont, CA 94538



                      Arturo Meono
                      16095 SW WHISTLING SWAN LN
                      BEAVERTON, OR 97007



                      Arturo Montes
                      27622 ALISO CREEK RD 1113
                      ALISO VIEJO, CA 92656
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 223 of 2164




                      Arturo Munoz
                      721 ORANGE GROVE AVENUE
                      ALHAMBRA, CA 91803



                      Arturo Negrete
                      2051 Village Parkway
                      #240
                      Encinitas, CA 92024



                      ARTURO NEGRETE
                      2051 VILLAGE PARKWAY
                      ENCINITAS, CA 92024



                      Arturo Osorio
                      765 E Bonds St
                      Carson, CA 90745



                      Arturo Ramirez
                      23433 WOODLANDER WAY
                      MORENO VALLEY, CA 92557



                      Arturo Rojas
                      475 N MIDWAY DR UNIT 154
                      ESCONDIDO, CA 92027



                      Arturo Romo
                      2618 S. Genesee Ave.
                      Los Angeles, CA 90016



                      ARTURO ROMO
                      2618 S GENESEE AVE
                      LOS ANGELES, CA 90016



                      Arturo Rosete
                      1927 S ""d"" St
                      Oxnard, CA 93033
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 224 of 2164




                      Arturo Torres
                      525 N. Mcclay At
                      Santa Ana, CA 92701



                      Artyom Harr
                      10547 WESTONHILL DR
                      SAN DIEGO, CA 92126



                      Arunkumar Nair
                      327 BOARDWALK PKWY
                      STAFFORD, TX 77477



                      Aryana Michael
                      944 W MAIN ST
                      2249
                      MESA, AZ 85201



                      Aryn Curry
                      3797 137th Ave
                      Apt A
                      Largo, FL 33771



                      Asael Garcia
                      801 S WARD AVE
                      COMPTON, CA 90221



                      ASB
                      11224 DANBURY ST
                      ARCADIA, CA 91006



                      Asbel Hernandez
                      990 VINEYARD WAY
                      KINGSBURG, CA 93631



                      ASCENSION LUTHERAN PRESCHOOL
                      26231 SILVER SPUR ROAD
                      C/O MAUREEN MORRISON
                      ROLLING HILLS ESTATES, CA 90275
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 225 of 2164




                      ASCENSION LUTHERAN SCHOOL
                      17910 PRAIRIE AVE
                      TORRANCE, CA 90504



                      ASCENSION PARISH
                      11292 CLAIREMONT MESA BLVD
                      SAN DIEGO, CA 92124



                      asha hosamani
                      11122 CICERO DRIVE
                      ALPHARETTA, GA 30022



                      Ashad Vaughn
                      3348 Watford Way.
                      PALMDALE, CA 93551



                      Ashanti George
                      4973 CASON COVE DR
                      #535
                      ORLANDO, FL 32811



                      Ashanti Robinson
                      995 E BASELINE RD
                      3134
                      TEMPE, AZ 85283



                      Ashanti Thompson
                      831 CORTE BAYA VISTA
                      OXNARD, CA 93030



                      Ashdon Gibbs
                      1934 GLEN ECHO DR
                      DECATUR, GA 30032



                      Ashelie Paul
                      1524 ELIZABETH ST NE
                      ALBUQUERQUE, NM 87112
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 226 of 2164




                      ASHI KANSAL
                      13892 DODDER CT
                      POWAY, CA 92064



                      Ashia Golatt
                      18243 SW 109TH PATH
                      MIAMI, FL 33157



                      Ashish Bishwakarma
                      518 S SANTA ANITA AVE
                      6
                      ARCADIA, CA 91006



                      Ashka Shah
                      15106 ROUNDUP DR.
                      TAMPA, FL 33624



                      Ashlee Driver
                      4484 birdsong way
                      Las Vegas, NV 89147



                      ASHLEE DRIVER
                      2017 LOTUS BLOSSOM CT
                      LAS VEGAS, NV 89145



                      Ashlee Norman
                      53 FALCON HILLS DR.
                      HIGHLANDS RANCH, CO 80126



                      Ashlee VanNote
                      450 ROBINHOOD CR
                      102
                      NAPLES, FL 34104



                      Ashleigh Bruno
                      2475 S GRANBY WAY
                      AURORA, CO 80014
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 227 of 2164




                      Ashleigh Namm
                      8916 ARMISTICE RD NE
                      ALBUQUERQUE, NM 87109



                      Ashley Arnold
                      5122 EAST SHEA BLVD
                      2016
                      SCOTTSDALE, AZ 85254



                      Ashley Asadi
                      1734 BOYLE PLACE
                      ESCONDIDO, CA 92027



                      Ashley Ayala
                      138 N MARIPOSA
                      LOS ANGELES, CA 90004



                      Ashley Bardales
                      1854 DAVID ST
                      SAN DIEGO, CA 92111



                      Ashley Barraza
                      4852 Bernal Ave
                      #e
                      Pleasanton, CA 94566



                      Ashley Beshears
                      2408 NW 14TH AVE
                      BOYNTON BEACH, FL 33436



                      ASHLEY C. LLAMAS
                      500S GRANADA AVE
                      ALHAMBRA, CA 91801



                      Ashley Casillas
                      945 Estes St. #15
                      El Cajon, CA 92020
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 228 of 2164




                      Ashley Coker
                      8995 ROSWELL RD
                      SANDY SPRINGS, GA 30503



                      Ashley Crudup
                      3205 WINDSOR AVENUE
                      WEST PALM BEACH, FL 33407



                      ASHLEY D AGOSTINO
                      436 BEAUMONT GLEN
                      #252
                      ESCONDIDO, CA 92026



                      Ashley D'agostino
                      17161 Alva Road
                      Unit 922
                      San Diego, CA 92127



                      Ashley De Fouw
                      2916 JAVA PLUM AVE
                      SARASOTA, FL 34232



                      Ashley De Jesus
                      11700 REEDY CREEK DR
                      APT 208
                      ORLANDO, FL 32836



                      Ashley Dow
                      3853 E Bridgeport Pkwy
                      Gilbert, AZ 85295



                      Ashley Fajardo
                      14656 ASTORIA ST
                      SYLMAR, CA 91342



                      Ashley Feldman
                      1885 PITNER RD NW
                      ACWORTH, GA 30101
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 229 of 2164




                      Ashley Gaertner
                      7425 Andasol St
                      San Diego, CA 92126



                      Ashley Guzman
                      911 SW 15TH ST
                      POMPANO BEACH, FL 33060



                      Ashley Hickman
                      7735 SMITH FARM RD
                      CUMMING, GA 30028



                      Ashley Hutchins
                      815 7TH STREET
                      1
                      WEST PALM BEACH, FL 33401



                      ASHLEY J. AYALA
                      138 N MARIPOSA
                      LOS ANGELES, CA 90004



                      ASHLEY JACKSON
                      3325 OLD MILTON PKWY #233
                      ALPHARETTA, GA 30005



                      Ashley Jensen
                      9465 SE 154th St
                      Summerfield, FL 34491



                      Ashley Jimenez
                      1916 S BAMDAL ST
                      SANTA ANA, CA 92704



                      Ashley Joseph
                      4907 W MARTIN L KING JR BLVD
                      APT 1
                      LOS ANGELES, CA 90016
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 230 of 2164




                      Ashley Kelsey
                      7815 Latir Mesa NW
                      Albuquerque, NM 87114



                      Ashley Knerr
                      743 W Desert Hollow Drive
                      San Tan Valley, AZ 85143



                      Ashley Kow
                      2810 SW 165 AVE
                      MIRAMAR, FL 33027



                      Ashley Leonard
                      18975 WOODLAND WAY
                      TRABUCO CANYON, CA 92679



                      Ashley Llamas
                      500S GRANADA AVE
                      ALHAMBRA, CA 91801



                      Ashley Lorenzini
                      9304 E BARBARA JEAN PLACE
                      TUCSON, AZ 85710



                      Ashley Mares
                      13017 4TH ST
                      CHINO, CA 91710



                      Ashley McDowell
                      801 E ORANGEWOOD AVE
                      G236
                      ANAHEIM, CA 92802



                      Ashley McIntire
                      14376 E FLORIDA AVE
                      UNIT A
                      AURORA, CO 80012
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 231 of 2164




                      ASHLEY MEDRANO
                      1905 SIERRA LEONE AVE APT A
                      ROWLAND HEIGHTS, CA 91748



                      Ashley Morariu
                      14619 Ne 51st Street
                      Vancouver, WA 98682



                      Ashley Munchel
                      4949 Marbrisa Drive
                      #902
                      Tampa, FL 33624



                      Ashley Ortega
                      3699 N. MOUNTAIN AVE.
                      5
                      TUCSON, AZ 85719



                      Ashley Palmer
                      11097 LORIN WAY
                      DULUTH, GA 30097



                      Ashley Rashada
                      365 ARCADIA PLACE SW
                      LILBURN, GA 30047



                      Ashley Reynoso
                      709 E AUBURN DR
                      TEMPE, AZ 85283



                      Ashley Rivera
                      2209 MARES RD SW
                      ALBUQUERQUE, NM 87105



                      Ashley Rodriguez
                      10572 ALDERSON AVE.
                      GARDEN GROVE, CA 92840
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 232 of 2164




                      Ashley Romatko
                      7101 Pine Lake Rd
                      Las Vegas, NV 89145



                      Ashley Romero
                      501 Roberts drive
                      Apt. 72
                      Riverdale, GA 30274



                      Ashley Rosales
                      80000 AVE 48
                      SPC 201
                      INDIO, CA 92201



                      Ashley Saavedra
                      955 E WASHINGTON AVE
                      ESCONDIDO, CA 92025



                      Ashley Smith
                      18243 Sw 109 Path
                      Miami, FL 33157



                      Ashley Solano
                      10 BERMUDA LN
                      ESCONDIDO, CA 92025



                      Ashley Suarez
                      3627 POSTWOOD DRIVE
                      SPRING, TX 77388



                      Ashley Trujillo
                      5910 S. Mckemy St.
                      Tempe, AZ 85283



                      Ashley Urquhart
                      4401 SW 141 AVE
                      MIRAMAR, FL 33027
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 233 of 2164




                      Ashley Valera
                      3303 N LAKEVIEW DR
                      APT. 4309
                      TAMPA, FL 33618



                      Ashley Walker
                      13437 Kornblum Ave
                      Apt.H
                      Hawthorne, CA 90250



                      Ashley Warren
                      1205 Ilexey Avenue
                      San Diego, CA 92154



                      Ashley Wilkins
                      6302 S. County Rd. 39
                      Plant City, FL 33567



                      Ashlie Conder
                      7421 E.brooks Dr.
                      Tucson, AZ 85730



                      Ashlie Tuttle
                      14819 Heritage wood dr.
                      Houston, TX 77082



                      ASHLIE TUTTLE
                      12700 STAFFORD RD APT 224
                      STAFFORD, TX 77477



                      Ashlyn Stoddard
                      1941 HILLHAVEN DR
                      BREA, CA 92821



                      Ashlynn Boning
                      4657 SOUTH BADGER LN
                      LITTLETON, CO 80127
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 234 of 2164




                      ASHONTI TURNER
                      210 SE 148TH AVE
                      VANCOUVER, WA 98684



                      Ashton Allgood
                      7730 SE 114TH AVE
                      PORTLAND, OR 97266



                      Ashundrianna Davis
                      12692 NW 9TH COURT
                      CORAL SPRINGS, FL 33071



                      Ashunta Johnson
                      5254 SMOKEMONT DR
                      STONE MOUNTAIN, GA 30088



                      Ashwaq Hussein
                      1605 W. El Rio Dr
                      Apt #209
                      Tucson, AZ 85745



                      Ashwin SINGH
                      30 BIENVENUE DRIVE
                      FOOTHILL RANCH, CA 92610



                      Asia Rogers
                      3127 TERRYWOOD CT
                      SAN JOSE, CA 95132



                      Asmae Bari
                      4457 White Oak Circle
                      Kissimmee, FL 34746



                      Aspen Gepson
                      32210 N CHERRY CREEK RD
                      QUEEN CREEK, AZ 85142
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 235 of 2164




                      ASSET MANAGEMENT TECHNOLOGIES
                      17039 KENTON DRIVE STE 200
                      CORNELIUS, NC 28031



                      ASSISTANCE LEAGUE OF NO COAST
                      5124 FROST AVENUE
                      CARLSBAD, CA 92008



                      ASSISTANCE LEAGUE OF TUCSON INC
                      1307 N ALVERNON
                      TUCSON, AZ 85712



                      ASSOCIATED ENVIRONMENTAL
                      LANDSCAPE
                      PO BOX 968
                      ROSWELL, GA 30077



                      Associated Environmental Landscape
                      PO BOX 968
                      ROSWELL, GA 30077



                      ASSOCIATED STUDENTS OF SDSU
                      5500 CAMPANILE DRIVE
                      SAN DIEGO, CA 92182



                      ASSOCIATION OF CHINESE STUDENT
                      2600 NUTWOOD AVENUE SUITE 8
                      FULLERTON, CA 92831



                      ASSURANCE FACILITY MANAGEMENT
                      PO BOX 654
                      BURLESON, TX 76097



                      ASSURANCE FACILITY MANAGEMENT
                      PO BOX 654
                      BURLESON
                      TX, 76097
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 236 of 2164




                      Astare Liggins
                      4231 BRANDY MILL RD
                      HOUSTON, TX 77067



                      Astha Patra
                      12695 CAMINO MIRA DEL MAR
                      111
                      SAN DIEGO, CA 92130



                      Astrid Espinoza
                      1441 Marjorie Ave Escondido
                      Escondido, CA 92027



                      Astrid Rios
                      10423 NIGHTENGALE DR
                      RIVERVIEW, FL 33569



                      ASTRO BUILDING SERVICES INC
                      2810 FRANK SCOTT PKWY STE 812
                      BELLEVILLE, IL 62223



                      ASU TUCSON STUDENT COUNCIL
                      340 N COMMERCE PARK LOOP STE
                      TUCSON, AZ 85745



                      ASU TUCSON STUDENT COUNCIL
                      340 N COMMERCE PARK LOOP STE
                      TUCSON
                      AZ, 85745



                      ASUMAN SEYLAN
                      1400 NW 13TH ST
                      APT 4
                      BOCA RATON, FL 33486



                      Asuncion Melendez
                      13061 Lampson Ave Apt.81
                      Garden Grove, CA 92840
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 237 of 2164




                      AT&T
                      PO BOX 105262
                      ATLANTA, GA 30348-5262



                      AT&T
                      PO BOX 5025
                      CAROL STREAM, IL 60197-5025



                      AT&T
                      PO BOX 5083
                      CAROL STREAM, IL 60197-5083



                      AT&T
                      PO BOX 5080
                      CAROL STREAM, IL 60197-5080



                      AT&T
                      PO BOX 740144
                      ATLANTA, GA 30374-0144



                      AT&T
                      PO BOX 105068
                      ATLANTA, GA 30348-5068



                      AT&T
                      PO BOX 105414
                      ATLANTA, GA 30348-5414



                      AT&T
                      PO BOX 5019
                      CAROL STREAM, IL 60197-5019



                      AT&T
                      PO BOX 650661
                      DALLAS, TX 75265-0661
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 238 of 2164




                      AT&T
                      PO BOX 5001
                      CAROL STREAM, IL 60197-5001



                      Atadeo Alejo
                      13979 COUNTRY CREEK RD
                      POWAY, CA 92064



                      Atalanta
                      PO BOX 74008466
                      CHICAGO, IL 60674-8466



                      ATALANTA CORPORATION
                      PO BOX 894437
                      LOS ANGELES, CA 90189-4437



                      ATALANTA CORPORATION
                      PO BOX 74008466
                      CHICAGO, IL 60674-8466



                      Atalanta Corporation.
                      Po Box 74008466
                      Chicago, IL 60674-8466



                      Atalanta Corporation.
                      Po Box 74008466
                      Chicago
                      IL, 60674-8466



                      ATG WOODWORKING LLC
                      201 MESQUITE BRIAR TRL
                      HUTTO, TX 78634



                      Athena Mclain
                      4679 Villa Woods Dr.
                      Riverside, CA 92509
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 239 of 2164




                      Atikah Munnee
                      3826 Bentley Ave
                      Culver City, CA 90232



                      ATLANTA NORTH SCHOOL
                      5123 CHAMBLEE DUNWOODY RD
                      C/O RENE LONGORIA
                      DUNWOODY, GA 30338



                      Atlantic Logistics Management
                      6350 Lake Oconee Pkwy Suite 102 Box 22
                      Greensboro, GA 30642



                      Atlantic Logistics Management
                      6350 Lake Oconee Pkwy Suite 102 Box 22
                      Greensboro
                      GA, 30642



                      ATLAS SIGN INDUSTRIES OF FL LLC
                      1077 W BLUE HERON BLVD
                      WEST PALM BEACH, FL 33404



                      Atticus Bridges
                      1122 Whitegate Ct
                      Sarasota, FL 34232



                      Attie Landrum
                      8062 Poinsettia Dr
                      Buena Park, CA 90620



                      Attune Foods, Llc
                      Post Holdings, Inc
                      26744 Network Place
                      Chicago, IL 60673-1267



                      Aubree Miller
                      41055 FRONTIER RD
                      PARKER, CO 80138
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 240 of 2164




                      Aubrey Gooch
                      4199 S PONDEROSA DR
                      GILBERT, AZ 85297



                      Aubrey Miranda
                      3725 E. Frankfort Stra.
                      Tucson, AZ 85706



                      Aubrianna Hines
                      1350 San Bernadino Road
                      114
                      Upland, CA 91786



                      Audrey Burton
                      15858 NW JEANNE CT
                      BEAVERTON, OR 97006



                      Audrey Colvin
                      6181 SW 205TH AVE
                      BEAVERTON, OR 97078



                      Audrey Roman
                      11806 MADISON KENDALL LN.
                      HOUSTON, TX 77066



                      Audreyiana Russell
                      21142 CANADA RD
                      APT. 1N
                      LAKE FOREST, CA 92630



                      Aulora Lujan
                      1910 CHERRY LANE NW
                      ALBUQUERQUE, NM 87104



                      Aung Hein
                      18557 E COLIMA RD
                      #E
                      ROWLAND HEIGHTS, CA 91748
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 241 of 2164




                      Aura Tejada De Cruz
                      10490 DOUGHERTY AVE
                      MORGAN HILL, CA 95037



                      Aurelia Chovon Carrillo
                      390 Cecelia Way
                      Los Altos, CA 94022



                      Aurelia Tapia
                      1227 N 84 Th place
                      Scottsdale, AZ 85257



                      Aurelio Alvarez Venegas
                      2736 W LINCOLN AVE
                      142
                      ANAHEIM, CA 92801



                      Aurie Gutierrez
                      1459 Strada D Oro
                      Venice, FL 34292



                      Auriel Hoyle
                      3940 SW PLUM ST
                      APT 5
                      PORTLAND, OR 97219



                      Aurora Deshazo




                      Aurora Hagendorf
                      7370 NW 21ST ST
                      PEMBROKE PINES, FL 33024



                      Aurora Lawson-Tranholm
                      4211 SE DIVISION ST
                      PORTLAND, OR 97206
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 242 of 2164




                      Aurora Lopez
                      3527 Mentone Ave
                      #8
                      Los Angeles, CA 90034



                      Aurora Maziarka
                      1230 E TIARA ST
                      SALT LAKE CITY, UT 84117



                      Aurora Pille-hernandez
                      1400 Hiawatha Rd.
                      Las Vegas, NV 89108



                      AURORA QUEST K-8 PTA
                      17315 E 2ND AVE
                      AURORA, CO 80011



                      Aurora Rodriguez
                      10700 E DARTMOUTH AVE
                      DD302
                      DENVER, CO 80014



                      AURORA WATER
                      PO BOX 719117
                      DENVER, CO 80271-9117



                      Aushanti Woods
                      390 Se Highway 42
                      Summerfield, FL 34491



                      Austin acevedo
                      6219 SE 92ND AVE
                      PORTLAND, OR 97266



                      Austin Albritton
                      17240 CUVEE CT
                      POWAY, CA 92064
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 243 of 2164




                      Austin Arnold
                      13283 SE 120TH CT
                      CLACKAMAS, OR 97015



                      Austin Bailey
                      992 DEVILLE DR E
                      LARGO, FL 33771



                      Austin Cantrell
                      462 DARTER DRIVE NW
                      ACWORTH, GA 30144



                      Austin Cupryk
                      2911 NW NAHCOTTA ST
                      CAMAS, WA 98607



                      Austin Faust
                      607 Whippoorwill Lane
                      Oviedo, FL 32765



                      Austin Freeman
                      6920 Se Yearling Lane
                      Milwaukie, OR 97267



                      Austin Galbraith
                      3301 MEANDER LANE
                      SAFETY HARBOR, FL 34695



                      Austin Galvez
                      5974 Gentle Slope St.
                      Henderson, NV 89011



                      Austin Humphrey
                      2129 NW 16TH ST
                      GRESHAM, OR 97030
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 244 of 2164




                      Austin Peterson
                      2436 PAISANO ST. NE.
                      ALBUQUERQUE, NM 87112



                      Austin Ponce
                      1545 TREVOR DRIVE
                      SAN JOSE, CA 95118



                      Austin robles
                      2051 NORTH TORREY PINES DRIVE
                      2041
                      LAS VEGAS, NV 89108



                      Austin Spargo
                      782 Orinoco Rd. Sw
                      Rio Rancho, NM 87124



                      AUSTIN STIVERS
                      17842 THEODORA DR
                      TUSTIN, CA 92780



                      Austin Thill
                      2624 WORDEN ST
                      185
                      SAN DIEGO, CA 92110



                      Austin Tilley
                      911 15TH ST
                      APT. 10
                      OREGON CITY, OR 97045



                      Austin Woodson
                      2350 CYPRESS POND ROAD
                      2415
                      PALM HARBOR, FL 34683



                      Austyn Bernal
                      17536 E CASPIAN PLACE
                      AURORA, CO 80013
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 245 of 2164




                      AUTISM SOCIETY OF GREATER ORLANDO
                      1650 SAND LAKE RD STE 240
                      ORLANDO, FL 32809



                      AUTISM SPEAKS
                      PO BOX 199
                      ROCKY HILL, NJ 08553



                      AUTOANYTHING
                      6602 CONVOY CT 200
                      SAN DIEGO, CA 92111



                      AUTOMATIC DATA PROCESSING INC
                      PO BOX 89-4188
                      LOS ANGELES, CA 90189-4188



                      Autumn Arter
                      24650 S Beavercreek Rd
                      Beavercreek, OR 97004



                      Autumn Barrett
                      16802 N 31ST
                      130
                      PHOENIX, AZ 85032



                      Autumn Gusto
                      1720 MORRILL ST
                      #5
                      SARASOTA, FL 34236



                      Autumn Johnson
                      624 SE 132 AVE 132 AVE
                      VANCOUVER, WA 98683



                      Autumn Princic
                      8163 E PHILLIP CIR
                      CENTENNIAL, CO 80112
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 246 of 2164




                      Autumn Timmons
                      6035 West Ave K 10
                      Lancaster, CA 93536



                      Auvilau Redmond
                      3345 Rainbow Lane
                      Highland, CA 92346



                      Ava Bendett
                      13552 PEACH TREE WAY
                      SAN DIEGO, CA 92130



                      Ava Casteel
                      1702 HEIGHTS CIRCLE
                      KENNESAW, GA 30152



                      Ava Moslehi
                      12782 Torrey Bluff Dr
                      San Diego, CA 92130



                      Ava Stevens
                      8827 NORWICH ST
                      WESTMINSTER, CO 80031



                      Avenir Sinyayev
                      4739 SE KING RD
                      MILWAUKIE, OR 97222



                      AVENUES SLS INC
                      28415 INDUSTRY DRIVE #502
                      AVENUES SUPPORTED LIVING SERVI
                      VALENCIA, CA 91355



                      AVENUES SUPPORTED LIVING SERVICES
                      28415 INDUSTRY DRIVE #502
                      VALENCIA, CA 91355
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 247 of 2164




                      Averi Lewis
                      22060 SW 107TH AVE
                      TUALATIN, OR 97062



                      AVERUS SOUTHEAST LLC
                      3851 CLEARVIEW COURT
                      GURNEE, IL 60031



                      AVERUS SOUTHEAST LLC
                      1800 NATIONS DRIVE STE 215
                      GURNEE, IL 60031



                      Avery Ellis
                      585 Avenida Magdalena
                      Camarillo, CA 93010



                      Avery Lamar
                      1940 COMPASS FLOWER WAY OCOEE
                      OCOEE, FL 34761



                      AVHS
                      5588 GLLENROCK AVE APT 406
                      ATTN RENEE XUE
                      LOS ANGELES, CA 90024



                      AVHS
                      5588 GLLENROCK AVE APT 406
                      ATTN RENEE XUE
                      LOS ANGELES
                      CA, 90024



                      AVHS CLASS OF 2022
                      1155 SANTA RITA RD
                      PLEASANTON, CA 94566



                      AVHS SWIM TEAM
                      2637 STARLING COURT
                      PLEASANTON, CA 94566
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 248 of 2164




                      AVIANA GLOBAL TECHNOLOGIES INC
                      915 W IMPERIAL HWY #100
                      BREA, CA 92821



                      Avigayil shpigelman
                      13203 WINSANLEY WAY
                      SAN DIEGO, CA 92130



                      AVION GRAPHICS
                      27192 BURBANK
                      FOOTHILL RANCH, CA 92610



                      AVIS BUDGET GROUP LLC
                      7876 COLLECTIONS CENTER DRIVE
                      CHICAGO, IL 60693



                      AVOCADO ELEMENTARY SCHOOL PTA
                      3845 AVOCADO SCHOOL ROAD
                      LA MESA, CA 91941



                      Avra Harrold
                      29063 Boulder Crest Way
                      Menifee, CA 92584



                      Avrill Perez
                      14542 SW 38 LANE
                      MIAMI, FL 33175



                      AW BILLING SERVICES LLC
                      4431 NORTH DIXIE HWY
                      BOCA RATON, FL 33431



                      Awilda Rodriguez
                      561 FAIRGROUNDS RD
                      WEST PALM BEACH, FL 33411
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 249 of 2164




                      AWNING DETAILERS INC
                      PO BOX 1236
                      ANTIOCH, CA 94509



                      Axel Alvarez Loya
                      1608 Rolling Hills Dr
                      Fullerton, CA 92835



                      Axel Calderon
                      3519 COLLEEN WOODS CIRCLE
                      HOUSTON, TX 77080



                      Axel Cruz Acosta
                      5096 Brenda Drive
                      Orlando, FL 32812



                      Axel Flores
                      24681 Cordova Dr
                      Apt C
                      dana point, CA 92629



                      Axel Hernandez
                      110 Olmsted Ct
                      Pittsburg, CA 94565



                      Ayana Galves
                      17059 JURASSIC PL
                      VICTORVILLE, CA 92394



                      Ayana jean-pierre
                      6542 RACQUET CLUB DRIVE
                      LAUDERHILL, FL 33319



                      Ayanna Allotey
                      9006 CAMPINA DRIVE
                      #E
                      LA MESA, CA 91942
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 250 of 2164




                      Ayanna Harvin
                      3324 KATHERINE ST.
                      FORT MYERS, FL 33916



                      Ayanna Smith
                      2020 PAXTON DRIVE
                      LILBURN, GA 30047



                      Ayatollah Lewis
                      3842 ELMSIDE VILLAGE LANE
                      #B
                      NORCROSS, GA 30092



                      Ayded Thornton
                      2250 Garnet Ave
                      San Diego, CA 92109



                      Ayden Solorzano
                      4968 CALLED SOBRADO
                      OCEANSIDE, CA 92056



                      Aydia Johnson
                      15000 S SPANGLER RD
                      OREGON CITY, OR 97045



                      Aylin callejas tolentino
                      643 MAGNOLIA AVE
                      CARLSBAD, CA 92008



                      AYONA WATKINS
                      1508 WATKINS RD
                      LEESBURG, FL 34748



                      Ayrton Kokongando
                      922 Windsor Creek
                      Grayson, GA 30017
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 251 of 2164




                      AYSO REGION 285
                      10158 ARROW ROCK AVE
                      SAN DIEGO, CA 92126



                      AYSO REGION 341 INC
                      PO BOX 712933
                      SANTEE, CA 92071



                      AYSO REGION 795
                      10201 LASAINE AVE
                      NORTHRIDGE, CA 91325



                      AYSO REGION 795
                      10201 LASAINE AVE
                      NORTHRIDGE
                      CA, 91325



                      Ayush Ghimire
                      4415 NORWALK DRIVE
                      16
                      SAN JOSE, CA 95129



                      AZ CHILD SUPPORT RECOVERY UNIT
                      PO BOX 36626
                      PHOENIX, AZ 85067-6626



                      AZ DOR
                      PO BOX 29070
                      PHOENIX, AZ 85038-9070



                      AZ DOR
                      PO BOX 29070
                      PHOENIX
                      AZ, 85038-9070



                      AZ SUPPORT PAYMENT CLEARINGHOUSE
                      PO BOX 52107
                      PHOENIX, AZ 85072
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 252 of 2164




                      Azalia Urena
                      505 N CLEMENTINE ST
                      P
                      OCEANSIDE, CA 92054



                      Azamet Burt
                      3123 Bridge Walk Dr
                      Lawrenceville, GA 30044



                      Aziel-jason Gonzalez
                      12458 GRANGE PLACE
                      POWAY, CA 92064



                      AZTEC PLUMBING LLC
                      PO BOX 17049
                      TUCSON, AZ 85731



                      Aztier Rodriguez
                      3408 WEST SAINT CONRAD ST
                      TAMPA, FL 33607



                      Azucena Astorga
                      2087 NAIDA AVE
                      NA
                      SAN JOSE, CA 95122



                      AZUCENA ASTORGA
                      2087 NAIDA AVE
                      SAN JOSE, CA 95122



                      Azul Alcala
                      528 CASSELMAN ST
                      CHULA VISTA, CA 91910



                      Azul Villatoro
                      27606 KEVIN PLACE
                      SAUGUS, CA 91350
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 253 of 2164




                      B AND C FURNITURE SOLUTIONS INC
                      1060 J STREET
                      SAN DIEGO, CA 92101



                      B AND J REFRIGERATION INC
                      422 S OLSEN AVE
                      TUCSON, AZ 85719



                      B&G Foods, Inc
                      PO Box 405354
                      Atlanta, GA 30384-5354



                      BAADA
                      PO BOX 210451
                      SAN FRANCISCO, CA 94121



                      BAADA
                      PO BOX 210451
                      SAN FRANCISCO
                      CA, 94121



                      BABA NANAK FOODS INC
                      PO BOX 10098
                      SAN BERNARDINO, CA 92423-0098



                      Baby   Ward
                      6614   tamarisk avenue
                      unit   2
                      palm   spring, CA 92277



                      BACHRODT PTA
                      102 SONORA AVENUE
                      SAN JOSE, CA 95110



                      Back to Perfection
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                      BACKFLOW TECH INC
                      610 GARRISON ST UNIT W
                      LAKEWOOD, CO 80215



                      BACKUPIFY INC
                      PO BOX 21465
                      NEW YORK, NY 10087-1465



                      Badia
                      PO BOX 226497
                      DORAL, FL 33222-6497



                      BADIA SPICES INC
                      PO BOX 226497
                      DORAL, FL 33222-6497



                      Badia Spices, Inc.
                      Po Box 226497
                      Doral, FL 33222-6497



                      Bailey Allen
                      4828 Bernal Ave
                      Apt C
                      Pleasanton, CA 94566



                      Bakari pugh
                      1438 MORGAN RD
                      SAN BERNARDINO, CA 92407



                      BAKER AND HOSTETLER LLP
                      PO BOX 70189
                      CLEVELAND, OH 44190-0189



                      BAKER COMMODITIES INC
                      PO BOX 6518
                      PHOENIX, AZ 85005
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                      Bakhtiyor Mirzoev
                      7611 S 36TH ST APT 155
                      PHOENIX, AZ 85042



                      BALBOA SPIRIT CLUB
                      17020 LABRADOR STREET
                      NORTHRIDGE, CA 91325



                      BALBOA SPIRIT CLUB
                      17020 LABRADOR STREET
                      NORTHRIDGE
                      CA, 91325



                      BALCO HOLDINGS INC
                      PO BOX 7137
                      SAN FRANCISCO, CA 94120-7137



                      Baldomero Deloya
                      14652 Carfax Dr.
                      #b
                      Tustin, CA 92780



                      BALLOON DISTRACTIONS INC
                      280 W OSCEOLA ST
                      CLERMONT, FL 34711



                      Baltazar Reyes
                      9808 DOWNEY HILL STREET
                      ORLANDO, FL 32825



                      BARBARA BIVENS
                      616 BIRCH CIRCLE
                      CARY, NC 27511



                      Barbara Crosby
                      44490 Leona Court
                      Temecula, CA 92592
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                      Barbara Figueredo
                      644 Sabal Palm Circle
                      Altamonte Springs, FL 32701



                      Barbara Gomez
                      15290 Sw 301 St
                      Homestead, FL 33033



                      Barbara Hayes
                      6816 HIGH BLUFF WAY
                      LAS VEGAS, NV 89108



                      Barbara Hudson
                      12525 Kirkwood Road Apt 435
                      Apt 435
                      Stafford, TX 77477



                      BARBARA JACHIMAK
                      2408 CEDAR STREET
                      ROLLING MEADOWS, IL 60008



                      Barbara Romero
                      260 EAST LAMBERT RD.
                      LA HABRA, CA 90631



                      Barbara Scott
                      914 Northrup St.
                      San Jose, CA 95126



                      Barbara Villegas
                      9350 CORTE GANZO
                      SPRING VALLEY, CA 91977



                      BARE ASSOCIATES INTERNATIONAL INC
                      3702 PENDER DR STE 305
                      FAIRFAX, VA 22030
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 257 of 2164




                      Bare International




                      Bargreen Ellingson
                      Foodservice Supply & Design
                      LOCKBOX #310055 - PO Box 94328
                      Seattle, WA 98124-6628



                      BARGREEN ELLINGSON INC
                      PO BOX 94328
                      LOCKBOX 310055
                      SEATTLE, WA 98124-6628



                      Bari Olive Oil Comapny
                      40063 Road 56
                      Dinuba, CA 93618



                      BARILLA AMERICA INC
                      1200 LAKESIDE DRIVE #150
                      BANNOCKBURN, IL 60015



                      BARKER ELEMENTARY SCHOOL
                      12565 SPRINGDALE ST
                      GARDEN GROVE, CA 92845



                      BARNARD PTA
                      2445 FOGG ST
                      5TH GRADE CHINA TRIP
                      SAN DIEGO, CA 92109



                      BARONY OF DRAGONS MIST SCA INC
                      PO BOX 1471
                      HILLSBORO, OR 97123



                      BARRINGTON PLACE ELEMENTARY
                      2100 SQUIRE DOBBINS DR
                      SUGAR LAND, TX 77478
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                      Barris Gavin
                      605 Bahaia Circle
                      Ocala, FL 34472



                      Barron Brantley
                      21 CEDAR RN
                      21
                      ATLANTA, GA 30350



                      Barry William
                      6816 HIGH BLUFF WAY
                      LAS VEGAS, NV 89108



                      BART CROXFORD
                      1475 MUMS CIRCLE
                      SANDY, UT 84092



                      BASIC ACADEMY BAND
                      400 PALO VERDE DR
                      BASIC ACADEMY BAND
                      HENDERSON, NV 89015



                      BASIC HIGH SCHOOL
                      400 PALO VERDE DR
                      HENDERSON, NV 89015



                      Basil Glashow
                      PO Box 221146
                      Hollywood, FL 33022



                      BASIS MESA BOOSTERS
                      5010 S EASTMARK PKWY
                      MESA, AZ 85212



                      BASIS SCOTTSDALE PRIMARY BOOSTER
                      16747 E PARKVIEW AVE STE 1
                      FOUNTAIN HILLS, AZ 85268
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 259 of 2164




                      Basma Lawend
                      4026 W. Garden Dr.
                      Phoenix, AZ 85029



                      Bassam Qouzah
                      7636 OWENSMOUTH AVE.
                      CANOGA PARK, CA 91304



                      Bawele Tchassama
                      8356 Roswell Rd
                      APT S
                      Atlanta, GA 30350



                      Bay Alarm Company
                      Balco Holdings, Inc
                      5130 Commercial Circle
                      Concord, CA 94520



                      BAY AREA PREGNANCY CENTER
                      2380 DREW STREET SUITE # 6
                      CLEARWATER, FL 33765



                      Bay State
                      100 CONGRESS ST 2ND FL
                      QUINCY, MA 02169-0948



                      BAY STATE MILLING CO
                      100 CONGRESS ST 2ND FL
                      QUINCY, MA 02169-0948



                      Bay State Milling Co.
                      100 Congress St-2Nd Fl
                      Quincy, MA 02169-0948



                      Bay State Milling Co.
                      100 Congress St-2Nd Fl
                      Quincy
                      MA, 02169-0948
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                      BAY VALLEY FOODS LLC
                      21077 NETWORK PLACE
                      CHICAGO, IL 60673-1210



                      Bayardo Ruiz
                      2345 SCENIC AVENUE
                      MARTINEZ, CA 94553



                      Baylee Leggett
                      14678 NW CORNELL RD
                      APT 56
                      PORTLAND, OR 97229



                      BBI MARKETING INC
                      5021 W RIO VISTA AVE
                      TAMPA, FL 33634



                      BBROWARD COUNTY REVENUE
                      115 S ANDREWS AVE RM A-100
                      FORT LAUDERDALE, FL 33301



                      BBYO J F K AZA 456
                      5870 W OLYMPIC BLVD
                      LOS ANGELES, CA 90036



                      BBYO J F K AZA 456
                      5870 W OLYMPIC BLVD
                      LOS ANGELES
                      CA, 90036



                      BCTCB - EIT
                      1301 12TH STREET
                      SUITE 103
                      ALTOONA, PA 00016-6010



                      BDO
                      PO BOX 677973
                      DALLAS, TX 75267-7973
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 261 of 2164




                      BDO USA LLP
                      PO BOX 677973
                      DALLAS, TX 75267-7973



                      BDO USA LLP
                      PO BOX 677973
                      DALLAS
                      TX, 75267-7973



                      BEAR NECESSITY LLC
                      12285 S ORANGE BLOSSON TRAIL
                      C/O 1ST NATIONAL BANK OSCEOLA PHILLIP J
                      ORLANDO, FL 32837



                      Bear Necessity LLC
                      Attn: Barry Simmons
                      1330 Nepture Ave.
                      Leucadia, CA 92024



                      Beatrice Foucrier
                      265 CAMELBACK ROAD
                      116
                      PLEASANT HILL, CA 94523



                      Beatriz BARRIOS
                      3325 S KIRKMAN RD
                      422
                      ORLANDO, FL 32811



                      Beatriz Cifuentes
                      3049 W LARKSPUR DR
                      PHOENIX, AZ 85029



                      Beatriz Igarza
                      4834 ELFRIDA AVE
                      SARASOTA, FL 34235
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 262 of 2164




                      Beatriz Jurado
                      2030 BRANDON CROSSING CIR
                      204
                      BRANDON, FL 33511



                      Beatriz Perez
                      5055 El Castano Ave
                      Las Vegas, NV 89108



                      BEAUFORT COUNTY FAMILY COURT
                      PO DRAWER 1124
                      BEAUFORT, SC 29901



                      BEAUMONT ELEMENTARY
                      550 BEAUMONT DR
                      VISTA, CA 92084



                      BEAVERTON CIVIC THEATRE
                      PO BOX 454
                      ATTN MELISSA RILEY
                      BEAVERTON, OR 97005



                      BEAZLEY USA SERVICES INC
                      30 BATTERSON PARK RD
                      FARMINGTON, CT 06032



                      BECKFORD CHARTER PTA
                      19130 TULSA ST
                      NORTHRIDGE, CA 91426



                      BECKMAN HIGH SUPER BOOSTERS
                      10 CALAIS
                      BECKMAN VOCAL ARTS BOOSTERS
                      IRVINE, CA 92602



                      BECKY NOEL
                      6861 SOUTH SPRINGBOOK WAY
                      SALT LAKE CITY, UT 84121
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                      BEECHWOOD SCHOOL PTSA
                      780 BEECHWOOD AVENUE
                      FULLERTON, CA 92831



                      Behesta Said
                      35555 MORLEY PLACE
                      FREMONT, CA 94536



                      BEHROUZ AHMADINIKOO
                      2225 FENIAN DRIVE
                      CAMPBELL, CA 95008



                      Behzad Farhangfar
                      17476 PLAZA ANIMADO
                      #165
                      SAN DIEGO, CA 92128



                      BELCO ELECTRIC INC
                      3118 MARJAN DR
                      ATLANTA, GA 30340



                      Belen contreras
                      9550 LONG POINT RD
                      176
                      HOUSTON, TX 77055



                      Belen Gonzalez Montes
                      1809 BONITA AVE
                      LAS VEGAS, NV 89104



                      BELEN MARQUEZ
                      84495 CHRISTINA RD
                      COACHELLA, CA 92236



                      Belen Valenzuela
                      1018 KELL WIL WAY
                      DUARTE, CA 91010
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 264 of 2164




                      Belete Moti
                      1750 STOKES ST.
                      92
                      SAN JOSE, CA 95126



                      BELFOR USA GROUP INC
                      2300 FOURTH ST
                      TUCKER, GA 30084



                      Belgica Martinez
                      1919 E Hayden Ln
                      #b
                      Tempe, AZ 85281



                      Belinda Del Fierro
                      153 Calera Ave
                      Glendora, CA 91741



                      Belinda Gomez
                      1318 Bonner Ave
                      Fremont, CA 94538



                      Belkys Toledo
                      7619 Dolonita Dr
                      Tampa, FL 33615



                      BELL PTA
                      12345 SPRINGDALE ST
                      GARDEN GROVE, CA 92845



                      BELL PTA
                      12345 SPRINGDALE ST
                      GARDEN GROVE
                      CA, 92845



                      BELLSOUTH
                      PO BOX 105262
                      ATLANTA, GA 30348-5262
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 265 of 2164




                      BELLWETHER FOOD GROUP INC
                      9 RIVER ROAD
                      TOPSFIELD, MA 01983



                      BELRON LLC
                      7300 VISCAYA CIRCLE
                      MARGATE, FL 33063



                      BELRON LLC
                      7300 VISCAYA CIRCLE
                      MARGATE
                      FL, 33063



                      BELTRAM FOOD SERVICE SUPPLY
                      PO BOX 844620 DEPT 101
                      BOSTON, MA 02284-4620



                      BEN GAMLA CHARTER SCHOOL
                      8600 JOG ROAD
                      BOYNTON BEACH, FL 33472



                      BEN GAMLA CHARTER SCHOOL
                      8600 JOG ROAD
                      BOYNTON BEACH
                      FL, 33472



                      Ben Kurzion
                      1697 COLUMBIA DRIVE
                      MOUNTAIN VIEW, CA 94040



                      BENCHLEY WEINBERGER PTA
                      6269 TWIN LAKE DR
                      SAN DIEGO, CA 92119



                      Benedicto Trinidad III
                      564 HASTINGS DRIVE
                      BENICIA, CA 94510
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 266 of 2164




                      BENEDICTO TRINIDAD III
                      564 HASTINGS DR
                      BENICIA, CA 94510



                      Bengina Vassor
                      200 NW 7TH STREETS
                      #4
                      POMPANO BEACH, FL 33060



                      Benigno Del Carmen Morales
                      520 N BAKER ST
                      SANTA ANA, CA 92703



                      Benigno Matias
                      4138 Kenyon Ave
                      Los Angeles, CA 90066



                      Benita Becerra
                      133 E CAMBRIDGE ST
                      LONG BEACH, CA 90805



                      Benita Herd
                      1035 Myrtle Avenue
                      11
                      INGLEWOOD, CA 90301



                      Benita Jimenez
                      20516 Harvard Blvd
                      Apt E
                      Torrance, CA 90501



                      Benito Gomez Pena
                      2885 EAST MIDWAY BLVD LOT 1367
                      BROOMFIELD, CO 80234



                      Benito Perez
                      3060 Bugle Drive
                      Duluth, GA 30096
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 267 of 2164




                      Benjamen A. Johnson
                      946 SACRAMENTO AVE
                      SPRING VALLEY, CA 91977



                      Benjamen Johnson
                      946 SACRAMENTO AVE
                      SPRING VALLEY, CA 91977



                      Benjamin Archie
                      2556 KNOX CT
                      SAN BERBARDINO, CA 92408



                      Benjamin Banuelos
                      11022 W Hondo Pkwy
                      Temple City, CA 91780



                      Benjamin caballero
                      11459 N 28TH DR
                      3020
                      PHOENIX, AZ 85029



                      Benjamin Franklin-collier
                      9089 Mesa Woods Avenue
                      San Diego, CA 92126



                      Benjamin Frierson
                      2632 FOXGLOVE DRIVE
                      MARIETTA, GA 30064



                      Benjamin Goetz
                      4049 CROCKERS LAKE BLVD #2316
                      SARASOTA, FL 34238



                      Benjamin Hansen
                      3605 Roy Rogers Dr.
                      Las Vegas, NV 89108
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 268 of 2164




                      Benjamin Hernandez
                      4739 YUMA AVE
                      F
                      OCEANSIDE, CA 92057



                      benjamin hernandez
                      1831 E WASHINGTON AVE
                      B8
                      ESCONDIDO, CA 92027



                      Benjamin Jimenez
                      8211 MELROSE
                      HOUSTON, TX 77022



                      Benjamin Kraus
                      7489 SOUTH ALKIRE STREET
                      206
                      LITTLETON, CO 80127



                      Benjamin Livingood
                      1000 se 160th ave
                      Mm318
                      Vancouver, WA 98683



                      Benjamin Manger
                      520 Monterey Road
                      South Pasadena, CA 91030



                      Benjamin Mathews
                      24 SPRING LOOP CIRCLE
                      OCALA, FL 34472



                      Benjamin Nichols
                      12320 Escala Dr
                      San Diego, CA 92128



                      Benjamin ORTEGA
                      1300 TOPAZ CT
                      COLTON, CA 92324
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 269 of 2164




                      Benjamin Rabaud
                      8421 Se 146th Place
                      Portland, OR 97236



                      Benjamin Ramirez
                      435 E. 9th Ave
                      Apt #2
                      Mesa, AZ 85204



                      Benjamin Reyes
                      1019 SOUTH PINE STREET
                      ESCONDIDO, CA 92025



                      Benjamin Robinson
                      2323 HOPE ST
                      HOLLYWOOD, FL 33020



                      Benjamin Ryan
                      1044 SPANISH OAKS BLVD
                      PALM HARBOR, FL 34683



                      Benjamin Song
                      1682 WHISPERING OAKS WAY
                      PLEASANTON, CA 94566



                      Benjamin Vidal
                      1365 BROADWAY
                      26
                      EL CAJON, CA 92021



                      Benjamin Villalpando
                      420 RYE CRICLE
                      NA
                      LA HABRA, CA 90631



                      Benjamin Zamora
                      806 S BROADWAY AVE.
                      11
                      SANTA ANA, CA 92701
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 270 of 2164




                      Bennett Wong
                      20 HIDDEN BROOK
                      IRVINE, CA 92602



                      Benny Figueroa
                      24682 Belgreen Pl
                      Lake Forest, CA 92630



                      Benny Garcia
                      41309 W. Curtis Ln.
                      Maricopa, AZ 85138



                      Benny Lacey
                      616 GARRISON ST
                      LAS VEGAS, NV 89107



                      BENRICH SERVICE COMPANY INC
                      3190 AIRPORT LOOP DR STE G
                      COSTA MESA, CA 92626-3403



                      Berano Charles
                      2032 46TH ST SW
                      NAPLES, FL 34116



                      BERGESON PTA
                      25302 RANCHO NIGUEL RD DRAMA
                      LAGUNA NIGUEL, CA 92677



                      BERKHEIMER ASSOCIATES
                      PO BOX 25132
                      LEHIGH VALLEY, PA 00018-0020



                      BERKHEIMER ASSOCIATES
                      PO BOX 25156
                      LEHIGH VALLEY, PA 00018-0020
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 271 of 2164




                      BERKS COUNTY EIT BUREAU
                      920 VAN REED ROAD
                      WYOMISSING, PA 19610-1700



                      Berlin Packaging Llc
                      36690 Treasury Center
                      Chicago, IL 60694-6600



                      BERLYNN DURHAM
                      15614 SE MEADOWLARK LN
                      MILWAUKIE, OR 97267



                      Bernabe Hernandez
                      5707 W Highland Ave
                      Phoenix, AZ 85031



                      Bernadette Bouquette
                      3758 Nw 1st Court
                      Fort Lauderdale, FL 33311



                      Bernadette Culbreath
                      4941 ALEXANDER DRIVE
                      OXNARD, CA 93033



                      Bernadette Foy
                      2734 RAMOUS CT
                      MOUNTAIN VIEW, CA 94040



                      BERNADETTE N. FOY
                      2734 RAMOUS CT
                      MOUNTAIN VIEW, CA 94040



                      Bernal Apachee
                      401 Georgia St Se
                      Apt 4
                      Albuquerque, NM 87108
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 272 of 2164




                      BERNAL HSA
                      6610 SAN IGNACIO AVE
                      SAN JOSE, CA 95119



                      BERNALILLO COUNTY
                      PO BOX 27800
                      BERNALILLO COUNTY TREASURER
                      ALBUQUERQUE, NM 87125-7800



                      Bernard Joseph
                      2619 AVENUE S
                      RIVIERA BEACH, FL 33404



                      Bernard marshall
                      3801 WESTWOOD PATH
                      STONE MOUNTAIN, GA 30083



                      Bernardino Jimenez
                      830 S. DOBSON RD.
                      47
                      MESA, AZ 85202



                      Bernardita Mitchell
                      4940 S.mesquite Cl.n
                      Tucson, AZ 85706



                      Bernardo Estrada
                      2280 WYANDOT DR
                      WESTMINSTER, CO 80221



                      Bernardo Fernandez
                      853 Serrana Ct
                      Pittsburg, CA 94565



                      BERNARDO HEIGHTS EDUCATION FOU
                      12990 PASEO LUCIDO
                      SAN DIEGO, CA 92128
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 273 of 2164




                      Bernardo Sanchez
                      521 SOUTH LYON STREET
                      82
                      SANTA ANA, CA 92701



                      Bernardo Trujillo
                      602 Diamond St.
                      Santa Ana, CA 92703



                      Bernice Mendez
                      966 HELEN AVE
                      #6
                      SUNNYVALE, CA 94086



                      Bernice Toussaint
                      131 NE 18TH STREET
                      POMPANO, FL 33060



                      Berrien Dearing
                      14090 E 22ND PLACE
                      AURORA, CO 80011



                      Berta Castaneda
                      558 WORLEY AVE
                      SUNNYVALE, CA 94085



                      Berta Soltero
                      475 Midway Drive
                      #165
                      Escondido, CA 92027



                      Bertha Benavidez Rodriguez
                      901 Bridgewater St
                      Las Vegas, NV 89110



                      Bertha Gutierrez
                      303 N Bush Apt.8
                      Anaheim, CA 92805
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 274 of 2164




                      Bertha Juarez
                      3001 N 36 ST
                      203
                      PHOENIX, AZ 85018



                      Bertha Mendez
                      320 CALLE RAYO
                      SAN MARCOS, CA 92069



                      Bertha Salas
                      4729 CONCORD VILLAGE
                      LAS VEGAS, NV 89108



                      BERTIE M. PERRY
                      4530 9TH ST EAST LOT 41
                      BRADENTON, FL 34203



                      Bertie Perry
                      4530 9TH ST EAST LOT 41
                      BRADENTON, FL 34203



                      Bertin Candido
                      3460 Newton Ave
                      San Diego, CA 92113



                      Bertino Diaz
                      12561equestrian cir apt.815
                      Fort Myers, FL 33907



                      Bessy Martinez Garcia
                      5311 HUNTINGTON DR N
                      APT 27
                      LOS ANGELES, CA 90032



                      BEST MANUFACTURERS INC
                      PO BOX 20091
                      PORTLAND, OR 97294
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 275 of 2164




                      BEST MANUFACTURERS INC
                      PO BOX 20091
                      PORTLAND
                      OR, 97294



                      Best Manufacturers, Inc.
                      P.O. Box 20091
                      Portland, OR 97294



                      BETH SHIR SHALOM
                      1827 CALIFORNIA AVE
                      SANTA MONICA, CA 90403



                      BETHANY CHRISTIAN ACADEMY
                      13431 EDWARDS STREET
                      WESTMINSTER, CA 92683



                      Bethany Hernandez
                      2607 East Villa Rita Drive
                      Phoenix, AZ 85032



                      Bethany Hodges
                      605 S NORTHLAKE BLVD
                      84
                      ALTAMONTE SPRINGS, FL 32701



                      BETHANY LUTHERAN CHURCH
                      4644 CLARK AVENUE
                      LONG BEACH, CA 90808



                      Bethany philippe
                      23560 WALDEN CENTER DRIVE
                      309
                      ESTERO, FL 34134



                      Betsa Corzo
                      1432 COUNTRYWOOD AVE
                      62
                      HACIENDA HEIGHTS, CA 91745
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 276 of 2164




                      Betsabe Green
                      535 W Leah Ave
                      Gilbert, AZ 85233



                      Betty Cox
                      650 Whitney Ranch Drive
                      Apt 1611
                      Henderson, NV 89014



                      Betty Gonzalez
                      759 94TH AVE
                      NAPLES, FL 34108



                      Betty Rieder
                      10675 SEMINOLE BLVD
                      27
                      LARGO, FL 33778



                      Beverly Ajanel
                      631 Lemon Ave
                      Vista, CA 92084



                      BEVERLY CONROY
                      207 MARRIAN DR
                      CLAYTON, NC 27520



                      Beverly Enoch
                      1339 KNOX COURT
                      DENVER, CO 80204



                      BEVERLY FOSTER
                      COACHING CONSULTING TRAINING
                      410 BANTON AVENUE
                      EUGENE, OR 97404-1725



                      Beverly Llonillo
                      11435 HALLWOOD DRIVE
                      EL MONTE, CA 91732
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 277 of 2164




                      Beverly Powell
                      12224 SE 101ST AVE
                      BELLEVIEW, FL 34420



                      BEYOND TRUST CORPORATION
                      PO BOX 734433
                      DALLAS, TX 75373-4433



                      Beyra Bautista Garcia
                      12531 E HUNTSMAN AVE
                      SELMA, CA 93662



                      BHS BAND BOOSTERS
                      PO BOX 2194
                      BELLEVIEW, FL 34421



                      Bianca Alanis
                      5217 Jewel Canyon Drive
                      LAS VEGAS, NV 89122



                      BIANCA ALANIS
                      5217 JEWEL CANYON DR
                      LAS VEGAS, NV 89122



                      Bianca Bennett
                      1233 W.VALLEY VIEW DRIVE
                      FULLERTON, CA 92833



                      Bianca F. Mendiola-mares
                      1028 SNOW LANE
                      PLACENTIA, CA 92870



                      Bianca Gutierrez
                      2730 JOSEPH AVE
                      APT. 2
                      CAMPBELL, CA 95008
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 278 of 2164




                      Bianca Mcchesney
                      722 1st Ct
                      Palm Harbor, FL 34684



                      Bianca Mendiola
                      1028 SNOW LANE
                      PLACENTIA, CA 92870



                      Bianca Valle
                      981 WHITNEY RANCH DR.
                      1022
                      HENDERSON, NV 89014



                      BIANCA VAZQUEZ
                      817 N JACKSON ST
                      WAUKEGAN, IL 60085



                      Bianey Garcia
                      501 W. WOODCREST AVE.
                      FULLERTON, CA 92832



                      Bianey Lopez Gonzalez
                      5623 Harbinwood Dr
                      Norcross, GA 30093



                      Bickel'S Snack Foods, Inc.
                      P.O. Box 334
                      Hanover, PA 17331



                      BICKELS SNACK FOODS INC
                      PO BOX 334
                      HANOVER, PA 17331



                      BIG APPLE WINDOW CLEANING INC
                      23165 COCONUT SHORES DR
                      BONITA SPRINGS, FL 34134
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 279 of 2164




                      Bilhiigibaa Vigil
                      10404 CONDOR DR
                      ALBUQUERQUE, NM 87114



                      Bill Amodeo
                      333 AVENIDA LA CUESTA
                      SAN MARCOS, CA 92078



                      Billie Jo Austin
                      6401 S.MANHATTAN AVE
                      TAMPA, FL 33616



                      Billups
                      PO BOX 22012
                      NEW YORK, NY 10087-2012



                      BILLUPS INC
                      PO BOX 22012
                      NEW YORK, NY 10087-2012



                      Billy galvez
                      125 NORTH WOOOD DR
                      433
                      SANDY SPRINGS, GA 30342



                      Billy Smith
                      7037 W Wanda Lynn Lane
                      Peoria, AZ 85382



                      BIOLA CKI
                      23130 INGOMAR ST
                      WEST HILLS, CA 91304



                      BIOLOGICAL SCIENCES STUDENT COUNCIL
                      2951 MUIR TRAIL DR
                      FULLERTON, CA 92833
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 280 of 2164




                      BIOLOGICAL SCIENCES STUDENT COUNCIL
                      2951 MUIR TRAIL DR
                      FULLERTON
                      CA, 92833



                      Biorkys Melian
                      5718 N LINCOLN AVE APT. B
                      TAMPA, FL 33614



                      Bipana Chundali
                      11215 S WILCREST DR.
                      APT. 1305
                      HOUSTON, TX 77099



                      Birhane Dadi
                      360 MERIDIAN AVE APT 211
                      SAN JOSE, CA 95126



                      BISCAYNE ENGINEERING INC
                      529 W FLAGLER ST
                      MIAMI, FL 33130



                      BISHOP CONTRACTING INC
                      850 S BOULDR HIGHWAY #190
                      HENDERSON, NV 89015



                      BIT BUCKETS ROBOTICS TEAM
                      7538 EAST CAMINO AMISTOSO
                      TUCSON, AZ 85750



                      BJH INSTRUMENTAL MUSIC BOOSTER
                      528 S WALNUT AVE
                      BREA, CA 92821



                      BJH INSTRUMENTAL MUSIC BOOSTER
                      528 S WALNUT AVE
                      BREA
                      CA, 92821
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 281 of 2164




                      Blackhawk
                      WELLS FARGO BANK
                      PO BOX 932859
                      ATLANTA, GA 31193



                      BLACKHAWK NETWORK INC
                      WELLS FARGO BANK
                      PO BOX 932859
                      ATLANTA, GA 31193



                      BLACKHAWK NETWORK INC
                      WELLS FARGO BANK
                      PO BOX 932859
                      ATLANTA
                      GA, 31193



                      BLACKLINE SYSTEMS INC
                      DEPT LA 23816
                      PASADENA, CA 91185-3816



                      BLACOW BOOSTER CLUB
                      40404 SUNDALE DR
                      FREMONT, CA 94538



                      Bladimy Blanchard
                      1315 NW 6TH STR
                      BOCA RATON, FL 33486



                      Blaine Olivas
                      715 CANDELARIA
                      ALBUQUERQUE, NM 87120



                      Blair Waldorf
                      1234 MAIN ST
                      1234 MAIN ST
                      DENVER, CO 80201
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                      Blaise Navarro
                      12741 LAUREL ST
                      56
                      LAKESIDE, CA 92040



                      Blake Baxter
                      2806 E 24th St
                      VANCOUVER, WA 98661



                      Blake Chapa
                      2501 Navarra Drive
                      116
                      Carlsbad, CA 92009



                      Blake Eckerd
                      2524 WEST OAK AVENUE
                      FULLERTON, CA 92833



                      Blake G. Eckerd
                      2524 WEST OAK AVENUE
                      FULLERTON, CA 92833



                      Blake Ingram
                      129 OGDEN DR
                      OREGON CITY, OR 97045



                      Blake Lambright
                      2518 BLACKJACK OAK PLACE
                      THE WOODLANDS, TX 77380



                      Blake Regottaz
                      10906 CORTE MEJILLONES
                      SAN DIEGO, CA 92130



                      Blake Sabins
                      9204 66TH N
                      PINELLAS PARK, FL 33782
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                      Blake Sanford
                      1825 PARKERS RD
                      CONYERS, GA 30093



                      Blake Tipton
                      808 ESTANCIA
                      IRVINE, CA 92602



                      Blanca Cardenas
                      3604 BEYER BLVD
                      11-205
                      SAN YSIDRO, CA 92173



                      BLANCA CONTRERAS
                      336 SARA LN NW APT 12
                      ALBURUERQUE, NM 87114



                      Blanca Esquivel
                      2525 W Lingan Lane
                      Santa Ana, CA 92704



                      Blanca Gomez
                      6880 Sw 19 Terr
                      Miami, FL 33155



                      Blanca Gonzalez
                      927 N Iowa Ave
                      Colton, CA 92324



                      Blanca Guzman
                      1505 wishing well way
                      Tampa, FL 33619



                      Blanca Izella Abitan
                      124 W COLORADO ST
                      401
                      GLENDALE, CA 91204
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                      Blanca Martinez
                      1109 1/2 S. Garfield Ave
                      Alhambra, CA 91801



                      Blanca Maye
                      8737 Fletcher Parkway
                      Unit 466
                      La Mesa, CA 91942



                      Blanca medina
                      27 W 3RD ST
                      NATIONAL CITY, CA 91950



                      Blanca Prieto Lopez
                      5225 Trojan Ave.
                      #23
                      San Diego, CA 92115



                      Blanca Sanchez Reyes
                      1527 MAXWELL LANE
                      VISTA, CA 92084



                      BLAS CARPET CLEANING LLC
                      3180 PARKER DR
                      CUMMING, GA 30041



                      Blas Ospina
                      5524 METROWEST BOULEVARD
                      103
                      ORLANDO, FL 32811



                      Blas Ospina Gomez
                      5524 METROWEST BLVD
                      103
                      ORLANDO, FL 32811
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                      Blayton Thompson
                      8101 RESEARCH FOREST DR.
                      APT. 3402
                      THE WOODLANDS, TX 77382



                      Blessyn Doyle
                      13651 E YALE AVE
                      UNIT C
                      AURORA, CO 80014



                      Blommer Chocolate Company Of California
                      PO BOX 848153
                      Los Angeles, CA 90084-8153



                      BLOMMER CHOCOLATE COMPANY OF CALIFORNIA
                      BIN 175
                      MILWAUKEE, WI 53288



                      BLOMMER CHOCOLATE COMPANY OF CALIFORNIA
                      39857 TREASURY CENTER
                      CHICAGO, IL 60694-9800



                      BLUE COUPE PARTNERS INC
                      IN A NUTSHELL
                      753 MONTAGUE STREET
                      SAN LEANDRO, CA 94577



                      Blue Coupe Partners Inc.
                      In A Nutshell
                      753 MONTAGUE STREET
                      San Leandro, CA 94577



                      Blue Coupe Partners Inc.
                      In A Nutshell
                      753 MONTAGUE STREET
                      San Leandro
                      CA, 94577
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 286 of 2164




                      BLUE DOT SAFES
                      2707 N GAREY AVE
                      POMONA, CA 91767



                      Boaz Joseph
                      1200 WEST 34TH STREET
                      #2
                      RIVIERA BEACH, FL 33404



                      BOB BLACKMAN
                      2944 SHADY DRIVE
                      JACKSONVILLE, FL 32257



                      Bobby Bell
                      619 E 13TH ST
                      231
                      UPLAND, CA 81786



                      Bobby Bush
                      Po Box 1693
                      Glendale, CA 91209



                      BOBBY BUSH




                      Bobby Hall
                      181 METROMONT ROAD
                      HIRAM, GA 30141



                      Bobby Oliver
                      1000 E 7TH ST
                      LOS ANGELES, CA 90021



                      Bobby Parker
                      2810 thomas st
                      Apt B
                      Fort Myers, FL 33916
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 287 of 2164




                      BOBBY TRULLINGER
                      6621 WILD HORSE ROAD
                      LAS VEGAS, NV 89108



                      Bobby Tyler Gladden
                      5901 Highview Dr
                      Mableton, GA 30126



                      Bobby Weeks
                      6 LAURENT
                      ALISO VIEJO, CA 92656



                      BOHSABC
                      789 WILDCAT WAY
                      BREA, CA 92821



                      BOHSBAND BOOSTER
                      PO BOX 1645
                      BREA, CA 92821



                      Bollard Design




                      Bologna Kenny
                      3227 FENELON
                      SAN DIEGO, CA 92106



                      Bonifacia Mora
                      1443 S 45th St.
                      #303
                      San Diego, CA 92113



                      BONITA VISTA CLUB BLUE
                      PO BOX 210302
                      BONITA VISTA CLUB BLUE
                      CHULA VISTA, CA 91921
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                      Bonnie Blackburn
                      4090 Thomas St
                      Oceanside, CA 92056



                      Bonnie HALL
                      12 JARDIN RD
                      LOS LUNAS, NM 87031



                      BOONE COUNTY OCCUPATIONAL TAX
                      TAX ADMINISTRATOR
                      P.O. BOX 457
                      FLORENCE, KY 04102-2457



                      Boonmee Roberts
                      4840 S. PICADILLY COURT
                      AURORA, CO 80015



                      BOOTS AND BOWS SQUARE DANCE CLUB
                      347 26TH ST
                      HERMOSA BEACH, CA 90254



                      BORJA BIGERIEGO
                      13941 CAPEWOOD LN
                      SAN DIEGO, CA 92128



                      Borys Montano
                      446 N. Wilson Ave
                      Pasadena, CA 91106



                      Boss Consultimg
                      644 HERMOSA AVE
                      HERMOSA BEACH, CA 90254



                      Boston Quade
                      15155 SW WALKER ST
                      #A
                      BEAVERTON, OR 97006
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 289 of 2164




                      BOSTONIA LANGUAGE ACADEMY PTA
                      1390 BROADWAY
                      EL CAJON, CA 92021



                      BOULDER CITY HIGH SCHOOL
                      1101 5TH STREET
                      BOULDER CITY, NV 89005



                      BOULDER FALLS INC
                      15504 NE 62ND ST
                      VANCOUVER, WA 98682



                      BOUNDLESS NETWORK INC
                      DEPT 3186
                      PO BOX 123186
                      DALLAS, TX 75312-3186



                      BOUNDLESS NETWORK INC
                      DEPT 3186
                      PO BOX 123186
                      DALLAS
                      TX, 75312-3186



                      Boundless Network, Inc
                      Dept. 3186
                      PO BOX 123186
                      Dallas, TX 75312-3186



                      Box
                      900 Jefferson Ave
                      Redwood City, CA 94063



                      BOX INC
                      DEPT 34666
                      PO BOX 39000
                      SAN FRANCISCO, CA 94139
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 290 of 2164




                      BOY SCOUT TROOP 654
                      15546 POMERADO RD
                      POWAY, CA 92064



                      BOY SCOUT TROOP 998
                      7645 DESERTWOOD LN
                      PLEASANTON, CA 94588



                      BOY SCOUTS TROOP 132
                      38798 ALTURA STREET
                      FREMONT, CA 94536



                      Boylad McCook
                      3260 E. COUNTY LINE ROAD
                      135
                      HIGHLANDS RANCH, CO 80126



                      BOYNTON BEACH LITTLE LEAGUE INC
                      300 W WOOLBRIGHT RD
                      BOYNTON BEACH, FL 33435



                      BOYS AND GIRLS CLUBS OF OCEANSIDE
                      401 COUNTRY CLUB LANE
                      OCEANSIDE, CA 92054



                      BOYS AND GIRLS CLUBS OF TUSTIN
                      580 W 6TH STREET
                      TUSTIN, CA 92780



                      BOYS AND GIRLS CLUBS OF TUSTIN
                      580 W 6TH STREET
                      TUSTIN
                      CA, 92780



                      BOYS SCOUT TROOP 442
                      20774 NW 3 RD COURT
                      PEMBROKE PINES, FL 33029
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 291 of 2164




                      BPE PTA
                      PO BOX 3295
                      BPE PTA
                      SUGAR LAND, TX 77487



                      BPTAF
                      1752 HORNBLEND ST
                      SAN DIEGO, CA 92109



                      BR HOLDINGS OF SOUTH FLORIDA
                      33306 NW 29TH AVE
                      BOCA RATON, FL 33434



                      BR HOLDINGS OF SOUTH FLORIDA
                      33306 NW 29TH AVE
                      BOCA RATON
                      FL, 33434



                      Braden Geeslin
                      6608 E GREEN RIVER DR
                      HIGHLANDS RANCH, CO 80130



                      BRADFORD CITY HALL
                      24 KENNEDY STREET
                      PO BOX 15
                      BRADFORD, PA 00016-7010



                      Bradley Altland
                      860 NORTH MCQUEEN RD
                      1205
                      CHANDLER, AZ 85225



                      Bradley Gedusky
                      11485 SW GREENBURG RD
                      #4
                      TIGARD, OR 97223
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 292 of 2164




                      Bradley hale
                      4901 SAN MATEO LANE
                      22B
                      NEW MEXICO, MN 87114



                      bradley harris
                      372 ANTERO DR
                      CANON CITY, CO 81212



                      BRADLEY LEWTON
                      7600 WINDSWEPT ST
                      LAS VEGAS, NV 89131



                      Bradley Renaud
                      5315 ADAMS RD
                      DELRAY BEACH, FL 33484



                      Bradley Sweeting
                      6321 50th Street
                      San Diego, CA 92120



                      Bradley Weis
                      1862 THIBODO RD.
                      206
                      VISTA, CA 92081



                      Bradley Wood
                      26180 Montolla Lane
                      Valencia, CA 91355



                      Bradly Weidner
                      55949 ONAGA TRAIL
                      YUCCA VALLEY, CA 92284



                      BRADOAKS PTA
                      930 E LEMON AVE
                      MONROVIA, CA 91016
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 293 of 2164




                      BRADOAKS PTA
                      930 E LEMON AVE
                      MONROVIA
                      CA, 91016



                      Brady Burkett
                      1000 FARRAH LN
                      APT 232
                      HOUSTON, TX 77477



                      Braiden Philpot
                      20400 SW MARTINAZZI AVE
                      15
                      TUALATIN, OR 97062



                      BRAND IQ
                      1915 HYPERION AVE
                      LOS ANGELES
                      CA, 90027



                      BRAND IQ LLC
                      1915 HYPERION AVE
                      LOS ANGELES, CA 90027



                      BRAND PROGRAMMING NETWORK LLC
                      PO BOX 74008223
                      CHICAGO, IL 60674-8223



                      Brandace Jackson
                      5305 ASLIOMAR CT
                      UNION CITY, CA 94587



                      Brandan Roldan
                      4525 RAINIER AVENUE
                      D
                      MISSION GORGE, CA 92120
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 294 of 2164




                      Branden Del Rio
                      5451 MILLENIA LAKES BLVD.
                      245
                      ORLANDO, FL 32839



                      Branden DeLaHoz
                      534 SW 1ST ST
                      BOYNTON BEACH, FL 33435



                      Brandi Allen
                      6038 GOLDEN DEWDROP TRL
                      WINDERMERE, FL 34786



                      Brandi Dixon
                      4626 Byerle Circle
                      Tampa, FL 33634



                      Brandi Garcia
                      10608 Warberry Court
                      Tampa, FL 33624



                      Brandi McGowan
                      428 3290 Bermuda Island
                      NAPLES, FL 32109



                      BRANDI RAMUNDO
                      30 W 115 WHITNEY ROAD
                      WEST CHICAGO, IL 60185



                      Brandi SCARAMELLA
                      2076 SEQUOIA CREST
                      VISTA, CA 92081



                      Brando Monroy
                      14221 EDWARDS ST
                      101
                      WESTMINSTER, CA 92683
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 295 of 2164




                      Brando Ortiz
                      450 S. Valencia
                      APT G-2
                      Mesa, AZ 85202



                      Brandon Aguilar
                      7150 Cerritos Ave
                      Apt D
                      Stanton, CA 90680



                      Brandon Alexander
                      52355 AVENIDA OBREGON
                      LA QUINTA, CA 92253



                      Brandon Antone
                      3519 N. Los Altos Ave
                      #7
                      Tucson, AZ 85705



                      Brandon Armstrong
                      1450 NW 28TH AVE
                      NA
                      CAMAS, WA 98607



                      Brandon Atwell
                      8409TITKOS DR
                      301
                      KISSIMMEE, FL 34747



                      Brandon Booker
                      797 TEAGUE TRAIL
                      12305
                      LADY LAKE, FL 32159



                      BRANDON BORSO
                      6065 PASEO CARRETA
                      CARLSBAD, CA 92009
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 296 of 2164




                      Brandon Boyd
                      6698 PEACHTREE INDUSTRIAL BLVD
                      #D
                      ATLANTA, GA 30360



                      BRANDON BROWN
                      4585 OHIO ST APT 3
                      SAN DIEGO, CA 92116



                      Brandon Bryant
                      1620 CREST AVE
                      LEESBURG, FL 34748



                      Brandon Castorena
                      17331 CALGARY AVE
                      YORBA LINDA, CA 92886



                      Brandon Christensen
                      13341 ALDRIN AVE
                      POWAY, CA 92064



                      BRANDON CROSSING LTD
                      10055 ADAMO DRIVE
                      TAMPA, FL 33619



                      Brandon Davis
                      6 EDGE WOOD COURT
                      NA
                      ALISO VIEJO, CA 92656



                      Brandon Domagas
                      124 JASPER HILL COURT
                      SAN RAMON, CA 94582



                      Brandon Eng
                      11642 DORAL AVENUE
                      PORTER RANCH, CA 91326
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 297 of 2164




                      Brandon Enriquez
                      25195 LUNA BONITA DR
                      LAGUNA HILLS, CA 92653



                      Brandon Esnault
                      14005 E. UTAH CIRCLE
                      AURORA, CO 80012



                      Brandon frailey
                      15849 MARCELLO CIR
                      NORTH NAPLES, FL 34110



                      Brandon Friesen
                      10150 SW 153RD AVE
                      BEAVERTON, OR 97007



                      Brandon Gannon
                      14365 SW FANNO CREEK LP
                      TIGARD, OR 97223



                      Brandon Greenberg
                      10736 HOBBIT CIRCLE
                      304
                      ORLANDO, FL 32836



                      Brandon Guzman
                      2779 MCALLISTER ST
                      RIVERSIDE, CA 92503



                      Brandon Hargis
                      903 BELLECOUR WAY
                      903
                      LAKE FOREST, CA 92630



                      Brandon Herrera
                      9225 Stuart St.
                      Westminster, CO 80031
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 298 of 2164




                      Brandon Horan
                      7137 E. Bluebird Lane
                      Paradise Valley, AZ 85253



                      Brandon Johnson
                      18540 SW BOONES FERRY RD
                      APT F7
                      TUALATIN, OR 97062



                      Brandon Johnson
                      1818 MERRY PLACE DR.
                      206
                      WEST PALM BEACH, FL 33407



                      Brandon Knight
                      1104 16TH AVE NW
                      CLEARWTER, FL 33756



                      Brandon Lopez
                      2346 Mountain View Rd
                      El Monte, CA 91733



                      Brandon Luna
                      318S HAMBELDON AVE.
                      LA PUENTE, CA 91744



                      Brandon Martinez
                      2306 EL MOLINO CIR
                      LAS VEGAS, NV 89108



                      Brandon Martinez
                      1314 6TH AVE.
                      LOS ANGELES, CA 90019



                      Brandon McCormack
                      15421 58TH ST N
                      CLEARWATER, FL 33760
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 299 of 2164




                      Brandon Mccullor
                      11239 Sw 220 Street
                      Cutler Ridge, FL 33170



                      Brandon Medrano
                      5541 E. TULARE AVE SPC 74
                      FRESNO, CA 93727



                      Brandon Mendoza
                      4013 W. Navajo Dr.
                      Phoenix, AZ 85051



                      Brandon Miller
                      1855 9TH STREET
                      109
                      SANTA MONICA, CA 90404



                      Brandon Minton
                      81 West 48th Street
                      Long Beach, CA 90805



                      Brandon Morales
                      269 Elder Ave
                      Apt B
                      Imperial Beach, CA 91932



                      Brandon Murillo
                      11018 WEST HONDO PARK WAY
                      13
                      TEMPLE CITY, CA 91780



                      Brandon Murphy
                      17121 ALTADENA DR
                      B
                      TUSTIN, CA 92780



                      Brandon Rivera
                      2117 N TERI PL UNIT B
                      FULLERTON, CA 92831
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 300 of 2164




                      Brandon Silva
                      1201 Scott Ave 126
                      Clovis, CA 93612



                      BRANDON SMITH
                      515 SEASONS PARKWAY
                      515
                      NORCOSS, GA 30093



                      Brandon Soriano
                      1209 AYALA DR
                      #6
                      SUNNYVALE, CA 94086



                      Brandon Standifer
                      3191 CHRISTOPHERS BEND
                      ELLENWOOD, GA 30294



                      Brandon Sterling
                      5320 S. ELATI ST.
                      #2
                      LITTLETON, CO 80120



                      Brandon Taylor
                      2825 COLUMBINE ST.
                      SAN DIEGO, CA 92105



                      Brandon Theodoris
                      1016 ACROFT AVE
                      LEHIGH ACRES, FL 33971



                      Brandon Torres
                      P O BOX 2133
                      RAMONA, CA 92065



                      Brandon Vail
                      10055 E MOUNTAIN VIEW LAKE DR
                      1020
                      SCOTTSDALE, AZ 85258
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 301 of 2164




                      Brandon Valdivia
                      14930 SW 82 TERRACE
                      APT 505
                      MIAMI, FL 33193



                      Brandon Vasquez
                      20815 NW 2ND ST
                      PEMBROKE PINES, FL 33029



                      Brandon Ware
                      17165 CHASTSWORTH ST
                      104
                      GRANADA HILLS, CA 91344



                      Brandon Williams
                      3103 DOOLITTLE AVE
                      ARCADIA, CA 91006



                      BRANDY ENTERPRISES INC
                      11811 UPHAM STREET #C2
                      BROOMFIELD, CO 80020



                      Brandy Howell
                      5 Spring Lane Way
                      OCALA, FL 34472



                      Brandy Johnson
                      5733 Harding St
                      Hollywood, FL 33021



                      Brandy Pace
                      36342 W SPRING LAKE BLVD
                      FRUITLAND PARK, FL 34731



                      Brandy Prestridge
                      p.o.box 1084
                      unadilla, GA 31091
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                      Braulio Garcia Hernandez
                      16141 WEDGEWORTH DR
                      HACIENDA HEIGHTS, CA 91745



                      bravo gabriel
                      16640 ORIZABA
                      PARAMOUNT, CA 90723



                      Brayam Hernandez
                      379 CALLE MONTECITO
                      OCEANSIDE, CA 92057



                      Brayan Bojorquez
                      327 E 1ST AVE
                      LA HABRA, CA 90631



                      BRAYAN LOPEZ MARTINEZ
                      14712 CARFAX DR.
                      #C
                      TUSTIN, CA 92780



                      Brayan Quinones
                      1495 ARTHUR NEAL CT
                      LEMON GROVE, CA 91945



                      Brayden Diver
                      8606 STONESIDE DRIVE
                      RANCHO CUCAMONGA, CA 91730



                      Brayden Greer
                      11767 WEST COAL MINE DRIVE
                      LITTLETON, CO 80127



                      Brayden Newkirk
                      8481 S UPHAM WAY
                      LITTLETON, CO 80128
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 303 of 2164




                      BRCHS DRAMA
                      1501 NW 15TH CT
                      BOCA RATON, FL 33486



                      Brdyant Callejas
                      29180 STONEWWOD RD
                      25
                      TEMECULA, CA 92591



                      BRE CA OFFICE OWNER LLC
                      3100 BRISTOL ST SUITE 200
                      COSTA MESA, CA 92626



                      BRE CA OFFICE OWNER LLC
                      BLDG ID#18670
                      PO BOX 209259
                      AUSTIN, TX 78720-9259



                      BRE PTO
                      6125 RIVER CLUB BLVD
                      BRADENTON, FL 34202



                      BREA OLIN S AQUATICS BOOSTER C
                      540 S MADRONA AVE
                      BREA, CA 92821



                      Breah Goree
                      206 NE 126TH AVE
                      C21
                      VANCOUVER, WA 98684



                      Breanna Coleman
                      501 DOWNSBY LN
                      113
                      WOODSTOCK, GA 30189



                      Breanna Gonzalez
                      521 1/2 RUSSELL AVE.
                      MONTEREY PARK, CA 91755
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 304 of 2164




                      Breanna Halsey
                      9190 E OLD SPANISH TRAIL
                      3207
                      TUCSON, AZ 85710



                      Breanna Magill
                      2707 LINCOLN STREET
                      12
                      HOLLYWOOD, FL 33020



                      Breanna Pimentel
                      2421 Foothill Blvd
                      La Verne, CA 91750



                      Breanna Robertson
                      5077 NEW ENGLAND CT
                      SAN JOSE, CA 95136



                      Breanna Searcey Green
                      2108 BAVINGTON DR
                      APT D
                      LAS VEGAS, NV 89108



                      Breanne Holmes
                      2516 W FLETCHER AVE
                      TAMPA, FL 33618



                      Breasia Linton-Jamerson
                      130 W GUADALUPE RD
                      2045
                      GILBERT, AZ 85233



                      Breauna johnson-hicks
                      2003 E BERMUDA DUNES CT
                      ONTARIO, CA 91761



                      Breeanna bettis
                      8431 TURNPIKE DR.
                      WESTMINSTER, CO 80031
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                      Breena Conroy
                      8306 STANSBURY ST
                      SPRING VALLEY, CA 91977



                      Brejea Wrigley
                      3341 E SHEFFIELD RD
                      GILBERT, AZ 85296



                      Brenda Bracamontes
                      732 Panhandle Dr.
                      Henderson, NV 89014



                      Brenda Caballero
                      302 N LOUISE ST
                      APT 12
                      GLENDALE, CA 91206



                      Brenda Carnes
                      13015 HAAS ST
                      GRADENA, CA 90249



                      Brenda Del Real
                      426 PALM PL
                      POMONA, CA 91767



                      BRENDA INESTROZA
                      112 E HAMMOND ST
                      PASADENA, CA 91103



                      Brenda Jones
                      5601 W MISSOURI AVENUE
                      31
                      GLENDALE, AZ 85301



                      Brenda Luna
                      3013 W LAS PALMARITAS DR.
                      PHOENIX, AZ 85051
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                      Brenda Mercado
                      252 W HARDER RD
                      HAYWARD, CA 94544



                      Brenda Mora Sanchez
                      28188 MOULTON PKWY
                      511
                      LAGUNA NIGUEL, CA 92677



                      Brenda Ramirez Torres
                      3661 PEACOCK CT APT
                      12
                      SANTA CLARA, CA 95051



                      Brenda Ramos
                      1740 W. NEIGHBORS
                      #2
                      ANAHEIM, CA 92801



                      Brenda Reyes
                      3875 DARWIN AVENUE
                      SAN DIEGO, CA 92154



                      Brenda Rodriguez
                      27208 CABRERA AVE
                      SANTA CLARITA, CA 91350



                      Brenda Todd
                      2570 Se 49th Ave.
                      Hillsboro, OR 97123



                      Brenda Venegas
                      8607 LEAWOOD BLVD
                      HOUSTON, TX 77099



                      Brenda Walker
                      10724 HOBBIT CIR
                      APT 304
                      ORLANDO, FL 32836
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 307 of 2164




                      Brendan Chan
                      40205 ANTIGUA ROSE TERRACE
                      FREMONT, CA 94538



                      Brendan Choi
                      11 Rue Due Parc
                      Foothill Ranch, CA 92610



                      Brendan Kligerman
                      3440 PRIMROSE WAY
                      PALM HARBOR, FL 34683



                      Brendan Lee
                      946 CORIOLANUS DRIVE
                      MONTEREY PARK, CA 91755



                      Brendan Murdoch
                      1141 SE 86TH AVE
                      PORTLAND, OR 97216



                      Brendan Thompson
                      10933 LINDLEY AVE.
                      GRANADA HILLS, CA 91344



                      BRENDAN WHITE
                      139 PARK ST APT D
                      SAN RAFAEL, CA 94901



                      Brendanett Shepard
                      1113 JAMACHA LN
                      SPRING VALLEY, CA 91977



                      BRENDEN BILBAO
                      14270 PARKSIDE CT
                      CHINO HILLS, CA 91709
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 308 of 2164




                      Brenden Polar
                      9871 WINDSOR AVE
                      WESTMINSTER, CA 92683



                      Brendon Sambrano
                      4201 BRYN MAWR DR NE
                      C 310
                      ALBUQUERQUE, NM 87107



                      Breneshia Williams Gordon
                      1306 LOUIS CT
                      EUSTIS, FL 32726



                      Brenna Milligan
                      16159 MOUNTAIN BLUEBIRD WAY
                      MORRISON, CO 80465



                      Brenna Reed
                      1250 american pacific dr
                      apt #324
                      Henderson, NV 89074



                      Brennan Porter
                      8800 SE CAUSEY LOOP
                      K204
                      HAPPY VALLEY, OR 97086



                      Brennan Wells
                      14412 ACACIA DRIVE
                      TUSTIN, CA 92780



                      BRENNEN HAGIO
                      28960 VIA NORTE
                      TEMECULA, CA 92591



                      Brent Beavers
                      641 105TH AVE
                      NAPLES, FL 34108
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 309 of 2164




                      Brent Mccart
                      222 GRAMMAR RD
                      HOUSTON, TX 77047



                      Breonna Coleman
                      6838 Dakota Ave
                      Rancho Cucamonga, CA 91701



                      Breonna hartz
                      245 JUNCTION AVE
                      LIVERMORE, CA 94551



                      Breslin Tully
                      25926 S GRAPEFRUIT DR
                      QUEEN CREEK, AZ 85142



                      BREWER CONSULTING INC
                      26023 JEFFERSON AVE STE D
                      MURRIETA, CA 92562



                      BREWLOGIC INC
                      179 FRANKLIN ST
                      STE 5B
                      NEW YORK, NY 10013



                      Brian Ahlborn
                      1137 Via Granada
                      Livermore, CA 94550



                      Brian Asbury
                      2768 Ariane Dr
                      Unit # 95
                      San Diego, CA 92117



                      Brian Berg
                      6624 BURNINGWOOD DR
                      167
                      BOCA RATON, FL 33433
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 310 of 2164




                      Brian C. Yee
                      929 Watercress Lane
                      Walnut, CA 91789



                      Brian Call
                      8525 Glenhaven St.
                      #J
                      San Diego, CA 92123



                      Brian Chung
                      3415 W 190th St
                      Apt #C
                      Torrance, CA 90504



                      Brian Conrad
                      3554 BALI ST
                      SARASOTA, FL 34232



                      Brian Copeland
                      138 MALVERN AV
                      C
                      FULLERTON, CA 92832



                      Brian Dallas
                      159 NE 5TH AVE
                      HILLSBORO, OR 97124



                      Brian Dandridge
                      4414 CATALPA CT.
                      SAN RAMON, CA 94523



                      Brian Delgado Garcia
                      1265 S. PARCELS ST.
                      POMONA, CA 91766



                      Brian Elder
                      1664 S Blackhawk Way
                      Aurora, CO 80012
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 311 of 2164




                      Brian Espinoza
                      820 Sycamore Ave
                      Apt# 138
                      Vista, CA 92081



                      Brian Gamez
                      14329 BEAVER STREET
                      SYLMAR, CA 91342



                      Brian Glick
                      2241 MILL TERRACE
                      SARASOTA, FL 34231



                      Brian Hernandez
                      14072 SPRINGDALE ST
                      #B
                      WESTMINSTER, CA 92683



                      Brian Hernandez
                      1702 SHERMAN
                      1
                      LONG BEACH, CA 90804



                      Brian Herrera
                      1517 1/2 S. ARDMORE AVE.
                      LOS ANGELES, CA 90006



                      Brian Hinton
                      1911 Prairie Sage Trail
                      Ocoee, FL 34761



                      BRIAN HINTON
                      1911 PRAIRIE SAGE TRAIL
                      OCOEE, FL 34961



                      Brian Hug
                      21667 SW DAKOTA CIR.
                      TUALUTIN, OR 97062
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 312 of 2164




                      Brian Hunt
                      1407 Laurel Ave
                      Chula Vista, CA 91911



                      Brian Hunter
                      221 Railroad St
                      Ruffs Dale, PA 15679



                      BRIAN HUNTER
                      5020 BELLE CHASE CIRCLE
                      TAMPA, FL 33634



                      BRIAN KROLL
                      449 SWALLOW CT
                      LIVERMORE, CA 94551



                      BRIAN L LOY
                      2048 THIBODO ROAD
                      VISTA, CA 92081



                      Brian Laraleon
                      1919 Tracy Ct
                      Modesto, CA 95350



                      Brian Lewis
                      8420 W Riggs Dr
                      Odessa, TX 79764



                      Brian Macdonald
                      520 LAKE CHARLES
                      HAINES CITY, FL 33837



                      Brian Mitchell Jr
                      1008 JANETTE ST
                      HACIENDA HEIGHTS, CA 91745
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 313 of 2164




                      Brian Ortiz-molina
                      311 Monceaux Rd
                      West Palm Beach, FL 33405



                      Brian Penilla
                      18651 VANTAGE POINTE DR
                      ROWLAND HEIGHTS, CA 91748



                      Brian Pham
                      44304 AVENIDA SUAREZ
                      INDIO, CA 92201



                      Brian Pineda
                      729 RALEIGH ST
                      205
                      GLENDALE, CA 91205



                      Brian Piowaty
                      10316 111TH PLACE N.
                      LARGO, FL 33773



                      Brian Ramos
                      7131 CENTRAL AVE
                      #B
                      LEMON GROVE, CA 91945



                      BRIAN RUBIO
                      2001 OLYMPIC BLVD
                      119
                      SANTA MONICA, CA 90404



                      Brian Sanchez
                      4149 CENTRAL AVE
                      12
                      SAN DIEGO, CA 92105



                      Brian Sanchez
                      1204 W Valencia Dr
                      Fullerton, CA 92833
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 314 of 2164




                      Brian Segura
                      2785 Estara Ave
                      Los Angeles, CA 90065



                      Brian Sinclair
                      14692 NW CORNELL RD
                      117
                      PORTLAND, OR 97229



                      BRIAN SINCLAIR
                      14692 NW CORNELL RD 117
                      PORTLAND, OR 97229



                      Brian Suarez
                      741 Avenida Cordorniz
                      San Marcos, CA 92069



                      Brian Willett
                      204S SATURN AVE
                      CLEARWATER, FL 33755



                      Brian Woods
                      2591ETHERIDGE DR
                      A 409
                      ATLANTA, GA 30318



                      Brian Yee
                      929 Watercress Lane
                      Walnut, CA 91789



                      Briana Brewster
                      9761 5TH ST
                      TUCSON, AZ 85748



                      Briana Campos-Ordaz
                      900 HENDERSON AVE
                      24
                      SUNNYVALE, CA 94086
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 315 of 2164




                      Briana Demma
                      24 EMERALD CT
                      OCALA, FL 34472



                      Briana Fimbres
                      4211 EAST 24TH STREET
                      4211
                      TUCSON, AZ 85711



                      Briana Galaviz
                      8220 CAMINO DEL VENADO
                      ALBUQUERQUE, NM 87120



                      Briana N. Campos-Ordaz
                      900 HENDERSON AVE
                      24
                      SUNNYVALE, CA 94086



                      Briana Ortiz
                      1340 Hollister St
                      San Fernando, CA 91340



                      Briana Soto
                      8444 1/2 Miguel Ave
                      South Gate, CA 90280



                      Briana Zavala
                      314 11TH AVE EAST
                      BRADENTON, FL 34208



                      Brianey Cecenas
                      14003 E TEMPLE DR
                      APT 1021
                      AURORA, CO 80015



                      BRIANNA AUGUSTINE
                      4563 TRAILS DR.
                      SARASOTA, FL 34232
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 316 of 2164




                      Brianna Barrett
                      845 SAN VERON AVENUE
                      845
                      MOUNTAIN VIEW, CA 94043



                      Brianna Bothne
                      3341 E. WOODLAND DR.
                      PHOENIX, AZ 85048



                      Brianna Cannon
                      30069 MILANO RD
                      TEMECULA, CA 92591



                      Brianna Constancio
                      2273 CECIL AVE
                      SAN JOSE, CA 95128



                      BRIANNA COTE
                      16547 SW WHITETAIL LN
                      BEAVERTON, OR 97007



                      Brianna Desravines
                      4391 17TH AVENUE SW
                      NAPLES, FL 34116



                      Brianna Duran-Santa
                      16301 SW 77TH TERRACE
                      MIAMI, FL 33193



                      Brianna Flores-Del Rio
                      3464 BOND STREET
                      SAN BERNARDINO, CA 92405



                      Brianna Fogarty
                      12903 49TH LN E
                      PARRISH, FL 34219
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 317 of 2164




                      Brianna Ford
                      32217 JEAN DR
                      UNION CITY, CA 94587



                      Brianna Franklin
                      734 OAK RIDGE GROVE CIRCLE
                      SPRING, TX 77386



                      Brianna Harder
                      4570 Sparwood Dr
                      Las Vegas, NV 89147



                      Brianna Hernandez
                      642 CLINTWOOD AVE
                      LA PUENTE, CA 91744



                      Brianna Mitchell
                      1440 MONTEEL DR
                      ATLANTA, GA 30318



                      Brianna Mora Sanchez
                      28188 MOULTON PKWY
                      511
                      LAGUNA NIGUEL, CA 92677



                      Brianna Moreno
                      28075 VALCOUR
                      CANYON COUNTRY, CA 91387



                      Brianna Nava
                      565 W BROADWAY
                      APT.B
                      SAN GABRIEL, CA 91776



                      Brianna Newman
                      3610 GUARDSMAN LN
                      NORTH LAS VEGAS, NV 89032
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 318 of 2164




                      Brianna Perez
                      2147 DEL MONTE AVE
                      SANTA CLARA, CA 95051



                      Brianna Serrano
                      18008 N 2ND DR
                      PHOENIX, AZ 85023



                      Brianna Thomas
                      12527 RIDGE RD
                      LARGO, FL 33778



                      Brianna Valenzuela
                      7335 WILLIAMSBURG
                      ALBUQURQUE, NM 87114



                      Brianna White
                      1927 E HAMPTON AVE
                      264
                      MESA, AZ 85204



                      Briauna Koczor
                      539 S APACHE DR
                      CHANDLER, AZ 85224



                      Briaynn Perry
                      2278 Ridge Trails Court
                      Lithonia, GA 30058



                      Briceida A. Mendoza
                      14724 CHADRON AVE
                      GARDENA, CA 90249



                      Briceida Mendoza
                      14724 CHADRON AVE
                      GARDENA, CA 90249
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 319 of 2164




                      BRIDDLEWOOD FACILITY SERVICES INC
                      11947 VALLEY VIEW ST #6029
                      GARDEN GROVE, CA 92846



                      BRIDGEPREP ACADEMY
                      1400 N 46TH AVE
                      HOLLYWOOD, FL 33021



                      Bridget Carson
                      3631 W. TULSA STREET
                      CHANDLER, AZ 85226



                      Bridgette Morales
                      2660 2nd Street NE
                      NAPLES, FL 34120



                      BRIDGETTE MORALES
                      1840 20TH AVE NE
                      NAPLES, FL 34120



                      Bridgette O'Nan
                      1575 Oak Dr
                      APT #V-8
                      Vista, CA 92084



                      BRIDGETTE ONAN
                      1575 OAK DR APT V-8
                      VISTA, CA 92084



                      Bridgette Onan
                      1575 Oak Dr
                      APT #V-8
                      Vista, CA 92084



                      Brieana Thomas
                      8033 RAMONA AVE
                      APT 10C
                      RANCHO CUCAMONGA, CA 91730
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 320 of 2164




                      BRIEF FTC
                      39655 TRINITY WAY 1106
                      FREMONT, CA 94538



                      Brien newman
                      7260 S LAS VEGAS BLVD
                      323
                      LAS VEGAS, NV 89119



                      BRIER FTC
                      39201 SUNDALE DR
                      FREMONT, CA 94538



                      Briggs Equipment Inc
                      Lock Box 841272
                      Dallas, TX 75284-1272



                      Brighid Traugutt
                      6904 74TH STREET CIRCLE EAST
                      BRADENTON, FL 34203



                      Bright Harvest Sweet Potato Co
                      Po Box 83066
                      Chicago, IL 60691-3010



                      BRIGHT HARVEST SWEET POTATO CO
                      PO BOX 528
                      CLARKSVILLE, AR 72830-0528



                      Brigitte Doan
                      8812 WILLIAMSBURG AVE
                      WESTMINSTER, CA 92683



                      BRINETEK SALT DELIVERY LLC
                      PO BOX 9203
                      MESA, AZ 85214
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 321 of 2164




                      Brinks POS




                      Brion Wimberly
                      5524 NW 54TH CIRCLE
                      COCONUT CREEK, FL 33073



                      Briona Olson
                      16020 DAWNVIEW DR.
                      TAMPA, FL 33624



                      Brionna Bender
                      510 Thomas Ave
                      Leesburg, FL 34748



                      Briseida Acosta
                      2043 N 51ST DR
                      PHOENIX, AZ 85035



                      Britney Avila
                      3547 WEST 190TH ST
                      9
                      TORRANCE, CA 90504



                      Britney Deberry
                      4500 2ND ST
                      ALBUQUERQUE, NM 87105



                      Britney Love
                      7255 SEQUOIA SPRINGS DR
                      LAS VEGAS, NV 89147



                      Britney Nguyen
                      13621 ERIN STREET
                      GARDEN GROVE, CA 92844
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 322 of 2164




                      Britney Watson
                      3842 MT ARIANE DR
                      SAN DIEGO, CA 92111



                      Brittani Dewgard
                      16566 E WESLEY AVE
                      AURORA, CO 80013



                      Brittani Mcchesney
                      722 1st Court
                      Palm Harbor, FL 34684



                      Brittani Sargent
                      10800 KIPP WAY DR.
                      205
                      HOUSTON, TX 77099



                      Brittany Allen
                      12700 Stafford rd.
                      #224
                      Stafford, TX 77477



                      Brittany Byrd
                      6881 Campus Drive
                      A
                      Buena Park, CA 90621



                      Brittany Englert
                      314 Marigold Circle
                      Oceanside, CA 92057



                      Brittany Harris
                      4021 Mississippi Street
                      9
                      SAN DIEGO, CA 92104



                      BRITTANY HARRIS
                      4021 MISSISSIPPI ST 9
                      SAN DIEGO, CA 92104
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 323 of 2164




                      Brittany Lam
                      3790 TIVERTON DRIVE
                      CAMARILLO, CA 93012



                      Brittany Lane
                      311 MONCEAUX RD
                      West Palm Beach, FL 33405



                      Brittany Rees
                      82080 CORTA HERRERA
                      INDIO, CA 92201



                      Brittany Russell
                      20041 OSTERMAN RD
                      V16
                      LAKE FOREST, CA 92630



                      Brittany Seary
                      11300 121ST TERR. N
                      LARGO, FL 33778



                      Brittany Sherlock
                      4297 Sw 48th Ct
                      Fort Lauderdale, FL 33314



                      Brittany sias
                      2474 PACHECO ST.
                      CONCORD, CA 94520



                      Brittany Tate
                      6030 MEDICI COURT
                      APT 202
                      SARASOTA, FL 34243



                      Brittany Tibbits
                      4701 IRVING BLVD NW
                      1012
                      ALBUQUERQUE, NM 87114
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 324 of 2164




                      Brittany Zelenka
                      849 ELM DR
                      RODEO, CA 94572



                      BRITTENY SCELLATO
                      7460 TULARE HILL LANE
                      SAN JOSE, CA 95139



                      Brittney Collier
                      896 West Country View
                      La Habra, CA 90631



                      Brittney Glaspie
                      425 EAST SANTA FE AVE
                      16B
                      PITTSBURG, CA 94565



                      Brittney Horn
                      4016 LASSEN CRT
                      CHINO, CA 91710



                      Brittney Willis
                      1303 CONSTITUTION RD
                      ATLANTA, GA 30316



                      Brittnie Smith
                      2017 NORMANDY CIRLCE
                      WEST PALM BEACH, FL 33409



                      Briyana Zackary
                      1139 GREEN MEADOW COURT
                      ACWORTH, GA 30102



                      Briza Martinez
                      954 HENDERSON AVE
                      85
                      SUNNYVALE, CA 94086
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 325 of 2164




                      Briza Salinas
                      1931 WEST SAINT ANNE PL
                      SANTA ANA, CA 92704



                      BROADMOR PTA
                      311 E AEPLI DR
                      TEMPE, AZ 85282



                      BROADSTROKE INC
                      820 W 2ND ST N
                      WICHITA, KS 67203-6005



                      Brodianna Williams
                      5606 HICKORY FOREST DR
                      HOUSTON, TX 77088



                      BRODSKY AND SMITH LLC
                      TWO BALA PLAZA STE 510
                      BALA CYNWYD, PA 19004



                      Brody Cardinez
                      17320 EUCLID ST
                      J
                      FOUNTAIN VALLEY, CA 92708



                      Brody Kennedy
                      28139 Valerio Ct
                      Valencia, CA 91354



                      Brody Trudell
                      1505 Ohio Avenue
                      Dunedin, FL 34698



                      BRON TAPES INC
                      PO BOX 5304
                      DENVER, CO 80217
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 326 of 2164




                      Bron Tapes Of San Diego, Inc.
                      P.O. Box 5304
                      Denver, CO 80217



                      BRONCO YOUTH BASKETBALL INC
                      13711 STONEY GATE PLACE
                      SAN DIEGO, CA 92128



                      BRONCO YOUTH FOOTBALL
                      PO BOX 27776
                      SAN DIEGO, CA 92198-1776



                      Bronson Rivas
                      12804 DAIRY BROOK DR
                      HOUSTON, TX 77099



                      Bronwyn Lake
                      11778SE 48TH AVE
                      MILWAUKIE, OR 97222



                      Brooke Gilboe
                      13610 MARSH HARBOR PL
                      TAMPA, FL 33613



                      Brooke Hales
                      2226 Branch Hill Street
                      Tampa, FL 33612



                      Brooke Luker
                      6507 MCNUTT WAY
                      CYPRESS, CA 90630



                      Brooke Robinson
                      2940 SETTING SUN
                      LAS VEGAS, NV 89117
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 327 of 2164




                      Brookelyn Dunn
                      2730 E VERMONT DR
                      GILBERT, AZ 85295



                      Brooklyn King-Bussey
                      5745 N 13TH PL
                      PHOENIX, AZ 85014



                      Brooklyne Mulholland
                      1101 N GILBERT RD
                      110
                      GILBERT, AZ 59715



                      BROOKVALE PTA
                      3400 NICOLET AVE
                      FREMONT, CA 94536



                      BROTTAO INVESTMENTS JACKSONVILLE LLC
                      JACKSONVILLE LLC
                      2 SOUTH BISCAYNE BLVD. 38TH FLOOR
                      MIAMI, FL 33131



                      BROTTAO INVESTMENTS JACKSONVILLE LLC
                      6220 S ORANGE BLOSSOM TRL
                      STE 600
                      ORLANDO, FL 32809



                      BROWARD COUNTY TAX COLLECTOR
                      115 S ANDREWS AVE #A100
                      FORT LAUDERDALE, FL 33301-1895



                      Brown David
                      6936 ARROWHEAD AVE
                      HIGHLAND, CA 92410



                      BROWNS GREEN THUMB
                      PO BOX 837
                      MANHATTAN BEACH, CA 90267
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 328 of 2164




                      Bruce Eckenrode
                      1065 JODI RIDGE CT
                      KISSIMMEE, FL 34747



                      Bruce Gonzalez
                      825 7TH AVE
                      SAN DIEGO, CA 92101



                      Bruce Leiva
                      240 ORTEGA AVENUE
                      #6
                      MOUNTAIN VIEW, CA 94040



                      Bruce Peavey
                      2264 Miramar Drive
                      Little Elm, TX 75068



                      BRUCE VICKERS
                      P.O. BOX 422105
                      OSCEOLA COUNTY TAX COLLECTOR
                      KISSIMMEE, FL 34742-2105



                      Bruno Scheidt, Inc.
                      Dba American Roland Food Corp.
                      71 WEST 23RD STREET 15TH FL
                      New York, NY 10010



                      Bryan Aguilar
                      2040 Canyon Dr
                      Oceanside, CA 92054



                      Bryan Arteaga-Castaneda
                      297 W KIRKWALL RD
                      AZUSA, CA 91702



                      Bryan Avila
                      2803 Nakomis Dr Ne
                      Albuquerque, NM 87112
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 329 of 2164




                      Bryan Bonilla
                      12614 LADY SLIPPER RD
                      HOUSTON, TX 77038



                      Bryan Butterstein
                      2550 landsdowne drive
                      Canton, GA 30115



                      BRYAN BUTTERSTEIN
                      2550 LANDSDOWNE DR
                      CANTON, GA 30115



                      Bryan Catalan
                      45538 PICKFORD AVE
                      LANCASTER, CA 93534



                      Bryan Chavez
                      1251 W MCKINLEY AVE
                      A
                      SUNNYVALE, CA 94086



                      Bryan Cumpston
                      515 60TH AVE DR E
                      BRADENTON, FL 34203



                      Bryan Diaz
                      12172 W. EDINGER AVE
                      101
                      SANTA ANA, CA 92704



                      Bryan Dixon
                      4626 BYERLE CIRCLE
                      TAMPA, FL 33634



                      BRYAN G AMDOR
                      2749 VISTA UMBROSA
                      NEWPORT BEACH, CA 92660
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 330 of 2164




                      Bryan Garcia
                      1364 FREMONT ST
                      ANAHEIM, CA 92804



                      Bryan Gaytan
                      2128 UNEVERSITY DR
                      D7
                      VISTA, CA 92084



                      Bryan Gonzalez
                      2456 CASTLEMONT COURT
                      SIMI VALLEY, CA 93063



                      Bryan Hart
                      9112 SW 142ND PATH
                      KENDALL, FL 33186



                      Bryan Hernandez
                      285 W SAN MARCOS BLVD
                      APT 8
                      SAN MARCOS, CA 92069



                      Bryan Houser
                      3005 Highlands Blvd
                      Spring Valley, CA 91977



                      Bryan Kim
                      4516 Yosemite Way
                      Los Angeles, CA 90065



                      Bryan Leonard
                      963 MELLER WAY
                      ORLANDO, FL 32825



                      Bryan Lyons
                      2513 CAMARA CIR
                      H
                      CONCORD, CA 94520
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                      Bryan Munoz
                      8202SHERIDAN BLVD
                      1904
                      WESTMINSTER, CO 80003



                      Bryan Rivera
                      10189 SINGLETON RD
                      SAN JOSE, CA 95111



                      Bryan Stein
                      1202 PADGETT CIRCLE
                      LADY LAKE, FL 32159



                      BRYAN TAYLOR
                      1314 SW 23RD AVE
                      FORT LAUDERDALE, FL 33312



                      Bryand Severich
                      478 Van Houten Apt# 78
                      El Cajon, CA 92020



                      Bryanna Flanagan
                      1631 AVENIDA ANDANTE
                      OCEANSIDE, CA 92056



                      Bryanna Fredericks
                      22367 QUAIL RUN DRIVE
                      PARKER, CO 80138



                      Bryanna Neals
                      6316 GATEWAY AVE
                      SARASOTA, FL 34231



                      Bryanna Quiroz avila
                      68870 EAST COUNTY ROAD 38
                      BYERS, CO 80103
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 332 of 2164




                      Bryanna Smith
                      1469 San Bernardino Road
                      Apt B
                      Upland, CA 91786



                      Bryant Berry
                      1318 RAINTREE BEND
                      103
                      CLERMONT, FL 34714



                      Bryant Romero
                      5503 BALT CT
                      FREMONT, CA 94538



                      Bryce Mccarthy
                      933 Moscato Pl
                      Palm Harbor, FL 34683



                      Bryce Nixon
                      81 Rue Monet
                      Foothill Ranch, CA 92610



                      Bryce Smith
                      1524 W. 206 ST.
                      6
                      TORRANCE, CA 90501



                      Bryshaunt Williams
                      4604 CYPRESSWOOD DR
                      1101
                      SPRING, TX 77379



                      Bryson Cole
                      601 E BIRCH ST #K
                      BREA, CA 92821
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 333 of 2164




                      Bryson watts
                      9900 SPAIN RD
                      H2041
                      ALBUQUERQUE, NM 87111



                      Bryttney Alexis
                      4561 S KIRMAN RD.
                      APT 6
                      ORLANDO, FL 32811



                      Bryviin Lawhorn
                      438 EDGEWOOD AVENUE
                      ATLANTA, GA 30312



                      BSA
                      17513 TEAL STONE COURT
                      SAN DIEGO, CA 92127



                      BSA TROOP 295
                      6616 ROCKGLE AVE
                      SAN DIEGO, CA 92111



                      BSA TROOP 800
                      1185 FOXBORO AVENUE
                      CHULA VISTA, CA 91911



                      BSA TROOP 975
                      6686 ARCHWOOD AVE
                      SAN DIEGO, CA 92120



                      BSA TROOP 975
                      6686 ARCHWOOD AVE
                      SAN DIEGO
                      CA, 92120



                      BSA VENTURE CREW 624
                      9938 SW 224TH STREET APT 207
                      CUTLER BAY, FL 33190
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 334 of 2164




                      BUCHANAN MIDDLE SCHOOL PTSA
                      1001 W BEARSS AVE
                      TAMPA, FL 33613



                      Bueno Foods
                      P.O.Box 293
                      Albuquerque, NM 87103



                      BUENO FOODS
                      POBOX 293
                      ALBUQUERQUE, NM 87103



                      BULLSEYE TELECOM
                      PO BOX 6558
                      CAROL STREAM, IL 60197-6558



                      Bulmaro Roman
                      1206 N 41 St
                      Phoenix, AZ 85008



                      Bunge Oils, Inc
                      PO Box 842453
                      Boston, MA 02284-2453



                      Bunge Oils, Inc
                      PO Box 842453
                      Boston
                      MA, 02284-2453



                      Bunn-O-Matic Corporation
                      24315 Network Place
                      Chicago, IL 60673-1243



                      Bunn-O-Matic Corporation
                      24315 Network Place
                      Chicago
                      IL, 60673-1243
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 335 of 2164




                      BUNNOMATIC CORPORATION
                      24315 NETWORK PLACE
                      CHICAGO, IL 60673-1243



                      BUNNOMATIC CORPORATION
                      24315 NETWORK PLACE
                      CHICAGO
                      IL, 60673-1243



                      BURCH CORPORATION
                      PO BOX 610566
                      BIRMINGHAM, AL 35261-0566



                      BURGUNDY BEAR LTD
                      5955 CORONADO LANE
                      PLEASANTON, CA 94588



                      Burgundy Bear, Ltd.
                      5955 Coronado Ln.
                      Pleasanton, CA 94588



                      Burlon Edison
                      909 W JACKSON ST
                      RIALTO, CA 92376



                      BURNETT SCHOOL PTA
                      400 FANYON ST
                      MILPITAS, CA 95035



                      BURSEY AND ASSOCIATES PC
                      6740 N ORACLE RD
                      SUITE 151
                      TUCSON, AZ 85704



                      Bushra Zora
                      434 S. Mollison Ave
                      #24
                      El Cajon, CA 92020
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 336 of 2164




                      BUTLER HEATING AND AC INC
                      3035 ANDERSON SNOW RD
                      SPRING HILL, FL 34609



                      BYASSEE EQUIPMENT INC
                      1939 E WASHINGTON
                      PHOENIX, AZ 85034



                      Byron beltran
                      24072 HOLLYOAK
                      APT 19 H
                      ALISO VIEJO, CA 92656



                      Byron Carteze
                      15389 Ceres Ave
                      Fontana, CA 92335



                      C sar Santamar a
                      13841 TUSTIN EAST DR
                      APT 9
                      TUSTIN, CA 92780



                      C T CORPORATION
                      120 SOUTH CENTRAL AVE
                      CLAYTON, MO 63105



                      C T CORPORATION
                      PO BOX 4349
                      CAROL STREAM, IL 60197-4349



                      C&F ELECTRIC INC
                      1660 NW 65TH AVE STE 5
                      PLANTATION, FL 33313



                      CA DEPT OF MOTOR VEHICLES ACCT PROCESSIN
                      PO BOX 944234
                      MAIL STATION H221
                      SACRAMENTO, CA 94244-2310
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 337 of 2164




                      CA DEPT OF TAX AND FEE ADMINISTRATION
                      PO BOX 942879
                      SACRAMENTO, CA 94279-0088



                      CA SDU NSF
                      PO BOX 980220
                      W SACRAMENTO, CA 95798-0220



                      CA-EDD
                      P.O. BOX 826276
                      SACRAMENTO, CA 94230-6276



                      CABRILLO ELEMENTARY SCHOOL
                      3120 TALBOT ST
                      SAN DIEGO, CA 92106



                      CACH LLC
                      PO BOX 26968
                      TEMPE, AZ 85285



                      Cache Johnson
                      11423 ROYAL PALM
                      CORAL SPRINGS BLVD, FL 33065



                      CACTUS MAT MFG CO
                      930 W TENTH STREET
                      AZUSA, CA 91702



                      Cactus Mat Mfg. Co.
                      930 W. Tenth Street
                      Azusa, CA 91702



                      CADE KROK
                      23306 BUCKLAND LN
                      LAKE FORREST, CA 92630
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 338 of 2164




                      Cade Lampp
                      330 GRAND REGENCY BLVD
                      201
                      BRANDON, FL 33510



                      Cade Siegrist
                      17320 Euclid St.
                      Fountain Valley, CA 92708



                      Cadeau Igunzi
                      1210 S TURQUOISE VISTA
                      768
                      TUCSON, AZ 85710



                      Caden Tharpe
                      6716 GRAND ESTUARY TRAIL
                      UNIT 103
                      BRADENTON, FL 34212



                      CADENCE BAND BOOSTERS
                      225 GRAND CADENCE DR
                      HENDERSON, NV 89015



                      Caelyn Parker
                      856 NE 69TH AVE
                      HILLSBORO, OR 97124



                      CAIR SFBA
                      3160 DE LA CRUZ BLVD 110
                      SANTA CLARA, CA 95054



                      Caisen E. Houston
                      17241 EASTVIEW DR.
                      CHINO HILLS, CA 91709



                      Caisen Houston
                      17241 EASTVIEW DR.
                      CHINO HILLS, CA 91709
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 339 of 2164




                      Caitlin Murata
                      7895 MONACO BAY CT
                      LAS VEGAS, NV 89117



                      Caitlin Smith
                      8995 ROSWELL ROAD
                      SANDY SPRINGS, GA 30350



                      Caitlin Tribble
                      3602 22ND AVE W
                      BRADENTON, FL 34205



                      Caitlyn Coleman
                      10721 DEEPBROOK DRIVE
                      RIVERVIEW, FL 33569



                      Caitlyn Connolly
                      10468 124TH TER
                      LARGO, FL 33773



                      Caitlyn Pratte
                      9730 WALNUT ST
                      BELLFLOWER, CA 90706



                      Caitlyn Wyche
                      1119 Bolton Dr.
                      Missouri City, TX 77489



                      CAJON HIGH SCHOOL
                      1200 WEST HILL DRIVE
                      SAN BERNARDINO, CA 92407



                      CAL HIGH INTERACT CLUB
                      9870 BROADMOOR DR
                      SAN RAMON, CA 94583
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 340 of 2164




                      CAL HIGH INTERACT CLUB
                      3363 ASHBOURNE CIRCLE
                      CAL HIGH INTERACT CLUB
                      SAN RAMON, CA 94583



                      CAL HIGHS PENCILS OF PROMISE
                      9962 WINDSOR WAY
                      SAN RAMON, CA 94583



                      CAL PACIFIC FACILITY SOLUTIONS LLC
                      1051 SITE DR #229
                      BREA, CA 92821



                      CAL PACIFIC SPECIALTIY FOODS LLC
                      PO BOX 49368
                      SAN JOSE, CA 95161-9368



                      Cal Pacific Specialtiy Foods, LLC
                      PO BOX 49368
                      San Jose, CA 95161-9368



                      CAL STATE LA SNA
                      5154 STATE UNIVERSITY DR
                      STUDENT NURSES ASSOCIATION
                      LOS ANGELES, CA 90032



                      CAL WEST SERVICE INC
                      6401 GOLDEN GATE DR
                      DUBLIN, CA 94568



                      CAL/OSHA
                      PO BOX 420603
                      SAN FRANCISCO, CA 94142



                      CALAVERA HILLS ELEMENTARY PTA
                      4100 TAMARACK BLVD
                      CARLSBAD, CA 92010
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 341 of 2164




                      CALDWELL COUNTY TREASURY
                      100 E MARKET
                      COURTHOUSE ROOM 2
                      PRINCETON, KY 00042-4450



                      Caleah Sajonas
                      1020 Orangewood Drive
                      Brea, CA 92821



                      Caleb Bostic
                      687 ROYALTY COURT
                      #B
                      POINCIANA, FL 34758



                      Caleb Fields
                      424 N WILSON AVE
                      APT 4
                      PASADENA, CA 91106



                      CALEB HAWKINS
                      3009 N MASSACHUSETTS AVE
                      TAMPA, FL 33603



                      Caleb Herford
                      11050 SW GAARDE ST.
                      15
                      TIGARD, OR 97224



                      Caleb Kobriger
                      534 E. 7TH AVE.
                      ESCONDIDO, CA 92025



                      Caleb Vogt
                      9136 W. NAPLES DRIVE
                      LAS VEGAS, NV 89147



                      Caleb White
                      26242 Country Glen
                      Lake Forest, CA 92630
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 342 of 2164




                      CALI COAST ELITE BOOSTER CLUB
                      3075 L ST
                      SAN DIEGO, CA 92102



                      CALI NEV HA DISTRICT OF KIWANI
                      8360 RED OAK STREET 201
                      RANCHO CUCAMONGA, CA 91730



                      Cali Robinson
                      2940 SETTING SUN ST
                      LAS VEGAS, NV 89117



                      Calib Young
                      23450 NEWHALL AVE
                      #3
                      NEWHALL, CA 91321



                      CALIFORNIA DEPARTMENT OF
                      ALCOHOLIC BEVERAGE CONTROL
                      3927 LENNANE DR SUITE 100
                      SACRAMENTO, CA 95834



                      CALIFORNIA DEPARTMENT OF
                      ALCOHOLIC BEVERAGE CONTROL
                      570 RANCHEROS DRIVE STE 240
                      SAN DIEGO, CA 92069



                      CALIFORNIA DEPARTMENT OF PUBLIC HEALTH
                      FOOD & DRUG BRANCH - CASHIER
                      PO BOX 997435 MS-7602
                      SACRAMENTO, CA 95899-7435



                      CALIFORNIA EDD
                      P.O. BOX 826847
                      SACRAMENTO, CA 94230-6276
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 343 of 2164




                      CALIFORNIA ENVIRONMENTAL PROTECTION AGEN
                      PO BOX 1436
                      1001 I ST FLOOR 20
                      SACRAMENTO, CA 95812-1436



                      CALIFORNIA SCHOOL FOR THE DEAF
                      39505 GALLAUDET DR APT 357
                      FREMONT, CA 94538



                      CALIFORNIA SCHOOL FOR THE DEAF
                      39505 GALLAUDET DR APT 357
                      FREMONT
                      CA, 94538



                      CALIFORNIA STATE CONTROLLER
                      STATE OF CALIFORNIA
                      UNCLAIMED PROPERTY DIVISION P.O. BOX 942
                      SACRAMENTO, CA 94250-5873



                      CALIFORNIA STATE CONTROLLER
                      1500-11TH STREET
                      SACRAMENTO, CA 95814



                      CALIFORNIA STATE DISBURSEMENT UNIT
                      PO BOX 989067
                      WEST SCARAMENTO, CA 95798



                      CALIFORNIA WATER SERVICE
                      PO BOX 4500
                      WHITTIER, CA 90607-4500



                      Calisa Maxena
                      4390 Nw 36th St.
                      Lauderdale Lakes, FL 33319



                      Calisha Warner
                      2450 W PECOS RD
                      2138
                      CHANDLER, AZ 85224
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 344 of 2164




                      Calista Henry
                      6405 E JENSEN
                      MESA, AZ 85205



                      Calista Magana
                      38618 20TH E.
                      PALMDALE, CA 93550



                      Callaway Blue Springs Water
                      3120 Georgia Highway 116
                      Hamilton, GA 31811



                      CALMIL PLASTIC PRODUCTS INC
                      PO BOX 511422
                      LOS ANGELES, CA 90051-7977



                      CALOB ROSS
                      3820 40TH ST
                      SAN DIEGO, CA 92105



                      Calum Sutton
                      2260 PINE FOREST CT
                      LAS VEGAS, NV 89134



                      CALVARY CHAPEL CHRISTIAN SCHOOL
                      8725 E SPEEDWAY BLVD
                      TUCSON, AZ 85710



                      CALVARY CHRISTIAN ACADEMY
                      1771 E PALOMAR ST
                      ATTN CHRISTINE HIPOLITO
                      CHULA VISTA, CA 91913



                      Calvin Aurelio
                      30001 GOLDEN LANTERN
                      APT. 70
                      LAGUNA NIGUEL, CA 92677
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 345 of 2164




                      Calvin Gousman
                      12312 SHERMAN WAY
                      NORTH HOLLYWOOD, CA 91605



                      Calvin Harmon
                      8819 Ne 15th Ave
                      Apt. A
                      Vancouver, WA 98665



                      Calvin Harris
                      253 Burbank Dr. NW
                      Atlana, GA 30314



                      Calvin Ingram
                      2384 21ST
                      SARASOTA, FL 34234



                      Calvin Nakamoto
                      2239 ANNADEL AVE
                      ROWLAND HEIGHTS, CA 91748



                      Camary Green
                      219 GROVE PLACE
                      ROSWELL, GA 30076



                      CAMBRO MANUFACTURING COMPA
                      PO BOX 2000
                      HUNTINGTON BEACH, CA 92647-2000



                      Cambro Manufacturing Company
                      Po Box #2000
                      Huntington Beach, CA 92647-2000



                      CAMDEN HOUSE LLC
                      1420 MIRAVALLE AVE
                      C/O MARK MILLET
                      LOS ALTOS, CA 94024
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 346 of 2164




                      Camden House, LLC
                      1420 Miravale Ave.
                      Los Altos, CA 94024



                      Camelia Diaz
                      39295 Camino las Positas
                      Murrieta, CA 92562



                      Camerin Nestor
                      9414 W Monroe St
                      Peoria, AZ 85345



                      Cameron Brown
                      2232 Saint Claire Ct
                      Santa Clara, CA 95054



                      Cameron Clark
                      1170 NW Riverview Ave
                      GRESHAM, OR 97030



                      CAMERON CLARK
                      2069 NW 12TH ST
                      GRESHAM, OR 97030



                      Cameron Clark Chambliss
                      22745 VAN BUREN ST
                      GRAND TERRACE, CA 92313



                      Cameron Clark Chambliss
                      22745 Van Buren St.
                      Grand Terrace, CA 92313



                      Cameron Cleland
                      1007 Beaver Drive
                      Tarpon Springs, FL 34689
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 347 of 2164




                      Cameron Conway
                      7 Twilight Glen
                      Spring, TX 77381



                      Cameron Dean
                      9532 WEST ATHENS LANE
                      LITTLETON, CO 80127



                      Cameron Herring
                      10271 129TH TERRACE
                      LARGO, FL 33773



                      Cameron Joh
                      19381 HERITAGE PL
                      ROWLAND HEIGHTS, CA 91748



                      Cameron Johnson
                      633 F STREET
                      MARTINEZ, CA 94553



                      Cameron juhas
                      456 POINTE DRIVE
                      456
                      BREA, CA 92821



                      Cameron Lawerence
                      45480 SHEEPS FOOT ROAD
                      AGUANGA, CA 92536



                      Cameron Lems
                      26922 PALACETE DR.
                      VALENCIA, CA 91354



                      Cameron Loveday
                      21141 CANADA ROAD
                      14H
                      LAKE FOREST, CA 92630
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 348 of 2164




                      Cameron Matz
                      12021 SKYLINE RD NE
                      104
                      ALBUQUERQUE, NM 87116



                      CAMERON MCDONALD
                      29599 YORKTOWN RD
                      MURRIETA, CA 92563



                      Cameron Merten
                      82858 MOUNT RILEY DR
                      INDIO, CA 92203



                      Cameron Parker
                      7865 WEST ONTARIO PLACE
                      LITTLETON, CO 80128



                      Cameron Pimentel
                      11089 Ice Skate Pl.
                      San Diego, CA 92126



                      Cameron Ramirez
                      1062 CARSON AVENUE
                      CLOVIS, CA 93611



                      Cameron Ramos
                      18720 Caminito Cantilina
                      San Diego, CA 92128



                      Cameron Spiller
                      3240 Prince Circle
                      Broomfield, CO 80020



                      Cameron Westerman
                      2821 Brookwest Drive
                      Marietta, GA 30064
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 349 of 2164




                      Cameron Williams
                      12182 BAILEY ST
                      #A
                      GARDEN GROVE, CA 92845



                      Cameron Wills
                      327 JUPITER DR.
                      LONE TREE, CO 80124



                      Cameron Woodman
                      2225 NE 163RD PL
                      VANCOUVER, WA 98684



                      Cameshia Miller
                      1424 W 34TH STREET
                      RIVIERA BEACH, FL 33404



                      Camila Olmedo
                      8100 PARK PLAZA APT209
                      STANTON, CA 90680



                      Camilla Rawls
                      2129 MLK JR DR SW
                      A9
                      ATLANTA, GA 30310



                      Camille Anglin
                      4161 GLENAIRE WY NW
                      ACWORTH, GA 30101



                      Camille Ford
                      16 COFFEEBERRY
                      ALISO VIEJO, CA 92656



                      Camille Gomez
                      251 SOUTH AVE 20
                      LOS ANGELES, CA 90031
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 350 of 2164




                      Camille Peregrino
                      37536 GLENMOOR DR.
                      B
                      FREMONT, CA 94536



                      Camille Schoordijk
                      113 BLAISDELL WAY
                      FREMONT, CA 94536



                      CAMINO
                      5345 AVENIDA ALMENDROS
                      SAN JOSE, CA 95123



                      CAMINO GROVE PTA
                      1517 LOGANRITA AVE
                      ARCADIA, CA 91006



                      CAMINO PARENT GROUP
                      5345 AVENIDA ALMENDROS
                      SAN JOSE, CA 95123



                      CAMINO PARENT GROUP
                      5345 AVENIDA ALMENDROS
                      SAN JOSE
                      CA, 95123



                      Campbell Biemiller
                      4212 STURGEON COURT
                      SAN DIEGO, CA 92130



                      CAMPBELL COUNTY FISCAL COURT
                      PO BOX 645245
                      CINCINNATI, OH 45264-5245



                      Campty Louis
                      1800 Nw 4th Ave
                      Apt #9
                      Boca Raton, FL 33432
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 351 of 2164




                      CAMPUS BOX MEDIA LLC
                      912 113TH STREET
                      ARLINGTON, TX 76011



                      CAMPUS CHURCH OF CHRIST
                      614 RIVER OAK LOOP
                      LAWRENCEVILLE, GA 30044



                      Camron Khalilian
                      10890 DUBLIN CANYON RD
                      PLEASANTON, CA 94588



                      Camryn Sievers
                      17097 CAMINO GALVEZ
                      YORBA LINDA, CA 92886



                      CaMya McGuire
                      10802 GLENWAY DR
                      CYPRESS, TX 77070



                      Canan Ozturk Elbi
                      21894 LAKE FOREST CIRCLE
                      206
                      BOCA RATON, FL 33433



                      Candace Benjamin
                      11511 113th Street
                      Apt 4E
                      Largo, FL 33778



                      Candace Flores
                      6904 MANATEE AVE W
                      62C
                      BRADENTON, FL 34209



                      Candace Parkman
                      14141 E JEWEL AVE
                      201
                      AURORA, CO 80012
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 352 of 2164




                      Candelaria Aguirre
                      2390 LUCRETIA AVE APT 711
                      SAN JOSE, CA 95122



                      Candelaria Cazares
                      4262 Central Ave
                      Apt #316
                      Fremont, CA 94536



                      CANDELARIA CAZARES
                      4262 CENTRAL AVE APT 316
                      FREMONT, CA 94536



                      Candelaria Rodriguez
                      20533 CATALINA
                      TORRANCE, CA 90502



                      Candice Clark
                      1102 TREE SUMMIT PKWY
                      DULUTH, GA 30096



                      Candice De Lanis
                      148 Vitale Ave
                      Henderson, NV 89014



                      Candice Delrosario
                      17537 Ashburton Rd.
                      San Diego, CA 92128



                      Candice Orlow
                      16158 SW 108TH AVE
                      133
                      TIGARD, OR 97224



                      Candida Moreno
                      912 E WASHINGTON AVE
                      102
                      ESCONDIDO, CA 92025
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 353 of 2164




                      Candler Clark
                      4324 JAPONICA CT SW
                      LILBURN, GA 30047



                      Candy Gonzalez
                      16050 LIGGETT STREET
                      NORTH HILLS, CA 91343



                      Candy Ma
                      4632 CANOGA ST
                      C
                      MONTCLAIR, CA 91763



                      Canin Hessom
                      6850 MISSION GORGE RD
                      1275
                      SAN DIEGO, CA 92120



                      Cannon K. Nutting




                      Cantave Etienne
                      6371 Pinestead Drive
                      Lake Worth, FL 33463



                      Cantika Sasono
                      27620 BEECHWOOD DR
                      SANTA CLARITA, CA 91351



                      CANYON THEATRE GUILD
                      24242 MAIN STREET
                      NEWHALL, CA 91321



                      CANYON VIEW PTO
                      9225 ADOLPHIA ST
                      SAN DIEGO, CA 92129
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 354 of 2164




                      CANYON VIEW PTO
                      9225 ADOLPHIA ST
                      SAN DIEGO
                      CA, 92129



                      CANYONCREST ACADEMY FOUNDATION
                      5951 VILLAGE LOOP ROAD
                      SAN DIEGO, CA 92130



                      CAPITAL TAX COLLECTION BUREAU
                      425 PRINCE STREET, SUITE 170
                      HARRISBURG, PA 17110-1734



                      CAPITOL NEWS COMPANY LLC
                      1000 WILSON BLVD STE 2700
                      ARLINGTON, VA 22209



                      CAPITOL NEWS COMPANY LLC
                      1000 WILSON BLVD STE 2700
                      ARLINGTON
                      VA, 22209



                      Caprizio fornaro
                      28526 RANCHO LAGUNA
                      LAGUNA NIGUEL, CA 92677



                      CAPTIVATION BOOSTER CLUB
                      1550 W HORIZON RIDGE PKWY
                      STE R34
                      HENDERSON, NV 89012



                      CARDINAL INTERNATIONAL III LLC
                      PO BOX 32100
                      NEW YORK, NY 10087-2100



                      Cardlytics
                      75 REMITTANCE DR DEPT 3247
                      CHICAGO, IL 60675-3247
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                      CARDLYTICS INC
                      75 REMITTANCE DR DEPT 3247
                      CHICAGO, IL 60675-3247



                      Caren Estrada
                      4250 Parks Ave.
                      #13
                      La Mesa, CA 91941



                      CAREN ESTRADA
                      4250 PARKS AVE #13
                      LA MESA, CA 91941



                      Caressa Dobbs
                      2022 Rocky Point Bluff NW
                      Kennesaw, GA 30152



                      CARGILL INC
                      PO BOX 198323
                      ATLANTA, GA 30384-8323



                      CARGILL INC
                      PO BOX 100336
                      PASADENA, CA 91189-0336



                      CARGILL INC
                      PO BOX 749481
                      LOS ANGELES, CA 90074-9481



                      Cargill Inc.
                      Po Box 749481
                      LOS ANGELES, CA 90074-9481



                      Cargill Inc.
                      Po Box 749481
                      LOS ANGELES
                      CA, 90074-9481
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 356 of 2164




                      Caribban Baylor
                      760 W NEW ENGLAND AVE
                      WINTER PARK, FL 32789



                      Caridad Curre Abreu
                      130 RODENY LN
                      TAMPA, FL 33615



                      Carina Brunner
                      6296 Lakeworth Rd
                      Greenacres, FL 33463



                      carina castillo
                      10443 BEDFONT CIR
                      SAN DIEGO, CA 92126



                      Carina Rosales
                      1099 AQUAMARINE LN
                      CORONA, CA 92882



                      Carissa Donato
                      9461 SANDY REEF AVE
                      D
                      LAS VEGAS, NV 89147



                      Carisse Chan
                      41529 27th st West
                      Palmdale, CA 93551



                      Carl Green
                      6355 PEACHTREE DUNWOODY RD
                      701
                      ATLANTA, GA 30328



                      Carl Klein
                      23579 Karen Place
                      Murrieta, CA 92562
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 357 of 2164




                      Carl Robertgeau
                      824 EAST MOWRY DRIVE
                      1202
                      HOMESTEAD, FL 33030



                      Carl Stein
                      4108 Morganfield Ct
                      Pleasanton, CA 94566



                      Carl Washington
                      5927 W. Minarets 559
                      Fresno, CA 93722



                      Carla Alvarez
                      1426 Wycliffe
                      Irvine, CA 92602



                      CARLA ALVAREZ
                      8517 NANCY DR
                      INDIO, CA 92201



                      Carla Gomillion
                      25423 Belle Porte ave unit 6
                      Harbor City, CA 90710



                      Carla groenendyk
                      2929 SOLANO DR NE
                      ALBUQUERQUE, NM 87110



                      Carla LOPEZ
                      12414 WELLINGTON PARK DR.
                      HOUSTON, TX 77072



                      Carla Martinez Pinedo
                      1451 LYNHURST AVE
                      HACIENDA HEIGHTS, CA 91745
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 358 of 2164




                      Carla Miranda
                      3915 S. Juniper St.
                      Tempe, AZ 85282



                      Carla Pimentel
                      987 POSTAL WAY 11
                      VISTA, CA 92083



                      Carla Solano
                      4550 MIDDLEBROOK
                      ORLANDO, FL 32811



                      Carleen Nigh
                      99 FLORA VISTA AVE
                      CAMARILLO, CA 93012



                      Carley Schank
                      4335 E MEADOW DR
                      PHOENIX, AZ 85032



                      Carley Wilson
                      139 SUMMER CREST PL SW
                      Marietta, GA 30060



                      Carlie Bevans
                      777 GILA DRIVE
                      KISSIMMEE, FL 34759



                      Carlie Herbst
                      16020 Ne 93rd Street
                      Orchards, WA 98682



                      Carline Philemond
                      2942 Dolphin Dr
                      Delray Beach, FL 33445
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 359 of 2164




                      Carlisle Foodservice Products
                      22926 Network Place
                      Chicago, IL 60673-1229



                      Carlisle Foodservice Products
                      22926 Network Place
                      Chicago
                      IL, 60673-1229



                      CARLITO TRUJILLO
                      218 LA LADERA
                      PERALTA, NM 87042



                      Carlo Martinez
                      1784 CARVER CT
                      SARASOTA, FL 34234



                      Carlos A. Azoryn-lagunas
                      4150 36th St
                      Apt 16
                      San Diego, CA 92104



                      Carlos aguilar
                      4853 YUMA AV
                      C
                      OCEANSIDE, CA 92057



                      Carlos Almeida
                      1810 E Blacklidge
                      Apt 1027
                      Tucson, AZ 85719



                      Carlos Aponte
                      9325 Paradise Dr
                      Tampa, FL 33610



                      Carlos Avila
                      1610 North Broadway Apt. 428
                      Santa Ana, CA 92706
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 360 of 2164




                      Carlos Azoryn-lagunas
                      4150 36th St
                      Apt 16
                      San Diego, CA 92104



                      Carlos Bertadillo
                      2128 W. Medlock Dr.
                      Phoenix, AZ 85015



                      Carlos Bravo
                      7050 Black Mt. Rd
                      San Diego, CA 92130



                      Carlos Brown
                      39295 CAMINO LAS POSITAS
                      MURRIETA, CA 92562



                      Carlos Calvillo
                      40550 Chapel Way
                      Fremont, CA 94538



                      Carlos Calzada
                      5032 Slauson Ave.
                      #6
                      Culver City, CA 90230



                      Carlos Canedo
                      301 SE 3RD STREET
                      303
                      DANIA, FL 33004



                      Carlos Carbajal
                      2335 W Alta Vista Rd
                      Phoenix, AZ 85022



                      Carlos Carreno
                      509 N YALE
                      FULLERTON, CA 92831
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 361 of 2164




                      Carlos Castellon
                      2784 MONTEREY HWY
                      SPC 25
                      SAN JOSE, CA 95111



                      Carlos Contreras silva
                      14539 FAIRFORD AVE
                      NORWALK, CA 90650



                      Carlos Cruz
                      15333 Gundry Ave
                      Apt 207
                      Paramount, CA 90723



                      CARLOS ENRIQUE GARCIA JR
                      1250 GREENFIELD DR
                      EL CAJON, CA 92021



                      Carlos F. Pergue Placencia
                      20 LAUREL AVE
                      NATIONAL CITY, CA 91950



                      Carlos Feria
                      1150 ELMWOOD DR
                      ESCONDIDO, CA 92025



                      Carlos Galletti
                      7705 SW 129TH CT
                      MIAMI, FL 33168



                      Carlos Garcia
                      4286 PEPPER DRIVE
                      SAN DIEGO, CA 92105



                      Carlos Garibay
                      14081 MAGNOLIA ST
                      136
                      WESTMINSTER, CA 92683
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 362 of 2164




                      Carlos Gomez
                      609 EAGLES CRST VLG LN APT 4
                      ROSWELL, GA 30076



                      Carlos Gonzalez
                      308 South Betty Ln
                      Clearwater, FL 33756



                      Carlos Gonzalez
                      1116 Sail Creek Dr
                      Orlando, FL 32824



                      Carlos Gonzalez
                      3250 Mt Mckinley Dr
                      San Jose, CA 95127



                      Carlos Gonzalez Porras
                      399 BURLINGTON DR
                      TRACY, CA 95376



                      Carlos Goodman
                      228 MORROW RD
                      19A
                      FOREST PARK, GA 30297



                      Carlos guerra
                      13024 6TH STREET
                      CHINO, CA 91710



                      Carlos Gutierrez
                      3490 GROGAN CIRCLE
                      SAN DIEGO, CA 92154



                      Carlos Hernandez
                      14132 SAINT TROPEZ CT
                      MORENO VALLEY, CA 92553
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 363 of 2164




                      CARLOS HILDALGO
                      2900 S GREENVILLE ST UNIT I
                      FOUNTAIN VALLEY, CA 92704



                      Carlos Huchin
                      1050 Whitney Ranch Dr
                      Apt 514
                      Henderson, NV 89014



                      Carlos Jimenez
                      4158 W 135TH
                      #1
                      HAWTHORNE, CA 90250



                      Carlos Juarez-morales
                      9494 Carroll Canyon Rd
                      APT 133
                      San Diego, CA 92126



                      Carlos leal
                      13675 SE KING ROAD
                      25
                      HAPPY VALLEY, OR 97086



                      Carlos Lobo
                      12042 Wicks St Sun Valley
                      Sun Valley, CA 91352



                      Carlos Lopez
                      43338 20th st. West
                      Lancaster, CA 93534



                      Carlos Martinez
                      2455 Portland St
                      Sarasota, FL 34231



                      Carlos Medina
                      1174 HERALD AVE
                      SAN JOSE, CA 95116
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 364 of 2164




                      Carlos Medrano De La Cruz
                      3024 E 18th Street
                      National City, CA 91950



                      Carlos Mendez




                      Carlos Mendiola
                      1061 SILVER STAR STREET
                      HENDERSON, NV 89002



                      Carlos Milla
                      24611 LAKME AV.
                      WILMINGTON, CA 90744



                      Carlos Moran
                      1724 w Catalpa Ave
                      Apt 121
                      Anaheim, CA 92801



                      Carlos Moreno
                      8767 Mira Mesa blvd #4
                      San Diego, CA 92126



                      Carlos Navarro
                      1526 W 12TH ST
                      SANTA ANA, CA 92703



                      Carlos Navarro
                      9901 W. Sahara Ave Apt 1138
                      Las Vegas, NV 89117



                      Carlos Nunez
                      509 E ALLUVIAL AVE 103
                      FRESNO, CA 93720
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 365 of 2164




                      Carlos Oliva
                      4251 LAYLA CT.
                      SAN DIEGODIEGO, CA 92154



                      Carlos Ozuna Cruz
                      4061 MISSISSIPPI ST.
                      SAN DIEGO, CA 92104



                      Carlos Pastrana Lagunas
                      26356 VINTAGE WOODS RD.
                      20G
                      LAKE FOREST, CA 92630



                      Carlos Pena
                      2609 Huron St
                      Los Angeles, CA 90065



                      Carlos Pergue Placencia
                      20 LAUREL AVE
                      NATIONAL CITY, CA 91950



                      Carlos Pomales
                      11700 REEDY CREEK DR
                      108
                      ORLANDO, FL 32836



                      Carlos Ramos
                      16606 N 31th St
                      Apt. 10
                      Phoenix, AZ 85032



                      CARLOS RAMOS
                      4111 N 5TH WAY
                      RIDGEFIELD, WA 98642



                      CARLOS RAMOS
                      4111 N 5TH WAY
                      RIDGEFIELD
                      WA, 98642
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 366 of 2164




                      CARLOS RIVERA
                      5429 LEHIGH AV
                      ORLANDO, FL 32807



                      Carlos Rocio
                      4742 EDRA AVENUE
                      BALDWIN PARK, CA 91706



                      Carlos Rodriguez
                      6614 Mclennan Ave
                      Van Nuys, CA 91406



                      Carlos Rodriguez
                      1496 E Washington Ave
                      Escondido, CA 92027



                      Carlos Roman
                      5848 Dahlia Dr
                      Apt 7
                      Orlando, FL 32807



                      Carlos Sanchez
                      9727 CHANNEL RD
                      65
                      LAKESIDE, CA 92040



                      Carlos Santiago
                      27515 HOMESTEAD RD
                      LAGUNA NIGUEL, CA 92677



                      Carlos Silva
                      2827 Michigan Ave
                      Boyle Heights, CA 90033



                      Carlos Silva
                      4915 Coconino Way
                      San Diego, CA 92117
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 367 of 2164




                      Carlos Smith
                      908 BEVERLY AVE
                      #C
                      LARGO, FL 33756



                      Carlos Tezcucano
                      7406 PEGASUS WAY
                      SANJOSE, CA 95139



                      Carlos Tornez
                      462 Birchwood Ln
                      El Cajon, CA 92021



                      Carlos TORUNO
                      2216 FILLMORE ST
                      #9
                      HOLLLYWOOD, FL 33020



                      Carlos Valdes
                      7263 Somerworth Dr
                      Orlando, FL 32835



                      Carlos Vargas
                      16812 SE STEPHENS ST
                      PORTLAND, OR 97233



                      Carlota Mederos
                      4717 Roswell Rd.
                      H4
                      Atlanta, GA 30342



                      Carlotta Palacios
                      1332 W. CHEVY CHASE DR.
                      ANAHEIM, CA 92801



                      CARLSBAD HS BAND BOOSTERS
                      1311 CASSINS STREET
                      CARLSBAD, CA 92011
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 368 of 2164




                      Carlto. Smith
                      2539 SENNETT DR
                      104
                      LEESBURG, FL 34748



                      CARLY A. MCELVEEN
                      426 KNIGHT DR
                      TARPON SPGS, FL 34688



                      Carly Capone
                      1839 Sharondale Dr
                      Clearwater, FL 33755



                      Carly Caraway
                      2594 LITTLE HILL COVE
                      APT. 304
                      OVIEDO, FL 32765



                      Carly McElveen
                      426 KNIGHT DR
                      TARPON SPGS, FL 34688



                      Carly Strong
                      6501 SCHILLER ST
                      HOUSTON, TX 77055



                      CARLYLE/CYPRESS WEST 7TH LLC
                      2425 E CAMELBACK ROAD STE 750
                      C/O VESTAR PROPERTY MANAGEMENT
                      PHOENIX, AZ 85016



                      CARMAN GIRARD ASSOCIATES INC
                      3157 PRESIDENTIAL DR STE 200
                      ATLANTA, GA 30340



                      CARMEL CREEK PTO
                      12962 CARMEL CREEK RD # 135
                      SAN DIEGO, CA 92130
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 369 of 2164




                      CARMEL CREEK PTO
                      12962 CARMEL CREEK RD # 135
                      SAN DIEGO
                      CA, 92130



                      Carmel Valley Partners I
                      c/o Baldwin Company Attn: Commercial Development D
                      11975 El Camino Real
                      Ste. 200
                      San Diego, CA 92130



                      Carmel Valley Partners I
                      Piazza Retail, LLC c/o Newmark Merrill
                      18801 Ventura Blvd.
                      Ste. 300
                      Tarzana, CA 91356



                      Carmela Barrera Mena
                      7938 East Culver Street
                      Scottsdale, AZ 85257



                      CARMELA CIRCELL
                      8668 IBIS COVE CURCLE
                      NAPLES, FL 34119



                      Carmelina Gonzalez
                      8721 Belfast Cir
                      San Diego, CA 92126



                      Carmelita Mora
                      7865 SE JOHNSON CREEK BLVD
                      PORTLAND, OR 97206



                      Carmen Aquino
                      2128 W BROWNWOOD AVE
                      #1
                      ANAHEIM, CA 92801
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 370 of 2164




                      Carmen Bajxac
                      5208 N. Fresno St
                      Fresno, CA 93710



                      Carmen Casillas
                      6259 Cooper Ave.
                      Fontana, CA 92336



                      Carmen Chavez
                      9329 Cedar St
                      apt #14
                      Bellflower, CA 90706



                      Carmen Cuevas
                      30821 Lilac Rd#30
                      Valley Center, CA 92082



                      Carmen Escobar
                      111 N Mariposa Ave
                      Apt#12
                      Los Angeles, CA 90004



                      Carmen Espina
                      26923 Carmen Place
                      Lutz, FL 33559



                      Carmen Fruzan
                      14101 Stonebrook Ct.
                      Tampa, FL 33624



                      Carmen Garcia
                      320 W TRUSLOW AVE
                      #A
                      FULLERTON, CA 92832



                      Carmen Gomez
                      82072 SIERRA AVE
                      INDIO, CA 92201
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 371 of 2164




                      Carmen Murga
                      287 Vineyard Dr.
                      San Jose, CA 95119



                      Carmen Ortiz
                      7071 LAKERIDGE CT
                      FORT MYERS, FL 33901



                      Carmen Sanchez
                      8901 Bissonnet St
                      #276
                      Houston, TX 77074



                      Carmen Sanchez
                      2633 ORINDA DR
                      SAN JOSE, CA 95121



                      Carmen Tirado
                      2212 Barry Dr.
                      Fort Myers, FL 33907



                      CAROL A CLEMENS
                      485 BEAUMONT DR
                      VISTA, CA 92084



                      Carol Jade Bamba
                      2505 ASCOT WAY
                      UNION CITY, CA 94587



                      Carol Reed
                      6101 34th St Westbldg 32d
                      Bradenton, FL 34210



                      Carol Reynolds
                      469 MARIETTA STREET
                      ATLANTA, GA 30313
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 372 of 2164




                      Carol Tabor
                      30125 SW BROWN RD
                      #9
                      WILSONVILLE, OR 97070



                      Carol Talor
                      11742 AZALEA AVE.
                      FOUNTAIN VALLEY, CA 92708



                      CAROL TOBIN
                      1603 MARTHA DR
                      ELGIN, IL 60123



                      Carolan Bauman
                      3017 SE TOLMAN ST
                      PORTLAND, OR 97202



                      Carolina Alonso
                      5630 Sprinhouse Dr.
                      #19
                      Pleasanton, CA 94588



                      Carolina Buitrago
                      650 Tamarack Ave #4811
                      Brea, CA 92821



                      Carolina Delgado Garcia
                      ANITA ST 7
                      CHULA VISTA, CA 91911



                      Carolina Handling
                      3101 PIPER LANE
                      CHARLOTTE, NC 28208



                      Carolina Handling Llc
                      Po Box 890352
                      Charlotte, NC 28289-0352
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 373 of 2164




                      CAROLINA HANDLING LLC
                      3101 PIPER LANE
                      CHARLOTTE, NC 28208



                      Carolina Ibarra-calva
                      1020 Deerhaven Dr
                      Vista, CA 92084



                      Carolina Martinez
                      6707 Amundson St
                      Tampa, FL 33634



                      CAROLINA PADILLA
                      9417 INDIANA AVE
                      RIVERSIDE, CA 92503



                      Carolina Parra
                      6934 QUEMOY CT
                      SAN DIEGO, CA 92111



                      Carolina Peguero Mesa
                      1771 23RD ST
                      SARASOTA, FL 34234



                      Carolina Ramirez
                      2006 W. SANTA CLARA CIR
                      SANTA ANA, CA 92706



                      Carolina Ramirez
                      2179 Nassau Dr
                      San Jose, CA 95122



                      Carolina Toro-Soto
                      3003 W KATHLEEN ST
                      TAMPA, FL 33607
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 374 of 2164




                      Carolina Ulloa
                      1516 foley ave.
                      San Jose, CA 95122



                      Caroline Buchanan
                      275 SPRING RIDGE DRIVE
                      ROSWELL, GA 30076



                      Caroline Mendez
                      4216 ESPERANZA WAY
                      OCEANSIDE, CA 92056



                      Caroline Orellana
                      428 Orange St.
                      Altamonte Springs, FL 32701



                      Caroline Towey
                      29745 RAMSEY COURT
                      TEMECULA, CA 92591



                      Caroline Williamson
                      22670 Devonshire Ct
                      Santa Clarita, CA 91350



                      Carolyn Brathwaite
                      55 Sapphire Rd
                      Ocala, FL 34472



                      CAROLYN CLARK ELEMENTARY
                      3701 RUE MIRASSOU
                      SAN JOSE, CA 95148



                      Carolyn Sarnoff
                      3218 OJEMAN RD
                      HOUSTON, TX 77080
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 375 of 2164




                      Carolyn Sirchie
                      601 STARKEY RD
                      LOT 227
                      LARGO, FL 33771



                      CAROLYN SPOTO
                      PO BOX 11702
                      TAMPA, FL 33680-1702



                      Carrell Workman
                      3611 WESTCHASE VILLAGE LN
                      APT C
                      NORCROSS, GA 30092



                      Carrie Ault
                      4625 SOUTH HAMPTON DR
                      ORLANDO, FL 32812



                      CARRIE CHUNG
                      13 FEATHERWOOD
                      IRVINE, CA 92612



                      Carrie Schweizer
                      516 Sw 1st St
                      Boynton Beach, FL 33435



                      CARRIE SURRATT PCC CTOP FORT BEND COUNTY
                      PO BOX 1028
                      PAYMENT PROCESSING DEPT
                      SUGARLAND, TX 77487-1028



                      Carrington Williams
                      20451 VIA MEDICI
                      PORTER RANCH, CA 91326



                      CARROLLWOOD AREA BUSINESS
                      ASSOCIATION INC
                      13014 NORTH DALE MABRY HWY #33
                      TAMPA, FL 33618
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 376 of 2164




                      CARROLLWOOD VILLAGE SWIM TEAM
                      13985 CLUBHOUSE DRIVE
                      TAMPA, FL 33618



                      CARSON CITY SHERIFFS OFFICE
                      911 E MUSSER ST
                      ATTN: CIVIL DIVISION
                      CARSON CITY, NV 89701



                      Carson Coia
                      30441 TERRACINA PL
                      CASTAIC, CA 91384



                      Carson griffith
                      1697 TARPON BAY DRIVE SOUTH
                      NAPLES, FL 34119



                      Carson Jarvis
                      10020 SW MARJORIE LN
                      BEAVERTON, OR 97008



                      Carson Kellerman
                      15940 El Camino Entrada
                      Poway, CA 92064



                      Carson Mayer
                      25336 VIA PALACIO
                      VALENCIA, CA 91355



                      Carson Richter
                      49 WEST TORCHPINE CIRCLE
                      SPRING, TX 77381



                      Carson Turner
                      13525 PIPING ROCK LN
                      EL CAJON, CA 92021
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 377 of 2164




                      Carter Johnson
                      1434 E ELM ST
                      TUCSON, AZ 85719



                      Carter Rainey
                      5053 HARDEE ST
                      NAPLES, FL 34113



                      CARWISE MIDDLE PERFORMING ARTS
                      3301 BENTLEY DR
                      PALM HARBOR, FL 34684



                      Cary Bennett
                      171 Nw 20th Ct
                      Pompano Beach, FL 33060



                      Casandra Deleon
                      6546 NORTH 8TH STREET
                      FRESNO, CA 93710



                      CASANDRA PRICE BOSS CONSULTING LLC
                      644 HERMOSA AVE
                      HERMOSA BEACH, CA 90254



                      Casandra Sturgis
                      7119 STUART ST
                      WESTMINSTER, CO 80030



                      CASCO EQUIPMENT CORPORATION
                      4141 FLAT ROCK DRIVE
                      RIVERSIDE, CA 92505



                      Casey B. Redhouse
                      437 SOUTH 1ST STREET #C
                      ALHAMBRA, CA 91801
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 378 of 2164




                      Casey Cox
                      8995 ROSWELL RD
                      SANDY SPRINGS, GA 30350



                      Casey Dubin
                      724 W BERRY AVE
                      2
                      LITTLETON, CO 80120



                      CASEY EATON
                      821 SE 104TH AVE
                      VANCOUVER, WA 98664



                      Casey Masterson
                      12100 PARK BLVD
                      902
                      SEMINOLE, FL 33772



                      Casey Redhouse
                      437 SOUTH 1ST STREET #C
                      ALHAMBRA, CA 91801



                      CASHCO FINANCIAL SERVICES INC
                      18673 SW TV HWY
                      ALOHA, OR 97006



                      CASHIER - CDFA/MDFS
                      DEPT OF FOOD & AGRICULTURE
                      PO BOX 942872
                      SACRAMENTO, CA 94271-2872



                      CASHIER TEXAS WORKFORCE COMM
                      TEXAS WORKFORCE COMMISSION
                      P.O. BOX 149037
                      AUSTIN, TX 78714-9037



                      CASHSTAR INC
                      DEPT CH 19898
                      PALATINE, IL 60055-9898
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 379 of 2164




                      CASILLAS PTA
                      1130 E J STREET
                      CHULA VISTA, CA 91910



                      CASITA CENTER PTA
                      260 CEDAR RD
                      VISTA, CA 92083



                      Cassandra Breckenridge
                      2284 Bull Lake Dr
                      Henderson, NV 89052



                      Cassandra Carpenter
                      17861 MAPLEHURST PL
                      SANTA CLARITA, CA 91387



                      Cassandra Chavez
                      180 E.DEL NORTE ST
                      3
                      DENVER, CO 80221



                      Cassandra Francois
                      7225 WOODRIGDE PARK DRIVE
                      APT 8306
                      ORLANDO, FL 32818



                      Cassandra Garcia
                      315 N ASSOCIATED RD.
                      1605
                      BREA, CA 92821



                      Cassandra Hainley
                      3595 SANTA FE AVENUE 48
                      LONG BEACH, CA 90810



                      Cassandra Lugo
                      1030 ORANGEWOOD DRIVE
                      BREA, CA 92821
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 380 of 2164




                      Cassandra McLaren
                      13127 VIA MESA DR
                      SAN DIEGO, CA 92129



                      Cassandra Mejia
                      4244 VILLAGE DR
                      APT C
                      CHINO HILLS, CA 91709



                      Cassandra moreno
                      3757 DAMIEN AVE.
                      LA VERNE, CA 91750



                      Cassandra Ramirez
                      3130 CHAMPION RING ROAD
                      111
                      FORT MYERS, FL 33905



                      CASSANDRA REANO
                      22803 RIO CLARA DRIVE
                      VALENCIA, CA 91354



                      Cassandra Rocha
                      191 Avenida Elena
                      San Marcos, CA 92069



                      Cassandra Rosen
                      3837 LUMA DR.
                      HOLIDAY, FL 34691



                      CASSANDRA SANCHEZ
                      391 N MELROSE DR UNIT H
                      VISTA, CA 92083



                      Cassandra Sobel
                      15050 N. 59TH AVE
                      241
                      GLENDALE, AZ 85306
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 381 of 2164




                      Cassaundra Riddle
                      6250 HOLABIRD ST.
                      40
                      SAN DIEGO, CA 92120



                      Cassidy Dilley
                      11100 CALLAWAY CT
                      PARKER, CO 80138



                      Cassidy Haeri
                      5432 Kenosha Lane
                      Irvine, CA 92603



                      Cassie Drinnon
                      492 W. 18TH AVE
                      #2
                      APACHE JUNCTION, AZ 85120



                      Cassie Oroian
                      400 SW 133RD AVE
                      BEAVERTON, OR 97005



                      Cassie Williams
                      200 WRENA DR
                      WEST PALM BEACH, FL 33409



                      Cassy Malnar
                      8780 WEST QUARTO CIRCLE
                      LITTLETON, CO 80128



                      CASSY S. MALNAR
                      8780 WEST QUARTO CIRCLE
                      LITTLETON, CO 80128



                      Castcel Destin-Horn
                      1000 FARRAH LANELANE
                      1724
                      STAFFORDSTAFFORD, TX 77477
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                      Castillo Gregorio
                      539 HANNAH ST
                      SAN JOSE, CA 95126



                      CASTLE ACCESS INC
                      PO BOX 93984
                      LAS VEGAS, NV 89193-3984



                      CASTLE IMPORTING INC
                      14550 MILLER AVE
                      FONTANA, CA 92336



                      Castle Importing Inc.
                      14550 Miller Ave.
                      Fontana, CA 92336



                      Castle Importing Inc.
                      14550 Miller Ave.
                      Fontana
                      CA, 92336



                      Catalina Barahona
                      33821 13th street
                      Union City, CA 94587



                      Catalina Ospina
                      3450 PALENCIA DR
                      1909
                      TAMPA, FL 33618



                      Catalina Perez
                      1515 Acacia St
                      #d
                      Alhambra, CA 91801



                      Catalina Villegas
                      2235 Comstock St
                      San Diego, CA 92111
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 383 of 2164




                      Catarino Jiron
                      7179 Masey St.
                      Denver, CO 80221



                      Catherin Maltez
                      8524 SOUTHWEST 107TH AVENUE
                      MIAMI, FL 33173



                      Catherine Alford
                      3024 N. POWERS DR
                      125
                      ORLANDO, FL 32818



                      Catherine Connor
                      8083 ROARING CREEK CT
                      KISSIMMEE, FL 34747



                      Catherine De Leon
                      20221 Pienza Lane
                      Northridge, CA 91326



                      Catherine Morales
                      1969 Sw 15th St
                      Apt 102
                      Deerfield Beach, FL 33442



                      Catherine Ocegueda
                      10224 Andasol Ave
                      Northridge, CA 91325



                      Catherine Strain
                      2831 Brad's Way
                      Midlothian, TX 76065



                      CATHERINE STRAIN
                      2831 BRADS WAY
                      MIDLOTHIAN, TX 76065
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 384 of 2164




                      Catherine Williams
                      11501 ANAHEIM AVE NE
                      ALBUQUERQUE, NM 87122



                      CATHY L WAYLETT
                      PO BOX 749
                      LIBBY, MT 59923-0749



                      CATHY MURPHY
                      105 N MCLEAN CT
                      CARY, NC 27513



                      Catrine Algene
                      329 South D Street
                      Lake Worth, FL 33460



                      Cayle Lynam
                      4245 EAST SHEFFIELD AVENUE
                      GILBERT, AZ 85296



                      Caylen De Nuccio
                      416 W San Marcos Blvd
                      Unit 137
                      SAN MARCOS, CA 92069



                      CBS




                      CCA - DIVISION OF TAXATION
                      205 W. SAINT CLAIR AVENUE
                      CLEVELAND, OH 44113-1503



                      CCA ASB
                      5951 VILLAGE CENTER LOOP RD
                      CCA FINANCE OFFICE
                      SAN DIEGO, CA 92130
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 385 of 2164




                      CCA ASB CLASS OF 2019
                      3915 CAMINITO DEL MAR SURF
                      SAN DIEGO, CA 92130



                      CCA ASB SWIM AND DIVE
                      5951 VILLAGE CENTER LOOP RD
                      SAN DIEGO, CA 92130



                      CCA FOUNDATION
                      5951 E VILLAGE CENTER LOOP RD
                      SAN DIEGO, CA 92130



                      CCA FOUNDATION
                      5951 E VILLAGE CENTER LOOP RD
                      SAN DIEGO
                      CA, 92130



                      CCH INCORPORATED
                      PO BOX 4307
                      CAROL STREAM, IL 60197-4307



                      CCI INDUSTRIES INC
                      COOL CURTAIN
                      350-A FISCHER AVENUE
                      COSTA MESA, CA 92626



                      Cci Industries Inc.
                      Cool Curtain
                      350-A FISCHER AVENUE
                      Costa Mesa, CA 92626



                      CCPAA INC
                      3051 EL CAJON BLVD
                      SAN DIEGO, CA 92014



                      CCTB - EIT
                      21 WATERFORD DRIVE, SUITE 201
                      MECHANICSBURG, PA 00017-0500
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 386 of 2164




                      CCTB - LST
                      21 WATERFORD DRIVE, SUITE 201
                      MECHANICSBURG, PA 00017-0500



                      CCTB EMPLOYER ACCOUNTS
                      21 WATERFORD DRIVE, SUITE 201
                      MECHANICSBURG, PA 00017-0500



                      CDTFA
                      15015 AVENUE OF SCIENCE
                      STE 200
                      SAN DIEGO, CA 92128



                      Cecelia Garcia
                      2131 NORA DRIVE
                      HOLLISTER, CA 95023



                      Ceceste Rock
                      7480 DAKEN ST
                      308
                      DENVER, CO 80221



                      Cecil Robinson
                      12343 S DIARY ASHFORD
                      HOUSTON, TX 77099



                      Cecile sanon
                      1923 NORTH 23RD AV
                      HOLLYWOOD, FL 33020



                      Cecilia Ceballos
                      103 Habersham Dr
                      Longwood, FL 32779



                      Cecilia Cerda
                      8142 8TH ST
                      BUENA PARK, CA 90621
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 387 of 2164




                      Cecilia Guthrie
                      1606 W Farr St
                      Tucson, AZ 85705



                      Cecilia Harvey
                      8914 WEST ROCHELLE AVE
                      LAS VEGAS, NV 89147



                      Cecilia Larios-Romo
                      240 James st
                      ESCONDIDO, CA 92027



                      Cecilia Munoz
                      23450 NEWHALL AVE SPC 33
                      NEWHAL, CA 91321



                      Cecilia Munoz
                      900 Las Lomas Dr
                      Apt #e211
                      La Habra, CA 90631



                      Cecilia Perez
                      1624 WINDSOR PLACE
                      PALMDALE, CA 93551



                      Cecilia Prado
                      3141 Bluebird Dr.
                      Holiday, FL 34690



                      Cecilia Rayos
                      2717 AIDA AVE
                      SAN JOSE, CA 95123



                      Cecilia Reveles
                      100 N Citrus Ranch Rd.
                      Anaheim, CA 92805
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 388 of 2164




                      CEDAR MILL CHRIST PRESCHOOL
                      12755 NW DOGWOOD STREET
                      PORTLAND, OR 97229



                      CEDAR MILL ELEMENTARY PTC
                      10265 NW CORNELL ROAD
                      PORTLAND, OR 97229



                      Cedonya Zaya
                      6510 Burgandy Street
                      San Diego, CA 92120



                      Cedric Norman Villanueva
                      1638 dale circle n
                      dunedin, FL 34698



                      Cedric Rucker
                      221 RIDGE RUN CROSSING
                      ATHENS, GA 30605



                      Cedric Scott
                      2011 NW 4 ST
                      Apt # 3
                      OCALA, FL 34475



                      CELEBRATION KIDS
                      1101 ARROYO VERDE RD.
                      COME HELP SUPPORT
                      SOUTH PASADENA, CA 91030



                      Celene Ramirez
                      370 NANCY LANE
                      SAN JOSE, CA 95127



                      Celeste Panta
                      5553 Walnut Blossom Dr
                      #5
                      San Jose, CA 95123
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 389 of 2164




                      Celeste Rodriguez
                      13853 Lexicon Ave
                      Sylmar, CA 91342



                      Celeste Schwartz
                      3955 Linmar Ln.
                      Carlsbad, CA 92008



                      Celeste Sutherland
                      11007 Oak Cliff Ct
                      Conroe, TX 77304



                      CELESTE SUTHERLAND
                      29615 BINEFIELD ST
                      SPRING, TX 77386



                      Celeste Wiggins
                      5716 Wingate Dr
                      Orlando, FL 32839



                      Celestina Cano
                      2337 s blaze trl
                      Tucson, AZ 85748



                      Celestina Rios
                      6431 N LEAD AVE
                      FRESNO, CA 93711



                      Celia Cleaves
                      11750 MT. VERNON AVE
                      292
                      GRAND TERRACE, CA 92313



                      Celia Esquivel
                      807 WINSTON PLACE
                      MOUNTAIN VIEW, CA 94043
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 390 of 2164




                      Celia Martinez
                      4468 Clairemont Drive
                      San Diego, CA 92117



                      Celia Ramirez
                      504 Canyon Dr
                      Bonita, CA 91902



                      Celida Buenrostro
                      3331 Mount Mckinnley Dr.
                      San Jose, CA 95127



                      CELINA CITY INCOME TAX
                      P.O. BOX 117
                      CELINA, OH 04582-2117



                      Celina Flores
                      12561 MORNINGSIDE AVE
                      APT 3
                      GARDEN GROVE, CA 92843



                      Celina Nicole Fortez
                      235 Kenbrook Circle
                      San Jose, CA 95111



                      Celina Robles
                      6923 E REDBUD RD
                      TUCSON, AZ 85715



                      Celso Medina
                      7509 N PECOS ST
                      102
                      DENVER, CO 80221



                      Celynn Miller
                      14212 QUENT DR.
                      TUSTIN, CA 92780
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 391 of 2164




                      Cendy Ceballos
                      62 E Floral Ave
                      Arcadia, CA 91006



                      CENTENNIAL CENTER LLC
                      SIGNATURE BANK
                      PO BOX 11411
                      NEWARK, NJ 07101-4014



                      CENTENNIAL MIDDLE SCHOOL PTO
                      13808 S. 36TH STREET
                      PHOENIX, AZ 85044



                      CENTERPOINT ENERGY
                      PO BOX 4981
                      HOUSTON, TX 77210-4981



                      CENTIMARK CORPORATION
                      PO BOX 536254
                      PITTSBURGH, PA 15253-5904



                      CENTRAL CALIFORNIA SPCA
                      1477 S PROSPECT AVE
                      FRESNO, CA 93706



                      CENTRAL FILIPINO SDA CHURCH
                      777 COLORADO BLVD
                      LOS ANGELES, CA 90041



                      CENTRAL FLORIDA SWE
                      PO BOX 940903
                      MAITLAND, FL 32794



                      CENTRAL FLORIDA SWE
                      2246 HOLLY RIDGE DR
                      OCOEE, FL 34761-5628
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 392 of 2164




                      CENTRAL FLORIDA SWE
                      PO BOX 940903
                      MAITLAND
                      FL, 32794



                      CENTRAL VALLEY SDA CHURCH
                      5924 W SAN GABRIEL AVENUE
                      FRESNO, CA 93722



                      Centray Kinder
                      17192 E ADRIATIC DR
                      J205
                      AURORA, CO 80013



                      CENTROL JV LLC
                      CENTRO IA SOUTHFIELD PLAZA LLC
                      PO BOX 713451
                      CINCINNATI, OH 45271



                      CENTURION FOUNDATION
                      6949 GENESEE AVE
                      SAN DIEGO, CA 92122



                      CENTURION FOUNDATION BOYS LAX
                      5016 VIA CINTA
                      SAN DIEGO, CA 92122



                      CENTURY HIGH SCHOOL HEALTH SERVICE CLUB
                      2000 SE CENTURY BLVD
                      C/O RACHELLE CARNES
                      HILLSBORO, OR 97123



                      CENTURY LINK
                      P.O. BOX 1319
                      CHARLOTTE, NC 28201-1319



                      CENTURY LINK
                      PO BOX 96064
                      CHARLOTTE, NC 28296-0064
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 393 of 2164




                      CENTURY LINK
                      PO BOX 29040
                      PHOENIX, AZ 85038-9040



                      Cerberus ASRS Funding LLC
                      Cerberus Business Finance, LLC
                      875 Third Avenue
                      New York, New York 10022-0000



                      Cerberus ASRS Holdings LLC
                      Cerberus Business Finance, LLC
                      875 Third Avenue
                      New York, NY 10022



                      CERBERUS BUSINESS FINANCE LLC
                      875 THIRD AVE 14TH FL
                      NEW YORK, NY 10022



                      Cerberus Business Finance, LLC
                      Attention: Joseph Naccarato
                      875 Third Avenue
                      New York, NY 10022



                      Cerberus Levered Loan Opp.
                      Cerberus Business Finance, LLC
                      875 Third Avenue
                      New York, NY 10022



                      Cerberus N-1 Funding LLC
                      Cerberus Business Finance, LLC
                      875 Third Avenue
                      New York, NY 10022



                      Cerberus NJ Credit Opp. Fund L
                      Cerberus Business Finance, LLC
                      875 Third Avenue
                      New York, NY 10022
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 394 of 2164




                      Cerberus Onshore II CLO LLC
                      Cerberus Business Finance, LLC
                      875 Third Avenue
                      New York, NY 10022



                      Cerberus Onshore II CLO-2 LLC
                      Cerberus Business Finance, LLC
                      875 Third Avenue
                      New York, NY 10022



                      CERRITOS PTO
                      14620 S DESERT FOOTHILLS PARKW
                      PHOENIX, AZ 85048



                      CERRITOS PTO
                      14620 S DESERT FOOTHILLS PARKW
                      PHOENIX
                      AZ, 85048



                      Cerys Mulvey
                      12491 SKYHIGH CT
                      EL CAJON, CA 92107



                      Cesar A. Rodriguez
                      21206 FICUS DR
                      203
                      NEWHALL, CA 91321



                      Cesar Alcantar
                      2247 N. ANGUS
                      101
                      FRESNO, CA 93703



                      Cesar Alejandre
                      1208 SUNRISE MOUNTAIN DRIVE
                      ESCONDIDO, CA 92026
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 395 of 2164




                      Cesar Araujo-Aguirre
                      1730 NE DARBY ST
                      HILLSBORO, OR 97124



                      Cesar Artiga
                      6318 Shadow Tree Dr
                      Houston, TX 77035



                      Cesar Daniel Nino
                      630 FLINTRIDGE PLACE
                      ESCONDIDO, CA 92027



                      Cesar Delgado
                      970 BUNKER HILL RD
                      216
                      HOUSTON, TX 77024



                      CESAR DONIVAN
                      1515 ROBBIE JEAN PL
                      EL CAJON, CA 92019



                      Cesar Duarte
                      18420 VINCENNES
                      213
                      NORTHRIDGE, CA 91325



                      Cesar Duran
                      3225 WING ST
                      6
                      SAN DIEGO, CA 92110



                      Cesar Esqueda
                      9946 OWENSMOUTH AVE
                      12
                      CHATSWORTH, CA 91311



                      CESAR FLORES
                      1004 RANDON DYER RD
                      ROSENBERG, TX 77471
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 396 of 2164




                      Cesar Garcia




                      Cesar Garduno
                      9632 LAUREL CANYON BLVD
                      ARLETA, CA 91331



                      Cesar Herrera
                      548 BOYNTON AVE
                      24
                      SAN JOSE, CA 95117



                      Cesar Jimenez
                      180 VILLA RITA DRIVE
                      LA HABRA, CA 90631



                      Cesar Meraz
                      7412 LOWELL BLVD
                      #1
                      WESTMINSTER, CO 80030



                      Cesar Nino
                      482 W. SAN YSIDRO BLVD
                      1364
                      SAN YSIDRO, CA 92173



                      CESAR NINO
                      482 W SANYSIDRO 1364
                      SAN YSIDRO, CA 92173



                      Cesar Puertas
                      2459 COLUMBIA DR
                      35
                      CLEARWATER, FL 33763



                      Cesar Reyes Chavez
                      3560 FLORA VISTA AVE
                      230
                      SANTA CLARA, CA 95051
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 397 of 2164




                      Cesar Rodriguez
                      21206 FICUS DR
                      203
                      NEWHALL, CA 91321



                      Cesar Romero Jr
                      1410 SHERYL LN
                      NATIONAL CITY, CA 91950



                      Cesar Santiago
                      2323 SANTA RITA RD
                      30
                      PLEASANTON, CA 94566



                      Cesar SOLTERO OCHOA
                      5917 LISKA LANE
                      203
                      SAN JOSE, CA 95119



                      Ceta Grandpre
                      7705 Volion Parkway
                      Fairburn, GA 30213



                      CFCY
                      14598 VIA BERGAMO
                      SAN DIEGO, CA 92127



                      CFP FIRE PROTECTION INC
                      153 TECHNOLOGY DRIVE #200
                      IRVINE, CA 92618



                      CFS Brands / San Jamar
                      22926 Network Place
                      Chicago, IL 60673-1229



                      CFS Brands / San Jamar
                      22926 Network Place
                      Chicago
                      IL, 60673-1229
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 398 of 2164




                      CGP MAINTENANCE & CONSTRUCTION SERVICES
                      8614 SIESTA ROAD
                      SANTEE, CA 92071



                      CH BELT & BELT ASSOCIATES INC
                      20532 EL TORO ROAD SUITE 103
                      MISSION VIEJO, CA 92692



                      CH BELT & BELT ASSOCIATES INC
                      26473 RANCHO PARKWAY SOUTH
                      LAKE FOREST, CA 92630



                      CH Guenther
                      PO BOX 840441
                      DALLAS, TX 75284



                      CH GUENTHER & SONS INC
                      PO BOX 840441
                      DALLAS, TX 75284



                      Ch Guenther & Sons, Inc.
                      Po Box 840441
                      Dallas, TX 75284



                      Chad Dell
                      10215 BEECHNUT ST 1412
                      1412
                      HOUSTON, TX 77072



                      Chad Dennis
                      24861 MONTE VERDE DRIVE
                      LAGUNA NIGUEL, CA 92677



                      Chad Rice
                      1750 STOKES STREET
                      32
                      SAN JOSE, CA 95126
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 399 of 2164




                      Chadd Reel
                      800 NE TENNEY RD. STE.110
                      435
                      VANCOUVER, WA 98685



                      CHADRIC O. RICHARDSON
                      417 SOUTH BEACH WOOD DRIVE
                      BURBANK, CA 91506



                      Chadric Richardson
                      417 SOUTH BEACH WOOD DRIVE
                      BURBANK, CA 91506



                      CHALLENGE DAIRY PRODUCTS
                      3510 HANCOCK STREET
                      SAN DIEGO, CA 92110



                      CHALLENGE DAIRY PRODUCTS
                      PO BOX 742266
                      LOS ANGELES, CA 90074-2266



                      Challenge Dairy Products, Inc.
                      Po Box 742266
                      LOS ANGELES, CA 90074



                      CHALLENGE FC GILBERT
                      8910 E PLANA AVE
                      MESA, AZ 85212



                      CHALLENGER MS
                      10810 PARKDALE AVE
                      SAN DIEGO, CA 92126



                      CHAMBERS MECHANICAL INC
                      14600 E 34TH PLACE UNIT A
                      AURORA, CO 80011
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 400 of 2164




                      Chameleon Beverage Company Inc
                      6444 26Th Street
                      Commerce, CA 90040



                      Champagne Guadan
                      44462 AVENIDA HANNA
                      INDIO, CA 92201



                      Chan Nou
                      709 BIRCHWOOD LN
                      MARIETTA, GA 30060



                      Chance Hatfield
                      360 Mountcliff
                      Henderson, NV 89074



                      Chance Prater
                      4975 RENO DR.
                      SARASOTA, FL 34233



                      Chance Simi
                      4225 N 1ST AVE
                      2102
                      TUCSON, AZ 85719



                      Chanda Macedo
                      4268 HAMPSHIRE CIR
                      LAS VEGAS, NV 89121



                      Chandi Tiwari
                      1072 Luther Ave
                      #3
                      San Jose, CA 95126



                      CHANDLER SIGNS
                      1335 PARK CENTER DRIVE, UNIT C
                      VISTA, CA 92081
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 401 of 2164




                      CHANDLER SIGNS
                      CHANDLER SIGNS HOLDINGS LLC
                      3201 MANOR WAY
                      DALLAS, TX 75235



                      Chanel Garces
                      16215 LESLIE LN
                      MISSOURI CITY, TX 77489



                      Chang kim
                      1890 FARM BUREAU RD
                      #6
                      CONCORD, CA 94519



                      Chanirae Heuer
                      6018 SPANISH OAK WAY
                      SPRING, TX 77379



                      Channin Johnson
                      1002 N 26TH AVE
                      HOLLYWOOD, FL 33020



                      Chanpen Nakha
                      6411 E. RADCLIFF AVE
                      CHERRY HILLS VILLAGE, CO 80111



                      Chantal Brooks
                      12915 GRAMERCY PL
                      GARDENA, CA 90249



                      Chantal Serrano
                      17450 Horace St
                      Granada Hills, CA 91344



                      Chantania Eberhardt
                      2312 NORTH GREEN VALLEY PWKY
                      HENDERSON, NV 89014
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 402 of 2164




                      Chantelle Zapata
                      8415 FOREST HILLS DRIVE
                      201
                      CORAL SPRINGS, FL 33065



                      Chantique Cotton
                      5930 TRENT JONES WAY
                      LITHONIA, GA 30038



                      Chanze Kratz
                      13874 SE SUNNYSIDE RD.
                      CLACKAMAS, OR 97015



                      Chaojie Wang
                      34643 GREENSTONE COMMON
                      FREMONT, CA 94555



                      CHAPARRAL BOYS LACROSSE
                      11703 WHOOPING CRANE DRIVE
                      PARKER, CO 80134



                      CHAPARRAL HEAT PTO
                      CHAPARRAL ELEMENTARY
                      4849 BIRD FARM ROAD
                      CHINO HILLS, CA 91709



                      CHAPARRAL HIGH SCHOOL ED FOUND
                      27215 NICOLAS RD
                      TEMECULA, CA 92591



                      CHAPMAN APPLIANCE SERVICE INC
                      1784 SAN DIEGO AVE
                      SAN DIEGO, CA 92110



                      CHAPMAN APPLIANCE SERVICE INC
                      1784 SAN DIEGO AVE
                      SAN DIEGO
                      CA, 92110
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 403 of 2164




                      CHAPTER DV P E O
                      15844 S 12TH WAY
                      PHOENIX, AZ 85048



                      CHAPTER KB PEO HUNTINGTON BEACH CA
                      6121 HAMSHIRE DR
                      HUNTINGTON BEACH, CA 92647



                      Charito Olviga
                      6800 W Puget Ave
                      Peoria, AZ 85345



                      Charity Butler
                      2012 VILLAGE PARK DR.
                      MISSOURI CITY, TX 77489



                      Charlene Medina
                      2952 W Rowland Cricle
                      Anaheim, CA 92804



                      Charlene Morton
                      7640 S. Power Road
                      Apt. 2068
                      Gilbert, AZ 85297



                      Charlene Santos
                      4190 Altadena Ave
                      Apt#1
                      San Diego, CA 92105



                      Charles Chavez
                      North Hollywood Way
                      #202
                      Burbank, CA 91505



                      Charles Forment
                      22241 SW 88TH PATH
                      MIAMI, FL 33190
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 404 of 2164




                      Charles Galloway
                      16215 Youpon Valley Dr
                      Houston, TX 77073



                      Charles Giltrap
                      399 SW 65TH AVE
                      MARGATE, FL 33068



                      Charles Hamrick Jr
                      11031 FIRST ST
                      LEESBURG, FL 34788



                      CHARLES HELMERS PTA
                      27300 GRANDVIEW AVE
                      VALENCIA, CA 91354



                      Charles Jacques
                      2237 MCKINLEY STREET
                      HOLLYWOOD, FL 33020



                      CHARLES L GEANURACOS
                      GENERAL WELDING SERVICES
                      800 S SOUTHLAKE DRIVE
                      HOLLYWOOD, FL 33019



                      Charles McGuire
                      140 NORTH ROB WAY
                      140
                      ANAHEIM, CA 92801



                      Charles Norton
                      1572 GLACIER RD.
                      OCEANSIDE, CA 92056



                      Charles Odom
                      3505 CALLE CUERVO NW
                      412
                      ALBUQUERQUE, NM 87114
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 405 of 2164




                      charles oelke
                      6986 1/2 B FULTON STREET
                      SAN DIEGO, CA 92111



                      Charles Poderoso
                      21641 CANADA RD
                      6O
                      LAKE FOREST, CA 92630



                      Charles Prewitt
                      4805 18 ST W
                      BRADENTON, FL 34207



                      Charles Robinson
                      2674 DODSON TERR
                      ATLANTA, GA 30311



                      Charles Rogers
                      139 RENAISSANCE PARKWAY N.E
                      ATLANTA, GA 30308



                      Charles Sargent
                      7476 BOVET WAY
                      SAN DIEGO, CA 92122



                      Charles Scott
                      4519 RIVER FRONT LANE
                      S205
                      TAMPA, FL 33603



                      Charles Talley
                      16561 SOUTHWEST 31ST.
                      HOUSE
                      OCALA, FL 34473



                      Charles Taylor
                      3764 137TH AVE
                      B
                      LARGO, FL 33771
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 406 of 2164




                      CHARLES V. OELKE
                      6986 1/2 B FULTON STREET
                      SAN DIEGO, CA 92111



                      Charles Vallez
                      17855 ARDISIA COURT
                      SAN DIEGO, CA 92127



                      CHARLES W THOMAS
                      PO BOX 31149
                      PINELLAS COUNTY TAX COLLECTOR
                      TAMPA, FL 33631-3149



                      Charles Willis
                      1129 SOUTH RIDGE STREET
                      LAKE WORTH, FL 33460



                      Charlie Armijo
                      1751 BELLAMAH AVE
                      2106
                      ALBUQUERQUE, NM 87104



                      Charlie Filer
                      2789 ORTIZ AVE
                      #4
                      FORT MYERS, FL 33905



                      Charlie Kitchens
                      155 Hickory View Drive
                      Lawenceville, GA 30046



                      Charlie Washington
                      718 Stremma Rd Lot 2A
                      Largo, FL 33770



                      Charlotte Nostrand
                      2654 VISTA DIABLO CT.
                      PLEASANTON, CA 94566
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 407 of 2164




                      Charlotte Pinder
                      4214 W LAUREL
                      ST TAMPA, FL 33607



                      Charlotte Taylor
                      1535 N. HIGH ST.
                      DENVER, CO 80218



                      Charlton Burton
                      5460 CHESLEY AVE.
                      LOS ANGELES, CA 90043



                      Charly Zuniga
                      550 N. DATE ST
                      401
                      ESCONDIDO, CA 92025



                      Charme Green
                      5201 Lincoln Avenue
                      Apt 124
                      Cypress, CA 90630



                      Chartiy Ortiz
                      618 RIVER POINT DR
                      LOT22
                      TAMPA, FL 33619



                      Chase Couture
                      10468 SE 101ST AVE RD
                      BELLEVIEW, FL 34420



                      Chase Haye
                      2452 WOODCREEK RD
                      CAMARILLO, CA 93012



                      Chase Lowry
                      114 E AMBERGLOW CIRCLW
                      SPRING, TX 77381
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 408 of 2164




                      Chase Pavlich
                      6158 CARTER CT.
                      CHINO, CA 91710



                      Chase Reiser
                      13103 RAMBLEWOOD TRAIL
                      BRADENTON, FL 34211



                      Chase Wright
                      1049 S LEWISTON WAY
                      AURORA, CO 80017



                      Chasey Leitz
                      18141 E. Evans Ave.
                      Aurora, CO 80013



                      Chastin Tookes
                      250 AMAL DR
                      13003
                      ATLANTA, GA 30315



                      Chauntia Bolton
                      697 NW RUBUS LN
                      HILLSBORO, OR 97124



                      Cheese Merchants
                      1301 Schiferi Road
                      Bartlett, IL 60103



                      CHEF WORKS INC
                      12325 KERRAN ST
                      POWAY, CA 92064



                      Chef Works, Inc
                      12325 Karren St
                      Poway, IL 92064
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 409 of 2164




                      CHEFS TOYS
                      PO BOX 8445
                      FOUNTAIN VALLEY, CA 92728



                      CHEHALEM PTO
                      15555 SW DAVIS RD
                      BEAVERTON, OR 97007



                      Chelney Cameron
                      10749 Cherry Hill Dr
                      San Diego, CA 92130



                      CHELNEY CAMERON
                      401 BOYD DR #5201
                      GRAPEVINE, TX 76051



                      CHELSEA CANES
                      794 PICADOR BLVD
                      SAN DIEGO, CA 92154



                      Chelsea Ford
                      510 TRAVERSE DR.
                      COSTA MESA, CA 92626



                      Chelsea Hann
                      1728 ELM RD
                      CONCORD, CA 94519



                      CHELSEA ILEJAY
                      17601 WILLARD ST.
                      NORTHRIDGE, CA 91325



                      Chelsea larbi
                      641 POTOMAC ST APT B113
                      AURORA, CO 80011
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 410 of 2164




                      Chelsea Martin
                      7645 SW BONITA ED
                      1
                      TIGARD, OR 97224



                      Chelsea Mitch
                      145 SE 167TH CT
                      SILVER SPRINGS, FL 34488



                      Chelsey Stewart
                      8011 Lawnwood Ln
                      Houston, TX 77086



                      Chelsey Young
                      1953 20th St.
                      #d
                      Santa Monica, CA 90404



                      Chelsie Drew
                      2108 CLUB PACIFIC WAY
                      202
                      LAS VEGAS, NV 89128



                      Chelsie Johnstone
                      900 COUNTRY CLUB DR SE
                      B201
                      RIO RANCHO, NM 87124



                      CHEMXWORKS INC
                      8340 CAMINO SANTA FE
                      STE D
                      SAN DIEGO, CA 92121



                      Cherie Wright
                      13001 Brown Ave
                      San Jose, CA 95111
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 411 of 2164




                      Cherise Vasquez
                      742 CITRUS LN
                      LADY LAKE, FL 32159



                      Cheryl Byrd
                      1811 Foothill View Pl
                      Escondido, CA 92026



                      Cheryl Desanto
                      P.o Box 80173
                      Las Vegas, NV 89180



                      CHERYL R. CAPELA
                      13 SOUTH MAIN STREET
                      UNION CITY, PA 00016-4380



                      Cheryl Ruff
                      60 CHERRY COURT
                      DOUGLASVILLE, GA 30134



                      Cheryl Stefin
                      601 W 80TH ST
                      12
                      LOS ANGELES, CA 90044



                      Cherylelyn Cloud
                      1901 N JONES BLVD BUILDING I
                      2039
                      LAS VEGAS, NV 89108



                      Chester Gardner
                      601 WASHINGTON PALM LOOP
                      DAVENPORT, FL 33897



                      CHESTERTON ELEMENTARY PTA
                      7335 WHEATLEY STREET
                      SAN DIEGO, CA 92111
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 412 of 2164




                      CHET F HARRITT STEAM SCHOOL
                      8120 ARLETTE STREET
                      SANTEE, CA 92071



                      Cheyanne Mendoza
                      4610 LOS ALAMOS WAY
                      UNIT B
                      OCEANSIDE, CA 92057



                      Cheyenne Bousquet
                      38018 VALLEJO STREET
                      FREMONT, CA 94539



                      Cheyenne Mackenzie
                      7540 SE WEBSTER LN
                      MILWAUKIE, OR 97267



                      Cheyenne McElvain
                      1470 WALNUT GROVE AVENUE
                      SAN JOSE, CA 95126



                      Cheyenne Michilot
                      116 N ATLANTIC BLVD
                      #A
                      ALHAMBRA, CA 91801



                      CHEYENNE MILLSAP
                      17513 VACAS CIRCLE
                      FOUNTAIN VALLEY, CA 92708



                      Cheyenne Morgan
                      4146 GROVE PARK LANE
                      BOYNTON, FL 33436



                      Cheyenne Pater
                      11172 Vista Sorrento Pkwy
                      Apt. F300
                      San Diego, CA 92130
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 413 of 2164




                      Cheyenne Ruiz
                      420 67TH STREET SW
                      ALBUQUERQUE, NM 87121



                      Cheyenne West
                      2916 BEL AIR CT. NE
                      ALBUQUERQUE, NM 87110



                      CHI RO ENTERPRISES INC
                      1727 E SPRINGFIELD AVE
                      SPOKANE, WA 99202-3849



                      Chicago Metallic Bakeware
                      6637 Reliable Pkwy
                      Chicago, IL 60686



                      Chie Okuno
                      29859 BERKSHIRE PL
                      CASTAIC, CA 91384



                      Chikila Dixon
                      5690 Graceland Court
                      Powder Springs, GA 30127



                      CHILL MASTERS INC
                      PO BOX 41025
                      MESA, AZ 85274



                      CHILL TECH REFRIGERATION LLC
                      2010 E UNIVERSITY DR #10
                      TEMPE, AZ 85281



                      Chin Lai
                      4021 ALTA CT
                      PLEASANTON, CA 94588
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 414 of 2164




                      CHINA DINNER LIMITED PARTNERSH
                      511 EAST JOHN CARPENTER FRWY S
                      C/O WINDSTAR DEVELOPMENT CORP
                      IRVING, TX 75062



                      Ching Almogue
                      1240 Yale St
                      #104
                      Santa Monica, CA 90404



                      Chiquita Murdock
                      1010 THE POINTE DR
                      1010
                      PALM BEACH, FL 33409



                      Chiseley Bien Aime Dorce
                      5617 PRISCILLA LN
                      LAKE WORTH, FL 33463



                      Chistopher Brewer
                      14085 SW 100TH AVE
                      TIGARD, OR 97224



                      CHLOE B DAW
                      6800 N STONECREST CT
                      PEORIA, IL 61615



                      Chloe Bowyer
                      4834 Bernal Ave
                      #b
                      Pleasanton, CA 94566



                      Chloe Evans
                      2301 NE 81ST ST
                      E44
                      VANCOUVER, WA 98665
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 415 of 2164




                      Chloe Miller
                      4884 Cardinal Trl
                      Palm Harbor, FL 34683



                      Chloe Peters
                      13009 Ne 38th St
                      Vancouver, WA 98682



                      Chloe Phelps
                      38138 Tranquila Ave
                      Murrieta, CA 92563



                      Chloe Piegat
                      11836 WEST CROSS DRIVE
                      LITTLETON, CO 80127



                      Chloe Washburn
                      5965 CASTLETON DR
                      SAN DIEGO, CA 92117



                      Choute Mecimus
                      30 NW 10TH COURT
                      APT 7
                      DANIE BEACH, FL 33004



                      Chris Boyle
                      7480 DAKIN STREET
                      H308
                      DENVER, CO 80220



                      CHRIS CAMEZ
                      12042 SYLVAN RD
                      FOUNTAIN VALLEY, CA 92708



                      Chris Chester
                      413 Arbor Pl Ne
                      Albuquerque, NM 87107
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 416 of 2164




                      Chris Dilemme
                      631 Ashberry Lane
                      Altamonte Springs, FL 32714



                      Chris Gayles
                      37101 CASA VERDE DR
                      PALMDALE, CA 93550



                      Chris Gunnoe
                      717 PATTERSON STREET
                      CLEARWATER, FL 33756



                      Chris Hernandez
                      1796 JULIE CIR
                      SIMI VALLEY, CA 93065



                      Chris John Ekman
                      1136 Huntington Dr
                      Apt B
                      South Pasadena, CA 91030



                      CHRIS MANDRELL




                      CHRIS MICHAEL AVILA
                      PO BOX 2191
                      MISSION VIEJO, CA 92690



                      Chris Okimoto
                      2368 Nw 17th Ave
                      Camas, WA 98607



                      CHRIS PASCENTE
                      14 WINTHROP COURT
                      DOWNERS GROVE, IL 60516
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 417 of 2164




                      Chris Patousias
                      1941 DOVE LANE
                      305
                      CARLSBAD, CA 92009



                      Chris Rivero
                      5418 SE Henderson St
                      Portland, OR 97206



                      Chris Romo
                      6278 S. Niagara Ct.
                      Centennial, CO 80111



                      CHRIS ROMO
                      6278 S. NIAGARA CT
                      CENTENNIAL, CO 80111



                      CHRIS ROMO
                      6278 S. NIAGARA CT
                      CENTENNIAL
                      CO, 80111



                      CHRIS SCOTT
                      2592 HOLLISTER ST
                      SIMI VALLEY, CA 93065



                      CHRIS TARBUSH
                      81 STROUD DR
                      MABLETON, GA 30126



                      chris Yi
                      3727 PEACOCK
                      COURT 1
                      SANTA CLARA, CA 95051



                      Chrislyn Streebel
                      707 AGUACATE LOOP
                      SANTA PAULA, CA 93060
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 418 of 2164




                      Chrismay David
                      300 NW 34TH STREET
                      202
                      POMPANO BEACH, FL 33064



                      Chrismide Aine
                      5909 Triphammer Rd
                      Lake Worth, FL 33463



                      Chrisnel Gressier
                      10922 Royal Palm Blvd
                      Coral Springs, FL 33065



                      CHRIST CHURCH PRESCHOOL
                      10021 W SAMPLE ROAD
                      CORAL SPRINGS, FL 33065



                      CHRIST LUTHERAN CHURCH AND SCHOOL
                      820 W IMPERIAL HWY
                      BREA, CA 92821



                      CHRIST THE CORNERSTONE
                      9028 WESTMORE ROAD
                      SAN DIEGO, CA 92126



                      CHRISTA MCAULIFFE ELEMENTARY SCHOOL
                      3701 KELTON DRIVE
                      OCEANSIDE, CA 92056



                      Christal Jackson
                      9781 PYRAMID CT
                      2-107
                      ENGLEWOOD, CO 80112



                      Christal Stanley
                      501 Roberts Dr
                      Apt 26
                      Riverdale, GA 30274
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 419 of 2164




                      Christanae Johnson
                      11801 Washington St.
                      A 408
                      Northglenn, CO 80233



                      Christelle Lessang
                      1573 OAK DR
                      FORT MYERS, FL 33907



                      CHRISTEN CINARDI
                      2073 INGEMUNSON LN
                      YORKVILLE, IL 60560



                      Christi Priewe
                      9411 E Placita Eunice
                      Tucson, AZ 85715



                      CHRISTI PRIEWE
                      9411 PLACITA EUNICE
                      TUCSON, AZ 85715



                      Christian Alfaro
                      261 Milwaukee Ave
                      #301
                      Dunedin, FL 34698



                      Christian Alvarado Rodriguez
                      5038 S. Hardy Dr.
                      #1119
                      TEMPE, AZ 85282



                      Christian Ambriz
                      83092 BROADMOOR DR
                      INDIO, CA 92203



                      Christian Araiza
                      3936 YOSEMITE WAY
                      LOS ANGELES, CA 90065
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 420 of 2164




                      Christian Baigorria
                      8500 NW 46TH DRIVE
                      CORAL SPRINGS, FL 33067



                      Christian Baker
                      5403 E. Daggett St
                      Long Beach, CA 90815



                      Christian Barbero
                      3241 CURTIS CIRCLE
                      PLEASANTON, CA 94588



                      Christian Bolanos
                      15928 ELLINGTON WAY
                      CHINO HILLS, CA 91709



                      Christian Buted
                      18258 CAPITOL REEF CT
                      FOUNTAIN VALLEY, CA 92708



                      Christian Calzada
                      544 SONOMA COURT.
                      ONTARIO, CA 91762



                      Christian cassio
                      10200 PARK MEADOWS DRIVE
                      3221
                      LONE TREE, CO 80124



                      Christian Colon
                      6348 FORECASTLE CT
                      ORLANDO, FL 32807



                      CHRISTIAN CREATIVE LEARNING AC
                      2920 MAIN STREET
                      LEMON GROVE, CA 91945
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 421 of 2164




                      Christian Cubas-Rivera
                      215 NW 57TH STREET
                      FT. LAUDERDALE, FL 33309



                      Christian Diazleal
                      1033 SAPPHIRE LANE
                      CORONA, CA 92882



                      Christian E. Gierhart




                      Christian E. Konen
                      5119 Forest Terrace Dr.
                      Spring, TX 77373



                      Christian Espinoza
                      25 ALEXANDRIA
                      IRVINE, CA 92614



                      Christian Fernandez Bernia
                      10927 ABIGAIL ST
                      ORLANDO, FL 32825



                      Christian Flores
                      10051 W 59TH PL
                      ARVADA, CO 80004



                      Christian Gonzales
                      9975 HEMLOCK STREET
                      RANCHO CUCAMONGA, CA 91730



                      Christian Gonzalez
                      12661 Loure Street
                      Pacoima, CA 91331
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 422 of 2164




                      Christian Hampton
                      2120 S STATE COLLEGE BLVD
                      2050
                      ANAHEIM, CA 92806



                      Christian Hartshorn
                      30888 Green Branch
                      Menifee, CA 92584



                      Christian Hernandez
                      23525 NORMANDIE AVE
                      HARBOR CITY, CA 90710



                      Christian Horton
                      2455 REGAL DRIVE
                      UNION CITY, CA 94587



                      Christian Jimenez
                      2658 1/2 W AVE 32
                      LOS ANGELES, CA 90065



                      Christian Konen
                      5119 Forest Terrace Dr.
                      Spring, TX 77373



                      Christian Lopez
                      681 MAGNOLIA AVENUE
                      APT. B
                      CARLSBAD, CA 92008



                      Christian lorenz
                      2700 W 104TH AVE
                      2117
                      DENVER, CO 80234



                      Christian Madrigal
                      4101 EGGERS DR
                      2
                      FREMONT, CA 94536
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 423 of 2164




                      Christian Martinez
                      6880 GYPSUM CREEK DR
                      EASTVALE, CA 92880



                      Christian Mathews
                      1535 APACHE DR
                      #D
                      CHULA VISTA, CA 91910



                      Christian Mccloud
                      4706 PINEBROOK LN
                      HOUSTON, TX 77053



                      Christian Medeiros
                      8636 E. CRESCENT AVE
                      MESA, AZ 85208



                      Christian Medina
                      200 GRAPEVINE
                      41
                      VISTA, CA 92083



                      Christian Melchor
                      4508 A PENNY AVE
                      SANTA ANA, CA 92704



                      Christian Mendoza
                      115 SPANISH OAK LN
                      APOPKA, FL 32703



                      Christian Monzon
                      12652 ADAMS ST.
                      GARDEN GROVE, CA 92845



                      Christian Ornelas
                      1636 W SAN LUIS BLVD
                      TUCSON, AZ 85713
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 424 of 2164




                      Christian owens
                      789 DUVALL STREET CAMRILLO
                      CAMARILLO, CA 93010



                      Christian Palaguachi
                      1428 NORTHRIDGE DRIVE
                      LONGWOOD, FL 32750



                      Christian Perales
                      1451 2nd St.
                      Simi Valley, CA 93065



                      Christian Perkins
                      2845 Sw 4th St
                      Fort Lauderdale, FL 33312



                      Christian Pimentel
                      41424 NOYES CT.
                      INDIO, CA 92203



                      Christian Pumpelly
                      23034 SW LODGEPOLE AVENUE
                      TUALATIN, OR 97062



                      Christian Punzalan
                      10950 CHURCH ST.
                      4215
                      RANCHO CUCAMONGA, CA 91730



                      Christian Rodriguez
                      5156 BUCKWHEAT ST.
                      CHINO HILLS, CA 91709



                      Christian Sanchez
                      1403 LORENA DR
                      OXNARD, CA 93030
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 425 of 2164




                      Christian Sarmiento
                      3751 S ATHERTON BLVD
                      GILBERT, AZ 85297



                      Christian Smith
                      6130 CEDAR WOODS DRIVE
                      COLLEGE PARK, GA 30349



                      Christian Snow
                      16950 JASMINE ST
                      287
                      VICTORVILLE, CA 92395



                      Christian Torres
                      1875 Olivia Circle
                      Apopka, FL 32703



                      Christian Torres
                      4024 Menlo Ave
                      San Diego, CA 92105



                      Christian Vazquez
                      2036 PALM TERRACE AVE
                      #C
                      SARASOTA, FL 34231



                      CHRISTIAN VIGILANCE CHURCH
                      11350 LITTLE DIPPER ST
                      MIRA LOMA, CA 91752



                      CHRISTIAN VIGILANCE CHURCH
                      11350 LITTLE DIPPER ST
                      MIRA LOMA
                      CA, 91752



                      Christian Villegas
                      4777 E Norwich Ave.
                      Fresno, CA 93726
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 426 of 2164




                      Christian Watt
                      7 Cayman Brac
                      Aliso Viejo, CA 92656



                      Christina Alfaro
                      9595 PECOS ST 401
                      THORNTON, CO 80260



                      CHRISTINA AUGUSTINE
                      4563 TRAILS DR
                      SARASOTA, FL 34232



                      Christina Carrasco
                      3716 E KINGS AVE
                      PHIENIX, AZ 85032



                      Christina Carroll
                      3727 Country Club Dr
                      #04
                      Long Beach, CA 90807



                      Christina Centino
                      7675 MADRONA AVE
                      FONTANA, CA 92336



                      Christina Fortin
                      10112 Ashwood Street
                      Apt #57
                      Lakeside, CA 92040



                      Christina Fradley
                      23188 MCNAMEE AVE.
                      PORT CHARLOTTE, FL 33980



                      Christina Gillis
                      1303 CONSTITUTION ROAD
                      ATLANTA, GA 30316
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 427 of 2164




                      Christina Hilley
                      11282 ACRUX DR
                      SAN DIEGO, CA 92126



                      Christina Jones
                      6451 CALGARY WOODS LANE
                      KATY, TX 77494



                      CHRISTINA L FRADLEY
                      23188 MCNAMEE AVE
                      PORT CHARLOTTE, FL 33980



                      Christina Lopez
                      4236 50 St
                      Apt 6
                      San Diego, CA 92115



                      CHRISTINA LYNCH
                      580 CARLISLE AVE
                      ALTAMONTE SPRINGS, FL 32714



                      Christina M. Schwartz
                      3280 SW 170TH AVE
                      1006
                      BEAVERTON, OR 97003



                      Christina Marquez Zamora
                      4057 BAYWOOD ST
                      LOS ANGELES, CA 90039



                      Christina Martinez
                      1401 W. 85TH AVE. D207
                      FEDERAL HEIGHTS, CO 80260



                      Christina Pitt
                      2987 lakeside commons dr
                      apt 205
                      Tampa, FL 33613
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 428 of 2164




                      Christina Rivera
                      519 East Ave k8
                      lancaster, CA 93535



                      Christina Rodriguez
                      1335 N. FRESNO
                      #B
                      FRESNO, CA 93703



                      Christina Sanchez
                      5038 gundry ave
                      Long Beach, CA 90807



                      Christina Sands
                      3103 s bristol #291
                      santa ana, CA 92704



                      Christina Schwartz
                      3280 SW 170TH AVE
                      1006
                      BEAVERTON, OR 97003



                      Christina Stubbs
                      5025 SW MENLO DRIVE
                      6
                      BEAVERTON, OR 97005



                      Christina Teissedre
                      10478 114TH TERR N
                      LARGO, FL 33773



                      Christina Torres
                      1875 OLIVIA CIRCLE
                      APOPKA, FL 32703



                      CHRISTINA VALVANO
                      1255 NW 102 WAY
                      CORAL SPRINGS, FL 33071
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 429 of 2164




                      CHRISTINA VAZQUEZ JUAREZ
                      444 ANITA ST #117
                      CHULA VISTA, CA 91911



                      Christine caetano
                      165 SYCAMORE ST
                      FREMONT, CA 94536



                      Christine Carver
                      10334 Santa Gertrudes
                      #12a
                      Whittier, CA 90603



                      Christine Davis
                      1461 BRYAN AVE
                      TUSTIN, CA 92780



                      CHRISTINE FLORO
                      505 N LAKESHORE DR
                      CHICAGO, IL 60611



                      Christine Glaude
                      4830 Nw 19th St
                      Fort Lauderdale, FL 33313



                      Christine Henry
                      11780 SE 140TH TER
                      OCKLAWAHA, FL 32179



                      Christine Jocelyn
                      1721 GRANDE POINTE BLVD
                      105
                      ORLANDO, FL 32839



                      Christine M. Carver
                      10334 Santa Gertrudes
                      #12a
                      Whittier, CA 90603
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 430 of 2164




                      Christine Manalili
                      20041 Osterman Road
                      # J1
                      Lake Forest, CA 92630



                      Christine Nelson
                      234 STRANAHAN CIRCLE
                      CLAYTON, CA 94517



                      CHRISTINE PHARO
                      PO BOX 917
                      MONTE RIO, CA 95462



                      Christine Smead
                      33691 CALLE MIRAMAR
                      SAN JUAN CAPISTRANO, CA 92675



                      Christine Tam
                      3775 Esmerald Bay Circle
                      LAS VEGAS, NV 89147



                      Christine Triffet
                      617 N MAIN AVE
                      FALLBROOK, CA 92028



                      CHRISTIS ADVANCED DANCE
                      1691 PICKET FENCE DR
                      CHULA VISTA, CA 91915



                      Christofer Lopez
                      3235 MOWRY AVENUE
                      FREMONT, CA 94538



                      Christoff Lerczak
                      6324 Lorca Dr
                      San Diego, CA 92115
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 431 of 2164




                      Christopher A. Flores
                      2140 E DANBURY RD
                      PHOENIX, AZ 85022



                      Christopher Andio
                      543 27TH STREET
                      WEST PALM BEACH, FL 33407



                      Christopher Andrade
                      3023 SAN IGNACIO DR
                      EL MONTE, CA 91732



                      Christopher Bennett
                      7712 122ND AVE E
                      PARRISH, FL 34219



                      Christopher Boyle
                      4519 EAST DESERT WIND DRIVE
                      PHOENIX, AZ 85044



                      CHRISTOPHER C. CASTILLO VALADEZ
                      23685 BLUE FIN CV
                      LAGUNA NIGUEL, CA 92677



                      Christopher Camacho
                      6392 ACACIA AVE
                      GARDEN GROVE, CA 92845



                      Christopher Campbell
                      1632 E PINE AVE
                      FRESNO, CA 93728



                      Christopher Carranza
                      931 WILLOW AVE.
                      LA PUENTE, CA 91746
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 432 of 2164




                      Christopher Castaneda
                      18842 Ballinger St
                      Northridge, CA 91324



                      Christopher Castillo
                      44531 Tabler St
                      Lancaster, CA 93535



                      Christopher Castillo Valadez
                      23685 BLUE FIN CV
                      LAGUNA NIGUEL, CA 92677



                      Christopher Castro
                      823 40th st
                      San Diego, CA 92102



                      Christopher Catura
                      462 MARSHALL AVE
                      NA
                      SAN JOSE, CA 95125



                      Christopher Cortez
                      17638 Bromley St
                      Encino, CA 91316



                      Christopher Cuadra
                      2574 CAMINITO AVELLANO
                      SAN DIEGO, CA 92154



                      Christopher Dawson
                      1823 CLEMSON STREET
                      SAN BERNARDINO, CA 92407



                      Christopher Dominguez
                      1549 LEXINGTON CT.
                      CAMARILLO, CA 93010
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 433 of 2164




                      Christopher Encinias
                      3326 WYOMING BLVD NE
                      306
                      ALBUQUERQUE, NM 87111



                      Christopher Faison
                      1265 JASMINE LAKE DRIVE
                      TARPON SPRINGS, FL 34689



                      Christopher Figueroa
                      9183 E OXFORD DR
                      DENVER, CO 80237



                      Christopher Flores
                      2140 E DANBURY RD
                      PHOENIX, AZ 85022



                      Christopher Glass
                      14728 Avenida de Palma
                      Winter Garden, FL 34787



                      christopher gomez
                      224 E CLIFTON AVE
                      #4
                      ANAHEIM, CA 92805



                      Christopher Gray
                      3612 ARMSTRONG ST
                      SAN DIEGO, CA 92111



                      Christopher Grober
                      2865 W 12TH LANE
                      YUMA, AZ 85364



                      Christopher Gutierrez
                      14831 KITTRIDGE ST.
                      VAN NUYS, CA 91405
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 434 of 2164




                      Christopher Gutierrez
                      3852 Truckee Way
                      Aurora, CO 80013



                      Christopher Hankston
                      9700 COURT GLEN DR
                      HOUSTON, TX 77099



                      Christopher Hernandez
                      1651 S Juniper St
                      #72
                      Escondido, CA 92025



                      Christopher Hill
                      115 Munsing Ridge
                      Granby, MA 01033



                      Christopher Jenkins
                      1847 GRANADA DR
                      CONCORD, CA 94519



                      CHRISTOPHER JORDAN
                      5354 PARK PLACE CIRCLE
                      BOCA RATON, FL 33486



                      Christopher Kanter
                      7217 TINDARI PL
                      RANCHO CUCAMONGA, CA 91701



                      Christopher Kendrick
                      13001 CENTRAL
                      ALBUQUERQUE, NM 87123



                      Christopher Latscha
                      152 TALLEY DRIVE
                      PALM HARBOR, FL 34684
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 435 of 2164




                      Christopher Lee
                      22712 WHITE FIR LANE
                      DIAMOND BAR, CA 91765



                      Christopher Lee
                      2730 MARIGNY DR
                      HOUSTON, TX 77014



                      Christopher Lemon
                      619 LIVENGOOD DR.
                      LAS VEGAS, NV 89123



                      Christopher Loreno
                      11948 LOWER AZUSA RD
                      EL MONTE, CA 91732



                      Christopher Maciel
                      19367 SIDANI LANE
                      SAUGUS, CA 91350



                      Christopher Massey
                      665 TEMPE CT
                      5
                      PLEASANT HILL, CA 94523



                      Christopher Mcleod
                      16 WALNUT ROAD
                      UNIT 3
                      OCALA, FL 34480



                      Christopher Menjivar-vasquez
                      2251 S Memphis St
                      Aurora, CO 80013



                      Christopher Mickus
                      200 W BUTLER AV
                      UNIT 7
                      AMBLER, PA 19002
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 436 of 2164




                      Christopher Mil
                      17860 Sw Shaw St
                      Beaverton, OR 97007



                      Christopher Miree
                      100 CASTOR DRIVE
                      G9
                      NORCROSS, GA 30071



                      Christopher Morrison
                      210 Weatherstone Pointe Dr
                      Woodstock, GA 30188



                      Christopher Mosley
                      2626 S. BROMPTON DR.
                      PEARLAND, TX 77584



                      Christopher Nutt
                      29038 Perth Circle
                      Houston, TX 77043



                      Christopher OFarrell
                      1303 N CATALPA AVE
                      ANAHEIM, CA 92801



                      Christopher Ortega
                      25816 VIA LOMAS
                      62
                      LAGUNA HILLS, CA 92653



                      Christopher Ortel
                      P.O. BOX 5000
                      PMB 80
                      Rancho Santa Fe, CA 92067



                      Christopher Ortiz-Gonzalez
                      4021 BETA ST.
                      SAN DIEGO, CA 92113
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 437 of 2164




                      Christopher P. Faison
                      1265 JASMINE LAKE DRIVE
                      TARPON SPRINGS, FL 34689



                      Christopher Parra
                      7257 MIDDLEBURY WAY
                      SAN JOSE, CA 95139



                      Christopher Pinon - Acosta
                      1024 CHASE COMMON DR
                      1024
                      NORCROSS, GA 30071



                      Christopher Reineck
                      341 LA AMATISTA ROAD
                      DEL MAR, CA 92014



                      Christopher Richardson
                      6830 CHAMPION PLAZA DR
                      911
                      HOUSTON, TX 77069



                      Christopher Rivera
                      5184 MILLENIA BLVD
                      APT 108
                      ORLANDO, FL 32839



                      Christopher Rivera
                      4515 THIRD ST.
                      17
                      LA MESA, CA 91941



                      Christopher Rodriguez
                      360 24TH ST NW
                      1037
                      WINTER HAVEN, FL 33880
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 438 of 2164




                      Christopher Rowton
                      1296 S OWL DR
                      GILBERT, AZ 85296



                      Christopher Ruiz
                      9435 DELEGATES DR
                      142
                      ORLANDO, FL 32809



                      Christopher Santoyo
                      1000 TEAKWOOD ST
                      OXNARD, CA 93033



                      Christopher Serra
                      14763 RYON AVE
                      BELLFLOWER, CA 90706



                      Christopher Silva
                      19800 SW 180 AVE
                      246
                      MIAMI, FL 33187



                      Christopher Smart
                      13820 S. 44TH STREET
                      1047
                      PHOENIX, AZ 85044



                      Christopher Sonesen
                      18000 SOUTHWEST SHAW STREET
                      14
                      BEAVERTON, OR 97078



                      Christopher Tarbush
                      20 King George CT
                      Dallas, GA 30157
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 439 of 2164




                      Christopher taylor
                      7460 DAKIN ST
                      G-105
                      DENVER, CO 80221



                      Christopher Thai
                      17 Amargosa
                      Irvine, CA 92602



                      Christopher Thorn
                      17397 Georgia Rd
                      Fort Myers, FL 33967



                      Christopher Thornton
                      1007 PAYETTE AVE
                      SUNNYVALE, CA 94087



                      Christopher Urtiaga
                      8836 AUTUMNHILL DR
                      RANCHO CUCAMONGA, CA 91730



                      Christopher Veloz
                      1448 HAMPTON DR
                      SUNNYVALE, CA 94087



                      Christopher Veronesi
                      9026 Breland Drive
                      Tampa, FL 33626



                      Christopher Villalobos
                      2019 THONIG RD
                      HOUSTON, TX 77055



                      Christopher Voytek
                      47 E CRYSTAL CIRCLE
                      SPRING, TX 77389
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 440 of 2164




                      Christopher Ward
                      12782 TORREY BLUFF DR
                      98
                      SAN DIEGO, CA 92130



                      Christopher Welker
                      2706 GRANT STREET
                      HOLLYWOOD, FL 33020



                      CHRISTOPHER WILLIAM DEPIERRE
                      465 WATTS RD
                      HIRAM, GA 30141



                      Christopher Williams
                      1975 WEST BAY DRIVE
                      506
                      LARGO, FL 33770



                      Christopher Williams
                      2201 S. PACIFIC AVE
                      319
                      SANTA ANA, CA 92704



                      Christopher Wright
                      17071 Burton St
                      Lake Balboa, CA 91406



                      Christy Forbes
                      7901 E. Belleview Ave.
                      #470
                      Englewood, CO 80111



                      Christy Glover
                      10403 Crescent Moon
                      Houston, TX 77064
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 441 of 2164




                      Chrystal Guzman
                      300 CARPENTER DR
                      C2
                      ATLANTA, GA 30328



                      CHS BAND BOOSTERS
                      6201 S PIERCE ST
                      LITTLETON, CO 80123



                      CHS BASEBALL BOOSTER ASSOC IN
                      PO BOX 1824
                      CANYON COUNTRY, CA 91386



                      CHS FOUNDATION GIRLS SOCCER
                      4150 UTE DRIVE
                      SAN DIEGO, CA 92117



                      CHS SPEECH AND DEBATE BOOSTERS
                      2352 HOSP WAY 346
                      CARLSBAD, CA 92008



                      CHUBB & SON
                      A DIVISION OF FEDERAL INS CO
                      PO BOX 7247 - 7345
                      PHILADELPHIA, PA 19170-7345



                      CHURCH OF THE PAINTED HILLS
                      3295 W SPEEDWAY
                      C/O EVERY DOLLAR FEEDS KIDS
                      TUCSON, AZ 85745



                      CHURCH ON THE DRIVE
                      1914 EDGEWATER DR
                      ORLANDO, FL 32804



                      CHURCHILL MANUFACTURING LLC
                      2076 SUNNYDALE BLVD
                      CLEARWATER, FL 33765
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 442 of 2164




                      Chyna Germany
                      2338 N GREEN VALLEY PKWY
                      121
                      HENDERSON, NV 89014



                      Chyna Johnson
                      17151 Staedler St
                      Fountain Valley, CA 92708



                      Chynna Padilla
                      3310 S Oak St
                      Tempe, AZ 85282



                      Cianna Robles
                      14199 EAST DICKENSON DRIVE
                      C
                      AROURA, CO 80014



                      Ciara Evans
                      5440 N BRAESWOOD BLVD
                      931
                      HOUSTON, TX 77096



                      Ciara Smith
                      2511 E Shannon St
                      Gilbert, AZ 85295



                      Ciarra Kenison
                      12405 MANGAS TRAIL NE
                      ALBUQUERQUE, NM 87111



                      Ciarra Rose
                      8551 SW AVON ST
                      TIGARD, OR 97224



                      CIBOLA HS VOLLEYBALL
                      1510 ELLISON DR NW
                      ALBUQUERQUE, NM 87114
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 443 of 2164




                      Cicily Rambo
                      858 MONROE HARBOR PLACE
                      SANFORD, FL 32773



                      CIENNA DHEILLY
                      451 DUNSMORE COURT
                      ENCINITAS, CA 92024



                      Cieonna Howard
                      8666 Friant Street
                      San Diego, CA 92126



                      Ciera Kate Kamai-Desamito
                      12102 TAMBOURINE DR
                      STAFFORD, TX 77477



                      Ciera Sims
                      9837 ESTACIA CT
                      RANCHO CUCAMONGA, CA 91730



                      Ciera Smith
                      31319 THE OLD ROAD
                      #G
                      CASTAIC, CA 91384



                      Cierra Amaya
                      9830 DALE AVE
                      69
                      SPRING VALLEY, CA 91977



                      Cierria Bradford
                      8974 158TH PL
                      SUMMERFIELD, FL 34491



                      CIGNA HEALTH AND LIFE INSURANCE COMAPNY
                      900 COTTAGE GROVE ROAD
                      HARTFORD, CT 06152
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 444 of 2164




                      Cilvett Harris
                      10431 MACKENZIE ST.
                      HOUSTON, TX 77086



                      Cindy Dolores
                      26 HARBOR DR
                      BAY POINT, CA 94565



                      Cindy Gonzalez
                      920 Walnut Cove
                      Colton, CA 92324



                      CINDY HUTCHINSON
                      4829 BOOKELIA CIRCLE
                      BRADENTON, FL 34203



                      Cindy Recinos
                      9816 San Antonio Ave
                      South Gate, CA 90280



                      Cindy Rincon
                      23610 NEWHALL AVE
                      UNIT 106
                      SANTA CLARITA, CA 91321



                      Cindy Rodriguez
                      15455 NE 6 AVE
                      C411
                      NORTH MIAMI BEACH, FL 33162



                      Cindy-thao Nguyen
                      10322 Calle Madero
                      Fountain Valley, CA 92708



                      CINTAS CORPORATION NO 2
                      PO BOX 631025
                      CINCINNATI, OH 45263-1025
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 445 of 2164




                      CINTAS CORPORATION NO2
                      4601 CREEKSTONE DRIVE STE 200
                      DURHAM, NC 27703



                      CINTAS FIRST AID & SAFETY
                      1825 WEST PARKSIDE LANE
                      PHOENIX, AZ 85027



                      CINTAS FIRST AID & SAFETY
                      PO BOX 636525
                      CINCINNATI, OH 45263-6525



                      CINTHIA HEVER
                      416 FIREFLY ROAD
                      HOLLY SPRINGS, NC 27540



                      cinthia moreno
                      2060 W 76TH AVENUE
                      2006
                      DENVER, CO 80221



                      Cinthya Balderas
                      1805 PLAO ALTO CIR.
                      LAS VEGAS, NV 89108



                      Cinthya Castro
                      6904 CONCORD DR
                      #C
                      TAMPA, FL 33614



                      Cinthya Villanueva Ruiz
                      3660 W 88TH AVE
                      WESTMINSTER, CO 80031



                      CIPCF
                      5178 MOWRY AVE., #2120
                      FREMONT, CA 94538
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 446 of 2164




                      CIPCF
                      5178 MOWRY AVE., #2120
                      FREMONT
                      CA, 94538



                      CIRCLE PRESCHOOL
                      500 FARRAGUT CIRCLE
                      CIRCLE PRESCHOOL
                      EL CAJON, CA 92020



                      Cirenio Acosta
                      3549 RAQUEL DR
                      OCEANSIDE, CA 92055



                      Ciro Sanchez
                      3256 DREW ST
                      LOS ANGELES, CA 90065



                      CITICASTERS CO INC
                      FILE # 56107
                      LOS ANGELES, CA 90074-6107



                      Citlali Linares
                      COLONIA DE LOS CEDROS B-52
                      620
                      LOS ANGELES, CA 90022



                      Citlalli Avilez
                      625 K St Apt C
                      SAN DIEGO, CA 91911



                      Citlalli Mercado
                      79550 Fred Waring Dr
                      Bermuda Dunes, CA 92203



                      Citlalli Ortiz Chavez
                      6163 linden ave
                      apt #1
                      Long Beach, CA 90805
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 447 of 2164




                      CITY AND COUNTY OF DENVER
                      14800 FRYE ROAD
                      LOCKBOX #174401, TX1-0029
                      FORT WORTH, TX 00076-1550



                      CITY OF ALBUQUERQUE
                      PO BOX 25700
                      ALBUQUERQUE, NM 87125



                      CITY OF ALBUQUERQUE
                      PO BOX 27780
                      ALBUQUERQUE, NM 87125



                      CITY OF ALHAMBRA
                      FINANCE DEPARTMENT
                      111 SOUTH FIRST STREET
                      ALHAMBRA, CA 91801



                      CITY OF ALHAMBRA
                      DIRECTOR OF FINANCE
                      111 SOUTH FIRST STREET
                      ALHAMBRA, CA 91802



                      CITY OF ALHAMBRA UTILITIES DIVISION
                      PO BOX 6304
                      ALHAMBRA, CA 91801



                      CITY OF ALPHARETTA
                      PO BOX 349
                      ALPHARETTA, GA 30009-0349



                      CITY OF ALPHARETTA
                      2 PARK PLAZA
                      FALSE ALARM PAYMENT
                      ALPHARETTA, GA 30009
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 448 of 2164




                      CITY OF ALPHARETTA
                      FINANCE DEPARTMENT - TAX
                      PO BOX 117022
                      ATLANTA, GA 30368-7022



                      CITY OF ALTAMONTE SPRINGS
                      225 NEWBURYPORT AVE
                      ALTAMONTE SPRINGS, FL 32701



                      CITY OF ARCADIA
                      ARCAIDA CITY HALL
                      240 W HUNTINGTON DR
                      ARCAIDA, CA 91007



                      CITY OF ARCADIA
                      240 WEST HUNTINGTON DRIVE
                      ARCADIA, CA 91066



                      CITY OF ARCADIA PUBLIC WORKS DEPARTMENT
                      11800 GOLDRING ROAD
                      ARCADIA, CA 91066-6021



                      CITY OF ASHLAND OPT LICENS FEE
                      DIV OF OCCUPATIONAL LICENSEFEE
                      P.O. BOX 1839
                      ASHLAND, KY 41105-1839



                      CITY OF ATLANTA
                      PO BOX 105275
                      ATLANTA, GA 30348-5275



                      CITY OF AUBURN AL
                      144 TICHENOR AVENUE
                      SUITE 6
                      AUBURN, AL 00036-8300
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 449 of 2164




                      CITY OF AURORA
                      LICENSING OFFICE - 1ST FLOOR
                      15151 E ALAMEDA PKY #1100
                      AURORA, CO 80012



                      CITY OF AURORA
                      REVENUE & COLLECTIONS DIVISION
                      44 E DOWNER PL
                      AURORA, IL 60507-2067



                      CITY OF AURORA
                      TAX AND LICENSING DIVISION
                      PO BOX 33001
                      AURORA, CO 80041-3001



                      CITY OF AURORA
                      PO BOX 913200
                      DENVER, CO 80291-3200



                      CITY OF BATTLE CREEK
                      PO BOX 1657
                      BATTLE CREEK, MI 49016-1657



                      CITY OF BEAVERTON
                      PO BOX 3188
                      PORTLAND, OR 97208-3188



                      CITY OF BEAVERTON
                      PO BOX 4755
                      ATTN ALARM UNIT
                      BEAVERTON, OR 97076



                      CITY OF BEDFORD
                      TAX DEPARTMENT
                      PO BOX 72450
                      CLEVELAND, OH 00044-1922
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 450 of 2164




                      CITY OF BELLEFOUNTAINE
                      135 N DETROIT STREET
                      BELLEFOUNTAINE, OH 00043-3110



                      CITY OF BELLEVUE
                      PO BOX 635285
                      CINCINNATI, OH 45263-5285



                      CITY OF BEREA
                      212 CHESTNUT STREET
                      BEREA, KY 00040-4030



                      CITY OF BESSEMER
                      1806 3RD AVENUE
                      BESSEMER, AL 00035-0200



                      CITY OF BIRMINGHAM
                      PO BOX 830638
                      BIRMINGHAM, AL 03528-3638



                      CITY OF BLUE ASH
                      INCOME TAX DEPARTMENT
                      4343 COOPER ROAD
                      BLUE ASH, OH 45242-5699



                      CITY OF BOCA RATON
                      PO BOX 31042
                      UTILITIES PROCESSING CENTER
                      TAMPA, FL 33631-3042



                      CITY OF BOWLING GREEN
                      CITY OF BOWLING GREEN
                      PO BOX 643791
                      CINCINNATI, OH 45264



                      CITY OF BOYNTON BEACH
                      P.O. BOX 310
                      FIRE INSPECTION FEES ATTN: CASHIERS
                      BOYNTON BEACH, FL 33425-0310
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 451 of 2164




                      CITY OF BOYNTON BEACH
                      ALARM PERMIT # 15427
                      PO BOX 310
                      BOYNTON BEACH, FL 33435



                      CITY OF BOYNTON BEACH
                      BUSINESS TAX DIVISION
                      100 E BOYNTON BEACH BLVD
                      BOYNTON BEACH, FL 33425-0190



                      CITY OF BOYNTON BEACH
                      P.O. BOX 310
                      FIRE INSPECTION FEES ATTN: CASHIERS
                      BOYNTON BEACH
                      FL, 33425-0310



                      CITY OF BREA
                      PO BOX 2237
                      BREA, CA 92822-2237



                      CITY OF BREA
                      FIRE PREVENTION DIVISION
                      1 CIVIC CENTER CIRCLE
                      BREA, CA 92821



                      CITY OF BREA
                      BUSINESS LICENSE TAX DIVISION
                      1 CIVIC CENTER CIRCLE
                      BREA, CA 92821-5732



                      CITY OF CAMARILLO
                      601 CARMEN DR
                      ATTN CASHIER
                      CAMARILLO, CA 93010



                      CITY OF CAMARILLO
                      PO BOX 37
                      CAMARILLO, CA 93011-0037
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 452 of 2164




                      CITY OF CARLSBAD
                      PO BOX 9009
                      CARLSBAD, CA 92018-9009



                      CITY OF CARLSBAD
                      1635 FARADAY AVENUE
                      CARLSBAD, CA 92008-7314



                      CITY OF CARLSBAD
                      FALSE ALARM SYSTEM
                      1635 FARADAY AVE
                      CARLSBAD, CA 92008-7314



                      CITY OF CARLSBAD
                      BUSINESS LICENSE RENEWAL
                      1635 FARADAY AVENUE
                      CARLSBAD, CA 92008-7314



                      CITY OF CENTERVILLE
                      TAX DIVISION
                      100 W SPRING VALLEY
                      CENTERVILLE, OH 00045-4580



                      CITY OF CHARLESTON
                      915 QUARRIER STREET SUITE 4
                      CHARLESTON, WV 00025-3010



                      CITY OF CHINO HILLS
                      8839 N CEDAR AVE #212
                      FRESNO, CA 93720



                      CITY OF CHULA VISTA
                      FINANCE DEPARTMENT
                      276 FOURTH AVENUE
                      CHULA VISTA, CA 91910



                      CITY OF CHULA VISTA
                      PO BOX 7549
                      CHULA VISTA, CA 91912
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 453 of 2164




                      CITY OF CHULA VISTA ALARMS
                      PO BOX 142588
                      IRVING, TX 75014



                      CITY OF CINCINNATI
                      PO BOX 634580
                      CINCINNATI, OH 45263-4580



                      CITY OF CLEARWATER
                      PO BOX 30020
                      TAMPA, FL 33630-3020



                      CITY OF CORAL SPRINGS
                      BUSINESS TAX OFFICE
                      PO BOX 754501
                      CORAL SPRINGS, FL 33075-4501



                      CITY OF CORAL SPRINGS POLICE DEPARTMENT
                      2801 CORAL SPRINGS DR
                      CORAL SPRINGS, FL 33065



                      CITY OF COVINGTON
                      LICENSE DEPARTMENT
                      20 WEST PIKE STREET
                      COVINGTON, KY 41011-2298



                      CITY OF CUYAHOGA FALLS
                      INCOME TAX DEPARTMENT
                      2310 2ND STREET
                      CUYAHOGA FALLS, OH 00044-2220



                      CITY OF CYNTHIANA
                      LICENSE FEE DIVISION
                      P.O. BOX 67
                      CYNTHIANA, KY 00041-0310



                      CITY OF DAYTON INCOME TAX
                      P.O. BOX 643700
                      CINCINNATI, OH 45264-3700
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 454 of 2164




                      CITY OF DUBLIN
                      PO Box 9062
                      Dublin, OH 45217



                      CITY OF ELIZABETHTOWN
                      P.O. BOX 550
                      ELIZABETHTOWN, KY 00042-7020



                      CITY OF ENGLEWOOD
                      ENGLEWOOD UTILITIES DEPT
                      1000 ENGLEWOOD PARKWAY
                      ENGLEWOOD, CO 80110



                      CITY OF ENGLEWOOD TAX DEPARTMENT
                      333 W NATIONAL ROAD
                      ENGLEWOOD, OH 45322



                      CITY OF ESCONDIDO
                      PO BOX 1783
                      ESCONDIDO, CA 92033



                      CITY OF ESCONDIDO
                      201 N BROADWAY
                      ESCONDIDO, CA 92025



                      CITY OF FAIRFIELD, ALABAMA
                      4701 GARY AVENUE
                      P.O. DRAWER 437
                      FAIRFIELD, AL 00035-0640



                      CITY OF FLORENCE
                      P.O. BOX 1357
                      FLORENCE, KY 41022-1357



                      CITY OF FOREST PARK
                      INCOME TAX DEPT
                      1201 WEST KEMPER ROAD
                      FOREST PARK, OH 00045-2400
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 455 of 2164




                      CITY OF FORT LAUDERDALE
                      TREASURY-FIRE INSPECTIONS
                      PO BOX 31687
                      TAMPA, FL 33631-3687



                      CITY OF FORT LAUDERDALE
                      TREASURY DIVISION
                      100 NORTH ANDREWS AVENUE
                      FORT LAUDERDALE, FL 33301



                      CITY OF FORT LAUDERDALE
                      FINANCE DEP - BUS TAX DIVISION
                      100 N ANDREWS AVE, 1ST FLOOR
                      FORT LAUDERDALE, FL 33301



                      CITY OF FORT LAUDERDALE
                      TREASURY-ALARM SERVICE
                      PO BOX 31687
                      TAMPA, FL 33631-3687



                      CITY OF FORT LAUDERDALE
                      BUSINESS TAX DIVISION
                      PO BOX 31689
                      TAMPA, FL 33631-3689



                      CITY OF FOUNTAIN VALLEY
                      PO BOX 8030
                      ATTN WATER BILLING
                      FOUNTAIN VALLEY, CA 92728-8030



                      CITY OF FOUNTAIN VALLEY
                      8839 N CEDAR AVE STE 212
                      FRESNO, CA 93720-1832



                      CITY OF FOUNTAIN VALLEY
                      10200 SLATER AVE
                      FOUNTAIN VALLEY, CA 92708
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 456 of 2164




                      CITY OF FOUNTAIN VALLEY
                      PO BOX 512505
                      LOS ANGELES, CA 90051-0505



                      CITY OF FOUNTAIN VALLEY
                      PO BOX 8030
                      ATTN WATER BILLING
                      FOUNTAIN VALLEY
                      CA, 92728-8030



                      CITY OF FRANKLIN KY
                      CITY OF FRANKLIN KY
                      PO BOX 2805
                      FRANKLIN, KY 42135



                      CITY OF FREMONT
                      PO BOX 5006
                      FREMONT, CA 94537-5006



                      CITY OF FRESNO
                      PO BOX 2069
                      FRESNO, CA 93718-2069



                      CITY OF FRESNO
                      2600 FRESNO STREET - 3RD FLOOR
                      FRESNO, CA 93721-3604



                      CITY OF FRESNO
                      PO BOX 45017
                      FRESNO, CA 93718-5017



                      CITY OF FRESNO POLICE DEPARTMENT
                      PO BOX 289
                      C/O CAPITAL BILLING SERVICES
                      FRESNO, CA 93708



                      CITY OF FULLERTON
                      PO BOX 7190
                      PASADENA, CA 91109-7190
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 457 of 2164




                      CITY OF FULLERTON
                      ALARM PERMITS SERVICES
                      303 W. COMMONWEALTH AVENUE
                      FULLERTON, CA 92832



                      CITY OF FULLERTON
                      303 WEST COMMONWEALTH AVE
                      FULLERTON, CA 92832



                      CITY OF GADSDEN
                      REVENUE DEPARTMENT
                      P.O. BOX 267
                      GADSDEN, AL 03590-2267



                      CITY OF GARDEN GROVE
                      11222 ACACIA PARKWAY
                      PO BOX 3070
                      GARDEN GROVE, CA 92842



                      CITY OF GARDEN GROVE
                      PO BOX 3070
                      GARDEN GROVE, CA 92842



                      CITY OF GARDEN GROVE
                      BUSINESS TAX
                      PO BOX 3070
                      GARDEN GROVE, CA 92842-3070



                      CITY OF GARDEN GROVE
                      11222 ACACIA PARKWAY
                      PO BOX 3070
                      GARDEN GROVE
                      CA, 92842



                      CITY OF GILBERT
                      90 EAST CIVIC CENTER DRIVE
                      GILBERT, AZ 85296
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 458 of 2164




                      CITY OF GREENVILLE
                      MUNICIPAL BUILDING
                      100 PUBLIC SQUARE
                      GREENVILLE, OH 00045-3310



                      CITY OF HAMILTON-HAMILTON
                      DIVISION OF TAXATION
                      345 HIGH STREET FL 3 STE 310
                      HAMILTON, OH 00045-0110



                      CITY OF HEDWIG VILLAGE
                      955 PINEY POINT ROAD
                      HEDWIG VILLAGE, TX 77024



                      CITY OF HEDWIG VILLAGE
                      OFFICE OF THE FIRE MARSHAL
                      901 CORBINDALE
                      HOUSTON, TX 77024



                      CITY OF HENDERSON
                      240 WATER STREET
                      HENDERSON, NV 89009



                      CITY OF HENDERSON
                      FINANCE DEPARTMENT
                      PO BOX 95050
                      HENDERSON, NV 89009-5050



                      CITY OF HENDERSON
                      P.O. BOX 671
                      HENDERSON, KY 04241-9671



                      CITY OF HENDERSONFIRE DEPT
                      BUILDING & FIRE SAFETY DEPT
                      PO BOX 95050
                      HENDERSON, NV 89009-5050
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 459 of 2164




                      CITY OF HILLVIEW
                      INCOME TAX DEPARTMENT
                      283 CRESTWOOD LANE
                      LOUISVILLE, KY 00040-2290



                      CITY OF HOLLYWOOD
                      PO BOX 229187
                      UTILITY BILLING PROCESSING CTR
                      HOLLYWOOD, CA 33022-9787



                      CITY OF HOLLYWOOD
                      TREASURY DIV./COLLECTIONS
                      2600 HOLLYWOOD BLVD. ROOM 103
                      HOLLYWOOD, FL 33020



                      CITY OF HOLLYWOOD
                      BUSINESS TAX PAYMENT CENTER
                      P.O. BOX 229187
                      HOLLYWOOD, FL 33022-9187



                      CITY OF HOLLYWOOD
                      ALARM PAYMENT CENTER
                      PO BOX 229187
                      HOLLYWOOD, FL 33022-9187



                      CITY OF HOLLYWOOD
                      TREASURY DIVISION
                      2600 HOLLYWOOD BLVD ROOM 103
                      HOLLYWOOD, FL 33020



                      CITY OF HOLLYWOOD
                      FALSE ALARM PROGRAM
                      PO BOX 229045
                      HOLLYWOOD, FL 33022-9045



                      CITY OF HOPKINSVILLE
                      715 SOUTH VIRGINIA STREET
                      P.O. BOX 707
                      HOPKINSVILLE, KY 04224-1707
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 460 of 2164




                      CITY OF HOUSTON
                      PO BOX 203887
                      HOUSTON, TX 77216-3887



                      CITY OF HOUSTON
                      SOLID WASTE MANAGEMENT DEPT
                      PO BOX 1562
                      HOUSTON, TX 77251-1562



                      CITY OF HOUSTON
                      FIRE DEPARTMENT
                      PO BOX 3625
                      HOUSTON, TX 77253-3625



                      CITY OF HOUSTON FIRE DEPT
                      HOUSTON FIRE DEPT PERMITS
                      PO BOX 3625
                      HOUSTON, TX 77253



                      CITY OF HOUSTON SIGN ADMIN
                      PO BOX 2688
                      HOUSTON, TX 77252-2688



                      CITY OF HOUSTON WATER DEPARTMENT
                      PO BOX 1560
                      HOUSTON, TX 77251



                      CITY OF HOUSTON WATER DEPARTMENT
                      PO BOX 1560
                      HOUSTON
                      TX, 77251



                      CITY OF HUBBARD INCOME TAX
                      PO BOX 307
                      HUBBARD, OH 04442-5307
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 461 of 2164




                      CITY OF HUBER HEIGHTS OHIO
                      DIVISION OF TAXATION
                      P.O. BOX 24309
                      DAYTON, OH 00045-4240



                      CITY OF HUNTINGTON
                      CITY OF HUNTINGTON
                      PO BOX 1659
                      HUNTINGTON, WV 25717



                      CITY OF IRONTON
                      TAX ADMINISTRATOR
                      PO BOX 704
                      IRONTON, OH 00045-6380



                      CITY OF IRVINE
                      PO BOX 19575
                      IRVINE, CA 92623-9575



                      CITY OF IRVINE
                      PO BOX 19575
                      IRVINE
                      CA, 92623-9575



                      CITY OF JEFFERSONTOWN
                      PO BOX 991458
                      ATTN: REVENUE DEPARTMENT
                      JEFFERSONTOWN, KY 40269-1458



                      CITY OF KENTON-INCOME TAX
                      111 W. FRANKLIN STREET
                      PO BOX 220
                      KENTON, OH 00043-3260



                      CITY OF KETTERING
                      TAX DIVISION
                      P.O. BOX 293100
                      KETTERING, OH 00045-4290
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 462 of 2164




                      CITY OF LA MESA
                      8130 ALLISON AVE
                      LA MESA, CA 91941



                      CITY OF LA QUINTA
                      78-495 CALLE TAMPICO
                      LA QUINTA, CA 92253



                      CITY OF LAKEWOOD
                      PO BOX 1038
                      LAKEWOOD, CA 90714-1038



                      CITY OF LAKEWOOD
                      BUSINESS LICENSE
                      PO BOX 220
                      LAKEWOOD, CA 90714-0220



                      CITY OF LANSING TREASURER
                      P.O. BOX 19219
                      LANSING, MI 00048-9010



                      CITY OF LARGO
                      PO BOX 296
                      LARGO, FL 33779-0296



                      CITY OF LAS VEGAS
                      DEPT. OF FINANCE & BUSINESS
                      P.O BOX 52583
                      PHOENIX, AZ 85072-2583



                      CITY OF LAS VEGAS
                      DEPARTMENT OF PLANNING
                      PO BOX 748018
                      LOS ANGELES, CA 90074-8018



                      CITY OF LEBANON
                      50 SOUTH BROADWAY
                      LEBANON, OH 00045-0360
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 463 of 2164




                      CITY OF LEEDS
                      1040 PARK DRIVE
                      LEEDS, AL 00035-0940



                      CITY OF LEITCHFIELD
                      P.O. BOX 398
                      LEITCHFIELD, KY 00042-7550



                      CITY OF LITTLETON
                      PO BOX 1258
                      ENGLEWOOD, CO 80150-1258



                      CITY OF LONE TREE
                      PO BOX 17987
                      DENVER, CO 80217-0987



                      CITY OF LONGWOOD
                      175 W WARREN AVE
                      LONGWOOD, FL 32750



                      CITY OF LOS ANGELES
                      DEPARTMENT OF PUBLIC WORKS
                      2714 MEDIA CENTER DRIVE ATTN: BHUPENDRA
                      LOS ANGELES, CA 90065



                      CITY OF LOS ANGELES
                      OFFICE OF FINANCE
                      FILE 57063
                      LOS ANGELES, CA 90074-7063



                      CITY OF LOS ANGELES
                      PO BOX 51112
                      LOS ANGELES, CA 90051



                      CITY OF LOS ANGELES
                      PO BOX 30749
                      PUBLIC WORKS SANITATION
                      LOS ANGELES, CA 90030-0749
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 464 of 2164




                      CITY OF LOS ANGELES
                      FALSE ALARMS
                      PO BOX 30879
                      LOS ANGELES, CA 90030-0879



                      CITY OF LOS ANGELES
                      OFFICE OF FINANCE
                      PO BOX 513996
                      LOS ANGELES, CA 90051-3996



                      CITY OF LOS ANGELES
                      DEPT OF BUILDING & SAFETY
                      PO BOX 514260
                      LOS ANGELES, CA 90051-4260



                      CITY OF MADISONVILLE KY
                      P.O. BOX 1270
                      MADISONVILLE, KY 00042-4310



                      CITY OF MASON
                      6000 MASON MONTGOMERY ROAD
                      MASON, OH 00045-0400



                      CITY OF MAYSVILLE
                      216 BRIDGE STREET
                      MAYSVILLE, KY 00041-0560



                      CITY OF MIDDLETOWN
                      DEPARTMENT OF TAXATION
                      P.O. BOX 630157
                      CINCINNATI, OH 04526-3157



                      CITY OF MORAINE
                      INCOME TAX DEPARTMENT
                      4200 DRYDEN ROAD
                      MORAINE, OH 00045-4390
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 465 of 2164




                      CITY OF MOUNTAIN VIEW
                      PO BOX 742282
                      LOS ANGELES, CA 90074-2282



                      CITY OF MOUNTAIN VIEW
                      500 CASTRO STREET
                      PO BOX 7540
                      MOUNTAIN VIEW, CA 94039-7540



                      CITY OF MT. WASHINGTON
                      P.O. BOX 285
                      MT. WASHINGTON, KY 00040-0470



                      CITY OF NEWARK - PAYROLL TAX
                      PAYROLL TAX
                      P.O. BOX 15118
                      NEWARK, NJ 7192-0



                      CITY OF NEWPORT
                      DEPT OF FINANCE LICENSE DIVSN
                      P.O. BOX 1090
                      NEWPORT, KY 41071-1090



                      CITY OF NORWOOD
                      4645 MONTGOMERY
                      NORWOOD, OH 00045-2120



                      CITY OF OAK GROVE
                      P.O. BOX 250
                      OAK GROVE, KY 00042-2620



                      CITY OF OREGON TAX
                      5330 SEAMAN ROAD
                      OREGON, OH 43616-2608



                      CITY OF ORLANDO
                      400 SO ORANGE AVE
                      ORLANDO, FL 32802
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 466 of 2164




                      CITY OF ORLANDO POLICE DEPT
                      FISCAL MANAGEMENT
                      PO BOX 913
                      ORLANDO, FL 32802



                      CITY OF PADUCAH
                      PO BOX 2697
                      PADUCAH, KY 42002-2697



                      CITY OF PALMDALE
                      CODE ENFORCEMENT DIVISION
                      38250 SIERRA HIGHWAY
                      PALMDALE, CA 93550-4798



                      CITY OF PALMDALE
                      38250 SIERRA HIGHWAY
                      PALMDALE, CA 93550-4609



                      CITY OF PARKERSBURG
                      PO BOX 1627
                      PARKERSBURG, WV 26102



                      CITY OF PARMA
                      TAX DIVISION
                      6611 RIDGE ROAD
                      PARMA, OH 00044-1290



                      CITY OF PASADENA
                      175 GARFIELD AVENUE
                      PASADENA, CA 91101



                      CITY OF PASADENA
                      221 E WALNUT ST. SUITE 199
                      PASADENA, CA 91101



                      CITY OF PASADENA
                      ENVIRONMENTAL HEALTH DIVISION
                      1845 N FAIR OAKS AVE RM 1200
                      PASADENA, CA 91103
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 467 of 2164




                      CITY OF PASADENA
                      100 N GARFIELD AVE #N106
                      PASADENA, CA 91109-7215



                      CITY OF PEMBROKE PINES
                      PO BOX 269005
                      PEMBROKE PINES, FL 33026



                      CITY OF PEMBROKE PINES
                      601 CITY CENTER WAY
                      3 RD FLOOR A/R
                      PEMBROKE PINES, FL 33025



                      CITY OF PEMBROKE PINES
                      601 CITY CENTER WAY
                      PEMBROKE PINES, FL 33025



                      CITY OF PEMBROKE PINES
                      601 CITY CENTER WAY
                      4TH FLOOR - SUITE #413
                      PEMBROKE PINES, FL 33025



                      CITY OF PEMBROKE PINES
                      10100 PINES BLVD
                      PEMBROKE PINES, FL 33026



                      CITY OF PEMBROKE PINES
                      10100 PINES BOULEVARD
                      4TH FLOOR AR
                      PEMBROKE PINES, FL 33026



                      CITY OF PEORIA
                      PO BOX 80031
                      PRESCOTT, AZ 86304-8031



                      CITY OF PEORIA
                      8401 WEST MONROE STREET
                      ROOM 210
                      PEORIA, AZ 85345
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 468 of 2164




                      CITY OF PEORIA
                      8401 W MONROE ST
                      ATTN MAR PROCESSING
                      PEORIA, AZ 85345



                      CITY OF PEORIA ALARM PROGRAM
                      PO BOX 143337
                      IRVING, TX 75014



                      CITY OF PERRYSBURG
                      PO BOX 490
                      PERRYSBURG, OH 04355-2490



                      CITY OF PHILADELPHIA
                      PO BOX 8040
                      PHILADELPHIA, PA 19105-8040



                      CITY OF PHOENIX
                      PO BOX 29100
                      PHOENIX, AZ 85038-9100



                      CITY OF PHOENIX
                      PO BOX 29115
                      ALARM UNIT
                      PHOENIX, AZ 85038-9115



                      CITY OF PHOENIX ALARM PERMIT RENEWALS
                      PO BOX 29117
                      PHOENIX, AZ 85038-9117



                      CITY OF PITTSBURGH PA
                      CITY OF PITTSBURGH LS-1 TAX
                      414 GRANT STREET STE 224
                      PITTSBURGH, PA 15219-2476



                      CITY OF PITTSBURGH-EXPENSE
                      414 GRANT STREET STE 224
                      PITTSBURGH, PA 15219-2476
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 469 of 2164




                      CITY OF PLEASANT HILL
                      BUSINESS LICENSE DEPT
                      100 GREGORY LANE
                      PLEASANT HILL, CA 94523-3323



                      CITY OF PLEASANTON
                      PO BOX 101732
                      PASADENA, CA 91189-1732



                      CITY OF PLEASANTON
                      PO BOX 520
                      PLEASANTON, CA 94566-0520



                      CITY OF PORTSMOUTH
                      INCOME TAX DIVISION
                      P.O. BOX 1323
                      PORTSMOUTH, OH 00045-6620



                      CITY OF PRINCETON
                      206 E. MARKET STREET
                      PRINCETON, KY 00042-4450



                      CITY OF RADCLIFF
                      P.O. DRAWER 519
                      RADCLIFF, KY 04015-9519



                      CITY OF RAINBOW
                      3700 RAINBOW DRIVE
                      RAINBOW CITY, AL 35906



                      CITY OF RANCHO CUCAMONGA
                      PO BOX 807
                      FINANCE DEPARTMENT
                      RANCHO CUCAMONGA, CA 91729-0807



                      CITY OF RANCHO CUCAMONGA
                      10500 CIVIC CENTER DRIVE
                      RANCHO CUCAMONGA, CA 91730
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 470 of 2164




                      CITY OF RICHMOND
                      P.O. BOX 1268
                      RICHMOND, KY 00404-7668



                      CITY OF RIVERSIDE
                      FIRE PREVENTION
                      CITY HALL - 3RD FLOOR 3900 MAIN STREET
                      RIVERSIDE, CA 92522



                      CITY OF RIVERSIDE
                      FINANCE DEPARTMENT
                      3900 MAIN STREET
                      RIVERSIDE, CA 92522



                      CITY OF RUSSELLVILLE
                      P.O. BOX 247
                      RUSSELL SPRINGS, KY 00042-6420



                      CITY OF SAINT MARYS
                      DEPARTMENT OF TAXATION
                      106 E SPRING STREET
                      SAINT MARY'S, OH 00045-8850



                      CITY OF SAN BERNARDINO
                      PO BOX 1318
                      BUSINESS REGISTRATION
                      SAN BERNARDINO, CA 92402-1318



                      CITY OF SAN BERNARDINO ALARM PROGRAM
                      PO BOX 140576
                      IRVING, TX 75014-0576



                      CITY OF SAN JOSE
                      200 E SANTA CLARA ST 13TH FL
                      SAN JOSE, CA 95113
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 471 of 2164




                      CITY OF SAN JOSE
                      PO BOX 39000
                      BUS TAX & REG PERMIT DEP#34370
                      SAN FRANCISCO, CA 94139



                      CITY OF SAN JOSE FIRE DEPARTMENT
                      BUREAU OF FIRE PREVENT #34347
                      PO BOX 39000
                      SAN FRANCISCO, CA 94139



                      CITY OF SANDY SPRINGS
                      7840 ROSWELL RD
                      BLDG 500
                      SANDY SPRINGS, GA 30350



                      CITY OF SANDY SPRINGS
                      7840 ROSWELL RD
                      BLDG 500
                      SANDY SPRINGS
                      GA, 30350



                      CITY OF SANTA CLARITA
                      24303 TOWN CENTER DR STE 150
                      SANTA CLARITA, CA 91355



                      CITY OF SHARONVILLE
                      11641 CHESTER ROAD
                      SHARONVILLE, OH 00045-2460



                      CITY OF SHEPHERDSVILLE
                      P.O. BOX 400
                      SHEPHERDSVILLE, KY 00040-1650



                      CITY OF SHIVELY
                      3920 DIXIE HIGHWAY
                      SHIVELY, KY 00040-2160
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 472 of 2164




                      CITY OF SIDNEY
                      201 WEST POPLAR
                      SIDNEY, OH 45365-2720



                      CITY OF SPRINGBORO TAX DEPT
                      320 W CENTRAL AVE
                      SPRINGBORO, OH 00045-0660



                      CITY OF SPRINGFIELD
                      PO BOX 5200
                      SPRINGFIELD, OH 45501-5200



                      CITY OF ST. MATTHEWS
                      3940 GRANDVIEW AVENUE
                      LOUISVILLE, KY 00040-2070



                      CITY OF STAFFORD
                      2610 S MAIN
                      STAFFORD, TX 77477



                      CITY OF SUNNYVALE
                      P.O. BOX 3707
                      ATTN: ALARM
                      SUNNYVALE, CA 94088-3707



                      CITY OF SUNNYVALE
                      DEPARTMENT OF FINANCE
                      PO BOX 3707
                      SUNNYVALE, CA 94088-3707



                      CITY OF SUNNYVALE UTILITIES
                      PO BOX 4000
                      SUNNYVALE, CA 94088-4000



                      CITY OF SYLVANIA
                      DIVISION OF TAXATION
                      P.O. BOX 510
                      SYLVANIA, OH 04356-0510
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 473 of 2164




                      CITY OF TAMPA
                      CASHIERING - POLICE
                      2105 N NEBRASKA AVE
                      TAMPA, FL 33602



                      CITY OF TAMPA
                      ORACLE LOCKBOX
                      PO BOX 23328
                      TAMPA, FL 33623-3328



                      CITY OF TAMPA UTILITIES
                      PO BOX 30191
                      TAMPA, FL 33630-3191



                      CITY OF TAMPA-OCCUPATIONAL
                      BUSINESS TAX DIVISION
                      PO BOX 31047
                      TAMPA, FL 33631-3047



                      CITY OF TEMECULA
                      41000 MAIN STREET
                      ATTN: BUSINESS LICENSE
                      TEMECULA, CA 92590



                      CITY OF TEMECULA
                      PO BOX 9033
                      ATTN BUS LICENSE DEPT
                      TEMECULA, CA 92589-9033



                      CITY OF TEMPE
                      31 E. 5TH ST., GARDEN LEVEL
                      TEMPE, AZ 85281



                      CITY OF TEMPE
                      PO BOX 90049
                      POLICE DEPARTMENT ALARM UNIT
                      PRESCOTT, AZ 86304-9049
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 474 of 2164




                      CITY OF TEMPE
                      TAX & LICENSE DIVISION
                      20 E 6TH STREET 3RD FLOOR
                      TEMPE, AZ 85281



                      CITY OF TEMPE CUSTOMER SERVICE
                      PO BOX 90050
                      PRESCOTT, AZ 86304-9050



                      CITY OF TIGARD
                      PO BOX 3129
                      PORTLAND, OR 97208-3129



                      CITY OF TIGARD
                      13125 SW HALL BLVD
                      ATTN BUSINESS LICENSE
                      TIGARD, OR 97223



                      CITY OF TORRANCE
                      BUSINESS LICENSE DIVISION
                      3031 TORRANCE BLVD
                      TORRANCE, CA 90503-5015



                      CITY OF TORRANCE
                      BUSINESS LICENSE DIVISION
                      3031 TORRANCE BLVD
                      TORRANCE
                      CA, 90503-5015



                      CITY OF TORRANCE REVENUE DIVISION
                      3031 TORRANCE BLVD
                      TORRANCE, CA 90503



                      CITY OF TORRANCE UTILITIES
                      PO BOX 845629
                      LOS ANGELES, CA 90084-5629
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 475 of 2164




                      CITY OF TORRANCE UTILITIES
                      PO BOX 845629
                      LOS ANGELES
                      CA, 90084-5629



                      CITY OF TROTWOOD
                      P.O. BOX 633408
                      CINCINNATI, OH 45263-3408



                      CITY OF TUCSON
                      PO BOX 52771
                      PHOENIX, AZ 85072-2771



                      CITY OF TUCSON
                      LICENSE SECTION
                      255 W ALAMEDA
                      TUCSON, AZ 85701



                      CITY OF TUCSON
                      IMPOUND LOBBY - ALARM
                      1310 W MIRACLE MILE
                      TUCSON, AZ 85705



                      CITY OF TUCSON
                      ANNUAL REGULATION BILL
                      PO BOX 27320
                      TUCSON, AZ 85726



                      CITY OF TUSKEGEE
                      PO BOX 830687
                      TUSKEGEE, AL 36083



                      CITY OF TUSTIN
                      ACCOUNTS RECEIVABLE
                      300 CENTENNIAL WAY
                      TUSTIN, CA 92780
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 476 of 2164




                      CITY OF TUSTIN
                      TUSTIN POLICE DEPT - ALARMS
                      300 CENTENNIAL WAY
                      TUSTIN, CA 92780



                      CITY OF TUSTIN
                      300 CENTENNIAL WAY
                      TUSTIN, CA 92780



                      CITY OF TUSTIN FALSE ALARM REDUCTION PRO
                      PO BOX 142105
                      IRVING, TX 75014



                      CITY OF URBANA
                      205 S MAIN STREET
                      URBANA, OH 00043-0780



                      CITY OF VANCOUVER
                      PO BOX 35195
                      SEATTLE, WA 98124-5195



                      CITY OF VANCOUVER
                      PO BOX 8995
                      VANCOUVER, WA 98668-8995



                      CITY OF VANDALIA
                      P.O. BOX 727
                      VANDALIA, OH 00045-3770



                      CITY OF VISTA
                      PO BOX 460219
                      C/O MUNICIPAL ALARM TRACKING
                      ESCONDIDO, CA 92046-0219



                      CITY OF VISTA
                      200 CIVIC CENTER DRIVE
                      VISTA, CA 92084
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 477 of 2164




                      CITY OF WARREN
                      INCOME TAX DEPARTMENT
                      P.O. BOX 230
                      WARREN, OH 00044-4820



                      CITY OF WEST CARROLLTON
                      P.O. BOX 10
                      WEST CARROLLTON, OH 00045-4490



                      CITY OF WEST PALM BEACH
                      PO BOX 30000
                      TAMPA, FL 33630-3000



                      CITY OF WEST PALM BEACH
                      PO BOX 3366
                      PARKS AND REC 3RD FLOOR
                      WEST PALM BEACH, FL 33401



                      CITY OF WEST PALM BEACH
                      CONSTRUCTION SERVICES DEP
                      PO BOX 3147
                      WEST PALM BEACH, FL 33402



                      CITY OF WEST PALM BEACH
                      DEVELOPMENT SERVICES DEPT
                      401 CLEMATIS ST
                      WEST PALM BEACH, CA 33401



                      CITY OF WEST PALM BEACH
                      POLICE ALARM SERVICES
                      PO BOX 22088
                      TAMPA, FL 33622



                      CITY   OF WEST PALM BEACH
                      FIRE   INSPECTION BUREAU
                      P.O.   BOX 3366
                      WEST   PALM BEACH, FL 33402
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 478 of 2164




                      CITY OF WEST PALM BEACH
                      PO BOX 3147
                      WEST PALM BEACH, FL 33402



                      CITY OF WEST PALM BEACH
                      POLICE DEPT ALARM DIVISION
                      PO BOX 1390
                      WEST PALM BEACH, FL 33402



                      CITY OF WESTMINSTER
                      PO BOX 782498
                      WICHITA, KS 67278-2498



                      CITY OF WESTMINSTER
                      PO BOX 17040
                      DENVER, CO 80217-0040



                      CITY OF WESTMINSTER
                      SALES TAX DIVISION
                      PO BOX 17107
                      WESTMINSTER, CO 80217-7107



                      CITY OF WILMINGTON
                      LOUIS L. REDDING CITY/COUNTY
                      800 FRENCH STREET, 6TH FLOOR
                      WILMINGTON, DE 19801-3537



                      CITY OF WILMINGTON INCOME TAX
                      P.O. BOX 786
                      WILMINGTON, OH 00045-1770



                      CITY OF WINCHESTER
                      CITY OF WINCHESTER
                      P.O. BOX 4135
                      WINCHESTER, KY 00040-3920



                      CITY OF XENIA
                      P.O. BOX 490
                      XENIA, OH 04538-5490
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 479 of 2164




                      CITY TREASURER
                      PO BOX 129039
                      SAN DIEGO, CA 92112-9039



                      CITY TREASURER
                      SDPD LICENSING DETAIL MS-735
                      PO BOX 121431
                      SAN DIEGO, CA 92112



                      CITY TREASURER
                      PO BOX 121536
                      SAN DIEGO, CA 92112-1536



                      CITY TREASURER
                      PO BOX 129020
                      SAN DIEGO, CA 92112-9020



                      CITY TREASURER
                      CITY OF SAN DIEGO
                      PO BOX 129030
                      SAN DIEGO, CA 92112-9030



                      CLABBER GIRL BAKING COMPAN
                      PO BOX 150
                      TERRE HAUTE, IN 47808-0150



                      Clabber Girl Baking Company
                      P.O. Box 150
                      Terre Haute, IN 47808-0150



                      CLACKAMAS COUNTY CCSO ALARM PERMITS
                      2223 KAEN RD
                      OREGON CITY, OR 97045



                      CLACKAMAS COUNTY COMMUNITY HEA
                      HEALTH DIVISION
                      2051 KAEN RD #367
                      OREGON CITY, OR 97045
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 480 of 2164




                      CLACKAMAS COUNTY TAX COLLECTOR
                      PO BOX 6100
                      PORTLAND, OR 97228-6100



                      CLACKAMAS RIVER WATER
                      PO BOX 3277
                      PORTLAND, OR 97208-3277



                      Cladmine Jean-bapiste
                      7705 Tara Cir.
                      #102
                      Naples, FL 34104



                      Claire calaway
                      13281 ORANGE KNOLL DRIVE
                      SANTA ANA, CA 92705



                      CLAIRE CUNNINGHAM
                      6265 N 31ST PLACE
                      PHOENIX, AZ 85016



                      Claire Pupping
                      1732 RED BARN RD
                      ENCINITAS, CA 92024



                      Claire Sherman
                      5616 SW 42ND AVE
                      PORTLAND, OR 97221



                      CLAIREMONT HAWKS 12U
                      PO BOX 17861
                      SAN DIEGO
                      CA, 92117



                      CLAIREMONT HAWKS YOUTH FOOTBAL
                      PO BOX 17861
                      SAN DIEGO, CA 92117
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 481 of 2164




                      CLAIREMONT HIGH SCHOOL GIRLS SOCCER
                      4150 UTE DR
                      SAN DIEGO, CA 92117



                      Clara Castillo
                      4567 HAMILTON AVE.
                      13
                      SAN JOSE, CA 95130



                      Clara Hurlbut
                      26811 EASTWOOD DR
                      SPRING, TX 77386



                      Clara Lagos-perez
                      7112 Princeton Pl
                      Tampa, FL 33619



                      Clara Lucas
                      10629 S 228TH LN
                      BOCA RATON, FL 33428



                      Clara Muenchow
                      1118 Cuesta Dr
                      Mountain View, CA 94040



                      Clara Rodriguez
                      39838 SUNDALE DR
                      FREMONT, CA 94538



                      CLARENCE J VENNE LLC
                      PO BOX 506
                      LEVITTOWN, PA 19055



                      Clarence J. Venne, Llc
                      Po Box 506
                      Levittown, PA 19055
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 482 of 2164




                      Claribel Cruz
                      5885 DAHLIA DR
                      208
                      ORLANDO, FL 32807



                      Claricia Morrishammer
                      336 Mission Dr
                      Camarillo, CA 93010



                      Clarissa Carpenter
                      12854 112TH STREET
                      LARGO, FL 33778



                      Clarissa Carrera-smith
                      3301 W. Raintree Dr
                      Tucson, AZ 85741



                      Clarissa Chavez
                      5916 BURNHAM AVE
                      APT 5
                      BUENA PARK, CA 90621



                      Clarissa Garcia Villasenor
                      3074 N Cornelia Ave
                      Fresno, CA 93722



                      Clarissa Lopez
                      8454 SATURN DR.
                      BUENA PARK, CA 90620



                      Clarissa Mae Geronimo
                      321 CHEYENNE LANE
                      ESCONDIDO, CA 92127



                      Clarissa Revilla
                      7231 E. BEVERLY DRIVE
                      TUCSON, AZ 85710
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 483 of 2164




                      Clarissa Sybounheuan
                      9539 COTTONWOOD AVE #A
                      #A
                      SANTEE, CA 92071



                      CLARK COUNTY ASSESSOR
                      PO BOX 551401
                      LAS VEGAS, NV 89155-1401



                      CLARK COUNTY CLERK
                      PO BOX 551604
                      LAS VEGAS, NV 39161-7012



                      CLARK COUNTY DEPT OF BUS LIC
                      500 S GRAND CENTRAL PKWY 3RD F
                      PO BOX 551810
                      LAS VEGAS, NV 89106



                      CLARK COUNTY HEALTH DEPT
                      PO BOX 9825
                      VANCOUVER, WA 98666-8825



                      CLARK COUNTY LEGAL NEWS
                      PO BOX 2527
                      SANTA FE, NM 87504-2527



                      CLARK COUNTY TREASURER
                      500 S GRAND CENTRAL PKWY 1ST F
                      PO BOX 551220
                      LAS VEGAS, NV 89155-1220



                      CLARK COUNTY TREASURER
                      500 S GRAND CENTRAL PKWY 2ND F
                      PO BOX 551401
                      LAS VEGAS, NV 89155-1401



                      CLARK COUNTY TREASURER
                      CALLER BOX 35150
                      SEATTLE, WA 98124-5150
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 484 of 2164




                      CLARK PUBLIC UTILITIES
                      PO BOX 8989
                      VANCOUVER, WA 98668



                      CLARK SERVICE GROUP INC
                      2551 HORSESHOE RD
                      LANCASTER, PA 17601



                      CLARK SERVICE GROUP INC
                      2551 HORSESHOE RD
                      LANCASTER
                      PA, 17601



                      CLASS OF 2019
                      403 WEST NORMAN AVE
                      ARCADIA, CA 91007



                      CLASS OF 2019
                      403 WEST NORMAN AVE
                      ARCADIA
                      CA, 91007



                      CLASS OF 2021
                      101 S 2ND ST
                      CLASS OF 2021
                      ALHAMBRA, CA 91801



                      CLASS OF 2022
                      8151 VILLAGE PARKWAY
                      DUBLIN, CA 94568



                      CLASS OF 2022
                      8151 VILLAGE PARKWAY
                      DUBLIN
                      CA, 94568



                      CLASSICAL CONVERSATIONS INC
                      255 AIR TOOL DR
                      SOUTHERN PINES, NC 28387-3433
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 485 of 2164




                      Claudia Aguilar
                      8300 E Prentice Ave
                      #419
                      Greenwood Village, CO 80111



                      Claudia Barriento
                      3434 WEST LITTLE YORK
                      2107
                      HOUSTON, TX 77091



                      Claudia Callejas
                      3939 BLOSSOM DEW DR
                      KISSIMMEE, FL 34746



                      Claudia Carreno
                      3701 PARKVIEW LN
                      7A
                      IRVINE, CA 92612



                      Claudia Carrion
                      3446 Stonewall Dr
                      Kennesaw, GA 30152



                      Claudia Gajardo
                      2500 Primero Dr.
                      Kissimmee, FL 34746



                      Claudia Gonzalez
                      2408 FAN PALM DR
                      DAVENPORT, FL 33897



                      Claudia Gonzalez
                      4834 ELFRIDA AVE
                      SARASOTA, FL 34235



                      Claudia Jimenez Rosales
                      1955 Backowski Ave
                      Clovis, CA 93611
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 486 of 2164




                      CLAUDIA JIMENEZ ROSALES
                      1349 BELLINGHAM DR
                      SAN JOSE, CA 95121



                      Claudia L. morales
                      3655 WEST 64TH ST
                      LOS ANGELES, CA 90043



                      Claudia Leon
                      8410 N Sherman Circle
                      #401
                      Miramar, FL 33025



                      Claudia Mann
                      4675 S. Harrison Rd
                      Unit 170
                      Tucson, AZ 85730



                      Claudia morales
                      3655 WEST 64TH ST
                      LOS ANGELES, CA 90043



                      Claudia Moya
                      7606 DIONE COURT
                      ORLANDO, FL 32822



                      Claudia Patino
                      5104 DOMINICA DRIVE
                      KISSIMMEE, FL 34746



                      Claudia Restrepo
                      4210 Royal Regencycircle Nw
                      Kennesaw, GA 30144



                      Claudia Santillan
                      6737 LODGE STREET
                      HOUSTON, TX 77092
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 487 of 2164




                      Claudia santos
                      2049 E PASO FINO DR
                      SAN TAN VALLEY, AZ 85140



                      Claudia Tapia
                      317 S Loma Linda Dr
                      Anaheim, CA 92804



                      Claudio Contreras
                      4152 iola Drive
                      Sarasota, FL 34231



                      Claudio Juarez
                      960 W 5TH AVE
                      ESCONDIDO, CA 92025



                      Clay J. Slater-Pifher
                      500 E 13TH ST
                      28
                      VANCOUVER, WA 98660



                      Clay Slater-Pifher
                      500 E 13TH ST
                      28
                      VANCOUVER, WA 98660



                      Clayton Hackett
                      11152 SE CAUSEY CIR
                      11152
                      HAPPY VALLEY, OR 97086



                      CLAYWELL PTA
                      4500 NORTHDALE BLVD
                      TAMPA, FL 33624



                      Clean Tech Building Services
                      12900 Garden Grove Blvd #145
                      Garden Grove, CA 92843
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 488 of 2164




                      CLEAR CHANNEL OUTDOOR HOLDINGS INC
                      PO BOX 402379
                      ATLANTA, GA 30384-2379



                      CLEAR IMAGE ENTERPRISES INC
                      PO BOX 966
                      MURRIETA, CA 92564



                      Clearwater
                      757 BEDFORD HIGHWAY
                      BEDFORD, NS B4A 3Z7



                      Clearwater Fine Foods Usa Inc
                      Po Box 12416
                      Newark, NJ 07101-3516



                      CLEARWATER FINE FOODS USA INC
                      757 BEDFORD HIGHWAY
                      BEDFORD, NS B4A 3Z7



                      Clemente Gregorio
                      244 E Olive
                      Apt A
                      Monrovia, CA 91016



                      Clementine Thomas
                      1369 Camino Robles Way
                      San Jose, CA 95120



                      Clent Wallace
                      14053 E COLORADO DR
                      D
                      AURORA, CO 80012



                      Cleotilde Canas
                      1736 W 45 TH ST
                      LOS ANGELES, CA 90062
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 489 of 2164




                      CLERK OF THE COMBINED COURT
                      100 JEFFERSON COUNTY PARKWAY
                      ATTN ACCOUNTING
                      GOLDEN, CO 80401



                      CLERK OF THE COMBINED COURT
                      CLERK OF THE DISTRICT COURT
                      520 W COLFAX AVE RM 135
                      DENVER, CO 80204



                      CLERK OF THE COMBINED COURT
                      PO BOX 2980
                      COLORADO SPRINGS, CO 80901



                      CLERK OF THE COMBINED COURT
                      270 S TEJON ST
                      COLORADO SPRINGS, CO 80903



                      CLEVELAND DANCE TEAM
                      3520 SE CRYSTAL SPRINGS
                      PORTLAND, OR 97202



                      CLEVELAND PTA
                      4760 HACKETT AVE
                      LAKEWOOD, CA 90713



                      Clifford L. Russell




                      CLIFFORD M COLES FOOD SAFETY CONSULTING
                      819 APPLE HILL DRIVE
                      BRENTWOOD, CA 94513-2606



                      CLIFFORD STREET MATH AND TECHNOLOGY MAGN
                      2150 DUANE STREET
                      LOS ANGELES, CA 90039
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 490 of 2164




                      CLIFFORD STREET MATH AND TECHNOLOGY MAGN
                      2150 DUANE STREET
                      LOS ANGELES
                      CA, 90039



                      Clifton Turner
                      5609 ALDINE BENDER RD.
                      146
                      HOUSTON, TX 77032



                      CLIMA TECH LLC
                      1820 TOWN AND COUNTRY DR
                      NORCO, CA 92860-3616



                      CLINES WELDING AND FABRICAITON INC
                      41 VETERANS MEMORIAL HWY
                      MABLETON, GA 30126



                      Clint McDonald
                      16506 SE 29TH STREET
                      123
                      VANCOUVER, WA 98683



                      Clint Snider
                      4110 VILLAGE DRIVE
                      APARTMENT E
                      CHINO HILLS, CA 91709



                      CLINT SNIDER
                      4110 VILLAGE DR APT 3
                      CHINO HILLS, CA 91709



                      Clinton Pearson
                      30300 ANTELOPE RD
                      1212
                      MENIFEE, CA 92584
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 491 of 2164




                      CLM MIDWEST
                      2655 ERIE STREET
                      RIVER GROVE, IL 60171



                      CLOUGHERTY PACKING LLC
                      PO BOX 101120
                      PASADENA, CA 91189



                      Cloverleaf Tampa, LLC and SWT Tampa, LLC
                      James Wallace, Jr. Cloverleaf Tampa, LLC
                      5370 Oakdale Rd.
                      Smyrna, GA 30082



                      Cloverleaf Tampa, LLC and SWT Tampa, LLC
                      James Wallace III SWT Tampa, LLC
                      5370 Oakdale Rd.
                      Smyrna, GA 30082



                      CLOVIS WEST FOUNDATION XC
                      1070 E TEAGUE
                      FRESNO, CA 93720



                      CLPF - CLAIREMONT MESA LP
                      PO BOX 101705
                      PASADENA, CA 91189-1705



                      CLPF - Clairemont Mesa, L.P.
                      c/o Clarion Partners, LLC Attn: Retail Asset Manag
                      601 South Figueroa
                      Ste. 3400
                      Los Angeles, CA 90017



                      Clrissa Mireles
                      18110 CAMBELLFORD
                      TOMBALL, TX 77377



                      CLUB OC VOLLEYBALL
                      11782 ONYX STREE
                      GARDEN GROVE, CA 92845
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 492 of 2164




                      Clyde Bramida
                      18521 MAYALL STREET
                      UNIT E
                      NORTHRIDGE, CA 91324



                      Clyressia Buggs
                      11300 REGENCY
                      908
                      CYPRESS, TX 77429



                      CMI EQUIPMENT AND ENGINEERING CO INC
                      41663 170 ST
                      GLENCO, MN 55336



                      CNC HOLDINGS LLC
                      6471 S TOURNAMENT LN
                      ATTN STEVE COCKRELL
                      CHANDLER, AZ 85249



                      CNC Holdings, LLC
                      1007 NW 2nd Ave.
                      Battle Ground, WA 98604



                      CNC Holdings, LLC
                      Attn: Steven Cockrell
                      1007 NW 2nd Ave.
                      Battle Ground, WA 98604



                      CNH KEY CLUB
                      1809 SPRINGSONG DR
                      SAN JOSE, CA 95131



                      CNL INCOME FEC TUCSON LLC
                      221 EAST WETMORE ROAD
                      C/O FUNTASTICKS
                      TUCSON, AZ 85705
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 493 of 2164




                      CO DEPT OF REVENUE
                      1375 SHERMAN ST ROOM 504
                      DENVER, CO 80261



                      CO FAMILY SUPPORT REGISTRY
                      PO BOX 2171
                      DENVER, CO 80201



                      COACHELLA VALLEY WATER DISTRICT
                      PO BOX 5000
                      COACHELLA, CA 92236-5000



                      COAST TO COAST COMPUTER PRODUC
                      4277 VALLEY FAIR STREET
                      SIMI VALLEY, CA 93063



                      COAST WORKPLACE SOLUTIONS LLC
                      2829 RUCKER AVE
                      EVERETT, WA 98201



                      COASTAL ACADEMY HIGH SCHOOL
                      4183 AVENIDA DE LA PLATA
                      OCEANSIDE, CA 92056



                      COASTAL MARKETING GROUP
                      590 ALLVIEW TERRACE STE A
                      LAGUNA BEACH, CA 92651



                      Coastal Marketing Group, Inc
                      590 Allview Terrace Suite A
                      Laguna Beach, CA 92651



                      COASTLINE COOLING LLC
                      7697 SW ELLIPSE WAY
                      STUART, FL 34997
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 494 of 2164




                      COASTLINE ELECTRIC COMPANY INC
                      3729 CREEKMONT DR
                      HOUSTON, TX 77091



                      COBB COUNTY BUSINESS LICENSE
                      PO BOX 649
                      MARIETTA, GA 30061



                      COBB COUNTY TAX COMMISSIONER
                      PO BOX 100127
                      MARIETTA, GA 30061-7027



                      COBB COUNTY WATER SYSTEM
                      PO BOX 480400
                      CHARLOTTE, NC 28258-0440



                      COBB EMC
                      PO BOX 105082
                      ATLANTA, GA 30348-5082



                      COBB PUBLIC HEALTH
                      1650 COUNTY SERVICES PRKW SW
                      MARIETTA, GA 30008-4010



                      COBRA BAND BOOSTERS
                      7949 W DREYFUS DR
                      PEORIA, AZ 85381



                      Coca Cola
                      PO BOX 101086
                      ATLANTA, GA 30392



                      COCA COLA (MINUTE MAID)
                      PO BOX 101086
                      ATLANTA, GA 30392
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 495 of 2164




                      COCA COLA (MINUTE MAID)
                      PO BOX 951073
                      DALLAS, TX 75395-1073



                      COCA COLA BOTTLERS SALES & SERVICES COMP
                      BANK OF AMERICA
                      PO BOX 402702
                      ATLANTA, GA 30384-2702



                      COCA COLA USA
                      PO BOX 101086
                      ATLANTA, GA 30392



                      COCA COLA USA
                      PO BOX 102703
                      ATLANTA, GA 30368



                      COCA COLA USA
                      PO BOX 951073
                      DALLAS, TX 75395-1073



                      COCA-COLA BOTTLING CO
                      PO BOX 102190
                      68 ANNEX
                      ATLANTA, GA 30368



                      COCA-COLA BOTTLING CO
                      PO BOX 740214
                      LOS ANGELES, CA 90074-0214



                      COCA-COLA NORTH AMERICA
                      PO BOX 102703
                      ATLANTA, GA 30368-2703



                      CODING THE FUTURE
                      11890 SPRINGSIDE ROAD
                      SAN DIEGO, CA 92128
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 496 of 2164




                      Cody Afflerbach
                      13300 WALSINGHAM RD
                      126
                      LARGO, FL 33774



                      Cody Allen
                      443 FAIRLOCK LANE N.W.
                      ATLANTA, FL 30331



                      Cody Amos
                      1576 S OWL DR
                      GILBERT, AZ 85296



                      Cody Archer
                      10180 QUIVAS ST
                      NORTHGLENN, CO 80260



                      Cody Breeden
                      420 MTZION RD
                      BONAIRE, GA 31005



                      Cody Bryans
                      327 S CORNER STREET
                      ANAHEIM, CA 92804



                      Cody Delaney
                      1984 W. LA OSA
                      #2
                      TUCSON, AZ 85705



                      Cody Foster
                      2003 E151st Ave
                      Lutz, FL 33549



                      CODY FOSTER
                      2003 E 151ST AVE
                      LUTZ, FL 33549
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 497 of 2164




                      Cody Hawkins
                      3030 E VILLA RITA DR
                      PHOENIX, AZ 85032



                      Cody L. Thurman
                      5700 CARBON CANYON RD
                      #1
                      BREA, CA 92823



                      cody nelson
                      850 DEXTER ST
                      205
                      DENVER, CO 80220



                      Cody Palmer
                      2128 OAK TERRACE
                      SARASOTA, FL 34231



                      Cody Thurman
                      5700 CARBON CANYON RD
                      #1
                      BREA, CA 92823



                      Cody Villegas
                      1142 W NORTH ST
                      ANAHEIM, CA 92801



                      Cody weld
                      8538 S UPHAM WAY
                      LITTLETON, CO 80128



                      COHNREZNICK LLP
                      1301 AVENUE OF THE AMERICAS
                      7TH FL
                      NEW YORK, NY 10019-6032
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 498 of 2164




                      Coinspect
                      MEWE INC
                      630 15TH AVE
                      SAN FRANCISCO, CA 94118



                      Coku Lediona
                      9075 GAYLORD DR
                      APT 31
                      HOUSTON, TX 77024



                      Colby Ellison
                      5964 W ROWLAND PL
                      LITTLETON, CO 80128



                      Colby Gilbert
                      4165 SILVER STREET
                      PLEASANTON, CA 94566



                      Colby Hallock
                      13875 SE 131ST AVE
                      CLACKAMAS, OR 97015



                      Colby Kelly
                      4490 MCINTOSH PARK DR
                      1804
                      SARASOTA, FL 34231



                      COLD TECH REFRIGERATION INC
                      PO BOX 33686
                      LAS VEGAS, NV 89133-3686



                      Cole Bixler
                      5346 SOUTH FULTONDALE WAY
                      AURORA, CO 80016



                      Cole Blecha
                      1162 HEARST DRIVE
                      PLEASANTON, CA 94566
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 499 of 2164




                      Cole Mueller
                      1442 TOPAR AVENUE
                      LOS ALTOS, CA 94024



                      Cole Yauney
                      1911 OVERLOOK ROAD
                      FULLERTON, CA 92831



                      COLES CHRISTIAN
                      10679 SPRINGFIELD DR
                      RANCHO CUCAMONGA, CA 91730



                      Colin Curtright
                      10578 RANCHO CARMEL DR
                      SAN DIEGO, CA 92128



                      Colin Martin
                      3025 W MICHELLE DR
                      PHOENIX, AZ 85053



                      COLIN MORRIS
                      507 GIOTTO
                      507
                      IRVINE, CA 92614



                      Colin Quinn
                      13 DESTINO WAY
                      MISSION VEJO, CA 92692



                      Colin Scharff
                      3380 AVENIDA NIEVE
                      CARLSBAD, CA 92009



                      COLLABORATIVE PATHWAYS
                      3434 E BROADWAY
                      TUCSON, AZ 85716
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 500 of 2164




                      COLLEGE OF NURSING
                      1305 N MARTIN AVE
                      ATTN CANDY MARTINEZ
                      TUCSON, AZ 85721



                      COLLEGE OF THE CANYONS FOUNDATION
                      26455 ROCKWELL CANYON RD
                      SANTA CLARITA, CA 91355



                      COLLIER COUNTY LODGE 38 FRATERNAL ORDER
                      2805 HORSESHOE DR S #5
                      NAPLES, FL 34104



                      COLLIER COUNTY SHERIFFS OFFICE
                      3319 TAMIAMI TRAIL EAST
                      FALSE ALARM BUREAU
                      NAPLES, FL 34112-4901



                      COLLIER COUNTY TAX COLLECTOR
                      3291 E. TAMIAMI TRAIL
                      NAPLES, FL 34112-5758



                      COLLIER COUNTY TAX COLLECTOR
                      3291 E TAMIAMI TRAIL
                      NAPLES, FL 34112-5758



                      Collin Honey
                      6019 44TH CT E
                      BRADENTON, FL 34203



                      Collin Shorey
                      1069 WESLEY PARK DR
                      MARIETTA, GA 30064



                      COLLINS PLUMBING
                      3050 S 25TH AVE STE A
                      BROADVIEW, IL 60155
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 501 of 2164




                      COLOR WORKS DESIGN LLC
                      2043 MAIDEN LN
                      WENATCHEE, WA 98801



                      COLOR WORKS DESIGN LLC
                      2043 MAIDEN LN
                      WENATCHEE
                      WA, 98801



                      COLORADO COMMERCIAL REFRIGERATION
                      12449 MEAD WAY
                      LITTLETON, CO 80125



                      COLORADO DEPARTMENT OF REVENUE
                      1375 SHERMAN ST.
                      DENVER, CO 00802-6115



                      COLORADO DEPT OF LABOR AND EMPLOYMENT
                      633 17TH ST STE 500
                      VISION OF OIL AND PUBLIC SFTY BOILER SEC
                      DENVER, CO 80202-3610



                      COLORADO DEPT OF REVENUE
                      DEPARTMENT A
                      DENVER, CO 80243



                      COLORADO DEPT OF REVENUE
                      1375 SHERMAN ST
                      DENVER, CO 80261



                      COLORADO DEPT OF TREASURY
                      UNCLAIMED PROPERTY DIVISION
                      1580 LOGAN ST #500
                      DENVER, CO 80203



                      COLORADO STATE TREASURER
                      DIV OF EMPLOYMENT AND TRAINING
                      P.O. BOX 956
                      DENVER, CO 08020-1956
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 502 of 2164




                      COLOROW ELEMENTARY PTA
                      6317 S ESTES ST
                      LITTLETON, CO 80123



                      Colorworks
                      2043 MAIDEN LN
                      WENATCHEE, WA 98801



                      Colton Cox
                      1491 E BROWNING AVE
                      FRESNO, CA 93710



                      Colton Granade
                      5462 Amy Ave
                      Garden Grove, CA 92845



                      COLUMBIAN FOUNDATION
                      8002 TOPAZ LAKE AVE
                      KNIGHTS OF COLUMBUS COUNCIL 88
                      SAN DIEGO, CA 92119



                      COLUMBIAN FOUNDATION
                      40817 CRESTON STREET
                      KNIGHTS OF COLUMBUS COIT COUNC
                      FREMONT, CA 94538



                      COLUMBINE KNOLLS SWIM TEAM
                      6191 WEST PLYMOUTH DR
                      LITTLETON, CO 80128



                      COLUMBUS CITY TREASURER
                      PO BOX 182489
                      COLUMBUS, OH 43218-2489



                      COLUMBUS TUSTIN PTO
                      17952 BENETA WAY
                      TUSTIN, CA 92780
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 503 of 2164




                      COM OF TAXATION CITY OF TOLEDO
                      DIVISION OF TAXATION
                      1 GOVERNMENT CTR SUITE 2070
                      TOLEDO, OH 43604-2280



                      COMET LOANS
                      PO BOX 667
                      BLANDING, UT 84511



                      COMLETRIC INC
                      PO BOX 5929
                      CONCORD, CA 94524



                      COMMERCIAL APPLIANCE SERVICE
                      8416 LAUREL FAIR CIRCLE #114
                      TAMPA, FL 33610



                      COMMERCIAL CUSTOM SEATING &
                      UPHOLSTERY
                      12601 WESTERN AVENUE
                      GARDEN GROVE, CA 92841



                      COMMERCIAL FIRE LLC
                      2465 SAINT JOHNS BLUFF RD S
                      JACKSONVILLE, FL 33246



                      COMMERCIAL LIGHTING COMPANY
                      PO BOX 270651
                      TAMPA, FL 33688



                      COMMERCIAL MAINTENANCE SYSTEMS INC
                      PO BOX 2190
                      SANTA BARBARA, CA 93120



                      COMMERCIAL REPAIR SERVICE LLC
                      6738 E BROADWAY BLVD
                      TUCSON, AZ 85710-2807
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 504 of 2164




                      COMMERCIAL SEATING SPECIALISTS
                      481 LAURELWOOD RD
                      SANTA CLARA, CA 95054



                      COMMERCIAL WATER TREATMENT CORP
                      4345 WAGON TRAIL AVE
                      LAS VEGAS, NV 89118



                      COMMISSIONER OF REVENUE SVCES
                      DEPARTMENT OF REVENUE SERVICES
                      P.O. BOX 2931
                      HARTFORD, CT 6104-2931



                      COMMISSIONER OF TAX AND FINANC
                      P.O. BOX 4139
                      BINGHAMTON, NY 13902-4139



                      COMMISSIONERS TAXATION
                      400 CONANT STREET
                      MAUMEE, OH 00043-5370



                      COMMLOG LLC
                      33 N PARSELL STE B
                      MESA, AZ 85203



                      COMMONWEALTH OF MASSACHUSETTS
                      ONE ASHBURTON PLACE 12TH FLOOR
                      STATE TREAS OFFICE UNCLAIMED PROPERTY DI
                      BOSTON, MA 02108-1608



                      COMMONWEALTH OF MASSACHUSETTS
                      MASS. DEPT OF REVENUE
                      P.O. BOX 7034
                      BOSTON, MA 2204-0



                      COMMUNITY MINISTRY OF SW DENVER
                      1755 S ZUNI ST
                      DENVER, CO 80223
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 505 of 2164




                      COMMUNITY MONTESSORI
                      1441 MONTIEL RD SUITE 143
                      ELEMENT EDUCATION
                      ESCONDIDO, CA 92026



                      Compactor Rentals




                      COMPETITIVE CREATIONS LLC
                      4301 W WILLIAM CANNON
                      STE B-150 #120
                      AUSTIN, TX 78749



                      Complete Office
                      Po Box 4318
                      CERRITOS, CA 90703



                      COMPLETE OFFICE
                      PO BOX 707
                      POWAY, CA 92074



                      COMPLETE WATER SYSTEM
                      3358 SW 49TH WAY BAY1
                      DAVIE, FL 33314



                      COMPONENT DESIGN NW INC
                      PO BOX 10947
                      PORTLAND, OR 97296-0947



                      Component Design Nw. Inc.
                      Cdn
                      PO BOX 10947
                      Portland, OR 97296-0947



                      Component Hardware Group
                      Po Box 789482
                      Philadelphia, PA 19178-9482
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 506 of 2164




                      COMPTROLLER OF MARYLAND-WH
                      REMITTANCE PROCESSING CENTER
                      110 CARROLL STREET
                      ANNAPOLIS, MD 00021-4111



                      Conagra
                      FILE 56929
                      LOS ANGELES, CA 90074-6929



                      CONAGRA FOODS INC
                      PO BOX 100300
                      PASADENA, CA 91189-0300



                      CONAGRA FOODS INC
                      PO BOX 417193
                      BOSTON, MA 02241-7193



                      CONAGRA FOODS INC
                      12132 COLLECTIONS CENTER DRIVE
                      CHICAGO, IL 60693



                      CONAGRA FOODS INC
                      FILE 56929
                      LOS ANGELES, CA 90074-6929



                      Conagra Foods Sales, Llc
                      12132 Collections Center Drive
                      Chicago, IL 60693



                      Conan Keaulana
                      7975 SW KELSO CT
                      TIGARD, OR 97224



                      CONCENTRA MEDICAL CENTERS
                      OCCUPATIONAL HEALTH CENTERS OF
                      THE SOUTHWEST, P.C. PO BOX 9009
                      BROOMFIELD, CO 80021
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 507 of 2164




                      Concepcion Castillo
                      2678 CAMPBELL RD
                      HOUSTON, TX 77080



                      Concepcion Maldonado Palacios
                      5217 Rosestone DR. NW
                      Lot 12D
                      Lilburn, GA 30047



                      Concepcion Soza
                      1203 Purple Sage
                      Las Vegas, NV 89108



                      Concepcion Vargas
                      136 Vermont St Ne
                      Apt A
                      Albuquerque, NM 87108



                      CONCEPTS INC
                      PO BOX 345
                      AVONDALE ESTATES, GA 30002



                      CONCORD ASSEMBLY #15
                      721 STONE HARBOUR DR
                      PITTSBURG, CA 94565



                      CONCORD ASSEMBLY #15
                      721 STONE HARBOUR DR
                      PITTSBURG
                      CA, 94565



                      CONCUR TECHNOLOGIES INC
                      62157 COLLECTIONS CENTER DRIVE
                      CHICAGO, IL 60693



                      CONGREGATION ANSHEI ISRAEL
                      5550 E 5TH ST
                      TUCSON, AZ 85711
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 508 of 2164




                      CONGREGATION ANSHEI ISRAEL
                      5550 E 5TH ST
                      TUCSON
                      AZ, 85711



                      CONGREGATION B NAI ISRAEL
                      4401 INDIAN SCHOOL RD NE
                      ALBUQUERQUE, NM 87110



                      CONGREGATION B NAI TZEDEK
                      9669 TALBERT AVE
                      FOUNTAIN VALLEY, CA 92708



                      CONGREGATION BETH SHALOM
                      5303 WINTERS CHAPEL RD
                      DUNWOODY, GA 30360



                      CONGREGATION BNAI TORAH
                      3990 W 74TH AVE
                      WESTMINSTER, CO 80030



                      CONGREGATION ETZ CHAIM
                      1190 INDIAN HILLS PKWY
                      ATTN STEVEN RESNICK
                      MARIETTA, GA 30068



                      CONGREGATION HAVURIM
                      35889 DEVONSHIRE LN
                      WILDOMAR, CA 92595



                      CONGREGATION NER TAMID
                      55 N VALLE VERDE
                      HENDERSON, NV 89074



                      CONGREGATION OHEV SHALOM USY
                      613 CONCOURSE PKWY S
                      MAITLAND, FL 32571
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 509 of 2164




                      CONGREGATION SHIR CHADASH
                      6440 DEL AMO BLVD
                      LAKEWOOD, CA 90713



                      Connie Chui
                      1125 E. Grand Ave
                      Pomona, CA 91766



                      Connie Contreras
                      19615 Norfolk Ridgeway
                      Richmond, TX 77407



                      Connie Daidone
                      6232 GREENVIEW CIRCLE
                      66
                      SARASOTA, FL 34231



                      CONNIE DAIDONE
                      6232 GREENVIEW CIRCLE 66
                      SARASOTA, FL 34231



                      Connie Rangel
                      12221 ACADEMY WAY
                      ARTESIA, CA 90701



                      Connie Rice
                      1750 Stokes St 32
                      San Jose, CA 95126



                      CONNIE RUSSELL CONSULTING LLC
                      1102 PRICILLA LANE
                      CINCINNATI, OH 45208



                      Connie Wiencek
                      8788 Britt Ct
                      San Diego, CA 92123
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 510 of 2164




                      Connor Bolte
                      6075 PELICAN BAY BLVD
                      703
                      NAPLES, FL 34108



                      Connor Caruthers
                      22 LA PERLA
                      FOOTHILL RANCH, CA 92610



                      Connor Cook
                      1310 Arlington Pl
                      El Cajon, CA 92021



                      Connor Cook
                      445 VIA SAVOY
                      ENCINITAS, CA 92024



                      Connor Dena
                      12 GALEANA
                      FOOTHILL RANCH, CA 92610



                      Connor Donnelly
                      8015 SW 102 AVE
                      MIAMI, FL 33173



                      Connor Gregor-McCain
                      630 N. CERRITOSAVE. APT. 212
                      AZUSA, CA 91702



                      Connor J. Simon
                      16 MORNING DOVE
                      IRVINE, CA 92604



                      Connor Kim
                      16913 LAUREL HILL LN
                      UNIT 149
                      SAN DIEGO, CA 92127
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 511 of 2164




                      Connor Mangseth
                      1200 OAK AVE
                      CARLSBAD, CA 92008



                      Connor Olney
                      8071 STUART PLACE
                      WESTMINSTER, CO 80031



                      Connor R. Dena
                      12 GALEANA
                      FOOTHILL RANCH, CA 92610



                      Connor Seul
                      5063 OAK HOLLOW DR.
                      MORRISON, CO 80465



                      Connor Simon
                      16 MORNING DOVE
                      IRVINE, CA 92604



                      Connor torrence
                      8352 TRENT COURT
                      UNIT D
                      BOCA RATON, FL 33433



                      Consepsion Lopez-barroso
                      464 Graham Ave
                      #5
                      Camarillo, CA 93010



                      Consolidated Fire Protection
                      CFP Fire Protection Inc.
                      153 Technology Drive #200
                      Irvine, CA 92618



                      Consolidated Fire Protection (CFP)
                      153 TECHNOLOGY DRIVE #200
                      IRVINE, CA 92618
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 512 of 2164




                      CONSTANT CONTACT INC
                      17 BATTERY PLACE 11TH FLOOR
                      NEW YORK, NY 10004



                      CONSTELLATION NEWENERGY INC
                      PO BOX 4640
                      CAROL STREAM, IL 60197-4640



                      Consuelo Aguilar Franco
                      4892 BERNAL AVE
                      J
                      PLEASANTON, CA 94566



                      Consuelo Lopez
                      582 94th Ave
                      Naples, FL 34108



                      CONTRA COSTA
                      ENVIRONMENTAL HEALTH DIVISION
                      2120 DIAMOND BLVD. SUITE #200
                      CONCORD, CA 94520



                      CONTRA COSTA
                      ENVIRONMENTAL HEALTH
                      50 DOUGLAS DR #320C
                      MARTINEZ, CA 94553



                      CONTRA COSTA COUNTY CLERK
                      PO BOX 350
                      MARTINEZ, CA 94553



                      CONTRA COSTA COUNTY CLERK
                      1035 MARKET STREET #500
                      THE RECORDER- ATTN FBN FILING
                      SAN FRANCISCO, CA 94103



                      CONTRA COSTA COUNTY TAX COLLEC
                      PO BOX 7002
                      SAN FRANCISCO, CA 94120-7002
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 513 of 2164




                      CONTRA COSTA HEALTH SERVICES
                      4585 PACHECO BLVD STE 100
                      HAZARDOUS MATERIALS PROGRAMS
                      MARTINEZ, CA 94553-2233



                      CONTRA COSTA WATER DISTRICT
                      1331 CONCORD AVE
                      PO BOX H2O
                      CONCORD, CA 94524-2099



                      CONTROL PROGRESS
                      31111 US HIGHWAY 19 NORTH
                      PALM HARBOR, FL 34684



                      Convario Willlams
                      POBOX72550
                      LOS ANGELES, CA 90002



                      CONWAY ELEMENTARY PTA
                      GABY GOMEZ
                      1325 CONWAY DRIVE
                      ESCONDIDO, CA 92024



                      CONWAY TILE CO INC
                      5401 EAST 29TH STREET
                      TUCSON, AZ 85711



                      Cookie Kingdom Inc
                      1201 E Walnut Street
                      Oglesby, IL 61348



                      COOL AIR HOUSTON HVACR
                      MECHANICAL SERVICES LLC
                      1110 PENNSYLVANIA
                      SOUTH HOUSTON, TX 77587
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                      COOL SEAL GASKETS OF CENTRAL
                      FLORIDA LLC
                      PO BOX 160985
                      ALTAMONTE SPRINGS, FL 32716



                      COOL TEMP INC
                      10165 SW COMMERCE CIRCLE STE C
                      WILSONVILLE, OR 97070



                      Cooper Bars
                      11201 NE 47TH AVE
                      VANCOUVER, WA 98686



                      Cooper-Atkins Corporation
                      29193 Network Place
                      Chicago, IL 60673-1291



                      COORDINATED SYSTEMS AND SUPPLIES INC
                      PO BOX 58
                      WICHITA, KS 67201



                      COPLEY-AKRON JEDD
                      1 CASCADE PLAZA, 11TH FLOOR
                      C/O AKRON CITY TAX
                      AKRON, OH 00044-3080



                      COR-O-VAN RECORDS MANAGEMENT
                      PO BOX 842638
                      LOS ANGELES, CA 90084-2638



                      Coral Garner
                      36 THOMAS DRIVE
                      DALLAS, GA 30157



                      CORAL GLADES CLASS OF 2022
                      2700 SPORTSPLEX DR
                      CORAL GLADES HIGH SCHOOL
                      CORAL SPRINGS, FL 33065
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 515 of 2164




                      CORAL GLADES KEY CLUB
                      2700 SPORTSPLEX DR
                      CORAL SPRINGS, FL 33065



                      CORAL SPRINGS CHARTER SCHOOL
                      3205 N UNIVERSITY DR
                      CORAL SPRINGS, FL 33065



                      CORAL SPRINGS CHARTER SCHOOL
                      3205 N UNIVERSITY DR
                      CORAL SPRINGS
                      FL, 33065



                      CORAL SPRINGS IMPROVEMENT DISTRICT
                      10300 NW 11TH MANOR
                      CORAL SPRINGS, FL 33071



                      CORAL SPRINGS IMPROVEMENT DISTRICT
                      10300 NW 11TH MANOR
                      CORAL SPRINGS
                      FL, 33071



                      CORAL SPRINGS POLICE DEPT
                      2801 CORAL SPRINGS DR
                      CORAL SPRINGS, FL 33065



                      CORAL SPRINGS POLICE DEPT
                      2801 CORAL SPRINGS DR
                      CORAL SPRINGS
                      FL, 33065



                      Cordero Montford
                      576 NORTH FORK
                      16
                      DECATUR, GA 30083



                      CORE MECHANICAL LLC
                      PO BOX 132584
                      SPRING, TX 77393
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 516 of 2164




                      CORE MECHANICAL LLC
                      PO BOX 132584
                      SPRING
                      TX, 77393



                      CORETEX USA INC
                      15110 AVENUE OF SCIENCE
                      STE 100
                      SAN DIEGO, CA 92128



                      Corey Brunswick
                      1305 GRAN COURT
                      C
                      ROSWELL, GA 30076



                      Corey Espinoza
                      991 MONTECITO DR
                      LOS ANGELES, CA 90031



                      Corey Garrett
                      1032 MOHR LN
                      69
                      CONCORD, CA 94518



                      Corey Garrison
                      4202 ROBBINS AVE
                      ORLANDO, FL 32808



                      Corey Herold
                      8699 NE SWIRE ST
                      HILLSBORO, OR 97006



                      Corey King
                      9466 BOCA COVE CIRCLE
                      313
                      BOCA RATON, FL 33482
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 517 of 2164




                      COREY MILLER
                      1851 LOTUS COURT
                      CARLSBAD, CA 92011



                      Corey Rouse
                      205 WOOD SHOALS CT
                      ALPHARETTA, GA 30022



                      Corey-lynn Gomez
                      8205 HAMMOCKS BLVD
                      7210
                      MIAMI, FL 33193



                      Cori Dill
                      13698 FONTANELLE PLACE
                      SAN DIEGO, CA 92128



                      Cori Donnerson
                      1926 BRADBURY AVE
                      DUARTE, CA 91010



                      Cori Rotellini
                      213 STAR SHELL DR
                      APOLLO BEACH, FL 33572



                      Corina Corbaton
                      5081 ELLA CT.
                      SAN JOSE, CA 95111



                      Cornelio Ramos
                      6057 N Polk Ave
                      Fresno, CA 93722



                      Cornelius Bryant
                      2153 EARL AVE
                      LONG BEACH, CA 90806
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 518 of 2164




                      Cornelius Mackey
                      193 El Camino Loop NW
                      Rio Rancho, NM 87144



                      CORPORATE CENTER AT CORNELL OAKS ASSOCIA
                      15455 NW GREENBRIER PKWY
                      STE 245 C/O JONES LANG LA SALLE
                      BEAVERTON, OR 97006



                      CORPUS CHRISTI
                      3550 E KNOX RD
                      CORPUS CHRISTI ST GERARD CIRCL
                      PHOENIX, AZ 85044



                      CORRY LOCAL SERVICES TAX
                      100 S. CENTER STREET
                      CORRY, PA 00016-4070



                      Corry Reid
                      2 Montgomery
                      Mission Viejo, CA 92692



                      Corry Thomas
                      7004 Ne 44th Cir
                      Apt C
                      Vancouver, WA 98661



                      Cortnee Kelley
                      3124 MENLO AGE
                      1.5
                      SAN DIEGO, CA 92105



                      Cortney Haber
                      16000 Temple Ave.
                      Apt. A
                      City of Industry, CA 91744
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 519 of 2164




                      Cortney Herndon
                      1113 ALVIN AVE
                      LEHIGH ACRES, FL 33971



                      CORTNEY JHS
                      5301 E HACIENDA AVE
                      LAS VEGAS, NV 89122



                      CORTNEY JHS
                      5301 E HACIENDA AVE
                      LAS VEGAS
                      NV, 89122



                      CORWIN BEVERAGE
                      219 S TIMM ROAD
                      RIDGEFIELD, WA 98642



                      Cory Spotts
                      2514 SEAHORSE BEND DR
                      KATY, TX 77449



                      Cory Watson
                      614 GARDENS DR.
                      203
                      POMPANO BEACH, FL 33069



                      Cosme Rascon Marquez Jr
                      5420 W 6TH AVE
                      #7
                      LAKEWOOD, CO 80214



                      COSTCO
                      7803 OTHELLO AVE
                      SAN DIEGO, CA 92111



                      COSTCO WHOLESALE CORPORATION
                      999 LAKE DRIVE
                      ATTN: REAL ESTATE ACCOUNTING
                      ISSAQUAH, WA 98027
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 520 of 2164




                      Costco Wholesale Corporation
                      Attn: Legal Dept.
                      999 Lake Dr.
                      Issaquah, WA 98027



                      COSTCO WHOLESALE MEMBERSHIP
                      PO BOX 34783
                      SEATTLE, WA 98124-1783



                      COTTONWOOD SCHOOL CSPA
                      3896 CORRALES ROAD
                      CORRALES, NM 87048



                      COUNTRY COFFEE CO INC
                      DISTANT LANDS COFFE ROASTERS
                      25185 NETWORK PLACE
                      CHICAGO, IL 60673-1185



                      Country Coffee Co, Inc.
                      Distant Lands Coffe Roasters
                      25185 Network Place
                      Chicago, IL 60673-1185



                      COUNTRY SPRINGS ELEMENTARY PFA
                      14145 VILLAGE CENTER DR
                      CHINO HILLS, CA 91709



                      COUNTRYSIDE JUNIOR COUGARS
                      PO BOX 16934
                      CLEARWATER, FL 33766



                      County Fair
                      PO BOX 220
                      FARMINGTON, CA 95230



                      County Fair Food Products
                      P O Box 220
                      Farmington, CA 95230
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 521 of 2164




                      COUNTY FAIR FOOD PRODUCTS
                      PO BOX 220
                      FARMINGTON, CA 95230



                      County Fair Food Products
                      P O Box 220
                      Farmington
                      CA, 95230



                      COUNTY OF ALAMEDA
                      ENVIRONMENTAL HEALTH
                      PO BOX N
                      ALAMEDA, CA 94501-0108



                      COUNTY OF COLLIER TAX COLLECTOR
                      2800 N HORSESHOE DR RM 211
                      NAPLES, FL 34104



                      COUNTY OF LOS ANGELES
                      ENVIRONMENTAL HEALTH DIVISION
                      5050 COMMERCE DRIVE
                      BALDWIN PARK, CA 91706



                      COUNTY OF LOS ANGELES
                      DEPARTMENT OF PUBLIC HEALTH
                      PO BOX 54978
                      LOS ANGELES, CA 90054-0978



                      COUNTY OF LOS ANGELES
                      DEPT OF PUBLIC HEALTH
                      PO BOX 54978
                      LOS ANGELES, CA 90054-0978



                      COUNTY OF ORANGE
                      12 CIVIC CENTER PLAZA
                      SANTA ANA, CA 92701
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 522 of 2164




                      COUNTY OF ORANGE
                      PO BOX 1438
                      ATTN TREASURER - TAX COLLECTOR
                      SANTA ANA, CA 92702-1438



                      COUNTY OF ORANGE
                      PO BOX 4005
                      SANTA ANA, CA 92702-4005



                      COUNTY OF RIVERSIDE DEPARTMENT
                      PO BOX 7909
                      DEPT OF ENVIRONMENTAL HEALTH
                      RIVERSIDE, CA 92513-7909



                      COUNTY OF SAN BERNARDINO
                      351 N MOUNTAIN VIEW AVE
                      SAN BERNARDINO, CA 92415-0010



                      COUNTY OF SAN BERNARDINO
                      DEPT OF PUBLIC HEALTH
                      385 N ARROWHEAD AVE 2ND FLOOR
                      SAN BERNARDINO, CA 92415-0160



                      COUNTY OF SAN DIEGO
                      PO BOX 129261
                      DEPT OF ENVIRONMENTAL HEALTH
                      SAN DIEGO, CA 92112-9261



                      COUNTY OF SANTA CLARA
                      1555 BERGER DR #300
                      SAN JOSE, CA 95112



                      COUNTY OF SANTA CLARA
                      ENVIRONMENTAL HEALTH
                      1555 BERGER DR #300
                      SAN JOSE, CA 95112-2716
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 523 of 2164




                      COUNTY OF VENTURA TREASURER TAX COLLECTO
                      PO BOX 845642
                      LOS ANGELES, CA 90084-5642



                      COURREGES ELEMENTARY
                      18313 SANTA CARLOTTA
                      FOUNTAIN VALLEY, CA 92708



                      COURT MARIAN 1669
                      5838 HAYTER AVE
                      LAKEWOOD, CA 90712



                      Courtney Anglin
                      4161 GLENAIRE WAY NW
                      ACWORTH, GA 30101



                      COURTNEY BOOHER
                      606 BILTMORE WAY
                      SAINT PETERS, MO 63376-2399



                      Courtney Braden
                      7636 Isabella Dr A15
                      Port Richey, FL 34668



                      Courtney Bridges
                      246 DERBY COURT
                      ACWORTH, GA 30102



                      Courtney Connelly
                      5800 HARPER DR NE
                      1125
                      ALBUQUERQUE, NM 87109



                      Courtney Davis
                      8995 ROSWELL RD
                      ATLANTA, GA 30350
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 524 of 2164




                      Courtney Haye
                      2452 Woodcreek Rd.
                      Camarillo, CA 93012



                      Courtney Hibler
                      4360 Elena Pl.
                      Quartz Hill, CA 93536



                      Courtney Jackson
                      7164 Colony Club Drive
                      Lake Worth, FL 33463



                      Courtney jones
                      12343 SOUTH DAIRY ASHFORD
                      12343
                      HOUSTON, TX 77099



                      Courtney Manson
                      3767 Kvistad Dr
                      Fremont, CA 94538



                      Courtney McDugald
                      13050 CHAMPIONS PARK DR
                      1015
                      HOUSTON, TX 77069



                      Courtney ONan
                      1575 OAK DRIVE
                      V8
                      VISTA, CA 92084



                      Courtney Sessler
                      17802 NESS DR
                      101
                      CANYON COUNTRY, CA 91387



                      COURTNEY SESSLER
                      17802 NESS DR 101
                      CANYON COUNTRY, CA 91387
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 525 of 2164




                      Courtney Walton
                      5321 Heritage Way Ne
                      B
                      Albuquerque, NM 87109



                      Courtney Williams
                      3544 Oak Grove Dr
                      Sarasota, FL 34243



                      Courtney Williams
                      1788 Hammock Blvd
                      Coconut Creek, FL 33063



                      Covadonga Ramos
                      8427 E 9TH ST
                      RANCHO CUCAMONGA, CA 91730



                      COX
                      PO BOX 79171
                      PHOENIX, AZ 85062-9171



                      COX COMMUNICATIONS
                      PO BOX 53214
                      PHOENIX, AZ 85072-3214



                      COX COMMUNICATIONS
                      PO BOX 79171
                      PHOENIX, AZ 85062-9171



                      COYLE REPRODUCTIONS INC
                      2850 ORBITER ST
                      BREA, CA 92821



                      COZZINI BROTHERS INC
                      350 HOWARD AVE
                      DES PLAINES, IL 60018
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 526 of 2164




                      COZZINI BROTHERS INC
                      350 HOWARD AVE
                      DES PLAINES
                      IL, 60018



                      Cozzino Bros
                      350 HOWARD AVE
                      DES PLAINES, IL 60018



                      CPMS PTSA
                      10269 MADRID WAY
                      SPRING VALLEY, CA 91977



                      CPP VIETNAMESE STUDENTS ASSOC
                      13876 DAWSON ST
                      CAL POLY POMONAS VIETNAMESE ST
                      GARDEN GROVE, CA 92843



                      CR3 CAPITAL LLC
                      13355 NOEL ROAD STE 310
                      DALLAS, TX 75241



                      CR3 PARTNERS LLC
                      13355 NOEL ROAD STE 310
                      DALLAS, TX 75240-1565



                      CRAFT CONSTRUCTION COMPANY INC
                      2306 LOSEE RD
                      NORTH LAS VEGAS, NV 89030



                      Craig Blankenbiller
                      13420 SPARREN CT
                      SAN DIEGO, CA 92129



                      Craig Brown
                      18369 Grenache Rose Way
                      Ramona, CA 92065
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 527 of 2164




                      CRAIG FENNEMORE PC
                      2394 E CAMELBACK RD #600
                      PHOENIX, AZ 85016



                      Craig Fitzgerald
                      6221 Willow Beck Lane
                      Apt 304
                      Bradenton, FL 34202



                      CRAIG FITZGERALD
                      1423 PINE GLEN LN
                      APT C3
                      TARPON SPRINGS, FL 34688



                      Craig Hester Jr
                      2899 PANTHERSVILLE RD
                      #G
                      DECATUR, GA 30034



                      Craig J. Romero
                      6001 TOPKE PL NE
                      B07
                      ALBUQUERQUE, NM 87109



                      Craig Riche
                      8450 SE 147TH PLACE
                      SUMMERFIELD, FL 34491



                      Craig Romero
                      6001 TOPKE PL NE
                      B07
                      ALBUQUERQUE, NM 87109



                      Craig Wilson
                      10554 TWILIGHT MOON DR.
                      HOUSTON, TX 77064
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 528 of 2164




                      Craig Young
                      982 42ND ST
                      SARASOTA, FL 34234



                      CRAIN ENTERTAINMENT INC
                      PO BOX 562
                      TANGERINE, FL 32777



                      CRCI LLC
                      7456 WASHINGTON AVE S
                      EDEN PRAIRE, MN 55344



                      CREATIVE CONSTRUCTION AND FACILITIES COR
                      742 CHARCOT AVE
                      SAN JOSE, CA 95131



                      CREATIVE CONSTRUCTION AND FACILITIES COR
                      742 CHARCOT AVE
                      SAN JOSE
                      CA, 95131



                      CREATIVE STAGES OF SAN DIEGO
                      2653 ARIANE DR
                      SAN DIEGO, CA 92117



                      CREDIT SERVICE COMPANY INC
                      JUDICIAL COLLECTORS
                      PO BOX 1120
                      COLORADO SPRINGS, CO 80901



                      Cremeans Jesse
                      5132 MONROE AVE
                      SAN DIEGO, CA 92115



                      Crescencio Melchor
                      3255 Mulberry Dr
                      Clearwater, FL 33761
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 529 of 2164




                      CREST ELEMENTARY PTA
                      2000 SUNCREST BLVD
                      CREST ELEMENTARY SCHOOL
                      EL CAJON, CA 92021



                      CRESTONE GROUP LLC
                      5927 FARNSWORTH CT
                      CARLSBAD, CA 92008



                      Crestone Group, Llc
                      5927 Farnsworth Ct
                      Carlsbad, CA 92008



                      CRFO
                      9652 W EDENBURG PL
                      LITTLETON, CO 80127



                      Crisanta Pineda
                      2435 SW ECOLE AVE
                      APT.81
                      BEAVERTON, OR 97005



                      Criseyda Yanez
                      25479 PACIFIC ST
                      SAN BERNARDINO, CA 92404



                      Crisoforo Peralta Hernandez
                      824 E 6TH ST
                      NATIONAL CITY, CA 91950



                      Crispin Enriquez
                      2261 Maple St
                      Apt B
                      Costa Mesa, CA 92627



                      Cristel Gamez
                      1501 Big Bend
                      Houston, TX 77055
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 530 of 2164




                      Cristell Erler
                      8869 DELLA SCALA CIRCLE
                      8869
                      ORLANDO, FL 32836



                      Cristhian Umanzor
                      4001 NICOLET AVE
                      12
                      FREMONT, CA 94536



                      Cristhian Valdivia
                      5820 KISLIN PL
                      ORLANDO, FL 32807



                      CRISTIAN A. ENCISO
                      7600 AMBERGATE PL
                      RIVERSIDE, CA 92504



                      Cristian Andrade
                      8324 FANITA DR
                      27
                      SANTEE, CA 92071



                      CRISTIAN ARRIAGA
                      4421 E VILLAGE RD
                      LONG BEACH, CA 90808



                      CRISTIAN ARRIAGA
                      4421 E VILLAGE RD
                      LONG BEACH
                      CA, 90808



                      Cristian Buezo
                      4911 Templeton St
                      Los Angeles, CA 90032
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 531 of 2164




                      Cristian Cabral
                      3000 E 112TH AVE
                      UNIT 60
                      NORTHGLENN, CO 80233



                      Cristian Cavazos
                      832 100TH AVE N
                      NAPLES, FL 34108



                      Cristian Cevallos
                      1860 PEAR DR
                      CONCORD, CA 94518



                      Cristian Chigbolu
                      16587 WING LANE
                      LA PUENTE, CA 91744



                      Cristian Encinas
                      25750 Covala Ct
                      Santa Clarita, CA 91355



                      Cristian Enciso
                      7600 AMBERGATE PL
                      RIVERSIDE, CA 92504



                      Cristian Limon
                      3737 South Ferntower Ave.
                      West Covina, CA 91792



                      Cristian Martinez
                      STOCKBRIDGE
                      3838
                      LOS ANGELES, CA 90032



                      Cristian Martinez
                      302 GOODYEAR ST
                      SAN JOSE, CA 95110
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 532 of 2164




                      Cristian Millan
                      7569 Alachua St
                      Orlando, FL 32822



                      Cristian Perez
                      1115 Turtle Creek Drive
                      Naples, FL 34110



                      Cristian Pilling
                      2572 DIERICX DRIVE
                      MOUNTIAN VIEW, CA 94040



                      Cristian Reyes Cruz
                      6827 FEATHER CREEK DR
                      HOUSTON, TX 77086



                      Cristian Sandoval
                      6887 OSLER ST
                      D
                      SAN DIEGO, CA 92111



                      Cristian Tueros
                      22 w newman ave
                      arcadia, CA 91007



                      Cristina Aleman
                      1822 Paseo Laguna Seco
                      Apt. 187
                      Livermore, CA 94551



                      Cristina Almaguer Ortiz
                      24715 SAND WEDGE LN
                      VALENCIA, CA 91355



                      Cristina Bautista
                      27354 LAS NIEVES
                      MISSION VIEJO, CA 92691
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 533 of 2164




                      Cristina Garcia
                      2079 Plymouth Dr
                      Pittsburg, CA 94565



                      Cristina Gonzales
                      450 S Valencia
                      Apt B7
                      Mesa, AZ 85202



                      Cristina Gonzalez
                      2639 Arnold St
                      Sarasota, FL 34231



                      Cristina Hernandez
                      15334 Lakewood Blvd
                      Apt #9
                      Bellflower, CA 90706



                      Cristina Khauv
                      223 W Glendon Way
                      San Gabriel, CA 91776



                      Cristina Rafael Lucas
                      10142 BLACK MOUNTAIN RD.
                      30
                      SAN DIEGO, CA 92126



                      Cristina rodriguez flores
                      1022 8TH AVENUE NW
                      LARGO, FL 33770



                      Cristina Sanchez
                      10503 Glassborough Dr
                      Orlando, FL 32825



                      Cristobal Villasenor
                      3714 E HEATON AVE
                      FRESNO, CA 93702
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 534 of 2164




                      Cristopher A. Ortega
                      10963 AVENIDA DEL GATO
                      SAN DIEGO, CA 92126



                      Cristopher Burga-Ramirez
                      1378 REEVE ST
                      6
                      SANTA CLARA, CA 94086



                      cristopher canchola
                      865 ELMWOOD ST
                      COLTON, CA 92324



                      Cristopher Martinez
                      4911 N ARRAWANA
                      TAMPA, FL 33614



                      Cristopher Ortega
                      10963 AVENIDA DEL GATO
                      SAN DIEGO, CA 92126



                      cristopher william
                      502 N 34TH DR
                      #3
                      PHOENIX, AZ 85009



                      CRM SWITCH LLC
                      1005 NORTHGATE DRIVE #145
                      SAN RAFAEL, CA 94903



                      CRM SWITCH LLC
                      101 LUCAS VALLEY ROAD STE 249
                      SAN RAFAEL, CA 94903



                      CROHNS AND COLITIS FOUNDATION
                      800 MAINBERRY DRIVE APT 602
                      MADERA, CA 93637
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 535 of 2164




                      CROHNS AND COLITIS FOUNDATION
                      800 MAINBERRY DRIVE APT 602
                      MADERA
                      CA, 93637



                      Crown Brands LLC
                      CLP Foodservice Distribution, Inc
                      PO Box 205579
                      Dallas, TX 75320-5579



                      Crown Brands LLC
                      CLP Foodservice Distribution, Inc
                      PO Box 205579
                      Dallas
                      TX, 75320-5579



                      CROWN POINTE ACADEMY
                      2900 W 86TH AVE
                      WESTMINSTER, CO 80031



                      CRP CYPRESS WEST 7TH
                      COMMERCIAL LP
                      C/O JP MORGAN CHASE & CO PO BOX 29650 DE
                      PHOENIX, AZ 85038-9650



                      CRUNCHTIME INFORMATION SYSTEMS
                      129 PORTLAND STREET
                      BOSTON, MA 02114



                      Cruz Aragon
                      9504 JUAN VALDEZ SE
                      A91
                      ALBUQUERQUE, NM 87123



                      Crystal Acosta
                      16608 Rialto Dr.
                      WINTER GRADEN, FL 34787
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 536 of 2164




                      Crystal Camorlinga
                      25916 TOURNAMENT RD
                      153
                      SANTA CLARITA, CA 91355



                      Crystal corrales
                      894 ALMADEN AVE
                      SUNNYVALE, CA 94085



                      Crystal Estrada
                      741 N WINTER PARK DR
                      CASSELBERRY, FL 32707



                      Crystal Garlin
                      37 KINGSMAN CIRCLE
                      FT. MYERS, FL 33905



                      Crystal Garrett
                      3506 12th Ave
                      Los Angeles, CA 90018



                      Crystal Greens Landscape
                      PO BOX 568
                      CLACKAMAS, OR 97015



                      CRYSTAL GREENS LANDSCAPE INC
                      PO BOX 568
                      CLACKAMAS, OR 97015



                      Crystal Jackson
                      424 Callan Ave.
                      #307
                      San Leandro, CA 94577



                      Crystal Jackson
                      424 Callan Ave.
                      San Leandro, CA 94577
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 537 of 2164




                      Crystal LaBrecque
                      261 FAIRGROUNDS RD.
                      WEST PALM BEACH, FL 33411



                      CRYSTAL LAKES ELEMNTARY PTA
                      6050 GATEWAY BLVD
                      BOYNTON BEACH, FL 33472



                      Crystal martin
                      4040 CITRADORA
                      SPRING VALLEY, CA 91977



                      Crystal Mitzel
                      12135 Royal Rd
                      #215
                      El Cajon, CA 92021



                      Crystal Morelli
                      3684 Paradise Rd
                      Bldg A
                      Las Vegas, NV 89169



                      Crystal Ramos
                      299 S. MONTE VISTA ST
                      LA HABRA, CA 90631



                      Crystal Solis
                      2316 Muleshoe Dr
                      Conroe, TX 77384



                      Crystal Wanke
                      2372 CRYSTAL DRIVE
                      FORT MYERS, FL 33907



                      CRYSTAL WATERS GIRL SCOUTS
                      371 BAILEY COURT
                      PALM HARBOR, FL 34684
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 538 of 2164




                      Crystavia Graves
                      790 WEST LITTLE YORK RD
                      2903
                      HOUSTON, TX 77091



                      CS COUMMINTY DAY SCHOOL
                      3266 NW 99TH WAY
                      CORAL SPRINGS, FL 33065



                      CSEA CHAPTER #412
                      6578 SANTA TERESA BLVD
                      SAN JOSE, CA 95119



                      CSF PHILANTHROPIC FOUNDATION
                      555 N COMMONWEALTH AVE
                      4195C
                      FULLERTON, CA 92831



                      CSF PHILANTHROPIC FOUNDATION
                      555 N COMMONWEALTH AVE
                      4195C
                      FULLERTON
                      CA, 92831



                      CSMOMS
                      10353 NW 54TH PLACE
                      CORAL SPRINGS, FL 33076



                      CSPA ARTHUR LUCERO
                      3896 CORRALES RD
                      CORRALES, NM 87048



                      CSRA Komar Desert Center, DST
                      c/o Pacific Coast Commercial Real Estate
                      41 Corporate Park
                      Ste. 230
                      Irvine, CA 92606
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 539 of 2164




                      CSRA KOMAR DESERT CENTERDST
                      41 CORPORATE PARK, SUITE 230
                      C/O PACIFIC COAST COMMERCIAL REAL ESTATE
                      IRVINE, CA 92606



                      CSRA KOMAR DESERT CENTERDST
                      3151 AIRWAY AVE #G-3
                      ATTN PROPERTY MANAGER
                      COSTA MESA, CA 92626



                      CSUCI
                      ONE UNIVERSITY DRIVE ASI STE
                      CAMARILLO, CA 93012



                      CSUF PHILANTHROPIC FOUNDATION
                      200 EAST CHAPMAN AVENUE APT 2
                      PLACENTIA, CA 92870



                      CSUF TAU THETA PI
                      11691 JERRY LN
                      GARDEN GROVE, CA 92840



                      CSUF TAU THETA PI
                      11691 JERRY LN
                      GARDEN GROVE
                      CA, 92840



                      CSUF VSA
                      14412 LAKE ST
                      GARDEN GROVE, CA 92843



                      CSULA SBN CLASS OF 2021
                      1419 N CALIFORNIA AVE
                      LA PUENTE, CA 91744



                      CTI Foods
                      P.O. Box 654030
                      DALLAS, TX 75265-4030
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 540 of 2164




                      Cti-Ssi Food Services, Llc
                      dba CTI FOODS
                      P.O. Box 654030
                      Dallas, TX 75265-4030



                      CTS CAPITAL ADVISROS LLC
                      7315 WISCONSIN AVE STE 500
                      BETHESDA, MD 20814



                      CUB SCOUT PACK 121 OLD TIMERS CLUB
                      502 WICKLIFFE DR.
                      PASADENA, CA 91104



                      CUB SCOUT PACK 1701
                      78886 AVE 41
                      BERMUDA DUNES, CA 92203



                      CUB SCOUT PACK 817
                      1760 SW 69TH AVE
                      JENNIFER TORLONE
                      PLANTATION, FL 33317



                      CUB SCOUT PACK 851
                      3621 EMERALD ST 29
                      TORRANCE, CA 90503



                      CUCAMONGA VALLEY WATER DISTRICT
                      PO BOX 51788
                      LOS ANGELES, CA 90051-6088



                      Cuitlahuac Cahue
                      1256 MAKO LN
                      PERRIS, CA 92571



                      Cup4Cup LLC
                      6540 Washington Street
                      Yountville, CA 94559
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 541 of 2164




                      CURIE ELEMENTARY PTA
                      4080 GOVERNOR DRIVE
                      SAN DIEGO, CA 92122



                      CURRENT ELECTRIC
                      26804 VISTA TERRACE
                      LAKE FOREST, CA 92630



                      Curt Boston
                      473 SW 126 AVENEU
                      FORT LAUDERDALE, FL 33325



                      Curtis Banks
                      9763 CANDLEWOOD ST
                      RANCHO CUCAMONGA, CA 91730



                      Curtis Davis
                      11303 Wilshire Blvd. Bldg. 116
                      Los Angeles, CA 90025



                      Curtis Hain
                      457 Hayloft Way
                      Brighton, CO 80601



                      Curtis Platt
                      1651 NW 60th Ave
                      Sunrise, FL 33313



                      CUSHMAN & WAKEFIELD OF AZ
                      UPTOWN PLAZA ASSOCIATES LLC
                      PO BOX 63304
                      PHOENIX, AZ 85082-3304



                      CUSSD
                      2208 PASADENA CT #7
                      CHULA VISTA, CA 91915
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 542 of 2164




                      CUSTOM BUSINESS SOLUTIONS INC
                      12 MORGAN
                      IRVINE, CA 92618



                      Custom Culinary
                      PO BOX 205922
                      DALLAS, TX 75320-5922



                      CUSTOM CULINARY INC
                      PO BOX 205922
                      DALLAS, TX 75320-5922



                      Custom Culinary, Inc.
                      Po Box 205922
                      Dallas, TX 75320-5922



                      CUSTOM GASKETS NW
                      PO BOX 111734
                      TACOMA, WA 98411



                      CUSTOM PAINTING INC
                      97 RICKENBACKER CIRCLE
                      LIVERMORE, CA 94551



                      CUSTOM SPECIALTIES
                      3233 25TH STREET
                      METAIRIE, LA 70002



                      Cutberto Arellanes
                      821 GRAHAM LN
                      SANTA ANA, CA 92703



                      CVMS PTSA
                      3800 MYKONOS LANE
                      SAN DIEGO, CA 92130
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 543 of 2164




                      CVST
                      13985 CLUBHOUSE DRIVE
                      TAMPA, FL 33618



                      CYNDEE EAVES
                      3660 E BRIDGEPORT PKWY
                      GILBERT, AZ 85295



                      CYNDI CIARDULLO
                      12 CUL DE SAC
                      CHICAGO, IL 60185



                      Cyndi Lopez
                      2707 GRANT AVE.
                      REDONDO BEACH, CA 90278



                      Cyndy Tabarez
                      3829 ALTA LOMA DR
                      BONITA, CA 91902



                      Cynthia Aceves
                      7286 W DOVEWOOD LANE
                      FRESNO, CA 93723



                      Cynthia Aguilar
                      15413 CORDARY AVE.
                      LAWNDALE, CA 90260



                      Cynthia Bencomo
                      1019 GALEMONT AVE
                      HACIENDA HEIGHTS, CA 91745



                      Cynthia Bracamontes
                      325 GARFIELD AVE
                      EL CAJON, CA 92020
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 544 of 2164




                      Cynthia Espolt
                      9100 ACACIA AVE
                      13
                      FONTANA, CA 92335



                      Cynthia Gonzalez
                      5554 BILLNGS ST
                      DENVER, CO 80239



                      Cynthia Henderson
                      1341 MARY #1
                      CLEARWATER, FL 33755



                      Cynthia Hernandez Armenta
                      6334 N. 37th Dr
                      Phoenix, AZ 85019



                      Cynthia Herrera
                      1938 TRIPOLI AVE
                      SAN JOSE, CA 95122



                      Cynthia Hicks
                      31559 HIPSHOT DR
                      CASTAIC, CA 91384



                      Cynthia Luna
                      1742 ELFIN FOREST RD
                      254
                      SAN MARCOS, CA 92078



                      Cynthia Martin
                      334 Walnut Street
                      Apt 2
                      Hollywood, FL 33019



                      Cynthia Orozco
                      1602 NISSON RD
                      TUSTIN, CA 92780
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 545 of 2164




                      Cynthia Rivera
                      14505 Alburtis Ave
                      #3
                      Norwalk, CA 90650



                      Cynthia solis
                      2045 N 81ST
                      SCOTTSDALE, AZ 85257



                      Cynthia Vercelloni
                      3713 Volk Ave
                      Long Beach, CA 90808



                      Cynthia Vullo
                      2050 FRANKLIN AVE
                      SAN DIEGO, CA 92113



                      Cyomara Juares
                      1803 WINDERMERE DR
                      LANCASTER, CA 93534



                      Cypress Creek Associates Limited Partner
                      PO Box 5020
                      New Hyde Park, NY 11042



                      CYPRESS CREEK ASSOCIATES LP
                      PRICE LEGACY CORP.
                      POST OFFICE BOX 5020
                      NEW HYDE PARK, NY 11042-0020



                      CYPRESS CREEK ASSOCIATES LP
                      PO BOX 62045
                      NEWARK, NJ 07101



                      CYPRESS DOOR
                      ROBERT SANTOS
                      6751 NW 22 TERRACE
                      FORT LAUDERDALE, FL 33309
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 546 of 2164




                      CYPRESS HIGH SCHOOL GIRLS VOLLEYBALL
                      9704 LIPARI CIR
                      CYPRESS, CA 90630



                      CYSTIC FIBROSIS FOUNDATION OR
                      9727 SW TERWILLIGER
                      PORTLAND, OR 97219



                      CYSTIC FIBROSIS FOUNDATION OR
                      9727 SW TERWILLIGER
                      PORTLAND
                      OR, 97219



                      CYT SAN DIEGO
                      1545 PIONEER WAY
                      EL CAJON, CA 92020



                      Cythika Bopearachchi
                      4200 BAY STREET
                      272
                      FREMONT, CA 94538



                      CYTHIKA H. BOPEARACHCHI
                      4200 BAY STREET
                      272
                      FREMONT, CA 94538



                      D & R Woods Enterprise Corp
                      Po Box 712
                      Fontana, CA 92334



                      D A D ASPHALT INC
                      PO BOX 506
                      POWAY, CA 92064



                      D A HAYES
                      10290 LARIAT DRIVE
                      SANTEE, CA 92071
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 547 of 2164




                      D AND S AUTOMATICS INC
                      23900 W INDUSTRIAL DR S UNIT 1
                      PLAINFIELD, IL 60585



                      D AND S COMMERCIAL COOKING EQUIPMENT SER
                      PO BOX 78445
                      CORONA, CA 92877



                      D-Carbonator Lease




                      D.C. TREASURER
                      PO BOX 96385
                      WASHINGTON, DC 00020-0900



                      DA ISLAND WAY
                      3494 CLAYTON ROAD
                      CONCORD, CA 94519



                      DA ISLAND WAY
                      3494 CLAYTON ROAD
                      CONCORD
                      CA, 94519



                      Daeja Davidson
                      12525 SOUTH KIRKWOOD RD.
                      216
                      STAFFORD, TX 77477



                      Daekwon Jelks
                      540 SILVER COURSE RADIAL
                      OCALA, FL 34472



                      Daemen Parks
                      4701 Irving Blvd Nw
                      #207
                      Albuquerque, NM 87114
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 548 of 2164




                      Daesean Keyes
                      726 DODGE AVENUE
                      SARASOTA, FL 34237



                      Dafne ruffo
                      1807 ALAQUINAS DR
                      SAN YSIDRO, CA 92173



                      Dagmaris Martinez
                      3601 Royalty Court
                      Apt. D
                      Tampa, FL 33614



                      Dagoberto Garcia
                      1929 THE ALAMEDA
                      #1
                      SAN JOSE, CA 95126



                      Dagopierre Gbaka
                      2378 Arbor Ridge Court
                      Duluth, GA 30096



                      dahyana arellano
                      4411 TERRACE AQVE
                      3
                      OXNARD, CA 93033



                      Daidys Martinez
                      307 NORTH HUBERT AVE
                      TAMPA, FL 33609



                      Daija Terry
                      4187 CHABAN DR
                      CONCORD, CA 94521



                      Dailena Morffi
                      6778 SPARROWBUSH HILL
                      ALTAMONTE SPRINGS, FL 32810
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 549 of 2164




                      Daily Martinez
                      2573 Donjay Ave
                      Kissimmee, FL 34741



                      Dailyn Reynaldo
                      729 58st
                      Tampa, FL 33619



                      Daira Guzman
                      1223 IDLEWILD CT
                      SARASOTA, FL 34243



                      Daisha wright
                      4372 47TH STREET
                      SARASOTA, FL 34235



                      Daishaun Campbell
                      101 STONEWOOD COURT
                      VALLEJO, CA 94591



                      Daisy
                      PO BOX 671078
                      DALLAS, TX 75267-1078



                      Daisy Aguilar
                      818 Via Barquero
                      San Marcos, CA 92069



                      Daisy Arteaga
                      23707 VIA CANON
                      204
                      SANTA CLARITA, CA 91321



                      DAISY BRANDS INC
                      PO BOX 671078
                      DALLAS, TX 75267-1078
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 550 of 2164




                      Daisy Brands, Inc.
                      Po Box 675058
                      Dallas, TX 75267-5058



                      Daisy Brands, Inc.
                      Po Box 675058
                      Dallas
                      TX, 75267-5058



                      Daisy Delgado
                      27662 ALISO CREEK RD
                      2108
                      ALISO VIEJO, CA 92656



                      Daisy Diaz
                      8731 TIERRA VISTA CIR APT 101
                      KISSIMMEE, FL 34747



                      Daisy Duarte
                      2219 FLORA AVE
                      FT MYERS, FL 33907



                      Daisy Feria
                      2523 Green
                      Hills Way
                      Vista, CA 92084



                      DAISY FERIA
                      2523 GREEN HILL WAY
                      VISTA, CA 92084



                      Daisy Flores
                      3222 Shepherd Dr
                      Camarillo, CA 93010



                      Daisy Guinac
                      3325 S.SANTEE AVE
                      TUCSON, AZ 85730
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 551 of 2164




                      DAISY HERRERA
                      117 N 9TH ST
                      IMMOKALEE, FL 34142



                      Daisy Lazaro
                      3946 Franklin Ave
                      Apt #3
                      Fullerton, CA 92833



                      Daisy Mu?oz
                      713 N Hudson Ave.
                      Los Angeles, CA 90038



                      Daisy Reyes
                      2003 BAYVIEW HEIGHTS DR SPC 92
                      SAN DIEGO, CA 92105



                      Daisy Vargas
                      966 South Sunshine
                      Apt# 19
                      El Cajon, CA 92020



                      Dakeya Sampson
                      19 COTTONWOOD DR
                      ALISO VIEJO, CA 92656



                      Dakil Othman
                      2475 N. Haskell Dr
                      Apt 455
                      Tucson, AZ 85716



                      Dakota Baker
                      722 FOREST LOOP DR
                      PORT HUENEME, CA 93041



                      Dakota Hunt
                      5615 41ST AVE E
                      BRADENTON, FL 34208
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 552 of 2164




                      Dakota Troy
                      9855 E PONCHO PL
                      TUCSON, AZ 85748



                      Dalacie Hart
                      18929 E WARREN CIR 80013
                      C206
                      AURORA, CO 80013



                      Dale Sargent
                      15130 SE 170TH ST
                      WEIRSDALE, FL 32195



                      Dalia Flores calderon
                      4898 SNOW DRIVE
                      SAN JOSE, CA 95111



                      Dalila Amaya
                      950 N. WILTON PL.
                      LOS ANGELES, CA 90038



                      Dalila Favela
                      7202 W. Mackenzie Dr.
                      Phoenix, AZ 85033



                      Dallas Hinojosa
                      3276 SOUTH EVANSTON STREET
                      AURORA, CO 80014



                      Dallas Johnson
                      2607 E 33RD AVE
                      TAMPA, FL 33610



                      Dalton Gardner
                      8158 NATURES WAY
                      UNIT 23
                      LAKEWOOD RANCH, FL 34202
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 553 of 2164




                      Dalton Hager
                      3751 S NELLIS BLVD
                      TRAILER 53
                      LAS VEGAS, NV 89121



                      dalyn hernandez
                      1705 S SANTA ANITA
                      ARCADIA, CA 91006



                      Daman Peterson
                      2451 NORTH RAINBOW BLVD
                      1078
                      LAS VEGAS, NV 89108



                      Damaris Estrada
                      35507 Harbor Shoresroad
                      Leesburg, FL 34788



                      Damaris Flores
                      3601 Royalty Court
                      Apt D
                      Tampa, FL 33614



                      Damaris Sandoval
                      645 Wolff St
                      Apt 229
                      Denver, CO 80204



                      Damaris Santiago
                      1411 MONUMENT BLVD
                      A1
                      CONCORD, CA 94520



                      DAMARIS SANTIAGO
                      1411 MONUMENT BLVD
                      APT #A1
                      CONCORD, CA 94520
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 554 of 2164




                      Damian Gaeta
                      1518 SHADY REST DR.
                      HENDERSON, NV 89014



                      Damian Garcia-Torres
                      SE 38TH CT
                      HILLSBORO, OR 97123



                      Damian Pena
                      17800 COLIMA ROAD
                      243
                      LAKE ELSINORE, CA 91748



                      Damien Maldonalo
                      801 West Mantle Ln
                      Santa Ana, CA 92701



                      Damien Rosales
                      5511 TEMPLETON ST
                      LOS ANGELES, CA 90032



                      Damien warren
                      142 ELY PL
                      PALO ALTO, CA 94306



                      Damin Perez
                      2589 SANTA CATALINA
                      VALLEY CENTER, CA 92082



                      Damion Corrales
                      5342 E ANDREW ST
                      TUCSON, AZ 85711



                      Damon Le Day
                      3931 E WYATT WAY
                      3931
                      GILBERT, AZ 85297
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 555 of 2164




                      Damontay Overs
                      4327 E. Tyson Street
                      Gilbert, AZ 85295



                      Damoreay Purifie
                      34349 N BARZONA TRL
                      21632 N 48TH ST, AZ 85054



                      Damos Brand
                      2223 RIDGE BROOK TRAIL
                      DULUTH, GA 30096



                      DAN DROBNIC
                      1132 CURTISS ST
                      DOWNERS GROVE, IL 60515



                      DAN HOLTZMAN
                      159 E MANCHESTER AVE
                      LOS ANGELES, CA 90003



                      Dana Gibson
                      P.O.Box 431
                      Holly Springs, GA 30142



                      Dana Grabo
                      2522 WEST COLT COURT
                      QUEEN CREEK, AZ 85142



                      Dana Wei
                      3395 PINEWOOD TERRANCE
                      303
                      FREMONT, CA 93436



                      Dana Whorton
                      1507 GARCEZ DR
                      #6
                      CONCORD, CA 94521
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 556 of 2164




                      Danan Chott
                      6330 SOUTHERN ROAD
                      LA MESA, CA 91942



                      DANASH LLC
                      35 CROOKED HILL ROAD #202
                      COMMACK, NY 11725



                      Dane Moebius
                      17543 VIA DEL BRAVO
                      RANCHO SANTA FE, CA 92067



                      Dane O. Moebius
                      17543 VIA DEL BRAVO
                      RANCHO SANTA FE, CA 92067



                      Danee Kabel
                      3527 NE SPRUCE DR
                      CAMAS, WA 98607



                      Dani Bataq
                      1174 Evilo St
                      El Cajon, CA 92021



                      DANI BATAQ
                      1000 ESTES ST
                      EL CAJON, CA 92020



                      Dani Kuehl
                      1548 NORMANDY WAY
                      LEESBURG, FL 34748



                      Dania Barajas Aleman
                      4459 Home Ave
                      #5
                      San Diego, CA 92105
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 557 of 2164




                      DANIA BARAJAS ALEMAN
                      4459 HOME AVE #5
                      SAN DIEGO, CA 92105



                      Danial Didehvar
                      28188 MOULTON PKWY
                      APT 1031
                      LAGUNA NIGUEL, CA 92677



                      Danica Kriz Salazar
                      1471 NICHOLAS DR
                      CONCORD, CA 94520



                      DANIEL A. HURTADO
                      3325 MARCHESE CT
                      SANTA CLARA, CA 95051



                      Daniel Aaron
                      180 MARGIE STREET
                      PALM HARBOR, FL 34683



                      Daniel Adams
                      1593 MARY LANE
                      TARPON SPRINGS, FL 34689



                      Daniel Aguilar
                      3751 SOUTH NELLIS BLVD.
                      53
                      LAS VEGAS, NV 89121



                      Daniel Alcala
                      3935MARCWADE DR
                      SAN DIEGO, CA 92154



                      Daniel Alkana
                      525 Dennery Rd.
                      Apt# 211
                      San Diego, CA 92154
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 558 of 2164




                      Daniel Almada
                      21622 MARGUERITE PARKWAY
                      551
                      MISSION VIEJO, CA 92692



                      Daniel Andrade
                      4629 W 88th Ave
                      Westminster, CO 80031



                      Daniel Araujo Aguirre
                      1730 Ne Darby Street
                      Orenco, OR 97124



                      Daniel Arroyo
                      116 S Orchard Ave
                      Fullerton, CA 92833



                      Daniel Arvayo
                      805 S Sycamore St
                      238
                      Mesa, AZ 85202



                      DANIEL ARVAYO
                      805 S SYCAMORE ST #238
                      MESA, AZ 85202



                      Daniel Avelar
                      6292 Huntington Ridge Ave
                      LAS VEGAS, NV 89139



                      Daniel Billingsley
                      443 AIRLOCK LN
                      ATLANTA, GA 30331



                      Daniel Bocanegra
                      1630 W AVALON AVE
                      SANTA ANA, CA 92706
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 559 of 2164




                      Daniel Brucker
                      6861 W Charter Oak Rd
                      Peoria, AZ 85381



                      Daniel Calderon
                      535 E 3RD AVE
                      ESCONDIDO, CA 92025



                      Daniel Campbell
                      2960 30TH AVE SE
                      NAPLES, FL 34117



                      Daniel Cardenas
                      305 S HALLADAY ST.
                      SANTA ANA, CA 92701



                      Daniel Cardenas
                      914 Northrup Ave.
                      San Jose, CA 95126



                      Daniel Cervantes
                      920 LAWRENCE
                      PLACENTIA, CA 92870



                      Daniel cervantes
                      2732 JOY AVE
                      CERES, CA 95307



                      Daniel Colchado
                      2815 West Ford AVE
                      APT 2100
                      Las Vegas, NV 89123



                      Daniel Cosmano
                      27116 VIA LA MANCHA
                      27116
                      LAGUNA NIGUEL, CA 92677
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 560 of 2164




                      Daniel Cruz
                      1130 AYALA DR
                      2
                      SUNNYVALE, CA 94086



                      Daniel Cruz Hernandez
                      576 COLUMBIA AVE.
                      #7
                      SUNNYVALE, CA 94085



                      Daniel Diaz
                      16318 EDGEMONT DR
                      HOUSTON, TX 77053



                      Daniel Diaz
                      4328 TECUMSEH WAY
                      SAN DIEGO, CA 92117



                      Daniel Dunn
                      25967 SOUTH YALE ST.
                      HEMET, CA 92544



                      Daniel Dupiche
                      400 BRANCH FOREST WAY
                      STOCKBRIDGE, GA 30281



                      Daniel Duron




                      Daniel Engel
                      12275 CARMEL VISTA RD.
                      231
                      SAN DIEGO, CA 92130



                      Daniel Enriquez
                      511 E LEMON AVE
                      MONROVIA, CA 91016
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 561 of 2164




                      Daniel Escamilla
                      1074 FREMONT ST
                      POMONA, CA 91766



                      DANIEL FROELICH
                      7 SCARBOROUGH DR
                      LAKE OSWEGO, OR 97034



                      Daniel Garcia
                      23018 ARLINGTON AVE
                      14
                      TORRANCE, CA 90501



                      Daniel Gerena
                      202 Coco Plum Dr
                      Davenport, FL 33897



                      Daniel Giandalone
                      625 highland avenue
                      Orlando, FL 32801



                      Daniel Golovin
                      16764 S Forsythe Rd
                      Oregon City, OR 97045



                      Daniel Gonzales
                      3150 E BEARDSLEY RD
                      UNIT 1088
                      PHOENIX, AZ 85050



                      Daniel Gonzalez
                      18642 Trot Ave
                      Rowland Heights, CA 91748



                      Daniel Harp
                      1630 E 14 AVE.
                      DENVER, CO 80218
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 562 of 2164




                      Daniel Hawkins
                      13944 RAVENWOOD DR
                      CHINO HILLS, CA 91709



                      Daniel Hernandez
                      4059 Bonnye Dr
                      Apopka, FL 32703



                      Daniel HERNANDEZ
                      972 DUNKIN ST
                      CAMARILLO, CA 93010



                      DANIEL HERNANDEZ
                      4659 BONNIE DR
                      APOPKA, FL 32703



                      Daniel Holland
                      790 Park Drive West
                      Boca Raton, FL 33432



                      Daniel Hollinger
                      10794 Princess Arlene Dr.
                      Santee, CA 92071



                      Daniel Hurtado
                      3325 MARCHESE CT
                      SANTA CLARA, CA 95051



                      Daniel Ibanez
                      11189 N KENDALL DR
                      G204
                      MIAMI, FL 33186



                      daniel izazaga bejar
                      429 CIVIC CENTER DR
                      VISTA, CA 92084
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 563 of 2164




                      Daniel Jaimes
                      24954 WALNUT ST B54
                      B54
                      NEWHALL, CA 91321



                      Daniel Johnson II
                      8250 VINEYARD AVE.
                      147
                      RANCHO CUCAMONGA, CA 91730



                      Daniel Kassa
                      223 N. Ave 58
                      #5
                      Los Angeles, CA 90042



                      Daniel Kaylor
                      14075 COUNTRY WALK LANE
                      NA
                      CHINO HILLS, CA 91709



                      DANIEL L. MABIE
                      11605 SE 129TH LANE
                      OCKLAWAHA, FL 32179



                      Daniel Leunen
                      10121 E HUMMINGBIRD MEADOW WAY
                      TUCSON, AZ 85747



                      Daniel Longton
                      16300 Se Hwy 224
                      #20
                      Damascus, OR 97089



                      Daniel Lopez
                      627 Normandie Ave
                      Apt 3B
                      Los Angeles, CA 90005
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 564 of 2164




                      Daniel Lopez
                      5586 SOUTH ELMWOOD STREET
                      LITTLETON, CO 80120



                      Daniel Lopez
                      6600 Mission Club Blvd Apt 207
                      Orlando, FL 32821



                      Daniel Lopez
                      1370 San Juan Street
                      Apt E
                      Tustin, CA 92780



                      Daniel Lopez
                      1825 E Valley Park Way
                      Apt#53
                      Escondido, CA 92026



                      Daniel Luna Felipe
                      7430 E PRINCETON AVE
                      DENVER, CO 80237



                      Daniel Mabie
                      11605 SE 129TH LANE
                      OCKLAWAHA, FL 32179



                      Daniel Mendoza
                      4581 DEVONSHIRE COMMON
                      FREMONT, CA 94536



                      Daniel Mesa
                      13208 SUNDANCE AVENUE
                      SAN DIEGO, CA 92129



                      Daniel Michaud
                      7036 Coral Cove Dr
                      Orlando, FL 32818
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 565 of 2164




                      Daniel Montenegro
                      6838 AXIST WEST CIRCLE
                      2321
                      ORLANDO, FL 32821



                      Daniel Morales
                      400 W. Baseline
                      Lot #10
                      Tempe, AZ 85283



                      Daniel Moreno
                      1586 Caraway Dr.
                      Apt D
                      Costa Mesa, CA 92626



                      Daniel Negron
                      3581 Linnet Dr
                      Lake Elsinore, CA 92530



                      Daniel Nunez
                      617 3RD AVE
                      APT 1
                      CHULA VISTA, CA 91910



                      Daniel olivares
                      6721 GREENYARD DR
                      HOUSTON, TX 77086



                      Daniel Orduz Gonzalez
                      8711 Matwood Ct
                      Tampa, FL 33635



                      Daniel Padilla
                      10291 AMBASSADOR AVE.
                      MIRA MESA, CA 92126



                      Daniel Pedraza
                      1301 E. 14TH STREET
                      SANTA ANA, CA 92701
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 566 of 2164




                      Daniel Perez
                      8457 San Juan Ave
                      South Gate, CA 90280



                      Daniel Pozos
                      905 S Benito Ave
                      Alhambra, CA 91803



                      Daniel Prather
                      670 TAMARACK AVE
                      #4
                      CARLSBAD, CA 92008



                      Daniel Rampey
                      903 LINDA FLORA DRIVE
                      LOS ANGELES, CA 90049



                      Daniel Reyes Arredondo
                      11529 EUCALYPTUS AVE
                      #1
                      HAWTHORNE, CA 90250



                      Daniel Rivera Orto
                      1234 ENCINITAS
                      ENCINITAS, CA 92128



                      Daniel Roberts
                      3827 AUTUMN VIEW LANE
                      ACWORTH, GA 30101



                      DANIEL ROBERTSON
                      5001 BIRCHLEAF DRIVE
                      RALEIGH, NC 27606



                      Daniel Robinson
                      13741 SARATOGA AVENUE
                      SARATOGA, CA 95070
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 567 of 2164




                      Daniel Rodriguez
                      503 OLYMPIC BOULEVARD
                      SANTA MONICA, CA 90401



                      Daniel Romero
                      2148 1/2 BAXTER ST.
                      LOS ANGELES, CA 90039



                      Daniel Russo
                      2009 Ardmore Rd
                      West Palm Beach, FL 33409



                      Daniel Sanchez
                      10807 WEAVER AVE.
                      #B
                      EL MONTE, CA 91733



                      Daniel Santiago
                      2529 Santa Rita Rd
                      Apt 62
                      Pleasanton, CA 94566



                      Daniel Shaharuddin
                      1375 NORMAN DR.
                      SUNNYVALE, CA 94087



                      Daniel Sixbey
                      411 Avocado
                      Camarillo, CA 93010



                      Daniel Smith
                      4356 KING THEADORE DRIVE
                      BOYNTON BEACH, FL 33436



                      DANIEL SMITH
                      425 SANIBELLE CIRCLE #129
                      C/O JOYCE PENNINGTON
                      CHULA VISTA, CA 91910
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 568 of 2164




                      Daniel Solis
                      15870 CAMINO SAN BERNARDO
                      137
                      SAN DIEGO, CA 92127



                      Daniel Thompson
                      1751 w.citracado pkwy. 179
                      Escondido, CA 92029



                      DANIEL THOMPSON
                      1751 W CITRACADO PWY 179
                      ESCONDIDO, CA 92029



                      Daniel Tijerina Luna
                      31 Red Top Circle
                      Emerson, GA 30137



                      Daniel Tinoco
                      175 S King Rd
                      San Jose, CA 95116



                      Daniel Tlanepantla
                      2773 Cypress Dr
                      apt b
                      CLEARWATER, FL 33763



                      Daniel torres
                      8000 WEST CREST LINE APT 114
                      114
                      LITTLETON, CO 80123



                      Daniel Tuttle
                      913 W Timberland Trail
                      Altamonte Springs, FL 32714



                      DANIEL TUTTLE
                      913 W TIMBERLAND TRAIL
                      ALTAMONTE SPRINGS
                      FL, 32714
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 569 of 2164




                      Daniel Valencia
                      1055 E EVELYN AVE
                      10
                      SUNNYVALE, CA 94086



                      Daniel Valiente
                      1350 SAN BERNARDINO ROAD
                      SPACE 160
                      UPLAND, CA 91786



                      Daniel Valverde
                      1028 S MARENGO AVE
                      APT.7
                      ALHAMBRA, CA 91803



                      Daniel Vasquez
                      1575 EAST 17TH STREET
                      SANTA ANA, CA 92705



                      Daniel Vergara
                      SORRENTO 28201
                      APT 120
                      LAGUNA NIGUEL, CA 92677



                      Daniel Wallin
                      193 MARKER AVE
                      CAMARILLO, CA 93010



                      Daniel Westrum
                      12798 SANTA ANA PLACE
                      Chino, CA 91710



                      Daniel Woods
                      220 NE 123RD ST.
                      MIAMI, FL 33161



                      DANIEL WORDELMAN
                      1538 TAVERN RD STE 22
                      ALPINE, CA 91901
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 570 of 2164




                      Daniel Wright
                      13137 CAMINO DEL NORTE NE
                      ALBUQUERQUE, NM 87123



                      Daniel Yaqo
                      851 S MOLLISON AVE
                      2
                      EL CAJON, CA 92020



                      Daniel Zermeno-ramirez
                      904 E TURNEY AVE
                      2
                      PHOENIX, AZ 85014



                      Daniela Acosta
                      2143 W CHERRY AVE
                      FULLERTON, CA 92833



                      Daniela Baez
                      8480 Sw 156 Place
                      Apt 625
                      Miami, FL 33193



                      Daniela Ceballos
                      6721 SILVER SPOON DRIVE
                      LAS VEGAS, NV 89108



                      Daniela Devine




                      Daniela Herrera
                      2712 Newell St.
                      Los Angeles, CA 90039



                      Daniela Hurtado
                      2748 51ST STREET
                      SARASOTA, FL 34234
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 571 of 2164




                      Daniela Maldonado
                      3300 RODRICK CIR
                      ORLANDO, FL 32824



                      Daniela Menendez
                      1424 Broadway
                      APT 400
                      Santa Monica, CA 90404



                      Daniela Monreal
                      3323 CLAIREMONT DR.
                      #1
                      SAN DIEGO, CA 92117



                      Daniela Rosas Arista
                      870 EAST EL CAMINO REAL
                      MOUNTAIN VIEW, CA 94040



                      Daniela Ruiz
                      12417 SW 112TH TER
                      MIAMI, FL 33186



                      Daniela Santa Rosa Flores
                      1440 OAK DR
                      F7
                      VISTA, CA 92084



                      Daniella Alvarado
                      15500 Tustin Village Way
                      #113
                      Tustin, CA 92780



                      Daniella Leos
                      642 Lemar Park Dr.
                      Glendora, CA 91740



                      Daniella Miranda
                      41029 HIGH STREET
                      FREMONT, CA 94538
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 572 of 2164




                      Daniella V. Miranda
                      41029 HIGH STREET
                      FREMONT, CA 94538



                      Danielle Bacanskas
                      2100 E WILSHIRE AVE
                      FULLERTON, CA 92831



                      Danielle Benoit
                      1036 THE FALLS PKWY
                      1036
                      DULUTH, GA 30096



                      Danielle clarke
                      2804 SW 16TH ST
                      FT LAUDERDALE, FL 33312



                      Danielle Diaz
                      8762 Comet St
                      Rancho Cucamonga, CA 91730



                      Danielle Gillette
                      38 S NORMANDALE AVE
                      ORLANDO, FL 32835



                      Danielle Grant
                      5931 E COLONIAL DRIVE
                      ORLANDO, FL 32805



                      Danielle Haskins
                      612 PRESTON WOODS TRAIL
                      612
                      SANDY SPRINGSSPRINGS, GA 30338



                      Danielle Lambert
                      1303 CONSTITUTION RD.
                      ATLANTA, GA 30316
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 573 of 2164




                      Danielle Litz
                      38300 30TH ST EAST
                      316
                      PALMDALE, CA 91384



                      Danielle Nunez
                      862 S. HENRY LANE
                      GILBERT, AZ 85296



                      Danielle Pacheco
                      1215 W GRIFFITH
                      FRESNO, CA 93705



                      Danielle Pleffner
                      51 NW 115 AVE
                      104
                      PLANTATION, FL 33325



                      Danielle Rhodes
                      335 IVY MILL CT
                      ROSWELL, GA 30076



                      Danielle Todd
                      8537 W. Hampden Ave.
                      #204
                      Denver, CO 80227



                      Danielle Vazquez
                      3772 E RAVENSWOOD DR
                      GILBERT, AZ 85298



                      Danielle Wilkins
                      5182 Lancewood Dr
                      Sarasota, FL 34232



                      Danielle Yelton
                      555 E. El Camino Real
                      Apt # 716
                      Sunnyvale, CA 94086
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 574 of 2164




                      Danielle Zalkin
                      11453 Nw 39th Court
                      #310
                      Coral Springs, FL 33065



                      DANIELS MEATS
                      POBOX 936
                      PICO RIVERA, CA 90660



                      Daniil Burlac
                      5421 Silent Brook Dr
                      ORLANDO, FL 32821



                      Danilo Rivero
                      27602 KATHY CT
                      LAGUNA NIGUEL, CA 92677



                      Danis Jacob
                      1547 NW 5TH AVE
                      POMPANO BEACH, FL 33060



                      Danisha Saunders
                      12439 HAMILL PATH DRIVE
                      HOUSON, TX 77066



                      Danishia Vilbrun
                      1468 SW 25TH PL
                      #D
                      BOYNTON BEACH, FL 33426



                      Daniza Lara
                      12346 CHAYA CT
                      SPRING HILL, FL 34610



                      Danna Vargas Mendoza
                      555 MCLAUGHLIN AVENUE
                      SPACE 36
                      SAN JOSE, CA 95116
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 575 of 2164




                      Dannerius Waiters
                      7803 17TH STREET CT EAST
                      TALLEVAST, FL 34270



                      Dannial khakdoust
                      24701 JESSICA PLACE
                      LAGUNA NIGUEL, CA 92677



                      Dannon Kredo
                      5619 N AVOCADO LN
                      FRESNO, CA 93711



                      Danny Gonzalez
                      1857 Francis Dr
                      Clearwater, FL 33763



                      Danny Heidt
                      1115 E. PALM AVE
                      ORANGE, CA 92866



                      Danny McSweeney
                      8219 WILD OAK CIRCLE
                      LARGO, FL 33773



                      Danny Montiague
                      1705 S Olive Ave
                      Alhambra, CA 91803



                      Danny Romero
                      4057 BAYWOOD ST
                      LOS ANGELES, CA 90039



                      Danny Rutledge
                      916 E BROADWAY
                      1
                      ANAHEIM, CA 92805
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 576 of 2164




                      Danny Trujillo
                      7606 DIONE CT.
                      ORLANDO, FL 32822



                      Danny Villalobos
                      2019 Thonig
                      Houston, TX 77055



                      DANOR VIENNA LLC
                      PO BOX 957238
                      DULUTH, GA 30095



                      Dante Brown
                      2408 Treelodge Pkwy
                      Atlanta, GA 30350



                      Dante Caesar
                      10766 PARKDALE AVE
                      SAN DIEGO, CA 92126



                      Dante Hankerson
                      2790 NW 13 TH ST
                      FORT LAUDERDALE, FL 33311



                      DANTHONY WOODS
                      17560 SW SARALA ST
                      BEAVERTON, OR 97007



                      Danyaal Sadiq
                      21791 Lake Vista Dr
                      Lake Forest, CA 92630



                      Danyael Ruiz
                      516 LUPINE WAY
                      OCEANSIDE, CA 92057
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 577 of 2164




                      Danyeal Jamison
                      1800 Murton Street
                      #300
                      Vancouver, WA 98664



                      Danyelle Pitts
                      1600 Roberta Dr Sw
                      Apt 4201
                      Marietta, GA 30008



                      DARBY AVENUE ELEMENTARY PTA
                      10818 DARBY AVENUE
                      PORTER RANCH, CA 91326



                      Darcie Maier
                      38791 Us Hwy 19 N
                      Lot 805
                      Tarpon Springs, FL 34689



                      Darell Chacon
                      24972 EXPRESS DR
                      LAGUNA HILLS, CA 92653



                      Daria Mcnally
                      11340 American Holly Dr
                      Riverview, FL 33578



                      Darian Valdez
                      622 EMERALD AVE EL CAJON 92020
                      EL CAJON, CA 92020



                      DARICE GALAN
                      2418 E EL SEGUNDO BLVD APT 203
                      COMPTON, CA 90262



                      Darien Dozier
                      3211 SABAL PALMS CT
                      KISSIMMEE, FL 34747
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 578 of 2164




                      Dario Machuca
                      6031 Augusta National Dr
                      Apt 202
                      Orlando, FL 32822



                      Darion Gee
                      12547 ASHFORD RIVER
                      HOUSTON, TX 77072



                      Darius Baker
                      405 HOWELL LN
                      405
                      DULUTH, GA 30096



                      Darius Donald
                      711 SHERWOOD TERRACE DRV
                      309
                      ORLANDO, FL 32818



                      Darius Hampton
                      2500 PLEASANT HILL RD
                      1127
                      DULUTH, GA 30096



                      Darius Johnson
                      620 SE 28TH PL
                      #A
                      OCALA, FL 34471



                      Darius pate
                      15600 E MEXICO AVE
                      AURORA, CO 80014



                      Darius Pickett
                      9235 Timberline Lane
                      Apt E
                      Rancho Cucamonga, CA 91730
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 579 of 2164




                      Darlan De Souza De Lima
                      500 SANDAL CT
                      ALTAMONTE SPRINGS, FL 32714



                      Darlene Carrillo
                      2282 LUCRETIA AVE APT 4
                      SAN JOSE, CA 95122



                      Darlene Ramirez
                      1042 ASHBRIDGE LN
                      HARBOR CITY, CA 90710



                      Darlene Rivera
                      2209 Mares Rd Sw
                      Albuquerque, NM 87105



                      Darlenne Reyes
                      8901 Calden Ave
                      Apt 228
                      South Gate, CA 90280



                      Darlin Barajas
                      830 S. Azusa Ave
                      #16
                      Azusa, CA 91702



                      Darline Sterling
                      1599 NW 13 ST
                      509
                      BOCA RATON, FL 33486



                      Darling Espinoza
                      3057 Roadrunner Rd
                      San Marcos, CA 92078



                      DARLING RESTAURANT SERVICES
                      PO BOX 552210
                      DETROIT, MI 48255-2210
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 580 of 2164




                      Darneeka Jones
                      12106 SW 251 TER
                      HOMESTEAD, FL 33032



                      Darneesha Jones
                      12106 SW 251 TER
                      HOMESTEAD, FL 33032



                      Darnell Fannin
                      2909 CAMPBELLTON RD
                      11A
                      ATLANTA, GA 30311



                      Darrell Peters
                      14340
                      #A
                      AURORA, CO 80012



                      Darren baldwin
                      2318 GREENHOUSE PATIO DR
                      2318
                      KENNESAW, GA 30144



                      Darren Burda
                      12505 SW NORTH DAKOTA ST.
                      1805
                      TIGARD, OR 97223



                      Darren Dixon
                      423 E 7th
                      Room 511
                      Los Angeles, CA 90014



                      Darren Kuntz
                      3100 S FEDERAL BLVD
                      E-320
                      DENVER, CO 80236
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 581 of 2164




                      Darren Tillett
                      2480 CYPRESS POND ROAD
                      305
                      PALM HARBOR, FL 34683



                      Darren Williams
                      139 RENAISSANCE PKWY NE
                      ATLANTA, GA 30308



                      Darrien Rhone
                      1532 COPPERFIELD DR
                      TUSTIN, CA 92780



                      Darrin Janecki
                      3009 EAST 9TH STREET
                      VANCOUVER, WA 98661



                      Darrion Miller
                      1211 HELM ST
                      HOUSTON, TX 77088



                      Darron Shoulders
                      5636 LEMKE PLACE
                      FREMONT, CA 94538



                      Darryl Jones
                      812 Booker Ave
                      West Palm Beach, FL 33401



                      Darryl Lynn Rouse
                      423 DALLAS ST S. E
                      #C
                      ALBUQUERQUE, NM 87108



                      Darryl Nieves
                      5040 MILLENIA BLVD
                      201
                      CITY, FL 32839
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 582 of 2164




                      Darryl Williams
                      5535 ACKERFIELD AVENUE
                      APT. 24
                      LONG BEACH, CA 90805



                      Darryl Wilson
                      1025 14ST.
                      3
                      WEST PALM BEACH, FL 33401



                      Darsha Sanders
                      6542 Racquet Club Drive
                      Lauderhill, FL 33319



                      Darwin Chavez
                      1056 NEIL ARMSTRONG CIRCLE
                      LAS VEGAS, NV 89145



                      Darya Feinstein
                      12826 CIJON ST
                      SAN DIEGO, CA 92129



                      Daryn Riley
                      2961 Walnut Court
                      Leesburg, FL 34748



                      Darys Calvo
                      7709 W.henry Ave
                      Tampa, FL 33615



                      Dasia Angulo
                      2613 E Charleston Ave
                      Phoenix, AZ 85032



                      DATA MANAGEMENT INC
                      1 TIME CLOCK DRIVE
                      SAN ANGELO, TX 76904
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 583 of 2164




                      DATABASE MARKETING GROUP INC
                      5 PETERS CANYON ROAD #150
                      IRVINE, CA 92606



                      DAUN GRACE
                      3615 VISTA BELLA UNIT #40
                      OCEANSIDE, CA 92057-7014



                      Daunte Peyton
                      6460 CONVOY CT
                      295
                      SAN DIEGO, CA 92117



                      Dauphine Wamble
                      13046 ROSE LANDING DR
                      HOUSTON, TX 77070



                      Davaris Nubin
                      8840 SE 79TH AVE ROAD
                      OCALA, FL 34472



                      DAVE COMPTONS PRESSURE WASHING
                      11190 ROZ WAY
                      OXFORD, FL 34484



                      DAVE Hayes
                      10290 Lariat Drive
                      Santee, CA 92071



                      DAVE WILLIAMS PLUMBING AND ELECTRICAL IN
                      75-140 ST CHARLES PLACE STE C
                      PALM DESERT, CA 92211



                      Daven Cabrera Cruz
                      8810 NE BENTON DR
                      8810
                      VANCOUVER, WA 98662
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 584 of 2164




                      Daven Salazar
                      700 E Washington Street Sp 89
                      Colton, CA 92324



                      DAVENPORT LIONS CLUB
                      PO BOX 205
                      DAVENPORT, FL 33836



                      Daveson Dormilus
                      1314 Sw 23rd Ave
                      Fort Lauderdale, FL 33312



                      David Aguilar
                      18144 Northam St
                      La Puente, CA 91744



                      David Amezcua
                      2400 W EL CAMINO REAL
                      219
                      MOUNTAIN VIEW, CA 94040



                      David Anker
                      9727 SE 163RD ST
                      SUMMERFIELD, FL 34491



                      David Anorve
                      21275 BEECHWOOD WAY
                      Lake Forest, CA 92630



                      David Arellano-Votaw
                      3476B E COUNTY LINE RD
                      24
                      HIGHLANDSRANCH, CO 80126



                      DAVID BEAUCHANE
                      3333 CORTE ESPLENDOR
                      CARLSBAD, CA 92009
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 585 of 2164




                      David Black
                      6343 MAYO DR
                      SAN JOSE, CA 95123



                      David Brasher
                      10278 BLACK MOUNTAIN RD
                      180
                      SAN DIEGO, CA 92126



                      DAVID C ALLEN
                      1835A S CENTRE CITY PRKY #235
                      ESCONDIDO, CA 92025



                      David Cheng
                      12631 FLORET HILL LANE
                      SUGAR LAND, TX 77478



                      David Colten
                      20210 SW KIRKWOOD ST
                      201
                      BEAVERTON, OR 97006



                      David Corey
                      11301 SE 10TH STREET
                      80
                      VANCOUVER, WA 98684



                      David Cornejo
                      21030 Gresham St.
                      #1106
                      Canoga Park, CA 91304



                      David Cruz
                      2212 BARRY DR
                      2212
                      FT MYERS, FL 33907
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 586 of 2164




                      David Cruz
                      7164 CALERO HILLS CT.
                      SAN JOSE, CA 95139



                      David Davis
                      95 RENAISSANCE PKWY N.E.
                      ATLANTA, GA 30308



                      David De La O
                      470 MENKER AVE
                      SAN JOSE, CA 95128



                      David Delacruz
                      5061 Brillo St
                      San Diego, CA 92117



                      DAVID DOUGLAS ARTHUR ACADEMY
                      13717 SE DIVISION ST
                      PORTLAND, OR 97236



                      David Espinoza
                      121 AZALEA DR
                      #5
                      VISTA, CA 92083



                      David Facio
                      6962 PARKSIDE AVE
                      SAN DIEGO, CA 92139



                      David Firmin
                      200 N DALE
                      321
                      ANAHEIM, CA 92801



                      David Flores-Ortiz
                      8310 MONTRIDGE DR
                      HOUSTON, TX 77055
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 587 of 2164




                      David Garcia
                      1406 W.raymar
                      Santa Ana, CA 92703



                      David Garcia
                      1085 TASMAN DR.
                      475
                      SUNNYVALE, CA 94089



                      David Garcia
                      509 SUNSET AVE
                      1
                      VENICE, CA 90291



                      David Goldberg
                      515 N Jackson St
                      Apt 301
                      Glendale, CA 91206



                      DAVID GONDA
                      12857 SHADOWLINE ST
                      POWAY, CA 92064



                      David Gonzalez
                      3432N 12TH PL APT 7
                      PHOENIX, AZ 85014



                      David Grant
                      37336 Sandbrook Dr.
                      Palmdale, CA 93550



                      David Gutierrez
                      1312 6th Ave
                      Los Angeles, CA 90019



                      David Haas
                      6530 BLUE GROSBEAK CIR
                      LAKEWOOD RANCH, FL 34202
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 588 of 2164




                      David Hernandez
                      104 Houlton Ct
                      San Jose, CA 95139



                      David Herrera
                      7029 Alabama
                      Canoga Park, CA 91303



                      David Heyward
                      420 MILLS ST
                      18
                      LEESBURG, FL 34748



                      David Hodges
                      14728 AVIENDA DE PALMA
                      WINTER PARK, FL 34787



                      David Hordish
                      7938 PALACIO DEL MAR DRIVE
                      BOCA RATON, FL 33433



                      David Ibarra
                      28188 MOULTON PKWY
                      APT. 2412
                      LAGUNA NIGUEL, CA 92677



                      David Ixta
                      926 Amberstone lane
                      San Ramon, CA 94582



                      DAVID IXTA
                      3852 SANTA CLARA WAY
                      LIVERMORE, CA 94550



                      David Jimenez
                      250 S. Rose Dr
                      #136
                      Placentia, CA 92670
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 589 of 2164




                      DAVID JIMENEZ
                      250 S ROSE DR  #136
                      PLACENTIA, CA 92670



                      David Jones
                      139 RENAISSANCE PKWY N.E.
                      ATLANTA, GA 30308



                      David Joseph
                      31177 Us-19 N
                      Palm Harbor, FL 34684



                      David Klanke
                      2934 GRIFFIN VIEW DR #110
                      LADY LAKE, FL 32159



                      David leonchik
                      9720 SE LINWOOD AVE
                      MILWAUKIE, OR 97222



                      DAVID LONG AND ASSOCIATES INC
                      312 CROWATAN RD
                      CASTLE HAYNE, NC 28429



                      David Lopez
                      1217 W Granette ST #1
                      TUCSON, AZ 85705



                      David Lopez
                      2251 S. Memphis St
                      Aurora, CO 80013



                      DAVID M COX PTA
                      280 CLARK DRIVE
                      HENDERSON, NV 89074
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 590 of 2164




                      David Marron
                      405 21st Street
                      San Diego, CA 92102



                      David Martinez
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                      153
                      SAN DIEGO, CA 92130



                      David Maye
                      2773 Cypress Drive
                      Apt. B
                      Clearwater, FL 33763



                      David Mcdowell
                      5711 KENSINGTON LOOP
                      FORT MYERS, FL 33912



                      David Melgar
                      2324 LANGMUIR STREET
                      SAN DIEGO, CA 92111



                      David Mendez
                      400 Magnolia Ave
                      Fullerton, CA 92833



                      David Mendoza
                      4168 N Millbrook ave apt 103
                      Fresno, CA 93726



                      David Mendoza Mendoza
                      372 S. 18TH ST.
                      SAN JOSE, CA 95116



                      David Milburn
                      5449 SAGO AVE
                      FT MYERS, FL 33907
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 591 of 2164




                      DAVID P NELSON ENTERPRISES LTD
                      BESTECH MECHANICAL
                      207 COMMERCE DR STE 401
                      DALLAS, GA 30132



                      David patino
                      970 DURKIN ST
                      CAMARILLO, CA 93010



                      David Perez - Cruz
                      4212 42ND ST
                      SAN DIEGO, CA 92105



                      David Perez Griffith
                      3704 CARROLLWOOD PLACE CIRCLE
                      9-203
                      TAMPA, FL 33624



                      David Pineda
                      13625 S 48TH ST
                      2118
                      PHOENIX, AZ 85044



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                      PO BOX 203908
                      HOUSTON, TX 77216-3908



                      David Polanco
                      3128 E NORMAL AVE
                      FRESNO, CA 93703



                      David Pritchett
                      10111 WINTERVIEW DR
                      NAPLES, FL 34109



                      David Quezada
                      12933 MCKINLEY AVE
                      LOS ANGELES, CA 90059
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 592 of 2164




                      David ramos
                      6857 1/2 VAN NUYS BLVD
                      Van Nuys, CA 91405



                      David Rivas Jimenez
                      6215 OSLER ST
                      SAN DIEGO, CA 92111



                      David Rochin
                      8201 ARTESIA BLVD
                      BUENA PARK, CA 90621



                      David Rodio
                      2303 23 Way
                      West Palm Beach, FL 33407



                      David Rodriguez
                      2950 N Balboa ave.
                      Apt 209
                      TUCSON, AZ 85705



                      DAVID ROJAS
                      FLEX 520
                      5343 S CASSIA WAY
                      TUCSON, AZ 85706



                      David Routzen
                      1148 PALISADES NW DR
                      ALBUQUERQUE, NM 87105



                      David Santiago
                      115 1/2 SOUTH CYPRESS ST
                      LA HABRA, CA 90631



                      David Simon
                      1003 LEONARD AVE
                      OCEANSIDE, CA 92054
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 593 of 2164




                      DAVID STRAUB
                      2629 HANOVER ROAD
                      COLUMBIA, IL 62236



                      David Tang
                      1208 W. Sunset Boulevard
                      Los Angeles, CA 90026



                      David Tejeda
                      149 W. Eden
                      FRESNO, CA 93706



                      DAVID THIESSEN
                      21339 BEAVER CREEK RD
                      OREGON CITY, OR 97045



                      David Tompkins
                      5321 SUMMERLIN ROAD
                      #1
                      FORT MYERS, FL 33919



                      David Townsend
                      637 S PROSPECT AVE
                      101
                      REDONDO BEACH, CA 90277



                      David Trevino
                      1559 N AGUSTA AVE
                      CAMARILLO, CA 93010



                      David Vasquez
                      1120 AZALEA DR
                      ALHAMBRA, CA 91801



                      David Walters
                      15019 NE 50TH ST
                      VANCOUVER, WA 98682
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 594 of 2164




                      David Webster
                      27561 Marta Ln
                      Santa Clarita, CA 91387



                      David White
                      9430 CONCOURSE DR.
                      1131
                      HOUSTON, TX 77036



                      David Wick
                      220 BALTIMORE ST
                      2
                      LONGVIEW, WA 98632



                      David Wolfe
                      342 1/2 E BADILLO ST
                      COVINA, CA 91723



                      DavidTuan PhanLe
                      170 CHATEAU LA SALLE DR
                      SAN JOSE, CA 95111



                      Davin hanna
                      6900 ROSWELL RD
                      ATLANTA, GA 30328



                      Davin Saunders
                      790 NORTH LAUREL AVENUE
                      UPLAND, CA 91786



                      Davina Campbell
                      1201 Seminole Blvd
                      Apt. 152
                      Largo, FL 33770



                      Davion Stinson
                      2128 E. 65TH ST
                      LONG BEACH, CA 90805
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 595 of 2164




                      DAVIS GEORGIA LLC
                      3235 ROSWELL ROAD #616
                      ATLANTA, GA 30305



                      DAVISON AND MOORE LLC
                      1567 SUNLAND LN
                      COSTA MESA, CA 92626



                      Davonte Gresham
                      4008 BRIGHTON AVE
                      LOS ANGELES, CA 90062



                      DAVRICK DANIEL
                      7057 TALON BAY DR
                      NORTH PORT, FL 34287



                      Dawana Taylor
                      1475 Date St
                      #112
                      San Bernardino, CA 92404



                      Dawayne Stewart
                      9219 GODSTONE LN
                      SPRING, TX 77379



                      Dawn Few
                      436 CHARLESTON ST SE
                      #D
                      ALBUQUERQUE, NM 87108



                      Dawn Travers
                      602 Patricia Lane
                      El Cajon, CA 92020



                      Dawneen Mccaskill
                      14345 Sw 112th Ave
                      #5
                      Tigard, OR 97224
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 596 of 2164




                      Dawson Cervantes
                      4271 E CASSIA WAY.
                      PHOENIX, AZ 85044



                      Daxwell
                      2825 Wilcrest Dr #500
                      Houston, TX 77042



                      Daxwell LLC
                      2825 Wilcrest Dr #500
                      Houston, TX 77042



                      Dayan Casler
                      8405 MEER WAY
                      403
                      KISSIMMEE, FL 34747



                      Dayanara Reyes
                      928 N. Oxford Ave
                      Apt 208
                      Los Angeles, CA 90029



                      DAYANARA REYES
                      351 THE BLVD
                      NEWNAN, GA 30263



                      Dayesi Garcia
                      311 E 122nd ave
                      Tampa, FL 33612



                      Dayla Barefield
                      13527 ELDRIDGE VILLA ST
                      SUGAR LAND, TX 77498



                      Daylen Chan
                      128 Sonny Day Way
                      Davenport, FL 33897
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 597 of 2164




                      Daymark Food Safety Systems
                      12836 South Dixie Hwy.
                      Bowling Green, OH 43402



                      DAYMARK FOOD SAFETY SYSTEMS
                      12836 SOUTH DIXIE HWY
                      BOWLING GREEN, OH 43402



                      Daymark Food Safety Systems
                      12836 South Dixie Hwy.
                      Bowling Green
                      OH, 43402



                      Dayna Dyjak
                      645 Glenmont Drive
                      Solana Beach, CA 92075



                      Dayshawn Williams
                      6041 OAK FENCE LN
                      LANCASTER, CA 93536



                      Dayvon Milerson
                      1367 WINDMILL WAY
                      NORCROSS, GA 30093



                      Dayyani Woods
                      2430 WILLOW PASS RD
                      122
                      BAY POINT, CA 94565



                      Dayzha Duncan
                      3816 N Quarters Road
                      Okahumpka, FL 34762



                      DCDOES
                      OFFICE OF UNEMPLOYMENT COMP
                      P.O. BOX 96664
                      WASHINGTON, DC 20090-6664
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 598 of 2164




                      DCPS PAINTING LLC
                      550 W 62ND AVE
                      DENVER, CO 80216



                      DDR CORP
                      PO BOX 73362
                      CLEVELAND, OH 44193



                      DE LAGE LANDEN FINANCIAL SER
                      PO BOX 41602
                      PHILADELPHIA, PA 19101-1602



                      De Lage Landen Financial Ser.
                      P.O. Box 41602
                      Philadelphia, PA 19101-1602



                      DE VORE
                      5211 VENICE BLVD
                      LOS ANGELES, CA 90019



                      De-nenge Akpera
                      422 Skyridge Ln
                      Escondido, CA 92026



                      Dean Gerbasio
                      10505 Peppergrass Ct.
                      New Port Richey, FL 34655



                      DEANA BRANAM
                      114 ALI LANE
                      JACKSBORO, TN 37757



                      Deandre Burns
                      4555 LAS VEGAS BLVD N.
                      BLDG.A 3040
                      LASVEGAS, NV 89115
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 599 of 2164




                      Deandre Burton
                      2904 SANDALWOOD DR
                      2904
                      SANDY SPRINGS, GA 30350



                      Deandre Jones
                      1208 Ne 163rd Ct.
                      Vancouver, WA 98683



                      Deann Pacelko
                      1807 SANFORD CIRCLE
                      1807
                      SARASOTA, FL 34234



                      Deanna Bowland
                      463 WOOSTER AVE
                      H6
                      SAN JOSE, CA 95116



                      Deanna Gomez
                      28431 Pacific St.
                      Hayward, CA 94544



                      Deanna Hazera
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                      Miramar, FL 33029



                      DEANNA JOHNSON
                      PO BOX 653
                      LADY LAKE, FL 32158



                      Deante Flood
                      3428 RIDGE BROOK TRL
                      DULUTH, GA 30096



                      DEBBI ANDERSON
                      1293 S GRACE WAY
                      LAYTON, UT 84041
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 600 of 2164




                      Debbie Calderon
                      4906 CARMELYNN
                      TORRANCE, CA 90503



                      DEBBIE LEIFER
                      4880 LOWER ROSWELL RD #165-335
                      MARIETTA, GA 30068



                      Debora Reyes
                      1308 W Lido Place
                      Apt 3
                      ANAHEIM, CA 92801



                      Deborah Austin
                      4941 SW CUSTER ST
                      PORTLAND, OR 97219



                      Deborah Bertrand
                      2200 ELITE LN
                      APT G
                      KENNESAW, GA 30144



                      Deborah Nielson
                      322 S.euclid Ave
                      Upland, CA 91786



                      Deborah Wysocki
                      1724 TROPICANA WAY
                      VALRICO, FL 33594



                      Debra Conlin
                      7323 W. Vogel Ave
                      Peoria, AZ 85345



                      Debra Hudson
                      13393 E Asbury Dr.
                      #204
                      Aurora, CO 80014
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 601 of 2164




                      DEBRA KAPLAN
                      54 CHARLES STREET
                      COUNCIL BLUFFS, IA 51503



                      Decas Cranberry Products, Inc
                      4 Old Forge Drive
                      Carver, MA 02330



                      Deedah Rahnuma
                      5629
                      CELLO WAY
                      FREMONT, CA 94538



                      Deedah Z. Rahnuma
                      5629
                      CELLO WAY
                      FREMONT, CA 94538



                      Deena Harry
                      1475 Club Dr
                      Tarpon Springs, FL 34689



                      Deena vierus
                      1536 MOORLAND DR
                      APT 5
                      SAN DIEGO, CA 92109



                      Deisy Bastidas
                      3332 Robert Trent Jones Drive
                      Apt 406
                      Orlando, FL 32835



                      Deivian Diaz
                      11 SLIVER RUN
                      OCALA, FL 34472



                      Deja Hall
                      29344 N Red Finch Drive
                      San Tan Valley, AZ 85143
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 602 of 2164




                      Dejah Williams
                      3214ND 62ND AVE
                      D4
                      VANCOUVER, WA 98661



                      Dejon Jackson
                      1344 SABLE BLVD
                      AURORA, CO 80011



                      Del Amo Associates, LLC
                      Eric Sahn
                      60 South Market St #1120
                      San Jose, CA 95113



                      DEL AMO ASSOCIATESLLC
                      PO BOX 4795
                      C/O FREMONT BANK
                      HAYWARD, CA 94540-4795



                      DEL CERRO BAPTIST CHURCH
                      5512 PENNSYLVANIA LN
                      DCBC ACTEENS FUNDRAISER
                      LA MESA, CA 91942



                      DEL MONTE FOODS INC
                      7775 SOLUTIONS CENTER
                      CHICAGO, IL 60677-7007



                      DEL NORTE HS GIRLS SOCCER
                      PO BOX 94661
                      ALBUQUERQUE, NM 87199



                      DEL SOL ACADEMY
                      3100 E PATRICK LANE
                      LAS VEGAS, NV 89120



                      DEL VALLE TOT LOT
                      5050 CLARK AVE
                      LAKEWOOD, CA 90712
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 603 of 2164




                      Delaina Peek
                      1045 Coleman Ave
                      Sarasota, FL 34232



                      Delana Martinez
                      5004 UTE RD NW
                      ALBUQUERQUE, NM 87105



                      Delaney Allen
                      377 20TH AVE NW
                      NAPLES, FL 34120



                      Delaney Stamper
                      2845 David Stewart Lane
                      Lady Lake, FL 32159



                      Delanor Lewis
                      4727 Pine Ave Lane
                      WEST PALM BEACH, FL 33417



                      Deldric Scoggins
                      4950 SUGAR GROVE BLV
                      1302
                      STAFFORD, TX 77477



                      Deleona Hosley
                      30 Lodge Dr
                      Concord, CA 94520



                      DELFIN DESIGN AND MANUFACTURING INC
                      15672 PRODUCER LANE
                      HUNTINGTON BEACH, CA 92649



                      Delfina guerrero
                      4200 THE WOODS DRIVE
                      1406
                      SAN JOSE, CA 93615
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 604 of 2164




                      Delia Cuevas Guzman
                      2373 W CORONET AVE
                      ANAHEIM, CA 92801



                      Delia Limbasan
                      7951 QUINCE ST
                      COMMERCE CITY, CO 80022



                      Delia Myrie
                      5342 Lake Margaret Dr
                      Apt 518
                      ORLANDO, FL 32812



                      Delia Simpson
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                      #B
                      LITTLETON, CO 80120



                      Delia Sotelo Ocampo
                      3201 E FORT LOWELL RD
                      1003
                      TUCSON, AZ 85716



                      Delickson souffrant
                      1530 STONEHAVEN DR
                      3
                      BOYNTON BEACH, FL 33436



                      Deligetn Deliasse
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                      NAPLES, FL 34113



                      Delisa Carroll
                      2741 LAkeview Dr
                      Fort Myers, FL 33905



                      Dellanira EsquilinEsquilin
                      827 PALM BAY
                      TAMPA, FL 33619
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 605 of 2164




                      Delma Prieto de Orrantia
                      6208 S 10th
                      Apt #2
                      Phoenix, AZ 85042



                      Delmy Martinez
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                      14F
                      TEMECULA, CA 92591



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                      BUSINESS ANALYTICS LLP
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                      DELTA EPSILON MU
                      105 STANFORD COURT
                      IRVINE, CA 92612



                      DELTA EPSILON MU
                      AARON DENG
                      4455 VISION DRIVE APT #2
                      SAN DIEGO, CA 92121



                      DELTA EPSILON MU
                      105 STANFORD COURT
                      IRVINE
                      CA, 92612



                      DELTA EPSILON MU INC
                      900 UNIVERSITY AVE HUB 229
                      RIVERSIDE, CA 92507
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                      DELTA EPSILON MU INC
                      900 UNIVERSITY AVE HUB 229
                      RIVERSIDE
                      CA, 92507



                      DELTA TECH SERVICES INC
                      3525 DELTA DR
                      ST GABRIEL, LA 70776



                      Delvan Martin
                      5531BRIDGEFOREST
                      HOUSTON, TX 77088



                      Delvis Perez Orta
                      8014 DELL DR
                      TAMPA, FL 33615



                      Demarcus Barnes
                      920 ESTES DR
                      ATLANTA, GA 30010



                      Demario Anderson
                      3812 E PAILFOX ST
                      TAMPA, FL 33610



                      Demarkus Brown
                      2261 pine
                      long beach, CA 90896



                      Demarkus hill
                      4621 ROBBINS AVE
                      ORLANDO, FL 32808



                      Demarlon Oliver
                      640 67TH ST
                      #2
                      SAN DIEGO, CA 92114
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                      Demecia Walker
                      4020 Locust Ave
                      Sarasota, FL 34234



                      Demetrious Young
                      914 SUMNER STREET
                      #A
                      KISSIMMEE, FL 34741



                      demetrius givens
                      2304 N BOULEVARD
                      TAMPA, FL 33602



                      Demetrius Pollard
                      21 HOKE EDWARDS CT
                      N.LAS VEGAS, NV 89031



                      Demetrius Vanlue
                      2640 CAMPBELLTON RD SW
                      D1
                      ATLANTA, GA 30311



                      Demitrius Green
                      2410 E THRACE ST
                      TAMPA, FL 33605



                      DEMOLAY BROOMFIELD COLORADO
                      10505 FRANKLIN WAY
                      NORTHGLENN, CO 80233



                      Dener Danastor
                      1031 Sunset Av
                      Apt 3
                      Delray Beach, FL 33444



                      Denese Rothland
                      546 100TH AVE N
                      NAPLES, FL 34108
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                      Deneva Beard
                      832 W JAMES M. WOOD BLVD.
                      LOS ANGELES, CA 90015



                      Denia Santos Villanueva
                      4000 E BONANZA
                      120 BLD 3
                      LAS VEGAS, NV 89110



                      Denis Baldeirrama
                      524 CHIECHI AVE APT 15
                      SAN JOSE, CA 95126



                      Denis Martinez
                      4553W 149TH ST
                      LAWNDALE, CA 90260



                      Denis Muratov
                      40614 SPENCER COURT
                      MAGNOLIA, TX 77354



                      Denis Ramic
                      6650 W WARM SPRINGS RD
                      2088
                      LAS VEGAS, NV 89118



                      Denise Alquicira
                      5757 COLLEGE AVE
                      #X
                      SAN DIEGO, CA 92120



                      Denise Gleason
                      225 E 26th St.
                      #4
                      National City, CA 91950
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 609 of 2164




                      Denise Hernandez
                      18407 DEARBORN ST.
                      APT. 212
                      NORTHIRDGE, CA 91325



                      Denise Lopez
                      640 3/4 SAN BENITO ST.
                      LOS ANGELES, CA 90033



                      Denise Robles
                      3033 E Merrygrove St.
                      West Covina, CA 91792



                      Denise Wilson
                      11108 MORNING DOVE RD.
                      LAKESIDE, CA 92040



                      DENISE WILSON
                      11108 MORNING DOVE RD
                      LAKESIDE, CA 92040



                      Denisse Beltran
                      602 Surth Tremont
                      Oceanside, CA 92054



                      Denisse Lozano
                      4731 E. Ave. R-12
                      Palmdale, CA 93552



                      Denisse Ramos
                      511 SOUTH K STREET
                      #1
                      OXNARD, CA 93030



                      Deniz Sanchez
                      1833 N JOG RD
                      APT 202
                      WEST PALM BEACH, FL 33411
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 610 of 2164




                      Dennis Francois
                      1215 NW 7 CT
                      HOMESTEAD, FL 33034



                      DENNIS G VESSELS
                      9684 FOOTHILL BLVD
                      RANCHO CUCAMONGA, CA 91730



                      DENNIS HARDY
                      3918 E BLUE SAGE RD
                      GILBERT, AZ 85297



                      Dennis Justine Mulato
                      3563 COSBEY AVENUE
                      BALDWIN PARK, CA 91706



                      Dennis Lawrence
                      1453 4th Ave Apt. #530
                      San Diego, CA 92101



                      Dennis Martinez
                      8642 W Kathleen Rd
                      Peoria, AZ 85382



                      Dennis Turcios
                      2010 10 Th Ave
                      Los Angeles, CA 90018



                      Denniston Bent
                      16343 Sw 30th St
                      Hollywood, FL 33027



                      DENTRELL CLAVERIE
                      12261 FONDREN RD
                      310
                      HOUSTON, TX 77035
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 611 of 2164




                      Denver Babbitt
                      1110 NE ADAMS ST
                      CAMAS, WA 98661



                      DENVER BABBITT
                      3709 NE 152ND COURT
                      VANCOUVER, WA 98682



                      DENVER COUNTY COURT
                      1437 BANNOCK ST RM 135
                      DENVER, CO 80202



                      DENVER WATER
                      PO BOX 173343
                      DENVER, CO 80217-3343



                      Denysse Castruita
                      2713 ALISO DR NE
                      ALBUQUERQUE, NM 87110



                      Denzel gatchalian
                      14123 GILMORE ST
                      #2
                      VAN NUYS, CA 91401



                      DENZEL MATTHEWS
                      1211 SUSAN ST
                      LEESBURG, FL 34748



                      Denzel Sarmiento
                      1335 W Court St
                      Apt 414
                      Los Angeles, CA 90026



                      Deon Maybank
                      119 CAMELOT DRIVE
                      ATLANTA, GA 30349
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 612 of 2164




                      DEON THOMAS
                      2010 LOS TRANCOS APT D
                      IRVINE, CA 92618



                      Deondrey Woods
                      14892 63 Way N
                      Clearwater, FL 33755



                      DEPARTMENT OF AGRICULTURE
                      405 SOUTH 21ST STREET
                      SPARKS, NV 89431



                      DEPARTMENT OF CONSUMER & BUSINESS SERVIC
                      PO BOX 14610
                      SALEM, OR 97309-0445



                      DEPARTMENT OF CONSUMER AFFAIRS
                      PO BOX 942501
                      SACRAMENTO, CA 94258-0501



                      DEPARTMENT OF FINANCIAL SER
                      BUREAU OF UNCLAIMED PROPERTY
                      PO BOX 6350
                      TALLAHASSEE, FL 32314-6350



                      DEPARTMENT OF INDUSTRIAL RELATIONS
                      PO BOX 516547
                      CAL OSHA PENALTIES
                      LOS ANGELES, CA 90051-0595



                      DEPARTMENT OF LABOR
                      FINANCE OFFICE - BOILER INSP
                      PO BOX 628
                      DENVER, CO 80201-0628



                      Department Of Motor Vehicles
                      Po Box 825339
                      Sacramento, CA 94232-5339
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 613 of 2164




                      DEPARTMENT OF MOTOR VEHICLES
                      Po Box 825339
                      Sacramento
                      CA, 94232-5339



                      DEPARTMENT OF REGIONAL PLANNING
                      320 WEST TEMPLE STREET
                      LOS ANGELES, CA 90012



                      DEPARTMENT OF STATE
                      PO BOX 1300
                      ATTN FICTITIOUS NAME REGIST
                      TALLAHASSEE, FL 32302-1300



                      DEPARTMENT OF STATE TREASURER
                      UNCLAIMED PROPERTY PROGRAM
                      3200 ATLANTIC AVE
                      RALEIGH, NC 27604-1668



                      DEPARTMENT OF TAX AND REVENUE
                      P.O. BOX 91017
                      BATON ROUGE, LA 70821-9017



                      DEPARTMENT OF THE TREASURY
                      INTERNAL REVENUE SERVICE
                      OGDEN, UT 84201-0009



                      DEPARTMENT OF THE TREASURY
                      INTERNAL REVENUE SERVICE
                      OGDEN
                      UT, 84201-0009



                      DEPARTMENT OF TREASURY
                      IRS
                      AUSTIN, TX 73301



                      DEPT OF FINANCE AND ADMIN
                      P.O. BOX 9941
                      LITTLE ROCK, AR 72203-9941
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                      DEPT OF LABOR & INDUSTRIES
                      BOILERPRESSURE VESSEL SECTION
                      PO BOX 44410
                      OLYMPIA, WA 98504-4410



                      DEPT OF LABOR AND INDUSTRIES
                      PO BOX 24106
                      SEATTLE, WA 98124-6524



                      DEPT OF LABOR AND INDUSTRIES
                      PO BOX 34022
                      SEATTLE, WA 98124-1022



                      DEPT OF REVENUE AND TAXATION
                      P.O. BOX 6309
                      HELENA, MT 59604-6309



                      DEPT OF WORKFORCE DEVELOPMENT
                      PO BOX 7054
                      INDIANAPOLIS, IN 46207-7054



                      Derek Alban
                      4250 NW 30TH ST
                      157
                      COCONUT CREEK, FL 33066



                      Derek Edwards
                      4461 OHIO ST.
                      YORBA LINDA, CA 92886



                      Derek McCormick
                      12961 LAFAYETTE ST.
                      THORNTON, CO 80241



                      Derek Padron
                      790 W. CHESTNUT AVE
                      MONROVIA, CA 91016
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                      Derek Riley III
                      3009 E 9TH ST
                      VANCOUVER, WA 98661



                      Derek Stillwell
                      11297 W Crestline Place
                      Littleton, CO 80127



                      DEric Zachary
                      5010 GROVE WEST BLVD
                      2104
                      STAFFORD, TX 77477



                      Deriquis Robertson
                      107 CLUB PLACE
                      107
                      DULUTH, GA 30096



                      DERITO TALKING STICK SOUTH LLC
                      PO BOX 845539
                      LOS ANGELES, CA 90084-5539



                      DERITO TALKING STICK SOUTH LLC
                      3200 E CAMELBACK ROAD #175
                      ATTN MS DANIELLE WHITE
                      PHOENIX, AZ 85018



                      Derito Talking Stick South, LLC
                      Attn: Charles R. Carlise
                      3200 East Camelback
                      Ste. 175
                      Phoenix, AZ 85018



                      Derius Aguirre
                      3456 Castle Glen Drive
                      #161
                      San Diego, CA 92123
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                      Deroyal Textiles
                      Deroyal Industries/Credit Dept
                      MSC 30316 - PO Box 415000
                      Nashville, TN 37241-0316



                      DEROYAL TEXTILES
                      P.O. BOX 1015
                      POWELL, TN 37849



                      DEROYAL TEXTILES
                      MCS 30316
                      PO BOX 415000
                      NASHVILLE, TN 37241-0316



                      DEROYAL TEXTILES
                      DEROYAL INDUSTRIES CREDIT DEPT
                      MSC 30316 PO BOX 415000
                      NASHVILLE, TN 37241-0316



                      Derrell Woods
                      383 THIRD AVE
                      SCOTTSDALE, GA 30079



                      Derriahna Farley
                      33119 GREAT SALT LAKE DRIVE
                      FREMONT, CA 94555



                      Derrick Bonn
                      7709 SW PFAFFLE ST.
                      99
                      TIGARD, OR 97223



                      Derrick Mcdaniels
                      2318 W PINE STREET
                      TAMPA, FL 33607



                      Derrick Row
                      7760 SW RAINTREE DR.
                      BEAVERTON, OR 97008
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 617 of 2164




                      Derrick Webster
                      1554 S FRASER WAY
                      AURORA, CO 80012



                      DERRY TWP TAX COLLECTION ASSN.
                      610 CLEARWATER ROAD
                      HERSHEY, PA 00017-0330



                      Deruosi Nut
                      The Deruosi Group, Llc
                      25055 Arthur Rd
                      `, CA 95320



                      Derwin Ambroise
                      8950 SOUTHERN ORCHARD RD
                      DAVIE, FL 33328



                      DES UNEMPLOYMENT TAX
                      P.O. BOX 52027
                      PHOENIX, AZ 85072-2027



                      DESERT BOIILERS AND CONTROLS INC
                      305 WEST SAINT LOUIS AVE
                      LAS VEGAS, NV 89102



                      DESERT RIDGE RATTLERS
                      4128 E TOPEKA DR
                      PHOENIX, AZ 85050



                      Desharra Prater
                      2319 PARKHAVEN DRIVE
                      SUGAR LAND, TX 77478



                      Deshaun Jeffers
                      2550 Lady Jo Way
                      Orlando, FL 32809
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 618 of 2164




                      Desimone Jason
                      207 W. Fruitland St
                      Fruitland Park, FL 34731



                      Desiree Acuna
                      103 w. laurel ct.
                      Gilbert, AZ 85233



                      Desiree Cortez
                      4138 SAN MIGUEL WAY
                      SAN JOSE, CA 95111



                      Desiree Devoll
                      31177 Us Hwy 19n
                      Apt 817
                      Palm Harbor, FL 34684



                      Desiree E. Rendon
                      1932 LAKE SHORE AVE.
                      LOS ANGELES, CA 90039



                      Desiree Engle
                      2110 CORAL PLACE
                      NEWPORT BEACH, CA 92663



                      Desiree Eskridge
                      29233 VIA ESPADA
                      MURRIETA, CA 92563



                      Desiree Fierro
                      3594 WINDSONG STREET
                      EL MONTE, CA 91732



                      Desiree Gonzalez
                      10814 KEYS GATE DRIVE
                      RIVERVIEW, FL 33579
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 619 of 2164




                      Desiree Gonzalez
                      12351 MARSHALL AVE
                      CHINO, CA 91710



                      Desiree Ortiz
                      4351 MARIGOLD DR
                      CHINO, CA 91710



                      Desiree Ramsey-Holtzclaw
                      7949 OAKMONT DR.
                      LAKE WORTH, FL 33467



                      Desiree Rendon
                      1932 LAKE SHORE AVE.
                      LOS ANGELES, CA 90039



                      Desiree Rivera
                      8206 CALIFORNIA ST
                      4
                      BUENA PARK, CA 90621



                      Desiree Spreeman
                      4707 Se Boardman Ave.
                      Apt #24
                      Portland, OR 97267



                      Desiree Totress
                      4709 E BELLEVIEW
                      PHOENIX, AZ 85008



                      Desiree Townsend
                      325 N. Gibson Rd
                      #313
                      Henderson, NV 89014



                      Desiree VALENZUELA
                      1044 E ORANGE ST
                      44
                      TEMPE, AZ 85281
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 620 of 2164




                      Desiree williams
                      550 STAFFORD RUN ROAD
                      109
                      STAFFORD, TX 77477



                      Desita Moti
                      1750 STOKES ST.
                      SAN JOSE, CA 95126



                      Desmond McCallum
                      3931 PIN OAK CIRCLE
                      DORAVILLE, GA 30340



                      Desmond schletty
                      11000 KIMBALL CREST DR.
                      ALPHARETTA, GA 30022



                      Desmond Tenorio
                      101 BLACK MSA RD
                      50
                      ALBUQUERQUE, NM 87108



                      Destin Phinney
                      4014 62ND ST E
                      BRADENTON, FL 34208



                      Destin Williams
                      10502 ROSE ROCK CANYON
                      737
                      STAFFORD, TX 77477



                      Destinee Seal
                      319 ACACIA AVE
                      209
                      CARLSBAD, CA 92008
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 621 of 2164




                      Destini Hines-Dozier
                      120 PIEDMONT AVE NE
                      711A
                      ATLANTA, GA 30303



                      Destiny Alar
                      1013 NORTH MALLARD STREET
                      LAS VEGAS, NV 89108



                      Destiny Alarcon-Gerberg
                      18195 SW BUTTERNUT ST
                      BEAVERTON, OR 97007



                      Destiny Anderson
                      10187 Se 65th Ave
                      Milwaukie, OR 97222



                      Destiny Callins
                      14891 JIM STOWE RD.
                      CONROE, TX 77302



                      Destiny Chea
                      2991 MASSACHUSETTS AVE
                      LEMON GROVE, CA 91945



                      Destiny Cortez
                      6910 CORKSCREWLN
                      NAPLES, FL 34120



                      Destiny Green
                      7530 BROMPTON ST
                      HOUSTON, TX 77025



                      Destiny Huntley
                      42016 MILL CREEK AVE
                      ALPHARETTA, GA 30022
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 622 of 2164




                      Destiny Lamb
                      3045 W. 71ST AVE
                      424
                      WESTMINSTER, CO 80030



                      Destiny M. Callins
                      14891 JIM STOWE RD.
                      CONROE, TX 77302



                      Destiny Martinez
                      8203 WAYNEMER WAY
                      HOUSTON, TX 77040



                      Destiny munoz
                      50077 WEST PAPAGO RD.
                      MARICOPA, AZ 85139



                      Destiny Orellana
                      6830 JASPER ST.
                      RANCHO CUCAMONGA, CA 91701



                      Destiny Perez
                      1119 W 28TH STREET
                      LOS ANGELES, CA 90007



                      Destiny Rodriguez
                      1931 S LEWIS ROAD
                      CAMARILLO, CA 93012



                      Destiny Rosario
                      707 Oak Manor Circle
                      Orlando, FL 32825



                      Destyni Williams
                      2731 KINGS CANYON CRT
                      HOUSTON, TX 77067
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 623 of 2164




                      DETEMPLE COMPANY INC
                      5636 NE HASSALO STREET
                      PORTLAND, OR 97213



                      DETF
                      P.O. BOX 41780
                      PHILADELPHIA, PA 19101-1780



                      Devan Bogarty
                      1210 67TH DR E
                      106
                      SARASOTA, FL 34243



                      Devante Holmen
                      2046 SWEET LILAC DRIVE
                      HOUSTON, TX 77090



                      Devante LaGrange
                      777 BATESWOOD DRIVE
                      147
                      HOUSTON, TX 77079



                      Deven Garcia
                      8570 WILEY CIR
                      WESTMINSTER, CO 80031



                      Devin Beadle
                      22788 E Via las Brisas
                      Queen Creek, AZ 85142



                      DEVIN BUSEY
                      10520 SW 130TH AVE
                      BEAVERTON, OR 97008



                      Devin Carter
                      33306 FOX RD.
                      TEMECULA, CA 92592
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 624 of 2164




                      Devin Coleman
                      13312 NE KERR RD
                      VANCOUVER, WA 98682



                      Devin Frieson
                      230 EAST KENTUCKY STREET
                      FAIRFIELD, CA 94533



                      DEVIN FROST
                      19565 RINALDI ST APT 18
                      PORTER RANCH, CA 91326



                      Devin Jarrett
                      415 LAURIE LANE
                      #2
                      LEESBURG, FL 34748



                      Devin Johnson
                      1608 LEAD AVE
                      A
                      ALBUQUERQUE, NM 87106



                      Devin Lane
                      13585 SE 166TH PL
                      WEIRSDALE, FL 32195



                      Devin Lieberman
                      1515 Nebraska Avenue
                      Palm Harbor, FL 34683



                      Devin Pimentel
                      10947 72ND AVE
                      SEMINOLE, FL 33772



                      Devin Wallace
                      6201 E. Pima St.
                      Apt 57
                      TUCSON, AZ 85712
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 625 of 2164




                      Devin Williams
                      2901 HOLLY HILL AVE
                      LAS VEGAS, NV 89104



                      Devina Bruns
                      534 Allen St
                      MARTINEZ, CA 94553



                      Devinaire Hayes
                      8690 AQUARIUS DR
                      SAN DIEGO, CA 92126



                      Devlin Inc Power Washing
                      5304 PINEVIEW WAY
                      APOPKA, FL 32703



                      DEVLIN POWER WASHING INC
                      5304 PINEVIEW WAY
                      APOPKA, FL 32703



                      Devon C. Goree
                      13901 TUSTIN EAST DR
                      APT. 98
                      TUSTIN, CA 92780



                      Devon Elzy
                      25845 Karisa Circle
                      Moreno Valley, CA 92551



                      DEVON ELZY
                      2124 N SANTA FE AVE APT 7
                      COMPTON, CA 90222



                      Devon Goree
                      13901 TUSTIN EAST DR
                      APT. 98
                      TUSTIN, CA 92780
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 626 of 2164




                      Devon Kutin
                      5885 TERRA BELLA CT
                      CAMARILLO, CA 93012



                      Devon Morgan
                      1523 30TH STREET
                      SARASOTA, FL 34234



                      Devontae Hill
                      14719 GLADEBROOK DRIVE
                      HOUSTON, TX 77068



                      Devonte Gaynor
                      2731 WILLIAMSBURG DR
                      DECATUR, GA 30034



                      Devonte Green
                      1901 WEST JEAN ST
                      TAMPA, FL 33604



                      Devonte Hawkins
                      1325 N WESTERN AVE
                      NOT APPLICABLE
                      LOS ANGELES, CA 90027



                      Devonte Morris
                      9575 RESEDA BLVD
                      143
                      NORTHRIDGE, CA 91324



                      Devyn smith
                      3941 TUCKS ROAD
                      BOYNTON BEACH, FL 33436



                      Dewana Henderson
                      P O Box 475
                      Ocklawaha, FL 32179
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 627 of 2164




                      Dewayne Reese
                      2037 EAST CAMELLIA DRIVE
                      ATLANTA, GA 30032



                      DEWEY SERVICES INC
                      PO BOX 7114
                      PASADENA, CA 91109-7214



                      Dexter Burch
                      12800 VOON ROAD
                      5903
                      LARGO, FL 33774



                      Deyaneira Perez
                      5531 CONROY RD
                      4
                      ORLANDO, FL 32811



                      Deyanira Bautista
                      37079 Poplar St
                      Newark, CA 94560



                      Deysi Cardenas Parra
                      5815 PARADISE LANE
                      ORLANDO, FL 32808



                      Dezirae Blaue
                      5332 TRINETTE AVE
                      GARDEN GROVE, CA 92845



                      DFE   INVESTMENTS LLC
                      400   S RAMPART BLVD STE 220
                      C/O   NORTHCAP
                      LAS   VEGAS, NV 89145



                      DFE Investments, LLC
                      400 S. Rampart Blvd.
                      Ste. 220
                      Las Vegas, NV 89145
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 628 of 2164




                      DFS FLOORING INC
                      15651 SATICOY STREET
                      VAN NUYS, CA 91406



                      DGH 1125, LLC
                      Attn: Jon Gallant DGH 1125, LLC c/o D&G Developm
                      6400 Powers Ferry Rd.
                      Ste. 350
                      Atlanta, GA 30339



                      Dharma Kemp
                      3038 6th Ave
                      Los Angeles, CA 90018



                      DHG 1125 LLC
                      6400 POWERS FERRY RD STE 350
                      C/O D AND G DEVELOPMENT SVCS
                      ATLANTA, GA 30339



                      DHSS CONTROLLERS OFFICE
                      DHSS CONTROLLERS OFFICE
                      RALEIGH, NC 27699



                      Diamel Ynfante
                      5623 LOUIS XIV CT
                      #B
                      TAMPA, FL 33614



                      DIAMOND BAR HIGH ROBOTICS
                      21400 PATHFINDER RD
                      DIAMOND BAR, CA 91765



                      DIAMOND BAR HIGH SCHOOL
                      21400 PATHFINDER ROAD
                      DIAMOND BAR, CA 91765



                      DIAMOND BAR HIGH SCHOOL ORCHESTRA
                      326 GOLDERNROD DR
                      WALNUT, CA 91789
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                      DIAMOND BAR HS KEY CLUB
                      ORGANIZATION
                      21400 PATHFINDER ROAD
                      DIAMOND BAR, CA 91765



                      Diamond Bennah
                      1107 LIA HILLS DR
                      1107
                      NORCROSS, GA 30071



                      DIAMOND CLUB
                      11425 W I70 FRONTAGE RD
                      WHEAT RIDGE, CO 80033



                      DIAMOND CRYSTAL
                      PO BOX 100178
                      PASADENA, CA 91189-0178



                      DIAMOND CRYSTAL
                      23013 NETWORK PLACE
                      CHICAGO, IL 60673-1230



                      Diamond Crystal Brands
                      Po Box 100178
                      Pasadena, CA 91189-0178



                      DIAMOND SHARP
                      4559 B STREET
                      STOCKTON, CA 95206



                      DIAMOND SHARP
                      4559 B STREET
                      STOCKTON
                      CA, 95206



                      DIAMOND SHARP CUTLERY SERVICE INC
                      7431 MISSION GORGE RD
                      SAN DIEGO, CA 92120
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                      DIAMOND SHARP CUTLERY SERVICE INC
                      7431 MISSION GORGE RD
                      SAN DIEGO
                      CA, 92120



                      Diamond Thomas
                      8902 Tiberian Dr APT 303
                      Kissimmee, FL 34747



                      DIANA ANTUNEZ
                      202 FLEETWOOD COURT
                      ARLINGTON, TX 76014



                      Diana Becerra
                      6480 SKYLINE DR
                      SAN DIEGO, CA 92114



                      Diana Bueno
                      GARZOTA DR
                      109
                      SANTA CLARITA, CA 91350



                      Diana Calderon
                      2566 Oak Trail Ave
                      Apt 106
                      Clearwater, FL 33764



                      Diana Cikmis
                      31790 US HIGHWAY 19N
                      35
                      PALM HARBOR, FL 34684



                      Diana contreras
                      22702 PACIFIC PARK DR
                      K21
                      ALISO VIEJO, CA 92656
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                      Diana Edwards
                      15118 SEAROBBIN DRIVE
                      LAKEWOOD RANCH, FL 34202



                      Diana Escobedo
                      1301 E AVE I SPC. 190
                      LANCASTER, CA 93535



                      Diana garcia
                      2540 W MARYLAND AVE
                      104
                      PHOENIX, AZ 85017



                      DIANA GREER
                      1240 S CHARLOTTE AVE
                      SAN GABRIEL, CA 91776



                      Diana Hernandez Tobar
                      46400 DUNE PALMS RD
                      99
                      LA QUINTA, CA 92253



                      Diana Iznaola
                      6105 44TH CT E
                      BRADENTON, FL 34203



                      Diana Leon
                      239 E TRIDENT DR
                      PITTSBURG, CA 94565



                      Diana Lopez
                      3761 West Hillsboro Blvd
                      APT C103
                      Coconut Creek, FL 33073



                      DIANA LOPEZ
                      4541 EMERALD VISTA F 335
                      LAKE WORTH, FL 33461
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 632 of 2164




                      Diana Nehus
                      603 108th Ave N
                      Naples, FL 34108



                      Diana Oloeri




                      Diana Paola Trujillo
                      922 West Yale Dr.
                      Tempe, AZ 85283



                      DIANA PEREZ
                      317 E FOSTER ST
                      ARLINGTON HEIGHTS, IL 60005



                      Diana Pinzon
                      4311 Okeechobee Blvd
                      Lot 15
                      West Palm Beach, FL 33409



                      Diana Reyes
                      15758 SE HIGHWAY 224
                      102
                      DAMASCUS, OR 97089



                      Diana Rivera Jimon
                      1250 S. EUCLID ST
                      F361
                      ANAHEIM, CA 92802



                      Diana Salinas
                      8602 KEMPWOOD
                      HOUSTON, TX 77080



                      Diana Santos
                      3115 ARVIA ST
                      #C
                      LOS ANGELES, CA 90065
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                      DIANA SUJANTO
                      5037 FABERGE PL
                      INVESTOR'S CLUB
                      SARASOTA, FL 34233



                      Diana Vanegas
                      2621 E KELTON LN
                      PHOENIX, AZ 85032



                      Diana Vazquez Solorio
                      6500 w. charleston blvd
                      #284
                      Las Vegas, NV 89146



                      Diana Zaldua
                      2403 NORTH TUTTLE AVENUE
                      SARASOTA, FL 34234



                      Diane Antonio
                      4055 JOHNNIE COCHRAN VISTA
                      5
                      LOS ANGELES, CA 90019



                      Diane Burgess Forgus
                      2615 NORTHVIEW AVE.
                      DECATUR, GA 30032



                      Diane Carbajal
                      14027 BEAVER ST
                      SYLMAR, CA 91342



                      DIANE L FIGG
                      314 PORTER AVE
                      SCOTTDALE, PA 15683



                      Diane Lopez
                      4302 MOUNT DAVIS AVE
                      SAN DIEGO, CA 92117
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 634 of 2164




                      DIANE M HENDRICKS ENTERPRISES INC
                      1128 BEVIILLE RD
                      DAYTONA BEACH, FL 32114



                      Diane Murphy
                      9053 Lantern Dr
                      Lake Worth, FL 33467



                      DIANE PLAMONDON WERMULLER
                      1929 ERIN AVE
                      UPLAND, CA 91784



                      Diane Riddle
                      23 Tulip Place
                      Aliso Viejo, CA 92656



                      Diane tomlin
                      2030 CALUSA TRAIL
                      HOLIDAY, FL 34690



                      Diane Torres
                      39540 Chantilly Ln
                      Palmdale, CA 93551



                      DIANE WEIHRAUCH
                      19 STEINGERG CIRCLE
                      MILLSTADT, IL 62260



                      DIANNA GARCIA
                      3802 ROSECRANS ST UNIT 357
                      SAN DIEGO, CA 92110



                      DIANNA L. STONEY
                      1615 Jason St.
                      San Diego, CA 92154
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 635 of 2164




                      Dianna Stoney
                      1615 Jason St.
                      San Diego, CA 92154



                      Dichauna Brown
                      301 WESTERN SKIES DR SE
                      129
                      ALBUQUERQUE, NM 87123



                      Diego Acero
                      505 32ND ST
                      SAN DIEGO, CA 92102



                      Diego Aguilera
                      2298 Dickerman Place
                      Pomona, CA 91766



                      Diego Cisneros
                      7340 FOOTHILL BLVD
                      6
                      TUJUNGA, CA 91042



                      Diego Finol
                      11471 GHIBERTI WAY
                      PORTER RANCH, CA 91326



                      Diego Gonzalez
                      426 N BAYVIEW AVE
                      SUNNYVALE, CA 94085



                      Diego Leiva
                      954 Henderson Ave Spc 99
                      Sunnyvale, CA 94086



                      Diego Materan
                      1458 NE. 105th Way
                      Apt 12
                      Hillsboro, OR 97006
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 636 of 2164




                      Diego Mendez Lozano
                      894 SAN ALESO AVE
                      #3
                      SUNNYVALE, CA 94085



                      Diego Perez
                      3042 Anastasia Ct
                      Apopka, FL 32703



                      Diego Pineda
                      2818 Raymond St
                      Forest Grove, OR 97116



                      Diego Sanchez Castro
                      127 ROXANNE COURT
                      1
                      WALNUT CREEK, CA 94597



                      Diego Solorzano
                      1476 HEATHERWOOD AVE
                      CHULA VISTA, CA 91913



                      Diego Velasco
                      8246 N. EQUATOR LOOP
                      TUCSON, AZ 85741



                      Diego Zamboni
                      711 WAGON WHEEL CIRCLE
                      BREA, CA 92821



                      Dielhomme Mardy
                      3780 29TH AVE SW
                      NAPLES, FL 34117



                      Dieudonne Jean Francois
                      4110 Sw 16th Place apt 104
                      Naples, FL 34116
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 637 of 2164




                      Dieuminy Dieusinor
                      304 Clemson Drive
                      Altamonte Springs, FL 32714



                      Dieuner Novembre
                      3910 Timber Trail
                      Orlando, FL 32808



                      DIGIROLMO AND ASSOCIATES INC
                      11260 NW 33RD ST
                      CORAL SPRINGS, FL 33065



                      Dijan Smith
                      455 EAST TWAIN AVE
                      142
                      LAS VEGAS, NV 89169



                      Dilan Giraldo
                      6522 Johns Road
                      Tampa, FL 33634



                      Diligence Fleurizard
                      6891 NW 29TH CT
                      SUNRISE, FL 33313



                      Dillon Brandon
                      4249 PEPPERWOOD LN
                      CHINO HILLS, CA 91709



                      Dillon Mendoza
                      24133 NEPTUNE AVE
                      CARSON, CA 90745



                      Dillon Tarry
                      9701 Quakertown Ave
                      Los Angeles, CA 91311
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 638 of 2164




                      Dinova




                      Dion Ingram
                      5715 ROBERTS AVE
                      OAKLAND, CA 94605



                      Dion Swan
                      15175 SW PACIFIC HWY
                      232
                      TIGARD, OR 97223



                      Diondra Bodman
                      4901 E KELTON LN
                      1025
                      SCOTTSDALE, AZ 85254



                      Diondra Davis
                      658 GLADES CIRCLE
                      206
                      ALTAMONTE, FL 32714



                      Dionisio Lopez
                      11615 dunfield ln
                      Houston, TX 77099



                      DIRCTOR OF EMPLOYMENT SECURITY
                      33 S. STATE STREET
                      CHICAGO, IL 00060-6030



                      DIRECT PACK INC (PMC GLOBAL)
                      PO BOX 918818
                      DENVER, CO 80291-8818



                      Direct Pack, Inc. (Pmc Global)
                      P.O. Box 918818
                      Denver, CO 80291-8818
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 639 of 2164




                      DIRECTOR OF FINANCE, FRANKFORT
                      MUNICIPAL BUILDING
                      P.O. BOX 697
                      FRANKFORT, KY 00040-6020



                      Directv
                      Acct #036869851
                      PO BOX 105249
                      Atlanta, GA 30348-5249



                      DIRECTV
                      PO BOX 105249
                      ATLANTA, GA 30348-5249



                      DISCOVERY PTC
                      1100 CAMINO BISCAY
                      CHULA VISA, CA 91910



                      DISCOVERY PTC
                      1100 CAMINO BISCAY
                      CHULA VISA
                      CA, 91910



                      Displas2Go
                      George Patton Associates Inc
                      55 Broadcommon Road
                      Bristol, RI 02809



                      Distant Lands
                      25185 NETWORK PLACE
                      CHICAGO, IL 60673-1185



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                      DIVISION OF EMPLOYMNT SECURITY
                      P.O. BOX 26504
                      RALEIGH, NC 27611-6504
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 640 of 2164




                      DIV OF UNEMPLOYMENT INSURANCE
                      PO BOX 2003
                      FRANKFORT, KY 40602-2003



                      DIVERSIFIED BUSINESS SOLUTIONS
                      9771 CLAIRMONT MESA BLVD STE A
                      SAN DIEGO, CA 92124



                      DIVIDEND TRUST REIT SUB INC
                      PO BOX 734208
                      CHICAGO, IL 60673-4208



                      Divina Pineda
                      105 E. Roblin St.
                      Carson, CA 90746



                      Divine Jones
                      1867 AVOCADO DRIVE
                      10
                      VISTA, CA 92083



                      DIVISION 30 NORTH KEY CLUB
                      2250 SHAPIRO STREET
                      FULLERTON, CA 92833



                      DIVISION 30 NORTH KEY CLUB
                      2250 SHAPIRO STREET
                      FULLERTON
                      CA, 92833



                      DIVISION OF CHILD SUPPORT ENFORCEMENT
                      PO BOX 708
                      RECOVERY UNIT
                      RICHMOND, VA 23218



                      DIVISION OF HOTELS & REST
                      2601 BLAIR STONE ROAD
                      TALLAHASSEE, FL 32399-0783
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 641 of 2164




                      DIVISION OF HOTELS AND REST
                      PO BOX 6300
                      TALLAHASSEE, FL 32314-6300



                      DIVISION OF INCOME TAX
                      3 N GAY STREET
                      MOUNT VERNON, OH 43050



                      Diya Sebastian
                      5426 S DUNKIRK WAY
                      CENTENNIAL, CO 80015



                      Djennie Lajeunesse
                      745 GREENBRIAR DR
                      WEST PALM BEACH, FL 33403



                      Djino Altidor
                      2700 Nw 56th Ave
                      Apt 221
                      Lauderhill, FL 33313



                      DK CONNECTIONS LLC
                      100 N. LA CIENEGA BLVD
                      MAILBOX 26 C/O SP PLUS/ PARKING OFFICE
                      LOS ANGELES, CA 90048



                      DK CONNECTIONS LLC
                      PO BOX 844981
                      LOS ANGELES, CA 90084-4981



                      DK Connections, LLC
                      150 East 58th St.
                      39th Fl
                      New York, NY 10155



                      DK Connections, LLC
                      The Beverly Connection, Ltd. c/o Fifty-Fivecal Cor
                      1460 Westwood Blvd. #300
                      Los Angeles, CA 90024
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                      DLA PIPER US LLP
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                      DLI PTO
                      2030 UNIVERSITY DR
                      VISTA, CA 92081



                      DLI PTO
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                      VISTA
                      CA, 92081



                      DMAC BOOSTER CLUB
                      4400 BRIERCREST AVE
                      LAKEWOOD, CA 90713



                      Dmarkis Plousha
                      109 N 33RD ST
                      NA
                      SAN JOSE, CA 95002



                      DME ELECTRIC LLC
                      DOWNTOWN METRO ELECTRIC
                      2635 W 8TH AVE
                      DENVER, CO 80204



                      DMS BUILDING MAINTENANCE INC
                      1060 RICHFIELD RD
                      PLACENTIA, CA 92870
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 643 of 2164




                      Dolca Mundaray
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                      Apt 616
                      Orlando, FL 32819



                      Dolores Hardy
                      16015 Arbor View Blvd
                      Apt 217
                      Naples, FL 34110



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                      5712 PLACER AVE
                      WESTMINSTER, CA 92683



                      Domenique Dominguez
                      5421 COGSWELL RD
                      EL MONTE, CA 91732



                      Domiciana Mendivil
                      5023 S PARK AVE
                      1
                      TUCSON, AZ 85706



                      Dominga Solis
                      551 Osborne St.
                      Vista, CA 92084



                      DOMINGO CONTRERAS
                      DOMINGO CONTRERAS
                      19615 NORFOLK RIDGE WAY
                      RICHMOND, TX 77407
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                      DOMINGO CONTRERAS
                      DOMINGO CONTRERAS
                      19615 NORFOLK RIDGE WAY
                      RICHMOND
                      TX, 77407



                      Domingo Rodriguez
                      5675 Roswell Rd
                      Atlanta, GA 30342



                      Dominic Banghart
                      16 FRAMPTON PL.
                      PERALTA, NM 87042



                      Dominic Cushnie
                      11318 W. CRESTLINE PL.
                      LITTLETON, CO 80127



                      Dominic DuMont
                      1060 BARROW CT
                      WESTLAKE VILLAGE, CA 91361



                      Dominic Giannantonio
                      5726 126TH AVE N
                      1202
                      CLEARWATER, FL 33760



                      Dominic Jaramillo
                      476 SUNRISE WEST DR
                      Albuquerque, NM 87121



                      Dominic King
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                      Cupertino, CA 95014



                      Dominic Lemus
                      1521 S ATLANTIC BLVD
                      ALHAMBRA, CA 91803
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 645 of 2164




                      Dominic M. Banghart
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                      Dominic Morales
                      3228 ZIA ST NE
                      RIO RANCHO, NM 87144



                      Dominic Parks
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                      ALBUQUERQUE, NM 87114



                      Dominic Powers
                      3001 SOUTH SHERIDAN BLVD
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                      Dominic Schwanemann
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                      Dominic Smith
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                      DOMINIC SUDO HOOPER
                      1230 FINCH PL
                      CHULA VISTA, CA 91911



                      Dominic Sudo-hooper
                      1230 Finch Pl
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                      DOMINIC TATHAM
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                      SAN DIEGO, CA 92130
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 646 of 2164




                      Dominic Williams
                      294 S JASPER CR
                      15-302
                      AURORA, CO 80017



                      Dominick Gonzalez
                      6132 N DEWEY AVE
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                      Dominik C. Leahong
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                      HOLLYWOOD, FL 33020



                      Dominik Leahong
                      2345 DOUGLAS ST
                      HOLLYWOOD, FL 33020



                      Dominique Edwards
                      17338 SW 22 CT
                      MIRAMAR, FL 33029



                      DOMINIQUE F. IATA
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                      Dominique Farrelly-Gibson
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                      Dominique Johnson
                      5614 25th St. Cir. East
                      Bradenton, FL 34203
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                      DOMINIQUE MAHE
                      1859 VAMO DR
                      SARASOTA, FL 34231



                      Dominique Ornelas
                      6831 GRAY DR
                      ARVADA, CO 80003



                      Dominique Searcy
                      12020 N GESSNER RD.
                      13306
                      HOUSTON, TX 77064



                      Dominique Zahou Jr
                      1243 HARRIS ROAD
                      LAWRENCEVILLE, GA 30043



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                      121 W. Alturas St.
                      APT J
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                      Domonique J. Dilyou
                      121 W. Alturas St.
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                      RIVERSIDE, CA 92502-2205



                      Donald Breen
                      PO Box 1705
                      Rancho Santa Fe, CA 92067



                      DONALD BREEN
                      PO BOX 1705
                      RANCHO SANTE FE, CA 92067
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 648 of 2164




                      Donald Brice
                      5135 e thrill place
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                      238
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                      Donald Emory
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                      #1
                      SUNNYVALE, CA 94086



                      Donald Evans
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                      OCALA, FL 34471



                      Donald Galamgam
                      999 MISSION DR
                      #2
                      COSTA MESA, CA 92626



                      Donald Ingram
                      39918 PARKINSONIA STREET
                      LADY LAKE, FL 32159



                      Donald Love
                      3750 FERNDALE AVE
                      NA
                      SAN BERNARDINO, CA 92404



                      Donald Neal
                      4437 E. VILLAGE RD 10
                      LONG BEACH, CA 90808
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 649 of 2164




                      Donald R. Love
                      3750 FERNDALE AVE
                      NA
                      SAN BERNARDINO, CA 92404



                      Donald Singleton
                      560 CUSTER AVE
                      MARIETTA, GA 30060



                      Donald Wells
                      4511 E. Pueblo Ave.
                      Apt. 228
                      PHOENIX, AZ 85040



                      Donald White
                      16161 Caldera Lane
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                      Donate Sisson
                      2200 GLADYS
                      2903
                      LARGO, FL 33774



                      Donavan Demoss
                      3419 Leila Oaks Court
                      8329557582
                      Houston, TX 77082



                      Donavan L. Demoss
                      3419 Leila Oaks Court
                      8329557582
                      Houston, TX 77082



                      Donavan Lake
                      6 LAURENT
                      ALISO VIEJO, CA 92656
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 650 of 2164




                      Donavon Manning
                      11459 117TH AVE
                      LARGO, FL 33778



                      Donavon Minton
                      13207 DOWNEY AVE
                      PARAMOUNT, CA 90723



                      DONNA BALL
                      1472 CORNERSTONE DRIVE
                      SOUTH JORDAN, UT 84095



                      DONNA LAW FIRM PC
                      7601 FRANCE AVENUS SOUTH #350
                      MINNEAPOLIS, MN 55435



                      Donna Lloyd
                      4932 25 Street West Th
                      Bradenton, FL 34207



                      Donna McDermott
                      15722 VANOWEN ST
                      206
                      VAN NUYS, CA 91406



                      Donna Nguyen
                      10096 ANDY REESE
                      GARDEN GROVE, CA 92843



                      Donna Ordonez
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                      West Covina, CA 91790



                      Donna Ponce
                      903 Gamble St
                      Escondido, CA 92025
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 651 of 2164




                      Donnell Powell
                      1206 N VENTURA ST
                      ANAHEIM, CA 92801



                      Donnie Ogle
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                      NORTH MIAMI, FL 33161



                      Donnyea Hayes
                      8690 AQUARIUS DR.
                      SAN DIEGO, CA 92126



                      Donovan Curtis
                      8454 BRILLANCY AVE
                      LAS VEGAS, NV 89147



                      Donovan McGowan
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                      31
                      LEESBURG, FL 34748



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                      16105
                      HENDERSON, NV 89074



                      Dontae Brown
                      5418 IMPERIAL GROVE DR
                      HOUSTON, TX 77066



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                      913 28th St E
                      Bradenton, FL 34208



                      Dontreze Knox
                      140 Truman Ave
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Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 652 of 2164




                      Dora Espinosa
                      9881 Chanticleer Rd.
                      Anaheim, CA 92804



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                      2221 EAST 89TH AVE
                      THORNTON, CO 80229



                      Dora Lopez
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                      Fontana, CA 92336



                      Dora Ramirez
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                      Houston, TX 77043



                      DORAL ACADEMY SADDLE PTSO
                      9625 W SADDLE AVE
                      LAS VEGAS, NV 89147



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                      238
                      Canyon Country, CA 91351



                      Doralicia Orellana
                      5621 Sw 164 Pl
                      Miami, FL 33193



                      Dorese McCreary
                      12939 116th St
                      Largo, FL 33778



                      Dorian Duffy
                      3661 PEACOCK CT
                      13
                      SANTA CLARA, CA 95051
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 653 of 2164




                      Doris Andrade
                      1326 E CRESCENT AVE
                      MESA, AZ 85204



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                      4675 34th St.
                      Apt #5
                      San Diego, CA 92116



                      Doris Discua
                      14150 Wunderlich Drive Apt 510
                      Houston, TX 77069



                      DORIS MILLER ELEMENTARY PTA
                      4343 SHIELDS STREET
                      SAN DIEGO, CA 92124



                      Doris Morales
                      2906 Thunder Dr
                      Oceanside, CA 92056



                      DOROTHY MCLAUGHLIN
                      874 HEX HIGHWAY
                      HAMBURG, PA 00019-5260



                      Dorrisha Bryant
                      532 CLEVELAND AVENUE
                      26C
                      ATLANTA, GA 30315



                      DORTHY GIBBONS
                      8741 E ROUNDTREE AVE
                      CENTENNIAL, CO 80111



                      DOS CAMINOS SCH PTA
                      3635 APPIAN WAY
                      CAMARILLO, CA 93010
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 654 of 2164




                      Dot Foods Inc.
                      #774529
                      4529 Solutions Center
                      Chicago, IL 60677-4005



                      DOUG BELDEN
                      PO BOX 30012
                      TAMPA, FL 33630-3012



                      Doug Brockway
                      1223 ARLINGTON AVE
                      TORRANCE, CA 90501



                      Doug Wade
                      8820 Jumilla Ave
                      Northridge, CA 91342



                      DOUGHERTY PFC
                      DOUGHERTY PFC
                      5301 HIBERNIA DR
                      DUBLIN, CA 94568



                      Douglas Aufrance
                      12700 S INGLEWOOD AVE
                      1348
                      HAWTHORNE, CA 90250



                      Douglas Chan
                      4032 TERRA ALTA DR
                      SAN RAMON, CA 94582



                      Douglas Chavez
                      191 Higdon Ave
                      Apt 4
                      MOUNTAIN VIEW, CA 94041



                      DOUGLAS COUNTY TREASURER
                      PO BOX 1208
                      CASTLE ROCK, CO 80104
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 655 of 2164




                      Douglas Estrada
                      13199 GWYNETH DRIVE
                      F
                      TUSTIN, CA 92780



                      Douglas Fallas
                      10315 Kingbrook Lane
                      Orlando, FL 32821



                      Douglas Plut
                      16404 SW 79TH LN
                      MIAMI, FL 33193



                      Douglas Stevens




                      DOUGLASS MCCRACKEN
                      11159 PEAGASUS AVE
                      SAN DIEGO, CA 92126



                      DOVELL WINDOW CLEANING COMPANY INC
                      PO BOX 142232
                      GAINSVILLE, FL 32614



                      DOWNTOWN DISCOUNT PRODUCE INC
                      DOWNTOWN PRODUCE MARKET & MORE
                      7856 ELLIS ROAD
                      MELBOURNE, FL 03290-4111



                      Downtown Produce
                      PREMIER PRODUCE CENTRAL FLORIDA LLC
                      640 DISTRIBUTION DR
                      MELBOURNE, FL 32904



                      Dps Beverages, Inc.
                      American Beverages Management
                      Po Box 277237
                      Atlanta, GA 30384-7237
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 656 of 2164




                      Dr Pepper
                      PO BOX 409501
                      ATLANTA, GA 30384-9501



                      Dr Pepper/.Snapple
                      PO BOX 409501
                      ATLANTA, GA 30384-9501



                      DR PEPPER/SEVEN UP INC
                      PO BOX 409501
                      ATLANTA, GA 30384-9501



                      DR PEPPER/SEVEN UP INC
                      PO BOX 951138
                      DALLAS, TX 75395-1138



                      DR PEPPER/SEVEN UP INC
                      12733 COLLECTIONS CENTER DRIVE
                      CHICAGO, IL 60693



                      Dr Pepper/Seven Up, Inc.
                      Po Box 409501
                      Atlanta, GA 30384-9501



                      Dr. Praeger's Sensible Foods, Inc
                      5 Boumar Place
                      Elmwood Park, NJ 07407



                      DRAGONBOAT RACING ASSN GRP OF NEVADA
                      PO BOX 90715
                      HENDERSON, NV 89009



                      DRAIN SPECIALTIES
                      THOMAS J CONLON
                      10796 CHARBONO TERRACE
                      SAN DIEGO
                      CA, 92131
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 657 of 2164




                      Draja Brown
                      4271 LAKE RICHMOND DR
                      ORLANDO, FL 32811



                      Drake Hughes
                      3086 Old Coach Drive
                      Camarillo, CA 93010



                      DREAMBOX CREATIONS INC
                      556 N DIAMOND BAR BLVD
                      DIAMOND BAR, CA 91765



                      Drew Abel
                      3350 W 93RD AVE
                      WESTMINSTER, CO 80031



                      DREW BEINHAKER ESQ
                      3475 SHERIDAN ST STE 305
                      HOLLYWOOD, FL 33021



                      Drew C. Abel
                      3350 W 93RD AVE
                      WESTMINSTER, CO 80031



                      Drew Zavala
                      600 W Hermosa Ave
                      Fullerton, CA 92835



                      Dri Mark Products, Inc.
                      999 S. Oyster Bay Rd Suite 312
                      Bethpage, NY 11714



                      DRI TECH CORP
                      5340 W ROBINDALE RD
                      LAS VEGAS, NV 89139
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 658 of 2164




                      DRIP COMMUNICATIONS LLC
                      6831 EDGEWATER DR STE 1106
                      ORLANDO, FL 32810



                      Dru Warfield
                      411 S. JOHNSON AVE
                      UNIT J
                      EL CAJON, CA 92020



                      DRY CREEK ELEMENTARY PTO
                      7686 E HINDALE AVE
                      C/O KARRIE GILBERT
                      CENTENNIAL, CO 80112



                      Ds Services Of America, Inc.
                      Crystal Springs
                      PO BOX 660579
                      Dallas, TX 75266-0579



                      DS WATERS OF AMERICA INC
                      PO BOX 660579
                      DALLAS, TX 75266-0579



                      DSAC
                      3325 ZOO DRIVE
                      SAN DIEGO, CA 92101



                      DT Ahwatukee Foothills LLC
                      Attn: Senior Executive Vice President - Leasing
                      3300 Enterprise Pkwy.
                      Beachwood, OH 44122



                      DUAL LANGUAGE INSTITUTE PTO
                      2030 UNIVERSITY DRIVE
                      VISTA, CA 92083



                      Duane Hall
                      1010 BARRINGTON LANDING CT
                      ROSWELL, GA 30076
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 659 of 2164




                      DUANE TRADING CO INC
                      909 E DUANE AVE
                      SUNNYVALE, CA 94085



                      Dubeer Zapata
                      1673 Nw 97th Terr
                      Pompano Beach, FL 33071



                      DUBLIN 4 H CLUB
                      7400 HIGHLAND OAKS DR
                      PLEASANTON, CA 94588



                      DUCF
                      DIV OF UNEMPLOYMENT INSURANCE
                      P.O. BOX 41785
                      PHILADELPHIA, PA 19101-1785



                      DUCK DELIVERY PRODUCE INC
                      8448 NE 33RD DR STE 100
                      PORTLAND, OR 97211



                      Duckene Senat
                      9360 Gettysbyrd Rd
                      Boca Raton, FL 33434



                      DUESENBERG INVESTMENT CO
                      WHOLESALE LOCKBOX #511302
                      LOS ANGELES, CA 90051-7857



                      DUESENBERG INVESTMENT CO
                      TOPA MANAGEMENT COMPANY
                      1800 AVENUE OF THE STARS #1400
                      LOS ANGELES, CA 90067



                      Duesenberg Investment Company, LLC
                      c/o Topa Management Company Attn: President
                      1900 Avenue of the Stars #425
                      Los Angeles, CA 90067-4126
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 660 of 2164




                      Duk-sun Spillers
                      2160 ANDY DRIVE
                      MARIETTA, GA 30066



                      DUKE ENERGY
                      PO BOX 1004
                      CHARLOTTE, NC 28201



                      Dulce Arreguin
                      22815 14TH ST
                      NEWHALL, CA 91321



                      Dulce Coronado
                      3565 Old 41 Highway
                      Lot B21
                      Kennesaw, GA 30144



                      Dulce Ledesma
                      2455 Portland St
                      Sarasota, FL 34231



                      Dulce Ramirez
                      1651 La Habra Blvd
                      #9
                      La Habra, CA 90631



                      Dulian Zetrenne
                      7535 NW 44TH CT
                      APT 3
                      CORAL SPRINGS, FL 33065



                      DUN & BRADSTREET
                      103 JKF PARKWAY
                      SHORT HILLS, NJ 07078



                      Dunay Diaz
                      6709 Village Grove Ct
                      Tampa, FL 33615
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 661 of 2164




                      DUNBAR BANKPAK
                      PO BOX 333
                      BALTIMORE, MD 21203



                      Dunbar Security Products, Inc
                      8525 Kelso Drive, Suite L
                      Baltimore, MD 21221



                      Dung Nguyen
                      935 BRANHAM LN APT B
                      SAN JOSE, CA 95136



                      DUNHAM PTO
                      9850 E 29TH STREET
                      TUCSON, AZ 85748



                      Dunia Chamnes
                      4228 Fairway Cir
                      Tampa, FL 33618



                      DUNIA CHAMNES
                      4211 HARTWOOD LN
                      TAMPA, FL 33618



                      Dunta Peterson
                      3066 OLD BRADENTON RD
                      SARASOTA, FL 34234



                      Durbin Barrera Lage
                      828 N CONRAD AVE
                      SARASOTA, FL 34237



                      Durrell Davis
                      11933 E OREGON CIRCLE
                      AURORA, CO 80012
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 662 of 2164




                      Dustin Bombka
                      11114 Carrollwood Dr
                      Carrollwood, FL 33618



                      DUSTIN CORDOVA
                      615 MAYBRITT CIRCLE
                      SAN MARCOS, CA 92026



                      Dustin Dodson
                      1752 E GROVELEAF AVE
                      PALM HARBOR, FL 34683



                      Dustin Elkins
                      9509 NE 11th way
                      Vancouver, WA 98664



                      Dustin Gentry
                      2512 EAST WESLEYAN DRIVE
                      TEMPE, AZ 85282



                      DUSTIN J DONALDSON
                      7327 FOXBLOOM DRIVE
                      PORT RICHEY, FL 34668



                      Dustin Lettiere
                      1013 FOSTER RD
                      #2
                      HALLANDALE, FL 33009



                      Dustin Martinez
                      8989 XAVIER ST
                      WESTMINISTER, CO 80031



                      Dustin Ralph
                      5636 BELLEZA DRIVE
                      PLEASANTON, CA 94588
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 663 of 2164




                      Dustin Ralph
                      6082 Allbrook Circle
                      5636 Belleza Drive
                      Pleasanton, CA 94588



                      Dustin Reinhardt
                      6268 CASTLEGATE DRIVE WEST
                      13102
                      CASTLE ROCK, CO 80108



                      Dustin Tenney
                      5711 WEST 92ND AVE
                      10
                      WESTMINSTER, CO 80031



                      DVHS BADMINTON
                      10550 ALBION ROAD
                      SAN RAMON, CA 94582



                      DVHS CSF
                      DOUGHERTY VALLEY HIGH SCHOOL
                      10550 ALBION RD
                      SAN RAMON, CA 94582



                      DVHS GIRL UP
                      2203 AMARYLLIS CIRCLE
                      SAN RAMON, CA 94582



                      DVHS ROTARY INTERACT CLUB
                      1927 LAMBETH WAY
                      SAN RAMON, CA 94582



                      Dwan Meadows
                      2467 CLAUDE ST
                      ATLANTA, GA 30318
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 664 of 2164




                      Dwayne Lawrence
                      8810 W MCNAB RD
                      106
                      TAMARAC, FL 33321



                      Dwayne Smith
                      1720 NW 16TH ST
                      1720
                      OCALA, FL 34475



                      Dwayne Stackhouse
                      1351 23RD STREET
                      SARASOTA, FL 34234



                      DWD-UI
                      DIV OF UNEMPLOYMENT INSURANCE
                      PO BOX 78960
                      MILWAUKEE, WI 05327-8960



                      Dyanna Gomez Figueroa
                      8640 SE CAUSEY AVE
                      K204
                      MILWAUKIE, OR 97086



                      Dyesha Best
                      113 MIDWAY DR
                      COVINGTON, GA 30014



                      Dykoda Helbok
                      5713 WEST 76TH DRIVE
                      ARVADA, CO 80003



                      Dylan Aamoth
                      47507 FORTNER ST.
                      FREMONT, CA 94539



                      Dylan Bautista
                      37600 SUMMER HOLLY COMMON
                      FREMONT, CA 94536
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 665 of 2164




                      Dylan Berry
                      11759 SE 64TH AVE
                      PORTLAND, OR 97222



                      Dylan Bliss
                      430 COLEMAN COURT
                      PLEASANT HILL, CA 94523



                      Dylan Burke
                      6363 Cibola Road
                      San Diego, CA 92120



                      DYLAN BURKE
                      6363 CIBOLA RD
                      SAN DIEGO, CA 92120



                      Dylan Cain
                      13003 INDIGO WAY
                      BRADENTON, FL 34211



                      Dylan Carcasses
                      3501 SW 145TH AVENUE
                      MIRAMAR, FL 33027



                      Dylan Clifton
                      25650 INTERSTATE 45 N
                      1105
                      SPRING, TX 77386



                      Dylan Duryea
                      221 GREEN VALLEY RD NW
                      ALBUQUERQUE, NM 87107



                      Dylan Fields
                      8645 BUENA TIERRA PL.
                      BUENA PARK, CA 90621
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 666 of 2164




                      Dylan Gallagher
                      4949 MABRISA DR.
                      312
                      TAMPA, FL 33624



                      Dylan Garcia
                      9 POMELO
                      RANCHO SANTA MARGARITA, CA 92688



                      Dylan Gerlich
                      5034 w purdue ave
                      glendale, AZ 85302



                      Dylan Johnson
                      15923 ROBIN HILL LOOP
                      CLERMONT, FL 34714



                      Dylan Jones
                      8 ALLEGE CT.
                      FOOTHILL RANCH, CA 92610



                      Dylan Lloyd
                      4008 Sinbad St
                      Baker, LA 70714



                      Dylan Raso
                      4702 SOUTH ADELLE CIRCLE
                      MESA, AZ 85212



                      Dylan Riley
                      11834 BEVERLY DR
                      HOUSTON, TX 77065



                      Dylan Saldivar
                      12665 JALEPENO AVENUE
                      CHINO, CA 91710
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 667 of 2164




                      Dylan Spencer
                      735 S US HIGHWAY 441
                      140
                      LADY LAKE, FL 32159



                      Dylan Steveson
                      7660 E. Emilata Ave
                      Mesa, AZ 85208



                      Dylan Tran
                      16075 LA MONDE ST.
                      HACIENDA HEIGHTS, CA 91745



                      Dylan Vidad
                      13574 Sw Capulet Lm
                      Tigard, OR 97224



                      Dylan White
                      2100 W COMMONWEALTH AVE
                      FULLERTON, CA 92833



                      Dyllon Lomeli
                      8681 KATELLA AVE
                      # 912
                      STANTON, CA 90680



                      Dynah Ortiz
                      31213 TEPIC PL
                      38
                      HAYWARD, CA 94544



                      Dyonsia Wyche
                      213 NW 6TH AVE
                      DANIA, FL 33004



                      EAGLE RIDGE PTSA
                      19801 N 13TH STREET
                      PHOENIX, AZ 85024
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 668 of 2164




                      EAGLE TRADING INTERNATIONAL CORP
                      6255 W HOWARD ST
                      NILES, IL 60714



                      EAGLE TRADING INTERNATIONAL CORP
                      6255 W HOWARD ST
                      NILES
                      IL, 60714



                      Earl BEVAN
                      411 Walnut St #16064
                      green cove springs, FL 32043



                      Earl Bryers
                      6625 ALVARADO RD
                      7305
                      SAN DIEGO, CA 92103



                      Earl Emmendorfer
                      22756 BAYVIEW AVE
                      HAYWARD, CA 94541



                      Earl singleton
                      PO BO3 33552
                      SAN DIEGO, CA 92163



                      Earneshia Robinson
                      616 COVENANT DR
                      G
                      BELLE GLADE, FL 33430



                      Earnest West III
                      1750 NE 4TH STREET
                      BOYNTON BEACH, FL 33435



                      Earrell Eutsey
                      5697 GREY FOX CIRCLE
                      LITHONIA, GA 30038
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 669 of 2164




                      EAST LAKE COMMUNITY LIBRARY
                      4125 EAST LAKE ROAD
                      PALM HARBOR, FL 34685



                      EAST ORANGE COUNTY WATER DISTRICT
                      185 N MCPHERSON RD
                      ORANGE, CA 92869



                      EAST VALLEY JEWISH DAY SCHOOL
                      3400 NORTH DOBSON ROAD
                      CHANDLER, AZ 85224



                      EAST VALLEY YOUTH SYMPHONY
                      PO BOX 1195
                      HIGLEY, AZ 85236



                      EASTIN PTC
                      5522 ALVELAIS DR
                      UNION CITY, CA 94587



                      EASTIN PTC
                      5522 ALVELAIS DR
                      UNION CITY
                      CA, 94587



                      EASTSIDE BLIND BOWLERS
                      16544 SE MILL STREET
                      PORTLAND, OR 97233



                      Eatem
                      1829 GALLAGHER DR
                      VINELAND, NJ 08360



                      EATEM CORPORATION
                      1829 GALLAGHER DR
                      VINELAND, NJ 08360
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 670 of 2164




                      Eatem Foods Co
                      1829 Gallagher Dr
                      Vineland, NJ 08360



                      Ebanes Mesadieu
                      5931 Nw 19th Ct.
                      Fort Lauderdale, FL 33313



                      Ebony Wells
                      907 Windsor Ave
                      West Palm Beach, FL 33401



                      Ebrahim Abdur-rahmaan
                      1221 W. 29th St.
                      #209
                      Los Angeles, CA 90007



                      EBUILDING SERVICE LLC
                      2871 N SPEER BOULEVARD
                      DENVER, CO 80211



                      Echo Enriquez
                      46299 ARABIA ST
                      D48
                      INDIO, CA 92201



                      ECINITY INC
                      11390 W OLYMPIC BLVD #450
                      LOS ANGELES, CA 90064



                      Ecolab
                      PO BOX 100512
                      PASADENA, CA 91189-0512



                      Ecolab Food Safety Solutions
                      24198 Network Place
                      Chicago, IL 60673-1241
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 671 of 2164




                      ECOLAB FOOD SAFETY SPECIALTIES INC
                      24198 NETWORK PLACE
                      CHICAGO, IL 60673-1241



                      ECOLAB FOOD SAFETY SPECIALTIES INC
                      24198 NETWORK PLACE
                      CHICAGO
                      IL, 60673-1241



                      ECOLAB INC
                      PO BOX 70343
                      CHICAGO, IL 60673



                      ECOLAB INC
                      PO BOX 70343
                      CHICAGO
                      IL, 60673



                      Ecolab Incorported
                      P.O. Box 100512
                      Pasadena, CA 91189-0512



                      ECOLAB INCORPORTED
                      PO BOX 100512
                      PASADENA, CA 91189-0512



                      Ecolab Pest Control
                      26252 Network Place
                      Chicago, IL 60673-1262



                      ECOTRAK FACILITIES MANAGEMENT INC
                      1630 S SUNKIST ST STE R
                      ANAHEIM, CA 92806



                      Ed Varnum
                      9115 Ne Meadow Brook Cir
                      Vancouver, WA 98664
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 672 of 2164




                      Edaniz Ayala
                      8692 FOLEY DR
                      ORLANDO, FL 32825



                      EDD
                      590 W ALLUVIAL STE 110
                      FRESNO, CA 73711



                      Edda Rivera
                      2201 W. Collins Street
                      Tampa, FL 33607



                      Eddie Cruz
                      3700 W SUNSET BLVD
                      8
                      LOS ANGELES, CA 90026



                      EDDIE HERNANDEZ
                      7048 CARNA CT
                      ORLANDO, FL 32807



                      Eddie Howard
                      2557 MILLBRAE AVE
                      DUARTE, CA 91010



                      Eddie Martinez
                      1437 S PINE DR
                      FULLERTON, CA 92832



                      Eddie Moses
                      39155 LIBERTY STREET
                      FREMONT, CA 94538



                      Eddie Perez
                      1538 Ford Ave
                      San Jose, CA 95110
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 673 of 2164




                      Eddie Simpson
                      4930 SUGAR GROVE BLVD
                      3106
                      STAFFORD, TX 77477



                      Eddy Gonzalez
                      765 SPENCER AV
                      SAN JOSE, CA 95125



                      Eddy Ritchie
                      575 FINCH CT
                      KISSIMMEE, FL 34759



                      Edel Gil
                      3428 W PALMETTO ST
                      TAMPA, FL 33607



                      Edeline charles
                      5550 16TH PL SW
                      3
                      NAPLES, FL 34116



                      Eden Johnson-Lemieux
                      26720 ISABELLA PARKWAY
                      UNIT 205
                      CANYON COUNTRY, CA 91351



                      Edgael Cruz
                      3014 KING JOHN PLACE
                      SEFFNER, FL 33584



                      Edgar Araujo
                      1730 Ne Darby St
                      Hillsboro, OR 97124



                      EDGAR D. MADRIGAL COVARRUBIAS
                      4101 EGGER DRIVE
                      #2
                      FREMONT, CA 94536
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 674 of 2164




                      Edgar Delgadillo
                      1652 Ocala Ave
                      Chula Vista, CA 91911



                      Edgar Encinas
                      3682 1/2 44TH ST.
                      SAN DIEGO, CA 92105



                      Edgar Gonzalez
                      645 BEVERLY PLACE
                      SAN MARCOS, CA 92078



                      Edgar Gonzalez Palma
                      4124 BROADWAY
                      SAN DIEGO, CA 92102



                      Edgar Guzman
                      17070 E Colima Rd
                      Hacienda Heights, CA 91745



                      Edgar Islas Carrillo
                      271 Bangor Ave
                      SAN JOSE, CA 95123



                      Edgar Lopez
                      627 Normandie Ave
                      Apt 3B
                      LOS ANGELES, CA 90005



                      Edgar Madrigal
                      484 Pomegranate Ln.
                      San Jose, CA 95134



                      Edgar Madrigal Covarrubias
                      4101 EGGER DRIVE
                      #2
                      FREMONT, CA 94536
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 675 of 2164




                      Edgar Mendez
                      5819 SE 84TH AVE
                      PORTLAND, OR 97266



                      Edgar ozuna
                      1151 ELMA
                      ONTARIO, CA 91764



                      Edgar Perdomo
                      1869 Appaloosa Lane Dr
                      Apt 3322
                      Buford, GA 30519



                      Edgar Ramirez
                      514 Shady Brook
                      Stafford, TX 77477



                      Edgar Restrepo
                      1458 BAHAMA WAY
                      SAN JOSE, CA 95122



                      Edgar Valderrama
                      4449 CARLING DR
                      SAN DIEGO, CA 92115



                      Edgardo Ramos
                      395 Anns Way
                      Vista, CA 92083



                      Edgardo Rivera
                      310 PALA VISTA DR
                      I
                      VISTA, CA 92083



                      EDHS TENNIS BOOSTERS
                      358 VESUVIUS DR
                      BREA, CA 92823
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 676 of 2164




                      EDISON BOYS VOLLEYBALL
                      20302 RAVENWOOD LANE
                      HUNTINGTON BEACH, CA 92646



                      Edith Flores
                      1446 Union St
                      San Bernardino, CA 92411



                      Edith Gonzalez
                      330 NEW HOPE DR
                      HENDERSON, NV 89014



                      Edith Lopez
                      6675 MISSION GORGE RD.
                      UNIT B108
                      SAN DIEGO, CA 92120



                      Edith Magana
                      3175 OHIO AVE
                      APT.B
                      SOUTH GATE, CA 90280



                      Edith Reyes
                      13483 delphi dr
                      littleton, CO 80124



                      EDMUND RUSINEK




                      Edmy Robelo
                      4930 NATIONAL AVE
                      12
                      SAN JOSE, CA 95124



                      Edna Mosier
                      122 Cedar Ave
                      Apt C
                      Chula Vista, CA 91910
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 677 of 2164




                      Edrianne Toledo
                      1828 ROBIN LANE
                      APT. 2
                      CONCORD, CA 94520



                      Edsel-allen Albano
                      10205 Lurcine Ave
                      Unit D
                      Chatsworth, CA 91311



                      Eduardo Ayard
                      2079 PLYMOUTH DR
                      PITTSBURG, CA 94565



                      Eduardo Baez
                      1880 SUNSHINE DR
                      CONCORD, CA 94520



                      Eduardo Cardenas
                      4801 BAKER GROVE RD
                      1301
                      ACWORTH, GA 30101



                      Eduardo Correa
                      23806 SINGLE OAK ST.
                      SPRING, TX 77388



                      Eduardo Cruz
                      9202 CAMINO VILLA
                      TAMPA, FL 33615



                      Eduardo Delgadillo
                      8087 N. Poplar Ave
                      Fresno, CA 93711



                      Eduardo Fernandez
                      1872 TOYON DR
                      CONCORD, CA 94520
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 678 of 2164




                      Eduardo Gomez Bermudez
                      150 S ROOSEVELT RD
                      2004
                      MESA, AZ 85202



                      Eduardo Hernandez
                      811 CORSICANA DR.
                      OXNARD, CA 93036



                      Eduardo montano
                      1264 CARLTON AVE
                      MENLO PARK, CA 94025



                      Eduardo Orozco
                      2035 S ESCONDIDO BLVD 305
                      305
                      ESCONDIDO, CA 92025



                      Eduardo Orozco-Barragan
                      2945 DAMICO DR
                      SAN JOSE, CA 95148



                      Eduardo Paz
                      2137 Sugartree Drive
                      Pittsburg, CA 94565



                      Eduardo Pineda
                      15707 SIERRA VALLE DR
                      HOUSTON, TX 77083



                      EDUARDO PINEDO
                      2547 S SPALDING AVE
                      LOS ANGELES, CA 90016



                      Eduardo Puebla
                      311 E 122ND AVE
                      TAMPA, FL 33612
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 679 of 2164




                      Eduardo Ramos
                      4376 W 134TH ST
                      C
                      HAWTHORNE, CA 90250



                      Eduardo Reyes
                      3548 UNIQUE CIRCLE
                      FORT MYERS, FL 33908



                      Eduardo Rodriguez
                      5509 Spinnaker Dr
                      Apt3
                      San Jose, CA 95123



                      Eduardo Romero
                      4799 CASON COVE DR
                      1703
                      ORLANDO, FL 32811



                      Eduardo Ruiz Mendez
                      12941 ADELLE ST
                      GARDEN GROVE, CA 92841



                      Eduardo Sotelo Ocampo
                      3201 E FORT LOWELL RD
                      TUCSON, AZ 85716



                      Eduardo Soto
                      978 PEACH AVE
                      8
                      EL CAJON, CA 92021



                      Eduardo Terrazas
                      8154 POTTER AVE
                      NORTH HOLLYWOOD, CA 91605
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 680 of 2164




                      Eduardo Vergara
                      15123 BROOKHURST ST
                      217
                      WESTMINSTER, CA 92683



                      Eduardo Villalobos
                      1251 CAMINITO CITA
                      SAN DIEGO, CA 92154



                      EDWARD A HARRIS
                      415 BARLOW COURT
                      ALPHARETTA, GA 30022-6636



                      Edward Accordino
                      411 Cierra Oaks Circle
                      Lady Lake, FL 32159



                      EDWARD BOUGHAN
                      3930 GOODWIN AVE
                      SIMI VALLEY, CA 93063



                      Edward Cook
                      334 S 35th St.
                      San Diego, CA 92113



                      EDWARD DON & COMPANY
                      2562 PAYSPHERE CIRCLE
                      CHICAGO, IL 60674



                      Edward espinoza
                      1449 RAINTREE DRIVE
                      APT K
                      ROSWELL, GA 30076



                      Edward Fucillo
                      700 Lemon Wood Dr
                      Oldsmar, FL 34677
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 681 of 2164




                      Edward Garcia
                      1501 ALMADEN EXPRESSWAY
                      6270
                      SAN JOSE, CA 95125



                      Edward Jaye Toledo
                      1828 ROBIN LANE
                      APT 2
                      CONCORD, CA 94520



                      Edward Jones
                      2748 Saint Charles Street
                      Fort Myers, FL 33916



                      Edward Lagal
                      1045 N.Asuza Ave.
                      #97
                      Covina, CA 91722



                      Edward Lopez
                      4249 N COMMERCE ST
                      1054
                      LAS VEGAS, NV 89032



                      Edward Magana
                      3900 W.5TH STREET
                      H1
                      SANTA ANA, CA 92703



                      Edward Nishina
                      23104 SAMUEL ST.
                      215
                      TORRANCE, CA 90505



                      Edward Perez
                      285 WEST HUNTINGTON DR
                      ARCADIA, CA 90037
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 682 of 2164




                      Edward Rich
                      13412 Jupiter Way
                      Chandler, AZ 85225



                      Edward Smith
                      157 E SOUTH ST
                      #5
                      RIALTO, CA 92376



                      Edward Smith
                      22820 IMPERIAL VALLEY
                      1307
                      HOUSTON, TX 77073



                      Edward Solis
                      16167 SHADYBEND DRIVE
                      HACIENDA HEIGHTS, CA 91745



                      Edward Steiner
                      2307 29TH AVE. E.
                      PALMETTO, FL 34221



                      Edward Valdez
                      3275 E flamingo rd
                      Bldg 3275 Apt. 208
                      Las Vegas, NV 89121



                      Edwin Almiralla
                      SW DOWNING ST
                      14002
                      BEAVETON, OR 97006



                      Edwin Coro
                      712 N AVE 64
                      LOS ANGELES, CA 90042



                      Edwin Cotto
                      8466 BLACKBERRY RD
                      FORT MYERS, FL 33967
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 683 of 2164




                      Edwin Fernandez
                      11916 NW 2ND ST
                      CORAL SPRINGD, FL 33071



                      Edwin Geissler
                      1138 Merritt Lane
                      Hayward, CA 94545



                      Edwin Gonzalez
                      4221 Drexel Ave
                      Orlando, FL 32808



                      Edwin Hernandez
                      667 F STREET
                      E4
                      CHULA VISTA, CA 91910



                      Edwin Lemus Salinas
                      1370 SAN JUAN ST.
                      #F
                      TUSTIN, CA 92780



                      Edwin Martinez
                      5005 SUNBRIGHT COURT
                      OCEANSIDE, CA 92056



                      Edwin Martinez-leon
                      600 West 3rd
                      Apt C104
                      Santa Ana, CA 92701



                      Edwin Mendoza
                      3867 Silver Dollar Ave.
                      Unit 40-104
                      LAS VEGAS, NV 89102



                      Edwin Nunez
                      7640 COLLEGE DR
                      STANTON, CA 90680
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 684 of 2164




                      Edwin Pacheco
                      827 N Fig St
                      Escondido, CA 92026



                      Edwin Penaloza
                      203 Charity Ct
                      San Jose, CA 95116



                      EDWIN PENALOZA
                      917 SIERRA VISTA AVE
                      APT J
                      MT VIEW, CA 94043



                      Edwin Perez
                      7310 KRAMERIA ST
                      COMMERCE CITY, CO 80022



                      Edwin Soto
                      982 S WHEELING ST
                      AURORA, CO 80012



                      Edy Joseph
                      5170 MARION PLACE
                      RIVIERA BEACH, FL 33407



                      Edy Reyes Estrada
                      25102 WALNUT ST
                      NEWHALL, CA 91321



                      EEC ACQUISITION LLC
                      PO BOX 74008980
                      CHICAGO, IL 60674-8980



                      EEC ACQUISITION LLC
                      PO BOX 74008980
                      CHICAGO
                      IL, 60674-8980
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 685 of 2164




                      EEE SOLUTIONS INC
                      9306 AUDUBON RD
                      LAKESIDE, CA 92040



                      Efigenia Romero
                      2942 Crokked Creek Dr
                      Diamond Bar, CA 91765



                      Efraim Barraza
                      2640 BOWERS AVE
                      2
                      SANTA CLARA, CA 95950



                      Efrain Garfias
                      6035 N Selland Ave
                      Fresno, CA 93711



                      Efrain Gonzalez
                      26452 SAINT MICHEL LANE
                      MURRIETA, CA 92563



                      Efrain Gutierrez
                      3903 W. Calle Primera
                      Chandler, AZ 85226



                      Efrain Herrera Lopez
                      4770 HOME AVE
                      220
                      SAN DIEGO, CA 92105



                      Efrain Lemus
                      16885 WEGMAN DR.
                      LA PUENTE, CA 91744



                      Efrain Nunez
                      112 GEORGE ST
                      #4
                      SAN JOSE, CA 95110
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 686 of 2164




                      Efrain Solorio
                      851 SHIRLEY AVENUE
                      SUNNYVALE, CA 94086



                      Efrain Trujillo
                      1106 NE KEYES RD
                      VANCOUVER, WA 98684



                      Efren Loredo
                      8404 NE 160TH AVE
                      VANCOUVER, WA 98682



                      EFREN RIOS VERDUGO
                      ARIZONORA LANDESIGN LLC
                      4529 W KEIM DRIVE
                      GLENDALE, AZ 85301



                      EFREN RIOS VERDUGO
                      ARIZONORA LANDESIGN LLC
                      4529 W KEIM DRIVE
                      GLENDALE
                      AZ, 85301



                      Efren Solis
                      1532 Gessner Dr.43
                      Houston, TX 77080



                      Egudiel Santos
                      576 COLOMBIA AVE
                      APT. 7
                      SUNNYVALE, CA 94085



                      EHS BEST BUDDIES
                      1535 NORTH BROADWAY
                      ESCONDIDO, CA 92026



                      EHS CHOIR BOOSTER
                      1309 NE 125TH AVE
                      VANCOUVER, WA 98684
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 687 of 2164




                      Ehsan Liaghat
                      11817 MEMORIL DRIVE
                      HOUSTON, TX 77024



                      Ehyra Covarrubias
                      16606 N 28 PL
                      PHOENIX, AZ 85032



                      EILEEN CONNERS SCHOOL PTO
                      3810 SHADOW PEAK ST
                      LAS VEGAS, NV 89129



                      Eileen Ruiz
                      2132 East Ave. Q-6
                      Palmdale, CA 93550



                      Eina Rodriguez
                      39235 10TH ST WEST
                      UNIT C
                      PALMDALE, CA 93551



                      Eizabeth Rico
                      1900 LANAI AVE
                      SAN JOSE, CA 95122



                      EJAY CAMAQUIN
                      7471 UNIVERSITY AVE #102
                      LA MESA, CA 91942



                      EJD ENTERPRISES
                      11383 NEWPORT DRIVE
                      RANCHO CUCAMONGA, CA 91730



                      EL CAJON WESLEYAN CHURCH
                      1500 E LEXINGTON AVE
                      EL CAJON, CA 92019
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 688 of 2164




                      EL CAMINO YMCA
                      2400 GRANT RD
                      MOUNTAIN VIEW, CA 94040



                      EL CAMINO YMCA
                      2400 GRANT RD
                      MOUNTAIN VIEW
                      CA, 94040



                      EL SERENO MS SRLA
                      2839 N EASTERN AVE
                      LOS ANGELES, CA 90032



                      Eladio Carrillo
                      2282 LUCRETIA AVE
                      APT 4
                      SAN JOSE, CA 95122



                      Elaine Annette Westmoreland
                      752 Forest Lane Drive
                      Conroe, TX 77302



                      ELAINE ANNETTE WESTMORELAND
                      725 FOREST LANE DRIVE
                      CONROE, TX 77302



                      Elaine Brown
                      1328 Peachtree St NE
                      Atlanta, GA 30309



                      ELAINE WISBY
                      2401 W ORANGEWOOD
                      E
                      PHOENIX, AZ 85021



                      ELAINE WISBY
                      2401 W ORANGEWOOD E
                      PHOENIX, AZ 85021
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 689 of 2164




                      Elda Baldenegro
                      35076 Mahogany Glen Dr
                      Winchester, CA 92596



                      Elder Caballero
                      1018 W IOWA AVE
                      #1
                      SUNNYVALE, CA 94086



                      ELEANOR SEVERICH
                      12970 Hwy 8 Busines
                      #83
                      El Cajon, CA 92021



                      Eleanor Sinaniz de Severich
                      12970 Hwy 8 Busines
                      #83
                      El Cajon, CA 92021



                      Eleazar Conde
                      5471 Vineland Rd.
                      Apt# 7304
                      Orlando, FL 32811



                      Eleazar Molina Bernal
                      5130 SNOW DRIVE
                      SAN JOSE, CA 95111



                      Eleazar Rosas
                      6410 S FONTANA AVE
                      44
                      TUCSON, AZ 85706



                      Eleazar Salguero
                      3435 Agate Dr.
                      #4
                      Santa Clara, CA 95051
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 690 of 2164




                      ELECTRO FREEZE DISTOF TX INC
                      435 W FORK DRIVE
                      ARLINGTON, TX 76012



                      ELECTRO FREEZE DISTOF TX INC
                      435 W FORK DRIVE
                      ARLINGTON
                      TX, 76012



                      ELECTRO FREEZE DISTRIBUTORS OF FLORIDA I
                      2335 COMMERCE POINT DR #140
                      LAKELAND, FL 33801



                      ELECTRO FREEZE OF NOR CAL
                      4330 PINELL STREET
                      SACRAMENTO, CA 95838



                      ELECTROFREEZE MIAMI LLC
                      16200 NW 59TH AVE STE 103
                      MIAMI LAKES, FL 33014



                      ELEGANCE UPHOLSTERY INC
                      620 MAGNOLIA AVE UNIT H
                      ONTARIO, CA 91762



                      Elelta yonas
                      17 FINCH
                      LAKE FOREST, CA 92630



                      ELEMENT EDUCATION -CMCS SANTEE
                      9580 CARLTON HILLS BLVD
                      SANTEE, CA 92071



                      ELEMENTARY INSTITUTE OF SCIENC
                      6230 DEL CERRO BLVD
                      SAN DIEGO, CA 92120
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 691 of 2164




                      Elena D'angelo
                      3232 Fruitville Rd
                      Apt
                      Sarasota, FL 34237



                      Elena Gomez
                      346 VIA METATES
                      OCEANSIDE, CA 92057



                      Elena Huezo
                      1741 W NEIGHBORS AVE
                      1
                      ANAHEIM, CA 92801



                      ELENA PAYNE
                      2921 CARRIAGE MEADOWS DR
                      WAKE FOREST, NC 27587



                      Elena Perez
                      400 W Orangethorpe Ave
                      APT 213D
                      Fullerton, CA 92832



                      Elena Queirolo
                      13662 Redhill Ave
                      #f
                      Tustin, CA 92780



                      Elena Ramirez
                      360 East Bradly
                      #56
                      El Cajon, CA 92021



                      ELEVATE ELEMENTARY SCHOOL
                      2285 MURRAY RIDGE RD
                      SAN DIEGO, CA 92123
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 692 of 2164




                      Elexis Mendez
                      10045 SE CITADEL ST
                      CLACKAMAS, OR 97015



                      Elexis Thompson
                      2767 BRIARGROVE DR
                      647
                      HOUSTON, TX 77057



                      Elgina Vernelus
                      1713 BIRCHWOOD CIRCLE
                      APT 2
                      LEESBURG, FL 34748



                      Eli Carr
                      4257 E Orchid Ln
                      Gilbert, AZ 85296



                      Eli Manna
                      1906 Poinsettia
                      Santa Ana, CA 92706



                      Elian Cano
                      5553 WALNUT BLOSSOM DR. #5
                      SAN JOSE, CA 95123



                      Eliana Jupiter
                      333 S. St Andrews Pl
                      #127
                      Los Angeles, CA 90020



                      Elianta Henry
                      2207 Plunkett Sr
                      Hollywood, FL 33020



                      Elias Acuna
                      3190 Penzance Ave
                      Camarillo, CA 93012
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 693 of 2164




                      Elias Canchola
                      865 Elmwood St.
                      Colton, CA 92324



                      ELIAS COLON
                      3625 WINKLER AVE APT 211
                      FORT MYERS, FL 33916



                      ELIAS J. PRATT
                      3654 Vineyard Ave.
                      Pleasanton, CA 94566



                      Elias Martinez
                      1315 E HOLT BLVD
                      207
                      ONTARIO, CA 91761



                      Elias pierce
                      2611 CREEK TERRACE DR
                      MISSOURI CITY, TX 77459



                      Elias Pratt
                      3654 Vineyard Ave.
                      Pleasanton, CA 94566



                      Elias Pulido
                      128 ALEXANDER ST
                      SAN FERNANDO, CA 91340



                      Elias Ramirez
                      2231 TAMARAC LN
                      TUSTIN, CA 92780



                      Eliberto Lizarraga
                      4552 Boundary St.
                      San Diego, CA 92116
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 694 of 2164




                      Elibeth Martinez
                      8000 King st
                      Westminster, CO 80031



                      Elier Vasquez
                      6475 College Park Circle
                      Naples, FL 34113



                      Eliezer Robles
                      2726 Abby Grove Dr
                      Valrico, FL 33594



                      Eliezer Sein
                      3709 N 56ST
                      TAMPA, FL 33619



                      Eligia Molina de Useche
                      7000 WESTVIEW DR
                      107
                      HOUSTON, TX 77055



                      Elijah Anzures
                      3529 Newcastle Dr Se
                      Rio Rancho, NM 87124



                      Elijah Atkins
                      2147 VINE-YARD WALK
                      #6
                      ATLANTA, GA 30316



                      Elijah Dysthe
                      457 HILLSMONT PLACE
                      EL CAJON, CA 92020



                      Elijah Gonzalez
                      15101 FAIRFIELD RANCH RD.
                      1206
                      CHINO HILLS, CA 91709
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 695 of 2164




                      Elijah Gray-Roedel
                      1176 NW FALL AVENUE
                      BEAVERTON, OR 97006



                      Elijah Hunter
                      1901 N. Wilmot Rd.
                      Apt 1229
                      TUCSON, AZ 85712



                      Elijah King
                      503 OLYMPIC BLVD
                      SANTA MONICA, CA 90401



                      Elijah Lawson
                      44041 17TH ST E
                      LANCASTER, CA 93535



                      Elijah Lee
                      1421 SPYGLASS WAY
                      CAMARILLO, CA 93012



                      Elijah Malette
                      480 Sw 181 Ave
                      Pembroke Pines, FL 33029



                      Elijah Manradge-Hewitt
                      929 WILSON RIDGE DR
                      1927
                      ORLANDO, FL 32818



                      Elijah Millanes
                      9 CALLE DEL CABOS
                      POMONA, CA 91766



                      Elijah Sanchez
                      6861 SW 147TH AVE
                      3B
                      MIAMI, FL 33193
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 696 of 2164




                      Elijah Wheaton
                      442 S Sievers Ave
                      Brea, CA 92821



                      Elijah Williams
                      294 S. JASPER CIR. APT.
                      302
                      AURORA, CO 80017



                      Elimaniel Gonzalez
                      MACEACHEN BLVD
                      6
                      SARASOTA, FL 34235



                      Elimaniel J. Gonzalez
                      MACEACHEN BLVD
                      6
                      SARASOTA, FL 34235



                      Elisa Fernandez
                      11672 Carmenita Rd
                      Apt D
                      Whittier, CA 90605



                      ELISA NELSON ELEMENTARY PTA
                      415 15TH STREET
                      PALM HARBOR, FL 34683



                      Elisa Rosales
                      217 Elm St
                      Alhambra, CA 91801



                      Elisabeth Palomares
                      1424 VIRGINIA AVE
                      #A
                      ONTARIO, CA 91764
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 697 of 2164




                      Elisabeth Shultz
                      1909 OTHELLO CT
                      ALBUQUERQUE, NM 87112



                      Elisam Alfonso-Sanchez
                      7202 N Emerald ave
                      Tampa, FL 33614



                      Elise Holden
                      2335 E NUNNELEY CT
                      GILBERT, AZ 85286



                      Eliseo Penaloza
                      1415 Towncen
                      #5
                      Santa Ana, CA 92704



                      Eliseo Reategui
                      2127 Olympic Parkway
                      #1006-363
                      Chula Vista, CA 91915



                      ELISEO REATEGUI
                      2127 OLYMPIC PARKWAY 1006-363
                      CHULA VISTA, CA 91915



                      Elisey Franchuk
                      9610 SE ECKLER AVE
                      MILWAUKIE, OR 97222



                      Elisha Vento
                      8590 LONGWOOD ST
                      SAN DIEGO, CA 92126



                      Elison Camaquin
                      6887 San Miguel Ave
                      Lemon Grove, CA 91945
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 698 of 2164




                      ELISON CAMAQUIN
                      5040 COMANCHE DR APT 42
                      LA MESA, CA 91942



                      ELISON CAMAQUIN
                      5040 COMANCHE DR       APT 42
                      LA MESA
                      CA, 91942



                      Elissa La Via
                      2605 E BART ST
                      GILBERT, AZ 85295



                      ELITE FORCE 8U TRAVEL BASEBALL TEAM
                      1382 NW 104TH DRIVE
                      CORAL SPRINGS, FL 33071



                      ELITE VIPERS BOOSTER CLUB
                      6560 SPENCER ST A2
                      LAS VEGAS, NV 89119



                      ELITEHEALTHCARE TRAINING LLC
                      1780 SW 127TH TERR
                      MIRAMAR, FL 33027



                      Eliu Reyes
                      3634 Cypress Meadow Rd
                      Tampa, FL 33624



                      Eliud Rodriguez
                      7782 Samura
                      Apt 10
                      Garden Grove, CA 92841



                      Eliuvar Oduardo Romero
                      7202 N Emerald ave
                      Tampa, FL 33614
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 699 of 2164




                      Eliyah Arboleda
                      670 LA SALLE DR.
                      ALTAMONTE SPRINGS, FL 32714



                      Eliza Gallo Ponce
                      16424 N 29TH ST
                      64
                      PHOENIX, AZ 85032



                      Eliza Rehani
                      2575 N. Country Club Rd
                      D3
                      Tucson, AZ 85716



                      Elizabeth Abbott
                      2323 Curtis St
                      Denver, CO 80205



                      Elizabeth AHN
                      866 W MABEL AVE
                      MONTEREY PARK, CA 91754



                      Elizabeth Alamo
                      6220 N. NEBRASKA AVE
                      TAMPA, FL 33604



                      Elizabeth Arellano
                      511 SOUTH K. ST.
                      #1
                      OXNARD, CA 93030



                      Elizabeth Arzola
                      4808 BYINGTON DR.
                      SAN JOSE, CA 95138



                      Elizabeth Bache
                      79 HEMLOCK DRIVE
                      OCALA, FL 34472
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 700 of 2164




                      Elizabeth Bernal
                      123 Roundtable Dr.22
                      San Jose, CA 95111



                      Elizabeth Cantu
                      12525 S KIRKWOOD RD.
                      STAFFORD, TX 77477



                      Elizabeth Cook
                      29091 BIRCH GREEN WAY
                      SPRING, TX 77386



                      Elizabeth Cook
                      11488 Poblado Road
                      Apt
                      San Diego, CA 92127



                      Elizabeth Cruz
                      401 FOUNTAINHEAD CR
                      152
                      KISSIMMEE, FL 34741



                      Elizabeth Cruz Ramirez
                      226 S REDWOOD AVE
                      APT C
                      BREA, CA 92821



                      ELIZABETH CURTIS
                      PO BOX 27031
                      SANTA ANA, CA 92799



                      ELIZABETH CURTIS
                      PO BOX 27031
                      SANTA ANA
                      CA, 92799
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 701 of 2164




                      Elizabeth Delgadillo
                      1050 East Lexington
                      #3
                      El Cajon, CA 92020



                      Elizabeth Diaz
                      3401 AZTEC RD NE
                      D
                      ALBUQUERQUE, NM 87107



                      Elizabeth Echeverria
                      17204 E PRINCETON DR
                      AURORA, CO 80013



                      Elizabeth G. Hopkins




                      Elizabeth Gerhardt
                      24931 STANOLIND ROAD
                      TOMBALL, TX 77375



                      Elizabeth Gonzalez
                      1460 GOLDEN GATE PKWY
                      SUITE 103 PMB 238
                      NAPLES, FL 34105



                      Elizabeth Graham
                      9833 MAPLEWOOD ST
                      BELLFLOWER, CA 90706



                      Elizabeth Hernandez
                      390 ZINNIA DR
                      CASSELBERRY, FL 32707



                      Elizabeth Hernandez-lopez
                      10400 Se Cook Ct
                      #78
                      Milwaukie, OR 97222
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 702 of 2164




                      Elizabeth Jimenez Rodriguez
                      3938 Mesa Ave
                      Sarasota, FL 34233



                      Elizabeth Johnson
                      1446 MORSE ST.
                      SAN BERNARDINO, CA 92404



                      ELIZABETH KOEHLER
                      9946 BONBAY WALK
                      AFTON, MO 63123



                      Elizabeth Lopez
                      5880 Denison Dr
                      Venice, FL 34293



                      Elizabeth Lund
                      1440 E Broadway Rd
                      Apt #2077
                      Tempe, AZ 85282



                      Elizabeth Martinez
                      2013 LA CUEVA DR
                      APT 4
                      ROWLAND HEIGHTS, CA 91748



                      Elizabeth Martinez
                      1605 E. Grand Ave
                      #c
                      Escondido, CA 92027



                      Elizabeth martinez
                      15050 MONTE VISTA AVE
                      88
                      CHINO HILLS, CA 91709
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 703 of 2164




                      Elizabeth Martinez
                      5920 University Ave
                      Apt 1
                      San Diego, CA 92115



                      Elizabeth Maya
                      7763 AURA AVE
                      RESEDA, CA 91335



                      Elizabeth Mazemke
                      822 W T STREET
                      WASHOUGAL, WA 98671



                      Elizabeth Medina
                      38892 CANYON HEIGHT DRIVE
                      FREMONT, CA 95436



                      Elizabeth Mendoza de Ramirez
                      1530 N. ARROWHEAD AVE.
                      RIALTO, CA 92376



                      Elizabeth Mora
                      2525 WEST LINGAN LANE
                      SANTA ANA, CA 92704



                      Elizabeth Moreno Madrigal
                      433 NORTH AVE 52
                      LOS ANGELES, CA 90042



                      Elizabeth Olivira
                      520 GEORGIA AVE
                      ALTAMONTE SPRINGS, FL 32714



                      Elizabeth Ortiz-Sanchez
                      17260 EUCLID ST
                      #D
                      FOUTAIN VALLEY, CA 92708
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 704 of 2164




                      Elizabeth Perez
                      10825 WAGON TRAIN LN
                      MIRALOMA, CA 91752



                      Elizabeth Pitts
                      12930 GLEASON WAY
                      CLERMONT, FL 34711



                      Elizabeth ramirez
                      9272 SW 3RD ST
                      APT 416
                      BOCA RATON, FL 33428



                      Elizabeth Rivera
                      3429 Agate Dr
                      #3
                      Santa Clara, CA 95051



                      Elizabeth Roberts
                      745 LANDOVER CIRCLE
                      103
                      NAPLES, FL 34104



                      Elizabeth Rodriguez
                      4350 TERRACE HILL DR
                      102
                      LAS VEGAS, NV 89103



                      Elizabeth Rodriguez
                      29967 VANDERBILT ST
                      HAYWARD, CA 94544



                      Elizabeth Rodriguez
                      12020 N.GESSNER RD
                      7106
                      HOUSTON, TX 77064
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 705 of 2164




                      Elizabeth Roth
                      3906 E. Waller Lane
                      Phoenix, AZ 85050



                      ELIZABETH SALAZAR
                      10815 SHEPHERD FALLS LANE
                      HOUSTON, TX 77075



                      Elizabeth Sandoval
                      9251 birdvale dr
                      downey, CA 90242



                      ELIZABETH SANDOVAL
                      10300 GOLF COURSE RD NW #801
                      ALBUQUERQUE, NM 87114



                      Elizabeth Valdez
                      853 W 10TH AVE
                      ESCONDIDO, CA 92025



                      Elizabeth Vera
                      7519 E Taylor
                      Scottsdale, AZ 85257



                      Elizabeth Villanueva-Noyes
                      625 Birch Ave
                      Gervais, OR 97026



                      Elizabeth Weber
                      4184 E SEASONS CIR
                      GILBERT, AZ 85297



                      ELIZABETHS FOOD CO
                      2041 E DEL AMO BLVD
                      RANCHO DOMINGUEZ, CA 90220
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 706 of 2164




                      Elizaveta Foat
                      1036 Se 283rd Ave
                      Camas, WA 98607



                      ELKTON NUTRITION INC
                      2228 CANYON DR
                      COLTON, CA 92324



                      Ella Hill
                      4218 E RAINBOW DR
                      GILBERT, AZ 85297



                      Ella Venema
                      14417 SE DONATELLO LOOP
                      HAPPY VALLEY, OR 97086



                      Elle Harjo
                      3351 S FIELD ST
                      157
                      LAKEWOOD, CO 80227



                      Ellesse Piper
                      14426 Dunnet Ave
                      La Mirada, CA 90638



                      Ellis Quenga
                      1449 Caminito Sardinia
                      Unit #3
                      Chula Vista, CA 91915



                      ELLIS QUENGA
                      1449 CAMINITO SARDINIA UNIT #3
                      CHULA VISTA, CA 91915



                      Elly Colon
                      8014 N 10th St
                      APT B
                      Tampa, FL 33604
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 707 of 2164




                      Elly Wu
                      7647 Windsong Road
                      San Diego, CA 92126



                      ELMA FERNANDEZ
                      1179 OCELLOP AVE
                      CHULA VISTA, CA 91911



                      Elnaz Shehni
                      114 Ivory Palm Terrace
                      Sunnyvale, CA 94086



                      Eloina Diaz
                      11111 WENTWORTH PL
                      GARDEN GROVE, CA 92843



                      Eloisa Ramirez
                      411 N. Euclid Ave.
                      Apt 29
                      Fullerton, CA 92832



                      Eloisa Saucedo
                      8130 w Indian School rd #1185
                      Phoenix, AZ 85033



                      eloise bryant
                      5324 ITHACA AVE
                      #1
                      LOS ANGELES, CA 90032



                      Elsa Barrera
                      1411 Monument Blvd
                      Apt C7
                      Concord, CA 94520



                      Elsa Benitez Perez
                      311 E 122ND AVE
                      TAMPA, FL 33612
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 708 of 2164




                      ELSA M. PRATT
                      3654 VINEYARD AVENUE
                      PLEASANTON, CA 94566



                      Elsa Pratt
                      3654 VINEYARD AVENUE
                      PLEASANTON, CA 94566



                      Elsa Velasquez Martinez
                      401 N Bush Street
                      Apt. #4
                      Anaheim, CA 92804



                      ELSA VENEGAS
                      3651 MUIRWOOD DR
                      PLEASANTON, CA 94588



                      Elsaqqara Blakeney
                      680 ROARING DR 352
                      352
                      ALTAMONTE SPRINGS, FL 32714



                      ELSINORE HIGH SCHOOL
                      21800 CANYON DR
                      ATTN LINDA JOHNSON
                      WILDOMAR, CA 92595



                      Elta Eugene Petit Homme
                      4391 17th ave sw
                      NAPLES, FL 34116



                      Elva Garcia
                      1110 S. 6th Ave.
                      Arcadia, CA 91006



                      Elvia Figueroa
                      969 Mercury Ct
                      Lone Tree, CO 80124
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 709 of 2164




                      Elvia Jimenez
                      3237 W Cholla
                      Phoenix, AZ 85029



                      Elvia Martinez
                      328 N. BUSH
                      B
                      ANAHEIM, CA 92805



                      Elvia Mendoza
                      1301 East Ave I
                      Spc.438
                      Lancaster, CA 93535



                      Elvir Roge
                      5563 BUTTE ST
                      LEHIGH ACRES, FL 33971



                      Elvira Flores
                      699 Sabal Palm Circle
                      Apt P
                      Altamonte Springs, FL 32701



                      Elvira Perez
                      4526 W Vernon ave
                      Phoenix, AZ 85035



                      Elvira Villasenor Molina
                      214 S SIERRA VISTA AVE
                      FRESNO, CA 93702



                      ELVIRIA C LABARRE
                      65 CALUMET AVE
                      PONCE INLET, FL 32127



                      Elvis Andrade
                      4950 Cherry Avenue
                      San Jose, CA 95118
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 710 of 2164




                      Ely Lobo
                      106 OLIVE TREE CIRCLE
                      ALTAMONTE SPRINGS, FL 32714



                      Ely Perez
                      25845 BROWNING PL
                      STEVENSON RANCH, CA 91381



                      Elyahs Goytia
                      4327 DESCANSO AVE
                      CHINO HILLS, CA 91709



                      Elysa Lorraine Antipuesto
                      23610 NEWHALL AVENUE
                      214
                      SANTA CLARITA, CA 91321



                      ELYSE ROSENBLUM
                      88 PUESTO RD
                      RANCHO MISSION VIEJO, CA 92694



                      EM GRIMMER ELEMENTARY SCHOOL
                      43030 NEWPORT DRIVE
                      EM GRIMMER ELEMENTARY SCHOOL
                      FREMONT, CA 94538



                      emad barsoum
                      4120 VILLAGE DR APT
                      #A
                      CHINO HILLS, CA 91709



                      Eman Bouras
                      6203 CANDLEWOOD LANE
                      ORLANDO, FL 32809



                      Emanuel Gully
                      2620 EAST MARCONI AVENUE
                      1
                      PHOENIX, AZ 85032
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 711 of 2164




                      Emanuel Hilbert
                      14220 SE 61ST CRT
                      BELLEVIEW, FL 34492



                      Emanuel Tesfamichael
                      6567 W. Fairmont Avenue
                      Fresno, CA 93723



                      Emely De Leon Chang
                      14815 CRENSHAW BLVD
                      28
                      GARDENA, CA 90249



                      EMERSON PARKSIDE ACADEMY PTA
                      2625 JOSIE AVE
                      LONG BEACH, CA 90815



                      EMERY E A G L E S HSO
                      8600 SOMERSET STREET
                      BUENA PARK, CA 90621



                      EMERY PARK PTA
                      2821 W COMMONWEALTH AVE
                      EMERY PARK PTA
                      ALHAMBRA, CA 91803



                      EMIC PROPERTIES
                      PO BOX 1326
                      SAUSALITO, CA 94966



                      EMIC Properties
                      3020 Bridgeway Blvd. NC
                      Ste. 107
                      Sausalito, CA 94965



                      Emilee Johnson
                      17445 SW 111TH AVE
                      TUALATIN, OR 97062
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 712 of 2164




                      Emiliano Castaneda
                      MONTEREY AVE
                      MILWAUKIE, OR 97222



                      Emilie Hayes
                      784 PORTSIDE PLACE
                      SAN DIEGO, CA 92154



                      Emilie Miranda
                      16303 BAREWOOD LANE
                      SANDFORD, FL 32771



                      Emilie R. Miranda
                      16303 BAREWOOD LANE
                      SANDFORD, FL 32771



                      Emilio Amezquita
                      3931 W GOLDEN LANE
                      PHOENIX, AZ 85051



                      Emilio Diaz
                      1509 W ROBSON ST
                      TAMPA, FL 33604



                      Emilio Ramirez
                      5734 7th Ave
                      Los Angeles, CA 90043



                      Emilio Rujana
                      965 LAS PALMAS DRIVE
                      SANTA CLARA, CA 95051



                      Emilio Soto
                      2481 MERRYWOOD ST
                      POMONA, CA 91767
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 713 of 2164




                      Emilio Verdin
                      5700 COWLES MT BLVD
                      F155
                      LA MESA, CA 91942



                      Emily Acosta
                      47750 ADAMS STREET
                      923
                      LA QUINTA, CA 92253



                      Emily Alvarado
                      145 E CORONADO LN
                      TUSTIN, CA 92780



                      Emily Andreano
                      3610 TUNALES DR
                      FULLERTON, CA 92835



                      Emily Bethune
                      9442 SUTTER PARK LN
                      HOUSTON, TX 77086



                      EMILY BRADY
                      2905 S BRENTWOOD BLVD
                      ST LOUIS, MO 63144



                      Emily Britton
                      1327 YOUNG AVE
                      CLEARWATER, FL 33756



                      Emily Busbey
                      3811 Beechwood Dr
                      Holiday, FL 34691



                      Emily Campbell
                      34 WHEATHERSTONE
                      LAKE OSWEGO, OR 97035
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 714 of 2164




                      Emily Castillo
                      2703 FIR CREST CT.
                      STAFFORD, TX 77477



                      Emily Castillo
                      12518 MILLBANKS DR
                      HOUSTON, TX 77031



                      Emily Cundall
                      2417 NE Inverness Drive
                      Hillsboro, OR 97124



                      Emily Cuyun
                      16400 SW 137TH AVE #326
                      MIAMI, FL 33177



                      Emily De Los Santos
                      836 W.TERRACE
                      FRESNO, CA 93705



                      Emily Dupas
                      9000 FGCU CAMPUS HOUSING
                      EAG4148
                      FORT MYERS, FL 33965



                      EMILY E. ALVARADO
                      145 E CORONADO LN
                      TUSTIN, CA 92780



                      Emily Ervin
                      4727 Ashton Dr
                      Sarasota, FL 34233



                      Emily Ferguson
                      41721 VIA EL GRECO
                      TEMECULA, CA 92592
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 715 of 2164




                      Emily Fullmer
                      291 VIA OLIVERA
                      CAMARILLO, CA 93012



                      EMILY G. GALLEGOS
                      1057 SUMNER AVE
                      EL CAJON, CA 92021



                      Emily Gallegos
                      1057 SUMNER AVE
                      EL CAJON, CA 92021



                      Emily Harris
                      139 RENAISSANCE PKWY NE
                      ATLANTA, GA 30308



                      Emily Howard
                      2345 S BUMBY AVE
                      APT C
                      ORLANDO, FL 32806



                      Emily Jarvis
                      3500 NE 17TH ST
                      C218
                      GRESHAM, OR 97030



                      Emily Knisley
                      8002 SW 149TH AVE
                      APT B302
                      MIAMI, FL 33193



                      Emily Lamar
                      29919 Corte Castille
                      Temecula, CA 92591



                      Emily Nanez-delgado
                      1449 COVENTRY RD.
                      CONCORD, CA 94518
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 716 of 2164




                      Emily Nava
                      1246 S WESTGATE AVE
                      #3
                      LOS ANGELES, CA 90025



                      Emily Nieves Sandoval
                      9051 CADE TERRACE
                      SAN DIEGO, CA 92126



                      Emily Ontiveros
                      4056 W MESCAL ST
                      PHOENIX, AZ 85029



                      Emily Peterson
                      129 HIDDEN VIEW DR
                      GROVELAND, FL 34736



                      Emily Pinto
                      1403 S MESA ST
                      SAN PEDRO, CA 90731



                      Emily Rios
                      140 SW EDGEWAY DR
                      364
                      BEAVERTON, OR 97006



                      Emily Segeren
                      7112 AURORA DRIVE
                      NEW PORT RICHEY, FL 34653



                      Emily Soto-Torres
                      1932 Navarro Ave.
                      Pasadena, CA 91103



                      EMILY WEINBERG
                      10555 MATINAL CIR
                      SAN DIEGO, CA 92127
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 717 of 2164




                      Emily West
                      8400 41st
                      Snohomish, WA 98290



                      Emily Wykes
                      8252 47TH STREET CIR E
                      PALMETTO, FL 34221



                      Emily Zimmerman
                      7500 Parkway Drive
                      Unit 207
                      La Mesa, CA 91942



                      Emma Alt
                      5680 Deerfield Rd
                      ORLANDO, FL 32808



                      Emma Barbee
                      12240 SW WHISTLERS LANE
                      TIGARD, OR 97223



                      Emma Booker
                      17786 NW PIONEER RD
                      BEAVERTON, OR 97006



                      Emma Guerra
                      14054 SW 91 TER
                      MIAMI, FL 33186



                      Emma Guzman
                      142 S Normandie Ave
                      Apt. 1
                      Los Angeles, CA 90004



                      Emma Kammerer
                      6 VIA ADELFA
                      RANCHO SANTA MARGARITA, CA 92688
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 718 of 2164




                      EMMA LANDERS
                      6590 S TABOR ST
                      LITTLETON, CO 80127



                      Emma Larkin
                      33270 FOX RD
                      TEMECULA, CA 92591



                      Emma Mora
                      2529 S BAKER ST
                      #A
                      SANTA ANA, CA 92707



                      Emma Nutter
                      2191 RANCHO MCCORMICK BLVD
                      SANTA CLARA, CA 95050



                      Emma Quiroz
                      615 S EUCLID STREET
                      UNIT L1
                      SANTA ANA, CA 92704



                      Emmanuel ALVAREZ
                      132 AVENIDA DEL GADO
                      OCEANSIDE, CA 92057



                      Emmanuel Araujo
                      673 WEST 6TH ST.
                      #D
                      TUSTIN, CA 92780



                      Emmanuel Avila
                      1809 MOUNT RUSHMORE DR
                      SAN JOSE, CA 95127



                      Emmanuel Barrera
                      1942 Coulcrest Dr
                      Houston, TX 77055
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 719 of 2164




                      Emmanuel Becerra Gomez
                      43195 NW KEMPER RD
                      FOREST GROVE, OR 97116



                      Emmanuel Dorantes
                      27622 Aliso Creek Rd
                      apt # 5116
                      Aliso Viejo, CA 92656



                      Emmanuel Dorcinvil
                      287 Sw 9 Street
                      Dania, FL 33004



                      Emmanuel Juarez
                      2901 HOLLY HILL AVE
                      LAS VEGAS, NV 89104



                      EMMANUEL LOUIS
                      331 SW 1ST AVE
                      #1
                      DANIA, FL 33004



                      Emmanuel Moreno
                      239 E TRIDENT DR
                      PITTSBURG, CA 94565



                      Emmanuel Olive
                      1559 JOHNSON RD NW
                      ATLANTA, GA 30318



                      Emmanuel Pruitt
                      1935 ALISON CT
                      M12
                      ATLANTA, GA 30311



                      Emmanuel Rodriguez
                      455 WEST TROPICANA COURT
                      KISSIMMEE, FL 34741
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 720 of 2164




                      Emmanuel Stjacques
                      5618 PGA Blvd
                      Apt 1613
                      Orlando, FL 32839



                      Emmanuel Vazquez
                      6030 150 ave north
                      lot 26
                      clearwater, FL 33760



                      EMMANUEL VELASQUEZ
                      2739 ULRIC ST
                      SAN DIEGO, CA 92111



                      Emmanuel Williams
                      17359 SW 21ST CT
                      MIRAMAR, FL 33029



                      EMMAUS LUTHERAN SCHOOL
                      840 SO ALMANSOR ST
                      ALHAMBRA, CA 91801



                      Emmette Randolph
                      1121 WILLION ST
                      DENVER, CO 80202



                      EMPEROR PTA
                      6415 N MUSCATEL AVE
                      SAN GABRIEL, CA 91775



                      Empire Distributors
                      E.J.D. Enterprises
                      11383 Newport Drive
                      Rancho Cucamonga, CA 91730



                      EMPLOYMENT DEVELOPMENT DEPT
                      PO BOX 989061
                      WEST SACRAMENTO, CA 95798
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 721 of 2164




                      EMPLOYMENT SCREENING SERVICES INC
                      DEPT K
                      PO BOX 830520
                      BIRMINGHAM, AL 35283



                      EMPLOYMENT SECURITY DIVISION
                      500 E. THIRD STREET
                      CARSON CITY, NV 00897-1330



                      EMPLOYMENT SECURITY UI TAX ADMINISTRATIO
                      PO BOX 34949
                      SEATTLE, WA 98124-1949



                      Ena Martinez
                      5325 E. TROPICANA
                      1039
                      LAS VEGAS, NV 89122



                      ENCHANTED MESA SHOW CHORUS
                      1036 VERMONT ST NE
                      ENCHANTED MESA SHOW CHORUS
                      ALBUQUERQUE, NM 87110



                      ENCORE ONE LLC
                      11311 HAMPSHIRE AVE S
                      BLOOMINGTON, MN 55438



                      ENCORE PLASTICS
                      PO BOX 3208
                      HUNTINGTON BEACH, CA 92605



                      ENCORE SWIM
                      728 CHOCTAW DR
                      SAN JOSE, CA 95123



                      ENDERS 6TH GRADE BOOSTERS
                      12302 SPRINGDALE ST
                      GARDEN GROVE, CA 92845
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 722 of 2164




                      Enelida Quiroz
                      11555 Sw Ridgecrest Dr
                      Beaverton, OR 97008



                      ENGIE INSIGHT SERVICES INC
                      1313 N ATLANTIC STE 5000
                      SPOKANE, WA 99201



                      ENGIE INSIGHT SERVICES INC
                      1313 N ATLANTIC STE 5000
                      SPOKANE
                      WA, 99201



                      Enia Palombo-Garza
                      85 1/2 VIRGINIA AVE.
                      PASADENA, CA 91107



                      Enid Valenzuela
                      7065 Saranac Street
                      San Diego, CA 92115



                      ENID VALENZUELA
                      7065 SARANAC ST
                      SAN DIEGO, CA 92115



                      Enivaldo Estrada Jimenez
                      640 N East Ave
                      Sarasota, FL 34237



                      Enmanuel Paniagua
                      208 LAUREL RIDGE PASS
                      DAVENPORT, FL 33897



                      Enmanuel Pisano
                      4539 SOUTH KIRKMAN RD
                      #6
                      ORLANDO, FL 32811
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 723 of 2164




                      Enoch McKissick
                      1517 SPRING CREEK LANE
                      1517
                      SANDY SPRINGS, GA 30350



                      Enqueatte Parker
                      2102 ANDREW AVE
                      MODESTO, CA 95350



                      Enrika McKnight
                      1945 29TH ST
                      SARASOTA, FL 34234



                      Enrique Alba
                      645 N HUNTINGTON BLVD
                      POMONA, CA 91768



                      Enrique Chan
                      2738 Kollmar Dr
                      San Jose, CA 95127



                      Enrique Diaz
                      MCKELLIPS RD
                      LOT 53
                      SCOTTSDALE, AZ 85257



                      ENRIQUE ENRIQUEZ
                      233 ZENITH
                      LA PUENTE, CA 91744



                      Enrique Garcia
                      14935 HUTCHINS DR
                      LA MIRADA, CA 90638



                      Enrique Gloria
                      148 E DE ANZA LN
                      TUSTIN, CA 92780
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 724 of 2164




                      Enrique Gonzalez
                      6035 N SELLAND AVE
                      FRESNO, CA 93711



                      Enrique Gonzalez
                      6558 HAMMOND AVE
                      LONG BEACH, CA 90805



                      Enrique Hernandez
                      2917 S. SANTA FE AVE
                      SAN MARCOS, CA 92069



                      Enrique Herrera
                      P.O. BOX 449
                      El Cajon, CA 92022



                      Enrique Jimenez
                      602 N TUTTLE AVE
                      SARASOTA, FL 34237



                      Enrique Leon
                      1373 27 TH ST
                      219
                      SAN DIEGO, CA 92154



                      Enrique Martinez
                      2250 E Pleasant Valley Rd
                      Oxnard, CA 93033



                      ENRIQUE MARTINEZ
                      1400 W KAMALA ST
                      OXNARD, CA 93030



                      Enrique Morales
                      13952 LA RUE ST
                      SAN FERNANDO, CA 91340
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 725 of 2164




                      Enrique Olmedo
                      13821 N Harper St
                      Santa Ana, CA 92703



                      Enrique Perez
                      3651 135 Aveb
                      Largo, FL 33771



                      Enrique Perez Betancourt
                      4650 Sw Murray Blvd
                      Apt 69
                      Beaverton, OR 97005



                      Enrique RAMON AMADO
                      2816 CHARMONT DR
                      APOPKA, FL 32703



                      Enrique Reyes
                      3216 Annrae Street
                      San Diego, CA 92123



                      Enrique Rico
                      224 EAST NEECE STREET
                      LONG BEACH, CA 90805



                      Enrique Rodriguez
                      3137 N 66th St. Apt 5
                      Scottsdale, AZ 85251



                      Enriqueta Lopez
                      557 110TH AVE N
                      2396920325
                      NAPLES, FL 34108



                      Enriqueta Marquez
                      210 Cedar Rd
                      #503
                      Vista, CA 92083
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 726 of 2164




                      Entebbe Bates.Jr
                      1464 N YUCCA AVENUE
                      RIALTO, CA 92376



                      ENTERGY
                      PO BOX 8104
                      BATON ROUGE, LA 70891-8104



                      ENTERPRISE HOLDINGS INC
                      PO BOX 402383
                      ATLANTA, GA 30384-2383



                      ENVIRONMENTAL BIOTECH OF THE ROCKIES INC
                      PO BOX 271356
                      LITTLETON, CO 80127



                      ENVIRONMENTAL BIOTECH OF THE ROCKIES INC
                      PO BOX 271356
                      LITTLETON
                      CO, 80127



                      ENVIRONMENTAL HEALTH DIVISION
                      800 S VICTORIA AVE
                      VENTURA, CA 93009-1730



                      Envysion
                      PO BOX 46138
                      HOUSTON, TX 77210-6138



                      ENVYSION INC
                      PO BOX 46138
                      HOUSTON, TX 77210-6138



                      ENVYSION INC
                      PO BOX 46138
                      HOUSTON
                      TX, 77210-6138
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 727 of 2164




                      Enzo Matos
                      16814 ROLLING ROCK DRIVE
                      TAMPA, FL 33618



                      Ephraim Lockhart
                      5370 Lakeview Blvda6
                      Lake Oswego, OR 97035



                      Epifanio Delgado
                      1105 E Ave.Q4
                      Apt. 311
                      Palmdale, CA 93550



                      EPILEPSY FOUNDATION SAN DIEGO
                      2055 EL CAJON
                      SAN DIEGO, CA 92104



                      Epimaco Duarte
                      24543 MOONCREST CIRCLE
                      MURRIETA, CA 92562



                      EPIQ SYSTEMS ACQUISITION INC
                      777 THIRD AVE 12TH FLOOR
                      NEW YORK, NY 10017



                      Erandi Carranza-nabarrete
                      7370 W Rancho Dr
                      Glendale, AZ 85303



                      Erasmo Vazquez
                      13890 Smoke Tree Street
                      Hesperia, CA 92345



                      Erasto Roman
                      3414 E Plam Ln
                      Phoenix, AZ 85008
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 728 of 2164




                      Erder Mocombe
                      2037 RIVERTREE CIRCLE
                      106
                      ORLANDO, FL 32839



                      Ereberto Gonzales
                      14031 Cerise Ave.
                      Apt. 226
                      Hawthorne, CA 90250



                      Erendida Soto
                      22111 CLARKDALE AVE
                      HAWAIIAN GARDENS, CA 90716



                      ERENDIRA MOSQUEDA
                      223 GUAVA AVE CV
                      CHULA VISTA, CA 91910



                      Eriberto SANTACRUZ
                      4002 E. ASHLAN AVE
                      FRESNO, CA 93726



                      Eric Aguilar
                      429 Civic Center Dr
                      Vista, CA 92084



                      Eric Augustin
                      4741 NE 2ND WAY
                      POMPANO BEACH, FL 33064



                      Eric Bennetts
                      1001 EMERALD ST
                      REDONDO BEACH, CA 90277



                      Eric Beverly
                      1125 EAST AVE R
                      APT D-11
                      PALMDALE, CA 93550
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 729 of 2164




                      Eric Bryant
                      3152 CHRISTIE ST
                      HOUSTON, TX 77026



                      Eric Case
                      2856 Homewood St
                      Clearwater, FL 33759



                      Eric Cervantes
                      602 BRIGITA AVE
                      LA PUENTE, CA 91744



                      Eric Coxson
                      1301 SOUTH ALMADEN AVENUE
                      SAN JOSE, CA 95110



                      Eric Deverill
                      7734 BACKER ROAD
                      SAN DIEGO, CA 92126



                      Eric Espinoza
                      3255 HORNET
                      CLOVIS, CA 93611



                      Eric Fried
                      2403 RAVEN ROAD
                      PLEASANTON, CA 94566



                      Eric Gallarzo
                      4385 Beta St
                      San Diego, CA 92113



                      Eric Hernandez
                      1998 EDGEVIEW DRIVE
                      SAN JOSE, CA 95122
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 730 of 2164




                      ERIC J STENTA
                      6282 SIERRA SIENA RD
                      IRVINE, CA 92603



                      Eric Jaramillo
                      6012 TRUJILLO RD SW
                      ALBUQUERQUE, NM 87121



                      Eric Johnson
                      834 West New England
                      Winter Park, FL 32789



                      Eric Lomeli
                      632 Romulo Street
                      Los Angeles, CA 90065



                      Eric Lopez
                      2122 BOWERS AVE
                      SANTA CLARA, CA 95051



                      Eric Math
                      466 WEST VALENCIA
                      UNIT 9
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                      Eric Menkis
                      2773 S Harrison St
                      DENVER, CO 80210



                      Eric Moreno
                      405 RANCHO ARROYO PKWY
                      APT 164
                      FREMONT, CA 94536



                      Eric Ordonez
                      621 NORTH OSBORN
                      WEST COVINA, CA 92545
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 731 of 2164




                      Eric Orsini
                      11632 Churchill St.
                      Orlando, FL 32817



                      Eric Palomo
                      1196 Sunrise Way
                      Milpitas, CA 95035



                      Eric Quinones
                      11826 REEDY CREEK DR. APT
                      205
                      ORLANDO, FL 32836



                      ERIC R. LEMUS




                      Eric Rabb
                      419 HAMILTON
                      COSTA MESA, CA 92627



                      Eric Reyes-Burgos
                      1500 NOCATEE ST.
                      KISSIMMEE, FL 33848



                      Eric Saenz
                      6702 N 23RD AVE
                      #3
                      PHOENIX, AZ 85015



                      Eric Saintil
                      208 SE 29TH AVE UNIT 7
                      HOMESTEAD, FL 33033



                      Eric Sanchez
                      32517 LAKE CHABOT ST
                      FREMONT, CA 94555
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 732 of 2164




                      ERIC SCHMIDT
                      241 COUNTRYHAVEN RD
                      ENCINITAS, CA 92024



                      Eric Smith
                      8209 FAIRWAYS CIR
                      G 104
                      OCALA, FL 34472



                      Eric Tejada
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                      Las Vegas, NV 89128



                      Eric Trujillo
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                      711
                      ALBUQUERQUE, NM 87114



                      Eric Washington
                      3004 N Alma School
                      Scottsdale, AZ 85256



                      Eric Woods
                      14052 PEBBLE BROOK LN
                      SAN DIEGO, CA 92128



                      Eric-Mycal Roberts
                      20919 BIRNAMWOOD BLVD.
                      1127
                      HOUSTON, TX 77338



                      Erica Alvarez
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                      Apt 84
                      Houston, TX 77055



                      Erica Brazell
                      2708 Via Plato
                      Carlsbad, CA 92008
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 733 of 2164




                      ERICA BRAZELL
                      2708 VIA PLATO
                      CARLSBAD, CA 92010



                      Erica Estrada
                      1050 S. J. ST.
                      101
                      OXNARD, CA 93030



                      Erica Gomez
                      10000 Hammerly Blv apt #392
                      Houston, TX 77080



                      ERICA KELLEY
                      3525 CLUB DR
                      1009
                      LAWRENCEVILLE, GA 30044



                      Erica LeSante-Zapata
                      2101 CHARLES DEWITT WAY
                      ALPINE, CA 91901



                      Erica Morris
                      2447 MANGO AVE
                      SARASOTA, FL 34243



                      Erica Petit
                      2430 7th Street
                      Santa Monica, CA 90405



                      Erica Pinnegar
                      25332 ADELANTO DR
                      LAGUNA NIGUEL, CA 92677



                      Erica Prado
                      74101 college view circle E
                      Palm desert, CA 92211
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                      Erica Ramos
                      2128 W. BROWNWOOD
                      2
                      ANAHEIM, CA 92801



                      Erica Raya Castro
                      14050 SW CHINN LN
                      APT 219
                      TIGARD, OR 97224



                      Erica Ricketson
                      7722 HIGHWATER DR
                      APT H6
                      New Port Richey, FL 34655



                      Erica Valdes
                      10983 70TH AVE N
                      APT 2
                      SEMINOLE, FL 33772



                      Erica Vasquez-Faran
                      11396 SW BULL MOUNTAIN RD
                      330
                      PORTLAND, OR 97224



                      Erica Zolano
                      23268 ORANGE AVENUE
                      5
                      LAKE FOREST, CA 92630



                      Erick Alas
                      1724 WEST BLVD
                      LOS ANGELES, CA 90019



                      Erick Arriaga
                      2809 SOUTH FAIRVIEW STREET
                      #I
                      SANTA ANA, CA 92704
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 735 of 2164




                      Erick Augustin
                      14447 Avalon Reserve Bld
                      Apt 108
                      Orlando, FL 32828



                      Erick Corvil
                      4001 NW 78TH TERR
                      APT A
                      CORAL SPRINGS, FL 33065



                      ERICK CORVIL
                      4001 NW 78TH TERR APT A
                      CORAL SPRINGS, FL 33065



                      Erick De La Vega Lomeli
                      15010 HARVARD BLVD
                      GARDENA, CA 90247



                      Erick Garcia
                      16333 WILOWMIIST COURT
                      CHINO HILLS, CA 91709



                      Erick Gomez
                      3142 CONCORD AVENUE
                      ALHAMBRA, CA 91803



                      Erick Gutierrez
                      3677 45TH ST
                      #C
                      SAN DIEGO, CA 92105



                      Erick Martinez
                      205 PACIFIC AVE
                      LA HABRA, CA 90631



                      Erick Navarro
                      2085 Newton Avenue
                      Apt#132
                      San Diego, CA 92113
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 736 of 2164




                      ERICK NAVARRO
                      2085 NEWTON AVE APT 132
                      SAN DIEGO, CA 92113



                      Erick Rojas
                      11339 CALLE DARIO
                      SAN DIEGO, CA 92126



                      Erick Ruiz
                      278 NORTH MOLLISON AVENUE
                      APT E
                      EL CAJON, CA 92021



                      Erick Sabado
                      11777 WESTVIEW PARKWAY
                      SAN DIEGO, CA 92126



                      Erick Sagastume
                      16601 Garfield Ave.
                      Space 122
                      Paramount, CA 90723



                      Erick Suarez
                      303 E BROAD ST
                      #3
                      TAMPA, FL 33604



                      Erick villla
                      1689 BROADWAY ST
                      227
                      CHULA VISTA, CA 91911



                      Erick Zendejas
                      721 ASTER STREET
                      132
                      OXNARD, CA 93036
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 737 of 2164




                      Ericka Corvil
                      4001 NW 78TH TERRACE
                      #S
                      CORAL SPRINGS, FL 33065



                      Ericka Gardner
                      12707 BELLAIRE
                      2123
                      HOUSTON, TX 77072



                      Ericka Luby
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                      Oceanside, CA 92058



                      ERICKA RIOS
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                      Ericka Williams
                      3511 Willow Tree Drive
                      Tampa, FL 33614



                      Ericson Dor
                      1841 Nw 2nd Ter
                      Pompano Beach, FL 33060



                      Erik Baltazar
                      38041 53RD STREET EAST
                      PALMDALE, CA 93552



                      Erik Bonilla
                      19009 S Laurel Park Rd.
                      61
                      Rancho Dominguez, CA 90220



                      Erik Dahquist
                      25662 Greenheld Dr
                      Laguna Niguel, CA 92677
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 738 of 2164




                      Erik Guerrero
                      3667 HILLSBOROUGH DR.
                      CONCORD, CA 94520



                      Erik Gutierrez Martinez
                      9830 DALE AVE
                      68
                      SPRING VALLEY, CA 91977



                      Erik Miller
                      9559 SE HIGHWAY 42
                      SUMMERFEILD, FL 34491



                      Erik Minjares
                      1643 STORRS PLACE
                      POMONA, CA 91766



                      Erik Molina
                      6626 SUTTON MEADOWS DRIVE
                      HOUSTON, TX 77086



                      Erik Monreal Moreno
                      68555 POLK ST
                      SPACE 127
                      THERMAL, CA 92274



                      Erik Nunez
                      3978 Main Street
                      Chula Vista, CA 91911



                      Erik Rocha
                      1075 SOUTH HALE AVENUE
                      ESCONDIDO, CA 92029



                      Erik Simental
                      3500 W Commonwealth Ave
                      Fullerton, CA 92833
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 739 of 2164




                      ERIK THOMPSON
                      7 PANDALE
                      FOOTHILL RANCH, CA 92610



                      Erik Valencia
                      1223 W 55th St
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                      Erik Yescas
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                      B
                      CHULA VISTA, CA 91910



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                      Phoenix, AZ 85035



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                      San Diego, CA 92115



                      Erika Caudillo
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                      Riverside, CA 92504



                      Erika Cordon
                      17800 COLIMA RD.
                      517
                      ROWLAND HEIGHTS, CA 91748



                      Erika Cruz
                      8537 GLENHAVEN ST
                      #D
                      SAN DIEGO, CA 92123



                      Erika Fortunato
                      11683 SPRINGFLOWER PL
                      BOCA RATON, FL 33428
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 740 of 2164




                      Erika Garcia
                      744 CALLA DRIVE
                      #2
                      SUNNYVALE, CA 94086



                      Erika Giles
                      1552 La Monarca Lane 106
                      Chula Vista, CA 91913



                      Erika Hurtado
                      15986 DEL PRADO DR.
                      HACIENDA HEIGHTS, CA 91745



                      ERIKA LEWIS
                      5700 GARNET MEADOW ROAD
                      KNIGHTDALE, NC 27545



                      Erika Lopez
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                      222
                      DENVER, CO 80224



                      Erika Monsalve
                      224 RED MAPLE DR
                      KISSIMMEE, FL 34743



                      Erika Ramos
                      1378 Joliet St
                      El Cajon, CA 92019



                      Erika Rico
                      2390 Lucretia Av #1903
                      San Jose, CA 95122



                      Erika Rodriguez
                      9532 E. Catalina Hills Rd
                      Tucson, AZ 85748
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 741 of 2164




                      Erika Rutherford
                      1020 BIRCHWOOD CT
                      #1
                      LEESBURG, FL 34748



                      Erika Salstein
                      1851 RENAISSANCE BLVD
                      606
                      BOYNTON BEACH, FL 33426



                      Erika Topping
                      1828 E. HERMOSA DR
                      TEMPE, AZ 85282



                      Erika Valle
                      13988 FOOTHILL BLVD
                      10
                      SYLMAR, CA 91342



                      Erika Villalobos
                      15626 S 26 COURT
                      PHOENIX, AZ 85048



                      Erika Viramontes
                      121 N La Reina cir # 8
                      Anaheim, CA 92801



                      Erin Berg
                      575 S Parker
                      #d
                      Orange, CA 92868



                      Erin Gibbons
                      6316 BRISTOL WAY
                      LAS VEGAS, NV 89107
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 742 of 2164




                      Erin Holtzer
                      2080 ALUM ROCK AVE
                      309
                      SAN JOSE, CA 96116



                      Erin Machek
                      324 1st St. Ne
                      Rio Rancho, NM 87124



                      Erin O'Connell
                      3427 Pine Cone Cir
                      Clearwater, FL 33760



                      Erin O'leary
                      1314 Beacon Cove Ln
                      Powder Springs, GA 30127



                      Erin OHara
                      19238 NW 12 ST
                      PEMBROKE PINES, FL 33029



                      Erin Phelps
                      2166 N PANTANO RD.
                      214
                      TUCSON, AZ 85715



                      Erin Tibbatts
                      5825 WINDERMERE DR.
                      PALM HARBOR, FL 34685



                      Eris Vargas
                      2016 THIBODO RD
                      VISTA, CA 92081



                      Ernest Burns
                      521 East Taylor Ave APT4
                      Sunnyvale, CA 94085
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 743 of 2164




                      ERNEST BURNS
                      521 TAYLOR AVE
                      SUNNYVALE, CA 94085



                      Ernest Chavez
                      20600 SEINE
                      225
                      LAKEWOOD, CA 90715



                      Ernest Correa
                      1207 CEDAR POST LN
                      248
                      HOUSTON, TX 77055



                      ERNEST F MARIANI COMPANY
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                      SALT LAKE CITY, UT 84115



                      Ernest M. Chavez
                      20600 SEINE
                      225
                      LAKEWOOD, CA 90715



                      Ernest Ramirez
                      321 BLOSSOM HILL RD
                      3
                      SAN JOSE, CA 95123



                      Ernest Robinson
                      2505 ROYAL PLAM AVE
                      20
                      FORT MYERS, FL 33916



                      Ernestina Vasquez
                      905 ROSS AVE. S.E
                      ALBUQUERQUE, NM 87102
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 744 of 2164




                      Ernesto Avalos
                      1196 ORO VISTA RD
                      307
                      SAN DIEGO, CA 92154



                      Ernesto Ayala
                      1419 S Lowell
                      Santa Ana, CA 92707



                      Ernesto Beltran
                      738 Poinsettia Avenue
                      San Marcos, CA 92078



                      Ernesto Botello
                      370 NANCY LANE
                      SAN JOSE, CA 95127



                      Ernesto Bustamante
                      3160 BONITA RD
                      124
                      CHULA VISTA, CA 91910



                      Ernesto Carranza Carranza
                      572 S JASPER CT
                      CORNELIUS, OR 97113



                      Ernesto Fernandez
                      15630 SW 80ST
                      MIAMI, FL 33193



                      Ernesto Mata
                      13988 FOOTHILL BLVD
                      9
                      SYLMAR, CA 91342



                      Ernesto Navarrete
                      11484 SOUTHEAST 90TH AVENUE
                      1015
                      CLACKAMAS, OR 97086
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 745 of 2164




                      Ernesto Perez
                      12351 BROWN CT
                      CHINO, CA 91710



                      Ernesto Quintero
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                      #2
                      BERMUDA DUNES, CA 92203



                      Ernesto Vargas
                      989 Valencia
                      Apt #1
                      Costa Mesa, CA 92626



                      Ernesto Vega
                      632 N Wilmington Blvd
                      Apt 1
                      Wilmington, CA 90744



                      Ernie Fuentes
                      544 GREENBRIER DR.
                      8
                      OCEANSIDE, CA 92054



                      Ernie Ibarra
                      5752 BURNHAM
                      BUENA PARK, CA 90621



                      ERNST & YOUNG
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                      PITTSBURGH, PA 15264-0382



                      Ervenance Georges
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                      Palm Beach Gardens, FL 33410



                      Ervin Sunun
                      12512 Newbrook dr
                      Houston, TX 77072
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 746 of 2164




                      Eryn Schmdit
                      9555 N. YUKON ST.
                      WESTMINSTER, CO 80021



                      Esau Rocha
                      111 NTE MESA DRIVE
                      203
                      MESA, AZ 85201



                      ESCONDIDO ADVENTIST ACADEMY
                      1301 DEODAR
                      ESCONDIDO, CA 92026



                      ESCONDIDO CHRISTIAN SCHOOL
                      923 IDAHO AVE
                      ESCONDIDO, CA 92025



                      ESCONDIDO DEMOCRATIC CLUB
                      2576 HAMLIN COURT
                      ESCONDIDO, CA 92027



                      ESCONDIDO FIRE DEPARTMENT
                      1163 N CENTRE CITY PARKWAY
                      ESCONDIDO, CA 92026



                      ESCONDIDO HIGH SCHOOL
                      ESCONDIDO HIGH SCHOOL
                      1535 N BROADWAY
                      ESCONDIDO, CA 92026



                      Eshajn Petersen
                      3884mountain Veiw Rd
                      Kennesaw, GA 30152



                      ESHAJN PETERSEN
                      3884 MOUNTAIN VIEW RD
                      KENNESAW, GA 30152
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 747 of 2164




                      Esli Mensah-Adeniyi
                      2946 SOUTHWYCKE TERRACE
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                      Esmeralda Aguilar
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                      # 107
                      Houston, TX 77036



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                      26551 ROBIN WAY
                      #1
                      BONITA SPRINGS, FL 34135



                      ESMERALDA CONTRERAS
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                      BONITA SPRINGS, FL 34135



                      Esmeralda Diaz
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                      MIAMI, FL 33173



                      Esmeralda Espinal
                      7224 VIA COLINA
                      SAN JOSE, CA 95139



                      Esmeralda Gutierrez
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                      Stanton, CA 90680



                      Esmeralda Orozco
                      1258 BONNER AVE
                      FREMONT, CA 94536
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 748 of 2164




                      Esmeralda Vazquez
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                      Apt#32
                      San Diego, CA 92117



                      Esperanta Bien-aime
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                      CORAL SPRINGS, FL 33065



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                      Tucson, AZ 85730



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                      ESCONDIDO, CA 92025



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                      Esperanza G. Garcia Quintero
                      1971 CANYON OAKS CIRCLE
                      PITTSBURG, CA 94565



                      Esperanza Garcia Quintero
                      1971 CANYON OAKS CIRCLE
                      PITTSBURG, CA 94565



                      Esperanza Martinez
                      574 BEGONIA ST.
                      ESCONDIDO, CA 92027
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 749 of 2164




                      Esperanza Parrado
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                      Esperanza Rios
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                      Essity Professionals Hygiene
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                      PO BOX 3493
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                      Estate Scape Services




                      Esteban Alday
                      1805 N Spurgeon St
                      Apt #117
                      Santa Ana, CA 92706



                      Esteban Chavez
                      719 Sw 5 Street
                      Apt 3
                      Dania, FL 33004



                      Esteban Cruz-flores
                      1905 Maxson St
                      Oceanside, CA 92054
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 750 of 2164




                      Esteban Delacruz
                      1439 W 227 Th
                      Torrance, CA 90501



                      Esteban Figueroa
                      3752 Euclid Ave
                      San Diego, CA 92105



                      Esteban Gaitan
                      1494 Oro Vista Road
                      Apt 79
                      San Diego, CA 92154



                      Esteban Molina
                      1207 N. 48TH STREET
                      214
                      PHOENIX, AZ 85008



                      Esteban Serrano Morales
                      2607 N 36TH STREET
                      K106
                      PHOENIX, AZ 85008



                      Estefania Arteaga
                      23707 VIA CANON
                      204
                      NEWHALL, CA 91321



                      Estefania Henao
                      24515 Rosette Ln
                      Valencia, CA 91354



                      ESTEFANIA P. TIZON
                      15949 CHASE HILL BLVD
                      1002
                      SAN ANTONIO, TX 78256
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 751 of 2164




                      Estefania Tizon
                      15949 CHASE HILL BLVD
                      1002
                      SAN ANTONIO, TX 78256



                      Estefany Alvarado
                      60 BREAKER DR
                      BAY POINT, CA 94565



                      Estefany Benitez-arredondo
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                      San Diego, CA 92113



                      Estefany Padilla Salazar
                      863 PALM ST
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                      Estela Arias
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                      Estela Pena
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                      Bermuda Dunes, CA 92203



                      Estephanie Demosthene
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                      APT1177
                      ORLANDO, FL 32817



                      Estevan Mireles
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                      Apt. 614
                      Albertlea, MN 56007
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 752 of 2164




                      Esther Garcia
                      10520 BALBOA BLVD
                      19
                      GRANADA HILLS, CA 91344



                      ESTHER LINDSTROM PTA
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                      LAKEWOOD, CA 90713



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                      AURORA, CO 80017



                      Esther Pierre
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                      POMPANO BEACH, FL 33064



                      Esther Rosa
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                      Fort Lauderdale, FL 33325



                      Esther Sarpong
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                      Esther velazquez
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Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 753 of 2164




                      Estrella Gallegos
                      6524 ONYX ACT
                      ALBUQUERQUE, NM 87120



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                      8004 SE OVERLAND ST
                      MILWAUKIE, OR 97222



                      Ethan Bauer
                      16723 NW 16ST
                      PEMBROKE PINES, FL 33028



                      Ethan Hembree
                      1285 PARKWOOD CHASE NW
                      ACWORTH, GA 30102



                      Ethan I. Liu
                      707 CONTINENTAL CIRCLE
                      2132
                      MOUNTAIN VIEW, CA 94040



                      Ethan Kim
                      14236 SW 118TH COURT
                      TIGARD, OR 97224



                      Ethan Lee
                      1371 S MOONFLOWER LANE
                      TUCSON, AZ 85710



                      Ethan Liu
                      707 CONTINENTAL CIRCLE
                      2132
                      MOUNTAIN VIEW, CA 94040



                      ETHAN N. BAUER
                      16723 NW 16ST
                      PEMBROKE PINES, FL 33028
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 754 of 2164




                      Ethan Riggs
                      2734 MENDELIN STREET
                      APOPKA, FL 32703



                      Ethan Roofian
                      154 N WOODBURN DR.
                      LOS ANGELES, CA 90049



                      Ethan Ross
                      2521 S SANDPIPER PL
                      ONTARIO, CA 91761



                      Ethan Schumann
                      4501 E ROY ROGERS RD
                      CAVE CREEK, AZ 85331



                      Ethan Tagorda
                      11079 SE 64TH AVENU
                      MILWAUKIE, OR 97222



                      Ethan Thomas
                      418 NE 154TH STREET
                      VANCOUVER, WA 98685



                      Ethan Valenti
                      3301 23RD AVE W
                      BRADENTON, FL 34205



                      Ethan Van Alstyne
                      4127 36TH STREET
                      SAN DIEGO, CA 92104



                      Ethiopia Alebachew
                      3269 MEADOW POINT DR
                      SNELLVILLE, GA 30039
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 755 of 2164




                      Eudolia Barragan
                      1349 Bellingham Dr
                      San Jose, CA 95121



                      Eudoro Jassi-Sanabria
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                      LAS VEGAS, NV 89107



                      EUGALDO BENITEZ
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                      LAWRENCEVILLE, GA 30044



                      Eugene Darden
                      2661 COMMERCIAL STREET
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                      Eugenia Agustin
                      1624 W Auburn St
                      Mesa, AZ 85201



                      Eugenia Baker
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                      LA MESA, CA 91942



                      Eugenio Aguilar
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                      Apt #2
                      Tempe, AZ 85281



                      Eugenio Mays
                      1018 HEMINGWAY LANE
                      ROSWELL, GA 30075



                      Eugenio Ramirez
                      1577 E Benmore Ln
                      Apt 15
                      Anaheim, CA 92805
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 756 of 2164




                      Euin Lee
                      22344 BIRDS EYE DR.
                      DIAMOND BAR, CA 91765



                      Eulalio Reyes
                      19319 Fairgrange Key Lane
                      Houston, TX 77073



                      Eulogio Guzman
                      110 Nw Henry Dr
                      Beaverton, OR 97005



                      Eusebio Leal
                      352 S Monte Vista St
                      Apt. A
                      La Habra, CA 90631



                      Eva Cruz Castillo
                      1008 W HUNTINGTON DRIVE
                      APT 11
                      ARCADIA, CA 91001



                      Eva Johnson
                      10127 SE TALBERT ST.
                      10127
                      CLACKAMAS, OR 97015



                      Eva Mitreva
                      40 Goldenrod
                      Lake Forest, CA 92630



                      Eva Olivos
                      1361 BURWOOD ST.
                      LA HABRA, CA 90631



                      Eva Picazo
                      3710 W 84th Ave
                      Apt 73
                      Westminster, CO 80031
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 757 of 2164




                      Eva Portillo
                      8479 bronze lane
                      building 23
                      Highlands Ranch, CO 80126



                      Eva Tinajero-gonzalez
                      3733 Rainy River
                      Las Vegas, NV 89108



                      Evaliz Oyola
                      23RD AVE
                      17068
                      SUMMERFIELD, FL 34491



                      Evan Alonzo
                      12547 ASHFORD RIVER
                      HOUSTON, TX 77072



                      Evan Cahak
                      13422 ELMSGROVE LN.
                      HOUSTON, TX 77070



                      EVAN COMER
                      8450 MONTE VISTA ST
                      RANCHO CUCAMONGA, CA 91701



                      Evan Dyan
                      5909 Calvin Ave
                      Tarzana, CA 91356



                      Evan Edelstein
                      23722 SAN ESTABAN
                      MISSION VIEJO, CA 92691



                      Evan Evans
                      9450 Kaschube Way
                      Santee, CA 92071
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 758 of 2164




                      EVAN G. ALONZO
                      12547 ASHFORD RIVER
                      HOUSTON, TX 77072



                      Evan Hargitt
                      10343 CAROLINA WILLOW DRIVE
                      FORT MYERS, FL 33913



                      Evan Kofoid
                      9123 W Rice Ave
                      Littleton, CO 80123



                      Evan Le
                      224 JAPONICA AVE
                      NA
                      CAMARILLO, CA 93012



                      Evan Lee
                      25619 WALKER PLACE
                      STEVENSON RANCH, CA 91381



                      Evan Luebbert
                      4802 W 103RD PL
                      WESTMINSTER, CO 80031



                      Evan McDonald
                      1823 FIRESTONE DR
                      SAN DIEGO, CA 92026



                      EVAN MCGUIRE
                      2515 LONGMONT RD
                      VISTA, CA 92084



                      Evan Rowe
                      27426 BONAVENTURE DRIVE
                      NA
                      LAGUNA NIGUEL, CA 92677
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 759 of 2164




                      Evan Trine
                      721 SHARON DRIVE
                      LADY LAKE, WI 32159



                      Evan Weidele
                      13384 Gabilan Rd
                      Rancho Bernardo, CA 92128



                      Evangelina Gutierrez
                      100 W MIDWAY
                      ANAHEIM, CA 92805



                      Evangelina Rios
                      1623 Waterstone Pl
                      San Ramon, CA 94582



                      Evelia Delgadillo
                      8087 N Poplar Ave
                      Apt 106
                      Fresno, CA 93711



                      Evelin Cruz
                      1115 GAMBLE LANE
                      ESCONDIDO, CA 92029



                      Evelio Mora ramirez
                      10418 moraine lake dr
                      Humble, TX 77396



                      Evelyn Copado




                      Evelyn Gonzalez
                      4169 WILLIMET AVENUE
                      LOS ANGELES, CA 90039
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 760 of 2164




                      Evelyn Navarro
                      750 ELMIRA STREET
                      PASADENA, CA 91104



                      Evelyn Pineda
                      3941 Grandon Ave
                      San Marcos, CA 92078



                      Evelyn Rocha
                      435 CLIFTON AVE
                      7
                      SAN JOSE, CA 95128



                      Evelyn Tinajero Barragan
                      1349 BELLINGHAM DR
                      SAN JOSE, CA 95121



                      Evelyna Castillo
                      1201 W THORNTON PKWY
                      49
                      THORNTON, CO 80260



                      Evelynn Vazquez-Gutierrez
                      110 S BALCOM AVE
                      APT. 16
                      FULLERTON, CA 92831



                      Even Vela
                      18255 BERMUDA ST
                      NORTHRIDGE, CA 91326



                      Ever Viana
                      814 S PRIMROSE AVE
                      RIALTO, CA 92376



                      Everardo Delgado
                      14701 E COLFAX
                      E60
                      AURORA, CO 80011
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 761 of 2164




                      EVERBRITE WEST LLC
                      FLUORESCO SERVICES LLC
                      5505 S NOGALES HWY
                      TUCSON, AZ 85706



                      Everclean




                      Everold Tillett
                      924 N INGLEWOOD AVE
                      #5
                      INGLEWOOD, CA 90302



                      EVERSOFT INC
                      PO BOX 92769
                      LONG BEACH, CA 90809



                      Evgeny Berezhnov
                      910 DEL DIOS
                      #5
                      ESCONDIDO, CA 92029



                      Evinnier Santos
                      6221 Bellota Drive
                      #D
                      Las Vegas, NV 89108



                      EVO DOOR AND WINDOW LLC
                      6250 N MILITARY TRAIL STE 204
                      WEST PALM BEACH, FL 33407



                      Evyn Johnson
                      10044 LARWIN AVE.
                      #4
                      CHATSWORTH, CA 91311



                      Exante Jean Bapiste
                      2335 Greene St Build 63 apt 4
                      Hollywood, FL 33020
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 762 of 2164




                      EXCEL CONSTRUCITON SERVICES INC
                      1950 RAYMER AVE
                      FULLERTON, CA 92833



                      EXCEL MECHANICAL SYSTEMS INC
                      2761 W OXFORD AVE UNIT 6
                      SHERIDAN, CO 80110



                      EXTRA SPACE STORAGE INC
                      4801 SAN MATEO BLVD NE
                      ALBUQUERQUE, NM 87109



                      Ez'ra Clay
                      212 Campus St
                      Glendale, CA 91205



                      Ezabelle El-Hajj
                      17263 SE BLACKBURN ST.
                      DAMASCUS, OR 97089



                      Ezaria Swift
                      385 CORAL BEACH CIRCLE
                      CASSELBERRY, FL 32707



                      Ezekiel Mussi
                      2200 Godby Road
                      G-3
                      College Park, GA 30349



                      Ezekiel Williams
                      3727 10TH STREET W
                      3727
                      LEHIGH, FL 33971



                      Ezequiel Espinoza
                      4832 MAHOGANY VISTA LN
                      SAN DIEGO, CA 92102
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 763 of 2164




                      Ezequiel Nunez
                      1310 ASTOR COMMONS PL BRANDON
                      APT.303
                      TAMPA, FL 33511



                      Ezequiel Perez
                      2512 W CHERRY ST
                      B
                      TAMPA, FL 33607



                      Fabian Gonzalez
                      4294 N HUGHES AVE
                      281
                      FRESNO, CA 93705



                      Fabian Guerrero
                      1012 Lynwood Dr
                      Brea, CA 92821



                      Fabian Huizar
                      4921 W. 66th Ave.
                      Arvada, CO 80003



                      Fabian Peraza
                      179 N 13th Ave
                      Upland, CA 91786



                      Fabio Castillo
                      525 VICTORIA ST
                      73
                      COSTA MESA, CA 92627



                      Fabio Quintanilla
                      18151 E Valley Blvd.
                      SPC 16
                      La Puente, CA 91744
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 764 of 2164




                      Fabiola Gutierrez
                      2239 E. Paradise Ln.
                      Phoenix, AZ 85022



                      Fabiola Morales
                      435 e.9th ave
                      apt2
                      Mesa, AZ 85204



                      Fabiola Renteria
                      1413 1/2 253RD ST
                      HARBOR CITY, CA 90710



                      Fabri-Kal Corporation
                      22978 Network Place
                      Chicago, IL 60673-1229



                      FABRI-KAL CORPORATION
                      600 PLASTICS PLACE
                      KALAMAZOO, MI 49001



                      Fabrizzio Perez
                      680 EVERGREEN LN
                      36
                      PORT HUENEME, CA 93041



                      Facchino La Barbera Bernal Plaza, LLC
                      873 Blossom Hill Rd.
                      San Jose, CA 95123



                      FACCHINO LABARBERA BERNAL PLAZA LLC
                      873 BLOSSOM HILL ROAD
                      SAN JOSE, CA 95123



                      FACE PAINTING PLUS MORE INC
                      2311 CENTER STONE LN
                      RIVIERA BEACH, FL 33404
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 765 of 2164




                      FACILITY SOLUTIONS GROUP LLC
                      4401 WESTGATE BLVD STE 310
                      AUSTIN, TX 78745



                      FACILITY SOLUTIONS GROUP LLC
                      4401 WESTGATE BLVD STE 310
                      AUSTIN
                      TX, 78745



                      FACILITY SOLUTIONS INC
                      19015 E 14 MILE RD
                      CLINTON TOWNSHIP, MI 48035



                      FACTORY FAST PITCH
                      2860 GLEN CANYON CIRCLE
                      SPRING VALLEY, CA 91977



                      Fadjuli Civil
                      23237 SW 61 AVE
                      BOCA RATON, FL 33428



                      Fahim Haque
                      28218 OAKLAR DR.
                      SAUGUS, CA 91350



                      Fahimeh hekmatian
                      2723 AVENIDA DE ANITA
                      102
                      CARLSBAD, CA 92010



                      FAIRFIELD INCOME TAX
                      701 WESSEL DRIVE
                      FAIRFIELD, OH 00045-0140



                      Faith Adkinson
                      2365 FULTON STREET
                      AURORA, CO 80010
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 766 of 2164




                      Faith Binford
                      313 CHASE COMMON DRIVE
                      313
                      NORCOSS, GA 30071



                      Faith Conant
                      44694 MUMM ST
                      TEMECULA, CA 92592



                      Faith Gadson
                      40020 Gray's Airport Rd.
                      Lady Lake, FL 32159



                      Faith Oreshoski
                      2849 SE 67TH AVE
                      PORTLAND, OR 97206



                      Falah Altaee
                      4801 BAKER GROVE ROAD NW
                      1203
                      ACWORTH, GA 30101



                      FALCON COVE MIDDLE SCHOOL
                      4251 BONAVENTURE BLVD
                      WESTON, FL 33332



                      FALCONS BASEBALL BOOSTER CLUB INC
                      PO BOX 824621
                      PEMBROKE PINES, FL 33082



                      Falguni Patel
                      3071 Seafield Ct
                      San Jose, CA 95148



                      Falyn Biedermann
                      14605 Kalapana Street
                      Poway, CA 92064
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 767 of 2164




                      Falyn McCombs
                      7060 LAFAYETTE N
                      PINELLAS PARK, FL 33781



                      FAMILY PROMISE OF SOUTH PALM B
                      840 GEORGE BUSH BLVD BLDG D
                      DELRAY BEACH, FL 33483



                      Fanex Dorvil
                      5998 Triphammer Rd
                      Lake Worth, FL 33463



                      Fani palacios jaimes
                      3333 NYELAND AVE
                      OXNARD, CA 93036



                      Fannie Fleck
                      230 SE 188th Ave
                      #144
                      Portland, OR 97223



                      Fanny Andres
                      3218 Impala Dr.
                      11
                      San Jose, CA 95117



                      Fany Rushford
                      123 FAIRPLAY AVE
                      BROOMFIELD, CO 80020



                      Farah Ahmed
                      19066 LUDLOW ST
                      PORTER RANCH, CA 91326



                      Farah militello
                      15857 LEMARSH ST
                      NORTH HILLS, CA 91343
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 768 of 2164




                      Faraz Ebrahim
                      1040 CHASEWOOD TRAIL
                      ALPHARETTA, GA 30005



                      Farbel Lopez
                      2058 E Hatchway St
                      Compton, CA 90222



                      Farhang Ghaibi
                      12667 Everston Rd
                      San Diego, CA 92128



                      Fariba Pouraziz
                      39078 GUARDINO DR.
                      107
                      FREMONT, CA 94538



                      Faris Mahayni
                      535 GUILDHALL PL
                      ALPHARETTA, GA 30022



                      Farzaneh Khotanifar
                      530 VETERAN AVE
                      304 A
                      LOS ANGELES, CA 90024



                      FASSV
                      1522 LEWISTON DRIVE
                      SUNNYVALE, CA 94087



                      FAST DOLPHINS
                      4642 SIERRAWOOD LANE
                      PLEASANTON, CA 94588



                      FAST DOLPHINS
                      4642 SIERRAWOOD LANE
                      PLEASANTON
                      CA, 94588
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 769 of 2164




                      FASTMED URGENT CARE PC
                      935 SHOTWELL RD STE 108
                      CLAYTON, NC 27520-5598



                      Fastsigns - 40811
                      Viswam Bala Enterprises, Inc
                      440 Ernest W. Barret Pkwy
                      SUITE 33
                      Kennesaw, GA 30144



                      Fastsigns Moreno Valley
                      23209 Sunnymead Blvd
                      Moreno Valley, CA 92553



                      FATHER GREG BOYLE
                      130 BRUNO W BRUNO ST
                      LOS ANGELES, CA 90012



                      Fatima Carbonell
                      9621 Corona Street
                      Miramar, FL 33025



                      Fatima Elghazali
                      1430 STARBUCK ST.
                      FULLERTON, CA 92833



                      Fatima Escobedo
                      3016 30th st sw
                      Lehigh Acres, FL 33976



                      Fatima Garcia Gonzalez
                      1558 SOUTH REDWOOD ST
                      ESCONDIDO, CA 92025



                      FATIMA JANET SANTIAGO GARCIA
                      7501 BRISA DEL MAR AVE
                      UNIT 251
                      LAS VEGAS, NV 89179
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 770 of 2164




                      Fatima Martinez
                      1308 S SYCAMORE ST
                      SANTA ANA, CA 92707



                      Fatima Romero
                      499 N. FAIR OAKS
                      SUNNYVALE, CA 94085



                      Fatima Santiago Garcia
                      7501 Brisa Del Mar Avenue
                      Las Vegas, NV 89179



                      Fatima Varela
                      2282 W COLCHESTER DR
                      #C
                      ANAHEIM, CA 92804



                      Faunise Abraham
                      4695 Nw Nw 6th Ct
                      Delray Beach, FL 33445



                      Fausta Lugo Bojorquez
                      9071 Dallas Street
                      Apt. B 48
                      La Mesa, CA 91942



                      Fausto Juarez
                      1202 South Broadway
                      Santa Ana, CA 92707



                      FAUSTO LUNA
                      1191 GRAYSON PKWY
                      GRAYSON, GA 30017



                      Faviola Lozano
                      360 N ARROYO GRANDE BLVD
                      428
                      HENDERSON, NV 89014
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 771 of 2164




                      FAY GALLOWAY PTA
                      697 COASTAL LAGOON ST
                      HENDERSON, NV 89002



                      Fazela Raofi
                      2220 HARTFORD STREET
                      SAN DIEGO, CA 92110



                      FBM GALAXY INC
                      PO BOX 744398
                      ATLANTA, GA 30374-4398



                      FCPS
                      PO BOX 55570
                      LEXINGTON, KY 40555-5570



                      FCS INC
                      3813-126TH AVE N #13
                      CLEARWATER, FL 33762



                      FEA SERVICE LLC
                      1800 E MIRALOMA AVE STE H
                      PLACENTIA, CA 92870



                      FEA SERVICE LLC
                      1800 E MIRALOMA AVE STE H
                      PLACENTIA
                      CA, 92870



                      FEDERAL EXPRESS CORP
                      PO BOX 94515
                      PALATINE, IL 60094-4515



                      FEDERAL EXPRESS CORP
                      P.O. BOX 1140
                      MEMPHIS, TN 38101-1140
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 772 of 2164




                      FEDERAL EXPRESS CORP
                      PO BOX 371461
                      PITTSBURGH, PA 15250-7461



                      FEDERAL EXPRESS CORP
                      PO BOX 406708
                      ATLANTA, GA 30384-6708



                      FEDERAL EXPRESS CORP
                      4103 COLLECTION CENTER DRIVE
                      CHICAGO, IL 60693



                      FEDERAL EXPRESS CORP
                      P.O. BOX 660481
                      DALLAS, TX 75266-0481



                      FEDERAL EXPRESS CORP
                      PO BOX 7221
                      PASADENA, CA 91109-7321



                      Federal Express Corp.
                      P.O. Box 7221
                      Pasadena, CA 91109-7321



                      Federal Express Corp.
                      P.O. Box 7221
                      Pasadena
                      CA, 91109-7321



                      FEDERAL EXPRESS INC
                      INFOSYNC ACCOUNT
                      WICHITA, KS



                      FEDERAL EXPRESS INC
                      INFOSYNC ACCOUNT
                      WICHITA
                      KS, 00000-0000
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 773 of 2164




                      FEDERAL HEATH SIGN CO LLC
                      DEPT 41283
                      PO BOX 650823
                      DALLAS, TX 75265



                      FEDERAL REALTY INVESTMENT TRUST
                      PO BOX 8500-9320
                      C/O FEDERAL REALTY - #194 -194
                      PHILADELPHIA, PA 19178-9320



                      Federico Altamirano
                      11850 N 19TH AVE
                      134
                      PHOENIX, AZ 85029



                      Federico Arevalo
                      1108 W 8TH ST
                      ANTIOCH, CA 94509



                      Federico Bazan
                      1007 HOWARD AVE
                      36
                      ESCONDIDO, CA 92029



                      Federico Caceres
                      5615 WINCHESTER ST.
                      SAN DIEGO, CA 92139



                      Federico Gonzalez
                      6035 N. Selland Ave
                      Fresno, CA 93711



                      FEDERIGHI DESIGN LLC
                      3423 REGATTA BLVD
                      RICHMOND, CA 94804-4594



                      Fedex Freight
                      Dept LA PO Box 21415
                      Pasadena, CA 91185-1415
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 774 of 2164




                      FEDEX FREIGHT
                      DEPT LA
                      PO BOX 21415
                      PASADENA, CA 91185-1415



                      Fedex Kinko'S
                      Customer Administrative Ser.
                      P.O. BOX 672085
                      Dallas, TX 75267-2085



                      FEDEX KINKOS
                      CUSTOMER ADMINISTRATIVE SERVIC
                      PO BOX 672085
                      DALLAS, TX 75267-2085



                      FEEDING AMERICA INC
                      35 E WACKER DR
                      CHICAGO, IL 60601



                      Felicia Esquivel
                      325 E. BRADLEY
                      152
                      EL CAJON, CA 92021



                      FELICIA KAOHN
                      14871 VAN GUARD LANE
                      HUNTINGTON BEACH, CA 92647



                      Felicia Reid
                      1835 N 51ST STREET
                      205
                      PHOENIX, AZ 85008



                      Felicia Warner
                      826 103 Ave N
                      Naples, FL 34108
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 775 of 2164




                      Feliciano Gallegos
                      41879 Skywood Dr
                      Temecula, CA 92591



                      Feliciano Mendez
                      1610 N Broadway
                      #111
                      Santa Ana, CA 92706



                      Felicitas Abarca
                      4348 E. Lynne Lane
                      Phoenix, AZ 85040



                      Felicitas Miranda
                      10335 W Keene Ave
                      Lakewood, CO 80235



                      Felicity Carter
                      3603 KASNER CT
                      KENNESAW, GA 30144



                      Felicity Deyarmon
                      10524 Green Ford
                      San Diego, CA 92126



                      Felicity Hibbler
                      1655 N.HERMITAGE RD
                      FORT MYERS, FL 33919



                      Felipe Apolinar
                      2085 NEWTON AVE
                      132
                      SAN DIEGO, CA 92113



                      Felipe Garcia
                      589 BUCKEYE DRIVE
                      SAN JOSE, CA 95111
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 776 of 2164




                      felipe gonzalez
                      103 JUSTIN DUKE CT.
                      WINDER, GA 30680



                      Felipe Gutierrez
                      5435 EAGLES LANE
                      APT 1
                      SAN JOSE, CA 95123



                      Felipe J. Maestas
                      1336 STARHAVEN ST.
                      DUARTE, CA 91010



                      Felipe Macias
                      3233 Fescue Circle
                      Lawrenceville, GA 30044



                      Felipe Maestas
                      1336 STARHAVEN ST.
                      DUARTE, CA 91010



                      Felipe Martinez
                      6318 N. 65th Dr.
                      Apt 222
                      Glendale, AZ 85301



                      Felipe Navarrete
                      6396 Poplar St
                      Adams City, CO 80022



                      Felix Basurto
                      551 W Alton Ave apt # A
                      Santa Ana, CA 92707



                      Felix Cazares
                      260 N. MIDWAY DR.
                      A6
                      ESCONDIDO, CA 92027
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 777 of 2164




                      FELIX RESTREPO
                      7173 REGINA WAY
                      ORLANDO, FL 32819



                      Felix Serrano
                      8748 FERNDALE ST
                      SAN DIEGO, CA 92126



                      Felix Ware
                      6427 CHANDLER DRIVE
                      SAN DIEGO, CA 92117



                      Felix Woo
                      929 SEENA AVENUE
                      LOS ALTOS, CA 94024



                      Felsitta ERIACHO
                      303 ALVARADO DR SE
                      16
                      ALBUQUERQUE, NM 87108



                      Fenide Joseph
                      1012 NW 7th Street
                      Boynton Beach, FL 33426



                      FERN ELEMENTARY PTA
                      1314 FERN AVE
                      TORRANCE, CA 90503



                      FERN ELEMENTARY PTA
                      1314 FERN AVE
                      TORRANCE
                      CA, 90503



                      FERNALD CENTER EDMUND HUANG
                      101 BELLAGIO DR
                      ERIKA VASQUEZ
                      LOS ANGELES, CA 90095
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 778 of 2164




                      Fernand Pierre
                      764 Nw 43rd St
                      Apt A
                      Fort Lauderdale, FL 33309



                      Fernanda Rodriguez
                      5119 VERDENBRUK DR
                      HOUSTON, TX 77066



                      Fernando Alvarado
                      1181 Granger St
                      Imperial Beach, CA 91932



                      Fernando Arvizu
                      15815 HIGHKNOLL DR.
                      APT. 98
                      CHINO HILLS, CA 91709



                      Fernando Avellaneda
                      12807 SUNSET DUNE DR.
                      HOUSTON, TX 77082



                      Fernando Barriga
                      1543 Armacost Ave
                      #3
                      Los Angeles, CA 90025



                      Fernando Calderon
                      5815 W VISTA AVE
                      GLENDALE, AZ 85301



                      Fernando Cardenas
                      44720 Palo Verde St
                      Apt 64
                      Indio, CA 92201
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 779 of 2164




                      Fernando Casas
                      5707 BALTIMORE DR
                      44
                      LA MESA, CA 91942



                      Fernando Ceniceros
                      2131 18th street
                      San Diego, CA 91950



                      Fernando Cerecer
                      1850 Batson
                      Apt 202
                      Rowland Heights, CA 91748



                      Fernando Ceron
                      1353 S MAPLE ST.
                      14
                      ESCONDIDO, CA 92025



                      FERNANDO CERON
                      1353 S MAPLE ST 14
                      ESCONDIDO,, CA 92025



                      Fernando Chavez
                      4457 Mayberry St
                      San Diego, CA 92113



                      Fernando Contreras
                      14710 DOTY AVE
                      HAWTHORNE, CA 90250



                      Fernando Covarrubias
                      7948 RAVENWOOD CIRCLE
                      754
                      HOUSTON, TX 77055



                      Fernando Diaz
                      16318 EDGEMONT DR
                      HOUSTON, TX 77053
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 780 of 2164




                      Fernando Diaz
                      4058 DELAWARE DR
                      FREMONT, CA 94538



                      Fernando Duran
                      1141 broad ave
                      Apt. 8
                      Wilmington, CA 90744



                      Fernando Enriquez
                      500 Sabal Palm Cir
                      Apt 669
                      Altamonte Springs, FL 32701



                      Fernando Estrada
                      15758 SE HWY 224 unit #17
                      Damascus, OR 97089



                      Fernando Fuentes
                      871 S. Durham St.
                      La Habra, CA 90631



                      Fernando Garduno
                      660 MARIPOSA AVE
                      204
                      MOUNTAIN VIEW, CA 94041



                      Fernando Guerrero
                      80 Seaspray N
                      Laguna Niguel, CA 92677



                      Fernando hernandez
                      4057 BAYWOOD ST
                      LOS ANGELES, CA 90030



                      Fernando Meza
                      9367 8TH ST
                      RANCHO CUCAMONGA, CA 91730
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 781 of 2164




                      FERNANDO MOLINA
                      117 N 9TH ST
                      IMMOKALEE, FL 34142



                      Fernando Ortiz
                      3277 S EVANSTON ST
                      3277
                      AURORA, CO 80014



                      Fernando Partida
                      418 TREMONT ST
                      CHULA VISTA, CA 91911



                      Fernando Rodriguez
                      2135 SHADOWDALE DR
                      APT 136
                      HOUSTON, TX 77043



                      Fernando Rodriguez
                      925 S MALDEN AVE
                      #4
                      FULLERTON, CA 92832



                      Fernando Salgado
                      2885 Fairview B203
                      Costa Mesa, CA 92626



                      Fernando Suarez
                      4275 48TH ST
                      5
                      SAN DIEGO, CA 92115



                      Fernando Terrazas
                      5030 hayter ave
                      Lakewood, CA 90712
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 782 of 2164




                      Fernando Torres
                      13921 TUSTIN EAST DRIVE
                      79
                      TUSTIN, CA 92780



                      Fernando TORRES
                      330 E 10TH AVE
                      201
                      DENVER, CO 80203



                      Feruz Mirza-aliev
                      142 W. Dana St.
                      Apt. A
                      Mountain View, CA 94041



                      Fetene Moti
                      1750 STOKES ST APT 92
                      SAN JOSE, CA 95126



                      FFCC RBHS FAH IN MEMO
                      16266 AVENIDA VENUSTO #E
                      SAN DIEGO, CA 92128



                      FHE PTA
                      2330 CENTER PLACE
                      EL CAJON, CA 92020



                      FHS BAND BOOSTER CLUB
                      1279 SUNNYVALE SARATOGA RD
                      SUNNYVALE, CA 94087



                      Fidel Ramirez
                      233 S Kenmore Ave
                      207
                      Bardstown, CA 90004



                      Fidelia Herrera
                      767 LAKEKNOLL DR
                      SUNNYVALE, CA 94089
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 783 of 2164




                      FIELD PTA
                      4375 BANNOCK AVE
                      FIELD ELEMENTARY SCHOOL
                      SAN DIEGO, CA 92117



                      FIESTA MART LLC
                      5235 KATY FREEWAY
                      HOUSTON, TX 77007



                      Fiesta Pacific Products
                      1488 Corporate Center Dr
                      San Diego, CA 92154



                      Fikre Cheney
                      15402 SOUTH 45TH STREET
                      PHOENIX, AZ 85044



                      FIL AM CULTURAL ORGANIZATION
                      PO BOX 6276
                      OCEANSIDE, CA 92052



                      FIL AM CULTURAL ORGANIZATION
                      PO BOX 6276
                      OCEANSIDE
                      CA, 92052



                      Filip Shapovalov
                      13997 SE 153RD DR
                      CLACKAMAS, OR 97015



                      FINANCE OFFICER WARREN CO SCHOOLS
                      WARREN CO SCHOOLS OCCUP TAX
                      PO BOX 890947
                      CHARLOTTE, NC 28289



                      FINANCIAL INFORMATION TECHNOLOGIES INC
                      7702 WOODLAND CENTER BLVD #50
                      TAMPA, FL 33614
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 784 of 2164




                      Finau Namoa
                      669 HERMITAGE PL
                      SAN JOSE, CA 95134



                      FINDLEY PTO
                      3851 NW BANFF DRIVE
                      PORTLAND, OR 97229



                      Fiona Wagner
                      4015 SE MONROE ST.
                      MILWAUKIE, OR 97222



                      Fiona Weber
                      13472 E ASBURY DR
                      AURORA, CO 80014



                      FIRE ALARM SPECIALISTS INC
                      4945 SW 74TH COURT
                      MIAMI, FL 33155



                      FIRE KING COMMERCIAL SERVICES LLC
                      2789 SOLUTION CENTER
                      CHICAGO, IL 60677-2007



                      FIRE KING COMMERCIAL SERVICES LLC
                      2789 SOLUTION CENTER
                      CHICAGO
                      IL, 60677-2007



                      FIRE KING SECURITY PRODUCTS
                      101 SECURITY PARKWAY
                      NEW ALBANY, IN 47150



                      FIRE MASTER
                      DEPT 1019
                      PO BOX 121019
                      DALLAS, TX 75312-1019
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 785 of 2164




                      FIRE SERVICE PLUS INC
                      4525 INDUSTRIAL ST UNIT 3D
                      SIMI VALLEY, CA 93063



                      FIRE SYSTEM SOLUTIONS INC
                      4277 W RICHERT 103
                      FRESNO, CA 93722



                      Fireside Natural Gas LLC
                      2655 Dalles Hwy Ste 210
                      Marietta, GA 30064



                      FIRESIDE NATURAL GAS LLC
                      2655 DALLAS HWY STE 210
                      MARIETTA, GA 30064



                      First Advantage
                      PO BOX 404064
                      ATLANTA, GA 30384



                      FIRST ADVANTAGE BACKTRACK REPORTS LLC
                      PO BOX 277689
                      ATLANTA, GA 30384-7689



                      First Advantage Ohs
                      Po Box 404064
                      Atlanta, GA 30384



                      FIRST CITY PAINTING INC
                      18460 S HOLLY LANE
                      OREGON CITY, OR 97045



                      FIRST INSURANCE FUNDING CORP
                      POBOX 7000
                      CAROL STREAM, IL 60197-7000
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 786 of 2164




                      FIRST LUTHERAN SCHOOL
                      1300 E COLORADO ST
                      GLENDALE, CA 91205



                      First Source Llc
                      Po Box 515717
                      Los Angeles, CA 90051-5717



                      FIRST SOURCE LLC
                      8825 MERCURY LANE
                      PICO RIVERA, CA 90660



                      FIRST UU CHURCH OF SAN DIEGO
                      4190 FRONT STREET
                      ATTN CHURCH ADMIN
                      SAN DIEGO, CA 92103



                      Fish Window
                      KEVIN PAIGE ENTERPRISES LLC
                      6107 SW MURRAY BLVD 217
                      BEAVERTON, OR 97008



                      Fishbowl
                      PO BOX 740513
                      ATLANTA, GA 30374-0513



                      FISHBOWL INC
                      PO BOX 740513
                      ATLANTA, GA 30374-0513



                      Fisher Jones
                      312 E SOUTH FORK DRIVE
                      HUDSON, OH 44236



                      Fisher Shakiera
                      3572 E 8TH STREET
                      LOS ANGELES, CA 90023
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 787 of 2164




                      Fito Chery
                      3215 EL PRIMO WAY
                      ORLANDO, FL 32806



                      FITZ INTERMEDIATE
                      FITZ INTERMEDIATE
                      4600 W MCFADDEN STREET
                      SANTA ANA, CA 92714



                      Five Star Refrigeration
                      23091 CORTEZ BLVD
                      BROOKSVILLE, FL 34601



                      FL DEPT OF EDUCATION
                      PO BOX 865435
                      WAGE GARNISHMENT UNIT
                      ORLANDO, FL 32886



                      FLAMINGO POINTE PARTNERS LLC
                      9516 W FLAMINGO ROAD #300
                      LAS VEGAS, NV 89147



                      FLEISHMAN HILLARD INC
                      PO BOX 771733
                      ST LOUIS, MO 63177



                      FLETCHER AYCOCK
                      5829 ARROWOOD LANE
                      RALEIGH, NC 27606



                      Fletcher Clark
                      110 MCKAY BLVD
                      SANFORD, FL 32771



                      Fletcher Goetzinger
                      152 N ORANGE AVE
                      BREA, CA 92821
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 788 of 2164




                      FLETCHER HILLS ELEMENTARY PTA
                      2330 CENTER PLACE
                      EL CAJON, CA 92020



                      FLETCHER HILLS KIWANIS CLUB
                      1334 SWALLOW DRIVE
                      EL CAJON, CA 92020



                      FLOORMAX DIRECT LLC
                      7701 DERRY ST
                      HARRISBURG, PA 17111



                      Floors Galore
                      JENNIFER SALSIBURG ANGELTOW
                      4201 W SAILBOAT DR
                      COOPER CITY, FL 33026



                      Flor Cecenas
                      4097 s fundy way
                      Aurora, CO 80013



                      Flor Higuera
                      903 Lombart Court
                      Costa Mesa, CA 92626



                      Florana Arthur
                      3120 CONGRESS PARK DR
                      1225
                      LAKE WORTH, FL 33461



                      Florante Naguit
                      5450 MONTEREY HWY
                      SPACE 142
                      SAN JOSE, CA 95111



                      FLORDIA INTERNATIONAL UNIVERSITY BOARD O
                      11200 SW 8TH ST CSC319
                      MIAMI, FL 33199
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 789 of 2164




                      FLORENCE BIXBY ELEMENTARY
                      5251 E STEARNS ST
                      LONG BEACH, CA 90815



                      Florencia Bellot
                      2330 CHARLESTON ST
                      HOLLYWOOD, FL 33020



                      Florencia Luna
                      2021 W. Dakota Ave apt#150L
                      Fresno, CA 93705



                      Florencia Martin
                      224 Glasgow Ct
                      Davenport, FL 33897



                      Florencio Posadas
                      23811 RED SKY
                      HOUSTON, TX 77373



                      Florentino Gonzalez
                      156 W. 111 ST
                      LOS ANGELES, CA 90061



                      Florestal Annesia
                      4352 Foss Rd
                      Lake Worth, FL 33467



                      Florette Laguerre
                      6148 Roxburg Ave.
                      Orlando, FL 32809



                      FLORIDA CITY GAS
                      PO BOX 5410
                      CAROL STREAM, IL 60197
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 790 of 2164




                      FLORIDA CUTLERY & FOOD EQUIPMENT
                      PO BOX 741535
                      ORANGE CITY, FL 32774-1535



                      FLORIDA DEPARTMENT OF REVENUE
                      UNEMPLOYMENT TAX
                      5050 W. TENNESSEE STREET
                      TALLAHASSEE, FL 03239-9180



                      FLORIDA DEPARTMENT OF STATE
                      2661 EXECUTIVE CENTER CIRCLE
                      TALLAHASSEE, FL 32301



                      FLORIDA DEPT OF AGRICULTURE
                      PO BOX 6720
                      TALLAHASSEE, FL 32314-6720



                      FLORIDA DEPT OF FINANCIAL SVCS DIV OF ST
                      PO BOX 6100
                      REVENUE PROCESSING SECT BOILER
                      TALLAHASSEE, FL 32314-6100



                      FLORIDA DEPT OF REVENUE
                      FLORIDA DEPARTMENT OF REVENUE
                      5050 W. TENNESSEE ST.
                      TALLAHASSEE, FL 32399-6586



                      FLORIDA DEPT OF REVENUE
                      CORPORATE COLLECTIONS
                      BONHAM BUILDING 5050 W TENNESSEE STREET
                      TALLAHASSEE, FL 32399-0135



                      FLORIDA DREAM CENTER
                      4017 56TH AVE N
                      ST PETERSBURG, FL 33714



                      FLORIDA NATURAL GAS
                      PO BOX 934726
                      ATLANTA, GA 31193-4726
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 791 of 2164




                      FLORIDA PUBLIC UTILITIES
                      PO BOX 2137
                      SALISBURY, MD 21802-2137



                      FLORIDA PUBLIC UTILITIES
                      PO BOX 2137
                      SALISBURY
                      MD, 21802-2137



                      FLORIDA SAFE & LOCK CO
                      2209 SPRING LAKE CIRCLE
                      SAINT CLOUD, FL 34771



                      FLORIDA SOFT WATER
                      3899 MANNIX DRIVE #425
                      NAPLES, FL 34114



                      FLORIDA STATE DISBURSEMENT UNIT
                      PO BOX 8500
                      TALLAHASSE, FL 32314



                      FLORIDA STATE DISBURSEMENT UNIT
                      PO BOX 8500
                      TALLAHASSE
                      FL, 32314



                      Florinda Jimenez cruz
                      6643 E MONTEREY WAY
                      #A
                      SCOTTSDALE, AZ 85251



                      FLOYD C BERNARD JR
                      3910 CHAPMAN STREET #A
                      C/O TBRE INC
                      SAN DIEGO, CA 92110



                      Floyd Howell
                      7870 E VICTORIA DR
                      TUCSON, AZ 85730
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 792 of 2164




                      FLUID INTEGRITY LLC
                      7205 GILPIN WAY UNIT#130
                      DENVER, CO 80229



                      Fluke Electronics Corporation
                      7272 Collection Center Dr
                      Chicago, IL 60693



                      FLYING HILLS PTO
                      1251 FINCH ST
                      EL CAJON, CA 92020



                      FMW GROUP INC
                      PO BOX 1264
                      LOOMIS, CA 95650



                      FOH Inc
                      Front of the House
                      9315 Park Drive
                      Miami Shores, FL 33138



                      FOOD FOR LIFE NETWORK INC
                      3801 BISCAYNE BLVD STE 220
                      MIAMI, FL 33137



                      FOOD SERVICE INDUSTRY
                      CONSULTANTS INC
                      1465 KELLY JOHNSON BLVD #200
                      COLORADO SPRINGS, CO 80920



                      FOOD SERVICE PARTS
                      PO BOX 845749
                      LOS ANGELES, CA 90084-5749



                      FOOD SERVICE PARTS
                      11958 MONARCH ST
                      GARDEN GROVE, CA 92841
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 793 of 2164




                      FOOTHILL ATHLETIC BOOSTER
                      4375 FOOTHILL RD
                      PLEASANTON, CA 94588



                      FOOTHILL BUSINES ASSOCIATION
                      PO BOX 512989
                      C/O MERIT PAROPERTY MANAGEMENT
                      LOS ANGELES, CA 90051-0989



                      FOOTHILL HIGH SCHOOL
                      4375 FOOTHILL ROAD
                      PLEASANTON, CA 94588



                      FOOTHILL LOCK AND KEY INC
                      1761 E WASHINGTON BLVD
                      PASADENA, CA 91104



                      FOOTHILL/PACIFIC TOWNE CTR IV
                      PO BOX 3060
                      NEWPORT BEACH, CA 92658



                      FOOTHILLS CHRISTIAN MIDDLE SCHOOL
                      850 CYPRESS LANE SUITE C
                      EL CAJON, CA 92020



                      Forest Estes
                      10415 NE 5TH CIR
                      VANCOUVER, WA 98664



                      FOREST HIGH SCHOOL CHORUS BOOSTER INC
                      5000 SE MARICAMP RD
                      OCALA, FL 34480



                      FOREST LAKE ACADEMY
                      500 EDUCATION LOOP N/A
                      APOPKA, FL 32703
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 794 of 2164




                      FORMAN INDUSTRIES INC
                      3150 BERDENTOWN AVE
                      OLD BRIDGE, NJ 08857



                      FORMERIO SANDOVAL




                      Forrest Blades
                      1642 W Dudley Ave
                      Apt. C
                      Anaheim, CA 92802



                      Forrest Reynolds
                      8325 AW MOHAWK ST
                      86
                      TUALATIN, OR 97062



                      FORT BEND CO WCID #2
                      PO BOX 1107
                      HOUSTON, TX 77251



                      FORT BEND CO WCID #2
                      PO BOX 1107
                      HOUSTON
                      TX, 77251



                      Forteno Carrillo De La Cruz
                      5322 WOODSTOCK WAY
                      SAN JOSE, CA 95118



                      FORTUN FOODS INC
                      6513 132ND AVE NE #394
                      KIRKLAND, WA 98033



                      Forward Packaging
                      5431 Avenida Encinas, Ste F
                      Carlsbad, CA 92008
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 795 of 2164




                      FORWARD PACKAGING
                      5431 AVENIDA ENCINAS STE F
                      CARLSBAD, CA 92008



                      Foster McNary
                      4591 E LARKSPUR CIR
                      ANAHEIM, CA 92807



                      FOUNDATION FOR FIGHTING BLINDNESS
                      12405 ROYAL PLUMB BLVD
                      CORAL SPRINGS, FL 33065



                      FOUNTAIN VALLEY HIGH SCHOOL GIRLS BOOSTE
                      17816 BUSHARD STREET
                      FOUNTAIN VALLEY, CA 92708



                      FOUNTAIN VALLEY POLICE DEPT
                      10200 SLATER AVENUE
                      ATTN ALARM PERMITS
                      FOUNTAIN VALLEY, CA 92708



                      FOUNTAIN VALLEY VIRTUAL ENTERPRISE
                      17816 BUSHARD
                      FOUNTAIN VALLEY, CA 92708



                      FOUNTAIN VALLEY WOMANS CLUB
                      18030 BROOKHURST ST 403
                      FOUNTAIN VALLEY, CA 92708



                      FOUR LEAF MANAGEMENT SOLUTIONS
                      4708 BANTRY ROAD
                      GROVETOWN, GA 30813



                      Fox Ballerstein
                      5501 LONESOME BIKER LANE
                      LAS VEGAS, NV 89113
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 796 of 2164




                      FOX GLASS SC INC
                      1035 TIFFORD LANE
                      OSTEEN, FL 32764



                      FOX GLASS SC INC
                      1035 TIFFORD LANE
                      OSTEEN
                      FL, 32764



                      FOX ROTHSCHILD LLP
                      2000 MARKET STREET 20TH FLOOR
                      PHILADELPHIA, PA 19103-3222



                      FPL
                      GENERAL MAIL FACILITY
                      MIAMI, FL 33188-0001



                      FR Florida, Inc.
                      c/o Federal Realty Investment Trust Attn: Legal De
                      1626 East Jefferson St.
                      Rockville, MD 20852



                      Fradet Meme
                      2100 Catherine Dr
                      Apt 4
                      Delray Beach, FL 33445



                      Franceli Jaimes
                      814 W. Montoya Ln
                      Phoenix, AZ 85027



                      Frances Teeter
                      10822 ARMITAGE DR
                      SEFFNER, FL 33584



                      Francesco Armienti
                      PO BOX 842
                      DANA POINT, CA 92629
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 797 of 2164




                      Francesco Gutierrez
                      1044 SPANISH OAKS BLVD
                      PALM HARBOR, FL 34683



                      Francesco Pilling
                      2572 Diericx Dr.
                      Mountain View, CA 94040



                      Francheska Wagner
                      13602 Don English Way
                      Apt F
                      Desert Hot Springs, CA 92240



                      FRANCHISE TAX BOARD
                      PO BOX 942857
                      SACRAMENTO, CA 94257-0531



                      FRANCHISE TAX BOARD
                      PO BOX 2952
                      SACRAMENTO, CA 95812



                      FRANCHISE TAX BOARD
                      PO BOX 942857
                      SACRAMENTO
                      CA, 94257-0531



                      Francia TASSY
                      9954 WATERMILL CIR
                      #E
                      BOYNTON BEACH, FL 33437



                      Francine hernandez
                      38705 20TH ST E
                      201
                      PALMDALE, CA 93550
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 798 of 2164




                      Francis Lavin
                      306 S OLD DIXIE HWY
                      15
                      LADY LAKE, FL 32159



                      Francisca Cruz
                      1791avenida Altamira
                      Oceanside, CA 92056



                      Francisca Delgado
                      1664 Paseo Laguna Seco
                      Apt. 74
                      Livermore, CA 94551



                      Francisca Reyes
                      2710 W JEFFERSON BLVD
                      APT 2
                      LOS ANGELES, CA 90018



                      Francisca Rodriguez
                      3010 N TAMPA
                      TAMPA, FL 33603



                      FRANCISCAN AAH
                      5901 W CENTURY BLVD #700
                      LOS ANGELES, CA 90045



                      Franciscan AAH, LLC
                      c/o The Festival Companies
                      5901 W Century Blvd.
                      Ste. 700
                      Los Angeles, CA 90045



                      Francisco Amado
                      590 BLOOMINGTON CT
                      7
                      ALTAMONTE SPRINGS, FL 32714
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 799 of 2164




                      Francisco Anaya
                      8183 CARNATION COURT
                      RIVERSIDE, CA 92503



                      Francisco Andrade
                      303 E. South Mountain Ave.
                      Lot 175
                      Phoenix, AZ 85042



                      Francisco Balderas
                      4704 Ne 106th Ave
                      Portland, OR 97220



                      Francisco Bernabe
                      5707 San Lorenzo
                      San Jose, CA 95123



                      Francisco Burgos
                      7410 UDINE AVE
                      ORLANDO, FL 32819



                      Francisco Campos
                      111 N. Curtis Ave.
                      Apt. N
                      Alhambra, CA 91801



                      Francisco Capula
                      600 Starkey Road
                      Apt. #819
                      Largo, FL 33770



                      Francisco Carvallo
                      4948 CASON COVE DR
                      204
                      ORLANDO, FL 32811
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 800 of 2164




                      Francisco Escarcia
                      574 BEGONIA STREET
                      574
                      ESCONDIDO, CA 92027



                      Francisco Estrada
                      1710 E LINCOLN AVE
                      ESCONDIDO, CA 92027



                      Francisco Estrada
                      9450 YALE LN
                      HIGHLANDS RANCH, CO 80130



                      Francisco Garcia
                      3754 Louisiana St
                      San Diego, CA 92102



                      Francisco Garcia
                      508 BABLONICA DRIVE
                      ORLANDO, FL 32807



                      Francisco Gomez
                      3709 Winchester Ave
                      Los Angeles
                      Los Angeles, CA 90032



                      Francisco Gonzalez
                      1753 W. Glen Ave
                      #1
                      Anaheim, CA 92801



                      Francisco Guevara
                      2361 FLORA AVE
                      FORT MYERS, FL 33901



                      Francisco Gutierrez
                      17940 CAJALCO RD.
                      PERRIS, CA 92570
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 801 of 2164




                      Francisco Gutierrez
                      6490 CECILIA CIR
                      BUENA PARK, CA 90620



                      Francisco Guzman
                      256 BARNEL
                      SAN JOSE, CA 95110



                      Francisco Herrera
                      7420 DAKIN ST. APT 205
                      DENVER, CO 80221



                      FRANCISCO J MARTINEZ
                      2711 MERCED AVE
                      SOUTH EL MONTE, CA 91733



                      FRANCISCO M. GARCIA
                      3754 Louisiana St
                      San Diego, CA 92102



                      Francisco Marcelino
                      605 South Baker Street
                      Santa Ana, CA 92703



                      Francisco Marruenda
                      4204 COLLING ROAD WEST
                      BONITA, CA 91902



                      Francisco Martinez
                      508-a N.havana Ave
                      Tampa, FL 33609



                      FRANCISCO MARTINEZ
                      11374 BALD EAGLE LANE
                      DESERT HOT SPRINGS, CA 92240
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 802 of 2164




                      Francisco Matute
                      708 MAYFIELD ST
                      LAS VEGAS, NV 89107



                      Francisco Nunez
                      8951 Se Fuller Rd
                      Unit #6
                      Happy Valley, OR 97086



                      Francisco Oropeza
                      3420 N 1st St
                      Apt204
                      Fresno, CA 93726



                      Francisco Pelayo De Luna
                      3661 Regal Oaks Place
                      Perris, CA 92571



                      Francisco Perez
                      1380 SAN JUAN ST
                      APT G
                      TUSTIN, CA 92780



                      Francisco Porras
                      11631 SW 183 ST
                      MIAMI, FL 33157



                      Francisco Ramirez
                      909 Pico Blvd
                      Santa Monica, CA 90405



                      Francisco Ramirez
                      4134 DOWNING AVE
                      BALDWING PARK, CA 91706



                      Francisco Reyes
                      4113 Rolando Blvd
                      San Diego, CA 92115
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 803 of 2164




                      Francisco salazar
                      235 TARPON AVE
                      SARASOTA, FL 34237



                      Francisco Salgado Abarca
                      1824 JULIAN AVE
                      SAN DIEGO, CA 92113



                      Francisco Silva
                      880 Washington Ave
                      Escondido, CA 92025



                      Francisco valdovinos
                      1762 PASEO LAGUNA SECO
                      151
                      LIVERMORE, CA 94551



                      FRANCISCO VALDOVINOS
                      1762 PASEO LAGUNASECO #151
                      LIVERMORE, CA 94551



                      Francisco Vargas
                      740 FORESTER
                      1
                      ORLANDO, FL 32809



                      Francisco Vega
                      8709 BELMONT ST
                      BELLFLOWER, CA 90706



                      Francisco Wanke
                      17389 Delaware Rd
                      Fort Myers, FL 33967



                      Frandi Saintal
                      929 nw 2nd avenue apt.19
                      homestead, FL 33030
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 804 of 2164




                      Frank Bernard
                      12644 Riverwood Way
                      Riverside, CA 92503



                      Frank Hilliard
                      8204 N KLONDYKE ST
                      TAMPA, FL 33604



                      Frank Macias
                      1000 E Bishop St Unit L1
                      1000 E Bishop St Uni
                      Santa Ana, CA 92701



                      Frank Quiroz
                      3565 Paseo De Los Californiano
                      #250
                      Oceanside, CA 92056



                      Frank Ramos
                      7872 FRANKLIN ST
                      BUENA PARK, CA 90621



                      Frank Tumminello
                      418 WOODRIDGE DR
                      HENDERSON, NV 89015



                      frank williams lll
                      3238 N 67TH ST
                      #2
                      SCOTTSDALE, AZ 85251



                      Frankie Perez
                      11113 ELLIOTT AVENUE
                      APT D
                      EL MONTE, CA 91732



                      Franklin Ceballos-ortega
                      2145 Palm Terrace
                      Sarasota, FL 34231
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 805 of 2164




                      FRANKLIN CO AREA TAX BUREA EIT
                      526 ELM STREET
                      PMB 1
                      TIONESTA, PA 16353-9724



                      FRANKLIN CO AREA TAX BUREA LST
                      526 ELM STREET
                      PMB 1
                      TIONESTA, PA 16353-9724



                      FRANKLIN COUNTY AREA TAX BUREAU
                      443 STANLEY AVENUE
                      CHAMBERSBURG, PA 17201-3600



                      Franklin Feliz
                      472 Briar Bay Circle
                      Orlando, FL 32825



                      FRANKLIN MACHINE PRODUCTS
                      PO BOX 74007311
                      CHICAGO, IL 60674-7311



                      FRANKLIN MACHINE PRODUCTS
                      PO BOX 74007311
                      CHICAGO
                      IL, 60674-7311



                      Franklin Watson
                      1367 WINDMILLW
                      NORCROSS, GA 30093



                      Franqee Reyes
                      5510 N HIMES AVE APT
                      2001
                      TAMPA, FL 33614
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 806 of 2164




                      FRATERNAL ORDER OF EAGLES
                      1627 JADE AVE
                      FRATERNAL ORDER OF EAGLES
                      CHULA VISTA, CA 91911



                      Frazier Pleasant
                      5747 E TOWER
                      FRESNO, CA 93727



                      Fred Boisvert
                      22096 BOCA PL DR
                      1223
                      BOCA RATON, FL 33433



                      Fred Shannon Matthew Snead
                      2420 W. Grand Ave.
                      Apt. 1
                      Alhambra, CA 91801



                      Fredderick Brown
                      943 GOLDENLEAF WAY
                      PITTSBURG, CA 94565



                      Freddie Mance
                      139 RENAISSANCE PKWY
                      ATLANTA, GA 30308



                      Freddie Porter
                      2056 SCOTT STREET
                      HOLLYWOOD, FL 33020



                      Freddy Garcia
                      4897 Clairemont Mesa Blvd
                      Apt. 204
                      San Diego, CA 92117
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 807 of 2164




                      Freddy lamas lopez
                      1771 HESTER AVE
                      17
                      SAN JOSE, CA 95128



                      Freddy Melgar
                      4445 STEVENSON
                      17
                      FREMONT, CA 94538



                      Frederick Conner
                      174 CARROLL STREET
                      303
                      SUNNYVALE, CA 94086



                      Frederick Jackson
                      7518 W AVENUE L10
                      QUARTZ HILL, CA 93536



                      Frederick Suggs
                      8206 FAIRWAYS CIRCLE
                      UNIT B 204
                      OCALA, FL 34472



                      Fredore Andre
                      7990 NW 21ST CT
                      SUNRISE, FL 33322



                      Fredrick Whitfield
                      2384 21st
                      Sarasota, FL 34234



                      Fredson Gustave
                      1012 NW 7 ST
                      BOYNTON BEACH, FL 33426
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 808 of 2164




                      Fredy Mejia
                      10718 SUTTER AVE
                      #7
                      91331, CA 91331



                      Fredy Perez
                      3625 Coopers Pond
                      Apt. 201
                      Tampa, FL 33614



                      Fredy Villanueva
                      6612 Mission Club BLVD
                      APT 308
                      Orlando, FL 32821



                      Freedom Duhart
                      756 W. 3RD STREET
                      RIVIERA BEACH, FL 33404



                      FREMONT FIRE PREVENTION
                      3300 CAPITOL AVE BLDG A
                      FREMONT, CA 94538



                      FREMONT PARENTS NURSERY SCHOOL
                      4200 ALDER AVE
                      FREMONT, CA 94536



                      FREMONT POLICE DEPT
                      2000 STEVENSON BLVD
                      PO BOX 5007 ATTN ALARM OFFICER
                      FREMONT, CA 94537-5007



                      FRENCH AMERICAN SCHOOL
                      1522 LEWISTON DRIVE
                      SUNNYVALE, CA 94087



                      FRESH WATER INC
                      PO BOX 800850
                      SANTA CLARTA, CA 91380
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                      FRESH-G RESTAURANT CORP
                      946 GREAT PLAIN AVE #142
                      NEEDHAM, MA 02492



                      FRESHPOINT ATLANTA
                      1200 OAKLEY INDUSTRIAL BLVD ST
                      FAIRBURN, GA 30213



                      FRESHPOINT ATLANTA
                      1200 OAKLEY INDUSTRIAL BLVD ST
                      FAIRBURN
                      GA, 30213



                      FRESHPOINT CENTRAL
                      CALIFORNIA INC
                      5900 N GOLDEN STATE
                      TURLOCK, CA 95382



                      FRESHPOINT CENTRAL
                      CALIFORNIA INC
                      5900 N GOLDEN STATE
                      TURLOCK
                      CA, 95382



                      FRESHPOINT CENTRAL FL INC
                      FRESHPOINT WEST COAST FL
                      5445 BONACKER DRIVE
                      TAMPA, FL 33610



                      FRESHPOINT CENTRAL FL INC
                      FRESHPOINT WEST COAST FL
                      5445 BONACKER DRIVE
                      TAMPA
                      FL, 33610



                      FRESHPOINT CENTRAL FLORIDA
                      8801 EXCHANGE DRIVE
                      ORLANDO, FL 32809
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                      FRESHPOINT CENTRAL FLORIDA
                      8801 EXCHANGE DRIVE
                      ORLANDO
                      FL, 32809



                      FRESHPOINT DENVER
                      PO BOX 815219
                      DALLAS, TX 75381



                      FRESHPOINT DENVER
                      PO BOX 815219
                      DALLAS
                      TX, 75381



                      FRESHPOINT SOUTH FLORIDA INC
                      2300 NW 19TH STREET
                      POMPANO BEACH, FL 33069



                      FRESHPOINT SOUTH FLORIDA INC
                      2300 NW 19TH STREET
                      POMPANO BEACH
                      FL, 33069



                      FRESHPOINT SOUTHERN
                      CALIFORNIA INC
                      155 N ORANGE AVE
                      CITY OF INDUSTRY, CA 91744



                      FRESHPOINT SOUTHERN
                      CALIFORNIA INC
                      155 N ORANGE AVE
                      CITY OF INDUSTRY
                      CA, 91744



                      FRESNO COUNTY SHERIFF OFFICE
                      PO BOX 45025
                      FRESNO, CA 93718
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 811 of 2164




                      FRESNO COUNTY SHERIFF OFFICE
                      PO BOX 45025
                      FRESNO
                      CA, 93718



                      FRESNO COUNTY TAX COLLECTOR
                      PO BOX 1192
                      FRESNO, CA 93715-1192



                      FRESNO COUNTY TREASURER
                      DEPT OF HEALTH
                      PO BOX 11800
                      FRESNO, CA 93775-1800



                      FRESNO FIRE DEPARTMENT
                      PO BOX 16190
                      PHOENIX, AZ 85011



                      Freund Container
                      36690 Treasury Center
                      Chicago, IL 60694-6600



                      FRI GROVE PTO
                      14355 SW 20TH ST
                      BEAVERTON, OR 97008



                      FRIENDS OF BRENTWOOD SCIENCE
                      740 GRETNA GREEN WAY
                      LOS ANGELES, CA 90049



                      FRIENDS OF BROADWAY
                      1015 LINCOLN BOULEVARD
                      VENICE, CA 90291



                      FRIENDS OF CASTLE HEIGHTS
                      1836 S ROBERSTON BLVD
                      LOS ANGELES, CA 90035
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 812 of 2164




                      FRIENDS OF CPJMA
                      4033 INGRAHAM ST
                      SAN DIEGO, CA 92109



                      FRIENDS OF ERICSON FOUNDATION
                      6755 MIRA MESA BLVD 123
                      SAN DIEGO, CA 92121



                      FRIENDS OF FRANKLIN
                      1910 N COMMONWEALTH AVENUE
                      LOS ANGELES, CA 90027



                      FRIENDS OF GINGERBREAD
                      PO BOX 520
                      PLEASANTON, CA 94566



                      FRIENDS OF MORRIS
                      9952 GRAHAM STREET
                      FRIENDS OF MORRIS
                      CYPRESS, CA 90630



                      FRIENDS OF RICHLAND
                      910 BORDEN RD
                      SAN MARCOS, CA 92069



                      FRIENDS OF SILVER GATE
                      1499 VENICE ST
                      SAN DIEGO, CA 92107



                      FRIENDS OF THE FOUNTAIN VALLEY
                      10459 SALINAS RIVER CIR
                      FOUNTAIN VALLEY, CA 92708



                      FRIENDS OF THE FOUNTAIN VALLEY
                      10459 SALINAS RIVER CIR
                      FOUNTAIN VALLEY
                      CA, 92708
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 813 of 2164




                      FRIENDS OF UPLAND CHORAL BOOST
                      1338 GROVE AVE
                      UPLAND, CA 91786



                      FRIENDS OF VOCAL MUSIC
                      19 IRON BARK WAY
                      IRVINE, CA 92612



                      FRIGI-TEMP FRIGERATION INC
                      112 - B WHEATON AVE
                      YOUNGSVILLE, NC 27596



                      FRIT ESCONDIDO PROMENADE LLC
                      PO BOX 848706
                      C/O FEDERAL REALTY INVESTMENT
                      LOS ANGELES, CA 90084-8706



                      Frit Escondido Promenade, LLC
                      Attn: Sharon Byrd
                      1626 East Jefferson St.
                      Rockville, MD 20852-4041



                      Fritz Dolce
                      15221 Ne 6th Ave
                      Apt A-106
                      Miami, FL 33162



                      Fritz Niemann
                      4612 HAMILTON
                      SAN DIEGO, CA 92116



                      FRONT LINE SALES INC
                      PO BOX 670
                      LA VERNE, CA 91750



                      FRONT LINE SALES INC
                      PO BOX 670
                      LA VERNE
                      CA, 91750
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 814 of 2164




                      FRONTERA STUDIOS LLC
                      26895 ALISO CREEK ROAD
                      ALISO VIEJO, CA 92656



                      FRONTIER LIGHTING INC
                      2090 PALMETTO STREET
                      CLEARWATER, FL 33765



                      FRUCHTHENDLER PTA
                      7470 E CLOUD RD
                      C/O JANELLE PERRY
                      TUCSON, AZ 85750



                      FRUIT FILLINGS INC
                      2531 EAST EDGAR
                      FRESNO, CA 93706



                      Fruit Fillings, Inc.
                      2531 East Edgar
                      Fresno, CA 93706



                      Frutoso Jaramillo
                      7302 Ewell Way
                      Stanton, CA 90680



                      FRYBERGER ELEMENTARY SCHOOL PTA
                      6952 HOOD DR
                      WESTMINSTER, CA 92683



                      FRYSC
                      369 S ACACIA AVE
                      FULLERTON, CA 92831



                      FSE INC
                      3039 HOOVER AVE
                      NATIONAL CITY, CA 91950
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 815 of 2164




                      FSG




                      FUHS DBC
                      201 E CHAPMAN AVE
                      FULLERTON, CA 92832



                      Fulgencio Cuevas
                      917 Poplar Dr
                      Altamonte Springs, FL 32714



                      FULTON COUNTY HEALTH DEPT
                      10 PARK PL SOUTH SE
                      ATTN ENVIRONMENTAL HEALTH
                      ATLANTA, GA 30303



                      FULTON COUNTY TAX COMMISSIONER
                      PO BOX 105052
                      ATLANTA, GA 30348-5052



                      FULTON COUNTY WATER AND SEWER
                      PO BOX 105300
                      ATLANTA, GA 30348-5300



                      FULTON COUNTY/PUBLIC WORKS
                      11575 MAXWELL RD
                      ATTN ADMINISTRATION
                      ALPHARETTA, GA 30009



                      FULTON COUNTY/PUBLIC WORKS
                      11575 MAXWELL RD
                      ATTN ADMINISTRATION
                      ALPHARETTA
                      GA, 30009



                      Fumagalli Doug
                      7022 VIA RAMADA
                      SAN JOSE, CA 95139
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 816 of 2164




                      Fumanos




                      FUNDRACER LLC
                      640 W 1100 S STE 4
                      OGDEN, UT 84404



                      Fuolene Jeune
                      205 NE 8st
                      apt#2
                      Pompano Beach, FL 33060



                      FURMAN FOODS INC
                      PO BOX 12956
                      PHILADELPHIA, PA 19176-0956



                      Furmano Foods, Inc
                      P.O. Box 12956
                      Philadelphia, PA 19176-0956



                      FV KIWANIS
                      1301 S SHAWNEE DR
                      SANTA ANA, CA 92704



                      FV KIWANIS
                      1301 S SHAWNEE DR
                      SANTA ANA
                      CA, 92704



                      FV KIWINS
                      10658 LA BAHIA AVE
                      FOUNTAIN VLY, CA 92708



                      FVHS CSF
                      17816 BUSHARD STREET
                      FOUNTAIN VALLEY, CA 92708
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 817 of 2164




                      FVHS FOOTBALL BOOSTERS
                      17816 BUSHARD ST
                      FOUNTAIN VALLEY, CA 92708



                      FVHS NATIONAL HONOR SOCIETY
                      8899 CANARY AVE
                      FOUNTAIN VALLEY, CA 92708



                      G&I VII PEMBROKE RETAIL LLC
                      PO BOX 865155
                      ORLANDO, FL 32886-5155



                      G.E.T. Enterprises Inc.
                      7401 Security Way, Suite 200
                      Jersey Village, TX 77040



                      G1 ROBOTICS
                      13561 YORBA ST
                      SANTA ANA, CA 92705



                      G4S Secure Solutions (Usa) Inc
                      P.O. Box 277469
                      Atlanta, GA 30384-7469



                      G4S SECURE SOLUTIONS (USA) INC
                      PO BOX 277469
                      ATLANTA, GA 30384-7469



                      GA DEPT OF REVENUE UNCLAIMED PROP PROGRA
                      4125 WELCOME ALL RD STE 701
                      ATLANTA, GA 30349



                      GA FAMILY SUPPORT REGISTRY
                      PO BOX 1800
                      CARROLLTON, GA 30112
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 818 of 2164




                      GA FAMILY SUPPORT REGISTRY
                      PO BOX 2459
                      REPLACEMENT CHECK
                      CARROLLTON, GA 30112



                      GA FAMILY SUPPORT REGISTRY
                      PO BOX 1800
                      CARROLLTON
                      GA, 30112



                      Gaberial Beck
                      5227 ROTH FORREST LANE
                      SPRING, TX 77389



                      Gabino Ayala
                      27715 LAUREL CREEK CIRCLE
                      VALENCIA, CA 91354



                      Gabino Guerrero
                      5974 W. Osborn Rd.
                      Phoenix, AZ 85033



                      Gabriel Alvarez
                      15817 Nw Athens Dr.
                      #283
                      Portland, OR 97229



                      Gabriel Alvarez
                      3901 Montgomery Blvd Ne
                      Apt 1010
                      Albuquerque, NM 87109



                      GABRIEL ALVAREZ
                      15817 NW ATHENS DR
                      #283
                      PORTLAND, OR 97229
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 819 of 2164




                      Gabriel Arzola
                      390 ROUND TREE GLEN
                      ESCONDIDO, CA 92026



                      Gabriel Bumanlag
                      1390 MONROE STREET
                      #4
                      SANTA CLARA, CA 95050



                      Gabriel Castellanos
                      1220 DIVISION STREET
                      APT. 8
                      OCEANSIDE, CA 92054



                      Gabriel Connelly
                      2329 Sweetwater Rd
                      SPRING VALLEY, CA 91977



                      Gabriel Diaz
                      966 HELEN AVE
                      SUNNYVALE, CA 94086



                      Gabriel Esquer
                      20203 Elfin Forest Rd
                      Escondido, CA 92030



                      Gabriel Flores
                      182 N. Victoria Av
                      San Jacinto, CA 92583



                      Gabriel Galvan
                      5734 Bates St
                      Apt 33
                      San Diego, CA 92115



                      Gabriel Garcia
                      1707 3rd Ave
                      Los Angeles, CA 90019
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 820 of 2164




                      Gabriel Gongora
                      2915 Phelps Ave
                      Los Angeles, CA 90032



                      Gabriel Gonzalez
                      6073 HORTON DR
                      LA MESA, CA 91942



                      Gabriel Gutierrez
                      4829 JACKSON ST
                      UNIT B
                      RIVERSIDE, CA 92503



                      Gabriel Hernandez
                      920 N. First St.
                      Apt.n
                      Alhambra, CA 91801



                      Gabriel Hernandez
                      4308 PAN AMERICAN FWY NE
                      APT 184
                      ALBUQUERQUE, NM 87107



                      Gabriel Holmquist
                      30473 BLUME CIR
                      MENIFEE, CA 92584



                      Gabriel Huereca
                      859 W GROVEWOOD AVE
                      BLOOMINGTON, CA 92316



                      Gabriel Jaramillo
                      4706 W. Cambridge
                      Fresno, CA 93722



                      Gabriel Kuhnert
                      2901 NIMITZ BLVD
                      SAN DIEGO, CA 92106
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 821 of 2164




                      Gabriel Madrigal
                      37754 KINGBIRD PLACE
                      MURRIETA, CA 92563



                      Gabriel Morford
                      28006 COMAL KARST DR.
                      SPRING, TX 77386



                      GABRIEL ORTIZ
                      3037 N STONE AVE
                      TUCSON, AZ 85705



                      Gabriel Pinon
                      2885 E MIDWAY BLV
                      1543
                      BROOMFIELD, CO 80234



                      Gabriel Quinones-Acevedo
                      4272 SPOLETO CIRCLE
                      304
                      OVIEDO, FL 32765



                      Gabriel Ramos
                      4947 FOUNTAIN AVE
                      LOS ANGELES, CA 90029



                      Gabriel Reyes Acosta
                      8534 LAKE CRYSTAL DRIVE
                      HOUSTON, TX 77095



                      Gabriel Rosales
                      934 S VIRLEE ST
                      SANTA ANA, CA 92704



                      Gabriel Salazar
                      5901 S NIXON CT
                      LITTLETON, CO 80123
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 822 of 2164




                      Gabriel Santana
                      658 DAKOTA DR.
                      SAN JOSE, CA 95111



                      Gabriel Santos
                      1046 MOHR LANE
                      UNIT C
                      CONCORD, CA 94518



                      Gabriel Schleier
                      7409 W PIUTE AVE
                      GLENDALE, AZ 85308



                      Gabriel Smith
                      5835 PRIMROSE AVE
                      TEMPLE CITY, CA 91780



                      Gabriel Solorzano
                      7035 SANTA RITA CIRCLE
                      BUENA PARK, CA 90620



                      Gabriel SOUTO
                      8939 BISMARCK PALM RD
                      KISSIMMEE, FL 34747



                      Gabriel X. Ramos
                      4947 FOUNTAIN AVE
                      LOS ANGELES, CA 90029



                      Gabriel Zermeno-ramirez
                      904 E TURNEY AVE
                      2
                      PHOENIX, AZ 85014



                      Gabriel Zuniga
                      6485 PEMBA DR
                      SAN JOSE, CA 95119
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 823 of 2164




                      Gabriela Becerril
                      7222 Union Avenue
                      Whittier, CA 90602



                      Gabriela Bustos
                      43 Via Meseta
                      Rancho Santa Margarita, CA 92688



                      Gabriela Garcia
                      5300 W 1st Street
                      Apt 12
                      Santa Ana, CA 92703



                      Gabriela Gordillo Aparicio
                      2315 VIA FRANCISCA
                      APT. L
                      CARLSBAD, CA 92008



                      Gabriela Menendez
                      6201 ROBIN HOOD CIRCLE
                      LAS VEGAS, NV 89108



                      Gabriela Miranda
                      1075W 253RD ST
                      APT 6
                      HARBOR CITY, CA 90710



                      Gabriela Ortega
                      6 BELLA CASERTA
                      LAKE ELSINORE, CA 92532



                      Gabriela Rodas
                      316 ESCUELA AVE
                      66
                      MOUNTAIN VIEW, CA 94040
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 824 of 2164




                      Gabriela Sandoval
                      7250 W GREENS RD
                      621
                      HOUSTON, TX 77064



                      Gabriela Santin
                      3554 W DAKOTA AVE
                      DENVER, CO 80219



                      Gabriela Sepulveda
                      6715 Lemon Leaf Dr
                      Carlsbad, CA 92011



                      Gabriela Siavichay
                      1111PINE ST ALTAMONTE SPRINGS
                      1111
                      ALTAMONTE SPRINGS, FL 32714



                      Gabriela Villalta
                      10418 CALIFA ST
                      NORTH HOLLYWOOD, CA 91601



                      Gabriella Aranguiz
                      2815 Indianwood Dr
                      Sarasota, FL 34232



                      Gabriella Bernocco
                      21325 NASHVILLE ST
                      CHATSWORTH, CA 91311



                      Gabriella Fonseca
                      2976 FAIRFIELD DR.
                      B
                      TRACY, CA 95376



                      Gabriella Gonzales
                      3204 LA QUINTA CT
                      FAIRFIELD, CA 94534
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 825 of 2164




                      Gabriella SILVA
                      2836 N 33 RD ST
                      PHOENIX, AZ 85008



                      Gabrielle Anderson
                      8930 JOHNSON ST
                      PEMBROKE PINES, FL 33024



                      Gabrielle Baker
                      6460 CONVOY COURT
                      101
                      SAN DIEGO, CA 92117



                      Gabrielle Clark
                      237 Timberlane Dr
                      Palm Harbor, FL 34683



                      Gabrielle Domingo
                      5154 MEADOWVIEW DR
                      CAMARILLO, CA 93012



                      Gabrielle Johnson
                      809 N 27 Th Ave.
                      Cornelius, OR 97113



                      Gabrielle Rhoden
                      743 Nw 208 Terrace
                      Hollywood, FL 33029



                      GABRIELLE RHODEN
                      743 NW 208TH TERRACE
                      PEMBROKE PINES, FL 33029



                      Gabrielle Woodus
                      6212 BEADNELL WAY APT
                      2F
                      SAN DIEGO, CA 92117
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 826 of 2164




                      Gabrielle Zimmerman
                      743 116TH CT NE
                      BRADENTON, FL 34212



                      Gaby Bahena
                      8634 COLUMBUS AVE APT 302
                      NORTH HOLLYWOOD, CA 91343



                      Gaddis Woolsey
                      Po Box 189
                      Midland, GA 31820



                      Gagandeep Kaur
                      80 HARRIS PLACE
                      212
                      FREMONT, CA 94536



                      Gage Baca-Romero
                      757 ALLSTON WAY
                      BREA, CA 92821



                      GAIL VANDON
                      1475 POPLAR CT
                      LOMBARD, IL 60148



                      Galaya Ching
                      14678 NW CORNELL ROAD
                      56
                      PORTLAND, OR 97229



                      Gale Sopotnick
                      36341 Via Marcia
                      Fruitland Park, FL 34731



                      Galilea Lopez
                      2135 SHADOWDALE DR.
                      78
                      HOUSTON, TX 77043
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 827 of 2164




                      Galina Kouprina
                      12734 BRIARCREST PL
                      7
                      SAN DIEGO, CA 92130



                      Gallegos Leonard
                      200 W STERNE PKWY
                      218
                      LITTLETON, CO 80120



                      GALLERIA CORPORATE CENTRE MAIENTENANCE D
                      10845 GRIFFITH PEAK DR STE 100
                      LAS VEGAS, NV 89135



                      Galvan Trinidad
                      511 SAINT ANDREWS BLVD
                      LADY LAKE, FL 32159



                      Gamaliel Sunun
                      8707 Brummel Drive
                      Houston, TX 77099



                      GAMUT SYSTEMS & SOLUTIONS
                      PO BOX 562357
                      CHARLOTTE, NC 28256



                      Gamut Systems & Solutions Llc
                      Po Box 562357
                      Charlotte, NC 28256



                      Garcon Francis
                      8700 Nw 29th Ave
                      Miami, FL 33147



                      Garcy C. Momplaisir
                      17392 SW 18 ST
                      MIRAMAR, FL 30029
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                      Garcy Momplaisir
                      17392 SW 18 ST
                      MIRAMAR, FL 30029



                      Garda
                      2000 NW CORPORATE BOULEVARD
                      BOCA RATON, FL 33431



                      GARDA CL TECHNICAL SERVICES
                      2000 NW CORPORATE BOULEVARD
                      BOCA RATON, FL 33431



                      GARDA CL WEST INC
                      3209 MOMENTUM PLACE
                      CHICAGO, IL 60689-5332



                      Garden Fresh Holding LLC
                      Perpetual Capital Partners
                      1000 Wilson Blvd, Suite 2700
                      Arlington, VA 22209



                      GARDEN FRESH HOLDING LLC
                      1000 WILSON BLVD STE 2700
                      ARLINGTON, VA 22209



                      Garden Fresh Restaurants
                      15822 Bernardo Center Drive
                      STE C
                      San Diego, CA 92127



                      GARDEN FRESH RESTAURANTS
                      17180 BERNARDO CENTER DRIVE
                      SAN DIEGO, CA 92128



                      GARDEN GROVE FIRE DEPARTMENT
                      11301 ACACIA PARKWAY
                      GARDEN GROVE, CA 92840
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 829 of 2164




                      Gardener'S Supply Company
                      Innavative Gardening Solutions
                      128 Intervale Rd
                      Burlington, UT 05401



                      GARDNER FAMILY CARE CORP
                      2766 COUNTRYWALK CIRCLE
                      SAN JOSE, CA 95132



                      Garfield Headley
                      10451 RIVA RIDGE TRAIL
                      ORLANDO, FL 32817



                      Garrastegui Nicolas
                      4221 Taryn Ct
                      Orlando, FL 32839



                      Garrett Foster
                      8600 Mason Ave
                      Winnetka, CA 91306



                      Garrett Pankratz
                      22310 Char
                      Lotte Dr.
                      Torrance, CA 90505



                      Garrett Peverley
                      1840 SOUTH 1ST AVENUE
                      ARCADIA, CA 91006



                      Garrett Region
                      252 Chalmette Road
                      Livermore, CA 94551



                      Garrick Thomas
                      4512 THE VALLEY
                      4512
                      SANDY SPRINGS, GA 30328
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 830 of 2164




                      GARRISON JONES PTA
                      1986 GOLFVIEW DR
                      GARRISON JONES ELEMENTARY
                      DUNEDIN, FL 34698



                      Garry Etienne
                      714 Fillmore Ave
                      Lehigh Acres, FL 33936



                      GARY KING
                      4630 LANDROVER CREST DRIVE
                      RALEIGH, NC 27616



                      Gary Miles
                      15915 KUYKENDAHL RD
                      923
                      HOUSTON, TX 77068



                      Gary Parsons
                      7818 E Almond St
                      Tucson, AZ 85730



                      Gary Taylor
                      410 FLORAL DR.
                      TAMPA, FL 33613



                      GAS SOUTH
                      PO BOX 530552
                      ATLANTA, GA 30353-0552



                      GASKET GUY INC
                      4712 ADMIRALTY WAY #735
                      MARINA DEL REY, CA 90292



                      GASKET GUY LLC
                      2578 OLD ROCKBRIDGE ROAD
                      NORCROSS, GA 30071
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 831 of 2164




                      GASKET GUY LLC
                      2578 OLD ROCKBRIDGE ROAD
                      NORCROSS
                      GA, 30071



                      GASKET GUY OF SOUTHWEST FL LLC
                      2890 TERN RD
                      VENICE, FL 34293



                      GASKETS ROCK LLC
                      409 PARKWAY VIEW DRIVE
                      PITTSBURGH, PA 15205



                      Gassant Dubos Marlene
                      152 Nw 14th Ave
                      Ocean Ridge, FL 33435



                      GATEWAY VIRGINIA PROPERTIES
                      FLIE #54506
                      C/O MERIDIAN RETAIL CENTER
                      LOS ANGELES, CA 90074-4506



                      Gavin Barbagelata
                      1381 PEBBLE CREEK ROAD
                      MARIETTA, GA 30067



                      Gavin Burdette
                      11400 E AVE X8 12
                      PEARBLOSSOM, CA 93553



                      Gavin Burton
                      9557 Red Oakes Drive
                      Highlands Ranch, CO 80126



                      Gavin Cihak
                      1901 BLUE HERON WAY
                      PALM HARBOR, FL 34683
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 832 of 2164




                      GAVIN HEILLY
                      451 DUNSMOURE COURT
                      ENCINITAS, CA 92024



                      Gavin Hunsche
                      8771 JACKIE DR.
                      SAN DIEGO, CA 92119



                      Gavin L. Burton
                      9557 Red Oakes Drive
                      Highlands Ranch, CO 80126



                      Gavin Lucas
                      18585 Cmto Pasadero
                      #429
                      Rancho Bernardo, CA 92128



                      Gavin palmon
                      3374 SUTTON LOOP
                      FREMONT, CA 94536



                      Gaymian Bonitto
                      3103 ENCLAVE WAY
                      LAUDERHILL, FL 33319



                      GBEF GIRLS WATER POLO
                      11395 PENANOVA ST
                      SAN DIEGO, CA 92129



                      GCMC AUXILIARY
                      13681 DOCTORS WAY
                      FORT MYERS, FL 33912



                      GCS SERVICE INC
                      24673 NETWORK PLACE
                      CHICAGO, IL 60673-1246
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 833 of 2164




                      Geiwell John Quiambao
                      Heatherly Ln
                      San Diego, CA 92130



                      GEIWELL JOHN QUIAMBAO
                      7609 HEATHERLY LN
                      SAN DIEGO, CA 92130



                      GELVIN PRODROMITS
                      511 N PINELLAS AVE
                      TARPON SPRINGS, FL 34689



                      GEMA QUEVEDO
                      109 HIGHLAND AVE
                      LEHIGH ACRES, FL 33936



                      GEMA RENTERIA
                      4640 E VAN BUREN AVE
                      LAS VEGAS, NV 89110



                      GEMINI CRICKETS FAMILIES OF MULTIPLES
                      1307 GLEN DELL DRIVE
                      SAN JOSE, CA 95125



                      Gemma Gallegos
                      26920 N Bay Lane
                      Menifee, CA 92585



                      Genaro Alvarado-ramirez
                      1647 W Charleston Ave
                      Phoenix, AZ 85023



                      Gene Kaericher
                      139 RENAISSANCE PKWY
                      ATLANTA, GA 30308
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 834 of 2164




                      GENE SOVA JR RN
                      PO BOX 11231
                      DURHAM, NC 27703



                      Genee garcia
                      2710 SEPULVEDA AVE
                      SAN BERNARDINO, CA 92404



                      GENERAL AIR COMPRESSORS INC
                      1230 N BLUE GUM ST
                      ANAHEIM, CA 92806



                      General Mills, Inc.
                      C/O Tax Department
                      PO Box 1113
                      Minneapolis, MN 55440-1113



                      GENERAL PARTS CORPORATE DISPATCH
                      ENCORE ONE LLC
                      11311 HAMPSHIRE AVE S
                      BLOOMINGTON
                      MN, 55438



                      GENERAL PATTON MEMORIAL MUSEUM
                      62510 CHIRIACO ROAD
                      CHIRIACO SUMMIT, CA 92201



                      GENERATION UNITED NATIONS UNM
                      STUDENT ACTIVITIES BOX #208
                      ALBUQUERQUE, NM 87131



                      GENERATION UNITED NATIONS UNM
                      STUDENT ACTIVITIES BOX #208
                      ALBUQUERQUE
                      NM, 87131



                      GENESIS FLOOR CARE OF COLORADO LLC
                      1201 MIRAMONTE ST
                      BROOMFIELD, CO 80020-1835
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 835 of 2164




                      Genesis Paredes
                      779 WILL AVE
                      OXNARD, CA 93036



                      Genesis Serrano
                      13411 S Hoover St
                      North Gardena, CA 90247



                      Genesis Valladares
                      26562 JULES CT
                      SPRING, TX 77386



                      GENESSA M. MARQUEZ
                      19471 HIAWATHA STREET
                      PORTER RANCH, CA 91326



                      Genessa Marquez
                      19471 HIAWATHA STREET
                      PORTER RANCH, CA 91326



                      Genessis Velasco
                      1339 FELICIA CT.
                      OXNARD, CA 93030



                      Geneva amigliore-bruns
                      27874 VIA DEL AGUA
                      LAGUNA NIGUEL, CA 92677



                      Geneva E. amigliore-bruns
                      27874 VIA DEL AGUA
                      LAGUNA NIGUEL, CA 92677



                      Geneva Henderson
                      7070 HEMLOCK COURSE
                      OCALA, FL 34472
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 836 of 2164




                      Geneva Theodore
                      851 Blackland Terrance
                      Apt 215
                      Apopka, FL 32703



                      Genienne Conaway-Riggle
                      1543 GLORIETA ST
                      ALBUQUERQUE, NM 87112



                      Genna Leif
                      2788 Danbury Ln SW
                      1134
                      Tumwater, WA 98512



                      Genny Olave Rojas
                      646 LA SALLE DR
                      ALTAMONTE SPRINGS, FL 32714



                      Genoveva Barrera De Lopez
                      3814 S. Flower St.
                      #a
                      Santa Ana, CA 92707



                      GENTLY HUGGED
                      13330 PASEO DEL VERANO NORTE #
                      SAN DIEGO, CA 92128



                      GENTLY HUGGED
                      13330 PASEO DEL VERANO NORTE #
                      SAN DIEGO
                      CA, 92128



                      Geoffrey Gilmer
                      607 Paseo Lunar
                      Inglewood, CA 90310



                      Geoffrey Kim
                      5232 Camino Playa Malaga
                      San Diego, CA 92124
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 837 of 2164




                      George Arredondo
                      20601 Leeward Lane
                      Miami, FL 33189



                      George Avina
                      3165 VALLE AVE
                      SAN DIEGO, CA 92113



                      George Francois
                      3823 tamiami trl E pmb 121
                      NAPLES, FL 34112



                      George Garrett
                      922 KEENE RD
                      LARGO, FL 33728



                      GEORGE MARK CHILDRENS HOUSE
                      2121 GEORGE MARK LN
                      SAN LEANDRO, CA 94578



                      GEORGE MCCULLEN
                      1409 FAIRWAY RIDGE DR
                      RALEIGH, NC 27606



                      George Medina
                      2547 Lynn Ave
                      Concord, CA 94520



                      George Murphy
                      1713 JACARANDA
                      FULLERTON, CA 92832



                      GEORGE NEWTON BENNETT III
                      2300 W INA RD #1108
                      TUCSON, AZ 85741
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 838 of 2164




                      GEORGE PATTON ASSOCIATES INC
                      55 BROADCOMMON ROAD
                      BRISTOL, RI 02809



                      GEORGE PATTON ELEMENTARY PTA
                      6861 SANTA RITA AVE.
                      GARDEN GROVE, CA 92845



                      George Phillips
                      255 Chappell Rrad
                      Atlanta, GA 30314



                      George Popescu
                      11628 MONTANA AVE
                      108
                      LOS ANGELES, CA 90049



                      George Ramos
                      10921 REDBIRD PL
                      CONROE, TX 77385



                      George Rodriguez
                      200 ORCHARD PL
                      250
                      OXNARD, CA 93036



                      GEORGE RODRIGUEZ
                      200 ORCHARD PLACE #250
                      OXNARD, CA 93036



                      GEORGE W LIDDICOAT
                      CHARLES SCHWAB & CO INC
                      AS DOCUMENT CONTROL PO BOX 982600
                      EL PASO, TX 79998-2600



                      GEORGE-THOMAS ENTERPRISES
                      14531 DELANO STREET
                      VAN NUYS, CA 91411
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 839 of 2164




                      George-Thomas Enterprises, LLC
                      Tom Herron
                      14531 Delano St
                      Van Nuys, CA 91411



                      Georgetta Addison
                      3541 EVANS AVE
                      A212
                      FORT MYERS, FL 33901



                      Georgi Takahashi
                      12023 WINTERCREST DR
                      205
                      LAKESIDE, CA 92040



                      Georgia Cange
                      2740 NE 11TH TERRACE
                      POMPANO BEACH, FL 33064



                      GEORGIA DEPARTMENT OF LABOR
                      SAFETY ENGINEERING
                      PO BOX 935467
                      ATLANTA, GA 31193-5467



                      GEORGIA DEPARTMENT OF LABOR
                      P.O. BOX 740234
                      ATLANTA, GA 03037-4234



                      GEORGIA DEPARTMENT OF REVENUE
                      UNCLAIMED PROPERTY PROGRAM
                      4245 INTERNATIONAL PKWY #A
                      HAPEVILLE, GA 30354-3918



                      GEORGIA DEPARTMENT OF REVENUE
                      P.O. BOX 740387
                      ATLANTA, GA 03037-4387
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 840 of 2164




                      GEORGIA DEPT OF AGRICULTURE
                      PO BOX 742548
                      ATLANTA, GA 30374-2105



                      GEORGIA DEPT OF AGRICULTURE
                      19 MARTIN LUTHER KING JR DR SW
                      ATLANTA, GA 30334-4201



                      GEORGIA POWER
                      96 ANNEX
                      ATLANTA, GA 30396-0001



                      Georgia Power Company
                      96 Annex
                      Atlanta, GA 30396-0001



                      Georgianna Avila
                      824 East 6th Street
                      National City, CA 91950



                      Georgie F. Pisco
                      3915 Lake Tahoe Terrace
                      Fremont, CA 94555



                      Georgie Norame
                      306 Sw 6th Ave
                      Delray Beach, FL 33444



                      Georgie Pisco
                      3915 Lake Tahoe Terrace
                      Fremont, CA 94555



                      Georgina Aguilar
                      1006 W 15th Ave.
                      Escondido, CA 92025
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 841 of 2164




                      GEORGINA AGUILAR
                      1225 N BROADWAY #6
                      ESCONDIDO, CA 92026



                      Georgina Arreola
                      403 PHIRE PL
                      SPRING VALLEY, CA 91977



                      Georgina Gonzales
                      674 Palm Ave
                      SP 18
                      Imperial Beach, CA 91932



                      Georgina Ramirez-dealvarado
                      6308 Rancho Mission Rd. #267
                      San Diego, CA 92108



                      Georshimene Buchanon
                      5106 LEE CIR S
                      LEHIGH ACRES, FL 33971



                      Geovanie Penate
                      5375 N HUNTINGTON DR
                      #2
                      LOS ANGELES, CA 90032



                      Geovany Moran
                      5421 S NORMANDIE
                      LA, CA 90037



                      GEOVANY MORAN
                      5421 S NORMANDIE
                      LOS ANGELES, CA 90037



                      GERALD GUEVARA VILLEDA
                      2508 BORCHARD AVE
                      SANTA ANA, CA 92704
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 842 of 2164




                      Gerald Jones
                      139 RENAISSANCE PKWY
                      ATLANTA, GA 30308



                      Gerald Williams
                      7375 9th St
                      #102
                      Buena Park, CA 90621



                      Gerarda Rios De Osorio
                      2410 S SALTA ST
                      SANTA ANA, CA 92704



                      Gerardo BELTRAN
                      1061 W SEA FAN
                      86704
                      TUCSON, AZ 85704



                      Gerardo Chacon
                      1261 Ronda Ave
                      Escondido, CA 92027



                      Gerardo De Jesus Jaimes
                      84329 Phoenix Ct
                      Coachella, CA 92236



                      Gerardo Garcia
                      1467 LIBERTY CT -0517
                      ALVISO, CA 95002



                      Gerardo Gomez
                      5040 Camino Pyrenees
                      Suite 101
                      San Diego, CA 92130



                      Gerardo Hernandez
                      285 W SAN MARCOS BLVD
                      29
                      SANH MARCOS, CA 92069
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 843 of 2164




                      Gerardo Hernandez
                      1907 ISELTA BLVD SW
                      19
                      ALBUQUERQUE, NM 87105



                      Gerardo Martinez
                      1189 GAINSVILLE AVE.
                      SAN JOSE, CA 95122



                      Gerardo Miranda Garcia
                      8000 KING ST
                      WESTMINSTER, CO 80031



                      Gerardo Nino Torres
                      945 W. BROADWAY RD
                      #2013
                      MESA, AZ 85210



                      Gerardo Padilla
                      595 COLUMBIA AVENUE
                      SUNNYVALE, CA 94085



                      Gerardo Ramirez Rodriguez
                      278 N WILSHIRE AVE
                      C8
                      ANAHEIM, CA 92801



                      Gerardo Reyes
                      721 N Garfield St
                      Apt G
                      Santa Ana, CA 92701



                      Gerardo Rodriguez
                      5348 Cedar Grove Cir
                      San Jose, CA 95123
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 844 of 2164




                      Gerardo Ruiz
                      160 HIGHLAND TRACE
                      160
                      ROSWELL, GA 30076



                      German Aguirre
                      10974 METRONOME DR
                      HOUSTON, TX 77043



                      German Cruz San Miguel
                      4230 VIA PIEDRA CIR
                      SARASOTA, FL 34344



                      German Meza
                      4510 Sw 34th Ave
                      Fort Lauderdale, FL 33312



                      German Ortiz
                      1439 N Pomeroy
                      Mesa, AZ 85201



                      German Rivera
                      12744 VANOWEN ST
                      #3
                      NORTH HOLLYWOOD, CA 91605



                      Gerome Phillips jr.
                      370 E HARMON AVE
                      N 228
                      LAS VEGAS, NV 89169



                      Gerson Mieses
                      13243 PIKE LAKE DR
                      RIVERVIEW, FL 33579



                      Gertilla Gerard
                      508 Dogwood Rd
                      West Palm Beach, FL 33409
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 845 of 2164




                      Gertrude Jean simon
                      118 SW 10TH AVE
                      DELRAY BEACH, FL 33444



                      Gertrudis Y Vallejo De Sarmiento
                      1527 MAXWELL LANE
                      VISTA, CA 92084



                      Gesline Teda
                      851 Ne 52
                      Pompano Beach, FL 33064



                      GESSNER PRODUCTS CO INC
                      PO BOX 389
                      AMBLER, PA 19002-0389



                      Gessner Products Co. Inc.
                      P.O. Box 389
                      Ambler, PA 19002-0389



                      GET ENTERPRISES INC
                      7401 SECURITY WAY
                      SUITE 200
                      JERSEY VILLAGE, TX 77040



                      Getzemany Salgado
                      14802 Newport Avenue
                      #19b
                      Tustin, CA 92780



                      Geuvinnies Portillo
                      555 E EL CAMINO REAL
                      103
                      SUNNYVALE, CA 94087



                      GF SNS Holdings LLC
                      Cerberus Business Finance, LLC
                      875 Third Avenue
                      New York, NY 10022
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 846 of 2164




                      Gfrc Dist - East Coast
                      1325 Chastain Road
                      STE 300
                      Kennesaw, GA 30144



                      GFRC DIST - EAST COAST
                      1325 CHASTAIN ROAD STE 300
                      KENNESAW, GA 30144



                      Gfrc Dist - West Coast
                      6800 Sycamore Canyon Boulevard
                      Riverside, CA 92507



                      GFWC MIRA MESA WOMENS CLUB
                      8869 SHAULA WAY
                      SAN DIEGO, CA 92126



                      GGP/HOMART II LLC
                      SDS - 12 - 3092
                      PO BOX 86
                      MINNEAPOLIS, MN 55486-3092



                      GGPLP REAL ESTATE INC
                      SDS - 12 - 3053
                      PO BOX 86
                      MINNEAPOLIS, MN 55486-3053



                      GHA TECHNOLOGIES INC
                      DEPT 2090
                      PO BOX 29661
                      PHOENIX, AZ 85038-9661



                      Ghenadii Burlac
                      5421 Silent Brook Dr
                      Orlando, FL 32821



                      Ghenrih Burlac
                      5421 SILENT BROOK DR
                      ORLANDO, FL 32821
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 847 of 2164




                      GHHS GIRLS BASKETBALL
                      1719 E MADISON AVE
                      EL CAJON, CA 92019



                      GHS BOYS SOCCER
                      10233 MSN GORGE RD APT B212
                      SANTEE, CA 92071



                      GHSIMB
                      PO BOX 341335
                      TANPA, FL 33694



                      Gia-toan Phan
                      1963 RIDGEMONT DRIVE
                      SAN JOSE, CA 95148



                      Gian Jonathan Villanueva
                      39149 GUARDINO DRIVE
                      243
                      FREMONT, CA 94538



                      Gianna LeVoy
                      284 BURNT PINE DR
                      NAPLES, FL 34119



                      Gianna Palazzolo
                      16055 Magnolia Hill Street
                      Kissimmee, FL 34747



                      Gianna Poggio
                      12639 SW 54TH ST
                      MIRAMAR, FL 33027



                      Gianni Vielot
                      11355 NW 49TH DR
                      CORAL SPRINGS, FL 33076
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 848 of 2164




                      Giannina Nassif
                      9902 Jamacha Blvd
                      #147
                      Spring Valley, CA 91977



                      Gideon Fogt
                      6092 HORTON DRIVE
                      NA
                      LA MESA, CA 91942



                      Gihon Warner
                      3714 LINWOOD WAY
                      SNELLVILLE, GA 30039



                      Gilbert Alvarez
                      2409 Sorrento Circle
                      Winter Park, FL 32792



                      Gilbert Cobian
                      3360 WEST LINCOLN
                      ANAHEIM, CA 92801



                      Gilbert Dominguez
                      1549 LEXINGTON CT
                      CAMARILLO, CA 93010



                      GILBERT ELECTRIC CO INC
                      1760 E PACE COURT
                      TUCSON, AZ 85719



                      GILBERT LOPEZ
                      AND FLORIDA HOMES LLC
                      224 DUNBRIDGE DR
                      PALM HARBOR, FL 34684



                      Gilbert Lozano
                      1300 W Commonwealth Ave
                      Alhambra, CA 91803
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 849 of 2164




                      Gilbert Ngotho
                      522 SOUTH MAIN STREET
                      LOS ANGELES, CA 90013



                      Gilbert Ontiveros
                      917 EAST MOBECK STREET
                      #D
                      WEST COVINA, CA 91790



                      GILBERT PARK ELEMENTARY PTA
                      13132 SE RAMONA ST
                      PORTLAND, OR 97236



                      GILBERT PARK ELEMENTARY PTA
                      13132 SE RAMONA ST
                      PORTLAND
                      OR, 97236



                      Gilbert Philip Repunte
                      11035 DARGAIL ST.
                      SUGAR LAND, TX 77478



                      GILBERT PRICE
                      5165 STONCHAVAN VIEW
                      CUMMINGS, GA 30040



                      Gilbert Valdez
                      5610 River Sound Ter
                      Bradenton, FL 34208



                      Gilbert Valenzuela
                      60 W STONE LOOP
                      APT 712
                      TUCSON, AZ 85704



                      Gilberto Aguirre
                      8110 ALBACORE DR
                      50
                      HOUSTON, TX 77074
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 850 of 2164




                      GILBERTO AHUATZI
                      2178 PLACENTIA AVE APT F
                      COSTA MESA, CA 92627



                      Gilberto Arias Jr
                      1002 ALOHA WAY
                      LADY LAKE, FL 32159



                      Gilberto Escamilla
                      13620 SW BEEF BEND RD
                      142
                      TIGARD, OR 97224



                      Gilberto Felix
                      9537 SE WINSOR DR
                      MILWAUKIE, OR 97222



                      Gilberto Garcia
                      1707 APACHE BLV
                      #6
                      TEMPE, AZ 85282



                      Gilberto Gonzalez
                      229 Longleaf Ct
                      Orlando, FL 32835



                      Gilberto Gonzalez
                      615 DORY LANE
                      304
                      ALTAMONTE SPRINGS, FL 32714



                      Gilberto Resendiz
                      23946 Via Copeta
                      Valencia, CA 91355



                      Gilberto Ruiz
                      52372 TRIPOLI WAY
                      COACHELLA, CA 92236
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 851 of 2164




                      Gilberto S. Valladares
                      26526 Jules Ct
                      Spring, TX 77386



                      Gilberto Soto
                      4401 MONTGOMERY BLVD NE
                      APT 9
                      Albuquerque, NM 87109



                      Gilberto Valladares
                      26526 Jules Ct
                      Spring, TX 77386



                      Gilberto Vazquez
                      1443 W Orangethorpe Ave
                      Fullerton, CA 92833



                      Gildardo Ruano-Polanco
                      3435 AGATE DRIVE
                      APT. 4
                      SANTA CLARA, CA 95051



                      Gillian Perdue
                      2807 E LE MARCHE AVE
                      103
                      PHOENIX, AZ 85032



                      Gim Yapabandara
                      2780 W LINCOLN AVE
                      ANAHEIM, CA 92801



                      Gina Cabahug
                      228 Greenwich Drive
                      Pleasant Hill, CA 94523



                      Gina Eckstein
                      18936 KESWICK ST
                      RESEDA, CA 91335
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 852 of 2164




                      Gina Marron
                      391 N Melrose Dr
                      #h
                      Vista, CA 92083



                      GINA MARRON
                      391 N MELROSE DR #H
                      VISTA, CA 92083



                      Gina Moran
                      4722 W 161 ST
                      LAWNDALE, CA 90260



                      Ginette Jn Francois
                      4120 16TH PL SW
                      APT 203
                      NAPLES, FL 34116



                      Ginette Laguerre
                      2 Southern Cross Lane
                      Apt 202
                      Boynton Beach, FL 33436



                      Ginger Jones
                      1159 PEACHTREE PKWY
                      CUMMING, GA 30041



                      Ginger Quijano
                      258 PAMELA DRIVE
                      APT 63
                      MOUNTAIN VIEW, CA 94040



                      Ginger Robinson
                      1074 S DEARBORN ST
                      UNIT 306
                      AURORA, CO 80012
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 853 of 2164




                      Ginia Ernest
                      3933 COCOPLUM CORCLE
                      COCONUT CREEK, FL 33063



                      GINNY RICHARDS
                      4827 W 139TH STREET
                      HAWTHRONE, CA 90250



                      Gino Camacho
                      13604 RAMONA BLVD
                      #2
                      BALDWIN PARK, CA 91706



                      Gino Williams
                      2139 RIVERTREE CIR
                      104
                      ORLANDO, FL 32839



                      Gio Sgarlato
                      239 OMIRA DR
                      SAN JOSE, CA 95123



                      Giovani Renteria
                      5901 WEBB BRIDGE CROSSING
                      5901
                      ALPHARETTA, GA 30009



                      Giovanna Rios
                      9595 Pecos St.
                      #401
                      Thornton, CO 80260



                      Giovanni Campos-trejo
                      1168 AYALA DR.
                      #1
                      SUNNYVALE, CA 94086
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 854 of 2164




                      Giovanni Duca
                      1421 LAHARA WAY
                      TRINITY, FL 34655



                      Giovanni Hernandez
                      255 ALTURAS AVE
                      SUNNYVALE, CA 94085



                      Giovanni Herrera
                      171 PALOMAR ST
                      257
                      CHULA VISTA, CA 91911



                      Giovanni Macias
                      34856 Nightingale Ct
                      Fremont, CA 94555



                      Giovanni Madera-febus
                      1715 W PATTERSON
                      TAMPA, FL 33604



                      Giovanni Plata
                      2612 WEST NORTHWOOD
                      SANTA ANA, CA 92704



                      Giovanni Ramirez
                      6201 Caprino Ave
                      Las Vegas, NV 89108



                      Giovanni Rivera
                      310 PALA VISTA DR
                      VISTA, CA 92083



                      Giovannie Casillas
                      12652 ANABEL AVE
                      GARDEN GROVE, CA 22843
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 855 of 2164




                      GIRL SCOUTS OF SE FLORIDA
                      6944 LAKE WORTH RD
                      LAKE WORTH, FL 33467



                      GIRL SCOUTS OF SOUTHEAST FLORIDA AQUARIU
                      6944 LAKE WORTH RD
                      LAKE WORTH, FL 33467



                      GIRL SCOUTS OF SOUTHERN AZ
                      4300 E BROADWAY BLVD
                      TUCSON, AZ 85711



                      GIRLS FASTPITCH OF OCEANSIDE
                      PO BOX 6650
                      OCEANSIDE, CA 92052



                      GIRLS WATER POLO BOOSTER
                      6949 GENESSE AVE
                      SAN DIEGO, CA 92122



                      Gisel Jaimes
                      301 S CERRITOS AVE
                      AZUSA, CA 91702



                      Gisel Ramos
                      9308 RUSH STREET
                      SOUTH EL MONTE, CA 91733



                      Gisela Aguilar
                      13623 RACINE AVENUE
                      PARAMOUNT, CA 90723



                      Gisela Rosa
                      416 CAPEHART DR
                      ORLANDO, FL 32822
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 856 of 2164




                      Gisela Tarifa
                      9226 CREBS AVE.
                      NORTHRIDGE, CA 91324



                      Gisell Morante
                      15819 ALWOOD STREET
                      LA PUENTE, CA 91744



                      Giselle Burley-Ferguson
                      8648 WILCREST DR
                      HOUSTON, TX 77099



                      Giselle Fernandez
                      3425 Cowley way
                      San Diego, CA 92117



                      Giselle Herrera
                      27444 CAMDEN
                      6E
                      MISSION VIEJO, CA 92692



                      Giselle Lopez
                      79-140 LADERA DRIVE
                      LA QUINTA, CA 92253



                      Giselth DLacoste
                      3803 MARQUETTE PLACE
                      4F
                      SAN DIEGO, CA 92106



                      Gissel Quiles
                      434 CLEMSON DR
                      ALTAMONTE SPRINGS, FL 32714



                      Gissela Zapata
                      7002 TRAIL VALLEY WAY
                      HOUSTON, TX 77086
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 857 of 2164




                      Gisselle Escamilla
                      980 EVERETT ST
                      LOS ANGELES, CA 90026



                      Gisselle Fernandez
                      11928 REEDY CREEK DR
                      ORLANDO, FL 32836



                      Gisselle Guerrero
                      13957 AVENLY GLEN WAY
                      EASTVALE, CA 92880



                      Gisselle Lopez
                      1870 N NEBULA DR
                      175
                      LAS VEGAS, NV 89115



                      Giuliana Ardito
                      1734 32ND ST
                      SARASOTA, FL 34234



                      Giuliano Hersha
                      4772 MT ST HELENS DR
                      SAN DIEGO, CA 92117



                      GIVEX USA CORPORATION
                      1341 ESTES STREET
                      GURNEE, IL 60031



                      Givonne Mulkey
                      4418 JOHN BELL DR.
                      TAMPA, FL 33610



                      Gizy Michel
                      1982 BROADLEAF LN
                      POWDER SPRINGS, GA 30127
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 858 of 2164




                      GLADES MIDDLE PTSA
                      16700 SW 48 CT
                      MIRAMAR, FL 33027



                      Gladis Aldava
                      3474 DOVER ST
                      SARASOTA, FL 34235



                      GLADSTONE PARK SDA CHURCH
                      8378 SE CASON RD
                      ATTN MEL HICKMAN
                      GLADSTONE, OR 97017



                      GLADSTONE YMCA
                      17395 WEBSTER ROAD
                      GLADSTONE, OR 97027



                      Gladys Barahona
                      8401-39 Pan American Fwy Ne
                      Albuquerque, NM 87113



                      Gladys Barrios
                      261 San Jacinto Drive
                      San Diego, CA 92114



                      GLADYS CAMPOS
                      954 HENDERSON AV 99
                      SUNNYVALE, CA 94086



                      Gladys laverde duque
                      15453 CORTONA WAY
                      NAPLES, FL 34120



                      Gleinner Hurtado
                      13150 Bissonnet St. #703
                      Houston, TX 77099
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 859 of 2164




                      GLEN A WILSON HIGH SCHOOL
                      16455 E WEDGEWORTH DR
                      HACIENDA HEIGHTS, CA 91745



                      Glen Cajas
                      15121 SW 112 TERRACE
                      15121
                      MIAMI, FL 33196



                      GLEN E MURDOCK PTA
                      4354 CONRAD DR
                      LA MESA, CA 91941



                      GLENDA GLACKIN
                      29799 CALLE TOMAS
                      SUN CITY, CA 92586



                      Glenda Mujica
                      48554 CALLE CANTARA
                      COACHELLA, CA 92236



                      Glenda Obando
                      11620 SE 129TH LN
                      OCKLAWAHA, FL 32179



                      Glenda Ricacho
                      1914 EL PRADO AVENUE
                      LEMON GROVE, CA 91945



                      GLENDA SCHACHINGER




                      Glendy Caraballo
                      1105 MONTEAGLE CIR
                      APOPKA, FL 32712
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 860 of 2164




                      Glendy perez
                      1313 LAUREL TREE LN
                      154
                      CARLSBAD, CA 92054



                      GLENMOOR ELEMENTARY SCHOOL
                      4620 MATTOS DRIVE
                      FREMONT, CA 94536



                      Glenn hustwit
                      3172 SCRANTON ST
                      AURORA, CO 80011



                      Glindy Filius
                      4021 Nw 78th Terrace
                      Aptb
                      Coral Springs, FL 33065



                      Glinys Ramos
                      4846 SUSIE WAY
                      ORLANDO, FL 32809



                      GLOBAL AUTISM PROJECT
                      16770 NW SANDELIE CT
                      BEAVERTON, OR 97006



                      GLOBAL BRIGADES INC
                      9253 REGENTS RD A110
                      LA JOLLA, CA 92037



                      GLOBAL COOL LLC
                      502 CHANEY ST STE F
                      LAKE ELSINORE, CA 92530



                      GLOBAL EQUIPMENT COMPANY
                      29833 NETWORK PLACE
                      CHICAGO, IL 60673-1298
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 861 of 2164




                      GLOBAL MEDIA SYSTEMS INC
                      30252 TOMAS STE 200
                      RANCHO SANTA MARGARITA, CA 92688



                      GLOBAL SENSORS LLC
                      PO BOX 750
                      BELMONT, NC 28012



                      GLOBE FOOD EQUIPMENT
                      PO BOX 636190
                      CINCINNATI, OH 45263-6190



                      Gloria Arellano
                      18633 Del Bonita St
                      Rowland Heights, CA 91748



                      Gloria Conway
                      7104 Brindisi Pl NW
                      Albuquerque, NM 87114



                      Gloria Flores
                      7621 1/2 Artesia blvd
                      Buena Park, CA 90621



                      Gloria Gallardo
                      6110 N PEPPER TREE LN
                      TUCSON, AZ 85741



                      Gloria Gastelum
                      5361 W VAKA MOA
                      TUCSON, AZ 85757



                      GLORIA HOLLAND
                      13821 SOUTH MALLORD DR
                      PLAIN FIELD, IL 60544
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 862 of 2164




                      Gloria Jimenez
                      860 WEST. 132ND AVE.
                      10
                      WESTMINSTER, CO 80234



                      Gloria Lopez
                      10400 Se Cook Ct
                      Unit 78
                      Milwaukie, OR 97222



                      Gloria Luna
                      5023 DAWNE ST.
                      SAN DIEGO, CA 92117



                      Gloria Mancilla
                      805 S. Cedar Ave
                      Fresno, CA 93702



                      Gloria Ortega
                      3335 N Flowing Wells
                      Tucson, AZ 85705



                      Gloria Perez
                      960 E Arroyo Terrace
                      Apt F
                      Alhambra, CA 91801



                      Gloria Santos
                      4358 Hopkins Lake Rd
                      Duluth, GA 30096



                      Gloria Trejo
                      4345 Sw 165th Ave.
                      Beaverton, OR 97007



                      Gloria Valenzula Gonzalez
                      3803 W 68th
                      Apt H210
                      Westminster, CO 80030
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 863 of 2164




                      GLORIA WILHELM
                      1047 LEOVILLE
                      BOURBONNAIS, IL 60914



                      Gloria Zarate
                      3760 NORTH WAY
                      77
                      OCEANSIDE, CA 92056



                      GLUTEN FREE FOODS MFG LLC
                      5010 EUCALYPTUS AVE
                      CHINO, CA 91710



                      GLW ENTERPRISES INC
                      SERVPRO SANTA CLARITA VALLEY
                      LANCASTER PALMDALE ACTON 29059 THE OLD R
                      SANTA CLARITA, CA 91355



                      GM DEALS INC
                      3018 DURFEE AVE STE E
                      EL MONTE, CA 91732



                      GMS PTSA
                      45125 VIA DEL CORONADO
                      TEMECULA, CA 92592



                      Gober Hurtado
                      42200 Moraga Rd
                      #37c
                      Temecula, CA 92591



                      Godfrey Diamsay
                      28188 Moulton Pkwy
                      #2313
                      Laguna Niguel, CA 92677



                      GOJI CREATIVE LLC
                      668 N COAST HWY
                      LAGUNA BEACH, CA 92651
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 864 of 2164




                      Gold Coast Baking
                      FILE 2217
                      1801 W OLYMPIC BLVD
                      PASADENA, CA 91199-2217



                      GOLD COAST BAKING CO INC
                      FILE 2217
                      1801 W OLYMPIC BLVD
                      PASADENA, CA 91199-2217



                      Gold Coast Baking Co. Inc.
                      1590 E. St. Gertrude Place
                      Santa Ana, CA 92705-5310



                      GOLD COAST INGREDIENTS INC
                      PO BOX 911612
                      LOS ANGELES, CA 90091



                      GOLD COAST PACKING
                      PO BOX 1023
                      SANTA MARIA, CA 93456



                      GOLD MEDALLION AWARDS INC
                      7529 CONVOY CT
                      SAN DIEGO, CA 92111



                      GOLD STAR PUMPING
                      10001 N SILVERBELL
                      TUCSON, AZ 85743



                      GOLDEN HILL PTA
                      732 BARRIS DR
                      SAN JOSE, CA 92832



                      GOLDEN LUCK INC
                      104 HARBOR DRIVE
                      JERSEY CITY, NJ 07305
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 865 of 2164




                      GOLDEN SPECIALTY FOODS LLC
                      14605 BEST AVE
                      NORWALK, CA 90650



                      GOLDEN STAR ASSEMBLY 257
                      508 AVALON DR
                      VISTA, CA 92084



                      GOLDEN STATE BALLET AND PILATES
                      6338 RIVERDALE STREET
                      SAN DIEGO, CA 92120



                      Golden Way Mechanical
                      6333 S SANTE FE DR STE C
                      LITTLETON, CO 80120



                      GOLDEN WAY MECHANICAL INC
                      6333 S SANTE FE DR STE C
                      LITTLETON, CO 80120



                      GOLDEN WAY MECHANICAL INC
                      6333 S SANTE FE DR STE C
                      LITTLETON
                      CO, 80120



                      Golden West
                      16730 GRIDLEY ROAD
                      CERRITOS, CA 90703-1730



                      Golden West Food Group
                      16730 GRIDLEY ROAD
                      CERRITOS, CA 90703-1730



                      Golden West Sales
                      16730 Gridley Road
                      Cerritos, CA 90703-1730
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 866 of 2164




                      Golden West Trading
                      Us Bank Lockbox
                      PO BOX 511541
                      Los Angeles, CA 90051



                      Gonzales Sandra
                      CAPITOL CIR
                      554
                      SAN JOSE, CA 95136



                      Gonzalez Jr Homer
                      5632 Granada Dr
                      Sarasota, FL 34231



                      Gonzalez Juan
                      1641 Huntington Dr
                      Duarte, CA 91010



                      Gonzalo Araiza
                      1414 W CENTRA AVE SPC 8
                      BREA, CA 92821



                      Gonzalo Araiza
                      1414 W. Central Ave
                      #8
                      Brea, CA 92821



                      Gonzalo Carroza
                      331 Bervely Pl
                      Santa Ana, CA 92701



                      GONZALO CASILLAS
                      6130 MONTERREY HWY SPC
                      240
                      SAN JOSE, CA 95138



                      Gonzalo Contreras
                      2544 TAMORA AVE
                      SOUTH EL MONTE, CA 91733
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 867 of 2164




                      Gonzalo Garcia
                      7502 DENNY AVE
                      SUN VALLEY, CA 91352



                      Gonzalo Gonzalez
                      9999 FOOTHILL BLVD
                      SPC 38
                      RANCHO CUCAMONGA, CA 91730



                      Gonzalo Ochoa
                      48 E Colorado
                      Apt C
                      Arcadia, CA 91006



                      Gonzalo Ortiz Mata
                      S EVANSTON ST
                      AURORA, CO 80014



                      GOOD SHEPHERD CATHOLIC SCHOOL
                      8160 GOLD COAST DRIVE
                      SAN DIEGO, CA 92126



                      GOOD SHEPHERD CHILDREN CENTER
                      400 W DUARTE RD
                      ARCADIA, CA 91007



                      GOOD SHEPHERD MONTESSORI SCHOOL
                      805 SE ELLSWORTH RD
                      VANCOUVER, WA 98664



                      Gorge ramos
                      3021 huff ave apt. 405
                      san jose, CA 95128



                      Gourmet Fresh Pasta
                      950 North Fair Oaks Avenue
                      Pasadena, CA 91103
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 868 of 2164




                      GOURMET FRESH PASTA
                      950 NORTH FAIR OAKS AVE
                      PASADENA, CA 91103



                      GOVDOCS
                      VB BOX 167
                      PO BOX 9202
                      MINNEAPOLIS, MN 55480-9202



                      Grace Barry
                      690 W BROOKWOOD ST
                      BREA, CA 92821



                      GRACE CHEN 2002
                      13019 CARITA COVE
                      SA DIEGO, CA 92130



                      GRACE CHRISTIAN SCHOOL
                      4545 MYRA AVE
                      CYPRESS, CA 90630



                      GRACE CHRISTIAN SCHOOLS
                      26052 TRABUCO RD
                      LAKE FOREST, CA 92630



                      Grace Faulkner
                      9436 S. CHESHIRE CT
                      HIGHLANDS RANCH, CO 80130



                      Grace Krebs
                      5166 NW 151 TER
                      PORTLAND, OR 97229



                      GRACE LUTHERAN SCHOOL
                      5172 MCFADDEN AVENUE
                      HUNTINGTON BEACH, CA 92649
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 869 of 2164




                      GRACE LUTHERAN SCHOOL PTL
                      856 W NEWGROVE ST
                      LANCASTER, CA 93534



                      GRACE MARGARET CAROLL DREWS
                      MARGEE DREWS DESIGN
                      3334 E COAST HWY #122
                      CORONA DEL MAR, CA 92625



                      Grace Nelson
                      16406 SW 104TH AVE
                      TIGARD, OR 97224



                      Grace Postle
                      14028 CAPEWOOD LANE
                      SAN DIEGO, CA 92128



                      Grace Voiles
                      4238 GLISSADE DR
                      NEW PORT RICHEY, FL 34652



                      Graciela Corona
                      5466 N Figarden Dr #235
                      Fresno, CA 93722



                      Graciela Fernandez
                      10760 Hobbitt Cir
                      Apt 208
                      Orlando, FL 32836



                      Graciela Martinez
                      6500 MONTGOMERY BLVD NE
                      414
                      ALBUQUERQUE, NM 87109



                      Graciela Nolasco
                      6022 Easton St.
                      Los Angeles, CA 90022
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 870 of 2164




                      Graciela Salinas
                      1701 ROCK SPRINGS DR
                      1079
                      LAS VEGAS, NV 89128



                      Graciela sotelo
                      6760 KEARNEY ST
                      COMMERCE CITY, CO 80022



                      Grady Becker
                      300 W. LOS ANGELES DR.
                      D-10
                      VISTA, CA 92083



                      Grady Davis
                      6349 Baker Court
                      Aptaaaa
                      Norcross, GA 30092



                      Graham Catudal
                      709 ELM AVE.
                      GALT, CA 95632



                      GRAHAM MS PROGRAMMERS
                      1135 BORANDA AVE
                      MOUNTAIN VIEW, CA 94040



                      GRANADA HILLS CHARTER ROBOTICS
                      10535 ZELZAH AVE
                      GRANADA HILLS, CA 91344



                      GRANADA SHOPPES ASSOC LTD
                      703 WATERFORD WAY #800
                      C/O COURTELIS COMPANY
                      MIAMI, FL 33126
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 871 of 2164




                      Granada Shoppes Associates, Ltd.
                      Attn: Management
                      703 Waterford Way
                      Ste. 800
                      Miami, FL 33126



                      GRAND RAPIDS CITY TREASURER
                      GRAND RAPIDS INCOME TAX DEPT
                      PO BOX 347
                      GRAND RAPIDS, MI 00049-5010



                      GRAND SLAM CLUB
                      2999 BRANDON CIRCLE
                      CARLSBAD, CA 92010



                      GRANDE AIRE BONITA LLC
                      PO BOX 2729
                      BONITA SPRINGS, FL 34133



                      GRANITE HILLS HIGH SCHOOL CLASS OF 2020
                      1719 E MADISON AVE
                      EL CAJON, CA 92019



                      GRANT RANCH SCHOOL
                      5400 S JAY CIRCLE
                      LITTLETON, CO 80123



                      GRANT THORNTON LLP
                      PO BOX 51552
                      LOS ANGELES, CA 90051-5852



                      GRANT WATER AND SANITATION DISTRICT
                      PO BOX 1239
                      EVERGREEN, CO 80437



                      Gray Jessica
                      518 NW. 12TH AVE.
                      BOYTON BEACH, FL 33435
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 872 of 2164




                      GRAY N. JESSICA
                      518 NW. 12TH AVE.
                      BOYTON BEACH, FL 33435



                      GRAYSON COUNTY TREASURER
                      P.O. BOX 4160
                      LEITCHFIELD, KY 00042-7550



                      GREAT OAKS WATER CO
                      PO BOX 23490
                      SAN JOSE, CA 95153



                      GREATER ORLANDO AVIATION
                      AUTHORITY
                      C/O THE SEMBLER COMPANY PO BOX 41847
                      ST. PETERSBURG, FL 33743



                      GREATER ORLANDO AVIATION
                      AUTHORITY
                      ONE JEFF FUQUA BLVD
                      ORLANDO, FL 32827-4399



                      Greater Orlando Aviation Authority
                      c/o The Sembler Company
                      5858 Central Ave.
                      St. Petersburg, FL 33707



                      Grecia Jimenez
                      3067 W COOLIDGE AVE
                      #2
                      ANAHEIM, CA 92801



                      GREEN GRASS LAWN SERVICES III INC
                      17066 NW 56 CT
                      MIAMI, FL 33055



                      Green Taylor
                      1035 ROCKCREST DRIVE
                      MARIETTA, GA 30062
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 873 of 2164




                      GREEN TOUCH HOME SERVICES INC
                      8997 FALCON POINTE LOOP
                      FT MYERS, FL 33912



                      GREEN VALLEY HIGH SCHOOL
                      460 ARROYO GRANDE BLVD
                      HENDERSON, NV 89014



                      GREEN VALLEY SWIM TEAM
                      10739 LOS JARDINES W
                      FOUNTAIN VALLEY, CA 92708



                      GREENFIELD CITY TAX
                      P.O. BOX 300
                      GREENFIELD, OH 00045-1230



                      GREENWOOD LAND COMPANY II LLC
                      12727 SOUTH FORT STREET
                      DRAPER, UT 84020



                      GREENWOOD VILLAGE
                      PO BOX 4837
                      GREENWOOD VILLAGE, CO 80155-4837



                      Greg Ayers
                      117 Sunset Ave.
                      Sunnyvale, CA 94086



                      Greg GOMEZ
                      1950 E SUSSEX WAY
                      231
                      FRESNO, CA 93726



                      Greg Samuels
                      106 W GLENHAVEN DR
                      PHOENIX, AZ 85045
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 874 of 2164




                      GREGG ANDERSON ACADEMYS
                      40447 COLINA CT
                      PALMDALE, CA 93551



                      Gregoria marte
                      1955 BELLS FERRY
                      3328
                      MARIETTA, GA 30066



                      Gregorio Mejia
                      12540 Sugardale Dr
                      Stafford, TX 77477



                      Gregorio Melchor
                      6833 298th Ave N
                      Clearwater, FL 33761



                      Gregorio Perez
                      1168 E. Lugonia Ave Apt. D
                      Redlands, CA 92374



                      GREGORIO PEREZ
                      1168 E LUGONIA AVE APT D
                      REDLANDS, CA 92374



                      Gregorio Sanchez
                      3851 wynn rd apt # 1099
                      Las Vegas, NV 89103



                      Gregorio Smith
                      3780 OLD NORCROSS RD.
                      432
                      DULUTH, GA 30096



                      Gregory Davidson
                      116 Monarch Circle
                      Apartment 1
                      Fern Park, FL 32730
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 875 of 2164




                      Gregory Davis
                      2820 AVENUE S.
                      5
                      WEST PALM BEACH, FL 33404



                      GREGORY FX DALY COLECTR OF REV
                      CITY OF STL-EARNINGS TAX DIV
                      1200 MARKET STREET
                      ST. LOUIS, MO 00063-1030



                      GREGORY FX DALY COLECTR OF REV
                      410 CITY HALL
                      1200 MARKET STREET
                      ST. LOUIS, MO 00063-1030



                      Gregory Hester
                      5141 SW 164TH ST RD
                      OCALA, FL 34473



                      Gregory Olmedo
                      15050 MONTE VISTA AVE
                      16
                      CHINO HILLS, CA 91709



                      Gregory Overton
                      550 N CENTRAL AVE
                      4206
                      UPLAND, CA 91786



                      Gregory Parson
                      16501 NELSON PARK DR
                      CLERMONT, FL 34714



                      GREGORY SUGANO
                      169 IVYWOOD LANE
                      ROSWELL, GA 30076
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 876 of 2164




                      Grenise Estenio
                      22834 SW 65 TH WAY
                      BOCA RATON, FL 33428



                      Grettel Fernandez
                      819 BONITA DR
                      VISTA, CA 92083



                      Grey Cowan
                      844 EAST BELL ROAD
                      3031
                      PHOENIX, AZ 85022



                      GRIDLEY MIDDLE SCHOOL PTSA
                      350 S HARRISON RD
                      TUCSON, AZ 85748



                      Griffen A. Ziese
                      61 SERAPE PLACE
                      CAMARILLO, CA 93010



                      Griffen Ziese
                      61 SERAPE PLACE
                      CAMARILLO, CA 93010



                      Griffin Bean
                      2534 SKYLARK WAY
                      NA
                      PLEASANTON, CA 94566



                      GRIFFIN INDUSTRIES INC
                      PO BOX 530401
                      ATLANTA, GA 30353-0401



                      Griffin Watson
                      1230 Tylee St
                      Vista, CA 92083
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 877 of 2164




                      Griffith Foods
                      PO BOX 205915
                      DALLAS, TX 75320-5915



                      GRIFFITH FOODS INC
                      PO BOX 205915
                      DALLAS, TX 75320-5915



                      Griffith Laboratories Usa, Inc
                      Griffith Foods Inc.
                      Po Box 205915
                      Dallas, TX 75320-5915



                      Grindmaster Corporation
                      PO Box 3288
                      Carol Stream, IL 60132-3288



                      Grisel Ocampo Martinez
                      30001 Golden Lantern
                      #98
                      Laguna Niguel, CA 92677



                      Griselda Salinas
                      139 Abbeywood Lane
                      Aliso Viejo, CA 92656



                      GROSS INCOME TAX
                      PO BOX 248
                      TRENTON, NJ 8646-248



                      GROSSMONT HEALTH OCCUPATION CE
                      9368 OAKBOURNE RD
                      GHOC VN CLASS 65
                      SANTEE, CA 92071



                      GROSSMONT HIGH SCHOOL CHEER
                      2173 VALLEY MILL RD
                      EL CAJON, CA 92020
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 878 of 2164




                      GROSSMONT HIGH SCHOOL CHEER
                      2173 VALLEY MILL RD
                      EL CAJON
                      CA, 92020



                      GROSSMONT MIDDLE COLLEGE HIGH
                      8800 GROSSMONT COLLEGE DRIVE
                      EL CAJON, CA 92020



                      GROUP KIRKMAN LLC
                      2300 NW CORPORATE BLVD #141
                      ATTN FRED CHIKOVSKY
                      BOCA RATON, FL 33431



                      GRUMPY OLD GUY CONSTRUCTION COMPANY LLC
                      4399 LANDOVER BLVD
                      SPRING HILL, FL 34609



                      GRUMPY OLD GUY CONSTRUCTION COMPANY LLC
                      4399 LANDOVER BLVD
                      SPRING HILL
                      FL, 34609



                      GSGLA TROOP 16245
                      4023 TRACY STREET
                      LOS ANGELES, CA 90027



                      GSHS ATHLETIC BOOSTER CLUB
                      3105 MAPLERIDGE DR
                      LUTZ, FL 33558



                      GSHSWOBC
                      2627 CORDOBA RANCH BLVD
                      LUTZ, FL 33559



                      Guadalupe Acosta
                      220 Shady Lane
                      Space 42
                      El Cajon, CA 92021
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 879 of 2164




                      Guadalupe Aquino
                      20710 ANZA AVE
                      TORRANCE, CA 90503



                      Guadalupe Castellanos
                      167 North Madeira Avenue
                      Salinas, CA 93905



                      Guadalupe Chavez
                      2115 ALEXANDER WAY
                      PLEASANTON, CA 94588



                      Guadalupe Correa
                      5596 Kumquat Rd
                      West Palm Beach, FL 33413



                      Guadalupe Cortes
                      1407 W 7th St
                      Santa Ana, CA 92703



                      Guadalupe Delgado
                      420 S HELIOTROPE AVENUE
                      B
                      MONROVIA, CA 91016



                      Guadalupe Escamilla
                      13620 SW BEEF BEND RD
                      42
                      TIGARD, OR 97224



                      Guadalupe Garcia
                      10250 Cottage Field
                      Houston, TX 77041



                      Guadalupe Guerrero
                      127 29th St
                      San Diego, CA 92102
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 880 of 2164




                      Guadalupe Gutierrez
                      26356 Vintage Woods
                      Apt 20E
                      Lake Forest, CA 62630



                      Guadalupe Hernandez
                      110 Roundtable 10-2
                      San Jose, CA 95111



                      Guadalupe Linarez Lopez
                      2117 SANTA CRUZ AVENUE
                      SANTA CLARA, CA 95051



                      Guadalupe Lira Perez
                      2503 N. 52nd St.
                      #129
                      Phoenix, AZ 85008



                      GUADALUPE MALDONADO DE DURAN
                      18391 BANYAN AVE
                      RIALTO, CA 92377



                      Guadalupe Mendoza
                      24681 CORDOVA DR
                      #C
                      DANA POINT, CA 92629



                      Guadalupe Rodriguez
                      39838 SUNDALE DR
                      FREMONT, CA 94538



                      Guadalupe Rodriguez
                      11951 SW Tualatin Rd
                      #1121
                      Tualatin, OR 97062
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 881 of 2164




                      Guadalupe Rosario
                      1210 SE 10TH ST
                      APT #1
                      DANIA BEACH, FL 33004



                      Guadalupe Salvatierra
                      1719 W 259 St
                      #4
                      Lomita, CA 90717



                      Guadalupe Torres Cervantez
                      733 N SABINA ST
                      ANAHEIM, CA 92805



                      Guadalupe Valencia-rodriguez
                      9815 Sw Lookout Terrace.
                      Apt D
                      Beaverton, OR 97008



                      Guadalupe Y. Chavez
                      2115 ALEXANDER WAY
                      PLEASANTON, CA 94588



                      GUADELUPE CORTES
                      1407 W 7TH ST
                      SANTA ANA, CA 92703



                      GUAJOME PARK ACADEMY
                      2000 NORTH SANTA FE ST
                      VISTA, CA 92083



                      Gualberto Lievano
                      3003 Kathleen St
                      Tampa, FL 33607



                      GUARDIAN - ALTERNATE FUNDED
                      PO BOX 824395
                      PHILADELPHIA, PA 19182-4395
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 882 of 2164




                      Guerline Salomon
                      3711 Southwest 12th Place
                      Apt 103
                      FORT LAUDERDALE, FL 33312



                      Guerta Salomon
                      480 E Mcnab Rd
                      Apt 7
                      Pompano Beach, FL 33060



                      Guiller Dalit
                      ORLANDO DRIVE
                      2225
                      SAN JOSE, CA 95122



                      Guillermina Flores Robles
                      2045 S MCCLINTOCK
                      121
                      TEMPE, AZ 85282



                      GUILLERMO A BARBA
                      641 E SAN YSIDRO BLVD #B3222
                      SAN YSIDRO, CA 92173



                      GUILLERMO A. QUIAMBAO
                      7609 Heatherly Ln.
                      San Diego, CA 92130



                      Guillermo Alvarez
                      865 Euclid Ave
                      Apt.b
                      San Diego, CA 92114



                      Guillermo Campos Garcia
                      7342 Ponderosa dr
                      TAMPA, FL 33637
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 883 of 2164




                      Guillermo Mendoza
                      5241 N. Fresno St
                      #208
                      Fresno, CA 93710



                      Guillermo Miera
                      2305 METZGAR RD SW
                      20
                      ALBUQUERQUE, NM 87105



                      Guillermo Oregel
                      2111 Garnsey St
                      Santa Ana, CA 92707



                      Guillermo Quiambao
                      7609 Heatherly Ln.
                      San Diego, CA 92130



                      Guillermo Rivero-espinoza
                      9128 W Elwood St
                      Tolleson, AZ 85353



                      Guillermo Rodriguez
                      131 Eloise St
                      Conroe, TX 77301



                      Guillermo Rodriguez
                      194 Via Pelicano
                      #9
                      Oceanside, CA 92057



                      Guillermo Santos
                      4190 Altadena Ave
                      Apt#1
                      San Diego, CA 92105
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 884 of 2164




                      Guillermo Toyos
                      1873 E Washington Ave
                      Apt 04
                      Escondido, CA 92027



                      Guirlene Gassant pinthievre
                      152 NW 14 TH AVE
                      BOYNTON, FL 33435



                      Guisselle Zapot
                      31153 CAMINO DEL ESTE
                      TEMECULA, CA 92591



                      Guiteau Casseus
                      507 NE 3rd Ave apt N
                      Delray Beach, FL 33444



                      Guittard Chocolate Company
                      Dept# 34305
                      P.O. BOX 39000
                      San Francisco, CA 94139



                      GUITTARD CHOCOLATE COMPANY
                      DEPT 34305
                      PO BOX 39000
                      SAN FRANCISCO, CA 94139



                      Guldana Bazarkhanova
                      8750 MELLMANOR DR
                      126
                      LA MESA, CA 91942



                      GULF COAST PUBLISHING COMPANY INC
                      11470 OAKHURST RD
                      LARGO, FL 33774



                      GULF MECHANICAL INC
                      PO BOX 1716
                      PALM HARBOR, FL 34682
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 885 of 2164




                      Gullermina Reyna Robledo
                      943 West Carson
                      Apt 107
                      Torrance, CA 90502



                      Gulmira Rakhimova
                      4040 W Peoria Ave
                      Apt 1058
                      Phoenix, AZ 85029



                      Gumaro Leija Barbosa
                      967 NE ORENCO STATION LOOP
                      525
                      HILLSBORO, OR 97124



                      Gunther Documet
                      1313 NORTH CONRAD AVENUE
                      SARASOTA, FL 34237



                      Gurdeep Sohal
                      7668 Topaz Circle
                      Dublin, CA 94568



                      Gurnoor Brar
                      39714 PLUMAS WAY
                      FREMONT, CA 94538



                      GURSTEL LAW FIRM
                      9320 E RAINTREE DR
                      SCOTTSDALE, AZ 85260



                      GURSTEL LAW FIRM
                      9320 E RAINTREE DR
                      SCOTTSDALE
                      AZ, 85260
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 886 of 2164




                      Gustavo Andrade
                      2513
                      #H
                      CONCORD, CA 94520



                      Gustavo Casillas
                      37751 Dixie Drive
                      Palmdale, CA 93550



                      Gustavo Chavez
                      1450 REGANTI PL
                      #4
                      CONCORD, CA 94518



                      Gustavo De Leon Aguilar
                      24515 SE ALEXANDER ST
                      HILLSBORO, OR 97123



                      Gustavo Fabian
                      3726 Green ave
                      Los Alamitos, CA 90720



                      Gustavo Flores
                      10011 Hammerly
                      Apt# 106
                      Houston, TX 77080



                      Gustavo Gutierrez
                      4044 SAGINAW WAY
                      4044
                      FRESNO, CA 93726



                      Gustavo Henrique
                      1051 S.SANTA FE SPC.2
                      SPC.2
                      VISTA, CA 92083
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 887 of 2164




                      Gustavo Montano
                      446 N Wilson Ave
                      Pasadena, CA 91106



                      Gustavo Ruiz
                      450 E. DAILY DR.
                      14
                      CAMARILLO, CA 93010



                      Gustavo Tenorio
                      1999 MOWRY AVE
                      F
                      FREMONT, CA 94538



                      Guy Cataldo
                      1141 S Vega Street
                      Alhambra, CA 91801



                      Guy charlestin
                      1017 SUMMER GLEN BLVD
                      802
                      NAPLES, FL 34142



                      Guy Lewis
                      29372 BATTERS BOX
                      LAKE ELSINORE, CA 92530



                      GUY MARAI
                      1330 S MAYFLOWER AVE UNIT K
                      MONROVIA, CA 91016



                      Gwen Balalio
                      PO Box 16003
                      IRVINE, CA 92623



                      Gweneth Caha
                      28 BALUSTRADE PLACE
                      FOOTHILL RANCH, CA 92610
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 888 of 2164




                      GWINNETT CO WATER RESOURCES
                      PO BOX 71225
                      CHARLOTTE, NC 28272-1225



                      GWINNETT COUNTY
                      ENVIRONMENTAL HEALTH
                      455 GRAYSON HIGHWAY SUITE 600
                      LAWRENCEVILLE, GA 30046



                      GWINNETT COUNTY GEORGIA
                      REVENUE AND LICENSE ADMIN
                      PO BOX 1045
                      LAWRENCEVILLE, GA 30046



                      GWINNETT COUNTY POLICE DEPT
                      TREASURY DIVISION
                      75 LANGLEY DRIVE
                      LAWRENCEVILLE, GA 30046-6900



                      GWINNETT COUNTY POLICE DEPT
                      PO BOX 602
                      LAWRENCEVILLE, GA 30046



                      GWINNETT COUNTY TAX COMMISSION
                      PO BOX 372
                      LAWRENCEVILLE, GA 30046-0372



                      GWINNETT PLACE ASSOCIATES LP
                      ONE MARITIME PLAZA #2100
                      C/O FARALLON CAPITAL MGMT LP
                      SAN FRANCISCO, CA 94111



                      Gwinnett Place Associates, L.P.
                      Attn: Chan Ho c/o CRD of America
                      300 Black Belt World Dr.
                      Knightdale, NC 27454
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 889 of 2164




                      Ha Nguyen
                      2829 Glen Firth Dr
                      San Jose, CA 95133



                      HAB-EIT
                      PO BOX 25132
                      LEHIGH VALLEY, PA 00018-0020



                      HAB-LST
                      PO BOX 25156
                      LEHIGH VALLEY, PA 00018-0020



                      Hach Environmental
                      Hach Company
                      2207 Collections Center Drive
                      Chicago, IL 60693



                      HACK COMPANY
                      2207 COLLECTIONS CENTER DRIVE
                      CHICAGO, IL 60693



                      HAE LEE
                      1134 SE 72ND AVE
                      HILLSBORO, OR 97123



                      Hae Park
                      3314 Meline Field Dr
                      Spring, TX 77386



                      Haeley Barnes
                      15405 LANSDOWNE RD.
                      #F
                      TUSTIN, CA 92782



                      Haeley Oliver
                      308 EAST ST
                      OREGON CITY, OR 97045
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 890 of 2164




                      Haeley Silva
                      2001 RAMROD AVENUE
                      724
                      HENDERSON, NV 89014



                      Hagan Steely
                      1750 SHILOH RD
                      1321
                      KENNESAW, GA 30144



                      HAGAR RESTAURANT EQUIPMENT SERVICE INC
                      6200 NW 2ND STREET
                      OKLAHOMA CITY, OK 73127



                      HAGE PTA
                      9750 GALVIN AVE
                      SAN DIEGO, CA 92126



                      Hai Van
                      92 SIERRA GRANDE CT
                      SAN JOSE, CA 95116



                      Haidi Campos
                      1744 APRICOT DR.
                      PALMDALE, CA 93550



                      HAIG FIRE & SECURITY
                      5601 N POWERLINE ROAD STE 303
                      FORT LAUDERDALE, FL 33309



                      Hailee Acevedo
                      15832 E ALAMEDA PKWY
                      303
                      AURORA, CO 80017



                      HAILEY FINCH
                      275 TUNGSTEN ST
                      HENDERSON, NV 89015
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 891 of 2164




                      Hailey Giuffrida
                      9770 Park Terrace Drive
                      Apt#14
                      Santee, CA 92071



                      Hailey Henderson
                      19020 NW 78 AVE
                      HIALEAH, FL 33015



                      Hailey Martin
                      1446 S Cathay St
                      Aurora, CO 80017



                      Hailey Maxwell
                      25535 THISTLEWAITE LN
                      SPRING, TX 77373



                      Hailey Peterson
                      630 E GLOUCESTER ST
                      GLADSTONE, OR 97027



                      Hailey Raso
                      11465 E. Sebring Ave.
                      Mesa, AZ 85212



                      Hailey Smith
                      8770 E BAKER ST
                      TUCSON, AZ 85710



                      Haleigh DHaiti
                      2621 SHIRLEYS WAY
                      APT 102
                      LEESBURG, FL 34748



                      Haleine St'louis
                      Po Box 120252
                      Fort Lauderdale, FL 33312
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 892 of 2164




                      Haley Brezina
                      3277 W DANCER LN
                      SAN TAN VALLEY, AZ 85142



                      Haley Eames
                      209 BEL FOREST DR APT 1
                      1
                      BELLEAIR BLUFFS, FL 33770



                      Haley Flusche
                      2905 N NEBRASKA AVE
                      #2
                      TAMPA, FL 33602



                      Haley Matz
                      744 100TH AVE N
                      NAPLES, FL 34108



                      Haley Montoya
                      2847 E MICHAEL DR
                      PHOENIX, AZ 85032



                      Haley Moody
                      11000 SW GAARDE ST
                      UNIT 2
                      PORTLAND, OR 97223



                      Haley Romatko
                      3380 Tranquil Garden St
                      Las Vegas, NV 89117



                      Haley Rosenthal
                      11934 SE BECKMAN AVE
                      PORTLAND, OR 97222



                      Haley Teel
                      17915 NE 23RD ST
                      VANCOUVER, WA 98684
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 893 of 2164




                      Halie Farley
                      17722 N 79TH AVE
                      2108
                      GLENDALE, AZ 85308



                      Halley Ward
                      3 S ELM BRANCH PLACE
                      THE WOODLANDS, TX 77380



                      Hallie Baker
                      714 San Pasqual Valley Rd.
                      Escondido, CA 92027



                      Hamet Lopez
                      10626 DEMILO PLACE
                      208
                      ORLANDO, FL 32836



                      Hamid Loinab
                      383 GLENBRIAR CIR
                      TRACY, CA 95377



                      Hamid Nematbakhsh
                      2360 RISING GLEN
                      105
                      CARLSBAD, CA 92008



                      Hamidullah Abas hamidi
                      1312 VERNA CIRCLE
                      CONCORD, CA 94518



                      Hamiz Ahmad
                      3537 SWEETGRASS AVE
                      SIMI VALLEY, CA 93065



                      HAMMER MONTESSORI FOUNDATION
                      1610 BIRD AVENUE
                      SAN JOSE, CA 95125
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 894 of 2164




                      Hamza Sadiq
                      21791 LAKE VISTA DR
                      LAKE FOREST, CA 92630



                      Hanane Khanati
                      1925 SOUTH VAUGHN WAY
                      412
                      AURORA, CO 80014



                      HANDGARDS INC
                      PO BOX 95139
                      CHICAGO, IL 60694



                      Handgards, Inc.
                      Po Box 95139
                      Chicago, IL 60694



                      HANDS ON IMPROVEMENTS
                      2816 E ROBIN LN
                      PHOENIX, AZ 85050



                      HANDS ON IMPROVEMENTS
                      2816 E ROBIN LN
                      PHOENIX
                      AZ, 85050



                      HANH CHAU
                      PO BOX 18423
                      SAN JOSE, CA 95158



                      Hannah Bagnell
                      1032 N ROSEMONT
                      TUCSON, AZ 85711



                      Hannah Benson
                      13003 AVENIDA DEL GENERAL
                      SAN DIEGO, CA 92129
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 895 of 2164




                      Hannah Branigan
                      30528 CORSICA PLACE
                      CASTAIC, CA 91384



                      Hannah Carter
                      1609 SOUTH PITKIN STREET
                      AURORA, CO 80017



                      Hannah Cole
                      2770 SW 198TH AVE
                      ALOHA, OR 97003



                      Hannah Gandoff
                      2118 SUN TREE DR
                      CLEARWATER, FL 33763



                      HANNAH HIGDON
                      5703 WEST ASTER DRIVE
                      GLENDALE, AZ 85304



                      Hannah Jiminez
                      6001 TOPKE PI NE 87109
                      M 03
                      ALBUQUERQUE, NM 87109



                      Hannah Nordling
                      2928 DEERFOOT WAY
                      CASTLE ROCK, CO 80109



                      Hannah Nyberg
                      1420 N CALIFORNIA AVE
                      #B
                      LA PUENTE, CA 91744



                      Hannah Oakley
                      16274 VASQUEZ CYN RD 42
                      CANYON COUNTRY, CA 91351
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 896 of 2164




                      Hannah Parker
                      7375 S. Alkire St. Apt#304
                      Littleton, CO 80127



                      Hannah Quattro
                      9447 SE 140TH PL
                      SUMMERFIELD, FL 34491



                      Hannah Reis
                      3268 AVENIDA DE LOYOLA
                      OCEANSIDE, CA 92056



                      Hannah Rice
                      4776 E GUADALUPE RD
                      2061
                      GILBERT, AZ 85234



                      Hannah Russell
                      4439 WALNUT CREEK DRIVE NW
                      KENNESAW, GA 30152



                      HANNALEI PTA
                      120 HANNALEI DR
                      VISTA, CA 92083



                      HANNALEI PTA
                      120 HANNALEI DR
                      VISTA
                      CA, 92083



                      Hannia cardona martinez
                      5330 MONTEREY HWY
                      APT G2
                      SAN JOSE, CA 95111



                      Hanniel Francois
                      12138 SW 250TH TERRACE
                      HOMESTEAD, FL 33032
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 897 of 2164




                      Hans Laine
                      260 NE 27 AVE
                      POMPANO BEACH, FL 33064



                      Hans Tschirch
                      34603 Picket Post Dr
                      Queen Creek, AZ 85142



                      HANTOVER INC
                      PO BOX 410646
                      KANSAS CITY, MO 64141-0646



                      HANTOVER INC
                      PO BOX 776916
                      CHICAGO, IL 60677-6916



                      HANTOVER INC
                      PO BOX 410646
                      KANSAS CITY
                      MO, 64141-0646



                      Hantover Inc.
                      P.O. Box 83152
                      Chicago, IL 60691-0152



                      Hantover Inc.
                      P.O. Box 83152
                      Chicago
                      IL, 60691-0152



                      HARIRAM MANI
                      437 MANCHESTER PARK LN
                      MORRISVILLE, NC 27560



                      Harjit Kaur
                      521 HIGHLANDER AVE
                      LA HABRA, CA 90631
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 898 of 2164




                      Harley Blankenship
                      16305 EAST ALAMEDA PLACE
                      303
                      AURORA, CO 80017



                      Harley Hicks
                      4835 NW 189TH AVE
                      PORTLAND, OR 97229



                      Harmon Crowe
                      17322 BERNARDO OAKS DR
                      SAN DIEGO, CA 92128



                      Harmon Markos
                      18060 SW BARCELONA WAY
                      BEAVERTON, OR 97007



                      HARMONIUM INC
                      3341 BROWNING ST
                      SD, CA 92106



                      Harnak Johal
                      7777 VALLEY VIEW ST
                      C123
                      LA PALMA, CA 90623



                      Harold Bias
                      3142 CENTER ST.
                      ARCADIA, CA 91006



                      Harold Domingo
                      1235 Law St
                      San Diego, CA 92109



                      Harold fyffe
                      10123 GRAPE CT
                      THORNTON, CO 80229
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 899 of 2164




                      Harold Huntley
                      3750 satellite blvd
                      duluth, GA 30096



                      Harold Mondragon
                      607 FENTON PL ALTAMONTE SPRGS
                      301
                      ORLANDO, FL 32701



                      Harold Sharp
                      12569 Indiana Woods Lane
                      Orlando, FL 32824



                      HARPER LAW PLC
                      350 N GILBERT RD STE 204
                      GILBERT, AZ 85234



                      Harpinder Mangat
                      8865 LOS ALTOS DR
                      BUENA PARK, CA 90620



                      HARRIS COUNTY TOLL ROAD
                      AUTHORITY
                      PO BOX 4440 DEPT 02
                      HOUSTON, TX 77210-4440



                      HARRIS COUNTY TOLL ROAD
                      330 MEADOWFERN DRIVE
                      ACCT#295074
                      HOUSTON, TX 77067



                      Harrison Clark
                      1175 OLD HARRIS ROAD
                      1113
                      DALLAS, GA 30157
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 900 of 2164




                      HARRISON CO TAX ADMINISTRATOR
                      PO BOX 708
                      111 SOUTH MAIN STREET
                      CYNTHIANA, KY 00041-0310



                      Harrison Irving
                      21932 BIRCHWOOD
                      MISSION VIEJO, CA 92692



                      Harrison Spencer
                      15598 SW WREN LN
                      BEAVERTON, OR 97007



                      HARRISON TOWNSHIP
                      PO BOX 376
                      NATRONA HEIGHTS, PA 15065



                      Harry Rosas
                      300 NEWLAND ST
                      5
                      LOS ANGELES, CA 90042



                      Harsh Bahl
                      1223 W MCKINLEY AVE
                      #2
                      SUNNYVALE, CA 94086



                      HARSH BAHL
                      1223 W MCKINLEY AVE #2
                      SUNNYVALE, CA 94086



                      HARSHIL MODY
                      2034 SUNSET MEADOW DR
                      CLEARWATER, FL 33763



                      HART WILLOW CREEK LLCHCM LLC
                      ONE PARKWIEW PLAZA 9TH FLOOR
                      C/O MID-AMERICA ASST MGMT
                      OAKBROOK TERRACE, IL 60181
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 901 of 2164




                      HARTFORD LIFE AND ACCIDENT INSURANCE COM
                      PO BOX 660916
                      DALLAS, TX 75266-0916



                      HARVARD CARD SYSTEMS
                      111 N BALDWIN PARK BLVD
                      CITY OF INDUSTRY, CA 91746



                      HARVEST PARK MIDDLE SCHOOL
                      4900 VALLEY AVE
                      PLEASANTON, CA 94566



                      Haseen Sarpas
                      231 TOPEKA
                      IRVINE, CA 92604



                      Haslan Escariz
                      2606 West High Ave
                      Tampa, FL 33614



                      Hasty Salehi
                      3204 RIVER GLORIOUS LANE
                      LAS VEGAS, NV 89135



                      Hatiqe Berisha-rexhepi
                      3194 Antica St
                      Fort Myers, FL 33905



                      Havalin Nyivih
                      4412 GOLDEN GLEN DRIVE
                      CHINO HILLS, CA 91709



                      HAVEN TOTES INC
                      7103 S KOLB RD
                      TUCSON, AZ 85710
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 902 of 2164




                      HAWAII STATE TAX COLLECTOR
                      P.O. BOX 3223
                      HONOLULU, HI 00096-8010



                      HAWKINS ELECTRICAL SERVICE CO INC
                      3000 S WYANDOT
                      ENGLEWOOD, CO 80110



                      HAWTHORNE SEMINAR FOUNDATION
                      PO BOX 17834
                      SAN DIEGO, CA 92177



                      Hayden bashore
                      15567 E FORD CIR
                      C3
                      AURORA, CO 80017



                      Hayden Bonebrake
                      4701 NE 130TH AVE
                      VANCOUVER, WA 98682



                      Hayden Fleming
                      19704 S 191ST
                      QUEEN CREEK, AZ 85142



                      Hayden Huynh
                      10610 TENNETA DR
                      HOUSTON, TX 77099



                      Hayden Wright
                      8885 W Thunderbird Ave. #1031
                      Peoria, AZ 85381



                      HAYES ELECTRICAL SERVICE
                      2446 KELLY AVE
                      RAMONA, CA 92065
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 903 of 2164




                      HAYES ELECTRICAL SERVICE
                      2446 KELLY AVE
                      RAMONA
                      CA, 92065



                      HAYES HOME AND SCHOOL CLUB
                      5035 POSTON DR
                      SAN JOSE, CA 95136



                      HAYES HOME AND SCHOOL CLUB
                      5035 POSTON DR
                      SAN JOSE
                      CA, 95136



                      Hayes Rodriguez
                      114 rivera ave
                      royal palm beach, FL 33411



                      Haylee Canfield
                      8471 SPIRIT VALE AVE
                      LAS VEGAS, NV 89117



                      Hayley Brewster
                      1501 E GRAND AVENUE
                      5324
                      ESCONDIDO, CA 92027



                      Hayley Calles
                      1132 PECOS WAY
                      SUNNYVALE, CA 94089



                      Hayley Conaway
                      250 W EL CAMINO REAL
                      6214
                      SUNNYVALE, CA 94087
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 904 of 2164




                      Hayley Thomas
                      8093 W. Ken Caryl Circle
                      Unit C
                      LITTLETON, CO 80128



                      Hazel Dominguez vera
                      3272 COLUMN CT
                      SAN JOSE, CA 95111



                      HB HOST LIONS
                      17040 SAN BRUNO ST APT D18
                      FOUNTAIN VALLEY, CA 92708



                      HB HOST LIONS
                      17040 SAN BRUNO ST APT D18
                      FOUNTAIN VALLEY
                      CA, 92708



                      HBHS BASEBALL BOOSTER INC
                      7381 COHO DR UNIT 203
                      HUNTINGTON BEACH, CA 92648



                      HBHS BASEBALL BOOSTER INC
                      7381 COHO DR UNIT 203
                      HUNTINGTON BEACH
                      CA, 92648



                      HEAD LANCASTER CHARTER SCHOOL
                      254 EAST AVE K
                      ATTN LYNN BOOT
                      LANCASTER, CA 93535



                      Heads Up Landscape
                      PO BOX 208151
                      DALLAS, TX 75320-8151



                      HEADS UP LANDSCAPE CONTRACTORS LLC
                      PO BOX 208151
                      DALLAS, TX 75320-8151
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 905 of 2164




                      HEALTHEQUITY INC
                      15 WEST SCENIC DRIVE STE 100
                      DRAPER, UT 84020



                      Healthpro Brands
                      Po Box 867
                      Mason, OH 45040



                      HEALTHY DINING
                      8745 AERO DR STE 306
                      SAN DIEGO, CA 92123



                      HEARTLAND SWIM ASSOCIATION
                      PO BOX 12936
                      EL CAJON, CA 92022



                      Heather Chambers
                      1303 CONSTITUTION RD.
                      ATLANTA, GA 30316



                      Heather Detrick
                      203 N FLORIDA ST
                      AMARILLO, TX 79106



                      Heather Garcia
                      2505 Foothill Blvd
                      Spc 197
                      San Bernardino, CA 92410



                      Heather Green
                      5636 Sheffield Greene Cil
                      Sarasota, FL 34235



                      Heather Hayes
                      2675 MILLER AVE.
                      4
                      MOUNTAIN VIEW, CA 94040
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 906 of 2164




                      Heather Hefner
                      1303 CONSTITUTION RD.
                      ATLANTA, GA 30316



                      Heather Roach
                      5012 N Lockwood Ridge Rd
                      Sarasota, FL 34234



                      Heather Ruttan
                      3940 CARMELINA STREET
                      SAN BERNARDINO, CA 92407



                      HEATHER RUTTAN
                      3940 CARMELINA ST
                      SAN BERNARDINO, CA 92407



                      HEATHER WEINER
                      1535 N BROADWAY
                      ESCONDIDO, CA 92026



                      Heather Zinni
                      14493 EAST JEWELL AVE
                      101
                      AURORA, CO 80012



                      Heber Bardales
                      1854 David Street
                      San Diego, CA 92111



                      HECSD
                      13885 EL CAMINO REAL
                      SAN DIEGO, CA 92130



                      Hector Aguilar
                      31616 Hunter Ln
                      Castaic, CA 91384
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 907 of 2164




                      Hector Alcauter
                      2373 W Coronet Ave
                      Anaheim, CA 92801



                      Hector Barragan
                      1949 CAPE HILDA PL
                      SAN JOSE, CA 95133



                      HECTOR BARRIENTOS BENITEZ
                      4023 W 120TH ST
                      HAWTHORNE, CA 90250



                      Hector Beltran
                      4618 E VINEYARD RD
                      PHOENIX, AZ 85042



                      Hector Cabrera
                      201 1/2 E. CENTRAL AVE
                      MONROVIA, CA 91016



                      Hector Delarosa
                      2641 BARRY STREET
                      CAMARILLO, CA 93010



                      Hector Diazleal
                      15598 SW Wren Ln
                      Beaverton, OR 97007



                      Hector Grajeda
                      810 W.duarte Rd
                      #224
                      Monrovia, CA 91016



                      Hector Guide
                      6402 NORTH PACKWOOD AVENUE
                      TAMPA, FL 33603
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 908 of 2164




                      Hector Gutierrez
                      84471 AVENUE 51
                      APT D204
                      COACHELLA, CA 92236



                      Hector Guzman
                      13916 LUBICAN ST
                      APT 5
                      BALDWIN PARK, CA 91706



                      Hector Hernandez
                      6130 MONTEREY HWY
                      SPC 13
                      SAN JOSE, CA 95138



                      Hector Jimenez
                      1517 W JEAN
                      TAMPA, FL 33604



                      Hector Macz
                      135 SHADOW MOUNTAIN CT
                      5
                      PLEASANT HILL, CA 94523



                      Hector Melgoza
                      10171 PERDIDIO
                      ANAHEIM, CA 92804



                      Hector Muro
                      5033 Clairemont Blvd
                      #9
                      San Diego, CA 92117



                      Hector Orellana
                      1524 West 206th St
                      Apt 6
                      Torrance, CA 90501
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 909 of 2164




                      Hector Orellana
                      1042 Cabrillo Park Dr.
                      Bldg Cb
                      Santa Ana, CA 92701



                      Hector Ortiz
                      16350 HARBOR BLVD
                      1003
                      SANTA ANA, CA 92704



                      Hector padilla
                      595 COLUMBIA AVENUE
                      SUNNYVALE, CA 94085



                      Hector Prieto
                      789 TEJON AVE.
                      COLTON, CA 92324



                      Hector Ramos
                      34939 3RD AVE
                      LEESBURG, FL 34788



                      Hector Ramos
                      853 FELICITA AVE
                      SPRING VALLEY, CA 91977



                      Hector Rico
                      8556 INDEPENDENCE AVE
                      103
                      CANOGA PARK, CA 91304



                      Hector Rodriguez
                      2000 E COMMONWEATH AVE
                      FULLERTON, CA 92831



                      Hector Rodriguez
                      738 W 6TH AVE
                      ESCONDIDO, CA 92025
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 910 of 2164




                      Hector Rojas Perez
                      4874 TROJAN AVE
                      SAN DIEGO, CA 92115



                      Hector Rosales
                      231 W. Knepp
                      Apt.B
                      Fullerton, CA 92833



                      Hector Secola
                      4102 RIVER COVE DR
                      TAMPA, FL 33614



                      Hector Tena
                      267 STERLING SPRINGS LN
                      ALTAMONTE SPRINGS, FL 32714



                      Hector Torres
                      900E DENNI ST
                      SPACE33
                      WILMINGTON, CA 90744



                      HECTOR TREMINIO
                      5 COVE WAY
                      WEST PITTSBURG, CA 94565



                      HEDENKAMP ELEMENTARY PTA
                      930 E PALOMAR ST
                      CHULA VISTA, CA 91913



                      HEDMARK II LLC
                      TRIAD BANK
                      ATTN TAMARA REED 10375 CLAYTON ROAD
                      SAINT LOUIS, MO 63131



                      HEDMARK III LP
                      10375 CLAYTON RD
                      ATTN TAMARA REED TRIAD BANK
                      SAINT LOUIS, MO 63131
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 911 of 2164




                      Hedmark III, LP
                      Attn: David Mars
                      PO Box 44033
                      St. Louis, MO 63144



                      Heidi Bradley
                      11675 W BELFORT AVE
                      1619
                      HOUSTON, TX 77099



                      HEIDI COTE
                      16547 SW WHITETAIL LN
                      BEAVERTON, OR 97007



                      HEIDI LESTER
                      9681 RED PONY LN
                      EL CAJON, CA 92021



                      Heidi Magnusson
                      1519 COROLLA COURT
                      REUNION, FL 34747



                      HEIDY SOSA
                      4227 LOWELL AVE
                      LOS ANGELES, CA 90032



                      HEIGHTS KEY LOCK AND SAFE INC
                      PO BOX 80202
                      ALBUQUERQUE, NM 87198-0202



                      HELENE STOLL
                      5324 GRANADA HILLS DRIVE
                      RALEIGH, NC 27613



                      Heleodoro Garcia
                      6405 N MANHATTAN
                      TAMPA, FL 33614
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 912 of 2164




                      HELIX SPEECH
                      7323 UNIVERSITY AVE
                      LA MESA, CA 91942



                      HELIX WATER DISTRICT
                      PO BOX 513597
                      LOS ANGELES, CA 90051-3597



                      Hema Luna
                      1753 W.glen Ave.
                      #1
                      Anaheim, CA 92801



                      Hemilce Navarro
                      128 E Cambridge
                      Long Beach, CA 90805



                      Hemlata Mistry
                      12123 ALSTON DR
                      STAFFORD, TX 77477



                      Henassie Avila
                      9475 CYPRESS AVENUE
                      FONTANA, CA 92335



                      Hendrick Lopez
                      14015 East Montana Circle
                      Aurora, CO 80012



                      HENDRIK BLOCK




                      Henry Aguilar
                      5201 Navarro St
                      #15
                      Los Angeles, CA 90032
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 913 of 2164




                      Henry Boswell
                      22796 SW LINCOLN ST
                      SHERWOOD, OR 97140



                      HENRY C LEVY
                      1221 OAK STREET
                      TAX COLLECTOR ALAMEDA COUNTY
                      OAKLAND, CA 94612



                      Henry Canizalez
                      8781 Robles Dr
                      San Diego, CA 92119



                      HENRY HU
                      15 WHISPERING PINE
                      IRVINE, CA 92620



                      Henry Huang
                      1759 BAYLOR ST
                      UNION CITY, CA 94587



                      Henry Melchor
                      457 E 6TH DRIVE
                      2
                      MESA, AZ 85204



                      Henry Ross
                      19501 VANOWEN ST.
                      RESEDA, CA 91335



                      Henry Sullivan
                      10167 SAILWINDS BLVD N
                      104
                      LARGO, FL 33773



                      Henry Vargas
                      4518 FST
                      SAN DIEGO, CA 92102
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 914 of 2164




                      Henry Velasquez
                      9244 Mast Blv.
                      Unity # 22
                      Santee, CA 92071



                      HENSLEY & COMPANY
                      4201 N 45TH AVE
                      PHOENIX, AZ 85031-2109



                      Herbert Kennedy
                      16913 NE 18TH ST
                      VANCOUVER, WA 98683



                      HERBERT L. KENNEDY
                      16913 NE 18TH ST
                      VANCOUVER, WA 98683



                      Herendira Landa
                      1970 LATHAM ST
                      77
                      MOUNTAIN VIEW, CA 94040



                      Heriberto Hinojosa
                      511 EAST REED ST
                      #F
                      SAN JOSE, CA 95112



                      Heriberto Martinez
                      11864 Idaho Ave
                      #1
                      Los Angeles, CA 90025



                      Heritage Bag Company
                      P.O. Box 639083
                      Cincinnati, OH 45263-9083



                      HERITAGE BAG COMPANY
                      PO BOX 639083
                      CINCINNATI, OH 45263-9083
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 915 of 2164




                      HERITAGE CHRISTIAN SCHOOL
                      22081 HIDALGO
                      MISSION VIEJO, CA 92691



                      HERITAGE PALLETS INC
                      358 OLD TENNESSEE HWY
                      WHITE, GA 30184



                      Heritage Pallets, Inc.
                      358 Old Tennessee Hwy
                      White, GA 30184



                      Herlinda Cortez
                      12063 Green Glade dr
                      Houston, TX 77099



                      Hermelinda Licerio
                      4383 Logan Ave
                      San Diego, CA 92113



                      Hermenegildo Cardenes
                      2001 Dun Wood Diest.
                      Orlando, FL 32837



                      Herminia Zarco
                      2512 E CORONA AVE
                      PHOENIX, AZ 85040



                      HERMITAGE CAT SHELTER
                      PO BOX 13508
                      TUCSON, AZ 85732



                      HERMOSA DRIVE ELEMENTARY PTA
                      400 E HERMOSA DR
                      FULLERTON, CA 92835
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 916 of 2164




                      Hernan Ramirez
                      2932 N. COTTONWOOD ST.
                      ORANGE, CA 92865



                      Hernie Rodriguez
                      14309 DAKE LN
                      1401
                      TAMPA, FL 33613



                      Herode Fradeus
                      329 Sw 13th St
                      Dania, FL 33004



                      Heroux Diane
                      9309 W CEDAR HILL CIR N
                      SUN CITY, AZ 85351



                      Hershey Chocolate U.S.A.
                      Po Box 848516
                      Dallas, TX 75284-8516



                      HERSHEY CHOCOLATE USA
                      PO BOX 848516
                      DALLAS, TX 75284-8516



                      HERZMAN NIECES EXEMPT TRUST
                      HERZMAN TRUST
                      PO BOX 3129
                      SAN DIEGO, CA 92163-1129



                      Herzman Trust/HNET Investments LLC
                      Attn: Christine Cunning
                      Po Box 3129
                      San Diego, CA 92163-1129



                      HH PROMENADE PARTNERSLLC
                      PO BOX 845311
                      LOS ANGELES, CA 90084-5311
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 917 of 2164




                      HIA
                      3909 E EBANO STREET
                      HIGLEY HIGH SCHOOL BAND
                      GILBERT, AZ 85295



                      HICKMAN ELEMENTARY SCHOOL
                      10850 MONTONGO ST
                      SAN DIEGO, CA 92126



                      Hickman's Egg Ranch, Inc.
                      6515 South Jackrabbit Trail
                      Buckeye, AZ 85326



                      Hickmans
                      6515 SOUTH JACKRABBIT TRAIL
                      BUCKEYE, AZ 85326



                      HICKMANS EGG RANCHINC
                      6515 SOUTH JACKRABBIT TRAIL
                      BUCKEYE, AZ 85326



                      HIDDEN TRAILS PTA
                      2250 RIDGEVIEW DR
                      CHINO HILLS, CA 91709



                      HIGH PEAKS WATER SERVICES
                      1127 EAST INDIAN SCHOOL ROAD
                      PHOENIX, AZ 85011-7150



                      HIGH PERFORMANCE MOVEMENT LLC
                      2207 GARNET AVE STE M
                      SAN DIEGO, CA 92109



                      HIGH TECH HIGH
                      2861 WOMBLE RD
                      SAN DIEGO, CA 92106
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 918 of 2164




                      HIGH TECH HIGH
                      2861 WOMBLE RD
                      SAN DIEGO
                      CA, 92106



                      HIGH TECH HIGH FOUNDATION
                      5587 GALA AVE
                      SAN DIEGO, CA 92120



                      HIGH TECH HIGH FOUNDATION
                      5587 GALA AVE
                      SAN DIEGO
                      CA, 92120



                      HIGH TECH HIGH ROBOTICS
                      2861 WOMBLE RD
                      SAN DIEGO, CA 92106



                      HIGHLAND DIRECT PROPERTY LLC
                      1130 LAKE COOK ROAD #280
                      C/O HORIZON MANAGEMENT
                      BUFFALO GROVE, IL 60089



                      HIGHLAND LAKES ELEMENTARY PTA
                      3332 WESTCOTT DR
                      PALM HARBOR, FL 34684



                      HIGHLAND LAKES ELEMENTARY PTA
                      3332 WESTCOTT DR
                      PALM HARBOR
                      FL, 34684



                      HIGHLANDS ELEMENTARY PFO
                      27332 CATALA AVE
                      SANTA CLARITA, CA 91350
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 919 of 2164




                      HIGHLANDS ELEMENTARY PFO
                      27332 CATALA AVE
                      SANTA CLARITA
                      CA, 91350



                      HIGHLIGHTS ELECTRICAL
                      PO BOX 840375
                      HOUSTON, TX 77284



                      HIGLEY HIGH BASEBALL BOOSTERS
                      3317 S HIGLEY RD STE 114-188
                      GILBERT, AZ 85297



                      HIGLEY HIGH BASEBALL BOOSTERS
                      3317 S HIGLEY RD STE 114-188
                      GILBERT
                      AZ, 85297



                      HIGLEY TRADITIONAL ACADEMY PTO
                      3391 EAST VEST AVENUE
                      GILBERT, AZ 85295



                      Hilaria Ramirez
                      423 Shorewood Ln
                      San Jose, CA 95134



                      HILARIO CENTENO
                      239 DEL PRADO DR
                      DALY CITY, CA 94015



                      Hilary Castaneda
                      1631 Bayview Hits Dr.
                      #13
                      San Diego, CA 92105



                      HILCO REAL ESTATE LLC
                      5 REVERE DRIVE
                      NORTHBROOK, IL 60062
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 920 of 2164




                      Hilda Abreu
                      472 BRIAR BAY CIRCLE
                      ORLANDO, FL 32825



                      Hilda Jaime
                      285 Montgomery St
                      Chula Vista, CA 91911



                      Hilda Luna Santillan
                      715 W NORTHGATE LANE
                      APT 2
                      ANAHEIM, CA 92805



                      Hilda Morales
                      9494 Caroll Canyon Rd
                      #85
                      San Diego, CA 92126



                      Hilda Morales
                      1000 LAKE OF THE WOODS
                      206
                      FERN PARK, FL 32730



                      HILDA MORALES
                      9494 Caroll Canyon Rd
                      San Diego, CA 92126



                      Hilda Mota
                      2100 W Commonwealth Ave
                      Fullerton, CA 92833



                      Hilda Reyes
                      5220 w. northern ave apt 1101
                      Glendale, AZ 85301



                      Hildana Sirak
                      1512 ALMADEN RD
                      303
                      SAN JOSE, CA 95125
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 921 of 2164




                      HILL COUNTRY DAIRIES INC
                      912 KRAMER LANE
                      AUSTIN, TX 78758



                      HILL COUNTRY DAIRIES INC
                      912 KRAMER LANE
                      AUSTIN
                      TX, 78758



                      HILLARY JOY TAYLOR DELSALTO




                      Hillary Ma
                      110 DEERCHASE DR
                      CONROE, TX 77384



                      HILLCREST MIDDLE SCHOOL PTSA
                      22833 N 71ST AVE
                      GLENDALE, AZ 85310



                      HILLER & ASSOCIATES
                      12345 UNIVERSITY AVE STE 305
                      DES MOINES, IA 80325-8245



                      HILLMAN MEMORIAL SCHOLARSHIP
                      40645 FREMONT BLVD., SUITE #3
                      FREMONT, CA 94538



                      HILLSBORO CHAMBER OF COMMERCE
                      5193 NE ELAM YOUNG PKWY STE A
                      HILLSBORO, OR 97124



                      HILLSBORO HIGH SCHOOL
                      3285 SE ROOD BRIDGE RD
                      HILLSBORO, OR 97123
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 922 of 2164




                      HILLSBORO INCOME TAX BUREAU
                      130 N HIGH STREET
                      HILLSBORO, OH 00045-1330



                      HILLSBOROUGH COUNTY
                      OFFICE OF THE FIRE MARSHAL
                      PO BOX 310398
                      TAMPA, FL 33680-0398



                      HILLSBOROUGH COUNTY BOARD OF COUNTY COMM
                      601 E KENNEDY BLVD 18TH FLR
                      CONSUMER AND VETERANS SERVICES
                      TAMPA, FL 33602



                      HILLSBOROUGH COUNTY BOARD OF COUNTY COMM
                      3629 QUEEN PALM DR
                      CODE ENFORCEMENT DEPARTMENT
                      TAMPA, FL 33619



                      HILLSBOROUGH COUNTY PUBLIC UTILITIES
                      PO BOX 342456
                      TAMPA, FL 33694-2456



                      HILLTOP MIDDLE PTSO
                      44 EAST J ST
                      CHULA VISTA, CA 91910



                      HILLTOP REFRIGERATION INC
                      1215 KLEPPE LANE #1
                      SPARKS, NV 89431



                      Hilton Kennedy
                      261 SAN JACINTO DR
                      SAN DIEGO, CA 92114



                      HIMA
                      PO BOX 547
                      LA MESA, CA 91944
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 923 of 2164




                      Hinginia Aldazaba
                      8366 Se Causey Ave
                      Apt 243
                      Happy Valley, OR 97086



                      Hipolito Viveros
                      5624 N 63rd Ave
                      Glendale, AZ 85301



                      Hiram Sotelo
                      7101 N. 19th Ave.
                      #245
                      Phoenix, AZ 85021



                      Hire Dynamics Holding Corp
                      Hire Dynamics, LLC
                      PO Box 116452
                      Atlanta, GA 30368-6452



                      Hire Dynamics Holding Corp
                      Hire Dynamics, LLC
                      PO Box 116452
                      Atlanta
                      GA, 30368-6452



                      HIRERIGHTINC
                      PO BOX 847891
                      DALLAS, TX 75284-7891



                      Hiwot Bahiru
                      6452 wedgeview dr
                      tucker, GA 30084



                      HIWOT BAHIRU
                      6452 WEDGE VIEW DR
                      TUCKER, GA 30084
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 924 of 2164




                      Hoa-bradley Le
                      909 COPPERHEAD CT NE
                      ALBUQUERQUE, NM 87113



                      Hoang Tran
                      310 BURNING TREE DR
                      SAN JOSE, CA 95119



                      HOBART CORPORATION
                      ITW FOOD EQUIPMENT GROUP LLC
                      PO BOX 2517
                      CAROL STREAM, IL 60132-2517



                      Holdson Marcelin
                      18 NORTH TERRY AVE
                      ORLANDO, FL 32801



                      HOLLY AVENUE PTA
                      360 W W DUARTE RD
                      HOLLY AVE ELEMENTARY PTA
                      ARCADIA, CA 91007



                      Holly Dunhardt
                      5733 HARDING ST
                      #3
                      HOLLYWOOD, FL 33021



                      Holly Lloyd
                      5333 BALTIMORE DRIVE
                      107
                      LA MESA, CA 91942



                      Holly Montgomery
                      2508 S. ROWEN
                      MESA, AZ 85209



                      Holly Stephenson
                      4310 TOWERGATE DRIVE
                      SPRING, TX 77373
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 925 of 2164




                      HOLLYDALE COMMUNITY CHURCH
                      6215 FAUST AVE
                      LAKEWOOD, CA 90713



                      Holtzman Enterprises, LLC
                      159 E. Manchester Ave
                      Los Angeles, CA 90003



                      HOLY SPIRIT CHURCH
                      17270 WARD ST.
                      HOLY SPIRIT CHURCH
                      FOUNTAIN VALLEY, CA 92708



                      HOLY TRINITY CATHOLIC SCHOOL
                      13755 SW WALKER RD
                      BEAVERTON, OR 97005



                      HOLY TRINITY SCHOOL
                      3716 BOYCE AVE
                      LOS ANGELES, CA 90039



                      Homero Aguirre
                      625 N.NEWHAMPSHIRE AVE.
                      201
                      LOS ANGELES, CA 90004



                      Homero Vega
                      807 W GRAND AVE
                      POMONA, CA 91766



                      Hong Thai
                      561 LANFAIR CIR
                      SAN JOSE, CA 95136



                      Honorina Anzures
                      10038 Se 65th Ave
                      Milwaukie, OR 97222
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 926 of 2164




                      HOOD TO COAST
                      1245 HARVARD AVE
                      C/O MORGAN POWER
                      GLADSTONE, OR 97027



                      HOOD TO COAST
                      1245 HARVARD AVE
                      C/O MORGAN POWER
                      GLADSTONE
                      OR, 97027



                      Hope Carr
                      37 MONTECILO
                      FOOTHILL RANCH, CA 92610



                      HOPE ELEMENTARY SCHOOL
                      3010 TAMARACK AVE
                      CARLSBAD, CA 92010



                      Hope Woodward
                      12 SPINEL COURT
                      RANCHO SANTA MARAGRITA, CA 92688



                      HOPKINS COUNTY OCCUPATIONAL TAX
                      HOPKINS COUNTY FISCAL COURT
                      PO BOX 690
                      MADISONVILLE, KY 42431



                      HOPPE PROPERTIES LLC
                      8070 LA JOLLA SHORES DRIVE
                      #610
                      LA JOLLA, CA 92037



                      Hoppe Properties, LLC
                      8070 La Jolla Shores Dr.
                      PMB 610
                      La Jolla, CA 92037
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 927 of 2164




                      HORNER ASB
                      HORNER JUNIOR HIGH
                      41365 CHAPEL WAY
                      FREMONT, CA 94538



                      Hortencia Rodriguez
                      12750 Jackson Hill
                      Drive
                      El Cajon, CA 92021



                      HORTENCIA RODRIGUEZ
                      12750 JACKSON HILL DR
                      EL CAJON, CA 92021



                      Hortense Cleveland
                      11269 SW 88 ST
                      J208
                      MIAMI, FL 33176



                      HOSA AMA
                      22328 S MAIN ST
                      ATTN MR BURGER HOSA SPONSOR
                      CARSON, CA 90745



                      HOSA AMA
                      22328 S MAIN ST
                      ATTN MR BURGER HOSA SPONSOR
                      CARSON
                      CA, 90745



                      HOSPITAL CORPSMAN BALL COMMITTEE
                      34800 BOB WILSON DRIVE
                      SAN DIEGO, CA 92134



                      HOSPITAL CORPSMAN BALL COMMITTEE
                      34800 BOB WILSON DRIVE
                      SAN DIEGO
                      CA, 92134
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 928 of 2164




                      HOSPITALITY RESOURCE SUPPLY
                      499 N ST RD 434 #1005
                      ALTAMONTE SPRINGS, FL 32714



                      HOSPITALITY RESOURCE SUPPLY
                      499 N ST RD 434 #1005
                      ALTAMONTE SPRINGS
                      FL, 32714



                      Hospitality Services
                      2010 W PARKSIDE LN STE #144
                      PHOENIX, AZ 85027



                      HOSPITALITY SERVICES INC
                      2010 W PARKSIDE LN STE #144
                      PHOENIX, AZ 85027



                      HOSPITALITY SERVICES INC
                      2010 W PARKSIDE LN STE #144
                      PHOENIX
                      AZ, 85027



                      HOSPITALITY SERVICES, INC.
                      2010 W PARKSIDE LN STE #144
                      PHOENIX
                      AZ, 85027



                      HOUSE FOODS AMERICAN CORP
                      7351 ORANGEWOOD AVE
                      GARDEN GROVE, CA 92841



                      HOUSTON ARMOUR INC
                      2569 IRIS DR STE D
                      CONYERS, GA 30013



                      HOUSTON CENTRAL SDA CHURCH
                      9425 WEST SAM HOUSTON PARKWAY
                      HOUSTON, TX 77064
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 929 of 2164




                      HOUSTON FOOD BANK
                      535 PORTWALL STREET
                      HOUSTON, TX 77029



                      HOUSTON HEALTH & HUMAN SERVICE
                      DEPT OF HEALTH & HUMAN SERVICE
                      PO BOX 300008
                      HOUSTON, TX 77230-0008



                      Houston Phillip
                      1925 EDGECREST DR
                      SAN JOSE, CA 95122



                      HOWARD LEVITAN
                      1601 S DE ANZA BLVD STE 150
                      C/O REFERRAL REALTY
                      CUPERTINO, CA 95014



                      HPP SERVICES LLC
                      PO BOX 2163
                      TOMBALL, TX 77377



                      Hristina Spasevska
                      4686 CENTRAL AVE
                      FREMONT, CA 94536



                      HSAIO MEI CHANG
                      769 KYLE STREET
                      SAN JOSE, CA 95127



                      HTHNCS FILMS FOR GOOD
                      2861 WOMBLE RD
                      SAN DIEGO, CA 92106



                      Hubert Company
                      25401 Network Place
                      Chicago, IL 60673-1254
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 930 of 2164




                      HUDDLE TICKETS LLC
                      6445 SHILOH RD STE B
                      ALPHARETTA, GA 30005



                      Hudson Limprevil-joseph
                      4020 Ne 15th Ave
                      Pompano Beach, FL 33064



                      Hugh Shotwell
                      4133 W. Shaw Butte Dr.
                      Phoenix, AZ 85029



                      Hugo Balbuena
                      619 S.FAIRMONT WAY
                      ORANGE, CA 92869



                      Hugo Bautista
                      22938 Via Pimiento
                      Mission Viejo, CA 92691



                      Hugo cipriano
                      7812 S 5 AVE PHOENIX
                      PHOENIX, AZ 85041



                      Hugo mason
                      5650 lucky draw Ct
                      LAS VEGAS, NV 89122



                      Hugo Mendoza
                      717 W 18th St
                      Apt B.
                      Costa Mesa, CA 92627



                      Hugo Montero
                      1303 TWILRIDGE PL
                      BRANDON, FL 33511
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 931 of 2164




                      Hugo Patino
                      2373 W CORONET AVE
                      ANAHEIM, CA 92801



                      HUGO REID ELEMENTARY PTSA
                      1000 HUGO REID DRIVE
                      ARCADIA, CA 91007



                      Hugo Samano
                      1204 N Escondido Blvd
                      Escondido, CA 92026



                      Hugo Sanchez
                      2172 S Eaton St
                      Apt#9
                      Denver, CO 80227



                      Hugo Smith
                      3725 BARRINGTON DRIVE
                      CONCORD, CA 94518



                      Humberta Hernandez
                      137 E. RODEO DR
                      TUCSON, AZ 85714



                      Humberto Cardona
                      5145 EDENVIEW DR
                      BB109
                      SAN JOSE, CA 95111



                      humberto castaneda
                      7722 RESEDA BLV
                      231
                      RESEDA, CA 91335



                      HUMBERTO CASTILLO
                      1546 MUREKINSON ST
                      LOS ANGELES, CA 90033
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 932 of 2164




                      Humberto Garcia
                      1000 E Bishop St
                      Unit F1
                      Santa Ana, CA 92701



                      Humberto Garcia
                      14335 STARBUCK ST
                      WHITTIER, CA 90605



                      Humberto Gonzalez
                      760 N 7TH STREET
                      1105
                      SAN JOSE, CA 95112



                      Humberto Santiago Lopez
                      5434 Ridgeway Ave
                      Stockton, CA 95207



                      Hung Nguyen
                      375 S. 9TH STREET
                      4588
                      SAN JOSE, CA 95112



                      Hung Phan
                      170 CHATEAU LA SALLE
                      SAN JOSE, CA 95111



                      Hunter Adams
                      4864 S. HOLLAND ST
                      DENVER, CO 80123



                      Hunter Atwood
                      2750se49thave
                      Hillsboro, OR 97123



                      Hunter Barbour
                      7901 E Bellview Ave
                      #470
                      Englewood, CO 80111
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 933 of 2164




                      Hunter Brock
                      12365 82nd Ln North
                      WEST PALM BEACH, FL 33412



                      Hunter Cameron
                      13552 POPPY PLACE
                      CHINO, CA 91710



                      HUNTER DAVISSON INC
                      1800 SE PERSHING ST
                      PORTLAND, OR 97202



                      HUNTER GAMBRELL
                      1855 MAXWELL ROAD
                      CHULA VISTA, CA 91911



                      Hunter King
                      40920 NW MAPLE RIDGE RD
                      WOODLAND, WA 98674



                      Hunter Pace
                      3501 NE 96th St.
                      Vancouver, WA 98665



                      Hunter Starnes
                      13019 BETTY LN
                      STAFFORD, TX 77477



                      Hunter Webb
                      24363 Heron Lane
                      Murrieta, CA 92562



                      Husain Baig
                      7269 COSENZA PL
                      RANCHO CUCAMONGA, CA 91701
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 934 of 2164




                      HUSD ECDC PTO
                      1100 S RECKER RD
                      GILBERT, AZ 85296



                      Husna Rahmani
                      3825 EASTWOOD CIRCLE
                      SANTA CLARA, CA 95054



                      Hussein A. Ragab
                      4525 TWAIN AVE
                      18
                      SAN DIEGO, CA 92120



                      Hussein Ragab
                      4525 TWAIN AVE
                      18
                      SAN DIEGO, CA 92120



                      Huyen Trinh
                      935 BRANHAM LN
                      #B
                      SAN JOSE, CA 95136



                      HYDE PARK MIDDLE SCHOOL BAND
                      900 HINSON ST
                      LAS VEGAS, NV 89107



                      HYDRO DYNAMICS
                      1151 BIRCH AVE
                      CLOVIS, CA 93611



                      HYGIENE SERVICES OF CENTRAL FLORIDA
                      PO BOX 12350
                      CHARLOTTE, NC 28220



                      HYGOLET INC
                      349 SE 2 AVE
                      DEERFIELD BEACH, FL 33441
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 935 of 2164




                      Hygolet Inc.
                      349 Se 2 Avenue
                      Deerfield Beach, FL 33441



                      Hyleen Renteria
                      926 JAMES PLACE
                      POMONA, CA 91767



                      Iain Hutchinson
                      11124 Vista Sorrento Parkway
                      San Diego, CA 92130



                      Iamani Harris
                      8738 TIERRA VISTA CIRCLE
                      301
                      KISSIMMEE, FL 34747



                      Ian Caudillo
                      17350 E TEMPLE AVE #61
                      LA PUENTE, CA 91744



                      IAN E. FOSTER
                      11401 TOPANGA CANYON BLVD
                      117
                      CHATSWORTH, CA 91311



                      Ian Foster
                      11401 TOPANGA CANYON BLVD
                      117
                      CHATSWORTH, CA 91311



                      Ian Higgins-Spar
                      17961 LOS PESOS CIRCLE
                      FOUNTAIN VALLEY, CA 92708



                      Ian Hilton
                      2927 MADISON ST
                      HOLLYWOOD, FL 33020
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 936 of 2164




                      Ian Schuepbach
                      3807 PEPPERTREE LANE
                      1205
                      WILDWOOD, FL 34785



                      Ian Yarbrough
                      2352 HERITAGE PARK CIRCLE
                      KENNESAW, GA 30144



                      Icis Martin
                      16220 N 7TH STREET
                      2395
                      PHOENIX, AZ 85022



                      Ida Moslehi
                      12782 Torrey Bluff Drive
                      San Diego, CA 92130



                      Ida Mount
                      3616 E.LAMBRIGHT ST.
                      TAMPA, FL 33610



                      Ida S. Moslehi
                      12782 Torrey Bluff Drive
                      San Diego, CA 92130



                      IDAHO DOL
                      ACCOUNTING BUREAU
                      317 WEST MAIN ST.
                      BOISE, ID 08373-5610



                      IDAHO STATE TAX COMMISSION
                      P.O. BOX 76
                      BOISE, ID 00837-0776



                      Idanot Duprat
                      6615 Country Lake Rd
                      Cumming, GA 30041
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 937 of 2164




                      Ides Cortez De Ochoa
                      1127W 56ST
                      LOS ANGELES, CA 90037



                      Idriss Mahamat
                      1607 W EL RIO DR
                      APT 216
                      TUCSON, AZ 85745



                      Ieshia Alladin
                      15511 Township Glen Ln
                      Cypress, TX 77433



                      Ignacia Nunez
                      1120 E Buoy Ave
                      Orange, CA 92865



                      Ignacio Cobian Jr.
                      19320 BECHARD AVE
                      CERRITOS, CA 90703



                      Ignacio Garcia
                      7225 W Monterey Way
                      Phoenix, AZ 85033



                      Ignacio Martinez
                      1306 S RENE DR
                      SANTA ANA, CA 92704



                      Ignacio Mendoza
                      642 JACKS CREEK RD
                      ESCONDIDO, CA 92027



                      Ignacio nunez III
                      1196 SUNRISE WY
                      MILPITAS, CA 95035
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 938 of 2164




                      Ignacio Ocampo Pantoja
                      21227 US 19 N
                      123B
                      CLEARWATER, FL 33765



                      Ignacio Rivera
                      2001 S HACIENDA BLVD
                      19
                      HACIENDA HEIGHTS, CA 91745



                      IGS ENERGY
                      PO BOX 936613
                      ATLANTA, GA 31193-6613



                      IHIGH VIRTUAL ACADEMY ASB
                      3939 CONDE ST
                      SAN DIEGO, CA 92100



                      IHS FRIENDS OF VOCAL MUSIC
                      4321 WALNUT AVENUE
                      IRVINE, CA 92620



                      Ikea




                      IL STATE DISBURSEMENT UNIT
                      PO BOX 5400
                      CAROL STREAM, IL 60197



                      Ilaisaane Maafu
                      1621 RIDGE ROAD
                      LARGO, FL 33778



                      Ildifonzo Quiroz
                      749 East Julian St.
                      San Jose, CA 95112
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 939 of 2164




                      Ileana Rodriguez-Anzures
                      10038 SE 65TH AVE
                      10038
                      MILWAUKIE, OR 97222



                      Ilene Brown
                      3400 S.W. 208 STREET
                      PEMBROKE PINES, FL 33029



                      Iles Julien
                      511 SW 7TH AVENUE
                      DELRAY BEACH, FL 33444



                      Iliana Alarcon
                      1390 ACAPULCO AVE.
                      SIMI VALLEY, CA 93065



                      Iliana Leon
                      6103 N Glen ave
                      Tampa, FL 33614



                      Iliana Lopez
                      19108 WELLHAVEN ST.
                      CANYON COUNTRY, CA 91351



                      Ilisha Williams
                      12020 N GESSNER RD
                      1102
                      HOUSTON, TX 77064



                      Illessa Hall
                      9885 SW SATTLER ST
                      TIGARD, OR 97224



                      ILLINOIS DEPARTMENT OF REVENUE
                      PO BOX 19447
                      SPRINGFIELD, IL 62794-9447
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 940 of 2164




                      ILLINOIS STATE TREASURER
                      UNCLAIMED PROPERTY DIVISION
                      PO BOX 19496
                      SPRINGFIELD, IL 62794-9496



                      ILLINOIS WHOLESALE CASH REGIST
                      2790 PINNACLE DRIVE
                      ELGIN, IL 60124



                      ILLINOIS WHOLESALE CASH REGIST
                      2790 PINNACLE DRIVE
                      ELGIN
                      IL, 60124



                      Ilona Zdir
                      212 OMAHA WAY
                      VANCOUVER, WA 98661



                      Ilrick Fab
                      3183 Coral Ridge Drive
                      Coral Springs FL, FL 33065



                      Ilyne Ramirez
                      3325 HILL DRIVE NW
                      DULUTH, GA 30096



                      Imaan Sheikh
                      10458 PANTHER TRACE
                      LITTLETON, CO 80124



                      IMAGERY MARKETING INC
                      PO BOX 105
                      GOLF, IL 60029



                      IMAGERY MARKETING INC
                      PO BOX 105
                      GOLF
                      IL, 60029
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 941 of 2164




                      Imagery Marketing Inc.
                      PO Box 105
                      Golf, IL 60029



                      Imani jackson
                      875 CINNABAR ST
                      4403
                      SAN JOSE, CA 95126



                      Imelda Pine
                      3670 GLENDON AVE
                      134
                      CULVER CITY, CA 90034



                      Imelda Serrano
                      2775 S. Federal Blvd
                      #207
                      Denver, CO 80236



                      Imelda Velasco
                      1512 Pass and Covina Rd.
                      La Puente, CA 91744



                      Imeldo Arteaga
                      2218 Broderick Ave
                      Duarte, CA 91010



                      IMLAY PTA
                      5900 SE LOIS ST
                      HILSBORO, OR 97123



                      Immacula Etienne
                      2040 42st
                      Naples, FL 34116



                      IMPERIAL IRRIGATION DISTRICT
                      PO BOX 937
                      333 EAST BARIONI BLVD
                      IMPERIAL, CA 92251-0937
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 942 of 2164




                      In A Nut Shell
                      753 MONTAGUE STREET
                      SAN LEANDRO, CA 94577



                      In A Nut Shell - Formerly Deruois
                      753 MONTAGUE STREET
                      SAN LEANDRO, CA 94577



                      IN MOTION INC
                      6116 INNOVATION WAY
                      CARLSBAD, CA 92009



                      IN SYNC COMPUTER SOLUTIONS INC
                      23272 MILL CREEK ROAD DR
                      STE 110
                      LAGUNA HILLS, CA 92653



                      INCOME TAX DIVISION
                      CITY OF AKRON
                      1 CASCADE PLAZA, 11TH FLOOR
                      AKRON, OH 00044-3080



                      INCOMM DIGITAL SOLUTIONS
                      111 SW 5TH AVE #900
                      PORTLAND, OR 97204



                      Inderjit Sanghera
                      687 TIGERSEYE LOOP
                      SAN JOSE, CA 95123



                      India Ali
                      16565 E WESLEY AVE
                      AURORA, CO 80013



                      INDIANA DEPARTMENT OF REVENUE
                      P.O. BOX 7221
                      INDIANAPOLIS, IN 46207-7221
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 943 of 2164




                      INDIGO PROGRAM
                      530 GETTYSBURG DRIVE
                      SAN JOSE, CA 95123



                      INDIGO PROGRAM
                      530 GETTYSBURG DRIVE
                      SAN JOSE
                      CA, 95123



                      Indira Hern?ndez
                      13949 Circa Crossing Dr
                      Apt 107
                      Lithia, FL 33547



                      Indira Salguero
                      9555 Reseda Blvd
                      Apt#207
                      Northridge, CA 91324



                      indiriyas cunningham
                      397 N MILL BROOK ST
                      AURORA, CO 80018



                      INDUSTRIAL ELECTRIC SERVIC
                      PO BOX 3929
                      HUNTINGTON BEACH
                      CA, 92605



                      INDUSTRIAL ELECTRIC SERVICE
                      PO BOX 3929
                      HUNTINGTON BEACH, CA 92605



                      INDUSTRIAL MAINTENANCE EQUIPMENT SERVICE
                      8780 19TH ST 353
                      ALTA LOMA, CA 91701
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 944 of 2164




                      INDUSTRIAL MAINTENANCE EQUIPMENT SERVICE
                      8780 19TH ST 353
                      ALTA LOMA
                      CA, 91701



                      Inecta
                      BREWLOGIC INC
                      179 FRANKLIN ST
                      STE 5B
                      NEW YORK, NY 10013



                      INFINITY AIR CONDITIONING AND ELECTRICAL
                      5027 IRWINDALE AVE
                      IRWINDALE, CA 91706



                      INFINITY ASSEMBLY
                      28902 CURLEW LANE
                      LAGUNA NIGUEL, CA 92677



                      INFINITY ASSEMBLY IORG
                      27 SANTA AGATHA
                      RANCHO SANTA MARGARITA, CA 92688



                      Infosync
                      1938 N WOODLAWN
                      WICHITA, KS 67208



                      INFOSYNC SERVICES
                      1938 N WOODLAWN
                      WICHITA, KS 67208



                      Ingrid Artiga
                      6318 Shadow Tree Dr
                      Houston, TX 77035



                      Ingrid Lewis
                      1925 Edgecrest Dr
                      San Jose, CA 95122
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 945 of 2164




                      Ingrid Vasquez Bravo
                      1826 5th street
                      SARASOTA, FL 34236



                      INLAND VALLEY DSA
                      11069 KENYON WAY
                      IVDSA BUDDY WALK TEAM
                      RANCHO CUCAMONGA, CA 91701



                      INNOVASAFE INC
                      PO BOX 800256
                      VALENCIA, CA 91380



                      Inocel Liberice
                      1170 Nw 20th St
                      Fort Lauderdale, FL 33311



                      Inocencia Medina
                      3455 Avenue of the americas
                      APT 2001
                      Orlando, FL 32822



                      INSCCU
                      PO BOX 6219
                      INDIANAPOLIS, IN 46206-6219



                      INSIGHT LEADERSHIP LLC
                      3983 MONROE STREET
                      EUGENE, OR 97405



                      INSTITUTE FOR PUBLIC STRATEGIES INC
                      2615 CAMINO DEL RIO SOUTH
                      STE 300
                      SAN DIEGO, CA 92108



                      INTEGRATED OFFICE TECHNOLOGY
                      12150 MORA DR STE 2
                      SANTA FE SPRINGS, CA 90670
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 946 of 2164




                      INTEGRITY CLEANING SERVICE LLC
                      PO BOX 931325
                      NORCROSS, GA 30003



                      Interace
                      3773 Corporate Center Dr
                      Earth City, MO 63045



                      INTERFACE SECURITY SYSTEMS HOLDINGS INC
                      8339 SOLUTIONS CENTER
                      CHICAGO, IL 60677



                      INTERFACE SECURITY SYSTEMS HOLDINGS INC
                      8339 SOLUTIONS CENTER
                      CHICAGO
                      IL, 60677



                      INTERNAL REVENUE SERVICE
                      PO BOX 24017
                      FRESNO, CA 93779



                      INTERNATIONAL SCHOOL OF TUCSON
                      1701 E SENECA ST
                      TUCSON, AZ 85719



                      INTERNATIONAL SOCIETY FOR AUTI
                      3275 W HILLSBORO BLVD STE 110
                      DEERFILED BEACH, FL 33442



                      INTERNATIONAL TABLEWARE INC
                      300 PHILLIPS AVE
                      TOLEDO, OH 43612



                      International Tableware, Inc
                      300 Phillips Avenue
                      Toledo, OH 43612
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 947 of 2164




                      INTERNATIONAL TELEMATICS CORP
                      ONE BRIDGE PLAZA NORTH STE 100
                      FORT LEE, NJ 07024



                      INTERNATIONAL TRADE IMPACT
                      PO BOX 57079
                      PHILADELPHIA, PA 19111-7079



                      Interstate Battery System
                      Of Southern California, Inc
                      INTERSTATE ALL BATTERY CENTER - PO Box 1
                      San Bernardino, CA 92423



                      Interstate Meat Co. Inc.
                      DBA Sterling Pacific Meat Co.
                      6114 Scott Way
                      Commerce, CA 90040



                      Interstate Meat Co. Inc.
                      DBA Sterling Pacific Meat Co.
                      6114 Scott Way
                      Commerce
                      CA, 90040



                      INVALID VENDOR IN BOH FILE
                      CORRECT V# OR SET UP NEW
                      XXXXX, XX



                      INVEN TRUST PROPERTIES CORP
                      PO BOX 677813
                      DEPT 44751 C/O PEMBROOKE PINES
                      DALLAS, TX 75267-7813



                      INVEN TRUST PROPERTIES CORP
                      PEMBROKE PINES LLC
                      2809 BUTTERFIELD ROAD
                      OAK BROOK, IL 60523
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 948 of 2164




                      INVESTMENT RETRIEVERS
                      PO BOX 4733
                      EL DORADO HILLS, CA 95762



                      IOWA WORKFORCE DEVELOPMENT
                      TAX SECTION
                      1000 EAST GRAND AVE.
                      DES MOINES, IA 05031-9209



                      Ipsita Kotra
                      17321 EAGLE CANYON PL
                      SAN DIEGO, CA 92127



                      Irais Rios
                      9850 Rosemont Ave
                      #207
                      Lone Tree, CO 80124



                      Iraiza Sanchez
                      1120 SE 208TH PL
                      GRESHAM, OR 97030



                      Irene Acevedo
                      4726 ROSEBUD DR.
                      HOUSTON, TX 77053



                      Irene Conley
                      4889 NOAH RDG.
                      ACWORTH, GA 30101



                      Irene Escueta
                      1155 Camellia Dr
                      Marietta, GA 30062



                      Irene Leonflores
                      3431 43rd
                      1
                      San Diego, CA 92105
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 949 of 2164




                      Irene Martinez
                      963 WEST TENNYSON RD
                      APT 3
                      HAYWARD, CA 94544



                      Irene morales
                      3558 J STREET
                      #4
                      SANDIEGO, CA 92102



                      Irene Vasquez
                      3976 Waring Rd
                      #16
                      Oceanside, CA 92056



                      Irina Frolova
                      29503 TIMBER TRAIL STREET
                      SPRING, TX 77386



                      Iris Allen
                      21712 SEPTO ST
                      203
                      CHATSWORTH, CA 91311



                      Iris Castro
                      5060 MILLENIA BLVD
                      103
                      ORLANDO, FL 32839



                      Iris Del Cid Moreno
                      6318 Shadon Tree Dr
                      Houston, TX 77035



                      Iris Dickens
                      12001 woodside ave #72
                      Lakeside, CA 92040
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 950 of 2164




                      Iris gamboa
                      4521 E WESCOTT DR 85050
                      PHX, AZ 85050



                      Irizarry Yaidelice
                      7720 W. Mitchell Dr
                      Phoenix, AZ 85033



                      Irlanda Coronado
                      332 N DOBSON RD
                      19
                      MESA, AZ 85201



                      Irlanda Lopez
                      3718 Brock Rd
                      Duluth, GA 30096



                      Irma Catalan
                      2600 Fort Worth St.
                      Sarasota, FL 34231



                      Irma Ceja
                      3134 G ST
                      SAN DIEGO, CA 92102



                      Irma Gonzalez Villa
                      1560 ADELAID ST
                      #5
                      CONCORD, CA 94520



                      Irma Ibarra
                      539 Hannah St
                      San Jose, CA 95126



                      Irma karina Ramirez
                      4185 SANTA SUSANA WAY
                      SAN JOSE, CA 95111
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 951 of 2164




                      Irma Morales
                      5613 9TH AVENUE
                      FORT MYERS, FL 33907



                      Irma Saucedo
                      9203 HARNESS STREET
                      SPRING VALLEY, CA 91977



                      Irma Segura
                      1414 W. Lomita
                      Harbor City, CA 90710



                      Irma Suarez
                      13625 REGENTVIEW AVE
                      BELLFLOWER, CA 90706



                      Irma Zarazua
                      245 WEST CHERRY AVE
                      MONROVIA, CA 91016



                      Irma Zepeda
                      4050 W Franklin Ave
                      #201
                      Fullerton, CA 92833



                      Irvin Molina Lopez
                      370 54TH ST
                      SAN DIEGO, CA 92114



                      IRVINE HIGH SCH JR CLASS COUNCIL
                      159 ROSE ARCH
                      IRVINE, CA 92620



                      IRVINE HIGH SCH NAT HONOR SOC
                      159 ROSE ARCH
                      IRVINE, CA 92620
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 952 of 2164




                      IRVINE HIGH SCH NAT HONOR SOC
                      159 ROSE ARCH
                      IRVINE
                      CA, 92620



                      IRVINE HIGH SCHOOL
                      4321 WALNUT AVE
                      IRVINE ROBOTICS 7230
                      IRVINE, CA 92604



                      IRVINE RANCH WATER DISTRICT
                      PO BOX 51403
                      LOS ANGELES, CA 90051-5703



                      IRVINE UNIFIED SCHOOL DISTRICT
                      126 LACEFLOWER
                      C/O ALEX WILLIAMS
                      IRVINE, CA 92618



                      Irving Johnson
                      1604 Sycamore Dr
                      Kennesaw, GA 30152



                      Irving Montes
                      3163 Shofner Place
                      San Jose, CA 95111



                      IRVING ROSETE
                      8062 LARSON AVE #D
                      GARDEN GROVE, CA 92844



                      IRVINGTON CLASS OF 2018
                      41800 BLACOW RD
                      FREMONT, CA 94538



                      IRVINGTON HIGH SCHOOL
                      41800 BLACOW RD
                      FREMONT, CA 94539
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 953 of 2164




                      IRVINGTON HIGH SCHOOL ASG
                      39440 DRAGONFLY ST
                      NEWARK, CA 94560



                      IRVINGTON HIGH WATERPOLO TEAM
                      41800 BLACOW RD
                      FREMONT, CA 94538



                      IRVINGTON HS WATER POLO
                      91 DELTA GREEN
                      FREMONT, CA 94538



                      ISAAC A. ALFARO
                      735 W AVENUE J10
                      LANCASTER, CA 93534



                      Isaac Alemngor
                      1201 Walnut Avenue
                      Apt #83
                      Tustin, CA 92780



                      Isaac Alfaro
                      735 W AVENUE J10
                      LANCASTER, CA 93534



                      Isaac Bahe
                      4529 W Ocotillo Rd
                      Apt #202
                      Glendale, AZ 85301



                      Isaac Canales
                      608 Wickford Ave.
                      La Puente, CA 91744



                      Isaac Carter jr
                      1464 N YUCCA AVE
                      RIALTO, CA 92376
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 954 of 2164




                      Isaac Contreras
                      2544 TAMORA AVE
                      SOUTH EL MONTE, CA 91733



                      Isaac corrales
                      2250 ARBOUR WALK CIRCLE
                      NAPLES, FL 34109



                      Isaac Escalante
                      4556 CORONADO HILLS WAY
                      LAS VEGAS, NV 89115



                      Isaac Flores
                      8658 CANDLEWOOD ST
                      CHINO, CA 91708



                      ISAAC GARCIA
                      8031 I76 SERVICE RD
                      HENDERSON, CO 80640



                      Isaac Gonzalez
                      2330 PLEASANT HILL RD
                      37
                      PLEASANT HILL, CA 94523



                      Isaac Green
                      352 E. 139TH ST.
                      LOS ANGELES, CA 90061



                      Isaac Lo
                      1299 QUAIL CREEK CIRCLE
                      SAN JOSE, CA 95120



                      Isaac Megaly
                      1188 S Orange Ave
                      #40
                      El Cajon, CA 92020
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 955 of 2164




                      Isaac Montoya
                      2853 KELVIN AVE
                      304
                      IRVINE, CA 92614



                      Isaac Nace
                      274 G STREET
                      CHULA VISTA, CA 91910



                      Isaac Nelson
                      16400 SHE SCORIA LN
                      DAMASCUS, OR 97089



                      Isaac Rhoades
                      7292 E ALDERBERRY
                      TUCSON, AZ 85756



                      Isaac Servius
                      5067 Adams Road
                      Delray Beach, FL 33484



                      Isaac Spencer
                      541 GILDA AVENUE
                      MARTINEZ, CA 94553



                      Isaac Valdez
                      617 3RD AVE
                      #1
                      CHULA VISTA, CA 91910



                      Isaac Vieira
                      7128 LA SARRA DR
                      LANCASTER, CA 93536



                      Isaac Wolaver
                      9065 E EAGLE PL
                      TUCSON, AZ 85749
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 956 of 2164




                      Isaak Askenaze
                      10755
                      FOUNTAIN VALLEY, CA 92708



                      ISAAK J. ASKENAZE
                      10755
                      FOUNTAIN VALLEY, CA 92708



                      Isabel Carrillo
                      647 W. BARSTOW AVE
                      206
                      CLOVIS, CA 93612



                      Isabel Cox
                      249 EL BOSQUECILLO
                      CAMARILLO, CA 93010



                      Isabel Danialian
                      613 N. DOHENY DR.
                      BEVERLY HILLS, CA 90210



                      Isabel De Loera
                      7681 Hopi Rd
                      Stanton, CA 90680



                      Isabel Garcia
                      139 SPRING. CT
                      BREA, CA 92821



                      Isabel Guerra
                      2121 E Grand Ave
                      Apt# G28
                      Escondido, CA 92027



                      Isabel Martinez
                      2432 Trace Rd
                      Spring Valley, CA 91978
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 957 of 2164




                      Isabel Mendez
                      7328 RESTFUL SPRINGS CT
                      LAS VEGAS, NV 89128



                      Isabel Mendoza-sanchez
                      1500 W. Thornton PKY #381
                      thornton, CO 80031



                      Isabel Ortega-Corretjer
                      6301 S WESTSHORE BLVD
                      1707 NORTH
                      TAMPA, FL 33616



                      Isabel Saavedra
                      1301 CATHERINE ST
                      203
                      ORLANDO, FL 32801



                      Isabel Santiago
                      32410 Jarden Ct
                      winchster, CA 92596



                      Isabel Snyder
                      30 GOLDEN SHADOW CIRCLE
                      THE WOODLANDS, TX 77381



                      Isabel Vargas
                      13058 SIXTH ST
                      CHINO, CA 91710



                      ISABEL VAZQUEZ-LOZANO
                      6201 E 62ND AVE.#6203
                      COMMERCE CITY, CO 80022



                      Isabel Ventura
                      9887 E. PEAKVIEW AVE
                      F8
                      ENGLEWOOD, CO 80111
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 958 of 2164




                      Isabel Verdusco
                      3340 Cabrillo Ave
                      Apt 1
                      Santa Clara, CA 95051



                      Isabela Fernandez
                      24 HIDDEN VALLEY DR.
                      LAWRENCEVILLE, GA 30044



                      Isabela Torgerson
                      1023 PECOS RIVER AVE
                      HENDERSON, NV 89002



                      Isabell Gil
                      3817 SOUTH LAKE DR
                      230
                      TAMPA, FL 33614



                      Isabella Benavides
                      6681 SW 137TH CT.
                      B
                      MIAMI, FL 33183



                      Isabella Cartaya
                      3906 FLOYD RD
                      TAMPA, FL 33618



                      Isabella castillo
                      4407 TYLER ST
                      HOLLYWOOD, FL 33021



                      Isabella Estrada
                      4905 SAN TIMOTEO AVE
                      ALBUQUERQUE, NM 87114



                      Isabella Geraci
                      4126 BRUNSWICK AVE
                      LOS ANGELES, CA 90039
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 959 of 2164




                      Isabella Gonzalez
                      2241 SW 180TH AVE
                      MIRAMAR, FL 33029



                      Isabella Herrick
                      328 SYCAMORE COTTAGE CT
                      CAMARILLO, CA 93012



                      Isabella Leos
                      36 E RODELL PL
                      ARCADIA, CA 91006



                      Isabella M. Herrick
                      328 SYCAMORE COTTAGE CT
                      CAMARILLO, CA 93012



                      Isabella Montillano
                      10208 CAMINO RUIZ
                      APT.150
                      SAN DIEGO, CA 92126



                      Isabella Serrano
                      6611 NW WENMARIE DR
                      PORTLAND, OR 97229



                      Isabella Starkey
                      4971 HILLCREST WAY
                      PLEASANTON, CA 94588



                      Isabella Stevens-Ramirez
                      750 MENUAL BLVD NW
                      ALBUQUERQUE, NM 87107



                      Isabelle Garcia
                      1713 Cedar Street
                      Apt. A
                      Alhambra, CA 91801
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 960 of 2164




                      Isabelle Ramirez
                      356 Jerome Street
                      San Jose, CA 95125



                      Isabelle Wilkinson
                      11675 SW CLIFFORD ST
                      BEAVERTON, OR 97008



                      ISAEL TEXIDOR
                      613 ALPINE ST
                      ALTAMONTE SPRINGS, FL 32701



                      Isai Aguilar
                      7150 Cerritos Ave
                      #5
                      Stanton, CA 90680



                      Isaiah Abron
                      2261 S MEMPHIS ST
                      AURORA, CO 80013



                      Isaiah Archie
                      2676 BRICKELL SQUARE
                      NONE
                      ATLANTA, GA 30341



                      Isaiah Carter
                      4252 E. WOODLAWN AVE
                      #8
                      LOS ANGELES, CA 90011



                      Isaiah Coleman
                      529 S. 45TH STREET
                      SAN DIEGO, CA 92113



                      Isaiah Depradine
                      12261 Fondren Rd
                      Houston, TX 77035
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 961 of 2164




                      Isaiah Garcia
                      16675 SLATE DRIVE
                      1625
                      CHINO HILLS, CA 91709



                      Isaiah Gutierrez
                      2908 W NORWOOD PL
                      ALHAMBRA, CA 91803



                      Isaiah Herrera
                      9778 Ogden Ct.
                      Thornton, CO 80229



                      Isaiah Howard
                      4161 RENNELLWOODWAY WAY
                      PLEASANTON, CA 94566



                      Isaiah Lozano Lozano
                      15955 SE SWIFT CT
                      CLACK, OR 97015



                      Isaiah Morales
                      2044 NE 20TH TERRACE
                      CAPE CORAL, FL 33909



                      Isaiah Rickards
                      5316 MILLENIA BLVD
                      10415
                      ORLANDO, FL 32839



                      Isaiah Smith
                      806 LESA GLEN PLACE
                      BRANDON, FL 33510



                      Isaiah Stansbury
                      17725 Ne Baker Creek Rd
                      Brush Prairie, WA 98606
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 962 of 2164




                      Isaiah Strickland
                      109 W PRINCE RD
                      D5
                      TUCSON, AZ 85705



                      Isaiah Trevino
                      1559 N AGUSTA AVENUE
                      CAMARILLO, CA 93010



                      Isaiah V. Abron
                      2261 S MEMPHIS ST
                      AURORA, CO 80013



                      ISAIAS LOPEZ
                      4766 LIMERICK AVE
                      SAN DIEGO, CA 92117



                      Isaias Mancilla
                      3750 CYPRESS AVENUE
                      2
                      EL MONTE, CA 91731



                      Isaias Reyes
                      25016 SANORIA ST
                      LAGUNA NIGUEL, CA 92677



                      Isaias Rojano
                      635 N. Virgil Ave
                      Los Angeles, CA 90004



                      Isaic Bautista
                      235 Millar Ave
                      El Cajon, CA 92020



                      Isaid D. Garcia
                      2746 Via Tulipan
                      Carlsbad, CA 92010
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 963 of 2164




                      Isaid Garcia
                      2746 Via Tulipan
                      Carlsbad, CA 92010



                      Isary Suri
                      668 Biarrtz Court
                      Orlando, FL 32809



                      Isaura Escobar
                      20415 CATALINA ST
                      TORRANCE, CA 90502



                      Isena Saintphard
                      10828 ROYAL PALM BLVD
                      CORAL SPRINGS, FL 33065



                      Isenia Arvizu
                      1738 Elfin Forest Rd
                      San Marcos, CA 92078



                      Isiah Rucks
                      5361 N. Third St.
                      Apt D
                      Fresno, CA 93710



                      Isibeala Moody
                      30177 HOLMBY COURT
                      CASTAIC, CA 91384



                      Isidro Ramirez
                      541 N EAST AVE
                      Sarasota, FL 34237



                      Isis Nosa
                      1930 Grand Park Drive
                      Missouri City, TX 77489
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 964 of 2164




                      Isis Thomas
                      12395 SE HUBBARD RD.
                      12395
                      CLACKAMS, OR 97015



                      Islannssagne Laurore
                      10922 Royal Palm Blvd
                      Coral Springs, FL 33065



                      Ismael Carmona
                      108 GIBSON AVENUE
                      BAY POINT, CA 94565



                      Ismael Espinoza
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                      Apt 166
                      Chula Vista, CA 91911



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                      Ismael Resto Hernandez
                      8212 SANDY WOOD DR
                      SANFORD, FL 32771



                      Ismael Rodriguez
                      5017 1/2 HAYTER AVE.
                      LAKEWOOD, CA 90712



                      Ismael Torres
                      21227 Us Highway 19n
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                      Clearwater, FL 33765



                      Ismael Valente Labra
                      3723 E. HEATON AVE
                      FRESNO, CA 93702
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 965 of 2164




                      Ismiel Carrillo
                      459 LAUREL AVE
                      HAYWARD, CA 94541



                      ISQL SYSTEMS
                      A D MAL INC
                      16731 WESTFIELD LANE
                      HUNTINGTON BEACH
                      CA, 92649



                      Israel Alvarez Arriaga
                      8505 WADE ST
                      SAN DIEGO, CA 92114



                      Israel Araujo
                      2908 ALTA DR
                      NATIONAL CITY, CA 91950



                      Israel Caballero
                      8655 PITNER RD
                      84
                      HOUSTON, TX 77080



                      Israel Garcia
                      22406 eleine ave
                      Hawaiian Gardens, CA 90716



                      Israel Garcia
                      1416 BROCKTON AVE
                      4
                      LOS NGELES, CA 90025



                      Israel Ortega
                      5563 Rabadi Castle Ave Nw
                      Albuquerque, NM 87114
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 966 of 2164




                      Israel ortueta
                      6805 N 27TH AVE
                      202
                      PHOENIX, AZ 85017



                      Israel Palacios
                      285 LORAINE DR
                      ALTAMONTE SPRINGS, FL 32714



                      Israel Perez
                      1307 WILCREST DRIVE
                      4204
                      HOUSTON, TX 77042



                      Issaac Mead
                      10125 SE BOB SCHUMACHER RD
                      APT 412
                      HAPPY VALLEY, OR 97086



                      Issac Hernandez
                      866 PASEO TOSAMAR
                      CAMARILLO, CA 93012



                      Issac Hoang
                      29810 GENEVA DR
                      SPRING, TX 77386



                      Issac Rivas
                      8723 Landwood Dr
                      Houston, TX 77040



                      Issay Portela
                      4207 E. KINGS RD
                      TUCSON, AZ 85711



                      Issei T. Vigo
                      438 JURUPA AVE.
                      REDLANDS, CA 92374
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 967 of 2164




                      Issei Vigo
                      438 JURUPA AVE.
                      REDLANDS, CA 92374



                      Ita Ginting - Hamilton
                      527 W FOOTHILL BLVD
                      14
                      MONROVIA, CA 91016



                      Itala Mendiola
                      1028 Snow Lane
                      Placentia, CA 92870



                      Itchaqueira Fontanez
                      130 ZENITH CIRCLE
                      FORT MYERS, FL 33913



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                      FULLERTON, CA 92833



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                      Philadelphia, PA 19111-7079



                      Itsvanina Morao
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                      Orlando, FL 32814



                      Itzana Dieguez
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                      Scottsdale, AZ 85257



                      Itzel arroyo
                      1446 W UNION ST
                      SAN BERNARDINO, CA 92411
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 968 of 2164




                      Itzel Luis Ordonez
                      2524 OAKLAND SPRING DR
                      SNELLVILLE, GA 30039



                      ITZEL VARGAS
                      475 VINEYARD PL
                      PASADENA, CA 91107



                      IVAN A. ANGULO CALDERON
                      3220 VAN DYKE AVE
                      SAN DIEGO, CA 92105



                      Ivan Aceves
                      9955 KEMPWOOD DR
                      415
                      HOUSTON, TX 77080



                      Ivan Amezcua
                      195 AVON ST.
                      PITTSBURG, CA 94565



                      Ivan Angulo Calderon
                      3220 VAN DYKE AVE
                      SAN DIEGO, CA 92105



                      Ivan Campos
                      35995 Fremont Blvd, APT#29
                      Fremont, CA 94536



                      Ivan Carbarin
                      502 N MARGUERITA AVE
                      #4
                      ALHAMBRA, CA 91801



                      Ivan Chavez
                      6767 SE NEEDHAM ST
                      MILWAUKIE, OR 97222
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 969 of 2164




                      Ivan Echegaray
                      13151 Yorba Ave.
                      Chino, CA 91710



                      Ivan Escobedo Pinto
                      37508 LONG STREET
                      NEWARK, CA 94560



                      Ivan Gomez Ayala
                      3332 DREW STREET
                      10
                      LOS ANGELES, CA 90065



                      Ivan gonzalez
                      10335 W. Keene Ave
                      Denver, CO 80235



                      Ivan Guerrero
                      4330 MARINE AVE
                      16
                      LAWNDALE, CA 90260



                      Ivan Hernandez
                      320 South Midway Drive
                      Escondido, CA 92027



                      Ivan Jauregui
                      115 Kenbrook Cir.
                      San Jose, CA 95111



                      Ivan Martin
                      11631 SW183RD ST.
                      MIAMI, FL 33157



                      Ivan mendez
                      966 HELEN AVE
                      #6
                      SUNNYVALE, CA 94086
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 970 of 2164




                      Ivan Nunez
                      8209 Nerisa Ct. Sw
                      Albuquerque, NM 87121



                      Ivan Rodriguez
                      18497 Sw 7th
                      Pembroke Pines, FL 33029



                      Ivan Rojas
                      6587 RANCHO DEL SOL WAY
                      17
                      SAN DIEGO, CA 92130



                      Ivan simon
                      735 CONLON DR
                      NA
                      HEMET, CA 92545



                      Ivan Soto-Del Rio
                      7089 ARGYLE AVE
                      SAN BERNARDINO, CA 92404



                      IVAN W RUSSELL
                      PO BOX 11623
                      ALBUQUERQUE, NM 87192



                      Ivann Garcia
                      351 Alamo Way
                      Oceanside, CA 92057



                      Ivelyss Perez
                      1026 LOCUST AVE
                      ORLANDO, FL 32809



                      Iven Martinez
                      667 HERMITAGE PL
                      SAN JOSE, CA 95134
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 971 of 2164




                      Ivette Ramos
                      10210 HEATHER HILL DR
                      HOUSTON, TX 77086



                      Ivette Renteria
                      131 East 15th Ave
                      Apt E
                      Escondido, CA 92025



                      IVETTE RENTERIA
                      3564 WINDRIFT WAY APT 245
                      OCEANSIDE, CA 92056



                      IVETTE RENTERIA
                      3564 WINDRIFT WAY APT 245
                      OCEANSIDE
                      CA, 92056



                      Ivette Rodriguez Ramirez
                      2018 SE 48TH AVE
                      HILLSBORO, OR 97123



                      Ivone Liu
                      16179 CAYENNE RIDGE RD.
                      SAN DIEGO, CA 92127



                      Ivonia Liberice
                      1720 N.w. 7th Terr.
                      Fort Lauderdale, FL 33311



                      Ivonne Baez
                      54 Woodlawn Ave #204
                      Chula Vista, CA 91910



                      Ivonne Guagliardo
                      865 TURKEY DR
                      SAN JOSE, CA 95116
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 972 of 2164




                      Ivonne Palma
                      4124 Broadway
                      San Diego, CA 92102



                      Ivory Vaca
                      6742 MARILYN DR
                      HUNTINGTON BEACH, CA 92647



                      IVY GONG
                      2310 FULTON ST #202
                      BERKELEY, CA 94704



                      Iyanna Frierson
                      4381 CHESSMAN WAY
                      LAS VEGAS, NV 89147



                      Iyonna Dock
                      1615
                      2303
                      FEDERAL HEIGHTS, CO 80260



                      Izabel Aceves
                      47800 MADISON ST
                      INDIO, CA 92201



                      J ALAB BREAZEALE
                      5304 DENMEAD WAY
                      RALEIGH, NC 27613



                      J J JINKLEHEIMER AND COMPANY
                      2705 E GRAND RIVER AVE
                      HOWELL, MI 48843



                      J MARLAN WALKER ELEMENTARY SCHOOL
                      850 SCHOLAR STREET
                      J MARLAN WALKER ELEMENTARY SCH
                      HENDERSON, NV 89002
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 973 of 2164




                      J W PLUMBING CO
                      5829 RODMAN STREET
                      HOLLYWOOD, FL 33029



                      J&A Pallets Accessory, Inc
                      6607 Doolittle Ave
                      Riverside, CA 92503



                      J-C MARKETS INC
                      6716 N CEDAR AVE #209
                      FRESNO, CA 93710



                      J.P. HARRIS ASSOCIATES, LLC
                      P.O. BOX 226
                      MECHANICSBURG, PA 00017-0550



                      Ja'quel Dean
                      5344 MILLENIA BLVD
                      6203
                      ORLANDO, FL 32839



                      Jaber Haddad
                      15800 Rex Ct
                      Canyon Country, CA 91387



                      Jacayla Eaton
                      9322 SAPPHIREBERRY LANE
                      RIVERVIEW, FL 33578



                      Jace Lytle
                      444 Graves Avenue
                      Apt#35
                      El Cajon, CA 92020



                      JACEY HINES-LEONARDO
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 974 of 2164




                      Jacey Leppanen
                      14000 CASCADE PARK DR
                      UNIT 32
                      VANCOUVER, WA 98683



                      Jack Banovic
                      4118 Rolling Springs Dr
                      Tampa, FL 33624



                      Jack Belveal
                      1611 ORCHARD WAY
                      PLEASANTON, CA 94566



                      Jack Butler
                      311 SE 101ST AVE
                      VANCOUVER, WA 98664



                      Jack DeMeo
                      3949 LOS FELIZ BLVD
                      518
                      LOS ANGELES, CA 90027



                      JACK GERALD INC
                      55 SOWELL STREET
                      MT PLEASANT, SC 29464



                      Jack Nichols
                      13061 Wickshire Lane
                      Tustin, CA 92782



                      Jack Peterson
                      9963 WEST ARLINGTON AVE
                      LITTLETON, CO 80123



                      JACK R. WESTBY
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 975 of 2164




                      Jack Rellamas
                      37407 PARISH CIRCLE
                      FREMONT, CA 94536



                      Jack Seidle
                      9701 GALLEY COURT
                      FORT MYERS, FL 33919



                      Jackeline Lee
                      1803 ANDREA DR
                      PALMDALE, CA 93551



                      JACKIE BOEGEL
                      1008 POWELL DR
                      RALEIGH, NC 27606



                      Jackson Busch
                      195 ROAD 3 SOUTH
                      CARTERSVILLE, GA 30120



                      Jackson Calvin
                      7528 GOVERN BLVD
                      ORLANDO, FL 32822



                      JACKSON ELECTRIC MEMBERSHIP CORPORATION
                      PO BOX 100
                      JEFFERSON, GA 30549-0100



                      Jackson Forbes
                      11531 S DEER CREEK RD
                      LITTLETON, CO 80127



                      Jackson Gilliland
                      1233 WINDY BAY SHOAL
                      TARPON SPRINGS, FL 34689
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 976 of 2164




                      Jackson Hayes
                      52 EVVIE CT.
                      HENDERSON, NV 89012



                      Jackson Klein
                      11289 TRADEWINDS BLVD
                      LARGO, FL 33773



                      Jackson Laine
                      260 Ne 27 St
                      Pompano Beach, FL 33064



                      Jackson Pierre louis
                      2068 ILENE CT
                      #3
                      DELRAY BEACH, FL 33445



                      Jackson Rain
                      125 COZUMEL
                      LAGUNA BEACH, CA 92651



                      Jackson Tarr
                      1734 S CATHAY ST
                      AURORA, CO 80017



                      Jackson Woodard
                      17864 OLD WINEMASTER WAY
                      POWAY, CA 92064



                      Jaclyn Campbell
                      10516 INDEPENDENCE AVENUE
                      CHATSWORTH, CA 91311



                      Jaclyn Street
                      825 13th Ct Sw
                      Largo, FL 33770
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 977 of 2164




                      Jaclyn Vasquez
                      5332 N. EL SOL AVE.
                      FRESNO, CA 93722



                      Jaclyn Wain
                      683 1 St Court
                      Palm Harbor, FL 34684



                      Jacob A. Arriola
                      801 N. LOARA ST.
                      181
                      ANAHEIM, CA 92801



                      Jacob Adams
                      116 Lamplighter Road
                      Altamonte Springs, FL 32714



                      Jacob Armstrong
                      27761 CAMINO SANTO DOMINGO
                      SAN JUAN CAPISTRANO, CA 92675



                      Jacob Arriola
                      801 N. LOARA ST.
                      181
                      ANAHEIM, CA 92801



                      Jacob Barnhill
                      9804 SE KNIGHT ST
                      PORTLAND, OR 97266



                      Jacob Berumen
                      5923 MARSHWELL WAY
                      SAN JOSE, CA 95138



                      Jacob Blanco
                      245 WEST LORAINE STREET
                      116
                      GLENDALE, CA 91202
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 978 of 2164




                      Jacob Broaddus
                      7540 DECATUR ST
                      WESTMINSTER, CO 80030



                      Jacob Bryant
                      10464 106TH AVE N
                      #7
                      LARGO, FL 33773



                      Jacob Bulaon
                      23615 WILMINGTON CT
                      VALENCIA, CA 91354



                      Jacob Butler
                      3831 E. 7th Street
                      Long Beach, CA 90804



                      Jacob Calixto
                      2304 WALNUT CANYON DR
                      KISSIMMEE, FL 34758



                      Jacob Canale
                      223 SHENANDOAH DR.
                      MARTINEZ, CA 94553



                      Jacob Chacon
                      3148 DEARBORN AVE
                      PALMDALE, CA 93551



                      Jacob Contreras
                      1008 BOBBY POLLARD AVE
                      NORTH LAS VEGAS, NV 89086



                      Jacob Diaz
                      16500 ARVID ST.
                      LA PUENTE, CA 91744
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 979 of 2164




                      Jacob Dreiband
                      1790 TALL PINES DR
                      LARGO, FL 33771



                      Jacob Fanning
                      6468 W 84 AVE
                      ARVADA, CO 80003



                      Jacob Fine
                      6071 HOWELL DRIVE
                      LA MESA, CA 91942



                      Jacob Fisher
                      2114 E MOUNTAIN SKY COURT
                      PHOENIX, AZ 85048



                      Jacob Gildersleeve
                      4019 CARMEL VIEW RD
                      156
                      SAN DIEGO, CA 92130



                      JACOB GOLD AND ASSOCIATES INC
                      TROOP 131
                      14850 N SCOTTSDALE ROAD #255
                      SCOTTSDALE
                      AZ, 85254



                      Jacob Goldberg
                      6910 Yolanda Ave
                      Reseda, CA 91335



                      Jacob Griffeth
                      27940 Solamint Rd
                      Bldg 13 Apt 208
                      SANTA CLARITA, CA 91387



                      Jacob Hausner
                      33 AUBRIETA
                      RANCHO SANTA MARGARITA, CA 92688
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 980 of 2164




                      Jacob Jamison
                      646 E. Jackson
                      Lancaster, CA 93535



                      Jacob Koster
                      1543 GLORIETA ST
                      ALBUQUERQUE, NM 87112



                      Jacob Lebron
                      24488 MOZER DR
                      LAGUNA NIGUEL, CA 92677



                      JACOB LOMBARDO
                      5006 WELLWORTH PT
                      SAN DIEGO, CA 92130



                      Jacob Lopez
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                      130
                      COVINA, CA 91724



                      Jacob Manuel
                      1942 W. MERLIN
                      TUCSON, AZ 85713



                      Jacob Mcarthur
                      837 93rd
                      Apt B
                      Naples, FL 34108



                      Jacob Mckinley
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                      Mesa, AZ 85207



                      Jacob Mcleroy
                      6947 FARMALL WAY EASTVALE
                      EASTVALE, CA 92880
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 981 of 2164




                      Jacob McNutt
                      10447 VIENNA ST
                      306
                      PARKER, CO 80124



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                      10261 CALLE INDEPENDENCIA
                      FOUNTAIN VALLEY, CA 92708



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                      3975 N SEVENTH ST
                      FRESNO, CA 93726



                      Jacob Merjil
                      2462 ROCHELLE
                      MONROVIA, CA 91016



                      Jacob Montiel-Hunt
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                      QUEEN CREEK, AZ 85142



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                      Aurora, CO 80013



                      Jacob Olney
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                      DENVER, CO 80234



                      Jacob Owens
                      8189 COLQUITT RD
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                      SANDY SPRINGS, GA 30328



                      Jacob Paik
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                      RANCHO CUCAMONGA, CA 91730
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 982 of 2164




                      Jacob Pinon
                      285 E MISSION ST
                      SAN JOSE, CA 95112



                      Jacob Proo
                      3743 W 177TH ST.
                      TORRANCE, CA 90504



                      Jacob Pustelnik
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                      SAN DIEGO, CA 92127



                      Jacob soergel
                      10363 RED MT E
                      LITTLETON, CO 80127



                      Jacob Thomas
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                      San Gabriel, CA 91776



                      Jacob Tran
                      84 BRIARWOOD
                      IRVINE, CA 92604



                      Jacob Waters
                      4790 E. Dartmouth Ave
                      Denver, CO 80222



                      Jacob Wieck
                      82485 Miles Ave
                      Indio, CA 92201



                      Jacque Hetherington
                      5121 Ruby Sunset St
                      North Las Vegas, NV 89031
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 983 of 2164




                      Jacqueline Benton
                      229 courtyard blvd apt 208
                      Sun City Center, FL 33573



                      Jacqueline Boecker
                      6474 ROYAL WOODS DR
                      FORT MYERS, FL 33908



                      Jacqueline Chavez
                      17715 NW ANASTASIA DR
                      PORTLAND, OR 97229



                      Jacqueline Cila
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                      APT 74
                      VANCOUVER, WA 98661



                      Jacqueline cordero
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                      SUNRISE, FL 33351



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                      OCEANSIDE, CA 92057



                      Jacqueline Estrada
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                      #3
                      La Habra, CA 90631



                      Jacqueline Galdamez
                      18860 Whitney Pl
                      Rowland Heights, CA 91748



                      Jacqueline Gil
                      5011 Axtell St
                      Los Angeles, CA 90032
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 984 of 2164




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                      Deerfield Beach, FL 33441



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                      UPLAND, CA 91786



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                      LAS VEGAS, NV 89107



                      Jacqueline Mateo
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                      Los Angeles, CA 90029



                      Jacqueline Morales
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                      APT C
                      BREA, CA 92821



                      Jacqueline Nohl
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                      ALPHARETTA, GA 30009



                      Jacqueline Olague
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                      PACOIMA, CA 91331



                      Jacqueline Pastor
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                      FRESNO, CA 93702



                      Jacqueline Pena
                      3738 IDAHO ST
                      BALDWIN PARK, CA 91706
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 985 of 2164




                      Jacqueline Porras Ramos
                      5100 E TROPICANA AVE
                      APT 23F
                      LAS VEGAS, NV 89122



                      Jacqueline Rizzo
                      9727 SE 163RD STREET
                      SUMMERFIELD, FL 34491



                      Jacqueline Rodriguez
                      6100 Marinette dr
                      B 301
                      HOUSTON, TX 77036



                      Jacqueline Sanders
                      708 AVENIDA MAJORCA
                      #A
                      LAGUNA WOODS, CA 92637



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                      Apt 1211
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                      Jacqueline Trahin
                      4007 W LYNWOOD ST PHOENIX AZ
                      PHOENIX, AZ 85009



                      Jacquelyn Marquez
                      10748 FOOTHILL BLVD
                      SYLMAR, CA 91342
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                      Jacques Francois
                      12155 NE 6TH AVE
                      19
                      NORTH MIAMI, FL 33161



                      Jacqui Ochoa
                      437 MAYAN DR
                      HENDERSON, NV 89014



                      Jada Johnson
                      102 SOUTH D STREET
                      OXNARD, CA 93030



                      Jada Liddell
                      3750 SATELLITE BLVD
                      331
                      DULUTH, GA 30096



                      Jada Mccall
                      2525 W. Anklam Rd
                      Apt 1319
                      Tucson, AZ 85745



                      Jada Mendez-Scott
                      1753 HUDSON RIVER RD. NE
                      RIO RANCHO, NM 87144



                      Jada Reid
                      201 PLAZA VERDE DR
                      1615
                      HOUSTON, TX 77038



                      jada washington
                      2390 NW 153ST
                      MIAMI, FL 33054
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                      Jade Contreras
                      671 EL CAMINO REAL
                      101
                      SANTA CLARA, CA 95050



                      Jade Jefferies
                      2605 BENTLEY ROAD SE
                      APT # 3608
                      MARIETTA, GA 30067



                      Jaden Carter
                      4373 EAST WHEATON STREET
                      GILBERT, AZ 85295



                      Jaden Dessow
                      965 HELMSLEY COURT
                      205
                      LAKE MARY, FL 32746



                      Jaden Landis
                      9164 W PROGRESS AVE
                      LITTLETON, CO 80123



                      Jaden Patterson
                      4916 NIMMO DR.
                      CHEYENNE, WY 82009



                      Jadon Cotton
                      11525 CLEWS RANCH RD
                      SAN DIEGO, CA 92130



                      Jadyn Wickerham
                      13196 SE 122ND AVE
                      G4
                      CLACKAMAS, OR 97015
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                      Jae chang
                      17111 ALTADENA DR
                      #B
                      TUSTIN, CA 92780



                      Jaedon Adan
                      15111 Red Sox Circle
                      Fontana, CA 92336



                      Jaeger Stenchever
                      1151 TOOKES RD
                      TARPON SPRINGS, FL 34689



                      Jaelyn Romero
                      20915 Serrano Creek Rd
                      Lake Forest, CA 92630



                      Jaemon White
                      54380 AVENIDA VALLEJO
                      LA QUINTA, CA 92253



                      JAEN ESPARZA
                      54 SEASCAPE
                      LAGUNA NIGUEL, CA 92677



                      Jaeric Aguirre
                      6936 OWENSMOUTH AVE
                      CANOGA PARK, CA 91406



                      JAGADEESH KOTHURI
                      4192 MILFORD LANE
                      AURORA, IL 60504-2107



                      Jahaira Cruz
                      4451CAMERON PRESERVE
                      202
                      Kissimmee, FL 34746
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 989 of 2164




                      Jahdon Young
                      809 BELLEAIR PLACE
                      809
                      CLEARWATER, FL 33756



                      Jahel Marin
                      866 Pacific Ave
                      San Jose, CA 95126



                      Jahlani Jones
                      1501 ANDERSON PL SE
                      ALBUQUERQUE, NM 87108



                      Jahwah Smith
                      11024 SW 157 TERR
                      MIAMI, FL 33157



                      Jaiden Glover
                      1565 FLYNN ROAD
                      6202
                      CAMARILLO, CA 93012



                      Jailen Mouton
                      1040 COURT DRIVE APT.Q
                      1040
                      DULUTH, GA 30096



                      jaileny aybar
                      3453 DIANTHUS LANE
                      LAWRENCEVILLE, GA 30044



                      Jailyn Starks
                      13151 Yorba Ave.
                      #182
                      Chino, CA 91710



                      Jaime Alvarez
                      11637 ACACIA AVE
                      HAWTHORNE, CA 90250
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 990 of 2164




                      Jaime Alvarez
                      150 11TH AV SW
                      LARGO, FL 33770



                      Jaime Audelo
                      1651 Wsaint John
                      Phoenix, AZ 85023



                      Jaime Beltran
                      4133 JAMUL AVE
                      SAN DIEGO, CA 92113



                      Jaime Cardenas
                      2501 SAGE DR
                      KISSIMMEE, FL 34758



                      Jaime Cota
                      137 W. Wedwick St
                      Tucson, AZ 85706



                      Jaime Davis
                      4834 SW OLESON RD
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                      PORTLAND, OR 97225



                      Jaime Garcia
                      1162 W Casa Grande Ave
                      Apt A
                      Anaheim, CA 92802



                      Jaime hays
                      12106 SE 72ND TERRACE RD
                      BELLEVIEW, FL 34420



                      Jaime manriquez
                      45784 SUTTER CRECK
                      INDIO, CA 92201
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 991 of 2164




                      Jaime Meneses
                      1701 E LA HABRA BLVD
                      27
                      LA HABRA, CA 90631



                      Jaime Morales
                      128 West Valencia Dr.
                      Fullerton, CA 92832



                      Jaime Ramirez
                      1122 TOPAZ AVE
                      SAN JOSE, CA 95117



                      Jaime Rodriguez
                      364 WindCroft Circle NW
                      Acworth, GA 30101



                      Jaime Toscano
                      2554 CAMARA CICLE
                      #D
                      CONCORD, CA 94520



                      Jaime Vera Cuadro
                      9055 ESTES ST
                      WESTMINSTER, CO 80021



                      Jaime Winston
                      4991 Mountain Springs Ln
                      Stone Mountain, GA 30083



                      Jaimie Smith
                      3136 CLAUDIA DRIVE
                      CONCORD, CA 94519



                      Jairo Martinez Cornejo
                      124 EAST 103RD ST
                      LOS ANGELES, CA 90003
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 992 of 2164




                      Jairo Simental
                      9607 EDELWEISS STREET
                      RANCHO CUCAMONGA, CA 91730



                      Jaisel Bollig
                      4160 SHAW BLVD
                      WESTMINSTER, CO 80031



                      Jaivion Lattimore
                      16532 E Iliff Pl
                      Aurora, CO 80013



                      Jaivon Simmons
                      105 E. OLIVE AVE
                      MONROVIA, CA 91016



                      Jakaylah Williams
                      1222 NIKKI LANE
                      STAFFORD, TX 77477



                      Jake Berman
                      13218 MARICOTTE PLACE
                      SAN DIEGO, CA 92130



                      Jake Johnson
                      5236 Guardian Peak St
                      Las Vegas, NV 89148



                      Jakeila Young
                      2641 SHIRLEYS WAY
                      202
                      LEESBURG, FL 34748



                      Jakera Addison
                      430 SE 1ST AVE
                      DELRAY BEACH, FL 33444
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                      Jakob Book
                      4311 Okeechobee Blvd
                      West Palm Beach, FL 33409



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                      2616 W ORANGETHROPE AVE
                      FULLERTON, CA 92833



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                      HOLLYWOOD, FL 33020



                      Jalen Allen
                      621 FREEPORT LN
                      OXNARD, CA 93035



                      Jalen Cunnningham
                      6249BELLOTA DR
                      D
                      LAS VEGAS, CA 89108



                      Jalen Garcia
                      8108 NE 36TH CT
                      VANCOUVER, WA 98665



                      Jalen Kelly
                      1955 BELLS FERRY RD
                      4322
                      MARIETTA, GA 30066



                      Jalen Williams
                      13404 HERITAGE WAY
                      636
                      TUSTIN, CA 92782



                      Jamaal Idlette
                      854 Jarmilla Ln
                      Fort Myers, FL 33905
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 994 of 2164




                      Jamaal reed
                      2238 WOODGLEN
                      MISSOURI CITY, TX 77489



                      Jamai Anderson
                      255 HONEYSUCKLE CIRCLE
                      BUILDING 1000 APT. 1010
                      LAWRENCEVILLE, GA 30046



                      Jamal Daud
                      535 SOUTH MARKET STREET
                      304
                      SAN JOSE, CA 95311



                      Jamal Jones
                      62126 DESERT AIR RD
                      JOSHUA TREE, CA 92252



                      Jamal Price
                      801 LOCUST PL NE
                      2279
                      ALBUEQUERQUE, NM 87102



                      Jamal Richards
                      710 PEACHTREE ST NE
                      125
                      ATLANTA, GA 30308



                      Jaman Beck
                      3320 SOUTH COBB DR #H42
                      SMYRNA, GA 30080



                      Jamara Luckett
                      1508 Hampton Rd
                      Leesburg, FL 34748



                      Jamarie Lopez
                      10545 JEPSON ST
                      ORLANDO, FL 32825
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                      Jamell Flournah
                      8250 Pembroke Villas
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                      James ALLEN
                      1708 Springbrook trail
                      Smyrna, GA 30082



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                      178 W BREEZY WAY
                      THE WOODLANDS, TX 77380



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                      11974 Vara Pl
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                      James Billinger
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                      James birkin
                      2741 ANDREO AVE
                      NONE
                      TORRANCE, CA 90501



                      James Borchard
                      5424 CALAROSA RANCH RD
                      CAMARILLO, CA 93012



                      James Boyd
                      1308 Fair St Sw
                      Atlanta, GA 30314



                      JAMES BUNYARD
                      3815 LARIAT PL
                      FULLERTON, CA 92835
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                      JAMES C LERY
                      6372 LAKE DORA AVE
                      SAN DIEGO, CA 92119



                      JAMES C WALLACE III
                      5370 OAKDALE ROAD
                      SMYRNA, GA 30082



                      JAMES C WALLACE JR
                      5370 OAKDALE ROAD
                      SMYRNA, GA 30082



                      james carrell
                      1019 EAST MISSION S
                      SAN JOSE, CA 95112



                      James Cassidy
                      6614 OSCEOLA LPOLK LN RD
                      DAVENPORT, FL 33896



                      James Chesnut
                      17441 TAM O SHANTER DR.
                      POWAY, CA 92064



                      JAMES CLOYD
                      4110 SE HAWTHORNE BLVD #946
                      PORTLAND, OR 97214



                      James Contact
                      707 MORROCCO DR.
                      HENDERSON, NV 89002



                      James Cox
                      824 Farm Creek Rd
                      Woodstock, GA 30188
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                      James Cusack
                      13233 LUCKETT COURT
                      SAN DIEGO, CA 92130



                      James Dale
                      5138 Don Pio Dr.
                      Woodland Hills, CA 91364



                      JAMES DAVILA
                      5883 TALAVERA ST
                      ORLANDO, FL 32807



                      James Davis
                      12118 Caminito Campana
                      San Diego, CA 92128



                      James Drisco
                      90 Rose Dr
                      Fruitland Park, FL 34731



                      James Driscoll
                      1026 S FORDHAM DR
                      TUCSON, AZ 85710



                      James Edwards
                      760 BIRCH RIDGE DRIVE
                      ROSWELL, GA 30076



                      JAMES EDWARDS
                      760 BIRCH RIDGE DR
                      ROSWELL, GA 30076



                      James Engler
                      4486 ARCADIA DRIVE
                      NORCROSS, GA 30093
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                      JAMES EVERHART
                      816 FINNBAR DR
                      CARY, NC 27519



                      James F. Billinger
                      9350 UTICA
                      WESTMINSTER, CO 80031



                      James Ford
                      2911 N LOCKWOOD RIDGE RD
                      19
                      SARASOTA, FL 34234



                      JAMES FOSTER PTA PRESENTS
                      22500 PAMPLICO DR
                      SANTA CLARITA, CA 91350



                      James funkhauser
                      1577 ORO VISTA RD.
                      25
                      SAN DIEGO, CA 92154



                      James Gates
                      11340 Via Mari Cae CT
                      Clermont, FL 34711



                      James Gross
                      62 Vista Del Rio
                      Boynton Beach, FL 33426



                      JAMES H BRONSON
                      46-293 WILLOW LN
                      INDIO, CA 92201



                      james harris
                      6665 YOUNGFIELD CIRCLE
                      ARVADA, CO 80004
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 999 of 2164




                      JAMES HIGHFILL




                      James Hightower
                      4818 N. Tuttle Av.
                      Sarasota, FL 34234



                      James Hoisten
                      11606 FOREST WIND LANE
                      HOUSTON, TX 77066



                      James Jones
                      3843 WESTWOOD BLVD
                      CULVER CITY, CA 90232



                      James Kim
                      319 W. LAMBERT RD.
                      21
                      BREA, CA 92821



                      James Latta
                      11931 LAMBERT AVE
                      EL MONTE, CA 91732



                      James Leung
                      6414 CAMDEN AVE
                      NA
                      SAN JOSE, CA 95120



                      JAMES MADISON ELEMENTARY PTO
                      80 845 AVE 46
                      INDIO, CA 92201



                      James Madrigal
                      2454 W 233rd St
                      Torrance, CA 90501
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1000 of
                                      2164



                    James McCoy
                    2681 SOUTH MAIN STREET
                    LOT 5
                    KENNESAW, GA 30144



                    James Miles
                    316 MANGO DR
                    DAVENPORT, FL 33897



                    James Munroe
                    10462 Shangri La Drive
                    Huntington Beach, CA 92646



                    james myers
                    13834 HOLCOMB RD
                    OREGON CITY, OR 97045



                    James Neils
                    808 SUNSET RIDGE DR
                    WASHOUGAL, WA 98671



                    James Newell
                    1737 BETHUNE COURT
                    SARASOTA, FL 34234



                    James Nobile
                    627 PASEO LINDO
                    OXNARD, CA 93030



                    James Nunez
                    27 DONATELLO
                    ALISO VIEJO, CA 92656



                    James Pearson
                    54 SCHOOL ST
                    WHITE, GA 30184
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1001 of
                                      2164



                    James Ponce
                    3334 Maceo Street
                    Los Angeles, CA 90065



                    James Powers
                    1577 ORO VISTA RD
                    25
                    SAN DIEGO, CA 92154



                    James Pratt
                    95 RENAISSANCE PKWY N.E
                    ATLANTA, GA 30308



                    James Robinson
                    149 SW 49TH ST.
                    CAPE CORAL, FL 33914



                    James Smith
                    10104 rose petal place
                    Riverview, FL 33578



                    James Smith
                    2416 FOOTHILL LN
                    BREA, CA 92821



                    James Smith
                    2116 VALLEY OAKS DR
                    SMYRNA, GA 30080



                    JAMES SMITH
                    10104 ROSE PETAL PL
                    RIVERVIEW, FL 33578



                    James Sodek
                    4914 Lowell Dr
                    Immokalee, FL 34142
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                                      2164



                    James Soriano
                    1209 AYALA DRIVE
                    #6
                    SUNNYVALE, CA 94086



                    James Soyferman
                    4617 GLENBROOKE DR
                    SARASOTA, FL 34243



                    James Tetreault
                    3046 MONTICELLO PL.
                    302
                    ORLANDO, FL 32811



                    James Tillman
                    7961 GLADIOLUS DR
                    107
                    FORT MYERS, FL 33908



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                    244 E 4
                    NATIONAL CITY, CA 91950



                    JAMES W MCMILLEN
                    2036 SE MARLEN DR
                    GRANTS PASS, OR 97527



                    James Waltjen
                    749 HOLBERTSON
                    SIMI VALLEY, CA 93065



                    James Weaver
                    6830 Champions Plaza Dr
                    #1021
                    HOUSTON, TX 77069



                    James Williams
                    302 EAST OHIO AVE
                    TAMPA, FL 33603
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                                      2164



                    James Williams
                    3300 Broadway Apt 5
                    West Palm Beach, FL 33407



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                    Vancouver, WA 98661



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                    304 Clemson Drive
                    Altamonte Springs, FL 32714



                    Jameson Kennedy
                    6147 S. FLOWER ST.
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                    Jameson Knight
                    1315 Arlington Pl.
                    El Cajon, CA 92021



                    JAMESON KNIGHT
                    1315 ARLINGTON PL
                    EL CAJON, CA 92021



                    Jameson Lauvince
                    2616 LEGEND CT
                    LEESBURG, FL 34748



                    JAMESON MANAGEMENT INC
                    836 W WASHINGTON AVE
                    ESCONDIDO, CA 92025



                    JAMESON MANAGEMENT INC
                    836 W WASHINGTON AVE
                    ESCONDIDO
                    CA, 92025
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1004 of
                                      2164



                    Jamicheal Johnson
                    21427 SLATE CROSSING LANE
                    KATY, TX 77449



                    Jamie Arabit
                    10061 Bernice Circle
                    Buena Park, CA 90620



                    Jamie Casas
                    15455 NE 6 AVE
                    C411
                    NORTH MIAMI BEACH, FL 33162



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                    SAN DIEGO, CA 92128



                    Jamie Howard
                    10414 Trotters Bay
                    San Antonio, TX 78254



                    Jamie Padilla
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                    SP 180
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                    Jamie Salazar
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                    HIALEAH, FL 33015



                    Jamie Shelton
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                    Jamie Stephens
                    1827 LIVINGSTONE ST
                    SARASOTA, FL 34231
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                                      2164



                    Jamiee Coleman
                    6930 LENNOX AVE
                    12
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                    Jamiel gustafson
                    10009 DE SOTO AVE
                    232
                    CHATSWORTH, CA 91311



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                    NE 40TH ST 15907
                    VANCOUVER, WA 98682



                    Jamil Lawrence
                    NE 40TH ST 15907
                    VANCOUVER, WA 98682



                    JAMILA CHAVEZ
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                    ACWORTH, GA 30102



                    Jamila Chevez
                    932 Silver Lake Dr
                    Acworth, GA 30102



                    Jamily HERNANDEZ
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                    COMPTON, CA 90220



                    Jaminh Serratos
                    1424 BERKELEY
                    #3
                    SANTA MONICA, CA 90404
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1006 of
                                      2164



                    Jamison Cooper
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                    BREA, CA 92821



                    JaMonica Wright
                    1129 BENTLEY ROAD
                    1129
                    LEESBURG, FL 34748



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                    26
                    RIVERDALE, GA 30274



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                    HOLLYWOOD, FL 33020



                    Janay Minus
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                    28
                    CONCORD, CA 94518
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1007 of
                                      2164



                    Janea Worm
                    1114 PINELLAS STREET
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                    CLEARWATER, FL 33756



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                    4941 ALEXANDER DRIVE
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                    WEST COVINA, CA 91790



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                    FOWLER, CA 93625



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                    ESCONDIDO, CA 92025



                    Janessa Ramirez
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                    APT. 301
                    VANCOUVER, WA 98662
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1008 of
                                      2164



                    Janet Duvall
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                    CONROE, TX 77385



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                    LA QUINTA, CA 92253



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                    Janet Martinez
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                    Westminster, CO 80031



                    Janet Mendoza
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                    203
                    SAN JOSE, CA 95119



                    Janet Olea
                    24839 Walnut St
                    Newhall, CA 91321



                    Janet Olguin
                    1708 KISMET CIRCLE
                    LAS VEGAS, NV 89108



                    Janet Romero
                    13714 OMEGA CIRCLE
                    LONE TREE, CO 80124



                    Janet Santillan
                    5416 CASTILLO DE ROSAS
                    CAMARILLO, CA 93012
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1009 of
                                      2164



                    Janet Voorhees
                    9269 SE 197TH AVENUE
                    OCKLAWAHA, FL 32179



                    Janetcilize Martinez
                    1712 N ALBANY AVE
                    A
                    TAMPA, FL 33607



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                    Apt #19
                    Pleasanton, CA 94588



                    JANETH SALMERON
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                    PLEASANTON, CA 94588



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                    Norcross, GA 30071



                    Janette Light
                    6031 DIAL WAY
                    SAN JOSE, CA 95129



                    Janh Barrios
                    5542 Lehigh Ave
                    Apt 96
                    Orlando, FL 32807
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1010 of
                                      2164



                    Janice Blank
                    11908 DOROTHY ST.
                    203
                    LOS ANGELES, CA 90049



                    Janice Felton
                    815 myrtle st
                    Apt 8-1
                    Roswell, GA 30075



                    Janice Park
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                    SAN DIEGO, CA 92129



                    Janine estrada
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                    ONTARIO, CA 91764



                    Janine Prover
                    304 Veneto
                    Irvine, CA 92614



                    Janis Mesadieu
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                    Sunrise, FL 33322



                    Janis Serrano-Garces
                    74 CALLE CATALUNA
                    CAMARILLO, CA 93012



                    Janis Vanduzer
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                    SARASOTA, FL 34231



                    Janmikell Bastardo
                    5008 BANNING STREET
                    LEHIGH ACRES, FL 33971
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1011 of
                                      2164



                    Janna A. Juarez
                    39150 SUNDALE DR
                    20
                    FREMONT, CA 94538



                    Janna Juarez
                    39150 SUNDALE DR
                    20
                    FREMONT, CA 94538



                    Janneth Morales
                    1109 S Garfield
                    Alhambra, CA 91801



                    Jannette Aguilera
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                    HAWTHORNE, CA 90250



                    Jantse Estrada
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                    TEMPE, AZ 85283



                    Janysa Trujillo
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                    NORTH LAS VEGAS, NV 89031



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                    AURORA, CO 80013



                    Jaquan Morgan
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                    Cucamonga, CA 91730



                    Jaquan Williams
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                    NORCROSS, GA 30093
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                    Jared Broxton
                    5238 CLAIREMONT MESS BLVD
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                    SAN DIEGO, CA 92117
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                    Jared Robinette
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                    Jared Schoessow
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                                      2164



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                    Fontana, CA 92335



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                    1346
                    MAGNOLIA, TX 77354



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                    2024 Nw 139 Terr
                    Pembroke Pines, FL 33028
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                    Jasmin Enriquez
                    1757 N LANDEN ST
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                                      2164



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                                      2164



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                                      2164



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                                      2164



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                                      2164



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                    EL MONTE, CA 91732



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                                      2164



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                    BREA, CA 92821



                    JASON VAN DUYNE
                    1432 WARDMAN DR
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                    Jason Weese
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                                      2164



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                    15411 MIDCREST DRIVE
                    WHITTIER, CA 90604
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                                      2164



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                    21
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                    5220 MISSION CARMEL LANE
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                                      2164



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                    3724 East Paradise Lane
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                                      2164



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                    6716 SE MOLT STREET
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                                      2164



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                    APT B
                    TUSTIN, CA 92780
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                    6575 W LOOP S STE 500
                    BELLAIRE, TX 77401



                    JB PASSMORE INC
                    6575 W LOOP S STE 500
                    BELLAIRE
                    TX, 77401



                    JC FOODSERVICE INC
                    829 MONTEREY PASS RD
                    MONTEREY PARK, CA 91754



                    JCS ICE PTO
                    777 SANTA FE DR
                    ENCINITAS, CA 92024



                    JCS PLC PTO
                    539 ENCINITAS BLVD
                    ENCINITAS, CA 92024



                    JDE CONSTRUCTION INC
                    1632 E BURNETT STREET
                    SIGNAL HILL, CA 90755
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                    JDR PROPERTY CORPORATION
                    4040 ED DRIVE SUITE 201
                    C/O CENTREX PROPERTIES INC
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                                      2164



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                                      2164



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                    204
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Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1036 of
                                      2164



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                    GOLDEN, CO 80419-2520



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                                      2164



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                    UNIT 608
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                                      2164



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                    TAMPA, FL 33619



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                    HOUSTON, TX 77072
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                                      2164



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                    308
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                    9
                    SAN DIEGO, CA 92105
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                                      2164



                    Jeremiah Bridges
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                    14K
                    SANTEE, CA 92071
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                    Jeremy Lamar
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                    FOUNTAIN VALLEY, CA 92708
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                    Q17
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                    MARGATE, FL 33068
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Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1059 of
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                    Trabuco Canyon, CA 92679
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1060 of
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                    2513 CAMARA CIR
                    #H
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                    Jessica Boykin
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                    Jessica Brookes
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                    JESSICA CARR
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                    Jessica Griffith
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                                      2164



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                    HOUSTON, TX 77064



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                    233 SABLE TRACE DRIVE
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                                      2164



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                    1
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                                      2164



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                    APT. 16
                    SAN JOSE, CA 95116
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                    Jessica Serrato
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                                      2164



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                                      2164



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                    8250 N 8th
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                    501 W PALM STREET
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                                      2164



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                    Jill Regan
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                    SAN JUAN CAPISTRANO, CA 92675



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                    Jimena Castillo
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                    Jimena Chavez
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                                      2164



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                    Jocelyn Cedillo
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                    LAGUNA NIGUEL, CA 92677



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                    Joel Oberto Aguero
                    1818 ANDREA PLACE
                    SARASOTA, FL 34235



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                    San Diego, CA 92107



                    Joel Romero
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                    #9
                    EL CAJON, CA 92021



                    Joel Sanchez
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                    1102
                    HOUSTON, TX 77014



                    Joelimary Torres
                    1009 S. KIRKMAN RD
                    Apt. 58
                    ORLANDO, FL 32811



                    Joenay Jennings
                    2600 N MILITARY TRAIL
                    1226
                    WEST PALM BEACH, FL 33409



                    Joesph Esquibel
                    9010 Cottonwood Rd
                    Albuquerque, NM 87111
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                    Joey Englebright
                    4808 DOLIVA DR
                    SAN DIEGO, CA 92127



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                    4155 HATHAWAY ST.
                    SAN DIEGO, CA 92111



                    Johan Herrera
                    4445 STEVENSON BLVD
                    55
                    FREMONT, CA 94538



                    Johan Osorio
                    15331 Sw 111 St
                    Miami, FL 33196



                    Johana Brito-Mieses
                    2901 DONALD AVE S
                    LEHIGH ACRES, FL 33976



                    Johana Luis
                    1608 W 2ND ST
                    SANTA ANA, CA 92703



                    Johana Martinez
                    4137 SW 195TH TERRACE
                    MIRAMAR, FL 33029



                    Johanna Herrera
                    797 TEAGUE TRAIL
                    8301
                    LADY LAKE, FL 32159



                    Johanna Salazar
                    21015 Claremore Ct
                    Katy, TX 77449
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                    JOHN SCHAEFER
                    326 MYRTLE DR
                    ARROYO GRANDE, CA 93420



                    John Baldwin
                    13480 SOUTH THORNTREE DR
                    804
                    HOUSTON, TX 77015



                    John Booker
                    3355 MCDANIEL RD.
                    DULUTH, GA 30096



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                    SALT LAKE CITY, UT 84121



                    JOHN CAUFIELD
                    622 SW 9TH AVE APT 2A
                    PORTLAND, OR 97205



                    John Chavez
                    4633 MARINE AVE.
                    UNIT 245
                    LAWNDALE, CA 90260



                    John Chu
                    24392 CAVALINI
                    VALENCIA, CA 91355



                    John Cobb
                    32302 ALIPAZ ST. SPC. 7
                    SAN JUAN CAPISTRANO, CA 92675



                    John Coventry
                    1201 SEMINOLE BLVD
                    16
                    LARGO, FL 33770
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                    John Czarnecki
                    5210 S. FLOWER ST.
                    LITTLETON, CO 80123



                    John Davis
                    2750 Wheatstone
                    #53
                    San Diego, CA 92111



                    John Davis
                    16751 MAJESTIC PRINCE WAY
                    MORENO VALLEY, CA 92551



                    John Davis
                    2750 Wheatstone #53
                    San Diego, CA 92111



                    John Denmark
                    5841 SWEET 41 ST
                    WEST PARK, FL 33023



                    John DiMaria
                    261 FAIRGROUNDS ROAD
                    WEST PALM BEACH, FL 33411



                    John Donis
                    11433 JERSEY STREET
                    THORNTON, CO 80233



                    JOHN DOOLEY PTA
                    1940 CHICKASAW DR
                    HENDERSON, NV 89002



                    JOHN DOOLEY PTA
                    1940 CHICKASAW DR
                    HENDERSON
                    NV, 89002
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                    John Erickson
                    3578 BOUGAINVILLEA
                    WINTER PARK, FL 32792



                    JOHN F KENNEDY HIGH SCHOOL
                    39999 BLACOW ROAD
                    FREMONT, CA 94538



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                    2112 STRATFORD DR
                    SARASOTA, FL 34232



                    John Garon
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                    Naples, FL 34113



                    John Gigliotti
                    2674 Clear Crest Lane
                    Fallbrook, CA 92028



                    JOHN GOMES PTA
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                    FREMONT, CA 94539



                    John Graham
                    1807 DIVISION AVENUE
                    103
                    WEST PALM BEACH, FL 33407



                    John Hamilton
                    1155 Bright Glen Cir
                    Westlake, CA 91361



                    JOHN HAMILTON
                    43058 41ST ST W
                    LANCASTER, CA 93536
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                    John Haywood
                    100 Park Plaza
                    Apt 3201
                    San Diego, CA 92101



                    JOHN HAYWOOD
                    100 PARK PLAZA APT 3201
                    SAN DIEGO, CA 92101



                    John Heffner
                    29836 69th St N
                    Clearwater, FL 33761



                    John Kang
                    13 HICKORY SHADOW DRIVE
                    HOUSTON, TX 77055



                    John Keeting
                    12316 BRAMFIELD DR
                    RIVERVIEW, FL 33579



                    John Kenneth Soriano
                    49 TESSERA AVE.
                    FOOTHILL RANCH, CA 92610



                    JOHN KNOX PRESBYTERIAN CHURCH
                    7421 AMARILLO ROAD
                    DUBLIN, CA 94568



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                    520 SOUTHERN BURNSIDE AVENUE
                    TOWER 43
                    LOS ANGELES, CA 90036



                    John Lee
                    3817 MUIRWOOD DR.
                    PLEASANTON, CA 94588
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                    JOHN LUND
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                    SALT LAKE CITY, UT 84115



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                    21432 LAKE FOREST DRIVE
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                    LAKE FOREST, CA 92630



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                    156
                    WESTMINSTER, CO 80031



                    JOHN MARLAS
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                    SIMI VALLEY, CA 93063



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                    1183 BLANC CT
                    PLEASANTON, CA 94566



                    John Minichiello
                    2871 SOUTH CONWAY RD.
                    230
                    ORLANDO, FL 32812



                    John Moini
                    903 AMHERST AVENUE
                    LOS ANGELES, CA 90049
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                    John O'connor
                    12514 Dover Dr
                    Montgomery, TX 77356



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                    PLEASANTON, CA 94566



                    John Paul Marino
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                    Orange Glen, CA 92027



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                    CAMARILLO, CA 93010



                    John robinson
                    2920 SANTA CRUZ AVE SE
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                    218 E CHEVY CHASE DR
                    6
                    GLENDALE, CA 91205



                    John Sanchez
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                    APT 3
                    Newhall, CA 91321



                    John Schimpff
                    1130 REDWOOD ST
                    OXNARD, CA 93033



                    John Shoemaker
                    2876 Delrose Dr N
                    Lakeland, FL 33805
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                    John Shotwell
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                    JOHN SVOBODA STUDIOS INC
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                    LAKE FOREST, CA 92630



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                    Clovis, CA 93611



                    John Vargas
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                    Fremont, CA 94536



                    John Villarreal
                    6981 RODLING DR.
                    #D
                    SAN JOSE, CA 95138



                    John Vindel-Thompson
                    8316 LINCOLN STREET
                    LEMON GROVE, CA 91945



                    John Vo




                    John Wilcoxon
                    1517 E CAMPBELL AVE
                    GILBERT, AZ 85234
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                    John Wright
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                    Mesa, AZ 85212



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                    Tucson, AZ 85730



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                    SAN DIEGO, CA 92127



                    Johnathan Garcia
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                    SPRING VALLEY, CA 91977



                    Johnathan Hartfield
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                    LITTLETON, CO 80123



                    Johnathan Tran
                    17887 Ash
                    Fountain Valley, CA 92708



                    Johnathon Berumen
                    5923 MARSHWELL WAY
                    SAN JOSE, CA 95138



                    Johnathon Grable
                    212 S PATRICIA ST
                    WACO, TX 76705
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                    Johnnetta Harris
                    9301 LILY BANK CT
                    WEST PALM BEACH, FL 33407



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                    209
                    FT LAUDERDALE, FL 33311



                    Johnnie Jacobs
                    3003 Gillespie Ave
                    Sarasota, FL 34234



                    Johnny Beaver
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                    BEAVERTON, OR 97008



                    Johnny Butler
                    142 DONOHOE ST E
                    PALO ALTO, CA 94383



                    Johnny Calderon
                    117A PALMYRA DR
                    10
                    VISTA, CA 92083



                    Johnny Colunga
                    2315 S. Gardena St.
                    San Bernardino, CA 92408



                    Johnny De La Paz Castillo
                    1446 OAK TREE DR
                    HOUSTON, TX 77055



                    Johnny Delgado
                    7862 PINCHOT CT
                    NONE
                    BUENA PARK, CA 90621
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                    Johnny King
                    13650 FIDDLESTICKS BLVD
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                    Chula Vista, CA 91911



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                    7216 WEST 75TH STREET
                    OVERLAND PARK, KS 66204
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                    JOHNSON LANDSCAPES CONSTRUCTION INC
                    653 S MELROSE STREET
                    PLACENTIA, CA 92870



                    Johny Saint Hilaire
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                    FRESNO, CA 93722



                    Jolee Redfering
                    8537 109 WAY
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                    Jolene Holguin
                    4108 E Holland Ave
                    Fresno, CA 93726



                    Jomarie Vanderbyl
                    32031 VIA BONILLA
                    TEMECULA, CA 92592



                    Jon Cerda
                    36440 GRACE TERRACE
                    FREMONT, CA 94536



                    Jon Chaney
                    3612 ARMSTRONG ST
                    SAN DIEGO, CA 92111



                    JON URWILER
                    745 N GILBERT RD STE 124 #166
                    GILBERT, AZ 85234
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                    JONAH SAMONTE
                    8181 JADE COAST RD
                    SAN DIEGO, CA 92126



                    Jonas Mendoza
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                    Santa Ana, CA 92704



                    Jonas Morillon
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                    JONAS SALK PTA
                    7825 FLANDERS DR
                    SAN DIEGO, CA 92126



                    JONAS SALK PTA
                    7825 FLANDERS DR
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                    CA, 92126



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                    42
                    SAN DIEGO, CA 92113



                    Jonathan Angeles
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                    Rosemead, CA 91770



                    Jonathan Atwood Sr
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                    3014
                    MORENO VALLEY, CA 92553
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1103 of
                                      2164



                    Jonathan Aurelus
                    4648 MIDDLEBROOK ROAD
                    ORLANDO, FL 32811



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                    1905 Indrio Cir
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                    Jonathan Bazan
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                    Apt.1
                    Tustin, CA 92780



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                    45520 DEL REY AVE.
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                    412 SUMMIT RIDGE PL
                    212
                    LONGWOOD, FL 32779



                    Jonathan Connor
                    2719 MOSS GROVE BLVD
                    ORLANDO, FL 32807
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                    Jonathan Dardon
                    1601 N SABA ST
                    282
                    CHANDLER, AZ 85225



                    Jonathan Davila
                    2942 CROOKED CREEK DR.
                    DIAMOND BAR, CA 91765



                    Jonathan Delgado
                    17210 MCFADDEN AVE
                    10D
                    TUSTIN, CA 92780



                    Jonathan Denault
                    1744 pine ridge dr
                    Davenport, FL 33896



                    Jonathan Doyle
                    2259 BLACK PINE RD
                    CHINO HILLS, CA 91709



                    Jonathan Eakin
                    13462 DELPHI DR.
                    LONE TREE, CO 80124



                    Jonathan Garcia
                    313 W MAUDE
                    313
                    SUNNYVALE, CA 94085



                    Jonathan Garcia
                    368 1/2 W PALMER AVE
                    GLENDALE, CA 91204



                    Jonathan Gerome
                    310 FOWLES ST
                    OCEANSIDE, CA 92054
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                                      2164



                    Jonathan gonzalez
                    9619 CECILWOOD DRIVE
                    SANTEE, CA 92071



                    Jonathan gonzalez ave
                    417 ALCAZAR
                    ALTAMONTE SPRINGS, FL 32714



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                    Clearwater, FL 33764



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                    214 Moscato DR.
                    Davenport, FL 33897



                    Jonathan Kennedy
                    12355 ANTOINE DRIVE
                    2614
                    HOUSTON, TX 77067



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                    915 29TH STREET
                    WEST PALM BEACH, FL 33401



                    Jonathan Krotine
                    23 MOCCASIN TRAIL
                    TRABUCO CANYON, CA 92679



                    Jonathan Lamar
                    29919 Corte Castille
                    Temecula, CA 92591



                    Jonathan Leiva
                    975 Civic Center Dr
                    Vista, CA 92083
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                                      2164



                    Jonathan lopez
                    12832 BIG SUR DR
                    TAMPA, FL 33625



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                    152 W 15TH AVE
                    ESCONDIDO, CA 92025



                    Jonathan Maza-garcia
                    301 Acalanes Drive
                    Apt#19
                    Sunnyvale, CA 94086



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                    13
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                    Santa Ana, CA 92701



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                    FORT MYERS, FL 33912



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                    710 N 23rd St.
                    San Jose, CA 95112
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                                      2164



                    Jonathan Paz
                    7747 College Town Dr.
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                    Jonathan Perez
                    1444 164th AVE
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                    SAN LEANDRO, CA 94578



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                    BUENA PARK, CA 90621



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                    SANTA CLARA, CA 95051



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                    LARGO, FL 33778



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                    19-12
                    CLEARWATER, FL 33756



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                    MONROVIA, CA 91016



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                    3803 OCEANIC DR STE 203
                    OCEANSIDE, CA 92056
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                    Jonathan Rivera
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                    ALTAMONTE SPRINGS, FL 32714



                    Jonathan Robinson
                    220 N. Greenfield Rd
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                    Mesa, AZ 85205



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                    D203
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                    Sedona pointe apt 2907
                    Houston, TX 77073



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                    HOLLYWOOD, CA 90068



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                    SAN DIEGO, CA 92102
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                    Jonathan Salinas
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                    202
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                    GILBERT, AZ 85296



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                    11803 BERNARDO TERRACE
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                    SAN DIEGO, CA 92128



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                    PLEASANTON, CA 94566



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                    SARASOTA, FL 34243



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                    22607 Sw Ulsky Rd
                    West Linn, OR 97068
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                    Jonathan Valdez-flores
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                    Lancaster, CA 93534



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                    TUSTIN, CA 92780



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                    Carlsbad, CA 92008



                    Jonathan Velis
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                    9G
                    DIAMOND BAR, CA 91765



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                    LAGUNA HILLS, CA 92653



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                    A16
                    STONE MOUNTAIN, GA 30083
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1111 of
                                      2164



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                    23535 PALOMINO DRIVE
                    370
                    DIAMOND BAR, CA 91765



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                    SPACE 139
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                    ANAHEIM, CA 92804



                    Jontarus Beckham
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                    ATLANTA, GA 30311



                    Jontavious Young
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                    LAKEFOREST, CA 92630
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                    WESTMINSTER, CO 80031
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                                      2164



                    Jordan Edouard
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                    BOCA RATON, FL 33434



                    Jordan Ellis
                    8125 MILLS
                    APT 8211
                    HOUSTON, TX 77064



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                    19345 robin circle
                    unit 84
                    west linn, OR 97068



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                    APT #2
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                    Jordan Faria
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                    1042
                    TEMPE, AZ 85282



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                    Jordan Gilbert
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                    FORT MYERS, FL 33919



                    Jordan Grammatas
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                    LARGO, FL 33771



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                    1901 WEST JEAN ST
                    TAMPA, FL 33604
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                                      2164



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                    APT 4
                    SUNNYVALE, CA 94086



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                    Jordan Osborne
                    316 CRICHTON STREET
                    RUSKIN, FL 33570
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                                      2164



                    Jordan Rubenstein
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                    SAN DIEGO, CA 92130



                    Jordan Semke-Gargano
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                    MARIETTA, GA 30064



                    Jordan Teal
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                    STAFFORD, TX 77477



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                    93551
                    PALMDALE, CA 93551



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                    118
                    SAN JOSE, CA 95116



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                    1001
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                    16
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                                      2164



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                    33738 11th street
                    Union City, CA 95527



                    Jorge Garcia
                    360 NATURE DRIVE
                    UNIT B
                    SAN JOSE, CA 95123
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                                      2164



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                                      2164



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                                      2164



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                                      2164



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                                      2164



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                                      2164



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Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1130 of
                                      2164



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                                      2164



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                                      2164



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                                      2164



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Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1138 of
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Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1139 of
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Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1140 of
                                      2164



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                                      2164



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                    #3
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                    SAN JOSE, CA 95123



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                    Oceanside, CA 92057



                    Juan Delgado
                    4434 w 166th st
                    LAWNDALE, CA 90260



                    Juan Dominguez Lopez
                    3770 W. 84TH AVE
                    25
                    WESTMINSTER, CO 80031
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                    Juan Duran
                    27733 FELTS AVE
                    27733
                    BONITA SPRINGS, FL 34135



                    Juan Elias
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                    La Puente, CA 91744



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                    Lake forest Ca., CA 92630



                    Juan Gamio
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                    #1504
                    El Cajon, CA 92021



                    Juan garcia
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                    APT 8
                    EL MONTE, CA 91732
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                    NONE
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                    APOPKA, FL 32712



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                    174 E. Court St.
                    Apt C
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                    #14
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                    SANTA CLARA, CA 95050



                    Juan Martinez
                    1462 STARDUST CT
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                    Juan martinez muniz
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                    Juan Mendez
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                    8
                    SAN JOSE, CA 95112
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                    Juan Navarrete
                    36188 Sandalwood St
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                    Juan Orejel
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                    A-1
                    La Mesa, CA 91942



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                    15331 SW 111 ST.
                    MIAMI, FL 33196
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                    25162 CHARLINDA DR
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                    MISSION VIEJO, CA 92691



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                    #6
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                    APT 33
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                    PLEASANTON, CA 94588



                    Juan Rodriguez
                    128 W VALENCIA DR
                    FULLERTON, CA 92832
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                    Juan Rodriguez
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                    22 HEMLOCK WAY
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                    Juan Silva
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                    Juana Calderon
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                    Juana Mejia
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                    Juana Perez Pastor
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                    SAN DIEGO, CA 92130



                    Juanita Picazo
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                    14
                    CANYON COUNTRY, CA 91387
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                    Jude Kizer
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                    MILWAUKIE, OR 97222



                    Judith Olvera
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                    Judith Pierson
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                    38648 SPETTI CT
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                    Julee Ferguson
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                    2844 W FIREBROOK RD
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                    Julia Griffin
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                    Julia Hernandez
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                    Julia Lucero
                    14945 CAMDEN
                    CHINO HILLS, CA 91709



                    Julia Pena
                    11235 SHER LN
                    ORLANDO, FL 32836



                    Julia perez
                    275 E FIRST ST
                    SAN JACINTO, CA 92583



                    Julia Rivers
                    11190 SE 30 AVE
                    MILWAUKIE, OR 97222
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                    LAGUNA NIGUEL, CA 92677



                    Julia Velasquez
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                    Julia Veliz
                    11010 S MAIN ST
                    #4
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                    Julia Voytenko
                    8010 SE ASPEN SUMMIT DR
                    165
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                    Julian Martinez
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                    Julian Ortiz
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                    Julian Reyes
                    925 MARTIN DRIVE
                    APT 12
                    ESCONDIDO, CA 92026
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                    Julian Santana
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                    3
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                    LAS VEGAS, NV 89129



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                    Juliana Chalfin
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                    10860 HERMOSA CT
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                    Julianna Laney
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                    BEAVERTON, OR 97008



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                    16352 SUNBURST ST
                    NORTH HILLS, CA 91343



                    Julianne Noone
                    98 ARCHER ST
                    315
                    SAN JOSE, CA 95112



                    Juliano Gilardoni
                    665 MARY EVELYN DR
                    SAN JOSE, CA 95123



                    Julie Davis
                    139 RENAISSANCE PKWY
                    ATLANTA, GA 30308



                    julie esmeralda
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                    NAPLES, FL 34108



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                    302 DANLEY DR.
                    apt #1
                    FORT MYERS, FL 33907



                    Julie Huynh
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                    Fullerton, CA 92832



                    Julie Subar
                    187 San Marino
                    #187
                    Irvine, CA 92614
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                    Julie Thompson
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                    ESCONDIDO, CA 92029



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                    Julien Medina
                    8031 Holt St
                    Buena Park, CA 90621



                    Julienne Houle
                    14403 SALAMANCA DRIVE
                    WINTER GARDEN, FL 34787



                    Juliet Rubio
                    3524 E AVE R
                    93
                    PALMDALE, CA 93550



                    Julieta Choquevillca
                    5810 Kids Crossing Dr
                    Apt 209
                    Lithia, FL 33547



                    Julieta Romo
                    4849 HAYTER AVENUE
                    LAKEWOOD, CA 90712
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                    Juliette Madrid
                    1186 CRENSHAW BLVD
                    LOS ANGELES, CA 90019



                    Juliette Rushford
                    123 FAIRPLAY AVENUE
                    BROOMFIELD, CO 80020



                    JULIO A MARTIN FAMILY TRUST
                    2657 OMAHA AVE
                    CLOVIS, CA 93619



                    Julio A. Martin Family Trust dated 12/5/
                    Attn: Art Martin
                    2657 Omaha Ave.
                    Clovis, CA 93619



                    Julio Almoguer
                    4651 Sw Greensboro Way
                    Apt #71
                    Beaverton, OR 97007



                    Julio Arevalo
                    301 Acalanes Dr
                    Sunnyvale, CA 94086



                    Julio Cardenas
                    5448 Fitness Circle
                    Apt # 105
                    Orlando, FL 32839



                    Julio Cuellar
                    783 OAKLAWN AVE
                    APT A
                    CHULA VISTA, CA 91910



                    Julio Damian
                    51-695 AVENIDA VALLEJO
                    LA QUINTA, CA 92253
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                    Julio Del Ray Arce
                    1357 LAKEVIEW RD
                    CLEARWATER, FL 33756



                    Julio Mendoza




                    Julio Montiel
                    3131 WEST OAKRIDGE RD
                    3-Oct
                    ORLANDO, FL 32809



                    Julio Nieto
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                    Apt 10310
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                    Julio Recinos
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                    San Fernando, CA 91340



                    Julio Ricardo
                    3910 THORN ST
                    SAN DIEGO, CA 92105
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                    Julio Rivera
                    1517 W Sanbernardinoapt #capta
                    Apt #c
                    West Covina, CA 91790



                    Julio Rivera
                    1912 St Magnolia Ave
                    Sanford, FL 32771



                    Julissa Chavez
                    3484 W POWERS AVE
                    LITTLETON, CO 80123



                    Julissa Encarnacion
                    7854 Montara Ave
                    Rancho Cucamonga, CA 91730



                    Julissa Michel
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                    GONZALES, CA 93926



                    Julissa Vazquez
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                    PALMDALE, CA 93550



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                    2539 SPRING CYPRESS ROAD
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                    SPRING, TX 77388



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                    Julouies Vasquez
                    8162 Canterbury Lake Blvd
                    Tampa, FL 33619
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                    Julus Augustin
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                    JUN ATOL CHOI
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                    GARDEN GROVE, CA 92840



                    Jun Choi
                    11921 Faye Ave
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                    Junie Jordonne
                    2181 NE 1st court
                    Building 24 Apt 202
                    Boynton Beach, FL 33435



                    Junior MONCHERI
                    2947 GRAND AVE
                    FORT MYERS, FL 33901



                    Junko Kojima
                    2449 MOHAWK ST
                    9
                    PASADENA, CA 91107



                    Jurnee Bedford
                    4800 S SPRINGS DR
                    CHANDLER, AZ 85249



                    Justa Castillo
                    913 S Park
                    Apt G
                    Anaheim, CA 92804



                    Justice Dejesus
                    4807 WOODSLANDING LN
                    TAMPA, FL 33619
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                    Justice North
                    17946 SE ADDIE
                    MILWAUKIE, OR 97267



                    Justice Tillman
                    1500 STONEHAVEN DR
                    1710-5
                    BOYNTON BEACH, FL 33436



                    Justin Archuleta
                    790 N LAUREL AVE
                    UPLAND, CA 91786



                    Justin Bassett
                    309 LINDA FLORA DR
                    LOS ANGELES, CA 90049



                    Justin cayetano
                    3537 CENTENNIAL DRIVE
                    ANTIOCH, CA 94509



                    Justin Choi
                    3314 Meline Fields Dr
                    Spring, TX 77386



                    Justin Cileus
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                    Justin Clemente
                    11442 White Oak
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                    JUSTIN COBE
                    470 CROSS ROAD
                    GURNEE, IL 60031
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                    Justin Faulkner
                    3439 BIGELOW DR.
                    HOLIDAY, FL 34691



                    Justin Gal
                    2691 BITTERNUT CIR
                    SIMI VALLEY, CA 93065



                    Justin Ho
                    7722 PINEVILLE CIR
                    CASTRO VALLEY, CA 94552



                    Justin Leisher
                    9652 CREBS AVE
                    NORTHRIDGE, CA 91324



                    Justin Lin
                    923 GRAND CANYON
                    BREA, CA 92821



                    Justin Lobaugh
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                    Tempe, WA 85282



                    Justin Loera
                    18427 Studebaker Rd
                    APT 173
                    Cerritos, CA 90703
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                    Justin Michael
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                    Justin Morian
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                    Justin Olson
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                    MARIETTA, GA 30064



                    Justin Pool
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                    Justin Simms
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                    PORTLAND, OR 97230



                    Justin Sivits
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                    POWAY, CA 92064



                    Justin Steele
                    990 BLACKWOOD ST
                    ALTAMONTE SPRINGS, FL 32701
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                    Justin stroer
                    871 CITRUS RD
                    VENICE, FL 34293



                    Justin Tanaka
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                    VANCOUVER, WA 98662



                    Justin Tran
                    14703 SE MARCI WAY
                    CLACKAMAS, OR 97015



                    Justin Warme
                    6749 W Oraibi Dr
                    PHOENIX, AZ 85308



                    JUSTIN WARREN BRODIE
                    1220 W ALAMEDA DR #119
                    TEMPE, AZ 85282



                    Justin Watson
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                    SPACE 155
                    SUNNYVALE, CA 94086



                    Justin Williams
                    15035 S 39TH PL
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                    Justin Wright
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                    APT 55
                    LAKE OSWEGO, OR 97035



                    Justin Zuniga
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                    CANOGA PARK, CA 91306
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                    Justina Garcia Lorenzo
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                    Justine Lewis
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                    Justine Richter
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                    Justine Vanmaanen
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                    JVHS BOPO
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                    JERSEY VILLAGE, TX 77040



                    Jyaire Mayfield
                    17954RINALDI STREET
                    GRANADA HILLS, DE 91344



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                    LEESBURG, FL 34748
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                    Jyvens Amilcar
                    131 Sw 1st Ave
                    131sw 1st Ave
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                    CASTLE ROCK, CO 80104



                    K JOHNSON PARTNERS LP
                    PO BOX 231400
                    ENCINITAS, CA 92023-1400



                    K LEE
                    5166 HOOK HOLLOW CIR
                    ORLANDO, FL 32837



                    K2 ELECTRIC INC
                    4038 E SUPERIOR AVE #102
                    PHOENIX, AZ 85040



                    Kaamia Singh
                    20190 VA GALILEO
                    PORTER RANCH, CA 91326



                    Kacie Chow
                    3650 HOLMES CIRCLE
                    HACIENDA HEIGHTS, CA 91745



                    Kacie Miller
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                    #B
                    FRESNO, CA 93703



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                    8095 SE 170TH AVE RD
                    OCKLAWAHA, FL 32179
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                    Kadijah sweet
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                    Kaela Sanchez
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                    Kaesie Smart
                    3726 YUBA RIVER DR.
                    ONTARIO, CA 91761



                    Kahlel M. Lundy
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                    Kai Hamilton
                    311 SUNFLOWER
                    LAKE FOREST, CA 92630



                    Kai Langham
                    701 PLAYFUL MEADOWS CIRCLE
                    RIO RANCHO, NM 87144



                    Kai pak
                    4820 1/2 LONG BRANCH AVE
                    SAN DIEGO, CA 92107



                    Kai Sakata
                    80 AGAVE
                    LAKE FOREST, CA 92630



                    Kaia Mason
                    6092 SEVERIN DR LA MESA CA
                    SAN DIEGO, CA 91942



                    KAIDEN KURIAN
                    715 W OCEAN AVE
                    LANTANA, FL 33462



                    KAILA PENNYMAN
                    405 WYMORE RD
                    APT. 106
                    ALTAMONTE SPRINGS, FL 32714



                    Kailee Troup
                    16762 S HILLOCKBURN RD
                    ESTACADA, OR 97023



                    Kailey Proctor
                    4364 GOLDEN RING LN
                    LAS VEGAS, NV 89147
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                    Kairee Wade
                    5994 BRETTON WOODS DRI
                    LITHONIA, GA 30058



                    Kairy Villalobos
                    929 DAFFODIL WAY
                    SAN JOSE, CA 95117



                    Kaitlin Cuervo
                    3001 W WARM SPRINGS
                    1524
                    HENDERSON, NV 89014



                    Kaitlin M. Sorensen
                    3272 GENEVIEVE STREET NORTH
                    SAN BERNARDINO, CA 92405



                    Kaitlin Nugent
                    18409 SE 43RD LANE
                    VANCOUVER, WA 98683



                    Kaitlin Sorensen
                    3272 GENEVIEVE STREET NORTH
                    SAN BERNARDINO, CA 92405



                    Kaitlyn Blau
                    37626 CHERRY DRIVE
                    PALMDALE, CA 93550



                    Kaitlyn Dameron
                    10470 E ROSE HILL ST.
                    VAIL, AZ 85747



                    Kaitlyn Gibson
                    27510 BERKSHIRE HILLS PL
                    VALENCIA, CA 91354
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                                      2164



                    Kaitlyn Kazik
                    4548 via san marco
                    Las vegas, NV 89103



                    Kaitlyn Lovejoy
                    4388 E Knox Rd
                    Gilbert, AZ 85296



                    Kaitlyn Marrillia
                    13605 100TH PL N
                    SEMINOLE, FL 33776



                    Kaitlyn Mckinney
                    4506 8th Ave E
                    Bradenton, FL 34208



                    Kaitlyn Nunez
                    8034 E 2ND AVE
                    MESA, AZ 85208



                    KAITLYN OBRIEN
                    7960 PRESERVE CIR #611
                    NAPLES, FL 34119



                    Kaitlyn Roy
                    2688 Whispering Dr S
                    Largo, FL 33771



                    Kaitlyn Vercammen
                    6312 44TH AVE EAST
                    BRADENTON, FL 34203



                    Kaitlyn Wilyard
                    35151 ORCHID DR
                    WINCHESTER, CA 92596
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                    Kaitlynn Dillen
                    60 PALATINE
                    APT 228
                    IRVINE, CA 92612



                    Kaito Sato
                    109 SEASPRAY SOUTH
                    LAGUNA NIGUEL, CA 92677



                    Kalane Bessard
                    69 CAMELBACK COURT
                    PLEASANT HILL, CA 94523



                    Kaleb Conti
                    12261 CARMEL VISTA RD.
                    177
                    SAN DIEGO, CA 92130



                    Kaleb Martin
                    1446 S CATHAY ST
                    AURORA, CO 80017



                    Kaleb Palmer
                    4116 E MILKY WAY
                    GILBERT, AZ 85295



                    Kaleb Rodriguez
                    1651 SOUTH DOBSON ROAD
                    362
                    MESA, AZ 85202



                    Kalei Yoakum
                    449 W. 104th St. Figueroa
                    Los Angeles, CA 90003



                    Kalen Hill
                    2424 HARCOURT
                    #3
                    LOS ANGELES, CA 90016
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                                      2164



                    Kalene garcia
                    8205 N EL DORADO ST
                    STOCKTON, CA 95210



                    Kaley Hernandez
                    4236 BROCKTON GREEN CT
                    LAS VEGAS, NV 89110



                    Kali Baker
                    140 OLYMPUS CIRCLE
                    LONE TREE, CO 80124



                    Kali Goldwater
                    881 SAN LUCAS AVE
                    MOUNTAIN VIEW, CA 94043



                    Kalie Shirley
                    455 PETER PAN BLVD
                    DAVENPORT, FL 33837



                    Kalin Campbell
                    2269 S FLANDERS ST
                    AURORA, CO 80013



                    Kalina King
                    600 STARKEY RD
                    914
                    LARGO, FL 33771



                    Kaliphe Brown
                    61T 4TH ST
                    HERMOSA BEACH, CA 90254



                    Kalista Hayes
                    10290 LARIAT DR
                    SANTEE, CA 92071
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                    Kalvin Saelee
                    24661 AMADOR ST
                    10
                    HAYWARD, CA 94544



                    KALVIN SAELEE
                    24661 AMADOR ST #10
                    HAYWARD, CA 94544



                    Kalynda Miville
                    765 CHELSEA DR
                    DAVENPORT, FL 33897



                    Kalyssa Belveal
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                    LITTLETON, CO 80128



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                    VANCOUVER, WA 98683



                    Kameran Howard-Parrish
                    973 S POTOMAC WAY
                    AURORA, CO 80012



                    Kameron Reed
                    2631 S FLANDERS CT
                    AURORA, CO 80013



                    Kametraion King
                    3210 ZANDER DR
                    303
                    KISSIMMEE, FL 34747



                    Kamila Porter
                    4391 N Wolford Rd
                    Tucson, AZ 85749
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                                      2164



                    Kamilah Pryor
                    22921 imperial valley drive
                    apt F204
                    HOUSTON, TX 77073



                    Kamonte Roberts
                    26914 NORTH 54TH AVE
                    PHOENIX, AZ 85080



                    KAMRAN AND COMPANY INC
                    411 E MONTECITO ST
                    SANTA BARBARA, CA 93101



                    Kamren Larson
                    12519 PITTSFIELD AVE
                    TAMPA, FL 33624



                    Kamryn Bolick
                    1200 SW JAY CT.
                    BEAVERTON, OR 97003



                    Kamryn Smith
                    2734 ST. CHARLES STREET
                    FORT MYERS, FL 33916



                    kamuela-talo palakiko
                    7600 Weatherly Lane
                    Canyon, TX 79015



                    Kandie Gonzalez
                    16503 FERN HAVEN RD
                    HACIENDA HEIGHTS, CA 91745



                    Kandis Gurule
                    18784 ALDERBURY DR.
                    ROWLAND HEIGHTS, CA 91748
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                                      2164



                    Kaneza Ndizeye
                    6751
                    Western Indian School
                    Phoenix, AZ 85033



                    Kanitra Little
                    2881 Rackcliff Rd
                    Atlanta, GA 30316



                    KANSAS EMPLOYMENT SECURITY FND
                    PO BOX 400
                    TOPEKA, KS 06660-1400



                    KANSAS STATE TREASURER
                    UNCLAIMED PROPERTY
                    900 SW JACKSON ST #201
                    TOPEKA, KS 66612-1235



                    Kanto Vigo
                    10435 Lindley Ave
                    #201
                    Northridge, CA 91326



                    KANTO VIGO
                    10435 LINDLEY AVE #201
                    NORTHRIDGE, CA 91326



                    KAPJOO KIM
                    PO BOX 26669
                    SAN DIEGO, CA 92126



                    Kara Eubanks
                    3434 MIDNIGHT MOON ST
                    LAS VEGAS, NV 89135



                    Karch Koepnick
                    21292 CALLE BALSA
                    LAKE FOREST, CA 92630
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1203 of
                                      2164



                    Kareem Seymore
                    3960 jeffrey drive
                    college park, GA 30349



                    Kareem Urquijo
                    1700 W PRINCE RD
                    1106
                    TUCSON, AZ 85705



                    Karely Sanchez
                    46329 WILLOW LANE
                    INDIO, CA 92201



                    Karen Acosta
                    1273 PEDRO ST.
                    APT.6
                    SAN JOSE, CA 95126



                    Karen Almazan
                    16445 FRANCISQUITO AVE.
                    LA PUENTE, CA 91744



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                    5502 W. HEATHERBRAE DR.
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                    8301 WILLOW PLACE
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                    HOUSTON, TX 77070



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                    Tucson, AZ 85741



                    KAREN BROWNER
                    3431 HIGH BLUFF DR
                    DALLAS, TX 75234
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                                      2164



                    Karen Dubon
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                    Laguna Hills, CA 92653



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                    Karen Garcia
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                    Spring Valley, CA 91977



                    Karen Garcia
                    2028 Waikiki Way
                    Tampa, FL 33619



                    KAREN GARCIA
                    835 GRAND AVE APT 13
                    SPRING VALLEY, CA 91977



                    Karen Grant
                    4275 CASTLEBRIDGE LANE
                    1312
                    SARASOTA, FL 34238



                    Karen Guevara
                    22915 MILLGATE DR.
                    SPRING, TX 77373



                    Karen Guido
                    1241 N East
                    Spc #113
                    Anaheim, CA 92805



                    Karen Gutierrez
                    13617 LUKAY ST
                    WHITTIER, CA 90605
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                                      2164



                    Karen Long
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                    SAN JOSE, CA 95138



                    karen lucero
                    7951 JUNE LAKE DR.
                    SAN DIEGO, CA 92119



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                    20 WAYNE AVENUE
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                    121
                    THORNTON, CO 80260



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                    Apt. C
                    Alhambra, CA 91803



                    KAREN PACHECO
                    1520 W COMMONWEALTH AVE APT C
                    ALHAMBRA, CA 91803



                    Karen Perez
                    2244 S SANTA FE AVE
                    C3
                    VISTA, CA 92084



                    Karen Perez Melo
                    1181 PECOS WAY
                    SUNNYVALE, CA 94089
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                                      2164



                    Karen Ramos
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                    5822 4TH AVENUE
                    LOS ANGELES, CA 90043



                    Karen Rosales
                    1541 LIVE OAK RD
                    141
                    VISTA, CA 92081



                    Karen Ruiz
                    1384 Ivy Cir
                    Corona, CA 92879



                    Karen Sharpe
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                    JONESBORO, GA 30236



                    Karen zaragoza
                    4230 W FIRST ST
                    201
                    SANTA ANA, CA 92703



                    Kariel Gonzalez
                    2818 W Robson St
                    Tampa, FL 33614



                    Karin Rodriguez
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                    LOS ANGELES, CA 90062



                    Karina Bracero
                    1065 CHICO COURT
                    SUNNYVALE, CA 94085
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                                      2164



                    Karina Cabrera Gil
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                    #E
                    SUNNYVALE, CA 94085



                    Karina Campos
                    132 Green Meadow Circle
                    Pittsburg, CA 94565



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                    4
                    SAN JOSE, CA 95122



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                    #8a
                    Costa Mesa, CA 92627



                    Karina Estrada
                    1342 S YAMPA CT
                    AURORA, CO 80017



                    Karina G. Carrillo
                    2282 LUCRETIA AVE
                    4
                    SAN JOSE, CA 95122



                    Karina Hernandez
                    4209 33RD ST
                    SAN DIEGO, CA 92104



                    Karina Hernandez
                    43532 CLINTON ST.
                    347
                    INDIO, CA 92201
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                                      2164



                    Karina Hernandez
                    2928 ALTA DRIVE
                    NATIONAL CITY, CA 91950



                    Karina Huerta
                    25773 PERLMAN PLACE
                    D
                    STEVENSON RANCH, CA 91381



                    Karina Lopez
                    8809 4th St Nwspace
                    #20
                    Albuquerque, NM 87114



                    Karina Mendez
                    1330 S MOHAWK DR
                    SANTA ANA, CA 92704



                    Karina Radilla
                    1229 Scott Dr.
                    National City, CA 91950



                    Karina Rawlings
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                    Portland, OR 97266



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                    #7
                    IMPERIAL BEACH, CA 91932
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1209 of
                                      2164



                    Karina Sanchez
                    555 W. RIO SALADO PKWY
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                    PHOENIX, AZ 85032



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                    SAN JOSE, CA 95116



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                    7361 N SAN PABLO
                    FRESNO, CA 93650



                    Karissa Herbert
                    3454 FARIA ST.
                    CAMARILLO, CA 93010



                    Karl Depee
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                    HILLSBORO, OR 97123



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                    7505 LANTERN RD
                    ALBUQUERQUE, NM 87109



                    Karl Yarabenetz
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                    Las Vegas, NV 89131



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                    1349 BELLINGHAM DR
                    SAN JOSE, CA 95121
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                                      2164



                    Karla Blinoff
                    13153 SUNNY LANE
                    CAMARILLO, CA 93012



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                    179 Cedar Rd
                    Vista, CA 92083



                    Karla Esquivel Flores
                    633 E Central Ave
                    Santa Ana, CA 92707



                    Karla gomez
                    10448 STANFIELD CIRCLE
                    SAN DIEGO, CA 92126



                    Karla Gomez
                    1730 MESA DRIVE
                    LANCASTER, CA 93535



                    Karla Gonzalez
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                    Unit 70
                    CHULA VISTA, CA 91911



                    Karla Herrera
                    27444 CAMDEN
                    APT 6E
                    MISSION VIEJO, CA 92692



                    KARLA KILLEEN
                    261 VIA DEL CERRITO
                    ENCINITAS, CA 92024



                    Karla Laguna
                    11553 WINDCREST LANE
                    248
                    SAN DIEGO, CA 92128
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1211 of
                                      2164



                    Karla Lepe
                    2115 WEST EDINGER
                    B
                    SANTA ANA, CA 92704



                    Karla Monreal
                    3323 CLAIREMONT DR
                    #1
                    SAN DIEGO, CA 92117



                    Karla Muro
                    6304 GUNDRY AVE
                    LONG BEACH, CA 90805



                    Karla Pentzke
                    1560 Calle De La Rosa
                    #105
                    Chula Vista, CA 91913



                    KARLA QUEZADA
                    21622 MARGUERITE PKWY
                    APT 353
                    MISSION VIEJO, CA 92692



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                    Phoenix, AZ 85033



                    Karla Richerd
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                    #1
                    OXNARD, CA 93030



                    Karla Rojas
                    4917 Walden Circle
                    Orlando, FL 32811
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                                      2164



                    Karla Soltero
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                    203
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                    Karla Torres
                    1021 BRADFORD AVE
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                    Apt 241
                    Hawthorne, CA 90250



                    Karla Viramontes
                    4626 COGSWELL RD
                    EL MONTE, CA 91732



                    Karli Brower
                    11247 E Perterson Ave
                    Mesa, AZ 85212



                    Karlina Beringer
                    4757 MIRA VISTA PLACE
                    CASTRO VALLEY, CA 94546



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                    NORTH HILLS, CA 91343



                    Karly Means
                    3732 E COSTILLA AVE
                    CENTENNIAL, CO 80122
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                                      2164



                    Karlyn Watkins
                    6654 Jumilla Ave
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                    1303 CONSTITUTION RD
                    ATLANATA, GA 30316



                    Karri Hunt
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                    HILLSBORO, OR 97124



                    Karrina Ramon
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                    CAPE CORAL, FL 33991



                    Karson Baxter
                    18495 E RANCH RD
                    QUEEN CREEK, AZ 85142



                    Karynn Capacete
                    12054 Caminito Campana
                    San Diego, CA 92128



                    Kasandra DeFreitas
                    303 1ST ST
                    108 N
                    BRADENTON, FL 34208



                    Kasandra Macias
                    14117 INGLEWOOD AVE
                    HAWTHORNE, CA 90250



                    Kasey Gilbert
                    67 EASTSHORE
                    IRVINE, CA 92604
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                                      2164



                    KASHIA
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                    BLANDING, UT 84511



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                    Kassandra Cabrera
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                    San Diego, CA 92154



                    Kassandra Diaz
                    21817 CAROL COURT
                    SANTA CLARITA, CA 91390



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                    2650 FOUNTAIN VIEW CIRCLE
                    203
                    NAPLES, FL 34109



                    Kassandra Lancho
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                    Kassandra Rodriguez
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                    13850 CHERVIL CT
                    MORENO VALLEY, CA 92553
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1215 of
                                      2164



                    Katarina La Spada
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                    San Diego, CA 92130



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                    4431 SHOREPOINTE WAY
                    SAN DIEGO, CA 92130



                    Kate Herrera Hernandez
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                    SAN DIEGO, CA 92113



                    Kate Thompson
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                    FULLERTON, CA 92833



                    Katelin Goldstraj
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                    711 Wagonwheel Circl
                    Brea, CA 92821



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                    13114 SE 32ND CT
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                    Katelyn AVALOS
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                    SAN DIEGO, CA 92115



                    katelyn fogle
                    12077 NW WELSH DR
                    PORTLAND, OR 97229
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1216 of
                                      2164



                    Katelyn Jackovich
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                    North Miami, FL 33161



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                    28 CHISHOLM TRAIL
                    TRABUCO CANYON, CA 92679



                    Katelyn Larsen
                    1350 SAN BERNARDINO RD.
                    160
                    UPLAND, CA 91786



                    Katelyn Nguyen
                    6762 STANFORD AVE.
                    GARDEN GROVE, CA 92845



                    Katelyn Pfeuffer
                    5077 SW CHILDS RD
                    LAKE OSWEGO, OR 97035



                    Katelyn Spencer
                    15559 SW WREN LANE
                    BEAVERTON, OR 97007



                    Katelynn Davisson
                    21897 SE EDWARD DR.
                    DAMASCUS, OR 97089



                    Katerin Martinez-Hernandez
                    1740 montecito cir
                    Livermore, CA 94551



                    KATHEL LUNDY
                    1134 MIRA MAR AVENUE APT 2
                    LONG BEACH, CA 90804
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1217 of
                                      2164



                    KATHERIN M. OVIEDO
                    2265 MONROE ST
                    #C
                    SANTA CLARA, CA 95050



                    katherin oviedo
                    2265 MONROE ST
                    #C
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                    103
                    NORTHRIDGE, CA 91324



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                    ALBQUERQUE, NM 87117



                    Katherine Brana
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                    MIAMI, FL 33183



                    Katherine Ceron
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                    Katherine Clark
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                    Katherine Culver
                    19274 EAST CARRIAGE WAY
                    QUEEN CREEK, AZ 85142
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1218 of
                                      2164



                    Katherine Distefano
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                    POWAY, CA 92064



                    Katherine Gutierrez
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                    KATHERINE GUTIERREZ
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                    LADYLAKE, FL 32159



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                    Katherine Jong
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                    SAN DIEGO, CA 92129



                    Katherine Rendon
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                    6
                    SPRING VALLEY, CA 91977
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1219 of
                                      2164



                    Katherine Sanabria
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                    TAMPA, FL 33614



                    Katherine Tarantik
                    4839 Silvermoss Drive
                    Sarasota, FL 34243



                    KATHERINE TARANTIK
                    4839 SILVERMOSS DR
                    SARASOTA, FL 34243-5159



                    Katherine Thomas
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                    MERRITT ISLAND, FL 32952



                    Katherine Villacorta-Poblet
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Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1220 of
                                      2164



                    Kathleen Vo
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                    FOUNTAIN VALLEY, CA 92708



                    Kathrine Aristil Maxena
                    4390 Nw 36 St
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                    LAUDERDALE LAKES, FL 33319



                    Kathrine Davis
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                    MIAMI, FL 33194



                    Kathryn Brinkhuis
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                    LITTLETON, CO 80123



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                    KATHRYN HUGHES PTA
                    4949 CALLE DE ESCUELA
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                    SANTA CLARA
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                    KATHRYN LIMAS
                    32750 RANCHO AMERICANA PLACE
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                                      2164



                    Kathryn Martin
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                    CONCORD, CA 94518
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                                      2164



                    KATHY METCALF
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Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1223 of
                                      2164



                    KATIE CARDENAS
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                    ST LOUVIERS, CO 80131



                    Katie LeFort
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                    MENIFEE, CA 92584



                    Katie Martinez
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                    CAMARILLO, CA 93010



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                                      2164



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                    TUSTIN, CA 92782
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                                      2164



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                    MANHATTAN BEACH, CA 90266



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                                      2164



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                                      2164



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                                      2164



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                                      2164



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                                      2164



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                                      2164



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                    KEANAN GAHM
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                    Keandre brown
                    2046 NW 43RD TER
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                                      2164



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                                      2164



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                    3525 E HAMPTON CIRCLE
                    ALVA, FL 33920
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                                      2164



                    Keith Puryear
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                                      2164



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                    4885 KELLY DRIVE
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                                      2164



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                    7071 LAKERIDGE COURT ROOM 133
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                                      2164



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                                      2164



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                                      2164



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                                      2164



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                                      2164



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                                      2164



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                    Kenneth Henderson
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                    N
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Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1243 of
                                      2164



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                                      2164



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                    Kent Precision Foods Group Inc
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Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1245 of
                                      2164



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                    303 COURT STREET
                    ROOM 311
                    COVINGTON, KY 00041-0110



                    KENTUCKY CHILD SUPPORT ENFORCEMENT
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                    Keraun D. Bacon
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                                      2164



                    Keren Garcia
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                    17917 PUEBLO VISTA LANE
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Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1247 of
                                      2164



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                    KEVAN LANGLEY
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                    EL CAJON, CA 92020



                    Keven Mukai
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                    Apt 311
                    Boca Raton, FL 33428
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1248 of
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Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1249 of
                                      2164



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                    16105 PAYTON
                    IRVINE, CA 92620



                    KEVIN ENRIQUEZ
                    30 MICHAEL GROVE
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Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1250 of
                                      2164



                    Kevin Florian
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                    19240 MEGLY CT.
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                    KEVIN GERALD INVESTIMENT COMPANY INC
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                    PALMDALE, CA 93552



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Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1251 of
                                      2164



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Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1252 of
                                      2164



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Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1253 of
                                      2164



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                    Kevin Rivas
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Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1254 of
                                      2164



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Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1255 of
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                    KEY CLUB DIVISION 4 EAST
                    16282 E MAIN ST APT 19A
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                    KEY CLUB DIVISION 4 EAST
                    16282 E MAIN ST APT 19A
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                                      2164



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                    SAN JOSE, CA 95112



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                    9669 AERO DRIVE
                    SAN DIEGO, CA 92123-1805



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                    IRWIN, PA 00015-6420



                    KEYSTONE COLLECTION GROUP- LST
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                                      2164



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                    CANBY, OR 97013



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                    29402 CASTLE RD
                    LAGUNA NIGUEL, CA 92677
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1258 of
                                      2164



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                    Kiana Miller
                    5263 RIVERDALE CT
                    PLEASANTON, CA 94588



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                    Kiara Borrayo
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                    37425 ROCKWOOD DR
                    FREMONT, CA 94538
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1259 of
                                      2164



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                    LEESBURG, FL 34748



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                    Kiarra wilson
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                    KIDDIES KORNER LLC
                    12334 OAK KNOLL RD
                    POWAY, CA 92064



                    KIECKHAFER SCHIFFER & CO LLP
                    6201 OAK CANYON DRIVE #200
                    IRVINE, CA 92618
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1260 of
                                      2164



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                    Kierrah Stanford
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Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1261 of
                                      2164



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                                      2164



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                                      2164



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                    TUSTIN, CA 92789
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Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1266 of
                                      2164



                    KINETICO INCORPORATED
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                    NEWBURY, OH 44065



                    Kinetico Water Systems
                    10845 KINSMAN ROAD
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Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1267 of
                                      2164



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                    11639 ROCK LAKE TERRACE
                    BOYNTON BEACH, FL 33473



                    KISSEL LANDSCAPING &
                    11639 ROCK LAKE TERRACE
                    BOYNTON BEACH
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Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1268 of
                                      2164



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                    KNIGHT FIELD HOCKEY CLUB
                    1454 GOLDEN SUNSET DR
                    SAN MARCOS, CA 92078
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                                      2164



                    KNIGHT FIELD HOCKEY CLUB
                    1454 GOLDEN SUNSET DR
                    SAN MARCOS
                    CA, 92078



                    KNIGHTS OF COLUMBUS #13111
                    51 MARKETPLACE
                    IRVINE, CA 92602



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                    Kobe Chambers
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                    KODAWEST
                    7350 GOLFCREST PLACE #3023
                    C/O LYNNETTE MILLER
                    SAN DIEGO, CA 92119
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1270 of
                                      2164



                    Kodi McMillion
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                    34635 W ECLIPSE RD
                    ATTN TANYA ALVARADO
                    STANFIELD, AZ 85172
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1271 of
                                      2164



                    Korey St. Claire
                    1071 NE BRIERCREEK WAY
                    1113
                    BEAVERTON, OR 97006



                    Kourtni Rohweder
                    1335 ROSEARDEN DRIVE
                    FOREST GROVE, OR 97116



                    KRAFT KLUB INC
                    4671 STATE STREET
                    MONTCLAIR, CA 91763



                    KRAUSZ PUENTE LLC
                    PO BOX 10
                    ARCADIA MANAGEMENT GROUP
                    SCOTTSDALE, AZ 85252



                    Krausz Puente, LLC
                    PO Box 10
                    Scottsdale, AZ 85252



                    Kris Hall




                    Kris Long
                    8940 Reeves Ct
                    Rancho Cucamonga, CA 91730



                    Krista Sisneros
                    7512 BRIANNE AVE NW
                    ALBUQUERQUE, NM 87114



                    Kristal garcia
                    1615 W 85 AVE
                    104
                    FEDERAL HEIGHTS, CO 80260
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1272 of
                                      2164



                    Kristal Mora
                    15592 TETLEY STREET
                    HACIENDA HEIGHTS, CA 91745



                    Kristal Sclichting
                    13401 SE 19TH STREE
                    VANCOUVER, WA 98683



                    Kristen Abel
                    9559 E LOS LAGOS VISTA AVE
                    MESA, AZ 85209



                    Kristen Davis
                    11914 BROOKHAVEN ST.
                    GARDEN GROVE, CA 92840



                    Kristen Nolan
                    1620 DUBLIN RD.
                    DELTONA, FL 32738



                    Kristen Rodriguez
                    1301 W Hellman Ave
                    Alhambra, CA 91803



                    KRISTEN TENANTY
                    3920 TWIGGS ST
                    SAN DIEGO, CA 92110



                    Kristen Vargas
                    52445 AVE MENDOZA
                    LA QUINTA, CA 92201



                    Kristian Cabbagestalk
                    14062 E Iowa Dr
                    Aurora, CO 80012
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1273 of
                                      2164



                    Kristian Nava
                    27956 TEAL
                    MISSION VIEJO, CA 92691



                    Kristian Soto
                    9100 TEJON ST LOT 232
                    FEDERAL HEIGTGS, CO 80260



                    Kristian Switalski
                    15815 S. Lakewood Prky W.#1090
                    Phoenix, AZ 85048



                    KRISTIE MANUEL
                    20006 BLACKBIRD LN
                    CANYON COUNTRY, CA 91351



                    Kristin Carpenter
                    18106 Chieftain Ct
                    San Diego, CA 92127



                    Kristin Huynh
                    729 LAVA WAY
                    SAN JOSE, CA 95133



                    Kristin Keydoszius
                    9961 E. Banister Dr
                    Tucson, AZ 85730



                    Kristin Mccoy
                    17105 W Bernardo Dr
                    #208
                    Rancho Bernardo, CA 92127



                    KRISTIN MCCOY
                    17105 W BERNARDO DR #208
                    RANCHO BERNARDO, CA 92127
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1274 of
                                      2164



                    Kristina Dumas
                    2052 Gold St.
                    #139
                    Alviso, CA 95002



                    Kristina Kennedy
                    3218 HARMONY HILL TRCE
                    ACWORTH, GA 30144



                    Kristina Macaluso
                    10580 CLEAR LAKE LOOP
                    170
                    FT MYERS, FL 33908



                    Kristina Marchesano
                    10040 Leavesly Trail
                    Santee, CA 92071



                    Kristina Middleton
                    216 East 108 St
                    Los Angeles, CA 90061



                    Kristina Montgomery
                    255 CHAPPEL RD NW
                    Atlanta, GA 30342



                    KRISTINA RAMIREZ
                    8312 BELLHAVEN ST
                    LA PALMA, CA 90623



                    Kristina Toro
                    1957 SHAMROCK AVENUE
                    DUARTE, CA 91010



                    Kristine A. Tuke
                    8659 RIVER HOMES LN
                    105
                    BONITA SPRINGS, FL 34135
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1275 of
                                      2164



                    Kristine Anolin
                    29372 Bacon Ln
                    Highland, CA 92346



                    Kristine Kalinowski
                    5863 Briarwood Ave
                    Sarasota, FL 34231



                    Kristine Tuke
                    8659 RIVER HOMES LN
                    105
                    BONITA SPRINGS, FL 34135



                    Kristoffer Cortes
                    27719 STARDALE DR
                    SANTA CLARITA, CA 91350



                    Kristopher Greene
                    51 Via Brida
                    Rancho Santa Margarita, CA 92688



                    Kristopher Gutierrez
                    149 S NOBLE
                    AZUSA, CA 91702



                    Kristopher Hollingshead
                    7220 CENTRAL SE
                    2053
                    ALBUQUERQUE, NM 87108



                    Kristy Castillo
                    10400 SE COOK CT.
                    42
                    MILWAUKIE, OR 97222



                    Kristyan Figueroa
                    53160 AVENIDA HERRERA
                    LA QUINTA, CA 92253
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1276 of
                                      2164



                    KRUEGER COMMUNICATIONS LLC
                    1222 PRESTON WAY
                    VENICE, CA 90291



                    KRUEGER COMMUNICATIONS LLC
                    4223 GLENCOE AVE STE #C100
                    MARINA DEL REY, CA 90292



                    kruti patel
                    10222 NEVADA AVE
                    CHATSWORTH, CA 91311



                    Krystal Cortez
                    4500 S. Monaco St. #218
                    Denver, CO 80237



                    Krystal Huynh
                    729 LAVA WAY
                    SAN JOSE, CA 95133



                    Krystal Jackson
                    3345 Country Club
                    Apt A
                    Norcross, GA 30092



                    Krystal Kotsakis
                    206 HOLMES LANE
                    OREGON CITY, OR 97045



                    KRYSTAL L. KOTSAKIS
                    206 HOLMES LANE
                    OREGON CITY, OR 97045



                    Krystal Redding
                    650 ROCKBOROUGH DRIVE
                    STONE MOUNTAIN, GA 30083
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1277 of
                                      2164



                    Krystal Wilson
                    11425 TIMBERLINE DR.
                    BEAVERTON, OR 97008



                    Krystyne Sok
                    5909 Ne 34th St
                    Vancouver, WA 98661



                    Kryztle Gonzales
                    9820 Sydney Lane
                    Apt. 37112
                    San Diego, CA 92126



                    KTF INC
                    30650 RANCHO CALIFORNIA RD
                    STE D406-61
                    TEMECULA, CA 92591



                    KUHLMANN ENTERPRISES INC
                    PO BOX 41400
                    PHOENIX, AZ 85080-1400



                    Kuldeep Singh
                    7430 Kensington Drive
                    Buena Park, CA 90621



                    Kulwinder Kaur
                    66 CENTERSTONE CIR
                    BUENA PARK, CA 90620



                    KUMEYAAY ELEMENTARY FOUNDATION
                    6475 ANTIGUA BLVD
                    SAN DIEGO, CA 92124



                    KURDIAN PLUMBING INC
                    3135 VERDUGO RD
                    LOS ANGELES, CA 90065
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1278 of
                                      2164



                    Kurt Adams
                    8162 Lakeport Road
                    San Diego, CA 92126



                    Kurt Hoerzing
                    267 ESMERALDO CT
                    SAN JOSE, CA 95116



                    Kurtis Redman
                    2760 3rd St
                    La Verne, CA 91750



                    Kuye Areda
                    360 MERIDIAN AVE
                    SAN JOSE, CA 95126



                    Kyannah L. Lemasters
                    16835 E HARVARD PL
                    AURORA, CO 80013



                    Kyannah Lemasters
                    16835 E HARVARD PL
                    AURORA, CO 80013



                    Kye Rhodes
                    4567 EAST YALE AVE
                    APT 206
                    DENVER, CO 80222



                    Kye S. Rhodes
                    4567 EAST YALE AVE
                    APT 206
                    DENVER, CO 80222



                    Kyla Wisenbaugh
                    365 E EXETER ST.
                    GLADSTONE, OR 97027
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1279 of
                                      2164



                    Kyle Andersen
                    862 GRENOLA DR
                    CONCORD, CA 94518



                    Kyle Bemiss
                    5802 E 32ND STREETSTREET
                    TUCSON, AZ 85711



                    Kyle Cauldren
                    839 Balboa Court
                    San Diego, CA 92109



                    kyle dean
                    5891 PIERCE STREET
                    301
                    ARVADA, CO 80003



                    Kyle Labarbera
                    31177 Us Hwy 19 N 604
                    Palm Harbor, FL 34684



                    Kyle McConnell
                    201 PINNACLE DR. SE
                    3422
                    RIO RANCHO, NM 87124



                    Kyle Merritt
                    10229 N 33RD AVE
                    156
                    PHOENIX, AZ 85051



                    Kyle Munoz
                    102 WIMBLEDON LN
                    TRACY, CA 95376



                    Kyle Peck
                    109 HOULTON CT.
                    SAN JOSE, CA 95139
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1280 of
                                      2164



                    Kyle peters
                    16830 BUCKEYE CIRCLE
                    FOUNTAIN VALLEY, CA 92708



                    Kyle Pierce
                    513 NORTH YALE AVENUE
                    FULLERTON, CA 92831



                    Kyle Richardson
                    1045 SYLVIA LANE
                    TAMPA, FL 33613



                    Kyle Stephenson
                    15301 SE 11TH CIR
                    #A
                    VANCOUVER, WA 98683



                    Kyle Stone
                    712 W 20TH STREET
                    VANCOUVER, WA 98660



                    Kyle Sue
                    VINERIDGERUN
                    203
                    ALTAMONTE SPRINGS, FL 32714



                    Kyle Tanaka
                    1312 E. 22nd St.
                    Los Angeles, CA 90011



                    Kyle Tarango
                    8561 STREAM STREET
                    ALBUQUERQUE, NM 87113



                    Kyle young
                    4010 N LOIS AVE
                    4304
                    TAMPA, FL 33614
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1281 of
                                      2164



                    Kyleb Rovira
                    420 SUMMIT RIDGE PL.
                    LONGWOOD, FL 32779



                    Kyleen Thomas
                    4505 PALMYRA AVE NW
                    ALBUQUERQUE, NM 87114



                    Kylen Campbell
                    3231 LAS FALDAS DR
                    FULLERTON, CA 92835



                    Kyler Dawkins
                    2512 HICKORY CT
                    CLEARWATER, FL 33761



                    Kyler Gallo
                    1810 Robinhood St
                    Sarasota, FL 34231



                    KYLIE HAWLEY
                    10417 BYRUM WOODS DR
                    RALEIGH, NC 27613



                    Kylie Payton
                    2525 EMERALD TREE LN
                    APOPKA, FL 32712



                    Kylie Smith
                    7326 NORTHLEAF DR
                    HOUSTON, TX 77086



                    Kylie Wallace
                    5238 ARBOR VIEW LN
                    SUGAR HILL, GA 30518
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1282 of
                                      2164



                    Kyra Parker
                    28814 FOX CANYON
                    SPRING, TX 77386



                    KYRENE DEL NORTE PTO
                    1331 E REDFIELD RD
                    TEMPE, AZ 85283



                    Kyrsa Hallum
                    10331 SE PARK MOUNTAON LANE
                    CLACKAMAS, OR 97015



                    Kyrsa L. Hallum
                    10331 SE PARK MOUNTAON LANE
                    CLACKAMAS, OR 97015



                    Kyrstan Fairweather
                    848 LAKE HOLLOW BLVD.
                    MARIETTA, GA 30064



                    Kywanda Stewart
                    201 SW WASHINGTON ST
                    ATLANTA, GA 30303



                    L+ L PRINTERS CARLSBAD LLC
                    6200 YARROW DRIVE
                    CARLSBAD, CA 92011



                    LA COLONIA COMMUNITY FOUNDATIO
                    816 JUANITA STREET
                    SOLANA BEACH, CA 92075



                    LA COUNTY CLERK
                    PO BOX 1208
                    NORWALK, CA 90651
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1283 of
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                    LA COUNTY SUPERIOR COURT
                    111 NORTH HILL STREET RM 113
                    LOS ANGELES, CA 90012



                    LA COUNTY TAX COLLECTOR
                    TAX COLLECTOR
                    PO BOX 54970
                    LOS ANGELES, CA 90054-0970



                    LA COUNTY TAX COLLECTOR UNSECURED
                    P.O. BOX 54027
                    LOS ANGELES, CA 90054-0027



                    LA COUNTY TAX COLLECTOR SECURED
                    PO BOX 54018
                    LOS ANGELES, CA 90054-0018



                    LA MEGA MUNDIAL LLC
                    4500 SATELLITE BLVD STE 2120
                    DULUTH, GA 30096



                    LA MESA ARTS ACADEMY PTSA
                    4200 PARKS AVENUE
                    LA MESA, CA 91941



                    LA MIRADA ACADEMY PTO
                    3697 LA MIRADA
                    SAN MARCOS, CA 92078



                    LA PALOMA ACADEMY LAKESIDE
                    8140 E GOLF LINKS
                    TUCSON, AZ 85730



                    LA QUINTA HIGH SCHOOL
                    DARLENE DO
                    10332 FINCHLEY AVENUE
                    WESTMINSTER, CA 92683
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1284 of
                                      2164



                    LA QUINTA HIGH SCHOOL WRESTLING
                    79255 WESTWARD HO DRIVE
                    LA QUINTA, CA 92253



                    LA QUINTA KEY CLUB
                    9634 NEWFAME CIR
                    FOUNTAIN VALLEY, CA 92708



                    LA QUINTA KEY CLUB
                    9634 NEWFAME CIR
                    FOUNTAIN VALLEY
                    CA, 92708



                    LA QUINTA NHS
                    15152 SPAR ST
                    GARDEN GROVE, CA 92843



                    LA QUINTA NHS
                    15152 SPAR ST
                    GARDEN GROVE
                    CA, 92843



                    LaBrittania Robinson
                    1303 CONSTITUTION RD
                    ATLANTA, GA 30316



                    Lacey Pasillas
                    12224 Summer Ave
                    Norwalk, CA 90650



                    Lachandra Leavell
                    43423 N. 16TH ST. W.
                    APT. 13
                    LANCASTER, CA 93534



                    Lacie smith
                    10513 variel ave
                    CHATSWORTH, CA 91311
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1285 of
                                      2164



                    Lacy Becker
                    7325 ELMWOOD CIRCLE
                    PLEASANTON, CA 94566



                    Ladaisha Bledsoe
                    912 STINSON 1/2 STREET
                    LEESBURG, FL 34748



                    Ladarius Mcglown
                    6316 Old Lake Wilson Rd
                    Davenport, FL 33896



                    ladonna jarmon
                    10535 MOORCREEK DR
                    HOUSTON, TX 77070



                    LADS N LASSIES SQUARE DANCE CLUB
                    17101 LANARK ST
                    LAKE BALBOA, CA 91406



                    LADY MARINER BASKETBALL BOOSTER
                    PO BOX 6041
                    GARDEN GROVE, CA 92846



                    LAGUNA NIGUEL JR ACADEMY
                    29702 KENSINGTON DR
                    LAGUNA NIGUEL, CA 92677



                    Laiba Muhammad
                    29211 LEGENDS BEAM DRIVE
                    SPRING, TX 77386



                    Laila Kalantari
                    1421 STILLCREEK AVE
                    HENDERSON, NV 89074
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1286 of
                                      2164



                    Laisa Ouriques
                    604 SW 180TH AVE.
                    PEMBROKE PINES, FL 33029



                    LAKE COUNTY TAX COLLECTOR
                    PO BOX 327
                    TAVARES, FL 32778-0327



                    LAKE MAGDALENE ELEMENTARY PTA
                    2002 PINE LAKE DR
                    TAMPA, FL 33612



                    LAKE OSWEGO HIGH SCHOOL
                    2501 COUNTRY CLUB RD
                    LAKE OSWEGO, OR 97034



                    LAKER CLUB
                    1592 BAY VIEW LANE
                    LAKE OSWEGO, OR 97034



                    LAKER CLUB
                    1592 BAY VIEW LANE
                    LAKE OSWEGO
                    OR, 97034



                    Lakesha Alexander
                    21800 SCHOENBORN ST
                    126
                    CANOGA PARK, CA 91304



                    Lakeveau Cox
                    402 NW 20TH AVE
                    OCALA, FL 34475



                    LAKEWOOD HIGH SCHOOL
                    4400 BRIERCREST AVE
                    LAKEWOOD, CA 90713
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                                      2164



                    Lakina Charles
                    780 SONELEY COURT
                    MILTON, GA 30004



                    Lakina Jackson
                    304 SANDY OAKS
                    301
                    LEESBURG, FL 34748



                    LAKISHA BRANNON
                    10657 CAMINITO ALVAREZ
                    SAN DIEGO, CA 92126



                    Laleyshka Perez
                    91 SILVER PARK CIR.
                    KISSIMMEE, FL 34743



                    Lalo Saavedra
                    16675 SLATE DRIVE
                    1625
                    CHINO HILLS, CA 91709



                    Lam-haj Valson
                    1121 Willowood Lane Sw
                    Ben Hill, GA 30331



                    Lamar Victor
                    17800 COLIMA RD
                    215
                    ROWLAND HEIGHTS, CA 91748



                    LAMBDA THETA NU SORORITY INC
                    560 S FERNWOOD ST APT 10
                    WEST COVINA, CA 91791



                    LAMBDA THETA NU SORORITY INC
                    560 S FERNWOOD ST APT 10
                    WEST COVINA
                    CA, 91791
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1288 of
                                      2164



                    Lamiae saidi
                    14486 E HAWAII CIR
                    UNIT D
                    AURORA, CO 80012



                    Lamont Evlien
                    2072 10th St
                    Sarasota, FL 34231



                    LANAIR GROUP LLC
                    330 N BRAND BLVD STE 600
                    GLENDALE, CA 91203



                    LANCASTER CO. TAX BUREAU-EIT
                    1845 WILLIAM PENN WAY, SUITE 1
                    LANCASTER, PA 00017-6010



                    LANCASTER CO. TAX BUREAU-LST
                    1845 WILLIAM PENN WAY, SUITE 1
                    LANCASTER, PA 00017-6010



                    Land Services
                    901 BROWN ROAD
                    FREMONT, CA 94539



                    LAND SERVICES LANDSCAPE
                    901 BROWN ROAD
                    FREMONT, CA 94539



                    LAND SERVICES LANDSCAPE
                    901 BROWN ROAD
                    FREMONT
                    CA, 94539



                    LANDELS PTA
                    115 W DANA ST
                    MOUNTAIN VIEW, CA 94041
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1289 of
                                      2164



                    LANDGRAPHICS
                    5752 KEARNY VILLA RD
                    SAN DIEGO, CA 92123



                    LANDINGS OF SARASOTA FLORIDA
                    17800 LAUREL PARK DRIVE NORTH
                    LIVONIA, MI 48152



                    Landtamers Landscaping
                    PO BOX 18095
                    TUCSON, AZ 85731



                    LANDTAMERS LLC
                    PO BOX 18095
                    TUCSON, AZ 85731



                    Lane Wilson
                    1442 TABER DR
                    CHULA VISTA, CA 91911



                    Laneil Anderson
                    15148 E LOUISIANA DR
                    9114
                    AURORA, CO 80012



                    Lani Conley
                    710 10TH ST SE
                    NAPLES, FL 34120



                    Lanier DeRuso
                    18003 E FORD PL.
                    AURORA, CO 80017



                    Laniya Frazier
                    3430 Venture Parkway
                    Duluth, GA 30096
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1290 of
                                      2164



                    Lanora Chavez
                    3351 Inland Empire Blvd.
                    Apt. 10I
                    Ontario, CA 91764



                    Lantmannen Unibake
                    Dept. CH 19161
                    Palatine, IL 60055



                    LANTMANNEN UNIBAKE
                    5007 LINCOLN AVE STE 300
                    LISLE, IL 60532



                    Laquiesha Clark
                    1203 W 137TH ST
                    COMPTON, CA 90222



                    Lara Keefe
                    2318 OAKHURST CT
                    VALRICO, FL 33596



                    Lara Lehman
                    5762 E. COOPER ST.
                    P. O. BOX 13445
                    TUCSON, AZ 85732



                    Laratisha Johnson
                    809 19 ST
                    4
                    WEST PALM BEACH, FL 33407



                    LAREDO MIDDLE SCHOOL PTCO
                    5000 S LAREDO STREET
                    LAREDO MIDDLE SCHOOL
                    AURORA, CO 80015
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1291 of
                                      2164



                    Larenzo Thomas
                    1546 SHERMAN
                    A
                    ALAMEDA, CA 94501



                    LARGO POLICE DEPARTMENT-RECORD
                    201 HIGHLAND AVE NORTHBLDG #2
                    LARGO, FL 33770



                    Larissa Verduzco
                    2441 PARK AVE
                    LONG BEACH, CA 90815



                    Larissa Walton
                    12662 TOPAZ ST
                    GARDEN GROVE, CA 92845



                    Larry Bacon
                    16867 KINGSBURY ST.
                    101
                    GRANADA HILLS, CA 91344



                    Larry Boles
                    1760 W LAKE BRANTLEY RD
                    LONGWOOD, FL 32779



                    LARRY BURKLEY
                    8 SAINT MARTIN
                    LAGUNA NIGUEL, CA 92677



                    LARRY MARTINEZ
                    4263 NORDICA ST
                    SAN DIEGO, CA 92113



                    Larry Navarrete
                    1316 W AMAHEIM STREET
                    HARBOR CITY, CA 90710
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1292 of
                                      2164



                    Larryza Askew
                    5715 5TH ST E
                    BRADENTON, FL 34203



                    Laryssa medina
                    15200 SHADYBEND DR
                    3
                    HACIENDA HEIGHTS, CA 91745



                    LAS COLINAS COMPANY
                    600 S JEFFERSON STE M
                    PLACENTIA, CA 92870



                    LAS COLINAS COMPANY
                    600 S JEFFERSON STE M
                    PLACENTIA
                    CA, 92870



                    LAS VEGAS 9 IORG
                    7800 BLUSHING DEN
                    LAS VEGAS, NV 89131



                    LAS VEGAS FIRE & RESCUE
                    FINANCE 4TH FLOOR
                    495 S MAIN ST
                    LAS VEGAS, NV 89101



                    LAS VEGAS FIRE & RESCUE
                    DEPT OF FINANCE & BUS SERVICES
                    PO BOX 748027
                    LOS ANGELES, CA 90074-8027



                    LAS VEGAS QUALITY WATER WORKS INC
                    4345 WAGON TRAIL AVE
                    LAS VEGAS, NV 89118



                    Lascary Lubin
                    3070 Sw 2nd St
                    Fort Lauderdale, FL 33312
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1293 of
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                    Lashawnay Sayles
                    6784 Orange St.
                    East Highland, CA 92346



                    Lashay Sayles
                    7387 Lynwood Way
                    Highland, CA 92346



                    LAST MINUTE INC
                    10330 SW 42 TERRACE
                    MIAMI, FL 33165



                    Latasha Record
                    4617 NE ST. JOHNS RD
                    E115
                    VANCOUVER, WA 98661



                    Latevi Lawson-Azianko
                    531 CHADBORN CT
                    LAWRENCEVILLE, GA 30045



                    Latonya Henderson
                    1629 NE 16th Ave
                    OCALA, FL 34470



                    Latoy Rowe
                    4232CAPULET LN
                    101
                    FORT MYERS, FL 33916



                    Latoya Hobbs
                    16000 MATEO ST.
                    2
                    SAN LEANDRO, CA 94578



                    Latoya Jackson
                    302 EAST OHIO AVE
                    TAMPA, FL 33603
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1294 of
                                      2164



                    Latoya Jolly
                    4320 Ne 11th Ter
                    Pompano Beach, FL 33064



                    LaToya Phenix
                    1285 S CLOVERDALE
                    LOS ANGELES, CA 90019



                    Latricia Hatney
                    419 HURRICANE SHOALS ROAD
                    E12
                    LAWRENCEVILLE, GA 30046



                    Laura Adorno
                    258 MARTINVALE LN
                    SAN JOSE, CA 95119



                    Laura Berube
                    19 Almond Trail
                    Ocala, FL 34472



                    Laura Delpozo
                    14500 Sw 280 St
                    Apt 106
                    Homestead, FL 33032



                    Laura Diaz
                    16912 S VERMONT AVE
                    UNIT A
                    GARDENA, CA 90247



                    Laura Escalera Garcia
                    1685 LEE DR
                    MOUNTAIN VIEW, CA 94040



                    Laura Herrera
                    11097 Ice Skate Pl
                    San Diego, CA 92126
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1295 of
                                      2164



                    Laura Juarez
                    5484 Reservoir Dr
                    Apt B43
                    San Diego, CA 92120



                    LAURA KHATIBZADEH
                    402 ALLENHURST PL
                    CARY, NC 27518



                    Laura Menichetti
                    81924 Avenida Alcalde
                    Indio, CA 92203



                    Laura Moiseoff
                    15051 RIDGEVIEW COURT
                    CHINO HILLS, CA 91709



                    Laura Nava
                    25162 Charlinda Dr
                    205 M
                    Mission Viejo, CA 92691



                    Laura Perez
                    3207 W SHIELDS AV
                    104
                    FRESNO, CA 93722



                    Laura Perez
                    1072 Stovall Ridgect
                    Lawrenceville, GA 30043



                    Laura Prado
                    15501 PASADENA AVE
                    210
                    TUSTIN, CA 92780



                    Laura R. Sandusky
                    6384 Kaisha
                    Eastvale, CA 92880
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                    Laura Rodriguez Esmerio
                    6121 Hazelhurst PL.
                    North Hollywood, CA 91606



                    Laura Ruppert
                    9260 E Dolores St
                    Tucson, AZ 85730



                    Laura Saccone
                    2427 Nielsen St.
                    El Cajon, CA 92020



                    LAURA SACCONE
                    2427 NIELSEN ST
                    EL CAJON, CA 92020



                    Laura salazar
                    1320 GESSNER RD
                    162
                    HOUSTON, TX 77055



                    Laura Sandusky
                    6384 Kaisha
                    Eastvale, CA 92880



                    Laura Uribe
                    4569 S KIRKMAN RD
                    #9
                    ORLANDO, FL 32811



                    Laura Vaquerano
                    167 LORRAINE AVE
                    PITTSBURG, CA 94565



                    Laura Vivar
                    23361 CAMINITO ANDRETA
                    LAGUNA HILLS, CA 92653
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1297 of
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                    LAUREL BURNETT
                    729 GRAND RAPIDS BLVD
                    NAPLES, FL 34120



                    LAUREL COUNTY TAX ADMNISTRATOR
                    PO BOX 650
                    LONDON, KY 00040-7430



                    LAURELWOOD PRESCHOOL
                    963 LORNE WAY
                    SUNNYVALE, CA 94087



                    Lauren Crews
                    760 WEST NEWENGLAND AVE
                    WINTER PARK, FL 32789



                    Lauren Dieterich
                    1221 Se Ellsworth Rd
                    Unit #k115
                    Vancouver, WA 98664



                    Lauren Elliott-Haynes
                    11340 DONNINGTON DRIVE
                    DULUTH, GA 30097



                    Lauren Gabbert
                    125-A CALLE DON FRANCISCO
                    BERNALILLO, NM 87004



                    Lauren Graves Bonilla
                    6564 WINONA CT
                    ARVADA, CO 80003



                    Lauren Jordan
                    10844 VIA LAS MAYAS
                    APT. A
                    SAN DIEGO, CA 92129
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1298 of
                                      2164



                    Lauren Jordan
                    2553 Lotus Hill Dr.
                    Las Vegas, NV 89134



                    Lauren Kemp
                    15837 BAY VISTA DRIVE
                    CLERMONT, FL 34714



                    LAUREN KIEWRA
                    210 COATBRIDGE CIRCLE
                    CARY, NC 27511



                    Lauren Manner
                    3910 james paul avenue
                    Las Vegas, NV 89104



                    Lauren Pendergraft
                    16120 STUEBNER AIRLINE RD.
                    209
                    SPRING, TX 77379



                    Lauren Queen
                    8021 BEAVER LAKE DR
                    SAN DIEGO, CA 92119



                    Lauren Sealock
                    4707 CITY VIEW DR
                    FOREST PARK, GA 30297



                    Lauren Zimmer
                    546 VIA FONTANA DRIVE
                    101
                    ALTAMONTE, FL 32714



                    Laurent Cruz
                    3719 AMADOR CT
                    CHINO, CA 91710
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1299 of
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                    Laurenza Chacon
                    315 ASSOCIATED RD
                    1304
                    BREA, CA 92821



                    Lauretha Knight
                    P.o. Box 915
                    Lake Hughes, CA 93532



                    LAURIE WILLIAMS
                    1963 VISCOUNTI COVE
                    SANDY, UT 84093



                    Lauryn Brown
                    4915 WATERFORD WAY
                    ANTIOCH, CA 94531



                    Lauryn Dyer
                    2206 CLUB PLACE
                    2206
                    DULUTH, GA 30096



                    LAVENDER HEALTH CARE OF FLORIDA LLLP
                    2901 SOUTH TAMIAMI TRAIL
                    SARASOTA, FL 34239



                    Lavh Ellis
                    4343 N. AUSTRALIAN AVE.
                    WEST PALM BEACH, FL 33407



                    LAVI INDUSTRIES
                    27810 AVENUE HOPKINS
                    C/O ACCOUNTS RECEIVABLE
                    VALENCIA, CA 91355



                    Lavita Sanon
                    321 NE 1ST COURT
                    102
                    HALLANDALE BEACH, FL 33009
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                    LAW OFFICES OF AARON B BOOTH
                    1055 WEST 7TH STREET STE 2800
                    LOS ANGELES, CA 90017



                    LAW OFFICES OF JOSEPH R MANNING JR APC
                    4667 MACARTHUR BLVD STE 150
                    CLIENT TRUST ACCOUNT
                    NEWPORT BEACH, CA 92660



                    Lawrence flanders
                    2905 LEXINGTON ST
                    SARASOTA, FL 34231



                    Lawrence Fulmore
                    3133 GRANDIFLORA DR.
                    GREENACRES, FL 33467



                    LAWRENCE RAIFORD
                    1017 EXETER A
                    BOCA RATON, FL 33434



                    Lawrence Taylor
                    8110 NW 21 ST
                    SUNRISE, FL 33322



                    Lawrence Wilson
                    1418 Morrison Rd
                    Leesburg, FL 34748



                    Layda Fuenmayor
                    14633 Par Club Cir
                    Tampa, FL 33618



                    Layla Dominguez
                    1549 LEXINGTON CT.
                    CAMARILLO, CA 93010
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1301 of
                                      2164



                    LAZ   KARP ASSOCIATES LLC
                    100   N LA CIENEGA BLVD
                    C/O   PARKING OFFICE
                    LOS   ANGELES, CA 90048



                    Lazara Beltran
                    304 LIME TREE RD APT B
                    TAMPA, FL 33619



                    Lazara Guerrero
                    2720 INDIANA ST NE
                    ALBUQUERQUE, NM 87110



                    Lazaro Jimenez
                    707 S Dixie Ave
                    Fruitland Park, FL 34731



                    Lazaro Miguel De Las Cagigas Mas
                    19934 Sw 123 Ave.
                    Miami, FL 33177



                    LBCC PNK
                    4901 EAST CARSON STREET
                    LONG BEACH, CA 90808



                    LDN CONSULTING INC
                    42428 CHISOLM TRAIL
                    MURRIETA, CA 92562



                    LE CREUSET OF AMERICA INC
                    PO BOX 277408
                    ATLANTA, GA 30384-7408



                    Le Creuset Of America, Inc.
                    P.O. Box 277408
                    Atlanta, GA 30384-7408
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1302 of
                                      2164



                    LEA A AND A ENTERPRISES INC
                    2152 NE 162ND ST
                    N MIAMI BEACH, FL 33162



                    Leah Camarena
                    4683 SHAW BLVD
                    WESTMINSTER, CO 80031



                    Leah Davis
                    6041 SW CANBY ST
                    PORTLAND, OR 97219



                    Leah Hudson
                    23411 HIGHCREST RD
                    DANA POINT, CA 92629



                    Leah Nipper
                    3309 27TH ST SW
                    LEHIGH ACRES, FL 33976



                    Leah Omps
                    8461 Faucet Avenue
                    Las Vegas, NV 89147



                    Leah Pompa
                    1819 N GRAPE AVE
                    COMPTON, CA 90222



                    LEAH SHEVYAKOV
                    82ND STREET
                    VANCOUVER, WA 98682



                    Leah Skromme
                    3906 E TANGLEWOOD DR
                    PHOENIX, AZ 85048
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1303 of
                                      2164



                    Leah Stringer
                    14086 SW EAGLES VIEW DRIVE
                    TIGARD, OR 97224



                    Leah Young
                    2102 D STREET
                    ANTIOCH, CA 94509



                    Leah-marie Maneely
                    1839 SW 4TH AVE
                    FORT LAUDERDALE, FL 33315



                    Leandro Medina
                    4733 W WATERS AVE APT 1225
                    1225
                    TAMPA, FL 33614



                    Leanna Fleischman
                    1683 S BLACKHAWK WAY
                    UNIT E
                    AURORA, CO 80012



                    Leanna Loprete
                    10494 SAN RAMON DRIVE
                    SAN DIEGO, CA 92126



                    LEARNING AND FAMILIES INC
                    5317 FRUITVILLE RD
                    SARASOTA, FL 34232



                    LEARNING AND FAMILIES INC
                    5317 FRUITVILLE RD
                    SARASOTA
                    FL, 34232



                    Leces Petit
                    23 Pleasant Hill Inn
                    Tamarac, FL 33319
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1304 of
                                      2164



                    Leddjna Horat
                    5909 TRIPHAMMER RD
                    LAKE WORTH, FL 33463



                    LEE AND JEAN BARHAM
                    5317 MITCHELL TOWN RD
                    YOUNGSVILLE, NC 27596



                    LEE COUNTY SHERIFFS OFFICE FALSE ALARM R
                    14750 SIX MILE CYPRESS PARKWAY
                    FORT MYERS, FL 33912



                    LEE COUNTY TAX COLLECTOR
                    P.O. BOX 1549
                    FORT MYERS, FL 33902-1549



                    LEE COUNTY TAX COLLECTOR
                    PO BOX 1609
                    FORT MYERS, FL 33902-1609



                    LEE COUNTY UTILITIES
                    PO BOX 60045
                    PRESCOTT, AZ 86304-6045



                    Lee Kum Kee (Usa) Inc
                    14841 Don Julian Road
                    City Of Industry, CA 91746



                    LEE KUM KEE (USA) INC
                    169 Stewart Ave
                    Brooklyn, NY 11237



                    Leeann DeCroo
                    819 SOUTH WHEELING STREET
                    AURORA, CO 80012
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                                      2164



                    Leeann Koffman
                    1397 Mission Dr West
                    Clearwater, FL 33759



                    Leelie Diaz
                    3401 AZTEC RD NE
                    D
                    ALBUQUERQUE, NM 87107



                    Leema Sherzai
                    1 MONROE Street
                    Apt 93
                    IRVINE, CA 92620



                    Leen elmomani
                    7448 CHAMANGE PLACE
                    BOCA RATON, FL 33433



                    Leenardia Worthen
                    1223 PAMELA ST. APT.10
                    10
                    LEESBURG, FL 34748



                    LEGACY AIR INC
                    3529 E WOOD ST
                    PHOENIX, AZ 85040



                    LEGACY CHURCH
                    9019 PARK PLAZA DRIVE SUITE CC
                    LA MESA, CA 91942



                    LEGAL TAX SERVICE, INC.
                    P.O. BOX 10060
                    PITTSBURGH, PA 15236-6060



                    Leidis Rojas
                    15290 Sw 301 St
                    Homestead, FL 33033
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1306 of
                                      2164



                    Leighlani Sanchez
                    8112B OAK TRACE WAY
                    TAMPA, FL 33634



                    Leilani Camacho
                    10202 FORUM PARK
                    68
                    HOUSTON, TX 77036



                    Leilanie Guiang
                    10460 MAYA LINDA ROAD
                    F111
                    SAN DIEGO, CA 92126



                    Leisli Velasquez
                    11525 CLEWS RANCH RD
                    SAN DIEGO, CA 92130



                    LEISURE WORLD COMMUNITY ASSOCIATION INC
                    908 S POWER RD
                    MESA, AZ 85206



                    Leland Bolden
                    1033 S LONGMORE ROAD
                    MESA, AZ 85202



                    Lemel Stephenson
                    2055 BARRET LAKE
                    KENNESAW, GA 30144



                    LEMON AVE ELEMENTARY PTA
                    8787 LEMON AVE
                    LA MESA, CA 91941



                    Lena Roemer
                    590 Se 12th St
                    Apt 204
                    Dania Beach, FL 33004
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                    LENNING GOMEZ
                    706 SE COTTAGE COURT
                    LEES SUMMIT, MO 64063



                    LENNOX INDUSTRIES INC
                    PO BOX 910549
                    DALLAS, TX 75391-0549



                    Lenny Jaracuaro
                    201 E ACACIA ST
                    APT D
                    BREA, CA 92821



                    LENOVO UNITED STATES INC
                    PO BOX 643055
                    PITTSBURGH, PA 15264-3055



                    LENOX BOOSTER CLUB
                    21200 NW ROCK CREEK BLVD
                    PORTLAND, OR 97229



                    LEO G MAREK
                    11727 29TH STREET
                    SANTA FE, TX 77510



                    Leo Labossiere
                    10901 Verawood Dr
                    Riverview, FL 33579



                    Leo Lippincott
                    18806 SHENANDOAH DR
                    OREGON CITY, OR 97045



                    LEO PALLASCH
                    110 HINKLE LN
                    SCHAUMBURG, IL 60193
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1308 of
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                    Leon Clifford
                    11791 128th Av N
                    Largo, FL 33778



                    Leon Stephens
                    3310 KENTWOOD DR.
                    SPRING, TX 77380



                    Leonard Broussard
                    2257 Ironton
                    Aurora, CO 80010



                    Leonard Munoz
                    1262 S. CRAYCROFT RD
                    E114
                    TUCSON, AZ 85711



                    Leonard Munoz
                    4114 N. 1st Ave
                    Tucson, AZ 85719



                    Leonard Shaw
                    641 105TH AVE
                    NAPLES, FL 34108



                    Leonardo Aranda
                    4484 LULLABY LN
                    SAN JOSE, CA 95111



                    Leonardo Cruz
                    7861 COMPASS DRIVE
                    ORLANDO, FL 32810



                    Leonardo Mateo
                    832 100TH AVE N.
                    NAPLES, FL 34108
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1309 of
                                      2164



                    Leonardo Retama
                    4431 MT. CASTLE AVE.
                    SAN DIEGO, CA 92117



                    Leonardo Rivera Tapia
                    2340 W 58TH AVE
                    DENVER, CO 80221



                    Leonardo Robortella
                    14800 DEL MORROW WAY
                    ORLANDO, FL 32824



                    Leonardo Rodriguez
                    10200 N ARMENIA AVE
                    1304
                    TAMPA, FL 33612



                    Leonardo Romo
                    143 CHALES ST
                    SUNNYVALE, CA 94086



                    Leonardo Saravia
                    9810 HAMMOCKS BLVD
                    103
                    MIAMI, FL 33196



                    Leonce Obei
                    1551 Ne Dr
                    Apt 126
                    Miami Gardens, FL 33179



                    Leondre Andrews
                    18969 Sw Wildcat Ln
                    Aloha, OR 97007



                    Leonel Espinoza
                    1484 MENDOCINO WAY
                    PERRIS, CA 92571
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                                      2164



                    Leonel Guzman
                    5100 E TROPICANA AVE
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                    LAS VEGAS, NV 89122



                    Leonel Salazar
                    796 Minerva St
                    Hayward, CA 94544



                    Leonicia Cocolezi
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                    Santa Ana, CA 92707



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                    432 DOMINGUEZ WAY
                    19
                    EL CAJON, CA 92021



                    Leonila Castaneda
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                    San Diego, CA 92117



                    Leonila Palma
                    8215 n Oracle rd
                    APT# 191
                    Oro Valley, AZ 85704



                    Leonine Sampson
                    17950 LASSEN ST.
                    NORTHRIDGE, CA 91330



                    Leonor Ocegueda
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                    Montclair, CA 91763



                    Leonor Vasquez
                    2251 S. Memphis St
                    Aurora, CO 80013
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                    Leovia Spivey
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                    San Jose, CA 95127



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                    2926 W.ALICE AVE
                    PHOENIX, AZ 85051



                    Leprino Foods Company
                    Lockbox #774484
                    4484 SOLUTIONS CENTER
                    Chicago, IL 60677-4004



                    LEPRINO FOODS COMPANY
                    LOCK BOX 774484
                    4484 SOLUTIONS CENTER
                    CHICAGO, IL 60677-4004



                    Lerone Perry
                    4902 N MACDILL
                    1104
                    TAMPA, FL 33614



                    Leroy Romero
                    6738 HOOKER ST
                    DENVER, CO 80221



                    Lesaffre Yeast Corporation
                    Department 59932
                    Milwaukee, WI 53259-0932



                    Lesaffre Yeast Corporation
                    Department 59932
                    Milwaukee
                    WI, 53259-0932
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                    Lesbia Geraldine Sevilla
                    5471 VINELAND RD.
                    Apt #7304
                    ORLANDO, FL 32811



                    Lesili iongi
                    4820 SW 170TH AVE
                    BEAVERTON, OR 97078



                    Lesley B. Mason
                    1548 S CHRISTY LANE
                    LAS VEGAS, NV 89142



                    LESLEY CASSATTA
                    1716 W 59TH ST
                    LOS ANGELES, CA 90047



                    Lesley Chavez Cisneros
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                    COACHELLA, CA 92236



                    Lesley Mason
                    1548 S CHRISTY LANE
                    LAS VEGAS, NV 89142



                    Lesley Ramirez
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                    RANCHO CUCAMONGA, CA 91730



                    Lesli Fernandez
                    2264 NEWQUIST CT
                    CAMARILLO, CA 93010



                    Leslie Avellaneda
                    12807 Sunset Dune Dr
                    Houston, TX 77082
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1313 of
                                      2164



                    Leslie Becerra
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                    SANTA ANA, CA 92707



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                    477 E. HURSTVIEW AVE.
                    MONROVIA, CA 91016



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                    OXNARD, CA 93033



                    Leslie Diaz
                    1150 E HERNDON AVE
                    136
                    FRESNO, CA 93720



                    LESLIE DORHAM
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                    LAWRENCEVILLE, GA 30049



                    Leslie Espinoza
                    9009 W VERNON AVE
                    PHOENIX, AZ 85037



                    Leslie Guillen
                    628 WEST 7TH AVE
                    ESCONDIDO CA, CA 92025



                    Leslie Ibuado
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                    06-303
                    ALBUQUERQUE, NM 87111



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                    5110 Sw 26th Ave
                    Fort Lauderdale, FL 33312
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1314 of
                                      2164



                    Leslie Jones
                    8380 ROSWELL ROAD
                    #E
                    SANDY SPRINGS, GA 30350



                    Leslie Lomeli
                    2152 6TH ST
                    SARASOTA, FL 34237



                    Leslie Mendoza
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                    HOUSTON, TX 77080



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                    237
                    BEAVERTON, OR 97003



                    Leslie Paez
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                    CASTAIC, CA 91384



                    Leslie Payne
                    4824 COLISEUM ST
                    #1
                    LOS ANGELES, CA 90016



                    Leslie Perez
                    5339 KAHLUA
                    14
                    TEMPLE CITY, CA 91776



                    Leslie Sierra
                    1620 Edgewood Drive
                    Alhambra, CA 91803
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1315 of
                                      2164



                    Lesly Gomez-Maldonado
                    4883 ROSWELL RD
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                    ATLANTA, GA 30342



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                    1539 1/2 CAMBRIA ST
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                    Lesly Paz
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                    LAS VEGAS, NV 89108



                    Lessley Torres
                    3733 Gatty St
                    San Diego, CA 92154



                    Lessli Maldonado
                    916 N FIG ST
                    G
                    ESCONDIDO, CA 92026



                    Lester Balaoing
                    10967 SWANSEA PL
                    SAN DIEGO, CA 92126



                    Lester Ealey
                    4332 DEERBROOK WAY
                    LILBURN, GA 30047



                    Lester Lewis
                    7155 PORTIA CT
                    LAS VEGAS, NV 89113



                    Lester Riley
                    535 SEASONS PKWY
                    NORCROSS, GA 30093
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1316 of
                                      2164



                    Leticia Acosta
                    4183 Highland
                    Apt 8
                    San Diego, CA 92105



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                    5620 NW 183RD AVE
                    APT. D
                    PORTLAND, OR 97229



                    Leticia Contreras
                    1342 S. Baker St.
                    Santa Ana, CA 92707



                    Leticia hernandez
                    1935 S BROADWAY
                    ESCONDIDO, CA 92025



                    Leticia Lopez
                    10313 Westminster Ave
                    Garden Grove, CA 92843



                    Leticia Romero
                    20741 SAWGO DR
                    PERRIS, CA 92570



                    Leticia Salazar
                    27899 IOWA STREET
                    BONITA SPRINGS, FL 34135



                    Letus Gerome
                    5744 HARBOR CHASE CIR
                    APT 2
                    ORLANDO, FL 32839



                    LEUKEMIA AND LYMPHOMA SOCIETY
                    101 MONTGOMERY ST STE 750
                    STRATFORD SCHOOL
                    SAN FRANCISCO, CA 94104
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                                      2164



                    LEUKEMIA AND LYMPHOMA SOCIETY
                    5740 S EASTERN AVE STE 245
                    LAS VEGAS, NV 89119



                    Levanial Hinson
                    2118 5th Street
                    SARASOTA, FL 34237



                    LEVEL 3 COMMUNICATIONS LLC
                    PO BOX 910182
                    DENVER, CO 80291-0182



                    Levi Barela
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                    ANAHEIM, CA 92805



                    Levi Mccollum
                    3200 McLeod Dr. Apt. 151
                    Las Vegas, NV 89121



                    Levi Smith
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                    RANCHO CUCAMONGA, CA 91730



                    Levi Yi
                    7242 E. CALLE CUERNAVACA
                    TUCSON, AZ 85710



                    LEVIS JCC
                    9801 DONNA KLEIN BLVD
                    BOCA RATON, FL 33428



                    LEVON AT CAMARILLO
                    200 EAST CARRILLO STREET STE 2
                    SANTA BARBARA, CA 93101
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1318 of
                                      2164



                    Lewin Prehay
                    7930 FAIRCHILD AVE
                    WINNETKA, CA 91306



                    Lewis Dorceus
                    1215 Crossings Drive
                    Lithia Springs, GA 30122



                    LEWIS MIDDLE SCHOOL FOUNDATION
                    5170 GREENBRIER AVE
                    LEWIS MIDDLE SCHOOL FOUNDATION
                    SAN DIEGO, CA 92120



                    LEWIS MIDDLE SCHOOL FOUNDATION
                    5170 GREENBRIER AVE
                    LEWIS MIDDLE SCHOOL FOUNDATION
                    SAN DIEGO
                    CA, 92120



                    Lewis Payne Jr
                    2230 CASCADE BLVD
                    207
                    KISSIMMEE, FL 34741



                    Lewis Robertson
                    3684 S WINTER LN UNIT 101
                    GILBERT, AZ 85297



                    LEWKOWITZ LAW OFFICE PLC
                    2600 N CENTRAL AVE #1775
                    PHOENIX, AZ 85004



                    Lexaira Avendano
                    823 40th st
                    San Diego, CA 92102



                    Lexis Rehme
                    42258 71ST W
                    LANCASTER, CA 93536
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1319 of
                                      2164



                    Lexy M. Padilla
                    4460 SHAW BLVD.
                    WESTMINSTER, CO 80031



                    Lexy Padilla
                    4460 SHAW BLVD.
                    WESTMINSTER, CO 80031



                    Leyana Smith
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                    Aurora, CO 80010



                    Lezea Brown
                    2153 S. RAVEN CIRCLE
                    MESA, AZ 85209



                    LEZLI CAMACHO
                    23592 WINDSONG
                    50G
                    ALISO VIEJO, CA 92656



                    LFUCG, DIVISION OF REVENUE
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                    LIADO
                    PO BOX 7487
                    CLEARWATER, FL 33758



                    LIADO
                    PO BOX 7487
                    CLEARWATER
                    FL, 33758



                    Liam Clark
                    237 TIMBERLANE DR
                    PALM HARBOR, FL 34683
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1320 of
                                      2164



                    Liam Griffin
                    513 MAGNOLIA AVENUE
                    PALM HARBOR, FL 34683



                    Lianna Guerrero
                    149 RANDIA DRIVE
                    ORLANDO, FL 32807



                    Lianna Mah
                    968 SW 199TH AVE
                    BEAVERTON, OR 97006



                    LIAZON CORPORATION
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                    DEPARTMENT 428
                    BUFFALO, NY 14267



                    Liban Issak
                    4743 E 2ND ST
                    TUCSON, AZ 85711



                    Libertad Ocasio
                    431 EXECUTIVE CENTER DRIVE
                    WEST PALM BEACH, FL 33401



                    LIBERTY POWER HOLDINGS
                    25901 NETWORK PL
                    CHICAGO, IL 60673-1259



                    Liberty Property Limited
                    P.O. Box 828438
                    Philadelphia, PA 19182-8438



                    LIBERTY PROPERTY LIMITED
                    PO BOX 828438
                    PHILADELPHIA, PA 19182-8438
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1321 of
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                    Liberty Property Limited Partnership
                    One Glenlake Pkwy.
                    Ste. 700
                    Atlanta, GA 30328



                    Librado Garcia
                    11152 W Elm. Ln
                    Avondale, AZ 85323



                    Lidia Caro
                    3500 GRANADA AVE
                    126
                    SANTA CLARA, CA 95051



                    Lidia haile
                    5450 DEMARCUS BLVD
                    441
                    DUBLIN, CA 94568



                    Lidia Heredia
                    12931 CENTRAL NE
                    ALBUQUERQUE, NM 87123



                    Lidia Jankly
                    2145 N GRAND OAKS AVE
                    ALTADENA, CA 91001



                    Lidia Rios
                    5711 CALMOR AVE
                    #2
                    SAN JOSE, CA 95123



                    Lidia Solano
                    13177 Tonopah St
                    Arleta, CA 91331



                    LIDIETH VIQUEZ GONZALEZ
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                    LIFEHOUSE PRESCHOOL
                    18355 ROSCOE BLVD
                    NORTHRIDGE, CA 91325



                    LIFESAFETY MANAGEMENT INC
                    2017 CORPORATE DR
                    BOYNTON BEACH, FL 33426



                    LIFEWAY CHURCH
                    1120 HIGHLAND DRIVE
                    VISTA, CA 92083



                    LIFT STATIONS R US
                    5511 NW 37TH AVE
                    MIAMI, FL 33142



                    LIGHT BULBS UNLIMITED
                    1100 W FAIRBANKS AVE
                    WINTER PARK, FL 32789



                    LIGHT BULBS UNLIMITED
                    6203-B W SAND LAKE RD
                    ORLANDO, FL 32819



                    LIGHT BULBS UNLIMITED
                    4275 W OKEECHOBEE BLVD
                    WEST PALM BEACH, FL 33409



                    LIGHT CAMERA DISCOVR
                    325 E SOUTHERN AVE 106
                    TEMPE, AZ 85282



                    LIGHTHOUSE PRESCHOOL
                    838 N. EUCLID ST.
                    FULLERTON, CA 92832
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1323 of
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                    Lilia Arredondo
                    6502 E GOLF LINKS RD
                    E220
                    TUCSON, AZ 85730



                    Lilia Hernandez
                    5554 BILLINGS
                    DENVER, CO 80239



                    Lilia Ocampo
                    1101 S. Minnie St
                    #2
                    Santa Ana, CA 92701



                    Lilia Ortega
                    427 Balham Ave.
                    La Puente, CA 91744



                    Lilia Pena
                    10014 2nd St Nw
                    Spc #38
                    Albuquerque, NM 87114



                    Lilian Larbi
                    641 POTOMAC ST
                    APT B113
                    AURORA, CO 80011



                    Lilian N. Pinto
                    2504 SIENA WAY VALRICO FL
                    VALRICO, FL 33596



                    Lilian Pinto
                    2504 SIENA WAY VALRICO FL
                    VALRICO, FL 33596



                    Liliana Aguayo
                    2024 N 70ST
                    SCOTTSDALE, AZ 85257
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1324 of
                                      2164



                    Liliana espinoza
                    97 SANGER PL.
                    SAN YSIDRO, CA 92173



                    Liliana Gomez
                    6212 BEADNELL WAY
                    2A
                    SAN DIEGO, CA 92117



                    Liliana Llanos
                    7018 ALMENA STREET
                    ORLANDO, FL 32818



                    Liliana lopez
                    2851 S DECATUR BLVD APT 72
                    72
                    LAS VEGAS, NV 89102



                    Liliana Monterroza
                    1058 ELKELTON BLVD
                    28
                    SPRING VALLEY, CA 91977



                    Liliana Patino
                    5104 DOMINICA DR
                    KISSIMMEE, FL 34746



                    Liliana Rodriguez
                    2281 WYANDOT DR
                    DENVER, CO 80221



                    Liliana valle
                    547 ASTER STREET
                    547
                    ESCONDIDO, CA 92027



                    Lillian Sanchez
                    932 Silver Lake Dr
                    Acworth, GA 30102
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1325 of
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                    Lillian Summers
                    1106 W. BELL RD
                    2154
                    PHOENIX, AZ 85023



                    Lillie-ann Billinger
                    9350 UTICA ST
                    WESTMINSTER, CO 80031



                    Lillyann M. Uata




                    Lily Blanchard
                    1505 MARLBAROUGH AVE
                    LOS ALTOS, CA 94024



                    LILY CHAVARRIA
                    7219 HOUSMAN APT A
                    HOUSTON, TX 77055



                    Lily McVicker
                    1100 PLUM CREEK PKWY BLDG 1
                    202
                    CASTLE ROCK, CO 80104



                    Lily Ward
                    324 WYMORE ROAD
                    101
                    ALTAMONTE SPRINGS, FL 32714



                    Lily Whisnant
                    3203 Nebraska Ave.
                    Santa Monica, CA 90404



                    Lime Energy
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                    LIMESTONE SWEET LLC
                    200 S BISCAYNE BLVD 7TH FL
                    MIAMI, FL 33313



                    Limestone Sweet, LLC
                    Attn: Fred Chikovsky Group Kirkman, LLC
                    2300 NW Corporate Blvd.
                    Ste. 141
                    Boca Raton, FL 33431



                    Limestone Sweet, LLC
                    c/o Orion Investment & Management
                    200 S. Biscayne Blvd.
                    7th Fl.
                    Miami, FL 33131



                    linbania luz romero
                    2621 E KELTON LN
                    PHOENIX, AZ 85032



                    Linda Blackshaw
                    7846 Primula Ln
                    New Port Richey, FL 34654



                    Linda Blitstein
                    3632 S Perth Cir
                    #101
                    Aurora, CO 80013



                    LINDA BOOKER
                    6005 SUNSET LAKE ROAD
                    FUQUAY VARINA, NC 27526



                    Linda Dedios
                    13130 Carriage Rd
                    Apt 33
                    Poway, CA 92064
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1327 of
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                    Linda Duarte
                    3982 STONERIDGE DR
                    8
                    PLESANTON, CA 94588



                    Linda Partida
                    3048 MELBOURNE DR
                    SAN DIEGO, CA 92123



                    Linda Peinado
                    1851 N GREEN VALLEY PKWY
                    3722
                    LAS VEGAS, NV 89074



                    Linda Rodriguez
                    18163 E BELLEWOOD DR
                    AURORA, CO 80015



                    Linda Seesman
                    381 GRANTHAM F
                    DEERFIELD BEACH, FL 33442



                    Linda Turner
                    130 NE 70 STREET
                    20
                    MIAMI, FL 33138



                    LINDA VISTA ADVENTIST ELEMENT
                    5050 PERRY WAY
                    OXNARD, CA 93036



                    Lindsay Stone
                    3932 JEWELL ST.
                    N102
                    SAN DIEGO, CA 92109



                    LINDSAY STONE
                    3932 JEWELL ST N120
                    SAN DIEGO, CA 92109
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1328 of
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                    Lindsey Bryant
                    5649 E. Hawthorne St
                    Tucson, AZ 85711



                    LINDSEY BRYANT
                    5649 E HAWTHORNE ST
                    TUCSON, AZ 85711



                    LINDSEY LYSTAD
                    753 SALVESON RD
                    BREA, CA 92821



                    LINDSEY LYSTAD
                    753 SALVESON RD
                    BREA
                    CA, 92821



                    Lindsey Mewborn
                    1229 45TH STREET
                    SARASOTA, FL 34234



                    Lindsey Romero
                    9334 W Brown St
                    Peoria, AZ 85345



                    Lindsey Tran
                    9708 GLANDON ST
                    BELLFLOWER, CA 90706



                    Lindy Baca
                    1101 Dumont Blvd.
                    64
                    LAS VEGAS, NV 89169



                    Lindy Girardelli
                    1351 CALAIS AVE
                    LIVERMORE, CA 94550
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                    LINH NGUYEN
                    6214 DRIFTER DR
                    SAN JOSE, CA 95123



                    Linh Tran
                    2646 Puccini Ave
                    San Jose, CA 95122



                    Lino Pena
                    4164 Portola Ave.
                    Los Angeles, CA 90032



                    Linsey Acosta
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                    MIRAMAR, FL 33027



                    Linval Cohoone
                    2111 MAPLE AVE
                    SARASOTA, FL 34234



                    Liona Jerselle Punzalan
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                    UNION CITY, CA 94587



                    Liquid Environmental
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                    DALLAS, TX 75373-3372



                    LIQUID ENVIRONMENTAL SOLUTIONS
                    CORPORATION
                    PO BOX 733372
                    DALLAS, TX 75373-3372



                    LIQUID ENVIRONMENTAL SOLUTIONS OF TEXAS
                    PO BOX 733372
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                    LIQUID ENVIRONMENTAL SOLUTIONS OF TEXAS
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                    TX, 75373-3372



                    Lisa Butler
                    1303 CONSTITUTION RD
                    ATLANTA, GA 30316



                    Lisa Cobern
                    3358 OLD TRAIL COURT
                    KENNESAW, GA 30144



                    Lisa Corbett
                    11942 Centralia Rd
                    Hawaiian Gardens, CA 90716



                    Lisa Ebner
                    3728 Eagle St
                    San Diego, CA 92103



                    Lisa FOSCHI
                    9254 W MORROW DR
                    PEORIA, AZ 85382



                    Lisa Gomez
                    342 ROOSEVELT STREET
                    CHULA VISTA, CA 91910



                    Lisa Jimenez
                    5810 AMAYA DR
                    5D
                    LA MESA, CA 91942



                    LISA JOHNSON
                    340 W 32ND ST APT 314
                    YUMA, AZ 85364
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                    LISA KRASINSKI
                    4209 LA PASIDA LANE
                    NEW PORT RICHEY, FL 34655



                    LISA LANNIELLO
                    4249 GOLF CLUB LN
                    TAMPA, FL 33618



                    Lisa Montiel
                    1446 Morse St
                    San Bernardino, CA 92404



                    Lisa Patten
                    1515 W WETMORE ROAD
                    TUCSON, AZ 85705



                    Lisa Quincey
                    5545 MORRO WAY
                    F3
                    LA MESA, CA 91942



                    Lisa Reed
                    2107 Ipsen Way
                    Placentia, CA 92870



                    Lisa Trujillo
                    1796 Belspring Ave
                    Deltona, FL 32725



                    Lisandra Rodriguez Fajardo
                    373 NOTRE DAME DR.
                    ALTAMONTE SPRINGS, FL 32714



                    Lisbeth Echeverria
                    4201 SPRING ST
                    19
                    LA MESA, CA 91941
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                    Lisbeth Galvan
                    8730 LEMON AVE
                    LA MESA, CA 91941



                    Lisbeth Lopez
                    132 San Angelo Ave
                    La Puente, CA 91746



                    Lisbeth Urieta
                    230 Waldo Ave
                    Fullerton, CA 92833



                    Lisbey Valladares
                    3500 TANGLE BRUSH DR
                    177
                    THE WOODLANDS, TX 77381



                    Lisematte Geffrard
                    3600 Nw 21st
                    Unit 103
                    Lauderdale Lakes, FL 33311



                    Lissette Alers
                    4131 W colter street
                    Phoenix, AZ 85019



                    Lissette Monroy
                    6121 DIAMOND ST
                    PALMDALE, CA 93552



                    Lita Clairinvil
                    3402 RIVERSIDE DR
                    APT 1
                    CORAL SPRING, FL 33065



                    Litong Zeng
                    34643 GREENSTONE COMMON
                    FREMONT, CA 94555
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                    LITTLE SUNSHINE HOUSE - LINDEN
                    525 E 7TH ST
                    LONG BEACH, CA 90802



                    LITTLER MENDELSON PC
                    PO BOX 45547
                    SAN FRANCISCO, CA 94145-0547



                    Litza Quijano
                    3745 VALLEY BLVD SPACE 113
                    WALNUT, CA 91789



                    Litzi Cruz
                    4106 Lake Blvd
                    Oceanside, CA 92056



                    LIVELY DISTRIBUTING INC
                    2633 W CYPRESS ST
                    PHOENIX, AZ 85009



                    LIVELY DISTRIBUTING INC
                    2633 W CYPRESS ST
                    PHOENIX
                    AZ, 85009



                    LIVESHOPPER LLC
                    129 E CRAWFORD STREET
                    FINDLAY, OH 45840



                    Livier orozco
                    2945 DAMICO DR
                    SAN JOSE, CA 95148



                    Liwen Zhao
                    9065 GOLD COAST DR
                    San Diego, CA 92126
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                                      2164



                    LIWEN ZHAO
                    10296 CAMINO RUIZ APT 11
                    SAN DIEGO, CA 92126



                    Liz Gomez
                    6713 KELLY ST
                    B
                    SAN DIEGO, CA 92111



                    Liza Kazin
                    14305 NE 40TH CIR
                    VANCOUVER, WA 98682



                    liza valdivia
                    5926 1/2 GOLDEN WEST AVE.
                    TEMPLE CITY, CA 91780



                    Liza Vin
                    5025 MONTVALE DR.
                    LITTLETON, CO 80130



                    Lizanne Iorio
                    14804 Avenue Of The Groves
                    Apt.11114
                    Winter Garden, FL 34787



                    LIZBETH GARCIA GONZALEZ
                    542 Ella Dr
                    SAN JOSE, CA 95111



                    Lizbeth Gonzales
                    304 N 4TH ST
                    APT C
                    ALHAMBRA, CA 91801



                    Lizbeth Nava
                    1181 PECOS WAY
                    SUNNYAVLE, CA 94089
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1335 of
                                      2164



                    Lizbeth Priego Uriostegui
                    429 CIVIC CENTER DR
                    VISTA, CA 92084



                    Lizbeth Ramirez
                    245 MAGNOLIA AVE
                    92
                    MANTECA, CA 95337



                    Lizbeth Reyes Andriano
                    7525 E GARFIELD ST
                    SCOTTSDALE, AZ 85257



                    Lizbeth Ruiz-Jimenez
                    RANCHO DR
                    253A
                    CHULA VISTA, CA 91911



                    Lizbeth Sanchez
                    1876 E HAYDEN LANE
                    103
                    TEMPE, AZ 85281



                    Lizbeth Sardina-baltazar
                    17036 SW ARBUTUS DR
                    BEAVERTON, OR 97007



                    Lizet Barragan Lopez
                    1349 BELLINGHAM DR
                    SAN JOSE, CA 95121



                    Lizet Lozano
                    14638 ELMCROFT AVE
                    NORWALK, CA 90650



                    Lizeth Cortez
                    914 W PONTIAC WAY
                    FRESNO, CA 93705
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1336 of
                                      2164



                    Lizette Altamirano Cabrera
                    300 SMILAX RD
                    14
                    SAN MARCOS, CA 92069



                    Lizette Cruz
                    5450 MONTEREY HWY SPC 150
                    SAN JOSE, CA 95111



                    Lizola Breazell
                    2654 TOY LANE
                    SAN JOSE, CA 95121



                    Lizvette Rodriguez
                    532 Michigan Ave
                    Apt 103
                    Miami Beach, FL 33139



                    LLOYD MOSLEY




                    Lloyd Pidich Jr
                    16052 DAWNVIEW DR
                    TAMPA, FL 33624



                    Lloyd Steele
                    1 Oak Ct
                    Ocala, FL 34472



                    Lluvia Lizarraga
                    1439 W. Maplegrove
                    West Covina, CA 91792



                    Lluvia Morales
                    13800 PARKCENTER LANE
                    610
                    TUSTIN, CA 92782
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                    Lluvia Rojas Garcia
                    814 San Petronio Ave.
                    Sunnyvale, CA 94085



                    LMACC
                    4203 SPRING GARDENS RD
                    LA MESA, CA 91941



                    LMS BBC
                    10100 VARIEL AVE
                    CHATSWORTH, CA 91311



                    LMS BBC
                    10100 VARIEL AVE
                    CHATSWORTH
                    CA, 91311



                    Loan Geraci
                    840 WILLIAMS WAY
                    2
                    MOUNTAIN VIEW, CA 94040



                    LOCKTON COMPANIES
                    PO BOX 802707
                    C/O COMMERCE BANK
                    KANSAS CITY, MO 64180-2707



                    Logan Asperin
                    340 COMMONS PARK DR
                    CAMARILLO, CA 93012



                    Logan Cadle
                    1703 MAIN STREET
                    VALRICO, FL 33594



                    LOGAN CO TREASURER OCCUPATIONA
                    P.O. BOX 236
                    RUSSELLVILLE, KY 04227-6236
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                    Logan Ferrera
                    4220 E ORCHID LANE
                    GILBERT, AZ 85296



                    Logan Forde
                    444 S. MADRONA AVE
                    BREA, CA 92821



                    Logan Haynie
                    439 E CAMINO NUBES BLANCAS
                    SAHUARITA, AZ 85629



                    Logan Lewis
                    6608 TIERRA VISTA AVE NW
                    ALBUQUERQUE, NM 87120



                    Logan Mcnamara
                    2773 Merlin Way
                    Clearwater, FL 33761



                    Logan Robinson
                    1521 E WINDSOR RD GLENDALE CA
                    12:00 AM
                    GLENDALE, CA 91205



                    Logan Wilson
                    14013 Ne 31st Ct
                    Vancouver, WA 98686



                    Logan Worrell
                    5600 Sw Florida St
                    Portland, OR 97219



                    Loikesha Chee
                    4211 East Bighorn Avenue
                    Phoenix, AZ 85044
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                                      2164



                    Lois Bishop
                    3929 W. INDIANOLA
                    PHOENIX, AZ 85014



                    Lokinder Kaur
                    8192 CALIFORNIA ST.
                    BUENA PARK, CA 90621



                    LOLLICUP USA INC
                    6185 KIMBALL AVE
                    CHINO, CA 91708



                    Lollicup Usa Inc.
                    6185 Kimball Ave
                    Chino, CA 91708



                    LOMA ELEMENTARY PTA
                    10355 LOMA LANE
                    SPRING VALLEY, CA 91978



                    LOMA LINDA ACADEMY
                    10656 ANDERSON ST
                    LOMA LINDA, CA 92354



                    LOMA PORTAL FOUNDATION
                    3341 BROWNING ST
                    SAN DIEGO, CA 92106



                    LOMA RIDGE ELEMENTARY PTA
                    500 TOMATO SPRINGS
                    IVINE, CA 92618



                    LOMARENA ELEMENTARY PTA
                    25100 EARHART
                    LAGUNA HILLS, CA 92653
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1340 of
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                    LOMELIS AND ASSOCIATES INC
                    26162 COTTONWOOD ST
                    MURRIETA, CA 92563



                    Lona Dorcelus
                    9940E WATERMILL CIR
                    BOYNTON BEACH, FL 33437



                    LONDON LOS ANGELES LLC
                    840 APOLLO ST STE 100
                    EL SEGUNDO, CA 90245



                    LONE TREE ELEMENTARY PTO
                    9375 HERITAGE HILLS CIR
                    LONE TREE, CO 80124



                    LONE TREE ELEMENTARY PTO
                    9375 HERITAGE HILLS CIR
                    LONE TREE
                    CO, 80124



                    LONG BEACH EMBLEM CLUB
                    PO BOX 15208
                    LONG BEACH, CA 90815



                    Long Duong
                    530 FLORENTINE DR
                    SAN JOSE, CA 95123



                    Long Nguyen
                    510 SADDLEBROOK DR
                    330
                    SAN JOSE, CA 95136



                    LONG RANGE SYSTEMS INC
                    PO BOX 671111
                    DALLAS, TX 75267-1111
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1341 of
                                      2164



                    Long Range Systems, Inc.
                    Po Box 671111
                    Dallas, TX 75267-1111



                    Long Range Systems, Inc.
                    Po Box 671111
                    Dallas
                    TX, 75267-1111



                    Lonnie Rodrigues
                    10 Baird Cir
                    Brentwood, CA 94513



                    LOPEZ CARPET CARE INC
                    19108 WELLHAVEN ST
                    CANYON COUNTRY, ECA 91351-0000



                    Lopez Selvin
                    1408 S WILTON PL
                    207
                    LOS ANGELES, CA 90019



                    Lopez sergio
                    6204 NW 194TH ST
                    HIALEAH, FL 33015



                    Loraine maldonado
                    6957 Aloma Ave
                    Apt 104
                    Winter Park, FL 32792



                    Loraine Saupan
                    4525 Torrey Pines Drive
                    Chino Hills, CA 91709



                    LORAN ARLO MOULTON
                    2411 ALPINE MEADOWS AVENUE
                    HENDERSON, NV 89074
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1342 of
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                    Lordia Richemond
                    1155 Ne 137st
                    Apt 503
                    Miami, FL 33161



                    Lorena castro
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                    OXNARD, CA 93030



                    Lorena Dealba
                    7811 SECOND ST
                    2
                    STANTON, CA 90680



                    Lorena Diaz
                    2600 Arville St F-5
                    Las Vegas, NV 89102



                    Lorena Escobedo
                    9417 W. Riverside Ave.
                    Tolleson, AZ 85353



                    lorena garcia gonzalez
                    1160 WINTER WAY
                    PITTSBURG, CA 94565



                    Lorena Gaxiola
                    8613 E Thomas Rd
                    Scottsdale, AZ 85251



                    Lorena Hermosillo
                    7083 CYPRESS POINT COURT
                    SAN JOSE, CA 95139



                    Lorena Hernandez
                    153333 GUNDRY AVE
                    207
                    PARAMOUNT, CA 90723
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1343 of
                                      2164



                    Lorena Pencak
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                    Chula Vista, CA 91910



                    Lorena Reyna
                    171BRANHAM LANE SUITE 10
                    63
                    SAN JOSE, CA 95116



                    Lorena Serrato
                    6216 s. 21st st.
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                    Lorenzo Almiralla
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                    Beaverton, OR 97007



                    LORENZO L. RANKIN
                    15811 PASADENA
                    10
                    TUSTIN, CA 92780



                    Lorenzo Ortiz
                    1777 HESTER AVE
                    APT 13
                    SAN JOSE, CA 95128



                    Lorenzo RANKIN
                    15811 PASADENA
                    10
                    TUSTIN, CA 92780



                    Lorenzo Tupe
                    998 CRESTWOOD COURT
                    SUNNYVALE, CA 94089



                    LORETA JARASIUS
                    2040 MIDDLETON DRIVE
                    WHEATON, IL 60189
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1344 of
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                    Lori bologna
                    8551 SOUTH SLOPE DRIVE
                    SANTEE, CA 92071



                    Lori Hall
                    29344 N Red Finch Drive
                    San Tan Valley, AZ 85143



                    Lori Mellman
                    4186 MOSS OAK PLACE
                    SARASOTA, FL 34231



                    Lori Wise
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                    SANDY SPRING, GA 30350



                    Lorielyn Trinidad
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                    Los Angeles, CA 90004



                    Lorrie Smith
                    27156 Marisa Dr
                    Canyon Country, CA 91387



                    LOS   ALTOS PARENT PRESCHOOL
                    LOS   ALTOS PARENT PRESCHOOL
                    201   COVINGTON ROAD
                    LOS   ALTOS, CA 94024



                    LOS AMIGOS ELEMENTARY SCHOOL
                    8498 NINTH STREET
                    RANCHO CUCAMONGA, CA 91730



                    LOS ANGELES COUNTY DEPARTMENT OF PUBLIC
                    CASHIERS UNIT
                    PO BOX 1460
                    ALHAMBRA, CA 91802
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1345 of
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                    LOS ANGELES COUNTY SHERIFF DEPARTMENT
                    PO BOX 843580
                    LOS ANGELES, CA 90084



                    LOS ANGELES COUNTY WATERWORKS DISTRICTS
                    PO BOX 512150
                    LOS ANGELES, CA 90051-0150



                    LOS ANGELES DEPARTMENT OF WATER
                    PO BOX 30808
                    LOS ANGELES, CA 90030



                    LOS ANGELES PLUMBING AND BACKFLOW TESTIN
                    12698 SCHABARUM AVE
                    IRWINDALE, CA 91706



                    LOS FELIZ CHARTER SCHOOL
                    2709 MEDIA CENTER DRIVE
                    LOS ANGELES, CA 90065



                    LOS PASEOS AQUATIC CLUB
                    7047 VIA RAMADA
                    SAN JOSE, CA 95139



                    LOS PE ASQUITOS ELEMENTARY PTA
                    14125 CUCA ST
                    SAN DIEGO, CA 92129



                    Loubens Pierrelouis
                    351 SW 64th Ave
                    Margate, FL 33068



                    Loudmie Lormejuste
                    6061 Bluestone
                    Lake Worth, FL 33463
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                    Louella Morton
                    2244 South Barcelona Street
                    Spring Valley, CA 91977



                    Louidor Charite
                    4700 Nw 4th Terrace
                    Pompano Beach, FL 33064



                    Louima Dieunoussa
                    1870 Nw 58th Terr
                    Apt. 2
                    City Of Sunrise, FL 33313



                    Louinor Augusma
                    6040 sasa Del Rey Circle
                    Orlando, FL 32809



                    Louis Burgos
                    1110 E PHILADELPHIA STREET
                    1304
                    ONTARIO, CA 91761



                    Louis Diaz
                    987 BURGOYNE ST
                    MOUNTAIN VIEW, CA 94043



                    Louisa Rux
                    15868 S LORA CT.
                    OREGON CITY, OR 97045



                    Louise Barrientos
                    673 W 6TH ST
                    #D
                    TUSTIN, CA 92780



                    LOUISIANA WORKFORCE COMMISSION
                    1001 N. 23RD STREET
                    PO BOX 94050
                    BATON ROUGE, LA 70804-9050
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                    Louisiane Saint Julis
                    4473 17TH PLACE SW
                    NAPLES, FL 34116



                    LOUISVILLE/JEFFERSON REV COM.
                    METRO REVENUE COMMISSION
                    P.O. BOX 35410
                    LOUISVILLE, KY 40232-5410



                    Louivens Narcisse
                    4710 N.E 2ND AVE
                    POMPANO BEACH, FL 33064



                    Loundia Clerjeune
                    5022 SAVANNAH RIVER WY
                    206
                    ORLANDO, FL 32839



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                    4915 TOWN N COUNTRY BLVD.
                    TAMPA, FL 33615



                    Lourdes Ferrera
                    3434 WEST LITTLE YORK
                    2105
                    HOUSTON, TX 77091



                    Lourdes Garcia Lopez
                    1500 ORANGE PLACE
                    20
                    ESCONDIDO, CA 92025



                    Lourdes Negrete
                    17045 Medallion Ave
                    Apt 81
                    Tustin, CA 92780
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                    Louselie Alexis
                    4041 NE 2ND WAY
                    POMPANO BEACH, FL 33064



                    Loveleen Matharu
                    237 E MANCHESTER LN
                    SAN BERNARDINO, CA 92408



                    Lovetee Sayon
                    3355 E Fort Lowell Rd
                    Apt 136
                    Tuscon, AZ 85716



                    LOWER MERION TOWNSHIP
                    TOWNSHIP MANAGER
                    75 EAST LANCASTER AVE
                    ARDMORE, PA 00019-0030



                    LOZANO PLUMBING SERIVCES INC
                    PO BOX 53137
                    RIVERSIDE, CA 92517



                    LOZANO PLUMBING SERIVCES INC
                    PO BOX 53137
                    RIVERSIDE
                    CA, 92517



                    Lozano Plumbing Services Inc
                    Dba Plumbing Master
                    PO BOX 53137
                    Riverside, CA 92517



                    LPF SAN JOSE RETAIL INC
                    25184 NETWORK PLACE
                    CHICAGO, IL 60673-1251
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                    LPF San Jose Retail, Inc.
                    Attn: Asset Manager
                    333 West Wacker Dr.
                    Ste. 2300
                    Chicago, IL 60606



                    LPHSC
                    121 AVENIDA GRANDE
                    SAN JOSE, CA 95139



                    LPHSC
                    121 AVENIDA GRANDE
                    SAN JOSE
                    CA, 95139



                    LQHS GUARD FRIENDS OF MUSIC
                    9421 ENGLAND AVE
                    WESTMINSTER, CA 92683



                    LR GREEN EDUCATIONAL FOUNDATION
                    3115 LAS PALMAS AVENUE
                    ESCONDIDO, CA 92025



                    LSG PTA
                    2855 CO RD 95
                    C/O LAKE ST GEORGE ELEMENTARY
                    PALM HARBOR, FL 34684



                    LSG PTA
                    2855 CO RD 95
                    C/O LAKE ST GEORGE ELEMENTARY
                    PALM HARBOR
                    FL, 34684



                    Luan Ta
                    510 SADDLEBROOK DR.
                    236
                    SAN JOSE, CA 95136
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                    Luberski, Inc
                    Dba Hidden Villa Ranch
                    PO Box 34001
                    Fullerton, CA 92834-9401



                    Luc Pascal
                    2469 south orange blossom trai
                    ORLANDO, FL 32805



                    Luca Delchop
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                    LOS ANGELES, CA 90049



                    Lucas Bittencourt
                    1757 CHILEAN LN
                    WINTER PARK, FL 32792



                    Lucas Farno
                    14874 SW 39 CT
                    MIRAMAR, FL 33027



                    Lucas Hermosilla
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                    Oceanside, CA 92057



                    Lucas LEsperance
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                    #1115
                    Beaverton, OR 97003



                    Lucero Cuevas
                    11500 1/2 Lambert Ave
                    El Monte, CA 91732



                    Lucia Estrada
                    230 WALDO
                    FULLERTON, CA 92833
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                    Lucia Mederos
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                    LEHIGH ACRES, FL 33971



                    Luciano Castro
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                    Murrieta, CA 92563



                    Lucien Valmy
                    343 NW 4TH AVE
                    Apt 215
                    DEL RAY BEACH, FL 33444



                    Lucila Pound
                    7609 HEATHERLY LANE
                    SAN DIEGO, CA 92130



                    Lucilia Fornos
                    7336 SE 86TH AVE
                    PORTLAND, OR 97266
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1352 of
                                      2164



                    Lucille Pidek
                    11463 W. Ida Avenue
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                    Lucius Sisemore
                    22 CASCADE SPRINGS PL
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                    Fort Lauderdale, FL 33312



                    Lucknie Jean-baptiste
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                    Valrico, FL 33594



                    Lucretia Peterman
                    300 HOLLOWAY DRIVE
                    PLANTATION, FL 33317



                    Lucy lahey
                    1010EXPLORADOR CALLE
                    THORNTON, CO 80229



                    LUCY LUQUIN
                    2414 S LOWELL
                    SANTA ANA, CA 92707
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                    LUCY M. PUEBLA
                    36569 LEONE STREET
                    NA
                    NEWARK, CA 94560



                    Lucy Puebla
                    36569 LEONE STREET
                    NA
                    NEWARK, CA 94560



                    Lucy rios
                    1251 CHRISTOBAL PRIVADA
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                    LUCY WHITE
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                    Ludenie Celissaint
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                    Oceanside, CA 92057



                    luis ajtun ortiz
                    3555 WARBURTON AVE
                    SANTA CLARA, CA 95051



                    LUIS ALBERTO HERNANDEZ
                    8858 OLIVE LN APT 7
                    SANTEE, CA 92071
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                    Luis Alfaro
                    2520 RIALTO RD 89108
                    LAS VEGAS, NV 89108



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                    935 Galliton Way
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                    SUNNYVALE, CA 94086



                    LUIS ANTONIO CRUZ SAGRERO
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                    LOS ANGELES, CA 90034



                    Luis Araujo
                    302 COBIA DR.
                    10209
                    KATY, TX 77494



                    Luis Arce
                    8100 S WESTERN AVE
                    11
                    LOS ANGELES, CA 90047



                    Luis Avina
                    17588
                    NA
                    SAN DIEGO, CA 92064



                    Luis Barcenas
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                    Pembroke Pines, FL 33028



                    Luis Bermudez
                    2529 W GREEN ST
                    TAMPA, FL 33607
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                    Luis Enrique Lozano
                    394 E Penn St
                    Pasadena, CA 91104
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                    Luis Estrada
                    7172 REGIONAL ST
                    409
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                    Luis Estrada
                    9121 KENWOOD DR.
                    24
                    SPRING VALLEY, CA 91977



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                    1910 GRAPEFRUIT CT
                    171
                    SAN YSIDRO, CA 92173



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                    1038 MYRTLE STREET
                    SANTA ANA, CA 92703



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                    TUSTIN, CA 92780



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                    Luis Garcia
                    1910 GRAPEFRUIT CT
                    171
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                    143
                    ALTAMONTE SPRINGS, FL 32714
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                    Luis Garcia
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                    INDIO, CA 92203



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                    CHULA VISTA, CA 91911



                    Luis Gonzalez
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                    1575 E.17TH STREET
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                    Luis J. Rocha
                    626 RICHMAR AVE
                    APT 62
                    SAN MARCOS, CA 92069



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                    Thornton, CO 80260



                    Luis Lopez
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                    Apt. 202
                    Orlando, FL 32836



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                    4483 Z ST
                    SAN DIEGO, CA 92113



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                    HOUSTON, TX 77083



                    Luis Marrero
                    221 Cherokee Springs Way
                    Woodstock, GA 30188



                    Luis Martinez
                    10471 SANDERLING SHORES DRIVE
                    106
                    TAMPA, FL 33619
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                    Luis Mata Garcia
                    1845 North Broadway
                    Apt 130
                    Escondido, CA 92026



                    LUIS MATA GARCIA
                    1845 N BROADWAY APT 130
                    ESCONDIDO, CA 92026



                    Luis Miguel Buenrostro Lopez
                    445 N 26st
                    #9
                    San Jose, CA 95116



                    luis miranda
                    8000 KING ST
                    WESTMINSTER, CO 80031



                    Luis Miranda
                    28949 DUNE LANE
                    102
                    CANYON COUNTRY, CA 91387



                    Luis Morales
                    12547 ASHFORD RIVER
                    HOUSTON, TX 77072



                    Luis Morales
                    6066 ROOSEVELT AVE
                    SOUTH GATE, CA 90280



                    Luis Moreno Hernandez
                    5717 SMOKE RANCH RD
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                    LAS VEGAS, NV 89108



                    Luis Navarro
                    2143 W CHERRY AVE
                    FULLERTON, CA 92833
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                    Luis Ocampo
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                    Luis Ornelas
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                    Luis Peacker
                    13121 Bolder Woods Cir
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                    Luis Perez
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                    Coachella, CA 92236



                    Luis Perez
                    212 S Third Ave
                    Arcadia, CA 91006



                    Luis Perez
                    5812 LAKESIDE DR
                    LUTZ, FL 33558



                    Luis Pineiro
                    2512 W CHERRY ST
                    TAMPA, FL 33607
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                    Luis Plata
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                    Tampa, FL 33614



                    Luis Ramirez
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                    Orlando, FL 32835



                    Luis Ramirez
                    4960 NORTHSIDE DR
                    ACWORTH, GA 30101



                    Luis Ramos
                    2707 Charleston dr
                    Plant City, FL 33563



                    Luis Rincon
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                    Apt. 206
                    Brandon, FL 33511



                    Luis Rocha
                    626 RICHMAR AVE
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                    SAN MARCOS, CA 92069



                    Luis Rodriguez
                    13092 ALLARD AVE.
                    APT. C
                    GARDEN GROVE, CA 92840
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                    Luis Rodriguez
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                    181
                    FREMONT, CA 94536



                    Luis Rojas
                    812 92ND AVEN
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                    Luis Roman
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                    Apt #92
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                    3342 E FILLMORE ST
                    PHOENIX, AZ 85008



                    Luis Ruiz
                    530 A ANNA DR
                    J
                    ANAHEIM, CA 92805



                    Luis Ruiz Villanueva
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                    95
                    TIGARD, OR 97224



                    Luis saez




                    Luis Sanchez
                    17260 Euclid Street
                    #D
                    FOUNTAIN VALLEY, CA 92708
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1363 of
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                    Luis Sandigo
                    5619 PGA BLVD
                    1211
                    ORLANDO, FL 32839



                    Luis Santos Torres
                    11022 Lehman Rd
                    Lot #3
                    Brandon, FL 33511



                    Luis Trujillo
                    1777 e lynwood dr
                    APT:I-104
                    San Bernardino, CA 92404



                    LUIS TRUJILLO
                    985 W 14TH ST
                    SAN BERNARDINO, CA 92411



                    Luis Trujillo Sanchez
                    4844 BERNAL AVE
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                    PLEASANTON, CA 94566



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                    400 GREENFIELD DR
                    SPC 24
                    EL CAJON, CA 92021



                    Luisa Erdmann
                    857 CAMINITO ESTRELLA
                    CHULA VISTA, CA 91910



                    Luisa Gonzalez Jacinto
                    8758 FRIANT STREET
                    SAN DIEGO, CA 92126
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1364 of
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                    Luisa Lopez
                    27662ALISOCREEKRD
                    APPT 5113
                    ALISO VIEJO, CA 92656



                    Luisa Martinez
                    3765 N. CAMPBELL
                    15
                    TUCSON, AZ 85719



                    Luisa Ruutel
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                    2305
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                    Luiz Betancurt
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                    Riverside, CA 92507



                    LUKE DUERR
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                    Luke Heynen
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                    Long Beach, CA 90815



                    Luke Kinney
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                    GLENDALE, CA 91206



                    Luke Mcmath
                    10122 2nd Street NW
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                    Luke Potter
                    24139 DEL MONTE DR.
                    UNIT 266
                    VALENCIA, CA 91355



                    Luke Trusiak
                    3643 E ROSEMONTE DR.
                    PHOENIX, AZ 85050



                    Luke Whitehurst
                    2200 GLADYS STREET
                    2906
                    LARGO, FL 33774



                    Luke Wulfensmith




                    LUKE ZIMMERMAN
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                    LOS ANGELES, CA 90006



                    LULIT M. ABDISSA
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                    31060 HILLTOP DRIVE
                    VALLEY CENTER, CA 92082
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1366 of
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                    LUPE STALEY
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                    VALLEY CENTER, CA 92082



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                    2112 16th St. North
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                    LUPRESN 3 LLC
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                    C/O WHITNEY NATIONAL BANK
                    ST PETERSBURG, FL 33704



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                    Luz Burciaga
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                    Luz Garcia
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                    Luz Ortiz
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Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1367 of
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                    Luz Quinones
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                    Luz Rodriguez Polanco
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                    ACWORTH, GA 30101



                    Luz roman
                    WOODWINDS LANE
                    1601
                    BRADENTON, FL 34208



                    Luz Trujillo
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                    Apt 210
                    Oro Valley, AZ 85704



                    LuzDivina Gonzalez
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                    LuzMaria Melero
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                    SAN TAN VALLEY, AZ 85143



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Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1368 of
                                      2164



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                    HOUSTON, TX 77064



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                    Lynail Sawyer
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                    Lynette Cruz
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                    Lynn Castillo Morales
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                    LYNSI HILL
                    8527 E SEABURY CT #2
                    TUCSON, AZ 85710
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1369 of
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                    Omaha, NE 68103-1123



                    LYONS-MAGNUS
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                    OMAHA, NE 68103-1123



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                    HIGHLAND, CA 92346



                    Lysandra Chun-Sajqui
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                    TIGARD, OR 97223



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                    LYTX INC
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                    Los Angeles, CA 90084-9972
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                                      2164



                    M MINT
                    4340 W POINT LOMA BLVD
                    UNIT L
                    SAN DIEGO, CA 92107



                    M&G GROUP ENTERPRISE INC
                    3680 W RENO AVE
                    LAS VEGAS, NV 89118



                    MA DIV OF UNEMPLOYMENT ASSISTN
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                    BOSTON, MA 2114-0



                    Ma Rodriguez
                    5412 IMPERIAL AVE
                    #3
                    SAN DIEGO, CA 92114



                    Ma Zermeno
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                    EL MIRAGE, AZ 85335



                    Ma. Guadalupe Garcia Valladolid
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                    Mabel Reyes
                    804 15 ST
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                    MACARTHER PTA
                    6011 CENTRAILIA ST
                    LAKEWOOD, CA 90713



                    MACARTHUR ELEMENTARY PTA
                    6007 DEERFORD ST
                    LAKEWOOD, CA 90713
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                    c/o Macerich Property Management Company Attn: Leg
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                    6750 TULIP FALLS DRIVE
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                    C
                    EL CAJON, CA 92020



                    Macie Reynoso
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                    FOUNTAIN VALLEY, CA 92708



                    Macilia Nonot
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                    3570
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                    Mackenzie Andrews
                    4845 S CATAWBA ST
                    AURORA, CO 80016



                    Mackenzie Annis
                    1574 NW 85TH DR
                    CORAL SPRINGS, FL 33071



                    MacKenzie Balcom
                    4010 E LANCASTER BLVD
                    LANCASTER, CA 97045
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                    Mackenzie Goffe
                    22 Creek Road
                    #34
                    Irvine, CA 92604



                    MACKENZIE GRAVILLE
                    2551 BEACON HILL DR
                    WEST LINN, OR 97068



                    Mackenzie OConnell-Owens
                    3427 PINE CONE CIR.
                    CLEARWATER, FL 33760



                    Mackenzie Shea
                    5355 NW PASEO TERRACE
                    PORTLAND, OR 97229



                    MACMILLAN SCHOLZ AND MARKS
                    900 SW FIFTH AVE STE 1800
                    PORTLAND, OR 97204



                    MACS TREE SERVICE INC
                    20995 ALAMEDA DEL MONTE
                    WILDOMAR, CA 92595



                    Maddison Ruacho
                    306 VIEWPARK CIRCLE
                    SAN JOSE, CA 95136



                    MADEIRA BEACH FUNDAMENTAL SCHO
                    591 TOM STUART CAUSEWAY
                    MADEIRA BEACHH, FL 33708



                    Madeline Bloom
                    1914 Kingston Dr
                    Escondido, CA 92027
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                    Madeline Hartman
                    15213 Beam St.
                    Noblesville, IN 46060



                    Madeline Lopez
                    404 E. Mission Ave
                    Apt#3
                    Escondido, CA 92025



                    Madeline Lynch
                    307 S JOPLIN ST
                    206
                    AURORA, CO 80017



                    Madeline McCarthy
                    3899 SE PIPERS DRIVE
                    HILLSBORO, OR 97123



                    Madelline Cristales
                    2553 W. Oakridge Rd
                    Apto 515 B
                    Orlando, FL 32809



                    Madelynn Pettit
                    12183 W. STANFORD DR.
                    MORRISON, CO 80465



                    Madina NJINOH
                    1100 INDIAN TRL LILBURN RD NW
                    2622
                    NORCROSS, GA 30093



                    Madison Baines
                    6265 Canyon Bluff Court
                    San Diego, CA 92121



                    Madison Brown
                    17950 LASSEN ST.
                    NORTHRIDGE, CA 91325
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                    Madison Byrd
                    270 Ixora Drive
                    Palm Harbor, FL 34684



                    Madison Byrd
                    270 IXORA DR
                    PALM HARBOR, FL 34684



                    Madison Gaudioso
                    8754 BEACON STREET
                    FORT MYERS, FL 33907



                    Madison Gibson
                    15019 NE 50TH ST
                    VANCOUVER, WA 98682



                    Madison Goad
                    13214 DON JULIAN AVE APT.A
                    #A
                    CHINO, CA 91710



                    MADISON HIGH SCHOOL ASB
                    4833 DOLIVA DR
                    SAN DIEGO, CA 92105



                    Madison Jones
                    11640 MAYFIELD AVE
                    201A
                    BRENTWOOD, CA 90049



                    Madison Kalafus
                    2102 S MICCASIN TRAIL
                    GILBERT, AZ 85295



                    Madison Lundberg
                    1472 LA CULEBRA CIR
                    CAMARILLO, CA 93012
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                    Madison Parriott
                    175 Barcelona Street
                    Camarillo, CA 93010



                    Madison Roberts
                    79622 CARMEL VALLEY AVENUE
                    INDIO, CA 92201



                    Madison Shaw
                    4590 NW KAHNEETA DR
                    PORTLAND, OR 97229



                    Madison Taylor
                    42100 Teatree Ct
                    Temecula, CA 92591



                    Madison Vinyard
                    12959 CAMBRIDGE CT.
                    CHINO, CA 91710



                    Madison Wright
                    5317 SUMMERLIN RD
                    14
                    FORT MYERS, FL 33919



                    Maegan Bobb
                    3354 N SAFFRON ST
                    MESA, AZ 85215



                    Magali Barrios
                    760 E 9th St
                    Sp 87
                    San Bernardino, CA 92410



                    Magali Pierre
                    2801 NE 1ST TERR
                    POMPANO BEACH, FL 33064
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                    Magaly Lopez Gonzalez
                    18150 SW Rosa Rd.
                    Beaverton, OR 97078



                    Magda Gallaga
                    1830 PREMIER PL
                    A
                    CONCORD, CA 94520



                    Magdalena Annis
                    950 ARCADIA AVE
                    13
                    VISTA, CA 92084



                    Magdalena Reymundo
                    951 BLOOMFIELD AVENUE
                    SAN MARCOS, CA 92078



                    Magdalena Rodriguez
                    2400 East Lake Miramar Circle
                    Miramar, FL 33025



                    Magdalene Day
                    421 NE 21st Pl
                    Canby, OR 97013



                    Magdalene Martz
                    1310 LAKE CHARLES AVENUE
                    PORTER, IN 46304



                    MAGEE ODYSSEY PARENT BOOSTER
                    8300 E SPEEDWAY BLVD
                    ODYSSEY OF THE MIND
                    TUCSON, AZ 85710



                    MAGEL AIR CONDITIONING AND REFRIGERATION
                    4339 CORPORATE CENTER DR
                    NORTH LAS VEGAS, NV 89030
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                    Magerly Munoz
                    2529 WEST GREEN ST.
                    TAMPA, FL 33607



                    Maggie Trieu
                    4322 FANDON AVE
                    EL MONTE, CA 91732



                    MAGNOLIA EDUCATIONAL AND RESEARCH FOUNDA
                    6525 ESTRELLA AVENUE
                    SAN DIEGO, CA 92120



                    MAGNOLIA SCIENCE ACADEMY
                    6525 ESTRELLA AVE
                    SAN DIEGO, CA 92120



                    MAGNOLIA SCIENCE ACADEMY
                    6525 ESTRELLA AVE
                    SAN DIEGO
                    CA, 92120



                    MAGNUS MOBILITY
                    2805 BARRANCA PARKWAY
                    IRVINE, CA 92606-5114



                    MAGNUS MOBILITY
                    2805 BARRANCA PARKWAY
                    IRVINE
                    CA, 92606-5114



                    Maguire Turner
                    13525 PIPING ROCK LN
                    EL CAJON, CA 92021



                    Mahdi Amiri
                    28012 WHITESTONE COURT
                    HAYWARD, CA 94542
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                    Mahdi Lahcen
                    5258 MILLENIA BLVD
                    205
                    ORLANDO, FL 32839



                    Mahee Wewaliyadda
                    31822 Tamarack Ct
                    #110
                    Temecula, CA 92592



                    Mahlet Kindie
                    14072 E IOWA DRIVE
                    717
                    AURORA, CO 80012



                    Mahnoor Khan
                    3100 PARK AVE
                    15315
                    TUSTIN, CA 92782



                    Mai Dang
                    2142 WEST CHERRYWOOD LANE
                    ANAHEIM, CA 92804



                    Maia Jackson
                    2850 SADDLE BRONC CIRCLE
                    DOUGALSVILLE, GA 30135



                    MAIN STREET HOTELS LLC
                    400 SPECTRUM CENTER DR STE1200
                    IRVINE, CA 92618



                    Main Street Hotels, LLC
                    400 Spectrum Center Dr.
                    Ste. 1200
                    Irvine, CA 92618
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                    MAINTENX INTERNATIONAL SERVICE
                    MANAGEMENT GROUP INC
                    PO BOX 21288
                    TAMPA, FL 33622



                    MAINTEX INC
                    13300 E NELSON AVE
                    CITY OF INDUSTRY, CA 91744-7110



                    Maira Gijon
                    5192 LOMA VERDE AVE
                    LAS VEGAS, NV 89108



                    MAISON GUTIERREZ
                    17160 POBLADO WAY
                    SAN DIEGO, CA 92127



                    Majeda Ahmed
                    602 CALI CANASTA
                    SAN CLEMENTE, CA 92603



                    Major Coleman
                    7601 N. Hollywood Way
                    Apt. #304
                    Burbank, CA 91505



                    MAJOR D. COLEMAN
                    7601 N. Hollywood Way
                    Apt. #304
                    Burbank, CA 91505



                    Majorie voltaire
                    12 SOUTHERN CROSS CIRCLE
                    208
                    BOYNTON BEACH, FL 33436
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                    Makaila Orndorff
                    410 WILLIAMS DR
                    410
                    FRUITLAND PARK, FL 34731



                    Makaiya Tillman
                    2925 MONUMENT BLVD APT 2
                    CONCORD, CA 94520



                    Makana H. Johnson
                    10928 Sw Oneida St
                    Tualatin, OR 97062



                    Makana Johnson
                    10928 Sw Oneida St
                    Tualatin, OR 97062



                    Makayla Bryan
                    54 ARCHER GLEN AVE
                    HENDERSON, NV 89002



                    Makayla Butler
                    5714 Se Popes Pl
                    Hillsboro, OR 97123



                    Makayla Gryszkin
                    3320 S Irene Pl
                    Tucson, AZ 85730



                    MAKE-A-WISH OCIE
                    3230 EL CAMINO REAL #100
                    IRVINE, CA 92602



                    Makenna cumberland
                    1531 BENDIX TERRACE
                    NORTH PORT, FL 34286
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                    MAKENNA CUMBERLAND
                    1531 BENDIX TERRACE
                    NORHT PORT, FL 34286



                    Makieya griffin
                    11410 NW 39TH ST
                    #3
                    CORAL SPRINGS, FL 33065



                    MAKING STRIDES AGAINST BREAST
                    1346 W MAXZIM AVE
                    FULLERTON, CA 92833



                    Makiya Valentine
                    11235 SUNBURST ST
                    SYLMAR, CA 91342



                    Makoto Osuna
                    33286 CALLE LANGARICA
                    TEMECULA, CA 92592



                    Malachi Crittle
                    7250 W GREEN RD.
                    405
                    HOUSTON, TX 77064



                    Malachi Delawder
                    18071 MAMMOTH CT.
                    FOUNTAIN VALLEY, CA 92708



                    Malaina Money
                    819 SOUTH ATLANTIC BOULEVARD
                    ALHAMBRA, CA 91803



                    Malalah Abdolghoddos
                    14231 EAST IDAHO PLACE
                    AURORA, CO 80012
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                    Malayshia Rossie
                    778 NW 156 AVE
                    PEMBROKE PINES, FL 33028



                    Malayzha Worthen
                    208 DEBORAH AVE
                    LEESBURG, FL 34748



                    Malcolm Carr
                    MALCOLM
                    VANCOUVER, WA 98662



                    Maleighya Lewis
                    8001 West Tidwell Apt 805
                    Houston, TX 77040



                    Malia Collins
                    7425SW 5TH AVE
                    APT 1B
                    PORTLAND, OR 97219



                    Malik Lockett
                    850 WINDY HILL ROAD SOUTHEAST
                    1161
                    SMYRNA, GA 30081



                    Malik Summerville
                    949 S LONGMORE
                    135
                    MESA, AZ 85202



                    Malik Tarver
                    1281 BROCKETT RD
                    8E
                    CLARKSTON, GA 30021



                    Mallory Oschner
                    200 Villa Verde Dr. Se
                    Albuquerque, NM 87124
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                    MALONEY ELEMENTARY PTA
                    38700 LOGAN DR.
                    MALONEY ELEMENTARY PTA
                    FREMONT, CA 94536



                    Malu Oliveira
                    2933 BARNARD ST
                    SAN DIEGO, CA 92110



                    Mamadou Ba
                    10210 SAN DIEGO MISSION RD
                    SAN DIEGO, CA 92108



                    MANATEE CHAMBER OF COMMERCE
                    PO BOX 321
                    BRADENTON, FL 34206-0321



                    MANATEE COUNTY SHERIFFS OFFICE
                    600 301 BLVD WEST #202
                    FALSE ALARM REDUCTION UNIT
                    BRADENTON, FL 34205



                    Mandy Covington
                    14090 E EVANS AVE
                    320
                    CENTENNIAL, CO 80014



                    Manika Dulcio
                    1140 RIVER OVERLOOK COURT
                    LAWRENCEVILLE, GA 30043



                    Manjeet Bhullar
                    521 HIGHLANDER AVE
                    LA HABRA, CA 90631



                    Mankanwar Nijjar
                    34321 Marjoram Loop
                    Union City, CA 94587
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                    MANKUTA GALLAGHER AND ASSOCIATES INC
                    8201 N UNIVERSITY DR STE 201
                    FORT LAUDERDALE, FL 33321



                    MANLEYS BOILER LLC
                    7931 WHITAKER ST
                    BUENA PARK, CA 90621-2932



                    MANNINGTON MILLS INC
                    PO BOX 96261
                    FILE #96261
                    CHICAGO, IL 60693



                    Manuel Aguilar
                    129 W. Guinida Ln.
                    #6
                    Anaheim, CA 92805



                    Manuel Avalos
                    4320 WSAHINGTON ST NE
                    62
                    ALBQUERQUEQ, NM 87109



                    Manuel Calderon
                    1002 N.MARIPOSA AVE.
                    #7
                    LOS ANGELES, CA 90029



                    MANUEL Cruz
                    6316 GATEWAY AVE
                    SARASOTA, FL 34231



                    Manuel Cruz
                    2119 ALSACE AVE
                    #1
                    LOS ANGELES, CA 90016
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                    Manuel Feregrino
                    712 W BUIST AVE
                    PHOENIX, AZ 85041



                    Manuel Galvan
                    169 SE 6TH AVE
                    MLTON FREEWATER, OR 97862



                    Manuel gonzalez
                    324 S CALIFORNIA AVE
                    MONROVIA, CA 91016



                    Manuel gonzalez
                    10335 W KEENE AVE
                    DENVER, CO 80235



                    Manuel Guerrero
                    24211 Angela St
                    Lake Forest, CA 92630



                    Manuel Lazo Mendoza
                    13661 ESTERO CIRCLE
                    TUSTIN, CA 92780



                    Manuel Lee
                    30041 TESSIER
                    LAGUNA NIGUEL, CA 92677



                    Manuel Lozano
                    1501 MONUMENT BLVD
                    Apt 7
                    Concord, CA 94520



                    Manuel Montejo
                    9494 CARROLL CANYON RD
                    51
                    SAN DIEGO, CA 92126
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                                      2164



                    Manuel Ramos
                    2029 BADGER GLEN
                    ESCONDIDO, CA 92029



                    Manuel Reyes
                    765 Spencer Ave
                    San Jose, CA 95125



                    Manuel Rocha
                    760 santa barbara DR
                    San Marcos, CA 92078



                    Manuel Rodriguez
                    5707 San Lorenzo
                    San Jose, CA 95123



                    Manuel Rojas
                    2130 S Santa Fe
                    #43
                    Vista, CA 92083



                    Manuel Ruiz
                    1819 ASCOT CT
                    CONCORD, CA 94520



                    Manuel Sanchez
                    4553 ELMO ST
                    LA, CA 90019



                    Manuel Santiago-mateo
                    605 Victoria
                    Apt F202
                    Costa Mesa, CA 92627



                    Manuel Sevilla
                    10435 W. Yuma St
                    Tolleson, AZ 85353
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                    Manuel Siavichay
                    1111 Pine Street
                    Altamonte Springs, FL 32714



                    Manuela Bonoso
                    2123 Lindley Lane
                    Kennesaw, GA 30144



                    Manuela Mauger
                    573 Los Vientos dr
                    Newbury Park, CA 91320



                    Manuela Montejo
                    9494 Carroll Cayon Rd
                    San Diego, CA 92126



                    Manuela Valdez
                    14045 Ierilyn Dr
                    San Jose, CA 95127



                    Mar Leon
                    10141 Maya Linda Rd
                    San Diego, CA 92126



                    Mar-Co Equipment Company
                    130 Atlantic St.
                    Pomona, CA 91768



                    MAR-CO EQUIPMENT COMPANY
                    130 ATLANTIC ST
                    POMONA, CA 91768



                    Mara Chapin
                    6460 S HOYT ST
                    LITTLETON, CO 80123
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                    Maranda Jiles
                    901 PALMBROOK DR
                    5
                    REDLANDS, CA 92373



                    Maranda Weinmann
                    113 Shiloh Avenue
                    Lady Lake, FL 32159



                    Marbella Jimenez
                    1825 E. Valley Parkway
                    Apt# 13
                    Escondido, CA 92027



                    Marbella Morales
                    1105 S Garfield Ave
                    Alhambra, CA 91801



                    Marbella Ramirez-vasquez
                    349 oconee lane
                    Lawrenceville, GA 30043



                    Marbella Rodriguez
                    4142 MANHATTAN BEACH BLVD
                    1
                    LAWNDALE, CA 90260



                    Marbella Sanchez
                    1470 E 50TH ST
                    LOS ANGELES, CA 90011



                    Marc Allen
                    431 KENTMERE CT
                    MOUNTAIN VIEW, CA 94040



                    Marc berman
                    7159 VICTORIA LANE
                    NONE
                    UNIVERSITY PARK, FL 34201
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                    Marc Dorvilus
                    4994 Nw 6th Street
                    Delray Beach, FL 33445



                    Marc Henrice
                    4375 SW 10th Place
                    Apt 205
                    Deerfield Beach, FL 33442



                    Marc Hunter
                    302 E. Lester St
                    Tucson, AZ 85705



                    Marc I. berman
                    7159 VICTORIA LANE
                    UNIVERSITY PARK, FL 34201



                    Marc Santisteban
                    3008 WEST HAYA STREET
                    TAMPA, FL 33614



                    Marcae Evans
                    12563 E EXPOSITION DR
                    AURORA, CO 80012



                    Marcantony Covington
                    4706 ARBOR GATE DR
                    BRADENTON, FL 34203



                    Marcel Coulanges
                    7807 Nw 40th Court
                    Pompano Beach, FL 33065



                    Marcela Pacheco
                    554 S CREST RD
                    ORANGE, CA 92868
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                    Marcella Anderson
                    177 HIGGINS AVE
                    GRIDLEY, CA 95948



                    Marcella Goncalves
                    28122 Bobwhite Circle
                    40
                    Saugus, CA 91350



                    MARCELLA GONCALVES
                    28122 BOBWHITE CIR #40
                    SAUGUS, CA 91350



                    Marcella Stewart
                    8995 ROSWELL ROAD
                    SANDY SPRINGS, GA 30350



                    Marcelle Brooks
                    642 PALOMAR ST
                    406
                    CHULA VISTA, CA 91911



                    Marcelo Lopez
                    6631 Tait St.
                    #2
                    San Diego, CA 92111



                    MARCH OF DIMES
                    350 N GLENDALE AVE B #518
                    GLENDALE, CA 91206



                    MARCH OF DIMES
                    350 N GLENDALE AVE B #518
                    GLENDALE
                    CA, 91206



                    Marchella Dossantos
                    15028 Oak Lane
                    Chino Hills, CA 91709
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                    Marcia Mendez
                    3904 Monja Cir
                    Las Vegas, NV 89104



                    Marcia Mendez Orantes
                    4236 BROCKTON GREEN CT
                    LAS VEGAS, NV 89110



                    Marcia Port
                    850 Sw 133 Terr
                    Apt B114
                    Pembroke Pines, FL 33027



                    Marcia Sofarelli
                    241 S Sturgeon St.
                    Montgomery City, MO 63361



                    Marcin Krzyszczak
                    1046 CLUB SYLVAN DRIVE
                    ORLANDO, FL 32825



                    Marcin W. Krzyszczak
                    1046 CLUB SYLVAN DRIVE
                    ORLANDO, FL 32825



                    Marcio Prata
                    5239 NE 16TH AVE
                    POMPANO BCH, FL 33064



                    Marckeisha Reid
                    123 N 61ST AVE
                    7
                    HOLLYWOOD, FL 33024



                    Marco Antonio Enriquez
                    2801 N. ORACLE RD
                    520
                    TUCSON, AZ 85705
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                    Marco Antonio lopez flores
                    1450 LEEWARD
                    818
                    SAN JOSE, CA 95112



                    Marco Antonio Rodriguez
                    266 S 18th St
                    San Jose, CA 95116



                    Marco Araiza
                    986 E STETSON AVE
                    986
                    HEMET, CA 92543



                    Marco Cardenas
                    8730 Tierra Vista Circle
                    Apt 301
                    Kissimmee, FL 34747



                    Marco Castillo
                    10003 Autumn Harvest
                    Houston, TX 77064



                    Marco Herrera
                    959 S SOTO ST
                    3
                    LOS ANGELES, CA 90023



                    Marco Leza
                    706 SHENANDOAH DR
                    THE WOODLANDS, TX 77381



                    Marco mendoza
                    1901 E DON CARLOS
                    210
                    TEMPE, AZ 85281
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                                      2164



                    Marco Moran
                    2918 Acorn Oaks Drive
                    Katy, TX 77493



                    Marco murillo
                    877 S RIFLE CT
                    AURORA, CO 80017



                    Marco Ortiz
                    2773 CYPRESS DR
                    B
                    CLEARWATER, FL 33763



                    Marco Velela
                    245 S Gilbert St
                    Apt C
                    Fullerton, CA 92833



                    Marco Villegas
                    29106 Val Verde Rd
                    Castaic, CA 91384



                    Marcoantonio Guzman
                    3750 FRANKLIN AVE
                    10
                    FULLERTON, CA 93905



                    Marcos Benitez
                    1158 26TH ST
                    105
                    SANTA MONICA, CA 90403



                    Marcos Burgueno
                    443 DEEP DELL RD.
                    #F
                    SAN DIEGO, CA 92114
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                                      2164



                    Marcos Cruz Hernandez
                    1045 W WALNUT ST
                    SANTA ANA, CA 92703



                    Marcos Rangel
                    47-470 Van Buren St
                    Indio, CA 92201



                    Marcos Reyes
                    2004 Bonita St
                    Lemon Grove, CA 91945



                    Marcos-angelo Fimbres
                    1303 S VAN BUREN
                    1
                    TUCSON, AZ 85711



                    Marcus Benson
                    880 ROCK ST NW
                    APT C5
                    ATLANTA, GA 30314



                    Marcus Herrera
                    9225 Stuart St
                    Westminster, CO 80031



                    Marcus Hill
                    15392 E LOUISIANA AVE
                    AURORA, CO 80017



                    MARCUS INGRAM




                    Marcus Landers
                    621 Se 168th Ave
                    Apt#16
                    Vancouver, WA 98684
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                                      2164



                    Marcus Laws
                    701 MT HOMER
                    EUSTIS, FL 32726



                    Marcus Lozano
                    6259 Cooper Ave
                    Fontana, CA 92336



                    Marcus Rivera
                    2804 S MEADOWBROOK PL
                    ONTARIO, CA 91761



                    MARCUS SANTIAGO-TORRES
                    2698 PUCCINI AVENUE
                    SAN JOSE, CA 95122



                    Marcus Stuart
                    950 WEST SANDTOWN ROAD
                    MARIETTA, GA 30064



                    Marcus Tan
                    18574 WESSEX ST
                    SAN DIEGO, CA 92128



                    Marcus UZ Lux
                    333 ANZA ST
                    4
                    EL CAJON, CA 92020



                    Marcus Victorino
                    7220 CENTRAL AVE SOUTHEAST
                    1144
                    ALBUQUERQUE, NM 87108



                    Marcus Woolery
                    4428 Nantucket Cove
                    Stone Mountain, GA 30083
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                    Marcus Wright
                    3450 N STONE AVE
                    206
                    TUCSON, AZ 85705



                    MARGALIE JEAN NOEL JEAN
                    2189 CATHERINE DR APT 3
                    DELRAY BEACH, FL 33445



                    Margaret Carrico
                    2445 SW 18th Terrace
                    APT 710
                    Ft. Lauderdale, FL 33315



                    Margarita Alvarez
                    8553 Aura Ave
                    Northridge, CA 91324



                    Margarita Arambula
                    46575 CLINTON ST
                    L126
                    INDIO, CA 92201



                    Margarita Arechiga Cervantez
                    522 10TH ST
                    IMPERIAL BEACH, CA 91932



                    Margarita Bravo
                    14811 NEWPORT AVE
                    #D
                    TUSTIN, CA 92780



                    Margarita Campos
                    145 Northwood Dr
                    Apt L1
                    Atlanta, GA 30342
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                    margarita garcia
                    10323 KLINGERMAN STREET
                    SOUTH EL MONTE, CA 91733



                    Margarita Garcia Cano
                    278 N WILSHIRE AVE
                    #C8
                    ANAHEIM, CA 92801



                    Margarita Hernandez
                    228 CHAMBERS ST
                    APT B1
                    EL CAJON, CA 92020



                    Margarita Palomares
                    3788 41 Street
                    Apt. #103
                    San Diego, CA 92105



                    Margarita Ramos
                    1991 ANTLER DR
                    SAINT CLOUD, FL 34772



                    Margarita rivas
                    3731 LINCOLN CT.
                    3
                    FREMONT, CA 94538



                    Margarita Zarut
                    10270 SW 35 TERRACE
                    MIAMI, FL 33165



                    Margarito Ayala
                    4277 50st
                    # 106
                    San Diego, CA 92115
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                    Margarito Maciel
                    3594 Darcy Ct Nw
                    Kennesaw, GA 30144



                    Margarito Maciel
                    3594 Darcy Ct
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                    MARGATE ELEMENTARY PTA
                    6300 NW 18TH ST
                    MARGATE, FL 33063



                    MARGATE ELEMENTARY PTA
                    6300 NW 18TH ST
                    MARGATE
                    FL, 33063



                    Margo Balvin
                    1231 S. SABLE BLVD.
                    AURORA, CO 80012



                    Margretta De Leon
                    2472 COPPER SADDLE WAY
                    CHINO HILLS, CA 91709



                    MARGUERITA PTA
                    1603 MARGUERITA AVE
                    ALHAMBRA, CA 91803



                    Maria Guadalupe Perez Ochoa
                    8680 BEVERLY LANE
                    DUBLIN, CA 94568



                    Maria Abrego
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                    Apt 101
                    Fullerton, CA 92833
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1399 of
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                    Maria Aguilar
                    1758 W Neighbors
                    #3
                    Anaheim, CA 92801



                    Maria Alamilla
                    715 E Street
                    Ramona, CA 92065



                    Maria Alcantara
                    12 RAMBLEWOOD TRL
                    LAWRENCEVILLE, GA 30043



                    Maria Alfonso
                    6405 N MANHATTAN AVE
                    TAMPA, FL 33614



                    Maria Altamirano
                    8183 CARNATION COURT
                    RIVERSIDE, CA 92503



                    Maria Alvardo
                    5038 S. Hardy Dr.
                    Unit 1119
                    Tempe, AZ 85282



                    Maria Amaya
                    1901 E Apache Blvd
                    apt 396
                    Tempe, AZ 85281



                    Maria Amaya
                    5815 W VISTA AVE
                    GLENDALE, AZ 85301



                    MARIA ANDRADE
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                                      2164



                    Maria Anicete
                    10515 Glassborough Dr.
                    Orlando, FL 32825



                    MARIA ANNA ASCIUTTO
                    5587 GALA AVE
                    SAN DIEGO, CA 92120



                    Maria Antonio
                    1543 Armacost
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                    Los Angeles, CA 90025



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                    Oceanside, CA 92054



                    Maria Araujo
                    2450 CENTRAL AVE
                    SPRING VALLEY, CA 91977



                    Maria Argote
                    712 S LOIS AVE
                    TAMPA, FL 33609



                    Maria Avila
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                    1-C
                    ANAHEIM, CA 92804



                    Maria Avila-Luna
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                    Apt D
                    Santa Ana, CA 92704



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                    127 Rancho Dr.
                    #I
                    San Jose, CA 95111
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                                      2164



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                    San Diego, CA 92105



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                    3713 Via de Anza
                    San Marcos, CA 92069



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                    4813 W MLK JR BLV
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                    MARIA C. PORTILLO
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                    SAN JOSE, CA 95130



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                    #303
                    San Diego, CA 92113



                    Maria Canchola
                    865 Elmwood St.
                    Colton, CA 92324



                    Maria Carreno
                    1841 Kim Acres Ln
                    Dover, FL 33527



                    Maria Carrillo
                    2826 PADDOCK BROOK LN
                    HOUSTON, TX 77038
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1402 of
                                      2164



                    Maria Castillejo
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                    Maria Coronado
                    1648 Ocala Ave
                    Chula Vista, CA 91911
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1403 of
                                      2164



                    Maria Cristina uley ortiz
                    650 BRINK AVE
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                    MARIA CUEVAS
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                    EL MONTE, CA 91732



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Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1404 of
                                      2164



                    Maria Deanda
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                    Denver, CO 80221



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                    906 S Pioneer
                    Mesa, AZ 85204



                    Maria Del Carmen Toscano De Baron
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                    16
                    ESCONDIDO, CA 92027



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                    Maria Endara
                    1523 NW 178TH WAY
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Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1405 of
                                      2164



                    Maria Enriquez
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                    4
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                    Maria Estrada
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                    APT D
                    MOUNTAIN VIEW, CA 94041
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1406 of
                                      2164



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                    Maria Figueroa
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                    1101
                    LAS VEGAS, NV 89101



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                    A4
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                    MONTCLAIR, CA 91763



                    Maria Galicia
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1407 of
                                      2164



                    Maria Gamarra
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                    Maria Gil Fuentes
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                    Escondido, CA 92025



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                    Norcross, GA 30092



                    Maria Gutierrez
                    3661 PEACOCK CT
                    16
                    SANTA CLARA, CA 95051
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1408 of
                                      2164



                    Maria Hamid
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                    Apt# C
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                    1F
                    SAN DIEGO, CA 92131



                    Maria Katrina Salvador
                    23903 Del Monte Dr
                    Unit 59
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                                      2164



                    Maria Kong
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                    Maria Kraus
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                    19010 CANYON SUMMIT
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                    214 S 33RD ST
                    SAN JOSE, CA 95116



                    Maria Leon
                    1171 NW 15TH AVE
                    111
                    BOCA RATON, FL 33486



                    Maria Lopez
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                    2487 BELLAVISTA DR
                    VISTA, CA 92084



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                    13970 SW 6TH ST
                    BEAVERTON, OR 97005
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                                      2164



                    Maria Lugardo Tlanepantla
                    24479 US HWY 19 N
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                    Maria Lupian
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                    7276
                    WESTMINSTER, CA 92683



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                    1458 NE 105TH WAY
                    12
                    HILLSBORO, OR 97006



                    Maria Mendoza
                    2018 Alpine Rd
                    Apt 54
                    Clearwater, FL 33755
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1411 of
                                      2164



                    Maria Mendoza
                    1770 N Green Valley pkwy
                    apt # 3311
                    Hendenson, NV 89074



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                    526 MOUNT OLIVE DR
                    BRADBURY, CA 91008



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                    San Jose, CA 95134



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                    Apt 203
                    washougal, WA 98671



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                    82
                    SAN DIEGO, CA 92126



                    Maria Montiel
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                    Apt O
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                    Saugus, CA 91350



                    Maria Motta
                    1503 E Alabama St
                    Plant City, FL 33563
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1412 of
                                      2164



                    Maria Munos Cabreja
                    130 RODNEY LN
                    TAMPA, FL 33615



                    Maria Navarrete
                    710 Herman Ave
                    Orlando, FL 32803



                    Maria Navarro
                    1226 W Woodcrest Ave
                    Fullerton, CA 92833



                    Maria Negrete
                    1091 ROEWILL DR
                    APT 8
                    SAN JOSE, CA 95117



                    Maria Neri
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                    Highland, CA 92346



                    Maria Ocampo
                    21227 Us 19
                    apt 103B
                    Clearwater, FL 33765



                    Maria Ochoa
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                    Maria Orfao Pereira
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                    Unit 107
                    Margate, FL 33063



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                    13858 SW 155TH CT
                    MIAMI, FL 33196
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1413 of
                                      2164



                    Maria Orozco Avalos
                    400 W BAKER AVE
                    E4
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                    131 S. PRITCHARD AVE
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                    Maria Paula borquez ruiz
                    1181 PECOS WAY
                    SUNNYVALE, CA 94089



                    Maria Pereira
                    8544 COMOLETTE STREET
                    DOWNEY, CA 90242
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1414 of
                                      2164



                    Maria Perez
                    38050 11th Street E
                    Apt 29
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                    1933 ST LAWRENCE DR
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                    Maria Ramirezdeperez
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                    Murrieta, CA 92562



                    Maria Reyes
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                    Temecula, CA 92591



                    Maria Rico Duran
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                    Maria Rios
                    258 North Capital Ave
                    San Jose, CA 95127
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1415 of
                                      2164



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                    HOUSTON, TX 77074
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1416 of
                                      2164



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                    #1
                    Pasadena, CA 91104



                    Maria Siavichay
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                    ALTAMONTE SPRINGS, FL 32714
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1417 of
                                      2164



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                    121 N FLINT CIRCLE
                    MESA, AZ 85201
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1418 of
                                      2164



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Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1419 of
                                      2164



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                    CHULA VISTA, CA 91911



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                    Mariah De La Cruz
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                    UNIT 1
                    PALMDALE, CA 93550
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1420 of
                                      2164



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                    714 NW 208TH DRIVE
                    PEMBROKE PINES, FL 33029



                    Mariah Freeman
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                    HAWTHORNE, CA 90250



                    Mariah Galindo
                    2104 S EAGLE CT
                    AURORA, CO 80014



                    MARIAH GIPSON
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                    LOGANVILLE, GA 30052



                    Mariah Lowery
                    1537 SAN PEDRO RD NW
                    RIO RANCHO, NM 87144



                    Mariah Manning
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                    NONE
                    Spring Valley, CA 91977



                    Mariah Meza
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                    4141 EAST HUBER CIRCLE
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Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1421 of
                                      2164



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                    LITTLETON, CO 80123



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                    GLENDALE, CA 91206
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1422 of
                                      2164



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                    MARIANA Escamilla
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                    Mariana Giron
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Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1423 of
                                      2164



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                    OCEANSIDE, CA 92056



                    mariana pereyra
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                    THE WOODLANDS, TX 77380



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                    S 9219 S CALLE AZTECA
                    GUADALUPE, AZ 85283



                    Marianna Aragus
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                    IMMOKALEE, FL 34142



                    MARIANNE DALZELL
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                    BREA, CA 92821
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1424 of
                                      2164



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                    9503 Neuens Apt 6
                    Houston, TX 77080



                    Maribel Hernandez Tinoco
                    145 W EL NORTE PKWY
                    118
                    ESCONDIDO, CA 92026



                    Maribel Mendoza
                    3262 SILVER LAKE BLVD
                    LOS ANGELES, CA 90039



                    Maribel saavedra
                    8506 S HOOVER ST
                    LOS ANGELES, CA 90044



                    Maricar Mikin
                    10690 Rancho Carmel Dr
                    San Diego, CA 92128



                    Maricarmen Avellaneda
                    12807 Sunset Dune Dr
                    Houston, TX 77082



                    Maricela Howard
                    4225 N. 1st Ave
                    Apt 1814
                    Tucson, AZ 85719



                    MARICELA HOWARD
                    4225 N 1ST AVE APT 1814
                    TUCSON, AZ 85719
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                    Maricela Juarez
                    25469 BOROUGH PARK DRIVE
                    115
                    SPRING, TX 77380



                    Maricella Pajan
                    413 Arbor Pl NE
                    Albuquerque, NM 87107



                    MARICOPA COUNTY ENVIRONMENTAL SERVICES D
                    1001 NORTH CENTRAL AVE #100
                    PHOENIX, AZ 85004-1936



                    MARICOPA COUNTY TREASURER
                    PO BOX 52133
                    PHOENIX, AZ 85072-2133



                    Maricris Angeles
                    9521 Vista Secunda
                    San Diego, CA 92129



                    Maricris Celosa
                    9074 Gramercy Drive
                    Apt 77
                    San Diego, CA 92123



                    Maricruz Flores
                    1041 E. LEXINGTON AVENUE
                    APT 8
                    EL CAJON, CA 92020



                    Maricruz Rodriguez
                    3612 West Oak Ave
                    Fullerton, CA 92833



                    MARIE ANGE CORVIL
                    4001 NW 78TH TERRACE
                    CORAL SPRINGS, FL 33065
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                                      2164



                    MARIE CURIE ELEMENTARY SCHOOL
                    4510 BANNOCK AVE
                    SAN DIEGO, CA 92117



                    Marie Lindor
                    3212 NW 84TH AVE APT 107
                    SUNRISE, FL 33351



                    Marie Matelus
                    5756 KINGSGATE DR.
                    #B
                    ORLANDO, FL 32839



                    Marie Nelson
                    1320 Nw 113th Terr
                    Miami, FL 33167



                    Marie Nicole Meus
                    7862 NW 44CT
                    CORAL SPRINGS, FL 33065



                    Marie Noel Pierre Louis
                    14 SOUTHERN CROSS CIR
                    101
                    BOYNTON BEACH, FL 33436



                    Marie Pardieu
                    1017 SUMMER GLEN BLVD
                    802
                    IMMOKALEE, FL 34142



                    Marie Perin
                    6354mount Ainsworthy
                    San Diego, CA 92111



                    Marie Rene
                    480 E Mcnab Road
                    Apartment 7
                    Pompano Beach, FL 33060
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                    Marie Sayon
                    2383 South Vaughn Way
                    APT# 304
                    Aurora, CO 80014



                    Marie Valentin
                    4591 18TH PL SW
                    NAPLES, FL 34116



                    Marie-ange Corvil
                    4001 NW 78TH Terrace
                    Coral Springs, FL 33065



                    Mariela de la fe
                    235 TARPON AVE
                    SARASOTA, FL 34237



                    Mariela Gomez
                    83697 Fujiyama Dr
                    Indio, CA 92203



                    Mariela Rivasplata
                    1133 MEADOW LANE
                    9
                    CONCORD, CA 94520



                    Mariela Spencer
                    635 3RD ST SW
                    RIO RANCHO, NM 87124



                    Mariela Vazquez
                    727 WEST AVENUE J-10
                    LANCASTER, CA 93534



                    Mariella Belloso
                    33307 4TH ST.
                    UNION CITY, CA 94587
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1428 of
                                      2164



                    Marielva Izneth mendez sixto
                    410 BROOKS
                    #B
                    OCEANSIDE, CA 92054



                    Marietou Ba
                    390 N. 1st St
                    Apt #13
                    El Cajon, CA 92021



                    Marietta Sese
                    157 Alta Street
                    Arcadia, CA 91006



                    Marilou Padillo
                    137 ROSEMONT AVE
                    33
                    LOS ANGELES, CA 90026



                    Marilu Ureno
                    1405 W Dogwood Ave
                    Anaheim, CA 91801



                    Marilyn Rivas
                    15025 SATICOY ST
                    #4
                    VAN NUYS, CA 91405



                    Marilynn Mena-Rodriguez
                    5338 E. ATCHISON STREET
                    FRESNO, CA 93727



                    Marina Araujo
                    1229 Scott Dr
                    National City, CA 91950



                    Marina Dzyura
                    2970 ROXBURGH DR
                    ROSWELL, GA 30076
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                    Marina Saucillo
                    521 S Lyon St.
                    Unit 140
                    Santa Ana, CA 92701



                    Marina-b Alvarez
                    6501 N 19th St
                    Tampa, FL 33610



                    MARINE CORPS COMMUNITY SERVICES
                    2273 ELROD AVE
                    SAN DIEGO, CA 92145



                    Marinho Cardosodevilhen
                    10930 Sw 139 Avenue
                    Miami, FL 33186



                    Marino Arango
                    534 RICHMAR
                    A
                    SAN MARCOS, CA 92075



                    Mario Almaguer Calixto
                    409 GERSHWIN DR
                    SARASOTA, FL 34237



                    Mario Alvarez
                    2010 SAN RAMON AVE
                    8
                    MOUNTAIN VIEW, CA 94043



                    Mario Barillas
                    536 1/2 N HARVARD BLVD
                    LOS ANGELES, CA 90004



                    Mario Bernal Jurado
                    26533 CHRISHOLM CT
                    APT 1
                    HAYWARD, CA 94544
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                                      2164



                    Mario Brown
                    9806 OVERLOOK DR
                    TAMPA, FL 33617



                    MARIO CARTER
                    16458 BOLSA CHICA ST #145
                    HUNTINGTON BEACH, CA 92649



                    Mario Cerda
                    25836 VIA LOMAS
                    51
                    LAGUNA HILLS, CA 92653



                    Mario Delgado Reyes
                    4060 EUCLID AVE
                    24
                    SAN DIEGO, CA 92105



                    Mario Escobar
                    1415 W NORTH ST
                    317
                    ANAHEIM, CA 92801



                    Mario espinoza
                    129 E 20TH ST
                    NATIONAL CITY, CA 92154



                    Mario Estrada
                    2918 N Eastern Ave
                    Los Angeles, CA 90032



                    Mario Estrada
                    1710 E LINLCON AVE.
                    ESCONDIDO, CA 92027



                    Mario Fuentes
                    1320 Pennsylvania ST NE
                    Apt #b
                    Albuquerque, NM 87110
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                    MARIO GALVEZ
                    710 SALEM ST
                    GLENDALE, CA 91203



                    Mario godinez
                    13016 7TH STREET
                    CHINO, CA 91710



                    Mario GONZALES III
                    8803 GLEN SHADOW DRIVE
                    HOUSTON, TX 77088



                    Mario Gonzalez
                    772 PALM ST
                    772
                    SAN JOSE, CA 95110



                    Mario Hester
                    2899 PANTHERSVILLE RD
                    DECATUR, GA 30034



                    Mario Howard
                    8438 ARBOUR LAKE DR
                    APT.202
                    LEESBURG, FL 34788



                    Mario Jaimes
                    285 Montgomery St
                    CHULA VISTA, CA 91911



                    Mario Luis
                    1901 SIMPLICITY
                    1901
                    IRVINE, CA 92620



                    Mario Matute
                    10565 BASTILLE LANE
                    P9-305
                    ORLANDO, FL 32836
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                    Mario Mendoza
                    580 AHWANEE AVE
                    43
                    SUNNYVALE, CA 94085



                    Mario Ortiz
                    3408 W LA SALLE ST
                    TAMPA, FL 33607



                    Mario Petiote
                    2313 hunter st
                    Fort Myers, FL 33901



                    Mario Provincia




                    Mario Ramirez
                    3854 BRAKER DR
                    #2
                    SAN JOSE, CA 95117



                    Mario Romano Robles
                    24922 MUIRLANDS BLVD
                    29
                    LAKE FOREST, CA 92630



                    Mario Santiago
                    9252 Somerset Blvd Unit C
                    Bellflower, CA 90706



                    Mario Saravia
                    1548 W 59th St
                    Los Angeles, CA 90047



                    Mario Vazquez
                    2508 CALMIA RD.
                    DUARTE, CA 91010
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                                      2164



                    MARIO VAZQUEZ
                    4203 N VERRADO WAY APT 201
                    BUCKEYE, AZ 85396



                    Marion Gates
                    15546 CALLE ASTURTAS
                    SAN DIEGO, CA 92128



                    Marisa Foods
                    1401 Santa Fe Avenue
                    Long Beach, CA 90813



                    MARISA FOODS
                    1401 SANTA FE AVE
                    LONG BEACH, CA 90813



                    Marisa Martinez
                    12341 Dovetree Ave
                    Rancho Cucamonga, CA 91739



                    Marisbel Osorio
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                    43
                    TAMPA, FL 33614



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                    Vancouver, WA 98665



                    Marisela Ochoa
                    7200 PINEMONT DR
                    403
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                    Marisol MORAGA
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                    34105
                    GLENDALE, AZ 85301
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                    Marisol Perez
                    6622 W Pioneer st
                    Phoenix, AZ 85043



                    Marisol Valenzuela
                    900 N Cypress Ave
                    Apt # 42
                    La Habra, CA 90631



                    Marisol Vargas
                    16812 SE STEPHENS ST
                    PORTLAND, OR 97233



                    Marissa Aguilera
                    202 Vancouver Ave
                    Monterey Park, CA 91754



                    Marissa Jimenez
                    14441 NOVAK STREET
                    HACIENDA HEIGHTS, CA 91745



                    Marissa Keesey
                    12202 TUNSTALL ST.
                    GARDEN GROVE, CA 92845



                    Marissa Knoepke
                    210 Pine Ranch Rd
                    Osprey, FL 34229



                    Marissa Ochoa
                    1192 Mitchell Ave # 102
                    Tustin, CA 92780



                    Marissa Rodriguez
                    41410 JUNIPER ST.
                    APT. 623
                    MURRIETA, CA 92562
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                    Marissa Speckman
                    5243 N Fresno St
                    Apt#113
                    Fresno, CA 93710



                    Maritza Avalos
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                    Apt 102
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                    MARITZA AVALOS
                    504 S KING RD
                    SAN JOSE, CA 95116



                    MARITZA AVALOS
                    504 S KING RD
                    SAN JOSE
                    CA, 95116



                    Maritza Diaz
                    20041 Osterman Drive
                    APT D6
                    Lake Forest, CA 92630



                    Maritza Gonzalez
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                    Westminster, CO 80031



                    Maritza Morales
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                    MESA, AZ 85201



                    Maritza Reyes
                    15758 SE HIGHWAY 224
                    102
                    DAMASCUS, OR 97089
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                                      2164



                    Maritza Ruiz
                    3210 W. 21st St
                    Los Angeles, CA 90018



                    Maritza Sterling
                    756 DE JA TOBA RD
                    CHULA VISTA, CA 91911



                    Marixa Gonzalez
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                    Naples, FL 34108



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                    220
                    SANTA CLARITA, CA 91350



                    Marjory Lopez
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                    LAKE BALBOA, CA 91406



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                    SAN DIEGO, CA 92117



                    Mark Bravo
                    608 3/4 N.KINGSLEY DR.
                    3
                    LOS ANGELES, CA 90004



                    Mark Burdette
                    5337 GROVELAND DRIVE
                    NO. 1
                    SAN DIEGO, CA 92114
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                                      2164



                    MARK C POPE ASSOCIATES INC
                    4910 MARTIN COURT
                    SMYRNA, GA 30082



                    Mark C. Pope Associates, Inc.
                    4910 Martin Court
                    Smyrna, GA 30082



                    Mark D. Holland
                    24432 RUE DE MONET
                    LAGUNA NIGUEL, CA 92677



                    mark del castillo ross
                    OBISPO LANE 16709
                    SAN DIEGO, CA 92128



                    MARK DIBBLE
                    4734 STANHOPE DRIVE
                    ST LOUIS, MO 63128



                    Mark Doyle
                    14917 BELCOURT DRIVE
                    WHITTIER, CA 90604



                    Mark Elston
                    241 29TH STREET
                    SAN DIEGO, CA 92102



                    Mark Galumette
                    5955 Nw 27th Place
                    Sunrise, FL 33313



                    Mark Hendrix
                    3959 PENSACOLA DR
                    LAKE WORTH, FL 33462
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1438 of
                                      2164



                    Mark Holland
                    24432 RUE DE MONET
                    LAGUNA NIGUEL, CA 92677



                    Mark Howard
                    13529 KORNBLUM
                    236
                    HAWTHORNE, CA 90250



                    Mark Innsy Rene
                    10310 FERN CT
                    PEMBROKE PINES, FL 33026



                    MARK JAMES
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                    CARY, NC 27512-1025



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                    HAPPY VALLEY, OR 97086



                    Mark Johnston
                    2948 S PALM GROVE AVE
                    LOS ANGELES, CA 90016



                    MARK KEPPEL CROSS COUNTRY TEAM
                    410 N LINCOLN AVE UNIT C
                    MONTEREY PARK, CA 91755



                    MARK KEPPEL CROSS COUNTRY TEAM
                    410 N LINCOLN AVE UNIT C
                    MONTEREY PARK
                    CA, 91755



                    MARK KEPPEL HIGH SCHOOL
                    3121 W MONTEZUMA AVE
                    ALHAMBRA, CA 91803
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1439 of
                                      2164



                    MARK KEPPEL HIGH SCHOOL
                    8134 EMERSON PLACE
                    ROSEMEAD, CA 91770



                    MARK KEPPEL HIGH SCHOOL
                    1707 GARVEY AVE APT 14
                    ALHAMBRA, CA 91803



                    MARK KEPPEL IMB
                    501 E HELLMAN AVE
                    MARK KEPPEL HIGH SCHOOL BAND
                    ALHAMBRA, CA 91801



                    MARK KITCHEN EQUIPMENT SERINC
                    212 MONTEREY PASS RD #B
                    MONTEREY PARK, CA 91754



                    Mark Manolovits
                    2311 Wilshire Ave
                    La Habra, CA 90631



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                    DENVER, CO 80211



                    Mark Morris
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                    West Palm Beach, FL 33405



                    Mark Newsome
                    3805 CLOUDLAND DR
                    SMYRNA, GA 30082



                    Mark Norris
                    12712 Dunes RD SE
                    Albuquerque, NM 87123
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                                      2164



                    Mark Osintsev
                    6916 SE QUEEN RD
                    MILWAUKIE, OR 97222



                    mark rodriguez
                    1634 MEADOW GREEN DR
                    MISSOURI CITY, TX 77489



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                    225 RIO CHICO DR.
                    SAN JOSE, CA 95111



                    Mark Schultz
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                    Littleton, CO 80130



                    Mark Smith
                    5102 NEW HAVEN ROAD
                    SAN DIEGO, CA 92117



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                    Denver, CO 80211



                    Mark Walter
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                    VANCOUVER, WA 98683



                    Mark Wittenberg
                    7622 Katella Ave
                    242
                    Stanton, CA 90680
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1441 of
                                      2164



                    MARK WITTENBERG
                    7622 KATELLA AVE #242
                    STANTON, CA 90680



                    markeese spence
                    11500 CLEWS RANCH RD
                    SAN DIEGO, CA 92130



                    Markeith Bennett
                    4329 E Tyson St.
                    Gilbert, AZ 85295



                    Markeith Wood
                    54 BIRCH RILL DR
                    ALPHARETTA, GA 30022



                    MARKMONITOR INC
                    PO BOX 3775
                    CAROL STREAM, IL 60132-3775



                    Marko Del Rio
                    1333 RECHE CANYON RD.
                    COLTON, CA 92324



                    Markquett Small
                    14819 HERITAGE WOOD DR.
                    HOUSTON, TX 77082



                    Markus Hernandez
                    305 LEWIS DR
                    LAVEEN, AZ 85339



                    Marlena Mirho
                    15210 BOONES WAY
                    LAKE OSWEGO, OR 97035
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                                      2164



                    Marlene Barba Perez
                    13882 Clinton Street
                    Apt 18
                    Garden Grove, CA 92843



                    Marlene Escobar
                    1160 BRACE AVE
                    7
                    SAN JOSE, CA 95125



                    Marlene Espinoza
                    2152 UNIVERSITY DR
                    C22
                    VISTA, CA 92083



                    MARLENE GUTHERY
                    10039 52ND ST
                    TEMPLE TERRACE, FL 33617



                    Marlene Marin Ortega
                    303 E. MICHIGAN AV
                    PHOENIX, AZ 85022



                    marlin de aleman
                    11819 FAIR POINT DR
                    HOUSTON, TX 77099



                    Marlon Castellanos
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                    CHINO HILLS, CA 91709



                    Marlon Dossantos
                    15028 OAK LANE
                    CHINO HILLS, CA 91709



                    Marlon Green
                    1500 AUSTIN ST
                    HOUSTON, TX 77009
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                    Marlon Morrison
                    1615 COBB PKWY N
                    C12
                    MARIETTA, GA 30062



                    Marlon Ojeda Vega
                    2750 mall dr apt 123
                    sarasota, FL 34231



                    MARLON PALENCIA
                    17 CHAMPION PL.
                    ALHAMBRA, CA 91801



                    Marlon Triana
                    2911 W GREEN ST
                    TAMPA, FL 33607



                    Marquaise Lymus
                    422 CHATTAHOOCHEE CIRCLE
                    422
                    ROSWELL, GA 30342



                    Marquarius Oneal
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                    TAMPA, FL 33604



                    marquas richie
                    1272 PENNSYLVANIA ST
                    DENVER, CO 80203



                    Marques Daniels
                    633 NATHAN STREET
                    ALBUQUERQUE, NM 87123



                    Marquez Black
                    1403 KISSIMMEE CT
                    KISSIMMEE, FL 34759
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1444 of
                                      2164



                    Marquez Savala
                    4101 PECOS ST
                    DENVER, CO 80211



                    Marquez Tadeo
                    351 N. Silverbell rd apt V
                    Tucson, AZ 85745



                    Marquis Miller
                    4611 BLAKES RIDGE ST
                    FRESNO, TX 77545



                    Marquis Williams
                    5801 W LAKE MEAD BLVD
                    APT 2083
                    LAS VEGAS, NV 89108



                    Marsha McCullough
                    327 HWY 41 S.
                    16
                    INVERNESS, FL 34450



                    Marsha Simmons
                    3450 EVANS ROAD
                    APT. 138D
                    ATLANTA, GA 30341



                    Marsha Stringer
                    8527 E SEABURY COURT
                    #2
                    TUCSON, AZ 86710



                    Marshal Gay
                    2740 COCONUT BAY LANE
                    3B
                    SARASOTA, FL 34237
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1445 of
                                      2164



                    Marshall Cobb
                    4340 W. POINT LOMA BLVD.
                    #L
                    SAN DIEGO, CA 92107



                    Marshall Lewis
                    28242 S SALO RD
                    MULINO, OR 97042



                    Marshall thomas
                    10040 W CHEYENNE AVE
                    170-25
                    LAS VEGAS, NV 89129



                    MARSTON MIDDLE SCHOOL CJSF
                    MARSTON MIDDLE SCHOOL
                    3799 CLAIREMONT DR
                    SAN DIEGO, CA 92117



                    MARSTON MIDDLE SCHOOL PTSA
                    3799 CLAIREMONT DR
                    SAN DIEGO, CA 92117



                    MARSTON MIDDLE SCHOOL PTSA
                    3799 CLAIREMONT DR
                    SAN DIEGO
                    CA, 92117



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                    Brandon, FL 33510



                    Marta Jarjis
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                    EL CAJON, CA 92019



                    Marta Perez
                    4450 W Via Sanrafael
                    Las Vegas, NV 89103
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1446 of
                                      2164



                    Martese Cobb
                    6954 PICCADILLY
                    FORT MYERS, FL 33919



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                    207 Otayvalley Rd
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                    Martha Encalada
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                    ALTAMONTE SPRINGS, FL 32701



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                    San Jose, CA 95138



                    Martha Garcia Limon
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                    San Diego, CA 92108



                    Martha Islas
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                    Martha Kantun
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                    Apt 2411
                    Henderson, NV 89014



                    Martha Mandujano
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                    #3
                    Coachella, CA 92236
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1447 of
                                      2164



                    MARTHA MELENDREZ
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                    Glendale, AZ 85301



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                    Martha Scott
                    33952 Temecula Creek Road
                    Temecula, CA 92592



                    MARTHA SCOTT
                    33952 TEMECULA CREEK RD
                    TEMECULA, CA 92592



                    Martha sedano
                    1449SATURN CT.
                    MILPITAS, CA 95035



                    Martha Solorio
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                    2003
                    HOUSTON, TX 77066



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                    30B
                    LAS VEGAS, NV 89122
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1448 of
                                      2164



                    Martha Zuniga
                    345 WYMORE RD
                    204
                    ALTAMONTE SPRINGS, FL 32714



                    Martika Ramos
                    3409 S RURAL RD
                    APT 128
                    TEMPE, AZ 85282



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                    Houston, TX 77099



                    Martin Aragon
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                    Martin Armendariz
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                    196
                    THORTON, CO 80260



                    Martin Avila
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                    EL CAJON, CA 92021



                    Martin Baker
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                    ALTAMONTE SPRINGS, FL 32714



                    Martin Bilagody
                    820 LOUISIANA BLVD NE
                    712
                    ALBUQUERQUE, NM 87108
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1449 of
                                      2164



                    MARTIN BROTHERS CONSULTING SERVICE INC
                    926 AZALEA
                    COSTA MESA, CA 92626



                    Martin Chavez
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                    Vista, CA 92083



                    MARTIN ESTERAS
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                    BELLFLOWER, CA 90706



                    MARTIN MURPHY HOME AND SCHOOL CL
                    141 AVENIDA ESPANA
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                    Martin Perez
                    2678 Moss Ave
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                    MARTIN RECRUITING PARTNERS LLC
                    3105 CREEKSIDE VILLAGE DRIVE
                    SUITE 804
                    KENNESAW, GA 30144



                    MARTIN RECRUITING PARTNERS LLC
                    3105 CREEKSIDE VILLAGE DRIVE
                    SUITE 804
                    KENNESAW
                    GA, 30144



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                    Martin Tinajero
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                    Martinez Devore
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                    SUNNYVALE, CA 94086



                    Marvin Rosario
                    2318 GREENHOUSE PATIO DRIVE
                    KENNESAW, GA 30144



                    Marvin Salguero Elvira
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                    #2
                    SANTA CLARA, CA 95051
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                                      2164



                    Marvin Umanzor
                    1926 CHAPARRAL
                    HOUSTON, TX 77043



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                    LAKE WORTH, FL 33460



                    MARY ALEXANDER
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                    MARY ARRANT
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                    Mary Galbis
                    3016 JACQUELINE DR
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Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1453 of
                                      2164



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                    2757 CACTUS HILL PL
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                    107
                    LOS ANGELES, CA 90006
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1455 of
                                      2164



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Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1456 of
                                      2164



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                    C/O JESSICA STONE
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                    33691 CALLE MIRAMAR
                    SAN JUAN CAPISTRANO, CA 92675



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                    1225
                    MURRIETA, CA 92562
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1457 of
                                      2164



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Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1458 of
                                      2164



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                                      2164



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                    Matthew Bumpus
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                                      2164



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                                      2164



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                    11455 Wistful Vista Way
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                                      2164



                    Matthew Henshilwood
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                    CARY, NC 27518



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                    Matthew Luna
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                    TUCSON, AZ 85746



                    Matthew Macfarlane
                    7556 BLUE MIST COURT
                    FONTANA, CA 92336
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1463 of
                                      2164



                    Matthew Marquez
                    1250 AMERICAN PACIFIC DRIVE
                    512
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                    OXNARD, CA 93036
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1464 of
                                      2164



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                    LAST VEGAS, NV 89149



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                    GILBERT, AZ 85298



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                    1725 EAST WESTINGHOUSE ST
                    SAN DIEGO, CA 92111
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1465 of
                                      2164



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                    Matthew Tse
                    16418 PADEMELON DR
                    SUGAR LAND, TX 77498
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1466 of
                                      2164



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                    FREMONT, CA 94536



                    MATTOS ELEMENTARY SCHOOL
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                    MATTOS PTA
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Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1467 of
                                      2164



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                                      2164



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Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1469 of
                                      2164



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                                      2164



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                                      2164



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                    ETOBICOKE, ON M8V 3W7



                    MAYDWELL MASCOTS INC
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                    MCILHENNY COMPANY (BROMAR
                    POBOX 974546
                    DALLAS, TX 75397-4546



                    Mckay Siebold
                    160 NORTH CLUBLANDS CT
                    ALPHARETTA, GA 30022



                    Mckayla Henderson
                    11500 FALLINGSTAR CT
                    RANCHO CUCAMONGA, CA 91701



                    McKenna Mitcham
                    3011 GOLDEN OAK WAY
                    SPRING VALLEY, CA 91978



                    Mckenna Singleterry
                    1647 CALLE DE ROJA DR. SE
                    RIO RANCHO, NM 87124



                    Mckenzee Simpson
                    6 FIR DRIVE TER
                    OCALA, FL 34472



                    Mckenzie Dehart
                    7329 Pierce Circle
                    Buena Park, CA 90620



                    Mckenzie Hardy
                    600 N PANTANO RD
                    1216
                    TUCSON, AZ 85710



                    Mckenzie Henderson
                    555 SE 5th circle
                    Apt 2
                    Boynton Beach, FL 33435
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                                      2164



                    Mckinsey Sherwood-Vlacilek
                    26942 FALLING LEAF DR.
                    LAGUNA HILLS, CA 92653



                    MCMASTER CARR SUPPLY COMPANY INC
                    PO BOX 7690
                    CHICAGO, IL 60680-7690



                    MCMASTER-CARR SUPPLY CO
                    600 N COUNTY LINE RD
                    ELMHURST, IL 60126



                    Md Islam
                    304 BALTIC SEA CT
                    PITTSBURGH, CA 94565



                    MD NOW MEDICAL CENTERS
                    2007 PALM BEACH LAKES BLVD
                    WEST PALM BEACH, FL 33409



                    MEADOW PARK MIDDLE SCHOOL PTO
                    14100 SW DOWNING ST
                    BEAVERTON, OR 97006



                    Meagan Arnerich
                    1800 S MAPLE ST
                    214
                    ESCONDIDO, CA 92025



                    Meagan Brown
                    26900 E COLFAX AVE
                    378
                    AURORA, CO 80018



                    Meagan Ricketts
                    28521 SHRIKE DR
                    LAGUNA NIGUEL, CA 92607
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                                      2164



                    Meagan Turner
                    8305 WINDRUSH AVE
                    LAS VEGAS, NV 89117



                    Meaghan Holt-Hillis
                    31842 OLD HICKORY RD
                    TRABUCO CANYON, CA 92679



                    MEALS ON WHEELS INDUSTRY INC
                    PO BOX 3293
                    CITY OF INDUSTRY, CA 91744



                    MEALS ON WHEELS OF WEST LA
                    PO BOX 241576
                    LOS ANGELES, CA 90024



                    MECHANICAL SYSTEMS INC
                    420 MARTINEZ LANE NE
                    ALBUQUERQUE, NM 87107



                    MECHANICAL SYSTEMS INC
                    420 MARTINEZ LANE NE
                    ALBUQUERQUE
                    NM, 87107



                    MEDIA DESIGN GROUP LLC
                    1964 WESTWOOD BLVD STE 350
                    LOS ANGELES, CA 90025



                    MEDIA DESIGN GROUP LLC
                    1964 WESTWOOD BLVD STE 350
                    LOS ANGELES
                    CA, 90025



                    Medical Guardian
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                    MEDOSWEET FARMS INC
                    PO BOX 749
                    KENT, WA 98035-0749



                    MEDOSWEET FARMS INC
                    PO BOX 749
                    KENT
                    WA, 98035-0749



                    MEDOSWEET FARMS OF OREGON
                    PO BOX 749
                    KENT, WA 98035



                    Megan Addonizio
                    39628 Firethorn ct
                    Murrieta, CA 92563



                    Megan Baker
                    3100 CHINO HILLS PARKWAY
                    1314
                    CHINO HILLS, CA 91709



                    Megan Denny
                    19 CHESTNUT DR
                    ALISO VIEJO, CA 92656



                    Megan Herman
                    5419 Lake Murray Blvd
                    #16
                    La Mesa, CA 91942



                    Megan Hsu
                    811 MESITA PLACE
                    FULLERTON, CA 92835



                    Megan Irving
                    3308 HUDSON CT
                    PLEASANTON, CA 94588
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                                      2164



                    Megan Jones
                    192 B Ravenwood Drive
                    Rome, GA 30161



                    Megan Mckay
                    13884 W. 68th Dr.
                    Arvada, CO 80004



                    Megan Mims
                    5106 SE PARK ST
                    MILWAUKIE, OR 97222



                    Megan Nelson
                    854 S SAN MARCOS DR.
                    13D
                    APACHE JUNCTION, AZ 85120



                    Megan Nguyen
                    8157 Columbus St
                    San Diego, CA 92126



                    Megan Nielsen
                    5145 EDENVIEW DRIVE
                    BB212
                    SAN JOSE, CA 95111



                    Megan Reilly
                    3031 Ne 21st Terrace
                    Apt #4
                    Fort Lauderdale, FL 33306



                    MEGAN RICKETTS
                    28521 SHRIKE DR
                    LAGUNA NIGUEL, CA 92677



                    Megan Row
                    7050 Primentel Lane
                    Carlsbad, CA 92009
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                                      2164



                    Megan Sparks
                    17631 Sw 18th St
                    Miramar, FL 33029



                    Megan Wallig
                    677 ASCOT DRIVE
                    VISTA, CA 92083



                    MEGAN WALLIG
                    677 ASCOT DR
                    VISTA, CA 92083



                    Meghan Donaldson
                    9465 Adolphia Street
                    San Diego, CA 92129



                    Meghan L. Donaldson
                    9465 Adolphia Street
                    San Diego, CA 92129



                    Meghan Shaw
                    14080 Se 41 Terrace
                    Summerfield, FL 34491



                    Meghann Stafford
                    11540 EAST PRONGHORN AVENUE
                    MESA, AZ 85212



                    Mehgan Perine
                    6654 Eisenhower Ct
                    Chino, CA 91710



                    Mehri agahalam
                    11817 MEMORIAL DR
                    HOUSTON, TX 77024
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                                      2164



                    MEIKLEJOHN ELEMENTARY PTA
                    13405 W 83RD PLACE
                    ARVADA, CO 80005



                    Mekonen Gidey
                    7532 FULTON ST
                    #5
                    SAN DIEGO, CA 92111



                    Melanie Brazil
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                    APT 203
                    SAN DIEGO, CA 92110



                    Melanie Cruz
                    40599 AMADOR DR
                    INDIO, CA 92203



                    Melanie Diaz
                    3002 WEBSTER
                    SAN DIEGO, CA 92113



                    Melanie Dore
                    11908 BERNARDO CENTER COURT
                    SAN DIEGO, CA 92128



                    Melanie Feder
                    3649 Emerald St
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                    Melanie Garcia
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                    HACIENDA HEIGHTS, CA 91745



                    Melanie Guerrero
                    1707 SW 108th Ln
                    Apt-2
                    Ocala, FL 34476
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                    MELANIE L. CRUZ
                    40599 AMADOR DR
                    INDIO, CA 92203



                    Melanie Martinez
                    455 S. CHATHAM CIR.
                    APT D
                    ANAHEIM, CA 92806



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                    MELANIE MESSNER
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                    TUCSON, AZ 85712



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                    1288
                    ALBUQUERQUE, NM 87102



                    Melanie Steele
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                    Lady Lake, FL 32159



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                    Melida Rios
                    1 University Dr
                    Camarillo, CA 93012
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                    Melienne Pierre
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                    Melinda Diaz
                    4031 E. 27th St
                    Tucson, AZ 85711



                    Melinda Smith
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                    5E
                    SANDY SPRING, GA 30350



                    Melinda Thompson
                    1991 SE 40TH STREET ROAD
                    APT B
                    OCALA, FL 34480



                    Melinna Alba
                    1777 ERIKA WAY
                    UPLAND, CA 91784



                    Melissa Bodtke
                    17 FAWN CREEK CT.
                    PLEASANT HILL, CA 94523



                    MELISSA BROWN
                    8510 HENDERSON RD
                    VENTURA, CA 93004



                    Melissa Carapia
                    33151 CHRISTINA DR
                    DANA POINT, CA 92629



                    Melissa Carrasco
                    44 EDWARDS AVENUE
                    SAN JOSE, CA 95110
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                    Melissa Cedillo
                    3180 COWLEY WAY
                    #4
                    SAN DIEGO, CA 92117



                    Melissa Conde
                    3004 BALDWIN AVE
                    SARASOTA, FL 34232



                    Melissa Corley
                    2901 Sam Hicks Rd
                    Plant City, FL 33567



                    Melissa Dos Santos
                    15028 OAK LANE
                    CHINO HILLS, CA 91709



                    Melissa Flores
                    82060 Sonora ave #2
                    Indio, CA 92201



                    Melissa Fortner
                    6973 W Country Club Dr N
                    #252
                    Sarasota, FL 34243



                    Melissa Gaona
                    5080 MISTY CANAL PL
                    BRADENTON, FL 34203



                    Melissa Green
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                    Apt 125
                    Tucson, AZ 85716



                    Melissa Harmer
                    4506 S HIMALAYA CIR
                    AURORA, CO 80015
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                    MELISSA HENRY
                    2539 NORTH TUTTLE AVE.
                    SARASOTA, FL 34234



                    melissa hernandez
                    200 E AVE R
                    11207
                    PALMDALE, CA 93550



                    Melissa Hull
                    3960 Oaksclub Dr
                    # 310
                    Pompano Beach, FL 33069



                    MELISSA J DAVEY CHAPTER 13 TRUSTEE
                    260 PEACHTREE ST
                    SUITE 200
                    ATLANTA, GA 30303



                    Melissa Jensen
                    13826 S Meyers Rd
                    #2124
                    Oregon City, OR 97045



                    Melissa Johnson
                    2128 HARRISON STREET
                    SANTA CLARA, CA 95050



                    Melissa Kustermann
                    1325 CLAY RD SW
                    MABLETON, GA 30126



                    Melissa Lopez Godinez
                    3348 PERLITA AVE
                    LOS ANGELES, CA 90039
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                                      2164



                    Melissa Madrigal
                    4258 W. FIGARDEN DR.
                    220
                    FRESNO, CA 93722



                    Melissa Mendoza
                    429 W. 18th Street
                    San Pedro, CA 90731



                    Melissa Mendoza
                    914 Marcia Ct
                    Lake Elsinore, CA 92530



                    Melissa Miller
                    2425 Floyd St
                    Sarasota, FL 34239



                    Melissa morales
                    5051 DAWNE ST
                    SAN DIEGO, CA 92117



                    Melissa Moreno
                    14818 MARWOOD ST
                    HACIENDA HEIGHTS, CA 91745



                    Melissa Quintanilla
                    16310 Garo St
                    Hacienda Heights, CA 91745



                    Melissa Rosenburg
                    11823 NE Carl Road
                    12
                    Woodburn, OR 97071



                    Melissa Ruby
                    18855 Indian Springs
                    Lake Oswego, OR 97035
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                                      2164



                    Melissa Salgado
                    2195 SANDELL TAIL
                    MARIETTA, GA 30008



                    Melissa Santos
                    4766 CLINTON ST
                    LOS ANGELES, CA 90004



                    Melissa Seymour
                    14292 SOUTHWEST 114TH AVENUE
                    TIGARD, OR 97224



                    Melissa Sortillon
                    3648 WOOLWINE DR
                    LOS ANGELES, CA 90063



                    Melissa Stone
                    12 SE 4TH STREET
                    DANIA BEACH, FL 33004



                    Meliza Sanchez
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                    #5
                    Los Angeles, CA 90066



                    Melody Miller
                    3280 SW 170TH AVE
                    915
                    BEAVERTON, OR 97003



                    Melody Silva
                    6087 Scheelite St
                    Riverside, CA 92509



                    MELROSE ELEMENTARY PTO
                    731 N DETROIT ST
                    LOS ANGELES, CA 90046
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                                      2164



                    MELROSE ELEMENTARY PTO
                    731 N DETROIT ST
                    LOS ANGELES
                    CA, 90046



                    Melvin Bonet
                    11952 REEDY CREEK DR
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                    ALPHARETTA, GA 30004



                    Melvin Holmes Iii
                    1202 Tree Summit Parkway
                    Duluth, GA 30096



                    Melvin Lemus
                    1437 S MINNIE ST
                    #7
                    SANTA ANA, CA 92707



                    Melvin Polk
                    22422 BRIDGESTONE RIDGE DR
                    SPRING, TX 77388



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                    APT 3
                    ORLANDO, FL 32807



                    Melvin Ward
                    4021 HAWTHORNE CIRCLE
                    APT 3
                    SMYRNA, GA 30080



                    MEMO
                    13022 CIRCULO DE ZAPATA
                    FOUNTAIN VALLEY, CA 92708
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                    MEMO
                    13022 CIRCULO DE ZAPATA
                    FOUNTAIN VALLEY
                    CA, 92708



                    MEMORIAL VILLAGES WATER AUTHORITY
                    8955 GAYLORD DR
                    HOUSTON, TX 77024



                    Mendoza Bernadette
                    878 SOUTH 9TH ST.
                    SAN JOSE, CA 95112



                    Meranda Ramsey
                    1000 AMERICAN PACIFIC DR
                    321
                    HENDERSON, NV 89074



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                    PO BOX 17376
                    WEST PALM BEACH, FL 33416



                    Mercedes Espinoza
                    1441 ESTATE DR
                    #3
                    LA HABRA, CA 90631



                    Mercedes Gross
                    5763 W. MAPLEWOOD DR.
                    LITTLETON, CO 80123



                    Mercedes Hernandez Castro
                    3819 EAST AVE
                    60
                    LIVERMORE, CA 94550



                    Mercedes Musco
                    12854 112TH ST
                    LARGO, FL 33778
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                                      2164



                    Mercedes Nunnally
                    2302 E FORT LOWELL RD
                    2112
                    TUCSON, AZ 85719



                    MERCEDES PROFESSIONAL CLEANING SVCS OF S
                    PO BOX 17376
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                    Mercedes Vega
                    6406 Hanley Rd.
                    Tampa, FL 33634



                    Merchant Centric




                    Meredyth McGinnis
                    10543 ATWOOD CIRCLE
                    HIGHLANDS RANCH, CO 80130



                    Mergim Rexhepi
                    3194 ANTICA STREET
                    FORT MYERS, FL 33905



                    Mericle Mechanical
                    1664 SIERRA MADRE CIRCLE
                    PLACENTIA, CA 92870



                    MERICLE MECHANICAL INC
                    1664 SIERRA MADRE CIRCLE
                    PLACENTIA, CA 92870



                    Mericle Mechanical, Inc.
                    1664 Sierra Madre Circle
                    Placentia, CA 92870
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1491 of
                                      2164



                    Merissa Coats
                    2175 Chulate Ct.
                    Los Altos, CA 94024



                    MERIT SERVICES INC
                    7908 BENCHMARK DR
                    FLOWERY BRANCH, GA 30542



                    Merita Shkurti
                    9075 Gaylord
                    #7
                    Houston, TX 77024



                    Meritech
                    720 CORPORATE CIR STE K
                    GOLDEN, CO 80401



                    MERITECH SYSTEMS LLC
                    720 CORPORATE CIR STE K
                    GOLDEN, CO 80401



                    Merna Abadir
                    19825 VIA OTT
                    NEW HALL, CA 91321



                    Meroy Etse
                    511 2nd Av NE
                    Largo, FL 33770



                    Merriah Dejesus
                    9310 Konocti Street
                    Rancho Cucamonga, CA 91730



                    MERRIAH DEJESUS
                    9310 KONOCTI STREET
                    RANCHO COCAMONGA, CA 91730
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1492 of
                                      2164



                    MERRIAH DEJESUS
                    9310 KONOCTI STREET
                    RANCHO COCAMONGA
                    CA, 91730



                    MERRILL COMMUNICATIONS LLC
                    PO BOX 74007252
                    CHICAGO, IL 60674-7252



                    MESA MECHANICAL INC
                    3514 PINEMONT
                    HOUSTON, TX 77018



                    MESA STARLIGHT #16
                    960 W KNOWLES CIR
                    MESA, AZ 85210



                    MESA VERDE PTSA
                    8375 ENTREKEN WAY
                    SAN DIEGO, CA 92129



                    Messiah Omenai
                    10047 PARK MEADOWS DR
                    17001
                    LONE TREE, CO 80124



                    METAL MASTERS MECHANICAL LLC
                    3808 E MADISON ST
                    PHOENIX, AZ 85034



                    METRO FIRE & SAFTEY INC
                    2733 VIA ORANGE WAY STE 103
                    SPRING VALLEY, CA 91978



                    METZ AND HARRISON LLP
                    139 RICHMOND ST
                    EL SEGUNDO, CA 90245
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                    METZGER COMMUNITY PRESCHOOL
                    9055 SW LOCUST ST
                    TIGARD, OR 97223



                    METZGER COMMUNITY PRESCHOOL
                    9055 SW LOCUST ST
                    TIGARD
                    OR, 97223



                    MEWE INC
                    630 15TH AVE
                    SAN FRANCISCO, CA 94118



                    Meyawn Williams
                    1254 7th Street
                    WEST PALM BEACH, FL 33401



                    MEYER MONTESSORI PTO
                    2615 S DORSEY LN
                    TEMPE, AZ 85282



                    MGFA
                    355 LEXINGTON AVE 15TH FL
                    NEW YORK, NY 10017



                    Mi Kang
                    11772 CARMEL CREEK RD
                    304
                    SAN DIEGO, CA 92130



                    Mi Phan
                    420 N LOCUST
                    FULLERTON, CA 92833



                    MI STATE DISBURSEMENT UNIT
                    PO BOX 30350
                    LANSING, MI 48909
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1494 of
                                      2164



                    MI STATE DISBURSEMENT UNIT
                    PO BOX 30350
                    LANSING
                    MI, 48909



                    Mia Ayala
                    22111 NEWPORT AVE
                    33
                    GRAND TERRACE, CA 92313



                    Mia Brown
                    10516 LADERA DR.
                    LONE TREE, CO 80124



                    Mia Castille
                    10316 SE 38TH AVE
                    MILWAUKIE, OR 97222



                    Mia Cornejo
                    3138 W. COLUMBINE DR.
                    PHOENIX, AZ 85029



                    Mia Garay
                    12778 Central Ave
                    Chino, CA 91710



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                    3987 MOUNT ABRAHAM AVE
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                    Mia M. Geissler
                    3987 MOUNT ABRAHAM AVE
                    SAN DIEGO, CA 92117



                    Mia Spinarski
                    24271 AVENIDA BREVE
                    #D
                    LAGUNA NIGUEL, CA 92677
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1495 of
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                    MIAMI - DADE COUNTY
                    TAX COLLECTOR
                    200 NW 2 AVENUE
                    MIAMI, FL 33128



                    MIAMI DADE CNTY DEPT OF REGULATORY AND E
                    701 NW 1ST COURT 3RD FLOOR
                    MIAMI, FL 33136



                    MIAMI DADE COUNTY CLERK
                    111 NW 1ST ST STE 1750
                    CODE ENFORCEMENT
                    MIAMI, FL 33128



                    Miami Valenzuela
                    1000 APACHE BLVD
                    1228
                    TEMPE, AZ 85281



                    MIAMI-DADE COUNTY
                    200 NW 2ND AVE
                    MIAMI, FL 33128



                    MIAMI-DADE FIRE RESCUE DEPT
                    FINANCE BUREAU
                    9300 NW 41ST STREET
                    MIAMI, FL 33178-2424



                    MIAMI-DADE POLICE DEPT
                    9105 NW 25TH STREET #1119
                    MIAMI, FL 33172



                    MIAMISBURG CITY INCOME TAX
                    TAX ADMINISTRATOR
                    10 NORTH FIRST STREET
                    MIAMISBURG, OH 00045-3420
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                                      2164



                    Mica Mills
                    1154 AVENIDA SOBRINA
                    OCEANSIDE, CA 92057



                    Micaela Borroel
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                    Micaelina Gutierrez
                    1380 Reeecest
                    San Bernardino, CA 92411



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                    MULINO, OR 97042



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                    UNIT H
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                    Micah Shaw
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                    HOUSTON, TX 77064



                    Micah Trevett-cary
                    3034 SE 73RD AVE
                    PORTLAND, OR 97206



                    Micah Watson
                    2031 SAGEBRUSH CIRCLE
                    NAPLES, FL 34120



                    Micaiah Wood
                    3743 E. LONGHORN DR.
                    GILBERT, AZ 85297
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1497 of
                                      2164



                    Michael A. Gomez
                    15949 Downey Ave
                    Paramount, CA 90723



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                    1738 CANYON DRIVE
                    15
                    LA, CA 90028



                    Michael Allen
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                    Poway, CA 92064



                    Michael Alvarez
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                    FORT MYERS, FL 33907



                    MICHAEL AYALA
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                    BALDWIN PARK, CA 91706



                    MICHAEL BENTSON
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                    Michael Bradford
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                    81
                    SAN DIEGO, CA 92126



                    Michael Brinkmann
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                    Spring, TX 77389



                    Michael Bryant
                    3403 YORK CREST DR
                    101
                    RIVERVIEW, FL 33578
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                                      2164



                    Michael Burns
                    601 TELEGRAPH CANYON RD
                    217
                    CHULA VISTA, CA 91910



                    MICHAEL CASTANO
                    513 6TH AVE NE APT C
                    LARGO, FL 33770



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                    2941 OCALA AVE
                    SAN JOSE, AR 95148



                    Michael Clark
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                    240
                    ENCINITAS, CA 92024



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                    Garden Grove, CA 92843



                    Michael Cooney
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                    LANCASTER, CA 93535



                    Michael Dinwiddie
                    4581 RENAISSANCE DR APT 812
                    SAN JOSE, CA 95134



                    Michael Dorsey
                    2307 Fenton Parkway #107-245
                    San Diego, CA 92108



                    Michael Doyle
                    10701 Ne 59th St
                    Apt N
                    Vancouver, WA 98662
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1499 of
                                      2164



                    MICHAEL DOYLE
                    10701 NE 59TH ST
                    VANCOUVER, WA 98662



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                    7111 QUEEN PALM CIRCLE
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                    Long Beach, CA 90807



                    Michael Dyer
                    1615 Silva
                    Long Beach, CA 90807



                    Michael Elrod
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                    MIRAMAR, FL 33029



                    MICHAEL ELROD
                    17942 SW 29TH LN
                    MIRAMAR, FL 33029



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                    Winnetka, CA 91306



                    Michael Espinoza
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                    #3
                    LA HABRA, CA 90631



                    Michael Estese
                    15254 WILSHIRE CIRCLE
                    PEMBROKE PINES, FL 33207
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                    Michael Fernandez
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                    TAMPA, FL 33609



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                    Michael Flores
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                    9 WATER TRACE
                    PRIVIT
                    OCALA, FL 34472



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                    QUEEN CREEK, AZ 85142



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                    Michael Goings
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                    118
                    ORLANDO, FL 32801



                    Michael Gomez
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                    Paramount, CA 90723



                    Michael Grippa
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                    PEMBROKE PINES, FL 33028



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                    BOULDER CITY, NV 89005



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                    PASADENA, CA 91104



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                    MICHAEL J KASTNER
                    11935 WATERMARK WAY
                    PARKLAND, FL 33076



                    Michael Jenkins
                    3364 FAIRWAY OAKS DRIVE
                    2A
                    LAWRENCEVILLE, GA 30044



                    Michael Jensen
                    154 Th St
                    Summerfield, FL 34491



                    Michael Johanson
                    2775 W BALL RD
                    229
                    ANAHEIM, CA 92804



                    Michael Jones
                    15832 E ALAMEDA PKWY
                    APT 5-201
                    AURORA, CO 80017



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                    40318 DONNA ANA RD
                    MAGNOLIA, TX 77354



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                    532 OAKWOOD DRIVE
                    C205
                    CASTLE ROCK, CO 80104



                    Michael Kennedy
                    10777 Bendigo Cove
                    San Diego, CA 92126
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                    Michael Ketterer
                    12840 SEMINOLE BLVD
                    66
                    LARGO, FL 33778



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                    LIVERMORE, CA 94550



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                    SAN DIEGO, CA 92130



                    Michael Lee
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                    Coral Springs, FL 33071



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                    4956 KILKENNEY WAY
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                                      2164



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                    SAN RAMON, CA 94583



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                    28751 WOODCOCK DR
                    LAGUNA NIGUEL, CA 92677



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                    201 PLAZA VERDE DRIVE
                    1615
                    HOUSTON, TX 77038
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                                      2164



                    Michael Parker
                    4727 WARNER RD
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                    9946 DEAN WOODS PLACE
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                    219
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                    11860 129TH AVE NORTH
                    LARGO, FL 33778
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                    206
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                    116
                    RAMONA, CA 92065



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                    10244 ARROW ROUTE
                    206
                    RANCHO CUCAMONGA, CA 91730



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                    8102 ARTESIA BLVD
                    203
                    BUENA PARK, CA 90621



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                    97
                    VISTA, CA 92081



                    MICHAEL ROMAN
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                    5769 W PARR AVE
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                                      2164



                    Michael Royal
                    1071 SHOREVIEW CT
                    BAYPOINT, CA 94565



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                    832L
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                    103
                    SAN DIEGO, CA 92126



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                    Sarasota, FL 34234
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                                      2164



                    Michael Sosa
                    80 DESCANSO DRIVE
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                                      2164



                    Michael Trofimov
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                    Michael WIMMER
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                    Michael Wolff
                    11110 APPLEGATE CIRCLE
                    NA
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                    AVE MARIA, FL 34142



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                    MICHELLE HIGHFILL




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                    1031 SANDSPRINGS DRIVE
                    LA PUENTE, CA 91747
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                                      2164



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                    MICHELLE PHAN
                    8572 HEMLOCK WAY
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                                      2164



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                    Michelle Yutuc
                    5448 CAMINO DEVILLE
                    CAMARILLO, CA 93012
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                                      2164



                    MICHELLE YVONNE MOODY
                    147 E ORANGE GROVE BLVD #7
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                    GRAND RAPIDS, MI 49503



                    Michigan Turkey Producers, Llc
                    Dept 4016
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                    Lansing, MI 48909-8016



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                    KISSIMMEE, FL 34758



                    Mickus Anna
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                    Mideline etienne
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                    MIDLAND CREDIT MANAGEMENT INC
                    PO BOX 2121
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                    Midway Towne Center LLC
                    3910 Chapman St.
                    Ste. A
                    San Diego, CA 92110



                    MIFFCO TAX SERVICE, INC.
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                    Mignon Smith
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                    Miguel Barragan
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                    Miguel Hernandez
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                    CHULA VISTA, CA 91910



                    Miguel Iribe
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                                      2164



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                    Miguel Pena
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                                      2164



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Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1522 of
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                    TUSTIN, CA 92780



                    MIKE MALONE
                    1762 W THUNDERHILL DR
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                    60 Breaker Dr
                    Pittsburg, CA 94565
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                                      2164



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                    Milagros Martinez Meza
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                    Mildred Rodriguez
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                    MILE HIGH ACADEMY
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                    1009
                    HOUSTON, TX 77064
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                                      2164



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                    Miles Sinclair
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                    SANTA CRUZ VILLAGE
                    CAMARILLO, CA 93012



                    MILLENNIUM PALLETS LLC
                    6016 N MAIN STREET
                    ACWORTH, GA 30101
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                                      2164



                    Millennium Pallets, Llc
                    6016 N. Main Street
                    Acworth, GA 30101



                    MILLER ELEMENTARY PTA
                    10188 GLENNON ST
                    SAN DIEGO, CA 92124



                    Miller Wendy
                    12528 TINSLEY TERRACE DR
                    150
                    TAMPA, FL 33612



                    MILLIMAN
                    4370 LA JOLLA VILLAGE DRIVE
                    SUITE 700
                    SAN DIEGO, CA 92122



                    MILLIMAN
                    251 SOUTH LAKE AVE STE 910
                    PASADENA, CA 91101-3022



                    MILLPLAIN ELE PTO
                    400 SE 164TH AVE
                    VANCOUVER, WA 98684



                    Milton Pomales
                    108 south lake cortez dr
                    Apopka, FL 32703



                    MIMI KANG
                    3908 CREEKSIDE LN
                    CARROLLTON, TX 75010



                    Min Soo Kang
                    354 Fallingstar
                    Irvine, CA 92614
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1528 of
                                      2164



                    Mina Ahmadirezai
                    16420 FITZPATRICK CT
                    UNIT 258
                    LA MIRADA, CA 90638



                    MINARET ACADEMY PTO
                    1220 N STATE COLLEGE BLVD
                    ANAHEIM, CA 92806



                    Mindy Escalona
                    31662 W NINE DR
                    LAGUNA NIGUEL, CA 92677



                    Mindy Hemperley
                    1207 PECOS PASS
                    RICHMOND, TX 77406



                    Minerva Hendrickson
                    8909 XAVIER STREET
                    WESTMINSTER, CO 80031



                    Minerva Salazar
                    4152 Creek Hollow Way
                    Duluth, GA 30096



                    MINGFEI JENG
                    11318 SE LUDLOW CT
                    HAPPY VALLEY, OR 97086-8796



                    Mingtao Li
                    4058 FRANCISCO STREET
                    PLEASANTON, CA 94566



                    MINH DIEP
                    18 N. MARENGO AVE
                    E
                    ALHAMBRA, CA 91801
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1529 of
                                      2164



                    Minh Pham
                    1470 TURNERS RIDGE DRIVE
                    NA
                    NORCROSS, GA 30093



                    MINNESOTA DEPT. OF REVENUE
                    P.O. BOX 64439
                    ST. PAUL, MN 05516-4439



                    MINNIS CHAPEL INC
                    526 E 4TH BOX 34
                    SAINT JOHN, KS 67576



                    Mint Arella
                    4340 W. Point Loma Blvd
                    unit L
                    San Diego, CA 92107



                    MINT ARELLA
                    4340 W POINT LOMA BLVD UNIT L
                    SAN DIEGO, CA 92107



                    Miqueas Santibanez
                    10772 1/2 Oak St.
                    Stanton, CA 90680



                    Miquel Jones
                    1845 EVELYN AVE
                    HENDERSON, NV 89011



                    MIRA MESA HIGH SCHOOL BAND AND COLOR GUA
                    8703 OCTANS ST
                    SAN DIEGO, CA 92126



                    MIRA MESA HS FOUNDATION
                    10510 MARAUDER WAY J FO
                    SAN DIEGO, CA 92126
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1530 of
                                      2164



                    MIRA MESA INSTRUMENTAL MUSIC BOOSTERS
                    10606 CAMINO RUIZ STE 111
                    SAN DIEGO, CA 92126



                    MIRA MESA SHOPPING CENTER WEST
                    8294 MIRA MESA BLVD
                    SAN DIEGO, CA 92126



                    Mira Mesa Shopping Center-West, LLC
                    Furstien Brett
                    8294 Mira Mesa Blvd.
                    San Diego, CA 92126



                    Miracle Jarvis
                    5402 Se Malden St
                    Portland, OR 97206



                    MIRADA PTO
                    5500 W GALVESTON ST
                    CHANDLER, AZ 85226



                    Mirakel Kolbeck
                    8 WINDFLOWER
                    ALISO VIEJO, CA 92656



                    Miraldy Sanchez
                    2050 Ne Barberry Drive
                    Apt 16
                    Hillsboro, OR 97124



                    MIRAMONTE CHRISTIAN SCHOOL
                    1175 ALTAMEAD DRIVE
                    LOS ALTOS, CA 94024



                    Miranda A. Servin
                    1635 NEIL ARMSTRONG ST.
                    159
                    MONTEBELLO, CA 90640
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1531 of
                                      2164



                    Miranda Hearn
                    1303 CONSTITUTION ROAD
                    ATLANTA, GA 30316



                    Miranda Martinez-orozco
                    157 DOVETAIL CT
                    APOPKA, FL 32703



                    Miranda Servin
                    1635 NEIL ARMSTRONG ST.
                    159
                    MONTEBELLO, CA 90640



                    Miranda Teel
                    4901 W. 93rd Ave.
                    Apt. 2227
                    Westminster, CO 80031



                    Mirella Ortega
                    238 N 6TH ST
                    SAN JOSE, CA 95112



                    Mirella Porcella
                    2714 MONTICIELLO WAY
                    FLORIDA, FL 34741



                    Mireya angeles
                    3249 EL SOBRANTE ST.
                    SANTA CLARA, CA 95051



                    Mireya Sandoval
                    4250 N CHESTNUT
                    132
                    FRESNO, CA 93726



                    Mireyda Cruz
                    3499 N. BRAWLEY AVE
                    FRESNO, CA 97322
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1532 of
                                      2164



                    Miriah Portillo
                    10631 S RACINE ST
                    COMMERCE CITY, CO 80022



                    Miriam Castaneda Vazquez
                    7708 QUIVAS ST
                    DENVER, CO 80221



                    Miriam Cisneros
                    531 Diamond Rd
                    Placentia, CA 92870



                    Miriam Cruz Hernandez
                    4155 W POINT LOMA BLVD
                    210
                    SAN DIEGO, CA 92110



                    Miriam De La Rosa
                    1629 S TOWNSEND ST
                    SANTA ANA, CA 92704



                    Miriam Dominguez
                    2235 Comstock St
                    San Diego, CA 92111



                    Miriam Garcia
                    7400 Bellerive dr.
                    #1706
                    Houston, TX 77036



                    Miriam Pelayo
                    519 Sunnyside Ave
                    San Diego, CA 92114



                    Miriam prado
                    17588 SAINT ANDREWS DR
                    POWAY, CA 92064
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1533 of
                                      2164



                    Miriam Rodriguez
                    9530 88th Way N
                    Seminole, FL 33777



                    Miriam Sanchez
                    1375 Davidson Ave
                    San Bernardino, CA 92411



                    Mirian Aragon
                    16611 Montego Way
                    Tustin, CA 92780



                    Mirielys Martinez
                    2741 Derby Dr
                    Deltona, FL 32738



                    Mirlene Grigou
                    4541 Nw 3rd St
                    Fort Lauderdale, FL 33317



                    Mirna Lopez
                    4909 London Creek Pl
                    Kissimmee, FL 34758



                    Mirsada kukavica
                    2351 WILLIAM DRIVE
                    #4
                    SANTA CLARA, CA 95050



                    Misael Huerta Alegria
                    2814 E BEVERLY LN
                    PHOENIX, AZ 85032



                    Misael sanchez
                    420 SMILAX
                    82
                    SAN MARCOS, CA 92078
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1534 of
                                      2164



                    Misako Seater
                    26123 Bouquet Cyn
                    # 104
                    Santa Clarita, CA 91350



                    Mischelay Copeland
                    21 REDWOOD TRACK TRAIL
                    OCALA, FL 34472



                    Misleydis Valdes
                    132 RODNEY
                    TAMPA, FL 33615



                    Mission Foods
                    PO BOX 843793
                    DALLAS, TX 75284-3793



                    Mission Foods Southern Califor
                    Po Box 843793
                    Dallas, TX 75284-3793



                    MISSION LANDSCAPE SERVICES INC
                    PO BOX 15026
                    SANTA ANA, CA 92735



                    MISSISSIPPI DEPARTMENT OF REV
                    P.O. BOX 1033
                    JACKSON, MS 39215-1033



                    MISSISSIPPI DEPT OF EMPLOY SEC
                    PO BOX 22781
                    JACKSON, MS 39225-2781



                    MISSOURI DIRECTOR OF REVENUE
                    P.O. BOX 999
                    JEFFERSON CITY, MO 06510-8999
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                                      2164



                    MISSOURI DIV OF EMPLOY SECURIT
                    P.O. BOX 888
                    JEFFERSON CITY, MO 06510-2888



                    MISSOURI STATE TREASURER
                    UNCLAIMED PROPERTY DIVISION
                    PO BOX 1272
                    JEFFERSON CITY, MO 65102-1272



                    MITCH CHARTER SCHOOL PSO
                    PO BOX 1971
                    MITCH CHARTER SCHOOL PSO
                    TUALATIN, OR 97062



                    Mitchel Salita
                    5005 HARTFORD PLACE
                    LAKE OSWEGO, OR 97035



                    Mitchell dimeglio
                    827 98TH AVE NORTH
                    827
                    NAPLES, FL 34108



                    Mitchell Flanigan
                    18 MESA CIRCLE
                    ALISO VIEJO, CA 92656



                    Mitchell Medina
                    1542 S. OWENS ST.
                    H247
                    LAKEWOOD, CO 80232



                    Mitchell Valencia
                    3600 BENTON STREET
                    31
                    SANTA CLARA, CA 95051
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1536 of
                                      2164



                    Mitchelot Belizaire
                    5336 MILLENIA BLVD
                    ORLANDO, FL 32839



                    Mithee Ramarapu
                    3131 HOMESTEAD RD
                    APT 16E
                    SANTA CLARA, CA 95051



                    MITHU MASWOOD
                    PO BOX 2268
                    OCEANSIDE, CA 92051



                    MITSUI
                    PO BOX 7247-6455
                    PHILADELPHIA, PA 19170-6455



                    MITSY SALAZAR
                    25304 VIA ARTINA
                    VALENCIA, CA 91355



                    Mizkan Americas, Inc.
                    Nakano Foods Inc
                    27772 Network Place
                    Chicago, IL 60673-1277



                    MJ CEFARATT
                    7595 DEHESA CT
                    CARLSBAD, CA 92009



                    MJS ELECTRIC INC
                    319 W LONE CACTUS DR STE A
                    PHOENIX, AZ 85027



                    MKHS CSF
                    501 E HELLMAN AVE
                    ALHAMBRA, CA 91801
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1537 of
                                      2164



                    MKHS MATH CLUB
                    501 EAST HELLMAN AVE
                    ALHAMBRA, CA 91801



                    MMHS
                    10167 ARROW ROCK AVE
                    C/O 2022 PBO
                    SAN DIEGO, CA 92126



                    MMHS CLASS OF 2019
                    10510 MARAUDER WAY
                    SAN DIEGO, CA 92126



                    MMHS FOUNDATION INC
                    10606 CAMINO RUIZ #8 PMB 264
                    SAN DIEGO, CA 92126



                    MO FAMILY SUPPORT PAYMENT CENTER
                    PO BOX 109001
                    JEFFERSON CITY, MO 65110



                    MOBILE BUSINESS APPLICATION
                    8595 FERNDALE STREET
                    SAN DIEGO, CA 92126



                    Mobile Fleet Wash
                    Po Box 3312
                    La Habra, CA 90631



                    MOBILE FLEET WASH
                    Po Box 3312
                    La Habra
                    CA, 90631



                    Modris Reinbergs
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1538 of
                                      2164



                    Mohamad Moghrabi El Marini
                    195 West Central Avenue
                    #227
                    Brea, CA 92821



                    Mohammad Badram
                    28226 Infinity Circle
                    Santa Clarita, CA 91390



                    Mohammad Madadkar
                    6681 TORENIA TRL
                    110
                    SAN DIEGO, CA 92130



                    mohammed abdusalam
                    4068 S YOSEMITE ST
                    4068
                    DENVER, CO 80237



                    MOHAMMED HOSSAIN
                    330 SHORE RD
                    BAY POINT, CA 94565



                    mohammed M. abdusalam
                    4068 S YOSEMITE ST
                    4068
                    DENVER, CO 80237



                    Mohammed Masum Hossain
                    330 Shore Road
                    Bay Point, CA 94565



                    Mohogany Snyder
                    415 40th St E
                    Palmetto, FL 34221



                    Moises Diaz
                    5321 Glenlivet Rd
                    Fort Myers, FL 33907
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1539 of
                                      2164



                    Moises Pacheco
                    12823 BURBANK
                    6
                    NORTH HOLLYWOOD, CA 91607



                    Moises Pizarro
                    8661 Mac Alpine Rd
                    Garden Grove, CA 92841



                    Moises Prado
                    4007 Carol Dr
                    Fullerton, CA 92833



                    Moises Rosas
                    1451 S VAUGHN CIR
                    AURORA, CO 80012



                    Moises Salguero P
                    3435 Agate Dr. 4
                    Santa Clara, CA 95051



                    Mojgan Malekpour
                    1314 Valencia Loop
                    Chula Vista, CA 91910



                    Molika Uong
                    617 W WOODRUFF AVE
                    ARCADIA, CA 91007



                    Molly Dempsay
                    8101 N 107TH AVE
                    UNIT 42
                    PEORIA, AZ 85345



                    Molly Dotson
                    12335 SE 126 CT
                    OCKLAWAHA, FL 32179
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1540 of
                                      2164



                    MOLLY MULLANY
                    PO BOX 51898
                    ALBUQUERQUE, NM 87181



                    Molly Rehl
                    11749 VIA SEFTON
                    EL CAJON, CA 92019



                    MOLLY REHL
                    11749 VIA SEFTON
                    EL CAJON, CA 92120



                    Molly Riley
                    200 BARBARA CT.
                    PLEASANT HILL, CA 94523



                    Momentfeed
                    1540 2ND ST STE 302
                    SANTA MONICA, CA 90401



                    MOMENTFEED INC
                    1540 2ND ST STE 302
                    SANTA MONICA, CA 90401



                    MOMS CLUB OF MISSION VIEJO
                    26642 PORTALES LN
                    MISSION VIEJO, CA 92691



                    MOMS CLUB OF SUNNYVALE
                    PO BOX 2641
                    SUNNYVALE, CA 94087



                    MOMS CLUB SE GILBERT
                    820 S ROANOKE ST
                    GILBERT, AZ 85296
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1541 of
                                      2164



                    Mona Richardson
                    725 DALRYMPLE RD
                    4C
                    SANDY SPRINGS, GA 30328



                    MONARCH SCHOOL PROJECTS
                    1625 NEWTON AVE
                    SAN DIEGO, CA 92113



                    MONDELEZ GLOBAL LLC
                    PO BOX 101204
                    PASADENA, CA 91189



                    Mondelez Global, Llc
                    Po Box 101204
                    Pasadena, CA 91189



                    Monica Bahena
                    11726 Marquardt Ave.
                    Whittier, CA 90605



                    Monica Baxley
                    1039 N ALAMO
                    208
                    TUCSON, AZ 85711



                    Monica Carrillo
                    4871 Seascape Dr
                    Oceanside, CA 92057



                    Monica Chandra
                    45074 Corte Bravo
                    Temecula, CA 92592



                    Monica Dominguez
                    110 Headingly Nw
                    Albuquerque, NM 87107
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1542 of
                                      2164



                    Monica garcia
                    8811 HOOKER WAY
                    WESTMINSTER, CO 80031



                    Monica Garcia Meza
                    10106 ENGLAND AVE
                    6
                    INGLEWOOD, CA 90303



                    Monica Lockwood
                    1007 ABACO LANE
                    RIVIERA BEACH, FL 33414



                    Monica Maya
                    3457 Belcroft Ave
                    Apt 3
                    El Monte, CA 91732



                    MONICA MAYA
                    3457 BELCROFT AVE APT 3
                    EL MONTE, CA 91732



                    MONICA MELCHOR
                    1008 W ROBIDOUX ST
                    WILMINGTON, CA 90744



                    Monica Ramirez
                    5332 Audubon Place
                    Norcross, GA 30093



                    Monica Ramirez
                    902 E. 43rd Street
                    Los Angeles, CA 90011



                    Monica Rodriguez
                    9679 OLD CASTLE ROAD
                    VALLEY CENTER, CA 92082
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1543 of
                                      2164



                    Monica Sanchez
                    13507 W 135TH ST
                    HAWTHORNE, CA 90250



                    Monica Sandobal
                    8400 SW 133RD AVE RD
                    219
                    MIAMI, FL 33183



                    Monica Sassounian
                    752 ELMIRA STREET
                    PASADENA, CA 91104



                    Monica Torres
                    8519 OLD MEADOW LN
                    HOUSTON, TX 77064



                    Monica Valdez
                    5800 Hammer Ave.
                    #581
                    Eastvale, CA 91752



                    Monica Vasquez
                    3036 GRATTON WAY
                    CONCORD, CA 94520



                    Monique Cardenas
                    12431 Oaks Ave
                    Chino, CA 91710



                    Monique Gonzalez
                    4672 E THOMAS AVE
                    FRESNO, CA 93702



                    Monique Laxton
                    800 East BOBIER DR.
                    Apt# C5
                    VISTA, CA 92084
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1544 of
                                      2164



                    MONIQUE LAXTON
                    800 EAST BOBIER DR
                    APT C5
                    VISTA, CA 92084



                    Monique Mitchell
                    1211 East Ave R-7
                    Palmdale, CA 93550



                    MONROE CITY INCOME TAX
                    PO BOX 643981
                    CINCINNATI, OH 45264-3981



                    MONROE PTA
                    123 N MYRTLE AVE APT C
                    MONROE PTA
                    MONROVIA, CA 91016



                    Monserath sanchez
                    28842 N SILVER SADDLE CIRCLE
                    202
                    CANYON COUNTRY, CA 91387



                    Monserrat Cedillo
                    4129 MARINE AVENUE
                    LAWNDALE, CA 90260



                    Monserrat Morales Lopez
                    18332 NW CHEMEKETA LN
                    313
                    PORTLAND, OR 97229



                    Monserrat Munoz
                    1444 Canvas Dr Unit 5
                    Chula Vista, CA 91913



                    Montana Coleman
                    2350 ASHTON DRIVE
                    ROSWELL, GA 30076
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1545 of
                                      2164



                    MONTANA CSED SDU
                    PO BOX 8001
                    WAGE WITHHOLDING UNIT
                    HELENA, MT 59604



                    Monte cano
                    39588 SABA COURT
                    MURRIETA, CA 92563



                    MONTE VISTA ELEMENTARY PTA
                    37420 VIA MIRA MOSA
                    MURRIETA, CA 92563



                    Montego Matousek
                    3263 S. HOLLAND WAY
                    LAKEWOOD, CO 80227



                    MONTESSORI PEAKS ACADEMY
                    9904 W CAPRI AVE
                    LITTLETON, CO 80123



                    MONTESSORI SCHOOL OF SAN MARCO
                    800 W MISSION RD
                    SAN MARCOS, CA 92069



                    MONTGOMERY COUNTY ALARM DETAIL
                    PO BOX 2178
                    CONROE, TX 77305-2178



                    MONTGOMERY COUNTY HEALTH DEPT
                    501 N THOMPSON #100
                    CONROE, TX 77301



                    Montserrat Tafolla
                    44935 Spearman Ave
                    Lancaster, CA 93534
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1546 of
                                      2164



                    Mood Music




                    MOON VALLEY HIGH SCHOOL
                    3625 W CACTUS RD
                    PHOENIX, AZ 85029



                    MOPS AT PHUMC
                    1453 BLUE MARLIN BLVD
                    HOLIDAY, FL 34691



                    MOPS AT PHUMC
                    1453 BLUE MARLIN BLVD
                    HOLIDAY
                    FL, 34691



                    Morales Brayan
                    2324 CREST HAVEN AVE DR
                    LAS VEGAS, NV 89108



                    Morgan Daniels
                    6045 SW 172ND AVE
                    BEAVERTON, OR 97007



                    Morgan Johnson
                    1604 Sycamore Dr Nw
                    Kennesaw, GA 30152



                    MORGAN LEWIS & BOCKIUS
                    1701 MARKET STREET
                    PHILADELPHIA, PA 19103-2921



                    Morgan Marcue
                    13451 SAGEWOOD DR.
                    POWAY, CA 92064
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1547 of
                                      2164



                    Morgan Ringer
                    13408 SE 97TH AVE
                    13408
                    CLACKAMAS, OR 97015



                    Morgan Stowe
                    11821 N. 28th Dr.
                    Phoenix, AZ 85029



                    MORGUARD BOYNTON TOWN CENTER
                    PO BOX 919141
                    ATTN ERIN HOWARD
                    DALLAS, TX 75391-9141



                    Morguard Boynton Town Center, Inc.
                    c/o Morguard Management Company Inc. Attn: Lease A
                    551 S. Powerline Rd.
                    Pompano Beach, FL 33069



                    Moriah Leyba
                    17432 CAMINITO CANASTO
                    SAN DIEGO, CA 92127



                    MORROW-MEADOWS CORPORATION
                    CHERRY CITY ELECTRIC
                    1596 22ND STREET SE
                    SALEM, OR 97302



                    MORSE PTA
                    431 MORSE AVE
                    PLACENTIA, CA 92870



                    Mortensen & Son
                    6398 DOUGHERTY ROAD #33
                    DUBLIN, CA 94568



                    MORTENSEN & SONS CARPET
                    6398 DOUGHERTY ROAD #33
                    DUBLIN, CA 94568
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1548 of
                                      2164



                    Moses Arias
                    2115 Winwood St
                    Las Vegas, NV 89108



                    Moses Mejia
                    44398 W. PALMEN DR.
                    MARICOPA, AZ 85138



                    Mouloud Aliche
                    1150 VIRGINIA LANE
                    12
                    CONCORD, CA 94520



                    MOULTON NIGUEL WATER
                    PO BOX 30203
                    LAGUNA NIGUEL, CA 92607-0203



                    MOUNT FRANKIN FOODS LLC
                    PO BOX 677609
                    DALLAS, TX 75267-7609



                    Mount Franklin Foods, Llc
                    P.O. Box 677609
                    Dallas, TX 75267-7609



                    MOUNTAIN VIEW POLICE DEPT
                    PO BOX 742282
                    LOS ANGELES, CA 90074-2282



                    MOUNTAIN VISTA HIGH SCHOOL
                    10710 AMESBURY WAY
                    HIGHLANDS RANCH, CO 80126



                    MR RICHARD WONG
                    36300 FREMONT BLVD
                    FREMONT, CA 94536
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1549 of
                                      2164



                    MRSO SCIENCE BOOSTERS INC
                    16060 MESA ROBLES DRIVE
                    MESA ROBLES SCHOOL
                    HACIENDA HEIGHTS, CA 91745



                    MS CHILD SUPPORT
                    PO BOX 23094
                    JACKSON, MS 39225



                    MS ENTERPRISES
                    12752 WOODLAWN
                    TUSTIN, CA 92780



                    MSJ WATER POLO
                    42749 BARON STREET
                    URMI MUSTAFI
                    FREMONT, CA 94539



                    MT CARMEL ATHLETIC FOUNDATION
                    3132 3RD AVE #101
                    SAN DIEGO, CA 92103



                    MT EVEREST ACADEMY
                    4350 MT EVEREST BOULEVARD
                    SAN DIEGO, CA 92117



                    MT EVEREST ACADEMY
                    4350 MT EVEREST BOULEVARD
                    SAN DIEGO
                    CA, 92117



                    MT HELIX ACADEMY
                    5955 SEVERIN DRIVE
                    LA MESA, CA 91942



                    MT LEBANON LST
                    LOCAL SERVICES TAX
                    710 WASHINGTON ROAD
                    PITTSBURGH, PA 15228-2018
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1550 of
                                      2164



                    MT ZION LUTHERAN CHURCH
                    8902 W DEER VALLEY RD
                    PEORIA, AZ 85382



                    MTS SEATING INC
                    7100 INDUSTRIAL DR
                    TEMPERANCE, MI 48182



                    MTS SEATING INC
                    7100 INDUSTRIAL DR
                    TEMPERANCE
                    MI, 48182



                    Muang Saephanh
                    2807 COOLIDGE AVE
                    OAKLAND, CA 94601



                    Mufashara Tanzum
                    5624 Granada Dr
                    Sarasota, FL 34231



                    Muhammad Ahmed
                    2230 Cascades Blvd
                    Apt 208
                    Kissimmee, FL 34747



                    Muhammad Dirbas
                    21051SHERMAN DR
                    CASTRO VALLEY, CA 94552



                    Mukti Verma
                    17315 Eagle Canyon Place
                    San Diego, CA 92127



                    MULTIPLE SCLEROSIS SOCIETY
                    30 I STREET
                    CHULA VISTA, CA 91910
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1551 of
                                      2164



                    MULTIPLE SCLEROSIS SOCIETY
                    30 I STREET
                    CHULA VISTA
                    CA, 91910



                    MUNICIPALITY OF BETHEL PARK
                    7100 BAPTIST ROAD
                    BETHEL PARK, PA 15102-3908



                    MUNISERVICES, LLC
                    190 N EVERGREEN AVE
                    STE 205
                    WOODBURY, NJ 8096-0



                    MURAOKA ELEMENTARY
                    1644 SANTA ALEXIA AVE
                    CHULA VISTA, CA 91913



                    MURDOCK ELEMENTARY SCHOOL PTA
                    4354 CONRAD DR
                    LA MESA, CA 91941



                    Muriel Schwartz
                    3023 BRANSBURY CT
                    KISSIMMEE, FL 34747



                    MURRAY MANOR PTA
                    7825 HIGHGATE LN
                    LA MESA, CA 91942



                    MUSEFFECT
                    929 N CURSON AVE #6 WEST
                    HOLLYWOOD, CA 90046



                    MUTUAL DISTRIBUTING COMPANY
                    2233 CAPITAL BLVD
                    RALEIGH, NC 27604
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1552 of
                                      2164



                    MUWA LLC
                    19370 COLLINS AVE CU1
                    C/O LUMER PROPERTY MANAGEMENT
                    SUNNY ISLES BEACH, FL 33160



                    MUWA LLC
                    19370 COLLINS AVE CU1
                    SUNNY ISLES BEACH, FL 33160



                    MUWA, LLC
                    c/o Lumer Property Management
                    19370 Collins Ave.
                    CU 1
                    Sunny Isles Beach, FL 33160



                    MUZAK LLC
                    3318 LAKEMONT BLVD
                    FORT MILL, SC 29708



                    MUZAK LLC
                    PO BOX 71070
                    CHARLOTTE, NC 28272-1070



                    MVPARTNERS
                    PO BOX 1440
                    ATTN CONTROLLER
                    COSTA MESA, CA 92626



                    MVSA
                    41700 DENISE STREET
                    FREMONT, CA 94539



                    MY GROUT GUYZ INC
                    135 E ST CHARLES RD C-1
                    CAROL STREAM, IL 60188
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1553 of
                                      2164



                    MY GROUT GUYZ INC
                    135 E ST CHARLES RD C-1
                    CAROL STREAM
                    IL, 60188



                    My Tran
                    4722 College Ave
                    San Diego, CA 92115



                    Mya Favela
                    8470 N. SHERIDAN BLV.
                    C 213
                    WESTMINSTER, CO 80003



                    Mya Velazquez
                    908 RUTHCREST AVE
                    LA PUENTE, CA 91744



                    Mya Webb
                    4901 SAN MATEO LANE
                    22
                    ALBUQUERQUE, NM 87109



                    Myah Duncan
                    64 GUAVA PASS DR
                    OCKLAWAHA, FL 32179



                    Mychaela Calica
                    3939 Monroe Ave.
                    Apt# 229
                    Fremont, CA 94536



                    MYCHAELA L. CALICA
                    3939 Monroe Ave.
                    Apt# 229
                    Fremont, CA 94536
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1554 of
                                      2164



                    Myles Adams
                    2500 N RAINBOW BLVD
                    2065
                    LAS VEGAS, NV 89108



                    Myles Threatt
                    320 S PROSPECT AVE
                    13
                    REDONDO BEACH, CA 90277



                    Myles Toto
                    4945 PALM HILL DRIVE
                    WEST PALM BEACH, FL 33415



                    MYNDBEND MULTIMEDIA INC
                    PO BOX 7423
                    NEW YORK, NY 10116



                    Myrhiam Garcia
                    108 Princeton St
                    Las Vegas, NV 89107



                    MYRHIAM GARCIA
                    108 PRINCETON ST
                    LAS VEGAS, NV 80107



                    Myriam Martinez
                    10707 JAMACHA BLVD.
                    SPRING VALLEY, CA 91978



                    Myriam Meronuli
                    9360 Gettysburg Rd
                    Boca Raton, FL 33434



                    Myriam Siu
                    2642 Andros Lane
                    Kissimmee, FL 34747
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1555 of
                                      2164



                    Myrlaine Casseus
                    7505 WOODLAND CREEK LANE
                    LAKE WORTH, FL 33467



                    myrna almozara
                    6123 FOUNTAIN AVENUE
                    LOS ANGELES, CA 90028



                    Mysti Sosa
                    1145 W Baseline Rd
                    Apt. 1096
                    TEMPE, AZ 85283



                    Myzhae Byrd
                    3899 CAPE ROYAL AT
                    LAS VEGAS, NV 89147



                    N C B NORTH COUNTY BEVERAGE SERVICE INC
                    839 S MELROSE DR
                    VISTA, CA 92081-7401



                    N C B NORTH COUNTY BEVERAGE SERVICE INC
                    839 S MELROSE DR
                    VISTA
                    CA, 92081-7401



                    Nabil Young
                    7815 Latir Mesa NW
                    Albuquerque, NM 87114



                    NABIL YOUNG
                    4321 MONTGOMERY BLVD NE #375
                    ALBUQUERQUE, NM 87109



                    Nacaree Jordan
                    2500 PLEASANT HILL RD
                    APT.428
                    DULUTH, GA 30096
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                                      2164



                    Nacheley Jean Pierre
                    2115 LINTON BLVD
                    APRT 1
                    DELRAY, FL 33445



                    Nacia Edwards
                    1860 BRADLEY COURT
                    UNIT A
                    SAN BERNARDINO, CA 92411



                    Nadege Georges
                    3211 N PINE HILLRD
                    ORLANDO, FL 32808



                    Nader Chtay
                    4811 TRUTLE BAY TR
                    BRADENTON, FL 34203



                    Nader Hussein
                    24282 REYES ADOBE WAY
                    VALENCIA, CA 91354



                    Nadi Camacho
                    5947 E. Chaucers Dr
                    Tucson, AZ 85756



                    NADIA ELLIS
                    1350 MORNINGVIEW DR #189
                    ESCONDIDO, CA 92026



                    Nadia Rosas
                    1560 S ESCONDIDO BLVD.
                    208
                    ESCONDIDO, CA 92025



                    Nadia Steele
                    6401 CAMINO VENTOSA
                    SAN CLEMENTE, CA 92673
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1557 of
                                      2164



                    NADIA TAGHAVI DINANI
                    28012 LORETHA LANE
                    LAGUNA NIGUEL, CA 92677



                    Nadia Taghavi-dinani
                    16 AVENIDA REFLEXION
                    SAN CLEMENTE, CA 92673



                    Nadina Weatherson
                    875 W. Pecos Rd.
                    Apt. 2167
                    Chandler, AZ 85225



                    NADINE BASMA
                    16566 PINE AVE
                    CHINO HILLS, CA 91709



                    Nadine Charles
                    1825 collier ave
                    Fort Myers, FL 33901



                    Nadine Fernandez
                    13097 Via Antibes
                    Riverside, CA 92503



                    Naerya Orinion
                    743 SPENCER AVE
                    SAN JOSE, CA 95125



                    Naethan Landrith
                    1361 WEST 9TH AVENUE
                    1311
                    ESCONDIDO, CA 92029



                    Nagely Munoz
                    2529 WEST GREEN ST.
                    TAMPA, FL 33607
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1558 of
                                      2164



                    Nahir Rentas
                    5316 MILLENIA BLVD
                    10-208
                    ORLANDO, FL 32839



                    Nahomy Cortes Zamora
                    27719 STARDALE DR
                    SANTA CLARITA, CA 91350



                    Nahuel Recalde
                    522N 19AVE
                    10
                    HOLLYWOOD, FL 33020



                    Naijayah Frederique
                    1541 NW 10 CIRCLE
                    45
                    POMPANO BEACH, FL 33069



                    Naila Vargas
                    851 1/2 Vine St
                    San Jose, CA 95110



                    Nailea Gomez
                    5022 DAWNE ST
                    SAN DIEGO, CA 92117



                    Naiomy Rentas
                    1337 Pleasant Ridge PL
                    Orlando, FL 32835



                    Najahan Khan
                    2258 Green Forrest Dr
                    Atlanta, GA 30032



                    Najee Norman
                    535 SHADY PINE WAY
                    A1
                    GREENACRES, FL 33415
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1559 of
                                      2164



                    Najir Scott
                    4790 SOUTH CLEVELAND
                    1906
                    FORT MYERS, FL 33907



                    NAKANO FOODS INC
                    27772 NETWORK PLACE
                    CHICAGO, IL 60673-1277



                    Nakeisha Thornton
                    1722 S. LEWIS RD
                    CAMARILLO, CA 93010



                    NALEEN SHORT
                    180 CYPRESS ST
                    CHULA VISTA, CA 91910



                    Nallely Santibanez
                    2144 GREYSTONE TRL
                    ORLANDO, FL 32818



                    Nancie Jean Pierre
                    490 miner road
                    Boynton Beach, FL 33435



                    Nancy Castro
                    2137 Sugartree Drive
                    Pittsburg, CA 94565



                    Nancy Cervantes
                    6144 N. FAIRVALE DR
                    AZUSA, CA 91702



                    Nancy Cervantes
                    754 W ORANGETHORPE AVE
                    FULLERTON, CA 92832
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1560 of
                                      2164



                    Nancy Cubas-acosta
                    4630 Sw 34th Ave
                    Fort Lauderdale, FL 33312



                    Nancy Espana
                    609 CERRO ST
                    ENCINITAS, CA 92024



                    Nancy Ferreira
                    4002 E ROSEMONTE
                    PHOENIX, AZ 85050



                    Nancy Gonzalez
                    940 E Dragon Fly Rd
                    San Tan Valley, AZ 85143



                    NANCY GONZALEZ
                    940 E DRAGON FLY RD
                    SAN TAN VALLEY, AZ 85209



                    Nancy Gudino
                    3190 Binghampton Ln
                    Lawrenceville, GA 30044



                    NANCY HECTOR
                    11724 RAVEN RIDGE RD
                    RALEIGH, NC 27614



                    Nancy Hernandez
                    342 N 8th St
                    San Jose, CA 95112



                    Nancy Hooi
                    280 W CALIFORNIA AVE
                    #110
                    SUNNYVALE, CA 94086
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                    Nancy Jerez
                    3312 GRAND AVE
                    HUNTINGTON PARK, CA 90255



                    NANCY JIH
                    6260 SQUIRE LANE
                    WILLBROOK, IL 60527



                    Nancy Lahr
                    4051 CARAMBOLA CIR N
                    COCONUT CREEK, FL 33066



                    Nancy Lopez
                    10767 Jamacha Blvd
                    #173
                    Spring Valley, CA 91978



                    NANCY LOWELL
                    1524 VIRGINIA ST
                    DOWNERS GROVE, IL 60515



                    Nancy Marquez Trejo
                    4345 Sw 165th Ave
                    Beaverton, OR 97078



                    Nancy Mendez
                    1374 Buena Vista Ave
                    Pomona, CA 91766



                    Nancy Millis-MacHaffie
                    9044 SW HILL ST
                    TIGARD, OR 97223



                    Nancy Moller
                    20041 OSTERMAN RD
                    APT K1
                    LAKE FOREST, CA 92630
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1562 of
                                      2164



                    Nancy Obermeier
                    229 Longleaf Ct
                    Orlando, FL 32835



                    Nancy Otero Ortiz
                    12373 CALLE ALBARA
                    #5
                    EL CAJON, CA 92019



                    Nancy Ramos
                    1085 TASMAN DRIVE
                    SPACE 788
                    SUNNYVALE, CA 94089



                    Nancy Soto
                    1333 E Grand Ave
                    Apt C108
                    Escondido, CA 92027



                    Nanu Kanneh
                    4434 W. CYPRESS VILLAS DR
                    SPRING, TX 77379



                    NAOMI BERKOWITZ
                    82-500 US HIGHWAY 111 STE 10B
                    INDIO, CA 92201



                    NAOMI BERKOWITZ
                    82-500 US HIGHWAY 111 STE 10B
                    INDIO
                    CA, 92201



                    Naomi Castillo
                    2504 W GRAND AVE
                    #E
                    ALHAMBRA, CA 91801
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1563 of
                                      2164



                    Naomi Cornell
                    9822 QUAY WAY
                    WESTMINSTER, CO 80021



                    Naomi Grice
                    5350 Jaime Ct
                    5350 Jaime Ct
                    Palmdale, CA 93551



                    Naomi Rivas
                    904 W WALNUT AVE
                    MONROVIA, CA 91016



                    Naomi Rux
                    15868 S LORA CT
                    OREGON CITY, OR 97045



                    Naomi Simmons
                    4123 WESTCHESTER CROSSING
                    ROSWELL, GA 30075



                    Naomi Tubbs
                    9749 Se 48th Ave
                    Milwaukie, OR 97222



                    Napoleon Samad
                    14570 Fox St.
                    Apt. 6
                    Mission Hills, CA 91345



                    Narmin Rahman
                    403 MORGANS CREEK CT
                    KENNESAW, GA 30144



                    Nasmy Rodriguez
                    1026 S LORENA ST
                    LOS ANGELES, CA 90023
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1564 of
                                      2164



                    Natacha Casseus
                    507 NE 3rd Ave Apt N
                    Delray Beach, FL 33444



                    Natacha Madere
                    1565 Quail Lake Dr
                    Apt# F309
                    West Palm Beach, FL 33409



                    Natajia Small
                    14090 E EVANS AVE
                    AURORA, CO 80014



                    Natalee Causor
                    319 BURNING TREE DR
                    SAN JOSE, CA 95119



                    Natalia Gonzalez
                    16509 Ingram Street
                    La Puente, CA 91744



                    Natalia Pacheco
                    30 Sedona Cove Drive
                    Apopka, FL 32703



                    NATALIA PACHECO
                    30 SEDONA COVE DR
                    APOPKA, FL 32703



                    Natalia Villegas Munoz
                    3203 W tower ct
                    kissimmee, FL 34741



                    Natalie Barajas
                    1221 Carlton Way
                    Venice, CA 90291
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1565 of
                                      2164



                    Natalie Camacho
                    9550 LONGPOINT RD
                    170
                    HOUSTON, TX 77055



                    Natalie Cardenales
                    4269 S SEMORAN APT 21
                    ORLANDO, FL 32822



                    Natalie Carter Guetzala
                    1965 LA CORTA ST.
                    LEMON GROVE, CA 91945



                    Natalie Cruz
                    4975 HANSEN AVE
                    FREMONT, CA 94536



                    Natalie Donah
                    5005 BASIN ST NE
                    ALBUQUERQUE, NM 87111



                    NATALIE GONZALEZ
                    1527 MAXWELL LANE
                    VISTA, CA 92084



                    Natalie Gonzalez Sanchez
                    3710 W Northern Ave
                    apt 302
                    Phoenix, AZ 85051



                    Natalie Jewett
                    79613 CARMEL VALLEY AVE
                    INDIO, CA 92201



                    Natalie Jones
                    8490 Dallas St
                    La Mesa, CA 91942
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1566 of
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                    Natalie L. Barajas
                    1221 Carlton Way
                    Venice, CA 90291



                    Natalie Lahr
                    4301 E. Catalina Dr
                    Phoenix, AZ 85018



                    NATALIE LAHR
                    4301 E CATALINA DR
                    PHOENIX, AZ 85018



                    Natalie Lopez
                    10700 ACADEMY RD NE
                    1726
                    ALBUQUERQUE, NM 87111



                    Natalie Maldonado
                    1802 Winchester Ct
                    Saint Cloud, FL 34771



                    Natalie Migliaccio
                    15141 SE LA CRESCENTA WY
                    PORTLAND, OR 97267



                    Natalie Palma
                    460 E MISSION AVE
                    #4
                    ESCONDIDO, CA 92025



                    Natalie Salas
                    214 Lake Parsonsgreen
                    Brandon, FL 33511



                    Natalie Sanman
                    1107 Aloha
                    Arcata, CA 95521
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                                      2164



                    Natalie Soto
                    S STEWART
                    E 1009
                    MESA, AZ 85202



                    Natalie Torres
                    10408 CORNELIA CT SW
                    ALBUQUERQUE, NM 87121



                    Natalie Towey
                    29745 RAMSEY COURT
                    TEMECULA, CA 92591



                    Natalie Tran
                    1092 KITCHENER CIR
                    SAN JOSE, CA 95121



                    Nataly Avila Flores
                    9402 CROOKED WOOD LN
                    HOUSTON, TX 77086



                    Natanael Sanchez
                    3108 LA PUENTE RD.
                    WEST COVINA, CA 91792



                    Natasha Box
                    13022 Neddick Avenue
                    Poway, CA 92064



                    Natasha Hilliker
                    6769 S INDEPENDENCE ST
                    LITTLETON, CO 80128



                    Natasha Sardi
                    10521 SW 158TH CT
                    306
                    MIAMI, FL 33196
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                                      2164



                    Nateisha Earl
                    FAIRLOCK LANE
                    478
                    ATLANTA, GA 30331



                    Nathalia Castillo
                    2678 CAMPBELL RD
                    HOUSTON, TX 77080



                    Nathalie Camacho
                    45461 NEWTREE AVE
                    LANCASTER, CA 93534



                    Nathalie Garcia
                    244 East Ave P1
                    PALMDALE, CA 93550



                    NATHALIE GARCIA
                    244 E AVE P1
                    PALMDALE, CA 93550



                    Nathalie Lizarraga
                    4102 45TH STREET
                    SAN DIEGO, CA 92105



                    Nathalie Mena-Rodriguez
                    5338 E. ATCHISON STREET
                    FRESNO, CA 93727



                    Nathalie Villavicencio
                    32300 CANYON VISTA RD
                    CATHEDRAL CITY, CA 92234



                    Nathaly Guerrero
                    16803 KILWINNING DR
                    HOUSTON, TX 77084
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1569 of
                                      2164



                    Nathaly Hernandez
                    1535 W RENE DR
                    ANAHEIM, CA 92802



                    Nathan A. Hallada
                    2410 S DEARBORN
                    2410
                    AURORA, CO 80014



                    Nathan Athis
                    221 RIVER CHASE TRAIL
                    221
                    DULUTH, GA 30096



                    NATHAN BALDOVINOS LUCAS
                    13820 SW ELECTRIC ST
                    UNIT 17-E
                    BEAVERTON, OR 97005



                    Nathan Bennett
                    80 South Broad St
                    Pawcatuck, CT 06379



                    Nathan Bowey
                    8916 SE LAFAYETTE ST
                    PORTLAND, OR 97266



                    Nathan Burroughs
                    1219 CAPISTRANO LANE
                    VISTA, CA 92081



                    Nathan Cable
                    11175 El Nopal Dr
                    Lakeside, CA 92040



                    Nathan Conley
                    14151 Flower St. #6
                    Garden Grove, CA 92843
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1570 of
                                      2164



                    Nathan Conner
                    256 CAMINO CORTINA
                    CAMARILLO, CA 93010



                    Nathan De Leon
                    13406 S SABLERIDGE LN
                    HOUSTON, TX 77014



                    Nathan Hallada
                    2410 S DEARBORN
                    2410
                    AURORA, CO 80014



                    Nathan Moesta
                    15452 VINCENNES ST
                    NORTH HILLS, CA 91343



                    Nathan Ndlovu
                    429 Cierra Oaks Cr
                    Lady Lake, FL 32159



                    Nathan Silva
                    8236 NOLA DR
                    DENVER, CO 80221



                    Nathan Squires
                    1538 MCGREGOR RESERVE DR
                    FORT MYERS, FL 33901



                    Nathan Van Buren
                    13051 BEECHTREE ST
                    LAKESIDE, CA 92040



                    Nathan Vazquez
                    30041 TESSIER
                    156
                    LAGUNA NIGUEL, CA 92677
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1571 of
                                      2164



                    Nathan Venegas
                    1045 N AZUSA AVE
                    105
                    COVINA, CA 91722



                    NATHAN W. SQUIRES
                    1538 MCGREGOR RESERVE DR
                    FORT MYERS, FL 33901



                    Nathanael Luna
                    6704 Waxwing LN
                    Orlando, FL 32810



                    Nathaniel Elebario
                    6612 Jade Park
                    Albuquerque, NM 87109



                    Nathaniel Fernandez
                    503 OLYMPIC BOULEVARD
                    SANTA MONICA, CA 90401



                    Nathaniel freeman
                    2859 DIAMOND DRIVE
                    CAMARILLO, CA 93010



                    Nathaniel Gonzales
                    3955 VINEYARD AVE
                    93
                    PLEASANTON, CA 94566



                    Nathaniel Holcomb
                    4865 Redtop Drive Se
                    Acworth, GA 30102



                    Nathaniel Kragen
                    3172 CAMDON CT
                    PLEASANTON, CA 94588
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1572 of
                                      2164



                    Nathaniel Milone
                    8502 E BAKER PL
                    TUCSON, AZ 85710



                    Nathaniel Mocombe
                    749 Nw 5th St
                    Hallandale, FL 33009



                    Nathaniel Schilling
                    2220 E BEARDSLEY RD
                    1091
                    PHOENIX, AZ 85024



                    Nathian Soto
                    2822 WEST BROOK ST
                    SANTA ANA, CA 92704



                    NATIONAL DATA LABEL CORP
                    301 ARTHUR COURT
                    BENSENVILLE, IL 60106



                    National Data Label Corp.
                    301 Arthur Court
                    Bensenville, IL 60106



                    NATIONAL FROZEN FOODS CORP
                    PO BOX 912967
                    DENVER, CO 80291-2967



                    National Frozen Foods Corp.
                    Po Box 9366
                    Seattle, WA 98109



                    NATIONAL HONORS SOCIETY
                    17816 BUSHARD
                    NATIONAL HONORS SOCIETY
                    FOUNTAIN VALLEY, CA 92708
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                    NATIONAL MS SOCIETY
                    1923 ELM RIDGE DRIVE
                    VISTA, CA 92081



                    NATIONAL MS SOCIETY
                    1923 ELM RIDGE DRIVE
                    VISTA
                    CA, 92081



                    NATIONAL PAYMENT SOLUTIONS
                    5650 WHITESBILL RD STE 210
                    COLUMBUS, GA 31904



                    NATIONAL RETAIL TENANTS ASSOC
                    60 SHAKER ROAD
                    EAST LONGMEADOW, MA 01028-2760



                    National Sugar
                    PO BOX 83257
                    CHICAGO, IL 60691-0257



                    NATIONAL SUGAR MARKETING LLC
                    PO BOX 83257
                    CHICAGO, IL 60691-0257



                    National Sugar Marketing, Llc
                    Po Box 83257
                    Chicago, IL 60691-0257



                    NATIONAL TOLLS
                    NATIONAL PO BOX 403328
                    ATLANTA, GA 30384-3328



                    NATIONAL TOLLS
                    NATIONALCAR TOLLS
                    PO BOX 30
                    ROSLYN HEIGHTS, NY 11577
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1574 of
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                    NATIONAL UNIVERSITY
                    5245 PACIFIC CONCOURSE DR 10
                    LOS ANGELES, CA 90045



                    NATIONAL WHOLESALE SUPPLY INC
                    P.O. BOX 54007
                    DALLAS, TX 75354



                    NATIONAL WHOLESALE SUPPLY INC
                    1972 CALIFORNIA CROSSING
                    DALLAS, TX 75220



                    NATIONAL WHOLESALE SUPPLY INC
                    P.O. BOX 54007
                    DALLAS
                    TX, 75354



                    NATIONWIDE SECURITY AND BUILDING SVCS LL
                    17319 SAN PEDRO AVE
                    STE 500
                    SAN ANTONIO, TX 78232



                    NATRA US INC
                    2535 CAMINO DEL RIO SOUTH STE
                    SAN DIEGO, CA 92108



                    Natural American Foods
                    PO BOX 842115
                    BOSTON, MA 02284-2115



                    NATURAL AMERICAN FOODS INC
                    PO BOX 842115
                    BOSTON, MA 02284-2115



                    Natural American Foods, Inc.
                    Sweet Harvest Foods
                    PO BOX 95073
                    Chicago, IL 60694-5073
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                    NATURALS BASEBALL CLUB
                    40843 FLAGSTONE ST
                    PALMDALE, CA 93551



                    NAVAJO GIRLS FASTPITCH
                    6334 LAKE DORA
                    SAN DIEGO, CA 92119



                    NAVAJO GIRLS FASTPITCH
                    6334 LAKE DORA
                    SAN DIEGO
                    CA, 92119



                    Navex Global
                    PO BOX 60941
                    CHARLOTTE, NC 28260-0941



                    NAVEX GLOBAL INC
                    PO BOX 60941
                    CHARLOTTE, NC 28260-0941



                    NAVGEET SANDHU
                    763 N GENEVA AVE
                    ELMHURST, IL 60126



                    Naweed Masoud
                    20 ALAMITOS
                    FOOTHILL RNCH, CA 92610



                    Nayeli Antunez
                    2229 Alice Rd.
                    Sarasota, FL 34231



                    Nayeli Gutierrez
                    1780 S Villas Ln
                    Chandler, AZ 85286
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1576 of
                                      2164



                    Nayely Cruz
                    MAPLEWAY SAFETY HARBOR
                    194
                    CLEARWATER, FL 34695



                    Nayla Mota
                    38 FANO ST
                    B
                    ARCADIA, CA 91006



                    Nayla S. Mota
                    38 FANO ST
                    B
                    ARCADIA, CA 91006



                    Nayla Sanchez Moliner
                    8640 SE CAUSEY AVE
                    R302
                    HAPPY VALLEY, OR 97086



                    Naysoli Mejia
                    1100 CALANDA AVE
                    ORLANDO, FL 32807



                    Nayzeth Herrera
                    8525 SE ORCHARD LANE
                    UNIT 83
                    HAPPY VALLEY, OR 97086



                    Nazareth Ramos Lepe
                    4455 NEWTON AVENUE
                    #A
                    SAN DIEGO, CA 92113



                    NAZARETH SCHOOL
                    10728 SAN DIEGO MISSION RD
                    SAN DIEGO, CA 92108
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                    Nazeim Augustus
                    3325 HILL DR NW
                    DULUTH, GA 30096



                    NC CHILD SUPPORT COLLECTIONS
                    PO BOX 900012
                    RALEIGH, NC 27675



                    NC CHILD SUPPORT COLLECTIONS
                    PO BOX 900012
                    RALEIGH
                    NC, 27675



                    NC MATRIX
                    904 IRON HORSE CT
                    SAN MARCOS, CA 92078



                    NC MATRIX
                    904 IRON HORSE CT
                    SAN MARCOS
                    CA, 92078



                    NCB NORTH COUNTY BEVERAGE INC
                    839 S MELROSE DR
                    VISTA, CA 92081



                    NCDOR
                    P.O. BOX 25000
                    RALEIGH, NC 00276-4045



                    NCEF
                    PO BOX 595
                    CLACKAMAS, OR 97015



                    Ndeah Dismuke
                    178 CASTLEAIR COURT
                    KENNESAW, GA 30144
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                    Ndundi Richard
                    1721 Lily Valley Dr
                    LAWRENCEVILLE, GA 30045



                    NEBRASKA DEPT. OF REVENUE
                    P.O. BOX 98915
                    LINCOLN, NE 68509-8915



                    NEBRASKA U.C. FUND
                    UNEMPLOYMENT INSURANCE TAX
                    P.O. BOX 94600
                    LINCOLN, NE 68509-4600



                    NEDLO B GURULE
                    530 IVORY RD
                    RIO RANCHO, NM 87124



                    NEDLO B GURULE
                    530 IVORY RD
                    RIO RANCHO
                    NM, 87124



                    Neds Window Cleaning
                    NEDLO B GURULE
                    530 IVORY RD
                    RIO RANCHO, NM 87124



                    Nehal ElMashak
                    2652 WHISPER LAKES CLUB CIR
                    ORLANDO, FL 32837



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                    DALLAS, TX 75284-2476



                    NEILL SCHULTZ
                    26441 HILLHURST COURT
                    SUN CITY, CA 92586
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                    NEILL SCHULTZ
                    26441 HILLHURST CT
                    SUN CITY, CA 92586



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                    TAMPA, FL 33614



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                    237
                    ATLANTA, GA 30318



                    Nelam Khan
                    1221 W 29TH ST.
                    109
                    LOS ANGELES, CA 90007



                    Nelida Barragan
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                    MORGAN HILL, CA 95037



                    Nelie Vedrine
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                    Fort Lauderdale, FL 33334



                    Neliza Becker
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                    TUSTIN, CA 92780



                    NELLIE M STALLINGS
                    1105 BELFRY DRIVE
                    KNIGHTDALE, NC 27545
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                                      2164



                    Nellie Paing
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                    Irvine, CA 92614



                    Nelly Bolanos
                    569 EAST 11TH STREET
                    16
                    UPLAND, CA 91785



                    Nelly Guerrero
                    1320 E Crescent Av
                    Mesa, AZ 85204



                    NELMAR SECURITY PACKAGING SYSTEMS INC
                    3100 RUE DES BATISSEURS
                    TERREBONNE, QU J6Y 0A2



                    Nelmaris Torres
                    1714 Freeman Dr
                    Kissimmee, FL 34744



                    Nelson Diaz
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                    Deltona, FL 32738



                    Nelson Jumelles
                    1401 Sw 135th Terr
                    Pembroke Pines, FL 33027



                    Nelson Luna
                    4090 1/2 National Ave
                    San Diego, CA 92113



                    Nelson Nunes
                    13140 San Felipe St
                    La Mirada, CA 90638
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                                      2164



                    Nelson Rivera
                    8875 PEARLS STREET
                    804
                    THORNTON, CO 80229



                    Nelson Sanchez
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                    San Diego, CA 92113



                    Nely Garcia
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                    #8
                    Oxnard, CA 93033



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                    NEMCO FOOD EQUIPMENT DIVIS
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                    Alhambra, CA 91801



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                    25153 Network Place
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                    NEREYDA AGUIRRE
                    1105 E. AVE. Q4
                    623
                    PALMDALE, CA 93550
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1582 of
                                      2164



                    Nereyda Morales
                    3050 COBB PARKWAY
                    # 6321
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                    232
                    ROWLAND HEIGHTS, CA 91748



                    Neshal Sharma
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                    HAYWARD, CA 94544



                    Nesma Elhawary
                    15101 FAIRFIELD RANCH RD
                    CHINO HILLS, CA 91709



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                    NESTLE USA INC
                    PO BOX 3637
                    BOSTON, MA 02241-3637



                    Nestle Usa Inc.
                    P.O. Box 3637
                    Boston, MA 02241-3637



                    NESTLE WATERS NORTH AMERICA
                    PO BOX 856158
                    LOUISVILLE, KY 40285-6158
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                    Nestor Narro
                    1158 SUNNYVALE SARATOGA RD
                    32
                    SUNNYVALE, CA 94087



                    Nestor Perdomo
                    1566 WABASH ST
                    1566
                    ALVISO, CA 95002



                    NET LEASE FUNDING 2005 LP
                    ID 065592
                    DEPT 880044 PO BOX 29650
                    PHOENIX, AZ 85038-9650



                    Net Lease Funding 2005, LP
                    c/o Vereit, Inc. Attn: Asset Manager
                    2325 East Camelback Rd.
                    9th Fl.
                    Phoenix, AZ 85016



                    Netsanet Kassa
                    4796 Burns Rd NW
                    lilburn, GA 30047



                    Neva Mitchell
                    2647 SHIRLEYS WAY
                    102
                    LEESBURG, FL 34748



                    NEVADA DEPARTMENT OF TAXATION
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                    PHOENIX, AZ 85072-2609



                    NEVADA DEPT OF TAXATION
                    STATE OF NEVADA
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                    PHOENIX, AZ 85072-2609
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                    NEVADA DEPT OF TAXATION
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                    NEVADA DEPT OF TAXATION
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                    LAS VEGAS, NV 89101



                    NEVADA DEPT OF TAXATION
                    PO BOX 51180
                    ATTN COMMERCE TAX REMITTANCE
                    LOS ANGELES, CA 90051-5480



                    NEVADA DEPT OF TAXATION
                    STATE OF NEVADA - SALES USE
                    PO BOX 7165
                    SAN FRANCISCO, CA 94120-7165



                    NEVADA DEPT OF TAXATION
                    PO BOX 7165
                    SAN FRANCISCO, CA 94120-7165



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                    500 E. THIRD ST.
                    CARSON CITY, NV 00897-1330



                    NEVADA STATE TREASURER
                    PO BOX 844500
                    LOS ANGELES, CA 90084



                    NEVADA UNCLAIMED PROPERTY
                    555 E WASHINGTON AVE #4200
                    LAS VEGAS, NV 89101



                    Nevaeh Clements
                    617 SAN MARIO DR
                    SOLANA BEACH, CA 92075
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                    NEW AGE INDUSTRIAL
                    16788 US HWY 36
                    NORTON, KS 67654



                    NEW BRENMAN VILLAGE
                    106 E SPRING STREET
                    C/O CITY OF ST MARY'S
                    SAINT MARY'S, OH 00045-8850



                    NEW HOPE CHURCH
                    10330 CARMEL MOUNTAIN RD
                    SAN DIEGO, CA 92129



                    NEW HORIZONS SCHOOL
                    2550 PERALTA BLVD
                    FREMONT, CA 94536



                    NEW MEXICO DEPT WKFCE SOLUTION
                    P.O. BOX 2281
                    ALBUQUERQUE, NM 87103-2281



                    NEW MEXICO SECRETARY OF STATE
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                    SANTA FE, NM 87501



                    NEW MEXICO TAX AND REV DEPT
                    PO BOX 25128
                    SANTA FE, NM 87504-5128



                    NEW MEXICO TAXATION AND REV DEPT
                    PO BOX 25128
                    SANTA FE, NM 87504-5128



                    NEXSEN PRUET LLC
                    PO DRAWER 2426
                    COLUMBIA, SC 29202
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                    NEXT PRO LLC
                    PO BOX 423363
                    KISSAMMEE, FL 34742



                    NEXT PRO LLC
                    PO BOX 423363
                    KISSAMMEE
                    FL, 34742



                    NEXTCARE ARIZONA LLC
                    PO BOX 207950
                    DALLAS, TX 75320-7950



                    NEXTIVA INC
                    PO BOX 207330
                    DALLAS, TX 75320-7330



                    Nezira trumic
                    22702 PACIFIC PARK DR
                    K34
                    ALISO VIEJO, CA 92656



                    NFFC B09BLK
                    2679 PIANTINO CIRCLE
                    SAN DIEGO, CA 92108



                    Ngan Ngo
                    227 HARRISON AVE #1
                    SAN JOSE, CA 95008



                    Ngena Wilodnja
                    5110 E. BELLEVUE ST.
                    208
                    TUCSON, AZ 85712



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                    1317 W CASTLE AVE
                    ANAHEIM, CA 92802
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                    Nia Carnegie
                    1321 LINCOLN CREST DRIVE
                    1321
                    AUSTELL, GA 30106



                    Nia Marie Francis
                    6728 IXORA DRIVE
                    MIRAMAR, FL 33023



                    Nia-marie Francis
                    6728 IXORA DRIVE
                    MIRAMAR, FL 33023



                    Nic Price
                    108 NE 6TH STREET
                    BATTLE GROUND, WA 98604



                    Nic R. Price
                    108 NE 6TH STREET
                    BATTLE GROUND, WA 98604



                    NICHIMO INTERNATIONAL INC
                    3245 146TH SE SUITE 220
                    ATTN KAORI KODERA
                    BELLEVUE, WA 98007



                    Nichlaus Navarro
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                    Apt 4107
                    Tucson, AZ 85719



                    NICHOLAS A. HENDERSON
                    4007 CYPRESS LANE
                    CHINO HILLS, CA 91709



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                    1777 MITCHELL AVE
                    68
                    TUSTIN, CA 92780
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                    Nicholas Arntsen
                    BEAVERTON
                    BEAVERTON, OR 97006



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                    NICHOLAS BUSTAMANTE
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                    Nicholas Cabuhat
                    1774 Wingfoot PO
                    El Cajon, CA 92019
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                    Nicholas Carrillo
                    15416 ARCHWOOD STREET
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                    Nicholas Cerda
                    29529 Hubble Way
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                    Nicholas Chaon-Alcantar
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                    PEORIA, AZ 85345



                    Nicholas Clevidence
                    5322 SE FLAVEL DR.
                    2
                    PORTLAND, OR 97206



                    Nicholas Collins
                    4445 SW 194 CT
                    BEAVERTON, OR 97078



                    Nicholas Dana
                    4768 L ST
                    WASHOUGAL, WA 98671



                    Nicholas Doan
                    2601 W 16TH ST
                    SANTA ANA, CA 92706



                    Nicholas E. Webber
                    10833 NEW SALEM WAY
                    SAN DIEGO, CA 92126



                    Nicholas Egan
                    4004 CAROL DRIVE
                    FULLERTON, CA 92833
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                    Nicholas Fierro
                    611 W West Ave
                    Fullerton, CA 92832



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                    7533 Jasmine Blvd
                    port richey, FL 34668



                    NICHOLAS FITZGERALD
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                    HUDSON, FL 34668



                    Nicholas Gagnon
                    22946 Moonstone Ln
                    Lake Forest, CA 92630



                    Nicholas Garcia
                    3411 GRANDE VISTA PARKWAY
                    326
                    RIVERSIDE, CA 92503



                    Nicholas Gerberg
                    18195 SW BUTTERNUT ST
                    ALOHA, OR 97078



                    Nicholas Gibson
                    3249 TOURIGA DRIVE
                    PLEASANTON, CA 94566



                    Nicholas Goodwin
                    525 Dotterel Rd 33d
                    Delray Beach, FL 33444



                    Nicholas Gurule
                    4636 VANDEVER AVE
                    SAN DIEGO, CA 92120
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1591 of
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                    NICHOLAS HENDERSON
                    4007 CYPRESS LANE
                    CHINO HILLS, CA 91709



                    Nicholas Herrera
                    9225 Stuart St
                    Westminster, CO 80031



                    Nicholas Johnston
                    543 JESSE JAMES DR
                    4082261084
                    SAN JOSE, CA 95123



                    Nicholas Kingston
                    31442 VALLEY RIDGE DR
                    RUNNING SPRINGS, CA 92382



                    Nicholas Krietenstein
                    6942 W. LAREDO ST.
                    CHANDLER, AZ 85226



                    Nicholas Laplante
                    7058 REED CT
                    ARVADA, CO 80003



                    Nicholas Lochan
                    140 NW 207TH WAY
                    PEBROKE PINES, FL 33029



                    Nicholas Mathews
                    8236 Harrisburg Dr.
                    Fort Myers, FL 33967



                    Nicholas Mendiola
                    821 LAKEMUIR DR.
                    SUNNYVALE, CA 94089
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                                      2164



                    Nicholas Morgenstern
                    530 SW 1ST STREET
                    BOYNTON BEACH, FL 33435



                    Nicholas Neal
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                    81
                    SANTA CLARITA, CA 91387



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                    Clearwater, FL 33756



                    Nicholas Nunez
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                    CHINOHILLS, CA 91709



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                    Nicholas Provenzano
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                    Nicholas Riddle
                    140 W. FIRST ST.
                    22
                    TUSTIN, CA 92780



                    Nicholas Rinehart
                    975 DEL DIOS RD
                    212
                    ESCONDIDO, CA 92092
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1593 of
                                      2164



                    Nicholas Roh
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                    20582 SW TRAILSEND DR
                    SHERWOOD, OR 97140



                    Nicholas Starsmere
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                    VALENCIA, CA 91355



                    Nicholas Torres
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                    Tampa, FL 33607



                    Nicholas Vaughn
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                    Nicholas Vitale
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                    32
                    ARCADIA, CA 91007



                    Nicholas von Esch
                    14265 MERION CIR
                    VALLEY CENTER, CA 92082



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                    SAN DIEGO, CA 92126



                    Nicholas Wolverton
                    3159 LAKEPOINT COURT
                    ACWORTH, GA 30102
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                                      2164



                    Nichole King
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                    Beaverton, OR 97008



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                    HIGHLAND PARK, CA 90042



                    Nick Bobeda
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                    Rancho Cucamonga, CA 91739



                    NICK PROVENZANO
                    733 TOMOKA DR
                    PALM HARBOR, FL 34643



                    NICK PROVENZANO
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                    2109 NE 151ST CT
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Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1595 of
                                      2164



                    Nickolas Adams
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                    211
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                    Nicky Chlumsky
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                    cubbon st
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                    TAMPA, FL 33625
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                                      2164



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                    9016
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                    Marietta, GA 30066



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                    Snellville, GA 30078



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Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1597 of
                                      2164



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                    NICOLE BUSHNELL
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                    TIGARD, OR 97223



                    Nicole Choi
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                    DANIA BEACH, FL 33004



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                    Nicole DeLuque
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                    Nicole Dieguez
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                    Hawthorne, CA 90250
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1598 of
                                      2164



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                    ALISO VIEJO, CA 92656



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                    Nicole Hoops
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                    Nicole Lennie
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                    Nicole Marmolejos
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                    Nicole Naungayan
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                    BUENA PARK, CA 90620



                    Nicole Orozco Valdez
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                    102
                    AURORA, CO 80014
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                    HOLLY SPRINGS, NC 27540



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                    #128
                    Phoenix, AZ 85032
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1600 of
                                      2164



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                    RANCHO CUCAMONGA, CA 91730
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                                      2164



                    Nicolle Laurent
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                    Niketa Macklin
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                    Nikhil Mullapudi
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                    SUNNYVALE, CA 94087



                    NIKISHA REYES - GRANGE
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                    SEATTLE, WA 98112



                    Nikita Pantelynko
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                    12
                    LAS VEGAS, NV 89117



                    NIKKI BEHNAM
                    12 SANTA MARIA
                    FOOTHILL RANCH, CA 92610



                    Nikki Khamsing
                    29187 WOODBINE LN
                    MENIFEE, CA 92584



                    NIKKI MANGIAPANE
                    10534 KERRIGAN CT
                    SANTEE, CA 92071
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                    Nikki Pearson
                    2972 14TH AVE SE
                    NAPLES, FL 34117



                    Nikki Ying
                    5905 SANDSTONE AVE
                    SARASOTA, FL 34243



                    Nikko Hill
                    3131 HOMESTEAD RD
                    16 E
                    SANTA CLARA, CA 95051



                    Nikko Owens
                    4571 W 89th Way
                    Westminster, CO 80031



                    Niko Falcon
                    3716 STANLEY BLVD PLEASANTON
                    PLEASANTON, CA 94566



                    Nikolce Milevski
                    9492 Casoria Court. #201
                    Naples, FL 34113



                    Nikole Bainum
                    32861 BUCCANEER ST
                    DANA POINT, CA 92629



                    NILES CITY TAX
                    583 JOHNSON ROAD
                    GRASSFLAT, PA 00016-8390



                    NILESH ASHER
                    204 SUFFOLK GREEN LN
                    MORRISVILLE, NC 27560
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                                      2164



                    Nilfisk Inc.
                    Dept. 3251
                    PO BOX 123251
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                    Nina Wilk
                    12209 ARUCAUNA WAY
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                    Ninette Michel
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                    Ninfa Haro
                    12101 DALE AVE
                    60
                    STANTON, CA 90680



                    NINTH DIST OF CALIF CONGRESS OF PARENTS
                    6401 LINDA VISTA ROAD ANNEX A
                    SAN DIEGO, CA 92111



                    Niquan Smith
                    824 EAST MAGNOLIA STREET
                    LEESBURG, FL 34748



                    Niraj Patel
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                    Nissa Gamez
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                    Los Angeles, CA 90032



                    NJ MALIN AND ASSOCIATES LLC
                    PO BOX 843860
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Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1604 of
                                      2164



                    NM CHILD SUPPORT SDU
                    PO BOX 25109
                    ALBUQUERQUE, NM 87125



                    No Name Given Cindyana
                    3201 YORBA LINDA BLVD
                    105
                    FULLERTON, CA 92831



                    NOAH A. MORRIS
                    991 BORANDA AVE
                    MOUNTAIN VIEW, CA 94040



                    NOAH BELCIK
                    17577 ERIN CT
                    LAKE OSWEGO, OR 97035



                    Noah Calderon
                    15036 Oak Lane
                    Chino Hills, CA 91709



                    Noah Comeaux
                    410 BLACK FEATHER LOOP
                    12
                    CASTLE ROCK, CO 80104



                    Noah Couchman
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                    CAMARILLO, CA 93010



                    Noah Deragon
                    4341 SPRING STREET
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                    Noah Diaz
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Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1605 of
                                      2164



                    Noah Douge
                    801 WILDROSE DRIVR
                    BREA, CA 92821



                    Noah Fernandez
                    2951 E Ashlan Ave
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                    Noah Hyland
                    6811 Ne 121st Ave
                    Apt Cc250
                    Vancouver, WA 98682



                    Noah Jackman
                    14262 SW FANNO CREEK CT.
                    TIGARD, OR 97224



                    Noah Jacobs
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                    THE WOODLANDS, TX 77382



                    Noah Lamb
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                    Oceanside, CA 92057



                    Noah Levrant
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                    HENDERSON, NV 89074



                    Noah Morris
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                    MOUNTAIN VIEW, CA 94040



                    Noah Pfister
                    5628 RAINBOW CREST DR
                    AGOURA HILLS, CA 91301
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                    Noah Swindoll
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                    SAN DIEGO, CA 92130



                    NOBEL MIDDLE SCHOOL PTSA
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                    Apt D
                    Tustin, CA 92780



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                    Noe Jimenez
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                    546 NORTH MELROSE DR
                    VISTA, CA 92083



                    Noe Teofilo-Mejia
                    1576 Tilly Ave
                    Clearwater, FL 33576
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                                      2164



                    Noel Cuellar
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                    Noel Gomez
                    4205 W 3RD STREET
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                    Noel Guzman
                    3502 CAYMAN CT APT 2905
                    KISSIMMEE, FL 34741



                    Noel Johnson
                    10580 CLEAR LOOP LAKE
                    170
                    FORT MYERS, FL 33908



                    Noel rivera
                    295 WYMORE RD
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                    ALTAMONTE SPRINGS, FL 32714



                    Noel Sumayang
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                    PLEASANT HILL, CA 94523



                    Noel Villanueva
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                    Noelia Corrales
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                    Apt. #58
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Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1608 of
                                      2164



                    Noelia loyola
                    5100 E TROPICANA AVE
                    31B
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                    Noelle Cordero
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                    SARASOTA, FL 34237



                    Noelle Noyer
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                    Noemi Delarosa
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                    Orlando, FL 32809



                    Noemi Guzman
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                    FRESNO, CA 93702



                    Noemi Montes
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                    Noemi Romero
                    1301 E MOUNTAIN VIEW RD
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                    PHOENIX, AZ 85020



                    Noemi Travieso
                    4631 CASON COVE DRIVE
                    1628
                    ORLANDO, FL 32811



                    Noemie Mesadieu
                    5931 Nw 19 Courtlauderhill
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Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1609 of
                                      2164



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                    MISSION VIEJO, CA 92692



                    Nolan Cook
                    1310 Arlington Pl
                    El Cajon, CA 92021



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                    2226 BRANCH HILL STREET
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                    Tustin, CA 92780



                    Nolan Wilyard
                    35151 ORCHID DR.
                    WINCHESTER, CA 92596



                    Nolan Wong
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                    Mountain View, CA 94040



                    Nolte Romain
                    131 Sw 1st Ave
                    Boynton Beach, FL 33435



                    Nolvia Vasquez
                    4835 KARING PL
                    PAMDALE, CA 93552
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                                      2164



                    Nongkran Sherry
                    33118 Meadow Side Ct
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                    Nora Martinez
                    4401 MONTGOMERY NE
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                    Pembroke Pines, FL 33029



                    Nora Ramirez
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                    Nora Story
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                    Lauderhill, FL 33311



                    Nora Torres
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                    Norberto Herrera
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                    HOUSTON, TX 77080



                    Nordalie Louissaint
                    5634 Piney Ridge Drive
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                    Norieann Anit
                    27035 Mazuelo Court
                    Laguna Niguel, CA 92677
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                    Norma Amaro
                    4200 Blake Rd Sw
                    Space #210
                    Albuquerque, NM 87121



                    Norma Azpeitia
                    2325 via santos
                    Apt L
                    Carlsbad, CA 92008



                    Norma contreras de vargas
                    233 north conrad ave
                    SARASOTA, FL 34237



                    Norma Denton
                    306 Bromley Cross Dr
                    San Jose, CA 95119



                    Norma Garcia
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                    Las Vegas, NV 89122



                    Norma Guerrero
                    315 E La Jolla Dr
                    Tempe, AZ 85282



                    Norma Gutierrez
                    350 S WILLOW AVE
                    110
                    RIALTO, CA 92376



                    Norma Lopez
                    1222 CEDAR POST LANE #86
                    HOUSTON, TX 77055



                    Norma Miron Sartorius
                    18555 Butterfield Blvd
                    Apt 1113
                    Morgan Hill, CA 95037
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                    Norma Nieves
                    8701 S BRAEWOOD BLVD
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                    HOUSTON, TX 77031



                    Norma Perez
                    9225 E Main
                    Apt.#17
                    Mesa, AZ 85207



                    Normesha Williams
                    566 WEST COUNTY ROAD 462
                    WILDWOOD, FL 34785



                    Norris Cooper
                    P375 58TH N
                    STPETERSBURG, FL 33779



                    Norshan Zangana
                    17865 Sw Jay St.
                    Hillsboro, OR 97003



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                    2301 NORTH BROADWAY
                    ESCONDIDO, CA 92026



                    NORTH CAROLINA DEPT OF REVENUE
                    PO BOX 25000
                    RALEIGH, NC 27640-0002



                    NORTH CLACKAMAS COC
                    CHAMBER OF COMMERCE
                    8305 SE MONTEREY AVE STE 104
                    HAPPY VALLEY, OR 97086



                    NORTH CLACKAMAS SOCCER CLUB
                    PO BOX 68884
                    OAK GROVE, OR 97268
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1613 of
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                    NORTH COAST CHURCH
                    2405 NORTH SANTA FE
                    JR HIGH MINISTRY C/O JAN HUDSON
                    VISTA, CA 92084



                    NORTH COAST CHURCH
                    2405 NORTH SANTA FE
                    VISTA, CA 92084



                    NORTH COLLIER FIRE CONTROL
                    6495 TAYLOR ROAD
                    NAPLES, FL 34109



                    NORTH COUNTY ACADEMY OF DANCE ASSOCIATIO
                    5256 S MISSION ROAD SUITE 806
                    BONSALL, CA 92003



                    NORTH FAYETTE TOWNSHIP
                    400 N. BRANCH ROAD
                    OAKDALE, PA 00015-0710



                    NORTH HIGH SCHOOL
                    3620 W 182ND ST
                    TORRANCE, CA 90504



                    NORTH TERRACE PTO
                    141 SANTA RPSA DR
                    OCEANSIDE, CA 92058



                    NORTH TEXAS MOUNTAIN VALLEY WATER CORP S
                    2109 LUNA RD #100
                    CARROLITON, TX 75006



                    NORTHERN SAFETY CO INC
                    PO BOX 4250
                    UTICA, NY 13504-4250
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                                      2164



                    NORTHGLENN UNITED METHODIST CHURCH
                    1605 W 106TH AVE
                    NORTHGLENN, CO 80260



                    NORTHLAND ALUMINUM PRODUCTS INC
                    NW 8657
                    PO BOX 1450
                    MINNEAPOLIS, MN 55485-8657



                    NORTHMINSTER PRESCHOOL
                    4324 CLAIREMONT MESA BLVD
                    SAN DIEGO, CA 92117



                    NORTHRIDGE UNITED METHODIST CHURCH
                    9650 RESEDA BLVD
                    NORTHRIDGE, CA 91324



                    NORTHWEST NATURAL GAS COMPANY INC
                    220 NW 2ND AVE
                    PORTLAND, OR 97209



                    NORWOOD ELEMENTARY PTA
                    19810 NW 14TH COURT
                    MIAMI GARDENS, FL 33169



                    NOT FOR SALE CAMPAIGN
                    2218 PINECREST COURT
                    FULLERTON, CA 92831



                    NOT FOR SALE CAMPAIGN
                    2218 PINECREST COURT
                    FULLERTON
                    CA, 92831



                    NOTTS FOREST F C NFFC
                    PO BOX 22755
                    SAN DIEGO, CA 92191
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1615 of
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                    LA MESA, CA 91941



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                    PO Box 639421
                    Cincinnati, OH 45263



                    Novolex Shields, Llc
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                    Cincinnati
                    OH, 45263



                    NOVON COMPANY
                    PO BOX 1690
                    PLEASANTON, CA 94566



                    Nozaire Joseph
                    1400 5TH AVE N
                    D12
                    NAPLES, FL 34102



                    NTL BRANDS LTD
                    3901 PIPESTONE RD
                    DALLAS, TX 75212



                    NTL-Brands, LTD.
                    formerly New Thermoserv, LTD.
                    PO Box 671316
                    Dallas, TX 75267-1316



                    NUCO2
                    PO BOX 417902
                    BOSTON, MA 02241-7902



                    NULITE INC
                    PO BOX 1017
                    POWAY, CA 92074-1017
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                    Null Shawman
                    10641 STELLING RD
                    CUPERTINO, CA 95014



                    nuong Tran
                    3028 REMINGTON CT
                    SAN JOSE, CA 95148



                    Nurhan Bas
                    14534 NW DELIA ST
                    PORTLAND, OR 97229



                    Nurlinda Cedeno
                    10565 LA BASTLLA LANE
                    P9-305
                    ORLANDO, FL 32836



                    NUTMEG INDUSTRIES INC
                    12101 MADERA WAY
                    RIVERSIDE, CA 92503



                    Nuvia Rodriguez
                    925 W 15th Ave
                    Escondido, CA 92025



                    NV ENERGY
                    PO BOX 30150
                    RENO, NV 89520-3150



                    NV SCADU
                    PO BOX 98950
                    LAS VEGAS, NV 89193



                    NW NATURAL
                    PO BOX 6017
                    PORTLAND, OR 97228-6017
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1617 of
                                      2164



                    Ny Le
                    2134 CRANDALL GARSTON ST.
                    B
                    SAN DIGO, CA 92111



                    Nya Cuellar
                    16055 MAGNOLIA HILL ST
                    CLERMONT, FL 32703



                    Nydia Arana
                    1336 WAIKIKI WAY
                    TAMPA, FL 33619



                    Nyiza Hodge
                    1128 EAST MAGNOLIA ST
                    LEESBURG, FL 34748



                    Nykeria Anderson
                    2150 UNITY AVE
                    FORT MYERS, FL 33901



                    Nyla James
                    11012 NESBITT DRIVE
                    RANCHO CUCAMONGA, CA 91730



                    NYS CHILD SUPPORT
                    PO BOX 15363
                    ALBANY, NY 12212



                    NYS EMPLOYMENT TAXES
                    NYS TAX PROCESSING - NYS-45
                    33 LEWIS ROAD
                    BINGHAMTON, NY 13905-1040



                    Nysia Orsborn
                    3095 E PAGE AVE
                    GILBERT, AZ 85234
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                    Oak Springs
                    PO BOX 922906
                    SYLMAR, CA 91392-2906



                    OAK SPRINGS NURSERY INC
                    PO BOX 922906
                    SYLMAR, CA 91392-2906



                    OAK VALLEY MUSIC BOOSTERS
                    16055 WINECREEK RD MUSIC DEPT
                    SAN DIEGO, CA 92127



                    Oakland Butler
                    1121 N. JOSHUA TREE LANE
                    GILBERT, AZ 85234



                    OAKRIDGE WESLEYAN CHURCH
                    10735 125TH AVE
                    LARGO, FL 33778



                    Oakwood Plaza Limited Partnership
                    PO Box 5020
                    New Hyde Park, NY 11042



                    OAKWOOD PLAZA LP
                    PO BOX 62045
                    NEWARD, NJ 07101



                    Obdulio Soriano
                    10226 Traylor Way
                    Garden Grove, CA 92843



                    Obed Sandria
                    2503 PANAGARD DR
                    606
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Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1619 of
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                    Obeid Hoseeini
                    14231 E IDAHO PL
                    AURORA, CO 80012



                    OCASA PTSA
                    29292 CROWN VALLEY PKWY
                    LAGUNA NIGUEL, CA 92677



                    OCCUPANCY COST AUDIT GROUP INC
                    27442 PORTOLA PARKWAY #170
                    FOOTHILL RANCH, CA 92610



                    Occupational Health Centers
                    Concentra Medical Centers
                    Of California, A Medical Corp
                    Po Box 3700
                    Rancho Cucamonga, CA 91729-3700



                    Occupational Health Centers
                    Concentra Medical Centers
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                    PO BOX 82730
                    Hapeville, GA 30354-0730



                    OCCUPATIONAL HEALTH CENTERS OF CALIFORNI
                    PO BOX 3700
                    RANCHO CUCAMONGA, CA 91729-3700



                    OCCUPATIONAL HEALTH CENTERS OF GEORGIA P
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                    HAPEVILLE, GA 30354



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                    PO BOX 9009
                    BLOOMFIELD, CO 80021-9009



                    OCCUPATIONAL HEALTH CENTERS OF THE SOUTH
                    1818 E SKY HARBOR CIR STE 150
                    PHOENIX, AZ 85034
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                                      2164



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                    SAN DIEGO, CA 92130



                    OCEAN BEACH ELEMENTARY PTA
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                    LITTLETON, CO 80128



                    OCEAN SPRAY CRANBERRIES INC
                    PO BOX 223049
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                    PO BOX 223049
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                    Octavio Gonzalez
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                    Long Beach, CA 90805



                    Octavio Hernandez
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                    DUARTE, CA 91010



                    Octavio Lozada
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                    Apt 116
                    Orange, CA 92869



                    Octavio Morales
                    1424 N. DONACY WAY
                    #4
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                    Odalis Guerrero
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                    #2
                    SUNNYVALE, CA 94086



                    Odalis Mendoza
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                    LAS VEGAS, NV 89108



                    Odalys Ambris
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                    ESCONDIDO, CA 92025
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                    ODESSA CHRISTIAN SCHOOL
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                    Odilio Baca
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                    Unit 27
                    Tigard, OR 97223



                    Odot/Mctd
                    3930 Fairview Industrial Dr Se
                    Salem, OR 97302



                    Odyssey Hedke
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                    162
                    TUALATIN, OR 97062



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                    Ofelia Damian Marin
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                    ANAHEIM, CA 92805



                    Ofelia Navarrete
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                    Ofelia Stumph
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                    #2
                    Los Alamitos, CA 90720



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                    LOS ANGELES, CA 90074-0001
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                    PHOENIX, AZ 85038-9248



                    OFFICE DEPOT
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                    LOS ANGELES, CA 90074-0025



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                    19
                    PORTLAND, OR 97219



                    Oganes Kuyumdzhyan
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                    #1
                    SUN VALLEY, CA 91352



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                    OHIO DEPT OF JOB & FAMILY SVCE
                    BUREAU OF UC TAX
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                    COLUMBUS, OH 43218-2413



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                    WILL ROGERS MEMORIAL OFFICE BD
                    P.O. BOX 52004
                    OKLAHOMA CITY, OK 73152-2004
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                                      2164



                    OKLAHOMA TAX COMMISSION
                    P.O. BOX 26860
                    OKLAHOMA CITY, OK 07312-6860



                    Olando Norris
                    4361 Sw 52nd Ct
                    Fort Lauderdale, FL 33314



                    Olbodai Hickmond
                    1575 OAK DR
                    V-8
                    VISTA, CA 92084



                    Old Dominion Wood Products
                    800 Craddock Street
                    Lynchburg, VA 24501



                    OLD SCHOOL PLUMBING AND BOILER INC
                    2296 W SKYLINE LN
                    QUEEN CREEK, AZ 85142



                    OLD TOWN ACADEMY
                    2120 SAN DIEGO AVE
                    C/O GAIL WARRICK
                    SAN DIEGO, CA 92110



                    OLD WEST CHAPTER OES
                    19310 AVENUE OF THE OAKS
                    NEWHALL, CA 91321



                    Oldin Castillo
                    18025 E Galatea St
                    Azusa, CA 91702



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                    3937 E DULCIANA AVE
                    MESA, AZ 85206
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                                      2164



                    OLECTRIC LLC
                    3937 E DULCIANA AVE
                    MESA
                    AZ, 85206



                    Oleksandr Shcherbyna
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                    34
                    VANCOUVER, WA 98684



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                    7 CORPORATE PLAZA
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                    Bret Van Nortwick
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                    Olga Castillo
                    588 WEST PALM ST.
                    ALTADENA, CA 91001
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                                      2164



                    Olga Estrada
                    1445 W FLORIDA AVE
                    SPC 92
                    HEMET, CA 92543



                    Olga Garibay
                    1440 Reganti Pl 21
                    Concord, CA 94518



                    Olga Putuntica
                    132 Allison Avenue
                    Davenport, FL 33897



                    OLGA PUTUNTICA
                    132 ALLISON AVE
                    DAVENPORT, FL 33897



                    OLINDA PTO
                    3145 E BIRCH ST
                    BREA, CA 92821



                    Oliver Castro
                    1135 W. NORTH ST.
                    ANAHIEM, CA 92801



                    Oliver Erickson
                    17648 SE PINE ST.
                    PORTLAND, OR 97233



                    OLIVER PANTALEON
                    402 63RD ST SPC.200
                    SPC.200
                    SAN DIEGO, CA 92114



                    Oliver Recinos
                    17811 SE 24TH STREET
                    VANCOUVER, WA 98683
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                    Oliver Sigala
                    915 RED GRANITE RD
                    CHULA VISTA, CA 91913



                    Oliver Tildesley
                    4336 MUIRWOOD DRIVE
                    PLEASANTON, CA 94588



                    Oliver Watkins
                    9840 S FLOWER CT
                    LITTLETON, CO 80127



                    OLIVIA ACOSTA
                    1151 WALNUT AVENUE 84
                    TUSTIN, CA 92780



                    Olivia Adwell
                    6204 CAMINO DE ROSA DR.
                    #3
                    LAS VEGAS, NV 89108



                    Olivia Bautista
                    1930 EARHART COURT
                    OXNARD, CA 93033



                    Olivia Chabolla
                    451 E 2nd Ave.
                    La Habra, CA 90631



                    Olivia Connolly
                    408 SANDPIPER LN
                    UNIT 102
                    CASSELBERRY, FL 32707



                    Olivia Corrales
                    11500 N Dale Mabry Hwy
                    Apt 412
                    Tampa, FL 33618
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                    Olivia Davis
                    645 SUNRISE LAKE PLACE
                    HENDERSON, NV 89002



                    Olivia Decaro
                    2330 Masters Rd.?
                    Carlsbad, CA 92008



                    Olivia Dyer
                    13813 Cypress Village Circle
                    Tampa, FL 33618



                    Olivia Gonzalez
                    9457 GRANDVIEW SPRING AVE
                    LAS VEGAS, NV 89166



                    Olivia Jackson
                    305 AUTUMN BREEZE WAY
                    WINTER PARK, FL 32792



                    Olivia Jones-Ballard
                    1060 BRENTWOOD WAY
                    #F
                    ATLANTA, GA 30350



                    Olivia Kam
                    29752 MELINDA ROAD
                    2118
                    RANCHO SANTA MARGARITA, CA 92688



                    Olivia Kirkpatrick
                    5945 NELDA ST
                    1
                    SIMI VALLEY, CA 93063



                    Olivia Naquin
                    2722 18TH ST.
                    SAN PABLO, CA 94806
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1629 of
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                    Olivia Ordonez
                    2404 E NUTWOOD AVE
                    E14
                    FULLERTON, CA 92831



                    Olivia Reich
                    31346 CORTE SONORA
                    TEMECULA, CA 92592



                    Olivia Sagan
                    5829 W ROXBURY PL
                    LITTLETON, CO 80128



                    Olivia sampson
                    30925 CENTRAL PARK DR
                    MURRIETA, CA 92563



                    Olivia Sandoval
                    14654 Rayen St
                    Apt 3
                    Panorama City, CA 91402



                    Olivia Zamudio
                    720 Grissom St
                    San Diego, CA 92154



                    Oluwademilade Akindele
                    1008 Glendora Dr
                    Oceanside, CA 92057



                    Olvick Lousima
                    985 Roseway
                    Naples, FL 34104



                    Olympia Payne
                    5454 SOTH ZENO WAY
                    CENTENNIAL, CO 80015
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                    Olyvea Tolbert
                    2746 CAYDEN CREEK WAY
                    CONROE, TX 77304



                    Omar Alvarez
                    207 OTAY VALLEY RD UNIT C
                    CHULA VISTA, CA 91911



                    OMAR CECILIO ZAMORA
                    8373 BROADWAY
                    LEMON GROVE, CA 91945



                    Omar Cobreros
                    8829 JUNIPER AVE
                    FONTANA, CA 92335



                    Omar Escobar
                    30001 GOLDEN LAUREN
                    257
                    LAGUNA NIGULE, CA 92677



                    Omar Estrada
                    1023 N. Hudson Ave
                    #2
                    Los Angeles, CA 90038



                    Omar Garcia
                    1684 Teresa Ave
                    Colton, CA 92324



                    Omar Gutierrez
                    1046 REED TERRACE
                    3
                    SUNNYVALE, CA 94086



                    Omar Ibarra
                    326 SOUTH EAST ST
                    ANAHEIM, CA 92805
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                                      2164



                    Omar Irfan
                    1964 PLUMAS WAY
                    ORLANDO, FL 32824



                    Omar Lopez
                    4729 Matney Ave
                    Long Beach, CA 90807



                    Omar Mateo
                    2002 PONDEROSA ST
                    230
                    SANTA AN, CA 92705



                    Omar Montejano
                    84513 LINDA AVENUE
                    COACHELLA, CA 92236



                    Omar Montes Mendez
                    1047 E. SIERRA AVE
                    108
                    FRESNO, CA 93710



                    Omar Nawar
                    4055 CARMEL VIEW RD
                    SAN DIEGO, CA 92130



                    Omar Ocampo
                    7733 ALLANO WAY
                    LAS VEGAS, NV 89128



                    Omar Oronia
                    2186 E 97TH ST
                    LOS ANGELES, CA 90002



                    Omar Puente
                    8915 E GUADALUPE RD
                    1064
                    MESA, AZ 85212
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                                      2164



                    Omar Trejo
                    16654 MONTEGO WAY
                    TUSTIN, CA 92780



                    Omari McClendon
                    1404 HIGH STREET
                    APARTMENT A
                    ALAMEDA, CA 94501



                    OMEGA PHI ALPHA
                    MEMORIAL UNION 3RD FLOOR
                    TEMPE, AZ 85281



                    OMEGA PHI ALPHA
                    MEMORIAL UNION 3RD FLOOR
                    TEMPE
                    AZ, 85281



                    OMICRON ADK
                    10060 E GRAY HAWK DR
                    TUCSON, AZ 85730



                    OMICRON ADK
                    10060 E GRAY HAWK DR
                    TUCSON
                    AZ, 85730



                    Omielda Daniel
                    2900 NW 56 AVE
                    Apt B201
                    Lauderhill, FL 33313



                    Omya
                    PO BOX 200222
                    PITTSBURGH, PA 15251-0222



                    Omya Specialty Materials
                    Po Box 200222
                    Pittsburgh, PA 15251-0222
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                    ONE STEP BEYOND INC
                    9299 W OLIVE AVENUE STE 311
                    PEORIA, AZ 85345



                    ONEIDA FOODSERVICE
                    23752 NETWORK PLACE
                    CHICAGO, IL 60673-1237



                    ONEIDA FOODSERVICE
                    75 REMITTANCE DR STE 6152
                    CHICAGO, IL 60675-6152



                    Onel Elie
                    1422 ne 34th st
                    Cape Coral, FL 33909



                    ONESIGHT
                    2747 GULF TO BAY BLVD
                    ONESIGHT
                    CLEARWATER, FL 33759



                    Onice Deloa
                    9502 NE 73RD CIRCLE
                    VANCOUVER, WA 98662



                    OPEN TEXT INC
                    24685 NETWORK PLACE
                    C/O JP MORGAN
                    CHICAGO, IL 60673-1246



                    OPERATION SHOEBOX USA
                    8360 E HIGHWAY 25
                    BELLEVIEW, FL 34420



                    OPERATION SMILE
                    507 S EUCLID ST SPC 170
                    SANTA ANA, CA 92704
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                    OPINIONS LTD
                    33 RIVER STREET STE 2
                    CHAGRIN FALLS, OH 44022



                    OPTIMIST CLUB OF HILLSBORO
                    16805 NW PEBBLE BEACH WAY
                    BEAVERTON, OR 97006



                    OPTIMIST CLUB OF WEST PEMBROKE
                    6123 SW 191 AVENUE
                    PEMBROKE PINES, FL 33332



                    OR DEPT OF JUSTICE
                    CHILD SUPPORT
                    PO BOX 14506
                    SALEM, OR 97309



                    ORACLE AMERICA INC
                    PO BOX 44471
                    SAN FRANCISCO, CA 94144



                    Oralia Garcia
                    2050 Ne Barberry Drive
                    #16
                    Hillsboro, OR 97124



                    ORANGE COUNTY FIRE AUTHORITY
                    PO BOX 51985
                    IRVINE, CA 92619-1985



                    ORANGE COUNTY HEALTH CARE AGEN
                    ENVIRONMENTAL HEALTH
                    1241 EAST DYER ROAD SUITE 120
                    SANTA ANA, CA 92705-5611



                    ORANGE COUNTY SHERIFFS OFFICE
                    909 N MAIN STREET STE 2
                    SANTA ANA, CA 92701
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                    ORANGE COUNTY SHERIFFS OFFICE
                    909 N MAIN STREET STE 2
                    SANTA ANA
                    CA, 92701



                    ORANGE COUNTY TAX COLLECTOR
                    PO BOX 545100
                    ORLANDO, FL 32854-5100



                    ORANGE GLEN BAND ASSOCIATION
                    2550 EAST VALLEY PKWY SPC 15
                    ESCONDIDO, CA 92027



                    ORANGEWOOD ACADEMY
                    13732 CLINTON STREET
                    GARDEN GROVE, CA 92843



                    ORE-CAL CORP
                    PO BOX#21832
                    LOS ANGELES, CA 90021



                    Ore-Cal Corp.
                    Po Box #21832
                    Los Angeles, CA 90021



                    OREGON CITY EVANGELICAL CHURCH
                    1024 LINN AVE
                    OREGON CITY, OR 97045



                    OREGON DEPARTMENT OF REVENUE
                    PO BOX 14780
                    SALEM, OR 97309-0469



                    OREGON DEPARTMENT OF REVENUE
                    PO BOX 14260
                    SALEM, OR 97309-5060
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                    OREGON DEPARTMENT OF REVENUE
                    PO BOX 14725
                    SALEM, OR 97309-5018



                    OREGON DEPARTMENT OF REVENUE
                    PO BOX 14800
                    SALEM, OR 09730-9920



                    OREGON DEPT OF REVENUE
                    PO BOX 14725
                    SALEM, OR 97301-2555



                    OREGON HUMANE SOCIETY
                    13565 S UNION HALL RD
                    CANBY, OR 97013



                    Oregon Potato Company
                    Willmette Valley Fruit Company
                    Po Box 3372
                    Pasco, WA 99302



                    Oriana Olmstead
                    6731 PAESE PLACE NW
                    ABQ, NM 87114



                    Oriana Sanchez
                    5280 MILLENIA BLVD
                    APT 208
                    ORLANDO, FL 32839



                    ORIGINAL PRACTICE SHAKESPEARE
                    7415 SW 17TH DRIVE
                    ORIGINAL PRACTICE SHAKESPEARE
                    PORTLAND, OR 97219



                    Orkin Pest Control
                    Po Box 7161
                    Pasadena, CA 91109-7161
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                    ORKIN PEST CONTROL
                    12710 MAGNOLIA AVE
                    RIVERSIDE, CA 92503-4620



                    Orlando Avalos
                    3060 RICHLAND
                    TUSTIN, CA 92780



                    Orlando Bonilla
                    9649 CEDAR GLEN PL
                    RANCHO CUCAMONGA, CA 91730



                    ORLANDO CENTRAL FLORIDA STC
                    6138 MARGIE CT
                    ORLANDO, FL 32807



                    ORLANDO CENTRAL FLORIDA STC
                    6138 MARGIE CT
                    ORLANDO
                    FL, 32807



                    ORLANDO COMMERCIAL SOLUTIONS LLC
                    2525 W END DR
                    ST CLOUD, FL 34772



                    Orlando Commerical Solutions LLC
                    2525 W END DR
                    ST CLOUD, FL 34772



                    Orlando De La Cueva
                    8111 Stanford Ave
                    #170
                    Garden Grove, CA 92841



                    Orlando Mendoza
                    3706 COCONINO CT
                    SAN DIEGO, CA 92117
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                    Orlando Peralta
                    8353 Rimridge Lane
                    San Diego, CA 92126



                    Orlando Plaza
                    2630 POTRERO AVE
                    EL MONTE, CA 91733



                    ORLANDO POLICE DEPARTMENT
                    1250 W S ST
                    ALARM COORDINATOR
                    ORLANDO, FL 32805



                    Orlando Poveda
                    503 West Rd
                    Apt #43
                    Houston, TX 77038



                    Orlando Ramirez
                    1033 SAPPHIRE LN
                    CORONA, CA 92882



                    ORLANDO SPORTSPLEX LTD
                    8701 MAITLAND SUMMIT BLVD
                    ORLANDO, FL 32810



                    ORLANDO UTILITIES COMMISSION
                    PO BOX 31329
                    TAMPA, FL 33631-3329



                    ORLANDO UTILITIES COMMISSION
                    PO BOX 31329
                    TAMPA
                    FL, 33631-3329



                    Orlene Pinto
                    6 PINE COURSE TRAIL
                    OCALA, FL 34472
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                    ORNUA (WISCONSIN) INGREDIENTS LLC
                    AMERICA
                    N7630 CTY HWY BB
                    HILBERT, WI 54129



                    Ornua Ingredients North America
                    N7630 CTY HWY BB
                    Hilbert, WI 54129



                    Ortevia Alcocer
                    13115 LE PARC
                    34
                    CHINO HILLS, CA 91709



                    Orville Fassett
                    5132 Ladera Cir
                    las Vegas, NV 89120



                    Osbelia Estrada
                    5215 Palos Verdes Dr
                    Sarasota, FL 34231



                    Oscar Alvarado
                    1400 N 17th Ave
                    apt 2
                    Hollywood, FL 33020



                    Oscar Alvarado-rua
                    6308 Rancho Mission Rd.
                    #267
                    San Diego, CA 92108



                    Oscar Arellano
                    2051 N. T0rrey pines Dr.1024 #
                    Las Vegas, NV 89108



                    Oscar Campos lagunas
                    3750 CATALINA DR
                    CARLSBAD, CA 92010
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                    OSCAR CARDENAS JR
                    PO BOX 2126
                    IMPERIAL BEACH, CA 91933



                    Oscar Chavez
                    8888 CIRCLE DR
                    WESTMINSTER, CO 80031



                    Oscar Chavez
                    84-470 Avenue 54
                    Coachella, CA 92236



                    OSCAR CHAVEZ
                    53135 AVENIDA JUAREZ
                    LA QUINTA, CA 92253



                    Oscar Fresquez
                    5817 S. SIESTA LN
                    TEMPE, AZ 85283



                    Oscar Garcia
                    9448 SAN CARLOS STREET
                    SPRING VALLEY, CA 91977



                    Oscar Garcia Hernandez
                    1935 S BROADWAY
                    ESCONDIDO, CA 92025



                    Oscar Gutierrez
                    4045 47st
                    Apt 1
                    San Diego, CA 92105



                    Oscar Laguna
                    2506 MONA LEE LANE
                    HOUSTON, TX 77080
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                                      2164



                    Oscar Lara
                    24521 Bendricon Lane
                    Lake Forest, CA 92630



                    Oscar Lenis
                    28030 DOVEWOOD CT
                    304
                    BONITA SPRINGS, FL 34135



                    Oscar Maye
                    2773 Cypress Drive
                    Apt. B
                    Clearwater, FL 33765



                    Oscar Mejia
                    3025LUANA DR
                    OCEANSIDE, CA 92056



                    Oscar Meza
                    341 E Vogel
                    #1
                    Phoenix, AZ 85020



                    Oscar Munoz
                    551 N CITRUS AVE
                    ESCONDIDO, CA 92027



                    Oscar Olivas
                    14427 S. Vermont
                    #180
                    Gardena, CA 90247



                    Oscar Penate
                    1535 West 37th Place
                    Los Angeles, CA 90018



                    OSCAR PORRON VAZQUEZ
                    13522 PARTRIDGE ST
                    GARDEN GROVE, CA 92843
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                                      2164



                    Oscar Portillo
                    2230 LATHAM ST
                    138
                    MOUNTAIN VIEW, CA 94040



                    Oscar Ramirez
                    10640 Colima Rd At.230
                    Whittier, CA 90604



                    Oscar Renteria Jimenez
                    1825 E. Valley Parkway
                    Apt #13
                    Escondido, CA 92027



                    Oscar Robles
                    3057 W COOLDIGE AVE
                    #3
                    ANAHEIM, CA 92801



                    Oscar Vazquez
                    11122 Pine Cone Lane
                    Houston, TX 77041



                    Oscar Venegas
                    142 LANCER AVE
                    OCEANSIDE, CA 92058



                    Oscar Villela-reyes
                    16001 N 27th St
                    #11
                    Phoenix, AZ 85032



                    Osdi Aguilar
                    169 S. BURLINGTON AVENUE
                    3
                    LOS ANGELES, CA 90057
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                                      2164



                    Osman Monterroso
                    4706 W. 161ST
                    LAWNDALE, CA 90260



                    Osmaneil Lopez




                    Osneicy Cumare
                    5618 PGA BLVD
                    APT 1612
                    Orlando, FL 32839



                    Osnery Carrillo
                    5471 Vineland Rd.
                    Apt 7304
                    Orlando, FL 32811



                    Ospene Clair
                    709 Sw 6th Ave
                    Delray Beach, FL 33444



                    Osvaldo Ortiz
                    6162 HOMEWOOD AVE
                    BUENA PARK, CA 90621



                    Osvaldo Pena
                    5508 CARROLLWOOD KEY DR
                    TAMPA, FL 33624



                    Osvaldo Solis
                    7302 Ewell Way
                    Stanton, CA 90680



                    Oswaldo Nunez
                    13400 BLANCO RD #806
                    SAN ANTONIO, TX 78216
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                                      2164



                    OT CHATSWORTH TEXAS LLC
                    11440 SAN VICENTE BLVD
                    SUITE 200 C/O WESTWOOD FINANCIAL CORP
                    LOS ANGELES, CA 90049



                    OT SGA
                    874 AMERICAN PACIFIC DR
                    HENDERSON, NV 89014



                    OTAY RANCH ACADEMY OF THE ARTS
                    1615 MATER DEI DR
                    CHULA VISTA, CA 91913



                    OTAY WATER DISTRICT
                    PO BOX 51375
                    LOS ANGELES, CA 90051-5675



                    Otelia Anelion
                    3701 Nw 3rd Ave
                    Oakland Park, FL 33309



                    Otilio Castro
                    2435 SW
                    74
                    BEAVERTON, OR 97005



                    OUR LADY OF GRACE CATHOLIC SCHOOL
                    2766 NAVAJO RD
                    EL CAJON, CA 92020



                    OUSSOREN EPPEL CORP
                    PO BOX 231666
                    ENCINITAS, CA 92023-1666



                    OUSSOREN EPPEL CORP.
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                    OUTFRONT MEDIA LLC
                    PO BOX 33074
                    NEWARK, NJ 07188-0074



                    OUTLOOK MEDIA INC
                    1226 MOUNT VERNON ST
                    ORLANDO, FL 32803



                    OUTLOOK MEDIA INC
                    1226 MOUNT VERNON ST
                    ORLANDO
                    FL, 32803



                    OUTSOURCING SOLUTIONS GROUP
                    630 N CENTRAL EXPRESSWAY STE A
                    PLANO, TX 75074



                    Ovary Ornis
                    306 WYMORE RD
                    102
                    ALTAMONTE SPRINGS, FL 32714



                    OVERLAYANALYTICS LLC
                    13355 NOEL RD STE 310
                    DALLAS, TX 75240



                    OVERLAYANALYTICS LLC
                    13355 NOEL RD STE 310
                    DALLAS
                    TX, 75240



                    Owen Johnson
                    2617 COVE CAY DR. UNIT#211
                    CLEARWATER, FL 33760



                    OWENSBORO KY-OCCUPAT TAX ADMIN
                    PO BOX 10008
                    OWENSBORO, KY 42302-9008
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1646 of
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                    OXNARD UNION HIGH SCHOOL DISTR
                    1101 E VENTURA BLVD SPC 187
                    OXNARD, CA 93036



                    OZONA ELEMENTARY SCHOOL PTA
                    601 TAMPA RD
                    PALM HARBOR, FL 34683



                    Ozzy Bagno
                    8 MORELLO HEIGHTS DR
                    MARTINEZ, CA 94553



                    P E O CHAPTER UV
                    11302 GRASSY TRAIL DR
                    C/O KATHY STEELE
                    SAN DIEGO, CA 92127



                    Pablo Alicea
                    2111 TETLEY CT
                    BRANDON, FL 33510



                    Pablo Esteban Mateo
                    10205 SALUDA AVE
                    SAN DIEGO, CA 92126



                    Pablo Mejia
                    11995 Peach Tree Rd.
                    Yucaipa, CA 92399



                    Pablo Munguia
                    2139 S Birch St
                    Santa Ana, CA 92707



                    Pablo Ortiz
                    37 MULLER PL
                    SAN JOSE, CA 91526
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                    Pablo Otero
                    4601 MONTANO RD
                    97
                    ALBUQUERQUE, NM 87120



                    Pablo Reyes Romero
                    4924 SE 113th AVE
                    PORTLAND, OR 97266



                    PACIFIC BUSINESS CAPITAL CORP
                    PO BOX 19067
                    IRVINE, CA 92623



                    Pacific Cheese
                    Po Box 1017360
                    Pasadena, CA 91189-1736



                    PACIFIC CHEESE
                    21090 CABOT BLVD
                    HAYWARD, CA 94545-6598



                    Pacific Gold Agriculture Llc
                    Po Box 29
                    Colusa, CA 95932



                    Pacific Landscape
                    21555 NW AMBERWOOD DR
                    HILLSBORO, OR 97124



                    PACIFIC LANDSCAPE MANAGEMENT
                    21555 NW AMBERWOOD DR
                    HILLSBORO, OR 97124



                    PACIFIC PREMIER RETAIL TRUST LLC
                    PO BOX 849464
                    LOS ANGELES, CA 90084-9464
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1648 of
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                    PACIFIC REALTY ASSOCIATES LP
                    UNIT 64
                    PO BOX 4900
                    PORTLAND, OR 97208-4900



                    Pacific Realty Associates, L.P.
                    15350 S.W. Sequoia Pkwy.
                    Ste. 300
                    Portland, OR 97224



                    PACIFIC REPAIR SERVICE INT L INC
                    1666 N MAGNOLIA AVE
                    EL CAJON, CA 92020



                    PACIFIC TENT AND AWNING
                    7295 N PALM BLUFFS AVE
                    FRESNO, CA 93711



                    PACIFIC WATER SYSTEMS
                    PO BOX 3258
                    SAN JOSE, CA 95156



                    PACIFICA BAND AND AUX CORP
                    12812 VALLEY VIEW ST 12
                    GARDEN GROVE, CA 92845



                    PACIFICA BOYS SOCCER BOOSTER
                    PO BOX 5782
                    GARDEN GROVE, CA 92846



                    PACIFICA CHORAL BOOSTERS
                    PO BOX 6314
                    GARDEN GROVE, CA 92845



                    PACIFICA CHORAL BOOSTERS
                    PO BOX 6314
                    GARDEN GROVE
                    CA, 92845
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                    PACIFICA CHORUS BOOSTER
                    12695 SAINT MARK ST
                    GARDEN GROVE, CA 92845



                    PACIFICA HIGH SCHOOL DRUM LINE
                    13380 EL DORADO DR 195G
                    SEAL BEACH, CA 90740



                    PACIFICA HIGH SCHOOL PTSA
                    6851 LAMPSON AVE
                    GARDEN GROVE, CA 92845



                    PACK 167
                    12997 IMPALA COURT
                    C/O LINH TERRY
                    GARDEN GROVE, CA 92840



                    Pack a Drum
                    862 HAWKSBILL IS DR
                    SATELLITE BEACH, FL 32937



                    PACK A DRUM INC
                    862 HAWKSBILL IS DR
                    SATELLITE BEACH, FL 32937



                    PACKCO INC
                    PO BOX 2294
                    LAKE OZARK, MO 65049



                    PACKCO INC
                    PO BOX 2294
                    LAKE OZARK
                    MO, 65049



                    PACSD INC
                    PO BOX 130362
                    CARLSBAD, CA 92013
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                    PADRES PEDAL THE CAUSE
                    9715 BUSINESS PARK AVE
                    SAN DIEGO, CA 92131



                    PAGES 2 STAGES INC
                    10647 SW 76 TERRACE
                    MIAMI, FL 33173



                    Paige Brooks
                    16751 SE 82ND DR
                    APT 406
                    CLACKAMAS, OR 97015



                    Paige Christensen
                    8745 SW BEAVERTON HILLSDALE HY
                    10
                    PORTLAND, OR 97225



                    Paige Clemens
                    10137 VANALDEN AVE
                    NORTHRIDGE, CA 91324



                    PAIGE MOUZON
                    6508 LEXI LN
                    103
                    FAYETTEVILLE, NC 28314



                    PAIGE N. CLEMENS
                    10137 VANALDEN AVE
                    NORTHRIDGE, CA 91324



                    PAKWOOD PTSO INC
                    12900 N 71ST AVE
                    PEORIA, AZ 85381



                    PALM BEACH COUNTY
                    BOARD OF COUNTY COMMISSIONER
                    PO BOX 3977
                    WEST PALM BEACH, FL 33402
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                    PALM BEACH COUNTY SHERIFFS OFF
                    PO BOX 24681
                    WEST PALM BEACH, FL 33416-4681



                    PALM HARBOR UMC
                    1551 BELCHER ROAD
                    PALM HARBOR, FL 34683



                    Paloma Avila
                    120 BACOPA PASS
                    DAVENPORT, FL 33897



                    Paloma carrillo
                    7780 PARKWAY DR UNT 504
                    504
                    LA MESA, CA 91942



                    PALOMA ELEMENTARY PTO
                    660 CAMINO MAGNIFICO
                    SAN MARCOS, CA 92069



                    PALOMA PTO
                    660 CAMINO MAGNIFICO
                    SAN MARCOS, CA 92069



                    PAMELA BAUTISTA
                    1102 DEARBORN CIR
                    RICHARDSON, TX 75080



                    Pamela Beltran
                    611 W WEST AVE
                    FULLERTON, CA 92832



                    Pamela Gomez
                    3705 CAMPBELL RD TRLR 56
                    HOUSTON, TX 77080
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                    Pamela Tobar
                    2340 STACY DRIVE
                    DENVER, CO 80221



                    Panagiotis Levendis
                    1112 S SAN JOSE
                    6-207
                    MESA, AZ 85202



                    PANDAPARTNERS OURCOMMUNITYSCH
                    10045 JUMILLA AVE
                    CHATSWORTH, CA 91311



                    Pang Inmany
                    5830 W. Belmont Ave.
                    Fresno, CA 93723



                    PANG INMANY




                    Paola Benitez
                    1500 W THONRTON PKWY 461
                    461
                    THORNTON, CO 80260



                    Paola Garcia
                    9100 Judson St
                    Westminster, CO 80031



                    Paola Garcia Ujaque
                    8725 TIERRA VISTA
                    301
                    KISSIMMEE, FL 34747



                    Paola Salcedo
                    49660 CALLE OCASO
                    COACHELLA, CA 92236
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1653 of
                                      2164



                    Paola Sanchez
                    8707 BRUMMEL DR
                    HOUSTON, TX 77099



                    Paola Sanchez
                    1003 Charles Street
                    West Palm Beach, FL 33401



                    Paola Santiago
                    1192 Mitchell Ave
                    Apt 57
                    Tustin, CA 92780



                    Paolo Giovanardi
                    3128 PENITENCIA CREEK RD
                    SAN JOSE, CA 95132



                    Pape Material
                    PO BOX 35144 #5077
                    SEATTLE, WA 98124-5144



                    PAPE MATERIAL HANDLING
                    PO BOX 60008
                    CITY OF INDUSTRY, CA 91716



                    PAPE MATERIAL HANDLING
                    PO BOX 60008
                    CITY OF INDUSTRY
                    CA, 91716



                    Pape Material Handling Exchange
                    P.O. BOX 35144 #5077
                    Seattle, WA 98124-5144



                    Pape Material Handling Exchange
                    P.O. BOX 35144 #5077
                    Seattle
                    WA, 98124-5144
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                                      2164



                    PAPER RECYCLING AND SHREDDING SPECIALIST
                    PO BOX 3074
                    SAN DIMAS, CA 91773



                    Par Brinks POS




                    PAR-WAY GROUP INC
                    7964 SOLUTIONS CENTER DR
                    CHICAGO, IL 60677-7009



                    PARAMOUNT TECHNOLOGY SOLUTIONS LLC
                    63 EMERALD STREET STE 442
                    KEENE, NH 03431



                    PARAMOUNT URGENT CARE
                    805 E COUNTY ROAD 466
                    LADY LAKE, FL 32159



                    Parcea Vosough
                    530 S GRETNA GREEN WAY
                    LOS ANGELES, CA 90049



                    PARENT TEACHERENRICHMENT GROUP
                    2300 BELCHER ROAD SOUTH
                    LARGO, FL 33771



                    PARENTS AND TEACHERS MCKINLEY
                    1500 NW 185TH AVE
                    BEAVERTON, OR 97006



                    PARENTS AND TEACHERS MCKINLEY
                    1500 NW 185TH AVE
                    BEAVERTON
                    OR, 97006
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                    PARENTS AND TEACHERS OF BARNES
                    13730 WALKER ROAD
                    BEAVERTON, OR 97005



                    PARENTS BOOSTER NETWORK PPHS
                    5000 SW 207TH TERRACE
                    C/O GRASY NORIEGA
                    PEMBROKE PINES, FL 33332



                    PARENTS OF MONROVIA PACK 66
                    931 WEST WALNUT AVE
                    MONROVIA, CA 91016



                    Parivash Shahmohammadian
                    1302 S Saltair Ave
                    #2
                    Los Angeles, CA 90025



                    PARK PASEO NORTHSTARS
                    7 KARA WEST
                    IRVINE, CA 92620



                    PARK SCHOOL ELEMENTARY
                    301 N MARENGO AVE
                    ALHAMBRA, CA 91801



                    PARK SIDE PRESCHOOL
                    35450 NEWARK BLVD
                    NEWARK, CA 94560



                    Parker Nessel
                    729 Sunflower Rd
                    Palm Harbor, FL 34683



                    PARKER S. WILLIAMSON
                    6052 PASEO ENCANTADA
                    CAMARILLO, CA 93012
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1656 of
                                      2164



                    Parker Williamson
                    6052 PASEO ENCANTADA
                    CAMARILLO, CA 93012



                    PARKVIEW ELEMENTARY PTA
                    575 JUNIPER ST
                    CHULA VISTA, CA 91911



                    PARKWAY MIDDLE SCHOOL
                    9009 PARK PLAZA DR
                    LA MESA, CA 91942



                    Parrish Elmore
                    4755 YATESRD
                    F4
                    COLLEGE PARK, GA 30337



                    PARTECH INC
                    8383 SENECA TURNPIKE #2
                    NEW HARTFORD, NY 13413



                    Parts Town LLC
                    27787 Network Place
                    Chicago, IL 60673-1277



                    PARTS TOWN LLC
                    27787 Network Place
                    Chicago
                    IL, 60673-1277



                    Parys Orozco
                    20722 N 38TH ST.
                    PHOENIX, AZ 85050



                    Pascual Gonzalez
                    4781 Palm De Nova Ln
                    Fort Myers, FL 33905
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1657 of
                                      2164



                    Pascuala Mendoza Ramos
                    2420 IMPERIAL AVENUE
                    SAN DIEGO, CA 92102



                    PASEO VERDE PTSO
                    7880 W GREENWAY RX
                    PASEO VERDE ELEMENTARY PTSO
                    PEORIA, AZ 85381



                    PASS AT UCI
                    25 VIA LUCCA APT J235
                    IRVINE, CA 92612



                    Passport
                    2539 E PHILADEPHIA ST
                    ONTARIO, CA 91761



                    PASSPORT FOOD GROUP LLC
                    2539 E PHILADEPHIA ST
                    ONTARIO, CA 91761



                    Passport Foods (SVC), LLC fka SCI ABC, L
                    Po Box 840788
                    Los Angeles, CA 90084-0788



                    PASSPORT FOODS LLC
                    2000 AVE OF THE STARS
                    STE 810 N
                    LOS ANGELES, CA 90067



                    Pasta Piccinini, Inc
                    950 N. Fair Oaks Avenue
                    Pasadena, CA 91103



                    Pasta Piccinini, Inc
                    950 N. Fair Oaks Avenue
                    Pasadena
                    CA, 91103
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                                      2164



                    PAT HOULIHAN
                    537 NORTH TYLER ROAD
                    SAINT CHARLES, IL 60174-2335



                    Patience Moore
                    3750 GOLDEN POND DR
                    CAMARILLO, CA 93012



                    Patrice Dixon
                    1020 BIRCHWOOD CT
                    #1
                    LEESBURG, FL 34748



                    PATRICE WHITE
                    9512 APPLEVALLEY LANE
                    JACKSONVILLE, FL 32222



                    Patricia Aguilar
                    11226 Crystal Glen Blvd.
                    Orlando, FL 32837



                    Patricia Alvarez
                    9059 N 37TH DR.
                    PHOENIX, AZ 85051



                    Patricia Belkin
                    970 Quaye Lake Circle #101
                    Wellington, FL 33411



                    Patricia Brandao
                    208 N CARONDELET ST.
                    LOS ANGELES, CA 90026



                    Patricia Byron
                    370 RODEO COURT
                    NA
                    SAN JOSE, CA 95111
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1659 of
                                      2164



                    PATRICIA BYRON
                    370 RODEO COURT
                    SAN JOSE, CA 95111



                    Patricia Clark
                    1840 NORTH JONES
                    LAS VEGAS, NV 89108



                    Patricia Conder
                    9555 E. Shiloh
                    Apt #2106
                    Tucson, AZ 85748



                    PATRICIA CUBIAS
                    1029 E BROWN
                    FRESNO, CA 93704



                    Patricia Fahs
                    20 Pine Radial
                    Ocala, FL 34472



                    PATRICIA FREEMAN
                    812 MILL GREENS COURT
                    RALEIGH, NC 27609



                    Patricia Gil-camacho
                    3819 Seven Trees Blvd.
                    Apt 301
                    San Jose, CA 95111



                    Patricia Gomez
                    2099 S WINONA CT
                    DENVER, CO 80219



                    Patricia Gutierrez
                    9658 WESTMINSTER AVENUE
                    67
                    GARDEN GROVE, CA 92844
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1660 of
                                      2164



                    Patricia Hernandez
                    236 GREAT YARMOUTH COURT
                    KISSIMMEE, FL 34758



                    Patricia Keller
                    1303 CONSTITUTION RD
                    ATLANTA, GA 30316



                    Patricia Mancuso
                    1777 FIFTH ST
                    LIVERMORE, CA 94550



                    Patricia Marquez
                    25870 Union St.
                    San Bernardino, CA 92410



                    Patricia Patino
                    2980 Huff Ave. Apt #1
                    San Jose, CA 95128



                    Patricia Ramos
                    2206 Amiee Ct F4
                    Tampa, FL 33613



                    Patricia Salgado
                    3260 SPECTRUM
                    IRVINE, CA 92618



                    PATRICIA SAMEDI
                    614 61ST AVENUE TERRACE EAST
                    BRADENTON, FL 34203



                    Patricia Sandoval
                    2512 S SYCAMORE AVE
                    LOS ANGELES, CA 90016
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1661 of
                                      2164



                    Patricia Sierra
                    3100 Van Buren Blvd
                    #1222
                    Riverside, CA 92503



                    Patricia Sifford
                    2816 Crescent PL
                    Miramar, FL 33025



                    Patricia Skala
                    3861 HERREN DR.
                    SMYRNA, GA 30082



                    Patricia Tapia
                    2340 west 58th ave
                    Denver, CO 80221



                    Patricia Toro
                    4112 Mctavish place
                    Tampa, FL 33624



                    Patricia Vazquez
                    1111 Pine Street
                    Altamonte Springs, FL 32714



                    Patricia Velazquez
                    1810 cabrillo ave torrance ca
                    Torrance, CA 90501



                    Patricia Zarate
                    3701 E Coronado Rd
                    Phoenix, AZ 85008



                    Patrick B. Donahue
                    7402 30TH AVE S
                    TAMPA, FL 33619
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1662 of
                                      2164



                    Patrick Bagwell
                    139 RENAISSANCE PKWY. NE
                    ATLANTA, GA 30308



                    Patrick Bilotti
                    143 KATHRYN DRIVE
                    PLEASANT HILL, CA 94523



                    PATRICK CHRISTY
                    3226 TRAFALGAR RD
                    FREMONT, CA 94555



                    Patrick Cobb
                    937 30TH AVE E
                    BRADENTON, FL 34208



                    Patrick Donahue
                    7402 30TH AVE S
                    TAMPA, FL 33619



                    Patrick Dorcilus
                    4061 NW 3RD TERRACE
                    POMPANO BEACH, FL 33064



                    PATRICK HENRY CLASS OF 2022
                    6702 WANDERMERE DR
                    SAN DIEGO, CA 92120



                    PATRICK HENRY FOOTBALL BOOSTER
                    5173 WARING RD #549
                    SAN DIEGO, CA 92120



                    PATRICK HENRY FOUNDATION
                    2968 GLENFLORA AVE
                    SAN DIEGO, CA 92119
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1663 of
                                      2164



                    PATRICK HENRY FOUNDATION CROSS
                    7416 BARKER WAY
                    PATRICK HENRY FOUNDATION
                    SAN DIEGO, CA 92119



                    PATRICK HENRY HIGH FOUNDATION
                    6702 WANDERMERE DRIVE
                    SAN DIEGO, CA 92120



                    Patrick Lopez
                    4880 E 29TH ST
                    3101
                    TUCSON, AZ 85711



                    Patrick mayo
                    11579 SW DAVIES RD
                    2910
                    BEAVERTON, OR 97007



                    Patrick McArdle
                    9553 CAMPBELL CIRCLE
                    NAPLES, FL 34109



                    Patrick Mooney
                    400 S. Garfield Ave.
                    Apt. 6
                    Alhambra, CA 91801



                    Patrick Parsons
                    2396 Nw Schmidt Way
                    Apt 186
                    Beaverton, OR 97006



                    PATRICK PARSONS
                    2396 NW SCHMIDT WAY APT 186
                    BEAVERTON, OR 97006
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1664 of
                                      2164



                    PATRICK PARSONS
                    2396 NW SCHMIDT WAY APT 186
                    BEAVERTON
                    OR, 97006



                    Patrick Petteway
                    1033 SUMNER AVE
                    EL CAJON, CA 92021



                    Patrick saiz
                    4410 TEMECULA ST
                    #3
                    SAN DIEGO, CA 92107



                    Patrick Ziade
                    1532 COPPERFIELD DR
                    TUSTIN, CA 92780



                    PATSY HEFFEROSCEDA COUNTY TAX
                    2501 E IRLO BRONSON MEMORIAL
                    KISSIMMEE, FL 34742



                    Paul Alcocer
                    2257 NADULA DR.
                    HACIENDA HEIGHTS, CA 91745



                    Paul Chermak
                    1021 WILSHIRE CIR
                    PEMBROKE PINES, FL 33027



                    Paul Gehring
                    1328 NE 1ST AVE
                    FORT LAUDERDALE, FL 33304



                    Paul Gibbons
                    8508 Ivory Coast Dr.
                    San Diego, CA 92126
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1665 of
                                      2164



                    Paul Guisti
                    701 Aspen Pk Loop
                    #3714
                    Henderson, NV 89011



                    PAUL GUISTI
                    701 ASPEN PK LOOK # 3714
                    HENDERSON, NV 89011



                    Paul Haney
                    13206 CORCORAN STREET
                    SAN FERNANDO, CA 91340



                    Paul Johnston
                    1979 SPRUCE ST
                    3C
                    LIVERMORE, CA 94551



                    Paul Maurice
                    5879 nw 1st
                    OCALA, FL 34482



                    PAUL MOREIRA
                    3655 E SAHARA AVE
                    2008
                    LAS VEGAS, NV 89104



                    Paul Nauta
                    42200
                    24G
                    TEMECULATEMECULA, CA 92591



                    Paul Peterson
                    8125 City Lights Drive
                    Aliso Viejo, CA 92656



                    Paul Shelburne
                    1446 Morse Dr.
                    San Bernardino, CA 92404
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1666 of
                                      2164



                    PAUL SHELBURNE
                    1446 MORSE DR
                    SAN BERNARDINO, CA 92404



                    Paul Steptoe
                    684 OLD SAN FRANCISCO RD
                    Sunnyvale, CA 94086



                    PAUL STEPTOE
                    PO BOX 70051
                    SUNNYVALE, CA 94086



                    Paul Thomas
                    3511 PAWLEYS LOOP S
                    ST CLOUD, FL 34769



                    Paul Trematerra
                    5268 CORAL CT
                    75
                    ORLANDO, FL 32811



                    Paul Tripet
                    301 N Ford Ave
                    Apt 325
                    Fullerton, CA 92832



                    Paul Venegas
                    200 JAMES STREET
                    Brandon, FL 33510



                    Paula Sanchez
                    2243 Sw 173 Ave
                    Miramar, FL 33029



                    Paula Smith
                    5434 Eagle Claw Drive
                    Port Orange, FL 32128
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1667 of
                                      2164



                    Paula Tehuintle-Calihua
                    2492 Sharkey Rd
                    Apt. 204
                    Clearwater, FL 33765



                    PAULA WATTS PHOTOGRAPHY
                    3603 BANCROFT STREET
                    SAN DIEGO, CA 92104



                    Paulina Cervantes
                    3565 OLD 41 HWY NW LOT C2
                    KENNESAW, GA 30144



                    Paulina Ramos
                    5550 CIVIC TER AVE
                    NEWARK, CA 94560



                    Paulina Ramos
                    260 W 8TH AVE
                    138
                    MESA, AZ 85210



                    Pauline Gonzalez
                    1223 FEDERAL AVE
                    414
                    LOS ANGELES, CA 90025



                    Pauline Schaefers
                    14236 EL PICO ST
                    WINTER GARDEN, FL 34787



                    Pauline Shumilov
                    11669 CHENAULT ST.
                    2
                    LOS ANGELES, CA 90049



                    Pauline Young
                    3208 N Australian Av
                    West Palm Beach, FL 33407
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1668 of
                                      2164



                    Paulna Gustave
                    1796NW 55AVE
                    203
                    LAUDERHILL, FL 33313



                    PAVAN KUMAR KARNAM
                    5315 CAMBRIDGESHIRE LOOP
                    CARY, NC 27519



                    Pavel Kovalev
                    12139 SE LEXINGTON ST.
                    PORTLAND, OR 97266



                    Paxton Long
                    777 NW 103rd Terrace
                    #203
                    Pembroke Pines, FL 33028



                    PAXTON R. THOMAS
                    16614 NORWOOD DRIVE
                    TAMPA, FL 33624



                    Paxton Thomas
                    16614 NORWOOD DRIVE
                    TAMPA, FL 33624



                    Paya Campbell
                    7865 CATALINA CIR.
                    TAMARAC, FL 33321



                    Paylyn Amerkhanian
                    1738 E WOODBURY RD
                    PASADENA, CA 91104



                    Paymentech
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1669 of
                                      2164



                    Payton ellzey
                    8749 W CORNELL AVE
                    12
                    LAKEWOOD, CO 80227



                    Paytronix
                    80 BRIDGE ST
                    NEWTON, MA 02458



                    PAYTRONIX SYSTEMS INC
                    80 BRIDGE ST
                    NEWTON, MA 02458



                    PC HYLAND
                    850 TEAGUE TRAIL #1976
                    LADY LAKE, FL 32158



                    PEACHSTATE ROOFING INC
                    1655 SPECTRUM DR
                    LAWRENCEVILLE, GA 30043



                    Pedito Mallorca
                    405 RANCHO ARROYO PWY
                    APT 180
                    FREMONT, CA 94536



                    Pedro Aguilar
                    2207 LOS PADRES
                    B
                    SANTA CLARA, CA 95050



                    Pedro Calderon
                    1667 1/2 WEST 2ND ST
                    LOS ANGELES, CA 90026



                    Pedro Cardona
                    24766 BROADMORE AVE
                    HAYWARD, CA 94544
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                                      2164



                    Pedro Cedillo
                    320 N.JUNIPER ST
                    1
                    ESCONDIDO, CA 92025



                    Pedro Cruz-Toriello
                    900 CLINE PETTY WAY
                    LAWRENCEVILLE, GA 30043



                    Pedro Delgado
                    635 N Chippewa Ave
                    Apt 40
                    Anaheim, CA 92801



                    Pedro Escobar
                    11692 Old Oaks Ln
                    Conroe, TX 77385



                    Pedro evaristo
                    529 E INDIAN ROCK RD
                    VISTA, CA 92084



                    Pedro Garcia
                    4138 Kenyon Ave
                    Los Angeles, CA 90066



                    Pedro Garcia
                    20401 NAPA ST
                    WINNETKA, CA 91306



                    Pedro Hernandez
                    1109 East 124th. Street
                    Apt B
                    Tampa, FL 33612



                    Pedro Hernandez
                    126 S CORTEZ LN
                    TUSTIN, CA 92780
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1671 of
                                      2164



                    PEDRO J. RIVERA
                    803 e okaloosa ave
                    tampa, FL 33604



                    Pedro Jimenez
                    1449 Burton St
                    Linda Vista, CA 92111



                    Pedro Medina
                    13820 S. 44th St
                    Apt 1047
                    Phoenix, AZ 85044



                    Pedro Murguia Valle
                    12601 PIERCE ST .
                    220
                    PACOIMA, CA 91331



                    PEDRO P GONZALEZ
                    MARIACHI REAL DE SAN DIEGO
                    1784 HAMPTON COURT
                    BONITA, CA 91902



                    Pedro Palacios
                    250 N Cedar St
                    Apt C
                    Escondido, CA 92025



                    Pedro Perez
                    1019 North Park Lane
                    Alpharetta, GA 30004



                    Pedro Renteria
                    1332 W 225th st
                    Apt.20
                    Torrance, CA 90501
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1672 of
                                      2164



                    Pedro Rivera
                    803 e okaloosa ave
                    tampa, FL 33604



                    Pedro Rodriguez
                    655 Jeffery st
                    Apt 11
                    Boca Raton, FL 33487



                    Pedro Rodriguez
                    2601 North 36th St
                    Apt F105
                    Phoenix, AZ 85008



                    PEDRO RODRIGUEZ
                    655 JEFFERY ST APT 11
                    BOCA RATON, FL 33487



                    Pedro Sanchez
                    5435 N Angus Ave
                    Apt #106
                    Fresno, CA 93710



                    Pedro Santana
                    8021 N GMEZ AVE
                    TAMPA, FL 33614



                    Pedro Sierra
                    2535 QUAIL PARK TER
                    KISSIMMEE, FL 34743



                    Pedro Utuy
                    600 S ALVARADO ST
                    409
                    LOS ANGELES, CA 90057



                    Pedro Vazquez
                    1916 EAST AVE R-11
                    PALMDALE, CA 93550
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1673 of
                                      2164



                    PEGGIE MILLER
                    16011 SADLESTRING DR
                    TAMPA, FL 33618



                    Peking Noodle
                    1514 N. San Fernando Road
                    Los Angeles, CA 90065



                    PEKING NOODLE CO
                    1514 SAN FERNANDO ROAD
                    LOS ANGELES, CA 90065



                    PELICAN AIRE INC
                    11620 54TH ST N
                    CLEARWATER, FL 33760



                    PELICAN AIRE INC
                    11620 54TH ST N
                    CLEARWATER
                    FL, 33760



                    PEMBROKE PINES FARP
                    PO BOX 24620
                    WEST PALM BEACH, FL 33416



                    Penelope Banos
                    3633 West Ball Road
                    Apt #106
                    Anaheim, CA 92804



                    PENNSYLVANIA DEPT OF REVENUE
                    PO BOX 280414
                    HARRISBURG, PA 17128



                    PENNSYLVANIA UC FUND
                    DEPARTMENT OF LABOR & INDUSTRY
                    P.O. BOX 60848
                    HARRISBURG, PA 00017-1210
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                    PEORIA POLICE DEPT - ALARM
                    8351 WEST CINNABAR AVE
                    PEORIA, AZ 85345



                    PEPPERS UNLIMITED INC
                    1375 AVE S STE 300
                    GRAND PRAIRIE, TX 75050-1293



                    Peppers Unlimited Inc.
                    1375 Avenue S Suite # 300
                    Grand Prairie, TX 75050-1293



                    Peppertree Software
                    1027 IRIS CT
                    CARLSBAD, CA 92011



                    PEPPERTREE SOFTWARE INC
                    1027 IRIS CT
                    CARLSBAD, CA 92011



                    PEPPERTREE SOFTWARE INC
                    1027 IRIS CT
                    CARLSBAD
                    CA, 92011



                    Pepsi Co
                    PO BOX 644943
                    PITTSBURGH, PA 15264-4943



                    PEPSICO INC
                    PO BOX 644943
                    PITTSBURGH, PA 15264-4943



                    PEPSICO INC
                    PO BOX 75948
                    A DIVISION OF PEPSICO INC
                    CHICAGO, IL 60675-5948
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                    Pepsico, Inc
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                    Pittsburgh, PA 15264-4943



                    Pepsico, Inc
                    75 Remittance Dr., Suite 1884
                    CHICAGO, IL 60675-1884



                    PERFECT CONNECTIONS ELECTRICAL
                    CONTRACTOR LLC
                    2523 RETUNDA PKWY
                    CAPE CORAL, FL 33904



                    PERFORMANCE AIR MECHANICAL IN
                    3720 PARK CENTRAL BLVD NORTH
                    POMPANO BEACH, FL 33067



                    Perla Aguilar Lozano
                    32191 CARROLL AVE
                    HAYWARD, CA 94544



                    Perla Avellaneda-Palacios
                    7318 BELLE GLEN DR.
                    HOUSTON, TX 77072



                    Perla Barajas
                    1265 MONUMENT BLVD
                    APT 5
                    CONCORD, CA 94520



                    Perla Oviedo
                    81315 Green Ave
                    Indio, CA 92201



                    Perla Salinas
                    6300 W. TROPICANA
                    252
                    LAS VEGAS, NV 89103
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                    PERPETUAL CAPITAL LLC
                    1000 WILSON BLVD STE 2700
                    ARLINGTON, VA 22209



                    Perricone
                    550 B Street
                    Beaumont, CA 92223



                    Perrin Bernard Supowitz, LLC
                    Individual Foodservice
                    5496 Lindbergh Lane
                    Bell, CA 90201



                    Perrin Bernard Supowitz, LLC
                    Individual Foodservice
                    5496 Lindbergh Lane
                    Bell
                    CA, 90201



                    Perris Rowland
                    3052 S Laredo Circle
                    Aurora, CO 80013



                    PERSHING MS MUSIC CLUB
                    8204 SAN CARLOS DRIVE
                    SAN DIEGO, CA 92119



                    PET PRESCRIPTION TEAM
                    1920 DEHESA RD
                    EL CAJON, CA 92019



                    PETE MONISMITH PC INC
                    3945 FORBES AVE STE 175
                    PITTSBURGH, PA 15213



                    Peter Foster
                    10992 INDEPENDENCE CIRCLE WEST
                    PARKER, CO 80134
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1677 of
                                      2164



                    Peter Jones
                    392 CHIMAJA RD.
                    CORRALES, NM 87048



                    Peter Mallett
                    748 Lakebird Dr
                    Sunnyvale, CA 94085



                    Peter Mateo
                    832 100TH AVE N
                    NAPLES, FL 34108



                    Peter Morales
                    18822 Treviso Terrace LN.
                    Katy, TX 77449



                    Peter Newman
                    875 LIMA ST
                    AURORA, CO 80010



                    Peter Palacios Soto
                    8360 WINSTON RD
                    STANTON, CA 90680



                    Peter Robles
                    7261 SUNBREEZE DR.
                    HUNTINGTON BEACH, CA 92647



                    Peter Spoto
                    1090 SHAWNEE TRAIL
                    WINTER SPRINGS, FL 32708



                    Peter Wallace
                    939 WEST SIMMONS STREET
                    TUCSON, AZ 85705
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1678 of
                                      2164



                    Petersen Foulke
                    6334 SE ALDER PL
                    MILWAUKIE, OR 97222



                    Petrona Mendoza
                    4304 West 4th St
                    Apt 15
                    Los Angeles, CA 90020



                    Petter Ortiz
                    9119 JAMACHA RD
                    208
                    SPRING VALLEY, CA 91977



                    Peymon Nasseri
                    5307 Sepulveda blvd.
                    #310
                    Sherman Oaks, CA 91411



                    PEYMON NASSERI
                    7123 ETIWANDA AVE #3
                    RESEDA, CA 91335



                    Peyton Behrends
                    3877 MIDWAY DR
                    202
                    SAN DIEGO, CA 92110



                    PF MAJOR INC
                    GENERAL PARTNER SPLW PROP
                    PO BOX 967
                    PALOS VERDES, CA 90274



                    PF MAJOR INC
                    GENERAL PARTNER
                    SPGG PROPERTIES LTD PO BOX 967
                    PALOS VERDES, CA 90274-0967
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1679 of
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                    PG AND E
                    BOX 997300
                    SACRAMENTO, CA 95899-7300



                    PGE
                    PO BOX 4438
                    PORTLAND, OR 97208



                    Phachanh Vorabouth
                    4644 North Fisher Street
                    Fresno, CA 93726



                    Phara Sannon
                    337 LANTANA AVE
                    SARASOTA, FL 34243



                    Pharaoh Elaton
                    1104 SADDLEBACK RIDGE RD
                    APOPKA, FL 32703



                    Phayln Meehan
                    8687 FESTIVAL ST
                    CHINO, CA 91708



                    Phebee Vil
                    230 SW 14TH AVE
                    DELRAY BEACH, FL 33444



                    Pheleep Sidhom
                    62 Avenida Descanso
                    Oceanside, CA 92057



                    Pheonix Daniels
                    6581 Coffey Street
                    Cincinnati, OH 45230
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                    Phern Wright
                    17630 NW CORNELL RD
                    4
                    BEAVERTON, OR 97006



                    PHHS AVID CLUB
                    6702 WINDERMERE DRIVE
                    SAN DIEGO, CA 92120



                    PHHS FOUNDATION
                    8723 NAVAJO RD#2
                    SAN DIEGO, CA 92119



                    PHHS RED CROSS
                    1377 PIEDMONT RD
                    SAN JOSE, CA 95132



                    Phil Garcia Lopez
                    6622 TAIT ST
                    SAN DIEGO, CA 92111



                    Phil Perry
                    1807 GREENVALLEY ROAD
                    LEESBURG, FL 34748



                    PHILANTHROPIC EDUCATION ORG
                    1203 E GENEVA DR
                    TEMPE, AZ 85282



                    Philip Lam
                    11110 CONCERT STREET
                    EL MONTE, CA 91731



                    Philip Munoz
                    50077 W Papago Rd
                    Maricopa, AZ 85139
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1681 of
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                    Phillip Chelar
                    6436 W.82nd Dr.
                    Arvada, CO 80003



                    Phillip Globke
                    2431 cypress creek pkwy
                    apt 1801
                    houston, TX 77068



                    Phillip Kumitsonyo
                    2323 CURTIS STREET
                    DENVER, CO 80205



                    Phillip Maloney
                    22702 PACIFIC PARK DRIVE
                    P21
                    ALISO VIEJO, CA 92656



                    Phillip Martinez
                    7788 APPLEWOOD LN
                    WESTMINSTER, CO 80221



                    Phillip Nguyen
                    608 TREES OF KENNESAW PKWY NW
                    KENNESAW, GA 30152



                    Phillip Ortega
                    2101 MARIPOSA STREET
                    A
                    OXNARD, CA 93036



                    PHILLIP RAMOS UPHOLSTERY INC
                    3835 ELM ST UNIT F
                    DENVER, CO 80207



                    Phillip Taveras
                    6929 SEA CORAL DRIVE
                    116
                    ORLANDO, FL 32821
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1682 of
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                    PHILLIP TAVERAS
                    6929 SEA CORAL DR 116
                    ORLANDO, FL 32821



                    PHILLYS STEAK SANDWICHES
                    2771 N H ST
                    SAN BERNARDINO, CA 92405



                    PHILLYS STEAK SANDWICHES
                    2771 N H ST
                    SAN BERNARDINO
                    CA, 92405



                    Phoo Way
                    542 POPPY HILL LANE
                    LAWRENCEVILLE, GA 30046



                    PHS BAND BOOSTERS
                    PO BOX 6292
                    GARDEN GROVE, CA 92845



                    PHS QUARTERBACK CLUB
                    PO Box 5422
                    GARDEN GROVE, CA 92845



                    Phyllis A. wyatt
                    3125 W. CHENANGO AVE
                    LITTLETON, CO 80120



                    PHYLLIS GILLIS
                    6539 W AVE L-12 UNIT A
                    LANCASTER, CA 93536



                    Phyllis wyatt
                    3125 W. CHENANGO AVE
                    LITTLETON, CO 80120
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1683 of
                                      2164



                    PI DELTA CHAPTER OF THETA TAU
                    31 BOMBAY
                    IRVINE, CA 92620



                    PIAZZA RETAIL LLC
                    5850 CANOGA AVE #650
                    C/O NEWMARK MERRILL COMPANIES
                    WOODLAND HILLS, CA 91367



                    PIEDMONT HILLS HIGH CSF CLUB
                    3534 PINE CREEK DRIVE
                    SAN JOSE, CA 95132



                    PIEDMONT HILLS HIGH CSF CLUB
                    3534 PINE CREEK DRIVE
                    SAN JOSE
                    CA, 95132



                    PIEDMONT HILLS KEY CLUB
                    2778 BABE RUTH DR
                    MEGAN LUONG
                    SAN JOSE, CA 95132



                    PIEDMONT HILLS KEY CLUB
                    2778 BABE RUTH DR
                    MEGAN LUONG
                    SAN JOSE
                    CA, 95132



                    PIEDMONT HILLS PARENT BOOSTER
                    1377 PIEDMONT ROAD
                    SAN JOSE, CA 95132



                    Pierre Hogan
                    306 Oak Track Crse
                    Ocala, FL 34472
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1684 of
                                      2164



                    Pierre Plump
                    2004 CLUBS LAKES PARKWAY
                    LAWRENCEVILLE, GA 30044



                    Pierre Sulub
                    891 S. 3rd St
                    #7
                    San Jose, CA 95112



                    Pilar De Jesus Rodriguez Reyes
                    11303 Wilshire Blvd
                    #116
                    Los Angeles, CA 90073



                    Pilar Guzman
                    6018 Dranner Park Ln
                    Houston, TX 77086



                    PILGRIM LUTHERAN CHURCH
                    5650 SW HALL BLVD
                    BEAVERTON, OR 97005



                    PILIPINO CULTURAL NIGHT
                    10137 1/2 MAPLE ST
                    BELLFLOWER, CA 90706



                    PILLSBURY WINTHROP HAW PITTMAN LLP
                    PO BOX 601240
                    CHARLOTTE, NC 28260-1240



                    PIMA COUNTY HEALTH DEPARTMENT
                    CONSUMER HEALTH & FOOD SAFETY
                    ABRAMS PUBLIC HEALTH CENTER 3950 S COUNT
                    TUCSON, AZ 85714
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                    PIMA COUNTY HEALTH DEPARTMENT
                    CONSUMER HEALTH & FOOD SAFETY
                    ABRAMS PUBLIC HEALTH CENTER 3950 S COUNT
                    TUCSON
                    AZ, 85714



                    PIMA COUNTY TREASURER
                    115 NORTH CHURCH AVENUE
                    TUCSON, AZ 85701



                    PIMA COUNTY TREASURER
                    240 N. STONE AVE
                    TUCSON, AZ 85701-1199



                    PIMA COUNTY TREASURER
                    PO BOX 29011
                    PHOENIX, AZ 85038-9011



                    PINECREST CADENCE ORCHESTRA
                    225 GRAND CADENCE DR
                    HENDERSON, NV 89015



                    PINELLAS COUNTY UTILITIES
                    PO BOX 1780
                    CLEARWATER, FL 33757-1780



                    Pinnacle Landscape
                    2200 S Fairview St
                    Santa Ana, CA 92704



                    PIONEER ELEMENTARY SCHOOL PTC
                    32737 BEL AIRE STREET
                    UNION CITY, CA 94587



                    PIONEER HIGH SCHOOL EDUCATION FOUNDATION
                    1141 ZINFANDEL WAY
                    SAN JOSE, CA 95120
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                                      2164



                    PIONEER PLUMBING
                    1312 E WIEDING RD
                    TUCSON, AZ 85706



                    PIONEER PTSO
                    1535 N GREENFIELD RD
                    GILBERT, AZ 85234



                    PIONEER PTSO
                    1535 N GREENFIELD RD
                    GILBERT
                    AZ, 85234



                    PIPER PRODUCTS INC
                    PO BOX 734559
                    CHICAGI, IL 60673-4559



                    PIQUA CITY INCOME TAX
                    PO BOX 1223
                    PIQUA, OH 45356



                    Piterson Souffrant
                    1530 STONEHAVEN DR
                    #3
                    BOYNTON BEACH, FL 33436



                    Pitney Bowes
                    PO BOX 371887
                    PITTSBURGH, PA 15250-7887



                    PITNEY BOWES GLOBAL FINANCIAL
                    PO BOX 371887
                    PITTSBURGH, PA 15250-7887



                    PK I North County Plaza LP
                    1621-B South Melrose Dr.
                    Vista, CA 92081
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                    PLACENTIA BOOSTER CLUB
                    5330 PASEO CALIENTE
                    YORBA LINDA, CA 92887



                    PLACERITA FOUNDATION
                    24628 VARESE CT
                    VALENCIA, CA 91355



                    PLACERITA JR HIGH SCHOOL
                    25015 NEWHALL AVE
                    NEWHALL, CA 91321



                    PLATO ACADEMY PINELLAS PARK PT
                    9200 49TH STREET NORTH
                    PINELLAS PARK, FL 33782



                    PLAVAN PTO
                    9675 WARNER AVE
                    FOUNTAIN VALLEY, CA 92708



                    PLEASANT HILL ADVENTIST ACADEMY
                    796 GRAYSON RD
                    ATTN MUSIC
                    PLEASANT HILL, CA 94523



                    Pleasant Hill Crescent Drive Investors L
                    c/o Vestar Property Management
                    43440 Boscell Rd.
                    Fremont, CA 94538



                    PLEASANT HILL POLICE DEPT
                    PO BOX 6112
                    FALSE ALARM REDUCTION PROGRAM
                    CONCORD, CA 94524



                    PLEASANTON PARTNERSHIPS
                    IN EDUCATION
                    333 DIVISION STREET
                    PLEASONTON, CA 94566
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1688 of
                                      2164



                    PLH Holdings, LLC, Series 1
                    Attn: Karen Hiser
                    PO Box 2416
                    So. Portland, ME 04116



                    PLH Holdings, LLC, Series 1
                    Attn: Mike Hiser
                    PO Box 2416
                    So. Portland, ME 04116



                    PLHS PA CROSS COUNTRY
                    3686 CURTIS ST.
                    SAN DIEGO, CA 92106



                    PLHS PA WRESTLING BOOSTERS
                    5252 BALBOA ARMS UNIT 234
                    SAN DIEGO, CA 92117



                    PLHS PA XC
                    3686 CURTIS ST
                    C/O KATE HARRIS
                    SAN DIEGO, CA 92106



                    PLHS POINTER ASSOCIATION
                    3812 BERNICE DRIVE
                    SAN DIEGO, CA 92107



                    PMAM Corporation
                    COBB COUNTY ALARM PROGRAM
                    PO Box 743626
                    Atlanta, GA 30374-3626



                    PNM
                    PO BOX 27900
                    ALBUQUEREQUE, NM 87125-7900



                    POINCIANA PTO
                    1203 N SEACREST BLVD
                    BOYNTON BEACH, FL 33435
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                    POINT LOMA CORONADO STAR CLUB
                    4123 VIA DEL BARDO
                    SAN YSIDRO, CA 92173



                    POLESTAR LLC
                    5989 E GRANT RD
                    TUCSON, AZ 85712



                    Pollete Hernandez
                    8020 FEDERAL BLVD
                    UNIT 5
                    WESTMINSTER, CO 80031



                    POLTON ELEMENTARY SCHOOL PTCO
                    2985 SOUTH OAKLAND STREET
                    POLTON COMMUNITY ELEMENTARY SC
                    AURORA, CO 80014



                    Ponciano Jr Anclote
                    951 NUALA CT
                    CONCORD, CA 94518



                    PONDEROSA PTSA
                    804 PONDEROSA AVE
                    SUNNYVALE, CA 94086



                    Porfirio Sanabria
                    18914 Delight St
                    Canyon Country, CA 91351



                    Porsha braxton
                    2303 GREENWOOD DR
                    CANTON, GA 30115



                    PORTLAND MECHANICAL
                    CONSTRUCTION INC
                    2000 SE HANA HARVESTER DR
                    MILWAUKIE, OR 97222
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1690 of
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                    POST HOLDINGS INC
                    26744 NETWORK PLACE
                    CHICAGO, IL 60673-1267



                    POWAY HIGH GYMNASTICS
                    12881 INDIAN TRAIL RD
                    POWAY, CA 92064



                    POWAY HIGH SCHOOL CHORAL BOOSTER
                    15500 ESPOLA RD
                    POWAY, CA 92064



                    POWAY HIGH SCHOOL MUSIC BOOSTER
                    PO BOX 1376
                    POWAY, CA 92074



                    POWAY POLO CLUB
                    14325 MIDLAND RD
                    POWAY, CA 92064



                    POWAY UNIFIED SCHOOL DISTRICT
                    13010 PASEO LUCIDO
                    SAN DIEGO, CA 92128



                    POWER & RAY LLC
                    PO BOX 60051
                    CITY OF INDUSTRY, CA 91716



                    Power & Ray, LLC
                    c/o Vestar Development Co. Attn: President
                    2425 East Camelback Rd.
                    Ste. 750
                    Phoenix, AZ 00085-0016



                    POWER SURGE CHAVEZ
                    9959 AZUAGA STREET I102
                    SAN DIEGO, CA 92129
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1691 of
                                      2164



                    Powers Adrian
                    3832 W 89TH WAY
                    WESTMINSTER, CO 80031



                    PPCES WEST PTA
                    1680 SW 184 AVE
                    PEMBROKE PINES, FL 33029



                    Pramendra Bairagi
                    2626 EAST SAGUARO PARK LANE
                    PHOENIX, AZ 85024



                    Pranavkumar patel
                    1074 BONITA ST
                    APT 1074
                    TUSTIN, CA 92780



                    Prasanth Agastya
                    281 EL PORTAL WAY
                    SAN JOSE, CA 95119



                    PRATT CORRUGATED HOLDINGS INC
                    PRATT ROBERT MANN PACKING LLC
                    DEPT #34379 PO BOX 39000
                    SAN FRANCISCO, CA 94139



                    PRE DENTAL SOCIETY AT UCI
                    330 BRONZE
                    IRVINE, CA 92618



                    Preciosa Elizabeth Rivera
                    23450 NEWHALL AVENUE
                    64
                    NEWHALL, CA 91321



                    Precious Thomas
                    221 UPPER RIVERDALE RD
                    4G
                    JONESBORO, GA 30236
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1692 of
                                      2164



                    PRECISE LAWN SERVICES LLC
                    3807 SOUTHVIEW DR
                    BRANDON, FL 33511



                    Precision Roller
                    Kuhlmann Enterprises
                    P.O. Box 41400
                    Phoenix, AZ 95080-1400



                    Precision Roller
                    Kuhlmann Enterprises
                    P.O. Box 41400
                    Phoenix
                    AZ, 95080-1400



                    Prem Gulrajani
                    18109 HERBOLD STREET
                    NORTHRIDGE, CA 91325



                    Premier Produce
                    640 DISTRIBUTION DR
                    MELBOURNE, FL 32904



                    PREMIER PRODUCE CENTRAL FLORIDA LLC
                    640 DISTRIBUTION DR
                    MELBOURNE, FL 32904



                    PREMIUM STATIONERS INC
                    13841 ROSWELL AVE STE J
                    CHINO, CA 91710



                    PREPASS
                    PO BOX 52774
                    PHOENIX, AZ 85072-2774



                    Presli Davidson
                    38167 HASTINGS CT
                    FREMONT, CA 94536
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                    Preston Austin
                    8431 Crane Cr
                    Huntington Beach, CA 92646



                    Preston Blackmore
                    5579 S WINDERMERE
                    410
                    LITTLETON, CO 80120



                    Preston Griffin
                    2070 62ND ST #1503
                    N CLEARWAER, FL 33760



                    Preston Montgomery
                    443 LINWOOD AVE
                    MONROVIA, CA 91016



                    Preston Saccone
                    323 Paloma Lane
                    El Cajon, CA 92021



                    Prevent Life
                    1410 STEALTH STREET
                    LIVERMORE, CA 94551



                    PREVENT LIFE SAFETY SERVICES INC
                    1410 STEALTH STREET
                    LIVERMORE, CA 94551



                    PREVOST CONSTRUCTION INC
                    400 S SIERRA AVE STE 201
                    SOLANA BEACH, CA 92075



                    PRF
                    5969 CATTLERIDGE BLVD STE 100
                    PARKINSON PLACE ATTN JEN RIESENBERGER
                    SARASOTA, FL 34232
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1694 of
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                    PRII ROLLING OAKS COMMONS FLA
                    PO BOX 11939
                    C/O CITY NATIONAL BANK
                    MIAMI, FL 33101-1939



                    PRII Rolling Oaks Commons FLA, LLC
                    c/o Southeast Centers
                    1541 Sunset Dr
                    Coral Gables, FL 33143



                    PRIMARY COLOR
                    265 BRIGGS AVE
                    COSTA MESA, CA 92626



                    Prince Hiraldo
                    256 JERICA LANE
                    DAVENPORT, FL 33897



                    Prince WASHINGTON JR
                    13110 CONSTITUTION AVE NE
                    120
                    ALBUQUERQUE, NM 87112



                    PRINKA AGGARWAL
                    2400 S MANITOBA DR
                    SANTA ANA, CA 92704



                    Priscilla Barber
                    6000 Hollister Street
                    Apt. 1501
                    Houston, TX 77040



                    Priscilla Diaz
                    4520 BIRD FARM ROAD
                    CHINO HILLS, CA 91709



                    Priscilla Gonzalez
                    16921 Loukelton St
                    La Puente, CA 91744
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1695 of
                                      2164



                    Priscilla Gutierrez
                    1603 Kwis Ave.
                    Hacienda Heights, CA 91745



                    PRISCILLA LEON
                    15615 OLIVA AVE
                    PARAMOUNT, CA 90723



                    PRISCILLA MORALES
                    10708 OLD RIVER SCHOOL RD
                    DOWNEY, CA 90241



                    Priscilla Sedano
                    1601 TENAKA PLACE
                    225
                    SUNNYVALE, CA 94087



                    PRISK PTA
                    2375 FANWOOD AVE
                    LONGBEACH, CA 90815



                    PRO HANDYMAN CORP
                    4710 W DEWEY DR #100
                    LAS VEGAS, NV 89118



                    PRO KIDS
                    821 DOUGLAS DR
                    OCEANSIDE, CA 92058



                    PRO TECH RESTAURANT SERVICE IN
                    PO BOX 60232
                    FORT MYERS, FL 33906-6232



                    PRO-AIR MECHANICAL
                    285 NORTH US HWY 17-92
                    LONGWOOD, FL 32750
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                    PRO-AIR MECHANICAL
                    285 NORTH US HWY 17-92
                    LONGWOOD
                    FL, 32750



                    PROCESS INC
                    16766 BERNARDO CENTER DRIVE ST
                    SAN DIEGO, CA 92128



                    PROCESS INC
                    16766 BERNARDO CENTER DRIVE ST
                    SAN DIEGO
                    CA, 92128



                    Process Inc.
                    16766 Bernardo Center Drive Suite 208
                    San Diego, CA 92128



                    PRODUCE ALLIANCE LLC
                    PO BOX 66452
                    CHICAGO, IL 60666-0452



                    Producers Meat & Provision Co
                    7651 St. Andrews Ave
                    San Diego, CA 92154



                    PRODUCERS MEAT & PROVISION CO
                    7651 ST ANDREWS AVE
                    SAN DIEGO, CA 92154



                    PRODUCTIVITY ASSOCIATES INC
                    5625 RUFFIN ROAD STE 220
                    SAN DIEGO, CA 92123



                    PROF VENT CLEANING INC
                    30250 12TH ST
                    NUEVO, CA 92567
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                    PROFESSIONAL DISPOSABLES
                    INTERNATIONAL INC
                    75 REMITTANCE DR SUITE 3256
                    CHICAGO, IL 60675-3256



                    PROFESSIONAL VENT CLEANING INC
                    30250 12TH ST
                    NUEVO, CA 92567



                    PROFILE SYSTEMS LLC
                    1000 E 80TH PLACE 777 SOUTH
                    MERRILLVILLE, IN 46410



                    PROFIT MAKER FOOD SYSTEMS INC
                    42285 OSGOOD RD UNIT F
                    FREMONT, CA 94539



                    PROGRESSIVE FLOORING SERVICES INC
                    100 HERITAGE DR
                    ETNA, OH 43062



                    PROLINE VACTOR SERVICES INC
                    PO BOX 541149
                    LAKE WORTH, FL 33454



                    PROSHINE GLOBAL
                    9447 PENNYWOOD RD
                    SANTEE, CA 92071



                    PROVEN SOLUTIONS INC
                    PO BOX 101708
                    PASADENA, CA 91189-1708



                    PROVIDENCE CANCER INSTITUTE
                    18330 S WALDOW RD
                    OREGON CITY, OR 97045
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1698 of
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                    PROVIDENT LIFE & ACCIDENT INS
                    PO BOX 740592
                    ATLANTA, GA 30374-0592



                    PROVIDENT LIFE & ACCIDENT INS
                    PO BOX 740592
                    ATLANTA
                    GA, 30374-0592



                    PRTC LP
                    1990 S BUNDY DRIVE STE 500
                    C/O SHAPELL PROPERTIES INC ATTN DENISE M
                    LOS ANGELES, CA 90025



                    PRTC, L.P.
                    1990 S. Bundy Dr.
                    Ste. 500
                    Los Angeles, CA 00090-0025



                    Prudencio Arellano
                    20031 CYPRESSWOOD ESTATES RUN
                    SPRING, TX 77373



                    PRUDENTIAL OVERALL SUPPLY
                    PO BOX 11210
                    SANTA ANA, CA 92711



                    PT LOMA CORONADO EASTERN STAR
                    3018 44TH STREET APT 3
                    SAN DIEGO, CA 92105



                    PTA SILVER PALMS ELEMENTARY
                    1576 SW 151 AVE
                    PEMBROKE PINES, FL 33027



                    PTO OF FOUNTAIN VALLEY
                    17615 LOS JARDINES EAST
                    FOUNTAIN VALLEY, CA 92708
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                    PTO PLATO ACADEMY PH INC
                    1601 CURLEW ROAD
                    PALM HARBOR, FL 34683



                    PUBLIC HEALTH INITIATIVE
                    PUBLIC HEALTH INITIATIVE
                    5500 CAMPANILE DR
                    SAN DIEGO, CA 92115



                    PUEBLO PTO
                    6320 N 82ND STREET
                    SCOTTSDALE, AZ 85250



                    PUR PLUMBING INC
                    PO BOX 40
                    PORT RICHEY, FL 34673



                    PURATOS BAKERY SUPPLY INC
                    11167 WHITE BIRCH
                    RANCHO CUCAMONGA, CA 91730



                    Puratos Bakery Supply Inc.
                    Lockbox # 399206
                    PO Box 399206
                    San Francisco, CA 94139-9206



                    PVSEA PTA
                    700 TEMPLE AVE
                    CAMARILLO, CA 93010



                    PWCCS
                    3290 S TOWER RD
                    AURORA, CO 80013



                    PYRAMID WATER SYSTEMS INC
                    6991 WEST 117 AVE
                    BROOMFIELD, CO 80020
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                    Qabzib Moua
                    1631 S HIGHLAND AVE
                    APT. O
                    FULLERTON, CA 92832



                    QF & V LLC
                    QUALITY FRUIT & VEG CO
                    10 ZANE GREY
                    EL PASO, TX 79906



                    QF & V LLC
                    QUALITY FRUIT & VEG CO
                    10 ZANE GREY
                    EL PASO
                    TX, 79906



                    QUALITY CANDY COMPANY LLC
                    3535 EXECUTIVE TERMINAL DRIVE
                    HENDERSON, NV 89052



                    Quality Candy Company, Llc
                    3535 Executive Terminal Drive Suite 100
                    Henderson, NV 89052



                    QUALITY PLUS CLEANING SYSTEMS INC
                    PO BOX 2526
                    FORT LAUDERDALE, FL 33303-2526



                    QUALITY PLUS CLEANING SYSTEMS INC
                    PO BOX 2526
                    FORT LAUDERDALE
                    FL, 33303-2526



                    Quality Solutions Inc
                    128 N 1st Street
                    PO Box 589
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                                      2164



                    QUALITY SOLUTIONS INC
                    128 N FIRST STREET
                    COLWICH, KS 67030



                    Quaneesha Moye
                    3607 Bright Moon CT
                    Katy, TX 77449



                    Quang Ngo
                    4829 GAMBIER ST
                    #2
                    LOS ANGELES, CA 90032



                    Quang Nguyen
                    10063 PARK MEADOWS DRIVE
                    310
                    LONE TREE, CO 80124



                    Quantrae Lee
                    2112 CRESTVIEWLANE
                    PITTSBURG, CA 94565



                    QUANTUM ACADEMY PTA
                    420 N FALCONER RD
                    ESCONDIDO, CA 92027



                    QUANTUM ACADEMY PTA
                    420 N FALCONER RD
                    ESCONDIDO
                    CA, 92027



                    QUARTZ HILL AYSO REGION 638
                    41520 44TH ST WEST
                    LANCASTER, CA 93536



                    QUARTZ HILL HIGH SCHOOL
                    6040 W AVENUE L
                    LANCASTER, CA 93536
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                    Queionna Thomas
                    8412 N LOIS AVE
                    #A
                    TAMPA, FL 33614



                    Quentin Jones
                    11321 CONSTITUTION
                    ALBUQUERQUE, NM 87112



                    Quentin Rainwater
                    86 KINGSGATE RD UNIT A101
                    LAKE OSWEGO, OR 97035



                    Quentin Rilenge
                    3107 45TH ST E
                    NA
                    BRADENTON, FL 34208



                    QUEST ACADEMY
                    4025 N RANCHO DR
                    LAS VEGAS, NV 08913



                    Quin Polley
                    4427 ALGERNON DR
                    SPRING, TX 77373



                    Quincey Garren
                    12049 W TANFORAN AVE
                    MORRISON, CO 80465



                    Quincy Blossom
                    4004 CAROL DR
                    FULLERTON, CA 92833



                    Quincy Spaulding
                    41 LUNETTE AVENUE
                    FOOTHILL RANCH, CA 92610
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                    Quinnisha Cunningham
                    14999 SW ROYALTY PKWY
                    P32
                    TIGARD, OR 97224



                    Quintavis Moye
                    2169 WIND GATE CT
                    LITHONIA, GA 30058



                    Quintavis White
                    1209 WEATHERLY DR
                    STONE MOUNTAIN, GA 30083



                    Quinton Moorer
                    5801 NW 17 PLACE APT 4
                    LAUDERHILL, FL 33313



                    Quinton Opdyke Bisbee
                    499 N FAIR OAKS AVENUE
                    8
                    SUNNYVALE, CA 94085



                    Quinton Williams
                    7119 PENDER WAY
                    ORLANDO, FL 32822



                    Quiriat Martinez Tong




                    Quitalig McSwain-Harris
                    21181 E. STIRRUP ST.
                    QUEEN CREEK, AZ 85142



                    Quynn Carver
                    8765 RIDEABOUT LANE
                    SAN DIEGO, CA 92129
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                    R & S MECHANICAL LLC
                    2664 TIMBER DR STE 323
                    GARNER, NC 27529



                    R POWER INDUSTRIES INC
                    7704 TRINITY BLVD
                    FORT WORTH, TX 76118



                    R&B WHOLESALE DIST INC
                    2350 S MILLIKEN AVE
                    ONTARIO, CA 91761



                    R&R INDUSTRIES INC
                    204 AVENIDA FABRICANTE
                    SAN CLEMENTE, CA 92672-7538



                    RA JEFFERYS DISTRIBUTING COMPANY LLC
                    420 CIVIC BLVD
                    RALEIGH, NC 27610



                    Rachael Derr
                    9915 Caminito Cuadro
                    San Diego, CA 92129



                    Rachael Garrett
                    8106 Se Lake Rd
                    Milwaukie, OR 97267



                    Rachael Petty
                    18241 JAKES WAY
                    202
                    ANYON COUNTRY, CA 91387



                    Rachel Anaya
                    4343 N Longview Ave
                    Apt 109
                    Phoenix, AZ 85014
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1705 of
                                      2164



                    Rachel Atchison
                    8646 W TETON AVE
                    LITTLETON, CO 80128



                    Rachel Bijou
                    3637 BROADWAY
                    H3
                    MIAMI, FL 33901



                    Rachel Black
                    2205 Liberty Bell Place
                    Lawrenceville, GA 30043



                    Rachel Boccia Suarez
                    1357 LAKEVIEW
                    CLEARWATER, FL 33756



                    Rachel Borley
                    7962 SE OTTY ST
                    MILWAUKIE, OR 97222



                    Rachel Bradley
                    10001 DUNBAR LANE
                    12
                    EL CAJON, CA 92021



                    RACHEL BUSH
                    829 14TH STREET
                    LAFAYETTE, OR 97127



                    Rachel Collins
                    445 Sandtrap Ln
                    Sugar Hill, GA 30518



                    Rachel Crespo
                    17850 SW 107 AV
                    22
                    MIAMI, FL 33157
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                    Rachel Featherstone
                    4251 Stone Mountain Dr
                    Chino Hills, CA 91709



                    Rachel Gardenia Baldemeca
                    8435 Hydra Lane
                    San Diego, CA 92126



                    RACHEL GUTTRY
                    1001 OCALA RD APT 369
                    TALLAHASSEE, FL 32304



                    Rachel Howard
                    30875 GILMOUR ST
                    CASTAIC, CA 91384



                    RACHEL JACOBSON
                    1418 VENICE BLVD #303
                    VENICE, CA 90291



                    RACHEL L. UNDERHILL
                    11342 W COOPER DR
                    LITTLETON, CO 80127



                    Rachel Meza
                    4932 MERTEN AVE
                    CYPRESS, CA 90630



                    Rachel Perry
                    3503 E SANTA ANA
                    FRESNO, CA 93726



                    Rachel Ring
                    237 S AVE 60
                    LOS ANGELES, CA 90042
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                                      2164



                    Rachel Sausa
                    7101 E TAMARA DR.
                    TUCSON, AZ 85730



                    Rachel Showalter
                    26 Fairlane Ave
                    Orlando, FL 32809



                    RACHEL SILVA
                    8065 PASEO ARRAYAN
                    CARLSBAD, CA 92009



                    Rachel Sing
                    1966 CABRILLO MESA CT.
                    CAMARILLO, CA 93010



                    Rachel Turner
                    8305 Windrush Ave
                    Las Vegas, NV 89117



                    Rachel Underhill
                    11342 W COOPER DR
                    LITTLETON, CO 80127



                    Rachel Valenzuela
                    27237 CAMDEN PLACE
                    VALENCIA, CA 91354



                    Rachele May
                    18332 NW CHEMEKETA LN
                    325
                    PORTLAND, OR 97229



                    Rachelle Ceron
                    20837 VERCELLI WAY
                    PORTER RANCH, CA 91326
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                    RACHELLE CERON
                    20837 VERCELLI WAY
                    POTTER RANCH, CA 91326



                    Rachelle Q. Ceron
                    20837 VERCELLI WAY
                    PORTER RANCH, CA 91326



                    Rack Men Equipment Company,Inc
                    102 Pyron Court Ne
                    Cartersville, GA 30121



                    RACK MEN EQUIPMENT COMPANYINC
                    102 PYRON COURT NE
                    CARTERSVILLE, GA 30121



                    Racquel Bijou
                    3677 BROADWAY
                    H3
                    FORT MYERS, FL 33901



                    Raegan Denton
                    4152 E BLUESAGE ROAD
                    GILBERT, AZ 85297



                    Raelynn Johnson
                    8170 E. Helen St.
                    Tucson, AZ 85715



                    Raenie Delgehausen
                    2057 W AMY DR
                    TUCSON, AZ 85705



                    Raeven Placa
                    881 Sunningdale Dr
                    Oceanside, CA 92057
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                    Rafael Arias-andueza
                    3890 greenway dr apt 106
                    Sarasota, FL 34232



                    Rafael Castillo Gasca
                    445 EAST MARCELLO AVE
                    TRACY, CA 95391



                    Rafael Colon
                    6119 OAK CLUSTER CIR
                    TAMPA, FL 33634



                    Rafael Colon
                    5316 MILLENIA BLVD
                    10-208
                    ORLANDO, FL 32839



                    RAFAEL CORDERO
                    11461 SW DAVIES RD
                    BEAVERTON, OR 97007



                    Rafael Garcia
                    9975 Sw Walnut St
                    #2
                    Portland, OR 97223



                    Rafael Hernandez
                    4123 CHEVY CHASE
                    LA, CA 90039



                    Rafael J. Ortiz
                    86110 LAS FLORES AVE
                    COACHELLA, CA 92236



                    Rafael Lugo
                    960 VALENCIA AVENUE
                    201
                    SAN BERNARDINO, CA 92410
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                                      2164



                    Rafael Mainardis
                    4760 SOUTH WADSWORTH BOULEVARD
                    E203
                    LITTLETON, CO 80123



                    Rafael Maldonado
                    555 S TENTH STREET
                    18
                    SAN JOSE, CA 95112



                    Rafael Mendez
                    1673 E Gail Dr
                    Chandler, AZ 85225



                    Rafael Navarro
                    82786 CREST AVENUE
                    INDIO, CA 92201



                    RAFAEL OCHOA ROMERO
                    832 W COLORADO BLVD APT C
                    MONROVIA, CA 91016



                    Rafael Ochoa-romero
                    832 w colorado blvd
                    apt c
                    monrovia, CA 91016



                    Rafael Ortiz
                    86110 LAS FLORES AVE
                    COACHELLA, CA 92236



                    Rafael Pineda
                    4038 Marathon St
                    #1
                    Los Angeles, CA 90029



                    Rafael Rodriguez
                    38856 Rambler Ave
                    Palmdale, CA 93550
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                    Rafael Serrano
                    7013 HUDSON RIVER DR
                    TAMPA, FL 33619



                    Rafaela Hernandez
                    11726 MARQUARDT AVE
                    WHITTIER, CA 90605



                    Rahel shiferaw
                    6452 wedgeview dr
                    tucker, GA 30084



                    Railyn Pentland
                    2064 SOUTH RICHFIELD ST
                    AURORA, CO 80013



                    Rain Nelson
                    14705 E Dartmouth Ave
                    Aurora, CO 80014



                    Raina Carter
                    1068 Medical Center Drive
                    San Bernardino, CA 92411



                    Raina L. Carter
                    1068 Medical Center Drive
                    San Bernardino, CA 92411



                    Raina Sparks
                    12406 STILLWATER TERRACE DRIVE
                    TAMPA, FL 33618



                    RAINDROP AGENCY INC
                    1501 INDIA ST STE 103 PMB #113
                    SAN DIEGO, CA 92101
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                    Rainsweet
                    PO BOX 7079
                    SALEM, OR 97303



                    RAINSWEET INC
                    PO BOX 7079
                    SALEM, OR 97303



                    Rainsweet Inc.
                    Po Box 7079
                    Salem, OR 97303



                    Raiza Alas
                    1876 Buckingham Rd
                    Apt 4
                    Los Angeles, CA 90019



                    Rakeem jackson
                    1511 EAST KALEY ST
                    ORLANDO, FL 32806



                    RAKESHA A HILLS




                    Rakim Faucette
                    42 Olive Dr
                    Ocala, FL 34472



                    Ralf Reinier Ocampo
                    28188 MOULTON PARKWAY
                    715
                    LAGUNA NIGUEL, CA 92677



                    RALPH HOFFMAN
                    12315 JOLIET RD
                    NEWARK, IL 60541-9583
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1713 of
                                      2164



                    Ralph Mena
                    3030 N CASTRO AVE
                    7
                    TUCSON, AZ 85705



                    Ralph Morales
                    3038 n Estrella
                    APT #F
                    Tucson, AZ 85705



                    Ralph Randolph
                    19441 e navarro dr
                    aurora, CO 80013



                    Ralph Vargas
                    1825 Robinhood St
                    Sarasota, FL 34231



                    RALPH WEIL
                    7725 SW 149TH AVE
                    BEAVERTON, OR 97007



                    RAMAN VENTURES LLC
                    4410 LONGSHORE WAY
                    SAN DIEGO, CA 92130



                    Ramandeep Mangat
                    8865 LOS ALTOS DR
                    BUENA PARK, CA 90620



                    Ramco
                    3921 E MIRALOMA AVE
                    ANAHEIM, CA 92806-6201



                    RAMCO REFRIGERATION & AIR INC
                    3921 E MIRALOMA AVE
                    ANAHEIM, CA 92806-6201
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                    RAMCO REFRIGERATION & AIR INC
                    3921 E MIRALOMA AVE
                    ANAHEIM
                    CA, 92806-6201



                    Ramco Refrigeration & Air Inc.
                    3921 E. Miraloma Ave.
                    Anaheim, CA 92806-6201



                    RAMI A. JABER
                    2400 BARRETT CREEK BLVD
                    APT 806
                    MARIETTA, GA 30066



                    Rami Jaber
                    2400 BARRETT CREEK BLVD
                    APT 806
                    MARIETTA, GA 30066



                    Ramin Madadkar
                    6681 TORENIA TRL
                    110
                    SAN DIEGO, CA 92130



                    Ramiro Duran
                    4853 E AVE R12
                    PALMDALE, CA 93552



                    Ramiro Feria
                    1001 Seaside Daisy Ct
                    Henderson, NV 89074



                    Ramiro Galindo
                    23481 El Reposa
                    Aliso Viejo, CA 92656
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                    Ramiro Padilla
                    530MEDANOS AVE
                    103
                    BAYPOINT, CA 94565



                    Ramon Amaya
                    1985 WASHINGTON ST
                    SANTA CLARA, CA 95050



                    RAMON CANCEL
                    1039 DARLING CT
                    KISSIMMEE, FL 34758



                    Ramon Carvajal
                    744 CALLA DRIVE
                    #2
                    SUNNYVALE, CA 94086



                    Ramon Cerda Sanchez
                    15910 Pasadena Avenue
                    Apt 26
                    TUSTIN, CA 92780



                    Ramon Diaz
                    2101 Ne 68th
                    Apt201
                    Fort Lauderdale, FL 33308



                    Ramon Hermosillo
                    275 E FIRST STREET
                    SAN JACINTO, CA 92583



                    Ramon Hernadez
                    875 CINNABAR ST.
                    1107
                    SAN JOSE, CA 95126
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                    Ramon Hurtado
                    4002 E BELMONT
                    FRESNO, CA 93702



                    RAMON LOZA
                    1864 VIRGINIA AVE
                    SAN JOSE, CA 95122



                    Ramon Lozano
                    12557 WELLINGTON PARK
                    HOUSTON, TX 77072



                    Ramon Padilla
                    1152 Jennifer Court
                    Escondido, CA 92026



                    Ramon Perez Vega
                    1606 OREGON AVE
                    SAINT CLOUD, FL 34769



                    Ramon Solorzano
                    4102 Vela Way
                    Oceanside, CA 92057



                    Ramon Villalpando
                    1785 KAMMERER AVE
                    SAN JOSE, CA 95116



                    Ramona Bruster
                    369 McCook Drive NW
                    Kennesaw, GA 30144



                    RAMONA BULLDOGS 12U
                    18755 RANGELAND RD
                    RAMONA, CA 92065
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                    RAMONA BULLDOGS 12U
                    18755 RANGELAND RD
                    RAMONA
                    CA, 92065



                    Ramona Chavez
                    1949 West Dr
                    Apt.#2
                    Vista, CA 92083



                    Ramona Chavez
                    7425 9TH STREET
                    123
                    BUENA PARK, CA 90621



                    RAMONA QUINTANILLA
                    3850 OHIO AVE
                    ST CHERLES, IL 60174



                    Ramona Rae
                    333 MIDWEST PKWY
                    SARASOTA, FL 34232



                    RAMSAY SIGNS INC
                    9160 SE 74TH AVE
                    PORTLAND, OR 97206



                    Ramses Delossantos
                    319 Scott Ct
                    Palm Harbor, FL 34684



                    Ramses Magana
                    14705 E DARTMOUTH AVE
                    AURORA, CO 80014



                    Ramy Sabbara
                    6000 EUCALYPTUS LN
                    VALLEY CENTER, CA 92082
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                                      2164



                    Ramzes Volantin
                    2041 MILAGRO PL
                    OXNARD, CA 93030



                    Ramzi Yokhanna
                    2874 Westhaven Dr
                    Anaheim, CA 92804



                    Rana Mckibbin
                    7101 Lakeridge Ct.
                    Ft. Myers, FL 33907



                    Ranada Grayes
                    4458 4TH AVE
                    2C
                    LA MESA, CA 92105



                    Ranah Marriell Barriatos
                    123 E WINDSOR ROAD
                    APT. 31
                    GLENDALE, CA 91205



                    RANCH VISTA PTA
                    3610 W ESTATES LN UNIT B
                    ROLLING HILLS ESTATES, CA 90274



                    RANCH VISTA PTA
                    3610 W ESTATES LN UNIT B
                    ROLLING HILLS ESTATES
                    CA, 90274



                    RANCHO BERNARDO VETERANS MEMORIAL ASSOC
                    2471 OAK CANYON PLACE
                    ESCONDIDO, CA 92025



                    RANCHO BERNARDO POP WARNER
                    PO BOX 27676
                    SAN DIEGO, CA 92128
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                    RANCHO CALIFORNIA WATER DISTRICT
                    PO BOX 512687
                    LOS ANGELES, CA 90051-0687



                    Randahl Drake
                    749 HOLBERTSON CT
                    SIMI VALLEY, CA 93065



                    Randaine Reid
                    2721 SAVANNAH DRIVE
                    LEESBURG, FL 34748



                    Randall Coppernoll
                    2017 PALO ALTO AVE
                    LADY LAKE, FL 32159



                    Randall Sheldon
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                    Apt#32
                    Tigard, OR 97224



                    RANDALL ZEIHER
                    182 MARAKESH DR
                    PACHECO, CA 94553



                    Randell Woodard
                    10200 NORTH ARMENIA AVENUE
                    3408
                    TAMPA, FL 33612



                    Randi Topel
                    1614 PROMONTORY TERRACE
                    SAN RAMON, CA 94583



                    RANDY AND WENDY JUDD
                    2478 RIDGEBROOK PLACE
                    THOUSDAND OAKS, CA 91362
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                    Randy Bondo
                    19899 E CASPIAN CIRCLE
                    AURORA, CO 80013



                    Randy De La Rosa
                    3660 NEWTON AVENUE
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                    Randy Farrior
                    5616 8th St E
                    Sarasota, FL 34234



                    Randy Pacheco Urieta
                    219 BACKS LN
                    APT. NUMBER A
                    PLACENTIA, CA 92870



                    Randy Salazar
                    759 94th ave north naples
                    Naples, FL 34108



                    Randy Vinton
                    720 WOLFE RD
                    SUNNYVALE, CA 94086



                    Randy Vizcarra
                    3626 W COLTER ST
                    PHOENIX, AZ 85019



                    Ranique Moodie
                    7696 ALICIA LANE
                    SARASOTA, FL 34243



                    Ranphy Alejandro
                    2660 S. STEWART ST.
                    KISSIMMEE, FL 34746
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                                      2164



                    Raphael A. Alejandro
                    1220 GEORGIA AVE
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                    Raphael Alejandro
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                    ST. CLOUD, FL 34769



                    Raphy Velasquez
                    10911 Canyon Hill Lane
                    San Diego, CA 92126



                    RAPID KOOL COIL INC
                    5027 IRWINDLE AVE
                    IRWINDALE, CA 91706



                    Rapid7
                    PO BOX 347377
                    PITTSBURGH, PA 15251-4377



                    RAPID7 LLC
                    PO BOX 347377
                    PITTSBURGH, PA 15251-4377



                    Raquel BRACHO
                    7101 SAND LAKE RESERVE DR
                    1102
                    ORLANDO, FL 32819



                    Raquel Brambila
                    3810 SACRAMENTO DR
                    LA MESA, CA 92104



                    Raquel Cortez
                    7499 Danbury way
                    Clearwater, FL 33764
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                    Raquel Esquivel
                    807 WINSTON PL
                    MOUNTAIN VIEW, CA 94043



                    Raquel Garcia
                    1411 Monument Blvd
                    #a1
                    Concord, CA 94520



                    Raquel Gonzales
                    13560 Turtle Marsh Loop
                    #325
                    Orlando, FL 32837



                    Raquel Hawkins
                    2200 N Sherman Circle
                    Miramar, FL 33025



                    Raquel Mejia
                    21500 Lassen St Spc 9
                    Chatsworth, CA 91311



                    Raquel Zamott
                    1324 Waikiki Way
                    Tampa, FL 33619



                    RASHAD CROSDALE
                    4728 SW LURADEL ST #2
                    PORTLAND, OR 97219



                    Rashad smith
                    1453 25TH STREET
                    SARASOTA, FL 34234



                    Rashawn Jones
                    3355 GEORGE BUSBEE PKWY
                    808
                    KENNESAW, GA 30144
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1723 of
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                    Ratayvious Spencer
                    2580 NORTH BERKELEY LAKE RD
                    DULUTH, GA 30096



                    Ratnawati Widjaja
                    3201 Yorba Linda Blvd
                    #105
                    Fullerton, CA 92831



                    Raudel tapia
                    44971 RUBIDOUX ST.
                    INDIO, CA 92201



                    Raul Aldama
                    1294 Medley Ct
                    San Jose, CA 95121



                    Raul Feregrino
                    443 E.first St.
                    Tustin, CA 92780



                    Raul Gonzalez
                    7240 Canosa Ct
                    Westminster, CO 80030



                    Raul Hernandez
                    2144 LYONS DR
                    SAN JOSE, CA 95116



                    Raul Martinez
                    911 A ST
                    FRESNO, CA 93706



                    Raul Mayahernandez
                    24 silver Strand
                    Dana Point, CA 92629
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                                      2164



                    Raul Medina
                    1917 South Broadway #A
                    Escondido, CA 92025



                    Raul Noriega
                    2266 Delos Street
                    San Diego, CA 92139



                    Raul Olivera
                    6741 SW 20TH COURT
                    MIRAMAR, FL 33023



                    Raul Pantoja
                    5519 Jose Leon St
                    North Las Vegas, NV 89031



                    Raul Ramirez
                    2155 Wood St
                    #a9
                    Sarasota, FL 34237



                    raul ramirez
                    3555 WARBURTON AVE
                    SANTA CLARA, CA 95051



                    Raul Ramos
                    120 S HIGHLAND AVE
                    #G
                    PLACENTIA, CA 92870



                    Raul Rios
                    6431 N LEAD
                    FRESNO, CA 93711



                    Raul Sanchez
                    7952 Moon Shadow Cir.
                    #1
                    Huntington Beach, CA 92647
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                                      2164



                    Raul Santos
                    2530 BEAR VALLEY PKWY
                    UNIT 108
                    Escondido, CA 92027



                    Raul Vazquez-soto
                    3151 Soaring Guls Dr
                    #1097
                    Las Vegas, NV 89128



                    Raul villegas rojano
                    4546 55TH ST
                    SAN DIEGO, CA 92215



                    Raunel Ponce-silva
                    5516 W Shangri-la Rd
                    Glendale, AZ 85304



                    Ravello Montanez
                    25616 Lindenwood Way
                    Hayward, CA 94545



                    Raven Dean
                    22921 IMPERIAL VALLEY DR
                    E201
                    HOUSTON, TX 77073



                    Raven Riley
                    113 E 113TH PLACE
                    NORTHGLENN, CO 80233



                    Raven Schwarzkopf-hamilton
                    21141 Canada
                    Apt 14p
                    Lake Forest, CA 92630



                    Raxel Gutierrez
                    2003 Balfour Cr
                    Tampa, FL 33619
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                                      2164



                    Ray Aubele
                    1421 Shannon
                    Upland, CA 91784



                    RAY CHANCE
                    3512 PLANET DR
                    RALEIGH, NC 27604



                    RAYAN ALYONIS
                    21 CLAY
                    IRVINE, CA 92620



                    Rayanna Ozbirn
                    6161 E. Pima Street
                    #2004
                    Tucson, AZ 85712



                    Rayechelle Foster
                    3422 Thaxton se
                    apt 20
                    Albuquerque, NM 87106



                    Rayka Khatibi
                    1302 S SALTAIR AVE
                    #2
                    LOS ANGELES, CA 90025



                    Rayleen Stacy
                    44321 NOLINA CIRLCE
                    LANCASTER, CA 93536



                    Raylene Garcia
                    1262 RIDERWOOD
                    HACIENDA HEIGHTS, CA 91745



                    Raymond Cabrera
                    655 S. Mesa Dr #2016
                    Mesa, AZ 85210
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1727 of
                                      2164



                    Raymond Custodio
                    P.O. Box 23120
                    Pleasant Hill, CA 94523



                    Raymond Day
                    4358 HEYER AVENUE
                    CASTRO VALLEY, CA 94546



                    Raymond Feau
                    2203 Mclaughlin Ave
                    Apt 1
                    San Jose, CA 95122



                    Raymond Flynt
                    1401 Village Blvd
                    Apt 1917
                    West Palm Beach, FL 33409



                    Raymond Foster
                    95 RENAISSANCE PARKWAY NE
                    ATLANTA, GA 30308



                    RAYMOND G. MORALES
                    7644 N FIGUEROA ST
                    LOS ANGELES, CA 90041



                    Raymond Gantt
                    630 HOLLENBECK AVE
                    APT 1
                    SUNNYVALE, CA 94087



                    Raymond Gonzalez
                    434 N Mcpherson St
                    La Habra, CA 90631



                    Raymond Guerrero
                    36504 Summer Holly
                    Circle
                    Palmdale, CA 93550
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                                      2164



                    Raymond Handling
                    FILE 1700
                    1801 W OLYMPIC BLVD
                    PASADENA, CA 91199-1700



                    RAYMOND HANDLING CONSULTANTS LLC
                    PO BOX 865491
                    ORLANDO, FL 32886



                    RAYMOND HANDLING SOLUTIONS INC
                    FILE 1700
                    1801 W OLYMPIC BLVD
                    PASADENA, CA 91199-1700



                    Raymond Handling Solutions,Inc
                    File 1700
                    1801 W. OLYMPIC BLVD
                    Pasadena, CA 91199-1700



                    RAYMOND LEASING CORP
                    PO BOX 301590
                    ACCOUNTS RECEIVABLE
                    DALLAS, TX 75303-1590



                    Raymond Leasing Corporation
                    Po Box 301590
                    Dallas, TX 75303-1590



                    Raymond Leasing Corporation
                    PO Box 130
                    Greene, NY 13778



                    Raymond Lopez
                    234 E NORTH HILL DR
                    SPRING, TX 77373



                    Raymond Melendez
                    12302 LELAND AVE
                    WHITTIER, CA 90605
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1729 of
                                      2164



                    Raymond Morales
                    7644 N FIGUEROA ST
                    LOS ANGELES, CA 90041



                    Raymond Ortiz
                    314 WASHINGTON PALM LOOP
                    DAVENPORT, FL 33897



                    Raymond Phillips
                    4615 EAST ORANGE DRIVE
                    PHOENIX, AZ 85018



                    Raymond Rivera
                    12720 WITHERSPOON RD
                    CHINO, CA 91710



                    Raymond Rivera
                    12215 Colima Rd
                    Whittier, CA 90604



                    RAYMOND ROMERO
                    8672 OASIS AVE
                    WESTMINSTER, CA 92683



                    Raymond Sanchez
                    539 JACKIE DR
                    SAN JOSE, CA 95111



                    Raymond Sandoval
                    9422 VALLEY VIEW ST
                    #A
                    CYPRESS, CA 90630



                    Raymond Santos
                    727 RANLETT AVE
                    LA PUENTE, CA 91744
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                                      2164



                    Raymond Stevenson
                    355 Phippen Waiters Rd
                    Dania, FL 33004



                    Raymond Sturgeon Jr.
                    525 WEST 119TH STREET
                    LOS ANGELES, CA 90044



                    Raymond Trudell
                    1505 Ohio Ave
                    Dunedin, FL 34698



                    Raymundo Bravo
                    2175 MCLAUGHLIN AVE
                    3
                    SAN JOSE, CA 95122



                    Raymundo Garcia Duarte
                    10229 LYNDALE AVE.
                    SAN JOSE, CA 95127



                    Raymundo Garcia Lopez
                    10229 LYNDALE AVE
                    SAN JOSE, CA 95127



                    RAYMUNDO JUNIO
                    8080 BAUSER AVENUE
                    ROSEVILLE, CA 95747



                    Raymundo Munoz
                    82055 Santa Rosa Ave
                    Indio, CA 92201



                    Raymundo Sanchez
                    236 S CORONADO ST
                    308
                    LOS ANGELES, CA 90057
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                                      2164



                    Raymundo Vergara
                    10925 Sw Larch Ln
                    Beaverton, OR 97005



                    Raynold Anaction
                    1610 SW 67th Ave
                    North Lauderdale, FL 33068



                    RBCPC
                    17010 POMERADO RD
                    SAN DIEGO, CA 92128



                    RBHS FIGHT AGAINT HUNGER CLUB
                    16266 AVENIDA VENUSTO #E
                    SAN DIEGO, CA 92128



                    RBHS FOOTBALL GRID IRON CLUB
                    13010 PASEO LUCIDO
                    SAN DIEGO, CA 92128



                    RBV RANCH HANDS
                    1601 LONGHORN DR
                    RANCH BUENA VISTA HIGH SCHOOL
                    VISTA, CA 92081



                    RC STORE MAINTENANCE INC
                    569 BATEMAN CIRCLE
                    CORONA, CA 92880



                    RCBLV ST FRANCIS OF ASSISI
                    2300 SUNRIDGE HEIGHTS PKWY
                    HENDERSON, NV 89052



                    RCS MECHANICAL SERVICES
                    4161 INGOT STREET
                    FREMONT, CA 94538
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                    REACH PROS INC
                    31365 OAK CREST DR STE 100
                    WESTLAKE VILLAGE, CA 91361



                    Realidy Esquivez
                    487 E AVE 28
                    LOS ANGELES, CA 90026



                    REALTY INCOME ILLINOIS
                    PO BOX 842428
                    LOS ANGELES, CA 90084-2428



                    Realyn Nichols
                    5987 Chesbro Ave
                    San Jose, CA 95123



                    Rebeca Estrada
                    1905 NW 173 AVE
                    1503
                    BEAVERTON, OR 97006



                    Rebeca Hernandez
                    10010 Greenfork Dr.
                    #912
                    Houston, TX 77036



                    Rebeca Herrera
                    3559 EL SERENO AVE
                    202
                    LOS ANGELES, CA 90032



                    Rebecca Bakaloff
                    2406 NW 21ST TERRACE
                    BOYNTON BEACH, FL 33436



                    Rebecca Beltran
                    3213 45th Street
                    San Diego, CA 92105
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                                      2164



                    Rebecca Brito
                    7027 Westwood Dr
                    Sarasota, FL 34241



                    Rebecca Caballero-duenas
                    13842 Busby Circle
                    Westminster, CA 92683



                    REBECCA CASTILLO




                    Rebecca Corona
                    1052 E 8TH AVE
                    MESA, AZ 85204



                    Rebecca Madrigal
                    2061 White Alder Lane
                    Vista, CA 92084



                    Rebecca Mahabir
                    3208 SABAL PALMS CT
                    SUITE A
                    KISSIMMEE, FL 34747



                    Rebecca Navas
                    16082 SW 63RD TER
                    MIAMI, FL 33193



                    Rebecca Ochoa
                    5808 East Calle Guadalupe
                    Guadalupe, AZ 85283



                    Rebecca Salch
                    4409 Lugo Ave
                    Chino Hills, CA 91709
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                                      2164



                    Rebecca Sasnett
                    9030 E Holmes St
                    Tucson, AZ 85710



                    Rebecca Thompson
                    19441 E NAVARRO DRIVE
                    AURORA, CO 80013



                    Rebecca Velasquez
                    2892 N Grantland Ave
                    Fresno, CA 93723



                    Rebecka Tobin
                    3287 TIOGA RD
                    102
                    CONCORD, CA 94518



                    Rebeckah Guevara
                    2225 VIA TOMAS
                    CAMARILLO, CA 93010



                    REBEKA CHRISTA
                    10 HUFF DR APT 326
                    ELLIJAY, GA 30540



                    Rebekah Febo
                    1441 Brandywine Rd.
                    Apt 500d
                    West Palm Beach, FL 33409



                    Rebekah ROMAN
                    1722 XIMENO AVE
                    10
                    LONG BEACH, CA 90815



                    RED SECURITY GROUP LLC
                    2213 ARTESIA BLVD
                    REDONDO BEACH, CA 90278
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                    Reece Wimberly
                    1144 CORRIE LN
                    WALNUT CREEK, CA 94597



                    REECO PROPERTIES LLLP
                    PO BOX 640
                    WINTER PARK, FL 32790



                    Reed Colgrove
                    8310 SW COLONY CREEK CT
                    TIGARD, OR 97224



                    Reed H. Colgrove
                    8310 SW COLONY CREEK CT
                    TIGARD, OR 97224



                    REED RESTAURANT REPAIR INC
                    11130 GRAY STREET
                    WESTMINSTER, CO 80020



                    REED RESTAURANT REPAIR INC
                    11130 GRAY STREET
                    WESTMINSTER
                    CO, 80020



                    REEDY CREEK IMPROVEMENT DISTRICT
                    PO BOX 30000
                    UTILITY DIVISION
                    ORLANDO, FL 32891-8132



                    Refrigiwear Inc
                    Po Box 39
                    Dahlonega, GA 30533



                    Refugio Lopez
                    7975 Se 92nd Ave
                    Apt 25
                    Portland, OR 97266
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                                      2164



                    REGAL CARPET CLEANING INC
                    621 W LESTER STREET
                    TUCSON, AZ 85705



                    Regan Bradley
                    3009 EAST 9TH STREET
                    VANCOUVER, WA 98661



                    Regan Rose
                    18214 E EL VIEJO DESIERTO
                    GOLD CANYON, AZ 85118



                    Reganne Gagliardi
                    4215 E SANTA FE LN
                    GILBERT, AZ 85297



                    REGENCY ENTERPRISES INC
                    PO BOX 102193
                    PASADENA, CA 91189-2193



                    REGENCY ENTERPRISES INC
                    PO BOX 102193
                    PASADENA
                    CA, 91189-2193



                    REGENT OHARE LLC
                    PO BOX 88602
                    C/O NAI HIFFMAN ASSET MANAGEMENT LLC
                    CHICAGO, IL 60680-1602



                    Regina Anaya Ortega
                    120 S HIGHLAND AVE
                    #G
                    PLACENTIA, CA 92870



                    Regina Ezell
                    2139 W 129th
                    Gardena, CA 90249
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                                      2164



                    Regina Montano
                    3444 N E ST 20
                    SAN BERNARDINO, CA 92405



                    Regina SANDRE
                    605 OAKS DR
                    1001
                    POMPANO BEACH, FL 33069



                    Regina Stroh
                    9055 W Bellwood Pl
                    Littleton, CO 80123



                    Reginald English
                    3376 CHATSWORTH WAY
                    POWDER SPRINGS, GA 30127



                    Reginald Houston
                    1512 8TH AVENUE W
                    BRADENTON, FL 34206



                    Reginald Hughes
                    5247 MILLENNIA BLVD
                    309
                    ORLANDO, FL 32839



                    Reginald Phillips
                    836 J STREET
                    LAS VEGAS, NV 89106



                    Reginald Stallings
                    1274 Eason Street Nw
                    Atlanta, GA 30314



                    Reginald Waller II
                    6767 Amherst St Unit A
                    Unit A
                    San Diego, CA 92115
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1738 of
                                      2164



                    Reginald Williams
                    816 AUTUMN VILLAGE COURT
                    816
                    DULUTH, GA 30096



                    Reginald Wilson
                    3008 Newtown Blvd
                    Sarasota, FL 34234



                    Rehrig Pacific Company
                    Po Box 514457
                    Los Angeles, CA 90051-4457



                    Rei Zhu
                    1301 W SHORB ST.
                    ALHAMBRA, CA 91803



                    Reichel barrios
                    6560 CHANTRY ST
                    ORLANDO, FL 32835



                    Reighn Carter
                    39 DOUBLE CREEK DR
                    CONROE, TX 77303



                    Reina Barahona
                    1641 PINE STREET
                    #3
                    CONCORD, CA 94520



                    RELAY FOR LIFE
                    3500 PRUNERIDGE AVE
                    SANTA CLARA, CA 95051



                    RELAY FOR LIFE OF FRESNO
                    1384 W TENAYA WAY
                    FRESNO, CA 93711
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                                      2164



                    RELIABLE GASKETS LLC
                    18543 YORBA LINDA BLVD #163
                    YORBA LINDA, CA 92886



                    RELIABLE GASKETS LLC
                    18543 YORBA LINDA BLVD #163
                    YORBA LINDA
                    CA, 92886



                    RELIABLE REFRIGERATION SERVICE
                    913 E JUANITA AVE #1
                    MESA, AZ 85204-6622



                    RELIANT ELECTRICAL SERVICE INC
                    650 N ROSE DR #405
                    PLACENTIA, CA 92870



                    RELIANT ELECTRICAL SERVICE INC
                    650 N ROSE DR #405
                    PLACENTIA
                    CA, 92870



                    Rember Lopez
                    505 S BONNIE ST
                    205
                    LOS ANGELES, CA 90057



                    Rembrandt Enterprises Inc
                    Rembrandt Foods
                    Dept CH 16962
                    Palatine, IL 60055-6962



                    Remie Nguyen
                    16248 Nw Canton St.
                    Apt. 308
                    Portland, OR 97229
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1740 of
                                      2164



                    Remy Jean
                    6210 Sw 18th Place
                    Pompano Beach, FL 33068



                    Rena Castro
                    15112 GALE AVE
                    HACIENDA HEIGHTS, CA 91745



                    Renae Tenorio
                    4655 W Mineral Drive
                    #728
                    Littleton, CO 80128



                    Renald Fleurima
                    7518 SW 9TH STREET
                    NORTH LAUDERDALE, FL 33068



                    Renard Diggs
                    7820 PARADISE VALLEY ROAD
                    C
                    SAN DIEGO, CA 92139



                    Renato Alvarado
                    917 S Toland st
                    Santa Ana, CA 92704



                    Renato Mendez
                    1060 South Idaho St.
                    Unit # 47
                    La Habra, CA 90631



                    Renaud Jean
                    1331 Alho Dr
                    Lake Worth, FL 33462



                    Rene Acosta
                    106 S. COUNTRY CLUB DR
                    116
                    MESA, AZ 85210
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                                      2164



                    Rene Balderas
                    2846 E. KATHLEEN RD
                    101
                    PHOENIX, AZ 85032



                    Rene Leanos
                    1227 W 5th Street
                    Santa Ana, CA 92703



                    Rene Lopez
                    5726 1/2 Fountain Ave
                    Los Angeles, CA 90028



                    Rene Montiel
                    188 COLERIDGE GREEN
                    FREMONT, CA 94538



                    Rene Ocampo
                    1362 N Serrano
                    Apt 1
                    Los Angeles, CA 90027



                    Rene Rios
                    4918 12TH ST W
                    BRADENTON, FL 34207



                    Rene Rivera
                    85286 CAIRO ST
                    COACHELLA, CA 92236



                    Rene Sazo
                    18872 E 22nd Drive
                    Aurora, CO 80011



                    Rene Tellez
                    3201 Mira Mesa Ave
                    Oceanside, CA 92056
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                                      2164



                    Rene Tonelli
                    1865 AVOCADO DR.
                    17
                    VISTA, CA 92083



                    Renee Parra
                    2566 PILOT KNOB DR.
                    SANTA CLARA, CA 95051



                    Renee Ramos
                    21622 MARGUERITE PKWY
                    496
                    MISSION VIEJO, CA 92692



                    Reneisha Hunt
                    3098 FLATER DRIVE
                    SAN JOSE, CA 95148



                    Renel Etienne
                    5561 NW 50TH AVE
                    COCONUT CREEK, FL 33073



                    Renel Pierre
                    10941 Winding Creek Lane
                    Boca Raton, FL 33428



                    Renelia Bardales Roman
                    633 68TH ST APT1
                    SAN DIEGO, CA 92114



                    RENELIA G. BARDALES ROMAN
                    633 68TH ST APT1
                    SAN DIEGO, CA 92114



                    RENN UPHOLSTERY
                    1155 BARSTOW
                    CLOVIS, CA 93612
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1743 of
                                      2164



                    Renold Corvil
                    3890 RIVERSIDE DRIVE
                    #3
                    CORAL SPRINGS, FL 33065



                    RENTAL CONCEPTS INC
                    6450 ROCKSIDE WOODS BLVD
                    STE 250
                    CLEVELAND, OH 44131



                    Rental Concepts, Inc
                    Fleet Response
                    6450 Rockside Woods Blvd. Suite 250
                    Cleveland, OH 44131



                    RENU BUILDING MAINTENANCE INC
                    543 COUNTRY CLUB DR STE B305
                    SIMI VALLEY, CA 93065



                    REPROMAGIC
                    8585 MIRAMAR PLACE
                    SAN DIEGO, CA 92121



                    Republic Bag Inc.
                    P O Box 827627
                    Philadelphia, PA 19182-7627



                    Reshad Ahmad Arash
                    41299 PASEO PADRE PKWY
                    334
                    FREMONT, CA 94539



                    RESISTERHOOD LA INC
                    12244 RIVERSIDE DR #206
                    VALLEY VILLAGE, CA 91607
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                    Resolution Services Llc
                    Dba Jmj Plumbing
                    212 NORTHRIDGE DR
                    Acworth, GA 30101



                    RESOLUTION SERVICES LLC
                    212 NORTHRIDGE DR
                    ACWORTH, GA 30101



                    RESOURCES INVESTMENTS ADVISORS LLC
                    4860 COLLEGE BLVD STE 100
                    OVERLAND PARK, KS 66211



                    Restaurant Dynamics
                    P.O. Box 1133
                    Auburn, GA 30011



                    RESTAURANT DYNAMICS
                    PO BOX 1133
                    AUBURN, GA 30011



                    RESTAURANT DYNAMICS
                    P.O. Box 1133
                    Auburn
                    GA, 30011



                    RESTAURANT EQUIPMENT SERVICE GROUP LLC
                    FOOD SERVICE
                    27766 NETWORK PLACE
                    CHICAGO, IL 60673-1277



                    RESTAURANT MANAGEMENT CAREERS
                    5500 E ATHERTON #226
                    LONG BEACH, CA 90815



                    RESTOR TO NU LLC
                    120 S HOUGHTON RD STE 138-272
                    TUCSON, AZ 85748-6731
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1745 of
                                      2164



                    RESURGENT HEALTH & MEDICAL




                    Revoydia gray
                    19906 SONGLARK CIRCLE
                    HOUSTON, TX 77433



                    REX PUTNAM YOUTH CHEER
                    8611 SE FRONTIER CT
                    CLACKAMAS, OR 97015



                    Rex winney
                    4107 52ND ST. WEST
                    BRADENTON, FL 34209



                    Rey Galvan
                    15854 BLACKHAWK ST
                    GRANADA HILLS, CA 91344



                    Reyana Ortiz
                    42747 NEWPORT DR
                    FREMONT, CA 94538



                    Reyes Angela
                    232 Evergreen Parkway
                    Oceanside, CA 92054



                    Reyes Pedraza
                    1536 S CONCORD WAY
                    #D
                    CHULA VISTA, CA 91911



                    Reymundo Moreno
                    2149 W. TANGLEWOOD DR.
                    TUCSON, AZ 85745
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1746 of
                                      2164



                    Reyna Hernandez
                    1043 OAKLAWN AVE
                    CHULA VISTA, CA 91911



                    Reyna Lopez
                    13970 SW 6th st.
                    Beaverton, OR 97005



                    Reyna Molina
                    9550 Longoint
                    #169
                    Houston, TX 77055



                    Reyna Olivera
                    1505 C Lynne Renne Ct.
                    Modesto, CA 95358



                    Reyna Ortega
                    1154 N CITRON ST
                    ANAHEIM, CA 92802



                    Reyna Torres-Manzanares
                    2536 VIOLETA CIRCLE
                    RIO RANCHO, NM 87124



                    Reynalda Hernandez
                    194 HERITAGE ST.
                    OCEANSIDE, CA 92058



                    Reynalda Mejia
                    636 Chicago Way
                    Dundee, FL 33838



                    Reynaldo Beltran
                    15610 TUSTIN VILLAGE WAY
                    71
                    TUSTIN, CA 92780
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1747 of
                                      2164



                    Reynaldo Codilla
                    990 Euclid Avenue
                    Camarillo, CA 93010



                    Reynaldo Lucero
                    47795 Dune Palms Rd
                    La Quinta, CA 92253



                    RFG CONSTRUCTION INC
                    14354 CARMENITA RD
                    NORWALK, CA 90650



                    Rhea Sanders
                    925 ABRAHAM AVE
                    WEST PALM BEACH, FL 33401



                    Rhianna Gullo
                    6660 W Katie Ave
                    Las Vegas, NV 89103



                    Rhiannon Kereluk
                    9248 E Duncan St
                    Mesa, AZ 85207



                    Rhiannon Mitchell
                    4037 N West Fernhill Circle
                    Tucson, AZ 85750



                    Rhino Lawn Care
                    OSCAR CARDENAS JR
                    PO BOX 2126
                    IMPERIAL BEACH, CA 91933



                    RHODE ISLAND DIV OF TAXATION
                    ONE CAPITOL HILL
                    PROVIDENCE, RI 2908-5809
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1748 of
                                      2164



                    Rhonda Kellar
                    11356 Avenida Del Gato
                    Gato
                    San Diego, CA 92126



                    Ricardo Alcala
                    716 Los Viejos SW
                    Albuquerque, NM 87105



                    Ricardo Barrera
                    1026 Ingraham St
                    Los Angeles, CA 90017



                    Ricardo Cabrera
                    603 JOHANNA AVE
                    SUNNYVALE, CA 94085



                    Ricardo Calderon
                    991 HELEN AVENUE
                    2
                    SUNNYVALE, CA 94086



                    Ricardo Camacho
                    1827 CEDAR ST.
                    #B
                    ALHAMBRA, CA 91801



                    Ricardo Campos
                    2713 Via Festivo
                    Carlsbad, CA 92010



                    Ricardo Colon
                    940 EAST DRAGON FLY ROAD
                    SAN TAN VALLEY, AZ 85143



                    Ricardo Dejesus
                    27107 Via La Mancha
                    Laguna Niguel, CA 92677
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1749 of
                                      2164



                    Ricardo Dime
                    238 BURNING TREE DRIVE
                    SAN JOSE, CA 95119



                    Ricardo Estrada
                    1123 VIA MONTOYA
                    1123
                    CAMARILLO, CA 93010



                    Ricardo Fernandez
                    6444 N 67TH AVE APT 3138
                    GLENDALE, AZ 85301



                    Ricardo Garcia
                    9709 BEAR LAKE RD
                    SEMINOLE COUNTY, FL 32703



                    Ricardo Garcia
                    6130 MONTEREY HWY.
                    SPACE 64
                    SAN JOSE, CA 95138



                    Ricardo Gonzalez
                    33493 Hayloft St
                    Wildomar, CA 92595



                    Ricardo Guzman
                    1735 Brantley Rd`
                    Apt 307
                    Fort Myers, FL 33907



                    Ricardo Hernanadez
                    4598 Houndshaven Wy
                    San Jose, CA 95111



                    Ricardo Hernandez
                    25610 POTRERO PARK DR
                    POTRERO, CA 91963
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                    RICARDO HERNANDEZ
                    4598 HOUNDSHAVEN WY
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                    Ricardo Ibarra
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                    Ricardo Maldonado
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                    Vista, CA 92084



                    Ricardo Martinez
                    23215 MELINDA CT
                    MORENO VALLEY, CA 92553



                    Ricardo Martinez Diaz
                    2330 Walton Way
                    Escondido, CA 92026



                    Ricardo Orduno
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                    Huntington Beach, CA 92647



                    Ricardo Ortega
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                    ANAHEIM, CA 92801



                    Ricardo Rodriguez
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                    Largo, FL 33770



                    Ricardo Rodriguez
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                    D12
                    TUCSON, AZ 85716
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                    Ricardo Rubio
                    10510 Six Pines
                    Apt 8105
                    Spring, TX 77380



                    Ricardo Saldana
                    25815 Via Lomas
                    #201
                    Laguna Hills, CA 92653



                    Ricardo Thompson
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                    #414
                    LARGO, FL 33760



                    Ricardo Vargas
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                    Rich Products Corporation
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                    Chicago, IL 60693



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                    C
                    ANAHEIM, CA 92804



                    RICHARD ALVAREZ
                    1318 HOPE DR #103
                    SANTA CLARA, CA 95054
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                    Richard Anderson
                    677 W. Juanita
                    Gilbert, AZ 85233



                    RICHARD ANDERSON
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                    Richard Bakanen
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                    RESEDA, CA 91335



                    RICHARD BARRIOS
                    7800 REHA AVE
                    RESEDA, CA 91335



                    Richard Becerra
                    1687 EAST 53 STREET
                    LONG BEACH, CA 90805



                    Richard Diaz
                    9900 ACACIA AVE.
                    64
                    GARDEN GROVE, CA 92841



                    RICHARD G THOMSON
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                    SAN DIEGO, CA 92109



                    Richard Garcia
                    11631 E. THRONWOOD DR
                    SCOTTSDALE, AZ 85256
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                                      2164



                    Richard Geraldo
                    4027 W232ND ST
                    TORRANCE, CA 90505



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                    33105 PINTO CT
                    UNION CITY, CA 94587



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                    LAS VEGAS, NV 89128



                    RICHARD J ANNEN ESQ
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                    SAN DIEGO, CA 92106



                    Richard Lewis
                    784 PORTSIDE PL
                    SAN DIEGO, CA 92154



                    Richard Li Pinto
                    669 JAMESTOWN BLVD
                    1060
                    ALTAMONTE SPRINGS, FL 32714



                    Richard Libed
                    14471 Lyndon St.
                    Garden Grove, CA 92843



                    Richard Lopez
                    18244 REGINA AVE
                    TORRANCE, CA 90504
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                                      2164



                    RICHARD MARQUEZ
                    2946 TYBURN ST
                    LOS ANGELES, CA 90039



                    Richard Marshall
                    440 STAMBRIDGE CT
                    JOHNS CREEK, GA 30005



                    RICHARD MOJEAN
                    329 TOPAZ CT
                    CHULA VISTA, CA 91911



                    RICHARD NAVAREZ
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                    LOS ANGELES, CA 90032



                    Richard Nguyen
                    200 FORD ROAD SPC 186
                    SAN JOSE, CA 95138



                    Richard Niccoli
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                    UNIT 17
                    LONG BEACH, CA 90808



                    Richard Pittsinger
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                    Palmdale, CA 93551



                    Richard Richardson
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                    52
                    LARGO, FL 33773



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                    13893 Pinkard Way
                    #89
                    El Cajon, CA 92021
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                                      2164



                    Richard Roberts
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                    ALBUQUERQUE, NM 87108



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                    Richer Design & Fabrication
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                    CITY OF INDUSTRY, CA 91746



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                    TIGARD, OR 97224



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                    Duarte, CA 91010



                    Rick Kitada
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                    ROWLAND HEIGHTS, CA 91748



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                    SCOTTSDALE, AZ 85256



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                    18013 Devonshire St
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                    Northridge, CA 91325
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                                      2164



                    RICK VAN WARNER
                    620 PINETREE ROAD STE 1
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                    Rickeya Williams
                    1814 GUINYARD WAY
                    ORLANDO, FL 32805



                    Rickeyell Edward
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                    LEESBURG, FL 34748



                    Ricki Williams
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                    PITTSBURG, CA 94565



                    Rickiea Daugherty
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                    Riverside, CA 92505



                    Ricky Hurtod
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                    Aurora, CO 80013



                    Ricoya Black
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                    Ricthie Kapungwe
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                    LOS ANGELES, CA 90029
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                    RIDGECREST PTA
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                    LARGO, FL 33778



                    RIET
                    EMPLOYER TAX SECTION
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                    105
                    FREMONT, CA 94536



                    Rijkard Altidort
                    6737 DE SOTO AVENUE
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                    CONAGA PARK, CA 91303



                    Rika Salvador
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                    Rikko Morales
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                    1829
                    HENDERSON, NV 89014



                    Riky Perez
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                    KENNESAW, GA 30144



                    Riley Dayhuff
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                    WESTMINSTER, CO 80031
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                    Riley Maddex
                    3266 DEFOE COURT
                    FREMONT, CA 94536



                    RILEY PTA
                    3319 SANDWOOD ST
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                    RINALDI PRINTING COMPANY INC
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                    421 N ARACADIA RD
                    ATTN COACH DARRYL CARLSON
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                    RINNAI AMERICA CORP
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                    66
                    GLENDALE, AZ 85301



                    RISING STAR BOOSTER
                    5633 E WARDLOW RD
                    LONG BEACH, CA 90808
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                                      2164



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                    RITA ROBINSON
                    683 GARLAND AVE #72
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                    Rita Saabedra
                    2608 Michelle Ct #A
                    national city, CA 91950
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                                      2164



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                    Ritchie Sigala
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                    RIVERSIDE, CA 92502
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                    RIVERSIDE GASKETGUY INC
                    PO BOX 892341
                    TEMECULA, CA 92589-2341



                    Riverside Public Utilities
                    City Of Riverside Public Util.
                    3900 MAIN STREET
                    Riverside, CA 92522-0144



                    Riverside Public Utilities
                    City Of Riverside Public Util.
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                    Riverside
                    CA, 92522-0144



                    RIYA PLAKKAL
                    2256 BRIARHILL DR
                    NAPERVILLE, IL 60565



                    Riza Pettus
                    509 TARRSON BLVD
                    LADY LAKE, FL 32159



                    RNOT LLC
                    301 CONGRESS STE 700
                    AUSTIN, TX 78701



                    Robbie franco
                    704 ORANGE GROVE AVE
                    ALHAMBRA, CA 91803



                    Robert Aguayo
                    324 W Citrus Edge St
                    Glendora, CA 91740



                    Robert Alcantar
                    73-601 Towne St.
                    Indio, CA 92201
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                                      2164



                    Robert Ames
                    2008 LAS ESTRELLAS CT
                    CAMARILLO, CA 93012



                    ROBERT ARRIOLA
                    5118 SERENO DR
                    TEMPLE CITY, CA 91780



                    Robert Avendano
                    81875 AVENUE 48
                    #1
                    INDIO, CA 92201



                    Robert Baranic
                    3390 CAMINITO GANDARA
                    LA JOLLA, CA 92037



                    Robert Bejger
                    1707 COUGAR CREEK
                    CONROE, TX 77385



                    Robert Bell
                    8 WILLOWRUN
                    IRVINE, CA 92604



                    ROBERT BELL
                    2751 S OCEAN DR STE 1605-S
                    HOLLYWOOD, FL 33019



                    Robert Bolosh
                    111459 117TH AVE
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                    Robert Burdine
                    4380 PRATHER SON DR
                    LOGANVILLE, GA 30052
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1764 of
                                      2164



                    Robert Calip
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                    Robert Couture
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                    1230
                    TUCSON, AZ 85712



                    Robert Croskrey
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                    taulatin, OR 97062



                    ROBERT CROSKREY
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                    ALOHA, OR 97078



                    ROBERT CROSKREY
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                    ALOHA
                    OR, 97078



                    Robert defrance
                    3625 E RAY RD
                    1073
                    PHOENIX, AZ 85044
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                                      2164



                    Robert Dunton
                    1536 ROGERS AVE
                    #B
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                    ROBERT E GARDNER
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                    CHICAGO, IL 60656



                    Robert Felix
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                    PHOENIX, AZ 85033



                    Robert Flynn
                    9736 W Baden Drive
                    Littleton, CO 80127



                    Robert Foster
                    4066 E MELINDA LANE
                    PHOENIX, AZ 85050



                    Robert Goodreau
                    178 MARGIE STREET
                    PALM HARBOR, FL 34683



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                    SAN DIEGO, CA 92128



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                    806
                    ALBUQUERQUE, NM 87111



                    Robert Kirk
                    1303 Starhaven St.
                    Duarte, CA 91010
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                                      2164



                    ROBERT KIRK
                    1303 STARHAVEN
                    DUARTE, CA 91010



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                    4672 WEST POINT LOMA BLVD
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                    LITTLETON, CO 80128



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                    Robert Mendonca
                    COURTYARD RUN WEST
                    7764
                    BOCA RATON, FL 33433



                    Robert Miramontes
                    1172 BRYAN AVE APT D
                    #D
                    TUSTIN, CA 92780
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                                      2164



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                    LA, CA 90026



                    Robert Pasquarelli
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                    ST CLOUD, FL 34772



                    Robert Peterson
                    102 N MEWS WOOD CT
                    THE WOODLANDS, TX 77381



                    Robert Quintana
                    9920 W CAMELBACK
                    2115
                    PHOENIX, AZ 85037
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                                      2164



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                    Robert Sanks
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                    Robert Silvas
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                    Robert Starkweather
                    15628 BERNARDO CENTER DR.
                    2607
                    SAN DIEGO, CA 92127



                    ROBERT SUAREZ
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                    ROBERT SWEATT
                    2205 TAMMI COURT
                    TRACY, CA 95377
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1769 of
                                      2164



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                    Apt 5
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                    SANTA ANA, CA 92705



                    Robert White
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                    FULLERTON, CA 92832



                    Roberta Gosselin
                    1305 FRONT ST
                    NEEDLES, CA 92363
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                                      2164



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                    Houston, TX 77099



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                    306
                    ALTAMONTE SPRINGS, FL 32701



                    Roberto Alarcon
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                    SANTA CLARA, CA 95051



                    Roberto Barragan
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                    Roberto Damian
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                    1726 GOTHAM ST
                    CHULA VISTA, CA 91913
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1771 of
                                      2164



                    Roberto Flores
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                    Orange, CA 92868



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                                      2164



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                    Roberto Suarez
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                    Tampa, FL 33610



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                    RBN DESIGN INC
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                    SAN DIEGO, CA 92122



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                    RAMONA, CA 92065



                    Robin Eldred
                    4849 Lorelei Ave
                    Long Beach, CA 90808



                    Robin Neuffer
                    834 PROGRESS LANE
                    RAMONA, CA 92065
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                                      2164



                    Robin Ronish
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                    AURORA, CO 80014



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                    #2402
                    Golden Gate, FL 34116
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1774 of
                                      2164



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                    5
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                    Rocio Martinez
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                    1
                    MOUNTAIN VIEW, CA 94041



                    Rocio Ramirez
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                    B-203
                    Costa Mesa, CA 92626



                    Rocio Ramirez
                    506 S Ave. A
                    Elgin, TX 78621



                    Rocio Santoyo
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                    APT. A
                    HUNTINGTON BEACH, CA 92647



                    Rocky Dominguez
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                    ROCKY DOMINGUEZ
                    709 W RAMONA RD
                    ALHAMBRA
                    CA, 91803
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                                      2164



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                    RODDY E. CANARIO
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                    BRANDON, FL 33510



                    Rodkeem Ellis
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                    Rodnel Jean
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                    LAUDERHILL, FL 33313



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                    APT 102
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                    Rodney Lordeus
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                    North Miami, FL 33162



                    Rodney Reese
                    14142 EAST COLORADO DR
                    APT 102
                    AURORA, CO 80012



                    Rodolfo Correa
                    2393 BIGELOW AVE
                    SIMI VALLEY, CA 93065
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                    Rodolfo Munoz
                    40204 VILLAGE RD
                    525
                    Temecula, CA 92591



                    Rodolfo Rodillo
                    1602 NISSON ROAD
                    Z2
                    TUSTIN, CA 92780



                    Rodrick Shand
                    220 NW 78 AVE
                    PEMBROKE PINES, FL 33029



                    Rodrigo Alvarez
                    17350 TEMPLE AVE
                    315
                    LA PUENTE, CA 91744



                    Rodrigo Castillo
                    10276 Camino Ruiz
                    San Diego, CA 92126



                    Rodrigo Fosadolopez
                    27150 Shadel Rd
                    Spc 167
                    Menifee, CA 92586



                    Rodrigo Gonzalez
                    1929 PROSPECT ST
                    NATIONAL CITY, CA 91950



                    Rodrigo Morales
                    1395 Oak Dr
                    #12
                    Vista, CA 92084
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                                      2164



                    rodrigo ramirez
                    355 BURTOM
                    236
                    SANTA CLARA, CA 95086



                    RODRIGO RAMIREZ LOPEZ
                    1209 S SYCAMORE ST
                    SANTA ANA, CA 92707



                    Rodrigo Rodriguez Rivas
                    2503 SHERLOCK DR.
                    SAN JOSE, CA 95121



                    Rodriguez Burke
                    5616 WALDENS FARM DR
                    POWDER SPRINGS, GA 30127



                    Rogelio Sanchez
                    2120 Ramrod Ave
                    #2211
                    Henderson, NV 89014



                    Roger Collins
                    17441 Sw 18th St
                    Hollywood, FL 33029



                    Roger Simi
                    5425 E BROADWAY BLVD
                    119
                    TUCSON, AZ 85711



                    ROGERS ELECTRIC SERVICE CORPORATION
                    2050 MARCONIA DRIVE STE 100
                    ALPHARETTA, GA 30005



                    Roha Imran
                    8819 MENKAR ROAD
                    SAN DIEGO, CA 92126
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1778 of
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                    Roisin Murtagh
                    814 E Mntn Sage Dr
                    Phoenix, AZ 85048



                    Roland Hizey
                    13820 SOUTH 44TH STREET
                    1258
                    PHOENIX, AZ 85044



                    Rolando Avellaneda
                    12807 SUNSET DUNE
                    HOUSTON, TX 77082



                    Rolando Diaz
                    13505 W. OAKLAND RD.
                    VALLEY CENTER, CA 92082



                    Rolando Pedrano
                    41 CHRISTOPHER CT
                    EL SOBRANTE, CA 94803



                    Rolando Rivera
                    17217 N 17th Ave
                    #48
                    Phoenix, AZ 85023



                    ROLANDO RIVERA
                    17217 N 17TH AVE #48
                    PHOENIX, AZ 85023



                    Rolando Sanchez
                    6742 S ELMAN ST
                    SAN DIEGO, CA 92111



                    Rolando Tovar Jimenez
                    2336 CALIFORNIA ST
                    14
                    MOUNTAIN VIEW, CA 94040
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1779 of
                                      2164



                    Rolando Tzoc
                    10225 Wortham blvd #6310
                    Houston, TX 77065



                    Rolando Urena
                    505 N Clementine St.
                    Oceanside, CA 92054



                    Rolando Viera
                    3227 W PALMETTO ST
                    TAMPA, FL 33607



                    ROLLING HILLS ELEMENTARY SCHOOL
                    15255 PENASQUITOS DR
                    SAN DIEGO, CA 92129



                    ROMAN ARREDONDO
                    3734 VIA BALDONA
                    OCEANSIDE, CA 92056



                    Roman Partlow
                    3918 BOB STREET
                    SAN DIEGO, CA 92110



                    Roman Renteria
                    3024 W. Diana Ave.
                    Phoenix, AZ 85051



                    Roman Rodriguez
                    214 W ALOMOS AVE
                    102B
                    CLOVIS, CA 93612



                    Roman Sanchez
                    17350 TEMPLE AVE
                    322
                    LA PUENTE, CA 91744
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1780 of
                                      2164



                    Roman Valdez
                    5610 RIVER SOUND TERRACE
                    NONE
                    BRADENTON, FL 34208



                    Romario Alvarez
                    720 S. LYON
                    327
                    SANTA ANA, CA 92705



                    Romel Macabulos
                    8641 Andromeda Rd
                    San Diego, CA 92126



                    Romelis Cortez
                    2230 Latham Street
                    Mountain View, CA 94040



                    Romeo Cane
                    2008 FLETCHER ST
                    7
                    HOUSTON, TX 77009



                    Ronald Bates
                    12615 BROOKGLADE
                    206
                    HOUSTON, TX 77099



                    Ronald Correa
                    3004 N Alma School Rd
                    Scottsdale, AZ 85256



                    Ronald Paquin
                    2733 CANDELARIA NW
                    ALBUQUERQUE, NM 87107
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                    Ronald Perez
                    3750 FRANKLIN AVE
                    10
                    FULLERTON, CA 92833



                    Ronald Porties
                    2655 E DEER SPRINGS WY
                    APT 2148
                    NORTH LAS VEGAS, NV 89086



                    Ronald Redding
                    837 JEFFRY DR.
                    PLEASANT HILL, CA 94523



                    Ronald Schott
                    9537 GROVELAND ST
                    SEMINOLE, FL 33772



                    Ronald Todd
                    9850 FEDERAL BLVD
                    131
                    FEDERAL HEIGHTS, CO 80260



                    Ronald Vargas
                    12711 BRANDFORD ST
                    F105
                    PACOIMA, CA 91331



                    RONALD W KENNEDY
                    13520 BRETT HARTE DR
                    LAKESIDE, CA 92040



                    RONALD W PRENTICE JR
                    4505 JOE COTTON DR
                    KNIGHTDALE, NC 27545



                    Ronald Walton
                    34 Hemlock Terrace Pass
                    Ocala, FL 34472
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1782 of
                                      2164



                    Ronald Yocum
                    4531 Pine St
                    Fruitland Park, FL 34731



                    Ronaldo Antunez Flores
                    512 N ATLANTIC BLVD
                    ALHAMBRA, CA 91801



                    Ronaldo Bastro
                    26531 fresno dr
                    mission viejo, CA 92691



                    Ronaldo Castro
                    9502 N 15 AVE
                    126
                    PHOENIX, AZ 85021



                    Ronaldo Vicencio
                    10161 D ESTE DR
                    ANAHEIM, CA 92804



                    Ronda Menifee
                    10155 BAMMEL N. HOUSTON RD.
                    507
                    HOUSTON, TX 77086



                    RONDA PATANE
                    4647 DEMARET DR
                    SANTA CLARA, CA 95054



                    Rondeson Gustave
                    1012 NW 7th Street
                    Boynton Beach, FL 33426



                    Ronel Gutierrez
                    20144 Tuba St
                    Chatsworth, CA 91311
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1783 of
                                      2164



                    Roneshea Johnson
                    604 64TH AVE W
                    BRADENTON, FL 34207



                    Ronghe Chen
                    1050 Kiely Blvd Unit 3133
                    SANTA CLARA, CA 95055



                    Roni Romero
                    622 20TH LN E
                    PALMETTO, FL 34221



                    Ronitta hewing
                    1325 MILLER AVE
                    NA
                    LAS VEGAS, NV 89106



                    Ronni Kurzion
                    1697 COLUMBIA DRIVE
                    MOUNTAIN VIEW, CA 94040



                    Ronnie Joseph
                    1102 3 22ct
                    Hollywood, FL 33020



                    Ronnie Swift
                    14400 NEWPORT AVE
                    84
                    TUSTIN, CA 92780



                    Ronnie Weis
                    6210 SW POMONA ST.
                    B27
                    PORTLAND, OR 97219



                    Ronnie Yaacoub
                    2542 NW 22ND AE
                    CAMAS, WA 98607
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1784 of
                                      2164



                    Rony Ramirez
                    10233 MISSION GORGE RD
                    I206
                    SANTEE, CA 92071



                    ROOFCONNECT LOGISTICS INC
                    PO BOX 908
                    SHERIDAN, AR 72150



                    Rosa Alvarez
                    5902 University Ave
                    #1
                    San Diego, CA 92115



                    Rosa Arroyo
                    227 E. 49st
                    #7
                    Long Beach, CA 90805



                    Rosa Baltazar
                    15210 Los Robles Ave.
                    Hacienda Heights, CA 91745



                    rosa Bautista
                    3899 CAPE ROYAL ST
                    LAS VEGAS, NV 89147



                    Rosa Calderon
                    8321 Cypress Lake Dr
                    Fort Myers, FL 33919



                    Rosa Calderon
                    11735 N 19TH AVE
                    22
                    PHOENIX, AZ 85029



                    Rosa Castaneda
                    4326 SIERRA VISTA DR.
                    CHINO HILLS, CA 91709
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                    Rosa Castro
                    1255 CHALK ROCK DR
                    HOUSTON, TX 77067



                    Rosa Chaparro
                    1035 W. 1ST STREET
                    208
                    TEMPE, AZ 85281



                    Rosa Clark
                    1731 BIRCHWOOD CIR
                    #2
                    LEESBURG, FL 34748



                    ROSA CORDOVA




                    Rosa Flores
                    2371 Ventura Bl
                    #41
                    Oxnard, CA 93036



                    ROSA FLORES
                    2371 VENTURA BL #41
                    OXNARD, CA 93036



                    Rosa Fuentes
                    1204 N.escondido Blvd
                    Apt B37
                    Escondido, CA 92026



                    Rosa Garcia
                    2901 Old Majestic St
                    Las Vegas, NV 89108



                    Rosa Garcia
                    1228 CORTES DR
                    4
                    SUNNYVALE, CA 94086
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                    Rosa Gomez
                    2942 CROOKED CREEK DR
                    DIAMOND BAR, CA 91765



                    Rosa Gonzalez
                    10700 E DARTMOUTH AVE.
                    DD302
                    DENVER, CO 80014



                    Rosa Gonzalez
                    4781 Plamde Nova Ln
                    Fort Myers, FL 33905



                    Rosa Lawson
                    29026 Elm Wood
                    Shenandoah, TX 77381



                    Rosa Lazo
                    5488 MINDEN ST
                    HOUSTON, TX 77026



                    Rosa Luviano
                    1949 E Michigan Ave
                    Phoenix, AZ 85022



                    Rosa Manriquez
                    6970-F GREGORICH DR.
                    SAN JOSE, CA 95138



                    Rosa Martinez
                    13400 ELSWORTH ST
                    305
                    MORENO VALLEY, CA 92553



                    ROSA MARTINEZ VALEZQUEZ
                    3017 W PARK ROW BLVD
                    CORSICANA, TX 75110
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                    Rosa Mendez
                    11700 Reedy Creek Drive
                    Apt. 108
                    Orlando, FL 32836



                    Rosa Mendoza
                    1210 W St Andrew
                    Santa Ana, CA 92707



                    Rosa Meza Lopez
                    341 E VOGEL
                    1
                    PHOENIX, AZ 85020



                    Rosa Moreno
                    15112 VALI HAI
                    POWAY, CA 92064



                    Rosa Navarro
                    245 JUNCTION AVE
                    LIVERMORE, CA 94551



                    Rosa Nieves-Johnson
                    385 N 26TH ST APT 14
                    SAN JOSE, CA 95116



                    Rosa Nunez
                    Invalid Address
                    4136 Iowa St.
                    San Diego, CA 92104



                    ROSA NUNEZ
                    4136 IOWA ST
                    SAN DIEGO, CA 92104



                    Rosa Portillo
                    4300 W 167th St
                    5
                    Lawndale, CA 90260
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                    Rosa Rodriguez
                    41879 Skywood Dr
                    Temecula, CA 92591



                    Rosa Romero
                    325 W.7th Street
                    Perris, CA 92571



                    Rosa Sanchez
                    4151 Tiberon Dr
                    Oceanside, CA 92056



                    Rosa Schoster
                    6103 Forest Ridge Way
                    Winter Haven, FL 33881



                    Rosa Teran
                    7293 W. Desert Cove
                    #90
                    Peoria, AZ 85345



                    Rosa Thompson
                    4955 WALDEN CIR
                    ORLANDO, FL 32811



                    Rosa Tolentino Cruz
                    643 Magnolia Ave
                    Carlsbad, CA 92008



                    Rosa Toto lopez
                    2027 PUERTO LIMN CT
                    SAN JOSE, CA 95116



                    Rosa Vasquez
                    2814 E KATHLEEN RD
                    103
                    PHOENIX, AZ 85032
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                    Rosa Velasquez
                    6643 Kelly St
                    San Diego, CA 92111



                    Rosaalba Hernandez
                    9071 Dallas St. Apt. A1
                    La Mesa, CA 91942



                    Rosalba Duran
                    2442 E TRYON AVE
                    ANAHEIM, CA 92806



                    Rosalba Elizarraraz
                    3575 J ST
                    SAN DIEGO, CA 92102



                    Rosalba Feria
                    1001 Seaside Daisy Ct
                    Henderson, NV 89074



                    Rosalia Arias
                    12914 CAMPBELL LANE
                    LARGO, FL 33774



                    Rosalia Napoles
                    2750 MALL DR
                    123
                    SARASOTA, FL 34231



                    Rosalia Negron
                    1514 CREEKBEND DR.
                    BRANDON, FL 33510



                    Rosalina Poeung
                    1241 POPLAR DR
                    OAKLEY, CA 94561
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1790 of
                                      2164



                    Rosalinda Castro
                    1255 CHALK ROCK DR
                    HOUSTON, TX 77067



                    Rosalinda Delgadillo
                    1050 Lexington Ave
                    #3
                    El Cajon, CA 92020



                    Rosalinda Medeles
                    19232 Stillmore St
                    Canyon Country, CA 91351



                    Rosalinda Rosario
                    10623 CLOUDVIE DRIVE
                    ORLANDO, FL 32825



                    Rosalio Bocanegra
                    14261 SHADY BROOK DR
                    TUSTIN, CA 92780



                    Rosangela Collado
                    432 Dominguez way
                    Apt# 9
                    El Cajon, CA 92021



                    Rosanne Bialecki-Zakrzewski
                    5379 LYONS RD
                    180
                    COCONUT CREEK, FL 33073



                    Rosario Bautista
                    39867 Fremont Blvd
                    # 804
                    Fremont, CA 94538
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1791 of
                                      2164



                    Rosario Garcia
                    6803 Embarcadero Lane
                    #240
                    Carlsbad, CA 92011



                    Rosario Garcia
                    9340 FOOTHILL BLVD SPC 18
                    RANCHO CUCAMONGA, CA 91730



                    Rosario Gonzalez
                    2501 EL DORADO AVE
                    OXNARD, CA 93033



                    Rosario Meza
                    710 E San Ysidro Blvd
                    #846
                    San Ysidro, CA 92173



                    Rosaura Castro
                    32460 LAKE TEMESCAL
                    FREMONT, CA 94555



                    ROSAURA CORRALES
                    2888 IRIS AVE #73
                    SAN DIEGO, CA 92154



                    Rosavelia Lozano
                    6720 N. Habana Ave
                    Tampa, FL 33614



                    Rose Bababet
                    3535 GLEN AVE
                    224
                    CARLSBAD, CA 92010



                    Rose Gilet
                    1410 S 29th Ave
                    Hollywood, FL 33020
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                                      2164



                    Rose Lamy
                    8381 Nw 27th Pl
                    Sunrise, FL 33322



                    Rose Marceau
                    727 Alden St E
                    Lehigh Acres, FL 33974



                    Rose Mary De La Rosa
                    1803 ECHO PARK AVE
                    LOS ANGELES, CA 90026



                    ROSE PAVING COMPANY
                    7300 W 100TH PLACE
                    BRIDGEVIEW, IL 60455



                    Rosealia Boudreau
                    9079 ITHACA WAY
                    WESTMINSTER, CO 80031



                    Roseanne Lara
                    2401 W. LA VERNE AVE.
                    SANTA ANA, CA 92704



                    Roselene Filosier
                    720 NE 30TH CT
                    POMPANO BEACH, FL 33064



                    Roselene Joseph
                    4130 Nw 21st Ave
                    Apt H201
                    Fort Lauderdale, FL 33309



                    ROSELIA DIAZ
                    7008 PARLIAMENT DR
                    TAMPA, FL 33619
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                    Roseline Saint-Fleur
                    2900 NW 56 Ave
                    D201
                    LAUDERHILL, FL 33313



                    Roseline Selphin
                    371 Ne 31st
                    Pompano Beach, FL 33064



                    Roselore Estimecene
                    110 Nw 13th Ave
                    Delray Beach, FL 33444



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                    GERIANNE FERRER
                    11 SUNSET WAY
                    HENDERSON, NV 89014



                    Rosemarie Mendiola Peretto
                    4286 Palm Avenue
                    Unit 107
                    Bonita, CA 92154



                    Rosemary Delacruz
                    1728PATRICK PL
                    B
                    ALBUQUERQUE, NM 87107



                    Rosemary Dinkha
                    440 TILLING WAY
                    EL CAJON, CA 92020



                    ROSEMARY LUGO
                    2735 CONNETICUT AVE
                    STOCKTON, CA 95206



                    Rosemonde Joseph
                    301 NE 30th court
                    Pompano Beach, FL 33064
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                    ROSEN JCC
                    11184 S APOPKA VINELAND RD
                    ORLANDO, FL 32836



                    Rosenda Ramirez
                    3661 SW 45TH AVE
                    D
                    OCALA, FL 34474



                    Rosendo Leon-Quintero
                    7051 NIAGARA ST
                    COMMERCE CITY, CO 80022



                    Rosendo Rios
                    1119 W. Mission Ln.
                    Phoenix, AZ 85021



                    Rosetta Bain
                    1798 Nw 55th Ave
                    Apt 202
                    Lauderhill, FL 33313



                    ROSEWOOD AVENUE ELEMENTARY
                    503 N CROFT
                    WEST HOLLYWOOD, CA 90048



                    Roshelle Valdez
                    7950 CALICO STREET
                    SAN DIEGO, CA 92126



                    ROSIE JACKSON
                    1040 N 100 E
                    MONROE, UT 84754



                    Rosilyn Rosillo
                    677 Arbour Way
                    Suwannee, GA 30043
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                    Rosina
                    PO BOX 74008147
                    CHICAGO, IL 60674-8147



                    ROSINA FOOD PRODUCTS INC
                    PO BOX 74008147
                    CHICAGO, IL 60674-8147



                    Rosina Food Products, Inc.
                    Po Box 74008147
                    Chicago, IL 60674-8147



                    Rosio Lopez
                    12230 Pacific Ave
                    #5
                    Los Angeles, CA 90066



                    Rosmary Canizalez
                    4725 CASON COVE DR
                    1402
                    ORLANDO, FL 32811



                    Rosstin Cook
                    2004 Badger Glen
                    Escondido, CA 92029



                    Rosstin W. Cook
                    2004 Badger Glen
                    Escondido, CA 92029



                    Roswita Wirgho
                    110 N San Marino Ave
                    LOS ANGELES, CA 91107



                    ROTH BROS INC
                    3847 CRUM ROAD
                    YOUNGSTOWN, OH 44515
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                    Rothana Pho
                    10131 Larson Ave.
                    Garden Grove, CA 92843



                    ROTO-ROOTER
                    PO BOX 101592
                    CAPE CORAL, FL 33904



                    ROUBIN ASSOCIATES LLC
                    8550 LEE HIGHWAY STE 700
                    FAIRFAX, VA 22031



                    ROUBIN ASSOCIATES LLC
                    8550 LEE HIGHWAY STE 700
                    FAIRFAX
                    VA, 22031



                    Roubin Associates, LLC
                    8550 Lee Hwy
                    Ste. 700
                    Fairfax, VA 22031



                    Rouby blanc
                    944 GRAND CAYMAN CT
                    ORLANDO, FL 32835



                    Rouseah Vargas
                    10810 109th Way
                    Largo, FL 33778



                    ROVERS RETREAT DOG RESCUE
                    3639 MIDWAY DR #B358
                    SAN DIEGO, CA 92110



                    ROWE PTA
                    3606 SE LAKE RD
                    MILWAUKIE, OR 97222
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1797 of
                                      2164



                    ROWE PTA
                    3606 SE LAKE RD
                    MILWAUKIE
                    OR, 97222



                    Rowena Filoteo
                    2010 BAHIA DRIVE
                    OXNARD, CA 93036



                    Rowena L. Filoteo
                    2010 BAHIA DRIVE
                    OXNARD, CA 93036



                    Rowena Rivera
                    5427 Nomad Lane
                    Chino Hills, CA 91709



                    ROWLAND ASB
                    1833 NOGALES ST
                    C/O JONATHAN HWANG
                    ROWLAND HEIGHTS, CA 91748



                    ROWLAND ASB
                    1833 NOGALES ST
                    C/O JONATHAN HWANG
                    ROWLAND HEIGHTS
                    CA, 91748



                    ROWLAND WATER DISTRICT
                    PO BOX 513225
                    LOS ANGELES, CA 90051-3325



                    Roxana Marquez
                    4401 LETOLAKES BLVD APT 206
                    TAMPA, FL 33614



                    ROXANA PALMA
                    1205 N CAHUENGA BLVD #2
                    LOS ANGELES, CA 90038
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1798 of
                                      2164



                    Roxana Salcedo
                    6927 Villa De Costa Dr
                    Apt.301
                    Orlando, FL 32821



                    Roxann Gutierrez
                    2923 N FISHER ST
                    FRESNO, CA 93703



                    Roxanne Sias
                    7081 N. Northlight Dr.
                    TUCSON, AZ 85741



                    Roy Acevedo
                    4091 S BOSTON ST
                    DENVER, CO 80237



                    roy davis
                    2701 N DIXIE HWY
                    WESTPALMBEACH, FL 33407



                    Roy Garcia
                    4637 34TH ST
                    216
                    SAN DIEGO, CA 92116



                    ROY SANCHEZ
                    15806 LANDMARK DR APT 7
                    WHITTIER, CA 90604



                    Roy Wren
                    8023 S EVERETT COURT
                    LITTLETON, CO 80128



                    ROY YIUN
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1799 of
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                    ROYAL COMMERCIAL EQUIP LTD
                    9525 NE COLFAX ST
                    PORTLAND, OR 97220



                    ROYAL FLUSH PLUMBING INC
                    2330 HEWATT RD
                    SNELLVILLE, GA 30039



                    Royvi Calderon
                    1441 MARJORIE AVE
                    ESCONDIDO, CA 92027



                    Roza Dakova
                    2380 Cardinal Drive
                    apt#4
                    San Diego, CA 92123



                    Rozeane Hunter
                    321 NE 13TH AVE
                    BOYNTON BEACH, FL 33435



                    RRAM SERVICES
                    160 DRY CREEK ROAD
                    SEDONA, AZ 86336



                    RSD PTA 5TH GRADE COMMITTEE
                    12151 CALLE ALBARA
                    EL CAJON, CA 92019



                    RSL AZ SOUTH 01 GIRLS SCHORR
                    14420 S 8TH ST
                    PHOENIX, AZ 85048



                    RUBBERMAID INC
                    75 REMITTANCE DR STE 1167
                    CHICAGO, IL 60675-1167
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1800 of
                                      2164



                    Ruben Astudillo Leon
                    185 WATERFALL WAY
                    102
                    ALTAMONTE SPRINGS, FL 32714



                    Ruben Banuelos
                    13815 FENTON AVENUE
                    SYLMAR, CA 91342



                    Ruben Carmona
                    20637 PARTHENIA
                    WINNETKA, CA 91306



                    Ruben Chacon
                    HALEN AVE
                    APT. 2
                    SUNNYVALE, CA 94086



                    Ruben De Leon
                    3312 COWLEY WAY #3
                    SAN DIEGO, CA 92117



                    Ruben Garcia
                    279 DOUGLAS DR
                    221
                    OCEANSIDE, CA 92058



                    Ruben Hernandez
                    1740 GALEWOOD CT
                    SAN JOSE, CA 95133



                    Ruben Huezo Ortiz
                    73 HAYES AVE
                    SAN JOSE, CA 95123



                    Ruben Limon-prado
                    200 FORD RD SPC.125
                    SAN JOSE, CA 95138
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                                      2164



                    Ruben Lizarde
                    15210 ASHWOOD LN.
                    CHINOHILLS, CA 91709



                    Ruben Luna
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                    Altamonte Springs, FL 32714



                    Ruben Luna Maldonado
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                    PHOENIX, AZ 85051



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                    Apt 120
                    Westminster, CO 80031



                    Ruben Moses
                    14634 DAHLIA RIDGE
                    SANTA CLARITA, CA 91387



                    Ruben Perez
                    1005 W 2ND ST
                    SANTA ANA, CA 92703



                    Ruben Solano
                    8252 CALIFORNIA STREET
                    H
                    BUENA PARK, CA 90621



                    Ruben Valdovinos
                    535 E. Indian Rock Rd
                    Vista, CA 92084



                    Ruben Vergara
                    38606 Sanborn Terrace
                    Fremont, CA 94536
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                    Rubi Zamora
                    1021 E.Lexington Ave.
                    #9
                    El Cajon, CA 92020



                    Rubicelia Arredondo Santoyo
                    1655 E SOUTHERN AVE
                    69
                    TEMPE, AZ 85282



                    Rubidia Serrano Santos
                    1530 WEST 82ND STREET
                    LOS ANGELES, CA 90047



                    Rubiel De La Rosa
                    5149 REEDER CIRCLE
                    LAS VEGAS, NV 89119



                    Ruby Alvarez
                    6302 Comstock Ave
                    Apt C
                    Whittier, CA 90601



                    RUBY ALVAREZ
                    9302 COMSTOCK AVE APT C
                    WHITTIER, CA 90601



                    Ruby Bolton
                    697 NW RUBUS LN
                    HILLSBORO, OR 97124



                    Ruby Gomez
                    520 WINCHESTER DR
                    E201
                    OXNARD, CA 93030



                    Ruby Saldana
                    205 TURF DRIVE
                    PLACENTIA, CA 92870
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1803 of
                                      2164



                    Ruby Sanchez
                    1483 Judson Way
                    Chula Vista, CA 91911



                    Ruby Tejeda Galvan
                    203 CHARITY
                    SAN JOSE, CA 95116



                    Ruby Telles
                    7 PEACOCK PL
                    LAKE OSWEGO, OR 97035



                    Ruddy Cerrato
                    1901 SOUTH 2ND STREET
                    ALHAMBRA, CA 91801



                    Rudo Carpenter
                    1523 ROSWELL RD
                    503
                    MARIETTA, GA 30062



                    Rudolfo Herrera
                    507 N OLIVE STREET
                    ANAHEIM, CA 92805



                    RUDOLPH AVILA
                    6 MARIN RD
                    FARIFAX, CA 94930



                    RUDY EXELROD ZIEFF & LOWE LLP
                    351 CALIFORNIA ST STE 700
                    SAN FRANCISCO, CA 94104



                    Rudy Lopez
                    9202 n 19 ave apt
                    235
                    PHOENIX, AZ 85021
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                                      2164



                    Rudy Trujillo
                    9189 GALE BLVD
                    2131
                    THORNTON, CO 80260



                    Rufael Zeleke
                    1174 ROYAL CREST DR.
                    SAN JOSE, CA 95131



                    Rufino Hernandez Perez
                    1942 COULCREST
                    HOUSTON, TX 77055



                    RUPRECHT COMPANY
                    1301 ALLANSON ROAD
                    MUNOLELEIN, IL 60060



                    Ruquaiyah Takhtawala
                    1930 BOLANOS AVE
                    ROWLAND HEIGHTS, CA 91748



                    Rusaun Citizen
                    14004 DOTY AVE
                    APT 106
                    HAWTHORNE, CA 90250



                    RUSH 03 GIRLS
                    242 LYNWOOD DR SE
                    RIO RANCHO, NM 87124



                    RUSH 03 GIRLS
                    242 LYNWOOD DR SE
                    RIO RANCHO
                    NM, 87124



                    Russel plumlee
                    14155 S BEAVERCREEK RD
                    238
                    OREGON CITY, OR 97045
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1805 of
                                      2164



                    Russell Bradford
                    632 e 97th st
                    apt 4
                    Inglewood, CA 90301



                    Russell cross
                    2312 LANE AVE
                    FORT MYERS, FL 33901



                    Russell Hurn
                    1281 GRAY ROCK DR
                    MARIETTA, GA 30066



                    Russell Miller
                    1831 ARDITH DRIVE
                    PLEASANT HILL, CA 94523



                    RUSSELL VANMEER
                    2307 S MCCLINTOCK DR
                    #1
                    TEMPE, AZ 85282



                    Russell Zayas
                    11415 HALLWOOD DR
                    EL MONTE, CA 91732



                    Rustum Rafols
                    27662
                    8105
                    ALISO VIEJO, CA 92656



                    Ruth Bien-aime Milcent
                    5976 ITHACA CIR WEST
                    LAKE WORTH, FL 33463



                    Ruth E. Torres
                    55 PACIFICA AVENUE
                    78
                    BAY POINT, CA 94565
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                    Ruth Espinoza
                    411 W Santa Ana Ave #3
                    CLOVIS, CA 93612



                    Ruth Ilory-jean
                    601 NE 37 TH ST
                    Pompano Beach, FL 33064



                    RUTH KANTROWITZ
                    10419 N RIVER LAKE DR
                    MEQUON, WI 53092



                    Ruth Larios
                    10051 Aidgate Ave
                    Garden Grove, CA 92840



                    Ruth Prince
                    2559 W OAK RIDGE ROAD
                    704B
                    ORLANDO, FL 32809



                    Ruth Sanchez
                    18416 N 16TH AVE
                    PHOENIX, AZ 85023



                    Ruth Torres
                    55 PACIFICA AVENUE
                    78
                    BAY POINT, CA 94565



                    Ruven Valencia
                    1055 E EVELYN AVE
                    10
                    SUNNYVALE, CA 94086



                    Ruvicela Pulido
                    2871 Janae Way
                    Hemet, CA 92545
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1807 of
                                      2164



                    Ryan Bergstrom
                    1601 Nw 136th St
                    Vancouver, WA 98685



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                    1290 S POTOMAC ST
                    AURORA, CO 80012



                    Ryan boggess
                    123 FAIRPLAY AVE
                    BROOMFIELD, CO 80020



                    Ryan Boynton
                    2444 Grove View Ln
                    Palm Harbor, FL 34683



                    Ryan Bullock
                    10869 ZINFANDEL STREET
                    ALTA LOMA, CA 91737



                    Ryan Centeno
                    1050 S LONGMORE
                    365
                    MESA, AZ 85202



                    Ryan Chu
                    79535 DANDELION DR
                    LA QUINTA, CA 92253



                    Ryan Coates
                    10201 MASON AVE
                    74
                    CHATSWORTH, CA 91311



                    Ryan Gillard
                    10474 Cheriot Ct
                    San Diego, CA 92126
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1808 of
                                      2164



                    Ryan Gordon
                    1051 Lee Rd
                    24A
                    Orlando, FL 32810



                    Ryan Gray
                    9382 W ARBOR PL
                    LITTLETON, CO 80123



                    Ryan Griffin
                    6266 W JEFFERSON AVE
                    DENVER, CO 80235



                    Ryan Guerra
                    2500 PRIMERO DRIVE
                    KISSIMMEE, FL 34746



                    Ryan Guerrero
                    5795 PICASSO DR.
                    YORBA LINDA, CA 92997



                    Ryan Hargrove
                    2115 QUAIL VALLEY EAST
                    MISSOURI CITY, TX 77459



                    Ryan Hayes
                    1738 S Mobile St
                    Aurora, CO 80017



                    Ryan Hernandez
                    1808 S VEGA ST
                    ALHAMBRA, CA 91801



                    Ryan Lefever
                    17517 CAMINITO CANASTO
                    SAN DIEGO, CA 92127
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                                      2164



                    Ryan Legaspi
                    5625 SANTA ANITA AVE
                    213
                    TEMPLE CITY, CA 91780



                    Ryan Lozada
                    1250 7TH STREET
                    WEST PALM BEACH, FL 33401



                    Ryan luke
                    18314 SE ABERNETHY LN
                    APT B
                    PORTLAND, OR 97267



                    Ryan Miller
                    1851
                    Lotus Ct
                    Carlsbad, CA 92011



                    Ryan Nguyen
                    10601 VANALDEN AVE
                    PORTER RANCH, CA 91326



                    Ryan Palmer
                    2626 Joann Drive
                    Oceanside, CA 92056



                    Ryan Piekarz
                    4313 LANARK AVE
                    NORTH PORT, FL 34286



                    Ryan Pilkington
                    909 S Knott Ave.
                    Anaheim, CA 92804



                    Ryan Powers
                    3512 Rio Robles Dr
                    Unit D
                    North LAS VEGAS, NV 89030
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                                      2164



                    RYAN PTA
                    5851 W 118TH CIRCLE
                    WESTMINSTER, CO 80020



                    Ryan Salter
                    2365 FULTON STREET
                    AURORA, CO 80010



                    Ryan Silva
                    369 MEADOW CT
                    BREA, CA 92821



                    Ryan Steber
                    3491 TUCKS ROAD
                    BOYNTON BEACH, FL 33436



                    Ryan Van Zeben
                    2859 E BART ST
                    GILBERT, AZ 85295



                    Ryan Vargas
                    6739 GIANT OAK LANE
                    LOCKHART, FL 32810



                    Ryan Viohl
                    400 SUMMER WINDS DR SE
                    RIO RANCHO, NM 87124



                    Ryan Wertepny
                    1385 HARBOUR TOWN PL
                    CHULA VISTA, CA 91915



                    RYAN WHEELER
                    5850 Sky pointe dr
                    1008
                    las vegas, NV 89130
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                                      2164



                    Ryan Yates
                    2447 ELKINS WAY
                    SAN JOSE, CA 95121



                    RYANS PRESSURE WASHING INC
                    PO BOX 152603
                    CAPE CORAL, FL 33915



                    RYANS PRESSURE WASHING INC
                    PO BOX 152603
                    CAPE CORAL
                    FL, 33915



                    Ryder
                    PO BOX 402366
                    ATLANTA, GA 30384-2366



                    Ryder Lundquist
                    26 LANCEA PLACE
                    TUSTIN, CA 92782



                    RYDER TRUCK RENTAL INC
                    PO BOX 402366
                    ATLANTA, GA 30384-2366



                    RYDER TRUCK RENTAL INC
                    LOCKBOX FILE 56347
                    Los Angeles, CA 90074-6347



                    RYDER TRUCK RENTAL INC
                    PO BOX 96723
                    CHICAGO, IL 60693



                    RYDER TRUCK RENTAL INC
                    PO BOX 402366
                    ATLANTA
                    GA, 30384-2366
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                    Ryder Truck Rental Inc.
                    Po Box 402366
                    Atlanta, GA 30384-2366



                    Ryder Truck Rental Inc.
                    LockBox File 56347
                    Los Angeles, CA 90074-6347



                    Ryder Truck Rental Inc.
                    Po Box 402366
                    Atlanta
                    GA, 30384-2366



                    Rydesmart




                    Rylee Marcotte
                    21243 BOTTLETREE LANE
                    201
                    SANTA CLARITA, CA 91354



                    S&S BAKERY
                    2545 BRITANNIA BLVD
                    SAN DIEGO, CA 92154



                    S.C. DEPARTMENT OF REVENUE
                    WITHHOLDING TAX
                    COLUMBIA, SC 00029-2144



                    SA ANASTASIA LLC
                    4030 BIRCH STREET STE 100
                    NEWPORT BEACH, CA 92660



                    Saad Abukhzam
                    5360 Oak Park Lane
                    #179
                    Oak Park, CA 91377
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1813 of
                                      2164



                    SAAD SHAMOON
                    933 PEACH AVE APT 25
                    EL CAJON, CA 92021



                    Sabas Delacruz
                    200 STARCREST DR #98
                    Clearwater, FL 33765



                    Sabas Rocha
                    15560 TUSTIN VILLAGE WAY
                    81
                    TUSTIN, CA 92780



                    Sabastian Mattei
                    508 BRISTOL DRIVE
                    ALTAMONTE SPRINGS, FL 32714



                    Sabina Rocha
                    4035 CHAMOUNE AVE
                    SAN DIEGO, CA 92105



                    Sabine El-Hajj
                    17263 SE BLACKBURN ST
                    DAMASCUS, OR 97089



                    Sabrina Barnett
                    4206 PECOS RIVER DR
                    SPRING, TX 77386



                    SABRINA CASTRO
                    32594 SPUN COTTON DR
                    WINCHESTER, CA 92596



                    Sabrina Estrada
                    13820 S 44TH STREET
                    1265
                    PHOENIX, AZ 85044
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                    Sabrina Garcia
                    10922 CARMENITA RD.
                    WHITTIER, CA 90605



                    Sabrina Griswold
                    5460 Rosetta Lane
                    Chino Hills, CA 91709



                    Sabrina Jordan
                    5354 Park Place Circle
                    Boca Raton, FL 33486



                    Sabrina Maiava
                    8182 7TH ST
                    APT 14
                    BUENA PARK, CA 90621



                    Sabrina N. Maiava
                    8182 7TH ST
                    APT 14
                    BUENA PARK, CA 90621



                    Sabrina Nava
                    7163 Calero Hills Ct.
                    San Jose, CA 95111



                    Sabrina Nhun
                    14111 NE 74TH ST
                    VANCOUVER, WA 98682



                    Sabrina Pacheco
                    8000 W CRESTLINE AVE
                    226
                    LITTLETON, CO 80123



                    Sabrina Padilla
                    7170 S. PLATTE CANYON RD
                    LITTLETON, CO 80128
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1815 of
                                      2164



                    Sabrina Rhodes
                    20041 OSTERMAN RD
                    APT E7
                    LAKE FOREST, CA 92630



                    Sabrina Saintoiry
                    657 CRANE DRIVE
                    KISSIMMEE, FL 34759



                    Sabrina Soto
                    1647 Primera St
                    Lemon Grove, CA 91945



                    Sabrina Torres
                    7806 Sierra Ave
                    Apt 523
                    Fontana, CA 92336



                    Sabrina Vega
                    13526 Longfellow Ln
                    San Diego, CA 92129



                    Sabrina Vixamar




                    Sabrina Wooldridge
                    9139 Danube Lane
                    San Diego, CA 92126



                    SACBC TROOP 20
                    32975 ALVARADO NILES ROAD
                    UNION CITY, CA 94587



                    SACRED HEART SCHOOL
                    625 W KETTERING ST
                    LANCASTER, CA 93534
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                    SADA SYSTEMS INC
                    5250 LANKERSHIM BLVD #620
                    NORTH HOLLYWOOD, CA 91601



                    Sadaf Fana
                    4338 SOLANO WAY
                    UNION CITY, CA 94587



                    Sadia Tanzum
                    3938 SOUTH SHADE AVENUE
                    SARASOTA, FL 34231



                    Sadie Davis
                    7345 PINE HILLS WAY
                    LITTLETON, CO 80125



                    SADLER ROOFING INC
                    2369 N BATAVIA ST
                    ORANGE, CA 92865



                    Sadrack Gelumer
                    2828 LEON AVENUE
                    SARASOTA, FL 34234



                    Saeed Manuel
                    1287 S. RIDGELEY DR.
                    LOS ANGELES, CA 90019



                    Saeed Montoya
                    1984 Eadbury Ave
                    Rowland Heights, CA 91748



                    SAF-GARD SAFETY SHOE CO
                    PO BOX 10379
                    GREENSBORO, NC 27404
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                    SAF-GARD SAFETY SHOE CO
                    PO BOX 10379
                    GREENSBORO
                    NC, 27404



                    Safa Albahadl
                    13000 ROMA AVE
                    ALBUQUERQUE, NM 87123



                    SAFE & SECURE
                    LOCKSMITH SERVICE
                    26019 JEFFERSON AVE STE F
                    TEMECULA, CA 92562



                    SAFEGUARD BUSINESS SYSTEMS INC
                    PO BOX 645624
                    CINCINNATI, OH 45264-5624



                    SAGE ACADEMY CHARTER SCHOOL
                    10220 N 25TH AVE
                    PHOENIX, AZ 85021



                    Sage Glaster
                    847 MAINSAIL CT
                    HENDERSON, NV 89002



                    Sage Guillen
                    1200 S HIGHLAND AVE
                    APT 61
                    FULLERTON, CA 92832



                    Sage Lerch
                    4281 MEADOW WAY
                    MARIETTA, GA 30066



                    Sagenet
                    PO BOX 843553
                    KANSAS CITY, MO 64184-3553
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1818 of
                                      2164



                    Sagenet LLC
                    PO Box 843553
                    Kansas City, MO 64184-3553



                    Sagrario Garcia
                    907 W.17TH ST
                    209
                    LOS ANGELES, CA 90015



                    SAGUARO #48 OES
                    6738 E TOPKE STREET
                    TUCSON, AZ 85715



                    SAGUARO #48 OES
                    6738 E TOPKE STREET
                    TUCSON
                    AZ, 85715



                    Sahil Modi
                    3709 E DONALD DR.
                    PHOENIX, AZ 85050



                    Sahra Sayed
                    1269 HAMAL
                    1269
                    IRVINE, CA 92618



                    SAHUARO HIGH SCHOOL CROSS COUNTRY TEAM
                    9310 E HOLMES ST
                    TUCSON, AZ 85710



                    Saida Hassan
                    12681 EL CAMINO REAL
                    UNIT 1
                    SAN DIEGO, CA 92130



                    Saif Ghani
                    18574 LOCKSLEY STREET
                    SAN DIEGO, CA 92128
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1819 of
                                      2164



                    Sain Petiote
                    2835 Jackson St
                    Fort Myers, FL 33901



                    Saint Jean Pierrilus
                    604 NE 1ST AVE
                    POMPANO BEACH, FL 33060



                    SAINT JUDE CATHOLIC SCHOOL
                    21689 TOLEDO RD
                    BOCA RATON, FL 33433



                    SAINT JUDE CATHOLIC SCHOOL
                    21689 TOLEDO RD
                    BOCA RATON
                    FL, 33433



                    Saintamise Deshommes
                    4829 CEDAR VIEW RD
                    ORLANDO, FL 32808



                    SAKAMOTO PTO
                    6280 SHADELANDS DR
                    SCHOOL DINING 4 DOLLARS
                    SAN JOSE, CA 95123



                    Saket Arora
                    3917 LAGO DI GRATA CIR.
                    SAN DIEGO, CA 92130



                    Sakkapas Nukulkarn
                    2400 SHADY WILLOW LANE
                    7F
                    BRENTWOOD, CA 94513



                    SAKKAPAS NUKULKARN
                    2400 SHADY WILLOW LANE 7 F
                    BRENTWOOD, CA 94513
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                                      2164



                    Saleena Cabarloc
                    13001 BROWN AVE
                    SAN JOSE, CA 95111



                    SALEM CITY INCOME TAX
                    231 S. BROADWAY AVENUE
                    SALEM, OH 00044-4600



                    Salia Eldridge
                    808 FULTON ST.
                    AURORA, CO 80010



                    Salina Garza
                    8770 NORWICH ST
                    WESTMINSTER, CO 80031



                    SALLY MERCADO
                    1921 SAGE COURT APT C
                    MODESTO, CA 92105



                    Salma Rivera Tapia
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                    Escondido, CA 92033



                    SALSABIL EMDAD
                    301 SOUTH IDAHO STREET
                    #5
                    LA HABRA, CA 90631



                    SALT RIVER PIMA-MARICOPA
                    COMMUNITY REGULATORY AGENCY
                    8840 E. CHAPARRAL ROAD, #165
                    SCOTTSDALE, AZ 85250
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                                      2164



                    SALT RIVER PIMA-MARICOPA
                    INDIAN COMMUNITY
                    PO BOX 29844
                    PHOENIX, AZ 85038-9844



                    SALT RIVER PIMA-MARICOPA
                    10005 E OSBORN ROAD
                    INDIAN COMMUNITY
                    SCOTTSDALE, AZ 85256-8722



                    SALT RIVER WILD HORSE MANAGEME
                    4610 N 68TH ST
                    SCOTTSDALE, AZ 85251



                    SALTWORKS INC
                    16240 WOODINVILLE-REDMOND RD N
                    WOODINVILLE, WA 98072



                    Salvador Barajas
                    14408 Chadron Ave
                    Hawthorne, CA 90250



                    Salvador Estrada
                    2050 RILEY COURT
                    31
                    CONCORD, CA 94520



                    Salvador Gutierrez
                    1923 N SPRING
                    APT 102
                    MESA, AZ 85203



                    Salvador Olmos
                    3546 Eugene St
                    Fremont, CA 94538



                    Salvador Osuna Diaz
                    6300 W Lake Mead2028
                    Las Vegas, NV 89108
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                                      2164



                    Salvador Ramirez
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                    Lakeside, CA 92040



                    Salvador salazar sanchez
                    1734 ANZA PL
                    ESCONDIDO, CA 92027



                    Salvador Sandigo
                    5619 PGA Blvd Apt. 1211
                    Orlando, FL 32839



                    Salvador Sandoval
                    4345 Ridgewood Dr.
                    Riverside, CA 92509



                    SALVATION ARMY HOME LEAGUE
                    PO BOX 6000
                    GLENDALE, AZ 85312



                    SALZER INDUSTRIES LLC
                    5113 PACIFIC HWY E #13
                    FIFE, WA 98424



                    Sam Grisham
                    9600 SW North Dakota St
                    Tigard, OR 97223



                    SAM H T CHEN FOUNDATION
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                    SUNNYVALE, CA 94087



                    Sam Wright
                    206 NE 126TH AVE
                    F64
                    VANCOUVER, WA 98684
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1823 of
                                      2164



                    Samahi Nava
                    1332 W 225ST
                    15
                    TORRANCE, CA 90501



                    Samantha Archey
                    4368 MOORE STREET
                    WHEAT RIDGE, CO 80033



                    Samantha Aspeytia
                    230 OXFORD ST
                    CHULA VISTA, CA 91911



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                    LEHIGH ACRES, FL 33973



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                    ANAHEIM, CA 92805



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                    MILWAUKIE, OR 97222



                    Samantha Blossom
                    1785 saltaire place
                    unit 30
                    San Diego, CA 92154



                    Samantha Cabindol
                    11454 W ST JOHN RD
                    SURPRISE, AZ 85378



                    Samantha Chavez
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                    #114
                    Upland, CA 91786
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1824 of
                                      2164



                    Samantha Chois
                    918 S WEBSTER AVE
                    APT 1
                    ANAHEIM, CA 92804



                    Samantha costello
                    860 W 132ND AVE
                    130
                    WESTMINSTER, CO 80234



                    Samantha Diaz
                    16500 ARVID ST.
                    LA PUENTE, CA 91744



                    Samantha Dilling
                    3053 KELLOGG CREEK RD
                    ACWORTH, GA 30102



                    Samantha Doroaml
                    19 MOON BEAM DR
                    19
                    MOUNTAIN VIEW, CA 94043



                    Samantha E. Aspeytia
                    230 OXFORD ST
                    CHULA VISTA, CA 91911



                    Samantha Eckenrode
                    1065 JODI RD
                    KISSIMMEE, FL 34747



                    Samantha Emerson
                    6965 E CALLE NEPTUNO
                    TUCSON, AZ 85710



                    Samantha Flores
                    404 W. Nevada St.
                    Ontario, CA 91762
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1825 of
                                      2164



                    Samantha Foley
                    2670 Flower Fields Way
                    Carlsbad, CA 92010



                    Samantha Fragulia
                    1132 Pecos Way
                    Sunnyvale, CA 94089



                    Samantha Fuentes
                    4203 W 154TH ST
                    LAWNDALE, CA 90260



                    Samantha Henson
                    5917 14TH ST W LOT 321
                    BRADENTON, FL 34207



                    Samantha Heyer
                    2498 E PARKVIEW DR
                    GILBERT, AZ 85295



                    Samantha Houghton
                    2480 APPALOOSA TRAIL
                    PALM HARBOR, FL 34685



                    Samantha Hurtado
                    1217 E WASHINGTON STREET
                    LONG BEACH, CA 90805



                    Samantha Ibarra
                    34052 DOHENY PARK RD
                    80
                    CAPISTRANO BEACH, CA 92624



                    Samantha Johnson
                    502 LAURIE LANE APT 1
                    LEESBURG, FL 34748
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1826 of
                                      2164



                    Samantha Keeney
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                    LITTLETON, CO 80123



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                    5062 JONES DR.
                    LEHIGH ACRES, FL 33973



                    Samantha L. Viveros
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                    11R
                    TUSTIN, CA 92780



                    Samantha Loaisiga
                    9810 HAMMOCKS BLVD
                    103
                    MIAMI, FL 33196



                    Samantha loaiza
                    825 DIAMOND DR
                    CHULA VISTA, CA 91911



                    Samantha Lopez
                    2800 W 91ST AVE
                    FEDERAL HEIGHTS, CO 80031



                    Samantha Lougheed
                    10482 SE 101ST CT
                    BELLEVIEW, FL 34420



                    Samantha McDonald
                    230 EAST DUNNE AVE
                    APT 912
                    MORGAN HILL, CA 95037



                    Samantha Miranda- De Leon
                    516 PERTH AVE.
                    LA PUENTE, CA 91744
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1827 of
                                      2164



                    Samantha Molina
                    9550 LONGPOINT RD
                    #169
                    HOUSTON, TX 77055



                    Samantha Palomino
                    17833 Nw 20 St
                    Pembroke Pines, FL 33029



                    Samantha Quaranta
                    626 ALCOTT AVE.
                    PLACENTIA, CA 92870



                    Samantha Richter
                    555 BOWERS BLVD
                    1028
                    HUNTSVILLE, TX 77340



                    Samantha Rivera
                    3627 E PINE AVE
                    FRESNO, CA 93703



                    Samantha Rodarte
                    SW 65TH AVE
                    54
                    TUALTIN, OR 97062



                    Samantha Rodriguez
                    5155 N Fresno St
                    #183
                    Fresno, CA 93710



                    Samantha Shockey
                    6614 OSCEOLA POLK LINE RD.
                    DAVENPORT, FL 33896



                    Samantha Smith
                    952 BURLINGTON AVE
                    VENTURA, CA 93004
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1828 of
                                      2164



                    Samantha Straily
                    501 E. CLUSTER AVE.
                    TAMPA, FL 33604



                    Samantha Viveros
                    15652 WILLIAMS ST.
                    11R
                    TUSTIN, CA 92780



                    SAMAR HAYAT
                    166 PAVILION PARK
                    IRVINE, CA 92618



                    Samara Carson
                    1087 JAEGER RD
                    SPRING VALLEY, CA 91977



                    Samara Marti
                    3506 MANGOTREE LANE
                    102B
                    TAMPA, FL 33631



                    SAMARITAN FUNERAL HOME
                    1505 E MCDOWELL ROAD
                    PHOENIX, AZ 85006



                    SAMARITANS PURSE
                    801 BAMBOO RD
                    PO BOX 3000
                    BOONE, NC 28607



                    Sameha Elamoudi
                    11901 BUTTERFIELD AVE
                    CHINO, CA 91710



                    Samer Perez
                    2553 Loretta Circle
                    Simi Valley, CA 93065
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1829 of
                                      2164



                    Sami Bisharat
                    1283 Jamacha Rd
                    El Cajon, CA 92019



                    Sami masoud
                    680 W SAM HOUSTON PKWY S
                    HOUSTON, TX 77042



                    Samir Jordan
                    5850 HOLLYWOOD BLVE
                    LOS ANGLE, CA 90028



                    Samira Hashimi
                    2140 Polynesia Circle
                    Henderson, NV 89074



                    SAMMY HUBER
                    10523 CAMINITO BAYWOOD
                    SAN DIEGO, CA 92126



                    Samuel Barba
                    25307 FEIJOA AVE
                    LOMITA, CA 90717



                    Samuel Boateng
                    18744 E BALTIC PL
                    817
                    AURORA, CO 80013



                    Samuel Bojorquez
                    832 W CRESTWOOD ST
                    #2
                    SAN PEDRO, CA 90731



                    SAMUEL BOJORQUEZ
                    832 W CRESTWOOD ST #2
                    SAN PEDRO, CA 90731
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1830 of
                                      2164



                    Samuel Brooks
                    3723 WOODCOCK DR
                    3723
                    HOLIDAY, FL 34650



                    Samuel Carter
                    16865 HURON STREET
                    106
                    BROOMFIELD, CO 80023



                    Samuel Chandler
                    2320 CITRUS HILL ROAD
                    PALM HARBOR, FL 34683



                    Samuel Davila Brown
                    4951 E ILIFF AVE
                    4951
                    DENVER, CO 80222



                    Samuel Dawson
                    1780 GRAVES ROAD
                    APT 413
                    NORCROSS, GA 30093



                    Samuel Doby
                    16253 WHITE OAKS DRIVE
                    LAKE OSWEGO, OR 97035



                    Samuel Duran
                    431 W 18TH ST
                    SAN PEDRO, CA 90731



                    Samuel Epps
                    1001 Louisiana Blvd NE
                    Apt 7
                    Albuquerque, NM 87110
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1831 of
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                    SAMUEL EVER
                    6569 TUMBLEWEED RIDGE LANE UNI
                    HENDERSON, NV 89011



                    Samuel Faso
                    2653 West Ave 32
                    Los Angeles, CA 90065



                    Samuel Garcia
                    87025 Church Street
                    D
                    Thermal, CA 92274



                    Samuel Hearst
                    622 Sugarloaf Reserve Dr
                    Duluth, GA 30097



                    Samuel Hernandez
                    6618 WOODTHRUSH HILL
                    ORLANDO, FL 32810



                    Samuel Holland
                    17977 ALMENDRO LANE
                    SAN DIEGO, CA 92127



                    Samuel Isom
                    578 OFFSHORE POINT
                    SAN DIEGO, CA 92154



                    Samuel J. Sandoval
                    455 SOUTH CAPITOL AVE
                    SAN JOSE, CA 95127



                    Samuel Jean
                    415 CHIPEWYAN DRIVE
                    LANTANA, FL 33462
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1832 of
                                      2164



                    Samuel Lauder
                    3758 EAST BETSY LANE
                    GILBERT, AZ 85296



                    Samuel Maldonado
                    16504 LAKE BRIGADOON CIR
                    TAMPA, FL 33618



                    Samuel Matthews
                    4400 PHILADELPHIA
                    CHINO, CA 91710



                    Samuel Niakan
                    3921 GATE HOUSE LANE
                    DULUTH, GA 30096



                    SAMUEL NIAKAN
                    3921 GATE HOUSE LN
                    DULUTH, GA 30096



                    SAMUEL NIAKAN
                    3921 GATE HOUSE LN
                    DULUTH
                    GA, 30096



                    Samuel Pangle
                    3451 Tanglebrush Dr
                    #515
                    The Woodlands, TX 77381



                    SAMUEL PERRY
                    14775 AVENIDA ANITA
                    CHINO HILLS, CA 91709



                    Samuel Rapisardo
                    1121 WILLIOW ST
                    DENVER, CO 80220
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1833 of
                                      2164



                    Samuel Sandoval
                    455 SOUTH CAPITOL AVE
                    SAN JOSE, CA 95127



                    Samuel Shadel
                    23 ALBERON GARDENS WAY
                    HENDERSON, NV 89002



                    Samuel Simmons
                    274 Garnet Way
                    Apt. C
                    Upland, CA 91786



                    SAMUEL SMITH
                    2737 CALLE LUNA
                    CHINO HILLS, CA 91709



                    Samuel Stander
                    16027 GLEN HAVEN DR.
                    TAMPA, FL 33618



                    Samuel Suarez
                    8714 ILDICA ST
                    UNIT 2
                    SPRING VALLEY, CA 91977



                    Samyak Gunde
                    5428 Twilight Commons
                    Fremont, CA 94555



                    SAN BERNARDINO CITY FIRE DEPT
                    FIRE SAFETY INSPECTION
                    200 EAST THIRD STREET
                    SAN BERNARDINO, CA 92410



                    SAN BERNARDINO COUNTY
                    TREASURER - TAX COLLECTOR
                    268 W HOSPITALITY LANE 1ST FL
                    SAN BERNARDINO, CA 92415-0360
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1834 of
                                      2164



                    SAN BERNARDINO COUNTY FIRE PROTECTION DI
                    157 W FIFTH ST 2ND FL
                    SAN BERNARDINO, CA 92415



                    SAN BERNARDINO MUNICIPAL
                    DEPARTMENT
                    PO BOX 710
                    SAN BERNARDINO, CA 92402-0710



                    SAN CARLOS LITTLE LEAGUE
                    7224 ARPEGE RD
                    SAN DIEGO, CA 92119



                    SAN CARLOS PATRIOTS JPW CHEER
                    1050 RIPPEY ST.
                    EL CAJON, CA 92020



                    SAN DIEGO COOPERATIVE CHARTER
                    7260 LINDA VISTA RD
                    SAN DIEGO, CA 92111



                    SAN DIEGO COUNTY RECORDER
                    PO BOX 121750
                    SAN DIEGO, CA 92112



                    SAN DIEGO COUNTY SHERIFF
                    325 S MELROSE DR STE 2400
                    VISTA, CA 92081



                    SAN DIEGO COUNTY TAX COLLECTOR
                    PO BOX 129009
                    SAN DIEGO, CA 92112



                    SAN DIEGO FIRE AND RESCUE
                    600 B ST STE 1300
                    SAN DIEGO, CA 92101
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1835 of
                                      2164



                    SAN DIEGO FLORIST SUPPLIES INC
                    2550 EL CAJON BLVD
                    SAN DIEGO, CA 92104



                    San Diego Florist Supplies, Inc
                    2550 El Cajon Blvd.
                    San Diego, CA 92104



                    San Diego Florist Supplies, Inc
                    2550 El Cajon Blvd.
                    San Diego
                    CA, 92104



                    SAN DIEGO GAS AND ELECTRIC
                    PO BOX 25111
                    SANTA ANA, CA 92799-5111



                    SAN DIEGO GAS AND ELECTRIC
                    PO BOX 25111
                    SANTA ANA
                    CA, 92799-5111



                    SAN DIEGO GLOBAL VISION ACADEMY
                    3430 SCHOOL ST
                    SAN DIEGO, CA 92116



                    SAN DIEGO GLOBAL VISION ACADEMY
                    3430 SCHOOL ST
                    SAN DIEGO
                    CA, 92116



                    SAN DIEGO ICE COMPANY INC
                    3412 KURTZ ST
                    SAN DIEGO, CA 92110



                    SAN DIEGO POLICE DEPARTMENT
                    PERMITS & LICENSING MS 735
                    PO BOX 121431
                    SAN DIEGO, CA 92112
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                    SAN DIEGO POLICE DEPARTMENT
                    PERMITS & LICENSING MS 735
                    PO BOX 121431
                    SAN DIEGO
                    CA, 92112



                    SAN DIEGO SCALE COMPANY
                    4510 FEDERAL BLVD
                    SAN DIEGO, CA 92102



                    SAN DIEGO SUPERIOR COURT
                    338 VIA VERA CRUZ, SUITE 101
                    SAN MARCOS, CA 92069-2693



                    SAN DIEGO SUPERIOR COURT
                    8950 CLAIREMONT MESA BLVD.
                    SAN DIEGO, CA 92123



                    SAN DIEGO SUPERIOR COURT
                    325 S MELROSE DR STE 350
                    VISTA, CA 92081-6670



                    SAN GABRIEL MISSION ELEMENTARY
                    416 S MISSION DR
                    SAN GABRIEL, CA 91776



                    SAN JAMAR INC
                    29346 NETWORK PLACE
                    CHICAGO, IL 60673-1293



                    SAN JOSE WATER COMPANY
                    110 W TAYLOR ST
                    SAN JOSE, CA 95110-2131



                    San Juana Juarez
                    1911 ROANWOOD
                    HOUSTON, TX 77090
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                                      2164



                    SAN MARCOS HIGH SCHOOL -ASB
                    1615 SAN MARCOS BLVD.
                    SAN MARCOS, CA 92078



                    SAN MARINO HIGH SCHOOL
                    2701 HUNTINGTON DRIVE
                    SAN MARINO, CA 91108



                    SAN MIGUEL ELEMENTARY
                    7059 SAN MIGUEL AVE
                    LEMON GROVE, CA 91945



                    SAN MIGUEL ELEMENTARY
                    7059 SAN MIGUEL AVE
                    LEMON GROVE
                    CA, 91945



                    SAN RAFAEL PARISH OF SAN DIEGO
                    17252 BERNARDO CENTER DR.
                    SAN DIEGO, CA 92128



                    Sandeep Johal
                    7777 VALLEY VIEW ST
                    C123
                    LA PALMA, CA 90623



                    SANDELMAN & ASSOCIATES INC
                    5540 BELLEVUE AVE
                    LA JOLLA, CA 92037-7626



                    Sandra Ah Nee
                    3019 CALICO STREET
                    SANTEE, CA 92071



                    Sandra Andrade
                    4629 W 88th Ave
                    Westminster, CO 80031
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1838 of
                                      2164



                    Sandra Avila
                    2211 Fairview St
                    Apt #D
                    Santa Ana, CA 92704



                    SANDRA B ABSTON ELEMENTARY
                    9950 W. TOMPKINS AVENUE
                    LAS VEGAS, NV 89147



                    Sandra Baron
                    5772 Garden Grove Blvd
                    Space#87
                    Westminster, CA 92683



                    Sandra Cabrera Cruz
                    7211 FENWAY AVE.
                    LAS VEGAS, NV 89147



                    Sandra Coronado
                    11613 E Monterosa Dr
                    Scottsdale, AZ 85256



                    Sandra Cruz
                    4027 Fon Du Lac Av
                    San Diego, CA 92117



                    Sandra E. Perez
                    5221 W 4th St
                    Santa Ana, CA 92703



                    Sandra Escobar
                    4023 W 120th Street
                    Hawthorne, CA 90250



                    Sandra Escobedo
                    3867 CEDAR HAMMOCK TRIAL
                    ST. CLOUD, FL 34772
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1839 of
                                      2164



                    Sandra Figueroa
                    989 Victoria St.
                    Apt F 8
                    Costa Mesa, CA 92627



                    Sandra godoy
                    3391 ST MONROE
                    #3
                    SANTA CLARA, CA 95051



                    Sandra Green
                    2141 23RD ST SW
                    LARGO, FL 33774



                    Sandra Hernandez
                    2407 GROVE ST
                    SARASOTA, FL 34239



                    Sandra Jahen
                    7451 Se 82nd Ave
                    Unit 40
                    Portland, OR 97266



                    Sandra Lloyd
                    11262 CALLE DARIO
                    SAN DIEGO, CA 92126



                    Sandra Lopez
                    4420 Silver Birch Way
                    Oceanside, CA 92057



                    SANDRA MONTERROSA
                    629 N HARBOR BLVD
                    ANAHEIM, CA 92805



                    Sandra Morales
                    10157 MASON DIXON CIRCLE
                    ORLANDO, FL 32921
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1840 of
                                      2164



                    Sandra Nunez De Reyes
                    749 LOS ARBOLITOS BLVD
                    OCEANSIDE, CA 92058



                    Sandra Ontiveros
                    2613 E Charleston Ave
                    Phoenix, AZ 85032



                    Sandra Pena
                    18615 VIDORA DR
                    ROWLAND HEIGHTS, CA 91748



                    Sandra Perez
                    5221 W 4th St
                    Santa Ana, CA 92703



                    Sandra Rumminger-aldridge
                    11572 Manzanita Road
                    Lakeside, CA 92040



                    Sandra Valdes
                    7263 Somersworth Drive
                    Orlando, FL 32835



                    Sandra Valencia-Morales
                    8748 FERNDALE ST
                    SAN DIEGO, CA 92126



                    Sandy Aoyagi
                    506 Westgate Street
                    Pasadena, CA 91103



                    SANDY RUMMINGER ALDRIDGE
                    11572 MANZANITA RD
                    LAKESIDE, CA 92040
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1841 of
                                      2164



                    SANDY SPRINGS FALSE ALARM
                    REDUCTION PROGRAM
                    PO BOX 102117
                    ATLANTA, GA 30368-2117



                    SANDY TRAN
                    9634 NEWFAME CIR
                    FOUNTAIN VALLEY, CA 92708



                    Sandy Tran




                    SANTA CLARA COUNTY TAX COLLECTOR
                    70 W HEDDING ST
                    EAST WING 6TH FLOOR
                    SAN JOSE, CA 95110-1767



                    SANTA CLARITA COURTHOUSE
                    PO BOX 60516
                    LOS ANGELES, CA 90060-0516



                    SANTA CLARITA ELEMENTARY PTC
                    27177 SECO CANYON ROAD
                    SANTA CLARITA, CA 91350



                    Santa Hernandez
                    13685 Cynthia Ln
                    #2
                    Poway, CA 92064



                    SANTA TERESA HOME AND SCHOOL ASSOC
                    6200 ENCINAL DR
                    SAN JOSE, CA 95119



                    SANTA TERESA SEA OTTERS SWIM TEAM
                    286 SORRENTO WAY
                    SAN JOSE, CA 95119
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1842 of
                                      2164



                    SANTANA GIRLS VOLLEYBALL
                    9915 N MAGNOLIA AVE
                    SANTEE, CA 92071



                    SANTEE ASA
                    5504 CLARET ST
                    SANTEE, CA 92071



                    SANTEE RAVENS
                    PO BOX 710271
                    SANTEE, CA 92071



                    SANTEE RAVENS
                    PO BOX 710271
                    SANTEE
                    CA, 92071



                    Santiago Coello
                    6250 GRIFFIN RD
                    405
                    DAVIE, FL 33314



                    Santiago Coha
                    18165 NW 89TH CT
                    HIALEAH, FL 33018



                    Santiago Escobar
                    248 Alston Drive
                    Orlando, FL 32835



                    Santiago lapola
                    520 W RILLITO ST
                    LOT 19
                    TUCSON, AZ 85705



                    Santiago Osorio
                    3701 CARROLLWOOD PLACE CIRCLE
                    BUILDING 12 APARTMENT 105
                    TAMPA, FL 33624
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1843 of
                                      2164



                    Santiago Perez
                    PIERCE ST
                    209
                    PACOIMA, CA 91331



                    Santiago Serrano
                    7719 DOWNING CRICLE
                    TAMPA, FL 33610



                    Santiana Aranda
                    6210 PALMA PL NW
                    ALBUQUERQUE, NM 87120



                    Santino Gomez
                    3724 BERRY DR
                    STUDIO CITY, CA 91604



                    Santos Morgado
                    3318 W KATHLEEN ST
                    TAMPA, FL 33607



                    Saphire Shotwell
                    4133 W. Shaw Butte Dr.
                    Phoenix, AZ 85029



                    SAPUTO CHEESE USA INC
                    25 TRI-STATE
                    INTNTL. OFFICE CENTER. STE 250
                    LINCOLNSHIRE, IL 60069



                    SAPUTO CHEESE USA INC
                    FILE 56152
                    LOS ANGELES, CA 90074-6152



                    SAPUTO CHEESE USA INC
                    ONE OVERLOOK POINT STE 300
                    LINCOLNSHIRE, IL 60069
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1844 of
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                    Saputo Cheese Usa Inc.
                    File 56152
                    Los Angeles, CA 90074-6152



                    Saputo Cheese Usa Inc.
                    File 56152
                    Los Angeles
                    CA, 90074-6152



                    Sara Alas
                    1876 BUCKINGHAM RD
                    #4
                    LOS ANGELES, CA 90019



                    Sara Baumberger
                    12091 117TH STREET
                    LARGO, FL 33708



                    Sara Blandon
                    6332 NEWTOWN CIRCLE
                    B4
                    TAMPA, FL 33615



                    Sara Carrillo
                    537 W. Center St
                    Apt D
                    Placentia, CA 92870



                    Sara El Ouafi
                    337 ROCK CREEK WAY
                    PLEASANT HILL, CA 94523



                    Sara Gomez
                    906 Mosher Ln
                    Houston, TX 77088



                    Sara Halfman
                    4091 Central Ave
                    Fremont, CA 94538
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1845 of
                                      2164



                    Sara Heiselt
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                    CLACKAMAS, OR 97015



                    Sara Heitman
                    40950 Cavalier Drive
                    Hemet, CA 92544



                    Sara Kelly
                    8733 BIGFORD ST.
                    SPRING VALLEY, CA 91977



                    Sara Salinas
                    6918 NORTHLEAF DR
                    HOUSTON, TX 77086



                    Sara Sunday
                    37508 Coventry st
                    Indio, CA 92203



                    Sarabjeet Cheema
                    6490 CRESENT AVE
                    23
                    BUENA PARK, CA 90620



                    Sarabjit Lally
                    6651 HIGHLAND AVE
                    BUENA PARK, CA 90621



                    SARABJIT S. LALLY
                    6651 HIGHLAND AVE
                    BUENA PARK, CA 90621



                    Sarah Anguiano
                    1410 MARENGO CT
                    WEST COVINA, CA 91790
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1846 of
                                      2164



                    Sarah Baublitz
                    230 SW 122ND TER
                    PEMBROKE PINES, FL 33025



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                    340 Sw Seminole Dr.
                    Beaverton, OR 97006



                    Sarah Bell
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                    Tucson, AZ 85705



                    Sarah Birtley
                    11687 EROS RD
                    LEHIGH ACRES, FL 33971



                    Sarah Bischoff
                    16518 Se 36th Circle
                    Vancouver, WA 98683



                    Sarah Black
                    150 E WARNER RD
                    84
                    GILBERT, AZ 85296



                    Sarah Boyd
                    4336 MUIRWOOD DR
                    PLEASANTON, CA 94588



                    Sarah Echeverria
                    4828 LOGAN AVENUE
                    APT. 102
                    SAN DIEGO, CA 92113



                    Sarah Empey
                    5622 Gristmill St
                    Bradenton, FL 34203
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1847 of
                                      2164



                    Sarah Garcia
                    3901 Hanselman Rd
                    Victoria, TX 77901



                    Sarah Gillogly
                    8201 CIRCLE DRIVE
                    WESTMINSTER, CO 80031



                    SARAH GLODSMITH - GROVER
                    1007 HILTS AVE
                    LOS ANGELES, CA 90024



                    Sarah Gravance
                    5347 EAST AVENUE R-11
                    PALMDALE, CA 93552



                    Sarah Gregory
                    9221 Harvard Pl
                    Rancho Cucamonga, CA 91730



                    Sarah Kerrigan
                    44410 VIA CORONADO
                    LA QUINTA, CA 92253



                    Sarah Kilby
                    219 Magnolia Circle
                    EUSTIS, FL 32726



                    Sarah Liggett
                    6335 BEECH COURT
                    PLEASANTON, CA 94588



                    Sarah Loveland
                    15712 LAKEWAY DRIVE
                    WILLIS, TX 77318
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1848 of
                                      2164



                    Sarah Mele
                    13629 ESSENCE RD
                    SAN DIEGO, CA 92128



                    Sarah Moreno
                    770 E ROSE AVE
                    LA HABRA, CA 90631



                    SARAH MORENO
                    7671 EMERAL AVE
                    FONTANA, CA 92336



                    Sarah Oberg
                    8370 SE CAUSEY AVE APT 208
                    208
                    HAPPY VALLEY, OR 97086



                    Sarah Roberts
                    5215 w Peoria AZ
                    244
                    GLENDALE, AZ 85302



                    Sarah Robertson
                    2219 N Rancho Dr
                    R2186
                    LAS VEGAS, NV 89130



                    SARAH ROLAND
                    1366 FIREWEED DR NE
                    RIO RANCHO, NM 87144-6259



                    Sarah Viders
                    9467 SOUTHERN HILLS CIRCLE
                    LONE TREE, CO 80124



                    Sarah Wheeler
                    7230 SOUTH YARROW STREET
                    LITTLETON, CO 80128
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1849 of
                                      2164



                    Sarah Zagaceta
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                    Apt 8
                    Orlando, FL 32821



                    Sarah Zukowski
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                    Scottsdale, AZ 85254



                    Sarahi Sosa
                    1725 Loretta St
                    Oceanside, CA 92068



                    Sarahy Martinez
                    449 Nth 4st
                    Apt#7
                    San Jose, CA 95112



                    Sarai Aguilar
                    3464 OAKWOOD DR
                    WIMAUMA, FL 33598



                    Sarai Jinez
                    1620 ADELAIDE ST
                    APT 17
                    CONCORD, CA 94520



                    Sarai Lopez
                    2915 N COTTONWOOD ST UNIT 13
                    ORANGE, CA 92865



                    Sarai Quiroz
                    749 E JULIAN ST
                    SAN JOSE, CA 95112



                    SARASOTA COUNTY FIRE DEPARTMENT
                    1001 SARASOTA CTR BLVD
                    C/O SARASOTA CNTY GOVERNMENT OFFICE OF F
                    SARASOTA, FL 34240
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1850 of
                                      2164



                    SARASOTA COUNTY PUBLIC UTILITIES DEPT
                    PO BOX 31320
                    TAMPA, FL 33631-3320



                    Saray Jimenez
                    2007 CLYDE AVE.
                    2
                    LOS ANGELES, CA 90016



                    Saretta Bowers
                    1460 GRUB STAKE CIR
                    HENDERSON, NV 89014



                    Sarina Lisle
                    834 E TERRACE AVE
                    FRESNO, CA 93704



                    Sarmad Adelakun
                    607 Beechbend Dr
                    Missouri City, TX 77489



                    Sarmad Elias
                    1676 SUMMERTIME DR
                    EL CAJON, CA 92021



                    Saron Gebreslassie
                    411S MARGURITA AVE
                    ALHAMBRA, CA 91803



                    SARTARTIA MIDDLE SCHOOL
                    8125 HOMEWARD WAY
                    SUGARLAND, TX 77479



                    Sasha Del Principe
                    5159 Muir Ave
                    San Diego, CA 92107
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1851 of
                                      2164



                    Sasha Villalobos
                    18151 VALLEY BLVD
                    SPACE 93
                    LA PUENTE, CA 91744



                    SASSOS BOOSTER CLUB
                    7465 W SUNSET RD STE 700
                    LAS VEGAS, NV 89113



                    Satish Pall
                    1174 JEWETT AVE
                    PITTSBURG, CA 94565



                    SATORI SCHOOL
                    3801 N 1ST AVE
                    TUCSON, AZ 85719



                    Saturnino Lopez
                    342 Juniper Ave
                    Apt 23
                    Carlsbad, CA 92008



                    Satwinder Kaur
                    68 CENTER STONE CIR
                    BUENA PARK, CA 90620



                    Saudy Estrada
                    6212 Beadnell way 2A
                    San Diego, CA 92117



                    Saugia Knight
                    3003 Middleton Rd
                    #261
                    Atlanta, GA 30311



                    SAUGUS HIGH SCHOOL ASB
                    28322 HULSEY COURT
                    SANTA CLARITA, CA 91350
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                                      2164



                    Saujas Sharma
                    12354 GRANDEE CT
                    SAN DIEGO, CA 92128



                    Saul Aguirre
                    32925 WILLARD STREET
                    PO BOX 495
                    WINCHESTER, CA 92596



                    Saul Canela
                    295 C ST APT
                    109
                    CHULA VISTA, CA 91910



                    Saul Fernandez
                    1400 W Kamala St
                    Oxnard, CA 93033



                    Saul Garcia
                    23645 New England Dr
                    Moreno Valley, CA 92553



                    Saul Lopez Garcia
                    10502 CLAUSSEN ST
                    GARDEN GROVE, CA 92842



                    Saul Mendez
                    5529 COCHRAN ST
                    135
                    SIMI VALLEY, CA 93063



                    Saul Ramirez
                    9042 E lehigh Avenue
                    Denver, CO 80237



                    Saul Reyes
                    10418 Mackenzie Dr
                    Houston, TX 77086
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1853 of
                                      2164



                    Saul Rivera
                    1120 SE 208TH
                    GRESHAM, OR 97030



                    Saul Sanchez
                    39150 Sundale Dr
                    #57
                    Fremont, CA 94538



                    Saul Saucedo
                    4167 SAN BERNARDINO WAY
                    SAN JOSE, CA 95111



                    Saumya Singh
                    7812 BRYKERWOODS
                    HOUSTON, TX 77055



                    Savannah Chavez
                    13110 CONSTITUTION AVE NE
                    407
                    ALBUQUERQUE, NM 87112



                    Savannah Collins
                    12999 SARAH LANE
                    LARGO, FL 33773



                    Savannah Ewing




                    Savannah Fessenden
                    8821 Holly Ln
                    Riverside, CA 92503



                    Savannah Hill
                    5520 CHOLLAS STATION ROAD
                    SAN DIEGO, CA 92105
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1854 of
                                      2164



                    Savannah Keller
                    17080 SE HWY 42
                    WEIRSDALE, FL 32195



                    Savannah Leedom
                    1 OLIVE LN
                    OCALA, FL 34472



                    Savannah Moreno
                    1438 MORGAN RD
                    SAN BERNARDINO, CA 92407



                    Savannah Ockenfels
                    3724 W. BLOOMFIELD RD.
                    PHOENIX, AZ 85029



                    Savannah Osborne
                    36125 CREIGHTON AVE
                    4303
                    MURRIETA, CA 92563



                    SAVANNAH STEPHENS
                    1361 CALABAZAS CT.
                    10
                    SANTA CLARA, CA 95051



                    Savannah Trueba
                    2691 E LANDEN S
                    CAMARILLO, CA 93010



                    Savannah Ynzunza
                    4358 Los Serranos Blvd
                    Chino Hills, CA 91709



                    Savayreia Strain
                    4318 PAN AMERICAN NORTHEAST
                    262
                    ALBUQUERQUE, NM 87107
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                                      2164



                    Sayde Cortez
                    261 N Clay Ave
                    Lady Lake, FL 32159



                    Saydee Autry
                    20250 N 67th Ave
                    Apt 1112
                    Glendale, AZ 85308



                    Sayed Ashraf
                    1535 PARK LAWN RD
                    HACIENDA HEIGHTS, CA 91745



                    Sayedah Mosavi
                    19720 VISTA HERMOSA DR.
                    WALNUT, CA 91789



                    SBAC DST
                    PO BOX 82-3404
                    PEMBROKE PINES, FL 33082



                    SC DEL SOL
                    18777 N 32ND STREET
                    PHOENIX, AZ 85050



                    SC DEPT OF EMPLOY AND WORKFORC
                    P.O. BOX 7103
                    ATTN: CONTRIBUTION SECTION
                    COLUMBIA, SC 29202-7103



                    SCA TISSUE NORTH AMERICA LLC
                    PO BOX 3493
                    CAROL STREAM, IL 60132-3493



                    SCC DTAC
                    DEPARTMENT OF TAX AND COLLECTI
                    PO BOX 60530
                    CITY OF INDUSTRY, CA 91716-0530
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1856 of
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                    SCENIC FRUIT CO
                    7510 SE ALTMAN RD
                    GRESHAM, OR 97080



                    Scenic Fruit Co.
                    7510 Se Altman Rd
                    Gresham, OR 97080



                    SCG RIVER PARK BUSINESS CENTER LP
                    PO BOX 847551
                    DALLAS, TX 75284-7551



                    SCHMIDT SUNSHINE INC
                    PO BOX 546
                    MORRISON, CO 80465



                    Schmidt Sunshine, Inc.
                    Attn: Robert E. Schmidt, Jr
                    2226 State Rd. 580
                    Clearwater, FL 33763-1838



                    SCHOENMANN PRODUCE CO INC
                    6950 NEUHAUS ST
                    HOUSTON, TX 77061



                    SCHOENMANN PRODUCE CO INC
                    6950 NEUHAUS ST
                    HOUSTON
                    TX, 77061



                    SCHOOL BOARD OF
                    ORANGE COUNTY FLORIDA
                    445 WEST AMELIA STREET
                    ORLANDO, FL 32801



                    SCHOOL DISTRICT INCOME TAX
                    P.O. BOX 182388
                    COLUMBUS, OH 43218-2388
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                                      2164



                    Schreiber Foods International
                    600 E Crescent Ave #103
                    Upper Saddle River, NJ 07458



                    SCHREIBER FOODS INTERNATIONAL
                    600 E CRESCENT AVE
                    UPPER SADDLE RIVER, NJ 07458



                    SCHS ASB CROSS COUNTRY
                    3900 CANNON RD
                    CARLSBAD, CA 92010



                    SCHS ASB CROSS COUNTRY
                    3900 CANNON RD
                    CARLSBAD
                    CA, 92010



                    SCHULTE ROTH & ZABEL
                    919 THIRD AVE
                    NEW YORK, NY 10022



                    SCHWARZKOPF ELEMENTARY
                    18333 CALUSA TRACE BLVD
                    LUTZ, FL 33558



                    Scott Allen
                    1100 KETNER ST
                    1102
                    DAVENPORT, FL 33897



                    Scott Bartko
                    20336 ANITA AVE
                    CASTRO VALLEY, CA 94546



                    Scott Brockish
                    2206 S REVOLTA
                    MESA, AZ 85209
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1858 of
                                      2164



                    SCOTT GOLDSMITH PHOTOGRAPHY
                    47 N HARRISON AVE
                    PITTSBURGH, PA 15202



                    Scott Hessing
                    220 Cumming St
                    Alpharetta, GA 30009



                    Scott laack
                    17508 SE 31ST CIRCLE
                    VANCOUVER, WA 98683



                    Scott Marrero
                    752 MANATEE BAY DR
                    BOYNTON BEACH, FL 33435



                    Scott Nguyen
                    8157 Columbus Street
                    San Diego, CA 92126



                    Scott Peno
                    8320 72nd st east
                    bradenton, FL 34201



                    Scott Vessels
                    9369 APRICOT AVE
                    RANCHO CUCAMONGA, CA 91730



                    Scott W. Gillaspy




                    Scott Wilson
                    5937 S BACKUS MALL
                    MESA, AZ 85212
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1859 of
                                      2164



                    SCOUTING BSA TROOP 2
                    27050 RIO PECOS DRIVE
                    VALENCIA, CA 91354



                    SCRIPPS MONTESSORI SCHOOL
                    9939 OLD GROVE RD
                    SAN DIEGO, CA 92131



                    SCRIPPS RANCH HIGH SCHOOL
                    10755 SCRIPPS POWAY PARKWAY
                    BOX 258
                    SAN DIEGO, CA 92131



                    SDSU AMBASSADORS
                    5500 CAMPINILE DRIVE
                    SAN DIEGO, CA 92182



                    SDSU AMBASSADORS
                    NEW STUDENT AND PARENT PROGRAM
                    5500 CAMPANILE DR
                    SAN DIEGO, CA 92115



                    SDSU AMBASSADORS
                    5500 CAMPINILE DRIVE
                    SAN DIEGO
                    CA, 92182



                    SE LV YOUNG LIFE
                    1044 KENNEBUNK CIRCLE
                    HENDERSON, NV 89015



                    SE LV YOUNG LIFE
                    1044 KENNEBUNK CIRCLE
                    HENDERSON
                    NV, 89015
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                                      2164



                    SE VALLEY YOUTH FOOTBALL INC
                    4802 E RAY RD SUITE 23
                    JPW TITANS
                    PHOENIX, AZ 85044



                    SE VALLEY YOUTH FOOTBALL INC
                    4802 E RAY RD SUITE 23
                    JPW TITANS
                    PHOENIX
                    AZ, 85044



                    SEA BREEZE FOODS
                    8597 SPECTRUM LN
                    SAN DIEGO, CA 92121



                    SEADRA KELLERMAN
                    28304 CROOKED OAK LANE
                    ESCONDIDO, CA 92026



                    Sean Aucoin
                    46 WEST SAGE CREEK PLACE
                    THE WOODLANDS, TX 77382



                    Sean Black
                    10256 CAMINO RUIZ
                    187
                    SAN DIEGO, CA 92126



                    Sean Bounkhoune
                    910 HANSON AVENUE
                    CLOVIS, CA 93611



                    Sean Butier
                    28502 RANCHO GRANDE
                    LAGUNA NIGUEL, CA 92677



                    Sean Christie
                    8632 Winsome Way
                    Land O Lakes, FL 34637
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1861 of
                                      2164



                    Sean Crawford
                    2010 ROSWELL RD
                    25A2
                    MARIETTA, GA 11757



                    Sean Edwards
                    383 N WILMOT RD
                    28B
                    TUCSON, AZ 85711



                    Sean G. Hull




                    Sean Green
                    44935 SPEARMAN AVE
                    44935 SPEARMAN AVE
                    LANCASTER, CA 93534



                    Sean Harrigan
                    809 Leonard Road
                    Los Angeles, CA 90049



                    Sean Hayden
                    955 HELENA DRIVE
                    SUNNYVALE, CA 94087



                    Sean Herbert
                    10890 CALLE VERDE
                    153
                    LA MESA, CA 91941



                    Sean Housley
                    10200 Old Bammel North
                    Houston, TX 77086



                    SEAN KEENAN
                    10881 FOX GLEN DR
                    BOCA RATON, FL 33428
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                    Sean Kilbourn
                    25650 INTERSTATE 45
                    706
                    SPRING, TX 77386



                    Sean Lortz
                    8880 CYPRESS LAKE DR
                    FORT MYERS, FL 33919



                    Sean McCarthy
                    9450 Gilman Drive
                    #35103
                    La Jolla, CA 92092



                    Sean McCumiskey
                    1425 D STREET
                    GOLDEN, CO 80401



                    Sean Mendoza
                    669 N. WILLOW AVE
                    LA PUENTE, CA 91746



                    Sean Nguyen
                    797 FOXRIDGE WAY
                    SAN JOSE, CA 95133



                    Sean Peters
                    16701 SW 140 AVE
                    MIAMI, FL 33177



                    SEAN PETERSON
                    547 E GRANDVIEW AVE
                    SIERRA MADRE, CA 91024



                    Sean Quetell
                    274 MANGO DR
                    DAVENPORT, FL 33897
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                                      2164



                    Sean Richie
                    5400 MEMORIAL DRIVE
                    17-J
                    STONE MOUNTAIN, GA 30083



                    Sean Russell
                    8211 SAN ANGELO DRIVE
                    D9
                    HUNTINGTON BEACH, CA 92647



                    Sean Sullivan
                    7899 OWENS CT
                    ARVADA, CO 80005



                    Sebastian Alas
                    1876 BUCKINGHAM RD
                    4
                    LOS ANGELES, CA 90019



                    Sebastian Brito
                    15637 Loukelton St
                    La Puente, CA 91744



                    Sebastian Ciampaglia
                    1674 CITRUS PKWY
                    CLERMONT, FL 34714



                    Sebastian Delgado
                    7562 10th St
                    Buena Park, CA 90621



                    Sebastian Hurtado Hernandez
                    REAGAN ROAD
                    140
                    MIRA MESA, CA 92126



                    Sebastian Ledbetter
                    8546 SAN JACINTO CT
                    RANCHO CUCAMONGA, CA 91730
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1864 of
                                      2164



                    Sebastian Resendiz
                    283 1/2 35th Street
                    San Diego, CA 92102



                    Sebastian Rey
                    11002 HAMMERLY BLVD.
                    38
                    HOUSTON, TX 77043



                    Sebastian Valdovinos
                    12566 W MONROE ST
                    AVONDALE, AZ 85323



                    SECRETARY OF STATE
                    STATE OF ARIZONA
                    1700 W WASHINGTON STREET FL 7
                    PHOENIX, AZ 85007



                    SECURITY NOW USA LLC
                    1603 CAPITAL AVE #310 A626
                    CHEYNNE, WY 82001



                    SECURITY PLUMBING & HEATING INC
                    5980 W 59TH AVE
                    ARVADA, CO 80003



                    SECURITY SERVICES OF TAMPA
                    AFFORDABLE LOCK AND SECURITY S
                    PO BOX 31261
                    TAMPA, FL 33631-3261



                    SEDGWICK CLAIMS MGMT SERVICES
                    PO BOX 204036
                    DALLAS, TX 75320-4036



                    Segunda Gonzalez
                    14609 RATH STREET
                    LA PUENTE, CA 91744
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1865 of
                                      2164



                    SEGUNDA GONZALEZ




                    Sejourlan Etienne
                    Po Box 8686
                    Naples, FL 34101



                    SELECTRESOURCES INTERNATIONAL INC
                    10940 WILSHIRE BLVD STE 925
                    LOS ANGELES, CA 90024



                    Selena Abbott
                    2098 SEMINOLE BLVD
                    5111
                    LARGO, FL 33778



                    Selena Archuleta
                    3500 TYSON PLACE NE
                    D
                    ALBUQUERQUE, NM 87107



                    Selena Dahozy
                    Po. Box 66761
                    Albuquerque, NM 87193



                    Selena J. Archuleta
                    3500 TYSON PLACE NE
                    D
                    ALBUQUERQUE, NM 87107



                    Selena Morales
                    26322 TOWNE CENTRE DRIVE
                    116
                    FOOTHILL RANCH, CA 92610



                    Selena Thomas
                    12527RIDGEROAD
                    LARGO, FL 33778
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1866 of
                                      2164



                    Selene Garfias
                    3696 N SEVETH ST
                    FRESNO, CA 93726



                    Selene Gomez
                    5040 Camino Pyrenees
                    #101
                    San Diego, CA 92130



                    Selene Villegas
                    3320 SANTA CLARA AVE
                    108
                    OXNARD, CA 93036



                    SELF OPPORTUNITY INC
                    PO BOX 292788
                    LEWISVILLE, TX 75029



                    SELIG PARKING INC
                    1100 SPRING ST NW STE 800
                    ATLANTA, GA 30309



                    SELIG PARKING INC
                    1100 SPRING ST NW STE 800
                    ATLANTA
                    GA, 30309



                    Selina Espinoza
                    1620 BUSH ST.
                    APT. D
                    OCEANSIDE, CA 92058



                    Selina Salas
                    1632 EAST AMAR RD
                    #B
                    WEST COVINA, CA 91792
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1867 of
                                      2164



                    Selina Villarreal
                    5019 ALEJANDRO WAY
                    NORTH LAS VEGAS, NV 89031



                    SELMA BARTLETT ELEMENTARY SCHOOL GARDEN
                    1961 WIGWAM PKWY
                    HENDERSON, NV 89074



                    Sencerea Williams
                    140 Turman Avenue
                    Atlanta, GA 30315



                    Sendie Dor
                    1841 NW 2ND TERRACE
                    POMPANO BEACH, FL 33060



                    Seneca
                    PO BOX 99930
                    CHICAGO, IL 60696



                    Seneca Foods Corporation
                    P.O. Box 99930
                    Chicago, IL 60696



                    SENECA FOODS CORPORATION
                    PO BOX 99930
                    CHICAGO, IL 60696



                    Seneca Foods Corporation
                    P.O. Box 99930
                    Chicago
                    IL, 60696



                    SENOR MIST LLC
                    1515 W DEER VALLEY RD #B104
                    PHOENIX, AZ 85027
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1868 of
                                      2164



                    SENSE350 INC
                    3710 S ROBERTSON BLVD STE 220
                    CULVER CITY, CA 90232



                    SENTRE INC
                    225 BROADWAY STE 2075
                    SAN DIEGO, CA 92101



                    Seon Kim
                    1871 S CATHAY ST
                    AOROA, CO 80017



                    Seongjun Oh
                    13918 E MISSISSIPPI AVE
                    AURORA, CO 80012



                    SEQUOIA PTA
                    5900 IROQUOIS ROAD
                    WESTMINSTER, CA 92683



                    Serena Castro
                    6125 LAMBECK LANE
                    SAN JOSE, CA 95119



                    Serena Garcia
                    5345 W 66TH AVE
                    1C
                    ARVADA, CO 80003



                    Serena Hernandez
                    1916 N SPURGEON ST
                    201
                    SANTA ANA, CA 92706



                    Serena Iglesias
                    6226 WICHITA CT.
                    SAN JOSE, CA 95123
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1869 of
                                      2164



                    Serenity Pitchford
                    318 S KINGSLEY DR
                    404
                    LOS ANGELES, CA 90020



                    Serenity Sawyer
                    5654 HARDWOOD FORES
                    HOUSTON, TX 77088



                    Serenity Stager
                    16457 FALLEN OAK ROAD
                    HACIENDA HEIGHTS, CA 91745



                    Serenity Washington
                    9826 RUMBLING WOOD LN
                    HOUSTON, TX 77086



                    Sergio Andrade
                    13553 Highwood Dr
                    San Jose, CA 95127



                    SERGIO CARBAJAL
                    4580 S TOPAZ STREET
                    LAS VEGAS, NV 89121



                    Sergio Chavez
                    12560 Haster
                    # 63
                    Garden Grove, CA 92840



                    Sergio Gallegos
                    26920 N Bay Lane
                    Menifee, CA 92585



                    Sergio Guevara
                    2493 Monticello Way
                    Santa Clara, CA 95051
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1870 of
                                      2164



                    Sergio Guevara vanegas
                    2493 MONTICELLO WAY
                    SANTA CLARA, CA 95051



                    Sergio Guzman
                    33738 11th
                    Union City, CA 94587



                    SERGIO GUZMAN
                    1701 ROCK SPRINGS DR APT 2127
                    LAS VEGAS, NV 89128



                    Sergio Jurado
                    5030 3/4 Hayter Ave
                    Lakewood, CA 90712



                    Sergio Lopez
                    1749 N. SERRANO AVE
                    238
                    LOS ANGELES, CA 90027



                    Sergio Martinez
                    336 E ALLUVIAL AVE
                    317
                    FRESNO, CA 93720



                    Sergio Otero
                    5613 HUNTINGTON DRIVE NORTH
                    5613
                    LOS ANGELES, CA 90032



                    Sergio Perez
                    5037 Navarro St. Apt.27
                    Los Angeles, CA 90032



                    Sergio Perez
                    21 Brisa Fresca
                    Rancho Santa Margarita, CA 92688
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1871 of
                                      2164



                    Sergio Rivera
                    5600 CLEMSON ST
                    5600
                    LOS ANGELES, CA 90016



                    Sergio Rodriguez
                    626 Bison Ct
                    El Cajon, CA 92019



                    Sergio Rosas
                    13202 El Moro Ave
                    La Mirada, CA 90638



                    Sergio Ruiz
                    8140 Thames Blvd
                    Unit D
                    Boca Raton, FL 33433



                    Sergio Santos
                    6516 Toler Av.
                    Bell Garden, CA 90201



                    Sergio Torres
                    1728 Flores Lane
                    Henderson, NV 89012



                    Sergio Vasquez Martinez
                    1000 NW 123 AVE
                    PORTLAND, OR 97229



                    Sergio Velez
                    620 Imperial Hwy
                    #a
                    Fullerton, CA 92835



                    Seriah Rodriguez
                    22339 EAST CREEKSIDE DRIVE
                    QUEEN CREEK, AZ 85142
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1872 of
                                      2164



                    Serina Torres
                    2252 GOLD DUST TRL
                    HIGHLANDS RANCH, CO 80129



                    SERRA GIRLS SOCCER
                    P O BOX 420482
                    SAN DIEGO,, CA 92142



                    SERVER PRODUCTS
                    3601 PLEASANT HILL ROAD
                    RICHFIELD, WI 53076



                    Service Channel




                    SERVICE IDEAS INC
                    NW 5876
                    PO BOX 1450
                    MINNEAPOLIS, MN 55485-5876



                    Service Ideas, Inc.
                    Nw 5876
                    PO BOX 1450
                    Minneapolis, MN 55485-5876



                    SERVICE MANAGEMENT GROUP INC
                    1737 MCGEE ST
                    KANSAS CITY, MO 64108



                    SERVICE SOLUTIONS GROUP
                    5256 EISENHOWER AVE
                    ALEXANDRIA, VA 22304



                    SERVICE SOLUTIONS GROUP
                    5256 EISENHOWER AVE
                    ALEXANDRIA
                    VA, 22304
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1873 of
                                      2164



                    SERVICECHANNELCOM INC
                    PO BOX 392642
                    PITTSBURGH, PA 15251-9642



                    SERVICECHECK INC
                    PO BOX 101373
                    ATLANTA, GA 30392



                    Servilus Petit-frere
                    2908 Ne 8ter
                    Apt 203
                    Fort Lauderdale, FL 33334



                    SET HIGH
                    3540 AERO DRIVE
                    SAN DIEGO, CA 92123



                    Seth Choate
                    2598 SECRETARIAT DRIVE
                    PLEASANTON, CA 94566



                    Seth Puckrin
                    9019 MURANO MEWS CT.
                    KISSIMMEE, FL 34747



                    Seth Ringler
                    6250 Wiles Rd
                    Apt 304
                    Parkland, FL 33067



                    Seth Saville
                    1049 NINA DR
                    OXNARD, CA 93036



                    Seth Soakai
                    6666 W WASHINGTON AVE
                    405
                    LAS VEGAS, NV 89107
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1874 of
                                      2164



                    Seth Tucker
                    4914 PACIFICA DR
                    SAN DIEGO, CA 92109



                    Seun Odusan
                    2095 RAPALLO
                    LIVERMORE, CA 94551



                    Seungmin Shim
                    5644 SAN ANTONIO ST
                    PLEASANTON, CA 94566



                    SEV YOUTH FOOTBALL
                    43900 WEST SCENIC DRIVE
                    MARICOPA, AZ 85139



                    SEW BE IT UPHOLSTERY INC
                    3695 S HIGHLAND DR #15
                    LAS VEGAS, NV 89103



                    Seymore Wiliams
                    306 OAK TRACK LOOP
                    OCALA, FL 34472



                    SF VALLEY FILIPINO SDA CHURCH
                    18208 LOS ALIMOS ST
                    NORTHRIDGE, CA 91326



                    Sha-tet Akpera
                    422 Skyridge Lane
                    Escondido, CA 92026



                    Shabnam Kazimli
                    870 E EL CAMINO REAL
                    159
                    MOUNTAIN VIEW, CA 94040
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1875 of
                                      2164



                    Shaddrach McDermott
                    11243 BALSAM AVE
                    HESPERIA, CA 92345



                    Shadrack Hawkins
                    17206 SW ARTESIAN DR
                    BEAVERTON, OR 97006



                    Shaen Chandra
                    27865 MANDARIN AVE
                    HAYWARD, CA 94544



                    Shahed Sabri
                    2951 SATELLITE BLVD
                    APT 1302
                    DULUTH, GA 30096



                    Shahla Bayot
                    5408 W Becker Ln
                    Glendale, AZ 85304



                    SHAILESH DAMANIA
                    24606 VIA CARISSA
                    LAGUNA NIGUEL, CA 92677



                    Shakiah zachery
                    1425 RIDENOUR BLVD
                    9004
                    KENNESAW, GA 30152



                    Shakira Kelly
                    1000 DULUTH HWY
                    APT. 1922
                    LAWRENCEVILLE, GA 30043



                    Shalini Rajapaksa
                    12349 215th
                    Lakewood, CA 90715
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1876 of
                                      2164



                    Shamar Hampton
                    14092 EAST IOWA DR
                    910
                    AURORA, CO 80012



                    Shamar Martin
                    15865 AVENIDA VENUSTO
                    821
                    SAN DIEGO, CA 92128



                    Shamine Singh
                    1327 S. Westchester Dr
                    Anaheim, CA 92804



                    Shamoya Shaw
                    4510 NW 36TH STREET
                    402
                    LAUDERDALE LAKES, FL 33319



                    SHAMROCK FOOD COMPANY
                    PO BOX 52420
                    PHOENIX, AZ 85072



                    Shamrock Foods Company
                    P.O. Box 52420
                    Phoenix, AZ 85072



                    Shamya Moore
                    3450 ROXBORO RD NE
                    3510
                    ATLANTA, GA 30326



                    Shanae Tenorio
                    4650 W Mineral Dr
                    # 1113
                    Littleton, CO 80128
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                                      2164



                    Shandalee Butcher
                    15900 ALICANTE RD
                    #1
                    LA MIRADA, CA 90638



                    Shane Almonasi
                    40579 163RD ST. EAST
                    LANCASTER, CA 93535



                    Shane Bingham
                    1940 N. BOULDER HWY.
                    49
                    HENDERSON, NV 89011



                    Shane Braun
                    131 CLEARWATER LARGO RD
                    LARGO, FL 33770



                    Shane Coley
                    3262 RACINE DR.
                    RIVERSIDE, CA 92503



                    Shane Dell Thompson
                    10215 BEECHNUT ST
                    HOUSTON, TX 77072



                    Shane Jensen
                    7266 MOHAWK STREET
                    SAN DIEGO, CA 92115



                    Shane Morris
                    10840 LOS JARDINES
                    FOUNTAIN VALLEY, NV 92708



                    Shane Tudela
                    1000 SE 160TH AVENUE
                    HH277
                    VANCOUVER, WA 98683
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                    Shaneria Crudup
                    1412 8TH ST.
                    WEST PALM BEACH, FL 33401



                    Shaneria Tomengo
                    2507 MESSINA AVE
                    ORLANDO, FL 32811



                    Shania Cherry
                    4300 18th st w
                    APT B307
                    BRADENTON, FL 34205



                    Shania Snyder
                    81876 SHADY COURT
                    INDIO, CA 92201



                    Shania Yazzie
                    8000 MONTGOMERY BLVD NE
                    ALBUQUERQUE, NM 87109



                    Shaniece Flynn
                    11912 MANZANILLA LN
                    LOS ANGELES, CA 90047



                    Shanik Hernandez
                    6817 Bouganvillea Crescent Dr
                    Orlando, FL 32809



                    Shanna Farmer
                    3170 WYNTREE DRIVE
                    NORCROSS, GA 30071



                    Shannon Bailey
                    2350 HARLEM AVE. APT F
                    LEESBURG, FL 34748
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                                      2164



                    Shannon Castillo
                    6309 NIGHTINGALE ST
                    18
                    VENTURA, CA 93003



                    Shannon Flores
                    2301 S Congress Ave
                    1322
                    Boynton Beach, FL 33426



                    Shannon Gilbert
                    6000 Oakwind Drive
                    Powder Springs, GA 30127



                    Shannon Gilbert
                    6000 Oakwind Drive
                    Powder Springs
                    GA, 30127



                    Shannon Holbert
                    16268 NW 10 ST
                    PEMBROKE PINES, FL 33028



                    Shannon King
                    308 Solar Wind St
                    Henderson, NV 89014



                    Shannon Perry
                    16410 ARGENT RD
                    CHINO HILLS, CA 91709



                    Shannon Raney
                    12616 SOUTH 40TH STREET
                    AHWATUKEE, AZ 85044



                    Shannon Senatore
                    706 N CHIPPEWA CIR
                    BOYNTON BEACH, FL 33436
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1880 of
                                      2164



                    Shannon Sharon
                    6000 Oakwind Drive
                    Powder Springs, GA 30127



                    Shannon walker jr
                    26001 BUDDE ROAD
                    3204
                    SPRING, TX 77380



                    Shanquita Woody
                    5590 WAVERLY PARK DRIVE
                    ATLANTA, GA 30349



                    Shantell Grace
                    9797 COUNTY RD 235
                    WILDWOOD, FL 34785



                    Shantelle Ruppel
                    24323 JACKSON AVENUE
                    210
                    MURRIETA, CA 92562



                    Shantierra Williams
                    8608 EAST OLD SPANISH TRAIL
                    84
                    TUCSON, AZ 85710



                    Shaomei Chen
                    1758 SARDONYX CT
                    LIVERMORE, CA 94550



                    Shapell Properties, Inc.
                    Attn: Legal Dept.
                    1990 S. Bundy Dr.
                    Ste. 500
                    Los Angeles, CA 90025
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1881 of
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                    SHAPPELL SOCAL RENTAL
                    1990 S. BUNDY DRIVE, SUITE 500
                    ATTN DENISE MEDINA
                    LOS ANGELES, CA 90025



                    SHAPPELL SOCAL RENTAL
                    PROPERTIES LLC
                    PO BOX 15777
                    BEVERLY HILLS, CA 90209-1777



                    Shaquilla Mcmath
                    1146 Pin Oak Drive
                    Apopka, FL 32703



                    Shaquille Robinson
                    12494 CREEKVIEW DRIVE
                    SAN DIEGO, CA 92128



                    Sharalyn Smookler
                    563 N MARIETTA PKWY NW
                    MARIETA, GA 30060



                    Sharay Mojica
                    21275 BEECHWOOD WAY
                    LAKE FOREST, CA 92630



                    Sharice Carty
                    601 NW 5TH ST
                    BOYNTON BEACH, FL 33435



                    Sharlene Khuu
                    1377 S Akron Way
                    Aurora, CO 80247



                    Sharmaine June Ganan
                    10491 BAYWOOD AVENUE
                    SAN DIEGO, CA 92126
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1882 of
                                      2164



                    Sharmela Shaw
                    4510 nw 36 st
                    402
                    Lauderdale lakes, FL 33319



                    Sharon Corado
                    571 South Coronado St
                    #420
                    Los Angeles, CA 90057



                    Sharon James
                    1691 Haller Court
                    #4
                    Concord, CA 94520



                    Sharon Mayorga
                    508 GULF AVE
                    28
                    WILMINGTON, CA 90744



                    SHARP PINELLAS COUNTY SHERIFFS OFFICE
                    PO DRAWER 2500
                    LARGO, FL 33779



                    Shatia Anderson
                    1012 Fairmont St
                    Clearwater, FL 33755



                    Shatia Parsons
                    415 WATER ROAD
                    OCALA, FL 34472



                    Shaun Diggs
                    11559 84TH ST. CIRCLE E
                    PARRISH, FL 34219



                    Shausta Guilbeaux
                    1806 WOOD ORCHARD DR
                    MISSOURI CITY, TX 77489
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1883 of
                                      2164



                    Shawn Archie
                    734 JACK LONDON DR
                    VALLEJO, CA 94589



                    Shawn Bacher
                    12840 SEMINOLE BLVD
                    APT.11
                    LARGO, FL 33778



                    Shawn Garrette II
                    5002 TITAN WAY
                    DENVER, CO 80239



                    Shawn Hanna
                    814 S. MAYFLOWER AVE.
                    A
                    MONROVIA, CA 91016



                    Shawn Holt
                    409 KINGSTON ST
                    AURORA, CO 80010



                    Shawn Horvath
                    2588 Riverside Dr
                    Pompano Beach, FL 33065



                    SHAWN HORVATH
                    2588 RIVERSIDE DR
                    CORAL SPRINGS, FL 33065



                    Shawn Hough
                    1752 Park Ave
                    Denver, CO 80218



                    Shawn Imperial
                    6714 BOOM TOWN DIVE
                    LAS VEGAS, NV 89122
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1884 of
                                      2164



                    Shawn Jackson
                    9871 PYRIAMID COURT
                    2-107
                    ENGLEWOOD, CO 80112



                    Shawn Quinn
                    1697 CORAL RIDGE DR.
                    1697
                    CORAL SPRINGS, FL 33071



                    Shawn Smith
                    2315 La Solle St
                    Sarasota, FL 34231



                    Shawn Stanley
                    2328 SAN LEANDRO BLVD
                    13102
                    SAN LEANDRO, CA 94578



                    Shawn Thibodo
                    16017 Ne 10th Way
                    Vancouver, WA 98684



                    Shawn Umoh
                    3625 E RAY ROAD
                    1125
                    PHOENIX, AZ 85044



                    Shawn Yazzie
                    12929 Skyview Ave. Ne
                    Albuquerque, NM 87123



                    Shawna Brown
                    2747 N POINCIANA BLVD
                    KISSIMMEE, FL 34746



                    Shawna Diep
                    18 N Marengo Ave
                    Alhambra, CA 91801
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                                      2164



                    Shawnta shepherd
                    319 W OAK ST
                    STOCKTON, CA 95203



                    Shayla Dominguez
                    951 E. Greenwood Ave.
                    Apt #n3
                    La Habra, CA 90631



                    Shayla Houston
                    1540 N LOCKWOOD RIDGE RD
                    221
                    SARASOTA, FL 34237



                    Shaylin Murray
                    5210 East Hampton Ave
                    1216
                    Mesa, AZ 85206



                    Shayna Anderson-Schmidt
                    80 S MARKET STREET
                    SAN JOSE, CA 95113



                    Shayna Siegel
                    209 Navajo Springs
                    Diamond Bar, CA 91765



                    Sheana Shalvey
                    6202 HILLWOOD DRIVE
                    ORLANDO, FL 32809



                    Shearer's Foods, LLC
                    Po Box 776167
                    Chicago, IL 60677-6167



                    Shearers
                    PO BOX 776167
                    CHICAGO, IL 60677-6167
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1886 of
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                    SHEARERS FOODS BURLINGTON LLC
                    PO BOX 776167
                    CHICAGO, IL 60677-6167



                    Sheeka Morris
                    1626 MOORE RD
                    STAFFORD, TX 77477



                    SHEER ENTERPRISES INC
                    6250 N MILITARY TRAIL #204
                    WEST PALM BEACH, FL 33407



                    Sheila Aponte
                    16424 N.29th St
                    Lot #36
                    Phoenix, AZ 85032



                    SHEILA BAKER
                    39W213 HILLTOP
                    ST CHARLES, IL 60175



                    Sheila Dominguez
                    434 W MISSION RD
                    211
                    SAN MARCOS, CA 92069



                    Sheila Mateos
                    5129 IRVINGTON PL
                    LOS ANGELES, CA 90042



                    Sheila Perez
                    1107 SOUTH 41ST STREET
                    #2
                    SAN DIEGO, CA 92113



                    Shekinah Hodge
                    1128 EAST MAGNOLIA ST
                    NONE
                    LEESBURG, FL 34748
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                                      2164



                    SHELBA JONES
                    1377 WHITE LEVEL RD
                    LOUISBURG, NC 27549



                    Shelby Briggs
                    3924 Abernathy Farm Way
                    Acworth, GA 30101



                    Shelby Eagen
                    5646 S LOCKWOOD RIDGE RD
                    SARASOTA, FL 34231



                    Shelby Ford
                    8239 COTTONWOOD AVE
                    28
                    FONTANA, CA 92335



                    Shelby Gordon
                    2106 El Prado Ave.
                    Lemon Grove, CA 91945



                    Shelby Gray
                    10300 GOLF COURSE RD NW
                    1112
                    ALBUQUERQUE, NM 87114



                    Shelby Teigeler
                    21841 EAST NASSAU PLACE
                    AURORA, CO 80018



                    Sheli Yaskin
                    1547 Plateau Ave
                    Los Altos, CA 94024



                    Shelia Clark
                    1950 WILLOW TRAIL PKWY
                    NORCROSS, GA 30093
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                    Shelley Caraballo
                    2138 Walden Park Circle
                    Kissimmee, FL 34744



                    Shelley Newnam
                    1900 INDIGO PLACE
                    207
                    LAKE FOREST, CA 92630



                    SHELLY ROSS
                    929 9TH AVE APT 1321
                    SAN DIEGO, CA 92101



                    Shelly Sallo
                    1441 Detroit Ave
                    Apt. 120
                    Concord, CA 94520



                    SHELLY SALLO
                    1441 DETROIT AVE APT 120
                    CONCORD, CA 94520



                    Shemar Polite
                    8201 BAHIA AVE
                    TAMPA, FL 33619



                    Sheneka Akins
                    2891 ADRIAN AVE
                    #E
                    LARGO, FL 33774



                    Shenekwa McFarlande
                    5714 STONERIDGE COURT
                    ORLANDO, FL 32829



                    Shequilla Sutton
                    1568 Mayflower Ave
                    Atlanta, GA 30311
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1889 of
                                      2164



                    Sheri Fimbres
                    302 W VIRGINIA ST
                    TUCSON, AZ 85706



                    Sherille Ayres
                    3903 Sherwood Ln
                    #14
                    Houston, TX 77092



                    Sherina Holden
                    979 South Ivory Cir
                    Aurora, CO 80017



                    Sherley Jean-Francois
                    733 BREAKERS AVENUE
                    FORT LAUDERDALE, FL 33304



                    Sherley Mateo
                    5885 DHALIA DRIVE
                    207
                    ORLANDO, FL 32807



                    Sherlyn Avila
                    7832 7TH
                    BUENA PARK, CA 90621



                    Sherma Chavez
                    719 Sw 5th St
                    Apt 3
                    Dania, FL 33004



                    Sherrell Baker
                    2714 NE 100TH ST
                    VANCOUVER, WA 98686



                    Sherri-Lee Johnston
                    15088 HUNTINGTON GATE DRIVE
                    POWAY, CA 92064
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                                      2164



                    Sherrick Butler
                    6936 Gregorich Dr
                    Unit C
                    San Jose, CA 95138



                    Sherrick Davis
                    3257 S PARKER RD
                    4606
                    DENVER, CO 80014



                    Sherrie Garcia
                    7211 Algonquain St
                    #201
                    Aurora, CO 80016



                    SHERRY ARMSTRONG
                    5405 HUNTINGWOOD DRIVE
                    RALEIGH, NC 27606



                    Sherry Docekal
                    8995 ROSWELL RD.
                    SANDY SPRINGS, GA 30350



                    Sherry Juarez
                    14881 FERNVIEW ST
                    WHITTIER, CA 90604



                    Sheryl Danford
                    4320 WEST 149 TH STREET
                    LAWNDALE, CA 90260



                    Sheryle Ignacio
                    2900 PEAR ST
                    ANTIOCH, CA 94509



                    Sheyanne Kent
                    19810 Cypresswood Lake Dr
                    Spring, TX 77373
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                                      2164



                    Sheyla Castillo
                    1922 GLOSRIDGE
                    HOUSTON, TX 77055



                    SHI INTERNATIONAL CORP
                    PO BOX 952121
                    DALLAS, TX 75395-2121



                    Shiann Brumfield
                    5497 QUAILRIDGE DR
                    CAMARILLO, CA 93012



                    SHIELD SECURITY SYSTEMS LLC
                    7456 W 5TH AVE
                    LAKEWOOD, CO 80226



                    SHIELD SECURITY SYSTEMS LLC
                    7456 W 5TH AVE
                    LAKEWOOD
                    CO, 80226



                    SHIELDS BAG & PRINTING CO
                    PO BOX 9848
                    YAKIMA, WA 98909



                    SHIGENOBU KAKU
                    3605 LONG BEACH BLVD #220
                    LONG BEACH, CA 90807



                    Shigenobu Kaku and Hikaru Kaku
                    3605 Long Beach Blvd
                    Ste. 220
                    Long Beach, CA 90807



                    Shigheiro Guido
                    133 PORTOLA LN
                    TUSTIN, CA 92780
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                    SHIH PROPERTIES INC
                    1245 E LAS TUNAS DRIVE
                    SAN GABRIEL, CA 91776-1703



                    SHIH Properties Incorporated
                    1245 E. Las Tunas Dr.
                    San Gabriel, CA 91776-1703



                    Shih Properties Incorporated
                    1245 East Las Tunas Dr
                    San Gabriel, CA 91776



                    Shikira Sands
                    4400 N.W. 14 CT
                    MIAMI, FL 33142



                    Shimeka Shavers
                    1485 COLLINGWOOD DR
                    1485
                    MARIETTA, GA 30067



                    SHIMEKA SHAVERS
                    10435 LINDLEY AVE #201
                    NORTHRIDGE, CA 91326



                    SHIN KANG
                    13261 ST ANDREWS DR #M7-151-I
                    SEAL BEACH, CA 90740



                    SHIP
                    2023 NORTH GREENGROVE STREET
                    C/O MARK RICHARD BURKE
                    ORANGE, CA 92865



                    SHIP AMERICAN FAMILY HOUSING
                    15161 JACKSON ST
                    MIDWAY CITY, CA 92655
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                                      2164



                    Shirin Khedher
                    24918 OLD STONE WAY
                    STEVENSON RANCH, CA 91381



                    Shirley Duong
                    336 Greendale Dr
                    La Puente, CA 91746



                    Shirley Franklin
                    17595 Harbard
                    Suite C-217
                    Irvine, CA 92614



                    SHIRLEY GRIFFEY BARR
                    834 HEATHER COURT
                    HOUSTON, TX 77024



                    Shmar Hudgens
                    1625 S MAPLE STREET
                    3
                    ESCONDIDO, CA 92025



                    Shmayah Ritts
                    19252 HARLISS ST
                    NORTHRIDGE, CA 91324



                    SHOES FOR CREWS INC
                    P.O. BOX 504634
                    ST. LOUIS, MO 75284-4634



                    SHOES FOR CREWS INC
                    PO BOX 734176
                    CHICAGO, IL 60673-4176



                    Shoes For Crews Inc.
                    PO Box 734176
                    Chicago, IL 60673-4176
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                    SHOES FOR CREWS INC
                    1400 CENTREPARK BLVD #310
                    WEST PALM BEACH, FL 33401-7403



                    Shoki Leffel
                    2304 SE 117TH AVENUE
                    PORTLAND, OR 97216



                    Shon Martin
                    15935 KIMBALL ST
                    LAKE OSWEGO, OR 97035



                    Shontek Fann
                    1023 kingway drive
                    LITHONIA, GA 30058



                    SHOP SWEET LULU
                    214 ONTARIO ST
                    FRANKFORT, IL 60423



                    Shoteria Dieudonne
                    4947 CAPE HATTERAS DRIVE
                    CLERMONT, FL 34714



                    Shpresa Mahmutaj
                    7203 Curtis Ave
                    #3b
                    Gulf Gate Estates, FL 34231



                    Shred it
                    28883 NETWORK PLACE
                    CHICAGO, IL 60673-1288



                    SHRED-IT US JV LLC
                    28883 NETWORK PLACE
                    CHICAGO, IL 60673-1288
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1895 of
                                      2164



                    SHS Fairbanks Group LLC
                    Attn: Sid Savelle c/o Savelle Investment Dynamics
                    3015 North Ocean Blvd.
                    Ste. 110
                    Fort Lauderdale, FL 33308



                    Shyanne Brown
                    8031 WINTER GARDENS BLVD
                    19
                    LAKESIDE, CA 90201



                    Shyanne Liesch
                    320 EAST MOHAVE ST.
                    1
                    TUCSON, AZ 85705



                    Shylakota Lephart
                    11217 Dean Street
                    Bonita Springs, FL 34135



                    Shyteyana Davis
                    1093 S Quintero St
                    Aurora, CO 80017



                    SIDELINE APPAREL INC
                    6314 98TH ST E
                    BRADENTON, FL 34202



                    SIDNEY FAMILY LIMITED PARTNERSHIP
                    220 30TH STREET
                    MANHATTAN BEACH, CA 90266



                    Sidney Family Limited Partnership
                    220 30th St.
                    Manhattan Beach, CA 92066



                    Sidney Greenamyer
                    16001 SW 2ND ST
                    SHERWOOD, OR 97140
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1896 of
                                      2164



                    Sidney lucas
                    50 NW 14TH AVE
                    DANIA, FL 33004



                    Sidney mendez
                    2882 GULF TO BAY BLVD
                    LOT 214
                    CLEARWATER, FL 33759



                    Sidney Wright
                    1 UNIVERSITY DRIVE
                    SANTA ROSA BUILDING 196
                    CAMARILLO, CA 93012



                    Sienna Tubbs
                    346 Sonora Dr.
                    Camarillo, CA 93010



                    Sierra Bell
                    10445 E PALLADIUM
                    MESA, AZ 85212



                    Sierra Drewry
                    12743 LEYDEN STREET
                    UNIT F
                    THORNTON, CO 80602



                    SIERRA HILLBILLIES
                    24148 DALGO DRIVE
                    VALENCIA, CA 91355



                    Sierra Kosel
                    4605 BAKER CT NW
                    ALBUQUERQUE, NM 87114



                    Sierra Ortega-Santopietro
                    3775 WEST 100TH AVE
                    WESTMINSTER, CO 80031
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1897 of
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                    Sierra Pickett
                    9235 TIMBERLINE LANE
                    #E
                    RANCHO CUCAMONGA, CA 91730



                    SIERRA R. ORTEGA-SANTOPIETRO
                    3775 WEST 100TH AVE
                    WESTMINSTER, CO 80031



                    Sierra Rios
                    1335 SOUTH BENTON STREET
                    LAKEWOOD, CO 80232



                    Sierra Santa
                    15112 W Pima St
                    Gadsden, AZ 85336



                    Sierra Siebert
                    598 E. WOODHAVEN LANE
                    FRESNO, CA 93720



                    Sierra Sweet
                    3626 E. LATHAM WAY
                    GILBERT, AZ 85297



                    Sierra Warring
                    16574 SE SUN AVE
                    MILWAUKIE, OR 97267



                    Sierra Wheaton
                    442 Sievers Ave
                    Brea, CA 92821



                    Siew Kong Wong
                    5500 NW 2ND AVE
                    APT 423
                    BOCA RATON, FL 33487
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1898 of
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                    SIGMA ALPHA IOTA
                    3779 E 11TH ST 203
                    LONG BEACH, CA 90804



                    Signa Digital Solutions
                    8525 CAMINO SANTA FE
                    STE H
                    SAN DIEGO, CA 92121



                    SIGNA DIGITAL SOLUTIONS INC
                    8525 CAMINO SANTA FE
                    STE H
                    SAN DIEGO, CA 92121



                    Signa Digital Solutions, Inc
                    8525 Camino Santa Fe Suite H
                    San Diego, CA 92121



                    Signa Digital Solutions, Inc
                    8525 Camino Santa Fe Suite H
                    San Diego
                    CA, 92121



                    SIGNAGE SOLUTIONS INC
                    2231 S DUPONT DR
                    ANAHEIM, CA 92806



                    SIGNATURE MAIDS LLC
                    10404 W SR84 STE 106
                    DAVIE, FL 33324



                    SILLIKER INC
                    PO BOX 206972
                    DALLAS, TX 75320-6972



                    Silvana Ortiz
                    302 lime tree apt A
                    Tampa, FL 33619
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                                      2164



                    Silvana Perez
                    7525 E COURTYARD RUN
                    BOCA RATON, FL 33433



                    Silvana Sevilla
                    710 W 18th St
                    Apt 51
                    Costa Mesa, CA 92627



                    Silvano Saldana
                    1531 S Sycamore Ave
                    Apt #5
                    Los Angeles, CA 90019



                    SILVER CREEK HIGH SCHOOL
                    3434 SILVER CREEK RD
                    SAN JOSE, CA 95121



                    SILVER CREEK HIGH SCHOOL
                    3434 SILVER CREEK RD
                    SAN JOSE
                    CA, 95121



                    SILVER LINING AMENITIES
                    22994 EL TORO RD STE 101
                    LAKE FOREST, CA 92630



                    Silver Lining Amenities, Inc
                    PO Box 102318
                    Pasadena, CA 91189-2318



                    SILVER PROPERTY SOLUTIONS INC
                    2010 LADY AVE
                    OCOEE, FL 34761



                    SILVER STATE PLUMBING LLC
                    4535 COPPER SAGE STREET
                    LAS VEGAS, NV 89115
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1900 of
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                    SILVERADO ROOTER AND PLUMBING INC
                    1208 W ROGER RD
                    TUCSON, AZ 85718



                    SILVERCREST ADVERTISING INC
                    6818 CHISHOLM AVE
                    VAN NUYS, CA 91406



                    SILVERLAKES ELEMENTARY PTSA
                    2300 SW 173RD AVENUE
                    MIRAMAR, FL 33029



                    SILVERSTATE REFRIGERATION & HVAC LLC
                    4535 COPPER SAGE ST
                    LAS VEGAS, NV 89115



                    Silvestre Merlan
                    536 Malabar Drive
                    San Jose, CA 95127



                    Silvia Delgado
                    24 N ALDER DRIVE
                    ORLANDO, FL 32807



                    Silvia Magana
                    1440 N 11TH ST
                    103
                    FRESNO, CA 93703



                    Silvia Sanchez
                    21205 Saticoy Street
                    Apt 3
                    Canoga Park, CA 91304



                    SILVIA SANCHEZ
                    20446 SATICOY ST APT 14
                    WINNETKA, CA 91306
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1901 of
                                      2164



                    SILVIA SANCHEZ
                    20446 SATICOY ST APT 14
                    WINNETKA
                    CA, 91306



                    Silvia Soto
                    3901 Montgomery Blvd Ne
                    Apt 1015
                    Albuquerque, NM 87109



                    Simon Duvinage
                    4176 Misty Ridge
                    San Diego, CA 92130



                    Simon Evaristo
                    529 East Indian Rock Rd
                    Vista, CA 92084



                    SIMON ROOFING AND SHEET METAL
                    PO BOX 951109
                    CLEVELAND, OH 44193



                    SIMPLEXGRINNELL
                    DEPT CH 10320
                    PALATINE, IL 60055-0320



                    SIMPSON COUNTY KY
                    PO BOX 242
                    FRANKLIN, KY 42135



                    Simran Bhullar
                    521 HIGHLANDER AVE
                    LA HABRA, CA 90631



                    Sinai Forbes
                    7315 CANYON VIEW LANE
                    LEMON GROVE, CA 91945
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                    Sindia Carmona
                    5549 B St
                    Chino, CA 91710



                    Sindy Sermeno
                    10919 fondren rd.
                    APT 2602
                    HOUSTON, TX 77096



                    Sira Diakite sira
                    2231 S VAUGHN WAY
                    APT 214 B
                    AURORA, CO 80014



                    Sirons Tamizkar
                    38710 10th East 7
                    Palmdale, CA 93550



                    SISTERHOOD OF TEMPLE BETH OHR
                    9812 SANTA GERTRUDES AVE
                    WHITTIER, CA 90603



                    Siulanis Rosa Rivera
                    14916 PINECREST RD
                    TAMPA, FL 33613



                    Sivad Askew
                    431 NATALIE DR
                    LAWERENCEVILLE, GA 30043



                    SKIM ANALYTICAL INC
                    111 RIVER STREET STE 1200
                    HOBOKEN, NJ 07030



                    Sky Fowler
                    16611 DAEZA DRIVE
                    WINTER GARDEN, FL 34787
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                    Sky Na
                    6273 Guyson Ct.
                    Pleasanton, CA 94588



                    Skyla Rodriguez
                    1434 N. PLACER PL.
                    ONTARIO, CA 91764



                    Skylar Cummings
                    2102 W DUNLAP AVE
                    381
                    PHOENIX, AZ 85021



                    Skylar Jones
                    1305 FRONT ST
                    NEEDLES, CA 92363



                    Skylar Me
                    1003 E HILL STREET
                    #6
                    LONG BEACH, CA 90806



                    Skylar Norman
                    1606 ALDRICH WAY
                    SAN JOSE, CA 95121



                    Skylar Schlutz
                    2657 STAR LAKE VIEW DR
                    KISSIMMEE, FL 34747



                    Skylar Schwalb
                    6844 GROVES STREET
                    CHINO, CA 91710



                    Skyler burgers
                    9738 WILDHERD AVE
                    LAS VEGAS, NV 89149
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                    Skyler Dlouhy
                    4619 NE 112TH AVENUE
                    A102
                    VANCOUVER, WA 98682



                    Skyler Elbaum
                    7225 S. Depew St.
                    Littleton, CO 80128



                    Skyler McMullen
                    8966 W ARBOR DR
                    LITTLETON, CO 80123



                    Skyler Thompson
                    349 SUNCREST CIR
                    BREA, CA 92821



                    SKYLIGHT CORP
                    PO BOX 2136
                    AUSTIN, TX 78768-2136



                    SKYLINE SCHOOL PTA
                    11536 NW SKYLINE BLVD.
                    PORTLAND, OR 97231



                    SKYLINE WINDOW CLEANING
                    1329 N 29TH AVE STE A-3
                    PHOENIX, AZ 85009



                    SKYLINE WINDOW CLEANING
                    1329 N 29TH AVE STE A-3
                    PHOENIX
                    AZ, 85009



                    Skytek Building
                    2755 E GANLEY ROAD STE 101
                    TUCSON, AZ 85706
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                    SKYTEK BUILDING SERVICES LLC
                    2755 E GANLEY ROAD STE 101
                    TUCSON, AZ 85706



                    SKYTEK BUILDING SERVICES LLC
                    2755 E GANLEY ROAD STE 101
                    TUCSON
                    AZ, 85706



                    Skywindow Cleaning
                    JAMES CLOYD
                    4110 SE HAWTHORNE BLVD #946
                    PORTLAND, OR 97214



                    SLHS GAPP
                    9300 W 104TH AVE
                    WESTMINSTER, CO 80021



                    SLM WASTE AND RECYCLING SERVICES INC
                    PO BOX 782678
                    PHILADELPHIA, PA 19178-2678



                    SMART CITY
                    PO BOX 733082
                    DALLAS, TX 75373-3082



                    SMARTSHEET INC
                    DEPT 3421
                    PO BOX 123421
                    DALLAS, TX 75312-3421



                    SMG




                    Smithfield
                    Po Box 74008622
                    Chicago, IL 60674-8622
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                    Snag a Job
                    32978 COLLECTIONS CENTER DR
                    CHICAGO, IL 60693



                    SNAGAJOBCOM INC
                    32978 COLLECTIONS CENTER DR
                    CHICAGO, IL 60693



                    Sneha Krishnan
                    1429 THATCHER STREET
                    FULLERTON, CA 92833



                    snehal patel
                    1074 BONITA STREET
                    TUSTIN, CA 92780



                    SOBRATO MURPHY MUSIC ASS
                    PO BOX 1198
                    MORGAN HILL, CA 95038



                    SOBRATO MURPHY MUSIC ASS
                    PO BOX 1198
                    MORGAN HILL
                    CA, 95038



                    SOCAL GASKET GUY LLC
                    3460 MARRON RD STE 103-345
                    OCEANSIDE, CA 92056



                    SOCALGAS
                    PO BOX C
                    MONTEREY PARK, CA 91756-5111



                    SOCALGAS
                    PO BOX C
                    MONTEREY PARK
                    CA, 91756-5111
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                    SOCCER CLUB OF OCEANSIDE
                    2214 EL MONTE DR
                    OCEANSIDE, CA 92054



                    SOCIETY OF WOMEN ENGINEERS
                    1250 N BELLFLOWER BLVD MAE
                    LONG BEACH, CA 90840



                    SOCIETY OF WOMEN ENGINEERS
                    1250 N BELLFLOWER BLVD MAE
                    LONG BEACH
                    CA, 90840



                    Socorro Flores
                    1305 Gottage Pl
                    Brandon, FL 33510



                    Socorro Maldonado Ruiz
                    1844 Goose Creek Pl
                    Las Vegas, NV 89108



                    Socorro Montero




                    Socrates Panganiban
                    823 MAYWOOD ST
                    ESCONDIDO, CA 92027



                    Sofia acevedo
                    4134 SIERRA VISTA DR
                    CHINO HILLS, CA 91709



                    Sofia Estrada
                    1023 N. Hudson Ave
                    Apt #2
                    Los Angeles, CA 90038
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1908 of
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                    Sofia Lucio
                    914 BAYVIEW AVE
                    WILMINGTON, CA 90744



                    Sofia Mier
                    11910 GOODALE AVE
                    FOUNTAIN VALLEY, CA 92708



                    Sofia Ramos
                    2128 W BROWNWOOD
                    2
                    ANAHEIM, CA 92801



                    Sofia Romo
                    798 GLENSIDE
                    SAN JOSE, CA 95123



                    Sofia Rosquero
                    400 Fairwood Ave
                    Apt 114
                    Clearwater, FL 33759



                    Sofia Sein
                    3709 N 56TH ST TAMPA FL
                    TAMPA, FL 33619



                    Soheir Mohamed
                    2652 WHISPER LAKES CLUB CIR
                    ORLANDO, FL 32837



                    Soila Rodriguez
                    2001 S HACIENDA BLVD #19
                    HACIENDA HEIGHTS, CA 91745



                    SOJOURNER PTA
                    11909 SE LINWOOD AVE
                    MILWAUKIE, OR 97222
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                    SOJOURNER PTA
                    11909 SE LINWOOD AVE
                    MILWAUKIE
                    OR, 97222



                    SOLANA BEACH SCHOOL FOUNDATION
                    13605 PACIFIC HGHLNDS RCH PKWY
                    SOLANO RANCH
                    SAN DIEGO, CA 92130



                    Solange Luna Vega
                    8703 ALBION CT
                    TAMPA, FL 33634



                    Solangel Luna
                    46745 Monroe St
                    Indio, CA 92201



                    Soledad Lerma Diaz
                    1451 4TH ST
                    SIMI VALLEY, CA 93065



                    Soledad Tejeda
                    804 N Angeleno Ave
                    Azusa, CA 91702



                    Solim Kodo Talibia
                    1205 Martins Chapel Lane
                    Lawrenceville, GA 30045



                    Solomon Whittaker
                    10442 LONDONDERRY AVE
                    SAN DIEGO, CA 92126



                    solomone Nagalo
                    4623 ROTHBURY CMN
                    FREMONT, CA 94536
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                    SOLUTIONS FOR CHANGE
                    895 VIA LA VENTA
                    SAN MARCOS, CA 92069



                    SOMERSET LOSEE ACADEMY
                    4650 LOSEE ROAD
                    SOMERSET LOSEE PTO
                    NORTH LAS VEGAS, NV 89081



                    Sommer DeRose - Olvera
                    631 N LAS POSAS RD
                    210
                    CAMARILLO, CA 93010



                    Sommer Kitsuse
                    2816 WARREN WAY
                    ARCADIA, CA 91007



                    Somrudii Williams
                    2625 Davis Ave
                    Carlsbad, CA 92008



                    Soneil Anestal
                    1310 BANKS ROAD
                    103
                    MARGATE, FL 33063



                    SONEXIS TECHNOLOGY INC
                    2420 MOSSIDE BLVD
                    MONROEVILLE, PA 15146



                    SONI PLAZA ASSOCIATES LLC
                    830 TRUMAN AVE
                    KEY WEST, FL 33040



                    Sonia Aguilar
                    5611 1/2 Huntington
                    Dr. N
                    Los Angeles, CA 90032
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                    Sonia Barrera de Joaquin
                    9530 SW GREENBURG RD
                    12
                    TIGARD, OR 97223



                    Sonia Blakely
                    11360 CITRUS DR
                    102
                    VENTURA, CA 93004



                    Sonia Georgewill
                    5504 MOUNTAIN VIEW SUMMIT
                    STONE MOUNTAIN, GA 30087



                    Sonia Getz
                    3160 PASEO ROBLES
                    PLEASANTON, CA 94566



                    Sonia Hernandez
                    11672 Carmenita Rd
                    Apt D
                    Whittier, CA 90605



                    Sonia Hernandez Garcia
                    2442 E Tryon Ave
                    Anaheim, CA 92806



                    Sonia Lopez
                    649 MAGNOLIA AVE
                    CARLSBAD, CA 92008



                    Sonia Perez
                    6715 AZUSA CT RIVERSIDE
                    CA, CA 92509



                    Sonia Perez Morales
                    6750 Tulip Falls Dr.
                    Unit 117
                    Henderson, NV 89011
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                    Sonia Pinto
                    669 Jamestown Blvd.
                    Apt. 1060
                    Altamonte Springs, FL 32714



                    Sonia Ramos
                    2529 W GREEN ST
                    TAMPA, FL 33607



                    Sonia Reyes
                    1901 E Santa Ana St
                    Anaheim, CA 92805



                    Sonia Valencia
                    5500 MOUNTAIN VISTA ST.
                    1415
                    LAS VEGAS, NV 89120



                    Sonia vasquez
                    9946 DEANWOODS PL
                    ORLANDO, FL 32825



                    Sonny Garcia
                    1546 N. Roosevelt
                    Fresno, CA 93728



                    Sonny Rychtarik
                    1508 NE 98TH AVE
                    VANCOUVER, WA 98664



                    Sonny Thompson
                    3833 Se 76th Ave
                    Portland, OR 97236



                    Sonnyvette Vargas
                    3561 Sw 177th Ave
                    Miramar, FL 33029
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                    SONORAN SCIENCE ACADEMY CRUSH
                    2325 W SUNSET ROAD
                    TUCSON, AZ 85741



                    SONORAN SCIENCE ACADEMY EAST PTO
                    7450 E STELLA RD
                    TUCSON, AZ 85730



                    Sonya Lopez
                    1256 BOYNTON ST. APT #1
                    GLENDALE, CA 91205



                    SONYA LOPEZ
                    1256 BOYNTON ST APT 1
                    GLENDALE, CA 91205



                    Sophia Amado
                    3923 MADISON BEND
                    KENNESAW, GA 30144



                    Sophia Bauer
                    12685 CAMINO MIRA DEL MAR
                    SAN DIEGO, CA 92130



                    Sophia Chen
                    11036 CORTE MAR DE DELFINAS
                    SAN DIEGO, CA 92130



                    Sophia Flores
                    2313 CARTLEN DR
                    PLACENTIA, CA 92870



                    Sophia Hermosillo
                    316 E. Patrician Dr.
                    Tempe, AZ 85282
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                    Sophia Mowers
                    91 MARABOU PL.
                    THE WOODLANDS, TX 77380



                    Sophia Ota
                    2434 NICOLAS DRIVE
                    FULLERTON, CA 92838



                    Sophia Shea
                    10903 SW HELENIUS ST
                    TUALATIN, OR 97062



                    Sophia Sterling
                    1920 NW 60TH AVE
                    SUNRISE, FL 33313



                    Sophia Wafa
                    1393 San Bernardino Rd
                    Unit C
                    Upland, CA 91786



                    SOPHIE PIRES
                    268 MONTANA WAY
                    LOS OSOS, CA 93408



                    Sophie Sengstake
                    6479 SW BURLINGAME PL
                    PORTLAND, OR 97239



                    Sothary Chhoeum
                    6958 SE WILSHIRE ST
                    MILWAUKIE, OR 97267



                    Souheil Elzaim
                    20702 SPRINGLIGHT LN
                    SPRING, TX 77379
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                    Soup Bases Loaded
                    2355 E Francis St
                    Ontario, CA 91761



                    SOUPLANTATION CK #822
                    1850 RAYMER AVENUE BLDG #4
                    FULLERTON, CA 92832



                    SOUTH BAY JUNIOR ACADEMY
                    4400 DELAMO BLVD
                    TORRANCE, CA 90503



                    SOUTH DAKOTA UNEMP INSURANCE D
                    P.O. BOX 4730
                    ABERDEEN, SD 57402-4730



                    SOUTH EAST CUTLERY
                    407 EAST PROSPECT ROAD UNIT 4
                    OAKLAND PARK, FL 33334



                    SOUTH LAKE AVE INVESTORS
                    251 S LAKE AVE STE 100
                    PASADENA, CA 91101



                    SOUTH LAKE AVE INVESTORS
                    PO BOX 748163
                    C/O PM REALTY GROUP
                    LOS ANGELES, CA 90074-8163



                    SOUTH LAKE AVE INVESTORS
                    251 SOUTH LAKE AVENUE
                    P1 PARKING OFFICE
                    PASADENA, CA 91101-3003



                    SOUTH OCEANSIDE ELEMENTARY PTO
                    1806 S HORNE ST
                    OCEANSDIE, CA 92054
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                    SOUTHEASTERN MILLS INC
                    PO BOX 743056
                    ATLANTA, GA 30374-3056



                    Southeastern Mills, Inc
                    Po Box 743056
                    Atlanta, GA 30374-3056



                    Southeastern Mills, Inc
                    Po Box 743056
                    Atlanta
                    GA, 30374-3056



                    Southeastern Paper Group
                    Po Box 890671
                    Charlotte, NC 28289



                    SOUTHERN ARIZONA VIA DE CRISTO
                    PO BOX 18349
                    TUCSON, AZ 85731



                    SOUTHERN CALIFORNIA EDISON
                    PO BOX 300
                    ROSEMEAD, CA 91772-0001



                    SOUTHERN CALIFORNIA EDISON
                    PO BOX 600
                    ROSEMEAD, CA 91771-0001



                    SOUTHERN CALIFORNIA SECURITY CENTERS INC
                    16711 PARKSIDE AVE
                    CERRITOS, CA 90703



                    SOUTHERN CALIFORNIA TIGERS YOUTH CLUB
                    2318 W 180 ST
                    TORRANCE, CA 90504
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                    SOUTHERN FOODS GROUP
                    PO BOX 746496
                    ATLANTA, GA 30374-6496



                    SOUTHERN FOODS GROUP
                    PO BOX 746496
                    ATLANTA
                    GA, 30374-6496



                    SOUTHERN NEVADA REGIONAL
                    PO BOX 845688
                    LOS ANGELES, CA 90084-5688



                    Southern Sweepers & Scrubbers, Inc.
                    609A Valleydale Terrace
                    Birmingham, AL 35244



                    SOUTHERN TIMING LLC
                    8131 VINELAND AVE #322
                    ORLANDO, FL 32821



                    SOUTHWASTE DISPOSAL LLC
                    PO BOX 53988
                    LAFAYETTE, LA 70505-3988



                    SOUTHWEST BUSINESS SOLUTIONS
                    1204 BLOOMSBURY MANOR DR
                    DURHAM, NC 27703



                    Southwest Creations
                    5609 EDITH BLVD NE
                    ALBUQUERQUE, NM 87107



                    SOUTHWEST CREATIONS LANDSCAPING AND MAIN
                    5609 EDITH BLVD NE
                    ALBUQUERQUE, NM 87107
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                    SOUTHWEST GAS CORPORATION
                    PO BOX 24531
                    OAKLAND, CA 94623-1531



                    SOUTHWEST HIGH FOLKLORICO CLUB
                    1685 HOLLISTER ST
                    SAN DIEGO, CA 92154



                    SOUTHWEST LOCK & SAFE
                    3255 S WADSWORTH BLVD UNIT D
                    LAKEWOOD, CO 80227



                    SOUTHWEST OUTDOOR COOLING INC
                    428 EAST THUNDERBIRD RD #335
                    PHOENIX, AZ 85022



                    SOUTHWESTERN COMMUNITY COLLEGE
                    3988 IOWA STREET APT 10
                    SAN DIEGO, CA 92104



                    SOUTHWESTERN COMMUNITY COLLEGE
                    50 BISHOP ST
                    C/O MARISOL PINA
                    CHULA VISTA, CA 91911



                    SOVOS COMPLIANCE LLC
                    PO BOX 347977
                    PITTSBURGH, PA 15251-4977



                    SP PLUS CORPORATION
                    DO NO USE
                    USE DKCONN
                    ST. LOUIS, MO 63179-0402



                    SPALTECH GENERAL SERVICES
                    SPALTECH GS
                    3608 RONDA DE LECHUSAS NW
                    ALBUQUERQUE, NM 87120
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                    Sparkletts
                    DS Waters Of America, Inc
                    Po Box 660579
                    Dallas, TX 75266-0579



                    SPCA LA
                    5026 W JEFFERSON BLVD
                    LOS ANGELES, CA 90016



                    SPECIAL OLYMPICS NTHRN CALIFORNIA
                    3480 BUSKIRK AVE #340
                    PLEASANT HILL, CA 94523



                    SPECIAL T WATER SYSTEMS INC
                    PO BOX 165
                    WHITTIER, CA 90608-0165



                    SPELLBOUND DEVELOPMENT GROUP INC
                    PO BOX 1639
                    NEWPORT BEACH, CA 92659



                    Spellbound Development Group, Inc
                    P.O. Box 1639
                    Newport Beach, CA 92659



                    Spellbound Development Group, Inc
                    P.O. Box 1639
                    Newport Beach
                    CA, 92659



                    Spencer Cormack
                    9683 SE 37TH AVE
                    MILWAUKIE, OR 97222



                    Spencer Hauf
                    1519 SADDLE COURT
                    PALM HARBOR, FL 34683
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                    Spencer Hayes
                    10290 Lariat Dr
                    Santee, CA 92071



                    Spencer Hillis
                    3627 W. ALTADENA AVE
                    PHOENIX, AZ 85029



                    Spencer Keefe
                    8146 FAN PALM WAY
                    KISSIMMEE, FL 34747



                    Spencer Mack
                    40712 La Salle Place
                    Murrieta, CA 92563



                    SPENCER MACK
                    40712 LA SALLE PL
                    MURRIETA, CA 92563



                    Spencer Parker
                    1413 CONFEDERATE RD
                    HOUSTON, TX 77055



                    Spencer Yelton
                    8811 GRAND BAYOU CT
                    TAMPA, FL 33635



                    SPGG Properties, Ltd.
                    Domain Corporation
                    2716 Ocean Park Blvd. #3006
                    Santa Monica, CA 90405-5207



                    SPGG Properties, Ltd.
                    PO Box 967
                    Palos Verdes Estates, CA 90274-0967
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                    SPHEAR INVESTMENTS LLC
                    200 EAST CARRILLO STREET #200
                    SANTA BARBARA, CA 93101



                    Sphear Investments, LLC
                    Attn: Amy K. Jones c/o Investec Management Corp.
                    200 East Carrillo St.
                    Ste. 200
                    Santa Barbara, CA 93101



                    SPHS MUSIC BOOSTERS INC
                    PO BOX 3523
                    SOUTH PASADENA, CA 91031



                    SPILL MAGIC INC
                    630 YOUNG STREET
                    SANTA ANA, CA 92705-5633



                    SPIRIT ENTERPRISES OF OREGON INC
                    PO BOX 33157
                    PORTLAND, OR 97292



                    SPIRIT THERAPIES
                    9140 W LA MADRE WAY
                    LAS VEGAS, NV 89149



                    SPLASHTOP INC
                    1054 S DE ANZA BLVD STE 200
                    SAN JOSE, CA 95129



                    Spring Alaniz
                    836 W Terrace
                    Fresno, CA 93705



                    SPRING BRANCH ISD TAX ASSESOR COLLECTOR
                    PO BOX 19037
                    HOUSTON, TX 77224-9037
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1922 of
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                    SPRING VALLEY KIWANIS FOUNDATION
                    PO BOX 367
                    SPRING VALLEY, CA 91976



                    SPRINGDALE TAX COMMISSION
                    11700 SPRINGFIELD PIKE
                    SPRINGDALE, OH 00045-2460



                    SPRINGS CHARTER
                    42145 LYNDIE LANE
                    TEMECULA, CA 92591



                    SPRINT
                    PO BOX 4181
                    CAROL STREAM, IL 60197-4181



                    SRK LADY LAKE OP5 LLC
                    SRK LADY LAKE 21 ASSOCIATES,LL
                    P.O. BOX 713426
                    CINCINNATI, OH 45271-3426



                    SRK LADY LAKE OP5 LLC
                    4053 MAPLE RD STE 200
                    AMHERST, NY 14226



                    SRK Lady Lake OP5, LLC
                    c/o Benchmark Management
                    4053 Maple Rd.
                    Ste. 200
                    Amherst, NY 14226



                    SRP
                    PO BOX 80062
                    PRESCOTT, AZ 86304-8062



                    SRRPC
                    9915 MAGNOLIA AVE
                    SANTEE, CA 92071
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1923 of
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                    SRRPC
                    9915 MAGNOLIA AVE
                    SANTEE
                    CA, 92071



                    SRTMS PTO
                    10253 PRINCIPE PL
                    CAMARILLO, CA 93012



                    SSA TUCSON
                    2325 W SUNSET RD
                    TUCSON, AZ 85741



                    SSD ALARM SYSTEMS
                    1740 N LEMON STREET
                    ANAHEIM, CA 92801-1007



                    SSD ALARM SYSTEMS
                    1740 N LEMON STREET
                    ANAHEIM
                    CA, 92801-1007



                    SSMS MUSIC BOOSTER
                    3980 NW 114TH AVE
                    CORAL SPRINGS, FL 33065



                    ST LEO THE GREAT SCHOOL
                    1051 WEST SAN FERNANDO ST
                    SAN JOSE, CA 95126



                    ST ANDREWS PRESBYTERIAN CHURCH
                    705 MICHIGAN BLVD
                    DUNEDIN, FL 34698



                    ST ANNE OF GRACE EPISCOPAL CHU
                    6650 113TH ST
                    SEMINOLE, FL 33772
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1924 of
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                    ST BARBARA SCHOOL
                    5306 W MCFADDEN AVE
                    SANTA ANA, CA 92704



                    ST ELIZABETH ANN SETON
                    1807 PUEBLO VISTA DR
                    LAS VEGAS, NV 89108



                    ST FAUSTINA CATHOLIC CHURCH
                    1714 US HIGHWAY 27 STE 23
                    CLERMONT, FL 34714



                    ST FRANCIS DE SALES CATHOLIC SCHOOL
                    8100 ROOS RD
                    HOUSTON, TX 77036



                    ST FRANCIS DE SALES YOUTH
                    1375 S CAMINO SECO
                    TUCSON, AZ 85710



                    ST FRANCIS SCHOOL OF VISTA
                    525 W VISTA WAY
                    VISTA, CA 92083



                    ST GABRIELS CATHOLIC CHURCH
                    13887 DEERGRASS COURT
                    POWAY, CA 92064



                    ST GERALD CIRCLE
                    14431 S 35TH ST
                    PHOENIX, AZ 85044



                    ST JOHN THE BAPTIST SCHOOL
                    10956 SE 25TH AVE
                    MILWAUKIE, OR 97222
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                    ST JOSEPH OF CUPERTINO SCHOOL
                    10120 N DE ANZA BLVD
                    CUPERTINO, CA 95014



                    ST JOSEPH ROMAN CATHOLIC PRSH
                    215 S CRAYCROFT RD
                    ST JOSEPHS CATHOLIC SCHOOL
                    TUCSON, AZ 85711



                    ST LAWRENCE ELEM & MID SCHOOL
                    1977 ST LAWRENCE DRIVE
                    SANTA CLARA, CA 95051



                    ST MARK PARISH
                    3141 W 96TH AVE
                    WESTMINS, CO 80031



                    ST MARY MAGDALEN SCHOOL
                    2534 VENTURA BLVD
                    ATTN BARBARA PIWOWARSKI
                    CAMARILLO, CA 93010



                    ST MARY STAR OF THE SEA SCHOOL
                    515 WISCONSIN AVENUE
                    OCEANSIDE, CA 92054



                    ST PANCRATIUS SCHOOL
                    3601 ST PANCRATIUS PL
                    LAKEWOOD, CA 90712



                    ST PAUL ACYO JRS
                    3767 N FIRST ST
                    FRESNO, CA 93726



                    ST RAYMOND SCHOOL
                    11557 SHANNON AVE
                    DUBLIN, CA 94568
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1926 of
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                    ST RAYMOND SCHOOL
                    11557 SHANNON AVE
                    DUBLIN
                    CA, 94568



                    ST THOMAS AQUINAS SCHOOL
                    1100 HOOD RD SE
                    RIO RANCHO, NM 87124



                    ST. BERNARD TAX DEPARTMENT
                    110 Washington Ave
                    St Bernard, OH 45217



                    Stacey Olmstead
                    40244 RONAR ST
                    PALMDALE, CA 93591



                    Staci Grosekemper
                    1689 ARNHEIM COURT
                    EL CAJON, CA 92021



                    Stacie Marcus
                    330 Via Firenza Way
                    Fort Lauderdale, FL 33325



                    STACY ABRAMS
                    2111 BRYAN AVE
                    TUSTIN, CA 92782



                    Stacy Ayala
                    81118 PINDO DR.
                    INDIO, CA 92201



                    Stacy Campos-Torres
                    11645 SW TIGARD DR.
                    TIGARD, OR 97223
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1927 of
                                      2164



                    Stacy Davis
                    1283 SE 9 PL
                    HOMESTEAD, FL 33035



                    Stacy Hill
                    118 Ocean Ave
                    PtPleasantBeach, NJ 08742



                    Stacy Robinson
                    944 lake reddy ct
                    Grayson, GA 30017



                    STAFFORD POLICE DEPARTMENT
                    ALARM PERMIT APPLICATION
                    2610 SOUTH MAIN STREET
                    STAFFORD, TX 77477



                    Stan Griffin
                    1677 SOUTH ESPANA WAY
                    AURORA, CO 80017



                    Stancey Simpson
                    2411 WILLIAMS GRANT
                    SUGAR LAND, TX 77479



                    STANDARD RESTAURANT EQUIPMENT
                    P.O. BOX 65189
                    SALT LAKE CITY, UT 84165



                    STANDARD RESTAURANT EQUIPMENT
                    879 S 4400 W
                    SALT LAKE CITY, UT 84104



                    STANDLEY LAKE MUSIC BOOSTERS
                    9300 W 104TH AVENUE
                    WESTMINSTER, CO 80021
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1928 of
                                      2164



                    STANLEY ACCESS TECHNOLOGIES LLC
                    PO BOX 0371595
                    PITTSBURGH, PA 15251-7595



                    Stanley Casseus
                    1359 Fairefax Circle East
                    Boynton Beach, FL 33436



                    Stanley Jackson
                    3925 W CHERRY ST
                    TAMPA, FL 33607



                    STANLEY MIDDLE SCHOOL PTSA
                    STANLEY MIDDLE SCHOOL PTSA
                    6298 RADCLIFFE DRIVE
                    SAN DIEGO, CA 92122



                    Stanley Supreme
                    415 EXECUTIVE CENTER
                    AP T 202
                    WEST PALM BEACH, FL 33401



                    Stanley Taylor
                    2315 Pershing St
                    Bld 2 Apt 3
                    Hollywood, FL 33020



                    STAR CHASERS 4 H HORSE CLUB
                    17746 S CANTER LANE
                    OREGON CITY, OR 97045



                    STAR FINANCIAL I LLC
                    8000 MARYLAND AVE STE 100
                    ATTN RUTH STONE THE BUSINESS BANK OF ST
                    CLAYTON, MO 63105
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1929 of
                                      2164



                    Star Financial I, LLC
                    Attn: Jon Mars
                    677 Craig Rd.
                    Suite 215
                    St. Louis, MO 63141



                    STARK ELECTRIC INC
                    1340 S STOCKER DR
                    TUCSON, AZ 85710



                    Starla Gura
                    121 SONJA CIRCLE
                    DAVENPORT, FL 33897



                    STARLITE ACQUISITION INC
                    PO BOX 1087
                    SHEBOYGAN, WI 53082-1087



                    STARLITE ACQUISITION INC
                    PO BOX 1087
                    SHEBOYGAN
                    WI, 53082-1087



                    Starnieka Fisher
                    12633 Elton Street
                    Victorville, CA 92392



                    Starr Laneaux
                    13681 NEWPORT AVE SUITE 8
                    TUSTIN, CA 92780



                    Starr White
                    2261 PINE AVE
                    1
                    LONG BEACH, CA 90806



                    STARTS PACIFIC INC
                    1219 EL PRADO AVE
                    TORRANCE, CA 90501
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                    STATCO ENGINEERING
                    7595 REYNOLDS CIRCLE
                    HUNTINGTON BEACH, CA 92647



                    STATE COMPTROLLER
                    PO BOX 12247
                    INTEREST AND PENALTIES DEPT
                    AUSTIN, TX 78711-2247



                    STATE OF CALIFORNIA
                    UNCLAIMED PROPERTY DIVISION
                    PO BOX 942850
                    SACRAMENTO, CA 94250-5873



                    STATE OF CALIFORNIA
                    FRANCHISE TAX BOARD
                    PO BOX 1328
                    RANCHO CORDOVA, CA 95741



                    STATE OF CALIFORNIA
                    FRANCHISE TAX BOARD
                    PO BOX 942867
                    SACRAMENTO, CA 94267



                    STATE OF CALIFORNIA
                    UNCLAIMED PROPERTY DIVISION
                    PO BOX 942850
                    SACRAMENTO
                    CA, 94250-5873



                    STATE OF DELAWARE
                    DIVISION OF REVENUE
                    P.O. BOX 8754
                    WILMINGTON, DE 00019-8990



                    State of Florida Department of Transport
                    c/o TCAM Core Property Fund Attn: Asset Management
                    8500 Andrew Carnegie Blvd.
                    3rd Fl.
                    Charlotte, NC 28262
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                    STATE OF MICHIGAN
                    MICHIGAN DEPT. OF TREASURY
                    DEPARTMENT 77003
                    DETROIT, MI 00048-2773



                    STATE OF NEVADA - OSHA
                    COMPLIANCE SECTION
                    1301 N GREEN VALLEY PKWY #160
                    HENDERSON, NV 89074



                    STATE OF NEW JERSEY
                    P.O. BOX 632
                    TRENTON, NJ 8649-632



                    STATE OF NEW MEXICO - TAX DEPT
                    UNCLAIMED PROPERTY OFFICE
                    PO BOX 25123
                    SANTA FE, NM 87504-5123



                    STATE OF NH - UC
                    P.O. BOX 2058
                    ATTN: CASHIER
                    CONCORD, NH 3302-2058



                    STATE OF WASHINGINGTON BUS LICENSING SVC
                    PO BOX 9034
                    OLYMPIA, WA 98507-9034



                    STATE OF WASHINGTON DEPT REV
                    UNCLAIMED PROPERTY SECTION
                    PO BOX 34053
                    SEATTLE, WA 98124-1053



                    STATE TAX COMMISSIONER
                    STATE CAPITOL
                    600 E. BOULEVARD AVE, DEPT 127
                    BISMARCK, ND 05850-5599
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1932 of
                                      2164



                    STEELESCAPES INC
                    PO BOX 14149
                    PINEDALE, CA 93650



                    Steelscapes
                    PO BOX 14149
                    PINEDALE, CA 93650



                    Steeve Anaty
                    4796 NW 6CT
                    DELRAY BEACH, FL 33445



                    Stefani Hatfield
                    3644 CARIBOU CREEK CT.
                    ONTARIO, CA 91761



                    STEFANIA CAMPOS
                    2542 ELDA STREET
                    DUARTE, CA 91010



                    Stefanie DOria
                    591 WATERFORD CIRCLE WEST
                    TARPON SPRINGS, FL 34688



                    Stefanie Vasquez
                    3710 W. 84th Ave. Apt 60
                    Westminster, CO 80031



                    Stefen Rasmuson
                    11323 PAUL BARWICK CT.
                    SAN DIEGO, CA 92126



                    STEINBRENNER ATHLETIC BOOSTER
                    3105 MAPLERIDGE DR
                    C/O KRISTYN FADA
                    LUTZ, FL 33558
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1933 of
                                      2164



                    STEINBRENNER BAND BOOSTERS
                    5512 REFLECTIONS BLVD
                    LUTZ, FL 33558



                    Stella Alfaro
                    24 N ALDER DR
                    ORLANDO, FL 32807



                    Stella Combs
                    3819 42nd Ave W
                    Bradenton, FL 34207



                    Stella Felice
                    2135 FRANKFORT STREET
                    SAN DIEGO, CA 92110



                    STELLAR LOYALTY INC
                    72 W ADAMS ST STE 800
                    CHICAGO, IL 60603



                    STELLAR LOYALTY INC
                    72 W ADAMS ST STE 800
                    CHICAGO
                    IL, 60603



                    Stephan Maldonado
                    3438 CHAPLET ST
                    SAN LEANDRO, CA 94577



                    Stephane Dassin
                    545 S Keller Rd
                    Apt 1121
                    Maitland, FL 32810



                    STEPHANE DASSIN
                    5860 NW 19TH ST APT B
                    FORT LAUDERDALE, FL 33313
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1934 of
                                      2164



                    Stephanie Alcauter
                    8750 ACADEMY DR.
                    #A
                    BUENA PARK, CA 90621



                    Stephanie Angelique Yokomichi
                    40125 LOS ALAMOS RD
                    B112
                    MURRIETA, CA 92562



                    Stephanie Arinaga
                    309 S WILLARD AVE
                    SAN JOSE, CA 95126



                    Stephanie austin
                    633 NATHAN ST
                    ABQ, NM 87123



                    Stephanie Bailey
                    2942 W COLUMBUS DR 109
                    TAMPA, FL 33607



                    Stephanie Banda
                    13877 Lettingwell
                    #8
                    Whittier, CA 90604



                    Stephanie Bell
                    6880 GYPSUM CREEK DR
                    EASTVALE, CA 92880



                    Stephanie Bustillo
                    12625 SONORA RD
                    SAN DIEGO, CA 92128



                    Stephanie Cazares
                    260 N Midway Dr.
                    Apt A6
                    Escondido, CA 92027
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1935 of
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                    Stephanie Coffman
                    17460 SEAFORTH STREET
                    HESPERIA, CA 92345



                    Stephanie Connell
                    83 NIGHTINGALE
                    ALISO VIEJO, CA 92656



                    Stephanie Cruz
                    4698 TWINS HAVEN RD.
                    OCEANSIDE, CA 92057



                    STEPHANIE CRUZ
                    4698 TWINS HAVEN RD
                    OCEANSIDE, CA 92057



                    Stephanie Dela-torre
                    8497 Nw 15th Ct
                    Coral Springs, FL 33071



                    Stephanie Eckhardt
                    28623 AVOCADO PLACE
                    SANTA CLARITA, CA 91390



                    Stephanie Espinoza
                    3050 ARMSTRONG
                    SAN DIEGO, CA 92111



                    Stephanie Figueroa
                    3507 TOMPKINS ST
                    SAN DIEGO, CA 92113



                    Stephanie Figueroa
                    27212 LAS NIEVES
                    MISSION VIEJO, CA 92691
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1936 of
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                    Stephanie Garcia-Onofre
                    14087 E JEWELL AVE
                    AURORA, CO 80012



                    Stephanie Harrison
                    81279 GREEN AVENUE
                    INDIO, CA 92201



                    Stephanie Hernandez
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                    #132
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                    Stephanie Hinojosa
                    511 E Reed St APT F
                    San Jose, CA 95112



                    Stephanie Huynh
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                    SAN DIEGO, CA 92127



                    STEPHANIE HUYNH COREY
                    4102 MARLBOROUGH AVE #106
                    SAN DIEGO, CA 92105



                    Stephanie Itsell-shook
                    2115 W Del Oro Cir
                    Mesa, AZ 85202



                    Stephanie Lapena
                    53505 Avenida Ramirez
                    La Quinta, CA 92247



                    Stephanie Lozano
                    13151 YORBA AVE.
                    97
                    CHINO, CA 91710
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                                      2164



                    Stephanie Lujan
                    957 APPLE LN
                    ALTAMONTE SPRINGS, FL 32714



                    Stephanie Merida
                    8146 WHITMORE STREET
                    ROSEMEAD, CA 91770



                    Stephanie Montes
                    2219 S. ORANGE GROVE AVE
                    ALHAMBRA, CA 91803



                    Stephanie nieves
                    38660 LEXINGTON STREET
                    469
                    FREMONT, CA 94536



                    Stephanie Nunez
                    AVE 54TH
                    85755
                    THERMAL, CA 92274



                    Stephanie Ortega
                    36200 PARADISE RANCH RD
                    16
                    CASTAIC, CA 91384



                    Stephanie Ortega
                    938 Ne 21st Ave
                    Hillsboro, OR 97124



                    Stephanie Padilla
                    1315 H STREET
                    UNION CITY, CA 94587



                    STEPHANIE PARK
                    1405 JAMES M WOOD APT 509
                    LOS ANGELES, CA 90015
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                                      2164



                    Stephanie Perez
                    2295 N Tustin St
                    Apt #40
                    Orange, CA 92865



                    Stephanie Perkins
                    11266 BOLTON AVE
                    ONTARIO, CA 91762



                    Stephanie phan
                    6127 PLAYFAIR WAY
                    EASTVALE, CA 92880



                    Stephanie Poston
                    14400 NEWPORT AVE
                    84
                    TUSTIN, CA 92780



                    Stephanie Ramirez
                    519 SHADOW HILLS DR
                    SAN MARCOS, CA 92069



                    Stephanie Reinke
                    23615 Dane Court
                    Laguna Niguel, CA 92677



                    Stephanie Sanchez-Salgado
                    10444 VIRGINIA AVE
                    122
                    WHITTIER, CA 90603



                    Stephanie serrano
                    8101 LANGDON AVE
                    82
                    VAN NUYS, CA 91406



                    Stephanie Shay
                    4760 Carver Street
                    Lake Worth, FL 33463
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1939 of
                                      2164



                    Stephanie Sika
                    9901 E EVANS AVE
                    C26
                    DENVER, CO 80247



                    Stephanie V. Padilla
                    1315 H STREET
                    UNION CITY, CA 94587



                    Stephany Mora
                    775 Pearson Road
                    Port Hueneme, CA 93041



                    Stephany Young
                    760 N JASMINE PL
                    TUCSON, AZ 85710



                    Stephen Austin Krull
                    18222 E BETHANY PLACE
                    AURORA, CO 80013



                    Stephen Barrette
                    2208 CLEMATIS STREET
                    SARASOTA, FL 34239



                    Stephen Beagle
                    11255 SW GREENBURG RD
                    APT.16
                    PORTLAND, OR 97223



                    Stephen Bennett
                    227 HARRISON AVE.
                    #1
                    CAMPBELL, CA 95008



                    STEPHEN BENNETT
                    749 SUNFLOWER DR
                    PALM HARBOR, FL 34683
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1940 of
                                      2164



                    Stephen Boyne
                    195 ADRIAN DR
                    STOCKBRIDGE, GA 30281



                    Stephen Cho
                    808 WAX MYRTLE LANE
                    HOUSTON, TX 77079



                    Stephen Gonzalez
                    3984 YELLOWSTONE CIRCLE
                    CHINO, CA 91710



                    Stephen Johnson
                    15623 Camino Del Sol
                    Houston, TX 77083



                    Stephen King
                    40920 NW Maple Ridge Rd
                    Woodland, WA 98674



                    Stephen Perez
                    3750 Franklin Ave
                    Apt 10
                    Fullerton, CA 92833



                    Stephen Rushford
                    123 FAIRPLAY AVE
                    BROOMFIELD, CO 80020



                    Stephen S. McMillan




                    stephen ultsch
                    2079 PINEHURST STREET
                    SARASOTA, FL 34231
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1941 of
                                      2164



                    Stephen Vavasseur
                    3319 Garrison St
                    San Diego, CA 92106



                    Stephen zegarra
                    1280 N.W. 154TH LANE
                    PEMBROKE PINES, FL 33028



                    Stephon Zaczkiewicz
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                    #E
                    LONG BEACH, CA 90808



                    Stephone Stanley
                    6500 ULMERTON RD
                    LARGO, FL 33711



                    Sterling Reynolds
                    15191 SOUTHWEST 109TH AVE
                    K27
                    TIGARD, OR 97224



                    Steve Cisneros
                    836 Alturas Ave
                    # 40b
                    Sunnyvale, CA 94085



                    Steve Kirkland
                    4373 11th Ave
                    St Petersburg, FL 33711



                    Steve Lopez
                    910 WEST WALNUT AVE
                    D
                    MONROVIA, CA 91016



                    Steve muniz
                    8811 HOOKER WAY
                    WESTMINSTER, CO 80031
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1942 of
                                      2164



                    Steve Nava
                    6789 BROOKLYN. AVE
                    SAN DIEGO, CA 92114



                    Steve Santana
                    14712 OLIVE ST UNIT 2
                    UNIT 2
                    BALDWIN PARK, CA 91706



                    Steve Soto
                    6439 OLEA LN.
                    301
                    CARLSBAD, CA 92011



                    Steve Stoner
                    398 WIER RD
                    APT 8
                    SAN BERNARDINO, CA 92408



                    STEVE SUTHERLIN
                    107 CHALLENGE ROAD
                    RALEIGH, NC 27603



                    Steven Acevedo
                    15721 PINTURA DR
                    HACIENDA HEIGHTS, CA 91745



                    Steven Almeida
                    1703 SOUTH SYCAMORE AVE.
                    LOS ANGELES, CA 90019



                    Steven Asmar
                    400 E 26TH
                    TUCSON, AZ 85713



                    Steven C. Lucero
                    532 ALMOND AVE
                    MONROVIA, CA 91016
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1943 of
                                      2164



                    Steven Cardona
                    5466. IMPERIAL AVE.
                    B
                    SAN DIEGO, CA 92114



                    Steven Castro
                    18724 MANDAN ST
                    1210
                    SANTA CLARITA, CA 91351



                    Steven Christensen
                    1969 BRIAR CREEK PLACE
                    SARASOTA, FL 34235



                    Steven De La Fuente
                    1740 VENTURA BLVD
                    APT 1B
                    CAMARILLO, CA 93010



                    Steven Del Cid
                    2918 N EASTERN AVE
                    12
                    LOS ANGELES, CA 90032



                    Steven Denison
                    38640 TYSON LANE
                    FREMONT, CA 94536



                    Steven Figueroa
                    7900 WINTER SONG DRIVE
                    ORLANDO, FL 32825



                    Steven Greenwood
                    2800 Herrington Wood Ct 11-202
                    Lawrenceville, GA 30044



                    Steven Jimenez
                    1213 3RD ST
                    OREGON CITY, OR 97045
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1944 of
                                      2164



                    Steven Larios-Ortega
                    5805 HARMON AVE
                    OAKLAND, CA 94621



                    Steven Lucero
                    532 ALMOND AVE
                    MONROVIA, CA 91016



                    STEVEN M LAND
                    736 E STOKES AVE
                    DRAPER, UT 84020



                    Steven OKelley
                    3375 W. OSWEGO
                    FRESNO, CA 93711



                    Steven R. Sotelo
                    5608 TYLER AVE.
                    ARCADIA, CA 91006



                    Steven Reyes
                    1124 METCALF PL
                    ESCONDIDO, CA 92026



                    Steven Richards
                    22411 Caminito Grande
                    Laguna Hills, CA 92653



                    Steven Sotelo
                    5608 TYLER AVE.
                    ARCADIA, CA 91006



                    Steven Szucs
                    704 NORTHSTAR ST.
                    LAS VEGAS, NV 89107
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1945 of
                                      2164



                    Steven Torres
                    7806 SIERRA AVE 523
                    FONTANA, CA 92336



                    Steven Yang
                    1460 Coolidge Street
                    San Diego, CA 92111



                    Stevenson Pierre
                    3310 Sw 1st Street
                    Deerfield Beach, FL 33442



                    stevie rael
                    6500 MONTGOMERY BLVD NE
                    319
                    ALBUQUERQUE, NM 87109



                    STIRLING ELEMENTARY PTA
                    5500 STIRLING ROAD
                    HOLLYWOOD, FL 33021



                    STOCKLMEIR PTA
                    592 DUNHOLME WAY
                    SUNNYVALE, CA 94087



                    STOCKMAN LANDSCAPE & GROUNDS MAINTENANCE
                    PO BOX 07507
                    FORT MYERS, FL 33919-0507



                    Stone Mountain Pecan
                    1781 Hwy 78
                    Monroe, GA 30655



                    STONY CREEK PTO
                    7203 S EVERETT ST
                    LITTLETON, CO 80128
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1946 of
                                      2164



                    Storm Gieringer
                    44998 PAWNEE DRIVE
                    FREMONT, CA 94539



                    STOSH INC
                    2230 AMAPOLA COURT STE 6
                    TORRANCE, CA 90501



                    STRANDWOOD ELEMENTARY PTA
                    416 GLADYS DR
                    ATTN ROBBIN COLLINS TREASURER
                    PLEASANT HILL, CA 94523



                    Stratas Foods LLC
                    7130 Goodlett Farms Parkway, STE 200
                    Cordova, TN 38016



                    STRATAS FOODS LLC
                    PO BOX 2477
                    DEPT 2477
                    BIRMINGHAM, AL 35246-2477



                    STRATFORD SCHOOL
                    5301 CURTIS STREET
                    FREMONT, CA 94538



                    STRATFORD SCHOOL
                    5301 CURTIS STREET
                    FREMONT
                    CA, 94538



                    Stuart Dorsey
                    3435 SHADY WOODS CIRCLE
                    LAWRENCEVILLE, GA 30044



                    STUART P. SANFORD
                    21951 Rimhurst Drive
                    Unit F
                    Lake Forest, CA 92630
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1947 of
                                      2164



                    Stuart Sanford
                    21951 Rimhurst Drive
                    Unit F
                    Lake Forest, CA 92630



                    SUAREZ CONTRACTING INC
                    12165 MADERA WAY
                    RIVERSIDE, CA 92503



                    SUE GOODWIN
                    PO BOX 533
                    ROLESVILLE, NC 27571



                    Sue Wampler
                    4116 CASTLBERRY RD
                    CUMMING, GA 30040



                    Sugar Foods
                    24799 NETWORK PLACE
                    CHICAGO, IL 60673-1247



                    Sugar Foods Corporation
                    24799 Network Place
                    Chicago, IL 60673-1247



                    Sukhdeep Singh
                    7430 KENSINGTON DR
                    BUENA PARK, CA 90621



                    Sukhleen Kaur
                    7430 KENSINGTON DR
                    BUENA PARK, CA 90621



                    Sulema Sotolongo
                    4004 MERRYWEATHER DR
                    ORLANDO, FL 32812
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1948 of
                                      2164



                    Suli Palacios
                    2414 N. Tustin Ave
                    #o8
                    Santa Ana, CA 92705



                    SUM1 EFFICIENT AIR CONDITIONING & HEATIN
                    16306 GENTLE SLOPE LANE
                    HOUSTON, TX 77044



                    Sumetra Wall
                    939 E AVENUE Q12
                    263B
                    PALMDALE, CA 93550



                    Sumin Choi
                    31381 CASTAIC OAKS LN
                    CASTAIC, CA 91384



                    SUMMER CORBEIL CARROL
                    3130 W LAMBRIGHT ST
                    TAMPA, FL 33614



                    Summer Corbeil-Carroll
                    3130 W Lambright St.
                    Tampa, FL 33614



                    Summer Dunn
                    9745 VILLA PACIFIC DR
                    HUNTINGTON BEACH, CA 92646



                    SUMMER FREDRICKSON
                    10692 WALNUT ST
                    LOS ALAMITOS, CA 90720



                    Summer Hargett
                    3868 XENOPHON ST
                    SAN DIEGO, CA 92107
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1949 of
                                      2164



                    Summer Lemke
                    9400 WEST BURGUNDY AVENUE
                    LITTLETON, CO 80123



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                    15127 WALBROOK DRIVE
                    HACIENDA HEIGHTS, CA 91745



                    Summer Medina
                    15127 WALBROOK DRIVE
                    HACIENDA HEIGHTS, CA 91745



                    Summer Miranda
                    1303 W. 106th Street
                    Apt.7
                    Los Angeles, CA 90044



                    Summer Morris
                    4654 SHOOTING STAR WAY
                    CASTLE ROCK, CO 80109



                    Summer Smith
                    8995 ROSWELL RD
                    ATLANTA, GA 30350



                    SUN STATE MARKING CORP
                    41830 NOEL CIRCLE
                    TEMECULA, CA 92592



                    SUN STATE MARKING CORP
                    41830 NOEL CIRCLE
                    TEMECULA
                    CA, 92592



                    SUNCOAST WATER INC
                    3851 62ND AVE NORTH STE F
                    PINELLAS PARK, FL 33781
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1950 of
                                      2164



                    SUNFLOWER PLANTATION LLC
                    772 CAPILANO COURT
                    CASTLE ROCK, CO 80108



                    Sunflower Plantation, LLC
                    Attn: Dave Goodrich
                    7772 Capilano Ct
                    Castle Rock, CO 80108



                    Sunflower Plantation, LLC
                    Park Terrace Partners
                    11939 Rancho Bernardo Rd.
                    Ste. 200
                    San Diego, CA 92128



                    Sungchan Yoon
                    445 MERLOT AVE
                    SAN MARCOS, CA 92069



                    SunGold Foods Inc
                    PO Box 1187
                    Fargo, ND 58107-1187



                    SunGold Foods Inc
                    PO Box 1187
                    Fargo
                    ND, 58107-1187



                    SUNMASTER PRODUCTS INC
                    276 TRADE ST
                    SAN MARCOS, CA 92078



                    Sunni Arnold
                    6093 West 8th Ave.
                    Lakewood, CO 80214



                    Sunny Arnaud
                    2146 W CALLE CUSCO
                    TUCSON, AZ 85705
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                    SUNNY FLORIDA DAIRY INC
                    2209 N 40TH STREET
                    TAMPA, FL 33605



                    SUNNYBROOK LLC-CTA
                    PO BOX 60041
                    DEPT 200
                    CITY OF INDUSTRY, CA 91716-0041



                    Sunnybrook, LLC
                    c/o Coffman Excavation
                    13014 Clackamas River Dr.
                    Oregon City, OR 97045



                    SUNNYKAY & COMPANY LLC
                    1430 NORTH RIVERSIDE CIR
                    ATLANTA, GA 30328



                    Sunnykay & Company, LLC
                    PO Box 720377
                    Atlanta, GA 30358



                    SUNNYKAY AND COMPANY LLC
                    PO BOX 720377
                    ATLANTA, GA 30358



                    Sunopta
                    7301 OHMS LANE STE 600
                    EDINA, MN 55439



                    SunOpta
                    Po Box 74008363
                    CHICAGO, IL 60674-8363



                    SUNOPTA GRAINS AND FOODS INC
                    7301 OHMS LANE STE 600
                    EDINA, MN 55439
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1952 of
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                    Sunopta Grains And Foods, Inc
                    Po Box 74008363
                    Chicago, IL 60674-8363



                    Sunora
                    #205,4616 Valiant Drive N.W.
                    Calgary, Alberta T3A 0X9



                    Sunora Food Ltd
                    #205,4616 Valiant Drive N.W.
                    Calgary, Alberta T3A 0X9



                    SUNORA FOOD LTD
                    #2054616 VALIANT DRIVE NW
                    CALGARY, AB T3A 0X9



                    SUNPASS
                    PO BOX 880049
                    BOCA RATON, FL 33488



                    SUNPENTOWN INTERNATIONAL INC
                    18249 VALLEY BLVD.
                    CITY OF INDUSTRY, CA 91744



                    SUNPENTOWN INTERNATIONAL INC
                    14625 CLARK AVE
                    CITY OF INDUSTRY, CA 91745



                    SUNRISE GROWERS INC
                    PO BOX 74008362
                    CHICAGO, IL 60674-8362



                    Sunrise Growers, Inc.
                    Po Box 74008362
                    Chicago, IL 60674-8362
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1953 of
                                      2164



                    SUNSET LANE ELEMENTARY PTA
                    2470 COVENTRY CIR
                    FULLERTON, CA 92833



                    SUNWEST ALL SERVICE INC
                    3945 TOLLHOUSE DR STE 901
                    NAPLES, FL 34114



                    SUPERCLEAN SERVICE COMPANY INC
                    PO BOX 551802
                    DALLAS, TX 75355



                    SUPERIOR PAPER & PLASTICS INC
                    1930 E 65TH STREET
                    LOS ANGELES, CA 90001-2111



                    Superior Paper & Plastics, Inc
                    1930 E. 65Th Street
                    Los Angeles, CA 90001-2111



                    SUPERIOR PLUMBING SERVICE INC
                    3991 ROYAL DRIVE
                    KENNESAW, GA 30144



                    SUPERIOR PRESS
                    9440 NORWALK BLVD
                    SANTA FE SPRINGS, CA 90670



                    SUPERIOR SERVICE CORP
                    1006 E SOUTH STREET
                    ANAHEIM, CA 92805



                    SUPERSHUTTLE
                    TRANSDEV ON DEMAND
                    32331 COLLECTIONS CENTER DRIVE
                    CHICAGO, IL 60693-0323
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1954 of
                                      2164



                    SUPRAJA BUDIDEDU
                    1726 PERSHORE DR
                    APEX, NC 27502



                    SUREPLAN USA INC
                    5350 KEYSTONE COURT
                    ROLLING MEADOWS, IL 60008



                    Susan Argueta
                    9607 EDELWEISS ST
                    RANCHO CUCAMONGA, CA 91730



                    Susan Correia
                    11408 NE 43rd Ave
                    VANCOUVER, WA 98686



                    Susan Crosby
                    3525 OBERON AVENUE
                    BOYNTON BEACH, FL 33436



                    Susan Daugherty
                    152 BOONESRIDGE PKWY
                    ACWORTH, GA 30102



                    Susan Dennard
                    8405 Titkos Dr
                    Apt G03
                    Kissimmee, FL 34747



                    Susan Edwards
                    2151 CUMBERLAND PKWY SE #804
                    ATLANTA, GA 30339



                    Susan Fabian
                    2711 Moss Oak Cr
                    Sarasota, FL 34231
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1955 of
                                      2164



                    SUSAN G KOMEN 3 DAY 60 MILE WALK FOR BRE
                    782 S BAHAMA DR
                    GILBERT, AZ 85296



                    Susan Guerrero
                    9545 OTIS ST.
                    SOUTH GATE, CA 90280



                    Susan Hammond
                    1827 SALEM RD
                    THOMSON, GA 30824



                    Susan Hanson
                    41501 Cambridge Rd
                    Indio, CA 92203



                    SUSAN LAVORGNA ELEMENTARY PTA
                    31777 ALGARVE
                    WINCHESTER, CA 92596



                    Susan N. Wahl
                    13385 Roxton Circle
                    San Diego, CA 92130



                    Susan Parr
                    1879 HALCYON CT
                    PLEASANTON, CA 94566



                    Susan Pivaral Escobar
                    26025 Nirvana Lane
                    Santa Clarita, CA 91350



                    Susan Privette
                    1726 NORTH GOWER STREET
                    120
                    LOS ANGELES, CA 90028
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1956 of
                                      2164



                    SUSAN R. HAMMOND
                    1827 SALEM RD
                    THOMSON, GA 30824



                    Susan Russell
                    5675 ASHTON LAKE DR
                    SARASOTA, FL 34231



                    Susan Thompson
                    4266 SOLOMON DR
                    ORLANDO, FL 32811



                    Susan Wahl
                    13385 Roxton Circle
                    San Diego, CA 92130



                    Susana Abrego Castro
                    4909 W joshua blvd.
                    2072
                    CHANDLER, AZ 85226



                    Susana De Jesus
                    1231 Floating Fountain Circle
                    Apt. 201
                    Tampa, FL 33612



                    Susana Gonzalez
                    7111 n 75 ave glendale
                    bld# 14#1087
                    Glendale, AZ 85303



                    SUSANA HERNANDEZ MACHIC
                    5722 1/2 FOUNTAIN AVE
                    LOS ANGELES, CA 90028



                    Susana Hernandez-machic
                    5722 1/2 Fountain Ave
                    Los Angeles, CA 90028
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1957 of
                                      2164



                    Susana Mabel roman
                    27116 CAMINO BARCELOS
                    LAGUNA NIGUEL, CA 92677



                    Susana Martinez
                    3015 Adriatic Ave
                    Long Beach, CA 90810



                    Susana Morones
                    2430 247th st
                    Lomita, CA 90717



                    Susana Rosales
                    217 LINDA CT.
                    PALMDALE, CA 93550



                    SUSANA TORRES BRITO
                    24938 WALNUT ST APT 31
                    NEWHALL, CA 91321



                    Susana Torres-brito
                    24938 Walnut St
                    Apt 31
                    Newhall, CA 91321



                    Susana Verdugo
                    1522 W DELVALE ST.
                    WEST COVINA, CA 91790



                    Susannah Gallup
                    11229 CARMEL CREEK RD
                    3
                    SAN DIEGO, CA 92130



                    Suseela Gupta
                    708 SO BARRINGTON AVE
                    209
                    LOS ANGELES, CA 90049
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1958 of
                                      2164



                    SUSTAINABLE SUPPLY LLC
                    8810 B W 116TH CIR
                    BROOMFIELD, CO 80021



                    SUSTAINABLE SUPPLY LLC
                    8810 B W 116TH CIR
                    BROOMFIELD
                    CO, 80021



                    SUTHERLAND ELEMENTARY SCHOOL
                    3150 N BELCHER RD
                    PALM HARBOR, FL 34683



                    Suyeon Han
                    2132 CITTADIN DRIVE
                    FULLERTON, CA 92833



                    Suzana Valdovinos
                    43532 Clinton St Spc
                    #313
                    Indio, CA 92201



                    Suzanne Brown
                    6769 S INDEPENDENCE ST
                    LITTLETON, CO 80128



                    SUZUKI TALENT EDUCATION OF FL
                    6208 BAYSIDE KEY DR
                    TAMPA, FL 33615



                    Svetlana Babii
                    WILKOW DR
                    309
                    ORLANDO, FL 32821



                    Svetlana Davis
                    6211 TRAILHEAD ROAD
                    HIGHLANDS RANCH, CO 80130
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1959 of
                                      2164



                    SVF HOLDING REAL ESTATE INVESTMENT TRUST
                    FILE 1502
                    1801 W OLYMPIC BLVD
                    PASADENA, CA 91199-1502



                    Sweetner Products Company
                    Po Box 516572
                    Los Angeles, CA 90051-0597



                    SWS PTA
                    10129 AUSTIN DRIVE
                    SPRING VALLEY, CA 91977



                    SYCAMORE BUSINESS PARK LLC
                    PO BOX 6181
                    HICKSVILLE, NY 11802-6181



                    Sycamore Business Park, Llc
                    P.O. Box 6181
                    Hicksville, NY 11802-6181



                    Sycamore Business Park, LLC
                    c/o IDS Real Estate Group
                    2915 Red Hill Ave
                    Ste. F200
                    Costa Mesa, CA 92626



                    SYCAMORE TOWNSHIP CENTRAL JEDZ
                    7141 MIAMI AVENUE
                    CINCINNATI, OH 00045-2430



                    SYCAMORE TWNSHP SOUTHWEST JEDZ
                    7149 RIDGE ROAD
                    CINCINNATI, OH 00045-2370



                    Sydney Blackmon
                    11727 N.MARIANNE
                    HOUSTON, TX 77071
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1960 of
                                      2164



                    Sydney Hinman
                    3461 SW 170TH AVE
                    BEAVERTON, OR 97003



                    Sydney Hu
                    17421 VINWOOD LANE
                    YORBA LINDA, CA 92886



                    Sydney Huang
                    11302 SE HILLTOP CT.
                    HAPPY VALLEY, OR 97086



                    Sydney Lofton
                    2350 COBB PARKWAY SE
                    18F
                    SMYRNA, GA 30080



                    Sydney Paul
                    5212 PACIFIC GROVE PL
                    SAN DIEGO, CA 92130



                    Sydney Spates
                    7936 La Habra Cir
                    Buena Park, CA 90620



                    Sydney Stone
                    946 LITTLE CREEK RD
                    ORLANDO, FL 32825



                    Sydney Thorburn
                    12932 Carmel Creek Rd
                    #55
                    San Diego, CA 92130



                    Sylvia Coleman
                    1023 Pico Blvd
                    Santa Monica, CA 90405
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1961 of
                                      2164



                    Sylvia Coreano
                    3337 Kimberly oaks dr
                    holiday, FL 34691



                    Sylvia Kelly
                    924 Mee Ct.
                    Lake Worth, FL 33461



                    Sylvia Lujan
                    1320 Wabash St
                    P.o.box 773
                    Alviso, CA 95002



                    Sylviot Metayer
                    725 W Evanston Cir
                    Fort Lauderdale, FL 33312



                    SYSCO - SAN DIEGO
                    15750 MERIDIAN PARKWAY
                    RIVERSIDE, CA 92518



                    Sysco Atlanta
                    Po Box 490379
                    College Park, GA 30349



                    Sysco Riverside Inc
                    15750 Meridian Parkway
                    Riverside, CA 92518



                    SYSCO USA I INC
                    SYSCO HOUSTON
                    1390 ENCLAVE PKWY
                    HOUSTON, TX 77077



                    SYSCO USA INC
                    SYSCO ARIZONA
                    611 SO 80TH AVE
                    TOLLESON, AZ 85353
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1962 of
                                      2164



                    SZE NGA WONG
                    5215 FIORE TERRACE C206
                    SAN DIEGO, CA 92122



                    T C AIRTECH INC
                    19877 MADDELENA CIR
                    ESTERO, FL 33967



                    T C AIRTECH INC
                    19877 MADDELENA CIR
                    ESTERO
                    FL, 33967



                    T G LEE DAIRY
                    PO BOX 746108
                    ATLANTA, GA 30374-6108



                    T G LEE DAIRY
                    PO BOX 746108
                    ATLANTA
                    GA, 30374-6108



                    T H E LEADERSHIP ACADEMY
                    1550 TEMPLE HEIGHTS DR
                    OCEANSIDE
                    CA, 92056



                    T'kia Mccowan
                    16220 N. 7th st #2263
                    Phoenix, AZ 85022



                    T'nyka Mills
                    4350 Hopkins Run Drive
                    Duluth, GA 30096



                    Taalor Tickel
                    4360 W. AMHERST
                    FRESNO, CA 93722
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1963 of
                                      2164



                    Tabitha Espinoza
                    625 W 1ST
                    260
                    TEMPE, AZ 85282



                    Tabitha Gregory
                    10610 N. 30TH STREET
                    36C
                    TAMPA, FL 33612



                    Tabitha Smith
                    3090 PINEWALK DRIVE
                    ALPHARETTA, GA 30022



                    Tabitha Trevino
                    204 N Curtis Ave
                    Apt B
                    Alhambra, CA 91801



                    TABLECRAFT PRODUCTS INC
                    PO BOX 7691
                    CAROL STREAM, IL 60197-7691



                    Tablecraft Products , Inc
                    P.O. Box 7691
                    Carol Stream, IL 60197-7691



                    TABOR ENGINEERING ARCHITECHURAL CONSULTA
                    2671 CROW CANYON ROAD
                    SAN RAMON, CA 94583



                    TACFA
                    PO BOX 145
                    TUSTIN, CA 92781



                    Tae KIM
                    28085 WHITES CANYON
                    95
                    CANYON COUNTRY, CA 91351
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1964 of
                                      2164



                    TAE WON KIM
                    28085 WHITES CANYON 95
                    CANYON COUNTRY, CA 91351



                    Taekyung Yi
                    13081 YOCKEY STREET
                    218
                    GARDEN GROVE, CA 92844



                    Taelor Hardy
                    600 N Pantano RD
                    APT #1216
                    TUCSON, AZ 85710



                    Taeyler Fleming-Scott
                    201 NE 175TH AVE.
                    VANCOUVER, WA 98684



                    TAGEX SALES LLC
                    121 SULLYS TRAIL STE 8
                    PITTSFORD, NY 14534



                    Taghrid Abu Khurma
                    872 Bettina Court
                    Bunker Hill Village, TX 77024



                    Tahsina Jacobs
                    4382 SATINWOOD DRIVE
                    LAS VEGAS, NV 89147



                    TAI HARTLEY
                    1501 SOUTH D STREET
                    OXNARD, CA 93033



                    Tais Manzano
                    11026 WEST HONDO PKWY.
                    4
                    TEMPLE CITY, CA 91780
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1965 of
                                      2164



                    Taisha Campbell
                    154 Birch Rill Drive
                    Alpharetta, GA 30022



                    Taiwan Gland
                    2070 62ND ST N
                    CLEARWATER, FL 33760



                    TAIWANESE AMERICAN CITIZENS
                    6407 W 84TH ST
                    LOS ANGELES, CA 90045



                    Taizha Howell
                    2074 SW 158TH AVE
                    MIRAMAR, FL 33027



                    Taj Harvin
                    16430 VIA QUEDO
                    DESERT HOT SPRINGS, CA 92240



                    Tajjani McCloudy
                    1880 BRIARCLIFF CIR NE
                    A
                    ATLANTA, GA 30329



                    Takaji Booker
                    2501 ALTON PARKWAY
                    1206
                    IRVINE, CA 92606



                    Takeo Ward
                    2512 MARRON RD
                    203
                    CARLSBAD, CA 92010



                    Takeshi Carter
                    33306 Fox Road
                    Temecula, CA 92592
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1966 of
                                      2164



                    Takirra Anderson
                    2114 GREEN KNOLL
                    HOUSTON, TX 77067



                    TAKO TYKO SIGN & LIGHTING SER
                    5010 VENICE BLVD
                    LOS ANGELES, CA 90019



                    Takoda Foster
                    1750 SHILOH RD
                    APT. 1321
                    KENNESAW, GA 30701



                    Taleen Ourdukhanian
                    2011 N VERDUGO RD
                    #D
                    GLENDALE, CA 91208



                    Talent Reef
                    PO BOX 7410017
                    CHICAGO, IL 60674-7410



                    TALENTREEF INC
                    PO BOX 7410017
                    CHICAGO, IL 60674-7410



                    Talia Martinez
                    7504 EXTER WAY TAMPA FL 33615
                    TAMPA, FL 33615



                    Taliyah Tony
                    370 NW 37TH ST
                    POMPANO BEACH, FL 33064



                    Tamanno Abdolghoddos
                    14231 E IDAHO PL
                    AURORA, CO 80012
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1967 of
                                      2164



                    Tamar Vazquez
                    7 VIA HACIENDA
                    RANCHO SANTA MARGARITA, CA 92688



                    Tamara Dilley
                    3469 SE Pinetree Dr
                    Port Orchard, WA 98366



                    Tamara Henderson
                    1651 South Juniper
                    #71
                    Escondido, CA 92025



                    TAMARA HENDERSON
                    1651 SOUTH JUNIPER #71
                    ESCONDIDO, CA 92025



                    Tamara Mosby
                    22 CEDAR TREE PASS
                    OCALA, FL 34472



                    TAMARA WILLINGHAM
                    840 DEL NORTE ST
                    DENVER, CO 80221



                    Tamaria Jones
                    370 NW 37TH STREET
                    POMPANO BEACH, FL 33064



                    Tamboura Wasson
                    1401 N Hairston Rd
                    apt 15J
                    Stone Mountain, GA 30083



                    Tami Petersen
                    1101 N RAINBOW BLVD
                    78
                    LAS VEGAS, NV 89108
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1968 of
                                      2164



                    Tamia Devereaux
                    3098 FLATER DRIVE
                    SAN JOSE, CA 95148



                    Tamia Mincey
                    2554 SW 118TH LANE
                    MIRAMAR, FL 33025



                    Tamiah Lindsey
                    1216 W 34TH ST
                    RIVIERA BEACH, FL 33404



                    Tamiah S. Lindsey
                    1216 W 34TH ST
                    RIVIERA BEACH, FL 33404



                    Tamika Mcnair
                    980 E CHURCH ST
                    D-303
                    BARTOW, FL 33830



                    Tamique Johnson
                    938 CHURCH ST SE
                    SMYRNA, GA 30080



                    Tammie Jenkins
                    7127 FLAGSTONE PLACE
                    404-287-7939
                    UNION CITY, GA 30291



                    Tammy Gardenhire
                    10550 Western Ave
                    # 116
                    Stanton, CA 90680



                    TAMMY J MCRAE TAX ASSESSOR COLLECTOR
                    400 N SAN JACINTO ST
                    CONROE, TX 77301
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1969 of
                                      2164



                    Tammy Lockhart
                    13527 Fawcett Dr
                    Houston, TX 77069



                    TAMMY O GUINN
                    6087 AQUAMARINE AVE
                    RANCHO CUCAMONGA, CA 91701



                    Tammy O'Guinn
                    6087 Aquamarine Ave
                    Rancho Cucamonga, CA 91701



                    Tammy Ozturk
                    9701 Quakertown Ave
                    Chatsworth, CA 91311



                    Tammy Place
                    11183 W 103RD CIRCLE
                    WESTMINSTER, CO 80021



                    Tammy Webb
                    1303 Constitution Rd.
                    Atlanta, GA 30316



                    TAMPICO SPICE CO INC
                    PO BOX 01229
                    LOS ANGELES, CA 90001



                    Tampico Spice Co. Inc.
                    P.O. Box 01229
                    Los Angeles, CA 90001



                    Tanea Reyes
                    1820 Green Ridge Rd
                    Tampa, FL 33619
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1970 of
                                      2164



                    Tanery Flores
                    11700 Reedy Creek Drive
                    Apt.108
                    Orlando, FL 32836



                    Tania Rodriguez
                    1021 NELSON PL
                    OXNARD, CA 93033



                    TANIS GUERRERO
                    PO BOX 464
                    RANCHO CUCAMONGA, CA 91729



                    Tanisha Castillo
                    31790 US 19 N
                    APT 185
                    PALM HARBOR, FL 34684



                    Tanisha hicks
                    9266 TIMBERLINE LANE
                    D
                    RANCHO CUCAMONGA, CA 91730



                    Tanisha Lewis
                    515 N. KENTER AVE.
                    LOS ANGELES, CA 90049



                    Tanner Logan
                    5850 S POWER RD
                    1035
                    GILBERT, AZ 85295



                    Tanner Maqueda
                    15820 NE 42ND ST
                    VANCOUVER, WA 98682
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1971 of
                                      2164



                    Tanner McDannel
                    275 NW LOST SPRINGS TERRACE
                    APT.308
                    PORTLAND, OR 97229



                    Tanner Morland
                    20992 AVENIDA AMAPOLA
                    LAKE FOREST, CA 92630



                    Tanner Stephens
                    4316 SE PINEHURST AVE
                    PORTLAND, OR 97267



                    Tanner Thrall
                    1103 S. OLIVE
                    #B
                    ALHAMBRA, CA 91803



                    Tannica Bradley
                    610 COVENANT DR.
                    #B
                    BELLE GLADE, FL 33430



                    Tanniha Simeon
                    5247 N DIXIE HWY
                    A1
                    OAKLAND PARK, FL 33334



                    Tanya Alatalo
                    1801 W 92ND AVE LOT 359
                    FEDERAL HEIGHTS, CO 80260



                    Tanya Brophy
                    821 RYAN PL
                    100
                    PLEASANT HILL, CA 94523
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1972 of
                                      2164



                    Tanya Tapia
                    722 CARLITO RD. NE
                    ALBUQUERQUE, NM 87113



                    Taqia Miles
                    6627 TANGLEWOOD BAY DR.
                    1120
                    ORLANDO, FL 32821



                    TARA BEAM
                    4395 GLEN ST
                    RIVERSIDE, CA 92509



                    Tara Brown
                    4608 CITRUS CIRCLE
                    D
                    TAMPA, FL 33617



                    Tara Gryszkin
                    3320 S Irene Pl
                    Tucson, AZ 85730



                    TARA GRYSZKIN
                    4722 N PASEO SONOYTA
                    TUCSON, AZ 85750



                    TARA MARULLO
                    6028 TOWNCENTER CIRCLE
                    NAPLES, FL 34119



                    Tara Quinn
                    13 Destino Way
                    Mission Viejo, CA 92692



                    Tara Wagner
                    2518 5th Ct E
                    Ellenton, FL 34222
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1973 of
                                      2164



                    Tara Wright
                    545 CHELSEA DR
                    HENDERSON, NV 89014



                    Tarek Harry
                    1475 Club Dr
                    Tarpon Springs, FL 34689



                    Taren McMillan
                    1895 SKYWOOD ST
                    BREA, CA 92821



                    TAREN MCMILLAN
                    1895 WEST SKYWOOD ST
                    BREA, CA 92821



                    Tarina Williams
                    263 FAIRGROUNDS ROAD
                    WEST PALM BEACH, FL 33411



                    Tarunpreet Singh
                    3818 DARWIN DR.
                    28
                    FREMONT, CA 94555



                    Taryn Hilf
                    3100 SE 168TH AVE.
                    192
                    VANCOUVER, WA 98683



                    Tasian Small
                    13303 OAK ST
                    LARGO, FL 33774



                    Tatiana Ling
                    805 PLEASANTHILL RD
                    LILBURN, GA 30096
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1974 of
                                      2164



                    Tatiana Lopez
                    503 W CONFERENCE DRIVE
                    BOCA RATON, FL 33486



                    Tatiana Lopez
                    13005 OSBORNE ST.
                    PACOIMA, CA 91331



                    Tatiana Salinas
                    3819 VINEYARD AVE
                    34
                    PLEASANTON, CA 94566



                    Tatiana Vila
                    9100 MILLS RD.
                    HOUSTON, TX 77070



                    TATUM CLIFTON
                    328 CHAPALITA DR
                    ENCINITAS, CA 92024



                    Tatum Connor-Sullivan
                    737 SOUTH LEYDEN ST.
                    1
                    DENVER, CO 80224



                    Tatyanna Rodriguez
                    1761 WARBURTON AVE
                    11
                    SANTA CLARA, CA 95050



                    TAU SIGMA DELTA
                    3116 VIA LASTRE
                    C/O MARIA MERCADO
                    MONTEBELLO, CA 90640



                    Taurus Thomas
                    27506 NELSON ST.
                    SPRING, TX 77373
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1975 of
                                      2164



                    TAVARES HIGH SCHOOL HOSA
                    603 N NEW HAMPSHIRE AVE
                    TAVARES, FL 32778



                    Tavias James
                    96 E HIGHLAND DR
                    CAMARILLO, CA 93010



                    Tavion Hill
                    15711 WILLIAMS STREET
                    186
                    TUSTIN, CA 92780



                    Tawana Grant
                    4821
                    Nature Trail
                    Austell, GA 30106



                    TAX COLLECTOR BARBARA FORD-COATES
                    BARBARA FORD - COATES
                    101 S WASHINGTON BLVD
                    SARASOTA, FL 34236



                    TAX COLLECTOR PALM BEACH CNTY
                    PO BOX 3353
                    WEST PALM BEACH, FL 33402-3353



                    TAX TRUST ACCOUNT
                    PO BOX 830725
                    BIRMINGHAM, AL 03528-3725



                    TAXATION AND REVENUE DEPT MANUEL LUJAN
                    1200 S ST FRANCIS DR
                    UNCLAIMED PROPERTY OFFICE
                    SANTA FE, NM 87501



                    TAXATION AND REVENUE DPARTMENT
                    PO BOX 25128
                    SANTA FE, NM 87504-5128
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1976 of
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                    Taya Stevens
                    3877 SAN JUAN DR
                    PITTSBURG, CA 94565



                    Tayla Nash
                    3729 COVINGTON DR
                    HOLIDAY, FL 34691



                    Tayler Commeford
                    10974 MENLO CT
                    RANCHO CUCAMONGA, CA 91701



                    Taylon Tom
                    18177 LAPIS LANE
                    SAN BERNARDINO, CA 92407



                    Taylor Artz
                    290 BIRCH CREEK DR.
                    290
                    PLEASANTON, CA 94566



                    Taylor Ballard
                    54 LAUREL PASS
                    3
                    OCALA, FL 34480



                    TAYLOR BOWEN
                    10605 BASIE WAY
                    RANCHO CORDOVA, CA 95610



                    Taylor Butterfield
                    46079 HUNTER TRAIL
                    TEMECULA, CA 92592



                    Taylor Crato
                    320 EVERGLADES BLVD N
                    NAPLES, FL 34120
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1977 of
                                      2164



                    TAYLOR FREEZER SALES COMPANY OF GEORGIA
                    PO BOX 2130
                    CUMMING, GA 30028-2130



                    TAYLOR FREEZERS
                    6825 E WASHINGTON BLVD
                    CITY OF COMMERCE, CA 90040



                    Taylor Freezers Of So. Ca. Inc
                    6825 E. Washington Blvd.
                    City Of Commerce, CA 90040



                    Taylor Hansen
                    14116 BIOLA AVE
                    LA MIRADA, CA 90638



                    Taylor Hendricks
                    13826 MEYERS RD
                    2107
                    OREGON CITY, OR 97045



                    Taylor Hilton
                    26505 LUCINDA
                    MISSION VIEJO, CA 92691



                    Taylor Howard
                    30875 GILMOUR ST
                    CASTAIC, CA 91384



                    Taylor Jaworski
                    4925 THAMES LN
                    SARASOTA, FL 34238



                    TAYLOR JOHNSON
                    582 N LA NAE CIRCLE
                    ORANGE, CA 92869
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1978 of
                                      2164



                    Taylor Luca
                    10543 Portofino DR. NW
                    Albuquerque, NM 87114



                    Taylor Manhard
                    2084 S STUART AVE
                    GILBERT, AZ 85295



                    Taylor Mauk
                    555 N COMMONWEALTH AVE.
                    3152
                    FULLERTON, CA 92831



                    Taylor Parris
                    14938 SW 139TH AVE
                    MIAMI, FL 33186



                    Taylor Pollard
                    18655 CAMINITO CANTILENA
                    202
                    SAN DIEGO, CA 92128



                    TAYLOR PTA
                    410 SAUTNER DRIVE
                    SAN JOSE, CA 95123



                    Taylor Rodwell
                    25455 VIA GRACIOSO
                    SANTA CLARITA, CA 91355



                    Taylor Skinner
                    7350 ALKIRE CT
                    ARVADA, CO 80005



                    Taylor Tucker
                    1068 E Decatur Ave
                    Fresno, CA 93720
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1979 of
                                      2164



                    Taylor Turner
                    14455 SW BEEF BEND RD
                    TIGARD, OR 97224



                    TBTST PSO
                    5700 NW 94TH AVE
                    TAMARAC, FL 33321



                    TC EQUITY INVESTMENTS LLC
                    16190 S GOLDEN ROAD
                    GOLDEN, CO 80401



                    TCALL
                    PO BOX 584
                    TEMPLE CITY, CA 91780



                    TCAM CORE PROPERTY FUND OPERATING LP
                    DEPT AT 40096
                    ATLANTA, GA 31192-0096



                    TCDS PTSA
                    9239 E WRIGHTSTOWN RD
                    TUCSON, AZ 85715



                    TCG SERVICES LLC
                    145 N MAIN
                    EL DORADO, KS 67042



                    TCNLL
                    PO BOX 1111
                    TEMPLE CITY, CA 91780



                    Teagan Dolan
                    12934 Francine Terrace
                    Poway, CA 92064
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1980 of
                                      2164



                    TEASDALE FOODS INC
                    PO BOX 515555
                    LOS ANGELES, CA 90051



                    Teasdale Foods, Inc
                    PO Box 775508
                    Chicago, IL 90677



                    Teasdale Foods, Inc
                    PO Box 775508
                    Chicago
                    IL, 90677



                    TEATRO VISION
                    PO BOX 28367
                    SAN JOSE, CA 95159



                    Techeler Servilus
                    2824 Nw 39 Ter Way
                    Apt 203
                    Fort Lauderdale, FL 33311



                    TECHNICAL AIR SERVICE CORP
                    511 EAST PROSPECT RD
                    OAKLAND PARK, FL 33334



                    TECHNOLOGY UNLIMITED INC
                    6802 SOUTH 220TH ST
                    KENT, WA 98032



                    TECO PEOPLES GAS
                    PO BOX 31318
                    TAMPA, FL 33631-3318



                    Teddy Velasquez
                    8651 QUIGLEY ST.
                    WESTMINSTER, CO 80031
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1981 of
                                      2164



                    Teena Fritts
                    136 Magnolia Ave
                    Ivey, GA 31031



                    Teeren Dokka
                    1655 S Elm Street
                    Canby, OR 97013



                    TEG STAFFING INC
                    PO BOX 843209
                    LOS ANGELES, CA 90084-3209



                    TEH TUNG CORP
                    12110 ALTAMAR PLACE
                    SANTA FE SPRINGS, CA 90670



                    Teh Tung Corp.
                    12110 Altamar Place
                    Santa Fe Springs, CA 90670



                    TELECO INC
                    P.O. BOX 11364
                    COLUMBIA, SC 29211-1364



                    TELECO INC
                    430 WOODRUFF RD STE 300
                    GREENVILLE, SC 29607-3462



                    Telefor Leiva
                    440 ""b"" St
                    Fresno, CA 93706



                    TELESIS PTO
                    2800 E HOLLINGWORTH ST
                    TELESIS ACADEMY PTO
                    WEST COVINA, CA 91792
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1982 of
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                    TELESIS PTO
                    2800 E HOLLINGWORTH ST
                    TELESIS ACADEMY PTO
                    WEST COVINA
                    CA, 91792



                    TEMECULA TOWNE CENTER ASSOC LP
                    PO BOX 72022
                    CLEVELAND, OH 44192-0022



                    TEMECULA VALLEY CHARTER SCHOOL
                    35755 ABELIA STREET
                    WINCHESTER, CA 92596



                    TEMPE CC HUI LLC
                    25122 E HIGHLAND AVE        STE 450
                    PHOENIX, AZ 85016



                    Tempe CC HUI, LLC
                    Stephanie Davidson Tempe CC HUI, LLC c/o Arizona
                    2122 East Highland Ave.
                    Ste. 450
                    Phoenix, AZ 85016



                    TEMPE CITY CENTER LP
                    2122 EAST HIGHLAND AVE #400
                    C/O P&P TEMPE CITY CNTR GPLLC ATTN DARYL
                    PHOENIX, AZ 85016



                    TEMPE POLICE DEPARTMENT
                    PO BOX 29615
                    PHOENIX, AZ 85038-9615



                    TEMPLE ADAT SHALOM
                    15905 POMERADO RD
                    POWAY, CA 92064
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1983 of
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                    TEMPLE BETH DAVID EARLY CHILDHOOD CENTER
                    6100 HEFLEY STREET
                    WESTMINSTER, CA 92683



                    TEMPLE BETH TORAH SHAARY TZED
                    5700 NW 94TH AVE
                    TAMARAC, FL 33021



                    TEMPLE CHAI EARLY CHILDHOOD
                    4645 E MARILYN ROAD
                    PHOENIX, AZ 85032



                    TEMPLE CITY HIGH SCHOOL
                    9501 LEMON AVE
                    TEMPLE CITY, CA 91780



                    TEMPLE ISRAEL
                    269 LOMA AVE
                    LONG BEACH, CA 90803



                    Ten Mile Range Properties, LLC and Saras
                    PO Box 823201
                    Philadelphia, PA 19182-3201



                    TEN MILE RANGE PROPERTIESLLC
                    1776 RINGLING BLVD
                    ATTN PAUL E OLSEN
                    SARASOTA, FL 34236



                    TENNANT SALES AND SERVICE COMPANY
                    PO BOX 71414
                    CHICAGO, IL 60694-1414



                    Teodora Valdovinos Medina
                    1136 N Escondido Blvd
                    Apt 208
                    Escondido, CA 92026
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1984 of
                                      2164



                    Teodulfo Jr. Sumayang
                    228 Greenwich Drive
                    Pleasant Hill, CA 94523



                    Teofila Guzman De Alvarez
                    4131 E Indian School Rd
                    #203
                    Phoenix, AZ 85018



                    Teofilo Lizarraga
                    4552 Boundary Stret
                    San Diego, CA 92116



                    Terell Rivera
                    4614 MIDDLEBROOK ROAD
                    #I
                    ORLANDO, FL 32811



                    Tereman robertson
                    16921 E CHENANGO AVE
                    UNIT B
                    AURORA, CO 80015



                    Terence Simmons
                    1550 SINBURN DR
                    CUMMING, GA 30040



                    Terence Tarleton
                    1750 BRIARWOOD RD NE
                    EE07
                    BROOKHAVEN, GA 30329



                    Teresa Acosta
                    3220 C St
                    San Diego, CA 92102



                    Teresa Aparicio
                    1801 Amboy Dr.
                    Las Vegas, NV 89108
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1985 of
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                    Teresa Carroll
                    4713 E HILLSBOROUGH AVE
                    LOT 4
                    TAMPA, FL 33610



                    Teresa Chaidez
                    8044 3rd St
                    Paramount, CA 90723



                    Teresa Clubb
                    9719 LOUISE WAY
                    RANCHO CUCAMONGA, CA 91730



                    Teresa Cruz
                    3201 Mira Mesa Ave
                    Oceanside, CA 92056



                    Teresa De Jesus Rivas DeLaCruz
                    3132 W Lindacita LN
                    Anaheim, CA 92804



                    Teresa Diaz
                    5245 MILLENIA BLVD
                    211
                    ORLANDO, FL 32839



                    Teresa Guzman
                    17070 E. Colima Rd.
                    #287
                    Hacienda Heights, CA 91745



                    Teresa Macias
                    340 Evergreen Dr
                    Brea, CA 92821



                    Teresa Maya
                    712 Riden Hour Crbld N
                    Orlando, FL 32809
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1986 of
                                      2164



                    Teresa Morris
                    11969 SOUTH SAM HOUSTON PLWY
                    211
                    HOUSTON, TX 77063



                    Teresa Nordhausen
                    38182 HAMLIN ST
                    FREMONT, CA 94536



                    Teresa Perez
                    3029 Linda Dr
                    Oceanside, CA 92056



                    Teresa Perez
                    39 Rancho Drive
                    #10
                    San Jose, CA 95111



                    Teresa Rodriguez
                    1751 S MLK Jr Ave
                    Clearwater, FL 33755



                    Teresa Segovia
                    3102 E PARADISE LN
                    APT113
                    PHOENIX, AZ 85032



                    Teresa Snow
                    8406 SANTA FE SPRINGS RD
                    APT 8
                    WHITTIER, CA 90606



                    Teresa Telles
                    12205 PERRY ST.
                    LOT. 282
                    BROOMFIELD, CO 80020
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1987 of
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                    Teresa Vazquez-Lozano
                    8661 CIRCLE DR
                    WESTMINSTER, CO 80031



                    Teresa Velasquez
                    129 Buffet Key
                    Boynton Beach, FL 33426



                    Teresia Saqa
                    4623 ROTHBURY COMMON
                    FREMONT, CA 94536



                    Teresita Ramirez Quinonez
                    6100 Carmen Blvd.
                    Apt 1052
                    Las Vegas, NV 89108



                    Teresita Soto
                    354 Avacado Street
                    Apt #12
                    Costa Mesa, CA 92627



                    Teressa Romero
                    832 W Colorado Blvd apt c
                    Monrovia, CA 91016



                    Teriane Santee
                    11900 BARWOOD BEND DR
                    158
                    HOUSTON, TX 77065



                    Terique Alleyne
                    350 SE 129TH
                    PORTLAND, OR 97233



                    Terisa Allen
                    419 DRAKE ST
                    HENDERSON, NV 89015
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1988 of
                                      2164



                    TERMINIX PROCESSING CENTER
                    PO BOX 802155
                    CHICAGO, IL 60680-2131



                    TERRA NOVA
                    10351 NW THOMPSON RD
                    PORTLAND, OR 97229



                    Terrail Boges
                    2961 Foxglove Drive
                    Marietta, GA 30064



                    TERRAMAR RETAIL CENTERS LLC
                    PO BOX 843002
                    LOS ANGELES, CA 90084-3002



                    Terrance Etheridge
                    1512 BENITO AVE
                    APT 9
                    ALHAMBRA, CA 91803



                    TERRANCE K JOHNSON
                    PO BOX 231400
                    ENCINTAS, CA 92023-1400



                    TERRANCE K JOHNSON
                    PO BOX 231400
                    ENCINITAS, CA 92023-1400



                    TERRE SOLUTIONS
                    3746 ZACHARY ST
                    NEW PORT RICHEY, FL 34655



                    TERRE SOLUTIONS
                    3746 ZACHARY ST
                    NEW PORT RICHEY
                    FL, 34655
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                    Terrell barron
                    6737 DE SOTO AVE
                    108
                    CANOGA PARK, CA 91303



                    Terrell Battle
                    931 Cobb Ave
                    Placentia, CA 92870



                    Terrell Rhody
                    1943 WOODLAND HILLS DR
                    MISSOURI CITY, TX 77489



                    Terrence Hughes
                    11724 REEDY CREEK DR
                    112
                    ORLANDO, FL 32836



                    Terri Holsapple
                    7415 Colima Dr
                    Houston, TX 77083



                    TERRI ROGELSTAD
                    1310 PASEO LUCIDO
                    C/O RANCHO BERNARDO HIGH SCHL
                    SAN DIEGO, CA 92128



                    Terri Wells
                    4541 RENAISSANCE DR
                    433
                    SAN JOSE, CA 95134



                    Terriana Williams
                    1205 Bluff Ave. N.
                    Las Vegas, NV 89030



                    TERRY BUDD
                    10168 MARCELLA COURT
                    SANTEE, CA 92071
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1990 of
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                    Terry Duenas
                    3606 5TH ST SW
                    LEHIGH ACRES, FL 33976



                    TERRY JENNINGS
                    2404 SE 161ST COURT
                    162
                    VANCOUVER, WA 98683



                    Terry Moore
                    1713 NORTHWOODS LAKE COURT
                    DULUTH, GA 30096



                    TERRY TROUT SR
                    2457 N BUNDY DR #101
                    FRESNO, CA 93737



                    TES FOUNDATION
                    5450 LA CUENTA DRIVE
                    TIERRASANTA ELEMENTARY SCHOOL
                    SAN DIEGO, CA 92124



                    TESORO TECHNOLOGIES INC
                    805-60 WYNDHAM ST S
                    GUELPH, ONTARIO M1E 7H7



                    Tess Ibbotson
                    3796 S GALAPAGO ST
                    ENGLEWOOD, CO 80110



                    Tessa klopp
                    12027 SE 31ST PLACE
                    8
                    MILWAUKIE, OR 97222



                    Tessa Rodgers
                    1775 VISTA WAY
                    EL CAJON, CA 92019
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1991 of
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                    Tessy Shively
                    4438 Vandever Ave
                    San Diego, CA 92120



                    Tevin Stewart
                    523 HURRICANE SHOALS RD NW
                    LAWRENCEVILLE, GA 30046



                    TEVORA BUSINESS SOLUTIONS INC
                    17875 VON KARMAN AVE STE 100
                    IRVINE, CA 92614



                    TEXAS ANIMAL SOCIETY
                    PO BOX 130448
                    SPRING, TX 77398



                    Texas Basket Company
                    P.O. Box 1110
                    Jacksonville, TX 75766



                    TEXAS BASKET COMPANY INC
                    PO BOX 1110
                    JACKSONVILLE, TX 75766



                    TEXAS COMPTROLLER OF PUBLIC ACCOUNTS
                    17777 CENTER COURT DR. N. #700
                    CERRITOS, CA 90703-9356



                    TEXAS COMPTROLLER OF PUBLIC ACCOUNTS
                    PO BOX 149348
                    AUSTIN, TX 78714-9348



                    TEXAS COMPTROLLER OF PUBLIC ACCOUNTS
                    PO BOX 12109
                    AUSTIN, TX 78711
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1992 of
                                      2164



                    TEXAS DEPARTMENT OF STATE
                    HEALTH SERVICES
                    PO BOX 12008
                    AUSTIN, TX 78711



                    TEXAS STATE COMPTROLLER
                    UNCLAIMED PROPERTY DIVISION
                    PO BOX 12019
                    AUSTIN, TX 78711-2019



                    TF industries




                    Thalia Enriquez
                    23802 GOODFELLOW DR
                    SPRING, TX 77373



                    Thalia Samuels
                    2585 CHANTILLY DR
                    ATLANTA, GA 30324



                    Thalia Torres
                    789 FELLER AVE
                    SAN JOSE, CA 95127



                    Thaumasina Evans
                    4039 Alto St
                    Oceanside, CA 92056



                    Thaylia Freeman
                    4 HEMLOCK COURT PASS
                    OCALA, FL 34472



                    THE ALS ASSOCIATION GREATER SA
                    9929 HIBERT STREET SUITE A
                    WALK TO DEFEAT ALS 2018
                    SAN DIEGO, CA 92131
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1993 of
                                      2164



                    THE ALS ASSOCIATION ROCKY MTN
                    10855 DOVER ST SUITE 500
                    WESTMINSTER, CO 80021



                    THE ARC OF VENTURA COUNTY
                    5103 WALKER ST
                    VENTURA, CA 93003



                    THE AVODA PROJECT
                    26731 DUBLIN WOODS CIR STE 2
                    BONITA SPRINGS, FL 34135



                    THE BORGEN PROJECT CONNIE LOO
                    1416 NW 46TH STREET SUITE 105
                    SEATTLE, WA 98107



                    THE CENTURY CLUB OF SAN DIEGO
                    9404 GENESEE AVE STE 310
                    LA JOLLA, CA 92037



                    THE CENTURY CLUB OF SAN DIEGO
                    6155 CORNERSTONE COURT E #100
                    SAN DIEGO, CA 92121



                    THE CHILD DAY SCHOOLS
                    883 ROSE AVE
                    PLEASANTON, CA 94566



                    THE CHILD LANGUAGE CENTER INC
                    202 E SPEEDWAY
                    TUCSON, AZ 85705



                    THE COCA-COLA COMPANY
                    ONE COCA-COLA PLAZA NW
                    ATLANTA, GA 30313
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1994 of
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                    THE CRAMER KRASSELT CO INC
                    39012 TREASURY CENTER
                    CHICAGO, IL 60694-9000



                    THE DERUOSI GROUP LLC
                    25055 ARTHUR RD
                    ESCALON, CA 95320



                    The Garlic Company
                    18602 Zerker Road
                    Shafter, CA 93263



                    THE GREATER BRANDON CHAMBER OF COMMERCE
                    330 PAULS DRIVE STE 100
                    BRANDON, FL 33511



                    The Green Experts
                    PO BOX 9318
                    CORAL SPRINGS, FL 33075-9318



                    THE GREEN EXPERTS LLC
                    PO BOX 9318
                    CORAL SPRINGS, FL 33075-9318



                    THE HICKMAN NEST
                    10850 MONTONGO STREET
                    SAN DIEGO, CA 92126



                    THE HICKMAN NEST
                    10850 MONTONGO STREET
                    SAN DIEGO
                    CA, 92126



                    THE HOME DEPOT RECEIVABLES
                    400 WHITE CLAY CENTER DR
                    ATTN LOCKBOX 7491
                    NEWARK, DE 19711
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1995 of
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                    THE ICEE COMPANY
                    PO BOX 515723
                    LOS ANGELES, CA 90051-5203



                    THE JOURNEY BEGINS
                    6438 YORK BLVD
                    LOS ANGELES, CA 90042



                    THE LEADERSHIP ACADEMY PTA
                    1550 TEMPLE HEIGHTS DR
                    OCEANSIDE, CA 92056



                    THE MARFAN FOUNDATION INC.
                    22 MANHASSET AVENUE
                    PORT WASHINGTOM, NY 11050



                    THE MULTIPLE SCLEROSIS SOCIETY
                    6520 N ANDREWS AVE
                    FORT LAUDERDALE, FL 33309



                    THE NATIONAL SOCIETY OF COLLEGIATE SCHOL
                    5645 PACIFIC BLVD
                    PALMS OF BOCA DEL MAR APT 2804
                    BOCA RATON, FL 33433



                    THE NATIONAL SOCIETY OF COLLEGIATE SCHOL
                    5645 PACIFIC BLVD
                    PALMS OF BOCA DEL MAR APT 2804
                    BOCA RATON
                    FL, 33433



                    The Neil Jones Food Company
                    P.O. Box 842476
                    Dallas, TX 75284-2476



                    THE NEIL JONES FOOD COMPANY
                    PO BOX 842476
                    DALLAS, TX 75284-2476
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1996 of
                                      2164



                    THE OASIS SANCTUARY
                    PO BOX 2166
                    SCOTTSDALE, AZ 85252



                    The Original Chefs Premium Llc
                    21031 Ventura Blvd Suite 701
                    Woodland Hills, CA 91364



                    THE ORIGINAL CHEFS PREMIUM LLC
                    21031 VENTURA BLVD STE 508
                    WOODLAND HILLS, CA 91364



                    THE PAPE GROUP INC
                    PO BOX 35144 #5077
                    SEATTLE, WA 98124-5144



                    THE PLANNING & ZONING
                    RESOURCE COMPANY LLC
                    1300 S MERIDIAN AVE STE400
                    OKLAHOMA CITY, OK 73108



                    The Price is Right




                    The Price REIT, Inc.
                    3333 New Hyde Park Rd.
                    Ste. 100
                    New Hyde Park, NY 11042-0020



                    The Republic Of Tea
                    P.O. Box 843410
                    Kansas City, MO 64184-3410



                    THE REPUBLIC OF TEA
                    PO BOX 843410
                    KANSAS CITY, MO 64184-3410
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1997 of
                                      2164



                    The Republic Of Tea
                    P.O. Box 843410
                    Kansas City
                    MO, 64184-3410



                    THE RESTAURANT GUYS LLC
                    2550 SANDY PLAINS RD
                    STE 225-164
                    MARIETTA, GA 30066



                    THE ROMAN CATHOLIC BISHOP OF LAS VEGAS A
                    1111 N MICHAEL WAY
                    LAS VEGAS, NV 89108



                    The Smith 1982 Trust and The Malashock 1
                    Attn: Joyce Pennington Smith
                    425 Sanibelle Circle
                    #129
                    Chula Vista, CA 91910



                    THE SMITHFIELD PACKING CO INC
                    PO BOX 198198
                    ATLANTA, GA 30384-8198



                    THE STERITECH GROUP INC
                    PO BOX 472127
                    CHARLOTTE, NC 28247-2127



                    THE SWEENEY LAW FIRM
                    15233 VENTURA BLVD STE 500
                    SHERMAN OAKS, CA 91403



                    THE TRAVELERS INDEMNITY COMPANY INC
                    PO BOX 660317
                    DALLAS, TX 75266-0317



                    THE VILLAGES OPERATING COMPANY INC
                    3619 KIESSEL RD
                    THE VILLAGES, FL 32163
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1998 of
                                      2164



                    THE WINDOW CREW INC
                    332 S FILLMORE AVE
                    KIRWOOD, MO 63122



                    Thea Covino
                    2147 BRANT ST
                    SAN DIEGO, CA 92101



                    Thelma Biami
                    2601 W. Vereda Azul
                    Tucson, AZ 85746



                    Thelma Orozco
                    4311 PERLITA AVE
                    1
                    LOS ANGELES, CA 90039



                    Theodore Hutchison
                    2307 NE 157TH AVE
                    VANCOUVER, WA 98684



                    Theodore Milewski
                    5303 32 Ave E
                    Palmetto, FL 34221



                    Theodore Ryan
                    3417 TYBURN STREET
                    LOS ANGELES, CA 90039



                    Theodore Woodliff
                    4225 FELTON STREET
                    6
                    SAN DIEGO, CA 92104



                    Theresa Carvalho
                    3115 FINNIAN WAY
                    132
                    DUBLIN, CA 94568
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 1999 of
                                      2164



                    THERESA HESSLING CHARTER SCHOOL
                    7260 LINDA VISTA RD
                    SAN DIEGO, CA 92111



                    Theresa Maris
                    215 S. VAN BUREN ST
                    PLACENTIA, CA 92870



                    Theresa Tran
                    375 SE 69TH AVE
                    HILLSBORO, OR 97123



                    Thermidor Wilner
                    Po Box 62596
                    Fort Myers, FL 33906



                    THERMOWORKS INC
                    741 E UTAH VALLEY DR
                    AMERICAN FORK, UT 84003



                    Theron MAY
                    7238 E NATAL AVE
                    MESA, AZ 85209



                    THESPIAN PIRATES CLUB
                    25200 SW 118 AVE
                    PRINCETON, FL 33032



                    THETA TAU AT UCSD
                    17010 SILVER CREST DR
                    SAN DIEGO, CA 92127



                    THETA TAU EPSILON DELTA
                    7856 CAMINO AGUILA
                    SAN DIEGO, CA 92122
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                    THETA TAU EPSILON DELTA
                    7856 CAMINO AGUILA
                    SAN DIEGO
                    CA, 92122



                    THEUERKAUF AFTERSCHOOL YMCA
                    2400 GRANT ROAD
                    YMCA CAMPAIGN
                    MOUNTAIN VIEW, CA 94040



                    Thiago Valle
                    16015 Arbor View Blvd
                    #217
                    Naples, FL 34110



                    Thien Tran
                    13794 KERRY LANE
                    SAN DIEGO, CA 92130



                    Thierry Delva
                    1750 N.E 4TH ST
                    BOYNTON BEACH, FL 33435



                    THINK UTILITY SERVICES INC
                    PO BOX 17389
                    CLEARWATER, FL 33762-0389



                    THOMAS A GRAHAM
                    14017 PAINTED DESERT ROAD
                    POWAY, CA 92064



                    Thomas Bliss
                    318 EAST DAKIN AVE.
                    6
                    KISSIMMEE, FL 34741



                    Thomas Boyd
                    2337 CYPRESS AVENUE
                    LEMON GROVE, CA 91945
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2001 of
                                      2164



                    Thomas Butterfield
                    7841 Xavier St.
                    Westminster, CO 80030



                    Thomas Carpenter
                    9969 ACADEMY ST NW
                    ALBUQUERQUE, NM 87114



                    Thomas Carr
                    10905 SW 142 LN.
                    MIAMI, FL 33176



                    Thomas Chen
                    832 W. HUNTINGTON DR.
                    22
                    ARCADIA, CA 91007



                    THOMAS CLANCY
                    13728 LINDAMERE LANE
                    SAN DIEGO, CA 92128



                    Thomas Clark
                    2020 SCOTT ST
                    HOLLYWOOD, FL 33020



                    Thomas Floyd
                    14707 VICTORY BLVD
                    201
                    VAN NUYS, CA 91411



                    Thomas Gacusan
                    33709 MELLO WAY
                    FREMONT, CA 94555



                    Thomas Glatt
                    18284 FERNANDO WAY
                    SAN DIEGO, CA 92128
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                                      2164



                    Thomas Groeling
                    7178 N. FRUIT AVE.
                    132
                    FRESNO, CA 93711



                    Thomas H. Gacusan
                    33709 MELLO WAY
                    FREMONT, CA 94555



                    Thomas Halks
                    4435 SW 99TH AVE
                    UNIT A
                    BEAVERTON, OR 97005



                    THOMAS HALKS
                    4435 SW 99TH AVE UNIT A
                    BEAVERTON, OR 97005



                    Thomas Heredia
                    906 North Fourth St
                    San Jose, CA 95125



                    THOMAS J CONLON
                    10796 CHARBONO TERRACE
                    SAN DIEGO, CA 92131



                    Thomas Jefferies
                    22 FERMIN RD
                    ABQ, NM 87123



                    Thomas kendrick
                    629 NERITA STREET
                    4A
                    SANIBEL ISLAND, FL 33957



                    Thomas Kregler
                    3875 CRESCENT COVE PLACE
                    TARPON SPRINGS, FL 34688
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                                      2164



                    Thomas Lunis
                    405 Sw 76th Terrace
                    Pompano Beach, FL 33068



                    Thomas Marez
                    2239 E PARADISE LN
                    PHOENIX, AZ 85022



                    Thomas Martinez
                    2801 Ocean Park Blvd.
                    #339
                    Santa Monica, CA 90405



                    Thomas McDonald
                    8 TAVELLA PLACE
                    FOOTHILL RANCH, CA 92610



                    Thomas Merrick
                    20906 Jaffa Lane
                    Land O' Lakes, FL 34637



                    Thomas Nava
                    17933 NW EVERGREEN PKWY
                    17999 NW EVERGREEN PKWY
                    BEAVERTON, OR 97006



                    Thomas Perry
                    1279 LINDEN DR
                    CONCORD, CA 94520



                    Thomas Robie
                    2737 CARDWELL WAY
                    SARASOTA, FL 34231



                    Thomas Smith
                    4120SW 149TH TERR
                    MIRAMAR, FL 33027
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2004 of
                                      2164



                    THOMAS STILLWELL
                    11297 WEST CRESTLINE PLACE
                    LITTLETON, CO 80127



                    Thomas Williams
                    378 YONKERS AVENUE
                    ATLANTA, GA 30036



                    THOMAS WINERY PLAZA LLC
                    23 CORPORATE PLAZA DR STE 247
                    NEWPORT BEACH, CA 92660



                    THOMAS WINERY PLAZA PROPERTY OWNER LLC
                    23 CORPORATE PLAZA DR #247
                    NEWPORT BEACH, CA 92660



                    Thomas Winery Plaza Property Owner, LLC
                    c/o KMS Properties, Inc.
                    23 Corporate Plaza Dr. #247
                    Newport Beach, CA 92660



                    THOMPSON MIDDLE SCHOOL CHOIR
                    24040 HAYES AVE
                    MURRIETA, CA 92562



                    THOMPSONS REFRIGERATION LLC
                    PO BOX 751690
                    LAS VEGAS, NV 89136



                    Thornbrugh Riley
                    43875 Fern Ave
                    Lancaster, CA 93534



                    THOROUGH MAINTENANCE INC
                    PO BOX 710305
                    SAN DIEGO, CA 92171-0305
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2005 of
                                      2164



                    THOSE LEFT BEHIND FOUNDATION
                    10040 W CHEYENNE AVE 17
                    LAS VEGAS, NV 89129



                    THUNDERBIRD CHRISTIAN ELEMENTARY
                    7440 E SUTTON DRIVE
                    SCOTTSDALE, AZ 85254



                    Thunderscape Services




                    THURAI SINGHAM PONNUDURAI
                    PO BOX 7054
                    ROCKY MOUNT, NC 27804



                    Tia Payne
                    16770 SW 12TH STREET
                    SHERWOOD, OR 97140



                    Tia Smith
                    425 S 9th St
                    Leesburg, FL 34748



                    Tian April
                    4120 E Placita Presilla
                    Tucson, AZ 85718



                    Tiana Fongchoy
                    807 WINDRIDGE DR
                    SANDY SPRINGS, GA 30350



                    Tiana Stephens
                    624 Se 131st Ct.
                    Vancouver, WA 98683
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2006 of
                                      2164



                    Tianna Gonzalez
                    10124 Elmhurst Dr. NW
                    Albuquerque, NM 87114



                    Tiara Gronda
                    670 FOREST PEAK STREET
                    HENDERSON, NV 89011



                    Tiara Sloan
                    7625 N 19th Ave
                    Apt #129
                    Phoenix, AZ 85021



                    Tiarra English
                    19800 N 7TH STREET
                    PHOENIX, AZ 85024



                    Tiberio Peralta
                    541 N EAST AVE
                    Sarasota, FL 34237



                    Ticora Hopkins
                    5920 OSUNA RD NE
                    #P
                    ALBURQUERQUE, NM 87109



                    Tiera Chambliss
                    2212 SOUTH STREET
                    1
                    LEESBURG, FL 34747



                    TIERRA BONITA EDUCATIONAL FOUN
                    14678 TIERRA BONITA ROAD
                    POWAY, CA 92064



                    Tierra Harris
                    330 AMBER CT
                    104
                    UPLAND, CA 91785
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2007 of
                                      2164



                    Tiffaney Anderson
                    7219 RAVENNA AVE
                    ORLANDO, FL 32819



                    Tiffany balogh
                    2502 CHILK AVE
                    SARASOTA, FL 34204



                    Tiffany Bratsch
                    800 KAY RD NE 2061
                    BRADENTON, FL 34212



                    Tiffany Castro
                    1544.S.CALLE DEL MAR
                    A
                    ANAHEIM, CA 92802



                    Tiffany Chambers
                    848 N MOLLISON AVE
                    F1
                    EL CAJON, CA 92021



                    Tiffany Giles
                    158 BENT OAK
                    ROYAL PALM BEACH, FL 33411



                    Tiffany Henderson
                    12790 SE 114Th St Rd
                    Ocklawaha, FL 32179



                    Tiffany Horne
                    1716CENTRAL AVE
                    SARASOTA, FL 34234



                    Tiffany Lofton
                    6335 Westbury Rd
                    Riverdale, GA 30274
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2008 of
                                      2164



                    Tiffany Lorde
                    421 JERNIGAN AVE
                    ORLANDO, FL 32805



                    Tiffany Mitchell
                    2400 CAMPBELLTON RD
                    L3
                    ATLANTA, GA 30311



                    TIFFANY TRIEU
                    38 BUTLER ST
                    IRVINE, CA 92612



                    TIFFANY VAUGH
                    3647 CRESTHILL DRIVE
                    FLOWERY BRANCH, GA 30542



                    Tiffany Wedman
                    7475 Ridge Dr.
                    Gladstone, OR 97027



                    Tiffany Zapata
                    17040 WOODCREST
                    CLERMONT, FL 34714



                    TIGARD POLICE DEPARTMENT
                    13125 SW HALL BLVD
                    TIGARD, OR 97223



                    TIGARD TUALATIN SCHOOL DISTRICT
                    9000 SW DURHAM RD
                    TIGARD, OR 97224



                    TIGER NATURAL GAS INC
                    DEPARTMENT 2192
                    TULSA, OK 74182
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2009 of
                                      2164



                    Tiger Teague
                    3520 okeechobee st
                    NAPLES, FL 34112



                    TIM BARHAM
                    4759 MILL VILLAGE RD
                    RALEIGH, NC 27612



                    TIM P GLENN
                    1467 BRITTMOORE RD
                    HOUSTON, TX 77043



                    Timothy Anderson
                    15715 PONY PL
                    TAMPA, FL 33624



                    Timothy Carter
                    10482 112th Ave N
                    Largo, FL 33773



                    Timothy FREEMAN
                    14411 KITTRIDGE STREET
                    150
                    VAN NUYS, CA 91405



                    Timothy Garner
                    2117 Citrus Blvd
                    Leesburg, FL 34748



                    Timothy Jackson
                    316 PINE RIDGE CIRCLE
                    GREEN ACRES, FL 33463



                    Timothy Johnson
                    625 W. CALLE ARIZONA
                    TUCSON, AZ 85705
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                                      2164



                    Timothy Mora
                    555 Forest Lake Dr
                    555 Forest Lake Dr
                    Brea, CA 92821



                    Timothy Mose
                    1925 WOODLAND HILLS DR
                    MISSOURI CITY, TX 77489



                    Timothy Ramirez
                    5607 N 14th Dr
                    Phoenix, AZ 85015



                    Timothy Rehm
                    25612 President Ave
                    Harbor City, CA 90710



                    Timothy Rios
                    8114 NOBLE AVE
                    PANORAMA CITY, CA 91402



                    Timothy Rittgers
                    7862 W. Irlo Bronson Hwy.
                    #403
                    Kissimmee, FL 34747



                    Timothy Roch
                    28841 JAEGER DR
                    LAGUNA NIGUEL, CA 92677



                    Timothy Rutherford
                    6881 CAMPUS DR
                    A
                    BUENA PARK, CA 90621



                    Timothy Smith
                    5851 ANDERSON AVE SE
                    APT.7
                    ALBUQUERQUE, NM 87108
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2011 of
                                      2164



                    Timothy Zhang
                    6104 ALIDA ROW
                    SAN DIEGO, CA 92130



                    Tina Adams
                    3834 Edna Pl
                    #6
                    San Diego, CA 92116



                    Tina Bevan
                    Po Box 46722
                    Tampa, FL 33646



                    Tina Chapman
                    4918 E. BARWICK DRIVE
                    CAVE CREEK, AZ 85331



                    Tina Tidball
                    4240 SW 177TH AVENUE
                    BEAVERTON, OR 97078



                    Tiona Gambler-wright
                    2533 SENNETT DRIVE
                    APT 202
                    LEESBURG, FL 34748



                    TIPP CITY
                    DEPARTMENT OF TAXATION
                    260 S. GARBER DRIVE
                    TIPP CITY, OH 45371-3116



                    TIPPER TIE INC
                    12767 COLLECTIONS CENTER DRIVE
                    CHICAGO, IL 60693



                    Tirek Benjamin
                    9040 Cedar St
                    Bellflower, CA 90706
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2012 of
                                      2164



                    Tisha Rasmussen
                    11881 SE SUMMER PL
                    CLACKAMAS, OR 97015



                    TITAN MARTIN INC
                    224 GLASGOW CT
                    DAVENPORT, FL 33897



                    TITAN TILE INC
                    5038-B RUFFNER ST
                    SAN DIEGO, CA 92111



                    Tito Landaverde
                    3502 Pine Ridge
                    Houston, TX 77088



                    Titus Reid
                    520 CORTE GOLONDRINA
                    CAMARILLO, CA 93010



                    Tiveyawn Faumui
                    Invalid Address
                    2331 Denair Ave.
                    San Jose, CA 95122



                    Tkcireduj Ganan
                    5048 MILLENIA BLVD
                    101
                    ORLANDO, FL 32839



                    TLC Marketing Worldwide




                    TLC PLUMBING & UTILITY
                    5000 EDITH NE
                    ALBUQUERQUE, NM 87107
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2013 of
                                      2164



                    TMC THE MAINTENANCE COMPANY LLC
                    14812 W MAUI LANE
                    SURPRISE, AZ 85379



                    TMT PRODUCTIONS LLC
                    375 W I ST
                    ENCINITAS, CA 92024



                    TN CHILD SUPPORT STATE DISBURSEMENT UNIT
                    PO BOX 305200
                    NASHVILLE, TN 37229



                    TN CHILD SUPPORT STATE DISBURSEMENT UNIT
                    PO BOX 305200
                    NASHVILLE
                    TN, 37229



                    TN DEPT OF LABOR & WRKFRCE DEV
                    EMPLOYER ACCOUNTS OPERATIONS
                    P.O. BOX 101
                    NASHVILLE, TN 03720-2101



                    Tobias Middleton
                    1362 wolff St
                    Denver, CO 80204



                    Tobias Williams II
                    10819 MACKENZIE DR
                    HOUSTON, TX 77086



                    Toby Diehl
                    2840 WESTWOOD AVE.
                    SAN RAMON, CA 94583



                    Toby Fritz
                    294 Old Oak Cir
                    Palm Harbor, FL 34683
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2014 of
                                      2164



                    Toby Woodard
                    6901 Los Volcanes Rd NW
                    Appt # L201
                    Albuquerque, NM 87121



                    Toccara Glaspy
                    4800 N TAMIAMI TRAIL
                    SARASOTA, FL 34233



                    TODD BALDWIN
                    GENERAL DELIVERY
                    LAS VEGAS, NV 89165



                    Todd Stewart
                    4957 DANA DR NE
                    KENNESAW, GA 30144



                    TOHO WATER AUTHORITY
                    PO BOX 30527
                    TAMPA, FL 33630-3527



                    Tolufale Mckinnie
                    9132 Cambon Street
                    Spring Valley, CA 91977



                    TOM FIGIEL
                    1190 COLONY LANE
                    ROSELLE, IL 60172



                    TOM LE
                    PO BOX 671072
                    DALLAS, TX 75367



                    Tom Tapia
                    345 PEARL DR. NE
                    RIO RANCHO, NM 87124
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2015 of
                                      2164



                    Tomas Acuna
                    3119 Carriage Dr
                    Palm Harbor, FL 34684



                    Tomas Torres
                    77 CLEAVELAND RD
                    PLEASANT HILL, CA 94523



                    Tomasa Olvera
                    523 W University Dr
                    Mesa, AZ 85201



                    Tomeika Ellis
                    4406 102ND ST W
                    BRADENTON, FL 34210



                    Tommy Christensen
                    510 Fontanelle Ct
                    San Jose, CA 95119



                    Tommy Dorzilme
                    9021 SW 4TH ST
                    BOCA RATON, FL 33433



                    Tommy Ford
                    2618 Gailwood Drive
                    New Port Richey, FL 34655



                    Tommy Gong
                    13628 MARTINIQUE DRIVE
                    CHINO HILLS, CA 91709



                    Toni John
                    40810 13TH STREET WEST
                    APT A
                    PALMDALE, CA 93551
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                                      2164



                    TONI SCHOWEN
                    12141 BROOKS RIVER DR
                    ARLINGTON, TN 38002



                    Tony Andrade
                    830 East Washington Ave
                    Escondido, CA 92025



                    TONY LEUNG
                    21720 VILLA OAKS LANE
                    SARATOGA, CA 95070



                    Tonya Brown
                    5879 NW 1st Street
                    Ocala, FL 34480



                    TOP OF THE LADDER PAINTING INC
                    2368 CHEETHAM HILL BLVD
                    LOXAHATCHEE, FL 33470



                    TOPPERCREST
                    2801 PALAMORE DR
                    TAMPA, FL 33618



                    Toraino Alexander
                    2221 SPRINGDALE CIRCLE
                    ATLANTA, GA 30315



                    Tori Brown
                    14756 CAMINITO PORTO ALEGRE
                    DEL MAR, CA 92014



                    Tori Reeves
                    4321 CEDAR GROVE ST
                    HOLIDAY, FL 34691
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2017 of
                                      2164



                    Tori Thompson
                    18612 Manning Dr
                    #.
                    Tustin, CA 92780



                    Toribio Prieto
                    4531 Boylston St
                    San Diego, CA 92107



                    Torion Brooks
                    1749 S BALBOA DR
                    GILBERT, AZ 85295



                    Torrance haden
                    7720 JAMES WAY
                    WESTMINSTER, CO 80030



                    TORRANCE HIGH SCHOOL
                    2200 W CARSON ST
                    TORRANCE, CA 90501



                    TORRANCE HIGH SCHOOL
                    2200 W CARSON ST
                    TORRANCE
                    CA, 90501



                    TORRANCE LOCK AND KEY INC
                    2421 TORRANCE BLVD
                    TORRANCE, CA 90501



                    TORRANCE ROSE FLOAT ASSOCIATION
                    3031 TORRANCE BLVD
                    TORRANCE, CA 90503



                    TORRES LANDSCAPING
                    32945 KEVIN PL
                    LAKE ELSINORE, CA 92530
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                                      2164



                    TORREY HILLS ELEMENTARY PTA
                    10830 CALLE MAR DE MARIPOSA
                    SAN DIEGO, CA 92130



                    TOSHIBA BUSINESS SOLUTIONS-GA
                    6025 THE CORNERS PARKWAY
                    STE 207
                    NORCROSS, GA 30092



                    TOSHIBA BUSINESS SOLUTIONS-GA
                    1 GLENLAKE PARKWAY STE 1300
                    ATLANTA, GA 30328



                    TOTAL CLEAN INC
                    PO BOX 5891
                    SALEM, OR 97304



                    TOTAL POWER ELECTRIC INC
                    1330 W INDUSTRIAL AVE
                    UNIT #107
                    BOYNTON BEACH, FL 33426



                    TOTAL QUALITY LOGISTICS
                    PO BOX 634558
                    CINCINNATI, OH 45263-4558



                    TOTAL REFRIGERATION GASKETS
                    2205 PLATINUM ROAD
                    APOPKA, FL 32703



                    TOTAL SWEETENERS INC
                    PO BOX 80047
                    CITY OF INDUSTRY, CA 91716-8047



                    TOUCHPOINT PROJECT MGMT CONSULTING INC
                    13874 BELVEDERE DR
                    POWAY, CA 92064
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2019 of
                                      2164



                    TOURO UNIVERSITY NEVADA
                    985 WIGWAM PKWY UNIT 1020
                    HENDERSON, NV 89014



                    TOURO UNIVERSITY NEVADA
                    985 WIGWAM PKWY UNIT 1020
                    HENDERSON
                    NV, 89014



                    Towanda Seymour
                    2607 50TH DRIVE EAST
                    11-301
                    BRADENTON, FL 34203



                    TOWN OF GILBERT UTILITY DEPT
                    PO BOX 52653
                    PHOENIX, AZ 85072-2653



                    TOWN OF LADY LAKE
                    409 FENNELL BLVD
                    LADY LAKE, FL 32159



                    TOWNSHIP OF FALLS
                    188 LINCOLN HIGHWAY, SUITE 100
                    FAIRLESS HILLS, PA 00019-0300



                    TOWNSHIP OF ROBINSON
                    102 RAHWAY ROAD
                    MCMURRAY, PA 00015-3170



                    TOWNSHIP OF SCOTT
                    7100 BAPTIST ROAD
                    BETHEL PARK, PA 15102-3908



                    TP FOUNDATION PUBLICATIONS ACC
                    3710 DEL MAR HEIGHTS RD
                    SAN DIEGO, CA 92130
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2020 of
                                      2164



                    TPF EQUITY REIT OPERATING PARTNERSHIP LP
                    INVESTORS LLC
                    2425 E CAMELBACK ROAD STE 750
                    PHOENIX, AZ 85016



                    TPHS BEST BUDDIES
                    4065 CARMEL BROOKS WAY
                    SAN DIEGO, CA 92130



                    Tracey Taylor
                    107 EAST LEWIS STREET
                    WILLIS, TX 77318



                    TRACI ROWLETT
                    6325 N HAMBURG ROAD
                    OLDENBURG, IN 47036



                    TRACIE CHEAVES
                    1071 HIGHLAND ST
                    SARASOTA, FL 34236



                    TRACIE EVERETT
                    912 1/2 STINSON ST
                    LEESBURG, FL 34748



                    TRACK SHACK FITNESS CLUB INC
                    1013 MONTANA ST
                    ORLANDO, FL 32803



                    Tracy Lu
                    8684 Aquarius Drive
                    San Diego, CA 92126



                    Tracy Revels
                    19713 E NAVARRO
                    AURORA, CO 80013
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2021 of
                                      2164



                    Tracy Stough
                    622 SOUTH FEDERAL HWY.
                    #4
                    LAKE WORTH, FL 33460



                    Tradell Steverson
                    2300 ROCK SPRINGS DR
                    2107
                    LAS VEGAS, NV 89128



                    Trang Le
                    16029 Nw Joscelyn St
                    Beaverton, OR 97006



                    Tranquil Milfort
                    729 NW 6TH ST APT 1
                    Hallandale, FL 33009



                    TRAVELERS
                    91287 COLLECTIONS CENTER DR
                    C/O BANK OF AMERICA
                    CHICAGO, IL 60693-1287



                    Travion Brown
                    1401.S SANDY HOOK ST
                    WEST COVINA, CA 91790



                    Travious Samuel
                    13100 STONEFIELD DR
                    1610
                    HOUSTON, TX 77014



                    TRAVIS BRIDGES
                    3513 FORESTDALE DR
                    ORLANDO, FL 32808



                    Travis Demelle
                    4730 Corwin Ct.
                    Pleasanton, CA 94588
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2022 of
                                      2164



                    Travis Futcher
                    6400 CR 734
                    CENTER HILL, FL 33514



                    Travis Herman
                    7639 SARANAC AVE
                    LA MESA, CA 91942



                    Travis Holland
                    319 EAST CHURCH STREET
                    118
                    ORLANDO, FL 32801



                    Travis Johnson
                    8737 Wellesley Drive
                    Bld 9 Apt 303
                    Orlando, FL 32818



                    Travis Madden
                    14864 NE COUNTRYSIDE DR
                    AURORA, OR 97002



                    Travis Mathis
                    4416 Canal 9rd
                    West Palm Beach, FL 33406



                    Travis Paape
                    30345 BUCCANEER BAY UNIT B
                    MURRIETA, CA 92563



                    Travis Peck
                    8800 El Capitan Ave
                    Fountain Valley, CA 92708



                    TREASURER CITY OF FLINT
                    PO Box 529
                    Eaton Rapids, MI 43017
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2023 of
                                      2164



                    TREASURER CITY OF GLASGOW
                    TREASURER CITY OF GLASGOW
                    PO BOX 278
                    GLASGOW, KY 42142



                    TREASURER CITY OF HIGHLAND PARK
                    P.O. Box 239
                    Eaton Rapids, MI 48827



                    TREASURER OF STATE OF OHIO
                    P.O. BOX 444
                    COLUMBUS, OH 04321-6444



                    TREASURER OF VIRGINIA
                    CHILD SUPPORT
                    PO BOX 570
                    RICHMOND, VA 23218



                    TREASURER STATE OF IOWA
                    P.O. BOX 10411
                    DES MOINES, IA 00050-3060



                    TREASURER, CITY OF DETROIT
                    INCOME TAX - DEPARTMENT 131901
                    P.O.BOX 67000
                    DETROIT, MI 48267-1319



                    TREASURER, CITY OF PONTIAC
                    P.O. BOX 530
                    EATON RAPIDS, MI 04882-7530



                    TREASURER, FRANKLIN COUNTY
                    P.O. BOX 594
                    FRANKFORT, KY 00040-6020



                    TREASURER, STATE OF MAINE- SIT
                    P.O. BOX 1065
                    AUGUSTA, ME 4332-1065
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2024 of
                                      2164



                    TREASURER, STATE OF MAINE- SUI
                    P.O. BOX 1065
                    AUGUSTA, ME 4332-1065



                    Treavor Champion
                    13741 CLINTON ST.
                    GARDEN GROVE, CA 92843



                    Treazure Carr
                    16301 MEADOWHOUSE AVE
                    226
                    CHINO, CA 91708



                    Tredarius Polley
                    4427 ALGERNON DR
                    SPRING, TX 77373



                    TREDYFFRIN TOWNSHIP
                    1100 DUPORTAIL ROAD
                    BERWYN, PA 00019-3120



                    Tremaine Jones
                    2835 NINA
                    PASADENA, CA 91107



                    Tremarie Costa
                    1000 NE 13TH STREET
                    CAPE CORAL, FL 33909



                    Tremayne Grant
                    3205 Orange Center Blvd
                    Apt 16
                    Orlando, FL 32805



                    TREMONTE PROPERTIES LLC
                    7108 N FRESNO STREET #370
                    C/O NORTHSTAR MANAGEMENT INC
                    FRESNO, CA 93720
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2025 of
                                      2164



                    Trent Charley
                    4815 RENO DRIVE
                    SAN DIEGO, CA 92105



                    Trent Hunter
                    4901 GREEN RIVER RD
                    SPACE 153
                    CORONA, CA 92880



                    Trent McComb
                    6090 ALLBROOK CIR
                    PLEASANTON, CA 94588



                    Trent Michel
                    10979 SKYWOOD DR
                    EL CAJON, CA 92020



                    TRENTON CITY INCOME TAX
                    11 E STATE ST
                    TRENTON, OH 00045-0670



                    Trenton Williams
                    2124 CULLIVAN STREET
                    LOS ANGELES, CA 90047



                    Trevor Barnes
                    11549 S. WILTON PLACE
                    HAWTHORNE, CA 90250



                    TREVOR BARNES
                    11549 S WILTON PLACE
                    HAWTHORNE, CA 90250



                    Trevor Begay
                    4909 COMANCHE RD NE
                    ALBUQUERQUE, NM 87110
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2026 of
                                      2164



                    Trevor Carter
                    5525 Hardy Ave
                    #304
                    San Diego, CA 92115



                    Trevor Lindsay III
                    18210 NW 16 ST
                    PEMBROKE PINES, FL 33029



                    Trevor Logan
                    1948 E HAMILTON PLACE
                    AURORA, CO 80013



                    Trevor McDonald
                    1823 FIRESTONE DRIVE
                    SAN DIEGO, CA 92026



                    Trevor Sweet
                    3132 DOMAIN CIRCLE
                    202
                    KISSIMMEE, FL 34747



                    Trevor Tierney
                    2131 W GREENHOLLOW DRIVE
                    PALM HARBOR, FL 34683



                    Trey Clark
                    12660 STAFFORD RD
                    431
                    STAFFORD, TX 77477



                    Trey Simpson
                    16107 E NASSAU DR
                    AURORA, CO 80013



                    Treygan Olsen
                    8288 N. WILLOW VIEW DR.
                    TUCSON, AZ 85741
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2027 of
                                      2164



                    TREYGAN OLSEN
                    8288 N WILLOW VIEW DR
                    TUCSON, AZ 85741



                    TRI AMERICA FOUNDATION
                    1271 COMMONS CT
                    CLERMONT, FL 34711



                    TRI COUNTY HEALTH DEPARTMENT
                    6162 S WILLOW DR #100
                    GREENWOOD VILLAGE, CO 80111



                    TRI-CITY CHRISTIAN SCHOOL
                    302 N EMERALD DR
                    VISTA, CA 92083



                    TRI-TECH HEATING INC
                    6603 NE 137TH AVE
                    VANCOUVER, WA 98682



                    TRIANGLE KNIFE LLC
                    7431 MISSION GORGE RD
                    SAN DIEGO, CA 92120



                    TRIBUNE PUBLISHING COMPANY LLC
                    PO BOX 740665
                    LOS ANGELES, CA 90074-0665



                    Tricia Harris
                    14955 Avendia Venusto
                    Unit 42
                    San Diego, CA 92128



                    TRICIA HARRIS
                    18720 CAMINITO CANTILINA
                    UNIT 181
                    SAN DIEGO, CA 92128
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2028 of
                                      2164



                    TRIDENT TECHNOLOIES INC
                    15045 COLLECTIONS CENTER DRIVE
                    CHICAGO, IL 60693



                    Tridney Askew
                    1927 Nw 2nd St
                    Apt-2
                    Ocala, FL 34475



                    Trinadad Munoz
                    1329 N WATLAND AVE
                    LOS ANGELES, CA 90063



                    Trinady Crabtree
                    7835 34TH CT E
                    SARASOTA, FL 34243



                    Trinh Luu
                    2545 COCONUT DRIVE
                    SAN JOSE, CA 95148



                    Trinh vu
                    365 SARATOGA AVE
                    #5
                    SANTA CLARA, CA 95050



                    Trinidad Benham Corporation
                    3091 Solution Center
                    Chicago, IL 60677-3000



                    TRINIDAD BENHAM CORPORATION
                    3091 SOLUTION CENTER
                    CHICACO, IL 60677-3000



                    Trinidad Escobar
                    4640 Bowman Blvd
                    Los Angeles, CA 90032
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2029 of
                                      2164



                    TRINIDAD ESCOBAR
                    4640 BOWMAN BLVD
                    LOS ANGESES, CA 90032



                    Trinitee Anderson
                    3909 W SPRUCE ST
                    TAMPA, FL 33607



                    Trinitee Clements
                    309 SOUTHEAST 21ST AVE
                    BOYNTON BEACH, FL 33435



                    TRINITY
                    1225 HOPYARD ROAD
                    PLEASANTON, CA 94566



                    Trinity Alvarado
                    535 BLACKBIRD DRIVE
                    VISTA, CA 92083



                    TRINITY FRESH
                    9381 E STOCKTON BLVD STE 200
                    ELK GROVE, CA 95624



                    Trinity Kiang
                    Kiang 2620 Associated Road
                    A#100
                    Fullerton, CA 92835



                    TRINITY LUTHERAN SCHOOL
                    400 N SWINTON AVE
                    DELRAY BEACH, FL 33444



                    Trinity Spencer
                    9070 SE 35TH CT
                    OCALA, FL 34480
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2030 of
                                      2164



                    Trionte Fillmore
                    1126 BOOTH CT
                    MARIETTA, GA 30008



                    TRIPLE B CORPORATION
                    PO BOX 24606
                    SEATTLE, WA 98124



                    TRIPLE B CORPORATION
                    PO BOX 24606
                    SEATTLE
                    WA, 98124



                    Trisha Banks
                    724 NANCY ST
                    ESCONDIDO, CA 92027



                    Trisha Jarrett
                    27 LITCHFIELD ST
                    CARTERSVILLE, GA 30120



                    TRISHA PFLANTZ
                    431 WESTGATE AVE
                    ST LOUIS, MO 63130



                    Trishana Smith
                    3079 HIDDEN FOREST CT
                    APT # 3630
                    MARIETTA, GA 30066



                    Tristan Cany
                    3828 QUARTER MILE DRIVE
                    SAN DIEGO, CA 92130



                    Tristan Fillback
                    309 NE 144TH STREET
                    VANCOUVER, WA 98685
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2031 of
                                      2164



                    TRISTAN FILLBACK
                    309 NE 144TH ST
                    VANCOUVER, WA 98685



                    Tristan Otero
                    825 MAHOGANY RIDGE DRIVE
                    DAVENPORT, FL 33897



                    Tristen Shillady
                    1570 NAPOLI DRIVE WEST
                    SARASOTA, FL 34232



                    Tristian Johnson
                    858 W 24TH ST
                    SAN BERNARDINO, CA 92504



                    Tristian Marquez
                    9340 COOL CREEK AVE
                    LAS VEGAS, NV 89147



                    Tristin Blau
                    22900 OAK RIDGE DR
                    #3
                    SANTA CLARITA, CA 91350



                    Tristyn Fogerty
                    2977 Barnard Street
                    San Diego, CA 92110



                    TRIUMPH DISPLAY GROUP LLC
                    7025 CR 46 A STE 1071#421
                    LAKE MARY, FL 32746-4753



                    TROOP 131
                    14850 N SCOTTSDALE ROAD #255
                    SCOTTSDALE, AZ 85254
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2032 of
                                      2164



                    TROOP 294
                    1148 W GIACONDA WAY
                    TUCSON, AZ 85704



                    TROOP 362
                    10728 PUEBLA DR.
                    LA MESA, CA 91941



                    Troy Allen
                    8701 S BRAESWOOD BLVD
                    253
                    HOUSTON, TX 77031



                    Troy Calloway
                    9339 FOOTHILL BLVD
                    RANCHOCUCAMONGA, CA 91730



                    Troy Cerbin
                    1129 JESSIE RD
                    HENDERSON, NV 89002



                    TROY CITY INCOME TAX
                    100 S. MARKET STREET
                    TROY, OH 00045-3730



                    Troy Gramenz
                    8713 CORINTHIAN WAY
                    NEW PORT RICHEY, FL 34654



                    Troy Hernandez
                    1218 ECHELON AVE
                    LA PUENTE, CA 91744



                    Troy Higgins
                    8410 N Sherman Circle
                    Apt 401
                    MIramar, FL 33025
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2033 of
                                      2164



                    Troy Koehn
                    9730 MCLENNAN AVE
                    NORTHRIDGE, CA 91343



                    Troy Ling
                    805 PLEASANT HILL RD NW
                    UNIT 182
                    LILBURN, GA 30047



                    Troy Maas
                    272 SANDCASTLE
                    ALISO VIEJO, CA 92656



                    Troy Ogborn
                    7126 W Walden Pl
                    Littleton, CO 80128



                    Troy Phelps
                    1911 Prairie Sage Trail
                    Ocoee, FL 34761



                    Troy Sanders
                    13930 CHADRON AVE
                    309
                    HAWTHORNE, CA 90250



                    Troy Wigand
                    9933 APPLE STREET
                    SPRING VALLEY, CA 91977



                    TRS FEC III LLC
                    420 S ORANGE AVE STE 270
                    ORLANDO, FL 32801



                    TRS FEC III LLC
                    2180 CENTRAL FLORIDA PARKWAY S
                    ORLANDO, FL 32837
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2034 of
                                      2164



                    TRS FEC III, LLC
                    Attn: John Hyltin
                    2180 Central Florida Pkwy.
                    Ste. A7
                    Orlando, FL 32837



                    True Natural Gas
                    Sedc - Acct #33344509001
                    PO BOX 530812
                    Atalanta, GA 30353-0812



                    TRUE NATURAL GAS
                    PO BOX 530812
                    SEDC
                    ATLANTA, GA 30353-0812



                    True Natural Gas
                    Sedc - Acct #33344509001
                    PO BOX 530812
                    Atalanta
                    GA, 30353-0812



                    TRUGREEN CHEMLAWN
                    PO BOX 78031
                    PHOENIX, AZ 85062-8031



                    TRUST PROPERTY SECTION
                    UNCLAIMED PROPERTY - UNIT 18
                    775 SUMMER STREET NE #100
                    SALEM, OR 97301-1279



                    TSYAS LIVERPOOL SOCCER GIRLS
                    728 CHARLOTTE AVE
                    TARPON SPRINGS, FL 34689



                    TUALATIN HILLS SWIM CLUB INC
                    16055 SW WALKER RD PMB 152
                    BEAVERTON, OR 97006
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2035 of
                                      2164



                    TUALATIN VALLEY WATER DISTRICT
                    PO BOX 8996
                    VANCOUVER, WA 98668-8996



                    TUAN NGUYEN
                    1085 TASMAN DR SPC 310
                    SUNNYVALE, CA 94089



                    TUCCORI HOLDING CO LP
                    806 MANDANA BLVD
                    C/O DANIEL DEL GRANDE
                    OAKLAND, CA 94610



                    TUCCORI HOLDING CO LP
                    930 DWIGHT WAY STE 10A
                    BERKELEY, CA 94709



                    Tuccori Holdings Co. LP
                    Attn: Daniel Del Grande
                    806 Mandana Blvd.
                    Oakland, CA 94610



                    Tucker Lynn
                    9396 PRAIRIE VIEW DRIVE
                    HIGHLANDS RANCH, CO 80126



                    Tucker McEntyre
                    1585 KINGS RD
                    MARIETTA, GA 30062



                    TUCS EQUIPMENT INC
                    775 COUNTRY ROAD 18 SOUTH
                    PRINCETON, MN 55371



                    TUCS EQUIPMENT INC
                    775 COUNTRY ROAD 18 SOUTH
                    PRINCETON
                    MN, 55371
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2036 of
                                      2164



                    TUCSON COMMUNITY SCHOOL
                    2109 E HEDRICK DR
                    TUCSON COMMUNITY SCHOOL
                    TUCSON, AZ 85719



                    TUCSON ELECTRIC POWER COMPANY
                    PO BOX 80077
                    PRESCOTT, AZ 86304-8077



                    TUCSON ELECTRIC POWER COMPANY
                    PO BOX 80077
                    PRESCOTT
                    AZ, 86304-8077



                    TUCSON PARKS FOUNDATION
                    900 S RANDOLPH WAY
                    TUCSON, AZ 08571-6583



                    TUCSON POLICE DEPT
                    1310 W MIRACLE MILE
                    ATTN ALARM REGISTRATION
                    TUCSON, AZ 85705



                    TUCSON REGIONAL BALLET
                    2100 N WILMOT AVE STE 32
                    TUCSON, AZ 85712



                    TUNDRA SPECIALITIES
                    PO BOX 20670
                    BOULDER, CO 80308-3670



                    TUNDRA SPECIALITIES
                    PO BOX 74007307
                    CHICAGO, IL 60674-7307



                    TUNDRA SPECIALITIES
                    PO BOX 20670
                    BOULDER
                    CO, 80308-3670
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2037 of
                                      2164



                    Tundra Specialties
                    PO Box 74007307
                    Chicago, IL 60674-7307



                    Tupac Gutierrez
                    19043 HALSTED ST
                    NORTHRIDGE, CA 91324



                    TURQUOISE TRAIL ELECTRIC & PLUMBING LLC
                    PO BOX 70
                    CEDAR CREST, NM 87008



                    TURTLE ROCK ELEMENTARY PTA
                    5151 ALMAFI DRIVE
                    IRVINE, CA 92603



                    TUSTIN GIRLS SOFTBALL
                    2471 AQUASANTA
                    TUSTIN, CA 92782



                    TUSTIN PLAZA CENTER LP
                    PO BOX 1299
                    LAKE FOREST, CA 92609-1299



                    Tustin Plaza Center, LP
                    PO Box 1299
                    Lake Forest, CA 92609-1299



                    TUXTON CHINA INC
                    21011 COMMERCE POINT DRIVE
                    WALNUT, CA 91789



                    Tuxton China Inc.
                    21011 Commerce Point Drive
                    Walnut, CA 91789
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2038 of
                                      2164



                    TVSON SPRING OF 2020
                    151 N 8TH ST
                    SAN JOSE, CA 95112



                    TVSON SPRING OF 2020
                    151 N 8TH ST
                    SAN JOSE
                    CA, 95112



                    TWC SERVICES INC
                    5553 W. WATERS AVE #311
                    TAMPA, FL 33634-1210



                    TWC SERVICES INC
                    5601 NW 9TH AVENUE, STE 100
                    FT LAUDERDALE, FL 33309



                    TWC SERVICES INC
                    150 MARITIME DRIVE
                    SANFORD, FL 32771



                    TWC SERVICES INC
                    13937 LYNMAR BLVD
                    TAMPA, FL 33626



                    TWC SERVICES INC
                    1340 DISCOVERY INDUSTRIAL CT
                    MABLETON, GA 30126



                    TWC SERVICES INC
                    2200 NW 15 AVENUE
                    POMPANO BEACH, FL 33069



                    TWC SERVICES INC
                    3923 ST JOHNS PARKWAY
                    SANFORD, FL 32771
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2039 of
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                    TWC SERVICES INC
                    PO BOX 1612
                    DES MOINES, IA 50306-1612



                    TWO ROADS FOUNDATION
                    6980 PIERCE ST
                    ARVADA, CO 80003



                    TX CHILD SUPPORT
                    PO BOX 659791
                    SAN ANTONIO, TX 78265



                    TX CHILD SUPPORT
                    PO BOX 659791
                    SAN ANTONIO
                    TX, 78265



                    TX STATE DISBURSEMENT UNIT
                    PO BOX 245993
                    SAN ANTONIO, TX 78224



                    Ty Bailey
                    27275 PADDOCK DRIVE
                    BROOKSVILLE, FL 34602



                    Ty Jones
                    3753 DALTON AVENUE
                    LOS ANGELES, CA 90018



                    Ty Randall
                    5120 Masccaro Drive
                    Las Vegas, NV 89122



                    TYCO FIRE AND SECURITY US MGMT INC
                    PO BOX 371994
                    PITTSBURGH, PA 15252-1994
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2040 of
                                      2164



                    Tyco Integrated Security
                    P.O. Box 371994
                    Pittsburgh, PA 15250-7994



                    Tyler Bixler
                    6945 SW BAYLOR ST.
                    TIGARD, OR 97223



                    Tyler Carrizoza
                    8248 E COOPER PL
                    TUCSON, AZ 85710



                    Tyler Cella
                    3220 S. Uravan Ct.
                    AURORA, CO 80013



                    Tyler Chavez
                    6224 VICKI DRIVE
                    WHITTIER, CA 90606



                    TYLER CLEMENTS
                    5122 MANCHESTER CT #107
                    PALM HARBOR, FL 34685



                    Tyler Collins
                    4504 JOE SANCHEZ ROAD
                    PLANT CITY, FL 33565



                    Tyler Cordero
                    17871 SHADY VIEW DRIVE #601
                    CHINO HILLS, CA 91709



                    Tyler edmiston
                    6255 VEEMAC AVE.
                    LA MESA, CA 91942
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2041 of
                                      2164



                    Tyler Ferrell
                    892 OAK LEAF CT.
                    ALTAMONTE SPRINGS, FL 32118



                    Tyler Finona
                    10756 Cobalt Ct
                    Fountain Valley, CA 92708



                    Tyler Fuller
                    6875 PEACHTREE DUNWOODY RD.
                    214
                    SANDY SPRINGS, GA 30328



                    Tyler Gallatin
                    9450 POINCIANA PLACE
                    202
                    DAVIE, FL 33324



                    Tyler Gengler
                    2565 E MORGAN COURT
                    GILBERT, AZ 85295



                    Tyler Goldman
                    3704 141ST AVE N.
                    LARGO, FL 33771



                    Tyler Gomez
                    1643 ZENOBIA ST
                    DENVER, CO 80204



                    Tyler Gordon
                    201 S. KOLB RD.
                    245F
                    TUCSON, AZ 85710



                    Tyler Guzman
                    1374 HAMPTON DR
                    SUNNYVALE, CA 94087
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2042 of
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                    Tyler Hays
                    13295 PEACOCK DRIVE
                    LONE TREE, CO 80124



                    Tyler Hersperger
                    11032 CLAUDE COURT
                    NORTHGLENN, CO 80233



                    Tyler Hollingsworth
                    137 BUFFETT KEY
                    BOYNTON BEACH, FL 33426



                    Tyler Hull
                    3301 Hazel Pl.
                    Westminster, CO 80031



                    Tyler Hunsucker
                    1620 BARRUS AVE
                    PITTSBURG, CA 94565



                    Tyler Johnson
                    4031 W TOBIRA ST
                    TUCSON, AZ 85741



                    Tyler Kelly
                    11223 ENSBROOK
                    HOUSTON, TX 77099



                    Tyler Kimbell
                    891 S PARADISE DR
                    GILBERT, AZ 85233



                    Tyler Laborde
                    6102 WALBRIDGE ST
                    ORLANDO, FL 32819
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2043 of
                                      2164



                    Tyler Lastarria
                    931 Macon Street
                    AURORA, CO 80010



                    Tyler LeBow
                    28220 MATADOR PLACE
                    SANTA CLARITA, CA 91390



                    Tyler Lopez
                    6114 HOMER COURT
                    PLEASANTON, CA 94588



                    Tyler Maddox
                    4156 DREAM CATCHER DR
                    WOODSTOCK, GA 30189



                    Tyler Maltby
                    14130 SOUTHWEST 105TH AVENUE
                    #4
                    TIGARD, OR 97224



                    Tyler Malvido
                    414 WOODEN DR.
                    PLACENTIA, CA 92870



                    Tyler Matthews
                    8330 WIND WILLOW DR
                    HOUSTON, TX 77040



                    Tyler Medeiros
                    34530 COLVILLE PL
                    FREMONT, CA 94555



                    Tyler Medina-Mendoza
                    7504 S DEPEW ST
                    LITTLETON, CO 80128
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2044 of
                                      2164



                    Tyler Prisco
                    6441 Evans St
                    Hollywood, FL 33024



                    Tyler Recca
                    3921 N TYNDALL AVE
                    #1
                    TUCSON, AZ 85719



                    Tyler Rhoades
                    6061 N. CAMINO DONA SANTOS
                    TUCSON, AZ 85741



                    Tyler Rodgers
                    22241 LANTANA CT
                    CASTRO VALLEY, CA 94546



                    Tyler Roy
                    10316 111TH PLACE NORTH
                    LARGO, FL 33773



                    Tyler Smith
                    3665 FOUNTAIN MIST DR
                    APT 201
                    Tampa, FL 33614



                    TYLER SMITH
                    3665 FOUNTAIN MIST DR APT 201
                    TAMPA, FL 33614



                    Tyler Stefanik
                    10285 128TH TERRACE
                    LARGO, FL 33773



                    Tyler Stewart
                    1456 BARCA STREET
                    CAMARILLO, CA 93010
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2045 of
                                      2164



                    Tyler Sturges
                    4222 Larwin Ave
                    Cypress, CA 90630



                    Tyler Wagner
                    931 Macon Street
                    Aurora, CO 80010



                    Tyler Weldon
                    11328 N 82ND AVE
                    PEORIA, AZ 85345



                    Tyler Whedbee
                    54 W SOUTHERN
                    MESA, AZ 85210



                    TYLER YOUNG
                    2063 1/2 SANTA ROSA AVE
                    ALTA DENA, CA 91001



                    Tylie Graves
                    14900 SE ASPEN WAY
                    CLACKAMAS, OR 97015



                    Tylor Lyles
                    3777 WILLOW PASS RD
                    69
                    BAY POINT, CA 94565



                    Tylus WILLIAMSON-SAH
                    167 TALLEY DRIVE
                    PALM HARBOR, FL 34684



                    Tynan Williams
                    1869 North Vulcan Drive
                    Encinitas, CA 92024
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2046 of
                                      2164



                    TYNAN WILLLIAMS
                    1869 N VULCAN AVE
                    ENCINITAS, CA 92024



                    Tyra Grover
                    14518 BENDING MAPLE DR
                    HOUSTON, TX 77069



                    Tyrece Jackson
                    3231 KEMPF ST
                    LEMON GROVE, CA 91945



                    Tyreek Collier
                    601 GWINNETT SQUARE CIRCLE
                    601
                    DULUTH, GA 30096



                    Tyreese Tyler
                    2200 N TORREY PINES DR
                    1158
                    LAS VEGAS, NV 89108



                    Tyreese Wright
                    1341 MARY L
                    CLEARWATER, FL 33755



                    Tyreke Lindauer
                    145 E 1ST AVE
                    DENVER, CO 80203



                    Tyren Cosare
                    NORTH FOURTH ST
                    641
                    SAN JOSE, CA 95112



                    Tyren K. Cosare
                    NORTH FOURTH ST
                    641
                    SAN JOSE, CA 95112
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2047 of
                                      2164



                    Tyrese Benton
                    1010 CROSBY ST
                    LEESBURG, FL 34748



                    Tyrik Gordon
                    456 WINNERS CIRCLE
                    LADY LAKE, FL 32159



                    Tyriq McCorvey
                    31 HEMLOCK TRACE
                    OCALA, FL 34472



                    Tyriq Taylor
                    1500 DILPOMAT LANE NW
                    D
                    KENNESAW, GA 30144



                    Tyron Hanna
                    1300 CRESTWOOD COURT SOUTH
                    1316
                    WEST PALM BEACH, FL 33311



                    Tyrone Bulls
                    1045 Putnam Dr
                    Sarasota, FL 34234



                    Tyrone Edwards
                    4645 Holly Lake Drive
                    Lake Worth, FL 33463



                    Tyrone Johnson jr
                    665 ASHFORD OAKS DR
                    102
                    ALTAMONTE SPRINGS, FL 32174



                    Tyrone Smith
                    1405 35 ST
                    ORLANDO, FL 32839
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2048 of
                                      2164



                    Tyronesha moncrease
                    1480 EAST MARSHALL BLVD
                    13
                    SAN BERNARDINO, CA 92404



                    Tyrus Lattimore
                    1 Need update Address
                    Kissimmee, FL 34747



                    Tytiana hinks
                    1453 4TH AVE
                    419
                    SAN DIEGO, CA 92101



                    U B KLEM FURNITURE CO INC
                    3861 E SCHNELLVILLE RD
                    ST ANTHONY, IN 47575



                    U.S. Healthworks Medical Group
                    P.O. Box 50042
                    Los Angeles, CA 90074



                    UC REGENTS
                    9500 GILMAN DRIVE DEPT 0348
                    LA JOLLA, CA 92093



                    UCHS CLASS OF 2018
                    UNIVERSITY CITY HIGH SCHOOL
                    6949 GENESEE AVE
                    SAN DIEGO, CA 92122



                    UCHS HOSA
                    6949 GENESEE AVENUE
                    SAN DIEGO, CA 92122



                    UCI DRAGON BOAT
                    14 BIRDSONG
                    IRVINE, CA 92604
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                                      2164



                    UCI FOUNDATION
                    G308 STUDENT CENTER
                    IRVINE, CA 92697



                    UCLA ANDERSON SCHOOL OF MGMT
                    110 WESTWOOD PLAZA SUIT D201
                    ATTN JOAQUIN SANDOVAL - AMRP
                    LOS ANGELES, CA 90095-1481



                    UCLA WOMENS ULTIMATE B TEAM
                    415 GAYLEY AVE G202
                    LOS ANGELES, CA 90024



                    UCSD AMERICAN MEDICAL STUDENT ASSOC
                    9450 GILMAN DRIVE 65499
                    LA JOLLA, CA 92092



                    UCSD AMERICAN MEDICAL STUDENT ASSOC
                    9450 GILMAN DRIVE 65499
                    LA JOLLA
                    CA, 92092



                    UCSD CIRCLE K
                    9115 JUDICIAL DR #4329
                    SAN DIEGO, CA 92122



                    UCSD GLOBAL MEDICAL BRIGADES
                    7853 CAMINO TRANQUILO
                    SAN DIEGO, CA 92122



                    UCSD SIGMA OMICRON PI
                    4157 CAMINO TICINO
                    SAN DIEGO, CA 92122



                    UHS CHORAL BOOSTERS
                    1338 GROVE AVE
                    UPLAND, CA 91786
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                    UHS ORCHESTRA BOOSTERS
                    4771 CAMPUS DRIVE
                    IRVINE, CA 92612



                    UL Everclean




                    UL LLC
                    75 REMITTANCE DR STE 1524
                    CHICAGO, IL 60675-1524



                    UL LLC
                    75 REMITTANCE DR STE 1524
                    CHICAGO
                    IL, 60675-1524



                    Uline Shipping Supply
                    Po Box 88741
                    Chicago, IL 60680-1741



                    ULINE SHIPPING SUPPLY
                    Po Box 88741
                    Chicago
                    IL, 60680-1741



                    ULIS NEWTON PTA
                    571 GREENWAY RD
                    HENDERSON, NV 89015



                    Ulises elizondo
                    1201 NW THORNTON PKWY #176
                    THORNTON, CO 80260



                    Ulises Ramirez
                    17703 KINGSRUN PL
                    ROWLAND HEIGHTS, CA 91748
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2051 of
                                      2164



                    Ulises Viera
                    11550 WESTWOOD BLVD
                    1226
                    ORLANDO, FL 32821



                    ULTRA CHEM INC
                    PO BOX 14608
                    LENEXA, KS 66285



                    Ulysses Baqai
                    19224 Sw 60th Ct
                    Southwest Ranches, FL 33332



                    Ulysses Hernandez
                    561 MOZART CT
                    SUNNYVALE, CA 94087



                    Ulysses Mcclendon
                    1572 HARDEE ST
                    1C
                    ATLANTA, GA 30307



                    Ulysses Oso
                    727 SOUTHVIEW RD
                    ARCADIA, CA 91007



                    Ulysses Ramirez
                    3226 W 134TH PL
                    HAWTHORNE, CA 90250



                    UNDERGROUND VAULTS AND STORAGE INC
                    PO BOX 1723
                    HUTCHINSON, KS 67504-1723



                    UNEMPLOYMENT INSURANCE AGENCY
                    P.O. BOX 33598
                    DETROIT, MI 48232-5598
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2052 of
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                    UNEMPLYMNT INSURANCE MINNESOTA
                    1ST NATIONAL BANK BUILDING
                    332 MINNESOTA STREET SUITE E20
                    ST PAUL, MN 55101-1351



                    UNICEF
                    10550 ALBION RD
                    UNICEF
                    SAN RAMON, CA 94582



                    UNILEVER BESTFOODS
                    PO BOX 92188
                    CHICAGO, IL 60675-2188



                    UNILEVER BESTFOODS
                    88069 EXPEDITE WAY
                    CHICAGO, IL 60695-0001



                    Uniliver Foodsolutions
                    88069 Expedite Way
                    Chicago, IL 60695-0001



                    UNION COUNTY TAX ADMINISTRATOR
                    P.O. BOX 60
                    MORGANFIELD, KY 00042-4370



                    UNION SENIOR PARENT ASSOCIATIO
                    19215 SE 34TH ST #106-172
                    CAMAS, WA 98607



                    UNITED METHODIST CHURCH VISTA
                    490 SOUTH MELROSE DRIVE
                    C/O TOM HUMPHREY
                    VISTA, CA 92081
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2053 of
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                    UNITED METHODIST CHURCH VISTA
                    490 SOUTH MELROSE DRIVE
                    C/O TOM HUMPHREY
                    VISTA
                    CA, 92081



                    UNITED RENTALS
                    FILE 51122
                    LOS ANGELES, CA 90074-1122



                    UNITED SCIENCES CLUB
                    501 E HELLMAN AVE
                    ALHAMBRA, CA 91801



                    United Source Packaging Llc
                    5018 Nw 141St Street
                    Vancouver, WA 98685



                    UNITED STATES POSTAL SERVICE
                    CORPORATE HILLS STATION
                    9350 CORPORATE HILLS DR
                    WICHITA, KS 67207-9997



                    UNITED STATES POSTAL SERVICE
                    INFOSYNC POC ACCOUNT #6679636
                    WICHITA, KS



                    UNITED STATES POSTAL SERVICE
                    POSTAGE - BY - PHONE
                    PO BOX 894766
                    LOS ANGELES, CA 90189-4766



                    UNITED STATES POSTAL SERVICE
                    CORPORATE HILLS STATION
                    9350 CORPORATE HILLS DR
                    WICHITA
                    KS, 67207-9997
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2054 of
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                    UNITED STATES TREASURY
                    INTERNAL REVENUE SERVICE
                    CINCINNATI, OH 45999-0009



                    UNITED STATES TREASURY
                    PO BOX 219236
                    KANSAS CITY, MO 64121



                    UNITED STATES TREASURY
                    1500 PENNSYLVANIA AVE
                    WASHINGTON, DC 00020-2200



                    UNITED STATES TREASURY
                    INTERNAL REVENUE SERVICE
                    CINCINNATI
                    OH, 45999-0009



                    UNITY WAY CHURCH WOU
                    171 UNITY WAY
                    UNITY WAY CHURCH
                    VISTA, CA 92083



                    UNITY WAY CHURCH WOU
                    171 UNITY WAY
                    UNITY WAY CHURCH
                    VISTA
                    CA, 92083



                    UNIV OF TAMPA ALPHA PSI OMEGA
                    401 W KENNEDY BLVD
                    UT BOX 02898
                    TAMPA, FL 33606



                    UNIVERSAL PLASTICS LLC
                    4508 S 28TH ST
                    OMAHA, NE 68107
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2055 of
                                      2164



                    UNIVERSITY CITY LITTLE LEAGUE
                    PO BOX 22511
                    SAN DIEGO, CA 92192



                    UNIVERSITY PREPARATION CENTER
                    1099 BEDFORD DR
                    C/O SAMMI STEWART
                    CAMARILLO, CA 93010



                    UNIVERSITY PREPARATORY ACADEMY
                    2315 CANOAS GARDEN AVENUE
                    SAN JOSE, CA 95125



                    UNRAVEL PEDIATRIC CANCER
                    PO BOX 2206
                    GILROY, CA 95021



                    UNUM LIFE INSURANCE
                    2211 CONGRESS ST
                    PORTLAND, ME 04122-0001



                    UPPER DARBY TOWNSHIP
                    RM. 102 MUNICIPAL BUILDING
                    100 GARRETT ROAD
                    UPPER DARBY, PA 00019-0820



                    UPPER MERION TOWNSHIP
                    OPT TAX COLLECTOR
                    175 VALLEY FORGE ROAD
                    KING OF PRUSSIA, PA 00019-4060



                    UPPER MORELAND TOWNSHIP
                    BUSINESS TAX OFFICE
                    117 PARK AVENUE
                    WILLOW GROVE, PA 00019-0900



                    Ups Freight
                    Po Box 650690
                    Dallas, TX 75265-0690
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2056 of
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                    URGENT MEDICAL CENTER
                    9430 NE VANCOUVER MALL DR
                    VANCOUVER, WA 98662



                    Uri Shakked
                    12483 CARMEL POINTE
                    SAN DIEGO, CA 92130



                    Uriel Ayala
                    4277 50th Stree
                    #202
                    San Diego, CA 92115



                    Uriel Herrera
                    40777 Max Dr
                    Apt# 3
                    Fremont, CA 94538



                    Uriel Macias
                    551 DISCOVERY LANE
                    134
                    BREA, CA 92821



                    URSCHEL LABORATORIES INC
                    75 REMITTANCE DR DEPT 1657
                    CHICAGO, IL 60675-1657



                    URSCHEL LABORATORIES INC
                    75 REMITTANCE DR DEPT 1657
                    CHICAGO
                    IL, 60675-1657



                    US BANK
                    PO BOX 979101
                    ST LOUIS, MO 63197-9000



                    US BANK NATIONAL ASSOCIATION
                    1310 MADRID STREET
                    MARSHALL, MN 56258
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2057 of
                                      2164



                    US DEPARTMENT OF EDUCATION
                    PO BOX 790356
                    ST LOUIS, MO 63179



                    US DEPARTMENT OF EDUCATION
                    PO BOX 790356
                    ST LOUIS
                    MO, 63179



                    US DEPT HH SCMS
                    DEPT OF HEALTH & HUMAN SERVICE
                    CENTERS FOR MEDICARE & MEDICAL 7500 SECU
                    BALTIMORE, MD 21244



                    US HEALTHWORKS MEDICAL GROUP
                    PO BOX 50042
                    LOS ANGELES, CA 90074



                    US HEALTHWORKS MEDICAL GROUP OF FLORIDA
                    PO BOX 404473
                    ATLANTA, GA 30384



                    US HEALTHWORKS MEDICAL GROUP OF TEXAS IN
                    PO BOX 404974
                    ATLANTA, GA 30384



                    US PERMA INC
                    1696 ROGERS AVE
                    SAN JOSE, CA 95112



                    USA CONSTRUCTION AND PROJECT MGMT EXCH L
                    3111 MONROE RD STE 200
                    CHARLOTTE, NC 28205



                    USA IMAGING INC
                    12923-D POMERADO ROAD
                    POWAY, CA 92064
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2058 of
                                      2164



                    Usepe Carrasco
                    5634 Danny Ave.
                    Cypress, CA 90630



                    UT CHILD SUPPORT SERVICES
                    PO BOX 45011
                    SALT LAKE CITY, UT 84145



                    UTAH DEPT OF WORKFORCE SERVICE
                    140 EAST 300 SOUTH
                    P.O. BOX 45233
                    SALT LAKE CITY, UT 08414-5233



                    UTAH STATE TAX COMMISSION
                    210 NORTH 1950 WEST
                    SALT LAKE CITY, UT 08413-4600



                    UTAH STATE TREASURER
                    350 N STATE ST STE 180
                    UNCLAIMED PROPERTY DIVISION
                    SALT LAKE CITY, UT 84114



                    Uzziah Brown
                    3343 NW 4TH ST LOT 29
                    OCALA, FL 34475



                    Vadsariya DILSADBAI
                    8614 SUNNY GALLOP DR
                    TOMBALL, TX 77375



                    Val Windter
                    5237 FLEMING ST
                    NAPLES, FL 34113



                    Valarie Worthy
                    708 CREEKSIDE DR NW
                    KENNESAW, GA 30144
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2059 of
                                      2164



                    VALASSIS DIRECT MAIL INC
                    90469 COLLECTION CENTER DR
                    CHICAGO, IL 60693



                    Valdemar Zendejas
                    1739 Arlene Way
                    Perris, CA 92570



                    VALENCIA CF FLORIDA INC
                    1530 SW 193RD TER
                    PEMBROKE PINES, FL 33029



                    VALENCIA ELEMENTARY PTA
                    25661 PASEO DE VALENCIA
                    VALENCIA ELEMENTARY SCHOOL
                    LAGUNA HILLS, CA 92653



                    Valencia Graves
                    706 HOLLY AVENUE
                    OXNARD, CA 93036



                    VALENCIA HILLS HOA
                    24060 OALK VALE DR
                    VALENCIA, CA 91355



                    Valens Paulinyce
                    173 Compass Rose Drive
                    Groveland, FL 34736



                    VALENS PAULINYCE
                    173 COMPASS ROSE DR
                    GROVELAND, FL 34736



                    Valentin Hernandez Ponce
                    922 Grand Plains Dr.
                    Houston, TX 77090
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2060 of
                                      2164



                    Valentin Refugio
                    3411 Drew St.
                    Apt. 3
                    Los Angeles, CA 90065



                    Valentina Pascual
                    7302 Mesa College Drive
                    Apt 7
                    San Diego, CA 92111



                    Valentina Rodriguez
                    4103 24TH ST W
                    12
                    BRADENTON, FL 34231



                    Valentine Matthew
                    21503 Perrington CT
                    Katy, TX 77450



                    Valera Sneed
                    12629 MUSTANG DRIVE
                    POWAY, CA 92064



                    Valeria Antezana Garnica
                    6200 Raleigh St
                    429
                    Orlando, FL 32835



                    Valeria Arrata
                    2701 N Rainbow
                    apt.1117
                    Las Vegas, NV 89108



                    Valeria Bautista
                    25927 Via Pera
                    Mission Viejo, CA 92691
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                                      2164



                    Valeria Becerra Angulo
                    2117 EL SERENO AVE
                    ARCADIA, CA 91007



                    Valeria Corona
                    7256 E. Mckinley St.
                    Scottsdale, AZ 85257



                    Valeria Galeano
                    4501 Oak Haven Dr
                    Apt 105
                    Orlando, FL 32839



                    Valeria Gutierrez
                    26356 VINTAGE WOODS RD
                    APT. 21C
                    LAKE FOREST, CA 92630



                    Valeria Lozano
                    4707 Mascot Street
                    Los Angeles, CA 90019



                    Valeria reynoso
                    3887 E INDIANAPOLIS
                    FRESNO, CA 93726



                    Valeria Rivas Torres
                    234 AFTON SQ
                    106
                    ALTAMONTE SPRINGS, FL 32714



                    Valerie Acosta
                    2414 SULLIVAN
                    2414
                    IRVINE, CA 92614
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2062 of
                                      2164



                    Valerie Aguirre
                    125 Weisenberger
                    #16
                    Houston, TX 77022



                    Valerie Castro
                    1361 EL CAMINO REAL
                    308
                    TUSTIN, CA 92780



                    Valerie Cruz
                    227 HOLIDAY WAY
                    OCEANSIDE, CA 92057



                    VALERIE IRELAND
                    819 SW LIBERTY BELL DR
                    BEAVERTON, OR 97006



                    VALERIE SAUNDERS
                    1578 OLIVE AVE
                    CHULA VISTA, CA 91911



                    Valerie Zimmerman
                    3483 Woodshade Drive
                    Loganville, GA 30052



                    VALHALLA THEATRE ARTS DEPT
                    1725 HILLSDALE RD
                    EL CAJON, CA 92019



                    VALIENTENO PACELY
                    12 E BONITA RD
                    CHULA VISTA, CA 91910



                    VALLEJO MILL PTA
                    38569 CANYON HEIGHTS DR
                    FREMONT, CA 94536
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2063 of
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                    VALLEY OF THE SUN WALDORF EDUC
                    6210 S 28TH ST
                    PHOENIX, AZ 85042



                    VALRICO RAMS YOUTH SPORTS INC
                    PO BOX 2278
                    VALRICO, FL 33595



                    VALRICO RAMS YOUTH SPORTS INC
                    PO BOX 2278
                    VALRICO
                    FL, 33595



                    VALTENTIN REFUGIO
                    3411 DREW ST
                    LOS ANGELES, CA 90065



                    VALUE SOURCE GRP INC
                    44 WATER LILY WAY
                    COTO DE CAZA, CA 92679



                    VALVISTA NORTH LLC
                    4770 CAMPUS DRIVE #220
                    ATTN WILLIAM C VALAIKA
                    NEWPORT BEACH, CA 92660



                    Valvista North, LLC
                    4470 Campus Dr.
                    Ste. 220
                    Newport Beach, CA 92660



                    Van Nguyen
                    2601 Nuestra Castillo Ct
                    #3108
                    San Jose, CA 95127



                    Van Stewart
                    3416 E Jean street
                    Tampa, FL 33610
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2064 of
                                      2164



                    Vance Gilders
                    13425 MISTLETOE AVE
                    CHINO, CA 91710



                    Vance L. Whitmore




                    VANDERVORT INC
                    1320 S PRIEST DRIVE STE 104
                    TEMPE, AZ 85281



                    Vanesa Huinac
                    171 S Burlington Ave
                    Los Angeles, CA 90057



                    Vanesa Sheffield
                    2617 E CAYUGA ST
                    TAMPA, FL 33610



                    Vanesa Velarde
                    861 Woodlawn Ave
                    #d
                    Chula Vista, CA 91911



                    Vanessa Chavez
                    200 EAST COMMONWEALTH AVE
                    E
                    ALHAMBRA, CA 91801



                    Vanessa Cruz
                    2139 RIVERTREE CIRCLE
                    104
                    ORLANDO, FL 32839



                    Vanessa Escalera
                    2775 W BALL RD
                    APT 229
                    ANAHEIM, CA 92804
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2065 of
                                      2164



                    Vanessa espana
                    15557 RAYMOND AVE
                    FONTANA, CA 92336



                    Vanessa fox
                    12899 CENTRAL AVE. S.E.
                    B
                    ALBUQUERQUE, NM 87123



                    Vanessa Galvan Razo
                    6032 S 47TH ST
                    PHOENIX, AZ 85042



                    Vanessa Garcia
                    1335 SW 173RD WAY
                    PEMBROKE PINES, FL 33029



                    Vanessa Garcia Perez
                    17633 N 17 AVE
                    PHOENIX, AZ 85025



                    Vanessa Germaine
                    19713 E NAVARRO PLACE
                    AURORA, CO 80013



                    Vanessa Gil
                    3137 Bernadette Ln
                    Sarasota, FL 34234



                    VANESSA GONZALEZ
                    19311 SAFFRON DR
                    MORGAN HILL, CA 95037



                    VANESSA GONZALEZ
                    19311 SAFFRON DR
                    MORGAN HILL
                    CA, 95037
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2066 of
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                    Vanessa Hernandez
                    5541 FERNWOOD DR
                    NEWARK, CA 94560



                    VANESSA HERNANDEZ
                    2025 W TURNEY AVE
                    13
                    PHOENIX, AZ 85015



                    Vanessa Herrera
                    4707 E McDowell Rd
                    2141
                    Phoenix, AZ 85008



                    Vanessa Hildago-nichols
                    8803 Circle Dr.
                    Westminster, CO 80031



                    Vanessa Ibarra
                    5410 Almont St.
                    Los Angeles, CA 90032



                    Vanessa Lizarraga
                    508 Tamarack Court
                    Chula Vista, CA 91911



                    Vanessa Lopez
                    1301 E Ventura Blvd
                    Oxnard, CA 93036



                    Vanessa Lozano
                    3015 DUNLIN LAKE WAY
                    LAWRENCEVILLE, GA 30044



                    Vanessa Macias
                    2441 DAPHNE PL
                    FULLERTON, CA 92833
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2067 of
                                      2164



                    Vanessa Monrreal
                    402 BASETDALE AVE
                    LA PUENTE, CA 91746



                    Vanessa Montoya
                    286 W VIRGINIA ST
                    SAN JOSE, CA 95110



                    Vanessa Munoz
                    37263 Ascella Lane
                    Murrieta, CA 92563



                    VANESSA NGUYEN
                    25635 MOUNTAIN SPRINGS STREET
                    MENIFEE, CA 92584



                    Vanessa Nguyen
                    25248 BELMONT AVE
                    HAYWARD, CA 94542



                    Vanessa Quintanilla
                    3007 E Cecelia St
                    West Covina, CA 91792



                    Vanessa Ramirez
                    420 SMILAX RD
                    122
                    SAN MARCOS, CA 92078



                    Vanessa Reyes
                    3173 Bancroft Dr Spc 7
                    Spring Valley, CA 91977



                    VANESSA REYES
                    3173 BANCROFT DR SPC 7
                    SPRING VALLEY, CA 91977
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2068 of
                                      2164



                    Vanessa Robinson
                    81955 Hoover Ave
                    APT 62
                    Indio, CA 92201



                    Vanessa Sainz
                    2107 El Paseo Apt. B
                    Alhambra, CA 91803



                    Vanessa Segura-lara
                    1298 Tripp Ave
                    #16
                    San Jose, CA 95116



                    Vanessa Tiznado
                    12444 YORBA AVE
                    CHINO, CA 91710



                    Vanessa Tredo
                    3170 WILLOW TREE LANE
                    ESCONDIDO, CA 92027



                    Vanessa Vega
                    37712 LUPINE STREET
                    PALMDALE, CA 93552



                    Vanessa Ventura Rodriguez
                    39790 PINEDALE WAY
                    MURRIETA, CA 92562



                    Vanoy Cannon
                    3734 S PANTANO RD
                    TUCSON, AZ 85730



                    VARITECH COMMERCIAL SERVICE
                    1646 S RESEARCH LOOP STE #110
                    TUCSON, AZ 85710
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2069 of
                                      2164



                    VARSITY BRANDS HOLDING CO INC
                    PO BOX 535816
                    GRAND PRAIRIE, TX 75053



                    VAUGHN A. LYDAY
                    16162 AVENIDA VENUSTO
                    #3
                    SAN DIEGO, CA 92128



                    Vaughn Lyday
                    16162 AVENIDA VENUSTO
                    #3
                    SAN DIEGO, CA 92128



                    Veda Birch
                    4206 SHIELDS PLACE
                    SAN DIEGO, CA 92124



                    VEEH PTA
                    1701 SAN JUAN STREET
                    TUSTIN, CA 92780



                    VEGETARIAN TODAY
                    PO BOX 37303
                    BOONE, IA 50037-0303



                    VEHICLE REGISTRATION COLLECTIONS
                    FRANCHISE TAX BOARD
                    PO BOX 419001
                    RANCHO CORDOVA, CA 95741



                    Veleah Dooley
                    4725 SW 139TH AVE
                    #4
                    BEAVERTON, OR 97005



                    Velencia Harrison
                    1708 LEAFHOPPER LN
                    CONROE, TX 77301
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2070 of
                                      2164



                    Velocity
                    3567 MOMENTUM PLACE
                    CHICAGO, IL 60689-5335



                    VELOCITY TECHNOLOGY SOLUTIONS
                    3567 MOMENTUM PLACE
                    CHICAGO, IL 60689-5335



                    VENABLE LLP
                    PO BOX 62727
                    BALTIMORE, MD 21264-2727



                    VENTURA COUNTY TAX COLLECTOR
                    TREASURER TAX COLLECTOR
                    PO BOX 51179
                    LOS ANGELES, CA 90051-5479



                    VENTURA COUNTY TAX COLLECTOR SECURED
                    PO BOX 51179
                    LOS ANGELES, CA 90051-5479



                    Ventura Foods
                    26259 NETWORK PLACE
                    CHICAGO, IL 60673-1262



                    Ventura Foods Llc
                    26259 Network Place
                    Chicago, IL 60673-1262



                    Ventura Foods Llc
                    26259 Network Place
                    Chicago
                    IL, 60673-1262



                    Ventura Mejia
                    600 S FORD AVE
                    A
                    FULLERTON, CA 92832
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2071 of
                                      2164



                    Vera Medina
                    19320 Beachard ave
                    Cerritos, CA 90703



                    VERIFONE INC
                    LOCKBOX 774060
                    4060 SOLUTIONS CENTER
                    CHICAGO, IL 60677



                    VERITY ACADEMY EAST BAY
                    PO BOX 2386
                    LIVERMORE, CA 94550



                    VERIZON WIRELESS
                    PO BOX 660108
                    DALLAS, TX 75266-0108



                    Verlina PASCO
                    8832 WESTMORE ROAD
                    SAN DIEGO, CA 92126



                    Verna Small
                    6730 N 23RD
                    2
                    PHOENIX, AZ 85015



                    Verniece Roberts
                    16315 Se 92 Ave
                    Summerfield, FL 34491



                    VERNON TOWNSHIP SUPERVISORS
                    LORI E. SWAVEY
                    16678 MCMATH AVENUE
                    MEADVILLE, PA 00016-3350



                    Veronica Alemu
                    225 San Vicente Blvd
                    Santa Monica, CA 90402
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2072 of
                                      2164



                    Veronica Arambula
                    4167 Loninie St.
                    Oceanside, CA 92056



                    Veronica Arauz
                    7838 Gaston Dr.
                    San Diego, CA 92126



                    Veronica Banuelos
                    314 N. Louis St
                    Los Angeles, CA 90033



                    Veronica Caberos
                    765 BARNES MILL TRACE
                    MARIETTA, GA 30062



                    Veronica Castro- Vargas
                    375 CONESTOGA WAY
                    2724
                    HENDERSON, NV 89002



                    Veronica Duarte
                    7381 Dale Court
                    Westminster, CO 80030



                    Veronica Escobar
                    4901 SAN MATEO LN. NE
                    5
                    ALBUQUERQUE, NM 87109



                    VERONICA FRANCO
                    547 VAN HOUTEN AVE
                    EL CAJON, CA 92020



                    Veronica Gamboa
                    1600 West Maple Avenue
                    Apt 18
                    Orange, CA 92868
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2073 of
                                      2164



                    Veronica Garcia
                    17111 ALTADENA DR
                    #C
                    TUSTIN, CA 92780



                    Veronica Gonzalez
                    10476 S. VERMONT AVE.
                    LOS ANGELES, CA 90044



                    Veronica Grosso
                    Aspen Meadows Dr
                    Henderson, NV 89014



                    Veronica Hernandez
                    1528 ALUM ROCK AVE
                    B
                    SAN JOSE, CA 95116



                    VERONICA J SANCHEZ
                    3214 WINLOW ST
                    SAN DIEGO, CA 92105



                    Veronica lopez de la cruz
                    14626 BLYTHE ST
                    5
                    PANORAMA, CA 91402



                    Veronica Lucero
                    339 GROVE ST.
                    2
                    ALBUQUERQUE, NM 87108



                    Veronica Martinez de Pinillos
                    4862 BROOKBURN DRIVE
                    SAN DIEGO, CA 92130
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                                      2164



                    Veronica Martinez Solis
                    1740 W. NEIGHBORS
                    #1
                    ANAHEIM, CA 92801



                    Veronica Moreno
                    1494 Oro Vista Road
                    Apt 76
                    San Diego, CA 92154



                    Veronica Ocampo
                    9425 San Francisco St.
                    Spring Valley, CA 91977



                    Veronica Ortega
                    202 N Conrad Ave
                    Sarasota, FL 34237



                    Veronica Pappenfus
                    10920 HIJOS WAY
                    SAN DIEGO, CA 92124



                    Veronica Reyes
                    3216 Annrae Street
                    San Diego, CA 92123



                    VERONICA RUZO
                    3300 RODRICK CIR
                    3300
                    ORLANDO, FL 32824



                    VERONICA SANCHEZ
                    4113 ROLANDO BLVD
                    SAN DIEGO, CA 92115



                    Veronica Sandez
                    554 STORK ST
                    #206
                    SAN DIEGO, CA 92114
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2075 of
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                    Veronica Torres
                    24938 Walnut St.
                    #4
                    Newhall, CA 91321



                    Veronica Torres
                    319 W Valencia Dr
                    Apt C
                    Fullerton, CA 92832



                    VERSATILE INC
                    6336 N ORACLE RD #326/253
                    TUCSON, AZ 85704



                    VERTEX COATINGS INC
                    1291 W STATE ST
                    ONTARIO, CA 91762



                    Vertrice Henderson
                    3731 LOWRY CT
                    3731
                    TAMPA, FL 33610



                    VESTAR BEST IN THE WEST PROPERTY LLC
                    PO BOX 60051
                    CITY OF INDUSTRY, CA 91716



                    Vestar Best In The West Property LLC
                    2425 E Camelback Rd.
                    Ste. 750
                    Phoenix, AZ 85016



                    VESTAR BOWLES CROSSING LLC
                    PO BOX 60051
                    C/O VESTAR PROPERTY MANAGEMENT
                    CITY OF INDUSTRY, CA 91716
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2076 of
                                      2164



                    VESTAR BOWLES CROSSING LLC
                    2425 EAST CAMELBACK ROAD STE 7
                    PHOENIX, AZ 85016



                    Vestar Bowles Crossing, LLC
                    8750 North Central Expy
                    Ste. 800
                    Phoenix, AZ 85016



                    Vestar Bowles Crossing, LLC
                    Attn: Stacie Crown
                    2425 East Camelback Rd.
                    Ste. 750
                    Phoenix, AZ 85016



                    VESTAR DRM - OPCO LLC
                    DEPT 880116
                    PO BOX 29650
                    PHOENIX, AZ 85038-9650



                    Vestar DRM-OPCO, L.L.C.
                    2425 East Camelback Rd.
                    Ste. 750
                    Phoenix, AZ 85016



                    VETERANS EMPLOYMENT COMMITTEE
                    84372 PO BOX
                    SAN DIEGO, CA 92138



                    VGS Lanscapes
                    OSCAR PORRON VAZQUEZ
                    13522 PARTRIDGE ST
                    GARDEN GROVE, CA 92843



                    VHA COMMUNITY FOUNDATION INC
                    1104 MAIN STREET
                    LADY LAKE, FL 32159
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2077 of
                                      2164



                    VIA INC
                    1600 UTICA AVE S
                    STE 750
                    MINNEAPOLIS, MN 55416-3676



                    Vianette blancas
                    1580 MENDOCINO DR
                    UNIT 70
                    CHULA VISTA, CA 91911



                    Vianey Guevara
                    3175 WING ST
                    #9
                    SAN DIEGO, CA 92110



                    Viara Henry
                    12927 KORNBLUM AVE
                    #G
                    HAWTHORNE, CA 90250



                    Vicente cabrera
                    603 JOHANNA AVE
                    SUNNYVALE, CA 94085



                    Vicente Fuentes Salazar
                    2904 NE 136TH AVE
                    VANCOUVER, WA 98682



                    Vicente Holguin
                    7935 LAYTON ST.
                    RANCHO CUCAMONGA, CA 91730



                    Vicente Lopez
                    954 HENDERSON AVE SPACE 13
                    SUNNYVALE, CA 94086



                    Vicente Vega
                    12756 Ascort Dr
                    Garden Grove, CA 92840
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2078 of
                                      2164



                    Vicki Mora-Gutierrez
                    3661 PEACOCK CT
                    16
                    SANTA CLARA, CA 95051



                    Vicky Nguyen
                    18728 AMBROSE LANE
                    HUNTINGTON BEACH, CA 92648



                    Victor A. Gomez
                    81334 Thistle Way
                    Indio, CA 92201



                    Victor Alcazar
                    5728 CHESTNUT AVENUE
                    LONG BEACH, CA 90805



                    Victor Alonso
                    12467 Central Ave
                    Chino, CA 91710



                    Victor Alverto Navarro Ruiz
                    2950 GRENGUAY
                    164
                    PHOENIX A-Z, AZ 85032



                    Victor Arreola
                    2806fairmount Av
                    #10
                    San Diego, CA 92105



                    Victor Barajas
                    500 S JEFFERSON AVE
                    FULLERTON, CA 92832



                    Victor Batista
                    8102 SHELDON RD
                    TAMPA, FL 33615
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2079 of
                                      2164



                    Victor Cabrera
                    150 W HILL AVE
                    125
                    FULLERTON, CA 92832



                    Victor Camacho
                    80-000 Ave 48
                    #201
                    Indio, CA 92201



                    Victor Castro
                    10261 West Lehigh ave
                    Lakewood, CO 80235



                    Victor Centeno Flores
                    2050 Ne Barberry Dr
                    #16
                    Hillsboro, OR 97124



                    Victor Diaz
                    1523 W DAKOTA AVE
                    FRESNO, CA 93705



                    Victor Dominguez
                    3675 CAMBRIDGE ST
                    118
                    LAS VEGAS, NV 89169



                    VICTOR ELEMENTARY PTA
                    4820 SPENCER ST
                    TORRANCE, CA 90503



                    Victor Fabian
                    15218 SUMMIT AVE
                    STE 300-120
                    FONTANA, CA 92336
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2080 of
                                      2164



                    Victor Fuentes Galindo
                    1274 WINDSOR DR.
                    SAN BERNARDINO, CA 92404



                    Victor Garcia
                    2700 E VALLEY PKWY
                    SP309
                    ESCONDIDO, CA 92027



                    Victor Gaytan
                    7831 BELLE PARK
                    HOUSTON, TX 77072



                    Victor Gomez
                    81334 Thistle Way
                    Indio, CA 92201



                    Victor Guzman
                    2406 RAMONA DRIVE
                    SANTA ANA, CA 92707



                    Victor Jacinto
                    15811 PASADENA AVE.
                    69
                    TUSTIN, CA 92780



                    Victor Jaramillo
                    4706 W CAMBRIDGE AVE
                    FRESNO, CA 93722



                    Victor Jardon
                    1730 GARDEN DR
                    SAN BERNARDINO, CA 92404



                    Victor Lozano
                    7007 TRAIL VALLEY WAY
                    HOUSTON, TX 77086
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2081 of
                                      2164



                    Victor Lugo Sierra
                    3609 W SAVANNA
                    213
                    ANAHEIM, CA 92804



                    Victor M. Jardon
                    1730 GARDEN DR
                    SAN BERNARDINO, CA 92404



                    Victor Maldonado
                    317 W MAUDE AVE
                    SUNNYVALE, CA 94085



                    Victor Manuel Cabrera Lopez
                    1267 W MCKINLEY AVE
                    #1
                    SUNNYVALE, CA 94086



                    VICTOR MANUEL CABRERA LOPEZ
                    1267 W MCKINLEY AVE #1
                    SUNNYVALE, CA 94086



                    Victor Martinez
                    52130 Ave Villa
                    La Quinta, CA 92253



                    Victor Martinez
                    215 S VAN BUREN ST
                    PLACENTIA, CA 92870



                    Victor Mendoza
                    9812 REAGAN RD
                    211
                    SAN DIEGO, CA 92126



                    Victor Merino-cruz
                    15847 Saticoy St
                    Apt 1
                    Van Nuys, CA 91406
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2082 of
                                      2164



                    Victor Miller
                    698 EAST DUANE AVEUNE
                    SUNNYVALE, CA 94085



                    VICTOR MOLOKWU
                    2132 SUMMIT AVE
                    ALTADENA, CA 91001



                    Victor Montano
                    450 E 4th
                    Apt 433
                    Santa Ana, CA 92701



                    Victor Morales
                    634 Romulo St
                    Los Angeles, CA 90065



                    victor ortega
                    2031 HARLEY AVE
                    SARASOTA, FL 34235



                    VICTOR PACKING INC
                    11687 ROAD 27 1/2
                    MADERA, CA 93637



                    Victor Packing, Inc
                    11687 Road 27 1/2
                    Madera, CA 93637



                    Victor Packing, Inc
                    11687 Road 27 1/2
                    Madera
                    CA, 93637



                    Victor Phan
                    8411 NEVA AVE
                    SAN DIEGO, CA 92123
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2083 of
                                      2164



                    Victor Pryor
                    510 WEST 4TH PLAIN BLVD
                    VANCOUVER, WA 98660



                    Victor Puentes
                    4572 EAST UNIVERSITY
                    A
                    FRESNO, CA 93703



                    Victor Rodriguez
                    2850 S Federal Blvd
                    #303
                    Denver, CO 80236



                    Victor Romero
                    6010 B N Himes Ave
                    Tampa, FL 33614



                    Victor Ruiz
                    11306 SHARPVIEW
                    HOUSTON, TX 77072



                    Victor Salas
                    230 W TRUSLOW AVE
                    FULLERTON, CA 92832



                    Victor sanchez
                    7861 1ST STREET #1
                    #1
                    STANTON, CA 90680



                    Victor Solis
                    895 WYMORE ROAD
                    961
                    ALTAMONTE SPRINGS, FL 32714
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2084 of
                                      2164



                    Victor Soto
                    6439 OLEA LN.
                    301
                    CARLSBAD, CA 92011



                    Victor Soto Jr.
                    6439 OLEA LANE
                    UNIT 301
                    CARLSBAD, CA 92011



                    Victor Valdivia
                    5154 LAVAL DR
                    ORLANDO, FL 32809



                    Victor Valencia
                    38923 2ND ST E
                    PALMDALE, CA 93550



                    Victor Vega
                    231 Sun Court South
                    Tampa, FL 33613



                    Victor Villasenor
                    5344 BOTANICAL AVE
                    LAS VEGAS, NV 89110



                    Victor Zepeda
                    3458 SASSAFRAS DR
                    SAN JOSE, CA 95111



                    Victoria Arguello Solorzano
                    19016 N 7th Dr
                    Phoenix, AZ 85027



                    Victoria Bortolin
                    5195 SW MENLO DRIVE
                    BEAVERTON, OR 97005
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2085 of
                                      2164



                    Victoria Bradford
                    14888 SE 84TH TER
                    SUMMERFIELD, FL 34491



                    Victoria Bruschi
                    3296 Jamber Dr
                    Ocoee, FL 34761



                    Victoria Cianci
                    11461 SE CASCADE VIEW CT
                    HAPPY VALLEY, OR 97086



                    Victoria Cook
                    16841 GOLD STAR CT.
                    CLERMONT, FL 34714



                    Victoria Diaz
                    4569 CLAIREMONT DR
                    SAN DIEGO, CA 92117



                    Victoria Doederlein
                    17755 ROSEDOWN PLACE
                    SAN DIEGO, CA 92128



                    Victoria Florez Hernandez
                    1010 SKIPJACK LN
                    OCEANSIDE, CA 92058



                    Victoria Garcia
                    31600 HAPPY VALLEY DR.
                    DESERT HOT SPRINGS, CA 92241



                    Victoria Hendricks
                    7115 68TH DRIVE EAST
                    BRADENTON, FL 34203
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2086 of
                                      2164



                    Victoria Heredia
                    3481 Kearny Villa Lane
                    San Diego, CA 92123



                    Victoria Hernandez
                    12124 ST. ANDREWS PL
                    108
                    MIRAMAR, FL 33025



                    Victoria Kirschnick
                    2048 S MACON WAY
                    AURORA, CO 80014



                    Victoria Lerma
                    45084 PASEO SERENO
                    INDIO, CA 92201



                    Victoria Magaleas
                    2501 SAGE DR
                    KISSIMMEE, FL 34758



                    Victoria Morgan
                    4121 KINGSHIP DR
                    ELLENWOOD, GA 30294



                    Victoria Nowak
                    2055 BARRETT LAKES BLVD
                    714
                    KENNESAW, GA 30144



                    Victoria Ortiz
                    1410 Sheryl Lane
                    National City, CA 91950



                    Victoria Pacific
                    12780 Schabarum Ave
                    Irwindale, CA 91706
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2087 of
                                      2164



                    Victoria Pacific Trading Corp
                    12780 Schabarum Ave
                    Irwindale, CA 91706, CA 91706



                    VICTORIA PACIFIC TRADING CORP
                    12780 SCHABARUM AVE
                    IRWINDALE, CA 91706



                    Victoria Reynoso
                    8272 AVENIDA VEJAR
                    RANCHO CUCAMONGA, CA 91730



                    Victoria Rodriguez
                    121 N ALDERWOOD ST
                    WINTER SPRINGS, FL 32708



                    Victoria Shippley
                    7025 ZENOBIA ST.
                    WESTMINSTER, CO 80030



                    Victoria Solimine
                    2953 Laning Road
                    San Diego, CA 92106



                    Victoria Talavera
                    2296 Millwood Ct
                    Duluth, GA 30096



                    Victoria TUKUFU
                    875 PASTEL DR SW
                    MARIETTA, GA 30008



                    Victoria Ulmos
                    13564 NW 7TH ST.
                    PEMBROKE PINES, FL 33029
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2088 of
                                      2164



                    Victoria Veronesi
                    4310 Fincastte Court
                    Tampa, FL 33624



                    Victoria Villanueva
                    213 Downrigger Way
                    Sarasota, FL 34237



                    Victorino Virgen
                    5815 W. Vista Ave.
                    Glendale, AZ 85301



                    Vienna Beef
                    8033 Solutions Center
                    CHICAGO, IL 60677-8000



                    Vienna Beef Ltd
                    8033 Solutions Center
                    Chicago, IL 60677-8000



                    VIETNAMESE STUDENT ASSOCIATION
                    325 W SANTA FE AVE
                    PLACENTIA, CA 92870



                    VIETNAMESE STUDENT ASSOCIATION
                    325 W SANTA FE AVE
                    PLACENTIA
                    CA, 92870



                    VIEW ACRES PTO
                    4828 SE VIEW ACRES RD
                    MILWAUKIE, OR 97267



                    Vijaya Bathula
                    214 Compass
                    Irvine, CA 92618
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                                      2164



                    Viktoria Cecena
                    2905 LITTLE LANE
                    LEMON GROVE, CA 91945



                    VILLAGE OF COLUMBIANA
                    28 WEST FRIEND STREET
                    COLUMBIANA, OH 00044-4080



                    VILLAGE OF EVENDALE
                    10500 READING ROAD
                    EVENDALE, OH 45241-2574



                    VILLAGE OF FAIRFAX
                    TAX DEPARTMENT
                    5903 HAWTHORNE AVE
                    CINCINNATI, OH 45227-3630



                    VILLAGE OF LINCOLN HEIGHTS
                    1201 STEFFEN AVE
                    ATTN: CARNELL MATHEWS TAX COMM
                    LINCOLN HEIGHTS, OH 00045-2150



                    VILLAGE OF MOUNT ORAB
                    P.O. Box 268
                    Mount Orab, OH 45154



                    Vimari Aponte
                    15601 N. 19th Ave
                    Lot 89
                    Phoenix, AZ 85023



                    Vince Cabahug
                    141 Riverside Pl
                    Bay Point, CA 94565



                    Vince S. Cabahug
                    141 Riverside Pl
                    Bay Point, CA 94565
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2090 of
                                      2164



                    VINCE SENIOR
                    PO BOX 21057
                    ALBUQUERQUE, NM 87154



                    Vincent Briones
                    3124 LINDELL RD
                    LAS VEGAS, NV 89146



                    Vincent Cavazos
                    1415 N Apple St
                    Immokalee, FL 34142



                    Vincent concepcion jr
                    311 3/4 W 33RD STREET
                    311
                    LOS ANGELES, CA 90007



                    Vincent DeMar
                    137 MIKAELA RD
                    CORRALES, NM 87048



                    Vincent Enriquez
                    1420 E BASSETT WAY
                    ANAHEIM, CA 92801



                    Vincent Ford
                    6620 Estrella Ave
                    #1
                    Los Angeles, CA 90044



                    VINCENT FORD
                    6620 ESTRELLA AVE #1
                    LOS ANGELES, CA 90044



                    Vincent Guerrero
                    10926 NEW SALEM CIRCLE
                    SAN DIEGO, CA 92126
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2091 of
                                      2164



                    Vincent Hernandez
                    3961 EAST DOUGLAS LOOP
                    GILBERT, AZ 85234



                    Vincent Ingrassia
                    12899 HARWICKLANE
                    SAN DIEGO, CA 92130



                    VINCENT J. RENGHINI
                    931 MOSSBRIDGE
                    CONCORD, CA 94523



                    vincent ly
                    5147 MANXWOOD PL
                    SAN JOSE, CA 95111



                    Vincent Marcelli
                    10912 ZAFIRO STREET
                    ALBUQUERQUE, NM 87114



                    Vincent McGrew
                    4087 MT. BROSS AVENUE
                    SAN DIEGO, CA 92111



                    Vincent Mitchell
                    156 NE 19TH AVE
                    BOYNTON BEACH, FL 33435



                    Vincent Nguyen
                    5580 NW 127TH TERRACE
                    PORTLAND, OR 97229



                    Vincent Renghini
                    931 MOSSBRIDGE
                    CONCORD, CA 94523
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2092 of
                                      2164



                    Vincent Rodgers
                    16001 Midlawn Pl
                    Tampa, FL 33624



                    Vincent Romero
                    2562 S. WESTGATE AVENUE
                    LOS ANGELES, CA 90064



                    Vincent Sokhon
                    20 THUNDER HOLLOW PLC
                    THE WOODLANDS, TX 77381



                    Vincent Tellez
                    8430 DALLAS ST
                    LA MESA, CA 91942



                    Vincent Tran
                    18192 HARTLUND LN
                    HUNTINGTON BEACH, CA 92646



                    Vincent Trejo
                    LEXINGTON ST
                    115
                    FREMONT, CA 94536



                    Vincent Williams
                    1651 JOSE LANE
                    ESCONDIDO, CA 92026



                    VINSON & ELKINS LLP
                    1001 FANNIN STREET STE 2500
                    HOUSTON, TX 77002



                    Viola Salazar
                    5901 S. Nixon Ct.
                    Littleton, CO 80123
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2093 of
                                      2164



                    VIOLET A. ROMAN
                    4674 ALAMEDA DR.
                    FREMONT, CA 94536



                    Violet Parker
                    17627 POMERADO RD
                    35
                    SAN DIEGO, CA 92128



                    Violet Roman
                    4674 ALAMEDA DR.
                    FREMONT, CA 94536



                    Violeta Carranza
                    7492 North Ave
                    Lemon Grove, CA 91945



                    Violeta Guadalupe Aguilar Hernandez
                    3819 EAST AVE APT 60
                    60
                    LIVERMORE, CA 94550



                    Virgina Villa
                    7421 4th st nw
                    Trailer 39
                    Los Ranchos, NM 87107



                    VIRGINIA DPARTMENT OF TAXATION
                    P.O. BOX 27264
                    RICHMOND, VA 23261-7264



                    VIRGINIA EMPLOYMENT COMMISSION
                    P.O. BOX 1358
                    RICHMOND, VA 23218-1358



                    Virginia Hernandez
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                    1505 Michigan Ave
                    Alviso, CA 95002
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2094 of
                                      2164



                    Virginia Hozian
                    1043 E AMBERWOOD DRIVE
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                    Virginia Hunter
                    3160 S MOBILE WAY
                    AURORA, CO 80013



                    Virginia Lopez
                    52389 Tripoli Way
                    Coachella, CA 92236



                    Virginia Magana
                    8100parkplaza
                    Apt151
                    Stanton, CA 90680



                    Virginia Salas
                    24725 PENNSYLVANIA AVE
                    A12
                    LOMITA, CA 90717



                    Viridiana Martinez Dominguez
                    836 W 10TH AVE
                    ESCONDIDO, CA 92025



                    VIRNA DAMOCLES
                    5115 KESTER AVE UNIT 11
                    SHERMAN OAKS, CA 91403



                    VISION SERVICE PLAN
                    PO BOX 45210
                    SAN FRANCISCO, CA 94145-5210



                    VISTA ACADEMY FOUNDATION
                    600 N SANTA FE AVE
                    VISTA, CA 92083
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2095 of
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                    VISTA GRANDE FOUNDATION
                    5606 ANTIGUA BLVD
                    SAN DIEGO, CA 92124



                    VISTA IRRIGATION DISTRICT
                    1391 ENGINEER ST
                    VISTA, CA 92081-8840



                    VISTA MAGNET MIDDLE SCHOOL
                    151 CIVIC CENTER DR
                    VISTA, CA 92084



                    Vita Pakt Citrus Products
                    Po Box 309
                    Covina, CA 91723



                    Vivek Mavinahally
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                    GRANADA HILLS, CA 91344



                    Vivian Antenucci
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                    109A
                    SEMINOLE, FL 33772



                    Vivian Bradford
                    11 SILVER RUN
                    OCALA, FL 34472



                    Vivian Huang
                    13777 SW 32ND ST
                    MIRAMAR, FL 33027



                    Vivian Ninh
                    4963 S ROSEMARY WAY
                    ONTARIO, CA 91762
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2096 of
                                      2164



                    Vivian Trejo
                    2064 Harbor View
                    San Jose, CA 95122



                    VIVIANA CONTRERAS
                    14308 ANOLA STREET
                    WHITTIER, CA 90604



                    Vivianna Montes
                    241 JOE PLACE
                    ESCONDIDO, CA 92027



                    Vivien Coop
                    530 DISCOVERY LN
                    731
                    BREA, CA 92821



                    Vivien E. Coop
                    530 DISCOVERY LN
                    731
                    BREA, CA 92821



                    VIVO GROUP INC
                    9455 RIDGEHAVEN CT STE 200
                    SAN DIEGO, CA 92123



                    Vladimir Escobar
                    806 S.broadway
                    Apt.5
                    Santa Ana, CA 92701



                    Vladimir Horat
                    5909 TRIPHAMMER RD
                    LAKE WORTH, FL 33463



                    Vladimir Kazin
                    14305 NE 40TH CIR
                    VANCOUVER, WA 98662
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2097 of
                                      2164



                    VLADIMIR ROUDE
                    10291 BOCA SPRINGS DR
                    BOCA RATON, FL 33428



                    VOLLEYBALL ACADEMY OF AMERICA
                    1807 SANTA RITA ROAD H 20
                    PLEASANTON, CA 94566



                    Vollrath Company Inc
                    75 Remittance Drive Suite 3022
                    Chicago, IL 60675-3022



                    VOLLRATH COMPANY INC
                    75 REMITTANCE DR STE 3022
                    CHICAGO, IL 60675-3022



                    VOLLRATH COMPANY INC
                    75 Remittance Drive Suite 3022
                    Chicago
                    IL, 60675-3022



                    Vonte Demby
                    1428 W 225 STREET
                    #4
                    TORRANCE, CA 90501



                    VORTEX INDUSTRIES INC
                    1801 W OLYMPIC BLVD
                    PASADENA, CA 91199-1095



                    VORTEX INDUSTRIES INC
                    FILE 1095
                    1801 W OLYMPIC BLVD
                    PASADENA, CA 91199-1095



                    VSAA PTSA
                    3101 MAIN STREET
                    VANCOUVER, WA 98663
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2098 of
                                      2164



                    Vu Pham
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                    San Jose, CA 95121



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                    SEATTLE, WA 98124-1729



                    WA STATE SUPPORT REGISTRY
                    PO BOX 45868
                    OLYMPIA, WA 98504



                    WADE BROXTON
                    17420 CEDERWOOD LOOP
                    LUTZ, FL 33558



                    WAGEWORKS INC
                    PO BOX 45772
                    SAN FRANCISCO, CA 94145-0772



                    WAKE COUNTY REVENUE DEPARTMENT
                    PO BOX 2719
                    RALEIGH, NC 27602-2719



                    WAKE COUNTY REVENUE DEPARTMENT
                    PO BOX 580084
                    CHARLOTTE, NC 28258-0084



                    Walden Avenue-Blend-All Hotel Developmen
                    Attn: Legal Dept.
                    7978 Cooper Creek Blvd.
                    Ste. 100
                    University Park, FL 34201



                    Walden Avenue-Blend-All Hotel Developmen
                    c/o Benderson Development Company, Inc.
                    8441 Cooper Creek Blvd.
                    University Park, FL 34201
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                                      2164



                    WALDIN/DICK/WR-I FLA
                    PO BOX 823201
                    PHILADELPHIA, PA 19182-3201



                    Walky Etienne
                    2040 42ND ST
                    NAPLES, FL 34116



                    Walph Jean
                    65 Pecan Course Cir
                    Ocala, FL 34472



                    Walter Bozeman
                    322 Woods Landing Dr
                    Lady Lake, FL 32159



                    Walter Foronda Gutierrez
                    50660 EISENHOWER DR
                    1624
                    LA QUINTA, CA 92253



                    Walter Harrigan
                    1600 NW 14TH CIRCLE
                    128
                    POMPANO BEACH, FL 33069



                    WALTER KNIGHT
                    727 W WASHINGTON ST
                    ORLANDO, FL 32805



                    Walter Love
                    3317 CANAL STREET
                    FORT MYERS, FL 33916



                    Walter Mejia
                    2630 W Segertrom Ave
                    Unit F
                    Santa Ana, CA 92704
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2100 of
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                    WALTERIA ACADEMIC ALLIANCE
                    24456 MADISON STREET
                    TORRANCE, CA 90505



                    WALTON SIMI INVESTORS VI LLC
                    PO BOX 749659
                    C/O W/A SVT HOLDINGS VI LLC
                    LOS ANGELES, CA 90074-9659



                    Wanda Anderson
                    1223 NICHOLSON STREET
                    CLEARWATER, FL 33755



                    Wanda Cintron
                    2212 Berry Dr
                    Fort Myers, FL 33907



                    Wanda Gambaro
                    5553 Myakka Street
                    Intercession City, FL 33848



                    Wanda Rivera
                    3065 GEORGE MASON AVE
                    APT. C
                    WINTERPARK, FL 32792



                    Wanda Santiago
                    3332 WEST HEITER
                    TAMPA, FL 33607



                    Wandson Germinor
                    7086 Hyatt Ave
                    Lake Worth, FL 33462



                    Wandy gustave
                    1012 NW 7TH ST
                    BOYNTON BEACH, FL 33426
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2101 of
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                    WANFENG ZHOU
                    15 GONSALVES CT
                    ALAMEDA, CA 94502



                    WANGENHEIM MIDDLE SCHOOL PTSA
                    9230 GOLD COAST DR
                    SAN DIEGO, CA 92126



                    WAPAKONETA CITY INCOME TAX
                    P.O. BOX 269
                    WAPAKONETA, OH 00045-8950



                    Waraporn Contact
                    707 Morrocco Dr.
                    Henderson, NV 89002



                    WARD TRADITIONAL ACADEMY
                    1965 EAST HERMOSA DR
                    TEMPE, AZ 85282



                    Warren Boggess
                    11533 S.KIRKWOOD
                    STAFFORD, TX 77477



                    WARRIORS ON WATER INC
                    PO BOX 540132
                    ORLANDO, FL 32854-0132



                    WARRIORS ON WATER INC
                    PO BOX 540132
                    ORLANDO
                    FL, 32854-0132



                    WARWICK TOWNSHIP
                    315 CLAY RD.
                    P.O. BOX 308
                    LITITZ, PA 01754-3308
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2102 of
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                    WASHINGTON COUNTY
                    PROPERTY TAX PAYMENT CENTER
                    PO BOX 3587
                    PORTLAND, OR 97208-3587



                    WASHINGTON COUTY HEALTH
                    155 NORTH FIRST AVE MS - 5
                    HILLSBORO, OR 97124-3072



                    WASHINGTON HIGH SCHOOL
                    4540 MEYER PARK CIRCLE
                    FREMONT, CA 94536



                    Wasone McIntyre
                    3955 VINEYARD AVE
                    72
                    PLEASANTON, CA 94566



                    WATER & AIR WORKS
                    3110 NE MINNEHAHA ST UNIT B
                    VANCOUVER, WA 98663



                    WATER ENVIRONMENT SERVICES
                    PO BOX 6940
                    PORTLAND, OR 97228-6940



                    WATER TREATMANT WAREHOUSE INC
                    PO BOX 701002
                    ST CLOUD, FL 34770



                    WATERHOUSE INVESTMENTS LLC
                    PO BOX 3488
                    WELLS FARGO ACCT # 0002000660283414
                    PORTLAND, OR 97208-3488
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                    Waterhouse Investments, LLC
                    Attn: Harlan Dismuke
                    1650 Ala Moana Blvd
                    #2701
                    Honolulu, HI 96815



                    Waterhouse Investments, LLC
                    Attn: Judith Dismuke
                    1650 Ala Moana Blvd
                    #2701
                    Honolulu, HI 96815



                    Waxie Sanitary Supply
                    P.O. Box 748802
                    Los Angeles, CA 90074-8802



                    WAXIE SANITARY SUPPLY
                    PO BOX 748802
                    LOS ANGELES, CA 90074-8802



                    Waxie Sanitary Supply
                    P.O. Box 748802
                    Los Angeles
                    CA, 90074-8802



                    WAXIES ENTERPRISES INC
                    PO BOX 748802
                    LOS ANGELES, CA 90074-8802



                    Wayne Burke
                    31841 Via Barraza
                    Temecula, CA 92592



                    WCPRT COLONIAL PROMENADE LLC
                    PO BOX 41847
                    C/O THE SEMBLER COMPANY
                    ST PETERSBURG, FL 33743-1847
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2104 of
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                    WCY MUSIC BOOSTER CLUB
                    901 NW 129 AVENUE
                    PEMBROKE PINES, FL 33028



                    WEBB MASON INC
                    10830 GILROY RD
                    HUNT VALLEY, MD 21031



                    Weedney Marc
                    825 ALVIN AVE
                    LEHIGH ACERS, FL 33971



                    WEGEFORTH PTA
                    3443 EDIWHAR AVE
                    SAN DIEGO, CA 92123



                    WEINGARTEN REALTY INVESTORS
                    PO BOX 301074
                    0328-001 LGARDFR01
                    DALLAS, TX 75303-1074



                    WEINGARTEN REALTY INVESTORS
                    PO BOX 301074
                    DALLAS, TX 75303-1074



                    WEINGARTEN REALTY INVESTORS
                    PO BOX 301074
                    0354-001 LGARDFR01
                    DALLAS, TX 75303-1074



                    WEINGARTEN REALTY INVESTORS
                    PO BOX 924133
                    HOUSTON, TX 77292



                    Weingarten Realty Investors
                    Attn: Cindy Clothier
                    2600 Citadel Plaza Dr.
                    Houston, TX 77008
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2105 of
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                    Weingarten Realty Investors
                    Gina Hurst Regional Property Manager
                    8268 Mills Drive
                    Miami, FL 33183



                    Weingarten Realty Investors
                    PO Box 924133
                    Houston, TX 77292-4133



                    WEISS LAW GROUP PA
                    5531 N UNIVERSITY DR #103
                    CLIENT TRUST ACCOUNT JASON S WEISS
                    CORAL SPRINGS, FL 33067



                    Well Luck Co., Inc.
                    Golden Luck Inc.
                    104 Harbor Drive
                    Jersey City, NJ 07305



                    WELLDONE RESTAURANT CONCEPTS INC
                    653 MILFORD ST
                    LOS ANGELES, CA 90042



                    WELLS FARGO BANK
                    DEPT 1494
                    DENVER, CO 80291-1494



                    WELLS FARGO INSTITUTIONAL
                    RETIREMENT AND TRUST
                    PO BOX 563957
                    CHARLOTTE, NC 28256-3957



                    Wendy Barraza
                    544 W 9th St
                    #2
                    Mesa, AZ 85201
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2106 of
                                      2164



                    Wendy Benson
                    1837 S Pitkin Circle
                    Aurora, CO 80017



                    Wendy Echeverria
                    911 CEDAR AVE
                    LONG BEACH, CA 90813



                    WENDY FRANCO
                    6129 36TH LN E
                    BRADENTON, FL 34203



                    Wendy Garcia
                    5819 Fayette St
                    Los Angeles, CA 90042



                    Wendy Grubbs
                    13313 Corte De Comares
                    Rancho Bernardo, CA 92128



                    Wendy Gutierrez
                    2003 balfour cr
                    Tampa, FL 33619



                    Wendy Landeros
                    2608 MICHELLE COURT
                    #B
                    NATIONAL CITY, CA 91950



                    Wendy Manning
                    2615 NORTHVIEW DRIVE
                    DECATUR, GA 30032



                    Wendy Massiah
                    576 Silver Course Circle
                    Ocala, FL 34472
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2107 of
                                      2164



                    Wendy Medeiros
                    16867 Kingsbury St
                    Apt 207
                    Granada Hills, CA 91344



                    Wendy Montano
                    4013 W. Navajo Dr.
                    Phoenix, AZ 85051



                    Wendy Moran
                    1724 W Catalpa Ave
                    Apt # 121
                    Anaheim, CA 92801



                    Wendy paniagua
                    208 LAUREL RIDGE PASS
                    DAVENPORT, FL 33897



                    Wendy Perez
                    23592 WINDSONG
                    APT50G
                    ALISO VIEJO, CA 92656



                    Wendy Rodriguez
                    635 Stremma Rd
                    Largo, FL 33770



                    Wendy Rosales
                    26322 TOWNE CENTRE DRIVE
                    828
                    FOOTHILL RANCH, CA 92610



                    Wendy Valentin
                    4385 W. 135th St E
                    Hawthorne, CA 90250
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2108 of
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                    Wendy Y. Rosales
                    26322 TOWNE CENTRE DRIVE
                    828
                    FOOTHILL RANCH, CA 92610



                    WESLEY GENEUS
                    91 RIVER DRIVE
                    NAPLES, FL 34112



                    Wesley Hunter
                    9029 E Talking Stick Way
                    Scottsdale, AZ 85250



                    Wesley Little
                    17432 Sw 18th St
                    Miramar, FL 33029



                    Wesley Murray
                    1200 OAK AVE
                    CARLSBAD, CA 92008



                    Wesley Robles
                    5324 ITHACA AVE
                    #1
                    LOS ANGELES, CA 90032



                    Wesley Sackett
                    13401 SE 19th street
                    Vancouver, WA 98683



                    Wesley Sisco
                    1050 3RD STREET
                    #G
                    CLOVIS, CA 93612



                    Wessley Peters
                    12901 NE 28TH ST APT 25
                    VANCOUVER, WA 98682
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2109 of
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                    WEST BERNARDO CORPORATE LLC
                    PO BOX 124546
                    SAN DIEGO, CA 92112



                    WEST BROWARD HIGH SCHOOL BAND
                    DEAN CALMER
                    500 NW 209 AVENUE
                    PEMBROKE PINES, FL 33029



                    WEST CHESTER JEDD 1 INCOME TAX
                    701 WESSEL DRIVE
                    FAIRFIELD, OH 00045-0140



                    West Coast Carpet Care and More
                    4882 E SANTA ANA
                    FRESNO, CA 93726



                    WEST COAST CARPET CARE AND MORE LLC
                    4882 E SANTA ANA
                    FRESNO, CA 93726



                    WEST COAST CONSTRUCTION SERVICES INC
                    9021 RANCHO PARK COURT
                    RANCHO CUCAMONGA, CA 91730



                    WEST COAST GASKETS
                    10741 SHERMAN WAY #3
                    SUN VALLEY, CA 91352



                    WEST COAST PROPERTY MAINTENANCE INC
                    PO BOX 1883
                    HUNTINGTON BEACH, CA 92647



                    WEST CTA STUDENT COUNCIL
                    11945 W CHARLESTON BLVD
                    LAS VEGAS, NV 89135
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                    WEST GROVE GIRLS SOFTBALL LEAGUE
                    PO BOX 5242
                    GARDEN GROVE, CA 92845



                    WEST HIGH ASB
                    20401 VICTOR ST
                    TORRANCE, CA 90503



                    WEST HIGH SCHOOL CLASS OF 2020
                    19520 MILDRED AVENUE
                    TORRANCE, CA 90503



                    WEST HILLS CLASS OF 2021
                    8756 MAST BLVD
                    SANTEE, CA 92071



                    WEST HILLS GIRLS WATER POLO
                    8756 MAST BLVD
                    SANTEE, CA 92071



                    WEST HILLS GIRLS WATER POLO
                    8756 MAST BLVD
                    SANTEE
                    CA, 92071



                    WEST RANCH ASB
                    26255 W VALENCIA BLVD
                    VALENCIA, CA 91381



                    WEST SIDE TREMBLE CLEF
                    17407 N THOROUGHBRED DR
                    SURPRISE, AZ 85374



                    WEST TORRANCE ROBOTICS
                    20401 VICTOR ST
                    TORRANCE, CA 90503
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                                      2164



                    WEST TORRANCE ROBOTICS
                    20401 VICTOR ST
                    TORRANCE
                    CA, 90503



                    WEST UNION INCOME TAX BUREAU
                    P.O. Box 556
                    West Union, OH 45693



                    WESTERN COMMERCIAL SERVICES LLC
                    2311 INDUSTRIAL RD
                    LAS VEGAS, NV 89102



                    Western Municipal Water Dist
                    Po Box 7000
                    Artesia, CA 90702-7000



                    WESTLAND FINANCIAL I LLC
                    10375 CLAYTON RD
                    ATTN TAMARA REED TRIAD BANK
                    SAINT LOUIS, MO 63131



                    Westland Financial I, LLC
                    Attn: David Mars
                    PO Box 44033
                    St. Louis, MO 63144



                    Westly Shivers
                    149 STRATFORD DR
                    ATLANTA, GA 30311



                    Westminster Cracker Company
                    1 Scale Ave, Ste 81 Bldg 14
                    Rutland, VT 05701



                    WESTMINSTER NURSERY SCHOOL
                    13660 UNIVERSITY ST
                    WESTMINSTER, CA 92683
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                                      2164



                    WESTSIDE WATER CONDITIONING
                    MERCED COUNTY INC
                    45 WEST G STREET
                    LOS BANOS, CA 93635



                    WESTVIEW BAND AND AUXILIARY
                    3300 NW 185TH AVE
                    PMB 251
                    PORTLAND, OR 97229



                    WESTVIEW BAND AND AUXILIARY
                    3300 NW 185TH AVE
                    PMB 251
                    PORTLAND
                    OR, 97229



                    WESTVIEW HIGH SCHOOL
                    13500 CAMINO DEL SUR
                    SAN DIEGO, CA 92129



                    WESTVIEW HIGH SCHOOL BAND
                    3300 NW 185TH AVE PMB 251
                    PORTLAND, OR 97229



                    WESTVIEW HIGH SCHOOL UNICEF
                    8220 BEACONS CT
                    SAN DIEGO, CA 92129



                    WESTVIEW HIGH SCHOOL UNICEF
                    8220 BEACONS CT
                    SAN DIEGO
                    CA, 92129



                    WESTWOOD ELEMENTARY
                    17449 MATINAL RD
                    RANCHO BERNARDO, CA 92127
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                                      2164



                    WESTWOOD PROPERTY FUND LLC
                    5500 GREENVILLE AVE STE 602
                    DALLAS, TX 75206



                    WEX BANK
                    PO BOX 6293
                    CAROL STREAM, IL 60197



                    WGGYB
                    PO BOX 5094
                    GARDEN GROVE, CA 92845



                    WHALEY FOODSERVICE REPAIRS
                    PO BOX 890771
                    C/O BB&T
                    CHARLOTTE, NC 28289



                    WHITNEY JONES
                    8921 AZTEC RD NE
                    ALBUQUERQUE, NM 87111



                    Whitney Simon
                    1555 MARTIN LUTHER KING JR.
                    APT 107H
                    WEST PALM BEACH, FL 33404



                    Whitney Stumbo
                    5699 WESTWIND LN
                    SARASOTA, FL 34231



                    WHS ASB CLASS OF 2021
                    38442 FREMONT BLVD
                    FREMONT, CA 94536



                    WICHITA WATER CONDITIONING INC
                    7205 GILPIN WAY #130
                    DENVER, CO 80229
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2114 of
                                      2164



                    Widelin Metelus
                    6301 N. Falls Circle
                    #407
                    Lauderhill, FL 33319



                    WIEDENBACH-BROWN
                    2975 WESTCHESTER AVE STE 203
                    PURCHASE, NY 10577



                    WIEDENBACH-BROWN
                    2975 WESTCHESTER AVE STE 203
                    PURCHASE
                    NY, 10577



                    WILCOX HIGH SCHOOL
                    3250 MONROE ST
                    SANTA CLARA, CA 95051



                    WILDCAT MOUNTAIN ELEMENTARY
                    6585 LIONSHEAD PARKWAY
                    WILDCAT MOUNTAIN ELEM PTO
                    LITTLETON, CO 80124



                    Wilerme Boisnote
                    8371 Nw 28 Street
                    Fort Lauderdale, FL 33322



                    Wilfredo Aviles
                    1203 Smathers Avenue
                    Orlando, FL 32825



                    WILKINSON PTA
                    2575 ED KHARBAT DRIVE
                    CONROE, TX 77301



                    Will Bond
                    15702 VIA CALANOVA
                    SAN DEIGO, CA 92128
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2115 of
                                      2164



                    Will Egan
                    2328 TUTTLE TERRACE
                    SARASOTA, FL 34239



                    WILLAMETTE VALLEY FRUIT CO
                    PO BOX 206211
                    DALLAS, TX 75320-6211



                    WILLI SALGADO
                    7150 CERITOS AVE
                    STANTON, CA 90680



                    William Ayala
                    448 Orange Ave.
                    Apt #16
                    Long Beach, CA 90802



                    WILLIAM B ANDERSON
                    1000 ALAN SHEPARD
                    LAS VEGAS, NV 89145



                    William Banos
                    8550 COMMONWEALTH AV.
                    208
                    BUENA PARK, CA 90621



                    William Blair
                    26921 FORT APACHE CIR
                    LAKE FOREST, CA 92630



                    William Butler
                    10915 N 21ST
                    TAMPA, FL 33612



                    William Cardenas
                    2501 SAGE DR
                    KISSIMMEE, FL 34758
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2116 of
                                      2164



                    William Daley
                    7037 Feather Wood Dr
                    Ruskin, FL 33573



                    William Daniels
                    11474 VISTA RIDGE
                    SAN DIEGO, CA 92130



                    William Dvorak
                    1703 SE 144TH CT
                    VANCOUVER, WA 98683



                    William Edwards
                    1234 FOREST AVE
                    PASADENA, CA 91103



                    William Farmer
                    6191 CORTE PADRE
                    PLEASANTON, CA 94566



                    William Fay
                    1323 BUESCHER RD
                    HOUSTON, TX 77043



                    William Gilpin
                    8428 E LOUIES
                    TUCSON, AZ 85730



                    William Gorman
                    307 N Zamora Rd
                    Tijeras, NM 87059



                    WILLIAM GUAN
                    565 MAR VISTA DR
                    VISTA, CA 92081
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2117 of
                                      2164



                    WILLIAM H STANDLEY MIDDLE PTSA
                    PO BOX 22594
                    SAN DIEGO, CA 92192



                    William Hamm
                    10932 KEY WEST AVE
                    PORTER RANCH, CA 91326



                    William Harris
                    4900 N.tamiami Trail
                    Sarasota, FL 34234



                    William Jimenez
                    2449 E. Roble Drive
                    Kissimmee, FL 34746



                    William Jones
                    20690 E CANARY WAY
                    QUEEN CREEK, AZ 85142



                    William Lang
                    7071 LAKERIDGE COURT
                    133
                    FORT MYERS, FL 33907



                    William Lipps
                    1124 S. PRIMROSE AVE.
                    #A
                    MONROVIA, CA 91016



                    WILLIAM LOWERY
                    12472 CARMEL CAPE
                    SAN DIEGO, CA 92130



                    William M. Schugar
                    5345 GREEN WILLOW LANE
                    SAN DIEGO, CA 92130
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2118 of
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                    William Marquez
                    9621 Lower Azusa
                    Temple City, CA 91780



                    WILLIAM MARTZ
                    19210 LAHEY STREET UNIT #1
                    PORTER RANCH, CA 91326



                    William Mcclurg
                    5712 W Atlantic Pl.
                    Lakewood, CO 80227



                    William Mcgettigan
                    1261 Citrus Dr
                    Leesburg, FL 34788



                    William Medley
                    1502 E First Ave
                    Camas, WA 98607



                    WILLIAM MICHAEL KNIEVEL
                    177 LONDON TOWNE DRIVE
                    PITTSBURGH, PA 15226



                    William Morales
                    1424 N DONACY WAY
                    #4
                    ANAHEIM, CA 92805



                    WILLIAM N JONES
                    AND BETTY K JONES
                    5604 CASTLEBROOK DRIVE
                    RALEIGH, NC 27604



                    William Perdomo
                    1297 Balvaird Dr
                    Lawrenceville, GA 30045
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2119 of
                                      2164



                    William Perryman-Ortiz
                    7626 ELMWOOD CT.
                    SAN BERNARDINO, CA 92410



                    William Powell
                    12224 SE 101ST AVE.
                    BELLEVIEW, FL 34420



                    William Rice
                    951 W ORANGE GROVE RD
                    75101
                    TUCSON, AZ 85704



                    William Saunders
                    16143 SW 146TH AVE.
                    TIGARD, OR 97224



                    William Schugar
                    5345 GREEN WILLOW LANE
                    SAN DIEGO, CA 92130



                    William Sheehan
                    5517 Lime Ave
                    #2
                    Long Beach, CA 90805



                    William Stewart
                    24212 HOLLYOAK LN
                    A
                    ALISO VIEJO, CA 92656



                    William Sutton
                    3651 KINGSTON BLVD.
                    SARASOTA, FL 34238



                    William Waugh
                    2107 NORTH DIXIE HIGHWAY
                    WEST PALM BEACH, FL 33407
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2120 of
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                    WILLIAMS MECHANICAL INC
                    3903 SMITH AVE
                    EVERETT, WA 98201-4549



                    Williams Sigala
                    5959 WEST GATE DRIVE
                    1525
                    ORLANDO, FL 32835



                    Willians Madrid
                    10606 Heather Hill
                    Houston, TX 77086



                    WILLIANS MADRID
                    10606 HEATHER HILL
                    HOUSTON, TX 77806



                    Willie Caruthers
                    1500 HAMPTON RD
                    LEESBURG, FL 34748



                    Willie Davis
                    2240 KILMINGTON SQ
                    ALPHARETTA, GA 30009



                    WILLIE ITULE PRODUCE INC
                    301 N 45TH AVE
                    PHOENIX, AZ 85043



                    WILLIE ITULE PRODUCE INC
                    301 N 45TH AVE
                    PHOENIX
                    AZ, 85043



                    Willie Leiva
                    1154 N CITRON ST
                    ANAHEIM, CA 92802
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2121 of
                                      2164



                    Willie Mathews
                    6156 DAISY LEE AVE.
                    LAS VEGAS, NV 89108



                    Willie Oliver
                    10435 114TH TERRACE NORTH
                    LARGO, FL 33773



                    Willie Powell
                    11 Nw 32 Ave
                    Fort Lauderdale, FL 33311



                    Willie sol
                    1600 FORSET LAKES CIRCLE
                    D
                    WEST PALM BEACH, FL 33406



                    Willie White
                    302 Nw 31st St
                    Ocala, FL 34475



                    Willio Cosmeus
                    807 Minnesota
                    Lantana, FL 33462



                    WILLIS OF MARYLAND INC
                    PO BOX 13784
                    NEWARK, NJ 07188-0784



                    WILLIS TOWERS WATSON NORTHEAST INC
                    PO BOX 4557
                    NEW YORK, NY 10249-4557



                    WILLIS TOWERS WATSON SOUTHEAST INC
                    29982 NETWORK PLACE
                    CHICAGO, IL 60673-1299
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2122 of
                                      2164



                    Willow McDonald-Meier
                    14470 E 13TH AVE. LOT B33
                    AURORA, CO 80011



                    Willow Specialties
                    34 Clinton Street
                    Batavia, NY 14020-2821



                    Willy Perez
                    14781 SW 9TH LANE
                    MIAMI, FL 33194



                    Wilma Squire
                    1646 KILEY COURT
                    LADY LAKE, FL 32159



                    Wilmarie Bauza
                    5458 Third Ave
                    Fort Myers, FL 33907



                    Wilmaro Gonzalez Vasquez
                    315 LOS ANGELS
                    SAN JOSE, CA 95128



                    Wilmond Exantus
                    733 VILLAGE SQUARE CIR
                    127
                    DELRAY BEACH, FL 33444



                    Wilmor Miller
                    4996 SW OLESON RD
                    B
                    PORTLAND, OR 97225



                    Wilna Eugene
                    4975 SW 5TH STREET
                    MARGATE, FL 33068
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                                      2164



                    WILSHIRE CREST PTA
                    5241 W OLYMPIC BLVD
                    LOS ANGELES, CA 90036



                    WILSON ENTERPRISES
                    120 WEST 39TH STREET
                    VANCOUVER, WA 98660-1956



                    Wilson Zhang
                    3938 GRAND CANYON CT.
                    PLEASANTON, CA 94588



                    Wilton Mays
                    6804 WEST AVE L-10
                    LANCASTER, CA 93536



                    WIM CLUB
                    16455 WEGDEWORTH DR
                    WILSON HS ATTN RICH TORRES
                    HACIENDA HEIGHTS, CA 91745



                    Winavier Castillo
                    932 Silver LakeDr
                    Acworth, GA 30102



                    WINCO INDUSTRIES CO
                    14950 VALLEY VIEW AVE
                    LA MIRADA, CA 90638



                    Winco Industries Co.
                    65 Industrial Road
                    Lodi, NJ 07644



                    Winston Smith
                    3350 GRIFFITH PARK BLVD
                    29
                    LOS ANGELES, CA 90027
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                    WISCONSIN DPARTMENT OF REVENUE
                    WISCONSIN DPARTMENT OF REVENUE
                    P.O. BOX 930931
                    MILWAUKEE, WI 05329-3931



                    WISEMEN SEEKING INC
                    190 W RAFFERTY GARDENS AVE
                    UNIT 10
                    LITTLETON, CO 80120



                    WISEMEN SEEKING INC
                    190 W RAFFERTY GARDENS AVE
                    UNIT 10
                    LITTLETON
                    CO, 80120



                    Wisline Emile
                    5744 ELLIS HOLLOW RD E.
                    LAKE WORTH, FL 33463



                    WITHHOLDING TAX
                    KANSAS DEPARTMENT OF REVENUE
                    915 SW HARRISON STREET
                    TOPEKA, KS 00066-6252



                    WJB PACKAGING SALES INC
                    26871 HOBIE CIRCLE #B5
                    MURRIETA, CA 92562



                    Wjb Packaging Sales, Inc
                    26871 Hobie Circle #B5
                    Murrieta, CA 92562



                    WJPA
                    PO BOX 7580
                    SPRING, TX 77387-7580
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                    WJPA
                    PO BOX 7580
                    SPRING
                    TX, 77387-7580



                    WLCC
                    PO BOX 170
                    PROVO, UT 84603



                    WMMBB
                    8282 NORTH MOBLEY RD
                    ODESSA, FL 33556



                    Wna City Of Industry
                    Waddington North America, Inc
                    PO Box 639592
                    Cincinnati, OH 45263-9592



                    WNA COMET WEST
                    DEPT 771823
                    PO BOX 77000
                    DETROIT, MI 48277-1823



                    WOLF CANYON ELEMENTARY SCHOOL
                    1950 WOLF CANYON LOOP
                    CHULA VISTA, CA 91913



                    Wolf Richemond
                    1155 NE 137TH ST APT 503
                    Miami, FL 33161



                    WOLFF HORTICULTURE INC
                    9602 SANTIAGO BLVD
                    VILLA PARK, CA 92867



                    WOMEN OF UNITY
                    171 UNITY WAY
                    VISTA, CA 92083
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2126 of
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                    WOMENS CLUB OF FVC
                    101 W RIVER RD UNIT 231
                    TUCSON, AZ 85704



                    WOODLAND FOODS
                    PO BOX 71852
                    CHICAGO, IL 90694-1852



                    WOODLANDS METRO CENTER MUD
                    PO BOX 7829
                    THE WOODLANDS, TX 77387-7829



                    WOOLY INC
                    10213 S CALLA LILY WAY
                    SANDY, UT 84092



                    WORD OF LIFE CHRISTIAN ACADEMY
                    3520 N BUFFALO DRIVE
                    LAS VEGAS, NV 89129



                    WORKFORCE WEST VIRGINIA
                    CONTRIBUTION ACCOUNTING
                    P.O. BOX 106
                    CHARLESTON, WV 02532-1106



                    WORKWAY INC
                    5151 BELT LINE RD STE 430
                    DALLAS, TX 75254



                    WORLD OMNI FINANCIAL CORP
                    3120 RIDER TRAIL SOUTH
                    EARTH CITY, MO 63045



                    Wpromote
                    PO BOX 1559
                    EL SEGUNDO, CA 90245
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2127 of
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                    WPROMOTE LLC
                    PO BOX 1559
                    EL SEGUNDO, CA 90245



                    WPROMOTE LLC
                    2100 E GRAND AVE STE 100
                    EL SEGUNDO, CA 90245



                    WRI West Gate South L.P.
                    PO Box 924133
                    Houston, TX 77292-4133



                    WRI WEST GATE SOUTH LP
                    PO BOX 924133
                    HOUSTON, TX 77292-4133



                    WW GRAINGER INC
                    DEPT 853914778
                    PALATINE, IL 60038-0001



                    WW GRAINGER INC
                    DEPT 859543605
                    PALATINE, IL 60038-0001



                    WW GRAINGER INC
                    DEPT 852085224
                    PALATINE, IL 60038-0001



                    WWOW THE WORLD
                    171 W AVENTINO AVE
                    MOUNTAIN HOUSE, CA 95391



                    WWOW THE WORLD
                    171 W AVENTINO AVE
                    MOUNTAIN HOUSE
                    CA, 95391
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2128 of
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                    WWS
                    PO BOX 669400
                    POMPANO BEACH, FL 33066-9400



                    Wyatt Stewart
                    8630 SW BARBUR BLVD.
                    3
                    TIGARD, OR 97223



                    WYATT WESTIN
                    7501 175TH STREET
                    TINLEY PARK, IL 60477



                    Wylene Santos
                    7910 Withers Way
                    Corona, CA 92880



                    Xamira Colunge
                    19 JUNIPER DR
                    DAVENPORT, FL 33837



                    XANDRIA JONES
                    4023 KENNETT PIKE 611
                    WILMINGTON, DE 19807



                    Xavier Anaya
                    18934 TENDERFOOT TRAIL ROAD
                    SANTA CLARITA, CA 91321



                    Xavier Campos
                    1221 STICHMAN AVENUE
                    LA PUENTE, CA 91746



                    Xavier Chapman
                    9552 W. Tropicana
                    Apt. 2105
                    Las vegas, NV 89147
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2129 of
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                    XAVIER CORTEZ
                    40809 SUNDALE DRIVE
                    FREMONT, CA 94538



                    Xavier Frampton
                    14123 E MONTANA CIR
                    B
                    AURORA, CO 80012



                    Xavier Gaskew




                    Xavier McCutcheon
                    11342 SUGAR BOWL DR.
                    TOMBALL, TX 77375



                    Xavier Medina
                    2093 NW 208TH AVE
                    PEMBROKE PINES, FL 33029



                    Xavier R. Anaya
                    18934 TENDERFOOT TRAIL ROAD
                    SANTA CLARITA, CA 91321



                    Xavier Rodriguez
                    60 E ROSEMARY ST
                    344
                    SAN JOSE, CA 95111



                    Xavier Thompson
                    1911 WESTMEAD DRIVE
                    2508
                    HOUSTON, TX 77077



                    XCEL ENERGY
                    PO BOX 9477
                    MINNEAPOLIS, MN 55484-9477
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2130 of
                                      2164



                    Ximena salazar
                    28173 LA GALLINA
                    LAGUNA NIGUEL, CA 92677



                    Xintia Hammond
                    12121 west Tara Lane
                    El Mirage, AZ 85335



                    Xiomara Guerrero De Castillo
                    9555 RESEDA BLVD
                    207
                    NORTHRIDGE, CA 91324



                    Xiomara Moya
                    1062 N. ORANGE ST
                    APT 3
                    RIVERSIDE, CA 92501



                    Xiomara O. Guerrero De Castillo
                    9555 RESEDA BLVD
                    207
                    NORTHRIDGE, CA 91324



                    Xiomara Sanchez
                    29360 DIXON STREET
                    #7
                    HAYWARD, CA 94544



                    XL Landscape Dev
                    4460 RIVIERA RIDGE AVE
                    LAS VEGAS, NV 89115



                    XL LANDSCAPE DEVELOPMENT LLC
                    4460 RIVIERA RIDGE AVE
                    LAS VEGAS, NV 89115



                    Xochil Flores
                    6444 N 67TH AVE APT 3138
                    Glendale, AZ 85301
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                                      2164



                    Xochitl Barrera
                    39275 Liefer Road
                    Unit A
                    Temecula, CA 92591



                    XOCHITL BARRERA
                    39275 LIEFER RD
                    TEMECULA, CA 92591



                    Xochitl Gomez
                    18961 Valley Cir
                    Huntington Beach, CA 92646



                    Xochitl Pelagio
                    11146 w college dr
                    Phoenix, AZ 85037



                    Xochitl Ruiz
                    5367 S FLOWING SPRING ST
                    LAS VEGAS, NV 89122



                    XPEDIENT COMMUNICATIONS INC
                    5490 COMPLEX ST #603
                    SAN DIEGO, CA 92123



                    XPEDITE SYSTEMS LLC
                    29084 NETWORK PLACE
                    CHICAGO, IL 60673-1290



                    XTREME STEAM CLEAN
                    1622 S SALIDA WAY
                    AURORA, CO 80017



                    Xuan Vu
                    1179 ADENA WAY
                    SAN MARCOS, CA 92069
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                                      2164



                    Yabran Rahbani
                    10203 FORUM PARK
                    139
                    HOUSTON, TX 77036



                    Yacob Reyes
                    3634 CYPRESS MEADOWS RD.
                    TAMPA, FL 33624



                    YACOEL INVESTMENTS LLC
                    PROPERTY #741M
                    5850 CANOGA AVE #650
                    WOODLAND HILLS, CA 91367



                    Yacoel Investments, LLC
                    Attn: Yacoel Claude c/o Yacoel Properties I, LLC
                    2801 West Coast Hwy.
                    Ste. 380
                    Newport Beach, CA 92663



                    Yaddiel Vega
                    5184 MILLENIA BLVD
                    305
                    ORLANDO, FL 32839



                    Yadira De alba bueno
                    1622 PLAZA DEL AMO
                    TORRANCE, CA 90501



                    Yadira Garcia
                    2014 1/2 SEAMAN AVENUE
                    SOUTH EL MONTE, CA 91733



                    Yadira Garcia
                    6405 N MANHATTAN
                    TAMPA, FL 33614
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                    Yadira Gonzalez Pinales
                    250 Blossom Hill Rd
                    San Jose, CA 95123



                    Yadira Munoz
                    2529 W Green St
                    Tampa, FL 33607



                    Yadira Sanchez
                    21015 CLAREMORE CT
                    KATY, TX 77449



                    Yadira Zambrana
                    1945 S Batson Ave.
                    Apt 113
                    Rowland Heights, CA 91748



                    Yael Cordero
                    1513 E CAMPUS DRIVE
                    FULLERTON, CA 92834



                    YAH Investments, LLC
                    Attn: Emad Bolous
                    8700 Warner Ave.
                    Ste. 265
                    Fountain Valley, CA 92708



                    Yahaira Buenrostro
                    81955 HOOVER AVE
                    117
                    INDIO, CA 92201



                    Yahaira Paz
                    2137 Sugartree Drive
                    Pittsburg, CA 94565
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                    Yahya Mohamed
                    5420 E. BELLEVUE STREET
                    203
                    TUCSON, AZ 85712



                    Yair Valdovinos
                    1539 ELLIS ST APT 301
                    CONCORD, CA 94520



                    Yaire Gonzalez
                    1441 ELDER AVE
                    #N
                    SAN DIEGO, CA 92154



                    Yajaira Mora Rivera
                    9750 Elderberry St.
                    Federal Heights, CO 80260



                    Yaklin Malaver
                    1116 SAIL CREEK DRIVE
                    ORLANDO, FL 32824



                    Yalila Martinez
                    449 TYRELLA AVENUE
                    28
                    MOUNTAIN VIEW, CA 94043



                    Yamaris Sifuentes Galarza
                    601 CLUB CIRCLE
                    LAKESHORE, FL 33854



                    Yamila Lopez
                    27316 N. EVI LANE
                    103
                    SANTA CLARITA, CA 91387
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                    Yamilet Figueroa
                    1719 259TH ST.
                    APT.4
                    LOMITA, CA 90717



                    Yamir Marquez camejo
                    5426 WINDBRUSH DR
                    TAMPA, FL 33625



                    Yana Mindra
                    2833 SE 136TH PL
                    PORTLAND, OR 97236



                    Yana Parker
                    2208 BENMORE ST
                    LAS VEGAS, NV 89156



                    Yaneli Rodriguez
                    1801 GARVEY AVEUNE
                    APT. 331
                    ALHAMBRA, CA 91803



                    Yanelli Flores
                    167 COLERIDGE GREEN
                    FREMONT, CA 94538



                    Yanelys Tamayo
                    2411 ST 76TH
                    TAMPA, FL 33619



                    Yanet Duran
                    148 W VIRGINIA ST
                    5
                    SAN JOSE, CA 95110



                    Yanet Ramirez
                    3331 LANG RD
                    HOUSTON, TX 77092
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                                      2164



                    Yanet Torres
                    550 Iris St
                    Altamonte Springs, FL 32714



                    Yanica Then
                    PO BOX 773106
                    OCALA, FL 34477



                    Yanina Alvaredo
                    2941 SW 23RD TERRACE
                    FORT LAUDERDALE, FL 33312



                    Yansel Rubio
                    11735 N 19AVE
                    A22
                    PHOENIX, AZ 85029



                    Yareli Solano Jahen
                    7451 SE 82ND AVE UNIT 40
                    PORTLAND, OR 97266



                    Yarely Ramirez Nevarez
                    3244 MARINER BAY ST.
                    LAS VEGAS, NV 89117



                    Yaretzy Silva
                    522 HICKORYWOOD AVE
                    ALTAMONTE SPRINGS, FL 32714



                    Yariani Melo
                    3043 Elbib Dr.
                    Saint Cloud, FL 34772



                    Yarimar Morales
                    18822 Treviso Terrace LN
                    Katy, TX 77449
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2137 of
                                      2164



                    Yaritza Alejandra Hernandez-lopez
                    92 N 6th St
                    Apt 2
                    San Jose, CA 95112



                    Yashica Campbell
                    3174 Barrett Lakes Blvd
                    #321
                    Kennesaw, GA 30144



                    YASHIRA INGRAM
                    346 REMINGTON RIDGE DR
                    HOUSTON, TX 77073



                    Yashiralee Resto
                    605 BAILEY CIRCLE
                    DAVENPORT, FL 33897



                    Yasin Tuka
                    2000 E. ROGER RD
                    APT# F20
                    TUCSON, AZ 85719



                    Yasmar Feliciano
                    3020 SERENADE CT
                    ALPHARETTA, GA 30004



                    Yasmin Akter
                    3938 S Shade Ave
                    Sarasota, FL 34231



                    Yasmin Santos
                    4766 Clinton St.
                    Los Angeles, CA 90004



                    Yassine Zirri
                    2001 N Deerpark Dr
                    Apt 699
                    Fullerton, CA 92831
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2138 of
                                      2164



                    YAYAKK INC
                    2526 QUME DR STE 25
                    SAN JOSE, CA 95131



                    Yayra Montano
                    60 VIKING WAY
                    PITTSBURG, CA 94565



                    Yazmin Holmes
                    400 W. Baseline
                    Lot 10
                    Tempe, AZ 85283



                    YCIS
                    310 EASY ST
                    MOUNTAIN VIEW, CA 94043



                    Ydelie Pierre
                    3100 NW 42 AVE
                    402D
                    COCONUT CREEK, FL 33066



                    YEE N. WONG FONG
                    411 MONTGOMERY ST
                    CHULA VISTA, CA 91911



                    Yee Wong Fong
                    411 MONTGOMERY ST
                    CHULA VISTA, CA 91911



                    Yeghishe Simavonyan
                    12734 BRIARCREST PLACE
                    #2
                    SAN DIEGO, CA 92130



                    Yehimy Palacios
                    4883 ROSWELL RD
                    O-9
                    SANDY SPRINGS, GA 30342
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2139 of
                                      2164



                    Yehudit julius
                    NORTH DALE MABRY HW
                    2901
                    TAMPA, FL 33607



                    Yelena Valentine
                    2717 E KINGS AVE
                    PHOENIX, AZ 85032



                    Yelp
                    PO BOX 204393
                    DALLAS, TX 75320-4393



                    YELP INC
                    PO BOX 204393
                    DALLAS, TX 75320-4393



                    Yendy Herrera
                    14680 SW 76TH AVE
                    96
                    TIGARD, OR 97224



                    Yenni Quezada
                    1550 S Santa Fe Ave
                    Apt#27
                    Vista, CA 92084



                    Yensy Canales
                    3403 Legens Wild Dr
                    Spring, TX 77386



                    Yesenia Figueroa
                    2282 Lucretia Ave Apt. #4
                    San Jose, CA 95122



                    Yesenia Guerrero
                    37188 ELM ST
                    #6
                    NEWARK, CA 94560
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2140 of
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                    Yesenia Hernandez
                    3804 Hampton Dr
                    Pomona, CA 91766



                    Yesenia Martinez
                    123 STANFORD AVE
                    C
                    FULLERTON, CA 92831



                    Yesenia Morales
                    340 Nw 158th Ave
                    Pembroke Pines, FL 33028



                    Yesenia Ortiz
                    10000 HAMMERLY BLVD APT 123
                    APT 123
                    HOUSTON, TX 77080



                    Yesenia Pliego
                    540 Aster St
                    Escondido, CA 92027



                    Yesenia Ramos
                    79903 BREWOOD WAY
                    INDIO, CA 92203



                    Yesenia Rodriguez
                    1114 N Avalon Blvd
                    Wilmington, CA 90744



                    Yesenia Roman
                    600 SW 2 AVE
                    APT 140
                    BOCA RATON, FL 33432



                    Yesenia Salinas
                    954 HENDERSON AVE
                    103
                    SUNNYVALE, CA 94087
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2141 of
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                    Yesenia Tejeda
                    2140 W CANTON ST.
                    LONG BEACH, CA 90810



                    Yesenia Zambrano
                    930 W. CAMILE ST.
                    SANTA ANA, CA 92703



                    Yesica Camacho
                    23592 WINDSONG
                    ALISO VIEJO, CA 92656



                    Yesica Gomez
                    1058 18n Oxford Ave
                    Los Angeles, CA 90029



                    Yesica Ramirez
                    8266 FOX STREET
                    DENVER, CO 80221



                    Yessenia beltran
                    509 BRAND LN
                    71
                    STAFFORD, TX 77477



                    Yessica Moreno-cortes
                    472 MADERA AVE
                    APT 1
                    Sunnyvale, CA 94086



                    YESSSICA SANCHEZ
                    10754 EAST AVENUE R2
                    LITTLEROCK, CA 93543



                    Yhocelin Castro
                    364 Windcroft Cir NW
                    Acworth, GA 30101
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                                      2164



                    Ying Cheung
                    621 MARINE VIEW AVE
                    DEL MAR, CA 92014



                    Yingdi Lei
                    151 S Queenscliff Cir
                    The Woodlands, TX 77382



                    YMCA OF SILICON VALLEY
                    1501 OAK AVE
                    LOS ALTOS, CA 94024



                    YMCA OF SILICON VALLEY
                    2400 GRANT ROAD
                    MOUNTAIN VIEW, CA 94040



                    YMCA OF SILICON VALLEY
                    1501 OAK AVE
                    LOS ALTOS
                    CA, 94024



                    Yndira Pinero
                    3126 CAMINO REAL DR NORTH
                    KISSIMMEE, FL 34744



                    Yoan giraldo
                    1835 N 51ST ST
                    109
                    PHOENIX, AZ 85008



                    Yoanny Perojo
                    2919 TANBARK CT
                    Tampa, FL 33610



                    Yobani saldana
                    BRADFORD
                    830
                    CAMARILLO, CA 93010
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                    Yobannis Silva Suarez
                    3938 MESA AVE
                    SARASOTA, FL 34233



                    Yocelyn Valenzuela
                    949 S. Longmore
                    Apt 148
                    Mesa, AZ 85202



                    YOCELYN VALENZUELA
                    949 S. LONGMORE APT 148
                    MESA, AZ 85202



                    Yoel Morejon
                    21362 Sw 125 Path
                    Miami, FL 33177



                    Yohalmo Rivera
                    504 S BONNIE BRAE
                    LOS ANGELES, CA 90057



                    Yohan Lopez
                    1101 E Ventura Blvd Spc 187
                    Oxnard, CA 93036



                    Yojani Hernandez
                    5220 Lake Underhill Rd
                    Orlando, FL 32807



                    Yolanda Cervantes
                    3565 OLD 41 HWY NW LOT C2
                    KENNESAW, GA 30144



                    YOLANDA GARCIA NUNEZ
                    762 CRYSTAL CREEK RD
                    PERRIS, CA 92571
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2144 of
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                    Yolanda Gomez
                    6721 GREENYARD DR
                    HOUSTON, TX 77086



                    Yolanda Iniguez
                    20019 SATICOY ST
                    WINNETKA, CA 91306



                    Yolanda Macias
                    2171 Wood Street
                    Sarasota, FL 34236



                    Yolanda Morales
                    13946 Caminata Breve
                    Rancho Bernardo, CA 92129



                    Yolanda Olivarez
                    4013 BLALOCK RD
                    HOUSTON, TX 77080



                    Yolanda Orozco Marquez
                    964 GRANBY ST.
                    AURORA, CO 80011



                    Yolanda Peral
                    110 Nw Henry Dr
                    Beaverton, OR 97005



                    Yolanda Peralta
                    119s.pritchar
                    #5
                    Fullerton, CA 92833



                    Yolanda Ramirez
                    4424 29th St SW
                    Lehigh Acres, FL 33973
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2145 of
                                      2164



                    YOLANDA RAMIREZ
                    214 IDLEVIEW AVE
                    LEHIGH ACRES, FL 33936



                    Yolanda Sanchez
                    8858 Winona Ct.
                    Westminster, CO 80031



                    Yolanda Slaughter
                    4084 CARRIAGE HOUSE CT
                    APT G
                    EAST POINT, GA 30344



                    Yolanda Torres de Rodriguez
                    1480 SUNDOWN LN
                    SAN JOSE, CA 95127



                    Yolanda zamora
                    PO Box 532308
                    San Diego, CA 92154



                    Yolande Delicier Fevrier
                    1018 SOUTH B STREET
                    LAKE WORTH, FL 33460



                    Yolette Destine
                    3600 RIVESIDE DRIVE
                    CORAL SPRING, FL 33065



                    Yolimar Colon
                    2422 PALM CREEK AVE
                    ORLANDO, FL 32812



                    Yomalier Seijo
                    4628 LINGUSTRUM WAY
                    ORLANDO, FL 32839
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2146 of
                                      2164



                    Yonathan Yitref
                    11611 MAC MURRAY ST
                    GARDEN GROVE, CA 92841



                    YOOKIMSAN LLC
                    831 SAN CLEMENTE
                    IRVING, TX 75039



                    Yordanys Loucraft Dominguez
                    4150 BEE RIDGE RD
                    308
                    SARASOTA, FL 34233



                    YORK ADAMS TAX BUREAU
                    1405 NORTH DUKE STREET
                    P.O. BOX 15627
                    YORK, PA 00017-4050



                    YORK ADAMS TAX BUREAU
                    P.O. BOX 15627
                    YORK, PA 00017-4050



                    YORK ADAMS TAX BUREAU - EIT
                    P.O. BOX 15627
                    YORK, PA 00017-4050



                    YORK ADAMS TAX BUREAU - LST
                    1405 NORTH DUKE STREET
                    P.O. BOX 15627
                    YORK, PA 00017-4050



                    Yosef Asgesdome
                    Home Address
                    4292 45th St.
                    San Diego, CA 92115



                    Yosef Asgesdome
                    4292 45th St.
                    San Diego, CA 92115
Case 20-02477-7   Filed 05/14/20   Entered 05/14/20 17:07:46   Doc 1   Pg. 2147 of
                                      2164



                    Yoshira Merida
                    27662 ALISO CREEK RD
                    5113
                    ALISO VIEJO, CA 92656



                    YOST METAL FAB INC
                    21000 CORSAIR BLVD
                    HAYWARD, CA 94545



                    Yosvani valdivia
                    6800 NW 39TH AVE
                    LOT 33
                    COCONUT CREEK, FL 33073



                    YOTAM BEN - CHAIM
                    29498 MILLER RD STE B
                    VALLEY CENTER, CA 92082



                    YOUNG CONAWAY STARGATT & TAYLOR LLP
                    RODNEY SQUARE NOTH
                    1000 NORTH KING STREET
                    WILMINGTON, DE 19801



                    YOUNG ELECTRIC SIGN COMPANY
                    1443 S CUCAMONGA AVE
                    ONTARIO, CA 91761-4510



                    YOUNG ELECTRIC SIGN COMPANY
                    PO BOX 98575
                    LAS VEGAS, NV 89193



                    YOUNG ELECTRIC SIGN COMPANY
                    PO BOX 390126
                    DENVER, CO 80239



                    YOUNG ELECTRIC SIGN COMPANY
                    PO BOX 112260
                    TACOMA, WA 98411-2260
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                                      2164



                    YOUNG ELECTRIC SIGN COMPANY
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                    YOUNG ELECTRIC SIGN COMPANY
                    PO BOX 112350
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                    CULLMAN, AL 35058



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                    YOUTH FOR CHRIST SAN DIEGO




                    YOUTH SCIENCE CENTER
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                    HACIENDA HTS, CA 91745



                    YOUTH SOFTBALL ASSOCIATION OF
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                    CORAL SPRINGS, FL 33065
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                    C/O CUTLER COMMERCIAL
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                    Ste. 207
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                    ZION LIVING WORD
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                    Zipporah Johnson
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                    LAWRENCVILLE, GA 30044



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                    Zixin XU
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                    Ziyaun Taylor-Davis
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